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   Summary of Changes

   Visa Operating Regulations Alignment Project

   Overview


   Background

   Visa continually works to gain operational efficiencies and provide greater value to its Members and
   other participants in the Visa payment system. The Visa Operating Regulations Alignment Project
   was initiated to update and improve access to the Visa International Operating Regulations and to
   create a consolidated, more uniform set of regulations for participating in the Visa payment system.

   The key objectives for this project were to:

   • Ensure that regulations are current and reflect today's payment environment
   • Simplify language and reduce the number of regulations
   • Align regulations across regions and geographies for greater consistency
   • Migrate to a fully integrated online publication hosting environment with enhanced and targeted
     search and custom publication capabilities
   • Provide better support for Member access to Visa International communications and publications,
     with enhanced online content and functionality over time

   The consolidated Operating Regulations offer a number of benefits to Visa Members including a more
   streamlined approach to viewing regulations specific to their part of the payments business.
   Redundant and obsolete regulations have been removed and the need to search multiple publications
   for complete information has been eliminated. Regional differences have been retained where
   necessary to address unique market conditions. Moving forward, efforts will continue to further align
   regional and international business rules where it is practical to do so.

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   Content Restructure

   As part of Operating Regulations consolidation and migration to an online environment, Visa has
   restructured the Operating Regulations according to the "Visa International Operating Regulations -
   Core Principles" that describes the expectations and requirements for participating in the Visa
   system. These Core Principles are described at the beginning of each chapter and are intended to:

   • Serve as fundamental policy statements that describe the rules and processes designed to ensure
     the long-term value and reliability of the Visa products, system, and brand
   • Be presented in general terms as broad guidelines or statements of intent to guide business
     discussions, dealings and decisions, absent a specific rule
   • Provide global consistency for the integrity of the Visa brand and system



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The new chapter structure of the Visa International Operating Regulations is as follows:

Core Principle 1: Visa Operating Regulations Governance - Outlines the scope and application of
the Visa International Operating Regulations, a Member's requirement to comply with the Operating
Regulations, and general fines for non-compliance.

Core Principle 2: Visa System Participation - Specifies minimum requirements for Members, Third
Parties, and VisaNet Processors, including liability and indemnification provisions.

Core Principle 3: The Visa License - Specifies various license, Copyright, and trademark
provisions.

Core Principle 4: The Visa Brand - Specifies Member requirements for reproduction of the Visa-
Owned Marks, including Card production, promotions, sponsorships, and responsibilities for non-Card
use of the Visa-Owned Marks.

Core Principle 5: Visa Products and Services - Specifies both Issuer requirements and product
information for participation in the Visa programs, and Acquirer requirements with respect to Acquirer-
Merchant contracts, terminal requirements, electronic commerce, and participation in the Visa Global
ATM Program.

Core Principle 6: Visa Payment Acceptance - Specifies requirements for Merchants, including
Transaction acceptance, special Merchant payment acceptance services and Transaction Receipt
completion and processing.

Core Principle 7: Transaction Processing - Specifies Member requirements for payment
processing, including Authorization, Clearing, and Settlement.

Core Principle 8: Risk Management - Specifies general security requirements, the rights and
responsibilities of Visa and Members related to risk management and security, counterfeit losses, and
the Visa risk management services.

Core Principle 9: Dispute Resolution - Governs the Transaction Receipt retrieval process, a
Member's attempts to resolve disputes, and the processes available to the Member if its resolution
efforts are unsuccessful. These processes include Chargebacks, Representments, Arbitration, and
Compliance.

Core Principle 10: Pricing, Fees and Interchange - Specifies international fee types applicable to
Members, Interchange Reimbursement Fee (IRF) categories, and procedures for collection,
disbursement, and problem resolution. Detailed fee amounts and IRF rates and been moved to
applicable pricing directories.

ID#: 010410-010410-0020021



Operating Regulation Content Changes

All material changes to the Operating Regulations since the last formal publication are described in
the "Summary of Changes." However, in order to consolidate and align both International and
Regional Operating Regulations, minor editorial changes have been made throughout the Operating
Regulations for consistency and clarity of intent, including the elimination of duplicate or obsolete
rules.

ID#: 010410-010410-0020022



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   New Section Numbering Scheme

   As part of the migration to a fully integrated online publication environment, legacy section numbering
   designed for traditional book publishing has been replaced with a unique regulation Identification (ID)
   code.

   The new regulation ID format includes the date the regulation section was published, its effective
   date, and a unique 7-digit reference number. The format is as follows:

   (Publication date) DDMMYY - (Effective date) DDMMYY - (unique 7-digit reference #) 1234567

   Sample: ID# 090909-171009-0003557


   The ID remains with each regulation for as long as the regulation remains unchanged. If modified, the
   regulation ID is updated to reflect the date of change, but the unique 7-digit reference number is
   retained to allow users to easily track the lifecycle of any given regulation.

   ID#: 010410-010410-0020023



   Style Convention

   The newly consolidated Operating Regulations will be titled the Visa International Operating
   Regulations. Content unique to a specific region is indicated within titles, language, and system
   attributes. References to Regional Operating Regulations are made generic to indicate regional
   requirements rather than regional publications.

   Specific written style and format conventions used in the new consolidated online version of the Visa
   International Operating Regulations are explained in "About the Operating Regulations."

   Note: Visa Europe is not part of this Operating Regulations consolidation effort. As a separate
   company, Visa Europe independently manages the publication of the Visa Europe Operating
   Regulations. Common regulations that are necessary to ensure the continued interoperability and
   consistency of the Visa brand, global payment transactions and system interoperability are found in
   both the Visa International Operating Regulations and the Visa Europe Operating Regulations.

   ID#: 010410-010410-0020024




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Quick Reference

Overview

Major Topics

Discontinuation of the Online Gambling Credit Compliance Program
Effective 9 September 2010, removes the formal Online Gambling Credit Compliance Program and
penalty schedule for the program from the Operating Regulations.


Multi-Currency Priced Transactions
Effective 9 September 2010, establishes a definition and rule to specify requirements for a Multi-
Currency Priced Transaction in order to distinguish multi-currency pricing from Dynamic Currency
Conversion-related practices.


Visa ReadyLink Loads to Non-Visa Branded Accounts
Effective 21 September 2010, allows the use of the Visa ReadyLink prepaid load service for loading
non-Visa branded accounts issued for use by approved transportation authorities.


Visa Cash-Back Services Program Globalization
Effective 1 October 2010, strengthens and standardizes the current Cash-Back program rules
globally and establishes a globally consistent certification process.


Dynamic Currency Conversion Policy Revisions
Effective 6 October 2010, introduces a number of Dynamic Currency Conversion policy changes.


Dual-Issuer Branded Visa Commercial Cards within the Multinational Program
Effective 14 October 2010, allows Visa Multinational Program participants to issue “dual-Issuer
branded” Commercial Cards, identifying the issuing Partner Bank on the back of the Card and the
Lead Bank on the Card front.


Settlement Liquidity Risk Reduction
Effective 14 October 2010, introduces Settlement liquidity exposure reduction measures and
provides new Settlement exposure reduction tools.


Visa IntelliLink Compliance Management Expansion
Effective 14 October 2010, globalizes the Visa IntelliLink Compliance Management service and
extends the service to non-General Services Administration clients within the U.S. Region.




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   Data Compromise Recovery Solution (DCRS) Program Revision
   Effective for a determined data compromise event occurring on or after 9 December 2010,
   further aligns the Visa data compromise recovery programs by revising the monetary threshold for
   DCRS qualification.


   Visa Money Transfer Fast Funds and Anti-Money Laundering/Anti-Terrorist Financing Requirements
   Effective 9 December 2010 and 15 October 2011, respectively, implements a Fast Funds service
   for Money Transfer with a new Interchange Reimbursement Fee rate, stipulates Member participation
   requirements, and requires all Members in Russia to participate in the Fast Funds service.


   Intercompany Interchange Reimbursement Fee Compliance between Visa Inc. and Visa Europe
   Effective 13 January 2011, introduces the Intercompany Interchange Reimbursement Fee (IRF)
   Compliance Process, a joint process to address intercompany IRF errors between a Visa Inc. client
   and a Visa Europe member caused by a client or member (Visa errors are excluded).


   Requirement to Provide Functional Cards
   Effective 13 January 2011, requires Issuers to provide to Visa, upon request, functional Cards.


   Visa Chip Card Security Requirements
   Effective 13 January 2011, requires all Visa Chip programs throughout the world to successfully
   complete the Visa Chip Security Program – Security Testing Process.


   Expansion of Preauthorized Payment Cancellation Service
   Effective 10 February 2011, globalizes the Preauthorized Payment Cancellation Service (PPCS).


   Visa Account Updater Service Expansion
   Effective 10 February 2011, 15 October 2011, and 14 April 2012, expands Visa Account Updater
   Service availability to Members in the AP, CEMEA, and LAC Regions.


   Global Regulation Compliance Alignment
   Effective 15 February 2011, globally aligns compliance and enforcement operating regulations.


   EMV Liability Shift Expansion and Revisions
   Effective 31 March 2011, 1 April 2011, 1 October 2012, 1 April 2013, and 1 October 2014,
   expands the EMV liability shift into additional countries, and defers it for Canada Domestic
   Transactions, for specific fraudulent Transactions made with an EMV Chip Card at non-EMV Chip-
   enabled Merchants.




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Primary Account Number Suppression


Effective 1 October 2011 and 1 October 2014, aligns regional requirements for Account Number
suppression on the Cardholder copy of a Transaction Receipt to require all but the last four digits to
be suppressed for receipts generated from electronic terminals, including ATMs and Cardholder-
Activated Terminals.

ID#: 080411-010100-0026278



Variance Topics

Transaction Receipt Requirements for Vending Machines – Australia and New Zealand
Effective 20 January 2011, exempts Merchants in Australia and New Zealand, that accept vending
Transactions, from providing Transaction Receipts.

ID#: 080411-010100-0026298



Miscellaneous Topics

Visa FeatureSelect - Support for Non-Visa Products
Effective 8 November 2010, provides support for non-Visa card products within Visa FeatureSelect
in the U.S. Region.


Dispute Resolution Documentation Requirement Updates
Effective 24 January 2011, 16 April 2011, and 15 October 2011, postpones the previously
announced elimination of Retrieval Request Reason Code 29, "T&E Document Request," and
Retrieval Request Reason Code 30, "Request Due to Cardholder Dispute," and clarifies Issuer
certification requirements for fraud Chargebacks.


Visa Consumer Credit Rewards Program Alignment
Effective 17 February 2011, aligns the rewards Operating Regulations for Visa Traditional, Visa
Signature and Visa Signature Preferred by moving the detailed requirements for Visa Traditional from
the Operating Regulations to the Visa Traditional Rewards Toolkit.


Dispute Resolution Clarifications
Effective 16 April 2011 and 15 October 2011, eliminates an AP Region-specific limitation for
Chargeback Reason Code 77, "Non-Matching Account Number," and makes other revisions to align,
clarify, and streamline dispute resolution language.


Definitions
Effective upon publication, streamlines and updates the Operating Regulations Glossary.




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   Visa Interchange Directory Update
   Effective upon publication, aligns Visa Interchange Directory update requirements for all regions,
   and globalizes related region-specific rules and definitions.

   ID#: 080411-010100-0026300



   AP Region Major Topics

   Introduction of Visa Signature Business Product Issuance Guidelines in the AP Region
   Effective 1 January 2011, establishes rules governing the Visa Signature Business Product in the
   AP Region.


   Australia, New Zealand, and India Domestic Operating Regulations Integration
   Effective 6 January 2011, eliminates the Domestic Operating Regulations for India, New Zealand,
   and Australia and integrates them, where applicable, into the Asia Pacific Regional Operating
   Regulations.


   Visa Merchant Trace System (VMTS) in the AP Region
   Effective 1 March 2011, incorporates new operating regulations which require AP Acquirers in
   specified countries to list details of Merchants terminated for cause within one business day,
   according to the specifications in the Visa Merchant Trace System Participation Requirements.


   VisaNet Processing in South-East Asia
   Effective 1 October 2011, requires all domestic Visa point-of-sale Transactions in South-East Asia to
   be processed through VisaNet. In addition, effective 1 April 2011, prohibits Private Processing
   Arrangements for Members in South-East Asia.

   ID#: 080411-010100-0026308



   Canada Region Major Topics

   Revisions to Fraud Protection for Transactions at Oil and Gas Merchants in Canada
   Effective 1 December 2010 and 31 March 2011, revises current Visa Canada domestic rules for
   fraud protection at oil and gas Merchants and extends the protection for contactless Transactions at
   Automated Fuel Dispenser Merchants.

   ID#: 080411-010100-0026313




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LAC Region Major Topics

Revisions to the Visa Cargo Product
Effective 11 November 2010, revises issuance requirements and features for the Visa Cargo
product.

ID#: 080411-010100-0026318



U.S. Region Major Topics

Clarification of CPS/Small Ticket IRF Criteria for Visa Easy Payment Service (VEPS) Transactions
Effective 16 October 2010, clarifies, corrects, and restates CPS/Small Ticket Interchange
Reimbursement Fee criteria for Visa Easy Payment Service Transactions.


Consumer Cardholder Identifier Requirements
Effective 11 November 2010, revises the US Regional Operating Regulations for consumer Visa
Check Cards to align with the global requirements for Cardholder identifier and expiration dates on
instant issue Cards.


Reason Code 74, "Late Presentment," Time Frame Revisions
Effective for Chargebacks processed on or after 18 May 2011, reduces time frame limitations for
Chargeback Reason Code 74, “Late Presentment,” and includes insufficient funds status (NSF) in
“account status problem” descriptions.

ID#: 080411-010100-0026320




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   Summary of Changes

   Major Topics

   Discontinuation of the Online Gambling Credit Compliance Program


   Background

   The formal Online Gambling Credit Compliance Program has been discontinued and the penalty
   schedule for the program removed from the Operating Regulations. Members that violate the
   regulation will still be eligible for fines under the General Schedule of Fines.


   Effective Date

   9 September 2010


   Regulation Changes

   Added or revised the following:

   Chapter 6: Payment Acceptance

   • Online Gambling Credit Compliance Program Penalties
   • Online Gambling Merchant Compliance Program

   ID#: 100411-010100-0026287



   Multi-Currency Priced Transactions


   Background

   A new definition and Operating Regulation clarify that, for a Multi-Currency Priced Transaction, the
   displayed price and currency selected by the Cardholder must be the same price and currency
   charged to the Cardholder, printed on the Transaction Receipt, and entered into Interchange by the
   Acquirer.


   Effective Date

   9 September 2010




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Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• Multi-Currency Priced Transaction Requirement

Glossary

• Multi-Currency Priced Transaction

ID#: 100411-010100-0026279



Visa ReadyLink Loads to Non-Visa Branded Accounts


Background

Revisions to Visa ReadyLink (VRL) rules have been made to allow the use of the VRL prepaid load
service for loading non-Visa branded accounts issued for use by approved transportation authorities.
The Visa Operating Regulations already allow private label loads to non-Visa branded accounts using
the VRL service in which case no Visa or Visa ReadyLink Mark is displayed on the card and the rules
governing such loads are agreed to contractually between the issuer and merchant / acquirer. This
enhancement allows private label issuers to place the Visa ReadyLink Mark (in the absence of the
Visa Mark) on the card and have the loads be governed by the relevant Visa Operating Regulations
and the Visa ReadyLink Service Description and Implementation Guidelines related to branded
prepaid loads (with a few exceptions).


Effective Date

21 September 2010

ID#: 100411-010100-0026282



Visa Cash-Back Services Program Globalization


Background

Operating Regulation revisions have been made to the current Cash-Back program rules globally and
establish a globally consistent certification process for Issuers and Acquirers where Cash-Back is
offered through VisaNet.


Effective Date

Effective 1 October 2010




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                                                  #: 1767
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   Regulation Changes

   Added or revised the following:

   Chapter 6: Payment Acceptance

   • Cash-Back Amounts
   • Cash-Back Product Eligibility
   • Cash-Back Receipt Requirements
   • Cash-Back Receipt Requirements - CEMEA Region
   • Cash-Back Service Requirements
   • Cash-Back Service Requirements - CEMEA Region
   • Cash-Back Services General Requirements - AP Region
   • Cash-Back Transaction Requirements
   • Cash-Back Transaction Requirements - CEMEA Region
   • Maximum Cash Back - U.S. Region
   • Merchant Authorization Requirements
   • Merchant Funds Disbursement Exceptions
   • Merchant Funds Disbursement Exceptions - U.S. Region

   Chapter 9: Dispute Resolution

   • Invalid Chargebacks - Reason Code 30
   • Invalid Chargebacks - Reason Code 53
   • Invalid Chargebacks - Reason Code 85

   Glossary

   • Transaction
   • Visa Cash Back Service - U.S. Region
   • Visa Cash-Back Service

   Appendices

   • Products and Services

   ID#: 100411-010100-0026295




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Dynamic Currency Conversion Policy Revisions


Background

The Operating Regulations have been revised to reflect a number of Dynamic Currency Conversion
(DCC) policy changes.


Effective Date

6 October 2010


Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• Dynamic Currency Conversion Acquirer Participation
• Dynamic Currency Conversion Acquirer Requirements
• Dynamic Currency Conversion Card-Absent Environment Transactions
• Dynamic Currency Conversion Cardholder Active Choice Requirement
• Dynamic Currency Conversion Mail Order Requirements
• Dynamic Currency Conversion Merchant Participation
• Dynamic Currency Conversion Merchant Registration Requirement
• Dynamic Currency Conversion Operating Requirements - U.S. Region
• Dynamic Currency Conversion Priority Check-Out and Express Return Requirements
• Dynamic Currency Conversion Prohibitions - U.S. Region
• Dynamic Currency Conversion Transaction Indicator Requirement
• Dynamic Currency Conversion Transaction Receipt Requirements
• Dynamic Currency Conversion VisaNet Processor or Third Party Participation
• Dynamic Currency Conversion Written Disclosure Requirement
• Penalties for Incorrect Use of Dynamic Currency Conversion
• Transaction Currency Requirement - CEMEA Region
• Transaction Currency Requirement - LAC Region
• Transaction Receipt Delivery for Dynamic Currency Conversion Transactions - U.S. Region 5.2.N
• Transaction Receipt Delivery Requirements - U.S. Region 5.2.N




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   Glossary
   • Dynamic Currency Conversion
   • Dynamic Currency Conversion Transaction Indicator
   • Express Return Transaction
   • Priority Check-out Agreement
   • Priority Check-out and Express Return Agreement
   • Priority Check-out and Express Return Service
   • Priority Check-out Service
   • Priority Check-out Transaction
   • Transaction

   Appendices

   • Products and Services

   ID#: 100411-010100-0026296



   Dual-Issuer Branded Visa Commercial Cards within the Multinational Program


   Background

   Operating Regulation revisions were approved to allow Issuers participating in the Visa Multinational
   Program to issue “dual-Issuer branded” Visa Commercial Cards, identifying the issuing Partner Bank
   on the back of the Card and the Lead Bank on the Card front. Additionally, the Visa Multinational
   Program Guide was revised to establish procedures for Visa Multinational Program participants that
   wish to issue Dual-Issuer Branded Visa Commercial cards.


   Effective Date

   14 October 2010


   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card Issuer Identification
   • Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card Partnership Agreement
   • Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card Requirements




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Glossary

• Dual-Issuer Branded Visa Commercial Card
• Lead Bank
• Multi-Country Issuing
• Partner Bank
• Visa Multinational Program

ID#: 100411-010100-0026285



Settlement Liquidity Risk Reduction


Background

The Visa International Operating Regulations have been revised to include new Member risk
collection procedures.


Effective Date

Effective 14 October 2010


Regulation Changes

Added or revised the following:

Chapter 7: Transaction Processing

• Account Used for Visa Settlement
• Satisfaction of Visa Settlement Obligations
• Visa Rights in Calculating Settlement

Chapter 8: Risk Management

• Member Risk Reduction Requirements

Glossary

• BIN Alternate
• Clearing Processor
• Funds Transfer Settlement Reporting Entity
• Settlement
• Settlement Amount
• Settlement Reporting Entity

ID#: 100411-010100-0026294


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   Visa IntelliLink Compliance Management Expansion


   Background

   Revisions were approved to globalize the Visa IntelliLink Compliance Management service, a web-
   based program for monitoring Card misuse that was previously only offered to the General Services
   Administration of the U.S. federal government. Additionally, the service has been extended to non-
   General Services Administration clients within the U.S. Region.


   Effective Date

   14 October 2010


   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Access to Commercial Solutions Data and Reporting Tools
   • Access to Visa IntelliLink Compliance Management
   • Visa Commercial Solutions Data and Reporting Tools Fees

   ID#: 100411-010100-0026286



   Data Compromise Recovery Solution (DCRS) Program Revision


   Background

   Revisions have been made to further align the Visa data compromise recovery programs by changing
   the DCRS monetary threshold to be based on a combined total of US $100,000 or more recovery for
   all Issuers involved in a compromise event, from the current requirement of US $100,000 in Magnetic-
   Stripe counterfeit fraud.


   Effective Date

   For a determined data compromise event occurring on or after 9 December 2010




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Regulation Changes

Added or revised the following:

Chapter 8: Risk Management

• Data Compromise Event Eligibility

ID#: 100411-010100-0026283



Visa Money Transfer Fast Funds and Anti-Money Laundering/Anti-Terrorist
Financing Requirements


Background

Operating Regulation revisions have been approved to support the launch of the Money Transfer Fast
Funds service with its associated Interchange Reimbursement Fee, define requirements and
obligations for participating Members, and specify guidelines for compliance with Anti-Money
Laundering regulations.

Although the published revisions require an Originating Member to screen the sender’s name and
address against a regulatory watch-list for incoming cross-border Money Transfers to the U.S., such
transfers to Visa accounts issued in the U.S. are currently blocked for regulatory reasons at least until
15 October 2011.

Additional revisions address the implementation of Fast Funds in Russia and the globalization of an
AP Region Original Credit posting requirements.


Effective Date

9 December 2010

15 October 2011


Regulation Changes

Added or revised the following:

Chapter 2: Visa System Participation

• Indemnification Related to Screening for Money Transfer Original Credit Transactions

Chapter 5: Visa Products and Services

• Money Transfer Original Credit Transaction Acceptance
• Money Transfer Original Credit Transaction Limitations - U.S. Region
• Money Transfer Transaction Reversal - U.S. Region



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   Chapter 6: Payment Acceptance

   • Money Transfer Original Credit Merchant Category Codes
   • Money Transfer Original Credit Merchant Category Codes - U.S. Region
   • Money Transfer Original Credit Transaction - Unique Sender Identification
   • Money Transfer Original Credit Transaction Authorization Request
   • Money Transfer Original Credit Transaction Posting
   • Money Transfer Original Credit Transaction Posting - Fast Funds
   • Money Transfer Original Credit Transaction Posting to Credit Card Account
   • Money Transfer Original Credit Transaction Reversal
   • Money Transfer Original Credit Transaction Sender Name and Address
   • Original Credit - Reversal Time Limits
   • Original Credit Transaction Authorization Request Requirements
   • Original Credit Transaction Clearing Time Limit
   • Original Credit Transaction Posting
   • Original Credit Transaction Reversals

   Chapter 7: Transaction Processing

   • Money Transfer Original Credits - Fast Funds Processing in Russia - CEMEA Region
   • Money Transfer Original Credit - Compliance with Visa Requirements
   • Money Transfer Original Credit Transactions - Fast Funds Processing

   Glossary

   • Fast Funds
   • Money Transfer Original Credit Program
   • Money Transfer Original Credit Program - U.S. Region
   • Money Transfer Original Credit Transaction
   • Money Transfer Original Credit Transactions - U.S. Region
   • Original Credit
   • Originating Member
   • Originating Member - U.S. Region
   • Recipient Member
   • Recipient Member - U.S. Region

   Chapter 10: Pricing, Fees and Interchange

   • Fast Funds Money Transfer Original Credit Interchange Reimbursement Fee
   • Original Credit Interchange Reimbursement Fee

   ID#: 100411-010100-0026297




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Intercompany Interchange Reimbursement Fee Compliance between Visa Inc.
and Visa Europe


Background

Revisions have been approved to formally announce the availability of an Interchange
Reimbursement Fee Compliance process designed specifically to address Operating Regulation
violations that result in the inaccurate assessment of Interchange Reimbursement Fees for
Transactions between Visa Inc. and Visa Europe Members. Procedural details are available from
Visa upon request.


Effective Date

13 January 2011


Regulation Changes

Added or revised the following:

Chapter 9: Dispute Resolution

• Intercompany Interchange Reimbursement Fee Compliance Process Introduction

Glossary

• Intercompany Interchange Reimbursement Fee Compliance

ID#: 100411-010100-0026284



Requirement to Provide Functional Cards


Background

Operating Regulations have been introduced requiring Issuers to provide Visa with fully operational
Cards, upon request.


Effective Date

Effective 13 January 2011




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   Regulation Changes

   Added or revised the following:

   Chapter 1: Visa Operating Regulations Governance

   • Right to Request Cards

   ID#: 100411-010100-0026281



   Visa Chip Card Security Requirements


   Background

   Operating Regulation revisions were approved to support the Visa Chip Security Program by
   requiring all Visa Chip programs, including Chip programs in Visa Europe, to successfully complete
   the Visa Chip Security Program – Security Testing Process to align with industry standards.


   Effective Date

   13 January 2011


   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Chip Card Compliance

   ID#: 100411-010100-0026280



   Expansion of Preauthorized Payment Cancellation Service


   Background

   The Preauthorized Payment Cancellation Service (PPCS), previously commercially available in the
   U.S. Region and in pilot in the Canada Region has been expanded globally. PPCS is an optional
   service that enables Visa credit, debit, and commercial Card Issuers to cancel preauthorized
   electronic funds transfer payments (primarily recurring payments) from being authorized, cleared, and
   settled through VisaNet and provides Issuers with a consistent and cost-effective method for handling
   stop payment requests.


   Effective Date

   10 February 2011

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Regulation Changes

Added or revised the following:

Chapter 2: Visa System Participation

• Preauthorized Payment Cancellation Service Indemnification
• Preauthorized Payment Cancellation Service Indemnification - U.S. Region

Chapter 5: Visa Products and Services

• Preauthorized Payment Cancellation Service Declined Transaction Procedures - U.S. Region
• Preauthorized Payment Cancellation Service Issuer Participation Requirements
• Preauthorized Payment Cancellation Service Limitations
• Preauthorized Payment Cancellation Service Limitations - U.S. Region
• Preauthorized Payment Cancellation Service Participation
• Preauthorized Payment Cancellation Service Participation - U.S. Region
• Preauthorized Payment Cancellation Service Participation Requirements - U.S. Region
• Preauthorized Payment Cancellation Service Returned Item Fee - U.S. Region 4.2.H.15

Chapter 6: Payment Acceptance

• Preauthorized Payment Cancellation Service - Stop Payment Order - U.S. Region 4.2.H.15
• Preauthorized Transaction Decline Response - U.S. Region

Glossary

• Preauthorized Payment Cancellation Service
• Preauthorized Payment Cancellation Service - U.S. Region
• Preauthorized Transaction
• Preauthorized Transaction - U.S. Region
• Returned Item
• Returned Item - U.S. Region

Appendices

• Products and Services

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   Visa Account Updater Service Expansion


   Background

   The Visa Account Updater Service is an optional service that enables participating Issuers to provide
   updated Cardholder account information to participating Acquirers. Currently this service is only
   available to Members in the U.S. and Canada Regions; however, revisions have been approved to
   expand the service making it available to Members in the AP, CEMEA, and LAC Regions. Effective
   15 October 2011 in Australia and effective 14 April 2012 in New Zealand, participation in the Visa
   Account Updater Service is mandatory for qualifying Members.


   Effective Date

   10 February 2011

   15 October 2011

   14 April 2012


   Regulation Changes

   Added or revised the following:

   Chapter 2: Visa System Participation

   • Indemnification Related to the Visa Account Updater Service
   • Indemnification Related to Visa Account Updater - Canada Region
   • Indemnification Related to Visa Account Updater - U.S. Region

   Chapter 5: Visa Products and Services

   • Disclosure of Visa Account Updater Service Information
   • Disclosure of Visa Account Updater Service Information - Canada Region
   • Disclosure of Visa Account Updater Service Information - U.S. Region
   • Visa Account Updater Service - Acquirer Participation Requirements
   • Visa Account Updater Service - Information Requirements
   • Visa Account Updater Service - Issuer Participation Requirements
   • Visa Account Updater Service Cardholder Account Information - U.S. Region
   • Visa Account Updater Service Cardholder Account Information - Canada Region
   • Visa Account Updater Service Information Requirements - Canada Region
   • Visa Account Updater Service Information Requirements - U.S. Region
   • Visa Account Updater Service Participation – AP Region
   • Visa Account Updater Service Participation - Canada Region
   • Visa Account Updater Service Participation - U.S. Region

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• Visa Account Updater Service Participation Requirements - Canada Region
• Visa Account Updater Service Participation Requirements - U.S. Region

Glossary

• Visa Account Updater - Canada Region
• Visa Account Updater - U.S. Region
• Visa Account Updater Service

ID#: 100411-010100-0026291



Global Regulation Compliance Alignment


Background

To strengthen enforcement efforts and provide greater incentives for Member compliance with the
Visa Operating Regulations, revisions to the Visa International Operating Regulations were approved
to globally align compliance and enforcement Operating Regulations.


Effective Date

15 February 2011


Regulation Changes

Added or revised the following:

Chapter 1: Visa Operating Regulations Governance

• Acceptance Compliance Program - Canada Region
• Allegations and Investigations
• Collection of Fines
• Egregious Violation Fine Amount - U.S. Region
• Egregious Violation Fines - U.S. Region
• Egregious Violations - U.S. Region
• Enforcement Appeals
• Enforcement Appeals - LAC Region
• Enforcement Appeals - U.S. Region
• Enforcement Board Appeal - U.S. Region
• Fine Payment
• General Fines Schedule
• General Fines Schedule - U.S. Region
• Investigative Costs

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   • Notification of Determination
   • Notification Response
   • Notification Response - U.S. Region
   • Willful Violation - U.S. Region
   • Willful Violations

   Chapter 5: Visa Products and Services

   • Cardholder Signature Requirements - U.S. Region

   Chapter 6: Payment Acceptance

   • Cardholder Signature Requirements

   Glossary

   • Appeal Committee - U.S. Region
   • Egregious Violation - U.S. Region
   • Notification
   • Notification - LAC Region
   • Notification - U.S. Region
   • Willful Violation - U.S. Region

   Appendices

   • Standards and Specifications

   ID#: 100411-010100-0026289



   EMV Liability Shift Expansion and Revisions


   Background

   The Operating Regulations have been revised to support the expansion of the EMV liability shift in the
   AP, Canada, and LAC Regions. Specific dates were approved for Australia, New Zealand, Canada,
   Brazil, Mexico, and the remaining countries in the LAC Region.


   Effective Date

   31 March 2011

   1 April 2011




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1 October 2012

1 April 2013

1 October 2014


Regulation Changes

Added or revised the following:

Chapter 5: Visa Products and Services

• EMV Liability Shift - Acquirer Liability for Account Generated Counterfeit Fraud
• EMV Liability Shift - Issuer Liability for Card-Present Counterfeit Chip Card Transactions
• EMV Liability Shift - Issuer Liability for Non-Counterfeit Card-Present Fraudulent Transactions
• EMV Liability Shift Participation
• Issuer Liability for Chip-Initiated Offline-Authorized Transactions - Canada Region
• Liability in Card-Present Environment - Canada Region

Chapter 6: Payment Acceptance

• EMV Liability Shift - Acquirer Liability for Card-Present Counterfeit Card Transactions
• EMV Liability Shift - Acquirer Liability for Non-Counterfeit Card-Present Fraudulent Transactions
• Visa Easy Payment Service (VEPS) Transaction Cardholder Verification Method
• Acquirer Liability for Chip Transactions Authorized Offline - Canada Region
• Acquirer Liability for Chip Transactions in Card-Present Environment - Canada Region

Chapter 8: Risk Management

• Assignment of Liability for Counterfeit Transactions

Chapter 9: Dispute Resolution

• Additional Information - Reason Code 70
• Additional Information - Reason Code 81
• Chargeback Conditions - Reason Code 62
• Chargeback Conditions - Reason Code 81
• EMV Liability Shift - Account Generated Counterfeit Fraud
• Invalid Chargebacks - Reason Code 70

ID#: 100411-010100-0026292




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                                                  #: 1781
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   Primary Account Number Suppression


   Background

   Revisions have been made to align the regional requirements for Account Number suppression on
   the Cardholder copy of a Transaction Receipt. In addition, revisions throughout the regulations
   provide greater clarity and consistency regarding Account Number requirements. These revisions
   require all but the last four digits of the Cardholder Account Number to be suppressed on the
   Cardholder copy of all Transaction Receipts generated from electronic terminals, including ATMs and
   Cardholder-Activated Terminals.


   Effective Date

   1 October 2011 for all new terminals

   1 October 2014 for all existing terminals


   Regulation Changes

   Added or revised the following:

   Chapter 6: Payment Acceptance

   • Cardholder-Activated Terminals - LAC Region
   • Electronic Commerce Account Number Requirements
   • Primary Account Number Truncation of Electronic Point-of-Sale Receipts - CEMEA Region
   • Transaction Receipt Requirements

   ID#: 100411-010100-0026290




   Miscellaneous Topics

   Visa FeatureSelect - Support for Non-Visa Products


   Background

   U.S. Regional Operating Regulation revisions were approved to provide support for non-Visa card
   products within Visa FeatureSelect, a product allowing subscribing issuers a single source to manage
   their suite of cardholder enhancements for Visa and non-Visa card products. Additionally, a new
   requirement was introduced specifying that a Member using a non-Visa BIN in connection with a Visa
   product or service must maintain the accuracy of the information related to such BIN.


   Effective Date

   8 November 2010

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Regulation Changes

Added or revised the following:

Chapter 3: The Visa License

• Non-Visa-Assigned BIN Management - U.S. Region

Chapter 5: Visa Products and Services

• Issuer Participation in Visa FeatureSelect - U.S. Region

Glossary

• Visa FeatureSelect - U.S. Region

ID#: 100411-010100-0026302



Dispute Resolution Documentation Requirement Updates


Background

The previously-announced elimination of Retrieval Request Reason Code 29, "T&E Document
Request," and Retrieval Request Reason Code 30, "Request Due to Cardholder Dispute," has been
postponed until further notice.

In addition, to eliminate possible Member confusion, clarifications have been made to Issuer
certification requirements for fraud Chargeback reason codes.


Effective Date

24 January 2011

16 April 2011

15 October 2011


Regulation Changes

Added or revised the following:

Chapter 9: Dispute Resolution

• Chargeback Processing Requirements - Reason Code 62
• Chargeback Processing Requirements - Reason Code 81
• Chargeback Processing Requirements - Reason Code 81
• Representment Rights and Limitations - Reason Code 62
• Representment Rights and Limitations - Reason Code 81


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   • Representment Rights and Limitations - Reason Code 83
   • Request for Transaction Receipt Copy and Substitute Transaction Receipt
   • Transaction Receipt Fulfillment Exceptions

   ID#: 100411-010100-0026301



   Visa Consumer Credit Rewards Program Alignment


   Background

   Revisions were made to align the rewards requirements for Visa Traditional, Visa Signature, and Visa
   Signature Preferred by moving the detailed requirements for Visa Traditional from the Operating
   Regulations to the Visa Traditional Rewards Toolkit.


   Effective Date

   17 February 2011


   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Application of Rewards Currency Value - U.S. Region
   • Cash Equivalent Rewards Redemption - U.S. Region
   • Per-Mile Spending Requirements for Visa Traditional Rewards Cards - U.S. Region
   • Rewards Currency - Issuer Requirements - U.S. Region
   • Rewards Currency Minimum Cumulative Value - U.S. Region
   • Rewards Currency Requirements - U.S. Region
   • Rewards Redemption Options - U.S. Region
   • Visa Traditional Rewards Card Air Miles Requirements - U.S. Region
   • Visa Traditional Rewards Program Participation - U.S. Region

   ID#: 100411-010100-0026305



   Dispute Resolution Clarifications


   Background

   Dispute resolution rules have been revised to eliminate an AP Region-specific limitation for
   Chargeback Reason Code 77, "Non-Matching Account Number." Other revisions have been made to
   align, clarify and streamline dispute resolution language.


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Effective Date

16 April 2011

15 October 2011


Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• Manual Cash Disbursements - Chargeback Reasons - U.S. Region
• Proper Disclosure of Limited Return Policies - U.S. Region
• Proper Disclosure of Limited Return Policies 5.3.D.5
• Timeshare Merchants - Special Credit Refund Requirements

Chapter 9: Dispute Resolution

• Arbitration Filing Reasons
• Chargeback Processing Requirements - Reason Code 85
• Chargeback Processing Requirements - Reason Code 86
• Chargeback Rights and Limitations - Reason Code 77
• Chargeback Rights and Limitations - Reason Code 81
• Chargeback Rights and Limitations - Reason Code 83
• Chargeback Time Limit - Reason Code 85
• Copy of Transaction Receipt for Legal Proceeding or Law Enforcement Investigation
• Documentation - Reason Code 41
• Invalid Chargebacks - Reason Code 82
• Representment Processing Requirements - Reason Code 62
• Representment Processing Requirements - Reason Code 76
• Representment Processing Requirements - Reason Code 81

ID#: 100411-010100-0026304



Definitions


Background

The Operating Regulations Glossary has been updated and streamlined. Revisions include deletion
of terms that no longer appear in the main body of the Operating Regulations, globalization of some
terms, and the deletion or modification of definitions that are either repetitive or no longer meaningful.
In addition, associated minor editorial revisions have been made for consistency and clarity.



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                                                  #: 1785
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   Effective Date

   Upon publication

   ID#: 100411-010100-0026307



   Visa Interchange Directory Update


   Background

   Visa Interchange Directory update requirements have been aligned for all regions, and related region-
   specific rules and definitions have been globalized.


   Effective Date

   Upon publication.


   Regulation Changes

   Added or revised the following:

   Chapter 3: The Visa License

   • Visa Interchange Directory Changes - U.S. Region
   • Visa Interchange Directory Update Form
   • Visa Interchange Directory Update Form - U.S. Region

   Glossary

   • Visa Interchange Directory
   • Visa Interchange Directory - U.S. Region
   • Visa Interchange Directory Update Form

   ID#: 100411-010100-0026303




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AP Region Major Topics

Introduction of Visa Signature Business Product Issuance Guidelines in the
AP Region


Background

To best complement Issuers’ existing premium consumer Cards, Operating Regulations were
approved to permit and regulate the issuance of a Visa Signature Business product in the AP Region.
In addition, minor updates were made to the Visa International Operating Regulations to support the
Visa Signature Business product.


Effective Date

1 January 2011


Regulation Changes

Added or revised the following:

Chapter 5: Visa Products and Services

• Visa Signature Business Card - Other Requirements – AP Region
• Visa Signature Business Card Additional Core Services – AP Region
• Visa Signature Business Card Authorization Requirements – AP Region
• Visa Signature Business Card BIN Requirements – AP Region
• Visa Signature Business Card Core Services – AP Region
• Visa Signature Business Card Delinquent Accounts – AP Region
• Visa Signature Business Card Emergency Assistance Services – AP Region
• Visa Signature Business Card Global Customer Care Services – AP Region
• Visa Signature Business Card Issuance – AP Region
• Visa Signature Business Card Marketing Support – AP Region
• Visa Signature Business Card Reporting Services – AP Region
• Visa Signature Business Card Rewards Program Requirements – AP Region
• Visa Signature Business Card Spending Limit – AP Region

Glossary

• Visa Signature Business - AP Region

ID#: 100411-010100-0026310




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   Australia, New Zealand, and India Domestic Operating Regulations Integration


   Background

   The Domestic Operating Regulations for India, New Zealand, and Australia were eliminated and,
   where applicable, integrated into the AP Regional Operating Regulations. In addition, minor revisions
   were approved to update the Visa International Operating Regulations to support the integration.


   Effective Date

   6 January 2011


   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Chip Card Issuing Requirements in Australia - AP Region
   • Chip Card Issuing Requirements in New Zealand - AP Region
   • Dynamic Data Authentication in Australia and New Zealand - AP Region
   • PIN as Cardholder Verification Method in Australia – Issuer Requirements – AP Region
   • PIN as Cardholder Verification Method in New Zealand – Issuer Requirements – AP Region
   • Verified by Visa in Australia - AP Region
   • Verified by Visa in New Zealand - AP Region
   • Visa Signature Card Requirements in Australia – AP Region

   Chapter 6: Payment Acceptance

   • ATM EMV Capability in Australia and New Zealand – AP Region
   • Australia Small Ticket Transaction General Requirements – AP Region
   • Australia Visa Easy Payment Service Transaction Cardholder Verification – AP Region
   • Australia Visa Easy Payment Service Transaction Merchant Category Codes – AP Region
   • Cash-Back Services in Australia – AP Region
   • Cash-Back Services in India - AP Region
   • Cash-Back Services Participation Requirement in Australia – AP Region
   • Chip Card Acceptance in Australia – AP Region
   • Chip Card Acceptance in New Zealand – AP Region
   • Chip Reading Terminal Requirements in Australia – AP Region
   • Chip Reading Terminal Risk Management in Australia – AP Region
   • Domestic Chip Floor Limits in Australia – AP Region
   • Domestic Non-Chip Floor Limits in Australia – AP Region


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• Government Payments in Australia - AP Region
• Manual Cash Disbursement Cardholder Identification Requirements in Australia – AP Region
• mChek Platform - Issuer Requirements
• mChek Platform - Acquirer Requirements

Chapter 7: Transaction Processing

• Acquirer Stand-In Authorization for Domestic Visa Transactions in Australia – AP Region
• Australia Bill Payment Transaction BASE II Data Requirements – AP Region
• Australia Bill Payment Transaction Receipt Data Requirements – AP Region
• Australia Bill Payment Transaction Requirements – AP Region
• Australia Domestic Processing Error Notification Requirements – AP Region
• Australia Interchange File Exchange Settlement Cut-Off Time for BASE II Processors - AP Region
• Australia Local Settlement Bank Fee – AP Region
• Australia Processing Error Advice to Visa – AP Region
• Issuer Availability in Australia – AP Region
• Required Use of VisaNet for Processing in Australia – AP Region

Chapter 8: Risk Management

• Australia and New Zealand Acquirer Compliance Program for Payment Card Industry Data Security
  Standards (PCI DSS) – AP Region
• Card Verification Value 2 (CVV2) Requirements in Australia – AP Region
• Card Verification Value 2 (CVV2) Requirements in New Zealand – AP Region
• PIN as Cardholder Verification Method in Australia – Acquirer Requirements – AP Region
• PIN as Cardholder Verification Method in New Zealand – Acquirer Requirements – AP Region
• Recovered Card Rewards in Australia – AP Region

Glossary

• Australia Bill Payment Transaction – AP Region
• Bill Payment Transaction – Australia – AP Region
• Level 4 Merchant in Australia and New Zealand – AP Region
• mChek (mChek India Payment Systems Pvt. Ltd.) - AP Region
• mChek Platform - AP Region
• Static Data Authentication – AP Region

Appendices

• Risk Management

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   Visa Merchant Trace System (VMTS) in the AP Region


   Background

   The Visa Merchant Trace System (VMTS) is a risk management service which provides clients with
   access to an online, multi-functional database designed to facilitate the Merchant acquisition due
   diligence process. The AP Regional Operating Regulations have been revised to require AP
   Acquirers in specified countries to enter terminated Merchant details into the Visa Merchant Trace
   System (VMTS) database within one business day of terminating a merchant for cause. Members
   who fail to comply will be subject to a fine under the existing General Schedule of Fines in the Visa
   International Operating Regulations. In addition, an Acquirer that has knowingly failed to enter details
   of a Merchant terminated for cause could be subject to an additional higher fine under the Visa
   International Operating Regulations provision for Willful Violations.


   Effective Date

   1 March 2011


   Regulation Changes

   Added or revised the following:

   Chapter 8: Risk Management

   • Required Use of Visa Merchant Trace System - AP Region

   Glossary

   • Visa Merchant Trace System – AP Region

   Appendices

   • Risk Management

   ID#: 100411-010100-0026311



   VisaNet Processing in South-East Asia


   Background

   New Operating Regulations were approved to require processing of domestic Visa point-of-sale
   Transactions in specific South-East Asia markets through VisaNet. This includes all On-Us
   Transactions.




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Effective Date

1 April 2011

1 October 2011


Regulation Changes

Added or revised the following:

Chapter 1: Visa Operating Regulations Governance

• Private Processing Arrangements Prohibition - AP Region

Chapter 7: Transaction Processing

• Required Use of VisaNet for Processing - AP Region

Glossary

• Private Processing Arrangement - AP Region

ID#: 100411-010100-0026309




Canada Region Major Topics

Revisions to Fraud Protection for Transactions at Oil and Gas Merchants in
Canada


Background

Operating Regulation revisions were approved to support alignment with the Canada EMV liability
shift dates, effective 31 March 2011, and extend the protection for contactless Transactions at
Automated Fuel Dispenser (AFD) Merchants in Canada up to and including CAD $100 for
Transactions completed on or after 1 December 2010 through 30 September 2013.


Effective Date

31 March 2011

For Transactions completed on or after 1 December 2010 through 30 September 2013




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   Regulation Changes

   Added or revised the following:

   Chapter 9: Dispute Resolution

   • Chargeback Rights and Limitations - Reason Code 81

   ID#: 100411-010100-0026314




   LAC Region Major Topics

   Revisions to the Visa Cargo Product


   Background

   In order to enhance the Visa Cargo product features, revisions were approved for the issuance of the
   Visa Cargo Card product and incorporate a formal definition of Visa Cargo Card in the terms and
   definitions of the Operating Regulations.


   Effective Date

   11 November 2010


   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Visa Cargo Core Services - LAC Region
   • Visa Cargo Issuer Reporting Requirements - LAC Region
   • Visa Cargo Issuer Requirements - LAC Region

   Glossary

   • Visa Cargo Card - LAC Region

   ID#: 100411-010100-0026319




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U.S. Region Major Topics

Clarification of CPS/Small Ticket IRF Criteria for Visa Easy Payment Service
(VEPS) Transactions


Background

Revisions to the U.S. Regional Operating Regulations were made to clarify and accurately restate
CPS/Small Ticket Interchange Reimbursement Fee (IRF) qualification criteria for Visa Easy Payment
Service (VEPS) Transactions. These revisions also reflect a correction to the edit criteria for CPS/
Small Ticket eligibility as implemented with the April 2011 VisaNet Business Enhancements Release.


Effective Date

16 October 2010


Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• U.S. Small Ticket and No Signature Required Merchant Category Code Exclusions - U.S. Region

Chapter 10: Pricing, Fees and Interchange

• CPS/Small Ticket Merchant Category Codes - U.S. Region

ID#: 100411-010100-0026324



Consumer Cardholder Identifier Requirements


Background

Revisions to the US Regional Operating Regulations were made to align the requirements for
Cardholder identifier and expiration dates on instant issue Consumer Visa Check Cards with global
requirements.


Effective Date

11 November 2010




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   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Cardholder Name on Instant Issue Cards - U.S. Region
   • Maximum Expiration Date for Instant Issue Cards - U.S. Region
   • Reissue of Instant Issue Cards - U.S. Region

   ID#: 100411-010100-0026323



   Reason Code 74, "Late Presentment," Time Frame Revisions


   Background

   To align dispute rules with existing Acquirer Clearing requirements, revisions to Chargeback Reason
   Code 74, “Late Presentment,” reduce the time frame limitation for U.S. domestic purchase
   Transactions from 30 days to the existing Acquirer Clearing time frame requirements according to
   Merchant type. In addition, “account status problem” descriptions now include insufficient funds (NSF)
   status.


   Effective Date

   Effective for Chargebacks processed on or after 18 May 2011


   Regulation Changes

   Added or revised the following:

   Chapter 9: Dispute Resolution

   • Chargeback Processing Requirements - Reason Code 74
   • Chargeback Rights and Limitations - Reason Code 74

   ID#: 100411-010100-0026321




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Other Revisions


Minor Edits, Grammar, Punctuation, and Rephrasing

The Visa International Operating Regulations is updated throughout the year and published to
support new products, services and programs, and to modify existing rules to respond to changes in
the electronic payments industry. Part of this update process includes incorporating minor editorial
revisions to ensure consistency and clarity and to delete obsolete language.

ID#: 080411-010100-0026326



Effective Dates

Most effective dates older than one year have been deleted.

ID#: 080411-010100-0026327




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   About the Operating Regulations

   General Overview

   What are Operating Regulations?


   Purpose (Updated)

   Visa has established regulations that are designed to minimize risks and provide a common,
   convenient, safe, and reliable global payment experience. The Visa International Operating
   Regulations are set and modified by Visa to support the use and innovation of Visa products and
   services, and represent a binding contract between Visa and all Members. The Operating
   Regulations do not constitute a third-party beneficiary contract as to any entity or person, nor do they
   constitute a contract, promise or representation, or confer any rights, privileges, or claims of any kind
   as to any third parties.

   The Visa International Operating Regulations are based on consistent principles around the globe to
   ensure a common payment experience, while supporting region-specific and domestic regulations
   that allow for variations and unique marketplace needs. The Visa International Operating Regulations
   are proprietary and confidential to Visa. The Visa International Operating Regulations are distributed
   to Members for use exclusively in managing their Visa programs and must not be duplicated,
   published, distributed or disclosed, in whole or in part, to Merchants, Cardholders, or any other
   person without prior written permission from Visa.

   ID#: 050411-010410-0020308



   General Contents (Updated)

   The Visa International Operating Regulations specifies standards that all Members must meet to
   operate and participate in Visa payment services, and contains:

   • The International regulations applicable to all Members of Visa International and its subsidiaries
   • AP Regional Operating Regulations applicable to Members operating in the Asia-Pacific Region,
     including clients of Visa Worldwide Private Ltd.
   • Canada Regional Operating Regulations applicable to customers operating in the Canada Region
   • CEMEA Regional Operating Regulations applicable to Members operating in the Central Europe,
     Middle East, & Africa Region
   • LAC Regional Operating Regulations applicable to Members operating in the Latin America &
     Caribbean Region
   • U.S. Regional Operating Regulations applicable to Members operating in the U.S. Region

   Content unique to a specific region is indicated within titles, language, and system attributes.




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Note: As a separate company, Visa Europe independently manages the publication of the Visa
Europe Operating Regulations. Common regulations that are necessary to ensure the continued
interoperability and consistency of the Visa brand, global payment transactions and system
interoperability are found in both the Visa International Operating Regulations and the Visa Europe
Operating Regulations.

ID#: 050411-010410-0020309



What Do Operating Regulations Include?


General

The Visa International Operating Regulations is organized according to the "Visa International
Operating Regulations - Core Principles" that describes the expectations and requirements for
participating in the Visa system. These Core Principles are outlined below and are also described at
the beginning of each chapter. They are intended to:

• Serve as fundamental policy statements that describe the rules and processes designed to ensure
  the long-term value and reliability of Visa's products, system and brand
• Be presented in general terms as broad guidelines or statements of intent to guide business
  discussions, dealings and decisions, absent a specific rule
• Provide global consistency for the integrity of the Visa brand and system

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   Organization

   Operating Regulations Structure

   Chapter Descriptions

   The Operating Regulations are organized according to the "Visa International Operating Regulations -
   Core Principles" that describe the expectations and requirements for participating in the Visa system.

   Core Principle 1: Visa Operating Regulations Governance - Outlines the scope and application of
   the Visa International Operating Regulations, a Member's requirement to comply with the Operating
   Regulations, and general fines for non-compliance.

   Core Principle 2: Visa System Participation - Specifies minimum requirements for Members, Third
   Parties and VisaNet Processors, including liability and indemnification provisions.

   Core Principle 3: The Visa License - Specifies various license, copyright and trademark
   provisions.

   Core Principle 4: The Visa Brand - Specifies Member requirements for reproduction of the Visa-
   Owned Marks, including Card production, promotions, sponsorships and responsibilities for non-Card
   use of the Visa-Owned Marks.

   Core Principle 5: Visa Products and Services - Specifies both Issuer requirements for
   participation in the Visa, Visa Electron and Plus programs, and Acquirers with respect to Acquirer-
   Merchant contracts, terminal requirements, Electronic Commerce and participation in the Visa Global
   ATM Program.

   Core Principle 6: Visa Payment Acceptance - Specifies requirements for Merchants, including
   Transaction acceptance, special Merchant payment acceptance services and Transaction Receipt
   completion and processing.

   Core Principle 7: Transaction Processing - Specifies Member requirements for payment
   processing, including Authorization, Clearing, and Settlement.

   Core Principle 8: Risk Management - Specifies general security requirements, the rights and
   responsibilities of Visa and Members related to risk management and security, counterfeit losses, and
   the Visa risk management services.

   Core Principle 9: Dispute Resolution - Governs the Transaction Receipt retrieval process, as well
   as a Member's attempts to resolve disputes and the processes available to the Member if its resolution
   efforts are unsuccessful. These processes include Chargebacks, Representments, Arbitration, and
   Compliance.

   Core Principle 10: Pricing, Fees and Interchange - Specifies international fees applicable to
   Members, Interchange Reimbursement Fees, and procedures for collection, disbursement, and
   problem resolution.

   Exhibits - Groups exhibits by topic for easy reference.



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Maximum Authorized Floor Limits - Lists maximum authorized Floor Limits according to country.

Defined Terms - Lists terms used throughout the Visa International Operating Regulations that
have a meaning beyond, or in lieu of, their dictionary meaning.

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   Other Publications

   References to Other Publications

   Extensions to the Operating Regulations

   The Visa International Operating Regulations refers to other Visa publications. Information in these
   publications is considered an extension of the Visa International Operating Regulations and applies if
   a Member participates in its respective services. The Visa International Operating Regulations
   governs in the event of any inconsistency or contradiction. Other Visa publications include:

   • Visa International Certificate of Incorporation and Bylaws
   • Visa U.S.A. Inc. Certificate of Incorporation and Bylaws
   • Interlink Network, Inc. Bylaws and Operating Regulations
   • Visa Cash Program Operating Regulations
   • Plus System, Inc. Bylaws and Operating Regulations
   • Visa Product Brand Standards

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Authoring Style

General Authoring Conventions

Grammar and Usage

The following conventions apply to grammar and usage throughout the Visa International Operating
Regulations:

• "Visa" refers to any Visa Region, regional office, management or committee as applicable
• "Visa International Operating Regulations" refers to content from the Visa International Operating
  Regulations and all Regional Operating Regulations.
• The singular imports the plural, and the plural imports the singular. For example: "A Merchant must
  ...," implies that "All Merchants must..."
• Combination of Terms:
     - The term "Transaction" when combined with a Merchant type means a Transaction completed at
       that Merchant Outlet or Branch. For example: "Airline Transaction" means "a Transaction at an
       Airline."
     - The term "Cardholder" when combined with a Card product name means the Cardholder of that
       Card type. For example: "Visa Electron Cardholder" or "Visa Classic Cardholder"
     - Other terms may be combined in a similar manner

ID#: 010410-010410-0020313



Symbols and Style

In the Visa International Operating Regulations, special symbols and conventions are used as
follows:

• Words that appear with initial capitalization have a special meaning beyond, or in lieu of, their
  dictionary meaning. These terms are specified in Defined Terms.
• Bold type is used for visual emphasis
• References to other documents and sections within the document are included as a hyperlink and
  either formatted in italics or enclosed within quotation marks

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   Changes to the Operating Regulations

   Changes to the Visa International Operating Regulations will be communicated and identified as part
   of the "Summary of Changes" for each edition.

   Unless an effective date is specified in the text for a change to the Visa International Operating
   Regulations, all changes are effective on the publication date.

   ID#: 010410-010410-0020315




   Contents Numbering

   Section Numbering


   Unique Regulation Identifiers (Updated)

   Legacy alpha-numeric section numbering designed for traditional book publishing has been replaced
   with a unique regulation Identification (ID) code more appropriate for dynamic online publication
   capabilities.

   The unique ID remains with each regulation for as long as the regulation remains unchanged. If
   modified, the regulation ID is updated to reflect the date of change, but a unique 7-digit reference
   number is retained to allow users to easily track the lifecycle of any given regulation. When searching
   by section number, or quoting a particular section within the Visa International Operating Regulations,
   the user may use or refer to the final digits in the ID sequence as the regulation number.

   ID#: 050411-010410-0020316



   Unique Identifier Format

   The new regulation ID format includes the date the regulation section was published, its effective
   date, and a unique 7-digit reference number. The format is as follows:

   (Publication date) DDMMYY - (Effective date) DDMMYY - (unique 7-digit reference #) 1234567

   Sample: ID# 090909-171009-0003557


   ID#: 010410-010410-0020317




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Chapter 1: Visa Operating Regulations Governance

Core Principle 1.1

The Operating Regulations


Binding Contract

The Visa Operating Regulations represent a binding contract between Visa and participants in the
system.

ID#: 010410-010410-0007750




Core Principle 1.2

Visa Management


Setting the Rules

Visa Operating Regulations are set and modified by Visa management to support the use of Visa
products and services for all participants in the electronic payments chain. To protect the Visa system
and brand, maintain its leadership position, and deliver competitive value to all system participants,
Visa constantly evaluates marketplace trends, technological developments, and opportunities for
greater efficiency or innovation, and modifies its rules to respond to business and technology trends.

ID#: 010410-010410-0007751




Core Principle 1.3

Compliance


Monitoring Compliance

Visa actively and reactively monitors compliance with Visa Operating Regulations, for product, brand
and technical requirements, merchant acceptance procedures, and industry-wide standards.

ID#: 010410-010410-0007752




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   Core Principle 1.4

   Consistency


   Ensuring a Common Experience

   Visa Operating Regulations are based on consistent principles around the globe to ensure a common
   experience, while supporting region-specific and domestic rules that allow for variations and unique
   marketplace needs.

   ID#: 010410-010410-0007753




   Core Principle 1.5

   Conflicts


   Settling Conflicts

   In the event of any conflict between the Visa Operating Regulations and any applicable laws or
   regulations, the requirements of such law or regulation will govern.

   ID#: 010410-010410-0007754




   Core Principle 1.6

   Variances and Waivers


   Granting Variances and Waivers

   Visa management may grant variances or temporary waivers to Visa Operating Regulations for
   unique marketplace conditions and customer needs, including emergency variances that may be
   granted in the event of a natural disaster.

   ID#: 010410-010410-0007755




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Use and Application of Bylaws and Operating Regulations

Obligation to Comply with Bylaws and Visa International Operating
Regulations


Visa International Bylaws

The Visa International Certificate of Incorporation and Bylaws specify the minimum standards with
which Members must comply unless the Board of Directors specifically grants a variance. Visa U.S.A.
Inc. and Visa Canada have separate bylaws governing their Members. In addition, the Visa
International Certificate of Incorporation and Bylaws delegate certain authority to the Regional
Offices.

ID#: 010410-010410-0000342



Appendix E - Canada Region

A Canada Member must comply with "Appendix E" to the Visa Canada Operating Regulations.

ID#: 010410-010410-0003767



Use and Application of Operating Regulations


Applicable Laws

A Member must comply with applicable laws and a Transaction must be legal in both the Cardholder's
jurisdiction and the Merchant Outlet's jurisdiction. In the event of any conflict between the Visa
International Operating Regulations and any applicable law, the requirements of the law govern. See
also:

• "Cardholder Notifications"
• "Merchant Agreement"

ID#: 010410-010410-0000385



Definition of a U.S. Domestic Transaction - U.S. Region

A Transaction is considered a U.S. Domestic Transaction if it occurs inside one of the following:

• The 50 United States, including the District of Columbia
• A U.S. military base overseas
• A U.S. embassy or consulate on foreign territory

ID#: 010410-010410-0003684




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   Use of the Visa International Operating Regulations

   The Visa International Operating Regulations are only to be reviewed or used in connection with the
   Visa payment services and must not be used, modified, copied, downloaded, transferred, or printed
   in part or in total for any other purpose without the express written permission of Visa.

   The Visa International Operating Regulations govern the relationship between Visa and its Members
   and their agents. The Visa International Operating Regulations do not constitute a third-party
   beneficiary contract as to any entity or person, nor do they constitute a contract, promise, or
   representation or confer any rights, privileges, or claims of any kind, as to any third parties.

   Visa may amend, modify, delete, or otherwise change the Visa International Operating Regulations at
   any time. Changes will be reflected in the next edition of the Visa International Operating Regulations.

   ID#: 081010-010410-0007428



   Use and Application of the U.S. Regional Operating Regulations - U.S. Region

   The U.S. Regional Operating Regulations apply only to financial institutions conducting Card issuing
   and Merchant acquiring activities within the U.S. Region as Members of Visa U.S.A. Inc. and their
   Agents. As such, the U.S. Regional Operating Regulations govern the relationship between Visa
   U.S.A. Inc. and its Members and their Agents.

   ID#: 010410-010410-0003436



   Operating Regulation Violations - Canada Region

   A Canada Member must not do anything to cause Visa Canada to violate the Canada Regional
   Operating Regulations or the Visa International Operating Regulations.

   ID#: 010410-010410-0003760



   Obligations Imposed on Visa Canada - Canada Region

   A Canada Member must perform obligations imposed on Visa Canada under the Canada Regional
   Operating Regulations or the Visa International Operating Regulations that arise out of Interchange or
   a Transaction resulting in Interchange, between the Member and a non-Member of Visa Canada.

   ID#: 010410-010410-0003768



   Obligation to Comply with the “Code of Conduct” – Canada Region

   Effective 16 August 2010, in the Canada Region, all Members must abide by the "Code of Conduct
   for the Credit and Debit Card Industry" as outlined in Appendix 1 as it may be amended from time to
   time (the "Code"). Members must ensure that all participants which the Member is responsible for
   under the Visa International Operating Regulations including participants that interact, directly or
   indirectly with Merchants or Cardholders (including without limitation, VisaNet Processors and Third
   Parties) on behalf of the Member must abide by the Code.




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Effective 16 August 2010, All Members will be required, on an annual basis, to submit to Visa:

• By 31 January of each year, an officer's certificate, in the form attached as Schedule A-1, confirming
  their compliance with the Code.
• By 15 August of each year, a Code of Conduct Compliance Questionnaire in the form required by
  Visa from time to time.

A Member that fails to submit a completed officer's certificate or questionnaire as required will be
subject to a penalty of CAD $100,000 per month of non-compliance.

Visa may, in its sole discretion, charge any Member or Members, fees charged to Visa Canada by the
Financial Consumer Agency of Canada with respect to compliance with the Code, where such fee is
attributable to that Member or its VisaNet Processor or its Third Party.

ID#: 081010-160810-0025973



Obligation to Comply with Operating Regulations


Visa International Operating Regulations

The Visa International Operating Regulations specify the common rules with which Members must
comply when operating and participating in the Visa, Visa Electron, Visa Cash, Plus, Interlink, and
Visa TravelMoney Programs, unless Visa specifically grants a variance.

ID#: 010410-010410-0000343



Obligation to Comply with Card Design Specifications

Issuers must comply with the following specifications for Card design, as applicable:

• Visa Product Brand Standards for all Visa and Visa Electron Cards
• Visa Cash Program Operating Regulations
• Visa TravelMoney Product Guide

ID#: 010410-010410-0007012



Member Responsibilities - U.S. Region (Updated)

A U.S. Member must perform all obligations imposed on Visa U.S.A. Inc. under the Visa International
Operating Regulations that arise out of Interchange or a Transaction resulting in Interchange between
the Member and a Foreign Licensee.

The Member must not do anything to cause Visa U.S.A. Inc. to violate the Visa International
Operating Regulations.

ID#: 050411-010210-0000349




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   Local, Domestic, and Regional Operating Regulations and
   Private Agreements

   Regional Operating Regulations


   Visa International Operating Regulations - Canada Region

   Except as otherwise provided in the Canada Regional Operating Regulations and any Services
   Agreement, the provisions of the Visa International Operating Regulations apply to Canada Members
   operating in the Canada Region.

   ID#: 010410-010410-0000380



   National, Group Members, and Private Agreements


   Private Processing Arrangements Prohibition — AP Region (New)

   Effective 1 April 2011, Private Processing Arrangements are prohibited in the AP Region for
   Members in Malaysia, Philippines, Singapore, Thailand and Vietnam.

   ID#: 050411-010411-0026202



   Private Arrangements Prohibition - U.S. Region

   Private Arrangements are prohibited in the U.S. Region.

   ID#: 010410-010410-0000384




   Extensions to the Operating Regulations

   Publications with Equivalent Authority


   Authority of Other Publications

   The requirements in the publications referenced throughout the Visa International Operating
   Regulations have the same authority as the Visa International Operating Regulations. They are
   binding upon participants in the services referenced. The Visa International Operating Regulations
   govern in the event of any inconsistency or contradiction, unless Visa specifically grants a variance.

   ID#: 010410-010410-0007426




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Variances to the Operating Regulations

Variances - Procedures


Board Powers

Visa, by a majority vote of the directors in attendance at any meeting of the Board of Directors where
a quorum is present, may adopt, amend, or repeal variances to the Visa International Operating
Regulations to expand markets in previously uncommitted countries or to attract new Members.

ID#: 010410-010410-0000368



Variance Requests

A request for a variance to the Visa International Operating Regulations must be submitted to the
Board of Directors for approval if the variance meets any of the following criteria:

• Undermines the integrity of the Visa brand
• Contravenes a Visa core business principle, e.g., the "honor all Cards" rule
• Impacts fee rates

All other variances, including pilot program variances, that do not meet any of these criteria are
subject to approval by Visa.

ID#: 010410-010410-0000369



Emergency Variances

Visa may grant a Member an emergency variance to a specific operating regulation if the Member
cannot comply due to circumstances beyond its control, such as:

• Natural disasters
• Acts of war
• Government restrictions due to political unrest
• Failure of public infrastructure

ID#: 010410-010410-0000370



Time Limit for Emergency Variances

An emergency variance must not exceed 120 calendar days without Visa consent.

ID#: 010410-010410-0000371




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   Regional Variances


   Request for Variances, Waivers, and Pilots

   A request for a variance, waiver, or pilot for the Visa International Operating Regulations, the
   applicable Regional Operating Regulations, and all extensions must be approved by Visa.

   ID#: 010410-010410-0007420




   Confidentiality of Visa Materials

   Confidentiality Requirements


   Visa Confidential Materials

   A Visa Member must:

   • Maintain Visa confidential information in strict confidence
   • Not disclose any Visa confidential information
   • Store and handle Visa confidential information in such a way as to prevent unauthorized disclosure
   • Take reasonable measures to protect Visa confidential information and treat it with at least the
     degree of care with which a Member treats its own confidential and proprietary information
   • Disclose Visa confidential information only to those employees with specific need to know

   Disclosure to contractors of technical specifications is subject to "Confidentiality of VisaNet
   Information."

   ID#: 010410-010410-0000467



   Visa Confidential Materials - U.S. Region

   Except as specified in "Disclosure of BIN Information to Merchants - U.S. Region" a U.S. Member
   must:

   • Prevent disclosure of any Visa confidential information to any non-Member
   • Treat all Visa documents marked "Confidential" or "Visa Member Use Only" as confidential and
     proprietary information of Visa
   • Take reasonable measures to protect documents and treat them with at least the degree of care
     with which a Member treats its own confidential and proprietary information
   • Disclose confidential and proprietary information only to those employees with a specific need to
     know




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Disclosure to contractors of technical specifications is subject to "Confidential Information Disclosed
to Contractors."

ID#: 010410-010410-0000504



Confidentiality of VisaNet Information

VisaNet consists of confidential and proprietary information belonging to Visa. Each Member must
take appropriate action, by agreement or otherwise, to ensure that its employees or agents with
access to VisaNet are:

• Advised of the confidential and proprietary nature of these systems
                                                                                                   1
• Prohibited from providing access to or disclosing these systems to any third party
• Prohibited from using these systems for any purpose not authorized in the Visa International
  Operating Regulations

ID#: 010410-010410-0003669




Visa Right to Monitor, Audit, Inspect, or Investigate

Visa Right to Monitor, Audit, Inspect, or Investigate


Visa Right to Monitor, Audit, Inspect, and Investigate

Visa may:

• Inspect the premises of a Member or its agents or Merchants at any time and charge the Member a
  fee for this inspection
• Conduct an investigation or onsite review at the Member's expense
• Audit the records and procedures of any Member or agents

Visa may audit the records and procedures of any Issuer, and Merchant with which it has contracted
to sell Visa Prepaid Cards, including, but not limited to:

• Issuer shipping and storage security procedures
• Issuer procedures for issuance and distribution
• Merchant shipping and storage security procedures for Visa Prepaid Cards
• Merchant procedures for issuance and distribution of Visa Prepaid Cards




1
    A variance to this requirement applies in the U.S. Region.


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   For Visa Corporate and Visa Purchasing Card Issuers, Visa may also audit the records and
   procedures of the Issuer and of other agents or entities participating in the Issuer's multinational
   programs.

   • Monitor and inspect the security and quality control procedures of each Approved Manufacturer
     and Third-Party Personalizer
   • Audit and review the premises of an Approved Manufacturer or Third-Party Personalizer without
     notice at any time and request a production-run sample of:
     - Visa Cards or Visa Electron Cards
     - Security features of Visa Cards or Visa Electron Cards
   • Monitor an Acquirer to determine disproportionate fraud-to-sales ratios
   • Conduct security inspections at any agent or Merchant location that has excessive Fraud Activity

   ID#: 010410-010410-0007121



   Right to Request Cards (New)

   Effective 13 January 2011, Visa may, request a functional Visa Card, Visa Electron Card, Plus Card
   or access to any New Channel associated with any or all BINs owned or used by an Issuer.

   Upon written request, an Issuer must:

   • Provide Visa with a Visa Card, Visa Electron Card, Plus Card or access to any New Channel and
     its associated PIN within 30 calendar days
   • Personalize the Visa Card, Visa Electron Card, Plus Card, or New Channel, as specified by Visa

   ID#: 050411-130111-0026009



   Member Rights and Obligations


   Member Cooperation

   A Member or its agent, or a Merchant must cooperate fully with Visa in an investigation or onsite
   review. This cooperation includes providing access to the premises and to all pertinent records and
   releasing any information to Visa upon request.

   ID#: 010410-010410-0000469



   Appeals

   If an Acquirer believes that an imposed condition or a specific Merchant or Sponsored Merchant
   prohibition is unreasonable, it may appeal to Visa.

   ID#: 010410-010410-0006840




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Appeal Documentation and Decision

The Acquirer must prove in its appeal that the prohibition or imposed conditions are impractical or
unwarranted.

The decision of Visa is final.

ID#: 010410-010410-0007130



General Investigation Responsibilities


Member Investigation of Suspected Fraud VIOR 2.1.E (Updated)

A Member must comply with the Global Visa Acquirer Fraud Control Manual, the Global Visa Issuer
Fraud Control Manual, and What To Do If Compromised, and conduct a thorough investigation of
suspected or confirmed:

• Loss, theft, or compromise of Visa account or Cardholder information
• Loss, theft, or compromise of Visa account or Cardholder information by one of its agents or
  Merchants
• Fraud and/or laundering of a Transaction

ID#: 050411-010410-0007123



Prevention of Loss or Theft of Information

Effective 11 February 2010, after completing the investigation, the Member must demonstrate its
ability to prevent future loss, theft, or compromise of Visa account or Cardholder information, in
accordance with the requirements of the Account Information Security Program and the Payment
Card Industry Data Security Standard (PCI DSS).

ID#: 010410-110210-0025605



Additional Investigation

Visa may require a Member or its agent to conduct an additional investigation. If required, the
Member or its agent must:

• Cooperate fully with Visa
• Effective 11 February 2010, comply with the Visa investigation timeline, as specified in What To
  Do If Compromised
• Provide access to the premises involved in the investigation




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   • Effective 11 February 2010, provide Visa and/or its agent access to all applicable records,
     including, but not limited to:
     - Computer forensic reports
     - Network diagrams
     - Systems connected directly or indirectly to VisaNet or used to transmit, process, or store account
       data
   • Effective 11 February 2010, engage a Qualified Incident Response Assessor (QIRA) or Qualified
     Forensic Investigator (QFI). If the Member or its agent fails to do so, Visa may engage a QIRA or a
     QFI to perform a forensic investigation and will assess all investigative costs to the Member in
     addition to any applicable fine.

   ID#: 010410-010410-0007124



   Assistance to Other Members

   A Member must assist other Members in an investigation of fraudulent activity with a Visa Card or
   Visa Electron Card by performing tasks such as:

   • Interviewing Merchants, Sponsored Merchants, Cardholders, suspects, witnesses, and law
     enforcement personnel
   • Obtaining handwriting samples, photographs, fingerprints, and any other similar physical evidence
   • Recovering lost, stolen, or Counterfeit Visa Cards or Visa Electron Cards
   • Providing information to proper authorities for the possible arrest of suspects, at the Issuer's
     request
   • Performing any other reasonable investigative assistance
   • Inspecting the facilities of credit card manufacturers, embossers, encoders, mailers, and chip
     embedders

   ID#: 010410-010410-0007122



   Investigative Services Fee

   A Member that requests investigative services of other Members must pay an investigative service
   fee, as follows:

   • US $50 per hour (payable in half-hour increments)
   • US $0.20 per mile for necessary travel
   • Extraordinary out-of-pocket expenses

   A Member that performs investigative services for other Members must prepare an itemized
   statement for the Member requesting the services.

   ID#: 010410-010410-0008484




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Investigative Services Fee - U.S. Region

A U.S. Member performing investigative services at the request of another U.S. Member is entitled to
reimbursement of the following fees:

• US $50 per hour (payable in half-hour increments)
• Prevailing mileage rate (as permitted by the U.S. Government) for necessary travel
• Extraordinary out-of-pocket expenses

Payment must be made when an itemized statement is received from the Member providing the
service.

ID#: 010410-010410-0003971



Member Response Standards - CEMEA Region

A CEMEA Member must respond to a request from another CEMEA Member, Visa, or a law
enforcement agency

ID#: 010410-010410-0002249



Merchant Investigation Responsibilities


Investigation of Merchant Outlet

Visa may contact a Merchant Outlet directly and conduct an onsite investigation of the Merchant
Outlet at any time.

If the Merchant fails to correct a violation identified by Visa, Visa may, for reasons such as those
listed in "Visa Right to Terminate Merchant/IPSP or Sponsored Merchant," impose conditions upon
the Merchant or permanently prohibit the Merchant, or its principals, from participating in the Visa or
Visa Electron Program.

ID#: 010410-010410-0007429




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   Operating Regulations Compliance and Enforcement

   Fines and Penalties - General


   Visa Right to Fine

   The Visa International Operating Regulations contain enforcement mechanisms that Visa may use for
   violations of the Visa International Operating Regulations. The Operating Regulations also specify the
   procedure for the allegation and investigation of violations and the rules and schedules for fines and
   penalties.

   Visa may levy fines and penalties as specified in the Visa International Operating Regulations. Visa
   officers will enforce these fines and penalties.

   These procedures and fines are in addition to enforcement rights available to Visa under other
   provisions of the Visa International Operating Regulations, the applicable Certificate of Incorporation
   and Bylaws, or through other legal or administrative procedures.

   ID#: 010410-010410-0007280



   General Fines Schedule (Updated)

   The fines listed in the table below are in addition to any other fines or penalties specified in the Visa
   International Operating Regulations.


   General Schedule of Fines

                                       Violation                                                 Fine

                                                                              Effective 15 February 2011, warning
   First violation of regulation                                              letter with specific date for correction
                                                                              and US $1,000 fine

   Second violation of same regulation in a 12-month period after
                                                                              US $5,000 fine
   Notification of first violation

   Third violation of same regulation in a 12-month period after
                                                                              US $10,000 fine
   Notification of first violation

   Fourth violation of same regulation in a 12-month period after
                                                                              US $25,000 fine
   Notification of first violation

   5 or more violations of same regulation in a 12-month period after
                                                                              Visa discretion
   Notification of first violation

   If the 12-month period is not violation-free and the fines total US        Additional fine equal to all fines levied
   $25,000 or more                                                            during that 9-month period


   ID#: 050411-010410-0000482




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Fines and Penalties Process


Determination of Violation

Determination of a violation of the Visa International Operating Regulations may be made as follows:

• Based on the response from a Member to a Notification of investigation and other available
  information, Visa will determine whether a violation of the Visa International Operating
  Regulations has occurred.
• The Member's failure to respond to a Notification of investigation and to provide all information
  requested may result in a determination that a violation has occurred.

ID#: 010410-010410-0001052



Notification of Determination (Updated)

Effective 15 February 2011, Visa will notify a Member if it determines that a violation has occurred,
or if it determines that a violation is continuing to occur, and will specify a date by which the Member
must correct the violation. The Notification will advise the Member of the:

• Reasons for such determination
• Fines assessed
• Right to appeal the determination and/or the fines assessed for such violation

Effective 15 February 2011, Visa may require a Member to submit a compliance plan to resolve the
violation.

ID#: 050411-010410-0001053



Fine Assessment

All fines imposed by Visa are fines imposed on Members. A Member is responsible for paying all
fines, regardless of whether it absorbs the fines, passes them on, or increases them in billing its
customer (e.g., Cardholder, Merchant). A Member must not represent to its customer that Visa
imposes any fine on its customer.

ID#: 010410-010410-0001054



Collection of Fines (Updated)

Effective 15 February 2011, Visa will electronically collect all fines through Visa billing statements
after notifying the Member.

ID#: 050411-010410-0002449




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   Allegations and Investigations (Updated)

   Allegations of violations of the Visa International Operating Regulations may be brought to Visa's
   attention by:

   • A Member
   • Effective 15 February 2011, an Agent or a VisaNet Processor, through its registering Member
   • A Visa Officer

   Visa may investigate allegations of violations of the Visa International Operating Regulations.

   ID#: 050411-010410-0007366



   Notification Response (New)

   Effective 15 February 2011, a Member must respond to and provide information requested by Visa
   for a Visa International Operating Regulations violation that is under investigation.

   The Member must submit its response and information, within the time period specified, by mail,
   courier, facsimile, hand, e-mail, or other electronic delivery method. The Notification response is
   effective when posted, sent, or transmitted by Visa to the Member or its Agent.

   ID#: 050411-150211-0025974



   Fines and Penalties for Repetitive and Willful Violation


   Repetitive Violations

   Repetitive violations of the Visa International Operating Regulations incur heavier fines or other
   actions. A violation of any section qualifies as a repetitive violation only if the violating Member does
   not correct it by the date specified in the Notification.

   ID#: 010410-010410-0003645



   Time Period

   Penalties increase for repetitive violations within any 12-month period. The 12-month period begins
   on the date of the most recent Notification of the violation and ends following a 12-month period free
   of violations of that regulation.

   ID#: 010410-010410-0000478




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Willful Violations (Updated)

Effective 15 February 2011, in addition to the fines and penalties specified in "Fines and Penalties -
General," a Member found to have willfully violated the Visa International Operating Regulations,
adversely affecting the goodwill associated with the Visa system, brand, products and services, the
operation of the Visa Systems, or the operations of other Members, will be subject to a further fine. A
violation is considered "willful" if the Member knew, or should have known, or its knowledge can be
fairly implied, that its conduct constituted a violation of the Visa International Operating Regulations.

When determining the amount of a fine, in addition to the criteria above, the following will be
considered:

• Type of violation
• Nature of the damage, including the amount incurred by Visa and its Members
• Repetitive nature of the violation
• Member history or prior conduct
• Effect of the assessment upon the safety and soundness of the Visa system and the Member,
  including the Member committing the violation
• Any other criteria Visa deems appropriate

ID#: 050411-010410-0007288



Compliance - General


Compliance Programs - General

Visa rights and Member obligations for specific compliance programs, specified in "Compliance
Monitoring," follow the basic structure of fines described in "Operating Regulations Compliance and
Enforcement."

ID#: 010410-010410-0007040



Compliance Enforcement Appeals


Enforcement Appeals (New)
                                                                  2
Effective 15 February 2011, a Member may appeal a determination of a violation or fine to Visa as
follows:

• The Member's appeal letter must be received by Visa within 30 days of the Member's receipt of the
  Notification of the violation or fine.




2
    Appeal procedures are available from Visa upon request.


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   • The appealing Member must submit with the appeal any new or additional information necessary to
     substantiate its request for an appeal.
   • A fee of US $5,000 will be assessed to the Member upon receipt of the appeal. This fee is
     refundable if the appeal is upheld.

   Effective 15 February 2011, Visa bases its decision on the new information provided by the
   requesting Member. Each Member may submit arguments supporting its position. All decisions are
   final and not subject to any challenge.

   ID#: 050411-150211-0025975




   Right of Termination of Merchant or Agents

   Visa Rights


   Visa Right to Terminate Merchant, Internet Payment Service Provider or Sponsored
   Merchant

   Visa may permanently prohibit a Merchant, Internet Payment Service Provider (IPSP), Sponsored
   Merchant, or any other entity, or one of its principals, from participating in the Visa or Visa Electron
   Program for any reasons it deems appropriate, such as:

   • Fraudulent activity
   • Presenting Transaction Receipts that do not result from an act between a Cardholder and a
     Merchant (laundering)
   • Entering into a Merchant Agreement under a new name with the intent to circumvent the provisions
     of the Visa International Operating Regulations
   • Activity that causes the Acquirer to repeatedly violate the Visa International Operating
     Regulations
   • Activity that has resulted in a Regional Office prohibiting the Merchant from participating in the Visa
     or Visa Electron Program
   • Any other activity that may result in undue economic hardship or damage to the goodwill of the Visa
     system

   ID#: 010410-010410-0007120



   Revocation of Merchant Privileges

   Visa may fine an Acquirer that enters into a Merchant Agreement with a Merchant, Sponsored
   Merchant, or known principals of a Merchant that Visa has prohibited from participating in the Visa or
   Visa Electron Program.

   ID#: 010410-010410-0005255




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Global Merchant Chargeback Monitoring Program - Merchant Disqualification

Visa may disqualify a Merchant that has been placed in the Global Merchant Chargeback Monitoring
Program from participation in the Visa Program if the Merchant meets or exceeds the specified
Chargeback ratio threshold of 2% without an effective Chargeback reduction plan, and 2 of the
following levels of Chargeback activity are reached:

• Merchant's Chargeback ratio is 2 or more times the specified Chargeback ratio in a single month
• Merchant is assessed fees for 3,000 or more Chargebacks in a single month
• Merchant is assessed US $1 million or more in Global Merchant Chargeback Monitoring Program
  fees

ID#: 081010-010410-0002445



Termination of Merchant Agreement

After verifying that Visa has prohibited a Merchant or Sponsored Merchant from participating in the
Visa or Visa Electron Program, an Acquirer must terminate the Merchant Agreement no later than the
date specified by Visa.

If the Acquirer has not terminated the Merchant Agreement by the date specified, Visa may assess
the Acquirer a fine, in an amount to be determined by the Board of Directors.

ID#: 010410-010410-0008241



Visa Right to Notify Merchant - U.S. Region

In the U.S. Region, Visa may contact a Merchant, a Sponsored Merchant, or an Internet Payment
Service Provider directly, if warranted.

ID#: 010410-010410-0003679



Fines for U.S. Merchant Agreement with Prohibited Merchant - U.S. Region

Visa assesses a fine to a U.S. Acquirer that enters into a Merchant Agreement with a Merchant or
known principals of a Merchant that Visa has prohibited from participating in the Visa or Visa Electron
Program, as specified in the table below.




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   Acquirer Fines for Merchant Agreement with a Prohibited Merchant - U.S. Region

                                       Violation                                              Fine

   First violation in a 5-year period                                       US $10,000

   Second violation in a 5-year period                                      US $20,000

   Third violation in a 5-year period                                       US $50,000

   4 or more violations in a 5-year period                                  At the discretion of Visa


   Visa assesses an additional fine of US $10,000 for each 30-calendar-day period, or portion thereof,
   during which the U.S. Acquirer fails to terminate the Merchant Agreement.

   ID#: 010410-010410-0007118



   Member Obligations


   Acquirer Responsibility for Costs

   An Acquirer is responsible for all costs incurred by Visa due to the Acquirer's failure to terminate a
   Merchant or Sponsored Merchant. This includes attorney's fees and costs of any legal action
   undertaken by Visa to protect the goodwill of the Visa system or to prevent further harm to Members
   and Cardholders.

   ID#: 010410-010410-0007117




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Chapter 2: Visa System Participation

Core Principle 2.1

Bylaws and Operating Regulations


Following the Rules of Participation

Financial institutions, payment data processors, and other qualified business entities may participate
in the Visa system by meeting the conditions outlined in the applicable Visa Bylaws and Operating
Regulations. Key information from the Visa Bylaws and Operating Regulations are outlined in these
Core Principles.

ID#: 010410-010410-0007756




Core Principle 2.2

Third Party Registration


Using a Third Party

Visa participants are generally financial institutions or other eligible businesses that issue Visa
products to consumers or enroll merchants to accept Visa products for payment of goods and
services. Participants may also contract with third-parties to facilitate issuing and acquiring activities,
including VisaNet processors who have a direct connection to VisaNet. Participants in the Visa
system agree to register VisaNet processors and third-parties that facilitate Visa activity. Participants
are responsible for all errors, acts and omissions of such third-parties, including their agents and
vendors.

ID#: 010410-010410-0007757




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   Core Principle 2.3

   General Liabilities and Indemnifications


   Taking Responsibility

   Visa participants are solely responsible for their issuance of Visa products and acquiring of merchants
   to accept Visa products, including responsibility for settlement of transactions, compliance with Visa
   Bylaws and Operating Regulations, and ensuring that their Visa programs comply with all applicable
   legal and regulatory requirements. Participants indemnify Visa for claims or liabilities that arise out of
   their issuance of Visa products and acquiring of merchants, and broadly disclaim liability against Visa
   for such activities.

   ID#: 010410-010410-0007758




   Membership

   General Membership


   Notification to Visa of Member's Country

   Each Member (or its Group Member) must notify Visa in writing, at least 60 calendar days prior to
   commencement, of each country where the Member either:

   • Performs any Visa, Visa Electron, Visa Cash, Plus, or Visa TravelMoney Program services
   • Uses, displays, or supplies any materials bearing a Visa-Owned Mark

   These requirements are in addition to those of the Visa International Certificate of Incorporation and
   Bylaws, Section 2.10(g).

   ID#: 010410-010410-0000901



   Sponsored Member


   Penalties for Violation of the Sponsored Member Registration Program - U.S. Region

   Effective 1 June 2010, Visa assesses fines for violation of the U.S. Region Sponsored Member
   requirements

   ID#: 010410-010410-0001316




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Member Acquisition Upon Regulatory Closure - Assuming Organization Failure to
Submit Required Materials - U.S. Region

Effective 13 May 2010, in the U.S. Region, if the assuming organization is not a Member of Visa at
the time of its assumption of Visa programs and does not submit the required "Client Licensing
Application" agreement within the time frame specified in "Member Acquisition Upon Regulatory
Closure - Assuming Organization Membership - U.S. Region," the assuming organization:

• Must cease all operations of the Visa programs and use of the Visa-Owned Marks
• Is liable for all losses, costs, damages, and expenses (including attorneys' fees and expenses) to
  Visa and its Members resulting from its unauthorized operations

ID#: 081010-010100-0025758



Member Acquisition Upon Regulatory Closure - Assuming Organization Membership -
U.S. Region (Updated)

Effective 13 May 2010, in the U.S. Region, an assuming organization that is not a Member of Visa at
the time of its assumption of Visa programs, and that is eligible for membership must:

• Submit to Visa a "Client Licensing Application" agreement within 10 calendar days after the
  assuming organization's assumption of the subject Visa programs
• Submit the appropriate membership materials within the time frame specified by Visa
• Meet any conditions of membership within 30 calendar days of the assuming organization's
  assumption of the subject Visa programs, as specified in the:
       – Visa International Operating Regulations
       – Visa U.S.A. Inc. Certificate of Incorporation and Bylaws
• Pay all applicable fees and charges within the time frame specified by Visa

ID#: 080411-010100-0025752



Member Acquisition Upon Regulatory Closure - Membership Category Requirements -
U.S. Region (Updated)

Effective 13 May 2010, in the U.S. Region, if the Assuming Member is not authorized to engage in
one or more of the subject assumed Visa programs, the Assuming Member must comply with all of
the following:

• Submit the appropriate membership materials within the time frame specified by Visa
• Meet any conditions of membership within 30 calendar days of Assuming Member's assumption of
  the subject Visa programs, as specified in the:
     – Visa International Operating Regulations
     – Visa U.S.A. Inc. Certificate of Incorporation and Bylaws
• Pay all applicable fees and charges within the time frame specified by Visa

ID#: 050411-010100-0025750



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   Member Acquisition Regulatory Closure - Failure to Comply - U.S. Region

   Effective 13 May 2010, in the U.S. Region, if the Assuming Member does not comply with the
   obligations specified in "Member Acquisition Upon Regulatory Closure - Confirmation of
   Responsibilities - U.S. Region" or "Member Acquisition Upon Regulatory Closure - Membership
   Category Requirements - U.S. Region," Visa may, as it deems appropriate:

   • Terminate all or a portion of the assumed Visa programs
   • Assess fines and penalties to the Assuming Member, as specified in "General Fines Schedule -
     U.S. Region"

   ID#: 081010-010100-0025751



   Surviving Member Membership Requirements (Updated)

   Effective 1 June 2010, if the surviving Member is not authorized to engage in the Visa programs and
   activities previously licensed to the merging Member, the surviving Member must:

   • Submit the appropriate membership materials
   • Meet any conditions of membership within 30 calendar days of the effective date of the Merger, as
     specified in the Visa International Operating Regulations and the applicable Certificate of
     Incorporation and Bylaws
   • Pay all applicable fees and charges

   ID#: 050411-010410-0003783



   Member Acquisition Upon Regulatory Closure - Assuming Member Responsibilities -
   U.S. Region

   In the event of a regulatory closure, a Member in the U.S. Region that assumes the Visa programs of
   a failed Member immediately assumes full liability for those Visa programs.

   ID#: 081010-010100-0025748



   Member Acquisition Upon Regulatory Closure - Confirmation of Responsibilities -
   U.S. Region

   Effective 13 May 2010, in the U.S. Region, upon verification from the applicable regulatory agency
   that a Member has assumed the Visa programs of a failed Member institution, Visa will:

   • Provide a Notification listing the Visa programs for which Visa understands the Assuming Member
     is liable as specified in "Member Acquisition Upon Regulatory Closure - Assuming Member
     Responsibilities - U.S. Region."




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• Include in the Notification a request for written confirmation from the Assuming Member that it has
  assumed one of the following:
     - All of the Visa programs listed in the report
     - A specified portion of the Visa programs listed in the report
     - None of the Visa programs listed in the report

The Assuming Member must submit to Visa, within the time frame specified in the Notification, written
confirmation of the Visa programs assumed.

ID#: 081010-010100-0025749



Quarterly Operating Certificate


Monthly Reporting - Canada Region

A Canada Member must send the completed Schedule I through Schedule XI in the Canada Regional
Operating Regulations to Visa for consolidation and reporting no later than the 25th of the month
following each reporting period.

ID#: 010410-010410-0006335



Quarterly Service Fee Remittance Penalties - U.S. Region

In the U.S. Region, Visa assesses quarterly service fee remittance penalties

ID#: 081010-010410-0003479



Penalties for Nonpayment of Quarterly Service Fee - U.S. Region

If a U.S. Member does not pay the quarterly service fee, Visa imposes penalties, as specified in the
Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Section 3.07.

ID#: 010410-010410-0003480



Reporting of Transactions Not Sent through VisaNet - U.S. Region

In the U.S. Region, Interchange and On-Us Transactions that are not sent through VisaNet must be
reported to Visa on the Quarterly Operating Certificate, as specified in the Visa U.S.A. Inc. Certificate
of Incorporation and Bylaws.

ID#: 010410-010410-0000913




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   Exchange Rates for Quarterly Certificates

   Effective 1 January 2010, each Member (or its Group Member) with non-U.S. dollar Transaction
   volumes must use an exchange rate provided by Visa to file Quarterly Operating Certificates. The
   exchange rate is calculated using a simple average of 3 monthly spot rates for the quarter. This
   requirement does not apply to a Canada or U.S. Member who files in either CAD or USD.

   The monthly spot rates are sourced from Reuters, as shown in the "FT Guide to World Currencies,"
   published in the Financial Times on the third Monday of each month. These rates are also available
   for reference in the Quarterly Operating Certificate application on Visa Online.

   ID#: 010410-010110-0008837



   Online Submission and Electronic Signature


   Use of Electronic Signature

   With the exception of the initial Membership Application, once an institution has been granted Visa
   Membership, subsequent forms and registration requests may be submitted through Visa Online. A
   request submitted in accordance with the requirements constitutes an Electronic Signature and is
   considered binding with the same force and authority as a handwritten signature.

   ID#: 081010-190209-0008098



   Electronic Signature Applicability

   Unless instructed otherwise, a Member that has already executed and submitted an initial
   Membership Application and has been granted approval may submit electronically all subsequent
   documentation that is available on Visa Online, if the Electronic Signature requirements are satisfied,
   and subject to regional availability of the tool via Visa Online.

   ID#: 081010-190209-0008100



   Electronic Signature Enforceability

   By submitting via Visa Online, a Member:

   • Attests that the submitted documentation meets the specified requirements
   • Agrees that the submitted documentation constitutes a binding commitment with the same legal
     force and effect as a handwritten signature

   ID#: 081010-190209-0008099




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Electronic Signature Criteria

To be valid, an Electronic Signature must:

• Be submitted via Visa Online
• Be submitted and validated on the basis of Visa Online user identification and authenticated in
  accordance with the procedures established by Visa
• Provide evidence of the Member's officer's intent to sign by the officer's acceptance of the click-
  through notice provided on Visa Online

In addition, in the U.S. Region, a U.S. Member must maintain reasonable safeguards and security
controls to limit access to authorized personnel. (This only applies in the U.S. Region.)

ID#: 081010-190209-0007626



Visa First


Visa First Training Program - CEMEA Region

Before activation of any card program, the following CEMEA Members must complete the Visa First
training program:

• All new Principal and Associate Members, including new Members holding a restricted license
• Any existing Member upgrading its license category to Principal or Associate, including Members
  upgrading to a restricted license
• All Members obtaining a new Foreign Branch or Plus License

ID#: 010410-010410-0004982



Acquirer Licensing


Eligibility for Acquiring License - CEMEA Region (Updated)

Before becoming eligible for a license to acquire Transactions, a CEMEA Member must:

• Hold a Principal Member License, or a Foreign Branch License of a Principal Member in a different
  jurisdiction
• Demonstrate proven Visa Card issuance
• Submit a 3-year business plan in a format defined by Visa. The business plan must include the
  Member's commitment to:
     - Extending the acceptance of Visa Cards in all environments (Card-Present Environment and
       Card-Absent Environment) in its market
     - Installation of Chip-enabled POS terminals at its acquired Card-Present Environment Merchants




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   The business plan must be, at Visa discretion, an acceptable manifestation of the Member's
   commitment to grow its Visa Card portfolio.

   Visa may assess fines and penalties to a CEMEA Acquirer that does not meet its business plan
   objectives.

   • Demonstrate compliance with Visa Risk Management requirements. The Member must meet all
     relevant Visa Risk, VisaNet, operational, and compliance requirements pertaining to its issuing
     business before commencing acquiring activity.
   • Demonstrate that its acquiring activity complies with local and international law
   • Attend Visa Business School courses on Acceptance Development, Risk Management, and
     Dispute Management

   A variance to this requirement applies to Members in Afghanistan and Pakistan.

   ID#: 050411-010410-0005525



   Sponsored Merchant Acquiring License - CEMEA Region

   Effective 1 January 2010, in the CEMEA Region, a Russian Principal Member may sponsor a
   Russian Associate Member to enter into Merchant Agreements and acquire POS Transactions.

   Prior to sponsoring a Russian Associate Member for a Sponsored Merchant Acquiring License, the
   Russian Principal Member must hold a valid Merchant acquiring license.

   A Sponsored Merchant Acquiring License-holder must not:

   • Accept or process Electronic Commerce Transactions
   • Sub-contract other Members or agents to perform services to Merchants

   Applicable fees are included in the Visa CEMEA Fee Guide.

   ID#: 010410-010110-0005527



   Revocation of Acquiring License - CEMEA Region

   Visa may, at its discretion, revoke an acquiring license from a CEMEA Member if the Member's share
   of the number of issued Cards in the market where the Member is acquiring Transactions drops
   below 2%.

   ID#: 010410-010410-0005529




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Penalty for Associate Member Merchant Acquiring in Russia - CEMEA Region

Effective 1 April 2010, in the CEMEA Region, a Russian Principal Member permitting an acquiring
agent to acquire Merchant Transactions without a Sponsored Merchant Acquiring License will be
assessed a non-compliance fee of US $20,000 for every 6 months or portion thereof, for each agent
that fails to obtain a Sponsored Merchant Acquiring License.

ID#: 010410-010410-0024131




Agents - Third Party and VisaNet Processors

General Agent Requirements


General Member Responsibilities for VisaNet Processors

Effective 23 July 2010, a Member that has a contract with a VisaNet Processor must:

• Provide Transaction-related processing instructions directly to its VisaNet Processor
• Distribute written policies and procedures to its VisaNet Processors
• Establish a risk management program to control risks related to the use of VisaNet Processors, such
  as:
     - Loss of operational control
     - Service provider failure
     - Confidentiality and physical and logical security of Cardholder and Visa Transaction Information
• Verify that the principals and senior management of the VisaNet Processor have the requisite
  knowledge and experience to successfully perform the contracted services (except when a
  VisaNet Processor is a Member or special Licensee)
• Conduct from time to time a physical inspection of the business premises (except when a VisaNet
  Processor is a Member or special Licensee) to:
     - Verify inventory
     - Inspect operational controls
     - Monitor security standards regarding unauthorized disclosure of or access to sensitive Visa data
       and other payment systems

ID#: 081010-010100-0025880




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   Use of an Airline Authorizing Processor

   Effective 23 July 2010, before implementing a direct connection to VisaNet, a Member must ensure
   that an Airline Authorizing Processor has either:

   • Completed and submitted a VisaNet Letter of Agreement (Exhibit 5A) to Visa
   • Signed a separate agreement with Visa

   A Member acquiring Airline Transactions is not required to submit a VisaNet Letter of Agreement
   (Exhibit 5A) or a VisaNet Processor Registration and Designation/Termination form when the VisaNet
   Processor used by the Airline for Authorizations is an Airline Authorizing Processor.

   ID#: 081010-010410-0001021



   VisaNet Processor Contracts (Updated)

   Effective 23 July 2010, a Member must execute a written contract with each VisaNet Processor. The
   contract, to the extent permitted by applicable law, must:

   • Include minimum standards established by Visa, including, but not limited to:
     - Policies
     - Procedures
     - Service levels
     - Performance standards
   • Include language that:
     - Permits Visa to conduct financial and procedural audits and general reviews at any time
     - Requires VisaNet Processors to make Cardholder and Merchant information available to Visa
       and regulatory agencies
     - Contains a notice of termination clause
   • Ensure that the VisaNet Processor will comply with:
     - Visa International Operating Regulations
     - Applicable laws
   • Be executed by a senior officer of the Member
   • Contain at least the substance of the provisions specified in “VisaNet Processor Requirements”
   • Ensure that the VisaNet Processor complies with the Payment Card Industry Data Security
     Standard (PCI DSS)
   • Ensure that all VisaNet Processors are properly registered with Visa

   ID#: 050411-010100-0025879




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VisaNet Processor Systems Agreement (Updated)

Effective 23 July 2010, Visa may require a Member's VisaNet Processor to enter into an agreement
directly with Visa before the delivery of any of the following:

• V.I.P. System software
• BASE II software
                               3
• Visa Extended Access
• Other systems as deemed necessary by Visa

The agreement may specify terms and conditions for the use of software or equipment that Visa
determines necessary to protect its proprietary rights. This provision does not require Visa to agree to
this type of arrangement, nor does it give any VisaNet Processor the right to use VisaNet.

ID#: 050411-010100-0025882



VisaNet Processor Marketing Materials (Updated)

Effective 23 July 2010, a Member must require that its VisaNet Processor:

• Uses only marketing materials approved by the Member
• Ensures that all marketing materials displaying the Visa-Owned Marks also include the Member
  name, which must be more prominent and in a larger font than that of the VisaNet Processor
• For Visa Prepaid Card distribution, ensures that any Website displaying the Visa-Owned Marks or
  offering Visa Card services clearly and conspicuously includes the Member name, which must be
  located within close proximity to the Visa-Owned Marks, as specified in the applicable Visa
  International Prepaid Program Guidelines and the Visa Product Brand Standards website.
• Is prominently identified on the marketing materials as an agent or representative of the Member
  unless the Member has provided its approval to exclude its name on such marketing materials
• In the Canada Region, with the approval of the Member and provided the Acquirer Processor has
  entered into the form of Trademark License Agreement for Acquirer Processors as prescribed by
  Visa, a Memberʼs Acquirer Processor may display certain Visa-Owned Marks on its marketing
  materials without the Memberʼs name or logo in accordance with the terms of the Trademark
  License Agreement for Acquirer Processors (This only applies in the Canada Region.)

ID#: 050411-010100-0025885




3
    This requirement does not apply to U.S. and CEMEA Members using Direct Exchange (DEX).


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Agents Used for Solicitation - U.S. Region

A U.S. Member that uses an Agent for Cardholder or Merchant solicitation must:

• Have a written agreement with the Agent, as specified in "Third Party/ISO Requirements - U.S.
  Region"
• Ensure that any use of the Visa Program Marks by its Agents complies with the Visa International
  Operating Regulations

ID#: 010410-010410-0001165



Competitors as Agents - U.S. Region

A U.S. Member must not appoint or permit as its Agent for Cardholder or Merchant solicitation any
organization, or its respective subsidiaries or affiliates, that Visa deems to be a competitor, including:

• American Express Company
• Discover Financial Services

ID#: 081010-010410-0001166



Agent Prohibitions Related to Visa-Owned Marks - U.S. Region

An Agent of a U.S. Member must not:

• Permit the use of any Visa-Owned Mark by any of its own Agents
• Use any Visa-Owned Mark on any marketing material, including business cards and letterhead on
  stationery

ID#: 010410-010410-0001168



VisaNet Processor Requirements


VisaNet Processor Registration

Effective 23 July 2010, any Member that uses a VisaNet Processor, whether or not the VisaNet
Processor is itself a Member, must:

• Submit to Visa a VisaNet Processor Registration and Designation/Termination form (available on
  Visa Online) before using the VisaNet Processor
• Immediately notify Visa if any change occurs in the VisaNet Processor relationship, including
  termination, change of ownership or business function, or processor




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• Complete a contract with the VisaNet Processor, as specified in “VisaNet Processor Contracts”
• Ensure that the VisaNet Processor complies with the applicable provisions of the Visa International
  Certificate of Incorporation and Bylaws and Visa International Operating Regulations
• Ensure that any changes to BIN relationships comply with the requirements specified in “BIN
  Licensing”

ID#: 081010-010100-0025870



VisaNet Letter of Agreement for Non-Members

Effective 23 July 2010, any Member that uses a non-Member as a VisaNet Processor must ensure
that the non-Member submits to Visa a VisaNet Letter of Agreement (Exhibit 5A) before using the
non-Member as a VisaNet Processor.

ID#: 081010-010100-0025871



Liability for Activities of VisaNet Processors

Effective 23 July 2010, a Member must accept liability for all activities, including both acts and
omissions, of its VisaNet Processors, as specified in the VisaNet Processor Registration and
Designation/Termination form.

ID#: 081010-010100-0025872



Responsibility for Losses Caused by VisaNet Processors

Effective 23 July 2010, a Member is responsible for any and all losses caused by its VisaNet
Processor. All Members using a Clearing or authorizing VisaNet Processor, whether a Member or
non-Member, are jointly and severally responsible for the proper performance by that VisaNet
Processor of all the requirements of the Visa International Certificate of Incorporation and Bylaws and
Visa International Operating Regulations.

ID#: 081010-010100-0025873



Non-Member VisaNet Processor or Clearing Member Reporting

Effective 23 July 2010, a Member that uses a non-Member VisaNet Processor or Clearing Member
to process Transaction-related data must submit an annual report to Visa.

The annual report must include, at a minimum:

• Identification of the services provided by the non-Member VisaNet Processor or Clearing Member
• Products and programs supported
• BINs under which the Member's activity is processed

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VisaNet Processor Independent Audit

Effective 23 July 2010, upon designation of a VisaNet Processor, the sponsoring Member must
obtain and review an independent audit of the internal controls that support the VisaNet Processor’s
VisaNet interface. The audit must be conducted annually and use standard audit practices of the
International Audit Standards or other regionally acceptable standards as agreed to by Visa. An audit
is not required if the VisaNet Processor is a Member or special Licensee.

ID#: 081010-010100-0025878



VisaNet Processor Requirements Related to Third Parties

Effective 23 July 2010, the contract between a Member and its VisaNet Processor must require the
VisaNet Processor to:

• Ensure that all Third Parties that use a Memberʼs BIN are properly registered with Visa by that
  Member
• Notify BIN Licensees in writing and receive written approval before allowing any Third Party Agent to
  use a Memberʼs BIN or granting access to Cardholder information
• Report at least quarterly to the Member and Visa any Third Parties that use its BIN

ID#: 081010-010100-0025881



VisaNet Processor Acting as Clearing Processor

Effective 23 July 2010, a Member must ensure that a VisaNet Processor acting as a Clearing
processor:

• Provides access to Cardholder, Merchant, Sponsored Merchant, and Member data
• Withholds or redirects Settlement funds, as required by Visa

ID#: 081010-010100-0025883



VisaNet Processor Limitations on Liability

Effective 23 July 2010, a Member may limit its liability for the failure of a VisaNet Processor if it
provides Visa with an updated VisaNet Processor Registration and Designation/Termination form
showing that it had terminated the VisaNet Processor relationship before the failure. This form is
available through either Visa Online or upon request from Visa.

Limitations of liability, as defined in “Unauthorized Use,” are effective upon receipt of Member
Notification to Visa.

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Losses Resulting from Unauthorized Use – VisaNet Processors

Effective 23 July 2010, for losses resulting from Unauthorized Use, Visa may collect funds from one
of the following, in the order listed:

• Member that caused the loss
• VisaNet Processor that processed the Transaction, if either:
     - No Member is directly responsible for the Unauthorized Use
     - The responsible Member does not meet its financial obligations
• Members using the VisaNet Processor, if the VisaNet Processor does not meet its financial
  obligations

ID#: 081010-010100-0025888



Collection of Funds from a Member or VisaNet Processor

Effective 23 July 2010, in collecting funds owed by a Member or VisaNet Processor, Visa may take,
but is not limited to, the following actions:

• Take and liquidate collateral posted by a Member or VisaNet Processor, as specified in the
  agreement for the posting
• After providing at least one business day's notice before the collection, either:
     - Debit the Member's or VisaNet Processor's Clearing account through VisaNet
     - Withhold amounts from payments that Visa owes to the VisaNet Processor

ID#: 081010-010100-0025889



VisaNet Processor Payment Disputes

Effective 23 July 2010, a Member or VisaNet Processor:

• May contest the amount collected by Visa, as specified in Section 10.03 of the Visa International
  Certificate of Incorporation and Bylaws
• Must provide written notice to Visa within 60 calendar days of the collection date, if it wishes to
  dispute its liability for, or the amount of, the collection
• Must not withhold payment because the Member or VisaNet Processor disputes its liability for the
  payment

Visa is:

• Liable only for the amount improperly collected plus interest at the prime rate in effect at the
  Settlement Bank used by Visa
• Not liable for collections made in error, except for intentional misconduct

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Collection of Funds from a Member or VisaNet Processor - U.S. Region

Effective 23 July 2010, a U.S. Member or VisaNet Processor must remit the total amount owed, as
specified in the Visa International Certificate of Incorporation and Bylaws and the Visa International
Operating Regulations.

Visa is not required to exhaust its remedies in collecting from one U.S. Member or VisaNet Processor
before collecting from another Member.

If a U.S. Member or VisaNet Processor does not remit the amount owed, the Member is responsible
for Visa expenses incurred in collecting the funds, including, but not limited to, costs and expenses of
legal action.

A U.S. Member from which Visa collects amounts due must continue to honor its obligations to
Merchants and Sponsored Merchants.

A VisaNet Processor must not charge a U.S. Member's Clearing account unless either:

• Visa has directed the VisaNet Processor to do so
• The Member whose account is to be charged has provided written consent for the charge and the
  consent does not prevent the Member from complying with the Visa International Operating
  Regulations

ID#: 081010-010100-0025890



Third Party/ISO Requirements


Third Party Agent Registration Program (Updated)

Effective 23 July 2010, a Member that uses a Third Party Agent must comply with all of the
requirements specified for Third Party Agents. Only a Third Party Agent that has a direct written
contract with a Member may perform services on behalf of the Member. A Third Party Agent is
exempt from the registration requirements specified in Third Party Agent Registration Requirements
and the associated fees if it only provides services on behalf of its affiliates (including parents and
subsidiaries) and those affiliates are Members that own and control at least 25% of the Third Party
Agent.

ID#: 050411-010100-0025892



Third Party Agent Registration Requirements

Effective 23 July 2010, to register a Third Party with Visa, a Member must:

• Use the Visa Membership Management application, available through Visa Online
• Complete the appropriate regional forms, available from the appropriate regional risk representative




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• Registration must be completed before the performance of any contracted services or Transaction
  activity

Visa may deny or reject a Third Party Agent’s registration at any time with or without cause.

ID#: 081010-010100-0025893



Registration Requirements for Merchant Third Party Agents

Effective 23 July 2010, a Member must register with Visa any Third Party Agent that has been
engaged by any of its Merchants before the performance of any contracted services by the Third
Party Agent on behalf of the Merchant.

Effective 23 July 2010, registration of a Third Party Agent is specific to each Member, and requires a
separate registration by each Member for any Third Party Agent that:

• Uses its BIN. For a Member in the LAC Region, the registration is per Member, per country, and per
  agent.
• Provides contracted services on behalf of the Member or its Merchants

ID#: 081010-010100-0025894



Third Party Agent Compliance with Due Diligence Standards (Updated)

Effective 23 July 2010, before registering a Third Party Agent, a Member must complete, and
validate compliance with, the applicable regional due diligence standards that are available through
the Visa Membership Management Application Service on Visa Online or from the appropriate
regional contact. Upon Visa request, a Member may be required to provide documentation to confirm
compliance with regional due diligence standards.

Effective 23 July 2010, a Member with currently registered Third Party Agents must:

• Perform an annual review of all Third Party Agents to confirm ongoing compliance with applicable
  regional due diligence standards available through the Visa Member Management Application
  Service on Visa Online or from Visa
• Upon Visa request, provide documentation to confirm compliance with regional due diligence
  standards

ID#: 050411-010100-0025895



Member Approval of Third Party Agent

Effective 23 July 2010, a senior officer of a Member must review all documentation and approve a
Third Party Agent. Approval must be based on sound business practices that will not compromise the
Member or Visa, and must not be based solely on any purported limitation of the Member's financial
liability in any agreement with the Third Party Agent.

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Third Party Change Notification

Effective 23 July 2010, a Member must use the Visa Membership Management Application,
available through Visa Online, or the appropriate regional form to notify Visa of any change in a Third
Party’s principals or business relationship (including change of ownership or termination of contract).
The Member must submit the notice to Visa within 5 business days of the change or knowledge of the
change.

Effective 23 July 2010, the Member must forward to Visa, via the Visa Membership Management
Application or the appropriate regional form, requests for correction.

ID#: 081010-010100-0025899



Third Party Registration Fee

Effective 23 July 2010, Visa assesses a registration fee and annual fee for Third Party Agents, as
specified in the applicable regional fee guide. The fee for Member registration of each Third Party
Agent will be charged directly to the Member, unless otherwise specified by Visa. Visa will waive the
annual registration fee for the calendar year in which the agent has been registered, unless otherwise
specified.

ID#: 081010-010100-0025900



Third Party Agent Contract Requirements

Effective 23 July 2010, a Member must execute a written contract with each Third Party Agent that
performs Cardholder or Merchant solicitation and/or stores, processes, or transmits Cardholder or
Transaction data on behalf of the Member. The contract, to the extent permitted by applicable law,
must:

• Include minimum standards established by Visa, including, but not limited to:
  - Policies
  - Procedures
  - Service levels
  - Performance standards
• Include language that:
  - Permits Visa to conduct financial and procedural audits and general reviews at any time
  - Requires the Third Party Agent to make available to Visa and regulatory agencies Cardholder
    and Merchant information
  - Contains an appropriate notice of termination clause
  - Permits Visa to determine the necessity of and impose risk conditions on the Third Party Agent
• Ensure that the Third Party Agent will comply with:
  - Visa International Operating Regulations
  - Applicable Visa Regional Operating Regulations
  - Applicable local laws



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• Be executed by a senior officer of the Member
• Contain at least the substance of the provisions specified for Third Party Agents
• Ensure that the Third Party Agent complies with the Payment Card Industry Data Security Standard
  (PCI DSS) and with the Visa International Operating Regulations

ID#: 081010-010100-0025902



Termination of Third Party Agent Contract

Effective 23 July 2010, a Third Party Agent contract must include a provision allowing a Member or
its Merchant to terminate a contract if the Third Party Agent participates in any of the activities
described in “Prohibition of Third Party Agents from Providing Services” or the Member or its
Merchant becomes insolvent.

ID#: 081010-010100-0025903



Assignment of Liability for Third Party Agents

Effective 23 July 2010, if a Member fails to meet its responsibilities regarding Third Party Agents, as
specified in the applicable Visa International Certificate of Incorporation and Bylaws and the Visa
International Operating Regulations, Visa assigns liability in the following order of precedence:

• Member from whose performance or nonperformance (including by its Third Party Agents) the loss
  arose
• Member, if any, that sponsored the above Member, with limitations specified in the Visa
  International Certificate of Incorporation and Bylaws, Section 2.11
• BIN Licensees of BINs used in Transactions, with limitations specified in “Liabilities and
  Indemnifications”
• Other BIN users, in an order determined by Visa

ID#: 081010-010100-0025904



Losses Resulting from Unauthorized Use of Third Party Agents

Effective 23 July 2010, for losses resulting from Unauthorized Use, Visa may collect funds from one
of the following, in the order listed:

• Member that caused the loss
• Members using the Third Party Agent

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Member Risk Management Responsibilities for Third Party Agents

Effective 23 July 2010, before contracting with a Third Party Agent, a Member must:

• Determine that the entity is financially responsible and will comply with the substance of the Visa
  International Operating Regulations and applicable law
• Comply with the Third Party Agent Registration Program

The Member must also conduct a background investigation to verify the responsibility (including,
where appropriate, financial responsibility) of the principals and ensure that no significant derogatory
information exists. If local laws prohibit checks (including financial reviews) on individuals, the
Member must note this when registering the Third Party Agent and note what other due diligence
procedures were undertaken to ensure that due diligence has been completed.

ID#: 081010-010100-0025906



Third Party Agent On-Site Inspection

Effective 23 July 2010, in order to register a Third Party Agent, a Member must perform an on-site
inspection of the Third Party Agent’s business location prior to the initial registration as part of the due
diligence requirement to:

• Verify inventory, if applicable
• Review solicitation or sales materials
• Inspect operational controls
• Monitor security standards regarding unauthorized disclosure of, or access to, sensitive Visa
  Transaction Information and other payment systemsʼ transaction information

Visa may conduct an on-site inspection of any Third Party Agent to validate its compliance with the
applicable security requirements.

ID#: 081010-010100-0025907



Third Party Agent Reference File Query Requirement

Effective 23 July 2010, a Member must review the Visa Membership Management Application or the
appropriate regional form each time the Member signs a Third Party Agent to confirm if another
Member has discontinued its relationship with a Third Party Agent. Visa refers the inquiring Member
to the Member with the former relationship for further information, but the Member with the former
relationship is not obligated to disclose information to the inquiring Member.

Visa will not provide an inquiring Member with details of a Third Party Agent’s existing relationships
with other Members, nor with the Members’ identities.

Registration of a Third Party Agent does not represent confirmation by Visa of the Third Party Agent's
compliance with any specific requirement.

ID#: 081010-010100-0025908




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Member Requirements for Third Party Agents

Effective 23 July 2010, a Member using a Third Party Agent must:

• Control the approval and review of Merchants, approval of Cardholder applications, and
  establishment of Merchant fees for Transactions
• Maintain a file on the Third Party Agent that includes records of all applicable due diligence and
  retain this file, with the reason for discontinuance, for a minimum of 2 years following the
  discontinuance of the Third Party Agent relationship
• Guarantee that it and the Third Party Agent will comply with Third Party Agent requirements and
  “Account and Transaction Information Security”
• Identify each Third Party Agent and designate the activities that it is authorized to perform on the
  Member's, or the Member's Merchantʼs, behalf
• Ensure that the Third Party Agent has access to and uses the information contained in the current
  Visa Interchange Directory, if the Member uses the Third Party Agent for processing any of the
  following:
     - Chargebacks
     - Arbitration cases
     - Compliance cases
     - Authorizations
     - Referrals
     - Fraud reporting cases
     - Settlement
• Advise the Third Party Agent that:
     - Such organization or individual must not represent registration in the Third Party Registration
       Program as Visa endorsement of its services
     - Registration of a Third Party Agent is specific to each Member, and requires a separate Third
       Party Agent registration process for each Member business relationship
• Accept responsibility for any and all losses caused by its Third Party Agent

ID#: 081010-010100-0025909



Member Responsibilities for Third Party Agents

Effective 23 July 2010, a Member is responsible for all Card activities associated with Visa products
and services, whether performed directly or indirectly by the Member or any Third Party Agent. The
Member must, at a minimum, guarantee that:

• Its Merchants are paid for proper acceptance of a Card
• Payments received from Cardholders are applied for the purpose for which they were remitted

These obligations must not be waived, abrogated, or superseded in any manner.

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Third Party Agent Reporting

Effective 23 July 2010, a Member must, upon Visa request, submit the detailed quarterly report form
from Visa, regarding the activities and services of each Third Party Agent doing business on its
behalf. The quarterly report must be signed by an authorized officer.

Visa may assess a fine if the Member fails to provide this information within 30 calendar days from
the end of each quarter.

ID#: 081010-010100-0025911



Third Party Agent Responsibility for Providing Information

Effective 23 July 2010, unless prohibited by local law, if a Member, Visa, its designees, or any
regulatory agency requests Cardholder or Merchant information, a Third Party Agent must provide the
information in writing as soon as possible, but no later than 7 business days from receipt of a request.
If local law prohibits providing the information, the Third Party Agent must note the exception when
the original request is submitted. Requests may include information of any type, including any of the
following:

• Organizational structure
• Employee information
• Sales-related data
• Financial information
• Transaction data

ID#: 081010-010100-0025912



Third Party Agent Solicitation and Marketing Materials

Effective 23 July 2010, a Member must ensure that a Third Party Agent:

• Uses only solicitation materials, such as advertisements, stationery, business cards, sales
  brochures, and Website promotional content approved by the Member, as specified in the Visa
  Product Brand Standards
• Uses only solicitation materials that prominently identify the registering Member
• Complies with the substance of Visa International Operating Regulations regarding any permitted
  use of the Visa Program Marks

ID#: 081010-010100-0025913




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Required Member Identification in Solicitation and Marketing Materials

Effective 23 July 2010, if Third Party Agent uses solicitation and marketing materials displaying the
Visa-Owned Marks, a Member must ensure that:

• The Member is prominently identified by name and city, in which the headquarters is located,
  adjacent to the Visa-Owned Marks
• Subsequent Cardholder or Merchant Agreement is between the Member and the individual
  Cardholder or Merchant
• If Cardholder solicitation material, the Member, not the Third Party Agent, is the Issuer of the Card
• The material does not identify the Third Party Agent, unless such organization or individual is
  prominently identified as a representative of the Member, as specified in the Visa Product Brand
  Standards

ID#: 081010-010100-0025914



Use of Visa Marks on Third Party Agent Materials

Effective 23 July 2010, a Member must not permit the use by a Third Party Agent of any Visa-
Owned Mark on marketing materials, such as business cards and letterhead on stationery, as
specified in the Visa Product Brand Standards.

A Third Party Agent must present itself to all current and prospective Cardholders and Merchants
under the Trade Name or "doing business as" (DBA) name registered with the Member.

ID#: 081010-010100-0025915



Transaction Information Security for Third Party Agents

Effective 23 July 2010, a Member must ensure that all Third Party Agents with access to account or
Visa Transaction Information comply with Visa Transaction Information security requirements.

ID#: 081010-010100-0025916



Disclosure of Account or Visa Transaction Information

Effective 23 July 2010, a Member, in the event of the failure, including bankruptcy, insolvency, or
other suspension of business operations, of one of its Third Party Agents, must ensure that the Third
Party Agent does not sell, transfer, or disclose any materials that contain Cardholder Account
Numbers, personal information, or other Visa Transaction Information to any other entity. The
Member must ensure that its Third Party Agent either:

• Returns this information to the Member
• Provides to the Member acceptable proof of secure destruction of this information

ID#: 081010-010100-0025917




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Prohibition of Third Party Agents from Providing Services

Effective 23 July 2010, Visa may permanently prohibit a Third Party Agent and its principals from
providing services with respect to Visa products for good cause, such as:

• Fraudulent activity
• Activity that causes the Member to repeatedly violate the Visa International Operating
  Regulations
• Operating in an unsound, unsafe manner
• Any other activities that may result in undue economic hardship or damage to the goodwill of the
  Visa system, if the Third Party fails to take corrective action

ID#: 081010-010100-0025918



Acquirer Eligibility – Third Party Agent – U.S. Region

Effective 23 July 2010, before entering into a Merchant Agreement with Third Party Agent, a U.S.
Acquirer must:

• Be in good standing in all Visa risk management programs
• Meet the Acquirer Tier 1 capital requirement of US $100 million

ID#: 081010-010100-0025898



Third Party Agent Operational Review – U.S. Region

Effective 23 July 2010, in the U.S. Region, a new or existing Acquirer that does not have the
necessary capital, as specified in “Acquirer Eligibility - Third Party Agent - U.S. Region,” must
undergo an Acquirer Risk Program Operational Review before approval of its first Third Party Agent
registration for soliciting Merchants. The cost of the Operational Review is the responsibility of the
Acquirer.

ID#: 081010-010100-0025897



Use of Third Party Agents by a Participant-Type Member – U.S. Region

Effective 23 July 2010, a U.S. Participant-Type Member must not use a Third Party Agent unless
authorized, in writing, by its Sponsor. The Sponsor must notify Visa of this authorization.

ID#: 081010-010100-0025919




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Card Manufacturers and Personalizers


Issuer Standards for Approved Manufacturers, Approved Personalizers, and
Approved Fulfillment Vendors (Updated)

An Issuer that does not perform its own manufacturing, personalization, and/or fulfillment must:

• Use an Approved Manufacturer to manufacture or print Visa Products
• Ensure that the Approved Manufacturer is posted on the Visa Approved Card Vendor List or
  approved by Visa and complies with the most current version of the Global Physical Security
  Validation Requirements for Card Vendors
• Use an Approved Personalizer to personalize Visa Products unless using an Instant Card
  Personalization Issuance Agent or another Issuer (an Issuer performing personalization through an
  Instant Card Personalization Issuance Agent or another Issuer must comply with the requirements
  specified in "Visa Product Personalization - Issuer Requirements")
• Ensure that the manufacturing, embossing or printing, and encoding of all Visa Products comply
  with the most current version of the Visa Product Brand Standards and Payment Technology
  Standards Manual
• Ensure that the Approved Personalizer is posted on the Visa Approved Card Vendor List or
  approved by Visa and complies with the most current version of the Global Physical Security
  Validation Requirements for Card Vendors and Global Logical Security Validation Requirements for
  Card Personalization Vendors
• Use an Approved Fulfillment Vendor to package, store, or ship Visa Products unless using a
  Distribution Channel Vendor for pre-manufactured, commercially ready Visa Products (an Issuer
  performing fulfillment through a Distribution Channel Vendor must comply with the requirements
  specified in "Issuer Standards for Distribution Channel Vendors")
• Ensure that the Approved Fulfillment Vendor is posted on the Visa Approved Card Vendor List or
  approved by Visa and complies with the most current version of the Visa Global Physical Security
  Validation Requirements for Data Preparation, Encryption Support and Fulfillment Card Vendors
• Immediately notify Visa if the Approved Manufacturer, Approved Personalizer, and/or Approved
  Fulfillment Vendor is unable to complete its responsibilities
• Contract through another Issuer, an Approved Manufacturer, an Approved Personalizer, and/or an
  Approved Fulfillment Vendor for the production, personalization, and/or fulfillment of Visa Products
• Review completed Card products for accuracy, including embossing, printing, and encoding

ID#: 050411-010100-0025517




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Fines Related to Agents


VisaNet Processor Fines and Penalties

Effective 23 July 2010, a Member using a VisaNet Processor that fails to comply with the Visa
International Operating Regulations and Visa International Certificate of Incorporation and Bylaws is
subject to fines and penalties as specified in General Fines Schedule.

The combined liability of all Members for a VisaNet Processor’s failure to comply must not be more
than the fine or penalty amount for the violation involved.

Visa may assess fines resulting from the activities of a Member performing services on behalf of
another Member to the:

• Performing Member
• Member for which the services are performed

The total paid by both Members must not be more than the fine or penalty amount for the violation
involved.

Visa may impose penalties whether a Member or non-Member is performing services on behalf of
another Member.

If a Member acts as a VisaNet Processor for another Member, it is considered a single entity with that
other Member in determining repetitive violations.

ID#: 081010-010100-0025886



Third Party Agent Fines

Effective 23 July 2010, Visa assesses fines to a Member that fails to comply with the provisions of
“Use of Third Party Agents” as specified in "Fines Related to Third Party Agents." A Member is
subject to fines for the failure of its Third Party Agents to comply with the substance of the Third Party
Agent requirements, including nonpayment of fees to Visa.

ID#: 081010-010100-0025901



Fines Related to Third Party Agents

Effective 23 July 2010, a Member that fails to comply with the Third Party Agent requirements is
assessed a fine, as specified

Effective 23 July 2010, for repeated violations in a rolling 60-month period, Visa may assess fines in
addition to those specified, at management's discretion. Fines are cumulative.

ID#: 081010-010100-0025868




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Third Party Registration/Notification Fine - U.S. Region

Visa assesses an additional fine of US $20,000 for each 30-calendar-day period, or portion thereof,
during which a U.S. Member fails to:

• Register a Third Party, as specified in "Third Party Registration Program - U.S. Region"
• Notify Visa of a change, as specified in "Third Party Change Notification - U.S. Region"

If a U.S. Member repeatedly fails to comply with registration or notification requirements in a 60-
month rolling period, Visa may assess the Member fines in addition to the US $20,000 fine. Such
fines may be assessed at Visa discretion and are cumulative.

ID#: 010410-010410-0003503




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Chapter 3: The Visa License

Core Principle 3.1

Intellectual Property


Visa Ownership of Intellectual Property

All participants in the Visa system recognize Visa's ownership of valuable intellectual property,
including the Visa name, Visa marks, and Visa technology, and agree to protect these ownership
rights and the integrity of the marks by following Visa's applicable rules in all activities, including
issuing, acquiring and processing. These rules and the Visa license address appropriate use of the
licensed marks, technology, software, hardware, and other valuable intellectual property in
conjunction with Visa systems, products and services.

ID# 010410-010410-0007727




Core Principle 3.2

Brand and Licensed Technology


Using the Visa Brand and Technology

All participants in the Visa system may use the Visa brand and licensed technology to provide
payment and other financial services, under the Visa brand, to customers within the geographic
locations defined by Visa and as permitted by local banking regulation.

ID# 010410-010410-0007759




Core Principle 3.3

BIN Licensing


Obtaining a BIN

Visa participants may obtain one or more Bank Identification Numbers (BINs) from Visa for use in all
Visa activities. As a BIN licensee, the participant is responsible for all activities associated with any
BIN that it licenses.

ID# 010410-010410-0007760




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Marks License

License Grant


License Grant for Visa-Owned Marks

Visa grants to each Member, excluding one that is solely a Plus Program Participant, a non-exclusive,
non-transferable license to use each of the Visa-Owned Marks only in conjunction with the applicable
Visa Programs that are licensed to the Member.

ID# 010410-010410-0008906



License Grant for Plus Program Marks

Visa may grant to a Member not otherwise licensed a non-exclusive, non-transferable license to use
each of the Plus Program Marks with the Plus Program.

ID# 010410-010410-0001122



License for Plus Card Acceptance - U.S. Region

Visa grants a U.S. Member that is required to display the Plus Symbol on its ATM a license to use
each of the Plus Program Marks for the purpose of accepting Plus Cards at ATMs, subject to the
terms and conditions of the applicable sections of the Plus System, Inc. Bylaws and Operating
Regulations.

A U.S. Member granted such a license acknowledges that Visa owns the Plus Program Marks.

ID# 010410-010410-0007436



Visa Marks Ownership Acknowledgement

A Member must:

• Acknowledge that Visa owns all Visa-Owned Marks
• Agree that it will do nothing inconsistent with this ownership
• Agree that the use of all Visa-Owned Marks must be for the benefit of, and on behalf of, Visa

ID# 010410-010410-0006463




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Denotation Requirements for Visa-Owned Marks (Updated)

A Member must not use any denotation or legend of Marks registration or ownership in connection
with the Visa-Owned Marks, except as required or approved by Visa. Upon request, Visa will provide
a current list of both the:

• Countries in which a denotation or legend must be used
• Required denotation or legend

ID# 050411-010410-0006464



Registration/Ownership Denotation

A Member desiring to use a denotation or legend of registration or ownership with any proprietary
Mark or Trade Name used in association with, or on the same piece as, any Visa-Owned Mark may
do so only if Visa:

• Determines that this use will not adversely affect the rights of Visa
• Has provided written approval

ID# 010410-010410-0007431



Use of Visa-Owned Marks in Sponsorship Events

A Member must obtain written approval from Visa for its planned use of any Visa-Owned Mark in the
sponsorship of events, including all advertising, promotions, and public relations. These rules do not
apply to the purchase of advertising not specifically tied to sponsorship of these events.

ID# 010410-010410-0001109

Use of Visa-Owned Marks in Country of License

The Member may use the Visa-Owned Marks only in a country where it is licensed to do so. The
written approval request must specify each country where the sponsorship activity will occur. If a
Member plans sponsorship activities in any additional country at a later date, it must submit a new
request.

ID# 010410-010410-0001110



Scope of Visa-Owned Marks Use

A Member must ensure that it uses each Visa-Owned Mark within the scope of the written approval
from Visa. After Notification from Visa, a Member must correct any improper use of any of these
Marks.

ID# 010410-010410-0001114




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Infringement Proceedings Regarding Visa Marks

Unless Visa grants express consent, Visa reserves the sole right to initiate infringement proceedings
or other challenges involving any use of the Visa-Owned Marks.

ID# 010410-010410-0006462



Visa Proprietary Rights

Members acknowledge the proprietary rights of Visa and that unauthorized or inappropriate use of the
Visa-Owned Marks and Visa Brand Name may cause Visa irreparable damage or injury. Visa has the
full authority to enforce all Visa regulations governing Members, Merchants, agents, and other entities
using the Visa-Owned Marks and Visa Brand Name.

ID# 010410-010410-0007432



Sponsorships/Partnerships Including Olympics


Olympic Marks in Media

Use of Olympic Marks, logos, designations, and authenticating statements in any media with any Visa
Program Mark must comply with the Visa International Operating Regulations, the Visa Product
Brand Standards, and the current Visa Olympic Tool Kit.

ID# 010410-010410-0007452



Sponsorship Pass-Through Rights

A Member's enjoyment of pass-through rights to use the Marks and promotional materials of any
organization with which Visa has signed a global partnership or sponsorship agreement, including
without limitation those of the Olympics, must comply with the requirements specified in the Visa
International Operating Regulations and supplemental documents that specify the Marks usage
standards that must be maintained for that partnership or sponsorship.

A Member must not make any use of such pass-through rights without the prior written approval of
Visa and the partner or sponsor organization.

ID# 010410-010410-0007450



Partnership/Sponsorship Agreement

A partnership or sponsorship agreement governs in the case of ambiguity, conflict, or inconsistency
between that agreement and any Visa International Operating Regulations, contract, sublicense,
agreement, or other arrangements between Visa and a Member, Merchant, or affiliate.

ID# 010410-010410-0001128




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Marks Use Rights (Updated)

The right to use partnership or Sponsorship Marks, logos, designations, and authenticating
statements results from a partnership or sponsorship agreement between Visa and the partnership or
sponsorship organization.

ID# 050411-010410-0001130



Member Use of Partnership/Sponsorship Marks

A Member participating in certain Visa Programs may use the Marks, logos, designations, and
authenticating statements associated with any partnership or sponsorship, including, but not limited
to:

• The International Olympic Committee
• The organizing committees of the current Winter and Summer Olympic Games
• A National Olympic committee

ID# 010410-010410-0007454



Olympic Marks on Cards/Decals

A Member may use the Olympic Marks on Cards and decals and with other representations of the
Visa, Visa Electron, or Visa TravelMoney Program Marks in advertising and on promotional materials.

ID# 010410-010410-0001581



Compliance with Marks Use Guidelines (Updated)

Each Member must strictly observe the guidelines for use of the partnership or Sponsorship Marks as
specified in governing documents, including, but not limited to:

• Visa International Operating Regulations
• The current Visa Olympic Tool Kit

ID# 050411-010410-0007456



Improper Use of Sponsorship/Partnership Marks (Updated)

After Notification from Visa, a Member must correct any improper use of the partnership or
Sponsorship Marks.

ID# 050411-010410-0007453




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Olympic Marks on Commercial Products - U.S. Region

Olympic Marks, logos, designations, and authenticating statements may be used on a Commercial
Visa Product in the U.S. Region, provided the Member obtains prior written approval from Visa. Such
uses will be permitted in limited circumstances and are subject to approval of the Olympic authorities.

ID# 010410-010410-0006193




BIN License and Administration

License


BIN License Agreement (Updated)

Effective 1 June 2010, a Principal-Type or Associate-Type Member must submit a "BIN License
Agreement" (available through the Visa Publication Center on Visa Online) request to Visa before
using the BIN for acquiring or issuance of a Visa Card bearing the requested BIN. By completing the
"BIN License Agreement" request, the Member acknowledges that it will use the requested BIN only
for the purpose specified in the request. The Member must submit a revised request to reflect any
change in use before the effective date of the change.

ID# 080411-010410-0001220



BIN License Recipients

Effective 1 June 2010, Visa will license a BIN to a Principal-Type Member, Associate-Type Member,
or a non-Member VisaNet Processor as defined in the applicable Certificate of Incorporation and
Bylaws.

ID# 010410-010410-0001246



Purpose of BIN Use

Effective 1 June 2010, Visa licenses BINs to be used for issuing, acquiring, processing and other
approved activities; the BIN Licensee must use BINs only for the purpose for which the BIN Licensee
is approved.

ID# 010410-010410-0001250



Private Label BIN Use

Effective 1 June 2010, if a BIN Licensee or its designated Sponsored Member uses a Visa BIN for a
Private Label Card program, the Issuer or its Sponsored Member must have a written acceptance
agreement directly with each merchant that accepts its Private Label Cards.

ID# 010410-010410-0001253




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Administration


Visa Interchange Directory Update Form - Submission (Updated)

Each Member or VisaNet Processor assigned a BIN to use on Cards and through Interchange must
submit a completed "Visa Interchange Directory Update Form" (available through the Visa Publication
Center on Visa Online) to Visa.

Effective through 15 April 2011, if any of the required information changes, a Member must
immediately submit to Visa a new form with any updates for distribution to other Members and
Processors.

Effective 16 April 2011, if any of the required Visa Interchange Directory information changes, a
Member must send a new form with any updates to Visa at least 10 business days before the
effective date, for distribution to other Members and VisaNet Processors.

ID# 050411-010410-0007725



BIN Sale or Exchange

Effective 1 June 2010, a BIN Licensee must not sell, rent, or exchange any BIN. However, Visa
may, at its sole discretion, accommodate requests for BIN transfers in connection with a portfolio
sale.

ID# 010410-010410-0001238



BIN Release (Updated)

Effective 1 June 2010, A BIN Licensee that no longer uses a BIN must release it to Visa by
submitting a “Release of BIN” request. The Member must not use a BIN recalled by Visa after the
recall effective date. The "Release of BIN" form is available through the Visa Publication Center on
Visa Online.

ID# 080411-010410-0001239



BIN Release Cancellation (Updated)

Effective 1 June 2010, a BIN Licensee must:

• Notify its VisaNet Processors of a BIN release prior to submitting the "Release of BIN" request to
  Visa. The "Release of BIN" form is available through the Visa Publication Center on Visa Online.
• Submit a "Release of BIN" request to cancel a previously requested BIN release

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Membership Downgrade - BIN Requirement (Updated)

Effective 1 June 2010, a Principal-Type Member or Associate-Type Member that reclassifies to a
Participant-Type Member must either:

• Return its licensed BINs to Visa by submitting a "Release of BIN" (available through the Visa
  Publication Center on Visa Online) request before the effective date of the membership change
• Transfer its licensed BINs to its Sponsor by submitting a "Change of BIN Licensee/User" (available
  through the Visa Publication Center on Visa Online) request

ID# 050411-010410-0001241



Sponsored Member BIN Use

Effective 1 June 2010,

• A Participant-Type Member must use a BIN licensed to its sponsoring Principal
• An Associate-Type Member may license its own BIN, or use a BIN licensed to its Sponsor
• A Principal-Type Member must only use a BIN for which it is the BIN Licensee

ID# 010410-010410-0001242



Visa Interchange Directory Update Form - U.S. Region (Updated)

Effective through 15 April 2011, every U.S. Member or VisaNet Processor acting on behalf of a
U.S. Member assigned a BIN to use for Cards and through Interchange must submit a completed
"Visa Interchange Directory Update Form" to Visa. The form is available either through the Visa
Publication Center on Visa Online or upon request from Visa.

ID#: 050411-010410-0003838



Visa Interchange Directory Changes - U.S. Region (Updated)

Effective through 15 April 2011, if any of the required "Visa Interchange Directory Update Form"
information changes, a U.S. Member must send a new form with any updates to Visa 45 calendar
days before the effective date, for distribution to other Members and VisaNet Processors. The "Visa
Interchange Directory Update Form" is available through the Visa Publication Center on Visa Online.

ID#: 050411-010410-0003839


Effective 1 June 2010, when a Member changes a VisaNet Processor or begins processing through
an additional VisaNet Processor, the Member must migrate its BIN(s) from its former VisaNet
Processor to the new one, unless the Member retains a processing relationship with the former
VisaNet Processor.

ID# 010410-010410-0001267




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VisaNet Processor Relationship Termination - BIN Requirement

Effective 1 June 2010, if a Member's VisaNet Processor terminates its relationship with Visa, the
Member must ensure that all of its BINs installed with that VisaNet Processor are migrated to another
VisaNet Processor before the termination.

ID# 010410-010410-0001268



BIN Transfer to New VisaNet Processor

Effective 1 June 2010, in the event that a Member signs an agreement with a new VisaNet
Processor and migrates a BIN to it, the Member must require the new VisaNet Processor to process
any Chargebacks, Representments, Retrieval Requests, and other miscellaneous transactions
associated with Transactions originated by the former VisaNet Processor under that BIN, unless the
former VisaNet Processor agrees to continue processing those transactions.

ID# 010410-010410-0001269



BIN Recall/Reassignment

Effective 1 June 2010, if Visa has recalled a BIN:

• The BIN is eligible for deletion from VisaNet six months after the latter of:
  - Expiration date on the last Card issued has passed
  - Date acquiring activities have ceased
  - Date any processing activities have ceased
• The BIN may subsequently be assigned to another Member following the deletion
• The original BIN Licensee remains liable for any exception activity related to Transactions
  generated on the BIN before the deletion. Settlement of such liability to Visa or Members will be
  conducted by Visa in conjunction with the original BIN Licensee.

ID# 010410-010410-0001272



Non-Visa-Assigned BIN Management - U.S. Region (New)

Effective 8 November 2010, a U.S. Issuer using a non-Visa-assigned BIN in connection with a Visa
service or product must:

• Ensure it has the right to provide the BIN to Visa
• Maintain the accuracy of the information relative to the BIN

ID#: 050411-081110-0026016




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Recalled BIN Responsibility

Effective 1 June 2010, a BIN Licensee is responsible and liable for any recalled BIN until it is fully
deleted from all VisaNet systems.

ID# 010410-010100-0025578



Cessation of BIN Authorized Activities

Effective 1 June 2010, if a Member ceases any of the authorized activities on an existing licensed
BIN, the timeframes referenced in "BIN Recall/Reassignment" must be adhered to for removing the
activity from the BIN.

ID# 010410-010100-0025577



Sales and Transfers


Notification of BIN Sale or Transfer (Updated)

Effective 1 June 2010, Members involved in a portfolio sale or transfer that results in a change of
BIN Licensee or User must notify Visa within 10 calendar days of the portfolio sale or transfer by
submitting to Visa a “Change of BIN Licensee/User” request. The "Change of BIN Licensee/User"
form is available through the Visa Publication Center on Visa Online

ID# 050411-010410-0001243



Member Financial Liability During BIN Sale or Transfer

Effective 1 June 2010, Visa holds the selling institution financially liable for all portfolio activities, in
addition to payment of all applicable fees, until Visa acknowledges all required documentation.

ID# 010410-010410-0007667



Portfolio Sale or Transfer Forms

Effective 1 June 2010, Visa will make the VisaNet system changes required to accommodate
portfolio sales and program transfers only after Visa receives a written request for the changes from
the Member.

ID# 010410-010410-0001258




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Mergers and Acquisitions


VisaNet Systems Changes Due to Merger or Acquisition (Updated)

Effective 1 June 2010, Visa will make the VisaNet system changes required to accommodate
Mergers/Acquisitions only after Visa acknowledges receipt of a “Change of BIN Licensee User Form”
and a “Member Portfolio Sale Notification” as appropriate, from the Member. Both the "Change of BIN
Licensee/User Form" and the "Member Portfolio Sale Notification" are available through the Visa
Publication Center on Visa Online.

ID# 080411-010410-0001236



Mergers, Acquisitions, or Restructuring Membership Qualifications

Effective 1 June 2010, for a portfolio sale, all Visa membership qualifications must be met by the
purchasing organization. Membership documentation must be submitted to Visa, as specified in the
Visa International Operating Regulations and the applicable Certificate of Incorporation and Bylaws.

ID# 010410-010410-0001245



Surviving Member Liability Due to Merger

Effective 1 June 2010, if Visa does not receive notification within 30 calendar days of the effective
date of the Merger, Visa may take the necessary steps to process the Merger, including the transfer
of all products and programs.

ID# 010410-010410-0001257



Membership Status


Voluntary Membership Termination

Effective 1 June 2010, before a request for voluntary membership termination will be processed by
Visa, all BINs must be either:

• Fully deleted from the VisaNet systems
• Transferred to another BIN Licensee

ID# 010410-010100-0025579




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BIN Licensee

Responsibilities


BIN Licensee Responsibilities

A BIN Licensee is responsible for all activities associated with any BIN that it licenses.

ID# 010410-010410-0007652



Termination of BIN Use Authorization

Effective 1 June 2010, if a BIN User is no longer authorized by the BIN Licensee to use its BIN, the
BIN User must:

• Discontinue use of the BIN
• Ensure all Cards are reissued using a BIN it is authorized to use

ID# 010410-010410-0001265




BIN Use

Member Use


BIN Usage Rights (Updated)

Effective 1 June 2010, only the BIN Licensee or the BIN Licensee’s designated Sponsored Member
may use the BIN for the purpose noted on the “BIN License Agreement” (available through the Visa
Publication Center on Visa Online).

ID# 080411-010410-0001225



Unique Identification Within the Account Number

Effective 1 June 2010, an Issuer using a BIN licensed to its sponsoring Member must be uniquely
identified within the first 9 digits of the Account Number.

ID# 010410-010410-0001226




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Processor BIN Usage

Effective 1 June 2010, a non-Member VisaNet Processor acting on behalf of a Member must use its
licensed BINs exclusively for processing activities. It must not use the BINs for issuing or acquiring
purposes.

ID# 090411-010410-0001227



Use of BINs for Non-Visa Purposes (Updated)

Effective 1 June 2010, a Member using a Visa-assigned BIN for non-Visa purposes, including
Private Label Card programs, must:

• Request approval for the program by submitting a written statement of program objectives to Visa
  that identifies the BIN uses
• Submit a “BIN License Agreement” request (available through the Visa Publication Center on Visa
  Online)

ID# 050411-010410-0001228



BIN Processing

Each Member and VisaNet Processor must be capable of accepting and processing any Visa-
licensed BIN for any Visa-defined purpose.

ID# 010410-010410-0008895



Merchant Use and Disclosure of BIN Information


Disclosure of BIN Information to Merchants - U.S. Region

A U.S. Acquirer may provide Visa Debit Card BIN information to its Merchant or its Agent solely for
purposes of identifying Visa Debit Cards presented at the point of sale. An Acquirer must provide this
BIN information to any Merchant requesting it for the permitted purpose.

ID# 010410-010410-0000506



Use of BIN Information - U.S. Region

A U.S. Merchant or Agent that receives BIN information from its Acquirer must not use such
information for any reason other than to identify Visa Debit Category products at the point of sale,
unless authorized by Visa.

ID# 010410-010410-0002311




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Confidentiality of BIN Information - U.S. Region

Visa BIN information provided by a U.S. Acquirer to a Merchant or an Agent is proprietary and
confidential information belonging to Visa.

ID# 010410-010410-0002314



Non-Disclosure of BIN Information - U.S. Region

A U.S Merchant or its Agent must not disclose Visa BIN information to any third party without prior
written permission from Visa.

ID# 010410-010410-0002315



Merchants Receiving BIN Information - U.S. Region

A U.S. Acquirer that provides BIN information to its Merchant or Agent must ensure that:

• The Merchant or Agent complies with the substance of "Merchant Use and Disclosure of BIN
  Information"
• These requirements are included in its Merchant Agreement or Agent contract as a separate
  addendum

ID# 010410-010410-0003346



Third Parties Receiving BIN Information - U.S. Region

A U.S. Acquirer whose Merchant provides BIN information to its Third Party must:

• Ensure that the Third Party complies with the substance of "Merchant Use and Disclosure of BIN
  Information"
• Require the Merchant to include the substance of these requirements in its agreement or contract
  with its Third Party

ID# 010410-010410-0003347




Software License

Rights To Sell - Canada Region

The Canada Region may sell products, services, systems, and software that it has developed.

ID# 010410-010410-0001353




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Non-Transferability


Non-Assignable Right to Use VisaNet

A Member's right to use VisaNet is not assignable and its duties are non-delegable without prior
written consent from Visa. However, a Member may use a non-Member VisaNet Processor that has
executed and delivered to Visa a "VisaNet Letter of Agreement" (Exhibit 5A).

ID# 010410-010410-0003081



Limitations


Restricted Use of VisaNet

A Member must restrict its use of the VisaNet systems and services to purposes specifically approved
by Visa.

ID# 010410-010410-0003331



Restricted Use of VisaNet - U.S. Region

A U.S. Member, VisaNet Processor acting on behalf of a Visa Member, or U.S. Direct-Connect
Merchant must restrict its use of VisaNet to purposes specifically approved by Visa.

ID# 010410-010410-0003719




Use of Visa Systems

Visa Systems


Proprietary Interest in Visa Systems

No Member will have any property or other right, claim, or interest, including any patent right, Trade
Secret right, or Copyright interest, in the VisaNet systems or services, or in any systems, processes,
equipment, software, or data that Visa uses with the VisaNet systems or services, excluding Member-
supplied data or equipment.

In the U.S. Region, no U.S. Member or U.S. Direct-Connect Merchant will have any property or other
right, claim, or interest, including any patent right, Trade Secret right, or Copyright interest, in the
V.I.P. System, BASE II, or in any systems, processes, equipment, software, data, or materials that
Visa or its subsidiaries use with the V.I.P. System, BASE II, or in connection with a Visa program,
except for Merchant- or Member-supplied data or equipment. (This only applies in the U.S. Region.)

ID# 010410-010410-0006468




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Confidentiality of Visa Systems Information - U.S. Region

The V.I.P. System and BASE II consist of confidential and proprietary information belonging to Visa.
Each U.S. Member, VisaNet Processor acting on behalf of a U.S. Member, or U.S. Direct-Connect
Merchant must take appropriate action to ensure that its employees or agents with access to the
V.I.P. System or BASE II or related documentation:

• Are advised of the confidential and proprietary nature of these systems and documentation
• Use their best efforts to protect the VisaNet Access Points
• Are prohibited from:
  - Providing access to or disclosing these systems and documentation to any third party
  - Using these systems and documentation for any purpose not authorized in the U.S. Regional
    Operating Regulations

A U.S. Member or Direct-Connect Merchant must not disclose any confidential information of Visa or
its subsidiaries to a non-Member.

ID# 010410-010410-0005821



Confidential Information Disclosed to Contractors (Updated)

A Member may disclose confidential information to contractors that the Member employs to provide
services in connection with Visa products and services, if the contractor has a written agreement with
its Member that the contractor:

• Will not disclose the confidential information to any third party
• Will use the confidential information only to provide services to the Member for use only with the
  Member's Visa products and services

Any confidential information disclosed to the contractor must:

• Remain solely the property of Visa
• Be returned to Visa immediately upon Visa request
• Be immediately returned to the Member upon termination of the relationship that required use of
  the confidential information

The Member is responsible for its contractor's compliance with these conditions and must not allow a
non-Member VisaNet Processor to use the V.I.P. System or BASE II unless the non-Member VisaNet
Processor has delivered a completed "VisaNet Letter of Agreement" (available through Visa Online)
to Visa.

ID# 050411-010410-0006467




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Non-Assignable Right To Use V.I.P. System or BASE II - U.S. Region (Updated)

A U.S. Member's or Direct-Connect Merchant's right to use the V.I.P. System or BASE II is not
assignable and its duties are non-delegable without prior written consent from Visa. However, a
Member or Direct-Connect Merchant may use a non-Member processing organization that has
executed and delivered a "VisaNet Letter of Agreement" (available through Visa Online) to Visa.

ID# 050411-010410-0003718



VisaNet Access Point Modification - U.S. Region

A U.S. Member, VisaNet Processor acting on behalf of a U.S. Member, or U.S. Direct-Connect
Merchant must not make or attempt to make any repair, adjustment, alteration, or modification to a
VisaNet Access Point, except as expressly authorized by Visa.

ID# 010410-010410-0003721



VisaNet Access Point Security - U.S. Region

A U.S. Direct-Connect Merchant must provide the same level of security for its VisaNet Access Points
that it provides to its other proprietary systems.

ID# 010410-010410-0003722



VisaNet Access Point Restrictions - AP Region

An AP Member may use a VisaNet Access Point only for V.I.P. System and BASE II processing as
specified by Visa.

AP Members must not share a VisaNet Access Point without the prior written consent of Visa. If Visa
permits 2 or more Members to share a VisaNet Access Point for BASE II transmissions, Visa may
schedule the sequence and processing times for the transmission.

ID# 081010-010410-0007418



Use of VisaNet System for Non-Visa Card Transactions - AP Region

In the AP Region, an organization that uses the VisaNet System for Authorization, Clearing, or
Settlement of non-Visa Card transactions must comply with the following:

• The organization must obtain the prior written consent of Visa to use the VisaNet System for non-
  Visa Card transactions
• Use of the VisaNet System must be authorized by each entity with administrative or operational
  responsibility over the non-Visa Card transactions
• All non-Visa Card transactions entered into the VisaNet System must comply with the applicable
  regulations established by Visa




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An organization in the AP Region that uses the VisaNet System for non-Visa Card transactions must
pay all applicable fees for use of the VisaNet System for Authorization, Clearing, or Settlement of
non-Visa Card transactions.

ID# 010410-010410-0007029




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Chapter 4: The Visa Brand

Core Principle 4.1

Brand Prominence


Using Visa-Owned Marks

Usage of the Visa-owned marks must be consistent with the Visa Product Brand Standards, and such
marks must never be obscured, distorted, defaced, altered in any way, or appear less prominently
than any other payment marks.

ID#: 010410-010410-0007761




Core Principle 4.2

Communications


Protecting the Brand

No activities or materials may infringe, dilute, denigrate, or impair the goodwill and/or reputation of the
brand or Visa-owned marks.

ID#: 010410-010410-0007762




Core Principle 4.3

Visa-Owned Mark on a Payment Device


Positioning the Brand Mark

The Visa brand mark must always appear on the front of the payment device (e.g., Card), and no
marks deemed competitive by Visa may appear on a Visa payment device, among other reasons so
as to avoid causing consumer confusion.

ID#: 010410-010410-0007763




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Core Principle 4.4

Corporate Names


Keeping Visa Separate from Corporate Names

Visa participants and third-parties may not use the Visa name, a Visa-owned mark, or a derivative of
a Visa-owned mark as part of its corporate name or identity.

ID#: 010410-010410-0007766




Core Principle 4.5

Denote and Promote Visa


Using the Visa-owned Mark

A Visa-owned mark, including associated elements, may only be used to denote or promote Visa
products, offers, sponsorships, services, processing and/or acceptance.

ID#: 010410-010410-0007767




Core Principle 4.6

Card Acceptance Outside of Country of Issuance


Using the Visa Brand Mark With Country-Specific Marks

Only the Visa brand mark may be used on cards or payment devices to denote card acceptance
outside of the country of issuance, and must appear clearly more prominent than country-specific
marks.

ID#: 010410-010410-0007770




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Core Principle 4.7

Card Acceptance at Point-of-Sale


Using the Visa Brand Mark to Show Acceptance at the Point-of-Sale

A card or payment device design may not be used at the point-of-sale to denote acceptance. Only
the Visa brand mark may be used to denote acceptance at the point-of-sale.

ID#: 010410-010410-0007771




Marks

General Use of Marks


Visa Program Marks List

The Visa Program Marks include:

• Visa Flag Symbol
• Visa Brand Mark
• Visa Brand Name
• Visa Wordmark
• Dove Design
• Any other Mark that Visa adopts for use with the Visa Program

ID#: 010410-010410-0006267



Restricted Use of Visa-Owned Marks

A Member must only use the Visa-Owned Marks:

• To denote or promote a Visa Program
• To promote a Member's Visa Program
• In operations in support of its Visa products or services

ID#: 010410-010410-0006308



Marks Degradation

Materials bearing any of the Visa-Owned Marks must not degrade the Marks.

ID#: 010410-010410-0006315


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Marks Infringement/Denigration

Effective 1 January 2010, a Member'sVisa Card Program, Visa Electron Program, Verified by Visa,
or Visa TravelMoney Program materials, including Global Co-branded Card materials, must not
contain any matter which would tend to infringe, dilute, or denigrate any of the Visa-Owned Marks,
Visa Products, Visa services, or impair the reputation or goodwill of Visa or the goodwill associated
with the Marks.

ID#: 081010-010100-0025557



Marks Use and Marketing Restrictions

Effective 1 January 2010, a Member must not adopt any Mark, or market, either directly or
indirectly, any Visa Product or service, to consumers, Merchants or other Members in a manner
which has the likely effect of confusing, misleading, defrauding or deceiving such consumers,
Merchants or Members, either as to the program, product or service, or the source, affiliation,
sponsorship or association of such program, product or service. Such prohibited acts include, without
limitation, making direct or indirect, false, confusing or misleading statements or failing to disclose a
material fact about the programs, products or services, or any aspect thereof, of a Member, Visa,
another Member, a Merchant, or a competitor.

ID#: 081010-010100-0025558



Marks Infringement/Denigration - U.S. Region

A U.S. Member's Visa Card Program, Visa Electron Program, Verified by Visa Program, or Visa
TravelMoney Program materials, including Affinity Card materials, or other Member materials using
any Mark(s) of the Visa Card Program, the Visa Electron Program, Verified by Visa Program, or the
Visa TravelMoney Program, must not contain any matter which would tend to infringe, dilute, or
denigrate any of the Visa-Owned Marks, Visa Products, Visa services, or any Member or Merchant,
or impair the reputation or goodwill of Visa or the goodwill associated with the Marks. No Member
may adopt any Mark or market, either directly or indirectly, any Visa Product or service, to
consumers, Merchants, or other Members in a manner which has the likely effect of confusing,
misleading, defrauding, or deceiving such consumers, Merchants, or Members, either as to the
program, product, or service, or the source, affiliation, sponsorship, or association of such program,
product, or service. Such prohibited acts include, without limitation, making direct or indirect false,
confusing, or misleading statements or failing to disclose a material fact about the programs,
products, or services, or any aspect thereof, of a Member, Visa, another Member, a Merchant, or a
competitor.

ID#: 081010-010410-0006259



Obscured/Defaced Marks

No portion of a Visa-Owned Mark may be obscured, distorted, or defaced. A Visa-Owned Mark that is
a graphic design must not be used separately.

ID#: 010410-010410-0003578




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The Visa Brand Mark

The Visa Brand Mark is a Visa-Owned Mark that represents the Visa organization and its product and
service offerings. The Visa Brand Mark must appear exactly as shown in the Visa Product Brand
Standards.

ID#: 010410-010410-0003581



The Visa Brand Mark Color Requirements - U.S. Region

For U.S. Members, the Visa Brand Mark must appear in full color if it appears with any other
acceptance mark that is in full color. It may appear in black and white only if it appears with other
Marks in black and white.

ID#: 010410-010410-0005759



Classic Wordmark - U.S. Region

For U.S. Members, the registered Mark denotation ® must appear at the first or most prominent
mention of the Classic Wordmark.

ID#: 010410-010410-0005760



Dual Payment Card Marketing Requirements

Effective 1 January 2010, an Issuer that engages in Dual Payment Card Marketing must:

• Obtain the prior written consent of Visa
• Submit to Visa for review and approval all offers, solicitations, promotions, and communication
  materials that include any Visa-Owned Marks or Visa-branded products
• Ensure that all communication and marketing materials relating to Marks, products or services of a
  non-Visa general purpose payment card network as designated by Visa are not positioned in
  conjunction with Visa-Owned Marks, products, or services in a manner that dilutes or denigrates
  the Visa brand

ID#: 010410-010100-0025569




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Non-Visa General Purpose Payment Card Network

Effective 1 January 2010, no Member may use the Marks of a non-Visa general purpose payment
card network, on a Visa Card without prior written consent from Visa.

A Member may use the Visa Card Program Marks in conjunction with the Marks of these entities on
items and materials other than Visa Cards provided that the overall appearance resulting from such
use unmistakably conveys the idea that the Marks associated with Visa identify a product or service
separate and distinct from any product or service of any non-Visa general purpose payment card
network.

Any Issuer that is currently engaged in Dual Card Marketing must comply with this requirement
effective 1 January 2011.

ID#: 010410-010100-0025567



Offer/Issuance Conditions

Effective 1 January 2010, no Member may condition the offer or issuance of any payment card
product bearing Visa Card Program Marks or the maintenance of a Visa Cardholder relationship upon
the possession or acceptance of a product bearing the Marks of the American Express Company,
MasterCard Worldwide, Discover Financial Services, Diner's Club, JCB, or any other non-Visa
general purpose payment card network, as designated by Visa, without the prior written consent of
Visa.

Any Issuer that is currently engaged in Dual Card Marketing must comply with this requirement
effective 1 January 2011.

ID#: 081010-010100-0025568



Competitive Marks - U.S. Region

No U.S. Member may use the Marks of the American Express Company, MasterCard Worldwide
(including Maestro), Discover Financial Services, or the subsidiaries or affiliates of these entities on
Visa Cards. Notwithstanding the preceding, as long as:

• The Wordmark is used to denote ATM sharing only, it may appear on the back of a Visa Card, as
  specified in "Cirrus Wordmark - U.S. Region"
• The Issuer processes Non-Visa Debit Transactions, the PULSE Mark may appear on the back of a
  Visa Check Card or a Visa Debit Card

A U.S. Member may use the Visa Program Marks in conjunction with the Marks of these entities on
items and materials other than Visa Cards provided that the overall appearance resulting from such
use unmistakably conveys the idea that the Marks associated with Visa identify a product or service
separate and distinct from any product or service of the American Express Company, MasterCard
Worldwide (including Maestro), Discover Financial Services, or their subsidiaries or affiliates.

ID#: 081010-010410-0006300




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Brand Protection

Members must not use the Visa-Owned Marks:

• In any manner that may bring the Visa-Owned Marks or Visa Inc. or its affiliates into disrepute
• In relation to, or for the purchase or trade of, photographs, video imagery, computer-generated
  images, cartoons, simulation or any other media or activities including, but not limited to:
  - Child pornography
  - Bestiality
  - Rape (or any other non-consensual sexual behavior)
  - Non-consensual mutilation of a person or body part

Members not complying with these requirements will be subject to penalties prescribed under the
Electronic Commerce Merchant Monitoring Program.

ID#: 081010-010509-0007283



Member Cooperation Concerning Marks

Each Member must cooperate with Visa to ensure protection of each of the Visa-Owned Marks.

ID#: 010410-010410-0006321



Ownership of Visa Programs

A Member must not state or imply that it is the exclusive owner or provider of any Visa-Owned Mark,
except as stated in the Visa International Operating Regulations.

ID#: 010410-010410-0006503



Visa Endorsement of Goods/Services

A Member must not use any of the Visa-Owned Marks to indicate that Visa endorses, is identified
with, or sponsors goods or services other than those of Visa, except as permitted in "License Grant
for Visa-Owned Marks."

ID#: 010410-010410-0006555



Member Compliance with Operating Regulations

Each Member agrees that all use of the Visa-Owned Marks, as well as the nature and quality of all
services rendered under these Marks, must comply with the Visa International Operating Regulations
and the Visa Product Brand Standards.

If requested, a Member must supply Visa with samples of any materials bearing any Visa-Owned
Mark produced by or for the Member.

ID#: 010410-010410-0006554


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Use of a Mark to Resemble a Card

In marketing collateral, a Member must not use:

• A Visa-Owned Mark in such a way that it could be mistaken for an actual Card and used in a
  Transaction
• The Visa Brand Name in any classified advertising section, except as specified in "Permitted
  Merchant Use - U.S. Region"
• The Visa Brand Name or the bands design on any check

ID#: 010410-010410-0008273



Use of Names Similar to Visa

A Member or a Member's agent must not use, adopt, register, or attempt to register a company name,
product name, or Mark that may be identical or confusingly similar to any Visa-Owned Mark,
including, but not limited to:

• Names
• Trademarks
• Service Marks
• Trade Names
• Logos
• Words
• Symbols

If Visa determines that a Member's trademark is identical or confusingly similar to a Visa-Owned
Mark, the Member must immediately withdraw its trademark application or registration and
discontinue use of the Mark.

ID#: 010410-010410-0006557



Compliance with Brand Standards Website

All Visa-Owned Marks must meet the Brand standards as established by Visa, including, but not
limited to, the Visa Product Brand Standards.

ID#: 010410-010410-0006322



Periodic Audits by Visa

Visa may conduct periodic audits to ensure that all entities authorized to use the Visa-Owned Marks
are doing so in a manner approved by Visa. Visa may conduct audits to ensure compliance with, but
not limited to, the:

• Use of the Visa Brand Mark and the Visa Brand Name
• Product-related communications


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• Partner and sponsorship materials and implementations
• Advertising
• Direct mail
• Marketing materials
• Websites

ID#: 010410-010410-0006560



Verified by Visa Mark Use by Merchant

An Acquirer must ensure that a Merchant using the Verified by Visa Mark complies with the Visa
Product Brand Standards.

ID#: 010410-010410-0006265



Use of Product Marks


Verified by Visa Mark Use by Members

A Member using the Verified by Visa Mark must:

• Ensure that the Mark complies with the Visa Product Brand Standards
• Not use the Mark in a way that implies endorsement of any other product or service
• Not use the Mark to indicate payment acceptance

ID#: 010410-010410-0006263



V PAY Brand Mark

The V PAY Brand Mark is a Visa-Owned Mark. Implementation of the V PAY Product and use of the
V PAY Brand Mark outside of Visa Europe is subject to approval and trademark availability. The V
PAY Brand Mark must appear exactly as specified in the Visa Product Brand Standards.

ID#: 010410-010410-0003585



Visa TravelMoney Program Marks Compliance

The Visa TravelMoney Program Marks must be used as specified in the:

• Visa International Operating Regulations
• Visa International Certificate of Incorporation and Bylaws
• Visa Product Brand Standards
• Visa TravelMoney Product Guide

ID#: 010410-010410-0006292


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The Visa Gold Product Name - Canada Region

A Canada Member must use the product name "Visa Gold" in all communications regarding the Visa
Gold program, including solicitations, advertising, and promotions.

ID#: 010410-010410-0007230




Corporate Identity

Use of Brand in Corporate Identity


Written Consent for Use of Visa Brand Name

Only with prior written consent from Visa may a Member, or a wholly owned subsidiary of one of its
members that exclusively engages in Visa Transaction processing, use the Visa Brand Name in its
corporate name or other business name, except as permitted in "Restricted Use of Visa-Owned
Marks." A Member must not file or register any of these names with any governmental office without
prior written consent from Visa.

ID#: 010410-010410-0007268



Member Use of Country Name

A Member must not use the name of a country with the Visa Brand Name or any other Visa-Owned
Mark in its corporate name or other business name, unless Visa has granted exclusive jurisdiction to
the Member under the Visa International Certificate of Incorporation and Bylaws and has been
granted express permission.

A country name may be used in a Member's corporate name in which the country name is an integral
part, provided it complies with the Visa International Operating Regulations.

ID#: 010410-010410-0007643



Group Member Corporate Identity

In a country with a single Group Member, the Group Member may use "Visa" as a part of its
corporate legal name and identity as permitted in the Visa International Operating Regulations. In a
country with multiple Group Members, a Group Member must not use "Visa" as part of its corporate
legal name or identity. When multiple Group Members exist in the same country, 12 months after the
formation of a new Group Member, an existing Group Member must not use the name "Visa" in its
corporate name and identity.

ID#: 010410-010410-0006274




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Visa as Part of Corporate Identity

Visa must grant permission to a Member requesting use of the name "Visa" or any other Visa-Owned
Mark as part of its corporate name or identity. If permission is granted, the name must be used:

• In a Member's corporate name, and must include the country identifier. The name "Visa" must not
  be used without the country identifier.
• In all media (business cards, letterhead, press releases, Websites, etc.) and must contain a clear
  indication of actual corporate identity, including full legal name
• In a contract or legal instrument with third parties, the Member must clearly state that it does not
  have the authority to act (and is not acting) as an agent of, or represent, Visa or any affiliate of
  Visa
• Solely for the promotion of Visa products and services

ID#: 010410-010410-0007277



National Organization

A National Organization established in compliance with Article XVI of the Visa International Certificate
of Incorporation and Bylaws may use "Visa" as part of its corporate legal name and identity as
provided in the Visa International Operating Regulations.

ID#: 010410-010410-0006276




Use of Marks on Cards

Marks Usage Requirements


Extraneous Numbers or Devices

Except for the Account Number, a Visa Card must not bear any number or device, whether
embossed, printed, etched, encoded, or otherwise affixed, that is used for international payment
purposes.

ID#: 010410-010410-0006161



Appropriate Marks on Chip Cards

A Card containing a Chip must bear the appropriate Mark for the Visa or Visa Electron Payment
Application facilitated by the Chip.

ID#: 010410-010410-0003612




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Visa Flag and Visa Mark Requirements

Effective 1 September 2005 through 28 February 2007, an Issuer may issue or reissue a Visa
Card or Visa Electron Card bearing the:

• Visa Flag Symbol or Visa Electron Symbol. The Card bearing the Visa Flag Symbol or Visa
  Electron Symbol must:
  - Expire no later than 30 June 2011
  - Comply with the Visa International Operating Regulations
• Visa Brand Mark or Visa Brand Mark with the Electron Identifier. The Card bearing the Visa Brand
  Mark or Visa Brand Mark with the Electron Identifier must comply with the Visa Product Brand
  Standards.
All newly created Visa Cards and Visa Electron Cards, issued or reissued, must:
• Bear the Visa Brand Mark or Visa Brand Mark with the Electron Identifier
• Comply with the Visa Product Brand Standards

An Issuer may issue or reissue a Card bearing the Visa Flag Symbol or Visa Electron Symbol to
deplete existing card stock. The Card bearing the Visa Flag Symbol or Visa Electron Symbol must:

• Expire no later than 30 June 2011
• Comply with the Visa International Operating Regulations

Effective 1 July 2011, all Visa Cards and Visa Electron Cards must bear the Visa Brand Mark or
Visa Brand Mark with the Electron Identifier, as specified in the Visa Product Brand Standards.

See the Visa Product Brand Standards for complete embossing and printing requirements for the
front and back of Visa and Visa Electron Cards.

ID#: 010410-010410-0003607



Visa Flag and Visa Mark Requirements - U.S. Region

Effective through 1 July 2011, a U.S. Issuer may issue or reissue a Visa Card bearing either the:

• Visa Flag Symbol to deplete existing card stock. A Card bearing the Visa Flag Symbol must both:
  - Expire no later than 30 June 2011
  - Comply with the Visa International Operating Regulations
• Visa Brand Mark. A Card bearing the Visa Brand Mark must comply with the Visa Product Brand
  Standards, available through Visa Online.
In the U.S. Region, all new Visa Card stock orders must:
• Bear the Visa Brand Mark
• Comply with the Visa International Operating Regulations
• Comply with the Visa Product Brand Standards

All U.S. Member marketing materials and Member Websites must display the Visa Brand Mark.




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Effective 1 July 2011, all new and existing Visa Cards must bear the Visa Brand Mark.

Detailed rules for Card designs using the Visa Flag Symbol effective through 30 June 2011 are
available from Visa.

ID#: 081010-010410-0006166



Multiple Marks on Card


Hierarchy of Marks

If more than one Visa-Owned Mark is present on a Card, an Issuer must designate a Primary Mark,
complying with the following hierarchy of Marks:

• Visa Brand Mark
• Visa Brand Mark with the Electron Identifier
• Visa Cash Symbol

All other Visa-Owned Marks must:

• Appear together
• Not be separated by Non-Visa-Owned Marks

ID#: 010410-010410-0008218



Permitted Use of Other Marks

Other Marks may be used on Cards as follows:

• A Member must not use any Mark other than the Visa Brand Mark, Visa Brand Mark with the
  Electron Identifier, or Visa Cash Symbol on Cards to indicate Card acceptance at Merchant Outlets
  outside the country of Card issuance.
• A Mark owned by a Single Merchant may appear on a Card as part of an affinity program approved
  by Visa. If the Mark is not one that is used as an identifier of payment services at Merchant Outlets
  other than those of the Single Merchant, this Mark is not considered to indicate payment
  acceptance.
• A Member may use non-Visa-owned brand marks to indicate acceptance at Merchant Outlets
  solely within the country of Card issuance only if these non-Visa-owned brand marks are clearly
  less prominent than the Visa Brand Mark, or Visa Brand Mark with the Electron Identifier.4

ID#: 081010-010410-0006326




4
    A variance to this requirement applies in the Canada Region.


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Competitive Marks


Prohibited Use of Trade Name or Mark

The following must not appear on any part of a Visa or Visa Electron Card:

• Any Trade Name or Mark that identifies or is associated with any entity, or its subsidiaries or
  affiliates, deemed competitive by Visa, including:
    - American Express Company
    - Discover Financial Services5
    - MasterCard Worldwide (including Maestro)6
• Any Trade Name or Mark that is confusingly similar to any other Visa-Owned Mark

ID#: 081010-010410-0008458



Cards Bearing the Plus Symbol

A Card bearing the Plus Symbol must not bear the Marks of any entity that is ineligible for
membership in Visa, or of any of the following entities, or their subsidiaries or affiliates, deemed
competitive by Visa:7

• American Express Company
• Discover Financial Services8
• JCB
• MasterCard Worldwide

A Card bearing the Plus Symbol is exempt from this requirement if it was issued under an agreement
executed with Visa or Plus System, Inc. prior to 1 October 1992.

A Card bearing the Plus Symbol must not bear a Trade Name or Mark that is confusingly similar to
any other Visa-Owned Mark.

ID#: 081010-010410-0006159




5
  A variance to this requirement applies in the U.S. Region for Visa Cards bearing the Pulse Mark and Cards bearing the Plus
Symbol.
6
  Except as specified in "Cirrus Wordmark - LAC Region" and "Cirrus Wordmark - U.S. Region."
7
  Visa may grant a variance to this section for Chip Cards bearing the Plus Symbol.
8
  A variance to this requirement applies in the U.S. Region for Visa Cards bearing the Pulse Mark and Cards bearing the Plus
Symbol.


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Cirrus Wordmark - LAC Region

Effective 1 April 2010, an LAC Issuer whose Visa Cards participate in the Cirrus network on
31 March 2010 may continue to do so under the following conditions:

• The Issuer must not extend its use of the Cirrus Wordmark or functionality beyond the existing
  debit, credit, or prepaid Card product types or Visa Card Programs participating in the Cirrus
  network on 31 March 2010
• The Issuer must not allow the Cirrus Wordmark and functionality to continue on a Visa Card
  Program obtained through a Merger or an Acquisition

ID#: 081010-010410-0025674



Cirrus Wordmark - U.S. Region

Effective 1 April 2010, a U.S. Issuer whose Visa Cards participate in the Cirrus network on 31 March
2010 may continue to do so under the following conditions:

• The Issuer must not extend its use of the Cirrus Wordmark or functionality beyond the existing
  debit, credit, or prepaid Card product types or Visa Card Programs participating in the Cirrus
  network on 31 March 2010
• The Issuer must not allow the Cirrus Wordmark and functionality to continue on a Visa Card
  Program obtained through a Merger or an Acquisition

ID#: 081010-010410-0006306



General Card Design


Card Design Considerations

All Card designs must comply with the Visa Product Brand Standards.

ID#: 010410-010410-0006160



Visa Mark Requirements

The Visa Brand Mark must:

• Appear as specified in the Visa Product Brand Standards
• Be placed on the front of the Card

ID#: 010410-010410-0006162




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Requirements for Variations - U.S. Region

Any variation from the Card reproduction, printing, or embossing specifications and dimensions
specified in the Visa Product Brand Standards requires the prior written consent of Visa.

Visa approval of a Card design does not:

• Replace the need for an Issuer to consult with its own legal counsel regarding the use of a Card
  design and any Mark
• Offer legal protection from possible infringement or other types of actions

ID#: 010410-010410-0006168



Other Marks Prohibition - U.S. Region

A U.S. Member must not use Marks that are specifically related to bank card programs and/or
services related to those programs on Visa Cards, unless the U.S. Regional Operating Regulations
expressly allow them.

ID#: 010410-010410-0006189



Restrictions on Cards Bearing Photographs - U.S. Region

For Cards issued in the U.S. Region, a Card design bearing a photograph on the front of the Card:

• Must not bear any Visa Sponsorships, Visa-Owned Marks, or confusingly similar marks, logos,
  designations, or authenticating statements
• Must comply with the Visa International Operating Regulations and the Visa Product Brand
  Standards

ID#: 010410-010410-0006177



Requirements for Cards Bearing Photographs - U.S. Region

Visa may require a U.S. Member to replace a Card containing a photograph that does not comply
with the:

• Visa International Operating Regulations
• Visa Product Brand Standards

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Member Identification

Member Identification on Card


Permitted Member Identification

The following may be printed on a Visa Card as specified in the Visa Product Brand Standards:

• Certain Trade Names, including those of an Issuer, an Issuer's holding company Member, or an
  Issuer's agent member
• With the prior written consent of Visa:
  - Certain Marks associated with proprietary, local, regional, national, or multinational services
  - Marks to identify the services of the Issuer or Trade Names to identify the Member, in any color

ID#: 010410-010410-0006156



Member Identification Area - U.S. Region

With the prior consent of Visa, any of the following may be printed in the Member identification area of
a Visa Card issued by a U.S. Issuer:

• Certain Trade Names, including those of an Issuer, an Issuer's holding company that is eligible for
  membership, or an Issuer's Sponsored Member
• Any subsidiary of the above that is eligible for membership or solely engaged in banking activities
Use of these Marks on all Visa Cards must comply with the Affinity Card specifications if the Marks are:
• Associated with products or services offered by an institution engaged in non-banking activities
• Not owned by the Issuer, its parent, subsidiaries, affiliates, or related companies in the case of an
  employee credit union

ID#: 010410-010410-0007292



Prohibited Language - U.S. Region

Advertising, promotional, or other language that is not an integral part of the identification of the
Member's organization or service must not be printed in the Member identification area of a Visa
Card issued by a U.S. Issuer.

ID#: 010410-010410-0006192




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Affinity/Co-Branding/Non-Member Marks

Non-Member Marks on Cards


Issuer Affinity/Co-Branding Requirements - AP Region

An AP Issuer of an Affinity Card Program or Co-Branded Card Program must:

• Comply with all Visa International Operating Regulations for Visa Card Programs
• Submit a completed "Affinity Card Program and Co-Branded Card Program Approval" form to Visa
  for each program launched
• Underwrite, issue, and maintain the accounts accessed by the Affinity Card Program or Co-
  Branded Card Program. Visa may approve variances to this subsection for mortgage originator
  programs, pastoral companies, and superannuation funds in Australia, subject to assessment of
  the risk and eligibility of each request.

In addition, before Visa approval, an Issuer may be required to provide information concerning the
reputation and financial standing of an affinity or co-brand partner.

ID#: 010410-010410-0001664



Affinity/Co-Branding Partner Eligibility Requirements - AP Region (Updated)

An affinity partner or co-branding partner must:

• Be sponsored by an AP Issuer
• Not be an organization that is eligible for membership
• Not be an organization deemed to be a competitor of Visa

ID#: 050411-010410-0001663



Affinity and Co-Branding Program Documentation Requirements - AP Region

An AP Issuer must provide Visa with documentation of the following:

• Acknowledgement from the affinity partner or co-branding partner that Visa owns the rights to all
  Visa-Owned Marks
• Acknowledgement from the affinity partner or co-branding partner that the Issuer has the right to
  use the partner's name and/or logo on the Affinity Card Program or Co-Branded Card Program
• A trademark search has been performed by the Issuer, and Visa is indemnified and not
  responsible for any disputes and legal costs that may arise from use of that Trade Name or Mark

ID#: 010410-010410-0001665




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Non-Member Marks on Cards - CEMEA Region

In the CEMEA Region, with the prior written approval of Visa, a Member may include, within the
Member identification area of its Visa and Visa Electron Cards, the Trade Name or Mark of up to 2
organizations not eligible for membership in Visa.

ID#: 010410-010410-0008640



Non-Member Marks on Card Requirements - CEMEA Region

For all Cards issued in the CEMEA Region with the Trade Name or Mark of up to 2 non-Members the
Issuer must ensure that the non-Member(s) does not:

• Maintain a contractual relationship with the Cardholder where the use of a Card accesses an
  account that the non-Member establishes, maintains, manages, or underwrites
• Directly or indirectly control or exercise controlling influence over the management or policies of the
  Issuer
• Finance more than 25% of the receivables arising out of the program
• Perform the credit evaluation of the applicant, billing of the Cardholder, or Visa customer service in
  connection with the non-Member Marks program
• Be an organization deemed to be a competitor of Visa

ID#: 081010-010410-0007233



Non-Member Marks on Card Advertising/Promotional Language - CEMEA Region

For all Cards with non-Member Marks issued by a CEMEA Issuer, advertising, promotional, or other
language that is not an integral part of the non-Member Trade Name or Mark is not permitted.

ID#: 010410-010410-0007247



Non-Member Trade Name or Mark Requirements - CEMEA Region

For all Cards with non-Member Marks issued by a CEMEA Issuer, the non-Member Trade Name or
Mark must be that usually used in the non-Member's corporate identity and advertising materials. The
non-Member Trade Name or Mark must be a registered trademark. Where used, the Trade Name or
Mark must not:

• Compromise any of the required Card features specified in the Visa Product Brand Standards
• Bear any FIFA or Olympic Marks, logos, designation, or authentication statements or any of Visa's
  other sponsorship assets
• Bear any political, provocative or other image or Mark that may, as determined by Visa, result in
  non-acceptance or other problems at the Point-of-Transaction

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Back of the Card with Non-Member Marks - CEMEA Region

With the prior written approval of Visa, the back of a Card issued by a CEMEA Issuer may contain the
Trade Name or Mark of organizations not eligible for membership in Visa.

ID#: 010410-010410-0007236



Affinity/Co-Branding Program - LAC Region

With the prior written consent of Visa, an LAC Member may issue Affinity/Co-Branding Cards, as
specified in the LAC Regional Operating Regulations.

ID#: 010410-010410-0007415



Copy of Affinity and Co-Branding Contract and/or Collateral Material - LAC Region

Visa has the right to request a copy of the contract with the Affinity/Co-Branding Partner and/or
marketing collateral material used in the program to determine compliance with the Affinity/Co-
Branding Program ownership and control requirements in the LAC Regional Operating Regulations.

ID#: 010410-010410-0001652



Requests for Affinity/Co-Branding Program Information - LAC Region

An LAC Member or Affinity/Co-Branding Partner must provide information requested by Visa in order
to determine whether its Affinity/Co-Branding Program complies with the LAC Regional Operating
Regulations.

ID#: 010410-010410-0001653



Affinity/Co-Branding Program Ownership Requirement - LAC Region

An LAC Issuer must own and control the Affinity/Co-Branding Program. The Affinity/Co-Branding
Partner must not control the Affinity/Co-Branding Program.

ID#: 010410-010410-0001649



Determination of Affinity/Co-Branding Program Ownership - LAC Region

Visa (subject to delegation and approval by the Board of Directors) determines whether the program
is owned and controlled by the LAC Member or the Affinity/Co-Branding Partner. The decision is
based on the LAC Issuer's entire relationship with the Affinity/Co-Branding Partner, including, but not
limited to, the following:

• Whether the Member:
  - Establishes program management policies, such as setting credit criteria and making Cardholder
    credit decisions
  - Is at risk as the owner of the program


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  - Actively ensures that its policies and guidelines are implemented
• The Issuer's role in setting the fees and rates for Affinity/Co-Branding Program products and
  services
• Whether all or part of the receivables are financed with the Affinity/Co-Branding Partner
• The degree to which the Issuer, not the Affinity/Co-Branding Partner, is portrayed as the owner of
  the Affinity/Co-Branding Program
• The extent to which the Issuer provides all or part of the program operations, such as customer
  service and collections

ID#: 010410-010410-0001651



Second Line of Credit for On-Us Transactions - LAC Region
An LAC Affinity/Co-Branding Partner may establish a second line of credit for On-Us Transactions.
Access to the second line of credit is restricted to Transactions completed at an Affinity/Co-Branding
Partner's Merchant Outlet for goods or services. The amount of the second line of credit must not
exceed the amount of the primary line of credit.

ID#: 010410-010410-0007302



Affinity/Co-Branding Visa Transaction - LAC Region

An On-Us Transaction from an LAC Affinity/Co-Branding Partner is considered a Visa Transaction.

ID#: 010410-010410-0001654



Affinity/Co-Branding Reporting Requirements - LAC Region

An LAC Issuer must report separately the following information about its Affinity/Co-Branding
Program:

• Number of Affinity/Co-Branding Visa Cards
• Sales volume on its Quarterly Operating Certificate

ID#: 010410-010410-0001657



Affinity/Co-Branding Communications Standards - LAC Region

In all communications and Collateral Materials, the product must not state or imply that any institution
other than the LAC Member is the Issuer of the Card. An Affinity/Co-Branding Partner's Trade Name
or Mark must not be positioned as adding superior acceptability of the Visa Card at the Point-of-
Transaction. The Visa Brand Name or Trade Mark must be prominently featured or at least be of the
same size of those owned by the Issuer or its Affinity/Co-Branding Partner. Visa may request
samples of the Collateral Material.

ID#: 010410-010410-0001658




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Affinity/Co-Branding Partner Marks Display - LAC Region

Visa may require modification of any display of an LAC Affinity/Co-Branding Partner's Trade Name or
Mark at a Merchant Outlet if Visa determines that the display adversely affects the Visa brand.

ID#: 010410-010410-0004923



Affinity/Co-Branded Card Discounts - LAC Region

An LAC Affinity/Co-Branding Partner's Merchant must not provide a discount at the Point-of-
Transaction. The Merchant may provide a discount, such as credit on a Cardholder statement or a
rebate, at a later time.

ID#: 010410-010410-0004924



Affinity/Co-Branding Program Modification - LAC Region

If Visa determines that any provisions of an LAC Affinity/Co-Branding Program have been violated,
Visa may require modification of the program, including, but not limited to:

• Assignment of the program to a third party
• Suspension or termination of the program
• Fines

ID#: 010410-010410-0001650



Termination of Affinity and Co-Branding Program - LAC Region

If an LAC Member violates any provisions of the Affinity/Co-Branding Program, Visa may, with 90
calendar days' prior written notice, impose penalties, including:

• Fines
• Termination of the Affinity/Co-Branding Program

ID#: 010410-010410-0001659



Co-Branded Cards


Co-Branding Partner Reputation and Financial Standing

An Issuer participating in a Global Co-branding Partnership may be required to provide information
about the reputation and financial standing of the Global Co-branding Partner before approval of the
individual program.

ID#: 010410-010410-0004056




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Co-Branding Partnership Approval Documentation Requirements

A Global Co-branding Partner and Issuer must provide a dossier of proprietary and public information
for approval to Visa, including:

• "Co-branding Partnership Regional Approval Form" for each proposed Interregional and
  Intraregional co-branding program
• Global Co-branding Partners' Marks and design guidelines (including color proofs) or evidence that
  a trademark search has been conducted
• Color proofs

ID#: 010410-010410-0004052



Co-Branding Partner Eligibility

A Global Co-branding Partner must:

• Be sponsored by an Issuer
• Not be eligible for Visa membership
• Not be an entity deemed to be a competitor of Visa

ID#: 010410-010410-0004053



Co-Branding Partnership Requirements

A Global Co-branding Partnership participant must comply with:

• The Visa International Operating Regulations
• Applicable local laws
• Applicable Regional Operating Regulations

ID#: 010410-010410-0004054



Co-Branding Issuer Qualification and Notification

An Issuer participating in a Global Co-branding Partnership must:

• Be a qualified Issuer in countries where Global Co-branded Cards will be issued
• Notify Visa of planned interregional and intraregional Global Co-branding Partnership expansion

ID#: 010410-010410-0004055




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Affinity Cards


Affinity Card Issuance - Canada Region

With the prior written consent of Visa, a General Member in the Canada Region may issue Affinity
Cards as specified in the Canada Regional Operating Regulations.

ID#: 010410-010410-0001667



Affinity Participant on Cards - Canada Region

With the prior written consent of Visa and provided that consent has not been withdrawn, Cards
issued by a General Member in the Canada Region and displaying the corporate name or Trade
Name of that General Member on the front of the Card may bear the name, Trade Name, or Mark of
up to 2 Affinity Participants in conjunction with the General Member's Affinity Card Program if it
appears either:

• In the Member identification area on the front of the Affinity Card
• On the back of the Affinity Card in the area not covered by the signature panel or Magnetic Stripe

ID#: 010410-010410-0001678



Affinity Program Documentation Requirements - Canada Region (Updated)

A General Member in the Canada Region must follow the Visa Affinity Card Program application
submission process and receive written consent from Visa before launching an Affinity Card program.

Upon Visa request, a Canada Member must submit a copy of the Affinity Participant Agreement and
any other contracts or documentation relative to an Affinity Card Program.

ID#: 050411-010410-0001668



Affinity Program Approval - Canada Region

A General Member in the Canada Region must not produce Collateral Material, solicit prospective
Cardholders, or issue Affinity Cards until Visa has approved and returned the "Visa Canada Affinity
Program Approval Form" (Exhibit CAN-3) to the General Member.

ID#: 010410-010410-0001669




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Affinity Card Requirements - Canada Region

An Affinity Card issued by a Canada Issuer must:

• Be a Visa Card
• Be referred to as a "Visa Card"
• Be issued only to residents of Canada

ID#: 010410-010410-0001671



Affinity Card Restrictions - Canada Region

An Affinity Card issued by a Canada Issuer must not:

• Be used to debit any credit, charge, payment, or deposit account other than the account
  maintained by the General Member in connection with that Affinity Card
• Contain any number or other device that may be used to effect a point-of-sale Transaction, other
  than the Account Number

ID#: 010410-010410-0001670



Affinity Program Member Requirements - Canada Region

A General Member in the Canada Region sponsoring an Affinity Participant agrees to comply with the
following terms:

• The General Member owns and controls the Affinity Program
• The Affinity Participant does not directly or indirectly own, control, or exercise controlling influence
  over the Affinity Card Program
• The General Member, and not the Affinity Participant, is portrayed as the owner of the Affinity Card
  Program
• The Affinity Participant does not provide payment card services or advertise that it is providing
  payment card services
• The General Member provides printed, broadcasted, or other materials used to solicit applications
  for Cards or to communicate with holders of Cards, or to otherwise advertise the Affinity Card
  Program
• The Affinity Participant is acting pursuant to the direct instructions of the General Member to the
  extent any materials used to promote the Affinity Card Program are prepared by the Affinity
  Participant
• All materials used to promote the Affinity Card Program have been reviewed by the General
  Member, and will not be distributed without the prior approval of the General Member

ID#: 010410-010410-0001672




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Determination of Affinity Program Ownership and Control - Canada Region

Visa may request from a General Member in the Canada Region all documentation relative to an
Affinity Card Program and make a determination whether the General Member has sufficient
ownership and control of the Affinity Card Program. The decision may be based on the General
Member's entire relationship with the Affinity Participant, and may take into account the following
factors:

• Whether the General Member:
  - Establishes program management policies, such as setting credit criteria and making Cardholder
    credit decisions
  - Is at risk as the owner of the program
  - Actively ensures that its policies and guidelines are implemented
• The General Member's role in setting fees and rates for the Affinity Card Program products and
  services
• Whether all or part of the receivables are financed with the Affinity Participant
• The degree to which the General Member, not the Affinity Participant, is portrayed as the owner of
  the Affinity Program
• The extent to which the General Member provides all or part of the program operations, such as
  customer service and collections

ID#: 010410-010410-0001673



Terms of the Affinity Participant Agreement - Canada Region

A General Member in the Canada Region must ensure that an Affinity Participant acknowledges and
agrees to at least the following provisions, which must be substantially reproduced in the Affinity
Participant Agreement:

• The General Member owns and controls the Affinity Card Program
• To the extent the Affinity Participant prepares materials to promote the Affinity Card Program that
  contains Visa-Owned Marks, it does so pursuant to direct instructions from the General Member,
  and the General Member's use of the Visa-Owned Marks is governed by the Visa International
  Operating Regulations and Canada Regional Operating Regulations
• The incorporation of Visa-Owned Marks in materials to promote the Affinity Card Program must be
  reviewed and approved by the General Member to confirm that it conforms to the terms and
  conditions of the Visa International Operating Regulations and Canada Regional Operating
  Regulations, to which the General Member confirms receipt
• Acknowledge that Visa owns the Visa-Owned Marks
• Ensure that the Affinity Participant's display of the Visa-Owned Marks as expressly directed by the
  General Member is limited to the Affinity Card Program
• Provide samples of any Affinity Card and related Collateral Material upon request to the General
  Member or Visa, as appropriate
• Ensure that the Affinity Participant does not represent to the public that use of an Affinity Card will
  create indebtedness to the Affinity Participant
• Acknowledge the right of Visa to withdraw its consent to the Affinity Card Program if either the:



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  - General Member or Affinity Participant (on behalf of the General Member) violates the Canada
    Regional Operating Regulations, policies of the Canada Region, or Affinity Participant
    Agreement
  - Affinity Participant does not meet the conditions of the Canada Regional Operating Regulations
    for approval of the use of its name, Trade Name, or Mark on Affinity Cards and related Collateral
    Material as such conditions are amended from time to time

ID#: 010410-010410-0001675



Owner and Issuer of Affinity Card - Canada Region

An Affinity Card issued by a Canada Issuer must clearly disclose that the General Member is issuing
and is the owner of the Affinity Card, and it must be clear from the Affinity Card design that the Affinity
Card is issued by the General Member and not by the Affinity Participant.

ID#: 010410-010410-0001677



Affinity Program Issuer Identification - Canada Region

It must be clear from the Collateral Material that an Affinity Card is issued by the General Member in
the Canada Region and not by the Affinity Participant.

ID#: 010410-010410-0001679



Affinity Program Collateral Material - Canada Region

On all Collateral Material for an Affinity Card issued by a Canada Issuer, the:

• Corporate name or Trade Name of the General Member must be clearly disclosed as the owner
  and Issuer of the Affinity Card
• Affinity Participant must not state or imply that the Affinity Card is owned or issued by the Affinity
  Participant
• Affinity Participant must not state or imply that the Affinity Card is accepted only by a particular
  Merchant or class of Merchants

ID#: 010410-010410-0001680



Affinity Program Communications - Canada Region

A General Member in the Canada Region issuing an Affinity Card must refer to the Affinity Card as a
"Visa Card" in all communications regarding its Affinity Card Program.

ID#: 010410-010410-0001681




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Affinity Program Criteria - Canada Region

Communications for an Affinity Card issued by a Canada Issuer and related Collateral Material may
bear the Trade Name or Mark of an Affinity Participant only if all of the following criteria are met:

• Affinity Participant has a good reputation and is financially sound
• Affinity Participant's name, Trade Name, or Mark is recognized on a national, provincial, regional,
  or local basis
• Proposed program complies with the Visa International Operating Regulations and the Canada
  Regional Operating Regulations
• If the Affinity Participant is a Merchant, it accepts all Cards, including all Affinity Cards, where its
  goods or services are available for purchase
• Affinity Participant and each of its affiliates directly or indirectly do not:
  - Control or exercise controlling influence over the management or policies of the General
    Member with respect to the Affinity Card Program
  - Share, participate, or assist in the funding of more than 25% of the receivables at any time
    outstanding, due to use of its Affinity Cards, whether by loans, deposits, purchase, or financing
    of receivables, loan guarantees, or otherwise
  - Conduct credit evaluations, participate in billings, or provide customer services in connection
    with its Affinity Card Program

ID#: 010410-010410-0001682



Affinity Program Collateral Material Submission - Canada Region

A General Member in the Canada Region must submit all Collateral Materials, including solicitations,
print advertisements, and telemarketing scripts, regarding any Affinity Card Program to Visa upon
request.

ID#: 010410-010410-0001683



Affinity Card Rules for Proprietary Cards Bearing the Plus Symbol - Canada Region

The Canada Affinity Card rules do not apply to Proprietary Cards bearing the Plus Symbol and no
other Visa Marks on which a non-Member Identification appears.

ID#: 010410-010410-0001684



Affinity Card Rules for Visa Commercial Cards - Canada Region

The Canada Affinity Card rules do not apply to Business, Corporate, or Purchasing Cards on which a
non-Member Identification appears.

ID#: 010410-010410-0001685




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Violation of Affinity Card Program Regulations - Canada Region

If it determines that any provisions of the Canada Affinity Card Program have been violated, Visa
may:

• Require modification of the program, including, but not limited to:
  - Assignment of the program to a third party
  - Suspension or termination of the program
• Impose fines or terminate the program on 30 calendar days' written notice
• Terminate an Affinity Card Program, without cause, with at least 60 calendar days' prior written
  notice to the General Member and Affinity Participant

ID#: 010410-010410-0001674



Affinity Program Participation Requirements - U.S. Region

With the prior written consent of Visa a Member may issue Affinity Cards as specified in the U.S.
Regional Operating Regulations and Visa U.S.A. Inc. Certificate of Incorporation and Bylaws. Except
as specifically stated to the contrary, all other Operating Regulations apply to Affinity Cards, without
modification.

ID#: 010410-010410-0001600



Affinity Program Communications - U.S. Region

A U.S. Visa Card Issuer must refer to its Affinity Card as a "Visa Card" in all communications
regarding its Visa Affinity Card program.

ID#: 010410-010410-0001614



Affinity Program Issuer Identification - U.S. Region

Affinity Cards and Cardholder communications must not state or imply that any institution other than
the U.S. Member is the Issuer of the Card. A Card is deemed to comply with this requirement if it:

• Bears only the Affinity Partner's Trade Name or Mark on the front
• Satisfies Issuer identification requirements specified in the Visa International Operating Regulations
  and the Visa Product Brand Standards

ID#: 010410-010410-0001615



Affinity Program - Superior Acceptability - U.S. Region

An Affinity Card issued by a U.S. Issuer or an Affinity Partner's Trade Name or Mark may not be
positioned as adding superior acceptability of the Visa Card at the Point-of-Transaction.

ID#: 010410-010410-0001616




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Visa Brand Mark in Affinity Program Collateral Material - U.S. Region

The Visa Logotype or Visa Flag Symbol or Visa Brand Mark must be prominently featured in all
Collateral Material regarding any U.S. Affinity Card program.

ID#: 010410-010410-0001617



Affinity Program Visa Brand Mark Display - U.S. Region

If the Affinity Card or Affinity Partner's Mark appears as part of any written communication regarding
any aspect of the U.S. Visa Affinity Card program, the Visa Logotype or Visa Flag Symbol or Visa
Brand Mark must also be at least equally and prominently displayed.

ID#: 010410-010410-0001618



Submission of Affinity Program Collateral Material and Solicitations - U.S. Region
(Updated)

Upon request, a U.S. Member must submit all Collateral Material regarding any Affinity Card program,
including solicitations, print advertisements, and telemarketing scripts, to Visa for approval.

Visa may prohibit the use of any material that denigrates the Visa Brand Mark or the Visa Brand
Name, or for any other reason Visa deems appropriate.

Visa review of the Member's materials should not be construed as legal approval against potential
third-party claims.

ID#: 050411-010410-0007458



Restricted Affinity Card Issuance - U.S. Region

A U.S. Member may issue an Affinity Card only to a resident of the United States of America.

ID#: 010410-010410-0003830



Affinity Program Positioning, Acceptance, and Accounts - U.S. Region

A U.S. Visa Affinity Card Issuer must not:

• Position the Affinity Card as something other than a Visa Card9
• Position its Trade Name or Mark as adding superior acceptability of the Card at the Point-of-
  Transaction




9
  A limited exception is allowed for Campus Cards to facilitate closed-loop proprietary campus transactions and permit the use
of campus identification/access applications. A Campus Card must still be positioned as a Visa Card, but with the additional
functionality noted here.


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• Designate or design any of its Affinity Cards, whether through the use of a Trade Name, Mark,
  numbering scheme, code on the Magnetic Stripe, or any other device or means, in order to either:
     - Permit exclusive or preferential acceptance of any of its Affinity Cards by any Merchant or any
       Affiliated-merchant that is affiliated with the Member
     - Allow any Transaction involving use of these Cards to be treated as other than a Visa
       Transaction for all purposes, except as specified in "PIN-Debit Network Requirements - U.S.
       Region" 10
• Allow its Affinity Cards to be used to debit any credit, charge, or asset account other than the Visa
  account maintained by the Issuer in connection with the Affinity Card, when that Affinity Card is
  presented to a Visa Merchant

ID#: 081010-010410-0001603



Affinity Program Ownership Requirement - U.S. Region

A U.S. Issuer must own and control its Affinity Card program. The Affinity Partner must not directly or
indirectly own, control, or exercise controlling influence over the Affinity Card program.

ID#: 010410-010410-0001605



Affinity Program Ownership Portrayal - U.S. Region

A U.S. Member must ensure that the Issuer, not the Affinity Partner, is portrayed as the owner of the
Affinity Card program.

ID#: 010410-010410-0001606



Determination of Affinity Program Ownership - U.S. Region

Visa may determine whether the U.S. Affinity Card program is owned and controlled by the Member.
The decision is based on the Issuer's entire relationship with the Affinity Partner, including, but not
limited to, the following:

• Whether the Issuer:
     - Establishes program management policies, such as setting credit criteria and making Cardholder
       credit decisions
     - Is at risk as the owner of the program
     - Actively ensures that its policies and guidelines are implemented
• The Issuer's role in setting fees and rates for Affinity Card program products and services




10
   A limited exception is allowed for Campus Cards to facilitate closed-loop proprietary campus transactions and permit the use
of campus identification/access applications. A Campus Card must still be positioned as a Visa Card, but with the additional
functionality noted here.


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• Whether all or part of the receivables are financed with the Affinity Partner
• The degree to which the Issuer, not the Affinity Partner, is portrayed as the owner of the Affinity
  Card program
• The extent to which the Issuer provides all or part of the program operations, such as customer
  service and collections

ID#: 010410-010410-0001608



Affinity Card Issuer Identification - U.S. Region

If the U.S. Issuer's Trade Name or Mark does not appear on the front of the Affinity Card, the
following language must be clearly legible on the back of the Card, in addition to, or instead of, other
Issuer identification: "This Card is issued by (Issuer name) pursuant to a license from Visa U.S.A.
Inc."

ID#: 010410-010410-0001701



Visa Requests for Affinity Program Information - U.S. Region

Upon Visa request, a U.S. Member must submit the following to Visa to determine compliance with
"Affinity Program Ownership Requirement - U.S. Region":

• Any and all contracts with the Affinity Partner
• Any other documentation relative to the Affinity Card program

ID#: 010410-010410-0001607



Sponsorship Marks on Affinity Cards - U.S. Region

Visa Sponsorships, logos, designations, and authenticating statements may be used on an Affinity
Card issued by a U.S. Issuer, provided that the Issuer obtains prior written approval from Visa. Such
uses will be permitted in limited circumstances and are subject to approval of the applicable
authorities.

ID#: 010410-010410-0001702



Affinity Program Compliance - U.S. Region

A U.S. Member or Affinity Partner must provide information requested by Visa in order to determine
whether its Affinity Card program complies with the U.S. Regional Operating Regulations. The Board
of Directors may grant a variance to any Operating Regulation pertaining to Affinity Card programs.

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Determination of Affinity Program Violation - U.S. Region

If it determines that any provisions of the U.S. Affinity Card program have been violated, Visa may:

• Require modification of the program, including, but not limited to:
  - Assignment of the program to a third party
  - Suspension or termination of the program
  - Fines
• Impose fines or terminate the program on 30 calendar days' written notice
• Terminate an Affinity Card program, without cause, with at least 180 calendar days' prior written
  notice to the U.S. Member and Affinity Partner

ID#: 010410-010410-0001611



Appeal Rights for Affinity Program Termination - U.S. Region

If Visa terminates a U.S. Affinity Card program, the Member may appeal the termination to the Board
of Directors by providing written notice to Visa within 30 calendar days of receipt of Notification.

The Board's decision is final.

ID#: 010410-010410-0007407




Brand Positioning

Card and Product Positioning


Design Approval for Cards and Displays

A Member must submit proposed designs for all Cards and Point-of-Transaction displays to Visa for
written approval:

• Before production
• Each time the design is changed

ID#: 010410-010410-0006146



Visa Product Name

If a Member uses a Visa Product Name or any Visa-Owned Mark in typed or printed text, it must
comply with the Visa International Operating Regulations and the Visa Product Brand Standards.

ID#: 010410-010410-0006155




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Visa Card Product Name

A Member must not:

• Position any Visa Card as something other than a Visa Card
• Position a Visa Business, Visa Corporate, or Visa Purchasing Card as something other than a Visa
  Card for the payment of business expenditures
• Position its Trade Name or Mark as adding superior acceptance of the Card at the Point-of-
  Transaction

ID#: 010410-010410-0006153



Card Reproduction Requirements

A Member:

• Must produce a Card as specified in the Visa Product Brand Standards
• Must not distribute or display a reproduction of a Card as an indication of acceptance of Visa
  products at the Point-of-Transaction

ID#: 010410-010410-0006329



Positioning, Acceptance, and Accounts - U.S. Region

A U.S. Issuer must not:

• Position the Card as something other than a Visa Card11
• Position its Trade Name or Mark as adding superior acceptability of the Card at the Point-of-
  Transaction
• Designate or design any of its Visa Cards, whether through the use of a Trade Name, Mark,
  numbering scheme, code on the Magnetic Stripe or Chip, or any other device or means, in order to:
     - Permit exclusive or preferential acceptance of any of its Visa Cards by any Merchant or any
       Affiliated-merchant that is affiliated with the Member
     - Allow any Transaction involving use of these Cards to be treated as anything other than a Visa
       Transaction, except as specified in "PIN-Debit Network Requirements - U.S. Region"
• Allow a Visa Card that is used primarily to access a line of credit, to participate in any PIN-based
  debit program, unless the participation is for ATM access only

ID#: 081010-010410-0003210




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   A limited exception is allowed for Campus Cards to facilitate closed-loop proprietary campus transactions and permit the use
of campus identification/access applications. A Campus Card must still be positioned as a Visa Card, but with the additional
functionality noted here.


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Card and Product Positioning

An Issuer must refer to its Visa Card as a "Visa Card" in all communications regarding its program,
including solicitations, advertising, promotions, and other Collateral Material.

ID#: 010410-010410-0003211



Positioning Trade Name or Mark - Canada Region

A Canada Member must not position its Trade Name or Mark as adding superior acceptability of the
Card at the Point-of-Transaction.

ID#: 010410-010410-0007231




Use of Marks in Promotions, Advertisements, and
Solicitations

Solicitations


Member Identification

A Member must identify itself by city and principal name, and may substitute the local Branch name
and city, if desired, on all supplies, materials (including broadcast), and oral or written solicitations
sent to current or prospective Cardholders or Merchants. A Member must not state or imply in these
materials that any other Member's Cards or Merchant materials are being replaced, are invalid, or
should be destroyed. A Member must not state or imply that Visa provided or endorsed these
materials unless Visa designed them for Member use.

ID#: 010410-010410-0006311



References to Bankruptcy - U.S. Region

Visa Program solicitation materials in the U.S. Region must not reference bankruptcy, insolvency, or
any similar circumstance.

ID#: 010410-010410-0001216



Visa Approval of Marketing Materials - U.S. Region

A U.S. Issuer must submit all marketing materials or other customer communications pertaining to
any of the core and optional services to Visa for written approval before distribution.

These materials must comply with the requirements specified in the implementation materials
available from Visa, unless the U.S. Member has received prior written approval from Visa.

ID#: 010410-010410-0007438


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Promotional Material


Merchant Use for Promotions/Advertising

A Member must not allow a Merchant or other entity to use any Visa-Owned Mark for promotional or
advertising purposes in any media, unless the:

• Member distributes the material
• Visa International Operating Regulations or the Visa Product Brand Standards permit their use
• U.S. Member's name and city appear on the material, as applicable

If a Merchant uses promotional materials and advertisements that include the use of Visa-Owned
Marks, the Merchant must comply with the:

• Regional Operating Regulations
• Visa International Operating Regulations
• Visa Product Brand Standards

ID#: 090411-010410-0008277



Competitive Marks with Visa-Owned Marks

A Member may use certain Visa Program Marks on items other than Cards or for sponsorship
activities with the Marks of the following or its subsidiaries or affiliates:

• American Express Company
• Discover Financial Services
• MasterCard Worldwide
• Any other entity Visa deems competitive

The overall appearance of this use must unmistakably convey the idea that the Visa-Owned Mark,
when used on items other than Cards or for sponsorship activities, clearly identifies a product or
service that is separate and distinct from any product or service of the entities listed above.

ID#: 081010-010410-0006327



Competitive Marks with Visa-Owned Marks - U.S. Region

A U.S. Member may not use the Visa-Owned Marks in connection with a Member's promotion, offer
or solicitation of a payment card product, or the maintenance of a U.S. Cardholder relationship,
together with Marks that are associated with payment card products issued by the American Express
Company, Discover Financial Services, and their subsidiaries or affiliates (including, by way of
example and not limitation, "American Express," "Optima," "Discover," "Bravo," "Novus," and
"Membership Rewards") or together with Marks associated with any other payment card company
deemed competitive by the Board of Directors, if such Marks are owned or controlled by such
competitors.

ID#: 081010-010410-0006302


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Offer/Issuance Conditions - U.S. Region

A U.S. Member may not condition the offer or issuance of any payment card product bearing the
Visa-Owned Marks or the maintenance of a U.S. Cardholder relationship upon the possession or
acceptance of a general purpose payment card product issued by the American Express Company,
Discover Financial Services, or any other payment card company deemed competitive by Visa.

ID#: 081010-010410-0006303



Advertisements Using Visa-Owned Marks

If a Merchant uses promotional materials and advertisements that include the use of the Visa-Owned
Marks, the Acquirer must approve them in advance.

ID#: 010410-010410-0002863



Merchant Use of Marks

A Merchant must not:

• Indicate or imply that Visa endorses any Merchant goods or services
• Refer to Visa in stating eligibility for its products, services, or membership
• Use the Visa-Owned Marks for any purpose other than those permitted in the Visa International
  Operating Regulations or without written permission from Visa

In addition, a U.S. Merchant must not use the signage associated with the Limited Acceptance
Category it has selected for any purpose other than those permitted in the U.S. Regional Operating
Regulations or without written permission from Visa. (This only applies in the U.S. Region.)

ID#: 010410-010410-0007416



Permitted Merchant Use - U.S. Region

A U.S. Merchant may:

• Indicate in a single advertisement, display, or notice that the Visa Program services and other Card
  services are available
• Use the Visa-Owned Marks or, if the U.S. Merchant has selected Limited Acceptance, the signage
  associated with the Limited Acceptance category it has selected, on promotional, printed, or
  broadcast materials only to indicate the types of Cards it accepts for payment

ID#: 010410-010410-0002343




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Advertising Materials - Canada Region

In the Canada Region, Point-of-Transaction advertising and promotional materials (except credit card
application forms) must not indicate that the Canada Merchant has been signed by, or represents the
interests of, a particular Canada Member.

ID#: 010410-010410-0006233



Collateral Material - Canada Region

Except as permitted in the Canada Regional Operating Regulations and except as may be permitted
by Visa, a name, Trade Name, or Mark of a non-Member must not be used on Collateral Material
bearing the Visa Program Marks that is used for soliciting applications or communicating with Canada
Cardholders. The Marks of the Interac Association are excepted.

ID#: 010410-010410-0006236




Member Sponsorships

Sponsorships Usage Requirements


Use of a Visa-Owned Mark with Member Sponsorships

A Member may use a Visa-Owned Mark to sponsor a specific sporting, musical, artistic, or other
event only with prior written consent from Visa.

ID#: 010410-010410-0006317



Approval Request for Sponsorship Materials

A Member must submit an approval request to Visa at least 2 months before the anticipated release
date of any materials associated with sponsorship activities or the start date of a sponsored event,
whichever is earlier.

ID#: 010410-010410-0007408




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Use of Visa-Owned Marks with Competitive Marks

A Member must not use the Visa-Owned Marks with the Marks of any of the following, or its
subsidiaries or affiliates, in any sponsorship activity:

• American Express Company
• Discover Financial Services
• MasterCard Worldwide (including Maestro)
• Any other entity that Visa deems competitive

ID#: 081010-010410-0006572



Member as Sponsor

A Member participating in any sponsorship activity must clearly convey in all of its communications
and displays that only the Member, not Visa, is the sponsor. The Member must not state or imply
that it owns any of the Visa-Owned Marks.

ID#: 010410-010410-0007405



Use of Marks on Cards/Decals (Updated)

A Member may use the partnership or Sponsorship Marks on Cards and decals with other
representations of certain Visa Program Marks in advertising and on promotional materials.

ID#: 050411-010410-0001132



Visa Approval for Use of Visa-Owned Mark in Event Sponsorship - U.S. Region

A U.S. Member must obtain written approval from Visa for its planned use of any Visa-Owned Mark in
the sponsorship of events, including all advertising, promotions, and public relations. These rules do
not apply to the purchase of advertising not specifically tied to sponsorship of an event.

A U.S. Member must ensure that it uses each Visa-Owned Mark within the scope of the written
approval from Visa. After Notification from Visa, a Member must correct any improper use of any of
these Marks.

ID#: 010410-010410-0007439




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Use of Marks in U.S. Region - U.S. Region

If permitted, a U.S. Member may use the Visa-Owned Marks only in the United States. If a U.S.
Member plans sponsorship activities in any additional country, it must:

• Submit a new request to Visa
• Obtain written consent from Visa prior to the sponsorship
• Comply with the Visa International Operating Regulations and the Visa Product Brand Standards

ID#: 010410-010410-0001160




Electron Mark/Identifier

Electron Marks Usage Requirements


The Visa Brand Mark with the Electron Identifier

The Visa Brand Mark with the Electron Identifier is a Visa-Owned Mark that must appear on the front
of a Card as specified in the Visa Product Brand Standards.

ID#: 010410-010410-0006149



Visa Brand Mark Conversion

Effective 1 March 2007:

• All newly-created Visa Electron Cards issued or reissued must :
  - Bear the Visa Brand Mark with the Electron Identifier
  - Comply with the Visa Product Brand Standards
• An Issuer may issue or reissue a Visa Electron Card bearing the Visa Electron Symbol to deplete
  existing card stock. The Visa Electron Card must expire no later than 30 June 2011

Effective 1 July 2011, all Visa Electron Cards must bear the Visa Brand Mark with the Electron
Identifier.

ID#: 010410-010307-0007409



Visa Electron Card Bearing the Visa Brand Mark with the Electron Identifier

The Visa Brand Mark with the Electron Identifier must:

• Appear as specified in the Visa Product Brand Standards
• Be placed on the front of the Card

ID#: 010410-010410-0006163


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Electron Acquiring Only - U.S. Region

The Visa Electron Program Marks must be used in the U.S. Region for acquiring purposes only.

ID#: 010410-010410-0007406



Use of Electron Marks to Resemble an Electron Card - U.S. Region

On marketing collateral, a U.S. Member must not use the Visa Electron Symbol or Visa Brand Mark
with the Electron Identifier in such a way that it could be mistaken for an actual Visa Electron Card
and used in a Transaction.

ID#: 010410-010410-0006281



Prohibition on Checks - U.S. Region

A U.S. Member must not use the Visa Electron Wordmark on any check or Cheque.

ID#: 010410-010410-0006282




Interlink Program Marks

Interlink Program Marks Usage Requirements


Visa Approval to Use Interlink Mark on Visa Cards - U.S. Region

The Interlink Program Marks may appear on Visa Check Cards or Visa Debit Cards if the U.S. Issuer
obtains written approval from Visa before issuance.

ID#: 010410-010410-0006288



Interlink Mark Prominence - U.S. Region

For Cards issued by a U.S. Issuer, the Interlink Program Marks must appear, in equal prominence, on
a Visa Check Card or Visa Debit Card also participating in the Interlink Program, if the Card displays
the acceptance Mark of any non-Visa PIN-based debit or ATM program.

ID#: 010410-010410-0006290



Prohibition of Interlink Mark on Credit Cards - U.S. Region

For Cards issued by a U.S. Issuer, the Interlink Program Marks must not appear on Visa Cards that
primarily access a line of credit.

ID#: 010410-010410-0006291




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Interlink Mark Display on Cards - U.S. Region

For Cards issued by a U.S. Issuer, Interlink Program Marks are not required to appear on a Visa
Check Card or Visa Debit Card also participating in the Interlink Program if:

• The Card does not display the acceptance Mark of any other PIN-based debit program
• The Issuer clearly communicates to its Cardholders, at the time of issuance, that the Card may also
  be used for PIN debit transactions anywhere Interlink cards are accepted

ID#: 010410-010410-0006289




Plus Program Marks

Plus Program Marks Usage Requirements


Plus Symbol Use

A Member must use the Plus Symbol only as a Mark indicating acceptance for ATM services. Any
change to this provision requires a majority vote of the directors in attendance at any meeting of the
Board of Directors where a quorum is present.

ID#: 010410-010410-0006324



Plus Symbol Displayed at an ATM

The Plus Symbol must only be displayed at an ATM that accepts Cards bearing the Plus Symbol for
ATM services. Any changes to this provision require a majority 3/4 vote of the directors in attendance
at any Board of Directors meeting where a quorum is present.

ID#: 010410-010410-0003583



Plus Program Marks on Proprietary Cards

An Issuer of Proprietary Cards with Plus Program capabilities must place the Plus Symbol on all
Proprietary Cards within 5 years from the beginning date of participation in the Plus Program. The
presence of the Plus Symbol is optional on Visa Cards if no other ATM Acceptance Mark is present
on the Card.

ID#: 010410-010410-0003577




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Plus Program Marks Description - U.S. Region

The U.S. Plus Program Marks are:

• Plus Symbol, which consists of the Plus Design positioned to the left and above the Plus Logotype
• Plus Wordmark
• Plus Design or Diamond Design
• Plus Logotype
• Any other Mark that Visa adopts for use with the Plus Program

ID#: 010410-010410-0006283



Member Agreement for Plus Program Marks Use - U.S. Region

A U.S. Member agrees:

• That it will do nothing inconsistent with Visa ownership of the Plus Program Marks
• That the use of all Plus Program Marks must be for the benefit of, and on behalf of, Visa
• To supply Plus System Inc. and Visa with samples of all materials bearing the Plus Program Marks
  produced by or for the Member
• To comply with the:
  - Visa International Operating Regulations
  - Applicable Certificate of Incorporation and Bylaws
  - Visa Product Brand Standards
  - Plus System, Inc. Bylaws and Operating Regulations

ID#: 010410-010410-0006284



Plus Symbol Display Requirement at ATM - U.S. Region

The Plus Symbol must be displayed on participating U.S. ATMs. The Visa Brand Mark with the
Electron Identifier may be displayed on participating ATMs.

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Chapter 5: Visa Products and Services

Core Principle 5.1

Issuing and Technology Standards


Following the Standards Established by Visa

Participants in the Visa system agree to follow the card issuing and technology standards established
by Visa to ensure systems work together to provide seamless transaction and data processing. For
example, the magnetic stripe and chip used on Visa cards must follow compatible standards and
specifications to guarantee global interoperability and payment acceptance.

ID#: 010410-010410-0007774




Core Principle 5.2

Issuing and Using Visa Products


Preserving Security, Integrity, and Consistency

To preserve the security, integrity and consistency of experience of the Visa system and meet the
diverse needs of participants in the Visa system, participants agree to follow Visa's policies,
requirements and standards for issuing and using Visa products and services.

ID#: 010410-010410-0007775




Core Principle 5.3

Card Design Requirements and Standards


Receiving Approval from Visa

Visa specifies card design requirements and standards for use of its marks to ensure the integrity,
safety, and security of the Visa brand and products and to ensure the common, immediate
recognition of Visa products and services around the world. Participating issuers agree to use only
Visa-authorized card manufacturers and card personalizers to produce Visa cards. Participants agree
to submit card designs for Visa approval to ensure adherence to the Visa Product Brand Standards.

ID#: 010410-010410-0007776




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Card Issuance

Issuer Responsibilities - General


General Member Card Program Requirements - Canada Region

A Visa Canada General Member must:

• Operate its own Card program
• Issue Cards in its own legal name or in a Trade Name or Mark owned by the Member and
  approved by Visa, bearing the Visa-Owned Marks, to eligible Cardholders

ID#: 010410-010410-0004091



General Member Card Plan - Canada Region

Each Visa Canada General Member must operate its own Card plan that conforms to the minimum
standards specified below:

• Each Member must issue Cards in its own name and own the receivables arising from the use of
  such Cards; securitization does not impact ownership for the purpose of the Operating Regulations
• Cards issued by each Member will entitle Cardholders to make purchases of goods and services
  and to obtain Cash Disbursements
• Subject to appropriate Authorization, each Member will honor Cards issued by other Members for
  Cash Disbursements
• Subject to appropriate Authorization, each General Member will cause its Merchants to honor
  Cards issued by other such Members for the purchase of goods and services

ID#: 010410-010410-0004092



Card Accessing Cardholder Funds on Deposit - U.S. Region

A U.S. Issuer must not issue or reissue a Visa Card that accesses Cardholder funds on deposit at an
organization other than the Issuer's, unless it:

• Receives prior written consent from the organization where the funds are deposited
• Completes automated clearing house notification requirements

Monthly periodic payments are excluded from this prohibition.

ID#: 010410-010410-0004573




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Adhesive Material on Cards - U.S. Region

Except as specified in "Card Activation Sticker - U.S. Region," a U.S. Issuer must ensure that no
adhesive material is affixed to either side of a Visa Card unless it is integral to the manufacture of the
Card.

ID#: 010410-010410-0003407



Card Activation Sticker - U.S. Region

A U.S. Issuer may affix a Card activation sticker to the front or back of its Cards if the sticker does not
interfere with any other security features of the Card.

The Card activation sticker or other material enclosed with the Card mailer must either:

• Provide a telephone number for the Cardholder to call to activate the Card and instruct the
  Cardholder to contact the Issuer upon receipt of the Card for activation and to remove the sticker
  from the Card once activation has occurred
• For Visa Check Cards that are activated by the Cardholder at a PIN-based Terminal, instruct the
  Cardholder to remove the sticker from the Card before activation

ID#: 010410-010410-0008695



Telephone Number for Cardholder Inquiries - U.S. Region

A U.S. Member that lists a telephone number in a telephone directory for the purpose of receiving
Cardholder inquiries must insert at least the following listing: "Visa Card Center-(Name of Member)."

ID#: 010410-010410-0006330



Account Range and BIN Use


Multiple Programs on Same BIN

An Issuer may establish multiple Visa Card programs or Virtual Account programs within the same
BIN.

ID#: 010410-010410-0004555



Business Plan Requirement for Multiple Visa Programs on Single BIN

Visa may require a business plan if an Issuer requests the assignment of designated account ranges
to multiple Visa Card programs within a single BIN.

ID#: 010410-010410-0003145




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Visa Right to Deny Account Range Request

Visa reserves the right to deny a request for a designated account range within an existing BIN.

ID#: 010410-010410-0003147



BIN Assignment for New Visa Card Programs (Updated)

For a new Visa Card program, an Issuer may assign either a:

• Unique BIN for each Visa Card program
• Designated account range within a BIN for a specific Visa Card program by completing Section 6 of
  the "BIN License Agreement" available through the Visa Publication Center on Visa Online

ID#: 050411-010410-0003143



Account Range and BIN Assignment for Existing Visa Card Programs

For existing Visa Card programs, an Issuer must not request a new designated account range
assignment within an active BIN.

ID#: 010410-010410-0003146



BIN Requirements for Card Program Category Conversion - U.S. Region

If a U.S. Member converts its Card program from one Visa category to another (e.g., Visa credit
Cards to Visa Debit Cards), it must comply with the unique BIN requirements of the Visa category to
which the program is converted as specified in the Visa International Operating Regulations on the
date of the Card program conversion.

ID#: 010410-010410-0003217



Account Number Specifications


BIN and Account Number Specifications

The specifications for BIN and Account Number structures embossed, encoded, or printed on all Visa
Cards and Visa Electron Cards.

ID#: 010410-010410-0003196




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PIN Issuance


PIN Availability Requirement

An Issuer must make a PIN available to each Cardholder for use with a Card. PIN issuance is not
required for certain Visa Prepaid Card programs bearing the Visa Brand Mark, or Visa Brand Mark
with the Electron Identifier, as outlined in the applicable Visa International Prepaid Program
Guidelines. An Issuer may elect not to offer PINs for certain types of Visa Prepaid Card products with
prior written approval from Visa.

ID#: 081010-010410-0004019



PIN Issuance Requirements

An Issuer must:

• Notify its Cardholders of PIN availability
• Comply with the Payment Technology Standards Manual
• Successfully complete certification testing to demonstrate its capability to perform PIN Verification,
  or designate Visa to perform this function
• Select Stand-In Processing Issuer options pertaining to a Transaction for which a PIN is used

ID#: 010410-010210-0004571



PIN Issuance Requirements - U.S. Region

A U.S. Issuer must:

• Comply with the Payment Technology Standards Manual
• Successfully complete required testing to demonstrate its capability to perform PIN Verification, or
  designate Visa to perform this function
• Issue a PIN to each Cardholder for use with their Visa Card. A Visa Traditional and Classic Visa
  Check Card Issuer has complied with this requirement if the Issuer notifies its Cardholders that
  they may either:
  - Select their own PIN
  - Request that a PIN be issued
• Notify each of its Cardholders of the availability of PINs and the Visa ATM Network. Issuers of the
  following Card products must provide this notification annually to all active:
  - Visa Check Card Cardholders
  - Visa Signature Cardholders
  - Visa Signature Preferred Cardholders
• Ensure the security of the PIN
• Select V.I.P. System Issuer options pertaining to a Transaction for which a PIN is used

ID#: 081010-010410-0004563



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PIN for Emergency Card Replacement - CEMEA Region

A CEMEA Issuer that issues an Emergency Card Replacement is not required to issue a PIN.

ID#: 081010-010410-0007232



PIN Issuance for Visa Signature and Visa Signature Preferred Cards - U.S. Region

A U.S. Issuer must comply with "PIN Issuance Requirements - U.S. Region" within one year of
issuing one of the following Card products to a new Cardholder:

• Visa Signature
• Visa Signature Preferred

A U.S. Issuer whose internal systems support customer PIN selection must offer the availability of
PINs to all of its Cardholders, unless prohibited by applicable law.

A U.S. Issuer whose internal systems do not support customer PIN selection must issue PINs to all of
its Cardholders, unless prohibited by applicable law. Notifying Cardholders that a PIN is available
upon request does not satisfy this requirement.

ID#: 010410-010410-0008126



Expiration Date Standards


Expiration Date Consistency

The expiration date contained in the Chip must be the same as the expiration date encoded on the
Magnetic Stripe and displayed on the Card. If applicable, the expiration date of proprietary services
on the Card must not exceed the Visa or Visa Electron Payment Application expiration date.

ID#: 081010-010410-0003209



Expiration Date Consistency - Chip Cards

The expiration date on a Visa Card, Visa Electron Card, or Card bearing the Plus Symbol must not
be later than the expiration date of the Issuer's Public Key, or any security feature containing an
expiration date in a Chip, if one is present on the Card.

ID#: 010410-010410-0003199




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Maximum Expiration Date - Non-Personalized Cards

The expiration date on a Visa Card or Visa Electron Card without a Cardholder name must not be
more than X from the date of issuance. A variance to this requirement applies in the AP Region for
Chip Cards.

Effective 1 April 2010, a variance to this requirement applies in the U.S. Region.

ID#: 081010-010410-0003198



Emergency Card Replacement Expiration Date - CEMEA Region

For a CEMEA Issuer that issues an Emergency Card Replacement, the expiration date must be
either:

• The last day of the month following the month of issuance
• A date assigned by the Issuer of no later than 1 year from the issuance date

ID#: 090411-010410-0007234



Maximum Expiration Date - U.S. Region

In the U.S. Region, unless otherwise noted, the expiration date encoded on the Magnetic Stripe and/
or Chip and embossed or printed on a Visa Card, or printed on a Visa Mini Card, must not exceed X
from the date of issuance.

ID#: 010410-010410-0003205



Service Code Requirements


Service Code Use Requirements

A Visa or Visa Electron Issuer must use one of the appropriate Service Codes that are valid for the
applicable product, and the applicable Cardholder Verification Method on a Chip Card to
communicate its Card acceptance policies, including PIN requirements at the Point-of-Transaction, as
specified in the Payment Technology Standards Manual and the Visa Integrated Circuit Card
Specification (VIS).

Service Code requirements do not apply to Emergency Card Replacements.

ID#: 081010-010410-0008697




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Service Codes Denoting International Acceptance - U.S. Region

In the U.S. Region, the Service Code field of the Magnetic Stripe must be encoded with a Service
Code that denotes international acceptance, except as noted.

ID#: 010410-010410-0004577



Instant Card Issuance


Expiration Date for Instant Issue Cards - U.S. Region (Updated)

Effective 11 November 2010, in the U.S. Region, the expiration date on a Consumer Visa Check
Card with a Cardholder identifier must not exceed X from the date of issuance.

ID#: 080411-111110-0003207



Issuer Performance Standards


Retrieval Request Rate Standards for Copy Bearing Signature - U.S. Region

A U.S. Issuer must not exceed the monthly rate of 0.016% for Retrieval Requests for copy bearing
signature. A copy bearing signature Retrieval Request rate is defined as the combined total of
Retrieval Requests for reason code 28, "Request for Copy Bearing Signature," and reason code 33,
"Request for Legal Process or Fraud Analysis," as a percentage of the total number of Transactions
for each month.

ID#: 010410-010410-0006430



Chargeback Rate Standards - U.S. Region

A U.S. Issuer must not exceed the Chargeback rate of 0.17% for its Consumer Visa Product or
Commercial Visa Product program. The Chargeback rate is the number of Chargeback rights
exercised as a percentage of all Sales Drafts received.

ID#: 010410-010410-0006900



Representment Rate Standards - U.S. Region

A U.S. Issuer must not exceed the Representment rate of 42% for its Consumer Visa Product or
Commercial Visa Product program. The Representment rate is the number of Representments
received as a percentage of all Chargebacks processed.

ID#: 010410-010410-0006901




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Card Manufacture and Delivery

Card Shipping and Security


Issuer Standards for Distribution Channel Vendors (Updated)

An Issuer may contract through another Issuer or a Distribution Channel Vendor for the packaging,
storing, and shipping of pre-manufactured, commercially ready Visa Products. ("Pre-manufactured,
commercially ready" refers to non-personalized Visa Products that have already been manufactured,
encoded, and embossed/printed and are ready for sale or distribution to Cardholders.)

If the Issuer uses a Distribution Channel Vendor, it must:

• Register the Distribution Channel Vendor as a Third Party Agent, as specified in "General Agent
  Requirements"
• Validate annually the Distribution Channel Vendor's compliance with the Visa Global Physical
  Security Validation Requirements for Data Preparation, Encryption Support and Fulfillment Card
  Vendors
• Comply with Third Party Agent program requirements, as specified in "General Agent
  Requirements"

Visa may audit the Third Party Agent's or Issuer's processes and controls to validate that a
Distribution Channel Vendor is compliant with the Visa Global Physical Security Validation
Requirements for Data Preparation, Encryption Support and Fulfillment Card Vendors.

ID#: 010410-010100-0025520



Card Security Staff Requirements

An Issuer must have a qualified fraud control and Card security officer and staff that are primarily
responsible for all areas of security for Visa Cards and Visa Electron Cards. The security staff must:

• Investigate all fraudulent use of the Issuer's Visa Cards or Visa Electron Cards
• Plan and supervise the manufacturing, embossing, encoding, printing, and mailing of the Issuer's
  Visa Cards or Visa Electron Cards
• Plan and supervise the physical protection of the Issuer's Center and building
• Participate in Center employee background investigations

ID#: 010410-010410-0002394




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Card Embossing, Printing, Encoding, and Personalization


Visa Product Personalization - Issuer Requirements (Updated)

An Issuer that personalizes Visa Products on its own behalf must create and maintain a secure
environment.

An Issuer that personalizes Visa Products on behalf of other Issuers must ensure that it complies with
the requirements specified in:

• Global Physical Security Validation Requirements for Card Vendors
• Global Logical Security Validation Requirements for Card Personalization Vendors
• Applicable regional Issuer personalization policy, available from Visa

If participating in Instant Card Personalization Issuance, the Issuer must ensure that the Card
personalization process complies with the Visa Global Instant Card Personalization Issuance Security
Standards.

The Issuer may complete an annual "Instant Card Personalization Issuance Self-Audit
Questionnaire," as specified in the Visa Global Instant Card Personalization Issuance Security
Standards, for each Instant Card Personalization Issuance location and retain the questionnaire for
auditing purposes.

For each Third Party Agent performing Instant Card Personalization Issuance, the Issuer must:

• Register the Third Party Agent, as specified in "General Agent Requirements"
• Validate the Third Party Agent's compliance with the Visa Global Instant Card Personalization
  Issuance Security Standards and complete an annual "Instant Card Personalization Issuance Self-
  Audit Questionnaire" for each location
• Comply with Third Party Agent program requirements, as specified in "General Agent
  Requirements"

Visa may audit the Third Party Agent's or Issuer's processes and controls to validate that the Third
Party Agent performing Instant Card Personalization Issuance complies with the Visa Global Instant
Card Personalization Issuance Security Standards.

ID#: 050411-010100-0025518



Liability for Misencoded Visa or Visa Electron Cards

Visa assigns liability for payment of Transaction Receipts resulting from the use of a Misencoded Visa
Card or Visa Electron Card:

• To the Acquirer that received the Transaction Receipt, if the Misencoded Visa Card bears a BIN
  that was not assigned to a Member. The Acquirer is liable until:
  - The Misencoded Visa Card or Visa Electron Card is recovered
  - Visa identifies the Issuer that ordered its manufacture




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• To the Issuer to which the BIN is assigned, if an Acquirer receives a Misencoded Visa Card or Visa
  Electron Card bearing a valid BIN but an invalid Account Number. The Issuer is liable:
  - If the Acquirer presents the Transaction Receipt within 180 calendar days of the Transaction
    Date
  - Until the Issuer that ordered the manufacture of the Visa Card or Visa Electron Card is identified

ID#: 010410-010410-0001813



Liability for Misembossed or Misencoded Visa Cards - U.S. Region

In the U.S. Region, Visa assigns liability for payment of Transaction Receipts resulting from the use of
Misembossed or Misencoded Visa Cards based on the following priorities in the order shown:

• Member or foreign licensee that appears on the Misembossed or Misencoded Card as its Issuer, if
  the Card has been recovered
• Member or foreign licensee whose BIN appears on the Transaction Receipt, if the Misembossed or
  Misencoded Card has not been recovered or if the name of the Member or foreign licensee does
  not appear on the Card
• Member or foreign licensee that first received the Transaction Receipt. If the Misembossed or
  Misencoded Card is recovered within 12 months of the Transaction Date, the Member or licensee
  may transfer liability for the Transaction Receipt to the Member or foreign licensee appearing on
  the Misembossed or Misencoded Card as its Issuer.

ID#: 010410-010410-0001817




Issuer Requirements - General

Exchange Rates


International Transaction or Currency Conversion Fee Disclosure

An Issuer must provide a complete written disclosure of any fees that may be charged to a
Cardholder for an International Transaction or when currency conversion occurs.

ID#: 010410-010410-0000387




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Issuer Disclosure of Exchange Rate - AP Region

An AP Issuer must disclose to each of its Cardholders in writing that the exchange rate between the
Transaction Currency and the Billing Currency used for processing International Transactions is
either:

• A rate selected by Visa from the range of rates available in wholesale currency markets for the
  applicable Processing Date, which rate may vary from the rate Visa receives
• The government-mandated rate in effect for the applicable Processing Date

in each instance, plus or minus any adjustment that the Issuer determines.

ID#: 010410-010410-0004088



Cardholder Notification of Fees and Charges - CEMEA Region

A CEMEA Issuer of Visa Cards, Proprietary Cards bearing the Plus Symbol, and Visa Cards with the
Electron Identifier must notify its Cardholder in writing of the following:

• That the exchange rate between the Transaction Currency and the Billing Currency used for
  processing International Transactions is either:
  - A wholesale market rate
  - The government-mandated rate
• Additional fees and charges (if any) assessed by the Issuer through the addition of a percentage
  increase to the Basic Currency Conversion Rate or any other fees for currency conversion
• Specific fees and charges to be assessed to the Cardholder, where appropriate, including, but not
  limited to:
  - Annual fee
  - Interest rate(s), if applicable
  - ATM Cash Disbursement fee
  - Manual Cash Disbursement fee
  - PIN Replacement charge
  - Fee for additional statement copies
  - Late payment fee
• Date on which the Cardholder will incur a late payment fee if the Issuer does not receive payment
  for outstanding Transaction amounts appearing on the Cardholder billing statement
• A CEMEA Issuer may choose the method by which it notifies the Cardholder in writing. This may
  include, but is not limited to, one or more of the following:
• Cardholder Agreement
• Cardholder Terms and Conditions
• Any other Agreement between the Cardholder and the Issuer
• Monthly billing statement

ID#: 081010-010410-0008822



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Issuer Disclosure of Exchange Rate - U.S. Region

A U.S. Issuer must disclose to each of its Cardholders in writing that the exchange rate between the
Transaction Currency and the Billing Currency used for processing International Transactions is
either:

• A rate selected by Visa from the range of rates available in wholesale currency markets for the
  applicable Central Processing Date, which rate may vary from the rate Visa itself receives
• The government-mandated rate in effect for the applicable Central Processing Date
• in each instance, plus or minus any adjustment determined by the Issuer.

ID#: 010410-010410-0000389



Cardholder Liability


Limitation of Cardholder Liability - AP Region

An AP consumer Card Issuer must limit a Cardholder's liability to zero upon notification of all
Cardholder-disputed, unauthorized Visa Transactions except ATM Cash Disbursements.

ID#: 010410-010410-0003925



Limitation of Cardholder Liability - Canada Region

A Canada Issuer must hold harmless a Cardholder from any liability for Transactions which the
Cardholder establishes, to the satisfaction of the Issuer, are not the responsibility of the Cardholder in
accordance with the terms of the Issuer's Cardholder agreement and of any related documentation.

ID#: 010410-010410-0000394



Limitation of Cardholder Liability for Unauthorized Transactions - Canada Region

A Canada Issuer must not impose a minimum Cardholder liability amount with regard to unauthorized
Transactions. Unauthorized Transactions may be defined in the Issuer's Cardholder agreement and
in any related documentation.

ID#: 010410-010410-0000395



Applicability of Liability-Related Operating Regulations - Canada Region

In the Canada Region, "Limitation of Cardholder Liability - Canada Region" and "Limitation of
Cardholder Liability for Unauthorized Transactions - Canada Region" only apply to consumer and
Business Cardholder Transactions and do not apply to Visa Corporate Card and Visa Purchasing
Card Transactions.

ID#: 010410-010410-0000396




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Advertising for the Zero Liability Program - Canada Region

Any promotional, advertising, or marketing language used for the Zero Liability Program in the
Canada Region must contain messaging, in the body of the promotional, advertising, or marketing
language and not as a footnoted disclaimer, to the effect that Cardholders are responsible for
ensuring that they protect their PIN.

ID#: 010410-010410-0000397



Limitation of Cardholder Liability - U.S. Region

For Visa Consumer Cards and Visa Business Cards issued in the U.S. Region, upon receipt of
notification from its Cardholder of unauthorized Visa Transactions, a U.S. Issuer must limit the
Cardholder's liability for those Transactions to zero. This requirement is not applicable for ATM Cash
Disbursements or Visa Corporate Card or Visa Purchasing Card Transactions.

ID#: 010410-010410-0008434



Increase of Cardholder Liability - U.S. Region

A U.S. Issuer may increase the limit of the Cardholder's liability for unauthorized Visa Transactions
only if the Issuer reasonably determines, based on substantial evidence, that the Cardholder was
grossly negligent or fraudulent in the handling of the account or the Card.

ID#: 010410-010410-0008171



Notification of Unauthorized Visa Business Card Transactions - U.S. Region

A U.S. Issuer of Visa Business Cards may require the notification of unauthorized Visa Transactions
to be received within 60 calendar days of the mailing date of the first statement showing unauthorized
Visa Transactions.

ID#: 010410-010410-0000404



Unauthorized Visa Business Card Transaction Exclusions - U.S. Region

A U.S. Issuer of Visa Business Cards may define an unauthorized Visa Transaction to exclude any
Transaction allegedly conducted by:

• A business co-owner
• The Cardholder or person authorized by the Cardholder
• Any other person with an interest in or authority to transact business on the account

ID#: 010410-010410-0000406




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Provisional Credit


Provisional Credit - AP Region

An AP Issuer must provide provisional credit to a Cardholder's account within 5 business days of
such notification.

The AP Issuer may require written confirmation or other documentation from the Cardholder before
providing provisional credit as per the terms and conditions of the Cardholder agreement.

The AP Issuer may:

• Withhold providing provisional credit if the Issuer determines that specific investigations are
  required, including those for specific transactions and Merchant types, if the prior account history is
  unsatisfactory, or if the nature of transactions justifies the delay in crediting the Cardholder's
  account
• Increase the amount of the Cardholder's liability for unauthorized Visa transactions if the Issuer
  determines, based on available evidence (provided by the Cardholder or otherwise), that the
  Cardholder was grossly negligent or fraudulent in the handling of the account or the Card (this
  includes protecting the Card, account, or PIN and reporting the loss or unauthorized transactions)

ID#: 010410-010410-0008700



Provisional Credit - Canada Region (Updated)

A Visa Debit Card Issuer in the Canada Region must provide provisional credit to any Visa Debit
Cardholder's account within 2 business days of the notification of a dispute or unauthorized
Transactions.

ID#: 050411-200209-0008069



Withholding of Provisional Credit - Canada Region (Updated)

A Visa Debit Card Issuer in the Canada Region may withhold a provisional credit if any of the
following apply:

• The Issuer determines that specific investigations are required, including those for specific
  Transactions and Merchants
• The prior account history is unsatisfactory
• The nature of the Transaction justifies the delay in crediting the Cardholder's account

ID#: 050411-200209-0008070




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Cardholder Applications


Card Application Processing Fee - U.S. Region

A U.S. Issuer or Agent that charges an application processing fee for a Visa Card must:

• Disclose that the fee is for processing the application and is in addition to Cardholder fees or
  charges payable if the Visa Card is issued
• Provide the disclosure in a way that allows the Cardholder to avoid the fee if they do not want to
  pursue the application

ID#: 010410-010410-0000412



Card Application Processing Fee Restrictions - U.S. Region

A U.S. Issuer or its Agent must not:

• Charge a fee for providing an application to a potential Cardholder
• Use a "900" area code, "976" telephone exchange, or any similar telephone number to charge a
  fee for inquiries about obtaining a Visa Card

ID#: 010410-010410-0000413



Required Card Issuance - U.S. Region

A U.S. Issuer must issue a Visa Card to any prospective Cardholder who has:

• Requested the Card on the application
• Met all application and Card issuance requirements

ID#: 010410-010410-0000414



Confidentiality of Cardholder Information


Cardholder Information Privacy Requirements - Canada Region

A Canada Issuer must certify to Visa that it has met the applicable requirements of privacy legislation
for the collection, use, and disclosure of personal Cardholder information among Visa and its
employees and agents, for the purpose of processing, authorizing, and authenticating a Cardholder's
Transactions and providing customer assistance services to a Cardholder.

ID#: 010410-010410-0001986




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Contest and Promotion Privacy Requirements - Canada Region

A Canada Issuer will have met the applicable requirements of privacy legislation where the Issuer's
Cardholders participate in contests and promotions administered by Visa on behalf of the Issuer.

ID#: 010410-010410-0001987



Privacy Legislation - Acquirer Requirements - Canada Region

A Canada Acquirer must certify to Visa that it has met the applicable requirements of privacy
legislation for the collection, use, and disclosure of personal information among Visa and its
employees and agents, for the purpose of a Merchant's participation in the Visa Program.

ID#: 010410-010410-0005395



Cardholder Data Provision for Prize Awards - U.S. Region

A U.S. Issuer must provide Cardholder data to Visa for the purposes of awarding prizes in conjunction
with promotional activities conducted by Visa, unless prohibited by applicable law.

A U.S. Issuer that is prohibited by applicable law from disclosing Cardholder data must:

• Assist Visa as follows:
  - Notify its Cardholder that they have been awarded a prize
  - Obtain the necessary documentation from the Cardholder
• Comply with all requirements specified by Visa
• Ensure that any prize is awarded directly to the Cardholder

ID#: 010410-010410-0008704



Disclosure of Visa Transaction Information - U.S. Region

A U.S. Issuer may only disclose Visa Transaction Information to third parties approved by Visa, for
the sole purpose of:

• Supporting a loyalty program
• Providing fraud control services

This requirement does not apply to Commercial Visa Product Issuers in the U.S. Region.

ID#: 010410-010410-0003555




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Data Retention and Transmission


Recurring Transaction Data

An Issuer must include the data transmitted in the Clearing Record on the Cardholder billing
statement that:

• Identifies a Recurring Services Merchant
• Enables the Cardholder to contact the Merchant

This data may include, but is not limited to:

• Merchant name
• Merchant city
• Merchant state/province
• Merchant country
• Merchant telephone number

ID#: 010410-010410-0004080



Enriched Transaction Data - U.S. Region

A U.S. Issuer that receives enriched data with any of the following Transactions, as specified in
"VisaNet Clearing Message Content Standards" (Exhibit NN), must comply with this section:

• CPS/Hotel and Car Rental Card Present
• CPS/Hotel and Car Rental Card Not Present
• CPS/e-Commerce Preferred Hotel and Car Rental
• A Transaction that includes Airline itinerary data

For the above Transactions, an Issuer must either:

• Print the data on the Cardholder statement
• Retain the data for a minimum of 200 calendar days from the Transaction Date

ID#: 010410-010410-0003554



Disputed Transactions - Canada Region


Issuer Contact Disclosure - Canada Region

A Canada Issuer must disclose in its consumer Cardholder agreements that Cardholders may contact
the Issuer to discuss disputes the Cardholder may have with respect to a Transaction on their
Cardholder statement.

ID#: 010410-010410-0004106


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Disputed Transactions - Issuer Requirements - Canada Region

Where a Canada Issuer reasonably determines the dispute is:

• Legitimate
• Properly documented by the Cardholder as required in accordance with the Visa International
  Operating Regulations and/or the Canada Regional Operating Regulations
• Aligned with the Chargeback rights as defined in the Visa International Operating Regulations
  and/or the Canada Regional Operating Regulations (including without limitation the time limit for
  initiating the Chargeback)
• the Issuer must provisionally credit the Cardholder's account and process the Chargeback,
  provided that:
• The dispute relates to an Electronic Commerce or Mail/Phone Order Transaction
• The Cardholder has attempted to resolve the dispute with the Merchant and the Merchant has
  failed to refund the Cardholder within 30 days of their request for a refund
• There is no other person, entity, board, official, fund, or other source that will provide Cardholder
  with a refund for such Transaction

ID#: 010410-010410-0004107



Cardholder Credit Requirements - Canada Region

Where all of the conditions stipulated in "Disputed Transactions - Issuer Requirements - Canada
Region" are met and a Canada Issuer chooses not to process a Chargeback, the credit to the
Cardholder's account must be final.

ID#: 010410-010410-0004108



Reversal of Disputed Transaction Credit - Canada Region

A Canada Issuer may reverse a provisional credit only if it properly initiated a Chargeback that is
determined by Visa to be invalid, except where the Chargeback is determined by Visa to be valid on
its merits and properly documented, but declined by reason of the Issuer's failure to meet a Visa
requirement.

ID#: 010410-010410-0004109



Cardholder Notifications


Notification of Card Use Restrictions

An Issuer must include language in its Cardholder agreement that a Card must not be used for any
unlawful purpose, including the purchase of goods or services prohibited by local law.

ID#: 010410-010410-0000386




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Chip Card Issuer Identification

A single Issuer must be designated and identified to a Cardholder as the Issuer of a Chip Card.

ID#: 010410-010410-0004022



Disclosure and Disclaimer Information for Visa Gold or Visa Business/Corporate Card
Issuer - AP Region

In the AP Region, Visa may require a Visa Gold or Business/Corporate Card Issuer to provide
disclosure and disclaimer information, as specified in its implementation materials, and any
subsequent communications to its Cardholders as required under applicable law.

ID#: 010410-010410-0000824



Disclosure of Responsibility for Charges - AP Region

While an AP Member is free to represent to its Cardholder or Merchant that Visa imposes a charge
on the Member, the Member must not represent to its Cardholder or its Merchant that Visa imposes
any charge on the Cardholder or the Merchant. Members are responsible for making whatever
disclosures applicable law requires with respect to their charges to their Cardholders or to their
Merchants.

ID#: 010410-010410-0004089



Merchant Portfolio Purchase Information Requirements - U.S. Region

When a U.S. Issuer replaces a Merchant's credit card with a Card, due to a portfolio purchase, the
Issuer must inform the Cardholder of the name of that Merchant whose card is being replaced as well
as the Issuer's name and city.

ID#: 010410-010410-0000410



Cardholder Signature Requirements - U.S. Region (Updated)

Effective through 14 February 2011, when it issues or reissues a Card, a U.S. Issuer must:

• Advise the Cardholder to immediately sign the signature panel on the back of the Card
• Indicate that the Card must be signed in order to be valid

ID#: 050411-010410-0000415




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Disclosure of Provision of Cardholder Data - U.S. Region

A U.S. Issuer must:

• Disclose in its Cardholder agreement that it may provide Cardholder personal data to Visa, its
  Members, or their respective contractors for the purpose of providing Emergency Cash and
  Emergency Card Replacement Services
• Require that the Cardholder consent to the release of this information

ID#: 010410-010410-0003870



Telephone Number for Cardholder Assistance - U.S. Region

A U.S. Issuer must provide a toll-free telephone number where a Cardholder of one of the following
products may obtain assistance 24 hours a day, 7 days a week while traveling:

• Visa Signature
• Visa Signature Preferred
• Commercial Visa Products

ID#: 010410-010410-0000417



Communication of Cardholder Assistance Telephone Number - U.S. Region (Updated)

A U.S. Issuer must communicate one of the following toll-free telephone numbers to each Cardholder
at least once a year:

• Visa Customer Care Services telephone or fax number
• Issuer's own or its agent's assistance center telephone or fax number

The toll-free telephone number for U.S. Cardholder assistance must be printed on the back of the
Card, on a wallet card, or on other material furnished to the Cardholder.

ID#: 050411-010410-0008723



Disclosure of Features and Services - U.S. Region

A U.S. Issuer must disclose to its Cardholders, in a timely manner, upgraded features and services
when a Cardholder converts from one Card program to another (e.g., Visa Traditional to Visa
Signature). The Issuer is responsible for any liability that arises from the timing of the disclosure.

ID#: 010410-010410-0000425




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Disclosure of Non-Visa PIN Debit Transaction Information - U.S. Region

A U.S. Issuer that issues a Visa Check Card or Visa Debit Card that also may be used for non-Visa
PIN debit transactions but does not bear any PIN debit program Marks must clearly communicate to
its Cardholders how such Cards may be used to initiate non-Visa PIN debit transactions.

ID#: 010410-010410-0007424



Insurance Program - U.S. Region


Insurance Program Issuer Requirements - U.S. Region

In the U.S. Region, a Visa Product Issuer that offers any Visa insurance program must:

• Provide disclosure and disclaimer information to Cardholders as specified in implementation
  materials and subsequent communications available from Visa, as follows:
  - Send a paper copy of the insurance certificate or other disclosure of terms, conditions, and
    exclusions to each Visa Cardholder upon initial issuance of a Card, and for existing Cardholders
    30 days prior to any material change in benefit coverage, conditions, or exclusions (except as
    specified for discontinuance of coverage), or if new insurance benefits are added, unless more
    frequent disclosure is required by applicable law
  - If an Issuer discontinues one or more insurance benefits, send each Cardholder a paper-based
    termination notice via statement insert, statement message, or direct mail communication no
    later than 60 days prior to the effective date of the change. In addition, prior to sending a
    termination notice to Cardholders, the Issuer must obtain written approval from Visa for the
    proposed content of such notice.
  - If an Issuer adds insurance benefits, fully disclose the new insurance benefit information,
    administrator's phone number, and other pertinent information to each Visa Cardholder
  - If an Issuer discontinues insurance benefits provided by Visa and elects to provide such benefits
    through an alternate provider, it must fully disclose the new insurance benefit information,
    administrator's phone number, and other pertinent information to each Visa Cardholder
  - Inform Cardholders that in order to receive Insurance benefits, their beneficiaries must prove that
    the Cardholder purchased the product or service with a Visa Card

Maintain accurate records documenting the fact that the Issuer sent a copy of the insurance
certificate or other disclosure of terms, conditions, and exclusions to each enrolled Visa Cardholder

ID#: 010410-010410-0000420



Insurance Claim Payment - U.S. Region

A U.S. Issuer must pay for any valid insurance claim if either:

• The Issuer did not maintain coverage
• The insurance carrier would have been responsible but failed to pay a valid claim due to
  insolvency, bankruptcy, or other financial inability to meet its policy obligations

ID#: 010410-010410-0000423




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Issuer Responsibility for Insurance Claims - U.S. Region

A U.S. Issuer must defend and pay for any insurance claim if the Cardholder files a claim based on
an insurance certificate or other disclosure of terms, conditions, and exclusions and either:

• The Issuer failed to send, or cannot provide documentation of fulfilling its obligation to send,
  disclosure and disclaimer information to the Visa Cardholder advising the Cardholder that such
  coverage was no longer available
• The Issuer misrepresented the actual terms of the coverage underwritten, misstated the type or
  scope of coverage offered by the Issuer, or altered the insurance coverage description without Visa
  written approval, and such misrepresentation, misstatement, or alteration results in an obligation or
  claim to pay a claim that was not otherwise covered

ID#: 010410-010410-0000424



Other Issuer Requirements


Issuer Credit Transaction Posting

Effective 16 October 2010, an Issuer must post a Credit Transaction Receipt to a Cardholder's
account within 5 calendar days from the Settlement date.

ID#: 081010-161010-0025743



Issuer Credit Transaction Posting - U.S. Region

Effective 16 October 2010, except for U.S. Visa Debit Card Issuers, a U.S. Issuer must post a Credit
Transaction Receipt to a Cardholder's account within 3 business days from the Settlement date.

ID#: 081010-161010-0025744



Real-Time Clearing - U.S. Region

In the U.S. Region, for a Real-Time Clearing Transaction, an Issuer must release any hold on
available funds in its Cardholder's account as a result of an approved Authorization request:

• Upon receipt of the Completion Message
• Upon expiration of the time limit for completion specified in the preauthorization request if a
  Completion Message has not been received by that time

ID#: 010410-010410-0006428




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Cardholder Payments - Canada Region

Subject to Cardholder consent to any charge imposed by a Canada Member, the Member must
accept from the Cardholder a payment in Canadian dollars for another Canada Member's Canadian
dollar-denominated Visa billing. Payment must be promptly remitted to that Member.

ID#: 010410-010410-0007459




Magnetic-Stripe Requirements

General Magnetic-Stripe Requirements


Magnetic-Stripe Material - U.S. Region

For Cards issued in the U.S. Region, Magnetic-Stripe material on Cards must consist of high
coercivity magnetic tape. A U.S. Issuer must ensure that Visa-defined values are encoded on the
Magnetic Stripe of a Visa Mini Card as specified in the Payment Technology Standards Manual.

ID#: 081010-010410-0004575



Magnetic-Stripe Encoding


Magnetic-Stripe Encoding Requirements

The Magnetic Stripe on a Visa Card or Visa Electron Card must be encoded on both track 1 and 2, as
specified in the Payment Technology Standards Manual.

A variance to this requirement applies in the LAC Region for Magnetic Stripe personalization of
instant issue embossed Visa Cards.

ID#: 010410-010410-0003602



Service Codes on Magnetic Stripe

An Issuer may encode its Card acceptance policies in the Service Code field of the Magnetic Stripe
using all Service Codes valid for the applicable Card product.

Service Code values must be encoded as specified in the Payment Technology Standards Manual.

ID#: 010410-010210-0003603




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Chip Card Requirements

General Chip Card Requirements


Chip Card Compliance (Updated)

All new Visa or Visa Electron Chip programs, initiated on or after 1 January 2001, must:

• Be compliant with the:
  - EMV specifications
  - Visa Integrated Circuit Card Specification (VIS)
• Effective 13 January 2011, successfully complete the Visa Chip Security Program – Security
  Testing Process

Non-compliant Cards issued through 31 December 1999 may be non-compliant until they expire.

All Visa Smart Payment programs must be EMV- and VIS-Compliant.

ID#: 050411-010101-0008182



Chip Application Approval

Visa may review and approve all applications contained in a Chip used to facilitate a Visa Smart
Payment service.

ID#: 010410-010410-0004023



Chip Parameter Values and Processing Options

An Issuer is responsible and liable for the parameter values and processing options contained in the
Visa Smart Payment Application.

ID#: 010410-010410-0004038



Chip Card Authentication

Effective 17 April 2010, all Chip Card Issuers must perform, and be capable of acting on the results
of, validation of EMV-Online Card Authentication Cryptograms for all Chip-initiated Authorization
messages processed through VisaNet. Online Card Authentication support may be provided by the
Issuer directly, or through either:

• VisaNet
• Third party/VisaNet Processor

ID#: 010410-170410-0007163




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Chip Technology Use Notification

An Issuer must notify Visa of its intention to use Chip technology on Cards at least 60 calendar days
before issuance.

ID#: 010410-010410-0003590



Chip Financial Application Approval

If a Chip is designed to support a purchase, credit, Cash Disbursement, or other directly related
financial application, the Issuer must obtain prior approval for issuance from Visa.

ID#: 010410-010410-0003591



Cardholder Name on Chip

The Cardholder name in a Chip must be the same as the name displayed on the Card and encoded
on the Magnetic Stripe.

ID#: 081010-010410-0003595



Information in Chip Magnetic-Stripe Image

Information in a Chip Magnetic-Stripe Image must be the same as that encoded on the Magnetic
Stripe. However, at the Issuer's option, the Cardholder Verification Value contained in the Magnetic
Stripe Image (track 2 equivalent data) on the Chip (Chip Card Verification Value-iCVV) may differ
from the Card Verification Value encoded on the Card's Magnetic Stripe.

ID#: 081010-010410-0003596



Non-Visa Services Facilitated by Chip Cards

A Chip Card may facilitate access to non-Visa services provided that the:

• Services do not compromise the security or functional integrity of the Visa Smart Payment
  Applications
• Additions of these services are managed and controlled by the Issuer or its sponsored member
• Issuer indemnifies Visa from any and all Claims or losses resulting from non-Visa services
  facilitated by the Chip Card

ID#: 010410-010410-0003598



Magnetic-Stripe Information on Chip Cards

Magnetic-Stripe track 2 information and the Cardholder name from track 1 must be contained in a
Chip (other track 1 discretionary data is optional).

ID#: 010410-010410-0003601



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Chip Issuer Requirements

An Issuer of Cards bearing a Chip must:

• Comply with the Visa Integrated Circuit Card Specification (VIS), available from Visa
• Ensure that any Chip used to facilitate Visa payment services complies with Visa Chip security and
  service-level standards
• Ensure that its Chip Cards meet the EMV Integrated Circuit Card Specifications for Payment
  Systems

ID#: 010410-010410-0003611



Placement of Chip on Card

A Chip must:

• Be on the front of the Card
• Comply with the International Standards Organization Standard 7816-2, Reference Number ISO/
  IEC 7816-2:1988 (E) - "Identification on Cards-Integrated Circuit(s) Cards with Contacts-Part 2:
  Dimensions and Locations of the Contacts"

ID#: 010410-010410-0004586



Chip Interoperability Compliance Program

The Chip Interoperability Compliance Program provides the framework for a Member or Member's
agent identified with high-severity Chip interoperability problems to establish an agreed-upon
resolution plan and effect a timely resolution. Visa requires the implementation of the Chip
Interoperability Compliance Program when Visa determines that progress toward an agreed-upon
resolution is no longer acceptable.

ID#: 010410-010410-0001291



Chip Interoperability Compliance Program Penalties

A Member is subject to the penalties specified in the table below if Visa determines that the Member
or Member's agent has violated the Chip Interoperability Compliance Program by failing to either:

• Establish and commit to an agreed-upon Chip interoperability resolution plan
• Make satisfactory progress toward an agreed-upon Chip interoperability resolution plan




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Member Penalties for Non-Compliance with the Chip Interoperability Compliance Program

             Violation                        Month                    Visa Action or Fine

 Initial identification and         Month 1                  Member receives Notification that
 confirmation of a violation                                 Visa will take action if the situation is
                                                             not addressed to the satisfaction of
                                                             Visa within 30 calendar days

 Unaddressed violation              Month 2                  Visa discontinues any Member
                                                             incentives associated with
                                                             deployment of products that have
                                                             been identified as contributors to
                                                             interoperability problems. Visa may
                                                             also suspend other incentives. Visa
                                                             issues a second Notification that
                                                             fines may apply if the situation is not
                                                             corrected to the satisfaction of Visa
                                                             within 60 calendar days of the
                                                             second Notification.

 Unaddressed violation              Months 4-5               Member is assessed US $25,000 per
                                                             month

 Unaddressed violation              Month 6 and              Member is assessed US $50,000 per
                                    subsequent months        month


ID#: 010410-010410-0001292



Chip Card Issuing Requirements in Australia - AP Region (Updated)

Effective 1 January 2010, as specified in the AP Regional Operating Regulations, all Issuers in
Australia must commence migration of 80% of all newly-issued Visa Cards to be EMV and VIS-
Compliant by 1 January 2010.

In addition to the “Chip Card Issuing Requirements” specified in the AP Regional Operating
Regulations, all Issuers in Australia must migrate their Visa credit, debit, and Reloadable Cards to
EMV and VIS-Compliant Chip Cards in accordance with the following timeframes:

• Effective 1 January 2010, all newly-issued Visa credit Cards must be EMV and VIS-Compliant
• Effective 1 April 2013, all Visa credit Cards must be EMV and VIS-Compliant
• Effective 1 January 2011, all newly-issued Visa Debit and Reloadable Prepaid Cards must be
  EMV and VIS-Compliant
• Effective 1 April 2013, all Visa Debit and Reloadable Prepaid Cards must be EMV and VIS-
  Compliant

ID#: 080411-060111-0026145




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Chip Card Issuing Requirements in New Zealand - AP Region (Updated)

Effective 1 October 2009, as specified in the AP Regional Operating Regulations, all Issuers in New
Zealand must commence migration of 80% of all newly-issued Visa Cards to be EMV and VIS-
Compliant.

• Effective 1 April 2010, all newly-issued Visa credit Cards must be EMV and VIS-Compliant
• Effective 1 April 2013, all Visa credit Cards must be EMV and VIS-Compliant
• Effective 1 April 2012, all newly-issued Visa Debit and Reloadable Cards must be EMV and VIS-
  Compliant
• Effective 1 April 2014, all Visa Debit and Reloadable Cards must be EMV and VIS-Compliant

ID#: 100411-060111-0026140



Service Requirements for Chip Cardholders - Canada Region

A Canada Issuer of Chip Cards bearing the Visa Flag Symbol, the Visa Brand Mark, the Visa Brand
Mark with Electron Identifier, or the Visa Electron Symbol and the word "smart" must make available
to Cardholders:

• EMV Compliant (Level 1) PC-compatible Chip Card readers/writers
• Authenticated payment software
• Secure online access to Chip Card account statements
• One or more value-added application(s) (e.g., loyalty, secure access, reservation/ticketing) on the
  Chip

ID#: 010410-010410-0004607



Chip Card Branding Requirements - Canada Region

A Canada Issuer of Chip Cards bearing the Visa Flag Symbol, the Visa Electron Symbol, the Visa
Brand Mark, the Visa Brand Mark with Electron Identifier, or the Visa Electron Symbol and the word
"smart" must comply with the Visa International Operating Regulations and Canada Regional
Operating Regulations when branding all Chip Card readers/writers.

ID#: 010410-010410-0004613



Chip Card Requirements - Canada Region

Canada Chip Cards bearing the Visa Flag Symbol, the Visa Brand Mark, the Visa Brand Mark with
Electron Identifier, or the Visa Electron Symbol and the word "smart" must:

• Comply with the Visa International Operating Regulations, Visa Product Brand Standards, Canada
  Regional Operating Regulations, and Visa Smart Payment International Operating Principles Guide
• Be Global Platform Cards approved by Visa




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• Have a Visa-approved EMV-Compliant Payment Application active on the Chip
• Be capable of participating in Visa's 3-D Secure global authentication program

ID#: 010410-010410-0004614



Liability in Card-Present Environment - Canada Region (Updated)
Effective 31 March 2011, a Canada Issuer will be liable for a Transaction in a Card-Present
Environment, whether or not the Transaction is Chip-initiated, when the:
• Transaction takes place at a Compliant Chip Card Reading Device with a Compliant PIN entry
  device within Canada
• Canada Acquirer has complied with all Card acceptance requirements in the Visa International
  Operating Regulations and the Canada Regional Operating Regulations

ID#: 050411-011010-0004962



Offline Chip Authorization - CEMEA Region

In the CEMEA Region:

• An Issuer of a Chip Card containing a Visa Smart Payment Application must define parameters to
  enable Offline Chip Authorization
• An Issuer of a Visa Purchasing, Visa Electron, or V PAY Card containing a Chip with a Visa Smart
  Payment Application may define parameters to enable Offline Chip Authorization

ID#: 010410-010410-0004656



Liability for Chip Payment Applications - CEMEA Region

A CEMEA Issuer is responsible and liable for the parameter values and processing options contained
in the Visa and Visa Electron Smart Payment Application or an EMV and VIS-Compliant Plus
application.

ID#: 010410-010410-0001847



Chip Card Technology Requirements


Smart Payment Application Options

An Issuer must define the Payment Application options for its Visa Smart Payment program.

ID#: 010410-010410-0004024




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Visa Public Keys

An Issuer must ensure that the Visa Public Keys used for the Visa or Visa Electron Payment
Application are used solely for that purpose.

ID#: 010410-010410-0004025



Chip Card Issuer Terminal Risk Management

A Chip Card Issuer must not inhibit Terminal Risk Management (e.g., by programming the Chip to
bypass terminal risk management).

ID#: 010410-010410-0004026



iCVV on Chip Cards

All newly issued EMV Chip Cards and existing EMV Chip Cards on renewal must use Chip Card
Verification Value-iCVV as part of the Magnetic-Stripe Image, as defined in the Payment Technology
Standards Manual.

ID#: 081010-010109-0004027



Service Codes on Chip Cards

An Issuer must use a Service Code on all EMV- and VIS-Compliant Chip Cards bearing the Visa
Brand Mark or Visa Brand Mark with the Electron Identifier, as specified in the:

• EMV Integrated Circuit Card Specifications for Payment Systems
• Visa Integrated Circuit Card Specification (VIS)

ID#: 010410-010210-0003593



Chip Card Payment Application

The Payment Application encoded on the Magnetic Stripe of a Chip Card must also be facilitated by
the Chip.

ID#: 081010-010410-0003594



Chip Card Application Effective Dates

If an application effective date on a Chip Card is provided within the Chip, it must reflect the same
month as the "VALID FROM" date displayed on the Card, if such a date appears on the Card.

ID#: 010410-010410-0003599




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Visa Chip Card Payment Application

A Card containing a Chip bearing a Visa-Owned Mark must be capable of facilitating the Payment
Application associated with that Mark.

ID#: 010410-010410-0003613



Chip Card Script Message Length - Canada Region

A Canada Issuer of a Compliant Chip Card must ensure that the length of any script message sent to
any of its Compliant Chip Cards does not exceed 128 bytes per Transaction.

ID#: 010410-010410-0004631



Chip Card Application Selection Flag - Canada Region (Updated)

A Canada Issuer may only program an Application Selection Flag (ASF) as follows:

• Where a Compliant Chip Card displays any Visa Brand Name and a competitor Brand, the Issuer
  of that Compliant Chip Card may program an ASF to suppress the ability of the Visa Smart
  Payment Application contained in the Compliant Chip Card to transact at domestic ATMs
• Where a Compliant Chip Card displays any Plus Program Mark, the Issuer of that Compliant Chip
  Card may program an ASF to suppress the ability of the Visa Smart Payment Application contained
  in the Compliant Chip Card to transact at domestic POS and ATM locations

ID#: 050411-010410-0008733



Chip Card Account Access - U.S. Region

A U.S. Issuer of a Chip Card must:

• Allow a Cardholder to select the service and account to be used for a Transaction, as permitted by
  local law, and as specified in the U.S. Regional Operating Regulations
• Designate an Account Number for each account accessed by a Visa Smart Payment Application. In
  addition:
  - The Chip may contain multiple Account Numbers
  - The Visa Payment Application may provide access to more than one account
• Specify an alphanumeric name for each funding account facilitated by the Visa Smart Payment
  Application when the Chip provides access to more than one account, as specified in the Visa
  Integrated Circuit Card Specification (VIS)

ID#: 010410-010410-0004591




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Cardholder Verification Method


Cardholder Verification Method Preferences

A Chip Card Issuer must ensure that the Cardholder Verification Method preferences are
communicated by the Chip Cardholder Verification Method List to the Chip-Reading Device at the
Point-of-Transaction, as specified.

If a Card Verification Method is used, the Issuer of a Chip Card bearing a Payment Application must
comply.

ID#: 081010-150210-0008186



PIN as Cardholder Verification Method in Australia – Issuer Requirements – AP
Region (New)

Effective 1 January 2010, all existing Visa Cards on re-issuance must be re-issued with a PIN as the
preferred CVM (Cardholder Verification Method).

Effective 1 January 2010, all newly issued Visa Cards must be issued with a PIN as the preferred
                                                                      12
CVM (Cardholder Verification Method) for Chip-initiated Transactions.

Effective 1 April 2013, when EMV PIN bypass is performed for a Chip-initiated Transaction on an
EMV PIN-Preferring Chip Card, the Transaction must be sent online to the Issuer or the Issuer’s
agent for decline.

Issuers must ensure that:

• The appropriate host system changes are completed to be able to decline a Transaction where PIN
  has been bypassed
• The appropriate communication to Cardholders takes place in advance of the above mandate
  coming into effect

ID#: 050411-060111-0026146

PIN as Cardholder Verification Method in New Zealand – Issuer Requirements – AP Region
(New)

Effective 1 April 2010, in New Zealand, all existing Visa Cards on re-issuance must be re-issued
with a PIN as the preferred Cardholder Verification Method (CVM).

Effective 1 April 2010, in New Zealand, all newly-issued Visa Cards must be issued with a PIN as
                                                   13
the preferred CVM for Chip-Initiated Transactions.

Effective 1 April 2012, a New Zealand Issuer must respond with a Decline Response to an
Authorization Request when PIN is bypassed for a Chip-Initiated Transaction.



12
   Excludes Cards issued as non-PIN-preferring in order to accommodate specific individual Cardholder needs, as required by
local law.
13
   Excludes Cards issued as non-PIN-preferring in order to accommodate specific individual Cardholder needs, as required by
local law.


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Issuers must ensure that:

• The appropriate host system changes are completed to be able to decline a Transaction where PIN
  has been bypassed
• The appropriate communication to Cardholders takes place in advance of the above mandates
  coming into effect

ID#: 050411-060111-0026141



Cardholder Verification Method List - Canada Region

A Canada Issuer of a Compliant Chip Card must ensure that the Compliant Chip Card contains a
Cardholder Verification Method (CVM) List, which must contain, at minimum, the following methods of
Cardholder verification:

• "Offline PIN at POS"
• "Online PIN at ATM"
• "Signature"
• "No CVM required"

An Issuer of a Compliant Chip Card must ensure that the use of CVM condition codes relating to cash
or Cash-Back do not prevent the completion of Manual Cash Disbursements.

ID#: 010410-010410-0008187



Offline PIN Cardholder Verification Method - Canada Region

Effective 1 October 2011, a Canada Issuer of a Compliant Chip Card must ensure that the
Cardholder Verification Method (CVM), "Offline PIN at POS," is activated and is the preferred CVM
unless either the:

• Compliant Chip Card is issued no more than 6 months before the date of the Compliant Chip Card
  Transaction in question
• Cardholder is subject to a disability or impairment that would prevent them from using a PIN

ID#: 010410-011011-0004963



Cardholder Verification Method List - CEMEA Region

A CEMEA Issuer of a Chip Card containing a Visa or Visa Electron Payment Application may define a
Cardholder Verification Method List that specifies either "plaintext PIN verified offline" and "signature"
or "enciphered PIN verified offline" and "signature" for Transactions under the following Cardholder
Verification Method conditions:

• If Transaction amount is more than Amount X
• If Transaction amount is more than Amount Y




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The Cardholder Verification Method List should also include either:

• "Plaintext PIN verified offline"
• "Enciphered PIN verified offline"

The CEMEA Issuer must either:

• Limit the requirement for this Cardholder Verification Method to Domestic Transactions
• Specify secondary Cardholder Verification Method options under the applicable Cardholder
  Verification Method condition

ID#: 010410-010410-0008831



Cardholder Verification Method List - U.S. Region

In the U.S. Region, if a Cardholder Verification Method List is specified, the Issuer of a Chip Card
containing a Visa Smart Payment Application must:

• Include "signature"
• Include "Online PIN"
• Define "no Cardholder Verification Method required" as the last option
• For a Chip-initiated Manual Cash Disbursement Transaction, define "signature" as a secondary
  Cardholder Verification Method

ID#: 010410-010410-0004590



Cardholder Authentication Method


Dynamic Data Authentication in Australia and New Zealand - AP Region (Updated)

Effective 1 January 2012, in Australia and New Zealand all newly-issued Visa Chip Cards and
existing Visa Chip Cards on renewal must support Dynamic Data Authentication (DDA) or have
online-only capability.

Effective 1 January 2012, in Australia and New Zealand all newly-issued Visa Chip Cards and
existing Visa Chip Cards must not support Static Data Authentication (SDA).

Effective 1 January 2016, in Australia and New Zealand all Visa Chip Cards issued must support
Dynamic Data Authentication (DDA) or have online-only capability.

Effective 1 January 2016, all Visa Chip Cards in Australia must not support Static Data
Authentication (SDA).

ID#: 090411-060111-0026149




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Chip Card Online/Offline Data Authentication - Canada Region

In the Canada Region, a Compliant Chip Card must instruct the terminal to go Online if the Offline
Data Authentication fails. If the terminal is unable to go Online, the Transaction must be declined.

ID#: 010410-010410-0004626



Chip Card Support Static Data Authentication - Canada Region

In the Canada Region, all Compliant Chip Cards must at a minimum support Static Data
Authentication.

ID#: 010410-010410-0004627



Chip Card Authentication Method - CEMEA Region

In the CEMEA Region, all Chip Cards containing a Visa or Visa Electron Smart Payment Application
must support Static Data Authentication (SDA). Dynamic Data Authentication (DDA) may be
supported at the Issuer's option.

ID#: 010410-010410-0004657



Cardholder Account Selection


Chip Card Account Access

The Visa or Visa Electron Payment Application on a Chip Card may provide access to more than one
account.

ID#: 010410-010410-0004030



Chip Card Account Requirements

An Issuer of a Chip Card must:

• Not use a Visa Smart Payment Application to directly credit or debit any account other than an
  account that is maintained by that Issuer or another Member under contract with the Issuer. This
  does not prevent the debiting or crediting of funds maintained elsewhere to that account.
• Allow a Cardholder to select the service and account to be used for a Transaction, as permitted by
  local law, and as specified in the Visa International Operating Regulations
• Designate an Account Number for each account accessed by a Visa Smart Payment Application. In
  addition, the Chip may contain multiple Account Numbers.
• Specify an alphanumeric name for each funding account facilitated by the Visa Smart Payment
  Application when the Chip provides access to more than one account, as specified in the Visa
  Integrated Circuit Card Specification (VIS)

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Chip Card Account Selection

To assist Cardholder account selection, the Issuer of a Chip Card may establish account priorities
determining the order in which accounts are displayed or reviewed by the Chip-Reading Device. The
first priority account must be the same as the account that is encoded on the Magnetic Stripe, and if
applicable, displayed on the front of the Card.

ID#: 081010-010410-0004032



Chip Card Post-Issuance Updates


Chip Card Post-Issuance Updates

An Issuer may process Post-Issuance Updates to a Chip Card used to facilitate a Visa Smart
Payment Application, as specified in:

• Visa Integrated Circuit Card Specification (VIS)
• Visa International Operating Regulations

ID#: 010410-010410-0004033



Issuer Control of Post-Issuance Updates

Post-Issuance Updates to a Chip Card containing a Visa or Visa Electron Payment Application must
be controlled exclusively by the Issuer.

ID#: 010410-010410-0004034



Impact of Post-Issuance Updates

Post-Issuance Updates must not adversely impact the Transaction completion time at a Point-of-
Transaction Terminal or an ATM.

ID#: 010410-010410-0004035



Post-Issuance Application Load

Post-Issuance Application Load of a Visa or Visa Electron Payment Application is not permitted
unless the Card bears the appropriate Visa Brand Mark or Visa Brand Mark with the Electron
Identifier.

ID#: 010410-010410-0004036




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Post-Issuance ATM Application Load

Post-Issuance Application Load of a proprietary ATM application that supports Plus requires the
addition of the Plus Symbol at the time of Card reissuance. Card reissuance must occur within 5
years of the Post-Issuance Application Load.

ID#: 010410-010410-0004037



Chip Issuer Liability


Liability for Chip-Initiated Offline-Authorized Transactions

The Issuer is liable for Chip-initiated, offline-authorized Transactions when:

• Visa Smart Payment Application is active
• Terminal Risk Management is performed
• Merchant's Floor Limit is not exceeded

ID#: 010410-010410-0004039



EMV Liability Shift - Issuer Liability for Card-Present Counterfeit Chip Card
Transactions (Updated)

Counterfeit Card Transactions completed in a Card-Present Environment are the liability of the Issuer
if:

• The Transaction takes place at an EMV-Compliant Chip-Reading Device
• The Transaction is Chip-initiated, the Transaction is correctly processed to completion in
  accordance with the EMV Integrated Circuit Card Specifications for Payment Systems and Visa
  Integrated Circuit Card Specification (VIS)
Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-010410-0001820



EMV Liability Shift - Issuer Liability for Non-Counterfeit Card-Present Fraudulent
Transactions (Updated)
• Non-Counterfeit Card fraudulent Transactions completed in a Card-Present Environment are the
  liability of the Issuer if:
• The Transaction takes place at an EMV PIN-Compliant Device
• Correct acceptance procedures have been followed (including compliance with "Maximum
  Authorized Floor Limits")




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• The Transaction is Chip-initiated, the Transaction is correctly processed to completion in
  accordance with the EMV Integrated Circuit Card Specifications for Payment Systems and Visa
  Integrated Circuit Card Specification (VIS)
• Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
  specified in "EMV Liability Shift Participation."

ID#: 080411-010410-0001834



Liability for Chip Fallback Transactions

Transactions accepted as Fallback Transactions are the liability of the Issuer if:

• Card is a Chip Card containing a Visa or Visa Electron Smart Payment Application, or an EMV and
  VIS-Compliant Plus application
• Transaction is authorized by the Issuer or the Issuer's agent, the appropriate values identifying the
  Transaction as a Fallback Transaction are included within the related Authorization Message, and
  correct acceptance procedures are followed

ID#: 010410-010410-0001835



EMV Liability Shift - Acquirer Liability for Account Generated Counterfeit Fraud
(Updated)

Counterfeit Transactions completed in a Card-Present Environment are the liability of the Acquirer, if:

• Transaction did not take place at a Chip-Reading Device
• Account Number was not resident on the Issuer's Master File on the Transaction Date
• All valid Cards bearing Account Numbers within the same account range as the Counterfeit Card
  are Chip Cards containing a Visa or Visa Electron Smart Payment Application
• Transaction was below Merchant's Floor Limit and did not receive Authorization
• Account Number was resident on the Exception File with a Pickup Response on the Processing
  Date of the Compliance filing and was on the Exception File for a total period of at least 60
  calendar days from the date of listing

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-010410-0001819



Authorization of Chip Fallback Transactions - Canada Region (Updated)

A Canada Issuer or the Issuer's agent must send a Decline Response to all Authorization Requests
for Fallback Transactions.

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Issuer Liability for Chip Fallback Transactions - Canada Region

A Canada Issuer is liable for a Fallback Transaction if the:

• Card is a Compliant Chip Card
• Transaction was authorized Online by the Issuer or the Issuer's agent
• Appropriate values identifying the Transaction as a Fallback Transaction are included in the
  Authorization Request

ID#: 010410-010410-0004960



Issuer Liability for Chip-Initiated Offline-Authorized Transactions - Canada Region
(Updated)

A Canada Issuer is liable for all Chip-initiated Transactions generated at Compliant Chip Card
Reading Devices with a Pin Entry Device (PED) using Offline Authorizations, when:

• Effective through 30 March 2011, the Transaction is completed at a Canadian Merchant
• The Visa Smart Payment Application is active
• Terminal Risk Management is performed
• Merchant's Floor Limit is not exceeded
• The Cardholder Verification Method List is used as specified in the Visa International Operating
  Regulations and the Chip Specifications

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EMV Liability Shift


EMV Liability Shift Participation (Updated)

Effective 9 December 2010, the EMV Liability Shift applies to qualifying Transactions, as specified in
the table below.


EMV Liability Shift Participation

                                    Trans-          Trans-       Trans-        Trans-        Trans-          Trans-
                  Trans-          actions in      actions in   actions in    actions in    actions in      actions in
                actions in           EMV             EMV          EMV           EMV           EMV             EMV
               EMV Liability       Liability       Liability    Liability     Liability     Liability       Liability
      Region
               Shift before          Shift           Shift        Shift         Shift         Shift           Shift
                1 October          effective       effective    effective     effective     effective       effective
                   2010           1 October       31 March       1 April     1 October       1 April       1 October
                                     2010            2011         2011          2012          2013            2014

 AP            All domestic                                                                All domestic,
 Region        and                                                                         intraregional, and
                                                                                                        1
               intraregional                                                               interregional counterfeit
               counterfeit                                                                 POS Transactions,
               POS                                                                         except Domestic
               Transactions,          All domestic, intraregional, and interregional1      Transactions in China
               except                counterfeit POS Transactions, except Domestic         and Japan
               Domestic                     Transactions in China and Japan                In addition, for Australia
               Transactions                                                                and New Zealand only,
               in China and                                                                all domestic,
               Japan                                                                                      3
                                                                                           intraregional, and
                                                                                                         1
                                                                                           interregional counterfeit
                                                                                           ATM Transactions

 Canada        Not applicable     All inter-
 Region                           regional
                                             1

                                  POS and
                                  ATM               All domestic and interregional1 POS and ATM Transactions5
                                  Trans-
                                           5
                                  actions



 CEMEA                                                                   1
        2                All domestic, intraregional, and interregional POS and ATM Transactions5
 Region




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                                      Trans-       Trans-       Trans-             Trans-         Trans-         Trans-
                   Trans-           actions in   actions in   actions in         actions in     actions in     actions in
                 actions in            EMV          EMV          EMV                EMV            EMV            EMV
                EMV Liability        Liability    Liability    Liability          Liability      Liability      Liability
   Region
                Shift before           Shift        Shift        Shift              Shift          Shift          Shift
                 1 October           effective    effective    effective          effective      effective      effective
                    2010            1 October    31 March       1 April          1 October        1 April      1 October
                                       2010         2011         2011               2012           2013           2014

 LAC                                                          For Brazil         All intraregional and         All intra-
 Region                                                       and                interregional1 counterfeit    regional
                                                              Mexico, all        POS Transactions In           and inter-
                                                                                                                          1
                                                              domestic,          addition, for Brazil and      regional
                                                              intra-             Mexico only, all              POS and
                                                                         4                                 4
                                                              regional,          domestic, intraregional,      ATM
                                                                                                   1
                                                              and inter-         and interregional POS         Trans-
                              Not applicable                            1                                 5             5
                                                              regional           and ATM Transactions          actions
                                                              POS                                              and
                                                              Trans-                                           Domestic
                                                                      5
                                                              actions                                          Trans-
                                                                                                               actions in
                                                                                                               Brazil and
                                                                                                               Mexico

 U.S.
                                                          Not applicable
 Region

 Visa                                                                        1
                           All domestic, intraregional, and interregional POS and ATM Transactions5
 Europe

 1. Among Visa Regions and individual countries participating in the EMV Liability Shift
 2. Effective 17 October 2009, including Afghanistan and Pakistan
 3. Between Australia and New Zealand
 4. Between Brazil and Mexico
 5. Counterfeit, lost, stolen, and "not received item" (NRI) fraud only


ID#: 100411-010410-0008190



Proximity/Contactless Cards


Proximity Payment Issuer Requirements (Updated)

An Issuer that issues Proximity Payment Cards in countries without an existing contactless
implementation must comply with the Visa Contactless Payment Specifications.

Effective 1 January 2012, an Issuer must issue Proximity Payment Cards that comply with the Visa
Contactless Payment Specifications.

ID#: 050411-010410-0002051




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Proximity Payment Device Requirements (Updated)

A Proximity Payment Device:

• Has distinct branding requirements, as specified in the Visa Product Brand Standards
• Must be issued with linkage to a Visa Card account, excluding Prepaid devices
• Must be assigned an expiration date that is on or before the date on the primary account Card
• May be assigned a different Account Number
• Must comply with one of the following specifications:
  - Visa Contactless Payment Specifications
  - Visa Contactless Payment Specification ISO 14443 Type A and Type B

ID#: 050411-010410-0002052



Cardholder Name on Contactless Payment Chip - U.S. Region (Updated)

A Contactless Payment Issuer in the U.S. Region must either use a generic identifier or leave blank
the Cardholder name field on the Contactless Payment chip embedded in the Visa Contactless
Payment Card or the Visa Micro Tag, as specified in the Visa U.S.A. Contactless Payment Program
Technical Implementation Guide.

ID#: 050411-010410-0008189



Cardholder Name on Magnetic Stripe of Contactless Payment Card - U.S. Region

In the U.S. Region, the requirement in "Cardholder Name on Contactless Payment Chip - U.S.
Region" does not apply to the data contained in the Magnetic Stripe of a Contactless Payment Card.

ID#: 010410-010410-0008188



Contactless Card Expiration Date - U.S. Region

In the U.S. Region, the expiration date on a Visa Mini Card with Contactless functionality or a full-size
Visa Contactless Card must be the same as the expiration date encoded on the Magnetic Stripe and
printed or displayed on the corresponding full-size Visa Card.

ID#: 010410-010410-0002082



Visa Contactless Payment Program - U.S. Region (Updated)

A U.S. Issuer that participates in the optional Visa Contactless Payment Program must comply with
issuance, operating, and processing requirements specified in:

• Visa U.S.A. Contactless Payment Program Member Implementation Guide
• Visa U.S.A. Contactless Payment Program Technical Implementation Guide



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• Visa U.S.A. Contactless Payment Program Member Testing and Certification Guide
• Contactless Indicator Guidelines for Cards
• Contactless Indicator and Contactless Symbol Reproduction and Applications Guide
• Visa Product Brand Standards
• Appropriate VisaNet manual, including Proximity Payment processing requirements, which are also
  applicable to Contactless Payment Transactions

ID#: 050411-010410-0002063



Contactless Card Application Transaction Counter - U.S. Region

A U.S. Issuer must validate the Application Transaction Counter on each of its Cards with contactless
payment capability during the Authorization process for a Contactless Payment Transaction.

ID#: 010410-010410-0002064



Allowed Contactless Cards - U.S. Region

With prior written consent of Visa, a U.S. Issuer participating in the Visa Contactless Payment
Program may issue Contactless Cards in any of the following forms:

• A full-sized Visa Card
• A Visa Mini Card
• A Visa Micro Tag

Except when specifically stated to the contrary, all other Operating Regulations apply to Visa
Contactless products in the U.S. Region.

ID#: 010410-010410-0008904



Notification of Contactless Card Usage Restrictions - U.S. Region

Before or at the time of issuance, a Visa Contactless Issuer in the U.S. Region must provide written
notification, approved by Visa, that informs the Cardholder of potential usage restrictions associated
with Visa Contactless devices, including, but not limited to:

• The inability to use the Visa Contactless device at Cardholder-Activated Terminals such as ATMs
  or Automated Fuel Dispensers, where card insertion is required
• Any daily Transaction dollar limit implemented by the Issuer in connection with the Visa Micro Tag,
  if applicable

ID#: 010410-010410-0002067




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Contactless Payment Program Customer Service Telephone Number - U.S. Region

A U.S. Issuer participating in the Contactless Payment Program must print a toll-free customer
service telephone number on the back of a Visa Contactless Card, with the exception of the Visa
Micro Tag.

ID#: 010410-010410-0002068



Mini Card Issuance Requirements - U.S. Region

A Visa Contactless Mini Card Issuer in the U.S. Region must:

• Comply with the Visa Mini Card program requirements specified in the Visa International Operating
  Regulations
• Comply with the Visa Mini Card design requirements specified in the Visa Product Brand Standards

ID#: 010410-010410-0002069



Proximity Payment Program Issuer Requirements - Canada Region (Updated)

A Canada Issuer that issues a Proximity Payment Card may program the Proximity Payment Card to
allow for Offline Authorizations for any amount and must program the Proximity Payment Card to
ensure that it complies with all of the following:

• A Cardholder Verification Method is not required
• Both the MSD protocol and the qVSDC protocol that uses Cryptogram 17, as defined in the Visa
  Contactless Payment Specifications, are supported
• A total maximum amount, including applicable taxes, of at least CAD $50 is programmed

ID#: 050411-010410-0008192




Limited Use Products

Restricted Use Cards


Restricted Card Program - LAC Region

With Visa approval, an LAC Issuer that operates a restricted Card program may:

• Expand the use of restricted Cards to countries where reciprocal Settlement is permitted
• Issue Cards as specified in the Visa Product Brand Standards

ID#: 010410-010410-0004582




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Non-Standard Cards

Non-Standard Card General Requirements


Non-Standard Card Plastic Specifications

With Visa approval, an Issuer may issue a Visa Card or Visa Electron Card in a size and design that
does not comply with the plastic specifications in the Visa Product Brand Standards. Refer to the Visa
Product Brand Standards for more information on Non-Standard Cards.

ID#: 010410-010410-0003243



Non-Standard Card Requirements

A Non-Standard Card must:

• Provide the designated level of utility promised to the Cardholder
• Contain the physical elements and data components required to complete a Transaction

ID#: 010410-010410-0003241



Non-Standard Card Prohibitions

A Non-Standard Card must not:

• Permit exclusive or preferential acceptance by a Merchant
• Be linked to a Virtual Account

ID#: 010410-010410-0003242



Non-Standard Card BIN Requirements - AP Region (Updated)

A Visa Infinite Card Issuer must:

• Be available to respond to a request from the Emergency Payment Authorization Service 24 hours
  a day, 7 days a week
• Provide all needed information and a decision to approve or deny the request during the initial
  telephone contact with Visa Global Customer Care Services
• Provide the Merchant, or Visa Global Customer Care Services, with a unique Authorization Code
• If providing the service directly to the Cardholder, contact the Merchant to verify the circumstances,
  explain the service, and complete the Transaction
• Send a fax to the Merchant that includes the Cardholder name, Account Number, expiration date,
  Authorization Code, and Transaction amount

ID#: 050411-010410-0001666




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Visa Mini Cards - U.S. Region


Visa Mini Card Issuance Requirements - U.S. Region (Updated)

With the prior written consent of Visa, a U.S. Member may issue Visa Mini Cards, provided the
Member meets the requirements specified in the Visa International Operating Regulations and the
Visa Product Brand Standards. Except when specifically stated to the contrary, all other Operating
Regulations apply without modification. Refer to the Visa Product Brand Standards for more
information on Non-Standard Cards.

ID#: 050411-010410-0000434



Visa Mini Card Issuance Limitations - U.S. Region

Except as stated otherwise in "Visa Mini Card Instant/Remote Issuance - U.S. Region," a Visa Mini
Card may be issued only in the United States and only if the Cardholder either:

• Already possesses a corresponding full-sized Visa Card
• Is issued a corresponding full-sized Card contemporaneously with the issuance of the Visa Mini
  Card

ID#: 010410-010410-0000435



Visa Mini Card Corresponding Card Requirements - U.S. Region

A Visa Mini Card Issuer in the U.S. Region must ensure that the Visa Mini Card and the
corresponding full-sized Card are the same Visa product type and offer the same benefits.

ID#: 010410-010410-0000436



Notification of Visa Mini Card Usage Restrictions - U.S. Region

Before or at the time of issuance, a Visa Mini Card Issuer in the U.S. Region must provide written
notification, approved by Visa, that informs the Cardholder of potential usage restrictions, including
the inability to use the Visa Mini Card at Cardholder Activated Terminals where card insertion is
required, such as an ATM or an Automated Fuel Dispenser.

ID#: 010410-010410-0000437




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Visa Micro Tag


Visa Micro Tag Issuance - U.S. Region

A Visa Micro Tag may be issued if a U.S. Cardholder either:

• Already possesses a corresponding full-size Card
• Is issued a corresponding full-size Card contemporaneously with the issuance of the Visa Micro
  Tag

ID#: 010410-010410-0002070



Visa Micro Tag Issuance Requirements - U.S. Region

A Visa Contactless Issuer in the U.S. Region must ensure that the Visa Micro Tag and the
corresponding full-size Card are the same Visa product type and offer the same benefits.

ID#: 010410-010410-0002071



Unembossed Cards


Service Codes on Unembossed Cards

If permitted by Visa, an Issuer may issue unembossed Visa Cards with any valid Service Code, as
specified in the Payment Technology Standards Manual, excluding unembossed Visa Prepaid Cards.

Effective 1 July 2010, all newly issued unembossed Visa Prepaid Cards must be encoded with
Service Code.

ID#: 081010-010210-0004058



Unembossed Visa Electron Card Requirements

In countries where the Visa Electron Program exists, an Issuer may temporarily print the Visa Brand
Mark with the Electron Identifier on the back of an unembossed Visa Card, provided that the Card is
issued within 5 years of the initial unembossed Visa Card program offering.

ID#: 010410-010410-0004059




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Unembossed Card Issuance - U.S. Region

In the U.S. Region, an Issuer of unembossed Visa Cards must:

• Only issue unembossed Visa Cards for the following products:
  - Visa Consumer Credit Cards
  - Consumer Visa Check Cards
  - Visa Business Check Cards
  - Visa Business credit Cards

ID#: 081010-010410-0003406




Virtual Accounts

Virtual Accounts - General Requirements


Virtual Account Requirements

A Virtual Account must:

• Be established as a Visa consumer or commercial credit, debit, or Prepaid Account
• Comply with electronic commerce payment authentication requirements established by Visa

ID#: 081010-010410-0001643



Virtual Accounts - Commercial BIN Requirements

An Issuer that provides a Commercial Visa Product as a Virtual Account must use a Commercial Visa
Product BIN.

ID#: 081010-010410-0001635



Virtual Account Issuer Certification Requirements - CEMEA Region

Prior to issuing Virtual Accounts, a CEMEA Issuer must certify with Visa that its authorization system
has the capability to receive and read the Electronic Commerce Indicator Value transmitted by the
Acquirer in the Authorization message.

ID#: 010410-010410-0001648




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Virtual Accounts - Consumer Programs


Approval of New Virtual Account Programs

Visa must review and approve new consumer Virtual Account programs.

ID#: 010410-010410-0003636



Virtual Account Issuer Requirements

A consumer Virtual Account Issuer must:

• Provide Lost/Stolen Card Reporting Service
• Verify Virtual Account Information, including name, as applicable, Account Number, and account
  expiration date, with the Virtual Account Holder
• Prior to Activation, inform a Virtual Account Holder of program details covering the use of a Virtual
  Account
• Communicate Virtual Account information to the Virtual Account Holder in a secure manner so as
  to prevent the unauthorized access to account information
• If a Reference Card is provided, comply with Reference Card design requirements as specified in
  the Visa Product Brand Standards

ID#: 081010-010410-0001645




Consumer Products

Visa Consumer Products - General Requirements


Visa Premium Product Hierarchy (Updated)

An Issuer must establish a premium product value hierarchy based on features, performance
standards, and spending limits as follows:

• A Visa Platinum Card must be equal to or higher in value to a Cardholder than a Visa Gold/Premier
  Card
• A Visa Gold/Premier Card must have more value to a Cardholder than a Visa Classic Card
• A Visa Business Gold Card must have more value to a Cardholder than a Visa Business Card

A variance to this requirement applies in the U.S. Region.

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Nigerian Card Issuance - CEMEA Region (Updated)
In the CEMEA Region, Nigerian Issuers may issue Visa Cards in accordance with the Visa
International Operating Regulations. Cards must be EMV-Compliant and PIN-Preferring.

ID#: 050411-140110-0004546



Consumer Card Issuer Requirements - U.S. Region (Updated)

A Visa Consumer Credit Card Issuer in the U.S. Region must comply with the requirements specified
in the Visa Enhancements Resource Guide.

ID#: 050411-010410-0004146



Visa Classic Cards


Visa Classic Card Customer Support Services

A Visa Classic Card Issuer must comply with the customer support services requirements specified in
the Visa International Operating Regulations. Visa may require that Issuers provide these services
within a Visa Region.

ID#: 010410-010410-0004219



Visa Classic Card Fees - LAC Region (Updated)
In the LAC Region, Visa will assess an annual fee as specified in the Visa LAC Fee Guide or
applicable local fee guide for each Visa Classic account reported. This fee includes mandatory travel
accident insurance with coverage of US $75,000.

ID#: 050411-011009-0008921



Visa Traditional Rewards Cards - U.S. Region


Traditional Rewards Card Issuance - U.S. Region

A Visa Traditional Issuer in the U.S. Region may, with prior approval from Visa, issue a Visa
Traditional Rewards Card if it meets the requirements specified in the Visa International Operating
Regulations.

ID#: 081010-010410-0003874




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Rewards Currency Administration - U.S. Region

In the U.S. Region, Visa, the Issuer, or a third party may administer Rewards Currency requirements,
including, but not limited to, aggregation, redemption, expiration, statements, and valuation
disclosure.

ID#: 010410-010410-0003875



Issuer Rewards Program Registration - U.S. Region
A U.S. Issuer must register its rewards program with Visa and meet the Visa Traditional Rewards Card
requirements by the dates specified in the Visa Traditional Rewards Product Registration Toolkit.

Visa may impose conditions on U.S. Issuer participation at any time.

ID#: 010410-010410-0008806



Visa Traditional Rewards Product Requirements - U.S. Region

A Visa Traditional Rewards Card Issuer in the U.S. Region must comply with Visa Traditional product
requirements, including, but not limited to, core service requirements outlined in the Visa
Enhancements Resource Guide.

ID#: 010410-010410-0003883



Visa Traditional Rewards Card Classification - U.S. Region

A U.S. Issuer must identify Visa Traditional Rewards Card Account Numbers and distinguish them
from other Visa Traditional (non-rewards) Account Numbers by using one of the following
classification levels, as specified in the appropriate VisaNet manual:

• BIN
• Account Range Definition (ARDEF)
• Card Account Number

ID#: 010410-010410-0003886



Visa Traditional Rewards Program Registration - U.S. Region (Updated)

In addition to the "BIN License Agreement" (available through the Visa Publication Center on Visa
Online), in order to request the required classification, a U.S. Issuer must submit to Visa for approval
a completed registration package, which is outlined in the Visa Traditional Rewards Product
Registration Toolkit.

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Rewards Currency Requirements - U.S. Region (Updated)

Effective through 16 February 2011, a Traditional Rewards Card Issuer in the U.S. Region must:

• Define the Rewards Currency it intends to offer its Cardholders
• Accrue Rewards Currency to the benefit of its Cardholder for every Qualifying Purchase
  Transaction
• Ensure that the approximate retail value of service and merchandise rewards offered to its
  Cardholders and the Rewards Currency required to redeem such options is comparable to the
  value the Cardholder would receive by selecting cash-equivalent rewards

ID#: 050411-010410-0003888



Rewards Currency - Issuer Requirements - U.S. Region (Updated)

Effective through 16 February 2011, in the U.S. Region, a Visa Traditional Rewards Card Issuer:

• Must offer participating Cardholders Rewards Currency options as required by Visa
• May withhold Rewards Currency accumulation or redemption, or revoke currency previously
  accumulated, if the account is no longer in good standing
• May stipulate that the expiration of frequent flyer miles after transfer to an Airline's frequent flyer
  program is subject to the Airline's frequent flyer program rules

ID#: 080411-010410-0003896



Visa Traditional Rewards Terms and Conditions - U.S. Region

In the U.S. Region, a Visa Traditional Rewards Card Issuer must:

• Provide complete and accurate disclosure of all Visa Traditional Rewards Card terms and
  conditions, including, but not limited to, Rewards Currency, Rewards Currency accrual, expiration
  and maximum cap, point redemption, costs, fees (if any), an explanation of Qualifying Purchase
  Transactions, and all other material terms and conditions upon Cardholder enrollment in the
  program, and as required by applicable laws and regulations
• Notify the Cardholder of any material changes to the program terms and conditions before the
  revision effective date
• Ensure the accuracy of any information that it or its Agent provides to its Cardholders

ID#: 010410-010410-0003897




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Communication of Rewards Currency Value - U.S. Region

In the U.S. Region, a Visa Traditional Rewards Card Issuer must communicate, in writing, the value
of the Rewards Currency to its Cardholders, annually or more frequently as required by applicable
laws and regulations. The communication must, at minimum, include the following information about
the Rewards Currency:

• Amount earned
• Amount redeemed
• Balance remaining

ID#: 010410-010410-0003898



Visa Traditional Rewards Program Auditing - U.S. Region

Visa, or a third party designated by Visa, may audit the records and procedures of any U.S. Issuer at
any time to ensure that the Visa Traditional Rewards Card product criteria are met. An Issuer must
bear any internal administrative costs associated with such an audit.

ID#: 010410-010410-0006842



Visa Traditional Rewards Program Penalties for Non-Compliance - U.S. Region

A U.S. Issuer that fails to comply with the Visa Traditional Rewards Card product requirements or fails
to maintain operational compliance with the terms and conditions specified in the Visa International
Operating Regulations may be subject to fines. Failure to comply with the terms of the rewards
program will disqualify the Issuer from receiving the Visa Traditional Rewards Interchange
Reimbursement Fee.

ID#: 010410-010410-0003899



Visa Traditional Rewards Program Participation - U.S. Region (New)

Effective 17 February 2011, a Visa Traditional Rewards Card Issuer in the U.S. Region must:

• Offer a rewards program to its Visa Traditional Cardholders in accordance with the requirements
  specified in the Visa Traditional Product Rewards Registration Toolkit
• Notify Cardholders, at least quarterly, via billing statement or stand-alone statement, regarding
  reward points earned during the relevant period

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Visa Debit Cards


Check Card BIN Usage - U.S. Region

A U.S. Issuer must use a unique check card BIN assigned to it by Visa for each of the following
consumer program types:

• Visa Check Card
• Visa Check Card II Cards

ID#: 010410-010410-0004149



Consumer Debit Card Brand Standards Compliance - U.S. Region

All of a U.S. Issuer's Visa consumer Debit Cards must comply with the Visa Product Brand
Standards.

ID#: 010410-010410-0008226



Visa Debit Card Issuer Chip Requirements - Canada Region (Updated)

A Canada Issuer of a Visa Debit Card must ensure that:

• The Visa Debit Card complies with the Visa Canada Debit Card - Technical Specifications
• The Visa Application Identifier (AID) must be present on the Card and the Application Selection
  Flag (ASF) settings are as specified in the Visa Canada Debit Card - Technical Specifications

ID#: 050411-200209-0008072



Visa Debit BIN Requirements Canada Region

Effective 16 August 2010, a Canada Issuer of a Visa Debit Card must use a unique BIN for its Visa
Debit Card Account Numbers and not share a BIN range.

Effective 16 August 2010, a Canada Issuer must not reclassify a BIN to represent a product other
than Visa Debit without prior permission from Visa.

ID#: 081010-160810-0025967



Visa Debit Transaction Identification - Canada Region (Updated)

A Canada Issuer of a Visa Debit Card must identify all Visa Debit Transactions as Visa Transactions
in all communications displaying Transaction information, including account activity statements, and
clearly disclose to the Cardholder any distinction between a Visa Debit Transaction and other
payment services.

ID#: 050411-200209-0008073




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Visa Debit Card Issuer 3-D Secure/Verified by Visa Participation - Canada Region
(Updated)

A Canada Issuer of a Visa Debit Card must ensure that its Visa Debit BINs participate in 3-D Secure
(Verified by Visa).

ID#: 050411-200209-0008074



Visa Electron Cards


Visa Electron Program Features

The Visa Electron Program offers the following features:

• International or domestic point-of-sale capability, ATM access, and Manual Cash Disbursements
• 100% Authorization and electronic Transaction processing
• Signature or PIN verification
• Optional use for Electronic Commerce Transactions

All Chargeback rights for Electronic Commerce Transactions apply to Visa Electron Transactions.

ID#: 010410-010410-0004528



Key-Entered Visa Electron Electronic Commerce Transactions

If an Issuer approves a key-entered Visa Electron Electronic Commerce Transaction, liability and
Chargeback rights are the same as for a Visa Transaction.

ID#: 010410-010410-0004529



Visa Electron Card Use

A Visa Electron Card may be:

• Used to access any type of account
• Issued for either international or domestic use
• Used at an ATM or Point-of-Transaction Terminal

ID#: 010410-010410-0004530




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Cardholder Instructions for Visa Electron Card Use

A Visa Electron Issuer must inform its Cardholders that a Visa Electron Card may be used:

• At a Merchant Outlet displaying the Visa Brand Mark with the Electron Identifier
• At an ATM displaying the Visa Brand Mark or Visa Brand Mark with the Electron Identifier

ID#: 010410-010410-0004531



Visa Electron Card Service Code

A Visa Electron Issuer must ensure that the Service Code designated for Visa Electron Cards is
encoded on the Magnetic Stripe and complies with the Payment Technology Standards Manual.

ID#: 010410-010210-0008235



Visa Electron Card Branding Requirements - CEMEA Region (Updated)

All Visa Electron Cards issued or reissued in the CEMEA Region must bear the Visa Electron Symbol
or the Visa Brand Mark with the Electron Identifier.

ID#: 050411-010410-0004443



Visa Electron Gold Cards/Premier Cards - CEMEA Region

In the CEMEA Region, the issuance of Visa Electron Gold Cards or Visa Electron Platinum Cards is
not permitted unless prior written approval has been granted by Visa. Requirements for Visa Electron
Gold Card or Visa Electron Platinum Card programs are available upon request from Visa.

ID#: 010410-010410-0005238



Requirements for South African Issuers of Visa Electron Cards - CEMEA Region

The following rules govern South African Domestic Transactions and apply to all CEMEA Issuers of
Visa Electron Cards in South Africa:

• Issuers of Visa Electron Cards in South Africa may operate under the Single Message (SMS) or
  dual processing system

ID#: 010410-010410-0004449




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Visa Gold/Premier Cards


Visa Gold/Premier Card Issuance

A Visa Gold Card or Visa Premier Card Issuer:

• May issue Visa Gold Cards or Visa Premier Cards at the option of Visa
• Must comply with the global support services requirements, either independently or through Visa,
  as specified in the Visa International Operating Regulations
• May offer its Visa Gold Cards or Visa Premier Cards as any type of payment device with an option
  to access any of the following:
  - Line of credit
  - Depository account
  - Other Cardholder assets available through the Issuer

ID#: 010410-010410-0004220



Visa Gold/Premier Card Customer Service Telephone Number

Each Issuer must make available to its Visa Gold/Premier Cardholders a free 24-hour-a-day, 7-day-a
week telephone number to obtain emergency services. The Issuer must communicate the telephone
number to the Cardholder at least once each year.

ID#: 010410-010410-0004222



Visa Gold Card Self-Select PIN Option - AP Region

In addition to the requirements specified in the Visa International Operating Regulations, a Visa Gold
Card Issuer in the AP Region must offer a self-select PIN option.

ID#: 010410-010410-0004262



Visa Gold Card Requirements - Canada Region

Participation in the consumer Visa Gold Card program is optional in the Canada Region. However, if
a Canada Member participates, it must provide at a minimum the core services specified in the Visa
International Operating Regulations. A Member may offer enhanced services that are greater than the
required core services specified in "Visa Gold Card Core Services - Canada Region."

ID#: 010410-010410-0004407




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Visa Gold Card Issuer Contact Information - Canada Region

In addition to the requirements specified in the Visa International Operating Regulations, a Canada
Member that issues consumer Visa Gold Cards must notify Visa at least 2 weeks before any change
in the Emergency Cash Disbursement contact or Emergency Card Replacement contact.

ID#: 081010-010410-0004408



Visa Gold Card Core Services - Canada Region

A participating consumer Visa Gold Card Issuer in the Canada Region must provide to its
Cardholders the following emergency Cardholder services:

• Cardholder Inquiry Service
• Collision/Loss Damage Insurance
• Emergency Card Replacement
• Emergency Cash Disbursement
• Legal referral assistance and Cash Disbursement Service
• Lost/Stolen Card Reporting
• Medical referral assistance and Cash Disbursement Service

ID#: 081010-010410-0004409



Visa Gold Card Collision/Loss Damage Insurance - Canada Region

A consumer Visa Gold Card Issuer in the Canada Region may offer Collision/Loss Damage Insurance
either:

• Through the Visa Collision/Loss Damage Insurance program
• Independently

If the Canada Issuer offers Collision/Loss Damage Insurance independently, the program features
must meet or exceed the minimum features, customer service level, and program administration
standards currently available from Visa. A certificate of insurance and details of the program are
available from Visa.

ID#: 010410-010410-0008236



Visa Gold Collision/Loss Damage Insurance Information - Canada Region

In the Canada Region, a consumer Visa Gold Cardholder may obtain information about the Collision/
Loss Damage Insurance program through Visa Global Customer Care Services, unless Visa has
approved alternate arrangements.

ID#: 081010-010410-0004412




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Visa Gold Product Name Usage - Canada Region

A Canada Member must use the product name "Visa Gold" in all communications regarding the
consumer Visa Gold Card program, including solicitations, advertising, and promotions.

ID#: 010410-010410-0006586



Visa Gold Trade Name or Mark Positioning - Canada Region

A Canada Member must not position its Trade Name or Mark as adding superior acceptability of a
consumer Visa Gold Card at the Point-of-Transaction.

ID#: 010410-010410-0006587



Visa Gold Card Service Requirements - CEMEA Region (Updated)

Visa Gold Card Issuers in the CEMEA Region must comply with the Global Customer Assistance
Services Member Guide - CEMEA Region, as specified in the Visa International Operating
Regulations.

ID#: 050411-010410-0004427



Visa Gold Card Issuer Requirements - LAC Region

A Visa Gold Card Issuer in the LAC Region must:

• Advise its Cardholders of the availability of PINs and Cash Disbursements through the Visa and
  Plus ATM programs
• Use Stand-In Processing and the PIN Verification Service

ID#: 010410-010410-0004455



Visa Gold Card Fees - LAC Region (Updated)

In the LAC Region, Visa will assess an annual fee for each Visa Gold account reported, as specified
in the Visa LAC Fee Guide or applicable local fee guide. This fee includes mandatory travel accident
insurance with coverage of US $250,000 and auto rental insurance with coverage in the western
hemisphere.

ID#: 050411-011009-0008922




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Visa Infinite Cards


Visa Infinite Card Requirements

Visa and a Visa Infinite Card Issuer may supplement the Visa Infinite Card requirements in the Visa
International Operating Regulations. No variances will be permitted except where required by local
custom or law.

ID#: 010410-010410-0006145



Visa Infinite BIN Reclassification

An Issuer must not reclassify a Visa Infinite BIN to represent a product other than a Visa Infinite Card
without prior permission from Visa. A variance to this requirement applies for a Member in the AP
Region.

ID#: 010410-010410-0004538



Visa Infinite Card Payment Options
At the option of Visa, an Issuer may provide a Visa Infinite Card with charge, credit, or debit capability.

ID#: 010410-010410-0004537



Visa Infinite Card Features and Branding Requirements

An Issuer must offer a Visa Infinite Card with:

• Unique features not available on any other Visa Card product it issues to ensure product
  differentiation
• The highest purchasing power available within the applicable Visa Region and a Member's Visa
  Card portfolio, except when the Member-developed Card product:
  - Is not branded with a Visa Card product name
  - Does not use the Sample Card Design or reserved color of a Visa Card product, as specified in
    the Visa International Operating Regulations

ID#: 010410-010410-0004532




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Visa Infinite Card Minimum Benefits

At a minimum, a Visa Infinite Card Issuer must comply with the requirements for the following 3
benefit categories:

• Priority assistance and convenience
• Exclusive privileges and rewards
• Safety and security

Details of the benefit categories are available from Visa.

ID#: 010410-010410-0008311



Visa Infinite Card Spending Limits

A Visa Infinite Card Issuer may offer either of the following spending limit options:

• No pre-set limit, excluding Emergency Card Replacements that have temporary pre-set limits
• Minimum limit allowing each Visa Infinite Card account to accumulate charges of at least X or local
  currency equivalent, during each or any statement cycle in which a Cardholder has satisfied
  previous obligations to the Issuer
• Visa may impose additional restrictions to these options.

ID#: 081010-010410-0004539



Declined Visa Infinite Card Transactions

For Visa Infinite Cards issued with a no pre-set limit, the Issuer must provide notification to the
Cardholder before ongoing Transactions can be declined.

ID#: 010410-010410-0004542



Visa Infinite Card Customer Service Requirements

An Issuer must provide to its Visa Infinite Cardholders access to a customer service agent 24 hours a
day, 7 days a week.

ID#: 010410-010410-0008299



Visa Infinite Card Emergency Services

If a Visa Infinite Issuer offers Visa emergency services, it must:

• Provide a free 24-hour telephone number
• Communicate the telephone number to the Cardholder annually

ID#: 010410-010410-0004544


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Visa Infinite Card Web Services

A Visa Infinite Cardholder must have access to a Web service that offers special information and
services to high-end consumers. The Web service must be provided by Visa or independently by the
Member.

The Visa Infinite Web service must, at a minimum:

• Limit access to Visa Infinite Cardholders only
• Provide a description of Visa Infinite Card services, benefits, and features
• Provide a detailed listing of the Visa Infinite Exclusive Privileges Merchant partner offers
• Include the following minimum value-added content and services for travel and entertainment:
  - Travel content that supports the Visa Infinite product positioning that is not readily available from
    other sources (e.g., special travel articles, expert recommendations on shows in major cities)
  - Online concierge service, if concierge service is offered by the Visa Region or Member's Infinite
    product
  - Contact information for Cardholders to inquire about Visa Infinite services and to provide
    feedback on the product or Website

ID#: 010410-010410-0008415



Visa Infinite Cardholder Notification and Complaints

A Visa Infinite Card Issuer must:

• Provide advance notification to the Cardholder when an account needs to be suspended or closed
  for any reason
• Monitor customer complaints related to Transaction Authorizations
• Identify action plans to improve customer service
• Make customer complaint information available to Visa

ID#: 010410-010410-0004543



Visa Infinite Card Marketing

A Visa Infinite Card Issuer intending to distribute Merchant partnership or emergency services
material to its Cardholders must receive written approval from Visa before distribution.

ID#: 010410-010410-0004545



Visa Infinite Card Emergency Payment Authorization Service (Updated)

A Visa Infinite Card Issuer must:

• Be available to respond to a request from the Emergency Payment Authorization Service 24 hours
  a day, 7 days a week



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• Provide all needed information and a decision to approve or deny the request during the initial
  telephone contact with Visa Global Customer Care Services
• Provide the Merchant, or Visa Global Customer Care Services, with a unique Authorization Code
• If providing the service directly to the Cardholder, contact the Merchant to verify the circumstances,
  explain the service, and complete the Transaction

ID#: 050411-010410-0008300



Visa Infinite Card Payment Options - AP - Region

An AP Issuer may provide a Visa Infinite Card with charge, credit, or debit capability.

ID#: 010410-010410-0004337



Visa Infinite Card Customer Service Telephone Number - AP Region

An AP Issuer must provide its Visa Infinite Cardholders with an exclusive toll-free telephone number
or a telephone number where collect calls will be accepted domestically or worldwide, to obtain
customer service and Account-Related Information services 24 hours a day, 7 days a week. The
Issuer must communicate the telephone numbers to its Cardholders at least once each year.

ID#: 010410-010410-0004346



Visa Infinite Card Customer Service Performance Standards - AP Region

A Visa Infinite Issuer in the AP Region must meet the customer service performance standards as
specified below. The Issuer must:

• Be capable of transferring calls to and establishing and maintaining a telephone bridge with the
  Visa Infinite customer service center
• Answer 90% of customer service calls by a customer service attendant within 15 seconds
• Immediately answer customer service calls by a voice response unit
• Provide an option that allows a Visa Infinite Cardholder to transfer from a voice response unit to
  customer service at any time during the call
• Ensure a maximum call abandonment of no more than 5%
• Ensure the Visa Infinite Cardholder is not placed on hold after a customer service agent has
  answered the call

ID#: 010410-010410-0004347




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Visa Infinite Card Emergency Services - AP Region

For Cards issued in the AP Region, assistance will be available to Visa Infinite Cardholders 24 hours
a day, 7 days a week, through Visa Global Customer Care Services. A Visa Infinite Issuer must offer
the following services through Visa Global Customer Care Services and the Issuer customer service
center:

• Cardholder Inquiry Service
• Emergency Card Replacement, including:
     - Card Verification Value (CVV) encoding
     - Minimum spending limit
• Emergency Cash Disbursement, with a minimum stand-in Emergency Cash Disbursement
• Lost/Stolen Card Reporting

An Emergency Card Replacement or Emergency Cash Disbursement must be delivered to the
Cardholder within 24 hours.

ID#: 081010-010410-0004339



Visa Infinite Card Core Services - AP Region

In the AP Region, a Visa Infinite Issuer must also provide the following services:

• One or more insurance options that the AP Issuer may choose to apply, with a unit cost per
  premium that matches or exceeds the current unit cost of providing travel accident insurance,
  except where prohibited by local law. The Issuer must submit to Visa in writing an official quote
  from an insurance company for both the travel accident insurance and the proposed new features
  at least 30 calendar days prior to its implementation.
• Complimentary access to airport lounges in all key cities
• Emergency medical evacuation and repatriation service in case of critical Cardholder medical
       14
  need
                                                          15
• Emergency medical insurance when traveling

ID#: 081010-010410-0004340




14
     A variance applies in the AP Region for Malaysia.
15
     A variance applies in the AP Region for Malaysia.


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Visa Infinite Exclusive Privileges Program - AP Region

An AP Issuer must provide information to its Visa Infinite Cardholders about the Visa Infinite
Exclusive Privileges program. The Issuer must communicate the following to its Visa Infinite
Cardholders:

• Visa Infinite Exclusive Privileges benefits at least once a year
• New benefits or changes to existing benefits at least 2 months before the effective date

ID#: 010410-010410-0004343



Visa Infinite Card Concierge Service - AP Region

In the AP Region, concierge service assistance must be available through a customer service
attendant by telephone 24 hours a day, 7 days a week, and offered in key international travel
markets. The minimum services required are travel information and assistance, including:

• Emergency travel arrangement provisions
• Passport, visa, and customs information
• Country and major city information
• Translation and message assistance
• Transportation information
• Restaurant, health club, entertainment events, shopping information and assistance, and gift
  arrangement
• ATM location guide
• Weather forecast
• Business services

ID#: 010410-010410-0004342



Visa Infinite Year-End Account Summary - AP Region

An AP Issuer must provide its Visa Infinite Cardholders with a year-end account summary that
includes:

• Total annual amount spent by the Cardholder
• Summary of spending by merchant category

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Visa Infinite Provisional Credit for Disputed Transactions - AP Region

A Visa Infinite Issuer in the AP Region must provide a provisional credit to the Cardholder Account
Number for the amount of a disputed Transaction within 24 hours of notification of a Cardholder
dispute. The disputed Transaction amount must be placed in a suspense account until the dispute is
resolved. The dispute notification may be either verbal or written.

ID#: 010410-010410-0004348



Visa Infinite Card Payment Options - CEMEA Region

A Visa Infinite Card issued in the CEMEA Region may have the following capability on each BIN:

• Charge
• Credit
• Debit

ID#: 010410-010410-0004441



Visa Infinite Card Emergency Services - CEMEA Region

A Visa Infinite Issuer in the CEMEA Region must provide mandatory core services to its Cardholders,
as specified in the Global Customer Assistance Services Member Guide - CEMEA Region.

ID#: 010410-010410-0004437



Visa Infinite Card Mandatory Core Services - CEMEA Region

A Visa Infinite Card Issuer in the CEMEA Region must offer the following core services:

• Purchase protection
• Extended warranty
• Full multi-trip travel insurance:
  - Trip cancellation
  - Trip delay
  - Medical coverage
  - Repatriation
  - Lost baggage
  - Loss of money
  - Personal liability
  - Legal expenses
  - Travel accident insurance

ID#: 010410-010410-0004438



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Visa Infinite Card Optional Features - CEMEA Region

A CEMEA Issuer may offer optional services for Visa Infinite Programs:

• Key insurance/loss
• Collision damage waiver
• Airport lounge access-priority pass

ID#: 010410-010410-0004440



Visa Infinite Merchant Partner Program - CEMEA Region

In the CEMEA Region, the Visa Infinite Merchant partner program must be communicated to
Cardholders annually or as required by Visa, in the form of a brochure or on the Issuer's Visa Infinite
Website.

ID#: 010410-010410-0004439



Visa Infinite Card Issuer Certification - LAC Region

Before issuing a Visa Infinite Card, an LAC Issuer must receive written certification from Visa that the
Issuer complies with all the Visa Infinite Card product requirements and standards.

ID#: 010410-010410-0004501



Visa Platinum Cards


Visa Platinum Card Issuance Requirements - AP Region

In the AP Region, all provisions of the Visa International Operating Regulations governing issuance of
Visa Gold Cards apply to the issuance of Visa Platinum Cards.

ID#: 010410-010410-0004264



Visa Platinum Card Core Services - AP Region

In the AP Region, a participating Visa Platinum Issuer must provide the following core services to its
Visa Platinum Cardholders:

• Cardholder Inquiry Service
                                                                                   16 17 18
• One or more insurance options that the Issuer may choose to apply




16
     A variance applies to Bangladesh.
17
     A variance applies to India and Sri Lanka.
18
     A variance applies in the AP Region for Malaysia.


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• Emergency Card Replacement, including:
  - Card Verification Value encoding
  - Minimum spending limit
• Emergency Cash Disbursement
• Emergency medical and legal referral
• Lost/Stolen Card Reporting Service

ID#: 081010-010410-0004267



Visa Platinum Card Minimum Spending Limit - AP Region

In the AP Region, the Minimum Spending Limits for a Visa Platinum account are as specified in “Visa
Platinum Card Country Specific Minimum Spending Limits - AP Region.” For countries that will launch
Visa Platinum for the first time, the default Minimum Spending Limit is US $2,000 or local currency
equivalent.

ID#: 081010-010410-0004268



Visa Platinum Card Country Specific Minimum Spending Limits AP Region

Effective 1 March 2010, in the AP Region, the Minimum Spending Limits for a Visa Platinum account
are equal to the following limits in US $ or local currency equivalents (purchasing power equivalence)
for the specified countries.


Visa Platinum Card Minimum Spending Limits for AP Countries

                                                    Mandated Visa Platinum
              Country
                                                    Minimum Spending Limits

 Australia                                                  US $4,400

 Bangladesh                                                 US $4,300

 Brunei                                                    US $12,500

 Cambodia                                                  US $12,500

 China                                                      US $8,000

 Guam                                                       US $8,000

 Hong Kong                                                  US $4,000

 India                                    Effective through 30 June 2010, US $2,000
                                               Effective 1 July 2010, INR 50,000

 Indonesia                                                  US $4,000

 Japan                                                     US $12,500

 Korea                                                      US $6,000



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                                                     Mandated Visa Platinum
               Country
                                                     Minimum Spending Limits

 Malaysia                                                    US $5,000

 Macau                                                       US $4,000

 Mongolia                                                    US $8,000

 New Zealand                                                 US $6,700

 Pakistan                                                    US $5,000

 Philippines                                                 US $5,000

 Singapore                                                   US $5,000

 Sri Lanka                                                   US $7,500

 Taiwan                                                      US $3,200

 Thailand                                                    US $4,013

 Fiji                                                        US $2,000

 Laos                                                        US $2,000

 Maldives                                                    US $2,000

 Nepal                                                       US $2,000

 Papua New Guinea                                            US $2,000

 Vietnam                                                     US $2,000


ID#: 081010-010310-0025672



Visa Platinum Card Required Services - AP Region

In the AP Region, a Visa Platinum Issuer must make concierge service assistance available through
a customer service attendant by telephone 24 hours a day, 7 days a week, and must offer it in key
international travel markets. The minimum services required are travel information and assistance,
including:

• Emergency travel arrangement provisions
• Passport, visa, and customs information
• Specific country and major city information
• Translation and message assistance
• Transportation information
• Restaurant, health club, entertainment events, shopping information and assistance, and gift
  arrangement




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• ATM location guide
• Weather forecast
• Business services

ID#: 010410-010410-0004269



Visa Platinum Card Customer Service Telephone Number - AP Region

In the AP Region, a Visa Platinum Issuer must provide its Visa Platinum Cardholders with a toll-free
telephone number or a telephone number where collect calls will be accepted domestically or
worldwide to obtain customer service and Account-Related Information services 24 hours a day, 7
days a week. The Issuer must communicate the telephone numbers to its Cardholders at least once
each year.

ID#: 010410-010410-0004270



Visa Platinum Customer Service Standards - AP Region (Updated)

In the AP Region, a Visa Platinum Issuer must meet the following customer service performance
standards:

• Be capable of transferring calls to and establishing and maintaining a telephone bridge with the
                                    19
  Visa Platinum Customer Center.
• Answer 90% of customer service calls by a customer service attendant within 15 seconds
• Immediately answer customer service calls by a voice response unit
• Provide an option that allows a Visa Platinum Cardholder to transfer from a voice response unit to
  a customer service attendant at any time during the call
• Ensure a maximum call abandonment of no more than 5%
• Ensure that the Visa Platinum Cardholder is not placed on hold after a customer service agent has
  answered the call

ID#: 050411-010410-0004271



Visa Platinum Card Issuance Requirements - Canada Region

In the Canada Region, all provisions of the Visa International Operating Regulations governing the
issuance of Visa Gold Cards apply to the issuance of Visa Platinum Cards.

ID#: 010410-010410-0004413




19
     A variance applies to Bangladesh.


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Visa Platinum Card Core Services - Canada Region

In the Canada Region, a participating Visa Platinum Issuer must provide to its Cardholders the
following emergency Cardholder services:

• Cardholder Inquiry Service
• Collision/Loss Damage Insurance
• Emergency Card Replacement
• Emergency Cash Disbursement
• Legal referral assistance and Cash Disbursement
• Lost/Stolen Card Reporting
• Medical referral assistance and Cash Disbursement Service

ID#: 081010-010410-0004414



Visa Platinum Card Collision/Loss Damage Insurance - Canada Region

In the Canada Region, a Visa Platinum Issuer may offer Collision/Loss Damage Insurance either:

• Through the Visa Collision Loss/Damage Waiver insurance program
• Independently

If the Canada Issuer offers Collision Loss/Damage Waiver insurance independently, the program
features must meet or exceed the minimum features, customer service level, and program
administration standards currently available from Visa. A certificate of insurance as well as program
details may be obtained from Visa.

A Visa Platinum Cardholder may obtain information about the Collision/Loss Damage Waiver
insurance program through the Visa Global Customer Care Services, unless Visa has approved
alternate arrangements.

ID#: 081010-010410-0008336



Visa Platinum Card BIN - Canada Region (Updated)

Each Canada Issuer must:

• Use a unique BIN for its Visa Platinum Account Numbers. The Issuer must either:
  - Choose a BIN from a BIN range previously assigned to it by Visa
  - Request a new BIN range assignment for the service




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• If using a previously assigned BIN or BIN range, notify Visa of the selected BIN or BIN range
  before issuing any Visa Platinum Cards
• Send "Visa Interchange Directory Update Form" and "BIN License Agreement" (both available
  through the Visa Publication Center on Visa Online and http://www.visainfo.ca) to Visa for its Visa
  Platinum BIN range.

ID#: 050411-010410-0004418



Visa Platinum Card Emergency Services - CEMEA Region

In the CEMEA Region, a Visa Platinum Card Issuer must comply with the Global Customer
Assistance Services Member Guide - CEMEA Region.

ID#: 010410-010410-0008337



Visa Platinum Card Spending Limits - CEMEA Region (Updated)

A CEMEA Issuer must offer its Visa Platinum Cardholders either of the following account options:

• Minimum spending limit of US $10,000 or local currency equivalent
• No pre-set spending limit

A variance to this requirement applies to Members in Afghanistan and Pakistan.

ID#: 050411-010410-0004432



Visa Platinum Card Core Services - CEMEA Region

In the CEMEA Region, a Visa Platinum Issuer must offer the following core services:

• Purchase Protection
• Extended Warranty

ID#: 010410-010410-0004433



Visa Platinum Card Optional Features - CEMEA Region

A CEMEA Issuer may offer optional services for Visa Platinum Programs:

• Full multi-trip insurance
• Travel inconvenience insurance
• Travel accident insurance
• Key insurance
• Collision damage waiver
• Airport lounge access - priority pass

ID#: 010410-010410-0004434


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BIN Requirements for Airline Co-Brand Programs - CEMEA Region

A CEMEA Issuer may issue new Visa Gold Card and Visa Platinum Airline co-brand programs on a
new Visa Platinum BIN.

A CEMEA Issuer must issue new Visa Gold and Visa Platinum Airline co-brand programs on separate
designated account ranges within the Visa Platinum BIN.

The Issuer must provide all Airline co-brand Cards issued on a Visa Platinum BIN with mandatory
core product features applicable to Visa Platinum Cards, as specified in "Visa Platinum Card Core
Services - CEMEA Region."

Mandatory minimum spending limits do not apply for Airline co-brand Cards issued on a Visa
Platinum BIN.

ID#: 010410-010410-0009017



Visa Gold and Platinum Cards Issued on Visa Platinum BIN - CEMEA Region

In the CEMEA Region, Visa Gold Cards issued on a Platinum BIN must comply with Card design
requirements, as specified in the Visa International Operating Regulations and the Visa Product
Brand Standards.

In the CEMEA Region, Visa Platinum Cards issued on a Platinum BIN must comply with Card design
requirements as specified in the Visa International Operating Regulations and the Visa Product Brand
Standards.

ID#: 010410-010410-0008339



Visa Platinum Certification - LAC Region

Before issuing Visa Platinum Cards, an LAC Issuer must receive written certification from Visa that
the Issuer complies with all Visa Platinum product requirements and standards.

ID#: 010410-010410-0004460



Visa Platinum Card Performance Standards and Fees - LAC Region

In the LAC Region, a Visa Platinum Issuer that fails to meet the performance standard specified in
this section is subject to the corrective action.

ID#: 081010-010410-0008343



Visa Platinum Card Travel Rewards Program - LAC Region

In the LAC Region, a Visa Platinum Credit Card Issuer must provide a travel rewards program that
offers Cardholders, through purchases with Visa Platinum Cards, the ability to accumulate points that
can be redeemed for, at a minimum, airline travel.




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The travel rewards program may be sponsored by Visa (Visa Rewards), an Issuer, or an Issuer/
Airline co-branded program.

Cardholders must not be assessed an additional fee for membership in the travel rewards program.

In the LAC Region, Visa Platinum debit Cards are exempt from any obligation to offer any travel
rewards programs.

ID#: 010410-010410-0008813



Visa Platinum Card Concierge Service - LAC Region

In the LAC Region, a Visa Platinum Issuer that participates in the personal concierge service is
responsible for the fees specified in the Visa LAC Fee Guide or applicable local fee guide.

ID#: 081010-010410-0004481



Visa Prepaid Cards


Visa Prepaid Card Issuer Requirements (Updated)

A Visa Prepaid Card Issuer:

• May issue Visa Prepaid Cards bearing any Visa-owned Brand Mark
• Must comply with the fees, processing rules, program rules, membership rules, reporting
  requirements, and physical Card design requirements for the Visa Brand Mark displayed on the
  Card as specified in the:
  - Visa International Operating Regulations
  - Visa Product Brand Standards
  - Applicable Visa International Prepaid Program Guidelines
  - Visa Global Physical Security Validation Requirements for Data Preparation, Encryption Support
    and Fulfillment Card Vendors
• Must not issue Visa Prepaid Cards as any type of consumer credit program that extends a line of
  credit, including Visa Signature or Visa Infinite Cards
• Must prevent unauthorized reselling of its Visa Prepaid Cards or accounts
• Must ensure that the Visa Prepaid Card programs are incorporated into the Member's anti-money
  laundering and anti-terrorist financing program to monitor suspicious activity
• Must ensure that its Visa Prepaid Card program is approved by Visa prior to program
  implementation or Visa Prepaid Card issuance




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• Must ensure that the expiration date encoded on the Magnetic Stripe or Chip (when used) and
  embossed on a Visa Prepaid Card does not exceed 5 years from the date of issuance
• Effective 1 April 2010, for Visa Gift Cards issued in the U.S. Region, the Issuer must ensure the
  expiration date encoded on the Magnetic Stripe or Chip (when used) and embossed or printed on a
  Visa Gift Card does not exceed 9 years from the date of issuance (This only applies in the U.S.
  Region.)

ID#: 050411-150210-0003633



Visa Prepaid Card BIN

An Issuer must issue Visa Prepaid Cards using a consumer prepaid BIN designated for its Visa
                  20
Prepaid Programs. Unique BINs are required for Reloadable Card and Non-Reloadable Card
programs. Each program product type must be issued with a discrete account range within the
prepaid BIN. The Issuer may:

• Choose a BIN from a BIN range previously assigned to it by Visa
• Request a new BIN range assignment for the service
• Establish multiple Visa Prepaid Card programs within the same BIN

ID#: 081010-010410-0008352



Visa Prepaid Card - Telephone Number

A Visa Prepaid Card Issuer must print a customer service telephone number on the back of a Visa
Prepaid Card.

Effective 1 April 2010, for Visa Gift Cards issued in the U.S. Region, the Issuer must print a toll-free
customer service telephone number on the back of the Card. (This only applies in the U.S. Region.)

ID#: 081010-010100-0025533



Visa Prepaid Account Balances

The Issuer responsible for Prepaid Account balances must be identified either on the front or back of
the Card.

An Issuer must disclose its obligation for Card balances to the Visa Prepaid Card purchaser, either in
writing or other appropriate means as approved by Visa.

An Issuer must not describe Visa Prepaid Card programs in any way that could imply that Visa is
liable for outstanding balances. This includes, but is not limited to, using the words "Travelers
Cheque/Check" in the product name or claiming that Visa Prepaid Card products have all the features
of Travelers Cheques.

ID#: 081010-010410-0008353




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     A variance to this requirement applies in the LAC Region.


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Visa Prepaid Card Selective Authorization

An Issuer of certain Visa Prepaid Cards, as specified in the applicable Visa International Prepaid
Program Guidelines, may decline Authorization Requests based on the following factors:

• Merchant Category Code
• Merchant name(s) or terminal identification
• Location or Merchant Outlet

ID#: 081010-010100-0025537



Partial Authorization Service for Visa Prepaid Card Issuers

A Visa Prepaid Card Issuer and its VisaNet Processor that offers Partial Authorization must support:

       •    Partial Authorization Transactions
       •    Authorization Reversals

An Issuer that participates in the Partial Authorization service must comply with the requirements as
specified in the V.I.P. Technical Specifications.

Effective 1 April 2010, an Issuer that participates in the Partial Authorization service that receives an
Authorization Reversal must release any applicable hold on available funds in its Cardholder's
account immediately.

ID#: 081010-010410-0002494



Visa Prepaid Card Authorization Holds

A Visa Prepaid Card Issuer must release any hold on available funds in its Cardholder's account as a
result of an approved Authorization Request when a matching Clearing Record is received.

This requirement does not apply if the Issuer determines that the Transaction or account involves
suspicious or unusual activity.

ID#: 081010-010100-0025539



Visa Prepaid Load Service (Updated)
                                                                          21
Members that participate in the Visa Prepaid Load Service must comply with the requirements
specified in the Visa International Operating Regulations and the Visa International Prepaid Program
Guidelines.

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     Visa Prepaid Load Service is referred to as Visa ReadyLink in the U.S. Region.


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Visa Prepaid Load Service Loading Requirements

A participating Visa Prepaid Load Service Issuer must:

• Approve Authorization Requests to load funds to Reloadable Cards
• Post the value of the funds loaded to the Reloadable Card either upon Authorization or as soon as
  the funds are cleared

These requirements do not apply to U.S. Members.

ID#: 010410-010410-0002495



Activation and Load Service - Issuer Responsibilities

An Issuer that uses a Prepaid Partner to sell, activate, and/or load its Visa Prepaid Cards must have
a Prepaid Partner Agreement. A Prepaid Partner Agreement must include, at a minimum:

• Any service fee charged to a Cardholder by the Prepaid Partner
• The portion of the service fee that will be paid to the Issuer
• Assurances to provide a Transaction Receipt to the Cardholder indicating the amount loaded to the
  Card

ID#: 010410-010410-0002496



Disputed Visa Prepaid Load Transaction Amounts

A Visa Prepaid Load Service Issuer must use a Fee Collection Transaction to collect disputed Visa
Prepaid Load Service amounts when either:

• No Clearing Record was received for an authorized Visa Prepaid Load Service Transaction
• The amount in the Clearing Record is less than the amount reflected on the Transaction Receipt

The Fee Collection Transaction submitted for a Visa Prepaid Load Service Transaction must meet all
of the following conditions:

• The Issuer approved the Visa Prepaid Load Service Authorization Request
• The Issuer posted the value to the Prepaid Account upon Authorization or the Cardholder provides
  a Transaction Receipt documenting the Visa Prepaid Load Service Transaction amount
• There was no associated Clearing Transaction or the cleared amount is less than the amount on
  the Visa Prepaid Load Service Transaction Receipt, and no Reversal was sent

The Fee Collection Transaction for a Visa Prepaid Load Service Transaction dispute must be
submitted within 180 calendar days from the related event but no earlier than 10 calendar days from
the Authorization date.

Cardholder disputes arising from the use of a Visa Card to purchase or add value to a Visa Prepaid
Card at a Prepaid Partner must comply with the dispute resolution requirements specified in the Visa
International Operating Regulations.

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Visa Prepaid Load Service Acquirer Requirements

Members that participate in the optional Visa Prepaid Load Service must comply with requirements in
the applicable Visa International Prepaid Program Guidelines. A participating Acquirer must:

• Add Visa Prepaid Load Service provisions to its Merchant Agreement
• Ensure that participating Merchants comply with the requirements specified in the Visa
  International Operating Regulations and applicable Visa International Prepaid Program Guidelines
• Have an Endorsement Date within 2 calendar days from the Visa Prepaid Load Service
  Transaction Date
• Effective through 11 August 2010, only process Reversals to correct point-of-sale errors on the
  same day as the original Transaction
• Effective through 11 August 2010, not adjust Visa Prepaid Load Service Transactions, except for
  Reversals to correct errors

Effective 12 August 2010, an Acquirer may only process a Reversal when there is a processing
problem or error that prevents the Issuer's Authorization Response from being returned to the Prepaid
Partner. An Acquirer must only send system-generated reversals to VisaNet and the Prepaid Partner
when there is an inability of the Acquirer to return an Issuer response to the Prepaid Partner's system.

An exemption to the Visa Prepaid Load Service requirements applies in the U.S. Region.

ID#: 081010-010410-0002517



Visa Prepaid Partner Requirements

A Member or Merchant may participate in the Visa Prepaid Load Service as a Prepaid Partner to:

• Activate or load initial value to Visa Prepaid Cards under a Prepaid Partner Issuer Agreement
• Add value to qualified reloadable Visa Prepaid Cards
•
• A Prepaid Partner must:
• Have a Merchant Agreement with the participating Acquirer to process Visa Prepaid Load Service
  Transactions
• Comply with the requirements in the applicable Visa International Prepaid Program Guidelines
• Obtain Issuer approval of:
    - A load Authorization Request for Card activation on both reloadable and non-reloadable Cards
    - A load Authorization Request for value reload on qualified reloadable Cards
• Load value to a Visa Prepaid Card only when the Card is present
• Load Visa Prepaid Cards only when the Prepaid Partner and the Visa Prepaid Card Issuer are
  located within the same country
• Load the Visa Prepaid Card in the Cardholder's Billing Currency

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Visa Payroll Card Requirements

A Visa payroll Issuer must comply with the:

• Visa Payroll Card Service Description
• Visa Payroll Card Member Implementation Guide

A Visa payroll Issuer must implement Card activation procedures that require Cardholders to validate
their identity by some reasonable means before being able to use the Card.

ID#: 010410-010100-0025571



Visa Prepaid Card Authorization Requirements - CEMEA Region

In the CEMEA Region, Stand-in-Processing Authorization on behalf of Issuers is not available for
Visa Prepaid Card programs. Visa will decline Transactions that fail CVV authentication.

ID#: 081010-010410-0002607



Visa Prepaid Card Requirements - U.S. Region (Updated)

In the U.S. Region, a Visa Prepaid Card Issuer must comply with the requirements specified in the:

• Visa International Prepaid Program Guidelines With Additional United States Guidelines
• Visa ReadyLink Service Description and Implementation Guidelines
• Visa Product Brand Standards
• Visa U.S.A. Prepaid Retail Channel Guidelines

ID#: 050411-010410-0008363



Visa Prepaid Card BIN - U.S. Region

In the U.S. Region, an Issuer must use a unique consumer debit BIN for each of the following Visa
Prepaid Card program types:

• Visa Buxx
• Visa Employee Benefit Cards (Visa Prepaid Card products for Visa Flexible Savings Account, Visa
  Health Savings Account, Visa Health Reimbursement Account and Visa Transit may be combined
  within a single BIN as specified in the Visa International Prepaid Program Guidelines With
  Additional United States Guidelines)
• Visa Gift Card
• Visa Incentive Card
• Visa Payroll
• Visa Prepaid Card bearing both the Visa Mark and the Visa TravelMoney Mark
• Other Visa Prepaid Cards

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Visa Prepaid Card Agents - U.S. Region

In the U.S. Region, a Visa Prepaid Card Issuer must implement underwriting, monitoring, and control
policies for its Agents that support its Visa Prepaid Card program.

The Issuer must ensure that the policies are approved by its board of directors. Visa may grant an
exception to this requirement.

The Issuer must provide the policies to Visa upon request.

The Issuer must implement policies and procedures for reviewing solicitation materials used by its
Agents.

ID#: 010410-010410-0008356



Visa Prepaid Card Issuer Risk Program Compliance - U.S. Region

In the U.S. Region, an Issuer must comply with the requirements of the Prepaid Issuer Risk Program
Standards document, available from Visa upon request.

ID#: 010410-010410-0002173



Visa Prepaid Card Agent Monitoring - U.S. Region

In the U.S. Region, an Issuer must, at a minimum, monitor its Agents in accordance with the Agent
activity monitoring standards, as specified in the Prepaid Issuer Risk Program Standards document.

The Issuer must:

• Ensure it has all access rights to all of its Agent's systems and reports
• Submit to Visa quarterly reporting on Agent relationships, as specified in the Prepaid Issuer Risk
  Program Standards document

ID#: 010410-010410-0008357



Visa Prepaid Card Funds and Reserves - U.S. Region

A U.S. Issuer must:

• Hold and control all Visa Prepaid Card funds and Agent reserves
• Ensure that all prepaid funds are only used for valid Presentments
• Ensure that reserves may only be used to cover direct program losses that are accumulated and
  derived from the Merchant settlement funds or used to guarantee a Merchant's payment system
  obligations to the Member
• Perform monitoring of Agent reserves and account funding
• Periodically review and monitor Cardholder funds, including exception reporting

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Visa Prepaid Issuer Risk Program Review - U.S. Region

In the U.S. Region, an entity approved by Visa may conduct a periodic review of the Issuer's or its
Agent's operations at any time to ensure compliance with the Prepaid Issuer Risk Program
requirements.

The Issuer must provide Visa with a self-assessment questionnaire on a quarterly basis.

The Issuer must provide a copy of the review report to Visa upon request.

The Issuer is responsible for the cost of the periodic review.

ID#: 010410-010410-0008359



Visa Prepaid Card Partial Authorization Responses - U.S. Region (Updated)

In the U.S. Region, a Visa Prepaid Card Issuer and its VisaNet Processor must support Partial
Authorization Responses, as specified in the VisaNet manuals.

ID#: 050411-010410-0008365



Visa Prepaid Card Product Options - U.S. Region

A U.S. Issuer may issue various Card types for certain Visa Prepaid Card programs with prior Visa
approval.

ID#: 010410-010410-0003420



Non-Reloadable Card Printing Requirements - U.S. Region

A U.S. Issuer offering Non-Reloadable Cards must print the legend "Non-Reloadable" on the back of
the Card:

• In a minimum 6-point Helvetica font
• Anywhere above the Magnetic Stripe

ID#: 010410-010410-0008372



Prepaid Issuer Participation in Point-of-Sale Balance Inquiry Service - U.S. Region
(Updated)

In the U.S. Region, a Visa Gift Card Issuer or Visa Incentive Card Issuer or an Issuer of other Non-
Reloadable Visa Prepaid Cards must:

• Participate in the Point-of-Sale Balance Inquiry Service
• Complete systems testing with Visa to support balance inquiries at the Point-of-Transaction in a
  Face-to-Face Environment, as specified in the VisaNet manuals

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Visa ReadyLink Participation - U.S. Region

A U.S. Issuer may participate in Visa ReadyLink.

A participating Issuer must:

• Comply with the requirements of the:
  - Visa International Prepaid Program Guidelines With Additional United States Guidelines
  - Visa ReadyLink Service Description and Implementation Guidelines
  - Visa Product Brand Standards
• Designate unique BINs within its Visa Prepaid Card program that may participate in Visa
  ReadyLink
• Have a Prepaid Partner Agreement with a participating Prepaid Partner to sell Visa Prepaid Cards

The Prepaid Partner Agreement must define the terms and conditions of the relationship between the
Issuer and the Prepaid Partner, including, but not limited to, any applicable service fee charged to a
consumer by the Prepaid Partner for the purchase of Visa Prepaid Cards. The Prepaid Partner
Agreement does not govern the loading of value to a Visa Prepaid Card.

ID#: 081010-010410-0008374



Visa ReadyLink Prepaid Partner Requirements - U.S. Region (Updated)

In the U.S. Region, a Prepaid Partner that participates in the Visa ReadyLink service must:

• Have a Merchant Agreement for Visa Card acceptance
• Comply with the requirements in the:
  - Visa International Prepaid Program Guidelines With Additional United States Guidelines
  - Visa ReadyLink Service Description and Implementation Guidelines
• Load value to a Visa Prepaid Card that has been designated for participation Visa ReadyLink by
  the Issuer or to another Non-Visa Branded Account, as defined in the Visa ReadyLink Service
  Description and Implementation Guidelines

A Visa ReadyLink Prepaid Partner may sell Visa Prepaid Cards under a Prepaid Partner Issuer
Agreement with a participating Issuer.

ID#: 050411-010410-0008388



Visa ReadyLink Acquirer Requirements - U.S. Region

In the U.S. Region, an Acquirer participating in the Visa ReadyLink Service must:

• Comply with the service requirements specified in the:
  - Visa International Prepaid Program Guidelines With Additional United States Guidelines
  - Visa ReadyLink Service Description and Implementation Guidelines
• Comply with Merchant Agreement requirements, as specified in "Visa ReadyLink Acquirer
  Requirements for Prepaid Partners - U.S. Region"


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• Ensure that it maintains adequate funds available for settlement of approved Transactions that
  have been processed through VisaNet from its Prepaid Partners
• Process a Visa ReadyLink Transaction through the Single Message System

ID#: 081010-010410-0003216



Visa ReadyLink Acquirer Requirements for Prepaid Partners - U.S. Region

In the U.S. Region, an Acquirer that participates in the Visa ReadyLink Service must ensure that:

• A Prepaid Partner that participates in the Visa ReadyLink Service complies with all the provisions
  of the:
  - Visa International Prepaid Program Guidelines With Additional United States Guidelines
  - Visa ReadyLink Service Description and Implementation Guidelines
• The substance of those provisions is included in its Merchant Agreement or as a separate
  addendum

ID#: 081010-010410-0003468



Visa ReadyLink Transaction Processing - U.S. Region (Updated)
In the U.S. Region, funds associated with a load to a Visa Prepaid Card or to another Non-Visa
Branded Account, as defined in the Visa ReadyLink Service Description and Implementation
Guidelines processed through the VisaNet Single Message System, as specified in the Visa
International Prepaid Program Guidelines With Additional United States Guidelines and Visa
ReadyLink Service Description and Implementation Guidelines, are settled between the Acquirer and
Issuer during the same processing cycle as the approval of the Transaction Authorization request by
the Issuer.

ID#: 050411-010410-0005731



Visa Buxx Card Issuer Implementation Requirements - U.S. Region (Updated)

In the U.S. Region, a Visa Buxx Issuer must:

• Complete the implementation procedures, as specified in the Visa Buxx Card Member
  Implementation Guide
• At least 30 days before issuing Cards, submit to Visa written certification that its programs,
  systems, procedures, and services comply with the Visa International Operating Regulations, Visa
  Buxx Card Service Description, and Visa Buxx Card Member Implementation Guide

ID#: 050411-010410-0004361



Visa Buxx Card Issuer Requirements - U.S. Region

In the U.S. Region, a Visa Buxx Issuer must implement Card activation procedures.

Card activation procedures must require Cardholders to validate their identity by some reasonable
means before being able to use the Card.


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A Visa Buxx Issuer must provide the account owner (e.g., parent or guardian) with a financial literacy
test to be completed by the teenager and verified by the account owner at the time of enrollment.

A Visa Buxx Issuer must, either itself, through Visa, or through a third-party provider, offer:

• Website access that includes:
  - Account management data and functions
  - Account funding capability
• Parental notification of payment activity
• The option to receive periodic statements either electronically or on paper
• Customer service activities including, but not limited to:
  - Processing lost/stolen Card reports
  - Card suspension

ID#: 010410-010410-0008378



Visa Payroll Card Requirements - U.S. Region

In the U.S. Region, a Visa Payroll Issuer must comply with the:

• Visa Payroll Card Service Description
• Visa Payroll Card Member Implementation Guide

A Visa Payroll Issuer must implement Card activation procedures that require Cardholders to validate
their identity by some reasonable means before being able to use the Card.

A Visa Payroll Card design must comply with the Visa Product Brand Standards.

ID#: 010410-010410-0008383



Visa Employee Benefit Card Issuer Requirements - U.S. Region (Updated)

In the U.S. Region, a Visa Employee Benefit Card Issuer must:

• Comply with the Visa Employee Benefit Card Service Description and Implementation Guide
• Support selective Authorization, as specified in "Visa Prepaid Card Declined Authorizations - U.S.
  Region"
• Support Auto-Substantiation, as specified in "Healthcare Auto-Substantiation Requirements - U.S.
  Region"
• Comply with the Visa Healthcare Auto-Substantiation Transactions Service Description and
  Implementation Guide
• Comply with the Visa Healthcare Auto-Substantiation Transaction Consolidated Technical
  Requirements
• Support Authorization Reversals




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• Obtain a license from, and be certified by, SIGIS in order to process Healthcare Auto-
  Substantiation Transactions
• Support Retrieval Request reason code 27, "Healthcare Auto-Sub Data Retrieval Request," for the
  process of obtaining detailed Transaction Receipt data from Acquirers, via fax, as specified in the
  Visa Healthcare Auto-Substantiation Transactions Retrieval of SIGIS Receipt Detail
                        22
  Implementation Guide

ID#: 050411-010410-0008386



Healthcare Auto-Substantiation Requirements - U.S. Region

A U.S. Issuer or its Agent must support Healthcare Auto-Substantiation if it offers any of the following
Visa Employee Benefit Card programs:

• Visa Flexible Spending Account (FSA)
• Visa Health Reimbursement Account (HRA)

ID#: 081010-010410-0003421



Visa Signature Cards


Visa Signature Card Requirements

At the option of Visa, an Issuer may issue consumer Visa Signature Cards, subject to trademark
availability. A Visa Signature Card Issuer must include features and services equivalent to the Visa
Infinite Card and the following:

• No pre-set spending limit
• Access to Web services specific to Visa Signature Cardholders
• A Card design specific to a Visa Signature Card, as specified in the Visa Product Brand Standards

ID#: 010410-010410-0008228



Visa Signature Card Issuer Requirements - U.S. Region (Updated)

A Visa Signature Issuer in the U.S. Region must comply with the requirements specified in
"Consumer Card Issuer Requirements - U.S. Region," "Consumer Credit Card Core Services - U.S.
Region," and the Visa Enhancements Resource Guide.

ID#: 080411-240211-0003417




22
  Unlike other Transaction Receipt Retrieval Request Reason Codes, Reason Code 27 does not support a Chargeback right
for the Issuer.


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Visa Signature Card BIN Requirements - U.S. Region

A Visa Signature Issuer in the U.S. Region that supports:

• Account range processing may designate an Account Number range within a credit BIN for its Visa
  Signature Cards
• BIN level processing must use a unique BIN assigned to it by Visa for its Visa Signature Account
  Numbers and either:
     - Choose a BIN from a BIN range previously assigned (If using a previously assigned BIN, notify
       Visa of the selected BIN before issuing any Visa Signature Cards)
     - Request a new BIN assignment

ID#: 010410-010410-0006226



Visa Signature Card Implementation Requirements - U.S. Region

A Visa Signature Issuer in the U.S. Region must:

• Complete the implementation forms included in the Visa Signature Product and Implementation
  Guide
• Comply with the requirements specified in the Visa Enhancements Resource Guide

ID#: 010410-010410-0003900



Visa Signature Card Spending Limits and Payment Options - U.S. Region (Updated)

A Visa Signature Issuer in the U.S. Region:

• Must issue its Visa Signature Cards with no pre-set spending limit for purchase Transactions
• May allow the Visa Signature Cardholder the option to either:
     - Pay in full each statement cycle
                  23
     - Revolve If positioned as a revolving product, the Issuer must permit a minimum revolving
       balance of at least US $5,000 during each statement cycle.

The Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

ID#: 050411-240211-0008237




23
     Effective 24 February 2011, this option does not apply to Visa Charge Cards.


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Visa Signature Cardholder Notification - U.S. Region

A Visa Signature Issuer in the U.S. Region must provide notification to the Cardholder:

• Before ongoing Transactions can be declined
• When an account needs to be suspended or closed for any reason

ID#: 010410-010410-0003218



Visa Signature Card Customer Service Telephone Number - U.S. Region

A Visa Signature Issuer in the U.S. Region must provide a toll-free telephone number of its own
customer service center where the Cardholder:

• May obtain customer service 24 hours a day, 7 days a week
• Is given an early and ongoing option to talk to a knowledgeable representative, if an automated
  response menu is used

ID#: 010410-010410-0003906



Visa Signature Card Rewards Program - U.S. Region (Updated)

A Visa Signature Issuer in the U.S. Region must offer a rewards program to its Visa Signature
Cardholders in accordance with the requirements specified in the Visa Signature Rewards Product
Registration Toolkit.

ID#: 050411-010100-0003905



Visa Signature Card Visa Incentive Network Participation - U.S. Region

A Visa Signature Issuer in the U.S. Region must participate in the Visa Incentive Network program, as
specified in the Visa Incentive Network Member Implementation Guide, to qualify for the Visa
Signature Interchange Reimbursement Fee.

ID#: 010410-010410-0003904



Visa Signature Card Enhanced Billing Support - U.S. Region

A Visa Signature Issuer in the U.S. Region must provide enhanced billing support resolution services,
as specified in the Visa Signature Product and Implementation Guide.

ID#: 010410-010410-0003907




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Visa Signature Cardholder Information - U.S. Region

A Visa Signature Issuer in the U.S. Region must offer its Cardholders, during the application process,
the option to have their personal information kept confidential.

       •    If selected, the Issuer must not provide Cardholder or account details to external
            organizations for the purpose of marketing mailing lists, products, or services
       •    The Issuer may, for Affinity Card accounts, disclose that this option does not apply to the
            Affinity Partner

ID#: 010410-010410-0003909



Visa Signature Card Design - U.S. Region (Updated)

A Visa Signature Issuer in the U.S. Region must comply with the Visa Product Brand Standards.

ID#: 050411-010410-0006196



Visa Signature Card Issuance - AP Region

An Issuer operating in the AP Region may provide a Visa Signature Card:

• With charge, credit, debit, or prepaid capability
• To Cardholders who meet a pre-set minimum annual retail sales volume spend threshold.
  Qualifying level of annual retail sales volume spends will be specified for each individual market
  that launches Visa Signature. Card renewal will be based on whether the Cardholder achieved the
  minimum annual retail sales volume spend. Cardholders who fail to meet the threshold will need to
  be offered a different Visa Card.        24




The Issuer must provide its on-us data for retail spend on Visa Signature to Visa on the frequency
and time periods and in formats as defined by Visa.

ID#: 081010-010410-0004317



Visa Signature Card BIN Reclassification - AP Region

An AP Issuer must not reclassify a BIN or account range to represent a product other than the Visa
Signature Card without permission from Visa.

ID#: 010410-010410-0004319




24
     A variance applies to Hong Kong and Macau.


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Visa Signature Card Core Services - AP Region

A Visa Signature Issuer in the AP Region must provide the following services:

• A rewards program with a pre-set minimum perceived customer value (expressed in basis points
  per dollar of qualifying spend). Visa will set such pre-set values in consultation with Members for
  each individual market that launches the product for Visa Signature.
• One or more insurance options that the Issuer may choose to apply
                                                                      25
• Complimentary access to airport lounges in all key cities
• Emergency medical evacuation and repatriation service in case of critical Cardholder medical need
• Emergency medical insurance when traveling

ID#: 081010-010410-0004323



Visa Signature Card Customer Service Telephone Number - AP Region

A Visa Signature Issuer in the AP Region must provide its Visa Signature Cardholders with an
exclusive toll-free telephone number or a telephone number where collect calls will be accepted
domestically or worldwide to obtain customer services and Account-Related Information services 24
hours a day, 7 days a week. The Issuer must communicate the telephone numbers to its Cardholders
at least once a year.

ID#: 010410-010410-0004329



Visa Signature Card Concierge Services - AP Region

A Visa Signature Issuer in the AP Region must offer concierge services in key international travel
markets and must make these services available through a customer service attendant by telephone
24 hours a day, 7 days a week. The minimum services required are travel information and assistance,
including:

• Emergency travel arrangement provisions
• Passport, visa, and customs information
• Country and major city information
• Translation and message assistance
• Transportation information
• Restaurant, health club, entertainment events, shopping information, and assistance with gift
  arrangement
• ATM location guide
• Weather forecast
• Business services

ID#: 010410-010410-0004325



25
     A variance applies to Hong Kong and Macau.


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Visa Signature Privileges Program - AP Region

A Visa Signature Issuer in the AP Region must provide to its Visa Signature Cardholders information
about the Visa Signature Privileges Program. The Visa Signature Issuer must communicate the
following to its Visa Signature Cardholders:

• Visa Signature Privileges benefits at least once a year
• New benefits or changes to existing benefits at least 2 months before the effective date
• Visa Signature Merchant Privileges (quarterly Merchant offers exclusive to Visa Signature
  Cardholders)

ID#: 010410-010410-0004326



Visa Signature Card Year-End Account Summary - AP Region

A Visa Signature Issuer in the AP Region may provide its Visa Signature Cardholders with a year-end
account summary that includes:

• Total annual amount spent by the Cardholder
• Summary of spending by Merchant category

ID#: 010410-010410-0004327



Visa Signature Card Emergency Payment Authorization Service - AP Region
(Updated)

A Visa Signature Issuer in the AP Region must:

• Be available to respond to a request from the Emergency Payment Authorization Service 24 hours
  a day, 7 days a week
• Provide all needed information and a decision to approve or deny the request during the initial
  telephone contact with Visa Global Customer Care Services
• Provide the Merchant or Visa Global Customer Care Services with a unique Authorization Code
• If providing the service directly to the Cardholder, contact the Merchant to verify the circumstances,
  explain the service, and complete the Transaction
• Send a fax to the Merchant that includes the Cardholder name, account name, expiration date,
  Authorization Code, and Transaction amount

ID#: 050411-010410-0004328



Visa Signature Card Customer Service Standards - AP Region

A Visa Signature Issuer in the AP Region must meet the customer service performance standards as
specified below. The Visa Signature Issuer must:

• Be capable of transferring calls to, and establishing and maintaining a telephone bridge, with the
  Visa Signature Customer Center
• Answer 90% of customer service calls by a customer service attendant within 15 seconds

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• Immediately answer customer service calls by a voice response unit
• Provide an option that allows a Visa Signature Cardholder to transfer from a voice response unit to
  customer services at any time during the call
• Ensure a maximum call abandonment of no more than 5%
• Ensure the Visa Signature Cardholder is not placed on hold after a customer service agent has
  answered the call

ID#: 010410-010410-0004330



Visa Signature Card Marketing - AP Region

A Visa Signature Issuer in the AP Region must:

• Commit a defined level of advertising support for Visa Signature. Visa will define the level of
  support in consultation with Members in that market
• Receive written approval from Visa before the distribution of Cardholder communication materials
  for Visa Signature

ID#: 010410-010410-0004331



Visa Signature Card Provisional Credit for Disputed Transactions - AP Region

A Visa Signature Issuer in the AP Region must provide a provisional credit to the Cardholder's
account for the amount of the disputed Transaction within 24 hours of notification of a Cardholder
dispute. The disputed Transaction amount must be placed in a suspense account until the dispute is
resolved. The dispute notification may be either verbal or written.

ID#: 010410-010410-0004332



Visa Signature Card Requirements in Australia – AP Region (New)

Effective 15 June 2010, in addition to the requirements specified in the Visa International Operating
Regulations, a Visa Signature Issuer must issue Visa Signature Cards with:

• A Minimum Spending Limit of AUD 18,000
• A qualifying minimum annual retail sales volume spend threshold of AUD 48,000
• A minimum rewards points earn rate of 1.15% for every AUD 1 spent

ID#: 050411-060111-0026150



Visa Signature Card Issuance - CEMEA Region

The issuance of Visa Signature Cards is not permitted in the CEMEA Region unless prior written
approval has been granted by Visa.

ID#: 010410-010410-0004442




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Visa Signature Card Issuer Certification - LAC Region (Updated)

Before issuing a Visa Signature Card, an LAC Issuer must receive written certification from Visa that
the Issuer complies with all Visa Signature product requirements and standards.

ID#: 050411-010410-0004482



Visa Signature Card BIN Requirement - LAC Region

A Visa Signature Card Issuer in the LAC Region must use a unique BIN for its Visa Signature Cards
and report its Visa Signature activity separately through Visa operating certificates.

ID#: 010410-010410-0004498



Visa Signature Card Payment Options, Spending Limits, and Credit Limits LAC
Region

An LAC Issuer may offer its Cardholders the Visa Signature Card as any type of payment device
under either:

• A charge card, where the Cardholder pays for the total charged amount at the end of each account
  statement cycle
• A credit Card, where the Cardholder is assigned a credit line that could be financed
• Regardless of the chosen option, the Visa Signature Card must be issued without a pre-set
  spending limit.

The Issuer may make a real-time decision to decline a Transaction based upon criteria different than
those reasons related to spending limits.

The credit limits established by a Visa Signature Card Issuer in the LAC Region must comply with the
requirements in "Visa Premium Product Hierarchy, " in such a manner that the average credit limit for
its Visa Signature program is higher than the average credit limit for its Visa Platinum program.

ID#: 010410-010410-0008305



Visa Signature Card Customer Service Telephone Number - LAC Region

A Visa Signature Card Issuer in the LAC Region must:

• Provide customer service 24 hours a day, 7 days a week
• Provide an exclusive telephone line to its Visa Signature Cardholders
• Respond to a Visa Signature Cardholder with a live, specially trained operator
• Respond to 85% of calls within 20 seconds after call initiation
• Abandon no more than 2% of the total call volume

ID#: 010410-010410-0008323




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Visa Signature Card Benefit Notification - LAC Region

On an annual basis, a Visa Signature Card Issuer in the LAC Region offering benefits in addition to
those provided through Visa must provide Visa with all necessary information concerning those
benefits and the benefit providers.

ID#: 010410-010410-0004486



Visa Signature Card Provisional Credit for Disputed Transactions - LAC Region

A Visa Signature Card Issuer in the LAC Region must provide a provisional credit to the Cardholder's
account for the amount of a disputed Transaction within 24 hours of notification of a Cardholder
dispute. The disputed Transaction amount must be placed in a suspense account until the dispute is
resolved. The dispute notification may be either verbal or written.

If the original dispute notification is verbal, the Issuer must receive a written letter of dispute from the
Cardholder within 15 calendar days in order to continue the dispute investigation. Written notification
may be faxed.

ID#: 010410-010410-0008240



Visa Signature Card Fraud Management Requirements - LAC Region

A Visa Signature Card Issuer in the LAC Region must install and use a Visa-approved system for
fraud detection.

ID#: 010410-010410-0004489



Visa Signature Cardholder Services - LAC Region

A Visa Signature Card Issuer in the LAC Region must offer the following services through Visa Global
Customer Care Services and the Issuer customer service center:

• Lost/Stolen Card Reporting
• Emergency Cash Disbursement
• Emergency Card Replacement
• Cardholder Inquiry Service

Assistance is available through Visa Global Customer Care Services 24 hours a day, 7 days a week,
and is provided in English, Portuguese, and Spanish.

ID#: 081010-010410-0008322




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Visa Signature Card Core Product Enhancements - LAC Region

A Visa Signature Issuer in the LAC Region, at a minimum, must provide its Visa Signature
Cardholders with all of the following core product enhancements (covered under the Visa Signature
account fee), unless prohibited by local law or government regulations:

• Travel accident insurance with an accidental death benefit amount of US $1,000,000, or local
  currency equivalent
• Emergency medical insurance with a medical expense benefit amount of up to US $30,000, or local
  currency equivalent
• Worldwide Vehicle Collision/Loss Damage Waiver
• Travel assistance services
• Personal concierge service provided through Visa
• Luggage insurance
• Extended warranty insurance
• Purchase protection

ID#: 010410-010410-0004490



Visa Signature Card Travel Rewards Program - LAC Region

A Visa Signature Card Issuer in the LAC Region must provide a travel rewards program that offers
Cardholders, through purchases with Visa Signature, the ability to accumulate points that can be
redeemed for, at a minimum, Airline travel. The travel rewards program may be sponsored by Visa
(Visa Rewards), an Issuer, or an Issuer/Airline co-branded program. Cardholders must not be
assessed an additional fee for membership in the travel rewards program.

ID#: 010410-010410-0004500



Visa Signature Card Performance Standards - LAC Region (Updated)

A Visa Signature Card Issuer in the LAC Region that exceeds the Negative Authorization Response
standard of 2% as a percentage of its total Authorization Responses in a calendar month is subject to
a fee of US $5 for each Negative Authorization Response exceeding the standard. A Negative
Authorization Response is any Authorization that is not an Approval Response.

A Visa Signature Card Issuer that fails to meet the performance standard specified in this section is
subject to the corrective action listed in the table below. Fees double each calendar month of the
decertification period described in the table below.




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Corrective Actions for Issuer Failure to Meet Performance Standards - LAC Region

                Stage                                    Action/Response

 Grace Period - One calendar         Written notification of under-performance and
 month (begins the calendar          recommended corrective actions
 month following the first
 violation for underperformance)

 Observation Period - Two            • Fees imposed as specified above
 calendar months (begins at          • Member has 2 calendar months to apply corrective
 completion of Grace Period)           actions

 Probation Period - Three            • Fees imposed as specified above
 calendar months (begins at          • Visa may audit Member at Member's expense
 completion of Observation
 Period)

 De-certification Period -           • Member prohibited from issuing or reissuing Visa
 Begins at completion of               Signature Cards
 Probation Period                    • Fees imposed and doubled for each calendar month
                                       as specified above
                                     • Visa reserves its right to resolve Authorization
                                       Requests via the PCAS-Full Service system


ID#: 050411-010410-0008308



Visa Signature Card Credit Limit Penalty - LAC Region

A Visa Signature Card Issuer in the LAC Region that fails to meet the credit limit criteria specified in
"Visa Signature Card Payment Options, Spending Limits, and Credit Limits - LAC Region" is subject
to a penalty fee of US $5 per Visa Signature Card in the Issuer's portfolio.

ID#: 010410-010410-0007945



Visa Signature Preferred Cards - U.S. Region


Visa Signature Preferred Card Issuer Requirements - U.S. Region (Updated)

A Visa Signature Preferred Issuer in the U.S. Region must:

• Complete the implementation forms and comply with the requirements specified in the Visa
  Signature Product and Implementation Guide
• Comply with the following:
  - "Consumer Card Issuer Requirements - U.S. Region"
  - "Consumer Credit Card Core Services - U.S. Region"
  - Visa Enhancements Resource Guide

ID#: 050411-010410-0008319




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Visa Signature Preferred Card Account Number/BIN - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region that supports:

• Account level processing may designate individual Account Numbers for its Visa Signature
  Preferred Cards
• Account range processing may designate an Account Number range within a credit BIN for its Visa
  Signature Preferred Cards
• BIN level processing must use a unique BIN assigned to it by Visa for its Visa Signature Preferred
  Account Numbers and either:
  - Choose a BIN from a BIN range previously assigned (if using a previously assigned BIN, notify
    Visa of the selected BIN before issuing any Visa Signature Preferred Cards)
  - Request a new BIN assignment

ID#: 010410-010410-0003910



Visa Signature Preferred Card Spending Limits and Payment Options - U.S. Region
(Updated)

A Visa Signature Preferred Issuer in the U.S. Region:

• Must issue its Visa Signature Preferred Cards with no pre-set spending limit for purchase
  Transactions
• May allow the Visa Signature Preferred Cardholder the option to either:
  - Pay in full each statement cycle
  - Revolve If the Visa Signature Preferred Cardholder is allowed the option to revolve, the Issuer
    must permit a minimum revolving balance of at least US $5,000 during each statement cycle.

The Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

ID#: 090411-240211-0008326



Visa Signature Preferred Cardholder Notification - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must provide notification to the Cardholder:

• Before ongoing Transactions can be declined
• Before an account is suspended or closed for any reason

ID#: 010410-010410-0003919




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Visa Signature Preferred Card Customer Service Telephone Number - U.S. Region

Each U.S. Issuer must provide the toll-free telephone number of its own customer service center,
which must be printed on the back of the Visa Signature Preferred Card.

If the Issuer's customer service center for Visa Signature Preferred Cardholders uses an automated
response menu, the Cardholder must be given an early and ongoing option to talk to a
knowledgeable representative.

ID#: 010410-010410-0008330



Visa Signature Preferred Card Rewards Program Participation - U.S. Region (Updated)

A Visa Signature Preferred Issuer in the U.S. Region must:

• Offer a rewards program to its Visa Signature Preferred Cardholders in accordance with the
  requirements specified in the Visa Signature Rewards Product Registration Toolkit
• Notify Cardholders, at least quarterly, via billing statement or stand-alone statement, regarding
  reward points earned during the relevant period

ID#: 050411-010410-0003915



Visa Signature Preferred Card Visa Incentive Network Participation - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must participate in the Visa Incentive Network
program, as specified in the Visa Incentive Network Member Implementation Guide, to qualify for the
Visa Signature Preferred Interchange Reimbursement Fees.

ID#: 010410-010410-0003916



Visa Signature Preferred Card Enhanced Billing Support - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must provide enhanced billing support
resolution services, as specified in the Visa Signature Product and Implementation Guide.

ID#: 010410-010410-0003922



Visa Signature Preferred Cardholder Information - U.S. Region

Each U.S. Issuer must offer its Cardholders, during the application process, the option to have their
personal information kept confidential. If selected, the Issuer must not provide Cardholder or account
details to non-affiliated organizations for the purpose of marketing mailing lists, products, or services.
The Issuer may, for Affinity Card accounts, disclose that this option does not apply to the Affinity
Partner.

ID#: 010410-010410-0003924




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Visa Signature Preferred Branding - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must comply with the Visa Product Brand
Standards.

ID#: 010410-010410-0006198



Visa Signature Preferred Card Website - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must provide its Cardholders access to a
Website that offers special information and services specific to its Visa Signature Preferred
Cardholders.

ID#: 010410-010410-0003923



Visa Check Cards - U.S. Region


Visa Check Card Account Restrictions - U.S. Region

In the U.S. Region, a Visa Check Card may be used to access a deposit, investment, or other
consumer asset account, including a fiduciary account.

A Visa Check Card must not be used to obtain credit, as defined in 12 CFR Part 226 (Regulation Z),
unless it involves only an incidental extension of credit under an agreement between the Cardholder
and the Issuer either:

• When the Cardholder's account is overdrawn
• To maintain a specified minimum balance in the Cardholder's account

ID#: 010410-010410-0008332



Definition of Visa Check Card - U.S. Region

In the U.S. Region, Visa reserves the right to determine the application of the definition of the Visa
Check Card.

ID#: 010410-010410-0004154



Consumer Visa Deferred Debit Card - U.S. Region

In the U.S. Region, a Consumer Visa Deferred Debit Card is treated as a Visa credit Card for
Interchange and Limited Acceptance category purposes.

ID#: 010410-010410-0004153




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Visa Check Card Activation - U.S. Region

A U.S. Issuer must require Card activation for all Visa Check Cards initially issued to Cardholders
who did not expressly request or apply for the Visa Check Card. Issuers are encouraged to require
Card activation for all Visa Check Cards.

As part of the Card activation process, Cardholders must be required to validate their identity by
reasonable means before being able to use the Card.

ID#: 010410-010410-0004158



Visa Check Card Funds Hold Release - U.S. Region

A Visa Check Card Issuer in the U.S. Region must release any hold on available funds in its
Cardholder's account as a result of an approved Authorization request either:

• When a matching Clearing Record is received, but no later than 3 business days from the
  Authorization request
• For a Real-Time Clearing Transaction:
  - Upon receipt of the Completion Message
  - Upon expiration of the time limit for completion specified in the preauthorization request if a
    Completion Message has not been received by that time.

This requirement does not apply if the Issuer determines that the Transaction or account involves
suspicious or unusual activity.

ID#: 081010-010410-0004159



Visa Check Card Provisional Credit for Disputed Transactions - U.S. Region

A Visa Check Card Issuer in the U.S. Region that receives notification from its Cardholder of
unauthorized Visa Transactions must provide provisional credit to the Cardholder's account within 5
business days of the notification.

The Issuer may require written confirmation from the Cardholder before providing provisional credit.

The Issuer may withhold providing provisional credit, to the extent allowed under applicable law, if the
Issuer determines that the circumstances or account history warrants the delay.

This requirement does not apply to ATM Cash Disbursements.

ID#: 010410-010410-0004166




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Visa Check Card Credit Transaction Receipt - U.S. Region

A Visa Check Card Issuer in the U.S. Region must post a Credit Transaction Receipt to a
Cardholder's account within one business day of Settlement. The Issuer may place a hold on the
posted Credit Transaction Receipt, to the extent allowed under applicable law, if the Issuer
determines that the circumstances or account history warrant the delay.

ID#: 010410-010410-0004160



Visa Check Card POS Balance Inquiry Service - U.S. Region (Updated)

A Visa Check Card Issuer must not provide account balance information in response to a POS
Balance Inquiry Service request on any of its Visa Check Card products, except to Visa for Rightcliq.

ID#: 050411-010410-0004161



POS Balance Inquiry Service for Rightcliq Users - U.S. Region (Updated)

For Cards other than Visa Prepaid Cards, a U.S. Issuer may participate in the POS Balance Inquiry
Service to provide Card account balance information to Visa for Rightcliq.

ID#: 050411-181109-0025588



Campus Card Requirements - U.S. Region

A U.S. Issuer that chooses to participate in the Campus Card program must comply with the Visa
Campus Card Implementation Guide and Program Guidelines and Visa Product Brand Standards.

ID#: 081010-180509-0007968



Visa Check Card II Requirements - U.S. Region

In addition to the requirements specified for Visa Check Cards, a Visa Check Card II Issuer in the
U.S. Region must be capable of:

• Supporting PINs for all Transaction types
• Supporting the Visa Cash Back Service
• Processing Transactions containing a non-Visa Acquirer BIN
• Effective through 30 June 2010, accepting Store and Forward Transactions
• Complying with all Visa Check Card II requirements, as specified in the appropriate VisaNet
  manuals and the Visa Check Card II Implementation Guide

ID#: 010410-010410-0004170




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Secured Cards


Secured Visa Card Solicitations - U.S. Region

A U.S. Member or its Agent that solicits a secured Visa Card account must:

• Specify in its solicitation material that to obtain the Visa Card, the potential Cardholder must open a
  deposit account that will serve as collateral for the Visa Card account
• Indicate the portion of the deposit that will be allocated as the line of credit accessed by the Visa
  Card
• Ensure that any secured Visa Card application processing fees accepted from the Cardholder are
  made payable to the Issuer, not the Agent

ID#: 010410-010410-0001217



Secured Visa Card Program Notification - U.S. Region

A U.S. Issuer that accepts a cash deposit as security for issuance of a Visa Card must notify Visa in
writing within 30 calendar days of any secured Visa Card program with 500 or more Cards.

The Issuer must include all of the following in the notification:

• Program start date
• Projected number of secured Visa Cards at the end of the first year of the program
• The role of any non-Member Agent that supports the program

ID#: 010410-010410-0008333



Secured Card Security Deposit Requirement - U.S. Region

A U.S. Issuer must hold any cash security deposit for issuance of a Visa Card in a federally insured
account in the name of the Cardholder.

The Issuer must not assign an interest in a security deposit to any Third Party.

ID#: 010410-010410-0008334



Secured Card Issuer Requirements - LAC Region

A Secured Card Issuer in the LAC Region must:

• Maintain a cash deposit as guarantee for issuance of a Visa Card in a bank account in the name of
  the Cardholder
• Upon Visa request, provide Visa available promotional materials. The promotional materials must
  clearly state that a security deposit is required as collateral for the issuance of a Secured Card

ID#: 010410-010410-0004526




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Secured Card Promotion - LAC Region

A Secured Card Issuer in the LAC Region must receive prior written consent from Visa before using
Third Party agents for the promotion of the Secured Card. The Issuer must not assign an interest in a
deposit accepted as guarantee for issuance of a Visa Card to any Third Party agent.

ID#: 010410-010410-0004527



V PAY


Liability for V PAY Transactions

The Issuer is liable for all Transactions completed with a Card that bears the V PAY Brand Mark and
is processed in accordance with the Visa International Operating Regulations.

ID#: 010410-010410-0004041



V PAY Issuer Liability and Requirements - CEMEA Region

A V PAY Issuer in the CEMEA Region is liable for the Transaction amount of any fully authorized and
correctly processed Transactions completed with a V PAY Card, whether online or offline and with or
without a PIN. Wherever applicable, existing Visa Smart Debit Credit Chip acceptance and online
processing rules apply to V PAY Card Transactions conducted outside the country of issuance. V
PAY Issuers must comply with the CEMEA V PAY Product Guide.

ID#: 010410-010100-0004448




Visa TravelMoney Program

Visa TravelMoney


Visa TravelMoney Participation (Updated)

Issuer participation in the Visa TravelMoney Program is optional. To become an Issuer of Visa
TravelMoney Cards, an Issuer must:

• Comply with the requirements specified in the Visa International Prepaid Program Guidelines
• Be an active participant in the Card Verification Service
• Provide the Visa Global Customer Assistance Services Program, as specified in "Visa Global
  Customer Assistance Services Program Requirements"
• Issue pre-assigned or customer-selected PINs to all Visa TravelMoney Cards
• Accept a PIN for Cardholder verification at an ATM.
• Ensure that the Service Code encoded on the Magnetic Stripe complies with the Payment
  Technology Standards Manual



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• At least 30 calendar days before issuing a Visa TravelMoney Card, submit to Visa written
  certification that its programs, systems, procedures, and services comply with the:
  - Visa International Operating Regulations
  - Visa International Prepaid Products Program Guidelines

ID#: 050411-010410-0002503



Visa TravelMoney Cards

This regulation applies to an Issuer of a Visa Prepaid Card bearing the Visa TravelMoney Wordmark
and either:

• Visa Brand Mark
• Visa Electron Mark

ID#: 081010-010100-0025547



Visa TravelMoney - ATM-Only Cards

A Visa TravelMoney Issuer licensee, as defined in the Visa International Certificate of Incorporation
and Bylaws, may only issue a Visa TravelMoney Card with ATM-only functionality.

ID#: 010410-010100-0025548



Visa TravelMoney Currencies

An Issuer may issue Visa TravelMoney Cards for values in one or more currencies.

ID#: 010410-010410-0002504



Visa TravelMoney ATM Transactions

If a Visa TravelMoney Card is used at an ATM, the Visa ATM Network/Plus rules and fees apply.

ID#: 010410-010410-0002508



Visa TravelMoney Cardholder Notification

An Issuer of Visa TravelMoney Cards must inform its Cardholders that a Visa TravelMoney Card may
be used at a Visa/Plus ATM location.

ID#: 010410-010410-0002511




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Visa TravelMoney Card Issuer Requirements

An Issuer of Visa TravelMoney Cards:

• Must provide Customer assistance services
• May provide forgotten PIN assistance

ID#: 010410-010410-0002615



Visa TravelMoney Card Requirements - CEMEA Region

In the CEMEA Region, Visa TravelMoney Cards may be issued with the Visa Brand Mark with the
Electron Identifier to allow for POS functionality. The following conditions apply:

• Cards must be prepaid only, with "online only functionality" Service Codes
• Issuers must comply with existing standards for Member eligibility and collateral (if applicable)
• The initial number of Cards and balances must be approved by Visa
• Current Visa TravelMoney program risk monitoring systems must be used

Visa TravelMoney Cards with POS and ATM functionality may be issued by any Visa Principal or
Associate Member for new programs only. Members may issue Visa TravelMoney Cards with POS
and ATM functionality subject to Visa approval, additional requirements, and risk guidelines
established solely at the discretion of Visa. Members must ensure compliance with all applicable laws
and regulations, including licensing requirements in relevant jurisdictions.

ID#: 081010-010410-0002610



Visa TravelMoney Access to Funds - U.S. Region

In the U.S. Region, if multiple Visa TravelMoney Cards are issued to the Cardholder, each Visa
TravelMoney Card must have full access to the Visa TravelMoney funds.

If one or more Visa TravelMoney Cards are lost, the remaining cards must still have access to funds.

If one or more Visa TravelMoney Cards are lost, stolen, or damaged, the Issuer must replace one or
more cards up to the total number of cards originally purchased.

ID#: 021209-150210-0008403



Visa TravelMoney Charges - U.S. Region

In the U.S. Region, Visa assesses Visa TravelMoney charges to the Issuer, as specified in the Visa
U.S.A. Fee Guide.

ID#: 081010-010410-0007320




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Original Credit Transaction

Original Credit Transaction - General Requirements


Original Credit Acceptance (Updated)

Effective through 8 December 2010, an Issuer in a Visa Region that participates in Original Credit
processing must accept an Original Credit, unless prohibited by law. If prohibited by local law, the
Issuer must submit a written request to Visa to block incoming Original Credit processing.

An Issuer may:

• Initiate an Original Credit as an Originating Member
• Receive an Original Credit as a Recipient Member

Effective 9 December 2010, a Member must accept an incoming Original Credit Transaction unless
                        26
prohibited by local law. If prohibited by local law, the Member must submit a written request to Visa
to block incoming Original Credit Transactions.

ID#: 050411-091210-0004062



Original Credit - Permission to Initiate (Updated)

A Member of a Visa Region that participates in Original Credit processing may initiate an Original
Credit Transaction unless prohibited by local law. For a list of participating Regions and permitted
Original Credits applications, see Original Credits Member Requirements and the Visa Money
Transfer (VMT) Global Implementation Guide.

ID#: 050411-010410-0006984



Original Credit - Originating Member Requirements (Updated)

An Originating Member must:

• Register each program that uses an Original Credit with Visa
• Comply with all Visa requirements, as specified in the Visa International Operating Regulations,
  Original Credits Member Requirements, and the Visa Money Transfer (VMT) Global
  Implementation Guide

ID#: 050411-010410-0006985




26
  Effective 9 December 2010, in the U.S. Region, this requirement applies only to incoming Money Transfer Original Credit
Transactions.


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Money Transfer Original Credit

Money Transfer Original Credit – General Requirements


Money Transfer Original Credit Transaction Acceptance (Updated)

Effective 9 December 2010, a Member must accept an incoming Money Transfer Original Credit
Transaction unless prohibited by local law. If prohibited by local law, a Member must submit a written
request to Visa to block incoming Money Transfer Original Credit Transactions. An exception applies
to Members in the U.S. Region as specified in "Money Transfer Original Credit Participation
Requirements - U.S. Region."

ID#: 080411-010100-0026073



Money Transfer Original Credit Participation Requirements - U.S. Region (Updated)

Effective 15 February 2010 through 15 October 2010, upon prior written permission from Visa, a
U.S. Member may participate in Money Transfer Original Credit Program. The U.S. participating
Member:

• May initiate a Money Transfer Original Credit Transaction as an Originating Member
• May accept a Money Transfer Original Credit Transaction as a Recipient Member
• Must comply with the requirements specified in these Operating Regulations and the Visa Money
  Transfer (VMT) Global Implementation Guide

Effective 16 October 2010 through 14 April 2011, a U.S. Visa Debit (including Visa Prepaid) Card
Issuer must accept a Money Transfer Original Credit Transaction unless prohibited by local law.

A participating U.S. Member:

• May initiate a Money Transfer Original Credit Transaction as an Originating Member
• May, at its discretion, accept a Money Transfer Original Credit Transaction to a Visa credit Card as
  a Recipient Member
• Must comply with the requirements specified in the Visa International Operating Regulations and
  the Visa Money Transfer (VMT) Global Implementation Guide
• If prohibited by local law, must submit a written request to Visa to block incoming Money Transfer
  Original Credit processing




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Effective 15 April 2011, a Visa Card Issuer in the U.S. region:

• May initiate a Money Transfer Original Credit Transaction as an Originating Member
• Must accept an incoming Money Transfer Original Credit Transactions unless prohibited by local
  law
• Must comply with the requirements specified in these Operating Regulations and the Visa Money
  Transfer (VMT) Global Implementation Guide
• If accepting a Money Transfer is prohibited by local law, must submit a written request to Visa to
  block incoming Money Transfer Original Credit Transactions

ID#: 081010-150210-0025763



Money Transfer Originating Member Requirements - U.S. Region

Effective 15 February 2010, a U.S. Originating Member must:

• Register with Visa prior to participating in the Money Transfer Original Credit Program
• Validate sender data
• Comply with "Anti-Money Laundering Requirements - U.S. Region"
• Provide proper disclosure to the sender regarding the collection of sender data

ID#: 081010-150210-0025764



Money Transfer Original Credit Transaction Limitations - U.S. Region (Updated)

Effective 15 February 2010, a U.S. Recipient Member must block incoming Money Transfer Original
Credit Transactions for any Cards or accounts where regional or local laws prohibit such
Transactions. The Member must also block incoming Money Transfer Original Credit Transactions for
Visa Prepaid Cards if any of the following:

• The identifying Cardholder data is not on file
• The Visa Prepaid Card only supports load from a single entity (e.g., a Payroll Card or an employee
  benefits Card loaded by an employer)
• The Prepaid Card is Non-Reloadable
Effective 15 February 2010, each Money Transfer Original Credit Transaction must:
• Involve only a single sender and a single recipient
• Must not exceed US $2,500

ID#: 050411-150210-0025765




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Visa Commercial Products

Visa Commercial Products - General Requirements


Commercial Card Issuance

An Issuer:

• May issue Visa Commercial Cards only to provide a means of payment for business-related goods
  and services
• Must not issue a Visa Commercial Card to an individual, except as follows:
  - Employees of public- or private-sector companies, including sole proprietors and self-employed
    individuals
  - Employees or contractors of an organization as part of an employer-sponsored program
  - At the discretion of Visa, members of an affinity group or association that requires a means to
    pay for business-related goods and services and is represented by a public- or private-sector
    company

ID#: 010410-010410-0003173



Commercial Card Certification

At least 30 calendar days before issuing a Visa Commercial Card, an Issuer must submit to Visa
written certification that its programs, systems, procedures, and services comply with the Visa
International Operating Regulations.

ID#: 010410-010410-0003175



BIN Requirements for Commercial Card Programs

An Issuer may establish multiple Visa Commercial Card programs within the same BIN.

An Issuer may use the same BIN for each of the following Visa Card program combinations:

• Silver and gold Visa Business Cards
• Silver and gold Visa Corporate Cards

ID#: 010410-010410-0008230




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BIN Requirements for Program Conversion to Visa Business, Visa Corporate, or Visa
Purchasing Programs

If an Issuer is converting an existing Visa Program to a Visa Business Card, Visa Corporate Card, or
Visa Purchasing Card program, the Issuer may retain its existing BIN range, provided that it is used
exclusively for Visa Business Cards, Visa Corporate Cards, or Visa Purchasing Cards.

ID#: 010410-010410-0003177



Commercial Products BIN Requirements (Updated)

For Commercial Products, an Issuer must not use an unused BIN from a previously assigned BIN
range without submitting a "BIN License Agreement" (available through the Visa Publication Center
on Visa Online) to Visa.

ID#: 050411-010410-0003178



Commercial Products Core Feature Requirements

A Visa Commercial Card Issuer must provide the core features specified in the table below:


Visa Commercial Card Core Feature Requirements

                                                                                             Visa
                                                              Visa           Visa         Purchasing
                                          Visa Business
              Core Feature                                  Business       Corporate         Card
                                               Card
                                                          Electron Card      Card


 ATM Access                                     X                X              X

 Central or Individual Billing                                                  X

 Centralized Billing                                                                          X

 Local Currency Billing                         X                X              X             X

 Service Level Standards                        X                X              X             X

 Charge Card                                                                    X             X

 Limited Corporate Liability                                                    X             X

 Management Information Reporting                                               X             X

 Flexible Transaction Authorization                                                           X

 Individual Memo Statements                                                                   X




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A description of the core features specified in the table above is provided below.

• ATM access - An Issuer must have the ability to offer a PIN to allow ATM Cash Disbursements, if
  requested. This ability is not required for Visa Purchasing Cards and not applicable to Vehicle-
  Specific Fleet Cards.
• Central or individual billing - An Issuer must offer the following billing options:
  - Individual Cardholder billing with individual payment
  - Individual Cardholder billing with centralized company payment
  - Centralized company billing and payment
• Local currency billing - An Issuer must have the ability to bill the subscribing company's
  Cardholders in the local currency of the country where the company and Cardholder physically
  reside
• Service level standards - An Issuer must comply with the mandated referral and approval rates
  specified in the "Maximum Monthly Referral Rates" table and the "Minimum Monthly Approval
  Rates" table
• Charge Card - An Issuer must have the ability to offer a non-revolving, pay-in-full option
• Limited corporate liability - An Issuer must be capable of providing insurance coverage to the
  subscribing company (where available) in the event of Visa Corporate or Visa Purchasing Card
  misuse by employees
• Management information reporting - An Issuer must provide management information reports on
  Card usage to the subscribing company as follows:
  - Detailed Visa Corporate Card spending by vendor, employee, and company organization units
  - Detailed Visa Purchasing Card spending activity necessary to administer a Visa Purchasing
    Card program. Spending activity processing requirements may be defined by Visa.
• Flexible Transaction Authorization - An Issuer must have the ability to restrict a purchase based
  upon a Transaction amount or Merchant Category Code specified by a client
• Individual memo statements - An Issuer must have the ability to send a Transaction verification
  statement to each Cardholder

Additional detailed information regarding insurance availability, options, and features is available from
Visa upon request.

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Commercial Products Core Services

A Visa Commercial Card Issuer must provide to its Cardholders all of the core services specified in
the table below:


Visa Commercial Card Mandatory Core Services

                                                             Visa           Visa            Visa
                Mandatory Core Services                    Business       Corporate      Purchasing
                                                                 1
                                                            Card            Card            Card

 Customer support services, as specified in the "Visa
 Global Customer Assistance Services Program                   X                X            X
 Eligibility Requirements by Product" table

 Medical referral, medical assistance, and                                                  Not
                      2                                        X                X
 emergency services                                                                      applicable

 Legal referral, legal assistance, and cash advance                                         Not
          2                                                    X                X
 services                                                                                applicable

 Free 24-hour telephone number to obtain emergency
 services (Issuer must communicate the telephone               X                X            X
 number to the Cardholder at least once each year)


1. Visa Business Electron Cards must comply with the Visa Global Customer Assistance Services Program
requirements for Visa Electron Cards specified in "Visa Global Customer Assistance Services Program Eligibility
Requirements by Product" table.
2. A variance to this requirement applies in the jurisdiction of Visa Europe.

ID#: 081010-010410-0003185



Visa Commercial Card Enhanced Data - Canada Region

In the Canada Region, a Member or a Member's client participating in the Enhanced Data Service
must comply with the Visa Enhanced Data Member Terms and Conditions, subject to the following
amendments to such Terms and Conditions:

• The first sentence of the preamble will be revised to read: "These Member Terms and Conditions
  apply to Visa International Service Association and Visa Canada's (together "Visa") suite of..."
• Section 6.1 will be revised to read: "Except with respect to the Purchasing Card portion of the
  Enhanced Data Service provided by Visa Canada, Visa will provide..."

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Gold Visa Business Card and Gold Visa Corporate Card Issuance Requirements -
Canada Region

In the Canada Region, participation in the Gold Visa Business Card and/or Gold Visa Corporate Card
programs is optional. However, if a Canada Member participates, it must provide at a minimum the
core services and features required for Visa Gold Cards and Visa Business Cards or Visa Gold Cards
and Visa Corporate Cards (as applicable) as specified in the Visa International Operating
Regulations. A Member may offer enhanced services and features that are greater than the required
core services and features.

ID#: 010410-010410-0008231



Platinum Visa Business Card and Platinum Visa Corporate Card Operating
Regulations - Canada Region

In the Canada Region, all provisions of the Visa International Operating Regulations governing
issuance of Gold Visa Business Cards and Gold Visa Corporate Cards apply to the issuance of
Platinum Visa Business Cards and Platinum Visa Corporate Cards.

ID#: 010410-010410-0006924



Commercial Card Corporate Liability Waiver Insurance - LAC Region (Updated)

In the LAC Region, a Visa Commercial Card Issuer must provide corporate liability waiver insurance
for its Visa Purchasing Cardholders. An LAC Member offering corporate liability waiver insurance to
its Visa Commercial Cardholders will be billed for this benefit through the current integrated
procedures already in place for quarterly Card Service Fees. The cost of this benefit is specified in
the Visa LAC Fee Guide or applicable local fee guide.

This requirement does not apply to Visa Purchasing Cards issued to agriculture businesses in Brazil.

ID#: 050411-010410-0004213



Commercial Visa Product Types - U.S. Region

In the U.S. Region, a Commercial Visa Product Issuer must refer to the Commercial Visa Product as
one of the following types of Cards for business expense use:

• Visa Business Card
• Visa Corporate Card
• Visa Purchasing Card

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Commercial Visa Product BIN Requirements - U.S. Region

A U.S. Issuer must use a unique BIN for each of the following Commercial Visa Product Account
Numbers:

• Visa Corporate Card
• Visa Purchasing Card
• Visa Business Credit Card
• Visa Business Platinum Credit Card
• Visa Signature Business Card
• Visa Business Check Card
• Visa Business Platinum Check Card
• Visa Prepaid Business Card
• Visa Prepaid Corporate Card
• Visa Prepaid Purchasing Card

ID#: 010410-010410-0004215



BIN Requirements for Conversion to Visa Commercial Program - U.S. Region

If a U.S. Issuer is converting an existing business Visa Program to a Commercial Visa Product, the
Issuer may retain its existing BIN if it is used exclusively for a Commercial Visa Product after notifying
Visa of the conversion.

ID#: 010410-010410-0004218



Commercial Visa Products - Issuer Certification - U.S. Region (Updated)

Before issuing Commercial Visa Products, a U.S. Issuer must:

• Submit to Visa:
  - Written certification that its programs, systems, procedures, and services comply with the Visa
    International Operating Regulations
  - A completed implementation checklist signed by an authorized officer of the Member, as
    specified in the implementation materials available from Visa upon request
• Demonstrate that it meets the minimum processing standards, including requirements specified in
  the implementation materials available from Visa upon request
• Receive Visa acknowledgment that Visa received the completed checklist
• Pay the one-time certification fee, as specified in the Visa U.S A. Fee Guide

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Commercial Visa Product Enhancements - U.S. Region

In the U.S. Region, a Commercial Visa Product Issuer must comply with the benefit requirements in
the Visa Enhancements Resource Guide.

ID#: 010410-010410-0004224



Commercial Visa Products for Client Organizations - U.S. Region

A U.S. Issuer that currently services Client Organizations with other Visa Programs is not required to
convert its existing Cards to a Commercial Visa Product. However, the Issuer must convert the Cards
to a Commercial Visa Product in order to receive the associated benefits.

ID#: 010410-010410-0004227



Commercial Visa Products Issuance Standards and Fines - U.S. Region

In the U.S. Region, a Commercial Visa Product Issuer must comply with the issuance standards
specified in the:

• Visa International Operating Regulations
• Commercial Visa Product implementation materials available from Visa

A U.S. Issuer that knowingly violates these standards in order to obtain Commercial Visa Product
benefits is subject to fines equal to 3 times the amount of the benefits attributable to the violation, as
calculated by Visa.

ID#: 010410-010410-0008820



Commercial Card Core Feature Descriptions - U.S. Region

For U.S. Issuers, a description of the core features specified in "Visa Business Card Requirements -
U.S. Region," "Visa Corporate Card Core Features - U.S. Region," "Visa Purchasing Card Core
Features - U.S. Region," and "Visa Meetings Card Core Features - U.S. Region" is provided below:

• ATM access - An Issuer must have the ability to offer a PIN to allow ATM Cash Disbursements, if
  requested, and comply with the requirements for participation in the Visa ATM Network
• Central or individual billing - An Issuer must offer individual Cardholder billing or centralized
  company billing
• Charge Card option - An Issuer must offer a non-revolving, pay-in-full option
• Individual memo statements - An Issuer must send Transaction verification statements to each
  Cardholder when the Client Organization participates in the centralized company billing option
• Limited corporate liability - An Issuer must provide insurance coverage to the Client Organization
  (where available) in the event of Commercial Visa Product misuse by employees. Additional
  detailed information regarding insurance availability, options, and features is available from Visa
  upon request.




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• Visa business management information reports - A Visa Business Card Issuer may offer
  management information reporting. If an Issuer offers management information reporting, it must
  offer the reports as specified in the Visa Business Implementation Guide.
• Visa corporate management information reports - An Issuer must provide management information
  reports on Visa Corporate Card usage to the Client Organization as follows:
  - Detailed Visa corporate spending by vendor, employee, and company organization units
  - In formats and distribution agreed upon by the Issuer and the Client Organization

ID#: 010410-010410-0004237



Visa Meetings Card


Visa Meetings Card Requirements

A Visa Meetings Card Issuer must comply with the requirements specified in the Visa Product Brand
Standards and Visa Meetings Card Implementation Guide.

ID#: 010410-010410-0004229



Visa Meetings Card Core Features

A Visa Meetings Card Issuer must offer all of the core features described in "Commercial Products
Core Feature Requirements" except for billing, where only centralized company billing and payment
may be offered.

ID#: 010410-010410-0004230



Visa Meetings Card Core Services

A Visa Meetings Card Issuer must offer the core services described for a Visa Corporate Card in the
"Visa Commercial Card Mandatory Core Services" table.

ID#: 010410-010410-0004231



Visa Meetings Card Customer Support Services

A Visa Meetings Card Issuer must offer the customer support services described for a Visa Corporate
Card in the "Visa Global Customer Assistance Services Program Eligibility Requirements by Product"
table.

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Visa Meetings Card BIN

A Visa Meetings Card Issuer must assign either:

• A specific Visa Corporate Card or Visa Purchasing Card BIN
• An account range within an existing Visa Corporate Card or Visa Purchasing Card BIN

ID#: 010410-010410-0004233



Visa Meetings Card BIN - U.S. Region

A U.S. Issuer offering Visa Meetings Cards must either:

• Use a BIN from the BIN range reserved for Purchasing Cards
• Use an Account Number range within an existing Visa Purchasing Card BIN

ID#: 010410-010410-0004334



Visa Meetings Card Core Features - U.S. Region

In the U.S. Region, a Visa Meetings Card Issuer must provide all of the core features specified below,
as described in "Commercial Card Core Feature Descriptions - U.S. Region" except for billing, where
only centralized company billing and payment may be offered:

• ATM access
• Central billing
• Charge Card option
• Individual memo statements
• Limited corporate liability

ID#: 010410-010410-0004335



Visa Meetings Card Authorization Processing - U.S. Region

In the U.S. Region, a Visa Meetings Card Issuer must have the ability to decline an Authorization
Request based on the following factors, if the Client Organization has specified these or other factors:

• Merchant Category Code
• Transaction amount
• Location of Merchant Outlet

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Prepaid Commercial


Commercial Visa Prepaid Product Requirements

A Commercial Visa Prepaid Product Issuer must comply with the:

• Visa Prepaid Card requirements
• General Visa Commercial Card requirements specified in the Visa International Operating
  Regulations

ID#: 081010-010100-0025575




Visa Commercial Business Products

Commercial Business Products General Requirements


Visa Business Card Issuers - AP Region

In the AP Region, a new Visa Business Card Issuer must provide, in addition to the core features
specified in "Commercial Products Core Feature Requirements," all the core features specified in this
section.

An existing Visa Business Card Issuer must comply with all of the following core feature requirements
for all Cards in circulation:

• Central or individual billing
• Limited corporate liability
• Travel accident insurance
• The core features specified above and in "Visa Business Debit Card Core Features - AP Region"
  are described as follows:
• Limited corporate liability - An Issuer must provide insurance coverage to the subscribing company
  (where available) in the event of Visa Business Card misuse by employees. However, this is
  applicable only to accounts with 2 or more Cards.
• Travel Accident Insurance - An Issuer must provide insurance coverage for loss of life or
  permanent injury to Cardholders from an accident occurring on transport, if the transport was paid
  for using the Visa Business Card
• Monthly reporting on individual Cardholder activity - An Issuer must provide a statement or
  information reports that show detailed Visa Business Debit Card spending by employee

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Visa Commercial Card Program Requirements - CEMEA Region

In the CEMEA Region, a Visa Business Card Issuer must comply with the Visa Business
Implementation Guide.

A Visa Business Card or Visa Corporate Card Issuer must comply with the Global Customer
Assistance Services Member Guide - CEMEA Region.

ID#: 010410-010410-0008232



Visa Business Card Spending Limit - CEMEA Region (Updated)

In the CEMEA Region, a Visa Business Card Issuer must offer its Cardholder a minimum spending
limit of US $5,000.

A variance to this requirement applies to Members in Afghanistan and Pakistan.

ID#: 050411-010410-0004190



Visa Business/Visa Corporate Card Emergency Services - CEMEA Region

In the CEMEA Region, a Visa Business Card or Visa Corporate Card Issuer must provide the
following emergency services to its Cardholders at no extra cost. Information about these core
services is available from Visa upon request.

Emergency medical referral services must include:

• 24-hour medical assistance worldwide
• Referral service to medical specialists abroad
• Cash advance for hospital admission deposit
• Referral to agency for dispatch of medicines or medical equipment

Emergency legal referral services must include:

• 24-hour referral service to a legal advisor worldwide
• Bail bond assistance (payment of bail or emergency legal fees by an appointed agent)

ID#: 010410-010410-0008247




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Visa Business/Visa Corporate Card Travel Assistance Services - CEMEA Region

In the CEMEA Region, a Visa Business Card or Visa Corporate Card Issuer must provide the
following travel assistance services to its Cardholders:

• Travel delay
• Baggage delay
• Document replacement
• Emergency message service
• Lost/Stolen Card Reporting Service
• Hotel Reservation Service

ID#: 010410-010410-0006958



Visa Business Card Requirements - U.S. Region

In the U.S. Region, a Visa Business Card Issuer must:

• Provide ATM access, as described in "Commercial Card Core Feature Descriptions - U.S. Region"
• Adhere to service level standards specified in the implementation materials available from Visa
  upon request

ID#: 010410-010410-0004247



Visa Business Card Management Information Reporting - U.S. Region

In the U.S. Region, a Visa Business Card Issuer may offer management information reporting. If an
Issuer offers management information reporting, it must offer the reports as specified in the Visa
Business Implementation Guide.

ID#: 010410-010410-0004248



Visa Business Card Account Billing Options - U.S. Region

A U.S. Issuer may offer its Visa Business Card Cardholders any of the following account billing
options:

• Line of credit
• Depository account
• Other company assets available through the Issuer
• Charge Card (non-revolving, pay-in-full)

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Visa Business Platinum Cards


Visa Business Platinum Credit and Visa Business Platinum Check Card Customer
Service Telephone Number - U.S. Region

A U.S. Issuer that issues a Visa business platinum credit or Visa Business Platinum Check Card must
provide all of its Cardholders with a telephone number for obtaining customer service, 24 hours a day,
7 days a week.

ID#: 010410-010410-0004249



Visa Business Gold Cards


Visa Business Gold Card Requirements - CEMEA Region

In the CEMEA Region, Visa Business Gold Card Issuers must comply with the Visa Business
Implementation Guide.

ID#: 010410-010410-0004192



Visa Signature Business Cards


Visa Signature Business Card Issuance – AP Region (New)

Effective 1 January 2011, at the option of Visa, an AP Issuer may offer a Visa Signature Business
Card, subject to trademark availability. The Visa Signature Business Card may be issued:

• With charge or credit capability
• To Cardholders who meet a preset minimum annual retail sales volume spend threshold. The
  qualifying level of annual retail sales volume spend will be specified for each individual country in
  which Visa Signature Business Cards are issued. If more than 15% of the accounts in an Issuer's
  portfolio does not meet the spend threshold, the Issuer will be required to implement spend
  stimulation programs in consultation with Visa.

ID#: 050411-010111-0026093



Visa Signature Business Card BIN Requirements – AP Region (New)

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must use a unique
BIN for its Visa Signature Business Card Account Numbers and not share an account range of a non-
Visa Signature Business BIN.

A Visa Signature Business Issuer must not reclassify a BIN to represent a product other than a Visa
Signature Business Card without permission from Visa.

ID#: 050411-010111-0026094




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Visa Signature Business Card Spending Limit – AP Region (Updated)

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer may choose either of
the following spending limit options:

• No pre-set spending limit for purchase Transactions, subject to local law requirements
• A Minimum Spending Limit of US $15,000, or local currency equivalent, for Transactions during
  each statement cycle

The Visa Signature Business Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

The Visa Signature Business Issuer may allow a Visa Signature Business Cardholder the option to
either:

• Pay in full each statement cycle
• Revolve

If positioned as a revolving product, the Issuer must permit a minimum revolving balance of at least
US $10,000 during each statement cycle.

ID#: 090411-010111-0026095



Visa Signature Business Card Rewards Program Requirements – AP Region (New)

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must offer a rewards
program to its Visa Signature Business Cardholders.

The Visa Signature Business rewards program must offer a minimum rewards earn rate equal to the
rate offered by the same Issuer for a consumer Visa Signature Card in the same country or region, or
the applicable country consumer Visa Signature minimum rewards rate, whichever is higher.

The Issuer must, at a minimum, notify Cardholders about reward points earned quarterly, via a
regular billing statement or a stand-alone statement.

ID#: 050411-010111-0026096



Visa Signature Business Card Reporting Services – AP Region (New)

Effective 1 January 2011, an AP Issuer must provide Visa Signature Business Cardholders with at
least annual reporting that includes:

• Total annual amount spent by Cardholder or company
• Summary of spending by Merchant category

The Issuer may either provide the reporting in-house or through Visa IntelliLink Spend Management.

ID#: 050411-010111-0026097



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Visa Signature Business Card Authorization Requirements – AP Region (Updated)

Effective 1 January 2011, except as specified in "Visa Signature Business Card Spending Limit - AP
Region" a Visa Signature Business Issuer in the AP Region must not decline a Transaction for
exceeding a pre-set spending limit of any kind.

The Visa Signature Business Card Issuer must decline or refer Transactions, only as specified in the
following table:


Visa Signature Business Card Allowable Decline and Referral Reasons

                                                                                  Allowable          Allowable
                                Circumstances                                     Reason for         Reason for
                                                                                   Decline            Referral

 Card used fraudulently                                                                 X

 Following a referral, Issuer determines fraudulent situation                           X

 Following a completed referral, Issuer determines likelihood of default                X

 Transaction is out of compliance with Cardholder agreement                             X

 Cardholder notified to stop using Card, and account suspended or closed                X

 Issuer elected to decline all Transactions routed to International Automated           X
 Referral Service (IARS) Stand-In Processing; decline is the result of Issuer
 unavailability

 Over-limit on Cash Disbursements (unless Issuer is providing no pre-set                X
 cash limits)

 Over-limit on Emergency Replacement Card (unless Issuer is providing no                X
 pre-set spending on Emergency Replacement Card)

 Over-limit on Emergency Cash (unless Issuer is providing no pre-set cash               X
 limits on Emergency Cash)

 Issuer credit policy determines the likelihood of default                                                 X

 Card used before activation                                                                               X

 Delinquent account, but otherwise in good standing                                                        X

 Delinquent account, account meets Issuer criteria to close/suspend prior to                               X
 Cardholder notification


ID#: 080411-010111-0026098




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Visa Signature Business Card Delinquent Accounts – AP Region (New)

Effective 1 January 2011, for Cards with no pre-set spending limit, a Visa Signature Business Card
Issuer in the AP Region must provide notification to the Cardholder before ongoing Transactions can
be declined.

ID#: 050411-010111-0026099



Visa Signature Business Card - Other Requirements – AP Region (New)

Effective 1 January 2011, at a minimum, a Visa Signature Business Issuer in the AP Region must
provide access to a customer service agent 24 hours a day, 7 days a week.

A Visa Signature Business Issuer must:

• Provide advance notification to the Cardholder when an account needs to be suspended or closed
  for any reason
• Monitor customer complaints related to Transaction Authorizations
• Identify action plans to improve customer service
• Make customer complaint information available to Visa

ID#: 050411-010111-0026100



Visa Signature Business Card Core Services – AP Region (New)

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must offer to its
Cardholders all Visa Business Card core features specified in the AP Regional Operating
Regulations.

ID#: 050411-010111-0026101



Visa Signature Business Card Marketing Support – AP Region (New)

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer intending to distribute
Merchant partnership or emergency services material to its Cardholders must receive written
approval from Visa prior to such distribution.

ID#: 050411-010111-0026102




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Visa Signature Business Card Additional Core Services – AP Region (Updated)

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must also provide the
following services:

• One or more insurance options that the Issuer may choose to apply, with a unit cost per premium
  that matches or exceeds the current unit cost of providing US $500,000, or local currency
  equivalent travel accident insurance, except where prohibited by local law. The Issuer must submit
  to Visa in writing, an official quote from an insurance company, for both the travel accident
  insurance and the proposed new features, at least 30 calendar days prior to its implementation.
• Emergency medical evacuation and repatriation services
• Emergency medical insurance when traveling, with medical expense benefit up to US $25,000, or
  local currency equivalent
• Concierge Services assistance available through a customer service attendant by telephone 24
  hours a day, 7 days a week, and offered in key international travel markets. The minimum services
  required are travel information and assistance, including:
  - Emergency travel arrangement provisions
  - Passport, visa and customs information
  - Country and major city information
  - Translation and message assistance
  - Transportation information
  - Restaurant, health club, entertainment events, shopping information and assistance with gift
    arrangement
  - ATM location guide
  - Weather forecast
  - Business Services

The Issuer must communicate the following Visa Signature Business Privileges Program information
to Cardholders:

• Visa Signature Business Privileges benefits at least once a year
• New benefits or changes to existing benefits, or exclusive quarterly Merchant offers at least 2
  months prior to the effective date of Visa Signature Business Merchant Privileges

ID#: 080411-010111-0026103



Visa Signature Business Card Emergency Assistance Services – AP Region (New)

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must:

• Provide a free 24-hour telephone number where emergency service can be accessed
• Communicate the telephone number to the Cardholder annually

ID#: 050411-010111-0026104




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Visa Signature Business Card Global Customer Care Services – AP Region (New)

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must participate in the
following Visa Global Customer Care Services:

• Lost/Stolen Card Reporting Service
• Cardholder Inquiry Service
• Emergency Cash Service
• Emergency Card Replacement Service
• Emergency Payment Authorization Service

ID#: 050411-010111-0026105



Visa Signature Business Card Issuance - U.S. Region

In the U.S. Region, a Visa Signature Business Issuer must:

• Complete the certification form included in the Visa Signature Business Product and
  Implementation Guide
• Comply with the requirements specified in the Visa Enhancements Resource Guide
• Comply with the Visa Business Signature requirements specified in the U.S. Regional Operating
  Regulations

ID#: 010410-010410-0008274



Visa Signature Business Card BIN Requirements - U.S. Region

In the U.S. Region, a Visa Signature Business Issuer must:

• Use a unique BIN assigned to it by Visa for its Visa Signature Business Account Numbers and
  either:
  - Choose a BIN from a BIN range previously assigned
  - Request a new BIN assignment
• If using a previously assigned BIN, notify Visa of the selected BIN before issuing any Visa
  Signature Business Cards

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Visa Signature Business Card Spending Limits and Payment Options - U.S. Region

In the U.S. Region, a Visa Signature Business Issuer:

• Must issue its Visa Signature Business Cards with no pre-set spending limit for purchase
  Transactions
• May allow the Visa Signature Business Cardholder the option to either:
  - Pay in full each statement cycle
  - Revolve

The Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

ID#: 081010-010410-0008276



Visa Signature Business Card Minimum Revolving Balance - U.S. Region

If a U.S. Issuer positions a Visa Signature Business Card as a revolving product, it must permit a
minimum revolving balance during each statement cycle.

ID#: 010410-010410-0004261



Visa Information Source Select - U.S. Region

In the U.S. Region, a Visa Signature Business Issuer must offer Visa Information Source (VIS) Select
as a core service of a Visa Signature Business Card. With prior written approval from Visa, a Visa
Signature Business Issuer may offer an equivalent daily transaction reporting service that allows a
Cardholder to obtain the minimum level data and reporting features, as specified in the Visa
Signature Business Product and Implementation Guide.

ID#: 010410-010410-0004273


Visa Signature Business Card Rewards Program - U.S. Region

In the U.S. Region, a Visa Signature Business Issuer must:

• Offer a rewards program to its Visa Signature Business Cardholders in accordance with the
  requirements specified in the Visa Signature Business Product and Implementation Guide
• Notify Cardholders, at least quarterly, via billing statement or standalone statement regarding
  reward points earned during the relevant period

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Visa Signature Business Card Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, the Visa Business Card Interchange Reimbursement Fees apply to a Visa
Signature Business Transaction.

ID#: 010410-010410-0004277



Visa Signature Business Cardholder Notification - U.S. Region

In the U.S. Region, a Visa Signature Business Issuer must provide notification to the Cardholder:

• Before ongoing Transactions may be declined
• When an account needs to be suspended or closed for any reason

ID#: 010410-010410-0004278



Visa Signature Business Card Customer Service Telephone Number - U.S. Region

Each U.S. Issuer of a Visa Signature Business Card must provide a toll-free telephone number of its
own customer service center where the Cardholder:

• May obtain customer service 24 hours a day, 7 days a week
• Is given an early and ongoing option to talk to a knowledgeable representative, if an automated
  response menu is used

ID#: 010410-010410-0004279



Visa Signature Business Card Enhanced Billing Support Resolution Services - U.S.
Region

In the U.S. Region, a Visa Signature Business Issuer must provide enhanced billing support
resolution services, as specified in the Visa Signature Business Product and Implementation Guide.

ID#: 010410-010410-0004280



Visa Signature Business Cardholder Information - U.S. Region (Updated)

Each U.S. Issuer must offer its Cardholders, during the application process for a Visa Signature
Business Card, the option to have their personal information kept confidential.

• If this option is selected, the Issuer must not provide Cardholder or account details to external
  organizations for the purpose of marketing mailing lists, products, or services, except to provide
  Visa Signature Business Card services specified in applicable sections of the Visa International
  Operating Regulations, Visa Signature Business Product and Implementation Guide, and the Visa
  Enhancements Resource Guide, as permitted by law
• The Issuer may, for Affinity Card accounts, disclose that this option does not apply to the Affinity
  Partner

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Liability for Visa Signature Business Card Transactions - U.S. Region

In the U.S. Region, upon receipt of notification from its Cardholder of unauthorized Visa Signature
Business Transactions, an Issuer must limit the Cardholder's liability for those Transactions to zero.

The Issuer may require the notification to be received within 60 calendar days of the mailing date of the
first statement showing unauthorized Visa Transactions.

The Issuer may increase the limit of the Cardholder's liability for unauthorized Transactions if it
reasonably determines, based on substantial evidence, that the Cardholder was grossly negligent in
the handling of the account or Card.

The Issuer may define an unauthorized Visa Transaction to exclude any Transaction allegedly
conducted by:

• A business co-owner
• The Cardholder or person authorized by the Cardholder
• Any other person with an interest in or authority to transact business on the account

ID#: 010410-010410-0008290



Visa Business Check Cards


Definition of Visa Business Check Card - U.S. Region

In the U.S. Region, Visa reserves the right to determine the application of the definition of the Visa
Business Check Card.

ID#: 010410-010410-0004255



Visa Business Check Card Account Access - U.S. Region

In the U.S. Region, a Visa Business Check Card may be used to access a deposit, investment, or
other business asset account, including a fiduciary account.

ID#: 010410-010410-0004252



Visa Business Check Card Limitations - U.S. Region

In the U.S. Region, a Visa Business Check Card must not be used to obtain credit, as defined in 12
CFR Part 226 (Regulation Z), unless it involves only an incidental extension of credit under an
agreement between the Cardholder and the Issuer either:

• When the Cardholder's account is overdrawn
• To maintain a specified minimum balance in the Cardholder's account




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For Interchange category purposes, a Visa Business Check Card used to obtain credit, as specified
above, is not considered a Visa Business Check Card if:

• Actual debiting of funds from the business asset account occurs periodically rather than daily
• These periods are at least 7 days apart

ID#: 010410-010410-0008304



Visa Business Check Card Provisional Credit for Disputed Transactions - U.S. Region

Upon receipt of notification from its Cardholder of unauthorized Visa Transactions, a U.S. Issuer must
provide provisional credit to the Cardholder's account within 5 business days of the notification. The
Issuer may:

• Require written confirmation from the Cardholder before providing provisional credit
• Withhold provisional credit, to the extent allowed under applicable law, if the Issuer determines that
  the circumstances or account history warrant the delay

ID#: 010410-010410-0004256



Visa Business Electron Cards


Visa Business Electron Card Issuer Requirements

A Visa Business Electron Card Issuer must:

• Offer Visa Electron Program features specified in "Visa Electron Program Features." The Issuer
  must not offer Visa Card program features.
• Comply with the physical Card design requirements for Visa Electron Cards specified in the Visa
  Product Brand Standards
• Comply with the Visa Global Customer Assistance Services Program requirements for Visa
  Electron Cards specified in the "Visa Global Customer Assistance Services Program Eligibility
  Requirements by Product" table
• Ensure that the Card contains the Service Code for Visa Electron Cards, requiring Online
  Authorization

In the LAC Region, Issuers may issue Visa Corporate Electron Cards and Visa Purchasing Electron
Cards.

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Visa Business Electron Card Requirements - CEMEA Region

In the CEMEA Region, an Issuer of Visa Business Electron Cards that are restricted to domestic use
only is exempt from the requirements in "Visa Business/Visa Corporate Card Travel Assistance
Services - CEMEA Region," but may implement these requirements at its discretion.

ID#: 010410-010410-0004760



Visa Business Debit Cards - AP Region


Visa Business Debit Card Core Features - AP Region

In the AP Region, a Visa Business Debit Card Issuer must provide the following core features:

• ATM Access
• Service level standards
• Monthly reporting on individual Cardholder activity
• Limited corporate liability

These core features are described in "Visa Business Card Issuers - AP Region."

ID#: 010410-010410-0004176



Visa Infinite Business Cards - Canada Region


Visa Infinite Business Cards Issuer Requirements - Canada Region (Updated)

A Canada Issuer must offer a Visa Infinite Business Card with the highest purchasing power available
within a Member's Visa Card portfolio.

A Canada Issuer may offer its Visa Infinite Business Cardholders with charge or credit capability.

At a minimum, a Canada Issuer must provide to its Visa Infinite Business Cardholders access to a
customer service agent 24 hours a day, 7 days a week.

In the Canada Region, a Visa Infinite Business Issuer must:

• Provide advance notification to the Cardholder when an account needs to be suspended or closed
  for any reason
• Monitor customer complaints related to Transaction Authorizations
• Identify action plans to improve customer service
• Make customer complaint information available to Visa




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In the Canada Region, a Visa Infinite Business Issuer must offer some form of Transaction reporting
service that allows its Visa Infinite Business Cardholders to obtain minimum Transaction level data as
approved by Visa.

ID#: 050411-011109-0025615



Visa Infinite Business BIN Requirements - Canada Region (Updated)

In the Canada Region, an Issuer must use a unique BIN for its Visa Infinite Business Card Account
Numbers and not share a BIN range.

The Issuer must not reclassify a BIN to represent a product other than the Visa Infinite Business Card
without prior permission from Visa.

ID#: 050411-010100-0025616



Visa Infinite Business Spending Limits - Canada Region

A Visa Infinite Business Card Issuer may use either of the following spending limit options:

• No pre-set spending limit
• A minimum credit limit

The Visa Infinite Business Card Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

ID#: 081010-011109-0025617



Visa Infinite Business Authorization Requirements - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Card Issuer must only decline or refer Visa Infinite
Business Transactions, as specified in "Visa Infinite Card Allowable Decline and Referral Reasons."
In the Canada Region, an Issuer must not decline a Visa Infinite Business Transaction for exceeding

In the Canada Region, an Issuer must not decline a Visa Infinite Business Transaction for exceeding
a pre-set limit of any kind. Transactions must be approved or declined based on:

• The absence of suspected fraud
• The Cardholder's spending pattern
• Issuer determination of the likelihood of default
• Issuer safety and soundness considerations

ID#: 050411-011109-0025618




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Visa Infinite Business Delinquent Account - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Issuer must provide notification to a Visa Infinite
Business Cardholders with no pre-set spending limit before ongoing Transactions can be declined.

ID#: 050411-011109-0025619



Visa Infinite Business Cardholder Qualifications - Canada Region (Updated)

In the Canada Region, to qualify as a Visa Infinite Business Cardholder, the Cardholder must
demonstrate a minimum annual spend of CAD $36,000 per year or greater.

ID#: 050411-011109-0025620



Visa Infinite Business Rewards Program Requirements - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Card Issuer must offer a rewards program to its Visa
Infinite Business Cardholders.

The Visa Infinite Business rewards program must offer a minimum rewards earn rate equal to either:

• The rate offered by the same Issuer for a Consumer Visa Infinite Card Program
• The rate offered by a peer Issuer for a consumer Infinite or Business Infinite card upon approval by
  Visa

The Issuer must, at a minimum, notify Cardholders monthly via a billing statement or a standalone
statement regarding reward points earned during the relevant period.

ID#: 050411-011109-0025621



Visa Infinite Business Web Services - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Issuer must provide Web services through Visa or
other provider of choice with the following minimum standards:

• Provide a description of Visa Infinite Business Card services, benefits, and features
• Provide a detailed listing of the Visa Infinite Business Exclusive Privileges Merchant partner offers
• Include the following minimum value-added content and services for travel and entertainment:
  - Travel content that supports the Visa Infinite Business product positioning that is not readily
    available from other sources
  - Online concierge service, offered by Visa or Issuer's Visa Infinite product

ID#: 050411-011109-0025622




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Visa Infinite Business Core Features - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Card Issuer must offer all of the following core
features:

• ATM access
• Local currency billing
• Service level standards
• Information reporting
• Flexible Transaction Authorization
• Individual statements
• In addition a Visa Infinite Business Card Issuer must provide a minimum of 2 offers from the
  categories below:
  - Office supplies
  - Office equipment
  - Office leasing/rentals
  - Computers/electronics
  - Telecommunications
  - Business services
  - Business education
• And provide a minimum of 3 offers from the list below:
  - ID theft restoration
  - ID theft insurance
  - VIP hotel program
  - VIP dining program
  - VIP retail and entertainment
  - Companion Airline ticket
  - Payment protection insurance
  - Price protection insurance
  - Preferred Rate on health/dental insurance
  - Access to VIP airline lounges
  - 15 Days Emergency Travel Medical Insurance
  - Travel Accident Insurance

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Visa Infinite Business Core Services - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Card Issuer must offer to its Cardholders all of the
core services specified in "Commercial Products Core Services."

ID#: 050411-011109-0025624



Visa Infinite Business Global Support Services - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Card Issuer must:

• Be available to respond to a request from the Emergency Payment Authorization Service 24 hours
  a day, 7 days a week
• Provide all needed information, and a decision to approve or deny the request during the initial
  telephone or fax contact with the Visa Global Customer Care Services (GCCS)
• If providing the service directly to the Cardholder, contact the Merchant to verify the circumstances,
  explain the service, and complete the Transaction
• Send a fax or email to the Merchant that includes the Cardholder name, Account Number,
  expiration date, Authorization Code, and Transaction amount

ID#: 050411-011109-0025625



Visa Infinite Business Emergency Services - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Card Issuer must offer the following services through
the Visa Global Customer Assistance Service or directly through the Issuer customer service center:

• Lost/Stolen Card Reporting Service
• Cardholder Inquiry Service
• Emergency Cash Service
• Emergency Card Replacement Service
• Emergency Payment Authorization Service

ID#: 050411-011109-0025626



Visa Infinite Business Customer Service Telephone Number - Canada Region
(Updated)

In the Canada Region, a Visa Infinite Business Issuer must:

• Provide a free 24-hour telephone number where emergency service can be accessed
• Communicate the telephone number to the Cardholder annually

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Visa Infinite Business Card Replacement and Emergency Cash Disbursement -
Canada Region

In the Canada Region, an Issuer must provide to an Eligible Cardholder an Emergency Cash
Disbursement or an Emergency Card Replacement, directly or through an agent, within the following
time frames:

• Within the U.S. and Canada, within 24 hours
• Outside the U.S. and Canada, within 1 business day

ID#: 081010-011109-0025628



Visa Infinite Business Stand-In Processing Limits - Canada Region (Updated)

In the Canada Region, a Visa Infinite Business Card Issuer must enforce a spending limit of CAD
$10,000 on Stand-In Processing Accounts for Visa Infinite Business.

ID#: 050411-011109-0025629



Visa Cargo - LAC Region


Visa Cargo Issuer Requirements - LAC Region (Updated)

In the LAC Region, an LAC Issuer may issue a Visa Cargo Card as one of the following:

• Effective through 10 November 2010, Visa Commercial Reloadable non-Personalized Visa
  Prepaid Card
• Effective 11 November 2010, Commercial Visa Prepaid Product
• Visa Business Electron Card

The Issuer may issue Visa Cargo Cards in the LAC Region, with the optional applications:

• Visa credit Card
• Visa Vale Pedagio

Visa Cargo Card Issuers must comply with the regulations of each product and application associated
with the Visa Cargo Card.

ID#: 050411-121109-0025631




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Visa Cargo Issuer Reporting Requirements - LAC Region (Updated)

An LAC Issuer offering Visa Cargo Cards, including Cards with multi-application functionality,
combining a Visa Cargo Card with a credit Card or a Visa Vale Pedagio Card, must report through the
Quarterly Operating Certificate the following information:

• Total number of Visa Cargo Cards
• Total number of Visa credit Cards
• Total number of Visa Vale Pedagio Cards
• Total number of Transactions processed by each BIN for each application
• Total payment, ATM and Cash Disbursement volume, in its local currency, processed by each BIN
  for each application

ID#: 050411-121109-0025632



Visa Cargo Core Services - LAC Region (Updated)

In the LAC Region, an option for Insurance Coverage to be used with the Visa Cargo Card product is
specified in the table below:


Visa Cargo Options for Insurance Coverage - LAC Region

                  Package                                             Coverage

 Everyday Visa Cargo Spend Package          • Hotel Motel Burglary
                                            • Extended Warranty Insurance
                                            • Purchase Protection
                                            • Price Protection


The fees related to Visa Cargo Cards and the optional insurance coverage are specified in the Visa
LAC Fee Guide.

ID#: 050411-121109-0025633



Visa Cargo BIN - LAC Region (Updated)

An LAC Issuer must use a specific BIN or a separate and unique account range for its Visa Cargo
Card.

ID#: 050411-121109-0025634




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Visa Commercial Purchasing Products

Purchasing Cards - General


Enhanced Data BIN Requirements

A Visa Purchasing Card Issuer choosing to receive enhanced (level 2 and level 3) data from a
Merchant must either:

• Use an enhanced data BIN assigned by Visa from a specified Visa Purchasing Card BIN range
• Designate an account range within an enhanced data Visa Purchasing Card BIN

ID#: 010410-010410-0004156



Visa Purchasing Card Acquirer Requirements - CEMEA Region

A Visa Purchasing Card Acquirer in the CEMEA Region must comply with the Visa Purchasing Card
Programme Guide - CEMEA Region.

ID#: 010410-010410-0005380



Visa Purchasing Card BIN Range - U.S. Region

A U.S. Issuer offering Visa Purchasing Cards must use a BIN from the BIN range reserved for Visa
Purchasing Cards.

ID#: 010410-010410-0004216



Visa Purchasing Card Core Features - U.S. Region

A Visa Purchasing Card Issuer in the U.S. Region must provide all of the core features specified
below and as described in "Commercial Card Core Feature Descriptions - U.S. Region":

• Central or individual billing options
• Charge Card option
• Individual memo statements

ID#: 010410-010410-0004307




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Visa Purchasing Card Transaction Data Reporting - U.S. Region

A Visa Purchasing Card Issuer in the U.S. Region must accumulate and report Transaction data, as
specified in the Visa U.S.A. Inc. Merchant Profile Service Reference Manual. At a minimum, the
Issuer must:

• Accumulate Transaction data
• Match Transaction data to Merchant profiles
• Report to the Client Organization all Transactions and all Merchant profile information, both
  matched and unmatched

ID#: 010410-010410-0004309



Visa Purchasing Card Authorization Contact - U.S. Region

A Visa Purchasing Card Issuer in the U.S. Region must have an Authorization referral contact that is
available to provide an immediate Authorization Response 24 hours a day, 7 days a week.

ID#: 010410-010410-0004311



Visa Purchasing Card Selective Authorization - U.S. Region

A Visa Purchasing Card Issuer in the U.S. Region may decline an Authorization Request based on
the following factors, if the entity to which the Card has been issued has specified these or other
factors:

• Merchant Category Code
• Transaction size
• Location of Merchant Outlet

ID#: 010410-010410-0004314



Visa Purchasing Card Transaction Data Requirements

An Acquirer accepting a Visa Purchasing Card Transaction must provide an Issuer with any
Cardholder reference data or other relevant Transaction information supplied by a Merchant.

ID#: 010410-010410-0008893




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Visa Fleet Cards


Visa Fleet Card Issuance and Usage

A Vehicle-Specific Fleet Card must:

• Be limited to purchases of fuel and vehicle maintenance
• Be assigned to a vehicle rather than an individual

Issuers of Fleet Service-enhanced Visa Commercial Cards should use a unique BIN range assigned
by Visa.

ID#: 010410-010410-0004163



Visa Fleet Card - Enhanced Data

An Acquirer that contracts with a Merchant to accept a Fleet Service-enhanced Visa Commercial
Card must provide an Issuer with the enhanced data if provided by its Merchants in the Authorization
and Clearing Record.

Enhanced data may include:

• Driver identification (Authorization Request)
• Fuel type (Clearing Record)
• Fuel quantity (Clearing Record)
• Fuel price-per-unit (Clearing Record)

ID#: 010410-010410-0008894



Fleet Service Data Requirements - U.S. Region

An Acquirer that processes Visa Fleet Service Transactions must provide both Cardholder-supplied
data and supplemental Transaction data for such Transactions, as specified in the appropriate
VisaNet manuals.

Additional Commercial Card Data for a Visa Fleet Service fuel purchase Transaction in the U.S.
Region consists of:

• Sales tax
  - Local tax
  - Local tax included indicator
• Accounting code (i.e., customer code)




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• Fuel type
• Unit of measure
• Quantity
• Gross fuel price

ID#: 010410-010410-0008912



Visa Fleet Card Enhanced Data Requirements

An Issuer of Fleet Service-enhanced Visa Commercial Cards must be capable of generating reports
containing enhanced data when provided by the Acquirer.

ID#: 010410-010410-0004164



Liability for Visa Fleet Card Transactions

An Issuer of Fleet Service-enhanced Visa Commercial Cards must assume any incremental risk
arising from issuing Cards in accordance with the Visa Product Brand Standards for Cards bearing
the Visa Brand Mark, including, but not limited to, the Compliance right for "unauthorized signature."

ID#: 010410-010410-0004165



Visa Fleet Card BIN - U.S. Region

A U.S. Issuer must request a new BIN assignment for its Fleet Card program from the BIN range
reserved for Fleet-enhanced Visa Purchasing Cards.

ID#: 010410-010410-0004217



Visa Fleet Card Issuance - U.S. Region

In the U.S. Region, Visa Fleet Card issuance is permitted for Visa Purchasing Card Issuers, as
specified in the:

• Visa International Operating Regulations
• Visa Fleet Card Implementation Guide
• Visa Product Brand Standards (for Cards bearing the Visa Brand Mark)

ID#: 010410-010410-0004167




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Visa Fleet Card Requirements - U.S. Region

In the U.S. Region, a Visa Fleet Card must contain the appropriate instructions on the Magnetic
Stripe for customized prompts and may be issued as either:

• An enhanced Visa Purchasing Card
• A Vehicle-Specific Fleet Card

ID#: 010410-010410-0004168



Plus Program Marks on Visa Fleet Cards - U.S. Region

The Plus Program Marks must not appear on the back of a U.S. Vehicle-Specific Fleet Card.

ID#: 010410-010410-0004169




Visa Commercial Corporate Products

Commercial Corporate Products - U.S. Region


Visa Corporate Card Core Features - U.S. Region

A Visa Corporate Issuer in the U.S. Region must provide all of the core features specified below and
as described in "Commercial Card Core Feature Descriptions - U.S. Region":

• ATM access
• Central or individual billing options
• Service level standards
• Charge Card option
• Management information reports

ID#: 010410-010410-0004294



Visa Corporate Card Account Billing Options - U.S. Region

A U.S. Visa Corporate Issuer may offer U.S. Cardholders any of the following account billing options:

• Line of credit
• Other company assets available through the Issuer
• Charge Card (non-revolving, pay-in-full)

ID#: 010410-010410-0004295




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Visa Corporate Authorization Contact - U.S. Region

A Visa Corporate Issuer in the U.S. Region must have an Authorization referral contact that is
available to provide an immediate Authorization Response 24 hours a day, 7 days a week.

ID#: 010410-010410-0004296




Visa Commercial Products Programs

V Distribution Program


V Distribution Requirements

An Issuer participating in the V Distribution Program must provide payment services to a V
Distribution Program Cardholder purchasing goods and services from a V Distribution Program
Distributor.

ID#: 010410-010410-0003163



V Distribution Issuer Requirements

A V Distribution Program Issuer must:

• Be certified to issue either:
  - Visa Purchasing Cards
  - Visa Business Cards
• Be registered with Visa
• Be capable of processing Authorization Requests, billing, and reporting, as specified by Visa

ID#: 010410-010410-0003164



V Distribution Program BIN

An Issuer participating in the V Distribution Program must do one of the following:

• Designate a separate BIN
• Use an existing BIN within a Visa Business Card or Visa Purchasing Card BIN range
• Use an account range within an existing Visa Business Card or Visa Purchasing Card BIN

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Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card
Requirements (New)

Effective 14 October 2010, only an Issuer that is a registered Visa Multinational Program participant
may issue Dual-Issuer Branded Visa Commercial Cards as specified in the:

• Visa Multinational Program Guide
• Visa Product Brand Standards

Issuance of Dual-Issuer Branded Visa Commercial Cards is not applicable to Issuers in the
jurisdiction of Visa Europe.

The Lead Bank and the Partner Bank must be registered Visa Multinational Program participants and
have contractual agreements with each other that clearly defines the Dual-Issuer Branded Visa
Commercial Card program.

A Dual-Issuer Branded Visa Commercial Card must be issued using a BIN that is licensed to the
Partner Bank.

Before issuing Dual-Issuer Branded Visa Commercial Cards, the Lead Bank and the Partner Bank
must ensure that the Dual-Issuer Branded Visa Commercial Card program complies with the:

• Visa International Operating Regulations
• Visa Regional Operating Regulations
• Visa Product Brand Standards

The Lead Bank must ensure that the Dual-Issuer Branded Visa Commercial Card program complies
with all applicable local laws/regulatory requirements in the country in which the Cards are issued and
the country in which the Lead Bank is domiciled, as specified in the Visa Multinational Program
Guide.

ID#: 050411-141010-0026023



Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card Issuer
Identification (New)

Effective 14 October 2010, the Issuer of a Dual-Issuer Branded Visa Commercial Card must be
clearly identified on the back of the Card and in all Cardholder agreements.

ID#: 050411-141010-0026024



Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card Partnership
Agreement (New)

Effective 14 October 2010, before issuing Dual-Issuer Branded Visa Commercial Cards, the Lead
Bank and the Partner Bank must provide contractual evidence of the partnership agreement to Visa
for review and approval, as specified in the Visa Multinational Program Guide.

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Global Support Services

Visa Global Customer Assistance Services


Visa Global Customer Assistance Services Program Requirements (Updated)

The Visa Global Customer Assistance Services Program includes the following services for
Cardholders and Issuers, as specified in the following table.

See the applicable regional Visa Global Customer Assistance Services Program User's Guide or Visa
Enhancements Resource Guide.


Visa Global Customer Assistance Services Program Eligibility Requirements by Product1

                             Cardholder     Emergency        Emergency       Lost/ Stolen
                                                                                              Exception
                              Inquiry          Cash            Card             Card
                                                                                             File Updates
                              Service      Disbursement     Replacement       Reporting

 Visa Classic                Required         Optional         Optional       Required         Required

 Visa Gold/Premier/                                     1                1
                             Required        Required         Required        Required         Required
 Platinum

                                              Regional         Regional       Regional
 Visa Signature              Required                                                          Required
                                               option           option         option

                                              Regional         Regional       Regional
 Visa Infinite               Required                                                          Required
                                               option           option         option

 Visa Business and
                             Required         Required        Required        Required         Required
 Visa Corporate

 Visa Purchasing             Required         Optional        Required        Required         Required

 Visa Electron and Visa                       Regional         Regional
                             Required                                         Required         Required
 Business Electron                             option           option

 Virtual Account             Required        Prohibited       Prohibited      Required         Required

                                                                                                 Not
 Visa Prepaid Card           Required         Optional         Optional       Required
                                                                                              applicable

 Visa TravelMoney            Required         Optional        Required        Required         Required
 1
  For U.S. Region product platform names and requirements, see the Visa Enhancements Resource
 Guide.


ID#: 100411-010410-0004081




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Emergency Services Telephone Numbers

An Issuer must communicate, at least once each year, the global emergency services and
corresponding telephone numbers through which Eligible Cardholders may obtain these services.

The telephone numbers must be:

• Available at no cost to the Cardholder
• Printed on either:
  - The back of the Card
  - Other material furnished to the Cardholder

ID#: 081010-010100-0025791



Visa Global Customer Assistance Services Program Fees

Visa assesses fees to Members for the various services provided under the Visa Global Customer
Assistance Services Program. Information about the fees is specified in the applicable regional
pricing guide.

ID#: 081010-010100-0025792



Visa Global Customer Assistance Services Core Benefit Services - AP Region

An Issuer or designated provider must provide the following core benefit services to all Visa Gold and
Business/Corporate Cardholders in the AP Region:

• Emergency medical/legal assistance
• Emergency ticket replacement
• Travel assistance
• Lost luggage assistance
• Prescription assistance and valuable document delivery
• Emergency message service

ID#: 010410-010410-0004603



Visa Global Customer Assistance Services Program - Canada Region

A Canada Issuer must:

• Advise its Eligible Cardholders of the availability of the applicable Visa Global Customer Assistance
  Services Program
• Provide its Eligible Cardholders with a telephone number that is available 24 hours a day, 7 days a
  week, for the applicable Visa Global Customer Assistance Services Program
• Provide the Visa Global Customer Assistance Services Program by product as outlined in the
  following table



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Visa Global Customer Assistance Services Program by Product - Canada Region

                                                                              Legal
                                                   Emer-                                                        Medical
                                                                             Referral            Lost/          Referral
                      Card-        Collision/      gency        Emer-       Assistance          Stolen         Assistance
       Product       holder          Loss          Card        gency        and Cash             Card          and Cash
                     Inquiry       Damage         Replace-      Cash        Disburse-          Reporting       Disburse-
                     Service      Insurance        ment        Service         ment             Service
                                                                                                                  ment
                                                  Service                     Service
                                                                                                                 Service


 Visa Classic      Required       Optional        Optional    Optional       Optional          Required         Optional

 Visa Gold         Required       Required       Required     Required       Required          Required        Required

 Visa Infinite     Required       Required       Required     Required       Required          Required        Required

 Visa Platinum     Required       Required       Required     Required       Required          Required        Required

 Visa
                   Required       Optional       Required     Required       Required          Required        Required
 Corporate
 Visa
                   Required       Optional       Required     Required       Required          Required        Required
 Business
 Visa                                                                          Not                                Not
                   Required       Optional       Required     Optional                         Required
 Purchasing                                                                 Applicable                         Applicable


ID#: 100411-010410-0004645



Visa Global Customer Assistance Services Program Contacts - Canada Region

Members must not designate to Visa Global Customer Care Services more than 4 contacts per Visa
Global Customer Assistance Service Program request.

ID#: 010410-010410-0004646



Cardholder Charges for Visa Global Customer Assistance Services - Canada Region

A Canada Issuer must not assess supplemental charges to an Eligible Cardholder for the required
Visa Global Customer Assistance Services Program.

ID#: 010410-010410-0004647



Provision of Visa Global Customer Assistance Services - CEMEA Region

A CEMEA Issuer may provide the Visa Global Customer Assistance Services Program itself, through
an agent, or through Visa. For each Card product, the Issuer must make available to its Cardholder
an agreed sub-set of global support services as outlined in the Visa International Operating
Regulations.

ID#: 010410-010410-0004662




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Visa Global Customer Assistance Program - Issuer Participation - CEMEA Region

In order to participate in the Visa Global Customer Assistance Services Program, an Issuer must
complete a "CEMEA GSS Commitment Form" for each BIN. The participating CEMEA Issuer must:

• Advise its Eligible Cardholders of the availability of the Visa Global Customer Assistance Services
  Program
• Provide the telephone number of Visa Global Customer Care Services for the Cardholder to call to
  report a lost or stolen Card and to request emergency assistance

ID#: 081010-010410-0004663



Issuer Participation in Visa FeatureSelect - U.S. Region (Updated)

Effective 8 November 2010, a U.S. Issuer may choose to access Visa FeatureSelect for the purpose
of segmenting and servicing Visa and non-Visa Cardholders.

An Issuer that chooses to access Visa FeatureSelect must comply with the requirements specified in
“Non-Visa Assigned BIN Management – U.S. Region,” if servicing non-Visa Cardholders, and the
Visa FeatureSelect Service Description.

ID#: 080411-141209-0025585



Emergency Cash Disbursement and Emergency Card Replacement


Emergency Cash Disbursement Limit (Updated)

A Cardholder, or an Issuer on the Cardholder's behalf, may request an Emergency Cash
Disbursement, subject to Issuer Authorization. The Cardholder, or the Issuer on the Cardholder's
behalf, may request the service through Visa Global Customer Care Services. Visa recommends an
Emergency Cash Disbursement.

For Emergency Cash Disbursement limits, refer to the applicable regional Visa Global Customer
Assistance Services Program User's Guide or Visa Enhancements Resource Guide.

ID#: 050411-010100-0025793



Provision of Emergency Cash Disbursement or Emergency Card Replacement

A Issuer must, upon Cardholder request, provide an Emergency Cash Disbursement or an
Emergency Card Replacement, as specified in “Visa Global Customer Assistance Services Program
Requirements,” itself or through either:

• An agent
• Visa Global Customer Care Services




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For detailed requirements and procedures, see the applicable regional Visa Global Customer
Assistance Services Program User's Guide or Visa Enhancements Resource Guide.

ID#: 081010-010410-0008544



Delivery of Emergency Cash or Emergency Card

Visa Global Customer Care Services fulfills Emergency Card Replacement or Emergency Cash
Disbursement requests. Once Visa Global Customer Care Services receives a request for an
Emergency Cash Disbursement or Emergency Card Replacement, Visa Global Customer Care
Services contacts the Issuer to seek approval for the delivery or disbursement. After Visa Global
Customer Care Services receives the Issuer’s approval and has made direct contact with the
Cardholder, Visa will deliver the Emergency Cash Disbursement or Emergency Card Replacement
within the timeframes specified in the following tables.

If an Issuer chooses to provide an Emergency Cash Disbursement or Emergency Card Replacement,
directly or through an agent, it must disburse the cash or deliver the Card to the Eligible Cardholder
within the time frames specified in the following tables. U.S. Issuers must refer to the Visa
Enhancements Resource Guide.


Time Frames for Delivery of Emergency Cash Disbursement to Eligible Cardholders

                                   Within the U.S. Region and the       Outside the U.S. Region and the
           Card Type
                                           Canada Region                        Canada Region

 Visa Classic, Visa Electron,              1 business day                        1 business day
 Visa Debit, Visa Prepaid

 Visa Gold/Premier, Visa                      24 hours                           1 business day
 Platinum, Visa Business,
 Visa Business Electron, Visa
 Corporate, Visa Purchasing

 Visa Infinite, Visa Signature                24 hours                              24 hours



Time Frames for Delivery of Emergency Card Replacements to Eligible Cardholders

                                   Within the U.S. Region and the       Outside the U.S. Region and the
           Card Type
                                           Canada Region                        Canada Region

 Visa Classic, Visa Electron,              1 business day                       3 business days
 Visa Debit, Visa Prepaid

 Visa Gold/Premier, Visa                      24 hours                           1 business day
 Platinum, Visa Business,
 Visa Business Electron, Visa
 Corporate, Visa Purchasing

 Visa Infinite, Visa Signature                24 hours                              24 hours


ID#: 081010-010210-0002626




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Issuer Requirements for Using the Visa Global Customer Assistance Services
Program for Emergency Cash Disbursement and Emergency Card Replacement
(Updated)

If an Issuer participates in the Visa Global Customer Assistance Services Program for Emergency
Cash Disbursement or Emergency Card Replacement, it must:

• At least 30 calendar days before participation in Emergency Cash Disbursement or Emergency
  Card Replacement, submit the Visa Global Customer Assistance Services Program enrollment
  forms, located in the applicable regional Visa Global Customer Assistance Services Program
  User’s Guide or Visa Enhancements Resource Guide
• Advise its Eligible Cardholders of the availability of an Emergency Cash Disbursement or
  Emergency Card Replacement, as applicable
• Provide Eligible Cardholders with a telephone number that is available worldwide 24 hours a day, 7
  days a week for Emergency Cash Disbursement and Emergency Card Replacement. The
  telephone number can be either the:
  - Visa Global Customer Care Services telephone numbers
  - Issuer's own worldwide emergency services telephone number
• Designate one or more Emergency Service Locations, as specified in the Emergency Service
  Location enrollment form in the applicable regional Visa Global Customer Assistance Services
  Program User’s Guide or Visa Enhancements Resource Guide
• Notify Visa Global Customer Care Services within 30 calendar days of any changes to an
  Emergency Service Location, as specified in the applicable regional Visa Global Customer
  Assistance Services Program User’s Guide or Visa Enhancements Resource Guide

ID#: 050411-010410-0002627



Handling Fee for Emergency Cash Disbursement and Emergency Card Replacement
(Updated)

A Disbursing Member or Emergency Service Location that provides an Emergency Cash
Disbursement or Emergency Card Replacement to an Eligible Cardholder as part of a Visa Global
Customer Assistance Services Program request may collect a handling fee from the Cardholder’s
Issuer, as specified in the applicable regional Visa Global Customer Assistance Services Program
User’s Guide or Visa Enhancements Resource Guide.

ID#: 050411-010410-0008508




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Emergency Cash Disbursement or Emergency Card Replacement Contact
Requirements (Updated)

A live Issuer contact person must:

• Be available to respond to a request for an Emergency Cash Disbursement or an Emergency Card
  Replacement 24 hours a day, 7 days a week
• Approve or deny a request from Visa Global Customer Care Services or an Eligible Cardholder
  within 2 hours of notification (not applicable to Visa Infinite Cards) and provide:
  - For an Emergency Cash Disbursement, a unique Issuer Authorization Code
  - For an Emergency Card Replacement, a new Account Number and expiration date that has
    been activated in the Issuer's Authorization system
• Provide Visa Global Customer Care Services with:
  - Any changes that would affect the issuance of an Emergency Card Replacement (e.g., Issuer
    contacts, telephone numbers)
  - Correct spelling of the Cardholder's name
  - Cardholder’s verification data if required

Refer to the applicable regional Visa Global Customer Assistance Services Program User’s Guide or
Visa Enhancements Resource Guide for the specific data elements required by Visa Global Customer
Care Services.

ID#: 050411-010410-0002629



Emergency Services Contact

An Issuer must notify Visa at least 2 weeks before any change in its Emergency Cash Disbursement
contact or Emergency Card Replacement contact.

ID#: 081010-010100-0025794



Requirements for Emergency Service Locations (Updated)

An Emergency Service Location must:

• Be available during normal business hours to respond to a request for an Emergency Cash
  Disbursement or an Emergency Card Replacement, as instructed by Visa Global Customer Care
  Services and as specified in the applicable regional Visa Global Customer Assistance Services
  Program User's Guide or Visa Enhancements Resource Guide
• Notify Visa Global Customer Care Services (within 3 calendar days) after the Cardholder has
  picked up the Emergency Cash Disbursement or Emergency Card Replacement

ID#: 050411-010410-0002631




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Issuer Requirements for Emergency Card Replacement (Updated)

If an Issuer participates in Emergency Card Replacement, it must:

• Meet all Card security standards specified in the Visa Product Brand Standards
• Replace a Stand-In Processing Account within 1 business day when notified by Visa Global
  Customer Care Services that it has been used for an Emergency Card Replacement
• Maintain its Emergency Card Replacements in a secure manner, as specified in Global Physical
  Security Validation Requirements for Card Vendors
• Immediately notify Visa Global Customer Care Services if it discovers that a Card is missing

ID#: 050411-010410-0008545



Stand-In Processing


Spending Limits on Stand-In Processing Accounts for Emergency Card
Replacements

If an Issuer participates in Emergency Card Replacement, it must enforce the spending limits on
Stand-In Processing Accounts.

ID#: 010410-010410-0002632



Lost or Stolen Card Reporting


Lost or Stolen Card Reporting

An Issuer participating in Lost/Stolen Card Reporting must, on behalf of another Issuer:

• Accept reports of lost or stolen products from Cardholders or their designated representative
• Notify the Card Issuer

ID#: 081010-010410-0008549



Issuer Notification of Lost or Stolen Card

A Member must:

• Provide the Issuer with the information required on the "Lost or Stolen Card Report" (Exhibit 1A)
• If an incomplete Account Number is provided, supply the Issuer with the address and telephone
  number where the Cardholder may be contacted
• Notify Visa Global Customer Care Services if unable to establish contact with the Issuer

ID#: 010410-010410-0002183




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Lost or Stolen Card Report Requirements for an Emergency Cash Disbursement or
Emergency Card Replacement

If a Cardholder requests an Emergency Cash Disbursement or Emergency Card Replacement, the
report must include the:

• Address and telephone number where an Issuer may contact the Cardholder
• Emergency Cash Disbursement amount requested, if applicable

ID#: 010410-010410-0002184



Acquirer Collection of Lost or Stolen Card Report Handling Fee - U.S. Region

A U.S. Member accepting a lost or stolen Card report on behalf of another Member may collect a US
$20 handling fee from the Issuer.

ID#: 010910-010410-0025931



Fines and Penalties


Fines for Failure to Respond to an Emergency Request (Updated)

An Issuer that fails to respond to an Emergency Cash Disbursement or Emergency Card
Replacement request within the time limits specified in the applicable regional Visa Global Customer
Assistance Services Program User’s Guide or Visa Enhancements Resource Guide is subject to
fines, as specified in “General Fines Schedule.”

ID#: 050411-010100-0025797



Global Refund Service


Travelers Cheque Global Refund Service Authorization

An Issuer must provide an Emergency Cash Refund to a Cheque purchaser upon Authorization from
the Global Refund Service.

ID#: 010410-010410-0003639



Global Refund Service Member Responsibilities

When the Global Refund Service authorizes a Member to make an Emergency Cash Disbursement
refund to a Cheque purchaser, the Member location must:

• Verify the identity of the purchaser
• Provide a refund in the form of a Manual Cash Disbursement

ID#: 010410-010410-0002635


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Information Provided to Emergency Refund Location

The Global Refund Service will provide the Emergency Refund Location with:

• Account Number
• Purchaser name
• Refund Claim Number
• Cash Disbursement amount in local currency
• Authorization Code

ID#: 010410-010410-0002637



Global Refund Service Required Procedures

When making an Emergency Cash Disbursement, an Emergency Refund Location must verify the
identity of the Cheque purchaser by comparing the Refund Claim Number provided by the Global
Refund Service to the one given by the Cheque purchaser.

If the Refund Claim Numbers match, the Emergency Refund Location must:

• Complete the "80-Column Cash Disbursement Transaction Receipt" (Exhibit 7A) with the:
  - Account Number
  - Purchaser name
  - Words "Emergency TC Refund" in the space designated for the Cardholder's street address
  - Refund Claim Number in the space designated for the Cardholder's identification
  - Amount of the Emergency Cash Disbursement, plus US $25 or local currency equivalent, for the
    refund handling fee
  - Date
  - Authorization Code provided by the Global Refund Service
  - Imprint of the Member's identification
  - Cheque purchaser's signature in the space designated for the Cardholder's signature
• Process the Emergency Cash Disbursement in the same manner as a Manual Cash Disbursement:
  - At face value
  - With no fees or charges to the Cheque purchaser, unless required by applicable law

If the Refund Claim Numbers do not match, the Emergency Refund Location must contact the Global
Refund Service for instructions.

ID#: 090411-010410-0007985




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Guarantee of Reimbursement

Visa guarantees reimbursement of the Manual Cash Disbursement amount to the Emergency Refund
Center if the requirements in "Global Refund Service" are met.

ID#: 010410-010410-0002641




Cardholder Loyalty Program

Visa Extras - U.S. Region


Visa Extras Requirements - U.S. Region

U.S. Issuers are subject to program participation and operating requirements, as outlined in the Visa
Extras Service Description.

Visa assesses fees to U.S. Issuers that participate in the Visa Extras Program. Fee information is
available from Visa upon request.

ID#: 010410-010410-0007342



Visa Extras Participation Conditions - U.S. Region

Participation in the Visa Extras Program in the U.S. Region is at the discretion of Visa, which may
impose conditions upon participation at any time.

ID#: 010410-010410-0001362



Visa Extras - Program Description and Requirements - U.S. Region

The Visa Extras Program is a U.S. Region Points-based loyalty program that enables participating
Cardholders to earn Points toward rewards consisting of goods or services based on their eligible
Visa purchase Transactions. Issuers must comply with program participation and operating
requirements as specified in the Visa Extras Service Description.

ID#: 010410-010410-0002524



Visa Extras Operating Requirements - U.S. Region

A U.S. Issuer that chooses to make the Visa Extras Program available to its Cardholders must follow
applicable operating requirements, as specified in the U.S. Regional Operating Regulations.

ID#: 081010-190209-0007100




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Visa Extras Deductions - U.S. Region

Points will be deducted from a U.S. Cardholder's Visa Extras Points account for Credit Transactions,
Transaction reversals, and Chargebacks.

ID#: 010410-010410-0002536



Visa Extras Points Aggregation - U.S. Region

In the U.S. Region, Points may be aggregated across Cards within a single Card product type or
across multiple Card product types within a single Issuer. Program rules for Points aggregation are
detailed in the Visa Extras Service Description.

Points are not transferable between Issuers.

ID#: 010410-010410-0008379



Visa Extras - Issuer Reporting Requirements - U.S. Region

A U.S. Issuer that participates in the Visa Extras Program must report to Visa all Points-eligible
Cardholder Transactions, Chargebacks, and Transaction reversals not sent through VisaNet.

ID#: 010410-010410-0008900



Visa Loyalty Platform Services


Visa Loyalty Platform Services Participation Requirements

Effective 15 October 2010, a Member that participates in the Visa Loyalty Platform Services must
comply with the Visa Loyalty Platform Services - Service Description.

Participation in the Visa Loyalty Platform Services, where available, is at the discretion of Visa, which
may impose conditions on participation at any time. Visa may assess fees to Members related to the
Visa Loyalty Platform Services.

ID#: 081010-151010-0025865



Visa Loyalty Platform Services Participation Requirements - U.S. Region

Effective through 14 October 2010, in the U.S. Region, Issuers and Acquirers that elect to
participate in the Visa Loyalty Platform Services must comply with operating requirements and
applicable branding requirements, as specified in the Visa Loyalty Platform Services - Service
Description.




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Participation is at the discretion of Visa, which may impose conditions upon participation at any time.

Visa assesses fees to Issuers and Acquirers that participate in the Visa Loyalty Platform Services.
Fee information is available in the Visa Loyalty Platform Services Pricing Directory.

ID#: 081010-010410-0009020



Visa Incentive Network - U.S. Region


Visa Incentive Network Program Description - U.S. Region

In the U.S. Region, the Visa Incentive Network is a program that forms a core eligibility component for
Members issuing Visa Traditional Rewards, Visa Signature, and Visa Signature Preferred products.
The program allows Visa to act as an agent of the Issuer for supporting the Visa Incentive Network
program requirements.

ID#: 010410-010410-0001368



Visa Incentive Network Qualification - U.S. Region

U.S. Members must participate in the Visa Incentive Network to qualify their Visa Traditional
Rewards, Visa Signature, or Visa Signature Preferred products and receive the respective
Interchange Reimbursement Fee.

ID#: 010410-010410-0001369



Visa Incentive Network Program Requirements - U.S. Region

Participating U.S. Members are subject to program requirements specified in the Visa Incentive
Network Member Implementation Guide, available from Visa.

ID#: 010410-010410-0001370



Visa Incentive Network Participation Requirements - U.S. Region

To participate in the Visa Incentive Network, a U.S. Issuer must:

• Register with Visa by completing the Visa Incentive Network Participation Agreement, included in
  either the Visa Traditional Rewards Product Registration Toolkit or the Visa Signature Rewards
  Product Registration Toolkit
• Complete the registration within the time limits specified in the respective toolkits
• Provide the Cardholder Maintenance File to Visa on an ongoing basis, as specified in the Visa
  Incentive Network Member Implementation Guide, for all Visa Traditional Rewards, Visa Signature,
  and Visa Signature Preferred accounts




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• Review the Visa Incentive Network promotional calendar posted on Visa Online regularly to identify
  and resolve any promotional conflicts as they arise for each announced promotion
• Ensure compliance with applicable federal and state privacy laws, co-branding obligations, and
  Cardholder privacy agreements to prevent conflict or violation of any existing contracts
• Comply with all the requirements specified in the Visa Incentive Network Member Implementation
  Guide

ID#: 010410-010410-0003884




Credit Bureau Reporting - U.S. Region

Credit Bureau Reporting Requirements - U.S. Region


Credit Bureau Reporting Requirement - U.S. Region

A U.S. Issuer must report all Visa Consumer Credit Card accounts to at least one credit reporting
bureau and comply with the reporting requirements.

ID#: 010410-010410-0003223



Credit Bureau Reporting Required Data - U.S. Region

A U.S. Issuer must report data for its primary Cardholders in the following fields of the Associated
Credit Bureaus Metro format:

• Full first name, last name, and middle initial
• Generation code (abbreviations such as "Jr.," "Sr.," "II," "III," used to differentiate male members of
  the same family with identical names)
• Social Security Number
• Valid and complete address
• Valid and complete city, state, and ZIP code
• Date of birth

ID#: 010410-010410-0001899




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Designated Agent for Credit Bureau Interface - U.S. Region

A U.S. Issuer designates Visa, Integrated Solutions Concepts, Inc., or their designee to act on the
Issuer's behalf as an agent of the Issuer to:

• Establish credit bureau reporting standards
• Monitor credit bureau data
• Contract with credit bureaus to receive data and reports for the purpose of:
  - Monitoring their handling of Issuer data
  - Comparing that data to Visa-specified credit bureau reporting standards

ID#: 010410-010410-0001900



Credit Bureau Reporting Data Submission - U.S. Region

A U.S. Issuer must report primary Cardholder data through electronic transmission to a credit bureau
by billing cycle, within 2 business days of the billing cycle end date.

ID#: 010410-010410-0001901



Cardholder Payment Information - U.S. Region

A U.S. Issuer must report primary Cardholder payment information to a credit bureau using the B2
Segment data (12 months' payment history), unless they are already reporting B3 Segment data (24
months' payment history).

ID#: 010410-010410-0001902



Delinquent Account Reporting - U.S. Region

A U.S. Issuer must report an account that is 2 payments past due (30 days delinquent) to a credit
bureau as delinquent rather than current.

ID#: 010410-010410-0003224



Delinquency Reporting Standards - U.S. Region

A U.S. Issuer must use the Metro ratings in the standard format specified. If the delinquency
progresses, the U.S. Issuer must use the standard Metro status code format until the account is
charged off, at which time the Issuer must reflect the appropriate charge-off code.

ID#: 010410-010410-0008633




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Commercial Data Management and Reporting

Commercial Solutions


Visa Commercial Solutions Data and Reporting Tools (Updated)

An Issuer or an Issuer's Client Organization wishing to participate in any of the Visa Commercial
Solutions Data and Reporting Tools must comply with the Visa Information Management Services
Terms and Conditions, the Visa Information Management Services Terms of Use, and the Visa
Commercial Solutions Data and Reporting Tools Service Guide.

ID#: 050411-010410-0004236



Visa IntelliLink Spend Management Services (Updated)

An Issuer participating in Visa IntelliLink Spend Management must comply, and ensure that its
participating clients comply, with the Visa IntelliLink Spend Management Terms of Use and the Visa
Commercial Solutions Data and Reporting Tools Service Guide.

ID#: 050411-300909-0025613



Access to Commercial Solutions Data and Reporting Tools (New)

Effective 14 October 2010, where available, an Issuer is authorized to grant Visa Commercial
Solutions Data and Reporting Tools access and use to a Client Organization. Users must comply with
the Visa Commercial Solutions Data and Reporting Tools Service Guide, the Terms of Use document
referenced in it, the Visa Operating Regulations, and applicable law.

ID#: 050411-141010-0026017



Access to Visa IntelliLink Compliance Management (New)

Effective 14 October 2010, Visa IntelliLink Compliance Management is available to all Issuers and
their Client Organizations. Users must comply with the Visa Commercial Solutions Data and
Reporting Tools Service Guide, the Terms of Use document referenced in it, the Visa Operating
Regulations, and applicable law.

ID#: 050411-141010-0026018



Visa Commercial Solutions Data and Reporting Tools Fees (New)

Effective 14 October 2010, fees associated with Member use of any of the Visa Commercial
Solutions Data and Reporting Tools are available from Visa upon request and are specified in the
appropriate Visa regional fee guide.

ID#: 050411-141010-0026019



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Visa Payables Automation - Canada Region

Effective 11 February 2010, Visa Payables Automation, one of the Visa Commercial Solutions Data
and Reporting Tools, is provided to Canada Issuers and their Client Organizations for use in
connection with their Commercial Visa Product programs. A Canada Issuer participating in this
service must comply with the requirements specified in the Visa Commercial Solutions Data and
Reporting Tools Service Guide.

Use of Visa Payables Automation is at the discretion of Visa, which may limit or impose conditions on
its use and may discontinue the service at any time.

Visa Payables Automation, and all of the commercial reporting and data services provided by Visa,
are the property of Visa and are for the use of the Canada Issuer and its Client Organization solely in
support of its Commercial Visa Products.

ID#: 010410-110210-0025608



Optional Data Management and Reporting Services - U.S. Region (Updated)

Visa provides U.S. Issuers and their Client Organizations with various optional data management and
reporting services for use in connection with their Commercial Visa Product programs. These
services include, but are not limited to:

• Card Management
• Enhanced Data Services
• Procure to Pay
• Socioeconomic Reporting Service
• Supplier Matching Service
• Visa Information Source
• Visa Information Source Select
• Visa IntelliLink Compliance Management
• Visa IntelliLink Spend Management
• Visa Payables Automation
• Visa Travel Account Manager
• 1099 Reporting Service

Use of these data management and reporting services is at the discretion of Visa, which may limit or
impose conditions on its use, and may discontinue the service at any time.

ID#: 050411-010410-0008346




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Client Organization Access to Visa Commercial Solutions Data and Reporting Tools -
U.S. Region

Before granting a Client Organization access to and use of any of the Visa Commercial Solutions
Data and Reporting Tools, a U.S. Issuer must have a signed agreement with the Client Organization
governing that entity's use of the service.

ID#: 010410-010410-0001396



Visa Commercial Reporting and Data Services Limitations - U.S. Region

All of the Commercial reporting and data services provided by Visa are the property of Visa and are
for the use of the Issuer and its Client Organization solely in support of its Commercial Visa Products.

ID#: 010410-010410-0001397



Visa Commercial Solutions Data and Reporting Tools Fees - U.S. Region (Updated)

Effective through 13 October 2010, fees associated with U.S. Member use of any of the Visa
Commercial Solutions Data and Reporting Tools are available from Visa upon request and are
referenced in the Visa U.S.A. Fee Guide.

ID#: 050411-010410-0007318



Enhanced Data


Enhanced Data Types - U.S. Region

In the U.S. Region, Enhanced Data may consist of:

• Enhanced Transaction-Level Data
• Enhanced Merchant-Level Data

ID#: 010410-010410-0004241



Use and Disclosure of Card-Specific Enhanced Data - U.S. Region

A Commercial Visa Product Issuer in the U.S. Region may use or disclose Card-specific Enhanced
Data only in connection with the management and administration of a Commercial Visa Product
program for the Client Organization, and necessary supporting functions. Supporting functions may
include, but are not limited to, accounting, tax management, policy compliance, and other business
management functions, such as account setup and management reporting.

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Disclosure of Enhanced Data to Third Parties - U.S. Region

Enhanced Transaction-Level Data and Confidential Enhanced Merchant-Level Data in the U.S.
Region may be disclosed to third parties only either:

• In connection with the management and administration of Commercial Visa Product programs for
  the Client Organization, and necessary supporting functions, which may include, but are not limited
  to, accounting, tax management, policy compliance, and other business management functions,
  such as account setup and management reporting
• In aggregate, in such a way that Card-specific Enhanced Data cannot be related to a specific
  Merchant or Cardholder

"Third party" means only persons, real or corporate, other than the Issuer, Client Organization, or
Cardholder, providing services that directly support an Issuer's Commercial Visa Product Program.

ID#: 010410-010410-0004243



Third Party Agreement for Enhanced Data Usage - U.S. Region

If a U.S. Issuer discloses Card-specific Enhanced Transaction-Level Data or Confidential Enhanced
Merchant-Level Data to a third party, it must have a written agreement with the third party that
requires the third party to:

• Treat the information as confidential
• Make no further disclosure of the information without permission
• Limit the third party's use of the data to uses permitted by the Issuer

Permission granted for further disclosure by a third party must impose the same restrictions on use
and disclosure that apply to the Issuer's disclosure.

Each Issuer bears the sole responsibility for compliance with all applicable laws and regulations.

ID#: 010410-010410-0004244



Applicability of Enhanced Data Restrictions - U.S. Region

In the U.S. Region, the restrictions regarding use of Enhanced Data do not apply to:

• Non-Confidential Enhanced Merchant-Level Data
• The Client Organization or Cardholders

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POS Balance Inquiry Service

POS Balance Inquiry Service Requirements


Acquirer Participation in Point-of-Sale Balance Inquiry Service - U.S. Region

A U.S. Acquirer must:

• Participate in the Point-of-Sale Balance Inquiry Service
• Complete required systems testing with Visa to receive and transmit Visa Prepaid Card balance
  inquiry information, as specified in the appropriate VisaNet manual

Merchant participation in the Point-of-Sale Balance Inquiry Service is optional.

ID#: 010410-010410-0003214



Point-of-Sale Balance Inquiry Service - Acquirer Participation

An Acquirer that participates in the Point-of-Sale Balance Inquiry Service and/or the Point-of-Sale
Balance Return Service must complete required systems testing with Visa to support a Point-of- Sale
Balance Inquiry and/or a Point-of-Sale Balance Return, as specified in the appropriate VisaNet
manuals.

Merchant participation in the Point-of-Sale Balance Inquiry Service and/or the Point-of-Sale Balance
Return Service is optional.

ID#: 010410-010100-0025546



Point-of-Sale Balance Inquiry Service - Issuer Participation Conditions (Updated)

An Issuer that participates in the Point-of-Sale Balance Inquiry Service and/or the Point-of-Sale
Balance Return Service must complete required testing with Visa to support a Point-of-Sale Balance
Inquiry and/or a Point-of-Sale Balance Return as specified in the VisaNet manuals.

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Visa PIN Debit Gateway Service - U.S. Region

Visa PIN Debit Gateway Service Charges - U.S. Region

Visa assesses a debit gateway charge, and applicable transaction access charges, to U.S. Members
or VisaNet Processors for all non-Visa PIN-based or non-PIN-based bill payment debit transactions
(e.g., STAR, NYCE) that are switched to other networks for authorization. This charge does not apply
to Interlink transactions.

For all non-Visa PIN-based or non-PIN-based bill payment debit transactions, Visa will pass through
to Members or VisaNet Processors any charges billed to Visa by the debit networks that may result
from a Member's participation in the service, including, but not limited to, non-compliance with other
network rules.

See the Visa U.S.A. Fee Guide for further information.

ID#: 081010-010410-0007875




Plus Program

Plus Program Requirements


Plus Program Participation

Issuer participation in the Plus Program is optional. To become an Issuer of Cards bearing the Plus
Symbol, an Issuer must:

• Obtain a license to use the Plus Program Marks and comply with rules for using the Plus Symbol,
  as specified in the Visa Product Brand Standards
• Comply with:
  - Issuer requirements specified in the Visa International Operating Regulations
  - Visa Global ATM Member Guide
  - Magnetic Stripe encoding specifications in the Payment Technology Standards Manual
• Provide Authorization service 24 hours a day, 7 days a week

A Regional Board or its exclusive Plus Program sublicensee, if applicable, may grant a variance to
this section to Issuers located within its Visa Region.

ID#: 010410-010410-0004060




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Plus Proprietary Card Account Number Specifications

The Account Number format for a Proprietary Card bearing the Plus Symbol must comply with the
Account Number standards specified either:

• In "BIN and Account Number Specifications," if using a BIN assigned by Visa
• By the International Standards Organization

ID#: 010410-010410-0004061



Application of Affinity Rules to Plus Proprietary Card - Canada Region

In the Canada Region, where a non-Member Identification appears on a Proprietary Card bearing the
Plus Symbol and no other Visa marks, the Affinity Card rules outlined in the Visa Product Brand
Standards do not apply to such Cards.

ID#: 010410-010410-0004751



Plus Proprietary Card at ATM - CEMEA Region

A Visa ATM in the CEMEA Region may honor a Proprietary Card bearing the Plus Symbol if:

• Account Number begins with a "4" and is 13 or 16 digits long
• Magnetic Stripe is encoded as specified in the Payment Technology Standards Manual
• PIN consists of 4, 5, or 6 digits
• Card bears language indicating that it may be used at ATMs showing the Visa Symbol

ID#: 010410-010210-0004744



Plus Proprietary Card Manual Cash Disbursement Prohibition - CEMEA Region

In the CEMEA Region, a Proprietary Card bearing the Plus Symbol must not be used for Manual
Cash Disbursements.

ID#: 010410-010410-0004748



Plus Program Participation Requirements - U.S. Region

A U.S. Issuer may participate in the Plus Program by becoming a member of the Plus System, Inc.
and issuing Plus Cards, as specified in the Plus System, Inc. Bylaws and Operating Regulations.

ID#: 010410-010410-0004111




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Visa Global ATM Network

Visa Global ATM Network Requirements


Visa Global ATM Network Issuer Participation

Issuer participation in the Visa Global ATM Program is optional. Before participating in the program,
an Issuer must successfully complete the certification and comply with the requirements specified in
the Visa Global ATM Member Guide.

ID#: 010410-010410-0004070



Custom Payment Service/ATM Program

Custom Payment Services/ATM is available as an Issuer option. An Issuer that chooses to participate
must:

• Complete Issuer certification, as specified in the Visa Global ATM Member Guide
• Receive and return the ATM Transaction Identifier in each Transaction
• Receive the terminal ID code, ATM owner, and ATM location data in each Transaction Record
• Include the ATM Transaction Identifier in all Chargebacks

ID#: 010410-010410-0004078



Visa Global ATM Network Requirements - Canada Region

A Member in the Canada Region participating in the Visa Global ATM Program must comply with the
Anti-Money Laundering requirements as specified in the Visa Global ATM Member Guide.

ID#: 081010-010100-0025719



Visa Global ATM Network Issuer Requirements - U.S. Region

A U.S. Issuer that is required to participate in the Visa ATM Network must comply with the Visa
International Operating Regulations, Payment Technology Standards Manual, and the applicable
VisaNet manual.

ID#: 010410-010210-0006423




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Visa Global ATM Network Acquirer Requirements - U.S. Region

A U.S. Acquirer participating in the Visa ATM Network must:

• Ensure that all of its ATMs that participate in other regional or national ATM networks also
  participate in the Visa ATM Network
• Ensure that its Authorizing Processor performs Authorization, Clearing, and Settlement for all Visa
  ATM Network Transactions through the Single Message System
• Comply with the Single Message System access fee format specifications, if applicable
• Display ATM Acceptance Marks, as specified in the Visa International Operating Regulations
• Notify Visa of all ATM locations participating in the Visa ATM Network
• Accept all Visa Cards for all Transaction functions provided by the Acquirer's participating ATM, as
  specified in the Visa Global ATM Member Guide
• Become a member of the Plus System, Inc.
• Within 30 calendar days from the date that the Acquirer begins accepting Visa ATM Network
  Transactions, display the Plus Symbol on, and accept Cards bearing the Plus Symbol at, all ATMs
  participating in the Visa ATM Network

ID#: 010410-010410-0004752



Non-Visa Account Numbers at an ATM - U.S. Region

An ATM in the U.S. Region may transmit non-Visa account numbers to the Single Message System if
no other processing path is available.

ID#: 010410-010410-0004779



ATM Operators


ATMs of Non-Member Institutions - LAC Region

An ATM Acquirer in the LAC Region must comply with all the security requirements for ATMs
specified by Visa, and must prominently display on every non-Member ATM the name of the Member
that operates or sponsors it.

ID#: 010410-010410-0004746



ATM Operator Agreement - U.S. Region

An ATM Acquirer in the U.S. Region must have a written ATM Operator agreement with each of its
ATM Operators and may only process Visa ATM Network Transactions from an ATM Operator with
which it has a valid agreement.

The form, content, and appearance of an ATM Operator agreement is at the discretion of the ATM
Acquirer, except as specified in the U.S. Regional Operating Regulations.



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An ATM Acquirer may include other provisions in its agreement if they are consistent with the
Operating Regulations.

The Visa International Operating Regulations may be amended from time to time and each ATM
Acquirer is responsible for making corresponding amendments to its agreements.

ID#: 010410-010410-0009021



ATM Operator Operating Regulation Compliance - U.S. Region

An ATM Acquirer in the U.S. Region must ensure that its ATM Operator complies with the substance
of the applicable sections of the Visa International Operating Regulations.

ID#: 010410-010410-0003507



ATM Operator Agreement Content Requirements - U.S. Region

In the U.S. Region, an ATM Operator agreement must:

• State clearly the ATM Acquirer's name, location, and contact information in letters consistent in
  size with the rest of the ATM Operator agreement printing, and in a manner that makes the ATM
  Acquirer's name readily visible to the ATM Operator. Tri-party agreements (ATM Acquirer, Agent,
  ATM Operator) are permitted.
• State that the ATM Operator may be terminated for failure to comply with the ATM Operator
  agreement, which includes the requirements of the Visa International Operating Regulations
• Be made available to Visa upon request

ATM Operator agreements provided to Visa must not contain contractual details regarding pricing
arrangements.

ID#: 010410-010410-0003508



ATM Operator Qualification Standards - U.S. Region

Before entering into an ATM Operator agreement, an ATM Acquirer in the U.S. Region must
determine that a prospective ATM Operator does not have any significant derogatory background
information about any of its principals. The ATM Acquirer may obtain this information through:

• Credit reports
• Background investigations (e.g., criminal, civil)
• Personal and business financial statements
• Other information lawfully available to the ATM Acquirer

ID#: 010410-010410-0003510




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ATM Agent Requirements - U.S. Region

An ATM Acquirer in the U.S. Region may allow its Agents to execute ATM Operator agreements on
its behalf and/or conduct due diligence reviews. The ATM Acquirer must:

• Maintain documented policies and procedures to manage its Agent programs
• Validate its Agent's compliance with the ATM Acquirer's solicitation and qualification standards on
  a quarterly basis

ID#: 010410-010410-0003511



ATM Acquirer Audits - U.S. Region

In the U.S. Region, Visa or its designees may conduct financial and procedural audits and/or reviews
of ATM Acquirers at any time.

ID#: 010410-010410-0003504



ATM Operator and Agent Information - U.S. Region

An ATM Acquirer in the U.S. Region must collect the following information for all ATM Operators and
Agents:

• "Doing Business As" (DBA) name
• ATM Operator legal name
• ATM Operator outlet location, including street address, city, state, and ZIP code
• Federal Taxpayer Identification Number (TIN), Federal Employer Identification Number (FEIN), or
  the Social Security Number (SSN) of all principals
• Full first and last name, including middle initial of principals (e.g., corporations, partnerships, sole
  proprietors)
• Incorporation status (e.g., corporation, partnership, sole proprietor, non-profit, other)

ID#: 010410-010410-0008398



ATM and PIN Pad Requirements for ATM Operators - U.S. Region

An ATM Operator in the U.S. Region must take all reasonable actions to ensure that its ATMs and
PIN pads at the ATM Operator's outlet(s):

• Are available for use by all Cardholders for Visa ATM Network Transactions
• Function reliably
• Comply with the PIN Management Requirements Documents

ID#: 010410-010410-0003512




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PIN Security Requirements for ATM Operators and Agents - U.S. Region

An ATM Acquirer in the U.S. Region must ensure that its Agents and ATM Operators maintain the
integrity and safety of PIN data, as specified in the PIN Management Requirements Documents.

ID#: 010410-010410-0003513



ATM Operator Prohibitions - U.S. Region

Visa may permanently prohibit an ATM Operator in the U.S. Region from providing services with
respect to Visa Products for good cause, such as:

• Fraudulent activity
• Activity that causes the ATM Acquirer to repeatedly violate the Visa International Operating
  Regulations
• Activity that violates applicable law
• Operating in an unsound, unsafe manner
• Any other activity that may result in undue economic hardship or damage to the goodwill of the
  Visa system

ID#: 010410-010410-0003514



ATM Operator Agreement Violation Fines - U.S. Region

A U.S. Member that fails to comply with the ATM requirements in the U.S. Regional Operating
Regulations is assessed a fine, as specified.

ID#: 010410-010410-0008399



ATM Balance Inquiry Service


ATM Balance Inquiry Service Issuer Participation

An Issuer may participate in the Balance Inquiry Service. To participate an Issuer must:

• Obtain certification from Visa
• Support Balance Inquiries as separate, non-financial transactions

An Issuer may additionally provide balance information as part of an ATM Cash Disbursement.

ID#: 010410-010410-0004074




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ATM Balance Inquiry Service Fees

An Issuer must pay the ATM Acquirer a fee for each Balance Inquiry. If the Issuer does not
participate in the Balance Inquiry Service, the inquiry will be declined and a decline fee will be
assessed to the Issuer.

ID#: 010410-010410-0004075



ATM Balance Inquiry Service Provision

An Issuer must provide the Balance Inquiry Service to Cardholders if it offers balance inquiry services
through a network other than its proprietary network.

ID#: 010410-010410-0004076



ATM Balance Inquiry Service Acquirer Participation

An ATM Acquirer may participate in the Balance Inquiry Service. To participate, an ATM Acquirer
must:

• Obtain certification from Visa
• Display the balance in the currency of the ATM, either on the screen or on a receipt
• Support Balance Inquiries as separate, non-financial transactions

An ATM Acquirer must support the Balance Inquiry Service if it supports balance inquiry for any
network other than its proprietary network. A participating ATM Acquirer receives a Balance Inquiry
fee for each Balance Inquiry, as specified in "ATM Balance Inquiry Service Fees."

An ATM Acquirer may supply the Cardholder with any balance information provided by the Issuer as
part of an ATM Cash Disbursement. The Issuer does not pay a fee for this service.

ID#: 010410-010410-0004804



ATM Fees


International ATM Cash Disbursement Fee

An ATM Acquirer will receive the international ATM Cash Disbursement Fee only if the:

• Acquirer is certified to participate in either:
  - The Single Message System
  - Custom Payment Services/ATM
• ATM Transaction meets the tier II requirements specified in the Visa Global ATM Member Guide

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ATM Cheque Fee Disclosure

If an ATM dispenses cheques and charges a fee, the Member must disclose the fee to the
Cardholder.

ID#: 010410-010410-0004800



Visa Rights Pertaining to ATM Access Fees

Visa reserves the right to request any of the following from an ATM Acquirer:

• Notice of intent to impose an Access Fee on international ATM Cash Disbursements
• A report with the physical location of each ATM and the total number of ATMs at which an Access
  Fee is imposed on international ATM Cash Disbursements
• Message display and language disclosure related to Access Fees on international ATM Cash
  Disbursements

An ATM Acquirer may impose an Access Fee on an international ATM Cash Disbursement. The
provisions for imposing an Access Fee do not apply to Cards issued by Visa Europe Members,
unless local law expressly requires that an ATM Acquirer be permitted to impose an Access Fee.

ID#: 081010-180409-0009039



Acquirer Imposition of ATM Access Fees

An ATM Acquirer may impose an Access Fee on an international ATM Cash Disbursement if:

• It imposes an Access Fee on all other international ATM Cash Disbursements through any other
  network at the same ATM
• The Access Fee is not greater than the Access Fee amount on all other international Transactions
  through any other network at the same ATM
• The Access Fee is a fixed and flat fee

ID#: 081010-180409-0007224



ATM Access Fee Disclosure

An ATM Acquirer must disclose the Access Fee to the Cardholder, at a minimum, in English and local
language equivalent, via message display, as specified in "ATM Message Display for Access Fees."

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ATM Message Display for Access Fees

If an ATM Acquirer imposes an Access Fee on international ATM Cash Disbursements, the ATM
Acquirer must do all of the following at the ATM:

• Inform the Cardholder that an Access Fee is assessed, in addition to the charges assessed by the
  Issuer. The disclosure must:
  - Be as high a contrast or resolution as any other graphics on the terminal
  - Contain the notice: Fee Notice "(Member Name) will assess a fee to cardholders for international
    ATM Cash Disbursements. This fee is added to the amount of your transaction and is in addition
    to any fees that may be charged by your financial institution."
• Identify the recipient of the Access Fee
• Inform the Cardholder of the Access Fee amount
• Request Cardholder approval of the Access Fee
• Provide the ability for the Cardholder to cancel the ATM Transaction

ID#: 081010-180409-0007164



ATM Access Fee Disclosure on Transaction Receipt (Updated)

A receipt dispensed at an ATM must comply with the receipt requirements, as specified in "ATM
Transaction Receipt Requirements Table 7I-2." In addition, the receipt must disclose the amount of
the Access Fee, labeled as an "ATM Fee," "Terminal Fee," or "Access Fee," and the total debit
amount.

ID#: 080411-180409-0007227



ATM Clearing Record Requirements

An ATM Acquirer must submit an ATM Transaction for Clearing that includes the value of the cash
dispensed to the Cardholder as well as any Access Fee imposed, as specified in "ATM Access Fee
Fines for Non-Compliance."

ID#: 081010-180409-0007229



Domestic ATM Cash Disbursement Access Fees

An ATM Acquirer must not impose an Access Fee on domestic ATM Cash Disbursements, unless
local law expressly requires that an ATM Acquirer be permitted to impose an Access Fee.

An ATM Acquirer in a country where an Access Fee for domestic ATM Cash Disbursements is
permitted by Visa must comply with the requirements specified for International ATM Cash
Disbursement Access Fees.




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Variances to this requirement apply to:

• Australia
• The Canada Region
• The LAC Region, only to ATM Acquirers in Puerto Rico
• The U.S. Region

ID#: 081010-180409-0007996



Access Fees at ATM

An ATM Acquirer in a country where an Access Fee for domestic ATM Cash Disbursements is
permitted by Visa must comply with the requirements specified in "Visa Rights Pertaining to ATM
Access Fees.”

ID#: 081010-050609-0009042



ATM Access Fee - Canada Region (Updated)

An ATM Acquirer in the Canada Region may impose an Access Fee on an ATM Cash Disbursement.

An ATM Acquirer may impose an Access Fee if:

• It imposes an Access Fee on all other interchange transactions through other shared networks at
  the same ATM
• The Access Fee is not greater than the access fee amount on all other interchange transactions
  through other shared networks at the same ATM
• The ATM Cash Disbursement is a Domestic Transaction
• The Domestic Transaction is initiated by a Card issued by a Member other than the ATM Acquirer
• The Access Fee is a fixed and flat fee

ID#: 050411-180409-0004715



ATM Access Fee Disclosure - Canada Region

If a Canada ATM Acquirer imposes an Access Fee on ATM Cash Disbursements, the ATM Acquirer
must do all of the following at the ATM:

• Inform the Cardholder that an Access Fee is assessed in addition to the charges assessed by the
  Issuer
• Inform the Cardholder of the Access Fee amount
• Identify the ATM Acquirer as the recipient of the Access Fee
• Request Cardholder approval of the Access Fee
• Provide the ability for the Cardholder to cancel the Transaction

ID#: 010410-010410-0004718



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ATM Access Fee Disclosure on Transaction Receipt - Canada Region

A Canada ATM Acquirer that adds an Access Fee to an ATM Cash Disbursement Transaction must:

• Label the Access Fee on the Transaction Receipt as one of the following:
  - "ATM Fee"
  - "Terminal Fee"
  - "Access Fee"
• Identify the ATM Acquirer as the recipient of the Access Fee
• Include the Access Fee amount in the "Transaction Amount" field of the Transaction Record

If an Access Fee is imposed, the ATM Acquirer must include the Access Fee amount in the SMS
record in accordance with the appropriate VisaNet manual.

ID#: 010410-010410-0004719



Visa Rights Pertaining to ATM Access Fees - U.S. Region

Visa reserves the right to request any of the following from an ATM Acquirer in the U.S. Region:

• Notice of intent to impose an Access Fee on ATM Cash Disbursements
• A report with the physical location of each ATM and the total number of ATMs at which an Access
  Fee is imposed on ATM Cash Disbursements
• Message display and language disclosure related to Access Fees on an ATM Cash Disbursements

ID#: 081010-010410-0008829



ATM Access Fee Disclosure on Terminals - U.S. Region

An ATM Acquirer in the U.S. Region must disclose the Access Fee to the Cardholder via message
display.

ID#: 081010-180409-0007115



ATM Access Fee Disclosure - U.S. Region (Updated)

In the U.S. Region, the disclosure specified in "ATM Access Fee Disclosure on Terminals - U.S.
Region," must:

• Be readily visible to the Cardholder in the Cardholder's line of sight
• Be as high a contrast or resolution as any other graphics on the terminal
• Be a minimum of 4" x 4" with:
  - A heading of at least an 18-point type font
  - Text of at least 14-point type font
• Inform the Cardholder that an Access Fee is assessed, in addition to the charges assessed by the
  U.S. Issuer

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• Identify the recipient of the Access Fee
• Request Cardholder approval of the Access Fee
• Provide the ability for the Cardholder to cancel the ATM Transaction
• Contain one of the following notices:
  - Fee Notice "(Member Name) charges a ($ amount) fee to U.S. Cardholders for withdrawing
    cash. This fee is added to the amount of your withdrawal and is in addition to any fees that may
    be charged by your financial institution."
  - Fee Notice "(Member Name) charges a ($ amount) fee for withdrawing cash. This fee is added
    to the amount of your withdrawal and is in addition to any fees that may be charged by your
    financial institution."
  - Fee Notice "(Member Name) may assess a fee to Cardholders for transactions. This fee is
    added to the amount of your transaction and is in addition to any fees that may be charged by
    your financial institution."
  - Fee Notice "(Member Name) may assess a fee for transactions. This fee is added to the amount
    of your transaction and is in addition to any fees that may be charged by your financial
    institution."

ID#: 050411-010410-0004766



ATM Access Fee Disclosure on Transaction Receipt - U.S. Region 5.5.A

A U.S. ATM Acquirer that adds an access fee to an ATM Cash Disbursement Transaction must:

• Label the access fee on the Transaction Receipt as one of the following, as applicable:
  - "ATM Fee"
  - "Terminal Fee"
  - "Access Fee"
• State that the Member assessed the fee
• Include the access fee amount in the "Transaction Amount" field of the Transaction Record

ID#: 010410-010410-0004973



Domestic ATM Access Fees - CEMEA Region

In the CEMEA Region, with the prior written approval from Visa, an ATM Acquirer in Russia may
dispense Foreign Currency to Cardholders. Domestic Transactions completed in a non-domestic
currency may be subject to an Access Fee, added to the Transaction Amount, if all of the following
conditions are met:

• The Access Fee is applied to Domestic Transactions only
• The ATM must dispense both Rubles and Foreign Currency
• The Cardholder must be given the opportunity to cancel the Transaction and/or change the
  requested amount to be disbursed in Rubles without incurring additional charges

ID#: 010410-010410-0024130




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Global ATM Network PIN Requirements


Chip-Reading ATM Acquirer Requirements

An ATM Acquirer must ensure that all Chip-reading ATMs:

• Support "Online PIN"
• Do not support "Signature" or "No CVM (Cardholder Verification Method) required"

ID#: 010410-010410-0004793



Chip-Reading ATM Acquirer Requirements - Canada Region

A Canada ATM Acquirer must ensure that all ATMs with a Compliant Chip Card Reading Device do
not support the following:

• "Signature"
• "Offline PIN at ATM"
• "No CVM required"

ID#: 010410-010410-0004712



Chip-Reading ATM Online PIN Support - Canada Region

All ATM Acquirers in the Canada Region must ensure that all ATMs with a Compliant Chip Card
Reading Device support enciphered PINs that are verified online.

ID#: 010410-010410-0004711



ATM and PIN-Based POS Acceptance Requirements - CEMEA Region (Updated)

In the CEMEA Region, an ATM Acquirer and an Acquirer operating PIN-based POS devices must
comply with all of the following requirements:

• All newly deployed ATMs and PIN at POS acceptance devices, including replacement devices,
  must support Triple Data Encryption Standard (Triple DES)
• All Transactions verified by PIN must be Triple DES-encrypted from the point-of-acceptance to Visa
  and between Visa and the Issuer's host systems

ID#: 050411-010410-0004728




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ATM Issuer Requirements - U.S. Region


Visa Consumer Card Issuer ATM Requirements - U.S. Region

A Visa Consumer Card Issuer in the U.S. Region must:

• Participate in the Visa ATM Network
• Send an original, signed copy of the Issuer Option Selection Form (available from Visa) indicating
  the Issuer's decision to participate, its processing options, and its working keys to Visa so that it is
  received no later than 45 calendar days before implementation
• Correctly encode the Magnetic Stripe on the Card, as specified in the Payment Technology
  Standards Manual
• For Cards containing a Chip, also correctly program the Chip on the Card, as specified in the
  appropriate VisaNet manual

ID#: 021209-010210-0008431



Commercial Visa Product Issuer ATM Requirements - U.S. Region

A Commercial Visa Product Issuer in the U.S. Region must comply with the participation
requirements in the Visa International Operating Regulations if it participates in the Visa ATM
Network, as specified in "Visa Business or Visa Corporate Issuer ATM Requirements - U.S. Region."

ID#: 010410-010410-0004565



Visa Business or Visa Corporate Issuer ATM Requirements - U.S. Region

If requested by the subscribing company, a Visa Business Card or Visa Corporate Card Issuer in the
U.S. Region must participate in the Visa ATM Network by complying with the Visa Consumer Card
Issuer ATM requirements and Classic Visa Check Card ATM requirements specified in the Visa
International Operating Regulations. A Visa Purchasing Card Issuer may participate in the Visa ATM
Network by complying with the Classic Visa Check Card Issuer ATM requirements.

ID#: 010410-010410-0004561



ATM Access Fee Fines


ATM Access Fee Fines for Non-Compliance

An ATM Acquirer may be subject to a fine if it does not:

• Comply with the requirements specified in "Visa Rights Pertaining to ATM Access Fees"
• Populate the Access Fee amount in the appropriate field of the Authorization and Clearing Record

ID#: 081010-180409-0007228




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ATM Access Fee Fines

An ATM Acquirer may be subject to a fine of 3 times the amount of the Access Fee imposed during
the period of non-compliance, or as specified in the "General Schedule of Fines" table, whichever is
greater, if the Member does not:

• Notify Visa of its intent to impose an Access Fee, as specified in "Visa Rights Pertaining to ATM
  Access Fees"
• Populate the Access Fee amount, if any, in the appropriate field of the Authorization and Clearing
  Record

ID#: 081010-180409-0007161



ATM Access Fee Fines - Canada Region (Updated)

An ATM Acquirer may be subject to a fine of 3 times the amount of the Fees imposed during the
period of non-compliance, or as specified in "General Fines Schedule," whichever is greater, if the
Member does not comply with the Canada Regional Operating Regulations or Visa International
Operating Regulations.:

If an ATM Acquirer fails to include the Access Fee amount in the Single Message System record, the
fine will be per Transaction.

ID#: 050411-010410-0004720




Preauthorized Payment Cancellation Service - U.S. Region

Preauthorized Payment Cancellation Service Requirements - U.S. Region


Preauthorized Payment Cancellation Service Participation (New)

Effective 10 February 2011, Issuer participation in the Preauthorized Payment Cancellation Service
is optional and at the sole discretion of Visa. Visa may:

• Limit participation in the service
• Impose conditions on its use
• Discontinue the service at any time

ID#: 050411-100211-0026227




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Preauthorized Payment Cancellation Service Issuer Participation Requirements (New)

Effective 10 February 2011, an Issuer that participates in the Preauthorized Payment Cancellation
Service must:

• Correctly specify the type of stop payment order
• Provide complete and accurate information pertaining to the stop payment order
• Keep stop payment order information current in the Cardholder database
• Comply with:
  - Preauthorized Payment Cancellation Service - Issuer Quick Reference Guide
  - Preauthorized Payment Cancellation Service - Issuer Host System Implementation Guide

ID#: 050411-100211-0026228



Preauthorized Payment Cancellation Service Limitations (New)

Effective 10 February 2011, the Preauthorized Payment Cancellation Service and the information
obtained through participation in the service is the property of Visa and is for the sole use of Visa
Members in support of their Visa Card Programs.

A Member must not disclose Preauthorized Payment Cancellation Service information, other than
data relating to the Member's own Cardholder and/or Merchant, or any other information associated
with the service, to any other parties unless it is permitted in the Visa International Operating
Regulations or otherwise authorized by Visa.

ID#: 050411-100211-0026229



Preauthorized Payment Cancellation Service Participation - U.S. Region (Updated)

Effective through 9 February 2011, the Preauthorized Payment Cancellation Service is an optional
service in the U.S. Region that offers U.S. Issuers the ability to stop payment on certain
Preauthorized Transactions.

Issuer participation in the Preauthorized Payment Cancellation Service is optional and at the sole
discretion of Visa. Visa may:

• Limit participation in the service
• Impose conditions on its use
• Discontinue the service at any time

ID#: 050411-010410-0008417




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Preauthorized Payment Cancellation Service Participation Requirements - U.S.
Region (Updated)

Effective through 9 February 2011, a U.S. Issuer participating in the Preauthorized Payment
Cancellation Service must:

• Correctly specify the type of stop payment order
• Provide complete and accurate information pertaining to the stop payment order
• Keep stop payment order information current in the Cardholder database

ID#: 050411-010410-0004558



Preauthorized Payment Cancellation Service Limitations - U.S. Region (Updated)

Effective through 9 February 2011, in the U.S. Region, the Preauthorized Payment Cancellation
Service and the information obtained through participation in the service is the property of Visa and is
for the sole use of Visa Members in support of their Visa Card Programs.

A Member must not disclose Preauthorized Payment Cancellation Service information, other than
data relating to the Member's own Cardholder and/or Merchant, or any other information associated
with the service, to any other parties unless it is permitted in the Visa International Operating
Regulations or otherwise authorized by Visa.

ID#: 050411-010410-0008418



Preauthorized Payment Cancellation Service Declined Transaction Procedures - U.S.
Region (Updated)

Effective through 9 February 2011, a U.S. Merchant must not resubmit an Authorization Request
for a Preauthorized Transaction if it has received a Decline Response Reason Code of "R0" (stop
payment order).

If a Merchant receives a Decline Response of "R1" (revocation of authorization) or "R3" (revocation of
all authorizations) for a Preauthorized Transaction, the Merchant must:

• Not resubmit the Authorization Request
• Not submit an Authorization Request or deposit a Transaction Receipt for any future Transaction
  unless:
  - Instructed otherwise by the Cardholder
  - Merchant verifies with the Cardholder that the Cardholder has cancelled the revocation of
    authorization with the Issuer

ID#: 050411-010410-0008419




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Visa Account Updater Service

Visa Account Updater Service Requirements


Visa Account Updater Service - Issuer Participation Requirements (New)

Effective 10 February 2011, an Issuer that participates in the Visa Account Updater Service must:

• Comply with :
  - Visa Account Updater - Terms of Use
  - Visa Account Updater - Member Implementation Guide
  - Visa Account Updater - User’s Guide
• Provide updated Cardholder account information to the Visa Account Updater Service, including,
  but not limited to:
  - Account Number
  - Card expiration date

ID#: 050411-100211-0026124



Visa Account Updater Service - Acquirer Participation Requirements (New)
Effective 10 February 2011, an Acquirer that participates in the Visa Account Updater Service must:
• Comply with:
  - Visa Account Updater - Member Implementation Guide
  - Visa Account Updater - Terms of Use
  - Visa Account Updater - User's Guide
• Ensure that a Merchant that is designated as high-risk, does not have access to information on the
  Visa Account Updater Service

ID#: 050411-010100-0026125



Visa Account Updater Service - Information Requirements (New)

Effective 10 February 2011, a Member participating in the Visa Account Updater Service must:

• Comply with all applicable laws and regulations in collecting and providing information to, and using
  information supplied by, the Visa Account Updater Service
• Inform Visa immediately upon becoming aware that any of the information sent to or received from
  the Visa Account Updater Service does not meet the requirements specified in the:
  - Visa International Operating Regulations
  - Visa Account Updater - Terms of Use
• Ensure that all information sent to the Visa Account Updater Service is accurate



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• Protect the security of the information sent to or received from the Visa Account Updater Service
• Investigate claims of inaccuracies in the information sent to or received from the Visa Account
  Updater Service and correct any inaccurate information
• Inform Visa, immediately upon discovery, of any inaccuracies in information in the Visa Account
  Updater Service

ID#: 050411-100211-0026126



Disclosure of Visa Account Updater Service Information (New)

Effective 10 February 2011, Cardholder information obtained from the Visa Account Updater Service
must be disclosed by a participating Member only to a Merchant that:

• Has an existing relationship with the Cardholder and has the Cardholder's account information on
  file
• Is registered in the Visa Account Updater Service
• Is identified in the Acquirer inquiry file, as specified in the Visa Account Updater - Terms of Use

ID#: 050411-100211-0026127



Visa Account Updater Service Participation – AP Region (New)

Effective 15 October 2011, in the AP Region, a Member in Australia must participate in the Visa
Account Updater Service, as specified in the Visa Account Updater – Terms of Use.

Effective 14 April 2012, in the AP Region, a Member in New Zealand must participate in the Visa
Account Updater Service, as specified in the Visa Account Updater – Terms of Use.

ID#: 050411-151011-0026128



Visa Account Updater Service Requirements Canada Region


Visa Account Updater Service Participation - Canada Region (Updated)

Effective through 9 February 2011, a Canada Member may participate in the Visa Account Updater
Service, as specified in the Visa Account Updater Terms of Use.

ID#: 050411-010100-0025774




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Visa Account Updater Service Cardholder Account Information - Canada Region
(Updated)

Effective through 9 February 2011, a Canada Issuer participating in the Visa Account Updater
Service must comply with the Visa Account Updater requirements specified in the Visa Account
Updater Terms of Use.

The Issuer must provide updated Cardholder account information to the Visa Account Updater,
including, but not limited to:

• New Account Number
• New Card expiration date

ID#: 050411-100211-0025775



Visa Account Updater Service Participation Requirements - Canada Region (Updated)

Effective through 9 February 2011, a Canada Acquirer participating in the Visa Account Updater
Service must comply with the Visa Account Updater requirements specified in the Visa Account
Updater Terms of Use.

The Acquirer must ensure that a Merchant designated as a high-risk merchant, as defined in the Visa
Account Updater Terms of Use, does not have access to Visa Account Updater information.

ID#: 050411-100211-0025776



Visa Account Updater Service Information Requirements - Canada Region (Updated)

Effective through 9 February 2011, a Canada Member participating in the Visa Account Updater
Service must:

• Comply with all applicable laws and regulations in collecting and providing the information to, and
  using the information supplied by, the Visa Account Updater Service
• Inform Visa as soon as possible upon becoming aware that any of the information sent to or
  received from the service does not meet the requirements specified in the:
  - Visa International Operating Regulations
  - Visa Account Updater Terms of Use
• Use reasonable efforts to ensure that all information sent to the service is accurate
• Take reasonable steps to protect the security of the information sent to or received from the Visa
  Account Updater Service
• Promptly investigate claims of inaccuracies in the information supplied to or by the Visa Account
  Updater and correct any inaccurate information
• Notify Visa of any inaccuracies

ID#: 050411-100211-0025777




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Disclosure of Visa Account Updater Service Information - Canada Region (Updated)

Effective through 9 February 2011, in the Canada Region, Visa Account Updater information may
be disclosed by a participating Member only to a Merchant that:

• Has an existing relationship with the Cardholder and has the Cardholder's account information on
  file
• Is registered in the Visa Account Updater program
• Is identified in the Acquirer inquiry file, as specified in the Visa Account Updater Terms of Use

ID#: 050411-100211-0025778



Visa Account Updater Service Requirements - U.S. Region


Visa Account Updater Service Participation - U.S. Region (Updated)

Effective through 9 February 2011, a U.S. Member may participate in the Visa Account Updater
Service, as specified in the Visa Account Updater Terms of Use.

ID#: 050411-010410-0003308



Visa Account Updater Service Cardholder Account Information - U.S. Region
(Updated)

Effective through 9 February 2011, a U.S. Issuer participating in the Visa Account Updater Service
must comply with the Visa Account Updater requirements specified in the Visa Account Updater
Terms of Use.

The Issuer must provide updated Cardholder account information to the Visa Account Updater,
including, but not limited to:

• New Account Number
• New Card expiration date

ID#: 050411-010210-0008420



Visa Account Updater Service Participation Requirements - U.S. Region (Updated)

Effective through 9 February 2011, a U.S. Acquirer participating in the Visa Account Updater
Service must comply with the Visa Account Updater requirements specified in the Visa Account
Updater Terms of Use.

The Acquirer must ensure that a Merchant designated as a high-risk merchant, as defined in the Visa
Account Updater Terms of Use, does not have access to Visa Account Updater information.

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Visa Account Updater Service Information Requirements - U.S. Region (Updated)

Effective through 9 February 2011, a U.S. Member participating in the Visa Account Updater
Service must:

• Comply with all applicable laws and regulations in collecting and providing the information to, and
  using the information supplied by, the Visa Account Updater
• Inform Visa as soon as possible upon becoming aware that any of the information sent to or
  received from the service does not meet the requirements specified in the:
  - Visa International Operating Regulations
  - Visa Account Updater Terms of Use
• Use reasonable efforts to ensure that all information sent to the service is accurate
• Take reasonable steps to protect the security of the information sent to or received from the Visa
  Account Updater
• Promptly investigate claims of inaccuracies in the information supplied to or by the Visa Account
  Updater and correct any inaccurate information
• Notify Visa of any inaccuracies

ID#: 050411-010210-0003309



Disclosure of Visa Account Updater Service Information - U.S. Region (Updated)

Effective through 9 February 2011, in the U.S. Region, Visa Account Updater information may be
disclosed by a participating Member only to a Merchant that:

• Has an existing relationship with the Cardholder and has the Cardholder's account information on
  file
• Is registered in the Visa Account Updater program
• Is identified in the Acquirer inquiry file, as specified in the Visa Account Updater Terms of Use

ID#: 050411-010410-0003311




Health Care Eligibility Service - U.S. Region

Health Care Eligibility Service Requirements - U.S. Region


Health Care Eligibility Service Acquirer Requirements - U.S. Region

A U.S. Acquirer participating in the Health Care Eligibility Service must comply with the:

• Health Care Eligibility Service requirements specified in the Health Care Eligibility Service
  Implementation Guide
• Merchant Agreement requirements specified below




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The Acquirer must ensure that:

• A Health Care Merchant that participates in the Health Care Eligibility Service complies with all the
  provisions of the Health Care Eligibility Service Implementation Guide pertaining to health care
  eligibility transactions
• The substance of provisions are included in its Merchant Agreement or as a separate addendum

ID#: 010410-010410-0008424



Health Care Eligibility Service Merchant Requirements - U.S. Region

A U.S. Health Care Merchant that participates in the Health Care Eligibility Service must comply with
the requirements of the Health Care Eligibility Service Implementation Guide.

ID#: 010410-010410-0004670




Visa Risk Products and Services

Visa Advanced Authorization


Visa Advanced Authorization Participation

Where available, Visa Advanced Authorization is an optional, subscription-based, real-time risk
management product that delivers risk data to Issuers in the Authorization Request to alert them to
possible fraudulent activity on their Cardholder accounts.

An Issuer and its Processor that wish to implement Visa Advanced Authorization must:

• Comply with the certification requirements for Visa Advanced Authorization as specified in the
  appropriate VisaNet manual
• Complete an end-to-end validation test in accordance with the requirements specified in the Visa
  Advanced Authorization Integration Guide
• Comply with the terms and conditions specified in the Visa Advanced Authorization Integration
  Guide

ID#: 010410-010410-0008446




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Visa Advanced Authorization Confidentiality Requirements

An Issuer participating in Visa Advanced Authorization and its Processor must:

• Comply with confidentiality and security requirements related to the use of the VisaNet system and
  Visa confidential information
• Store all Visa Advanced Authorization operational materials, such as manuals and password
  protected CD-ROMs, in a secure area limited to selected personnel, and render all data unreadable
  prior to discarding such materials

ID#: 010410-010410-0002400



Verified by Visa / 3-D Secure / Visa Secure Electronic Commerce


Verified by Visa Requirements and Penalties

Issuers and Acquirers or their Merchants that conduct Verified by Visa Transactions must comply with
the requirements of the Verified by Visa Global Performance Enhancement Program, as specified in
the:

• Verified by Visa Acquirer and Merchant Implementation Guide
• Verified by Visa Issuer Implementation Guide

If Visa determines that an Issuer or an Acquirer or its Merchant has failed to meet the requirements of
the Verified by Visa Global Performance Enhancement Program, the Member is subject to the fines
and penalties in the "General Schedule of Fines" table.

ID#: 010410-010410-0001219



Verified by Visa Penalties for Excessive Decline Rates

An Issuer determined to be non-compliant with the criteria specified in "Decline Response Prohibition
for Verified by Visa Transactions" is subject to penalties.

ID#: 010410-010410-0001279



Verified by Visa Issuer Participation Requirements

An Issuer that participates in Visa Secure Electronic Commerce and supports an Authentication
Method for Electronic Commerce Transactions must:

• Use an Authentication Mechanism
• Comply with Visa-established policies, procedures, operating guidelines, and standards specified in
  the Verified by Visa Issuer Implementation Guide

ID#: 010410-010410-0004042




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Verified by Visa Digital Certificate Prohibitions

A Member must not use a Digital Certificate issued by or associated with Visa as an Authentication
Mechanism for a non-Visa product or service unless previously approved by Visa.

ID#: 010410-010410-0008468



Verified by Visa Cardholder Enrollment

During Cardholder enrollment in the Verified by Visa program, an Issuer that participates in 3-D
Secure must use a combination of on-Card and off-Card data and comply with the Verified by Visa
Issuer Implementation Guide.

ID#: 010410-010410-0004045



Verified by Visa Issuer Authentication Standards

An Issuer must comply with the Issuer Authentication standards, as specified in the Verified by Visa
Issuer Implementation Guide.

ID#: 010410-010410-0004046



Issuer Use of the Verified by Visa Mark

An Issuer that uses the Verified by Visa Mark must ensure that:

• Its 3-D Secure components have successfully met the requirements of the Visa 3-D Secure Vendor
  Compliance Testing Program
• Its purchase authentication page complies with the layout requirements for data elements and the
  Verified by Visa Mark outlined in the Visa Product Brand Standards

ID#: 010410-010410-0004047



Verified by Visa Unable-to-Authenticate Response Conditions

An Issuer may respond to an Authentication Request with an Unable-to-Authenticate Response only
under one or more of the following conditions:

• The Issuer experiences technical problems that prevent a timely response
• Authentication data received from the Merchant does not comply with the 3-D Secure Electronic
  Commerce Transaction Specification
• The Transaction is received from a New Channel not supported by the Issuer
• The Transaction is attempted with a Visa Commercial Card
• The Transaction is attempted with a Card where the Cardholder is anonymous, such as a prepaid
  gift card

ID#: 010410-010410-0006914




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Verified By Visa Acquirer Requirements

An Acquirer that participates in Visa Secure Electronic Commerce and supports an Authentication
Method for Electronic Commerce Transactions must comply with Visa-established policies,
procedures, operating guidelines, and standards specified in the Verified by Visa Acquirer and
Merchant Implementation Guide.

ID#: 010410-010410-0004616



Acquirer Use of Digital Certificates

An Acquirer that issues Digital Certificates to its Merchants or Internet Payment Service Providers to
enable them to access Visa-owned system components must only use Digital Certificates associated
with Visa.

ID#: 010410-010410-0004617



Acquirer 3-D Secure Support Requirements

An Acquirer must support 3-D Secure for its Electronic Commerce Merchants.

ID#: 010410-010410-0004619



Verified by Visa Chip Card Security Requirements

Chip Card programs using Private Keys stored on Internet-connected servers must meet Visa risk
management and security standards.

ID#: 010410-010410-0004620



Verified by Visa Acquirer Compliance Requirements

An Acquirer that participates in 3-D Secure must comply with the requirements in the Verified by Visa
Acquirer and Merchant Implementation Guide.

ID#: 010410-010410-0004621



Verified by Visa Merchant Risk Practices

An Acquirer and its Merchant that participate in Verified by Visa must maintain or implement fraud
and risk practices in addition to Verified by Visa such as, but not limited to:

• Address Verification Services
• Card Verification Value 2
• Velocity Checks

ID#: 010410-010410-0004622




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Acquirer Use of the Verified by Visa Mark

An Acquirer that uses the Verified by Visa Mark in its 3-D Secure program must:

• Comply with the Visa Product Brand Standards
• Ensure that its 3-D Secure components have successfully met the requirements of the Visa 3-D
  Secure Vendor Compliance Testing Program
• Ensure that its Merchant using the Verified by Visa Mark:
  - Uses certified and operational 3-D Secure software on their Websites
  - Complies with the Visa Product Brand Standards
  - Does not use the Mark unless it is a 3-D Secure participant
  - Does not use the Mark in a way that implies endorsement of any other product or service
  - Does not use the Mark to indicate payment acceptance in any application

ID#: 010410-010410-0008630



3-D Secure Availability Notification

An Acquirer must notify its Electronic Commerce Merchants of the availability of 3-D Secure.

ID#: 010410-010410-0004624



Verified by Visa Acquirer Participation Requirements

An Acquirer must:

• Ensure that its participating Electronic Commerce Merchants comply with all Visa International
  Operating Regulations regarding 3-D Secure and Verified by Visa, and that the substance of these
  requirements is included in the Merchant Agreement
• Ensure that its participating Merchants or agents that process 3-D Secure Transactions comply
  with the requirements specified in the:
  - Verified by Visa Acquirer and Merchant Implementation Guide
  - Payment Card Industry Data Security Standard (PCI DSS)
• Include the following in an Authorization Request, as a condition of using Electronic Commerce
  Transaction Indicator (ECI) value "5" or "6" in the Clearing Record:
  - For ECI value 5, "Secure Electronic Commerce Transaction," both Cardholder Authentication
    Verification Value and Authentication Identifier
  - For ECI value 6, "Non-Authenticated Security Transaction and the Merchant attempted
    Cardholder authentication using 3-D Secure," both Cardholder Authentication Verification Value
    and Authentication Identifier if the Cardholder Authentication Verification Value was provided by
    the Issuer

ID#: 010410-010410-0004625




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Unable-to-Authenticate Response for Visa Commercial Cards - AP Region

For Intraregional and Domestic Transactions in the AP Region, if a Transaction is attempted with a
Visa Commercial Card, an AP Issuer must not respond to an Authentication Request with an Unable-
to- Authenticate Response.

ID#: 010410-010410-0004655



Verified by Visa in Australia - AP Region (New)

Effective 1 April 2011, all newly issued Visa credit, debit and Reloadable Cards must be enrolled in
Verified by Visa.

Effective 1 April 2012, all Visa credit, debit and Reloadable Cards must be enrolled in Verified by
Visa.

Visa Commercial Card Virtual Accounts are excluded from this mandate.

ID#: 050411-060111-0026148



Verified by Visa in China - AP Region

Effective 1 June 2010, all new Verified by Visa programs in China must provide Dynamic
Authentication to Cardholders.

Effective 1 June 2011, all Verified by Visa programs in China must provide Dynamic Authentication
to Cardholders.

An Issuer that fails to comply with the Dynamic Authentication requirements in China will be subject to
a fine of US $5,000 for each month of non-compliance.

ID#: 081010-010610-0025711



Verified by Visa in New Zealand - AP Region (New)

Effective 1 April 2010, in New Zealand, all newly-issued Visa credit, debit and Reloadable Cards
must be enrolled in Verified by Visa.

Effective 1 April 2012, in New Zealand, all Visa credit, debit and Reloadable Cards must be enrolled
in Verified by Visa.

Visa Commercial Card Virtual Accounts are excluded from this mandate.

ID#: 050411-060211-0026182




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Verified by Visa Activate Later Feature - Canada Region

A Canada Issuer participating in Verified by Visa must offer the Activate Later Feature to its
Cardholders, provided the Cardholder:

• Is not already enrolled in 3-D Secure
• Is not a Visa Commercial Cardholder
• Is involved in an Electronic Commerce Transaction at an Activate Later Merchant
• Has not been offered the Activate Later Feature more than a total of 3 times

ID#: 010410-010410-0004648



Verified by Visa Activate Later Feature Enrollment - Canada Region

A Canada Cardholder that has used the Activate Later Feature for a total of 3 times may be required
by the Issuer to enroll in 3-D Secure during the Cardholder's next Electronic Commerce Transaction.

ID#: 010410-010410-0004649



Verified by Visa Unable-to-Authenticate Response - Canada Region

In addition to the conditions listed in the "Verified by Visa Unable-to-Authenticate Response
Conditions," a Canada Issuer may provide an Unable-to-Authenticate Response when the Cardholder
elects to use the Activate Later Feature to postpone enrollment in 3-D Secure when presented with
the opportunity during an Electronic Commerce Transaction.

ID#: 010410-010410-0004650



Verified by Visa Activate Later Feature Merchant Requirements - Canada Region

A Canada Acquirer may offer the Activate Later Feature to an Electronic Commerce Merchant
provided the Electronic Commerce Merchant:

• Is enrolled in good standing in 3-D Secure (commonly known as the Verified by Visa program)
• Has at least 10,000 Electronic Commerce Transactions annually or has Electronic Commerce
  Transactions valued in excess of CAD $1,000,000 annually
• Has been approved by Visa
• Has a written agreement with its Acquirer to participate in the Activate Later Feature

ID#: 010410-010410-0005384




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MPI Client Certificate Requirements - Canada Region

All existing and new Electronic Commerce Merchants in the Canada Region that enroll in 3-D Secure
must use an MPI Client Certificate for Merchant authentication in 3-D Secure.

ID#: 010410-010410-0008454



MPI Certificate Requirements - Canada Region

All Electronic Commerce Merchants in the Canada Region that enroll in 3-D Secure must follow the
MPI Certificate requirements of the 3-D Secure Merchant Authentication Member Implementation
Guide. Canada Members may obtain a copy of this guide from Visa.

ID#: 010410-010410-0005241



Verified by Visa Nigerian Issuer Participation - CEMEA Region (Updated)

In the CEMEA Region, a Nigerian Issuer must participate in Verified by Visa if it offers Electronic
Commerce functionality to its Cardholders.

ID#: 050411-140110-0004447



Verified By Visa Acquirer Requirements - CEMEA Region

A CEMEA Acquirer must process Electronic Commerce Transactions using Verified by Visa.

ID#: 010410-010410-0004651



Secure Transaction Data Transmission Requirements - CEMEA Region

A CEMEA Acquirer of a Merchant that processes Electronic Commerce Transactions must ensure
secure Transaction data transmission between the Cardholder and the Merchant. Secure Socket
Layer (SSL) encryption or Secure Electronic Transaction (3D-Secure) encryption must be offered by
the Merchant to the Cardholder. Merchant Agreements must include this requirement.

ID#: 010410-010410-0004652



Merchant Authentication Requirements - CEMEA Region

A CEMEA Acquirer must implement the strongest possible method of Merchant authentication to the
Visa system, and must upgrade their existing Merchant authentication method to the strongest level
available within 12 months of the method becoming available.

ID#: 010410-010410-0004653




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3-D Secure Account and Cardholder Data Requirements - CEMEA Region

A CEMEA Acquirer must implement 3-D Secure in such a way that the account and Cardholder
details are never in the Merchant's possession.

ID#: 010410-010410-0004654



Verified by Visa Nigerian Acquirer Usage Requirements - CEMEA Region

A CEMEA Acquirer located in Nigeria must not process any domestic Electronic Commerce
Transaction unless Verified by Visa verification is received and authenticated.

ID#: 010410-010410-0005373



Visa Secure Electronic Commerce Participation Requirements - U.S. Region

A U.S. Member participating in Visa Secure Electronic Commerce must:

• Complete the Visa Secure Electronic Commerce enrollment process
• Obtain permission from its Principal-Type Member (if the Member is a Sponsored Member)
• As applicable, implement product security measures in accordance with Certification Authority and
  Payment Gateway, or 3-D Secure Specification standard requirements

ID#: 010410-010410-0008453



Cardholder Authentication Verification Value - U.S. Region

If a U.S. Issuer does not implement the 3-D Secure Specification, Visa will provide an Attempt
Response that contains a Cardholder Authentication Verification Value (CAVV) on behalf of the
Issuer in response to an Authentication Request from a 3-D Secure Merchant.

Visa assesses a fee to an Issuer for providing a CAVV on its behalf. Fee information is available from
Visa upon request.

ID#: 010410-010410-0003929



3-D Secure Issuer Participation Requirements - U.S. Region (Updated)

A U.S. Issuer that participates in 3-D Secure must comply with the Visa International Operating
Regulations and the Verified by Visa Issuer Implementation Guide - U.S. Region.

ID#: 050411-010410-0003930




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Visa Secure Electronic Commerce Participation Options - U.S. Region

A U.S. Member participating in Visa Secure Electronic Commerce may:

• Use the Visa 3-D Secure Services
• Obtain software from a Visa-approved vendor
• Contract with a Visa-approved third party
• Develop its own service

ID#: 010410-010410-0008464



Visa Secure Electronic Commerce Cardholder Authentication - U.S. Region

A participating U.S. Issuer must provide Cardholder authentication that functions across multiple
Cardholder Access Devices.

ID#: 010410-010410-0003932



3-D Secure Cardholder Authentication Verification Requirements - U.S. Region
(Updated)

A U.S. Issuer must:

• Provide a unique authentication response to each Authentication Request received from a
  participating 3-D Secure Merchant
• Include a Cardholder Authentication Verification Value (CAVV) in the following responses to an
  Authentication Request:
  - Authentication Confirmation
  - Attempt Response

For an Attempt Response, Visa may provide a CAVV on behalf of an Issuer, and subsequently
validate the CAVV at Authorization. See the Verified by Visa Issuer Implementation Guide - U.S.
Region for more information.

• Provide Visa with its CAVV keys for Stand-In-Processing
• Validate the CAVV during Authorization

ID#: 050411-010410-0003933




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Visa Secure Electronic Commerce Authentication Records - U.S. Region

A U.S. Issuer participating in Visa Secure Electronic Commerce must:

• Retain a log of all Authentication Requests and Authentication Records
• Upon request, provide the log to Visa for Arbitration or Compliance case processing
• Submit a copy of all 3-D Secure Authentication Records to the Authentication History Server
  maintained by Visa. Authentication Records include:
  - Attempt Responses
  - Authentication Confirmations
  - Authentication Denials
  - Unable to Authenticate Responses

ID#: 010410-010410-0003934



Visa Secure Electronic Commerce Authentication Approval Rate - U.S. Region

A participating U.S. Issuer participating in Visa Secure Electronic Commerce must maintain a monthly
3-D Secure authentication approval rate of 95%, as specified in the 3-D Secure Issuer
Implementation Guide.

This performance requirement does not apply to Transactions involving an attempted 3-D Secure
authentication, where either the Cardholder or Issuer was not a 3-D Secure participant.

ID#: 010410-010410-0008455



Visa Secure Electronic Commerce Program Compliance - U.S. Region (Updated)
A U.S. Member that participates in Visa Secure Electronic Commerce must comply with the
Visa
International Operating Regulations and the polic ies, procedures, operating requirements, and
standards specified in the Verified by Visa Acquirer and Merchant Implementation Guide - U.S.
Region.

ID#: 010410-010410-0004592



Electronic Commerce Acquirer Requirements - U.S. Region

A U.S. Acquirer that has a Merchant Agreement with an Electronic Commerce Merchant must comply
with the Visa International Operating Regulations and must:

• Meet all minimum requirements for Merchant server processing
• Comply with the Visa-established policies, procedures, and operating guidelines governing 3-D
  Secure Specification Transactions

ID#: 010410-010410-0004605




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Visa Secure Electronic Commerce Chargeback Protection Limitations, Ineligible
Merchant Category Codes - U.S. Region

A U.S. Acquirer must notify its Merchants participating in Visa Secure Electronic Commerce in the
following Merchant Category Codes that their Electronic Commerce Transactions are not eligible for
protection from Chargeback Reason Code 75, "Cardholder Does Not Recognize Transaction," and
Chargeback Reason Code 83, "Fraudulent Transaction-Card-Absent Environment":

• MCC 4829, "Wire Transfer Money Orders"
• MCC 5967, "Direct Marketing - Inbound Teleservices Merchant"
• MCC 6051, "Non-Financial Institutions - Foreign Currency, Money Orders (not Wire Transfer),
  Travelers' Cheques"
• MCC 7995, "Betting including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and
  Wagers at Race Tracks"

ID#: 010410-010410-0004608



Visa Secure Electronic Commerce Chargeback Protection Limitations, Ineligible
Merchants - U.S. Region

A U.S. Acquirer must notify any of its Merchants participating in Visa Secure Electronic Commerce
identified in the Merchant Chargeback Monitoring Program or Risk Identification Service Online that
their Electronic Commerce Transactions are not eligible for Chargeback protection from:

• Chargeback Reason Code 75, "Cardholder Does Not Recognize Transaction"
• Chargeback Reason Code 83, "Fraudulent Transaction-Card-Absent Environment"

Merchants must be notified that they remain ineligible while they are in either program, plus 4
additional months after exiting the program.

ID#: 010410-010410-0008456



Electronic Commerce Indicator Requirement - U.S. Region

A U.S. Acquirer must ensure that its Merchant transmits an Electronic Commerce Transaction
Indicator 7, "Non-Authenticated Security Transaction," in the Authorization Request and Clearing
Record for fully authenticated Transactions and attempted authentication Transactions within 30 days
of Notification from Visa that the participating 3-D Secure Merchant is identified in the Merchant
Chargeback Monitoring Program or Risk Identification Service Online.

ID#: 010410-010410-0004611




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Requirements for High-Risk Merchants that Enable 3-D Secure - U.S. Region

The requirements specified in "Visa Secure Electronic Commerce Chargeback Protection Limitations
(Ineligible Merchants) - U.S. Region" and "Electronic Commerce Indicator Requirement - U.S.
Region" also apply to U.S. Merchants that enable 3-D Secure while identified in the Merchant
Chargeback Monitoring Program or Risk Identification Service Online.

ID#: 010410-010410-0004612



Visa Risk Manager


Visa Risk Manager

Where available, Visa Risk Manager is an optional, subscription-based suite of risk management
products that allows Issuers to react to high-risk Transactions at the Point-of-Transaction as well as to
conduct offline case management.

ID#: 010410-010410-0008937



Visa Risk Manager - U.S. Region (Updated)

Where available in the U.S. Region, Visa Risk Manager is an optional suite of subscription-based risk
management products designed to help Issuers optimize loss prevention and maximize profitability
through intelligent risk-management decisioning. An Issuer may subscribe to one or all of the
following:

• Visa Real-Time Decisioning, which allows Visa to act on behalf of an Issuer to decline or forward
  high-fraud-risk Transactions using predefined rules created by the Issuer. It also supports both
  "Issuer available" and "Issuer unavailable" processing options.
• Visa Case Manager, which enables an Issuer to view and prioritize suspicious purchase activity
  that requires further investigation to confirm that the Cardholder participated in the Transaction
• Visa Rules Manager, a web-based solution, which allows an Issuer to create, test, and publish
  customized "decisioning" rules that incorporate key elements of the Authorization message as well
  as risk intelligence from Visa Advanced Authorization. Visa Rules Manager publishes rules
  throughout the day at scheduled intervals so that Issuers can dynamically respond to emerging
  fraud schemes.

ID#: 050411-010410-0008465




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Visa Advanced ID Solutions - U.S. Region


ID Security Alerts Service Participation Requirements U.S. Region (Updated)

Effective 12 August 2010, participation in the ID Security Alerts Service is optional and at the
discretion of Visa. A participating Issuer or Issuer’s agent must:

• Register with Visa by submitting a completed ID Security Alerts Service Participation Agreement
• Provide Visa with Account Numbers and Social Security Numbers that are eligible to be enrolled in
  the service
• Comply with:
  - Visa Alerts Platform: ID Security Alerts – High Level Service Description
  - Visa Alerts Platform: ID Security Alerts – Technical Implementation Guide - Issuer
  - Visa Alerts Platform: Web Services Specifications
  - Visa Alerts Platform: White Label Website Issuer Specifications

ID#: 050411-010100-0025924



BankruptcyPredict Service - U.S. Region


BankruptcyPredict Service Description - U.S. Region

The BankruptcyPredict Service is designed to reduce a U.S. Member's losses related to the
bankruptcy of Cardholders, cardholders of non-Visa cards, and customers of other Visa and non-Visa
products by using consumer account performance data, Transaction data, consumer credit data, and
a proprietary model to:

• Score the participating Member's Cardholders, cardholders of non-Visa cards, and customers of
  other Visa and non-Visa products to predict the likelihood of bankruptcy
• Provide daily account-consumer level risk alerts
• Provide monthly risk scores for a participating Member's portfolio

ID#: 010410-010410-0001934




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BankruptcyPredict Service Agreement - U.S. Region

To participate in the BankruptcyPredict Service, a U.S. Member must sign a service agreement with
Experian Information Solutions, Inc., which can be obtained at one of the following addresses:

BankruptcyPredict Service Integrated Solutions Concepts, Inc.

P.O. Box 8999

San Francisco, CA 94128

Experian Information Solutions, Inc.

Attn: Contracts Division

475 Anton Boulevard

Costa Mesa, CA 92626

Visa assesses fees to Issuers that participate in the BankruptcyPredict Service. Fee information is
available upon request.

ID#: 010410-010410-0007346



BankruptcyPredict Service Rights and Obligations - U.S. Region

All rights and obligations between a U.S. Member and Experian Information Solutions, Inc., its
subsidiaries and affiliates are set forth in and are governed solely by the service agreement between
the Member and Experian Information Solutions, Inc. The Member agrees to comply with all
restrictions on use of the BankruptcyPredict Service set forth in such agreement, including with
respect to permissible purpose requirements under the U.S. Federal Fair Credit Reporting Act.
Without impairing any legal or equitable rights of Experian Information Solutions, Inc. under such
agreement, Integrated Solutions Concepts, Inc. will, with respect to any non-compliance by the
Member of such use restrictions, be entitled to enforce as a third party beneficiary the terms of such
agreement against the Member and seek all available remedies.

ID#: 081010-010410-0001936



BankruptcyPredict Service Information Requirements - U.S. Region

A U.S. Member must furnish Transaction, account, and certain other information to Integrated
Solutions Concepts, Inc., as specified in the BankruptcyPredict Service User's Guide. The Member
designates Visa and its subsidiaries and affiliates to act as agents of the Member for accessing
and/or transmitting the Member's information in connection with the BankruptcyPredict Service to
Integrated Solutions Concepts, Inc., and from Integrated Solutions Concepts, Inc. to Experian
Information Solutions, Inc. In the event that the Member requests that the BankruptcyPredict Service
be delivered via Integrated Solutions Concepts, Inc., the Member designates Integrated Solutions
Concepts, Inc. as its agent to and on behalf of the Member request and receive from Experian
Information Solutions, Inc. the BankruptcyPredict Service, and to transmit the same to the Member.

ID#: 010410-010410-0001937



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BankruptcyPredict Service Member Requirements - U.S. Region

A U.S. Member must comply with the following requirements for the reporting and use of Transaction,
account, and the other information provided to Integrated Solutions Concepts, Inc.:

• Provide monthly reports for all new and previously reported accounts
• Comply with the information delivery requirements (media, format, and other requirements)
  specified in the BankruptcyPredict Service User's Guide
• Protect the security of the information sent to Integrated Solutions Concepts, Inc.
• Comply with all applicable laws and regulations in collecting and providing the information to
  Integrated Solutions Concepts, Inc. including, without limitation, the requirements under the U.S.
  Federal Fair Credit Reporting Act
• Ensure that all information sent to Integrated Solutions Concepts, Inc. is accurate
• Inform Integrated Solutions Concepts, Inc. as soon as possible upon becoming aware of any
  information sent to Integrated Solutions Concepts, Inc. that is inaccurate or otherwise does not
  comply with the requirements in this section
• Promptly investigate claims of inaccuracies in the information supplied to Integrated Solutions
  Concepts, Inc. and correct any information that cannot be verified as accurate
• Refer to the Integrated Solutions Concepts, Inc. Consumer Office any request to disclose the
  contents of a report supplied by the BankruptcyPredict Service

ID#: 010410-010410-0001938



Permitted Use of BankruptcyPredict Service - U.S. Region

A U.S. Member must use the BankruptcyPredict Service only:

• For a permissible purpose under the U.S. Federal Fair Credit Reporting Act
• As permitted in the service agreement between Member and Experian Information Solutions, Inc.
  specified in "BankruptcyPredict Service Agreement - U.S. Region"

ID#: 010410-010410-0001940



BankruptcyPredict Service Member Certification - U.S. Region
Upon request by Integrated Solutions Concepts, Inc., a U.S. Member must certify the purpose(s) for
which it uses the BankruptcyPredict Service.

ID#: 010410-010410-0001941



BankruptcyPredict Service - Additional Information - U.S. Region

In the U.S. Region, refer to the BankruptcyPredict Service User's Guide for additional information,
procedures, and requirements of the BankruptcyPredict Service.

ID#: 010410-010410-0001946




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BankruptcyPredict Service Information Provision - U.S. Region

A U.S. Member authorizes Visa and Integrated Solutions Concepts, Inc. to use or transfer, including
to correct or update, the information reported by the Member to Integrated Solutions Concepts, Inc.
for any purpose permitted under applicable law, including but not limited to:

• Providing the information to Experian Information Solutions, Inc. for purpose of providing the
  BankruptcyPredict Service
• Providing to Members or other customers any Visa service or product
• Providing the information to Experian Information Solutions, Inc. or any other Credit Bureau for any
  use permitted to Experian Information Solutions, Inc. or such other Credit Bureau under their
  agreement with Visa or Integrated Solutions Concepts, Inc. and under applicable law

The Member must not:

• Provide information to Integrated Solutions Concepts, Inc. that is the result of an investigative
  consumer report within the meaning of Section 1681a(h) of the Federal Fair Credit Reporting Act
• Continue to transmit to Integrated Solutions Concepts, Inc. any information that cannot be verified
  as accurate

ID#: 010410-010410-0008452



MoneyChoices - U.S. Region


MoneyChoices Participation - U.S. Region

In the U.S. Region, participation in the MoneyChoices program is optional and at the discretion of
Visa, which may limit participation, impose conditions on its use, and discontinue the program at any
time.

ID#: 010410-010410-0008459



MoneyChoices Participation Requirements - U.S. Region

A U.S. Member that wants to participate in the MoneyChoices program must submit a subscription
request and adhere to program requirements outlined in the MoneyChoices User's Guide.

ID#: 010410-010410-0008460




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MoneyChoices Information - U.S. Region

The MoneyChoices Website is intended as an educational resource for Cardholders in need of
financial planning or money-management skills. The information and materials provided through the
MoneyChoices Web site are the property of Visa and are for the sole use of the U.S. Member in
providing the MoneyChoices program to its Cardholders.

A U.S. Member must not disclose any MoneyChoices information to any third party without
permission from Visa.

ID#: 010410-010410-0008461



Address Verification Service (AVS)


Address Verification Service (AVS) Results Code - Canada Region

A Canada Acquirer participating in the Address Verification Service (AVS) must populate the AVS
results code received in the BASE I Authorization Response message in a Transaction's
corresponding BASE II Clearing Record.

ID#: 010410-010410-0005383



Address Verification Service (AVS) Participation - U.S. Region

A U.S. Issuer must:

• Participate in the Address Verification Service, as specified in the appropriate VisaNet manual
• Perform address verification for each Address Verification Service inquiry

ID#: 010410-010410-0004679



Address Verification Service (AVS) Requirements - U.S. Region

A U.S. Issuer may perform address verification itself, or use an applicable option specified in the
appropriate VisaNet manual

The Issuer that performs its own address verification must use the Address Verification Service
algorithm.

ID#: 010410-010410-0008463




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Address Verification Service Standards (AVS) - U.S. Region

A U.S. Issuer must not exceed the Address Verification Service partial-match response rate of 13%.
The Address Verification Service partial-match response rate is the number of partial-match
responses (i.e., responses other than "Y," "N," or "U") as a percentage of all responses.

ID#: 010410-010410-0004682



Address Verification Service (AVS) at Automated Fuel Dispensers - U.S. Region

An Automated Fuel Dispenser Merchant in the U.S. Region may request a Cardholder's ZIP code and
perform an Address Verification Service inquiry for its Automated Fuel Dispenser Transactions.

ID#: 010410-010410-0004702



Card Recovery Bulletin (CRB)


Card Recovery Bulletin and Regional Card Recovery File

Visa publishes both the Card Recovery Bulletin (CRB) and an electronic Regional Card Recovery File
that list the Account Numbers and BINs of Visa Cards for pick-up outside of the U.S. Region.

ID#: 010410-010410-0003963



Card Recovery Bulletin Service Participation Requirements (Updated)

A Member that participates in the Card Recovery Bulletin Service must comply with the Card
Recovery Bulletin Service (CRB) User's Guide. These requirements include, but are not limited to:

• Instructing Merchants on the correct use of the Card Recovery Bulletin
• Handling Merchant calls when a Cardholder presents a Listed Card
• Handling a compromised Deposit-Only Account Number
• Advising an Issuer when a Listed Card is picked up
• Ensuring that the appropriate reward is paid to a Merchant for recovering a Listed Card

ID#: 050411-010410-0003980



Card Recovery Bulletin Listing Procedures (Updated)

Members must comply with the procedures specified in the Card Recovery Bulletin Service (CRB)
User's Guide when listing Account Numbers or using the bulletin to identify Account Numbers with a
"Pick Up Card" status.

ID#: 050411-010410-0001831




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Card Recovery Bulletin Service Availability (Updated)

The Card Recovery Bulletin (CRB) Service is available in each of the Card Recovery Bulletin
Regions, as specified in the table below, the Card Recovery Bulletin Service (CRB) User's Guide, and
the Visa Interchange Directory. For possible chargeback protection, see Chargeback reason code 70,
"Card Recovery Bulletin or Exception File."


Card Recovery Bulletin Regions

          Visa Regions                           Areas Included

                A                 Asia Pacific

                                  Central and Eastern Europe, Middle East,
                B
                                  and Africa

                C                 Canada

                E                 Visa Europe

                F                 Latin America and Caribbean

                 0                Not included in Card Recovery Bulletin


ID#: 050411-010210-0001832



Card Recovery Bulletin Distribution (Updated)

The following rules apply to requests for distribution of the Card Recovery Bulletin:

• An Acquirer must submit Merchant names and addresses to Visa at least 30 calendar days before
  the intended receipt of the Card Recovery Bulletin
• The request must comply with the Card Recovery Bulletin Service (CRB) User's Guide and the
  VisaNet manuals
• The request is valid only if Visa distributes a printed bulletin in the country where the Merchant
  Outlet is located
• Distribution fees for each Card Recovery Bulletin sent to Merchants are specified in the appropriate
  Regional Operating Regulations

ID#: 050411-010410-0003983



Card Recovery Bulletin Effective Dates

The Card Recovery Bulletin becomes effective on Saturday of the publication week and remains valid
until the next edition's effective date. Visa may adjust the effective dates.

ID#: 010410-010410-0003966




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Card Recovery Bulletin Conversion to Tape or Paper

A Member that converts the Regional Card Recovery File to magnetic tape or paper must receive
prior written consent from Visa. Visa waives this requirement if the Member reproduces all
"proprietary and confidential" and Copyright notices in the magnetic tape or paper copy.

ID#: 010410-010410-0003964



Merchant Use of Paper Version of Regional Card Recovery File

If a Merchant or an Acquirer converts the Regional Card Recovery File to paper, it may use an
Account Number only to verify Visa Cards for Transactions that do not require Authorization.

ID#: 010410-010410-0003965



Pickup, Decline, or Referral Response Fees

A non-US Issuer pays a fee to the U.S. Region for each Pickup, Decline, or Referral Response issued
at a Merchant Outlet located in the U.S. Region, as specified in the applicable regional pricing guide.

ID#: 010410-010410-0003967



Card Recovery Bulletin Chargeback Rights

An Acquirer may be subject to a Chargeback for below-Floor Limit Transactions if the Account
Number appears on the Card Recovery Bulletin (CRB). Chargeback rights begin on the effective date
of the CRB in which the Account Number is listed.

ID#: 010410-010410-0003981



Exception File


Exception File Updates

An Issuer must add an Account Number to the Exception File if:

• A Visa Card or Visa Electron Card was reported lost, stolen, or counterfeit and must be recovered
• A Deposit-Only Account Number is reported compromised
• Authorization must always be denied to the Account Number
• Authorization must always be granted to the Account Number
• Issuer-defined Authorization limits apply to the Account Number
• The Acquirer must contact the Issuer to obtain Authorization for the Account Number

ID#: 010410-010410-0003235




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Exception File Update Information (Updated)

An Issuer must update the Exception File with the following information to ensure the accuracy of the
Exception File records:

• Account Number
• Authorization Response
• Purge date of the record
• Card Recovery Bulletin Region where the Visa Account Number should be published, if applicable

SEE ALSO:

• Card Recovery Bulletin Service (CRB) User's Guide
• VisaNet manuals
• Original Credits Member Requirements

ID#: 050411-010210-0001848



Exception File - Processor Participation

An Authorizing Processor that wants to participate in the Exception File service must notify Visa in
writing at least 90 calendar days before implementation.

ID#: 010410-010410-0003968



National Card Recovery File - U.S. Region


National Card Recovery File Card Verification Requirements - U.S. Region

U.S. Members, non-Member Authorizing Processors, and their Merchants must use the National Card
Recovery File only for verifying Cards in connection with Transactions that do not require
Authorization.

ID#: 010410-010410-0003851



National Card Recovery File Requirements - U.S. Region

A U.S. Merchant using the National Card Recovery File must check it for each Transaction that does
not require Authorization.

ID#: 010410-010410-0003850




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National Card Recovery File Agreement - U.S. Region

In the U.S. Region, before distribution of the National Card Recovery File to non-Member Authorizing
Processors and their Merchants, a Member must obtain a written agreement to ensure that the entity:

• Is advised of the confidential and proprietary nature of the National Card Recovery File
• Uses the file as specified in "National Card Recovery File Card Verification Requirements - U.S.
  Region"

ID#: 010410-010410-0003852



Account Number Verification Service


Account Number Verification - Issuer Responsibilities

Effective 1 April 2010, if Account Number Verification is requested, the Issuer must respond by
validating the information requested, as specified in the VisaNet manuals.

If Account Number Verification is requested in conjunction with a request for address verification, the
Issuer may verify the Account Number using its internal exception file.

A positive Account Number Verification response "85" indicates that the Account Number is open and
in good standing, and there is no negative information on the Account Number in either the:

• BASE I Exception File
• Issuer's exception file

A Decline Response "05" is issued when the expiration date field either:

• Contains an expired date
• Is blank

The Transaction amount is not checked or approved and the Activity File is not updated.

An Account Number Verification request generates an Advice File record.

ID#: 010410-010410-0025600



Account Number Verification and Authorization Response

Effective 1 April 2010, Account Number Verification is not a substitute for Authorization. An
Authorization Response supersedes an Account Number Verification response for the same
Transaction.

ID#: 010410-010410-0025599




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Account Number Verification Service - U.S. Region

The Account Number Verification Service is an optional service that allows a U.S. Member or its
Authorizing Processor to determine if there is negative information on an Account Number before
submitting an Authorization Request and completing a Visa Transaction. This service is not a
substitute for Authorization. An Authorization Response supersedes an Account Number Verification
response for the same Transaction.

ID#: 010410-010410-0007210



Merchant Use of Account Number Verification Service - U.S. Region

A U.S. Merchant may use Account Number Verification to request verification of a Card Account
Number, an address, or Card Verification Value 2, as specified in the appropriate VisaNet manual.

ID#: 010410-010410-0007199



Account Number Verification Service - Acquirer Requirements - U.S. Region

In the U.S. Region, the format of an Account Number Verification request must comply with "Required
Data for Authorization Requests and Responses" (Exhibit OO) and the appropriate VisaNet manual,
except for the unique POS Condition Code 51 that identifies the request.

ID#: 010410-010410-0007211



Account Number Verification Service - Issuer Requirements - U.S. Region

If Account Number Verification is requested, a U.S. Issuer must respond by validating the information
requested, as specified in the appropriate VisaNet manual.

ID#: 010410-010410-0007212



Account Number Verification Service and Address Verification Service Request - U.S.
Region

If Account Number Verification is requested in conjunction with a request for address verification, the
U.S. Issuer may verify the Account Number using its internal exception file.

ID#: 010410-010410-0007213




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Account Number Verification Positive Response - U.S. Region

In the U.S. Region, a positive Account Number Verification response (85) indicates that the Account
Number is open and in good standing, and there is no negative information on the Account Number in
either the:

• BASE I Exception File
• Issuer's exception file

ID#: 010410-010410-0007214



Account Number Verification Service Decline Response - U.S. Region

In the U.S. Region, the Account Number Verification Service issues a Decline Response (05) when
the expiration date field either:

• Contains an expired date
• Is blank

ID#: 010410-010410-0007215



Account Number Verification Service Limitations - U.S. Region

In the U.S. Region, the Account Number Verification Service does not verify or approve the
Transaction amount and the Activity File is not updated.

ID#: 010410-010410-0008928



Account Number Verification Service Advice File Record - U.S. Region

In the U.S. Region, an Account Number Verification request generates an Advice File record.

ID#: 010410-010410-0008998




VisaVue Service - U.S. Region

VisaVue Service Requirements - U.S. Region


VisaVue Service Issuer Participation Agreement - U.S. Region

To participate in the VisaVue Service, a U.S. Member must sign a VisaVue Service Participation
Agreement. Further information is available from Visa upon request.

ID#: 010410-010410-0009022




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VisaVue Service Information Disclosure

The account information provided to a U.S Issuer through the VisaVue Service is proprietary to Visa
and may be disclosed only as specified in the VisaVue Service Participation Agreement.

VisaVue Service information must not be disclosed to third parties, directly or indirectly, except as
provided in the VisaVue Service Participation Agreement. "Third party," as used here, means any
person, real or corporate, other than the Issuer or a Cardholder.

ID#: 010410-010410-0008427



Limitations of VisaVue Service Information Disclosure - U.S. Region

A U.S. Issuer must not disclose Account Numbers or any other Cardholder or Card-specific VisaVue
Service information associated with Transactions to third parties unless either the:

• Disclosure is required by law
• Issuer has notified the Cardholder in advance about the fact and nature of the proposed disclosure
  and given the Cardholder the opportunity to refuse to permit the disclosure

ID#: 010410-010410-0003836



Issuer Use of VisaVue Service Information - U.S. Region

A U.S. Issuer that intends to use the VisaVue Service information to target Cardholders for
distribution of marketing material from third parties must:

• Notify the Cardholder that the Issuer uses and analyzes information obtained through the
  Cardholder's use of the Visa Card and from other sources and that the information may be used to
  market products and services from third parties
• Give the Cardholder the opportunity to be excluded from marketing mailing lists, both in advance of
  the mailings and thereafter

ID#: 010410-010410-0003837



Acquirer Disclosure of VisaVue Service Information - U.S. Region

The information provided to a U.S. Acquirer through the VisaVue Service is proprietary to Visa and
may be disclosed only as specified in the VisaVue Service Participation Agreement.

ID#: 010410-010410-0003442



VisaVue Service Information Sharing Prohibitions - U.S. Region

VisaVue Service information must not be shared with third parties, directly or indirectly, except as
provided in the VisaVue Service Participation Agreement. "Third party," as used here, means any
person, real or corporate, other than the Acquirer.

ID#: 010410-010410-0003443



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VisaVue Service Acquirer Responsibility - U.S. Region

Each U.S. Acquirer participating in the VisaVue Service bears the sole responsibility for compliance
with all applicable laws and regulations.

ID#: 010410-010410-0003444




Visa Membership Management

Visa Membership Management - U.S. Region


Visa Membership Management Description - U.S. Region

Visa Membership Management is a web-based service, accessed through Visa Online, that allows
U.S. Members and their designated Agents to view and manage their Visa membership information in
the Visa information system. This information includes, but is not limited to:

• Membership licensing
• BIN licensing/management
• Sponsorships
• Contacts and subscriptions
• CIB management
• Third-Party agents
• High-Risk Merchants
• Bulk transfers

Participation in Visa Membership Management is at the discretion of Visa, which may limit
participation, impose conditions on its use, and discontinue the service at any time.

ID#: 010410-010410-0008435



Visa Membership Management Information - U.S. Region

In the U.S. Region, Visa Membership Management information is the property of Visa and is for the
sole use of Visa Members in support of their Visa programs.

A U.S. Member and/or its designated Agent must not disclose any information from Visa Membership
Management, or any other information associated with the service, to any other parties unless it is
permitted in the Visa International Operating Regulations or otherwise authorized in writing by Visa.

ID#: 010410-010410-0008436




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Visa Membership Management Use - U.S. Region

In the U.S. Region, Visa Membership Management may be used by Visa Members and their
designated Agents that have been granted permission to access the service on the Member's behalf.

ID#: 010410-010410-0003736



Visa Membership Management Non-Member Use - U.S. Region

A U.S. Member is responsible for its use and its designated Agent's use of the Visa Membership
Management service in accordance with the Visa International Operating Regulations.

In addition, the Member is responsible for monitoring its users' access to Visa Membership
Management to ensure that only authorized users are granted access to the service.

ID#: 010410-010410-0008437



Visa Membership Management Requests - U.S. Region

A U.S. Member must ensure that only an authorized officer of the institution approves membership
requests for Visa Membership Management.

ID#: 010410-010410-0003739



Visa Membership Management Information Accuracy - U.S. Region

A U.S. Member is responsible for the accuracy of all information shown in Visa Membership
Management and any changes made to such information by the Member's authorized users.
Changes to a Member's information in Visa Membership Management must be accompanied by an
Electronic Signature, as specified in "Use of Electronic Signature."

ID#: 010410-010410-0003740




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VisaNet Gateway Services - AP Region

VisaNet Gateway Services Requirements - AP Region


Use of VisaNet Gateway Services - AP Region

In the AP Region, Visa may:

• Audit the records and procedures relating to a Member's use of VisaNet for non-Visa Transactions
  through VisaNet Gateway Services
• Discontinue VisaNet services to a Member because either:
  - Its VisaNet system is adversely affected by non-compliance with VisaNet requirements
  - Other activities are deemed not in the best interests of the Visa system

ID#: 090411-010410-0004876



VisaNet Gateway Services Notification Requirements - AP Region

Before an AP Member may enter non-Visa Transactions into VisaNet through VisaNet Gateway
Services, it must:

• Provide 90 calendar days written notice to Visa of its intention to perform Gateway Services
• Provide details of the types of non-Visa Transactions to be supported and the services it requires
  from Visa
• Submit to Visa written certification that the systems and procedures for processing non-Visa
  transactions comply with the AP Regional Operating Regulations and VisaNet system requirements

The Member may begin using VisaNet Gateway Services following receipt of written approval by
Visa.

ID#: 010410-010410-0004877




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Visa Transaction Alerts Service

Visa Transaction Alerts Service Requirements


Visa Transaction Alerts Service Participation Requirements (Updated)

Effective 13 May 2010, participation in the Visa Transaction Alerts Service, where available, is
optional and at the discretion of Visa. A participating Issuer or Issuer's agent must:

• Register with Visa by submitting a completed "Visa Transaction Alerts Service Participation
  Agreement"
• Provide Visa with Account Numbers that are eligible to enroll in the service
• Disclose to participating Cardholders which transactions will and will not trigger Cardholder
  notification
• Comply with:
  - Visa Alerts Platform: Transaction Alerts Service - Service Description for Issuers
  - Visa Alerts Platform: Transaction Alerts – Technical Implementation Guide - Issuer
  - Visa Alerts Platform: Web Services Specifications
  - Visa Alerts Platform: White Label Website Issuer Specifications
  - Visa Mobile Handbook for Issuers
  - Visa Mobile Participation Guide for Issuers

ID#: 050411-130510-0025735




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Chapter 6: Payment Acceptance

Core Principle 6.1

Display of Marks


Accepting Visa Products for Payment

Visa merchants displaying Visa acceptance marks at payment locations agree to accept
corresponding Visa-branded products for payment. If the customer indicates that he or she wants to
pay with a Visa product, a merchant must complete and process the Visa transaction as defined in
the Visa Operating Regulations.

ID#: 160210-150210-0007777




Core Principle 6.2

Honor All Cards Properly Presented


Honoring All Visa Cards

Visa merchants may not refuse to accept a Visa product that is properly presented for payment, for
                                                      27
example, on the basis that the card is foreign-issued , or co-branded with the Merchant's
competitor's mark. Merchants may steer customers to an alternative method of payment, such as
providing discounts for cash, but may not do so in a confusing manner that denies consumer choice.
Merchants may also consider whether present circumstances create undue risk, for example if the
sale involves high-value electronics, but the card signature panel is not signed, and the cardholder
does not have any other identification.

ID#: 090211-150210-0007778




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  In the US, Canada, and Australia, merchants may decline to accept certain categories of Visa products for domestically
issued cards.


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Core Principle 6.3

No Surcharging Unless Required by Law


Charging for the Advertised Price

Visa merchants agree to accept Visa cards for payment of goods or services without charging any
amount over the advertised price as a condition of Visa card acceptance, unless local law requires
that merchants be permitted to engage in such practice.

ID#: 160210-150210-0007781




Core Principle 6.4

Merchant Qualification Standards


Participating in the Visa System

Participants in the Visa system agree to follow the standards established by Visa for technologies that
are used at the point of transaction to ensure systems work together to provide seamless transaction
and data processing. For example, magnetic-stripe and chip reading terminals must follow compatible
standards and specifications to guarantee global interoperability and payment acceptance.

ID#: 160210-150210-0007782




Merchant Agreement

General Merchant Requirements


Merchant Qualification Standards

Before entering into a Merchant Agreement, an Acquirer must determine that the prospective
Merchant is financially responsible and ensure that the Merchant will comply with the substance of
the Visa International Operating Regulations as well as applicable law.




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The Acquirer must also determine that there is no significant derogatory background information
about any of the Merchant's principals. The Acquirer may obtain this information through:

• Credit reports
• Personal and business financial statements
• Income tax returns
• Other information lawfully available to the Acquirer

ID#: 010410-010410-0008478



Inspection

An Acquirer must conduct a physical inspection of the business premises of a prospective Merchant.
For Mail/Phone Order and Electronic Commerce Merchants, the Acquirer must also obtain a detailed
business description.

ID#: 010410-010410-0005251



Merchant Agreement Requirements

An Acquirer must:

• Have a Merchant Agreement with each of its Merchants
• Include language in the Merchant Agreement that obligates its Merchant to:
  - Perform its obligations under the Merchant Agreement in compliance with applicable laws
  - Comply with the Visa International Operating Regulations regarding use of the Visa-Owned
    Marks
• Ensure that its Merchant complies with the Visa International Operating Regulations regarding
  payment acceptance
• Ensure that required acceptance provisions are included in its Merchant Agreement or as a
  separate addendum
• Only accept Transaction Receipts from a Merchant with which it has a valid Merchant Agreement

Refer to the Visa International Operating Regulations for further information regarding Member
compliance with applicable laws, requirements for certain Merchant segments, and Visa rights to
monitor, audit, inspect, and investigate Members.

ID#: 081010-010410-0003356



Electron

A Merchant must have a Merchant Agreement with its Acquirer to accept Visa Cards or Visa Electron
Cards. The same contract may cover Visa Cards and Visa Electron Cards.

ID#: 010410-010410-0005107




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Right to Terminate

The right of Visa to limit or terminate a Member's agreement with a Merchant must be specified in
each Merchant, Sponsored Merchant, and agent agreement.

ID#: 010410-010410-0008473



Merchant Classification

A business may act as a Merchant, Sponsored Merchant, or Internet Payment Service Provider
(IPSP). The business is considered to be a Merchant, rather than a Sponsored Merchant or IPSP, if:

• The business has a Merchant Agreement with an Acquirer
• Transactions entered into Interchange do not represent the purchase of goods or services from a
  Sponsored Merchant

ID#: 010410-010410-0005261



Merchant Records

An Acquirer must keep a complete, well-documented file containing Merchant records, including any
information connected to an investigation, for a minimum of 2 years following Merchant Agreement
termination.

In the U.S. Region, an Acquirer of a Merchant undergoing a forensic investigation must also notify
Visa when it receives notice, or otherwise becomes aware, that the Merchant has terminated its
Merchant Agreement. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008474



Merchant Deposits - Canada Region

A Canada Member that accepts a Deposit from a Merchant with which it does not have a signed
Merchant Agreement is liable for the Deposit in the same manner as if it had a valid Merchant
Agreement with that Merchant.

ID#: 010410-010410-0005349



Visa Debit Acceptor Agreement Requirements - Canada Region (Updated)

In the Canada Region, for each new Merchant, the Merchant Agreement must clearly:

• Specify if the Merchant has elected to be a Visa Debit Acceptor
• Distinguish all Card acceptance-related fees, such as discount rates or other pricing terms,
  associated with Visa Debit




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An existing Merchant Agreement must be revised to include the Merchant's option to be a Visa Debit
Acceptor and distinguish all Card acceptance-related fees, as specified above, when:

• The existing Merchant Agreement is renewed
• The Merchant indicates to its Acquirer that it wants to accept Visa Debit Cards

ID#: 050411-200209-0008375



Reporting of Non-Visa Debit Acceptor Merchants - Canada Region (Updated)

A Canada Acquirer must report to Visa in writing the name and location of each Merchant that has
elected to not be a Visa Debit Acceptor.

ID#: 050411-200209-0008377



Illegal Transactions

A Merchant Agreement must specify that a Merchant must not knowingly submit, and an Acquirer
must not knowingly accept from a Merchant for submission into the Visa payment system, any
Transaction that is illegal or that the Merchant should have known was illegal.

ID#: 010410-010410-0001303



Merchant Agreement Provisions - U.S. Region 5.2.O.1.a, 5.2.O.1.d

A U.S. Acquirer must incorporate the following requirements into all Merchant Agreements:

• A Merchant must not deposit a Transaction Receipt that it knows or should have known to be
  either fraudulent or not authorized by the Cardholder
• The Merchant is responsible for its employees' actions

A Merchant Agreement must also include:

• Transaction Deposit restrictions
• Transaction processing prohibitions
• Prohibition against a Merchant depositing a Transaction Receipt that does not result from an act
  between the Cardholder and the Merchant or the Cardholder and its Sponsored Merchant
  (laundering)
• Requirements specified in "Merchant Agreement Requirements - U.S. Region"
• Disclosure of account or Visa Transaction Information prohibitions, as specified in "Destruction or
  Return of Information due to Suspension of Operations - U.S. Region"
• A requirement that the Merchant and its Agents comply with the provisions of the Cardholder
  Information Security Program




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• Merchant responsibility for demonstrating compliance by its Agents with the requirements of the
  Cardholder Information Security Program
• A requirement that the Merchant, if undergoing a forensic investigation at the time the Merchant
  Agreement is signed, fully cooperate with the investigation until completed

ID#: 010410-010410-0008507



Acquirer Requirement to Query the Terminated Merchant File and Inspect Merchant
Premises - U.S. Region

A U.S. Acquirer must:

• Query the Terminated Merchant File to determine if the prospective Merchant has been terminated
  for cause
• Whenever feasible, conduct a physical inspection of the business premises of a prospective
  Merchant
• For Mail/Phone Order Merchants, obtain a detailed business description

ID#: 010410-010410-0003474



Merchant Agreement Specifications and Options - U.S. Region

In the U.S. Region, for each new Merchant, a Merchant Agreement must clearly:

• Specify the Limited Acceptance options and the Merchant's election, if any, of one of those options
• Distinguish all Card acceptance-related fees, such as discount rates or other pricing methodology,
  associated with each Limited Acceptance category

An existing Merchant Agreement must be revised to include the Limited Acceptance options and
distinguish all Card acceptance-related fees when either:

• The existing Merchant Agreement is renewed
• The Merchant indicates to its Acquirer that it wants Limited Acceptance

ID#: 031209-150210-0008510



Specification of Merchant Fees - U.S. Region

In the Merchant Agreement, a U.S. Acquirer must clearly distinguish fees associated with Visa
Transactions from fees associated with other card transactions.

ID#: 010410-010410-0003361




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Terminal Processing by Competitors - U.S. Region

A U.S. Acquirer must not prohibit a Merchant from using terminal processing services offered by
competitors for the direct delivery of Visa Transactions captured at the Point-of-Transaction to
VisaNet for Clearing and Settlement.

ID#: 010410-010410-0003362



Merchant Agreement Form - U.S. Region

In the U.S. Region, most of the form, content, and appearance of a Merchant Agreement is at the
discretion of the Acquirer. However, each Merchant Agreement must contain at least the
requirements for Merchant Card acceptance specified in the Visa International Operating Regulations
to the extent permitted under applicable law. An Acquirer may include other provisions in its Merchant
Agreement if they are consistent with the Visa International Operating Regulations.

Each Merchant Agreement must:

• State the terms required to satisfy payment directly to the Merchant, including, but not limited to,
  the name of the financial institution to which the Acquirer, its Agent, or Sponsored Member must
  deposit funds for payment of Visa Transactions
• Clearly state the Acquirer's name and location in letter size consistent with the rest of the Merchant
  Agreement printing, and in a manner that makes the Acquirer's name readily discernible to the
  Merchant
• Be signed by the Acquirer
• Remain on file at the Acquirer's place of business

ID#: 010410-010410-0008512



Provisions for VisaNet Copy Request and Fulfillment Service Installation - U.S.
Region

If VisaNet Copy Request and Fulfillment Service equipment is installed at a U.S. Merchant Outlet, the
Merchant Agreement must include provisions equivalent to those specified in the Visa International
Operating Regulations for the use, support, and modification of the equipment.

ID#: 010410-010410-0005078



Third Party Designation - U.S. Region

In the U.S. Region, a Merchant Agreement must permit a Merchant to designate a third party that
does not have a direct agreement with its Acquirer as its agent for the direct delivery of data-captured
Visa Transactions to VisaNet for Clearing and Settlement. The Merchant must:

• Advise the Acquirer that it will use a third-party processor
• Agree that the Acquirer must reimburse the Merchant only for the amount of Visa Transactions
  delivered by that agent to VisaNet, less the appropriate discount fee



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• Assume responsibility for any failure by its agent to comply with the Visa International Operating
  Regulations, including, but not limited to, any violation resulting in a Chargeback

ID#: 010410-010410-0003367



Connecting Directly to Issuer - U.S. Region

In the U.S. Region, a national Merchant may authorize and transmit Interchange directly to an Issuer
through VisaNet if the Merchant has:

• Completed a national account agreement
• Received the prior approval of the Board of Directors

Visa determines the Interchange Reimbursement Fee.

ID#: 010410-010410-0008475



Specification of Preauthorized Health Care Transaction Requirements - U.S. Region

In the U.S. Region, the requirements for Preauthorized Health Care Transactions must be included in
each Merchant Agreement with a Health Care Merchant.

ID#: 010410-010410-0006144



Additional Merchant Agreement Provisions for Healthcare Auto-Substantiation
Merchants - U.S. Region (Updated)

A U.S. Acquirer participating in Healthcare Auto-Substantiation must ensure that:

• A Merchant that participates in Healthcare Auto-Substantiation Transactions complies with the
  provisions of the following:
  - Visa Healthcare Auto-Substantiation Transaction Consolidated Technical Requirements
  - Visa Healthcare Auto-Substantiation Transactions Service Description and Implementation
    Guide
• The Merchant has obtained a license from and is certified by SIGIS the Special Interest Group for
  IIAS Standards to process Healthcare Auto-Substantiation Transactions
• The substance of the provisions are included in the Merchant Agreement or as a separate
  addendum

ID#: 080411-010100-0025562




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Required Merchant Information


File Retention - Existing and New Merchant Agreements - AP Region

In the AP Region, a Merchant file must contain at least the following, where applicable and available:

• Merchant trading name/DBA (doing business as) name
• Merchant legal name (if different from DBA name)
• Complete Merchant Outlet address
• Merchant telephone number
• Merchant business registration number or tax identification number
• Merchant principal/owner name
• National ID number (where available)
• Names and national ID numbers of key employees

ID#: 010410-010410-0005345



File Retention - Terminated Merchant Agreements - AP Region

In the AP Region, the file of terminated Merchants must include, at a minimum:

• Merchant Agreement and addenda
• Deposit history and monitoring reports
• Details on the number, total amount, and reasons for any Chargebacks received
• All Acquirer/Merchant correspondence
• All Merchant Fraud Performance Program reports relating to the Merchant
• Names and ID numbers of suspect employees
• Written notification of termination or intent to terminate
• Any other supporting documentation that itemizes the details leading to the decision to terminate
  the Merchant

ID#: 010410-010410-0007371



Required Merchant Information - U.S. Region

A U.S. Acquirer must collect all of the following for all Merchants and Sponsored Merchants:

• "Doing Business As" (DBA) name
• Merchant legal name
• Merchant Outlet location, including street address, city, state, and 9-digit ZIP code
• U.S. Federal Taxpayer Identification Number, and identification of the number as either a U.S.
  Federal Employer Identification Number (FEIN) or Social Security Number (SSN)


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• Incorporation status (for example, corporation, partnership, sole proprietor, non-profit, or other)
• Full first and last name, including middle initial, if Merchant is a sole proprietor
• Merchant Category Code and, if applicable, any secondary Merchant Category Code(s)
• Indication if a Merchant is a small and/or disadvantaged business
• Termination date and reason for termination if the Acquirer/Merchant relationship is terminated

The Acquirer must:

• Retain the Merchant or Sponsored Merchant information in an electronic format to be specified by
  Visa
• Make it available to Visa upon request

ID#: 010410-010410-0008513



Required Merchant Information Reporting Fees - U.S. Region

In the U.S. Region, Visa assesses an Acquirer a monthly fine, as specified in the table below, when
required Merchant information is not provided or is incomplete. The fine is not applicable for new
Merchant Outlets during the first 90 days from the date the Merchant begins accepting Cards under
the Merchant Agreement.


Missing or Incomplete Merchant Information Reporting Fines - U.S. Region

                   Description                                     Fee
Each Merchant Outlet with missing or incomplete                  US $10
information
Maximum monthly fee per Acquirer                               US $50,000


ID#: 010410-010410-0003501



Acquirer's Jurisdiction


Country of Domicile

An Acquirer must only contract with a Merchant Outlet within its Country of Domicile, as specified in
the Visa International Certificate of Incorporation and Bylaws or the applicable Certification of
Incorporation and Bylaws. The country of the Sponsored Merchant, not the country of the Internet
Payment Service Provider (IPSP), determines the Acquirer's jurisdiction.

An Acquirer must not contract with a Merchant Outlet that is outside its Country of Domicile unless
the:

• Visa Region with jurisdiction over the Merchant Outlet has approved this arrangement, and the
  country or territory is either:
  - Not any other Principal's Country of Domicile
  - One where the Acquirer has a Branch



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• Merchant is an International Airline and the Acquirer maintains the relationship as specified in the
  Visa International Operating Regulations regarding provisions of the International Airline Program
• Merchant Outlet is a military base, embassy, or consulate on foreign territory. Visa considers these
  Merchant Outlets to be within the Member's Country and Region of Domicile. The currency used to
  complete the Transaction must be disclosed on the Transaction Receipt.

A bilateral agreement exists between the Canada Region and the U.S. Region for Mail/Phone Order
Merchants and Electronic Commerce Merchants.

ID#: 010410-010410-0008552



Cross-Border Merchant Contracting - Canada Region

A Canada Acquirer may acquire the following Canadian dollar Transactions of Canada Cardholders
from Merchant Outlets in the U.S. Region:

• Mail/Phone Order Transactions
• Electronic Commerce Transactions

A U.S. Acquirer may acquire the following U.S. dollar Transactions of U.S. Cardholders from
Merchant Outlets in the Canada Region:

• Mail/Phone Order Transactions
• Electronic Commerce Transactions

ID#: 010410-010410-0008477



Chargeback Rights for Transactions before Merchant Termination - Canada Region

If a Canada Merchant is terminated by an Acquirer, that Acquirer is liable for Chargebacks for items
that were transacted before the termination of the Merchant.

ID#: 010410-010410-0008528



Cross-Border Acquiring Requirements - CEMEA Region

A CEMEA Member that is an Acquirer, including an electronic commerce Acquirer, may contract with
a Merchant in any other country within the CEMEA Region, provided that the country is not any other
acquiring Principal Member's Country of Domicile.

A CEMEA Member planning to acquire a Cross-Border Merchant as outlined above must obtain
written permission from Visa before entering into a Merchant Agreement. A prospective Cross-Border
Acquirer must also hold a valid Merchant Acquiring License or be enrolled in the Visa E-Commerce
Acquirer Registration Program, as appropriate in its own country, for the activity it plans to undertake
in the second country.

For further information, refer to "Eligibility for Acquiring License - CEMEA Region" and "Visa
Electronic Commerce Acquirer Registration Program and Compliance - CEMEA Region."

ID#: 081010-010410-0008530


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Permitted Merchant Outlets - U.S. Region

A U.S. Acquirer may sign a Merchant Outlet if the Merchant Outlet is located in the Canada Region
and the resulting Transactions are:

• Mail/Phone Order Transactions or Electronic Commerce Transactions initiated by U.S.
  Cardholders
• Advertised and processed in U.S. dollars

ID#: 010410-010410-0001298



Merchants Signed Outside of the United States - U.S. Region

A U.S. Acquirer that signs a Merchant Outlet outside the 50 United States and District of Columbia
must, within 60 calendar days of signing that outlet, notify Visa of at least the following:

• Merchant name
• Merchant location
• Estimated annual sales volume

ID#: 010410-010410-0001299



Internet Payment Service Providers and Sponsored Merchants


Internet Payment Service Provider Agreement Requirements

An Acquirer must ensure that its Internet Payment Service Provider Agreement includes:

• A requirement that the contract between an Internet Payment Service Provider (IPSP) and a
  Sponsored Merchant contains the Merchant Agreement requirements specified in the Visa
  International Operating Regulations
• The Acquirer's right to immediately terminate the Sponsored Merchant for good cause
• A statement that the IPSP is liable for all acts, omissions, Cardholder disputes, and other
  Cardholder customer service-related issues caused by the IPSP's Sponsored Merchants
• A statement that the IPSP is financially liable for each Transaction
• A statement that the IPSP must not transfer or attempt to transfer its financial liability by asking or
  requiring Cardholders to waive their dispute rights

ID#: 010410-010410-0005270




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Internet Payment Service Providers - Merchant Agreement - Canada Region

A Canada Acquirer providing acquiring services to an Internet Payment Service Provider (IPSP) and
its Sponsored Merchants must have a Merchant Agreement with the IPSP that identifies the IPSP
and its Sponsored Merchants as Merchant parties to that agreement.

ID#: 010410-010410-0005385



Acquirer Eligibility - Internet Payment Service Provider - U.S. Region

Before entering into a Merchant Agreement with an Internet Payment Service Provider (IPSP), a U.S.
Acquirer must:

• Be in good standing in all Visa risk management programs
• Meet the Acquirer Tier 1 capital requirement

ID#: 010410-150210-0005090



Acquirer Eligibility - Internet Payment Service Provider Maximum Annual Sales - U.S.
Region

A U.S. Acquirer must enter into a direct Merchant Agreement with any Sponsored Merchant that
exceeds US $100,000 in annual sales.

ID#: 010410-010410-0005096



Internet Payment Service Provider Agreement Provisions - U.S. Region

A U.S. Acquirer must ensure that an Internet Payment Service Provider Agreement:

• Contains Internet Payment Service Provider (IPSP) operating requirements and risk management
  provisions, as specified in the Visa International Operating Regulations for Internet Payment
  Service Providers
• Includes a provision to establish IPSP financial liability for Transactions entered into Interchange
  on behalf of Sponsored Merchants, as well as responsibility for any disputed Transactions, credits,
  or customer service-related expenses
• Includes a statement that the IPSP must not:
  - Transfer or attempt to transfer its financial liability by asking or requiring Cardholders to waive
    their dispute rights
  - Permit a Sponsored Merchant to transfer or attempt to transfer its financial liability by asking or
    requiring Cardholders to waive their dispute rights
  - Deposit Transactions on behalf of another IPSP, as specified in "Internet Payment Service
    Provider Restrictions - U.S. Region"
• Requires that each Sponsored Merchant contract with an IPSP contain Merchant Agreement
  requirements and Card acceptance and Website requirements specified in the Visa International
  Operating Regulations



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• Requires an IPSP to provide comprehensive lists, including names of principals and country of
  domicile, for all of its Sponsored Merchants and Transaction reports to its Acquirer, and to Visa
  upon request
• Requires its IPSP to deposit only Transactions from Sponsored Merchants within the Acquirer's
  jurisdiction
• Establishes an Acquirer's right to:
  - Immediately terminate an IPSP for fraudulent activity or other activities specified in "Visa Right to
    Terminate Merchant/IPSP or Sponsored Merchant"
  - Require an IPSP to immediately terminate a Sponsored Merchant for fraudulent activity or other
    activities specified in "Visa Right to Terminate Merchant/IPSP or Sponsored Merchant"

ID#: 010410-010410-0005097



International Airline Program


International Airline Merchant Agreement Specifications

An International Airline Merchant Agreement must contain, at a minimum, the elements specified in
this section, in addition to the contract requirements specified for all Merchants in the Visa
International Operating Regulations.

The agreement must specify the Acquirer's responsibilities to the Merchant for Chargeback resolution
support. This support must include:

• Written information on Chargeback rights and procedures
• Chargeback processing, including a list of Chargeback reason codes, Merchant recourse options,
  and an Acquirer contact

The agreement must list the countries from which the Acquirer will accept Transactions, including the
Authorization support procedures and processes for each country. It must also require that the
Acquirer and the Merchant notify Visa if Authorization problems arise for any countries covered by the
Merchant Agreement.

ID#: 010410-010410-0008575



Terminated Merchant File Query Responses - U.S. Region

A U.S. Acquirer must query the Terminated Merchant File, as specified, before entering into a
Merchant Agreement with a prospective Merchant.

If the Acquirer receives a response indicating a "possible match" against a Merchant listed on the
Terminated Merchant File, the Acquirer must:

• Verify that the Merchant identified in the response is the same Merchant for which the inquiry was
  generated
• Contact the listing Member directly to determine why the Merchant was added to the file




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The Acquirer should make its acceptance decision based on further investigation, and must use
Terminated Merchant File data only as an informational tool in the decision-making process.

ID#: 081010-010410-0008577



Terminated Merchant File Query - Internet Payment Service Provider - U.S. Region

A U.S. Acquirer must:

• Query the Terminated Merchant File (TMF) before:
  - Entering into an agreement with a prospective Internet Payment Service Provider (IPSP)
  - An IPSP enters into an agreement with a prospective Sponsored Merchant
• Ensure that a Merchant listed on the TMF is not permitted to be a Sponsored Merchant
• Ensure that an IPSP with one or more Sponsored Merchants classified, or which should be
  classified, with Merchant Category Code 5967, "Direct Marketing - Inbound Teleservices
  Merchant," complies with the High-Risk Internet Payment Service Provider registration program
  and operating requirements
• Ensure that a terminated Sponsored Merchant or terminated IPSP is added to the TMF

ID#: 031209-150210-0003938



Electronic Commerce Acquirer Agreement


Internet Merchant Registration - AP Region

An AP Member entering the Internet Merchant acquiring business must register with Visa.

ID#: 010410-010410-0005323




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Point-of-Transaction - Display of Marks

Display of Marks at the Point of Sale


Merchant Standards for Card Acceptance

An Acquirer contracting with a Merchant to accept Cards must ensure that the Merchant meets the
standards specified in the table below.           28




Merchant Acceptance Standards

       Symbols Displayed at             Cards Accepted by
                                                                    Electronic Capability             Cash-Back
           Merchant                         Merchant

                                                          1
           Visa Brand Mark                   Visa Cards                     Optional                For Domestic
                                                                                               Transactions only, at the
                                                                                                    option of Visa

      Visa Brand Mark with the          Visa Electron Cards                 Required                For Domestic
         Electron Identifier                                                                   Transactions only, at the
                                                                                                    option of Visa
1
    A variance to this requirement applies in the U.S. Region.

ID#: 010410-010410-0003658



Display of Appropriate Marks

A Member or Merchant must display the appropriate Marks to indicate which Cards it accepts for
payment, as specified in the Visa Product Brand Standards.

ID#: 010410-010410-0008496



Display of Marks Exclusion VIOR 5.1.A.1.d, USOR 5.2.A.1.a

A Merchant is not required to display the Visa-Owned Marks if it does not deal with the general public
(e.g., a private club, or if prohibited by trade association rules).

ID#: 010410-010410-0002643



Display of Electron Mark Prohibition

A Point-of-Transaction Terminal that does not have Online capability, regardless of whether the
terminal is Chip-enabled, must not display the Visa Brand Mark with the Electron Identifier.

ID#: 010410-010410-0002828


28
     A variance applies to this requirement in the Canada Region.


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Visa Right to Request Display Modification - U.S. Region

In the U.S. Region, Visa may require modification of any display of an Affinity Partner's Trade Name
or Mark at a Merchant Outlet if the display adversely affects the Visa brand.

ID#: 010410-010410-0002347



Display of Marks Acquirer Requirements - U.S. Region

A U.S. Acquirer must ensure that:

• Each of its Limited Acceptance Merchants displays the Visa-approved signage representing the
  Limited Acceptance category it has selected
• A Merchant does not display the Visa-Owned Marks indicating acceptance of all Visa Cards if it
  has selected Limited Acceptance

ID#: 010410-010410-0002318



Visa Marks Display Size Requirements - U.S. Region

The Visa Mark used must not be smaller than any other acceptance mark displayed by a U.S.
Merchant.

ID#: 010410-010410-0002339



Affinity Partner Marks Size Requirements - U.S. Region

In the U.S. Region, Visa-Owned Marks must be at least equal in size and prominence to any Affinity
Partner identification and any other payment system Marks.

ID#: 010410-010410-0002345



Mail/Phone Order Merchant Acceptance Requirements - U.S. Region

A U.S. Mail/Phone Order Merchant must:

• Advise the Cardholder, during the payment process, that it accepts all Visa Cards for payment or
  that it accepts Cards that are in the Limited Acceptance category it has selected
• Display, in its catalog or other selling material, either the:
  - Visa Flag Symbol or Visa Brand Mark in full color, if it accepts all Visa Cards for payment
  - Visa-approved signage representing the Limited Acceptance category it has selected

ID#: 010410-010410-0002340




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Use of Verified by Visa Mark - U.S. Region

A U.S. Electronic Commerce Merchant must display the appropriate Verified by Visa Mark to indicate
its participation in the 3-D Secure Authenticated Payment Program.

The U.S. Merchant must not use the Verified by Visa Mark unless it is a 3-D Secure participant.

ID#: 010410-010410-0008499



Automated Fuel Dispenser Merchant Marks Display - U.S. Region

An Automated Fuel Dispenser Merchant in the U.S. Region must display the appropriate Visa-Owned
Marks on or near the Automated Fuel Dispenser to indicate which Cards it accepts for payment.

ID#: 010410-010410-0002341



Display of Affinity Card Reproduction - U.S. Region

A U.S. Merchant must not display a reproduction of an Affinity Card as part of a decal at the Point-of-
Transaction.

ID#: 010410-010410-0002346



Display of Affiliated-Merchant Mark - U.S. Region

An Affiliated-merchant in the U.S. Region must display the Visa-Owned Marks independently from
any identification of the Affinity Partner.

ID#: 010410-010410-0002348



Full-Color Display Requirements - U.S. Region

When displayed at a U.S. Member location or Merchant Outlet, the Visa Brand Mark must appear in
full color, except when displayed on an ATM, as specified in the Visa Product Brand Standards.

ID#: 010410-010410-0005764



Display of Marks on Scrip Terminal - U.S. Region

A U.S. Member must not display the Visa Brand Mark or the Visa Brand Name on a Scrip Terminal.

ID#: 010410-010410-0005765




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Trade Names and Marks on Decals and Signs - U.S. Region

In the U.S. Region, no Trade Name or Mark, other than the Visa Brand Name, may appear on decals
and signs bearing the Visa Brand Mark at Member locations or Merchant Outlets, except for decals
on ATMs.

ID#: 010410-010410-0005766



Display of Marks at an ATM


ATM Display of Visa Marks - U.S. Region

In the U.S. Region, only ATMs and Acquirers that participate in the Visa ATM Network may display
the Visa Flag Symbol or Visa Brand Mark.

ID#: 010410-010410-0004754



ATM Display of Visa Marks Prohibition - U.S. Region

A U.S. Acquirer must not display the Visa Flag Symbol or Visa Brand Mark on or surrounding an
ATM unless that ATM accepts all Visa Cards.

ID#: 010410-010410-0004755



ATM Marks Color and Size Requirements - U.S. Region

In the U.S. Region, when used as the only Mark at an ATM, the Visa Flag Symbol, Visa Brand Mark,
Visa Electron Symbol, or Visa Brand Mark with the Electron Identifier must:

• Be in full color
• Be at least 54mm high by 86mm wide

ID#: 010410-010410-0004775



ATM Marks Size Requirements with Other Marks - U.S. Region

In the U.S. Region, the Visa Brand Mark must not be smaller than any other acceptance Mark
indicating participation in any ATM network, other than a Member's own proprietary network or a
single primary regional network Mark that is also displayed on the ATM. No other Mark of the Visa
Program may be displayed on participating ATMs, except as specified in "Plus Symbol Display
Requirement at ATM - U.S. Region."

ID#: 010410-010410-0006169




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Display of Marks Online


Verified By Visa Mark Prohibitions

A 3-D Secure-capable Electronic Commerce Merchant that displays the Verified by Visa Mark must
not use the Mark:

• In a way that implies endorsement of any other product or service
• To indicate payment acceptance in any application

ID#: 010410-010410-0007010



Use of Brand Name vs. Brand Mark

A Merchant Website must display the Visa Brand Mark as specified in the Visa Product Brand
Standards.

The Visa Brand Name must only be used to indicate acceptance when a visual representation of the
Visa Brand Mark is not possible on the Merchant Website.

A Merchant displaying the Verified by Visa Mark on its Website must comply with the Visa Product
Brand Standards.

ID#: 031209-150210-0008671



Verified by Visa Display Requirements - CEMEA Region

A CEMEA Issuer providing 3-D Secure to its Cardholders must display the Verified by Visa Mark in
the pop-up authentication window presented to the Cardholder for authentication.

ID#: 010410-010410-0005517



Display of Marks at Point of Payment Choice - U.S. Region

A U.S. Merchant Website must display at the point of payment choice either the:

• Visa Flag Symbol or Visa Brand Mark in full color, if it accepts all Visa Cards for payment
• Visa-approved signage representing the Limited Acceptance category it has selected

ID#: 010410-010410-0002337




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Manual Cash Disbursement


Manual Cash Disbursement Display of Marks

An Acquirer must display the appropriate Visa-Owned Marks to indicate which Cards are accepted for
Manual Cash Disbursements.

ID#: 010410-010410-0005297




Point-of-Transaction Terminals

Point-of-Transaction Terminal General Requirements


Point-of-Transaction Terminal Requirements - AP Region

The following requirements apply to newly purchased or replaced electronic Point-of-Transaction
terminals in the AP Region:

• The terminals must be fully EMV- and VIS-compliant
• The terminals must appear on the EMV Co-approved terminal list

ID#: 010410-010410-0004858



Primary Account Number Truncation of Electronic Point-of-Sale Receipts – CEMEA
Region (Updated)

Effective through 30 September 2014, at least 4 positions of the primary Account Number must be
disguised or suppressed on the Cardholder Transaction Receipt for all POS terminals.

ID#: 050411-010410-0004887



Nigerian Point-of-Transaction Terminal Requirements - CEMEA Region

Effective 14 January 2010, prior to deploying a Point-of-Transaction Terminal, a CEMEA Acquirer
located in Nigeria must ensure that the terminal:

• Is fully EMV and VIS-compliant
• Reads and acts upon all Service Codes, as specified on the Payment Technology Standards
  Manual
• Has been approved by Visa, or by an entity authorized by Visa
• Meets the requirements of the EMV Integrated Circuit Card Specifications for Payment Systems
• Has its Visa Public Keys replaced by any date specified by Visa

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Card Acceptance Device Installation Requirements - CEMEA Region (New)

In the CEMEA Region, all newly installed devices that accept Visa Cards and Cards bearing the Visa
Electron Symbol must:

• Be fully EMV and VIS-Compliant
• Operate in line with the Smart Payment Product Principles
• Support Static and Dynamic Data Authentication, with the optional exception of Online-only
  devices

ID#: 050411-211010-0026056



Electronic Processing Requirements - LAC Region

Subject to applicable law, in order for an LAC Acquirer to continue to contract with new Merchants,
more than 90% of Transactions must be electronically processed and captured at the Point-of-
Transaction.

An LAC Acquirer that does not meet this minimum, but electronically processes and captures
between 75% and 90% of its Transactions, may only contract with new Merchants that have Point-of-
Transaction Terminals with electronic draft capture capability.

An LAC Acquirer that electronically processes and captures less than 75% of its Transactions must
not contract with new Merchants until a minimum of 75% of its Transactions are electronically
processed and captured at the Point-of-Transaction.

ID#: 010410-010410-0008500



Terminals at Tip-Accepting Merchants - U.S. Region

A U.S. Acquirer must ensure that new Point-of-Transaction Terminals installed at a Merchant Outlet
that receives or accepts tips are not programmed to include an estimated tip amount in the
Authorization Request.

ID#: 010410-010410-0004966



Terminal Transaction Receipt Requirements - U.S. Region (Updated)

In the U.S. Region, if a Point-of-Transaction Terminal has the capability, it must generate an
Electronic Transaction Receipt as specified in "Electronic and Manual Transaction Receipts –
General - U.S. Region Exhibit S."

ID#: 080411-010410-0004964




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Fleet Service Merchants Terminal Requirements - U.S. Region

A Visa Fleet Service Merchant in the U.S. Region must:

• Use a Point-of-Transaction Terminal capable of:
  - Reading the data on track 1 or track 2 of the Magnetic Stripe or Chip that identifies the Card as a
    Visa Fleet Card
  - Displaying the appropriate prompts
  - Capturing the appropriate responses
• Establish procedures for its employees or the Cardholder to enter required data on the terminal
  keypad

ID#: 010410-010410-0005086



Magnetic-Stripe Terminals


Service Codes at Point-of-Transaction Terminals

The table below specifies requirements for Service Code acceptance at Point-of-Transaction
Terminals.


Requirements for Service Code Acceptance at Point-of-Transaction Terminals

         Terminal Type                                   Terminal Requirements

 All Point-of-Transaction           Must either:
 Terminals with Online              • Read and act upon all Service Codes, as specified in the
 capability                           Payment Technology Standards Manual
                                    • Seek Issuer Authorization on all Transactions (Zero Floor Limit)

 All Point-of-Transaction           Must both:
 Terminals with Data                • Examine Service Codes
 Capture-Only Capabilit y
                                    • Act upon Service Codes
                                    as specified in the Payment Technology Standards Manual


ID#: 031209-010210-0004825



Account Number Acceptance at Terminals

An Acquirer that processes Visa or Visa Electron Transactions from a Point-of-Transaction Terminal
(excluding an ATM) must ensure that the terminal accepts all 16-digit Account Numbers that contain a
valid Visa-assigned BIN for Visa and Visa Electron Transactions.

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Account Number Processing at Terminals

All Member Point-of-Transaction processing systems (excluding ATMs) must be able to accept all 16-
digit Account Numbers that contain a valid Visa-assigned BIN.

ID#: 010410-010410-0004770



Magnetic-Stripe Terminal Requirements

An Acquirer must ensure that a Magnetic-Stripe Terminal:

• Is used to obtain Authorization through the V.I.P. System and is able to read all Magnetic Stripes
  that conform to the specifications in the:
  - Visa International Operating Regulations
  - Visa Product Brand Standards
  - Payment Technology Standards Manual
• Transmits the entire unaltered contents of all data encoded on either track 1 or track 2 of the
  Magnetic Stripe
• Does not erase or alter any magnetic encoding on a Card
• Does not display or print more information than is embossed or printed on the front or back of the
  Card. This prohibition does not apply to displaying or printing the full Account Number on a Visa
  Electron Card with a partial Account Number.

ID#: 010410-010210-0003619



Dual-Reader Terminals

All new Magnetic-Stripe Terminals produced with dual-reader heads must be capable of processing
and distinguishing the Magnetic Stripe containing Visa payment data from other proprietary Magnetic
Stripes that may be present on the Card.

ID#: 010410-010410-0003620



Magnetic-Stripe Terminal Capability - AP Region

An AP Acquirer must ensure that all Magnetic-Stripe Terminals are capable of reading a Card with a
high-coercivity Magnetic Stripe.

ID#: 010410-010410-0004857




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Chip-Reading Terminals


Chip-Reading Device International Interoperability

Chip-Reading Devices that accept Visa Cards and Visa Electron Cards and placed in service on or
after 1 January 2001 must meet Visa specifications for international interoperability and functionality,
including:

• EMV Integrated Circuit Card Specifications for Payment Systems
• Transaction Acceptance Device Requirements

ID#: 081010-010410-0004826



Chip-Reading Device Requirements

When installing an EMV-Compliant Chip-Reading Device to accept a Visa or Visa Electron Payment
Application, an Acquirer must ensure that the terminal:

• Has been approved by Visa, or an entity authorized by Visa
• Meets the EMV Integrated Circuit Card Specifications for Payment Systems
• Has the capability to have its Visa Public Keys replaced in an acceptable method by any date
  specified by Visa

ID#: 010410-010410-0004827



Chip Interoperability Problems

If Visa determines that an Acquirer or Acquirer's agent has a high-severity Chip interoperability
problem and that progress toward an agreed-upon resolution plan is no longer acceptable, the
Acquirer or Acquirer's agent is subject to the requirements of "Chip Interoperability Compliance
Program."

ID#: 010410-010410-0004828



Acquirer Device Validation Toolkit

An Acquirer must successfully complete the Acquirer Device Validation Toolkit (ADVT) process, as
specified in the Acquirer Device Validation Toolkit User Guide, before deploying or upgrading a Chip-
Reading Device. An Acquirer that fails to successfully complete the ADVT process may be subject to
the requirements of "Chip Interoperability Compliance Program."

Effective 1 July 2010, an Acquirer may perform ADVT testing only on a device containing a kernel or
interface module (IFM) with an expiration date after 1 July 2010.

Effective 1 October 2010, an Acquirer that tests with the ADVT must submit test results using the
Chip Compliance Reporting Tool (CCRT).




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Effective 1 January 2011, an Acquirer must not submit ADVT test results for a device containing a
kernel or interface module (IFM) that has expired.

ID#: 081010-010410-0008887



Variable Length Account Numbers at a Chip-Reading Device

An Acquirer must ensure that all Chip-Reading Devices that accept Visa and Visa Electron Cards
support variable-length Account Numbers up to and including 19 digits.

ID#: 010410-010410-0004830



Dynamic Data Authentication on a Chip-Reading Device

An Acquirer must ensure that Dynamic Data Authentication is active in all Chip-Reading Devices that
accept Visa and Visa Electron Cards, unless the device obtains an Online Authorization for all
Transactions.

ID#: 010410-010410-0004831



Chip-Reading Device and Transmission Requirements (Updated)

An Acquirer must ensure that an EMV-Compliant Chip-Reading Device:

• Reads the Magnetic Stripe
• Reads the Chip if an EMV- and VIS-Compliant Chip is present, and does not allow the Chip-
  Reading Device to override the Chip Authorization controls by manually prompting the device to
  use the Magnetic Stripe. The Magnetic Stripe may be read only if the Chip is not EMV- and VIS-
  Compliant, or the Chip or Chip reader is inoperable.
• Supports "No CVM (Cardholder Verification Method) required" for all EMV-Compliant Chip-
  Reading Unattended Acceptance Terminals that perform Cardholder-Activated Transactions Type
  A and Cardholder-Activated Transactions Type B
• If capable of performing Online Transactions, performs Terminal Risk Management, as specified in
  the EMV Integrated Circuit Card Specifications for Payment Systems
• Supports Post-Issuance Application Change commands if the Acquirer is capable of processing
  Full-Chip Data
• Effective through 16 April 2010, transmits all Chip data elements that create the EMV-Online
  Card Authentication Cryptogram, if the Acquirer is capable of processing Full-Chip Data
• Effective 17 April 2010, captures and transmits Full-Chip Data for all Chip-initiated Transactions
• Supports the terminal action codes and facilitates access to multiple accounts on a Chip Card, as
  specified in the Transaction Acceptance Device Requirements
• Presents mutually supported Payment Applications contained in the Chip to the Card, or to the
  Cardholder where the Cardholder has the ability to select the Payment Application, and does not
  discriminate between Payment Applications, except as stipulated by the Chip parameters

ID#: 050411-010410-0004832




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Chip-Reading Device Online Authorization Requirements

Chip-Reading Devices must be capable of requiring an Online Authorization for the next consecutive
Magnetic Stripe-read Transaction originating from a Chip Card when:

• An EMV-Compliant Chip Card read was unsuccessful
• The Service Code indicates the presence of a Chip

When referring to Magnetic-Stripe Data, an EMV-Compliant Chip-Reading Device may only expect
Magnetic-Stripe track 2 information, and the Cardholder name from track 1 (track 1 discretionary data
is optional).

ID#: 010410-010410-0004833



Chip-Reading Device Plaintext Offline PIN Requirements

Chip-Reading Devices (including Unattended Acceptance Terminals) placed in service on or after 1
April 2001 that support "Enciphered Offline PIN" must also support "Plaintext Offline PIN."

ID#: 010410-010410-0004834



Acquirer Chip Card Acceptance Requirements

A Full-Chip Data Acquirer must accept and process VIS and Common Core Definitions Chip Cards,
as specified in the:

• VisaNet Member Implementation Guide
• VSDC Member Implementation Guide
• VSDC System Technical Manual

ID#: 010410-010410-0004835



Chip-Reading Device PIN Requirements

An Acquirer must ensure that an EMV-Compliant Chip-Reading Device:

• Is equipped with ports that support devices capable of prompting for, and accepting a PIN based
  upon, Cardholder Verification Method parameters encoded on the Chip
• Does not display the Visa Brand Mark or Visa Brand Mark with the Electron Identifier on PIN-only
  Chip-Reading Devices, excluding ATMs and Unattended Acceptance Terminals that perform
  Cardholder-Activated Transactions Type C
• Does not prompt international Cardholders for a PIN unless required by the Chip, excluding ATMs
  and Unattended Acceptance Terminals that perform Cardholder-Activated Transactions Type C

ID#: 081010-010410-0004836




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Chip-Reading Device PIN Capability Requirements

New Chip-Reading Devices that accept Visa or Visa Electron Cards must be PIN-capable and comply
with the Chip-Reading Device requirements in the Visa International Operating Regulations.

ID#: 010410-010410-0004837



Chip-Reading Device PIN Pad Requirements

A Chip-Reading Device must have either a PIN pad or a port capable of supporting a PIN pad.

If a PIN pad is present and active, the Chip-Reading Device must:

• Comply with Visa encryption standards
• Act on the Cardholder Verification Method List

ID#: 010410-010410-0008502



Chip-Reading Device Software Support Requirements

A Chip-Reading Device must be capable of supporting software to enable the functions specified in
"Chip-Reading Device PIN Pad Requirements" if either the:

• Chip-Reading Device is equipped with a PIN pad port only
• PIN pad is inactive for Visa Chip-initiated Transactions

ID#: 010410-010410-0004840



Chip-Reading Device PIN Pad Activation Requirements

If a PIN pad is active for other Chip-enabled payments, it must be active for Visa Chip-initiated
Transactions.

Exceptions to "Chip Reading Device PIN Pad Requirements" and "Chip-Reading Device Software
Support Requirements" are permitted when compliance is inherently impractical (e.g., road tolls,
transit applications, situations where a Cardholder would not expect interaction with a Chip-Reading
device).

ID#: 010410-010410-0004841



Chip Transaction Acquirer Data Requirements (Updated)

An Acquirer that processes a Chip-initiated Transaction must:

• Properly identify the Authorization Response code in the Clearing Record initiated by an EMV
  Compliant Chip-Reading Device, as specified in the VisaNet manuals
• Use the appropriate POS Entry Mode code value ("05," "07," "91," or "95")




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• Provide the Authorization Response code in the Clearing Record for a Chip-initiated Transaction
  that is approved offline
• Support Full-Chip Data processing via its host system. An Acquirer that is unable to support Full-
  Chip Data processing via its host system is prohibited from deploying or supporting Chip-Reading
  Devices with the Chip functionality enabled and must either:
     - Update its host system and network functionality to support Full-Chip Data
     - Disable Chip functionality in all Chip-Reading Devices connected to its host system

ID#: 050411-150210-0004842



Chip-Reading Device Acquirer Public Keys Requirements

An Acquirer must ensure that the Visa Public Keys are replaced by any date specified by Visa.

ID#: 010410-010410-0004843



Acquirer Chip-Reading Device Information Responsibilities

An Acquirer is responsible for the actions of a Chip-Reading Device that provides improper
information and processing decisions to the Chip.

ID#: 010410-010410-0006018



PIN Capability at Chip-Reading Devices - AP Region

All new Chip-Reading Devices in the AP Region, certified by EMV Co, must be capable of accepting
a PIN, with plaintext and enciphered Offline PIN Verification as the minimum requirement.

ID#: 010410-010410-0004860



ATM EMV Capability in Australia and New Zealand – AP Region (New)
                                                                                                29
Effective 1 January 2011, all new ATMs in Australia must be EMV Level 1 compliant.

Effective 1 April 2011, all new ATMs in New Zealand must be EMV Level 1 compliant.

ID#: 050411-060111-0026183



Chip Reading Terminal Requirements in Australia – AP Region (New)

In addition to the requirements specified in the Visa International Operating Regulations – “Chip-
Reading Terminals,” an Acquirer in Australia must ensure that an EMV- and VIS-Compliant Chip-
Reading Device complies with the following requirements:

• An EMV- and VIS-Compliant Chip-Reading Terminal:


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     EMV hardware capable and EMV Level 1 certified but not fully certified or active.


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• Must support and accept an Online and Offline PIN based upon the Cardholder Verification
  Methods encoded in the Chip
• Must support PIN bypass. If PIN is not used, the Merchant must obtain signature as Cardholder
  Verification Method
• An EMV- and VIS-Compliant Chip-reading Unattended Acceptance Terminal:
• Must support “No CVM (Cardholder Verification Method) required” for all EMV- and VIS Compliant
  Chip-reading Unattended Acceptance Terminals that perform Cardholder-Activated Transaction
  Type A and Cardholder-Activated Transaction Type B
• Must support Online PIN
• Must support Offline PIN. All Unattended Acceptance Terminals that support “Enciphered Offline
  PIN” must also support “Plaintext Offline PIN.”

These terminal requirements apply to all EMV- and VIS-Compliant Chip-Reading Terminals (including
EMV- and VIS-Compliant Chip-Reading Unattended Acceptance Terminals).

ID#: 050411-060111-0026184



Chip Reading Terminal Risk Management in Australia – AP Region (New)

An Acquirer in Australia must ensure the random transaction selection of a Terminal Risk
Management process does not exceed 10% of the total Below-Floor Limit Transactions for all EMV -
and VIS-Compliant Chip-Reading Terminals.

ID#: 050411-060111-0026185



PIN-Entry Bypass Prohibition - Canada Region

A Canada Acquirer must ensure that PIN entry on a Compliant Chip-Reading Device with a PIN Entry
Device cannot be bypassed by the Acquirer, the Merchant, or an agent of the Acquirer or the
Merchant.

ID#: 010410-010410-0004863



Offline PIN at Compliant Chip-Reading Devices - Canada Region

Compliant Chip-Reading Devices in the Canada Region must support both plaintext PINs that are
verified offline and enciphered PINs that are verified offline.

ID#: 010410-010410-0004866



Chip-Reading Device Manual Cash Disbursements - Canada Region

All Canada Acquirers must ensure that all Compliant Chip Card Reading Devices offering Manual
Cash Disbursements meet all of the following requirements:

• Support signature as a Cardholder Verification Method (CVM)
• Do not support "No CVM required" as a CVM


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• Support either:
  - Enciphered PINs that are verified online
  - Plaintext PINs and enciphered PINs that are verified offline

ID#: 010410-010410-0004871



Manual Cash Disbursement - Magnetic-Stripe-Read - Canada Region

A Compliant Chip Card Reading Device offering Manual Cash Disbursements in the Canada Region
may complete a Transaction using Magnetic-Stripe Data when a Compliant Chip Card cannot be
read.

ID#: 010410-010410-0004872



Manual Cash Disbursement Fallback Transactions - Canada Region

A Canada Acquirer must ensure the Issuer is aware when a Manual Cash Disbursement
Authorization Request is for a Fallback Transaction.

ID#: 010410-010410-0004873



Chip-Related Acquirer Fraud Liability - Canada Region

A Canada Acquirer is liable for any fraudulent Transactions that result from improper information and/
or processing decisions provided to a Compliant Chip Card by either a Compliant Chip Card Reading
Device or a Chip-Reading Device.

ID#: 010410-010410-0004875



Chip-Reading Device Authorizations - CEMEA Region (Updated)

A CEMEA Acquirer must identify all Authorization messages originating from EMV-Compliant Chip-
Reading Devices using the appropriate Values within Field 60, "Additional POS Information," as
specified in the VisaNet manuals.

ID#: 050411-010410-0004886



Chip-Reading Device General Requirements - CEMEA Region

When installing an EMV-Compliant Chip-Reading Device to accept a Visa or Visa Electron Payment
Application, or upgrading an existing non-EMV or EMV compatible-only chip terminal to comply with
full EMV specifications, a CEMEA Acquirer must ensure that the terminal:

• Has been approved by Visa, or by an entity authorized by Visa
• Meets the EMV Integrated Circuit Card Specifications for Payment Systems




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• Meets the Transaction Acceptance Device Requirements
• Has its Visa Public Keys replaced by any date specified by Visa

ID#: 081010-010410-0007252



Non-EMV and EMV Compatible Terminal Requirements - CEMEA Region

All Chip-Reading Devices in the CEMEA Region that use chip technology to accept Visa Cards and
Cards bearing the Visa Brand Mark with the Electron Symbol, including both non-EMV and EMV
compatible-only Chip terminals, must:

• Be fully EMV-Compliant
• Operate in line with the Smart Payment Product Principles
• Support Static and Dynamic Data Authentication, with the optional exception of Online-only
  devices

ID#: 010410-010410-0008503



Chip-Reading Device Requirement to Support Signature - CEMEA Region

A CEMEA Acquirer must ensure that all EMV-Compliant Chip-Reading Devices at Merchant Outlets
support "signature."

ID#: 010410-010410-0004894



Online-Capable Chip-Reading Device Plaintext Offline PIN Requirements CEMEA
Region

A CEMEA Acquirer must ensure that all Online-Capable Chip-Reading Devices at Merchant Outlets
support both "Plaintext PIN verified offline" and "Enciphered PIN verified offline," with the optional
exception of Online-only devices.

ID#: 010410-010410-0004896



Online-Only Chip-Reading Device Plaintext Offline PIN Requirements - CEMEA Region

A CEMEA Acquirer must ensure that all Online-Only Chip-Reading Devices at Merchant Outlets
support "Enciphered PIN verified Online" if these Devices do not support both "Plaintext PIN verified
offline" and "Enciphered PIN verified offline," with the optional exception of Online-only devices.

ID#: 010410-010410-0004897



Chip-Related Data Acquirer Responsibilities - CEMEA Region (Updated)

In the CEMEA Region, an Acquirer is responsible for the actions of a Chip-Reading Device that
provides information and processing decisions to the Chip that are not in accordance with the Visa
International Operating Regulations, the CEMEA Regional Operating Regulations, EMV Integrated
Circuit Card Specifications for Payment Systems, and Transaction Acceptance Device Requirements.

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An Acquirer must identify all Authorization messages originating from EMV-Compliant Chip-Reading
Devices using the appropriate values within Field 60, "Additional POS Information," as specified in the
VisaNet manuals.

An Acquirer must provide the Authorization response codes in the Clearing Record for Chip-Initiated
Transactions that are offline-approved.

A Chip Acquirer must provide all full Chip data within Field 55 of the VisaNet message.

ID#: 050411-010410-0004898



Unattended Acceptance Terminal Magnetic-Stripe Option - CEMEA Region

In the CEMEA Region, if an EMV-Compliant Chip Card cannot be read:

• An Online-only Chip-Reading Unattended Acceptance Terminal may complete a Transaction using
  Magnetic-Stripe Data
• An Offline-only Chip-Reading Unattended Acceptance Terminal must not complete a Transaction
  using Magnetic-Stripe Data

ID#: 010410-010410-0008504



Chip-Reading Device Terminal Capabilities - CEMEA Region

A Manual Cash Disbursement Acquirer in the CEMEA Region must ensure that all EMV-Compliant
Chip-Reading Devices offering Manual Cash Disbursement support "signature."

All newly installed Chip-Reading Devices offering Manual Cash Disbursement must support either:

• "Enciphered PIN verified Online"
• "Plaintext PIN verified offline" and "Enciphered PIN verified offline"

"No CVM (Cardholder Verification Method) required" must not be supported for Manual Cash
Disbursement Transactions.

All Chip-Reading Devices must support Online Dynamic Card Authentication for all Manual Cash
Disbursement Transactions.

A Manual Cash Disbursement Acquirer must ensure that all Chip-Reading Devices offering Manual
Cash Disbursement support "signature" and either:

• "Enciphered PIN verified Online"
• "Plaintext PIN verified offline" and "Enciphered PIN verified offline"

ID#: 010410-010410-0005363




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Chip-Reading Device Service Code Requirements - U.S. Region

To recognize EMV-Compliant Chip Cards when Visa Smart Payment is supported, a U.S. Acquirer
must ensure that all EMV-Compliant Chip-Reading Devices act upon the Service Code read from the
Magnetic Stripe.

ID#: 010410-010410-0006844



Proximity/Contactless Payment Terminals


Proximity Payment Terminal Combination Testing Requirements

An Acquirer or Acquirer's agent must perform successful combination testing using the ADVT-qVSDC
device module or other Visa-approved combination testing tool before deployment of a quick Visa
Smart Debit/Credit (qVDCS) Proximity Payment reader at a Point-of-Transaction Terminal.

ID#: 081010-130809-0008835



Proximity Payment POS Entry Mode Code

An Acquirer must ensure that a Proximity Payment terminal uses the proper POS Entry Mode code,
as indicated in "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A) and
"Required Message Content for VisaNet Authorization Requests" (Exhibit 3B) to identify that the
Transaction is processed as one of the following:

• Chip Card Transaction
• Magnetic-Stripe Card Transaction
• Proximity Payment Transaction

All new Proximity Payment terminals deployed in countries without existing Visa Proximity Payment
terminal implementations must not limit a contactless Face-to-Face Environment Transaction by
Transaction amount.

This provision does not apply to Acquirers in Visa Europe.

ID#: 081010-010410-0002058



Proximity Payment Terminal Compliance

Effective 1 April 2008, all new Proximity Payment terminals in countries without existing contactless
implementations must comply with the Visa Contactless Payment Specifications.

Effective 1 January 2012, all Proximity Payment terminals must comply with the Visa Contactless
Payment Specifications.

ID#: 010410-010408-0002059




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Contactless Program Compliance

Effective 1 April 2008, all new contactless programs in countries without existing contactless
implementations must comply with the Visa Contactless Payment Specifications.

Effective 1 January 2012, all contactless programs must comply with the Visa Contactless Payment
Specifications.

ID#: 010410-010408-0002054



Proximity Payment Transaction Compliance (Updated)

A Proximity Payment Transaction must comply with either the:

• Visa Contactless Payment Specifications
• Visa Contactless Payment Specification ISO 14443 Type A and Type B

ID#: 050411-010410-0002053



Proximity Payment Transactions - AP Region (Updated)

Effective 1 May 2010, in the AP Region, a Proximity Payment Terminal and a Proximity Payment
Transaction must comply with all of the following:

• Visa Contactless Payment Specifications
• Visa Contactless Payment Service - Visa Asia Pacific Reader Interface Specification
• Visa Contactless Payment Service - Visa Asia Pacific Reader Specification
• Visa Contactless Payment Service - Visa Asia Pacific Terminal Specification
• Visa payWave Asia Pacific Member Implementation Guide

An AP Member participating in Proximity Payment Transactions must report the summary of all
Proximity Payment Transactions to Visa quarterly as specified in the Visa payWave Asia Pacific
Member Implementation Guide.

ID#: 050411-010510-0025706



Proximity Payment Authorization Requirements - AP Region (Updated)

In the AP Region, a domestic Proximity Payment Transaction must be authorized offline if all of the
following:

• The Transaction amount is less than or equal to the Floor Limits specified in the following table:
• The cumulative value authorized offline in consecutive Proximity Payment Transactions does not
  exceed cumulative offline limits specified in the Visa payWave Asia Pacific Member Implementation
  Guide




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Domestic Proximity Payment Transaction Authorization Floor Limits – AP Region

                                                   Proximity Payment Floor
                Country
                                                    Limit in Local Currency

                Australia                                   AUD 100
                                  1
              Hong Kong                                     HKD 500
                              1
               Indonesia                                   IDR 200,00
                              1
                Malaysia                                    MYR 150
                                          1
      People’s Republic of China                            RMB 500

                S. Korea                                   KRW 50,000
                              1
               Singapore                                    SGD 100
                          1
                 Taiwan                                     NTD 3,000
                           1
                Thailand                                    THB 1,500

              New Zealand                                     NZ 80

                  Japan                                    JPY 10,000

               Philippines                                  PHP 2.000
1.
  These countries may limit the maximum value of a single Proximity Payment Transaction up to the Transaction limits
specified in the table above.

ID#: 050411-010100-0025707



Proximity Payment Issuer Requirements - AP Region (Updated)

The cumulative value authorized offline in consecutive Proximity Payment Transactions must not
exceed the cumulative offline limits specified in the Visa payWave Asia Pacific Member
Implementation Guide.

An Issuer must not send a Referral Response to an Authorization Request for a Proximity Payment
Transaction.

ID#: 050411-010100-0025708



Proximity Payment Program Acquirer Obligations - Canada Region (Updated)

A Canada Acquirer that deploys Proximity Payment Devices that are capable of processing offline-
authorized Transactions must permit Proximity Payment Transactions to be conducted offline for the
maximum amount programmed by the Issuer on the Proximity Payment Card.




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The Canada Acquirer must process Proximity Payment Transactions in accordance with the Visa
Contactless Payment Specifications and ensure that Proximity Payment Transactions can be
processed as programmed by the Issuer on the Proximity Payment Card.

ID#: 050411-010410-0002077



Proximity Payment Transaction Requirements - Canada Region (Updated)

In the Canada Region, a Proximity Payment Transaction must be a Transaction that is made with a
Visa Card issued by a Member and that uses either:

• The version of the qVSDC protocol that uses Cryptogram 17 as defined in the Visa Contactless
  Payment Specifications and the Proximity Payment Transaction is either Online or offline-
  authorized
• The MSD protocol as defined in the Visa Contactless Payment Specifications and the Proximity
  Payment Transaction is fully authorized by having a Zero Floor Limit

ID#: 050411-010410-0002078



Proximity Payment Transaction Receipts - Canada Region

Transaction Receipts are not required to be issued for a Proximity Payment Transaction in the
Canada Region, but must be provided if requested by a Cardholder. The Transaction Receipt is only
required to contain the total Transaction amount and Transaction Date. A Cardholder Verification
Method (CVM), such as PIN or signature, is not required.

ID#: 010410-010410-0002079



Proximity Payment Device Requirements - Canada Region (Updated)

A Proximity Payment Device in the Canada Region must support the version of the qVSDC protocol
that uses Cryptogram 17, and may also support the MSD protocol, as defined in the Visa Contactless
Payment Specifications.

ID#: 050411-010410-0002080



Acquirer Contactless Program Requirements - U.S. Region

A U.S. Acquirer must:

• Ensure that a Point-of-Transaction Terminal with Contactless Payment capability has been
  approved by Visa, or an entity authorized by Visa
• Comply with operating requirements specified in the Visa U.S.A. Contactless Payment Program
  Member Implementation Guide
• Ensure that its Merchant displays the Contactless Payment signage specified in the Contactless
  Indicator and Contactless Symbol Reproduction and Applications Guide

ID#: 010410-010410-0002042




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Merchant Registration for Contactless - U.S. Region

A U.S. Acquirer must register its Merchant in order for the Merchant to participate in the Visa
Contactless Payment Program. Registration information is available upon request from Visa.

ID#: 010410-010410-0002043



Contactless Payment Processing - U.S. Region

A U.S. Acquirer that processes Contactless Payment Transactions must:

• Identify a Contactless Payment Transaction in the VisaNet Authorization Request by using the
  appropriate POS Entry Mode code value, as specified in "Required Data for Authorization
  Requests and Responses" (Exhibit OO - U.S. Region)
• Transmit full contents of the Magnetic Stripe or Contactless Payment Chip, including any Device
  Indicator values, if present, in its Authorization Request
• Assign the appropriate Terminal Entry Capability code in the Clearing Record, as specified in
  "VisaNet Clearing Message Content Standards" (Exhibit NN - U.S. Region)
• Comply with processing requirements as specified in:
  - Visa U.S.A. Contactless Payment Program Technical Implementation Guide
  - Visa U.S.A. Contactless Payment Program Member Testing and Certification Guide
  - Appropriate VisaNet manual, including Proximity Payment processing requirements, which are
    also applicable to Contactless Payment Transactions
• Ensure that its Merchant complies with requirements specified in the Visa U.S.A. Contactless
  Payment Merchant Testing Guide

ID#: 010410-010410-0002044



Transactions Under US $25 - U.S. Region

Effective through 16 April 2010, for Transactions under US $25 completed at a Point-of-Transaction
Terminal with Contactless Payment capability, a U.S. Merchant is not required to either:

• Obtain the Cardholder signature
• Provide a Transaction Receipt, unless the Cardholder requests one

This applies to all Transaction types, including Magnetic-Stripe, Contactless Payment, and Chip Card
Transactions.

ID#: 081010-010410-0008511




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Transactions Not Exceeding US $25 - U.S. Region

Effective 17 April 2010 through 15 October 2010, for Transactions less than or equal to US $25
completed at a Point-of-Transaction Terminal with Contactless Payment capability, a U.S. Merchant
is not required to either:

• Obtain the Cardholder signature
• Provide a Transaction Receipt, unless the Cardholder requests one

This applies to all Transaction types, including Magnetic-Stripe, Contactless Payment, and Chip Card
Transactions.

ID#: 081010-170410-0025582



Dynamic Currency Conversion Prohibitions - U.S. Region (Updated)

Effective through 6 October 2010, in the U.S. Region, a Transaction must not be processed as a
Contactless Payment Transaction if Dynamic Currency Conversion is performed.

ID#: 050411-010410-0002050



Cardholder-Activated Terminals - Self-Service Terminals, Automated
Dispensing Machines, Limited Amount Terminals - U.S. Region


Cardholder Activated Terminal - Participation Requirements - U.S. Region

Before activating a Cardholder-Activated Terminal, a U.S. Acquirer must submit to Visa:

• Detailed written operational plan for each proposed Merchant Agreement with a Cardholder-
  Activated Terminal Merchant. The plan must include at least:
  - Type of goods and services to be provided
  - Type of Cardholder-Activated Terminal to be used
  - Transaction flow explanation
  - Proposed Authorization procedure, if applicable
  - Risk management plan
• Written certification that each participating Cardholder-Activated Terminal meets the required
  standards specified in the U.S. Regional Operating Regulations

Visa may impose additional operating requirements as it deems necessary.

ID#: 010410-010410-0006020




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Cardholder-Activated Terminal - Cancellation Message Requirements - U.S. Region

A U.S. Acquirer must send a cancellation message to the V.I.P. System:

• At any time before the terminal begins operation, if the Cardholder cancels the Transaction request
• Whenever the terminal cannot complete the Transaction due to a failure or timeout resulting from a
  delayed Authorization Response

ID#: 010410-010410-0004936



Cardholder-Activated Terminal - Declines - U.S. Region

If an Automated Dispensing Machine or Self-Service Terminal allows a U.S. Acquirer to cancel a
Transaction before the machine or terminal begins operation, the Acquirer may decline the request
without Issuer permission.

ID#: 010410-010410-0004937



Cardholder-Activated Terminal - Card Retention - U.S. Region

In the U.S. Region, an Automated Dispensing Machine, Self-Service Terminal, or Limited-Amount
Terminal is not required to have the ability to retain Visa Cards or Visa Electron Cards. If it does have
the ability, it may retain the Card only upon Issuer request.

ID#: 010410-010410-0004938



Cardholder Activated Terminal - Card Retention Requirements - U.S. Region

If a Visa Card or Visa Electron Card is retained, a U.S. Acquirer or U.S. Merchant must:

• Log it under dual custody immediately after removal from the Cardholder-Activated Terminal
• Render it unusable and return it to the Issuer

An Issuer is not required to pay a reward to the Acquirer. The Acquirer may collect a handling fee.

ID#: 010410-010410-0008516



Automated Dispensing Machine - PIN and Security Requirements - U.S. Region

A U.S. Acquirer of an Automated Dispensing Machine must obtain approval from Visa for PIN
handling and security before the Automated Dispensing Machine may accept Cards.

ID#: 010410-010410-0004941




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Automated Dispensing Machine Requirements - U.S. Region

An Automated Dispensing Machine in the U.S. Region must:

• Accept PINs that are 4, 5, or 6 digits or alphabetic characters, or a combination, as a substitute for
  a signature
• Read and transmit the entire unaltered contents of either track 1 or track 2 of the Magnetic Stripe
  or Chip
• Effective through 15 October 2010, produce a Transaction Receipt (not required for Small Ticket
  Transactions unless requested by the Cardholder)
• Effective 16 October 2010, produce a Transaction Receipt (not required for Visa Easy Payment
  Service Transactions unless requested by the Cardholder)
• Have a standard PIN pad
• Display the Visa Flag Symbol or the Visa Brand Mark
• Comply with the:
  - Payment Technology Standards Manual
  - PIN Management Requirements Documents
  - Transaction Acceptance Device Requirements
  - Appropriate VisaNet manual

An Automated Dispensing Machine must not dispense Scrip.

ID#: 081010-010100-0008517



Automated Dispensing Machine Cardholder Messages - U.S. Region

An Automated Dispensing Machine in the U.S. Region must be capable of conveying at least the
following information to the Cardholder:

• Card invalid for this service
• Service unavailable now
• Invalid PIN - Re-enter
• Card retained

ID#: 010410-010410-0004946



Limited-Amount Terminal Requirements - U.S. Region

A Limited-Amount Terminal in the U.S. Region must:

• Perform data capture of the Account Number, Transaction Date, and Transaction amount
• Read track 1 or track 2 of the Magnetic Stripe or the Chip data and validate the Service Code,
  Account Number, and expiration date
• Check the Account Number against an exception file for Authorization, if the Limited-Amount
  Terminal can retain this information

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• Produce a Transaction Receipt, except for Magnetic-Stripe Telephones
• Limit the Transaction amount to US $25

A Limited-Amount Terminal must not dispense Scrip.

ID#: 010410-010410-0008518



Limited-Amount Terminals - Merchant Category Code Restrictions - U.S. Region

All Limited-Amount Terminals in the U.S. Region must be restricted to the following Merchant
Category Codes:

• 4111, "Local and Suburban Commuter Passenger Transportation, Including Ferries"
• 4112, "Passenger Railways"
• 4131, "Bus Lines"
• 4784, "Tolls and Bridge Fees"
• 7523, "Parking Lots and Garages"

An exception may be made only with prior written approval from Visa.

ID#: 010410-010410-0006024



Self-Service Terminal Requirements - U.S. Region

A Self-Service Terminal in the U.S. Region must:

• Read and transmit the entire unaltered contents of either track 1 or track 2 of the Magnetic Stripe
  or the Chip data, as specified in the appropriate VisaNet manual
• Effective through 15 October 2010, produce a Transaction Receipt (not required for Small Ticket
  Transactions unless requested by the Cardholder)
• Effective 16 October 2010, produce a Transaction Receipt (not required for Visa Easy Payment
  Service Transactions unless requested by the Cardholder)
• Limit the Transaction amount to US $50 for all Transactions, with the exception of Transactions
  conducted at an Automated Fuel Dispenser

A Self-Service Terminal must not dispense Scrip.

ID#: 081010-010410-0004953




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Automated Fuel Dispensers


Automated Fuel Dispenser Authorization Options (Updated)

An Automated Fuel Dispenser Merchant may:

• Obtain an Authorization for the full amount of a Transaction exceeding one of the following:
     - For a Chip or PIN-initiated Transaction, US $100, or local currency equivalent
                                                     30
     - For all other Transactions, US $75, or local currency equivalent
• Obtain a Status Check Authorization for Transactions less than or equal to either:
     - For a Chip- or PIN-initiated Transaction, US $100, or local currency equivalent
     - For all other Transactions, US $75, or local currency equivalent
• Participate in Real-Time Clearing, as follows:
     - Send a preauthorization request for an estimated amount (not to exceed US $500, or local
       currency equivalent), based on the Merchant's good faith estimate of the final Transaction
       amount, taking into account, among other factors, typical spending patterns at the Merchant
       location
     - Send the actual Transaction amount (Completion Message) to the Issuer within X of the
       preauthorization request
     - Participate in Partial Authorization

In the U.S. Region, the Completion Message for a Real-Time Clearing Transaction must be for an
amount equal to or less than the authorized amount, including partial approvals, and must be properly
identified as specified in “Automated Fuel Dispenser Real-Time Clearing Transaction Processing
Requirements – U.S. Region.” (This only applies in the U.S. Region.)

The Automated Fuel Dispenser Merchant is protected from Chargeback Reason Code 72, "No
Authorization," for the amount approved by the Issuer.

Provisions related to Real-Time Clearing are not applicable to Transactions involving Issuers or
Acquirers in Visa Europe.

ID#: 050411-150210-0008542



Status Check Authorization (Updated)
Only an Automated Fuel Dispenser Merchant may perform a Status Check Authorization, as specified
in "Automated Fuel Dispenser Authorization Options."

ID#: 050411-151209-0025602




30
     A variance to this requirement applies in the U.S. Region.


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Automated Fuel Dispenser Requirements - CEMEA Region

An Automated Fuel Dispenser in the CEMEA Region must:

• Be an Unattended Acceptance Terminal
• Process Transactions using Merchant Category Code 5542
• Authorize all Transactions
• Read and transmit the entire contents of the Magnetic Stripe (including the Card Verification Value
  if applicable)

An Automated Fuel Dispenser must not dispense cash.

ID#: 010410-010410-0008541



Automated Fuel Dispenser Transaction Amount Limits - U.S. Region (Updated)

An Automated Fuel Dispenser in the U.S. Region must limit the Transaction amount to:

• For a Visa Fleet Card, US $150
• For all other Cards, US $75
• For a Real-Time Clearing Transaction, US $500

ID#: 050411-010410-0008540



Automated Fuel Dispenser Authorization Options - U.S. Region 5.2.K

An Automated Fuel Dispenser Merchant in the U.S. Region must do one of the following:

• Obtain an Authorization for the exact amount of the Transaction
• Use the Status Check Procedure
• Process the Transaction using Real-Time Clearing
• For an Online Check Card Transaction, obtain an Authorization for an amount based on the
  estimated Transaction amount, not to exceed US $50

ID#: 010410-010410-0003616



Status Check Requirements - U.S. Region 5.2.K

An Automated Fuel Dispenser Merchant in the U.S. Region may use the Status Check Procedure if
the Transaction amount is:

• For a Visa Fleet Card Transaction, not more than US $150
• For all other Cards, not more than US $75

ID#: 010410-010410-0008462




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Automated Fuel Dispenser Partial Authorization Requirements - U.S. Region 5.2.K
(Updated)

In the U.S. Region, an Automated Fuel Dispenser Merchant that participates in the Partial
Authorization service must:

• Include the Partial Authorization indicator in the Status Check message, as specified in the
  VisaNet manuals
• Be able to set the Automated Fuel Dispenser terminal to only dispense fuel up to whichever is
  lower:
     - The amount approved in the Partial Authorization Response by the Issuer
     - The Status Check approval amount allowed by the appropriate Card type, as specified in "Status
       Check Requirements - U.S. Region"
• Submit an Authorization Reversal for either:
     - The difference between the amount approved in the Partial Authorization Response and the final
       Transaction amount of the Cardholder's purchase
     - The full amount of the Partial Authorization Response if the Cardholder does not continue with
       the Transaction
• Submit a Clearing Transaction only for the amount of fuel dispensed and approved

ID#: 050411-010410-0005401

Unattended Acceptance Terminals


Unattended Acceptance Terminal Acquirer General Requirements (Updated)

An Acquirer that installs Unattended Acceptance Terminals must:

• Comply with the Authorization requirements specified in the Visa International Operating
  Regulations, as applicable. The Authorization is valid if the Authorization amount is greater than or
  equal to the Transaction amount.
• Identify each Cardholder-Activated Transaction, as specified in "BASE II Record Requirements"
  (Exhibit 2L) and the Visa International Operating Regulations
• Ensure that the terminal:
                      31
     - Reads track 1 or 2 of the Magnetic Stripe or processes a Visa Smart Payment
     - Does not dispense cash, unless it is an ATM
     - Displays the Merchant name and customer service telephone number
                                            32 33
     - Provides a Transaction Receipt




31
   This requirement does not apply to ATMs.
32
   This requirement does not apply to Magnetic-Stripe Telephones.
33
   Effective 20 January 2011, a variance to this requirement applies in the AP Region for Members in Australia and New
Zealand for certain vending machine Transactions.


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  - Informs the Cardholder that a Transaction Receipt is available upon request if a receipt is not
    provided automatically
  - Notifies the Cardholder that the Card has been retained, when the terminal is capable of
    retaining an invalid or expired Card

ID#: 050411-010410-0004816



Unattended Acceptance Terminal Operational Plan

An Acquirer must submit a detailed written operational plan to Visa for approval before activating any
Unattended Acceptance Terminal that performs Cardholder-Activated Transactions Type A.

ID#: 010410-010410-0004815



Prepaid Purchase at Unattended Terminals
A Visa Prepaid Card Transaction at an Unattended Acceptance Terminal must meet the following
requirements:
• Floor Limit is zero
• Merchant identification and its customer service telephone number are displayed

ID#: 081010-010410-0002513



Unattended Acceptance Terminal Requirements - Type A Transactions

When an Unattended Acceptance Terminal performs a Cardholder-Activated Transaction Type A, it
must:

• Perform data capture of the Account Number, Transaction Date, and Transaction amount
• Validate the Service Code, Account Number, and expiration date
• Limit the Transaction amount to a maximum of US $40, or local currency equivalent
• Not complete the Transaction if the Account Number is invalid or if the Card has expired

Effective 1 May 2008, unless granted written permission from Visa, existing Unattended Acceptance
Terminals must cease performing Cardholder-Activated Transactions Type A for all Merchant
Category Codes except:

• 4111, "Local and Suburban Commuter Passenger Transportation, including Ferries"
• 4112, "Passenger Railways"
• 4131, "Bus Lines"
• 4784, "Tolls and Bridge Fees"
• 7523, "Parking Lots and Garages"




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A new Merchant may deploy Unattended Acceptance Terminals that perform Cardholder-Activated
Transactions Type A only for the types of Merchant and Merchant Category Codes listed above,
unless granted written permission from Visa.

ID#: 010410-010410-0004818



Visa Electron Prohibition for Unattended Acceptance Terminal Type A Transactions

An Unattended Acceptance Terminal must not accept Visa Electron Cards for Cardholder-Activated
Transactions Type A.

ID#: 010410-010410-0004819



Unattended Acceptance Terminal Requirements - Type B Transactions (Updated)

When an Unattended Acceptance Terminal performs a Cardholder-Activated Transaction Type B, it
must:
                                                      34 35 36
Limit the Transaction amount to US $100,                         or local currency equivalent
• For a Real-Time Clearing Transaction, limit the Transaction amount to US $500, or local currency
  equivalent
• Authorize all Transactions

ID#: 050411-060111-0004820



Unattended Acceptance Terminal Requirements - Type C Transaction

At a minimum, when an Unattended Acceptance Terminal performs a Cardholder-Activated
Transaction Type C, it must:

• Accept PINs, according to Visa PIN Security and PIN Entry Device (PED) requirements, as
  specified in the PIN Management Requirements Documents
• Be capable of conveying at least the following information to the Cardholder:
     - Card invalid for this service
     - Service unavailable now
     - Invalid PIN - re-enter

ID#: 010410-010410-0004821




34
     Not applicable to an In-Transit Terminal or Real-Time Clearing.
35
     A variance to this requirement applies in the U.S. Region for Automated Fuel Dispenser Transactions.
36
     A variance to this requirement applies in the AP Region for domestic Australia Bill Payment Transactions


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Unattended Acceptance Terminal Transaction Type C PIN Verification

A Chip-enabled Unattended Acceptance Terminal that performs a Cardholder-Activated Transaction
Type C may perform PIN Verification in both an Online and offline environment for a Visa Card or
Visa Electron Card that contains a Visa Smart Payment application.

ID#: 010410-010410-0004822



Unattended Acceptance Terminal Transaction Type C Card Retention

An Unattended Acceptance Terminal that performs a Cardholder-Activated Transaction Type C is not
required to have the ability to retain Cards. If it does have this ability, it may retain a Card only upon
Issuer request, and the Acquirer or Merchant must:

• Log it under dual custody immediately after removal from the terminal
• Render it unusable and return it to the Issuer. If the Card bears a Chip, the Chip must not be
  damaged.

The Issuer is not required to pay a reward to the Acquirer. The Acquirer may collect a handling fee.

ID#: 010410-010410-0004823



Unattended Acceptance Terminal Transaction Amounts - Canada Region

In the Canada Region, an Unattended Acceptance Terminal that performs Cardholder-Activated
Transactions Type A must limit the Transaction amount to a maximum of CAD $75.

ID#: 031209-150210-0004861



Unattended Acceptance Terminal Plaintext PINS - Canada Region

Unattended Acceptance Terminals in the Canada Region that are Compliant Chip-Reading Devices
that perform Cardholder-Activated Transactions Type C must support both plaintext PINs that are
verified offline and enciphered PINs that are verified offline.

ID#: 010410-010410-0004862



Unattended Acceptance Terminal Data Retention - CEMEA Region

The Cardholder ID method transmitted in the original Presentment (TCR0) from an Unattended
Acceptance Terminal must be retained by CEMEA Issuers for inclusion in Chargebacks and data
fraud information messages (TC40).

ID#: 010410-010410-0004908




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Cardholder-Activated Terminals - LAC Region (Updated)

Effective through 30 September 2014, Cardholder-Activated Terminals in the LAC Region must
truncate or disguise at least 4 digits of the Account Number on all Transaction Receipts.

ID#: 050411-010410-0004916



Electronic Signature Capture Terminals


Electronic Signature Capture Devices

A Merchant using an electronic signature capture device must:

• Only store and reproduce a signature on a Transaction-specific basis in relation to the Transaction
  for which the signature was obtained
• Only reproduce a signature upon specific written request from the Acquirer or in response to a
  Retrieval Request
• Have proper controls in place to ensure the security of the stored signatures and other Cardholder
  data in accordance with the Payment Card Industry Data Security Standard (PCI DSS)

An Acquirer may reproduce the Cardholder signature obtained using an electronic signature capture
device in response to a Retrieval Request.

Visa may withdraw an Acquirer, Agent, or Merchant's right to use electronic signature capture devices
if they fail to comply with this regulation, in addition to existing penalties that may be imposed under
the Visa International Operating Regulations.

This provision is not applicable to Transactions involving Issuers or Acquirers in the jurisdiction of
Visa Europe.

ID#: 081010-150509-0008678



Terminals without a Printer


Terminal Without a Printer Interchange Reimbursement Fee - LAC Region

In the LAC Region, a Transaction completed at a Terminal Without a Printer that fulfills the
requirements specified in "Electronic Rate Qualification" is an Electronic Transaction and qualifies for
the Electronic Interchange Reimbursement Fee.

ID#: 010410-010410-0004918




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Terminal Without a Printer Qualifying Merchants - LAC Region

In the LAC Region, a Terminal Without a Printer may be used in market segments and at Merchants
where:

• They still do not have terminals or the cost of terminals with printers represents an obstacle to the
  acceptance of Visa products
• The number of Transactions does not generate a service problem for a Cardholder

ID#: 010410-010410-0004919



Additional Requirements for Terminals Without a Printer - LAC Region

In the LAC Region, a Terminal Without a Printer must transmit the complete and unaltered contents
of a Card's Magnetic Stripe.

A Terminal Without a Printer must meet all requirements for Point-of-Transaction Terminals, except
those related to the Transaction Receipt imprint.

A Terminal Without a Printer may accept Domestic Transactions and International Transactions.

ID#: 010410-010410-0004920

Account Number-Verifying Terminals


Account-Number-Verifying Terminal - Acquirer Responsibilities - U.S. Region

A U.S. Acquirer that is required to install and authorize Transactions at a specified Merchant Outlet
via an Account-Number-Verifying Terminal must:

• Notify the Issuers indicated by both the embossed or printed and encoded Account Numbers when
  the embossed or printed Account Number does not match the encoded Account Number
• Handle any recovered Card as specified in the Visa International Operating Regulations

ID#: 010410-010410-0004931



Account-Number-Verifying Terminal - Merchant Responsibilities - U.S. Region

A U.S. Merchant that is required to install and authorize Transactions via an Account-Number-
Verifying-Terminal must:

• When the embossed or printed Account Number does not match the encoded Account Number:
  - Decline the Transaction and attempt to retain the Card by reasonable and peaceful means
  - Note the physical description of the Cardholder
  - Handle any recovered Card as specified in the Visa International Operating Regulations
• When the encoded Account Number cannot be read from the Magnetic Stripe or Chip, follow
  normal Authorization procedures and complete the approved Transaction using a manual imprinter


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• When the embossed or printed Account Number is the same as the encoded Account Number,
  follow normal Authorization procedures
• Notify the Acquirer if a Card is retained

ID#: 010410-010410-0004932




Honoring Cards

General Acceptance Requirements


Valid Acceptance

A Merchant must accept all Cards properly presented for payment as specified in the "Merchant
Acceptance Standards" table.

A variance to this requirement applies in the U.S. and Canada Regions.

If a Merchant does not deal with the public (e.g., a private club), it complies with this requirement if it
accepts Cards from its Members.

ID#: 081010-150210-0008591



Transaction Processing Requirement - CEMEA Region

Subject to local law, a CEMEA Acquirer must process all valid Transactions originating from its
Merchants.

ID#: 010410-010410-0005242



Acceptance of Visa Electron Cards - CEMEA Region

In the CEMEA Region, the following requirements apply to all Visa Electron Card Transactions at
Merchant Outlets or Point-of-Transaction Terminals, including ATMs, whether or not a Merchant
Outlet has specifically contracted with the Acquirer to accept Visa Electron Cards:

• An Authorization Request must not be systematically rejected or declined by an Acquirer if a Point-
  of-Transaction Terminal, including an ATM, has sent the Transaction Online for Authorization
• An Authorization Request involving a Visa Electron Card Transaction must be forwarded to the
  Issuer or to the Issuer's Processor for an Authorization Response
• A Visa Electron Card Transaction is subject to the conditions specified in the Visa International
  Operating Regulations and "Dispute Resolution"

ID#: 010410-010410-0005243




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Visa Electron Card Transactions - CEMEA Region

In the CEMEA Region, a Visa Electron Merchant must accept valid Visa Electron Cards when
presented for payment. A Visa ATM must accept all Visa Electron Cards, subject to the same local
restrictions allowed for Proprietary Cards bearing the Plus Symbol.

ID#: 010410-010410-0004747



Country-Specific Requirements - South Africa - CEMEA Region

CEMEA Acquirers of Visa Electron Cards in South Africa:

• May accept Visa Electron Transactions from any Merchant that submits Transactions electronically
• Must ensure that only Merchants with PIN-enabled terminals display the Visa Electron decal

ID#: 010410-010410-0005248



Affinity Cards - U.S. Region

A U.S. Merchant that wants to accept Affinity Cards, including an Affiliated-merchant that is affiliated
with an Affinity Partner, must also accept all Visa Cards in the Merchant's category of acceptance, in
compliance with the rules for honoring Cards specified in the U.S. Regional Operating Regulations.
The Merchant must not use an Affinity Card to debit any credit, charge, or asset account other than
the Visa account maintained by the Issuer in connection with the Affinity Card.

ID#: 010410-010410-0002873



Visa Electron Acceptance - U.S. Region

A U.S. Merchant may accept Visa Electron Cards. If the Merchant accepts Visa Electron Cards, it
must:

• Accept all Visa Electron Cards properly presented for payment
• Process all Transactions resulting from Visa Electron Cards as Visa Electron Program
  Transactions, as specified in the Visa International Operating Regulations

ID#: 010410-010410-0002871



Mini Card Acceptance - U.S. Region

A U.S. Merchant that accepts a Visa Card and has a Magnetic-Stripe Terminal must attempt to
accept a Visa Mini Card if the Visa Mini Card is within the Merchant's category of Card acceptance.

The Merchant must request the corresponding full-sized Visa Card if the Merchant's Terminal is
unable to read the Magnetic Stripe on the back of the Visa Mini Card.

ID#: 010410-010410-0005809




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Visa Electron Card Magnetic-Stripe Read Requirement - U.S. Region

If the encoded Account Number on a Visa Electron Card cannot be read from the Magnetic Stripe, a
U.S. Merchant must request another means of payment.

ID#: 010410-010410-0005125



Uniform Services


Uniform Services - Acquirer Requirements

An Acquirer must:

• Accept all Cards properly presented for payment
• Offer and render services uniformly to all Cardholders

ID#: 010410-010410-0005302



Uniform Services Merchant Requirement

A Merchant must process Transactions with its Acquirer's Cardholders and other Members'
Cardholders in exactly the same manner.

ID#: 010410-010410-0003018



On-Us Transactions - U.S. Region

A U.S. Merchant must process Transactions with its Acquirer's Cardholders and other Members'
Cardholders in exactly the same manner. The Merchant's normal discount rates, controls, regulations,
and procedures apply.

The Merchant must not require a Cardholder, as a condition for honoring a Visa Card or Visa
Electron Card, to sign a statement that waives the Cardholder's right to dispute the Transaction with
the Issuer.

ID#: 010410-010410-0006140



Affiliated-Merchants - U.S. Region

In the U.S. Region, an Affiliated-merchant is considered a Merchant for the purposes of the Visa
International Operating Regulations.

An Acquirer must ensure that it and its Affiliated-merchant comply with the federal bank anti-tying
laws, Section 106 of the Bank Holding Company Act Amendments of 1970, 12 USC 1972, including
without limitation, the prohibition on the varying of consideration on the condition that the customer
obtain a product or service from an affiliate of the Member.

ID#: 010410-010410-0008770



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Discount at the Point of Sale


Discount Offer - U.S. Region 5.2.D.2

In the U.S. Region, any purchase price advertised or otherwise disclosed by the Merchant must be
the price associated with the use of a Visa Card or Visa Electron Card.

A U.S. Merchant may offer a discount as an inducement for a Cardholder to use a means of payment
that the Merchant prefers, provided that the discount is:

• Clearly disclosed as a discount from the standard price
• Non-discriminatory, as between a Cardholder who pays with a Visa Card and a cardholder who
  pays with a "comparable card"

A "comparable card" for purposes of this rule is any other branded, general purpose payment card
that uses the cardholder's signature as the primary means of cardholder authorization (e.g.,
MasterCard, Discover, American Express). Any discount made available to cardholders who pay with
"comparable cards" must also be made available to Cardholders who wish to pay with Visa Cards.
Any discount made available to a Cardholder who pays with a Visa Card is not required to be offered
to cardholders who pay with "comparable cards."

ID#: 010410-010410-0008590



Discounts on Purchases Made with Affinity Cards - U.S. Region

When presented with an Affinity Card, a U.S. Merchant or Affiliated-merchant must not provide a
discount to the Cardholder, unless either the:

• Discount, such as a credit on the Cardholder statement, rebate, etc., is provided subsequent to the
  time of the Transaction
• Cardholder presents a coupon or voucher in addition to the Affinity Card

A Merchant or Affiliated-merchant must not promote at the Point-of-Transaction the availability of
discounts on purchases made with an Affinity Card.

ID#: 010410-010410-0003034




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Cardholder Choice


Honor All Cards - Canada Region (Updated)

In the Canada Region, unless a Merchant has elected to not be a Visa Debit Acceptor, a Merchant
that accepts Visa Cards must accept any valid Visa Card that a Cardholder properly presents for
payment. This means that the Merchant must permit the Cardholder to choose whether to pay for a
transaction with that Visa Card or with some other means of payment accepted by the Merchant.

Effective 16 August 2010, in the Canada Region, Merchants who have elected to be a Visa Debit
Acceptor may choose whether or not to accept domestic Visa Credit Cards. Similarly, Merchants who
have elected to be a Visa Credit Acceptor may choose whether or not to accept domestic Visa Debit
Cards.

ID#: 050411-200209-0008392



Selection of Payment System - Canada Region

Effective 20 February 2009, in the Canada Region, if a Cardholder presents a Visa Card that bears
a Mark representing another payment service:

• Effective through 15 August 2010, the Merchant must honor the Cardholder's request if the
  Cardholder indicates that the transaction is to be processed as a Visa Transaction
• Effective through 15 August 2010, the Merchant may process the transaction as something other
  than a Visa Transaction despite an initial indication by the Cardholder that the transaction is to be
  processed as a Visa Transaction, but only if the Cardholder agrees that the transaction may be
  processed as something other than a Visa Transaction. The Merchant may not mislead the
  Cardholder concerning what payment service or system will be used. If the Merchant provides any
  information regarding the customer's rights related to various transaction choices, that information
  must be accurate.
• Effective 16 August 2010, the Merchant may not intentionally mislead the Cardholder concerning
  what payment service or system will be used. If the Merchant provides any information regarding
  the customer's rights related to various transaction choices, that information must be accurate.

ID#: 081010-200209-0008393



Honor All Cards - U.S. Region 5.2.B

A U.S. Merchant that wishes to accept Visa Cards must accept any valid Visa Card in its category of
acceptance that a Cardholder properly presents for payment. This means that the Merchant must
permit the Cardholder to choose whether to pay for a transaction with that Visa Card or with some
other means of payment accepted by the Merchant. The Merchant may request or encourage a
Cardholder to use a means of payment other than a Visa Card.

ID#: 010410-010410-0002867




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Selection of Payment System - U.S. Region

In the U.S. Region, if a Cardholder presents a Visa Card that is in the Merchant's category of
acceptance and that bears a Mark representing another payment service:

• The Merchant must honor the Cardholder's request if the Cardholder indicates that the transaction
  is to be processed as a Visa Transaction
• The Merchant may process the transaction as something other than a Visa Transaction despite an
  initial indication by the Cardholder that the transaction is to be processed as a Visa Transaction,
  but only if the Cardholder agrees that the transaction may be processed as something other than a
  Visa Transaction. The Merchant may not mislead the Cardholder concerning what payment service
  or system will be used. If the Merchant provides any information regarding the customer's rights
  related to various transaction choices, that information must be accurate.

ID#: 010410-010410-0002868



Incentive to Use Other Payment Method - U.S. Region

A U.S. Merchant may offer a non-monetary benefit to a Cardholder as an inducement for the
Cardholder to use a means of payment other than a Visa Card. A Merchant may offer a monetary
benefit in the form of a discount, as provided in "Discount Offer - U.S. Region," as an inducement for
the Cardholder to use a means of payment other than a Visa Card.

ID#: 010410-010410-0002870



Limited Acceptance


Limited Acceptance - U.S. Region

A U.S. Merchant that accepts Visa Cards may choose Limited Acceptance.

A U.S. Merchant that accepts all Visa Cards, or a Limited Acceptance category of Visa Cards, must
accept any valid Visa Card issued by a non-U.S. Issuer, as specified in the Visa International
Operating Regulations.

ID#: 010410-010410-0008680



Limited Acceptance Notification Requirements - U.S. Region

A U.S. Acquirer must register with Visa and provide reporting on each of its Merchants that has
selected Limited Acceptance.

ID#: 010410-010410-0005609




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Limited Acceptance Merchant Signage - U.S. Region

A U.S. Acquirer must ensure that each of its Limited Acceptance Merchants is provided with Visa-
approved signage representing the Limited Acceptance Category it has selected, in accordance with
its Merchant Agreement. Specifications for appropriate signage are available from Visa.

ID#: 010410-010410-0005110



Card Acceptance Canada Region


Merchant Display of Marks and Acceptance Signage - Canada Region (Updated)

A Canada Acquirer must ensure that:

• Each of its Merchants that accepts all Visa Cards displays the appropriate Visa-Owned Marks to
  indicate which Cards it accepts for payment
• Where required by Visa, Visa Debit Acceptors display Visa-approved signage
• Effective 16 August 2010, Electronic Commerce merchants must display Visa approved signage
  at the Point-of-Transaction to indicate their election not to be a Visa Debit Acceptor or Visa Credit
  Acceptor

ID#: 050411-200209-0008380



Visa Debit Cards Issued by Canada Issuers - Canada Region (Updated)

A Canada Merchant that accepts Visa Cards may choose whether or not to also accept Visa Debit
Cards issued by Canada Issuers.

ID#: 050411-200209-0008382



Visa Credit Cards Issued by Canada Issuers - Canada Region

Effective 16 August 2010, a Canada Merchant that accepts Visa Debit Cards may choose whether
or not to also accept Visa Credit Cards issued by Canada Issuers.

ID#: 081010-160810-0025969



Visa Cards Issued by Non-Canada Issuers - Canada Region (Updated)

A Canada Merchant that accepts Visa Cards must accept any valid Visa Card issued by a non-
Canada Issuer, as specified in the Visa International Operating Regulations.

ID#: 050411-200209-0008384




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Card Acceptance Prohibitions

General Prohibitions


Refinance Existing Debt 5.1.C

A Merchant must not accept a Card to collect or refinance an existing debt unless either:

• The Transaction results from conversion of a Merchant's existing card program to the Visa or Visa
  Electron Program
• The Merchant is a government agency and the Transaction represents a loan payment. In this
  case, the Transaction amount must not equal the loan balance unless it is the final payment.

At the option of a Visa Region, a Merchant may accept a Visa Card or Visa Electron Card as payment
for an existing debt, provided the debt is not considered uncollectable (e.g., payments to a collection
agency or an attempt to recover funds for a dishonored check).

The Transaction must not represent collection of a dishonored check.

A Merchant must not accept Cardholder payments for previous Card charges.

ID#: 081010-010410-0006945



Use of Account Number

A Merchant must not request or use an Account Number for any purpose other than as payment for
goods and services.

An exception to this requirement applies in the U.S. Region for the Health Care Eligibility Service and
Visa ReadyLink. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008585



Minimum Maximum - U.S. Region 5.2.F

A U.S. Merchant must not establish a minimum or maximum Transaction amount as a condition for
honoring a Visa Card or Visa Electron Card.

ID#: 010410-010410-0002992



Postcard with Account Data - U.S. Region 5.2.F

A U.S. Merchant must not require a Cardholder to complete a postcard or similar device that includes
the Cardholder's Account Number, Card expiration date, signature, or any other Card account data in
plain view when mailed.

ID#: 010410-010410-0006960




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Surcharges 5.1.C (Updated)

A Merchant must not add any surcharges to Transactions, unless local law expressly requires that a
Merchant be permitted to impose a surcharge. Any surcharge amount, if allowed, must be included in
the Transaction amount and not collected separately.

A variance applies in the U.S. Region for the Visa Tax Payment Program.

A variance applies in the AP Region for New Zealand under certain terms and conditions, as
communicated to Members in New Zealand. Further information is available from Visa.

A variance applies in the AP Region for government payments in Australia.

ID#: 050411-010410-0006948



Surcharges and Taxes - U.S. Region 5.2.F

A U.S. Merchant must not:

• Add any surcharge to Transactions, except as specified for a Tax Payment Transaction. Travelers
  cheque and Foreign Currency fees and commissions are not surcharges.
• Add any tax to Transactions, unless applicable law expressly requires that a Merchant be
  permitted to impose a tax. Any tax amount, if allowed, must be included in the Transaction amount
  and not collected separately.

ID#: 010410-010410-0003019



Previous Chargeback - U.S. Region 5.2.F

A U.S. Merchant must not enter into Interchange any Transaction Receipt for a Transaction that was
previously charged back to the Acquirer and subsequently returned to the Merchant, irrespective of
Cardholder approval. The Merchant may pursue payment from the customer outside the Visa system.

ID#: 010410-010410-0003022



Refinancing of Existing Debt - U.S. Region 5.2.F

A U.S. Merchant must not accept a Card to collect or refinance an existing debt that has been
deemed uncollectible by the Merchant providing the associated goods or services.

A U.S. Merchant must not accept a Visa Consumer Credit Card or Commercial Visa Product, issued
by a U.S. Issuer, to collect or refinance an existing debt.

ID#: 010410-010100-0003026




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Other Prohibitions


Scrip Prohibition

A Visa or Visa Electron Card must not be used to purchase Scrip.

A variance to this requirement applies in the CEMEA Region.

ID#: 010410-010410-0008708



Merchant Funds Disbursement

A Merchant must not disburse funds in the form of cash except to Visa Cardholders at Hotels or
Cruise Lines, as specified in "Hotel or Cruise Line Cash Disbursement."

A variance applies to the CEMEA Region for Members in South Africa.

Effective 1 March 2010, a variance to this requirement applies in the AP Region for Acquirers
participating in Cash-Back Services.

ID#: 081010-010410-0006952



Merchant Funds Disbursement Exceptions (Updated)

Effective 1 October 2010, a Merchant must not disburse funds in the form of cash, unless the
Merchant is participating in the Visa Cash Back Service.

ID#: 080411-011010-0026039



Visa Prepaid Card Cash Redemption

Effective 1 January 2011, a Visa Prepaid Card must not be redeemed for cash by a Merchant
accepting the Visa Prepaid Card.

ID#: 081010-010100-0025713



Visa Prepaid Card Cash Redemption - U.S. Region

Effective through 30 December 2010, in the U.S. Region, a Visa Prepaid Card must not be
redeemed for cash by a Merchant accepting the Visa Prepaid Card.

ID#: 081010-010410-0003109




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Merchant Funds Disbursement Exceptions - U.S. Region (Updated)

Effective through 30 September 2010, a U.S. Merchant must not disburse funds in the form of
cash, unless either:

• The Merchant processed the sale of travelers cheques or Foreign Currency as a Cash
  Disbursement Transaction before 15 May 2008 and the Merchant is dispensing funds in the form
  of travelers cheques, Visa TravelMoney Cards, or Foreign Currency. In this case, the Transaction
  amount is limited to the value of the travelers cheques, Visa TravelMoney Card, or Foreign
  Currency plus any commission or fee charged by the Merchant.
• The Merchant is participating in the Visa Cash Back Service

ID#: 050411-010410-0003023



Telephone Service Transactions - U.S. Region

In the U.S. Region, a telephone service Merchant must not accept payment for a telephone call when
the Card number is either:

• Entered via touchtone key pad
• Provided to an operator

This prohibition excludes:

• Magnetic-Stripe Telephone Transactions
• Transactions for which the Issuer has a contract with the carrier
• Transactions involving telephone services that have been explicitly approved by Visa and provide
  appropriate risk controls
• Telephone orders for goods and services
• Transactions provided by Inbound Teleservices Merchants, as specified in the Visa Merchant Data
  Standards Manual

ID#: 010410-010410-0005338



Visa Electron Manual Cash Disbursement - U.S. Region

A U.S. Merchant must not accept a Visa Electron Card or Visa TravelMoney Card for a Manual Cash
Disbursement.

ID#: 010410-010410-0008709




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Authorization Requirements

General Authorization Requirements


Transaction Date Authorization Requirement

A Merchant must obtain Authorization on the Transaction Date, excluding special conditions such as
Hotel, Car Rental Company, Cruise Line, Delayed Delivery, Mail/Phone Order, and Electronic
Commerce Transactions, as specified in the Visa International Operating Regulations.

ID#: 010410-010410-0003059



Prohibition Against Arbitrary or Estimated Amounts

Effective 1 April 2010, the Merchant must not use an arbitrary or estimated amount to obtain
Authorization, except as specifically permitted in the Visa International Operating Regulations.

ID#: 010410-010410-0025596



Authorization Code on Transaction Receipt

An Authorization Code must appear on the Transaction Receipt.

ID#: 010410-010410-0009046



Merchant Authorization Requirements (Updated)

A Merchant must request Authorization, regardless of the Transaction amount, if any of the following
is true:

• Cardholder presents an Expired Card
• Cardholder neglects to bring their Card
• Card signature panel is blank
• Merchant is suspicious of a proposed Transaction
• Cardholder presents a Visa Electron Card at a Visa Electron Merchant
• Transaction is an Electronic Commerce Transaction
• Transaction is a Mail/Phone Order Transaction
• Transaction is an In-Transit Service Transaction
• Transaction is a Recurring Transaction
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• Transaction is a V PAY Transaction



37
 Offline Authorization is allowed for Chip-initiated Transactions provided that the Transaction amount does not exceed the
Merchant's Floor Limit.


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• Chip or Chip-Reading Device is inoperative at a Chip-enabled Merchant
• Effective 1 July 2010, Card is unembossed and an Electronic Imprint is not obtained
• Effective 1 October 2010, Transaction is a Cash-Back Transaction

ID#: 050411-010410-0008901



Authorization Cancellation

An Acquirer or Merchant that obtains an Authorization for a Transaction and subsequently cancels
the Transaction (for any reason) must notify Visa or the Issuer of the cancellation.

ID#: 010410-010410-0005500



Airline Authorization

If practical, an Acquirer must provide Authorization services to an International Airline at the request
of Visa.

Authorization support provided to an International Airline must be available on a primary and backup
basis.

ID#: 010410-010410-0006134



Aggregated Transaction Authorization

For an Aggregated Transaction, an Electronic Commerce Merchant must obtain Authorization for the
full, final Aggregated Transaction amount.

ID#: 010410-010410-0003062



Visa Electron Authorization - LAC Region

A Visa Electron Acquirer in the LAC Region must comply with the Visa International Operating
Regulations with the following modifications:

• An Acquirer may, at its own risk, accept embossed Visa Electron Cards at Merchant terminals
  without Electronic Capability
• A Merchant must obtain an Authorization Code for these Transactions

ID#: 010410-010410-0005310



Transaction Date Authorization Requirement - U.S. Region 5.2.K

A U.S. Merchant must obtain Authorization on the Transaction Date unless the Merchant/Transaction
is one of the following:

• Lodging Merchant, Cruise Line Merchant, or a Car Rental Company Transaction



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• Mail/Phone Order Merchant or an Electronic Commerce Transaction
• Automated Fuel Dispenser Transaction
• Aggregated Transaction

ID#: 010410-150210-0003579



Authorization Amount Requirements - U.S. Region

In the U.S. Region, an Authorization Request must be for the total amount of the Transaction.

A U.S. Merchant must not use an arbitrary or estimated amount to obtain Authorization, except as
specifically permitted in the Visa International Operating Regulations.

The Merchant must not add an estimated tip amount to the Authorization Request beyond the value
of the goods provided, or services rendered, plus any applicable tax.

ID#: 031209-150210-0008581



Declined Authorization - U.S. Region 4.2.H.15

Effective through 31 July 2010, a U.S. Acquirer must not enter into Interchange a Transaction that
has received a Decline Response, unless the Transaction is a Preauthorized Transaction.

ID#: 081010-010410-0005565



Preauthorized Payment Cancellation Service - Stop Payment Order - U.S. Region
4.2.H.15 (Updated)

Effective through 9 February 2011, a U.S. Acquirer that receives a Decline Response of "R0," "R1,"
or "R3" as a result of "stop payment order" in the Preauthorized Payment Cancellation Service must
provide the decline message description to the Merchant.

ID#: 050411-010410-0005567



Point-of-Sale Balance Inquiry Authorization - U.S. Region 4.2.H.15

A U.S. Merchant that participates in the Point-of-Sale Balance Inquiry Service may submit a second
Authorization Request for the lower available balance amount if the Cardholder agrees.

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Authorization Amount Allowance for Tip - U.S. Region 5.2.K

Except as specified otherwise in "Partial Authorization Service," an Authorization obtained by a U.S.
Merchant for a Transaction amount that is equal to the Authorization amount plus or minus 20% is
valid if the Transaction originates at a Merchant Outlet assigned one of the following Merchant
Category Codes:

• 5812, "Eating Places and Restaurants"
• 5814, "Fast Food Restaurants"
• 4121, "Taxicabs and Limousines"
• 5813, "Drinking Places (Bars and Taverns)"
• 7230, "Beauty and Barber Shops"
• 7298, "Health and Beauty Spas"

ID#: 010410-010410-0005655



Electron Transaction Authorization - U.S. Region

An Authorization Request for a Visa Electron Transaction in the U.S. Region must originate at an
ATM or Point-of-Transaction Terminal and include the entire unaltered contents of track 1 or track 2
of the Magnetic Stripe or Chip.

A Point-of-Transaction Terminal that does not have Online capability, regardless of whether the
terminal is Chip-enabled, must not display the Visa Electron Symbol or Visa Brand Mark with the
Electron Identifier.

ID#: 010410-010410-0006135



Preauthorized Transaction Decline Response - U.S. Region (Updated)

Effective through 9 February 2011, except as specified in "Preauthorized Payment Cancellation
Service Declined Transaction Procedures - U.S. Region," a Preauthorized Transaction in the U.S.
Region that receives a Decline Response may be resubmitted for Authorization up to 4 times within
16 calendar days from the date of the original Decline Response, in an attempt to receive approval, if
the Decline Response is one of the following:

• Response Code 05, "Authorization declined"
• Response Code 51, "Insufficient funds"
• Response Code 61, "Exceeds approval amount limit"
• Response Code 65, "Exceeds withdrawal frequency limit"

If an Approval Response is not received within this time frame, the Merchant must not deposit the
Transaction.

ID#: 050411-010410-0006007




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ATM Declines


Decline of an ATM Authorization Based on Expiration Date

An ATM Acquirer must not return or decline an ATM Transaction based on the expiration date and
must attempt to complete a Transaction with an Expired Card.

An ATM Authorization Request originating from an Expired Card must be sent Online to the Issuer for
an Authorization Response.

ID#: 010410-010410-0006005



Chip Card ATM Transactions - U.S. Region 5.5.A

In the U.S. Region, if a Chip Card cannot be read, an ATM may complete the Transaction by reading
the Magnetic Stripe. If the Magnetic Stripe cannot be read, the Transaction must not be completed.

ID#: 010410-010410-0004979



Cancelled ATM Transactions - U.S. Region 5.5.A

If an ATM in the U.S. Region has the ability to cancel a Transaction before it is completed, a Reversal
message must be sent to the Single Message System whenever:

• A Cardholder cancels the Transaction
• An ATM cannot dispense currency due to a system failure
• A delayed Authorization Response causes a timeout

ID#: 010410-010410-0004980



ATM Declines - U.S. Region 5.5.A

If an ATM can decline a Cardholder's request for a Cash Disbursement, the ATM Acquirer may only
use this function without Issuer permission.



ID#: 010410-010410-0004981




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T&E Authorizations


Airline Authorization - Multiple Tickets

When a Cardholder purchases multiple Airline tickets on the same Account Number and their
cumulative purchase price exceeds the Floor Limit, the Airline may obtain Authorization for each
ticket individually.

ID#: 010410-010410-0003070



Cruise Line Authorization - Multiple Tickets

When a Cardholder purchases multiple Cruise Line tickets on the same Account Number and their
cumulative purchase price exceeds the Floor Limit, the Cruise Line may obtain Authorization for each
ticket individually.

ID#: 010410-010410-0003248



Car Rental Estimated Authorization Amount 5.1.E.4

A Car Rental Company may estimate Transaction amounts for Authorization based on:

• Cardholder's intended car rental period
• Rental rate
• Applicable tax
• Mileage rates
• Other allowed charges, as specified in "T&E Delayed or Amended Charges Time Limit"

The estimated Transaction amount must not include charges that cover potential vehicle damages or
the insurance deductible amount.

ID#: 010410-010410-0003066



Hotel Estimated Authorization Amount VIOR 5.1.E.4, VIOR 5.4.R.7, USOR 5.2.K.3

A Hotel may estimate Transaction amounts for Authorization based on:

• The Cardholder's intended length of stay at check-in time
• Room rate
• Applicable tax
• Service charge rates
• Other allowed charges, as specified in "T&E Delayed or Amended Charges Time Limit"




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After completing the estimate, a U.S. Lodging Merchant must obtain an Authorization and include the
date, amount, and Authorization Code on the Transaction Receipt. (This only applies in the U.S.
Region.)

ID#: 010410-010410-0008965



Cruise Line Estimated Authorization Amount

For a Cruise Line Transaction, a Merchant may estimate Transaction amounts for Authorization
based on:

• The initial Authorization Request must be based on the Cardholder's signed statement of intent to
  purchase goods or services aboard ship for a Cardholder-specified amount.
• Additional Authorizations may be obtained at any time on or between the Cardholder's
  embarkation date and disembarkation date, and must be disclosed to the Cardholder.

ID#: 010410-010410-0003071



T&E Estimated Authorization Procedures VIOR 5.1.E.4, USOR 5.2.K.3

After completing an estimate for a Hotel or Car Rental Company Transaction, the Merchant must
either:

• Effective 1 April 2010, if the estimated Transaction amount is equal to or below the Floor Limit,
  check the appropriate Card Recovery Bulletin or obtain an Account Number Verification on the
  Cardholder's check-in or rental pick-up date
• If the estimated Transaction exceeds the Floor Limit, obtain an Authorization and include the date,
  amount, and Authorization Code on the Transaction Receipt

In the U.S. Region, the Merchant may obtain an Authorization for a new estimated Transaction
amount and must include the date, amount, and Authorization Code on the Transaction Receipt if the
Merchant subsequently estimates that, based on the Cardholder's actual charges, the Transaction
amount will exceed the previously authorized amount. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008966



T&E Incremental Authorizations 5.1.E.4

A Hotel or Car Rental Company may obtain and must record Authorizations for additional amounts
above any amount already authorized after the check-in or rental pick-up date and before the
checkout or rental return date.

ID#: 031209-150210-0003068



T&E Final Authorization VIOR 5.1.E.4, USOR 5.2.K.3

A Merchant must obtain a final or an additional Authorization and include the date, amount, and
Authorization Code on the Transaction Receipt if the actual Transaction amount exceeds either the
Floor Limit or 15% more than the sum of the authorized amounts.


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A final or an additional Authorization must be obtained and the date, amount, and Authorization Code
must be included on the Transaction Receipt if the actual Transaction amount exceeds either the
Floor Limit or 15% more than the sum of the authorized amounts.

ID#: 010410-010410-0008967



Car Rental Authorization Amount Disclosure - U.S. Region 5.2.K

If Authorization is obtained for the estimated amount of a car rental Transaction, a U.S. Merchant
must disclose the authorized amount to the Cardholder on the rental date.

ID#: 010410-010410-0005644



T&E Partial Authorizations - U.S. Region 5.2.K

In the U.S. Region, the special Authorization procedures for Lodging Merchants, Cruise Line
Merchants, and Car Rental Companies specified in the Visa International Operating Regulations do
not apply if the last Authorization obtained was a Partial Authorization.

ID#: 010410-010410-0005647



Floor Limits


Default Floor Limits

For countries where the Floor Limit is shown in US dollars in "Maximum Authorized Floor Limits," a
Transaction is considered to have exceeded the Floor Limit if the local currency equivalent value of
the Transaction is greater than the equivalent value of the Floor Limit shown.

ID#: 010410-010410-0002858



Domestic Floor Limits

An Acquirer may establish a higher domestic Floor Limit than the international Floor Limit at its own
risk.

If the Acquirer sets a lower domestic Floor Limit than the international Floor Limit, the Acquirer must
authorize all Transactions at that Floor Limit.

ID#: 010410-010410-0006029




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Domestic Non-Chip Floor Limits in Australia – AP Region (New)

The following non-Chip Floor Limits apply to Domestic Transactions in Australia:


Domestic Non-Chip Floor Limits in Australia

                             Category                                Maximum Limit

 Petrol Stations (Paper-based or electronic fallback only)        AUD 49

 All Merchants with electronic terminals                          Zero

 Fallback (Where terminal is inoperable – i.e. terminal faulty
                                                                  AUD 75
 or cannot communicate with the Acquirer host)


ID#: 050411-060111-0026162



Manual Cash Disbursement Floor Limit

The Floor Limit for a Manual Cash Disbursement is zero.

ID#: 010410-010410-0005305



Below-Floor Limit Transactions

A Merchant must check the appropriate Card Recovery Bulletin (CRB) for each Transaction below the
Floor Limit. If the Account Number appears on the bulletin, the Merchant should attempt to recover
the Card.

This requirement does not apply to Merchants in the U.S. Region.

ID#: 010410-010410-0003010



Transactions Above the Floor Limit

A Merchant must:

• Request Authorization before completing a Transaction if the amount exceeds the Floor Limit,
  unless Visa grants a variance in writing
• Not split a sale to avoid obtaining Authorization
• For a Real-Time Clearing Transaction, send a preauthorization request through the Single
  Message System for an estimated amount (not to exceed US $500) that is based on the
  Merchant's good-faith estimate of the final Transaction amount, taking into account, among other
  factors, typical spending patterns at the Merchant location

The provision related to Real-Time Clearing is not applicable to Transactions involving Issuers or
Acquirers in the jurisdiction of Visa Europe.

ID#: 010410-010410-0003058


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Chargeback Protection Limit for Prestigious Property Merchant - U.S. Region

In the U.S. Region, the Chargeback Protection Limit for a Prestigious Property Merchant that uses the
Status Check procedure is US $1500. Visa determines the qualification of a Prestigious Property
Merchant on a case-by-case basis.

ID#: 010410-010410-0005568



Zero Floor Limit - U.S. Region 5.2.K

A U.S. Merchant must request Authorization for every Transaction, unless specified otherwise, before
completing the Transaction, unless the Transaction occurs at a Limited Amount Terminal.

ID#: 010410-010410-0004124



Partial Authorization


Partial Authorization Service Merchant Requirements

A Merchant that participates in the Partial Authorization service must:

• Include the Partial Authorization indicator in the Authorization Request message, as specified in
  the VisaNet manuals
• Immediately submit an Authorization Reversal if the Cardholder elects not to complete the
  purchase
• Submit a Clearing Transaction for no more than the amount approved in the Partial Authorization
  Response

ID#: 081010-010410-0002519



Automated Fuel Dispenser Partial Authorization Requirements

If participating in the Partial Authorization service, an Automated Fuel Dispenser Merchant must:

• Include the Partial Authorization indicator in the Authorization Request or Status Check
  Authorization, as specified in the VisaNet manuals and the applicable Prepaid Program Guidelines
• For Transactions where the full Transaction amount is included in the Authorization Request,
  submit a Clearing Transaction for no more than the amount approved in the Partial Authorization
  Response
• For Status Check Authorization Transactions, submit a Clearing Transaction up to the amount
  approved in the Partial Authorization Response or one of the following, whichever is lower:
     - For a Chip or PIN-initiated Transaction, US $100, or local currency equivalent
                                                     38
     - For all other Transactions, US $75,                or local currency equivalent




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     A variance to this requirement applies in the U.S. Region.


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• Submit an Authorization Reversal for either:
  - The difference between the amount approved in the Partial Authorization Response and the final
    Transaction amount if the Cardholder's purchase is lower than the Partial Authorization amount
  - The full amount of the Partial Authorization Response if the Cardholder does not continue with
    the Transaction

ID#: 081010-010410-0002520



Partial Authorization Requirements - U.S. Region 5.2.K (Updated)

Except as specified in "Automated Fuel Dispenser Partial Authorization Requirements - U.S. Region,"
a U.S. Merchant accepting Partial Authorizations must support them for all Visa Card types and must:

• Include the Partial Authorization indicator in the Authorization Request message, as specified in
  the VisaNet manuals
• Submit an Authorization Reversal if the Cardholder elects not to complete the purchase
• Submit a Clearing Transaction for no more than the amount approved in the Partial Authorization
  Response

ID#: 050411-010410-0006058



Authorization Reversals


Authorization Reversal Requirements

Effective 1 April 2010, a Merchant must submit an Authorization Reversal:

• If the Cardholder elects not to complete the Transaction
• If the Authorization Request was submitted in error
• For the difference if the final Transaction amount is less than the Authorization amount

A Merchant must submit an Authorization Reversal within:

• 24 hours of the original Authorization if the Transaction was initiated in a Card-Present
  Environment
• 72 hours of the original Authorization if the Transaction was initiated in a Card-Absent Environment
• 24 hours of the check-out, rental return, or disembarkation date if the Transaction was initiated by
  a Hotel, Car Rental Company, or Cruise Line

ID#: 010410-010410-0025597




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Transaction Receipt Deposit Subsequent to an Authorization Reversal

Effective 1 April 2010, a Merchant must not deposit a Transaction Receipt for either:

• A Transaction that was subsequently reversed for the full amount
• A Transaction representing the amount of the partial Authorization Reversal

ID#: 010410-010410-0025598



Authorization Reversals - U.S. Region (Updated)

In the U.S. Region, an Authorization Reversal negates any previous Authorization, or portion of any
previous Authorization, that was obtained for the Transaction.

ID#: 050411-010100-0007200



Authorization Reversal Requirements - U.S. Region

A U.S. Merchant must submit an Authorization Reversal if:

• The Cardholder elects not to complete the Transaction
• The Authorization Request was submitted in error
• The final Transaction amount is less than the Authorization amount

ID#: 081010-010709-0007202



Authorization Reversal Time Limit - U.S. Region

A U.S. Merchant must submit an Authorization Reversal within:

• 24 hours of the original Authorization if the Transaction was initiated in a Card-Present
  Environment
• 72 hours of the original Authorization if the Transaction was initiated in a Card-Absent Environment

ID#: 081010-010709-0007203



Authorization Reversal Deposit Prohibition - U.S. Region

A U.S. Merchant that submits an Authorization Reversal for the full or partially approved amount of
the Transaction must not subsequently deposit a Transaction Receipt for the Transaction.

ID#: 081010-010709-0007204




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Card and Cardholder Verification

General Merchant Requirements


Validation of Cardholder Identity 5.1.D.1.a

An Acquirer or a Merchant must validate a Cardholder's identity and verify the Card in a Face-to-Face
Environment, as specified in the table below.


Identification Verification

                                                              Retail      Manual Cash          Quasi-Cash
                      Description                                                                          1
                                                           Transaction    Disbursement         Transaction

 Cardholder Verification

 Review positive identification to validate the                                 X                    X
 Cardholder's identity
                                                                                    2                    2
 Verify that the Cardholder resembles the person                                X                    X
 described or depicted in any photograph intended for
 identification on the Card
                                                                                    3                    3
 Indicate the positive identification on the Transaction                        X                    X
 Receipt, including either:
                                                                                    2                    2
 • Description of identification, including any serial                          X                    X
   number
 • Notation that the Cardholder's identity was verified
   by the photograph on the Card (e.g., "photo card
   presented")

                                                                  4,8                                    2
 Verify that the signature on the Card matches the            X                 X                    X
 signature on the Transaction Receipt and, if
 applicable, identification presented. This signature
 may be different from the name embossed or printed
              4, 5, 6, 7, 8
 on the Card.
                                                                      9
 Process the PIN, if applicable                                   X             X                    X

 Card Verification

 Check one or more Card security features, as                     X
 specified in the Visa International Operating
 Regulations or the Merchant Agreement, if applicable

 Check one or more Card security features before                                                     X
 completing the Transaction




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                                                                 Retail     Manual Cash       Quasi-Cash
                        Description                                                                       1
                                                              Transaction   Disbursement      Transaction

 For a Visa Card or Visa Electron Card, a Merchant
 must:
 • Check one or more Card security features before                                   X             X
   completing the Transaction
 • Compare the first 4 digits of the Account Number                                  X             X
   (if present) to the 4 digits printed below the
   Account Number                                                                    X             X
 • Record the printed 4 digits on the front of the
   Transaction Receipt

1. Applies only in a Card-Present Environment.
2. If a Card bears a photograph intended for identification
3. If a Card does not bear a photograph intended for identification
4. Does not apply to anonymous Visa Prepaid Card Transactions, Visa Commercial Card Transactions,
   Transactions conducted in New Channels, and effective 16 October 2010, Visa Easy Payment Service
   (VEPS) Transactions. Visa may require Cardholder Verification for Visa Easy Payment Service Transactions
   at a Merchant that exceeds acceptable Fraud Activity thresholds and may impose fines on an Acquirer for its
   Merchant's failure to comply.
5. Except for a Vehicle-Specific Fleet Card
6. Applies only to a Transaction where a Card with a signature panel was presented for payment
7. Signature verification is not required for a Transaction in which a PIN is used
8. Effective through 15 October 2010, in the U.S. Region, this requirement does not apply to Small Ticket
   Transactions, Transactions US $25 and under completed at a Point-of-Transaction Terminal with Proximity
   Payment (Contactless Payment) capability, and any Transactions completed with a Visa Micro Tag.
   Effective 16 October 2010, in the U.S. Region, this requirement does not apply to Transactions completed
   with a Visa Micro Tag.
9. Effective 16 October 2010, in the AP, LAC, and U.S. Regions, PIN is not required for Visa Easy Payment
   Service Transactions unless Visa specifically requires a Merchant to obtain Cardholder Verification for Visa
   Easy Payment Transactions when the Merchant exceeds acceptable levels of Fraud Activity.

ID#: 081010-150210-0008769



Uncertain Cardholder or Card Verification

If Cardholder identification or a Card's validity is uncertain, a Merchant must contact its Acquirer for
instruction. If the Acquirer instructs the Merchant to recover the Card, the Merchant must comply with
the Card recovery procedures specified in the Visa International Operating Regulations.

ID#: 010410-010410-0002834




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Cardholder Signature Requirements (New)

Effective 15 February 2011, when an Issuer issues or reissues a Card, the Issuer must:

• Advise the Cardholder to immediately sign the signature panel on the Card
• Indicate that the Card must be signed in order to be valid

ID#: 050411-150211-0025977



Missing Imprint or Expired Card

A Merchant must verify a Cardholder's identity if either a:

• Card cannot be imprinted on a Transaction Receipt
• Cardholder presents an Expired Card

Effective 16 October 2010, this requirement does not apply to Visa Easy Payment Service
              39
Transactions.

In the U.S. Region, this requirement does not apply to:

• Transactions originating at Magnetic-Stripe Terminals that provide Transaction Receipts
• Limited-Amount Terminal Transactions
• Effective through 15 October 2010, Transactions under US $25 completed at a Point-of-
  Transaction Terminal with Contactless Payment capability
• Transactions completed with a Visa Micro Tag
• Effective through 15 October 2010, Small Ticket Transactions
• Effective through 15 October 2010, No Signature Required Transactions

A U.S. Airline is deemed to have verified the Cardholder's identity if the address to which the ticket is
mailed (indicated on the Issuer's file) matches that on the Address Verification Service file. (This only
applies in the U.S. Region.)

ID#: 081010-010410-0008594



Merchant Use of Account Number Verification

Effective 1 April 2010, a Merchant may use Account Number Verification to request verification of
the Card Account Number, address (where available), or Card Verification Value 2, as specified in the
VisaNet Manuals.

ID#: 010410-010410-0025595




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  Effective 16 October 2010, Visa may require Cardholder Verification for a Visa Easy Payment Service Transaction at a Merchant
that exceeds acceptable Fraud Activity thresholds. Visa may impose fines on an Acquirer for its Merchant’s failure to comply.


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Cardholder Identification and Card Verification Table - U.S. Region 5.2.J.1.a

A U.S. Member or Merchant must validate a Cardholder's identity and verify the Card in a Face-To-
Face Environment, as specified in the table below.


Identification Validation - U.S. Region

                                               Retail and T&E           Manual Cash            Quasi-Cash
                Description
                                                Transactions           Disbursements          Transactions

 Review positive identification (such as                                       X                   X
 an unexpired passport or driver's
 license) to validate the Cardholder's
 identity
                                                                                  2
 Indicate the positive identification on                                      X                    X
                           1
 the Transaction Receipt, including:
 • Description of the identification,
   including any serial number and
   expiration date
 • Cardholder name (if different than
   the embossed or printed name) and
   address

                   2,3
 Verify that the         :                            X                        X                   X
 • Signature on the Visa Card or Visa
   Electron Card matches the
   signature on the Transaction
   Receipt and identification
   presented. This signature may be
   different from the name embossed
   or printed on the Card.
 • Cardholder resembles the person
   described or depicted in any
   photograph intended for
   identification on the Visa Card or
   Visa Electron Card

 Compare the first 4 digits of the                                             X                   X
 embossed or printed Account Number
 to the 4 digits printed above or below
 the Account Number




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                                              Retail and T&E           Manual Cash                Quasi-Cash
               Description
                                               Transactions           Disbursements              Transactions

 Record the printed 4 digits on the                                           X                         X
 Transaction Receipt. Either:
 • Write the digits in the space
   provided on the Transaction
   Receipt
 • Key enter and electronically print
   the digits on the Cash
   Disbursement Transaction Record
   in the designated space, if using a
   Point-of-Transaction Terminal
   capable of printing key-entered
   numbers
 If the numbers do not match, attempt
 to recover the Visa Card or Visa
 Electron Card.

 When using an Account-Number-                       X                        X                         X
 Verifying Terminal, if the embossed or
 printed Account Number does not
 match the encoded Account Number:
 • Decline the Transaction and
   attempt to recover the Card by
   reasonable and peaceful means
 • Note the physical description of the
   Cardholder

1. Unless a violation of applicable law.
2. Effective through 15 October 2010, this requirement does not apply to Vehicle-Specific Fleet Card
   Transactions, U.S. Small Ticket Transactions, or No Signature Required Transactions. Effective 16 October
   2010, this requirement does not apply to Vehicle-Specific Fleet Card Transactions or Visa Easy Payment
   Service Transactions. Visa may require Cardholder Verification for Visa Easy Payment Service Transactions
   at a Merchant that exceeds acceptable Fraud Activity thresholds and may impose fines on an Acquirer for its
   Merchant’s failure to comply.
3. Effective through 16 April 2010, this requirement does not apply to Transactions under US $25 completed
   at a Point-of-Transaction Terminal with Contactless Payment capability, or any Transactions completed with
   a Visa Micro Tag. Effective 17 April 2010 through 15 October 2010, this requirement does not apply to
   Transactions less than or equal to US $25 completed at a Point-of-Transaction Terminal with Contactless
   Payment capability or Transactions of any value completed with a Visa Micro Tag. Effective 16 October
   2010, this requirement does not apply to Transactions of any value completed with a Visa Micro Tag.

ID#: 081010-150210-0002836




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"Valid From" Date - U.S. Region

A U.S. Merchant must not accept a Card before the embossed or printed "valid from" date. When a
Card is embossed or printed with a "valid from" date, the Card is considered valid on the date
specified in the table below.


Card "Valid From" Dates - U.S. Region

        "Valid From" Date Format                                       Validity Date

 Month/year                                First day of the embossed or printed month and year

 Month/day/year                            Embossed or printed date


ID#: 010410-010410-0002830



Card Security Features - U.S. Region

A U.S. Merchant must examine one or more Visa Card or Visa Electron Card security features before
completing a Transaction if either:

• Required by its Acquirer
• Requested by Visa of the Merchant's Acquirer

ID#: 010410-010410-0002877



Supplemental Identification - U.S. Region

A U.S. Acquirer must not, as a regular practice, require a Merchant, and a Merchant must not require a
Cardholder, to provide any supplementary Cardholder information as a condition for honoring a Visa
Card or Visa Electron Card, unless it is required or permitted elsewhere in the U.S. Regional
Operating Regulations. Such supplementary Cardholder information includes, but is not limited to:

• Social Security Number (or any part thereof)
• Fingerprint
• Home or business address or telephone number
• Driver's license number
• Photocopy of a driver's license
• Photocopy of the Visa Card or Visa Electron Card
• Other credit cards

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Authorization in Lieu of Cardholder Identification - U.S. Region

In the U.S. Region, the fact that a Merchant has obtained Authorization for the Transaction does not
eliminate the Merchant's requirement to complete Cardholder identification procedures.

ID#: 010410-010410-0002841



Cardholder Verification - Blank Signature Panel - U.S. Region

In the U.S. Region, if the signature panel on a Card is blank, in addition to requesting an
Authorization, a Merchant must:

• Review positive identification bearing the Cardholder's signature (such as an unexpired passport or
  driver's license) to validate the Cardholder's identity
• Indicate the positive identification, including any serial number and expiration date, on the
  Transaction Receipt
• Require the Cardholder to sign the signature panel of the Card before completing the Transaction

Visa considers a signature panel with the words "See I.D." or equivalent language to be blank.

The requirements of this section do not apply to Transactions resulting from the use of a Vehicle-
Specific Fleet Card.

ID#: 010410-010410-0008592



Address Verification Service


Address Verification Service - ZIP Code Inquiry - U.S. Region (Updated)

A U.S. Merchant may perform Address Verification Service (ZIP code inquiry only) in a Face-To-Face
Environment if:

• The Merchant has been certified as a Cardholder Information Security Program Level 1-compliant
  Merchant
• The Merchant has maintained a face-to-face fraud-related Chargeback rate below 0.02%. The
  face-to-face fraud-related Chargeback rate is the number of Chargeback Reason Code 81, "Fraud-
  Card Present Environment" Chargebacks received as a percentage of all face-to-face Transaction
  Receipts processed.
• The Acquirer has received written certification from Visa approving the use of Address Verification
  Service by its Merchant

A Merchant that chooses to perform Address Verification Service, as specified above, must not
require the Cardholder's ZIP code as a condition of honoring the Card.

ID#: 050411-010410-0008596




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PIN Verification


PIN in Lieu of Signature

A Merchant that uses a Point of Transaction Terminal with Electronic Capability may accept a
Cardholder's PIN rather than a signature. The PIN must be processed as specified in the:

• PIN Management Requirements Documents - Payment Card Industry PIN Security Requirements
  Manual
• EMV Integrated Circuit Card Specifications for Payment Systems
• Transaction Acceptance Device Requirements
• In the U.S. Region, PIN Management Requirements Documents (This only applies in the U.S.
  Region.)

The Merchant must not ask Cardholders to reveal their PINs.

ID#: 081010-010410-0008977




Transaction Receipts

Transaction Receipt General Requirements


Transaction Receipt Requirements (Updated)

A Transaction Receipt may be generated electronically or manually. Detailed requirements for each
type of Transaction Receipt, including printing and data requirements, are specified in:

• "ATM Transaction Receipt Requirements Table 7I-2"
• "ATM Transaction Receipt Requirements - U.S. Region Table S-3"
• "Data Requirements: Cardholder-Activated Terminal Transaction Receipt (Types A, B and C)
  Table 7I-4"
• "Data Requirements: Cardholder-Activated Terminal Transaction Receipt - U.S. Region Tables
  S-4, S-5 and S-6"
• "Data Requirements: Visa Easy Payment Service Transaction Receipt Table 7I-3"
• "Electronic and Manual Transaction Receipts - General - U.S. Region Exhibit S"
• "Electronic Commerce Transaction Receipt Requirements 5.2.B.4 Table 7K-1"
• "Electronic Commerce Transaction Receipt Data Requirements - U.S. Region"
• "Face-to-Face Electronic Purchase or Credit Transaction Receipt Data Requirements Table 7I-1"
• "Hotel Guest Folio - Data Requirements Table 7J-3"
• "Manual Cash Disbursement Transaction Receipt - Data Requirements VIOR Table 7J-4 USOR
  Table S-9"
• "Manual Credit Transaction Receipt - Data Requirements Table 7J-5"
• "Manual Transaction Receipt - Data Requirements VIOR Table 7J-1 USOR Table S-7"

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• "Manual Transaction Receipt - Hotels Table 7J-2"
• "Manual Transaction Receipt - Lodging and Cruise Line Merchants - U.S. Region Table S-1"
• "Point-of-Transaction Terminal Transaction Receipt - U.S. Region Table S-1"
• "Transaction Receipt - Formset Requirements - U.S. Region Exhibit S"
• "Transaction Receipt - Fraud Deterrent Requirements - U.S. Region Exhibit S"
• "Transaction Receipt - Prohibitions - U.S. Region Exhibit S"

On Transaction Receipts used in Japan, space for the Cardholder signature is not required on the
Merchant or Cardholder copy. Space for the Cardholder signature must be provided on the Acquirer
copy.

Effective through 30 September 2014, Visa strongly recommends disguising or suppressing all but
the last 4 positions of the primary Account Number on the Cardholder Transaction Receipt from a
Point-of-Transaction Terminal.

Effective for Point-of-Transaction Terminals installed on or after 1 October 2011, the Account
Number must be disguised or suppressed on the Cardholder's copy of the Transaction Receipt,
except for the final 4 digits.

Effective 1 October 2014, the Account Number must be disguised or suppressed on the
Cardholder's copy of the Transaction Receipt, except for the final 4 digits.

ID#: 080411-010410-0003641



Transaction Receipt Description and Currency Requirements

A Merchant must enter the following information on the Transaction Receipt:

• Brief description of the goods or services sold
• Currency symbol (such as US $) or words denoting the Transaction Currency as part of the
  Transaction amount

Without a currency symbol or identification, the Transaction Currency defaults to the local currency of
the Transaction Country.

If the Transaction takes place at a U.S. embassy or consulate on foreign territory, the currency used
to complete the Transaction must be disclosed on the Transaction Receipt. (This only applies in the
U.S. Region.)

ID#: 010410-010410-0008604



Cardholder Signature for Unknown Amount - VIOR 5.2.A.3, USOR 5.2.M.2

A Merchant must not require a Cardholder to sign a Transaction Receipt until the final Transaction
amount is entered on the Transaction Receipt.

ID#: 010410-010410-0003120




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Multiple Transaction Receipts and Partial Payment

A Merchant must include on a single Transaction Receipt the total currency amount of goods and
services purchased at the same time. A Transaction must not be divided by using 2 or more
Transaction Receipts. The only exceptions are:

• Purchases in separate departments of a multiple-department store
• Individual Airline tickets issued to each passenger, if required by Airline policy
• Individual Cruise Line tickets issued to each passenger, if required by Cruise Line policy
• Partial amount paid by the Cardholder in cash, check, or both at the time of the sale
• Delayed Delivery Transactions
• Advance Deposit Transactions
• Installment Transactions

In the U.S. Region, additional exceptions are individual passenger railway tickets issued to each
passenger, if required by carrier policy. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008603



Multiple Transaction Receipts for Authorizations - U.S. Region 5.2.K.1.f

A U.S. Merchant must not use multiple Transaction Receipts to avoid making an Authorization
Request for a single Transaction.

ID#: 010410-010410-0004127



Manual Transaction Receipts - U.S. Region

If the encoded Account Number on a Visa Card cannot be read from the Magnetic Stripe, a U.S.
Merchant must follow normal Authorization procedures and complete the Transaction using a Manual
Imprinter, unless the Merchant qualifies to use the Card Verification Value 2 result code as a
substitute for a Manual Imprint.

ID#: 010410-010410-0005121



Manual Imprinter Merchant Plate - U.S. Region

A U.S. Merchant must notify its Acquirer when it changes the information on the Manual Imprinter's
Merchant plate.

ID#: 010410-010410-0005128




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Transaction Receipt Data Requirements


Transaction Receipt Legend

The Cardholder copy of a Transaction Receipt must bear the legend "Retain this copy for statement
verification" or similar wording. At a minimum, this legend must appear in the language of the
Transaction Country. The legend may also appear in another language.

ID#: 010410-010410-0005290



Manually Imprinted Transaction Receipts

On manually imprinted Transaction Receipts, a Merchant must:

• Include the Cardholder name if one is printed or embossed on the Card
• If the imprinted information is not legible, reproduce it clearly

ID#: 010410-010410-0004121



Transaction Receipt Information Requirements - U.S. Region

In the U.S. Region, the Transaction Receipt must include:

• Transaction Date
• Brief description of the goods or services sold, returned, or cancelled
• Price of the goods or services, including applicable taxes, or amount of adjustment or credit
• Imprint of the embossed legends from the Card and Merchant plate. If the legends cannot be
  imprinted, or if the Magnetic Stripe or Chip is read, the Merchant must include at least the
  Cardholder name or generic consumer identifier (if one is printed or embossed on the Card)
  Account Number, Merchant name, and place of business.

ID#: 010410-010410-0005122




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Transaction Receipt Signature Line Notations - U.S. Region

A U.S. Merchant must write the following letters or words on the signature line of the Transaction
Receipt, if applicable:


Transaction Receipt Completion - U.S. Region

             Transaction Type                          Signature Line Printing

 Telephone Order                           TO

 Mail Order                                MO

 No Show                                   NO SHOW

 T&E Advance Deposit                       ADVANCE DEPOSIT

 Priority Check-out                        PRIORITY CHECK-OUT

 Recurring                                 RECURRING TRANSACTION

 Advance Payment Service                   ADVANCE PAYMENT


ID#: 031209-150210-0005129



Electronic Commerce Transaction Receipt Data Requirements - U.S. Region
(Updated)
In addition to the requirements specified in "Electronic and Manual Transaction Receipts - General -
U.S. Region Exhibit S" and "Electronic Commerce Transaction Receipt Requirements 5.2.B.4 Table
7K-1," a Transaction Receipt completed for an Electronic Commerce Transaction in the U.S. Region
must include:
• Merchant name most recognizable to the Cardholder, such as:
  - Merchant "doing business as" name (DBA)
  - Merchant universal resource locator (URL)
  - Merchant name used in the Clearing Record
• Customer service contact, including telephone number. If a Merchant delivers goods or services
  internationally, both local and internationally accessible telephone numbers must be included.
• Terms and conditions of sale, if restricted
• Exact date free trial period ends, if offered
• Cancellation policies
Transaction payment type (i.e., "Visa") and the payment brand used to complete the Transaction
must be identified on the Cardholder's copy of the Transaction Receipt.

ID#: 080411-010410-0005148




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Internet Payment Service Provider Name on Transaction Receipt - U.S. Region

For a Transaction Receipt completed by an Internet Payment Service Provider (IPSP) in the U.S.
Region, if a Cardholder accesses a Sponsored Merchant's Website and is then linked to the IPSP
Website for payment, the IPSP's name must appear on the Transaction Receipt in conjunction with
the Sponsored Merchant's name.

The IPSP's name may appear alone on the Transaction Receipt if the:

• Cardholder accesses the IPSP's Website directly
• IPSP's name is visible to the Cardholder during the selection, order, and payment processing
  services

If the IPSP's name appears alone on the Transaction Receipt, Visa may require that the Sponsored
Merchant's name be included on the Transaction Receipt if the IPSP or its Sponsored Merchants
cause undue economic hardship to the Visa system, including, but not limited to:

• Qualifying for the Global Merchant Chargeback Monitoring Program or the Merchant Chargeback
  Monitoring Program
• Generating excessive Copy Requests

ID#: 010410-010410-0006125



High-Risk Internet Payment Service Provider Transaction Receipt - U.S. Region

For a Transaction Receipt completed by a High-Risk Internet Payment Service Provider (IPSP) in the
U.S. Region, the High-Risk IPSP's name must appear in conjunction with the High-Risk Sponsored
Merchant's name, as specified in "VisaNet Clearing Message Content Standards" (Exhibit NN).

The payment provider information specified below must be included either:

• On the Web site checkout screen used to present the total purchase amount
• Within the sequence of pages the Cardholder accesses during the checkout process

[High-Risk Internet Payment Service Provider name] is a designated payment processor for [High-
Risk Sponsored Merchant name]. [High-Risk Internet Payment Service Provider name*Sponsored
Merchant name] will appear on your Cardholder statement.

ID#: 010410-010410-0005843



Electronic and Manual Transaction Receipts


Transaction Receipt - Formset Requirements - U.S. Region Exhibit S (New)

In the U.S. Region, each Transaction Receipt formset must contain, at a minimum, a Member copy
and a Cardholder copy. The Merchant or Member copy must bear the Cardholder’s original signature.




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Formset ink colors must comply with the following table:


Formset Ink Colors

                         Description                                   Ink Color

 Transaction Receipt                                         Dark blue or black

 Cash Disbursement Transaction Receipt                       Dark green or black

 Credit Transaction Receipt                                  Red ink of legible density


Each formset must bear a sequential number consisting of at least five digits.

ID#: 050411-220311-0026204



Transaction Receipt - Fraud Deterrent Requirements - U.S. Region Exhibit S (New)

In the U.S. Region, all formsets must be of the fraud-deterrent type, either:

• Carbonless or carbon-backed
• With the carbon page perforated so that it will tear through the Account Number when the formset
  is separated

ID#: 050411-220311-0026205



Transaction Receipt - Prohibitions - U.S. Region Exhibit S (Updated)

In the U.S. Region, preprinted legends designing space for supplementary Cardholder information
(e.g., address, telephone number) or ancillary charges to be added after completion of the
Transaction are prohibited, except as specified below.

Supplementary Cardholder information may be designated on formsets also designed for use as:

• Mailing or delivery slips
• Guest registration forms
• Car rental contracts
• Wire Transfer Money Orders

Space for ancillary charges is permitted on T&E Document formsets used by Lodging or Cruise Line
Merchants, or Car Rental Companies, as specified in “Delayed or Amended Charges - Acceptable
Charges 5.2.M.4.”

Use of promotional, advertising, or similar language that conveys preference of a non-Visa payment
card on Transaction Receipts that bear the Visa Program Marks is prohibited.

The use of language that conveys any limitation of a Cardholder’s rights to dispute the Transaction
with the Issuer is prohibited.

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Electronic and Manual Transaction Receipts - General - U.S. Region Exhibit S
(Updated)

In the U.S. Region, the requirements listed in "Transaction Receipt Formset Requirements - U.S.
Region Exhibit S," "Transaction Receipt Fraud Deterrent Requirements - U.S. Region Exhibit S," and
"Transaction Receipt - Prohibitions - U.S. Region Exhibit S" apply to both electronic and manual
Transaction Receipts.

ID#: 080411-220311-0026207

Data Requirements: Cardholder-Activated Terminal Transaction Receipt - U.S. Region Tables
S-4, S-5 and S-6 (Updated)

In the U.S. Region, a Limited-Amount Terminal (except for Magnetic-Stripe Telephones) Transaction
Receipt must contain the following data elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s
  copy of the Transaction Receipt, except for the final 4 digits. This requirement does not apply to
  Point-of-Transaction Terminals installed before 1 July 2003.
• Merchant name
• Location Code, or city and state
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt.

In the U.S. Region, an Automated Dispensing Machine Transaction Receipt must contain the
following data elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s
  copy of the Transaction Receipt, except for the final 4 digits. This requirement does not apply to
  Point-of-Transaction Terminals installed before 1 July 2003.
• Merchant name
• Location Code, or city and state
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt.

In the U.S. Region, a Self-Service Terminal Transaction Receipt must contain the following data
elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s
  copy of the Transaction Receipt, except for the final 4 digits.
• Merchant name
• Location Code, or city and state
• Transaction amount




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• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt.

ID#: 080411-010100-0026208



Data Requirements: Cardholder-Activated Terminal Transaction Receipt (Types A, B,
and C) Table 7I-4 (Updated)

The following table specifies the data requirements for Unattended Terminal Transaction Receipts.


Data Requirements for Unattended Terminal Transaction Receipts

                                                                                             CAT Type C
                                            CAT Type A Limited        CAT Type B Self-       Automated
    Transaction Data Requirements
                                             Amount Terminal          Service Terminal       Dispensing
                                                                                              Machine

 Account Number (at least 4 digits of                 X                        X                 X
 the Account Number on the cardholder
 copy of the Transaction Receipt must
 be disguised or suppressed. (Visa
 strongly recommends disguising or
 suppressing all but the last 4 positions
 of the primary Account Number on the
 Cardholder Transaction Receipt.)

 Merchant name                                        X                        X                 X

 Terminal location (city and country)                 X                        X                 X

 Transaction Date                                     X                        X                 X

 Identification of Transaction Currency               X                        X                 X

 Transaction amount indicated in                      X                        X                 X
 Transaction Currency

 Transaction type (purchase)                          X                        X                 X

 Authorization Code, if applicable                    X                        X                 X


ID#: 080411-220311-0026210



Data Requirements: Visa Easy Payment Service Transaction Receipt Table 7I-3 (New)

Effective 16 October 2010, the following are the data requirements for a Visa Easy Payment Service
Transaction Receipt.

• Merchant name
• Total Transaction amount indicated in Transaction Currency




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• Transaction Date
• Confirmation that Cardholder performed payment using a Visa Card or a Visa Electron Card or a
  Proximity Payment Device

ID#: 050411-010100-0026212



Point-of-Transaction Terminal Transaction Receipt - U.S. Region Table S-1 (Updated)

A Point-of-Transaction Terminal Transaction Receipt must contain the following data elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s
  copy of the Transaction Receipt, except for the final 4 digits. This requirement does not apply to
  Point-of-Transaction Terminals installed before 1 July 2003.
• Expiration date. The expiration date must be disguised or suppressed on the Cardholder’s copy of
  the Transaction Receipt. This requirement does not apply to Point-of-Transaction Terminals
  installed before 1 July 2003.
• Location Code
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt
• Space for Cardholder signature, except for:
  - Transactions in which the PIN is an acceptable substitute for Cardholder signature
  - Effective through 16 April 2010, Transactions under US $25 completed at a Point-of-
    Transaction Terminal with Contactless Payment capability
  - Effective 17 April 2010 through 15 October 2010, Transactions US $25 and under completed
    at a Point-of-Transaction Terminal with Contactless payment capability
  - Effective through 15 October 2010, Small Ticket Transactions
  - Effective through 15 October 2010, No Signature Required Transactions
  - Effective 16 October 2010, Visa Easy Payment Service Transactions
• A legend identifying the party to whom it will be delivered (e.g., Member copy, Merchant copy,
  Cardholder copy), except for Small Ticket and No Signature required Transactions
• Authorization Code, if applicable
• For a Quasi-Cash Transaction completed in a Face-to-Face Environment, the Transaction Receipt
  must provide space for Cardholder identification and the 4 digits printed above or below the
  Account Number, as specified in “Cardholder Identification and Card Verification Table—U.S.
  Region 5.2.J.1.a.”
For a Visa Cash Back Service Transaction, the amount of cash provided to the Cardholder.

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Manual Transaction Receipt - Data Requirements VIOR Table 7J-1 USOR Table S-7
(Updated)

A Manual Transaction Receipt must contain the following data elements:

• Embossed Card data
• Merchant name
• Merchant city and country (and state/province, if applicable)
• Transaction amount indicated in Transaction Currency
• Identification of Transaction Currency
• Transaction Date
• Description of goods or services (optional)
• Space for Cardholder signature
• Authorization Code, if applicable
• Transaction Type (purchase)

In addition to the above requirements, in the U.S. Region the Manual Transaction Receipt must also
contain the following data elements: (This only applies in the U.S. Region.)

• Imprint of Card data (This only applies in the U.S. Region.)
• Imprint of Merchant or Member name and location (This only applies in the U.S. Region.)
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt (This only applies in the U.S.
  Region.)
• Space for salesperson’s initials or department number (This only applies in the U.S. Region.)
• Location Code (This only applies in the U.S. Region.)
• Description of goods or services (required) (This only applies in the U.S. Region.)
• Legend identifying its purpose (i.e., Transaction Receipt or sales slip) (This only applies in the U.S.
  Region.)
• Legend identifying the party to whom it will be delivered (e.g., “Member copy”). The other copies of
  the formset should also be appropriately labeled “Merchant copy” or “Cardholder copy.” (This only
  applies in the U.S. Region.)
• Description of goods or services (required) (This only applies in the U.S. Region.)
• For a Quasi-Cash Transaction completed in a Face-to-Face Environment, space for Cardholder
  identification and the 4 digits printed above the Account Number, as specified in “Cardholder
  Identification and Card Verification Table - U.S. Region 5.2.J.1.a.” (This only applies in the U.S.
  Region.)

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Manual Transaction Receipt - Hotels Table 7J-2 (New)

A Manual Transaction Receipt for Hotels must contain the following data elements:

• Embossed Card data
• Hotel name
• Hotel city and country (and state/province, if applicable)
• Transaction amount in Transaction Currency
• Identification of Transaction Currency
• Transaction Date
• Space for guest check-in date
• Space for guest check-out date
• Authorization dates, amounts, and approval codes (if applicable)
• Description of goods or services (optional)
• Space for room rate, if applicable
• Space for Cardholder signature
• Space for salesperson's initials
• Authorization dates, amounts, and approval codes (if applicable)

ID#: 050411-010100-0026218



Manual Cash Disbursement Transaction Receipt - Data Requirements VIOR Table 7J-4
USOR Table S-9 (New)

A Manual Cash Disbursement Transaction Receipt must contain the following data elements:

• Embossed Card data
• Acquirer or Merchant name
• City and country (and state/province, if applicable) of Acquirer or Merchant, as appropriate
• Transaction amount indicated in Transaction Currency
• Identification of Transaction Currency
• Transaction Date
• Space for Cardholder signature
• Space for Cardholder identification
• Space for clerk’s signature or identification
• Authorization Code
• Space for 4 printed digits above or below Account Number
• Transaction type (Cash Disbursement)




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In addition to the above requirement, in the U.S. Region the Manual Cash Disbursement Transaction
Receipt must also contain the following data elements: (This only applies in the U.S. Region.)

• Imprint of Card data (This only applies in the U.S. Region.)
• Imprint of the name and location of the Member, Merchant, or Cash Disbursement Merchant (This
  only applies in the U.S. Region.)
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt (This only applies in the U.S.
  Region.)
• Legend identifying the party to whom it will be delivered (e.g., “Member copy”). The other copies of
  the formset should also be appropriately labeled “Merchant copy” or “Cardholder copy.” (This only
  applies in the U.S. Region.)
• Space for Cardholder’s address (may be eliminated from the Cash Disbursement Transaction
  Receipt used only by a Cash Disbursement Merchant) (This only applies in the U.S. Region.)

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Hotel Guest Folio - Data Requirements Table 7J-3 (New)

A Hotel Guest Folio must contain the following data elements:

• Embossed Card date
• Hotel name
• Hotel city and country (and state/province, if applicable)
• Transaction amount indicated in Transaction Currency
• Identification of Transaction Currency
• Transaction Date
• Description of goods and services (optional)
• Space for Cardholder signature
• Guest check-in date
• Guest check-out date
• Intended length of stay at check-in (optional)
• Room rate and salesperson’s initials
• Authorization dates, amounts, and approval codes
• Authorization Code, if applicable
• Applicable tax and/or service charge rates (optional)
• Computation and procedure for estimating ancillary charges (optional)
• Estimated Transaction amount calculated on check-in date (optional)

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Manual Credit Transaction Receipt - Data Requirements Table 7J-5 (New)

A manual Credit Transaction Receipt must contain the following data elements.

• Embossed Card data
• Merchant name
• Merchant location (city and country)
• Credit amount indicated in Transaction Currency
• Identification of Transaction Currency
• Credit preparation date
• Description of goods or services returned to Merchant (optional)
• Space for Merchant or Cardholder signature
• Transaction type (Credit)

ID#: 050411-220311-0026221



Manual Transaction Receipt - Lodging and Cruise Line Merchants - U.S. Region Table
S-8 (New)

In the U.S. Region, a Manual Transaction Receipt for Lodging or Cruise Line Merchants must contain
the following data elements:

• Imprint of Card data
• Imprint of Merchant or Member name and location
• Location Code
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt
• Guest check-out or disembarkation date
• Legend identifying its purpose (i.e., Transaction Receipt or sales slip)
• Legend identifying the party to whom it will be delivered (e.g., “Member copy”). The other copies of
  the formset should also be appropriately labeled “Merchant copy” or “Cardholder copy.”
• Description of goods or services
• Room rate and salesperson’s initials or department number
• Authorization dates, amounts, and approval codes
• Space for Cardholder signature

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Face-to-Face Electronic Purchase or Credit Transaction Receipt Data Requirements
Table 7I-1 (Updated)

The following data elements are required for a face-to-face electronic purchase or Credit Transaction
Receipt.

• Merchant name
• Merchant city and country (and state/province, if applicable)
• Transaction amount (or credit), indicated in Transaction Currency
• Transaction Date (or credit preparation date)
• Account Number (at least 4 digits of the Account Number on the Cardholder copy of the
                                                        40
  Transaction Receipt must be disguised or suppressed.)
• Space for Cardholder signature
• Authorization Code, if applicable
• Transaction type (purchase or credit)

ID#: 080411-010100-0026256



Transaction Receipt Delivery to Cardholder


Transaction Receipt Delivery Requirements (Updated)

A Merchant must provide a completed copy of the Transaction Receipt to the Cardholder at the time
                                                                  41 42
that the purchased goods are delivered or services are performed.

Effective through 15 October 2010, a Transaction Receipt is not required for a Small Ticket
Transaction unless requested by the Cardholder.

Effective 16 October 2010, a Transaction Receipt is not required for a Visa Easy Payment Service
Transaction unless requested by the Cardholder.

Effective 16 October 2010, if a Transaction Receipt is requested or issued for a Visa Easy Payment
Service Transaction, a Merchant may provide a cash register receipt if it contains, at a minimum, the
Transaction Data specified in ”Face-to-Face Electronic Purchase or Credit Transaction Receipt Data
Requirements Table 7I-1."

Effective 16 October 2010, in the U.S. Region, when issued, a Transaction Receipt for a Visa Easy
Payment Service Transaction must contain the Transaction Data specified in "Point-of-Transaction
Terminal Transaction Receipt - U.S. Region Table S-1." (This only applies in the U.S. Region.)




40
   Visa strongly recommends disguising or suppressing all but the last 4 positions of the primary Account Number on the
Cardholder Transaction Receipt
41
   A variance to this requirement applies in Visa Europe for vending Transactions.
42
   Effective 20 January 2011, a variance to this requirement applies in the AP Region for Members in Australia and New
Zealand for certain vending machine Transactions.


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An Electronic Commerce Merchant may deliver the Transaction Receipt in either of the following
formats:

• Electronic (e.g., e-mail or fax)
• Paper (e.g., hand-written or terminal-generated)

ID#: 080411-010410-0008621



Amended Transaction Receipt Delivery

A Hotel, Car Rental Company, or Cruise Line must send the Cardholder a copy of any amended or
additional charges added to a Transaction Receipt.

ID#: 010410-010410-0005050



Transaction Receipt Delivery Requirements - U.S. Region 5.2.N (Updated)

Effective through 15 October 2010, a U.S. Merchant must provide a completed copy of the
Transaction Receipt to the Cardholder as follows:

• At the time that the purchased goods are delivered or services are performed, except for:
  - Effective through 16 April 2010, a Transaction under US $25 completed at a Point-of-
    Transaction Terminal with Contactless Payment capability
  - Effective 17 April 2010, a Transaction less than or equal to US $25 completed at a Point-of-
    Transaction Terminal with Contactless Payment capability
  - A Small Ticket Transaction
  - A No Signature Required Transaction
  - A Magnetic-Stripe Telephone Transaction
• At the time of billing, for a Deferred Payment Transaction
• Effective through 16 April 2010, upon Cardholder request, for a Transaction under US $25
  completed at a Point-of-Transaction Terminal with Contactless Payment capability
• Effective 17 April 2010, upon Cardholder request, for a Transaction less than or equal to US $25
  completed at a Point-of-Transaction Terminal with Contactless Payment capability
• Upon Cardholder request, for a Small Ticket Transaction or a No Signature Required Transaction
• At the time of the Transaction, for a Transaction completed at a Point-of-Transaction Terminal

Effective 16 October 2010, a U.S. Merchant must provide a completed copy of the Transaction
Receipt to the Cardholder as follows:

• At the time that the purchased goods are delivered or services are performed, except for:
  - Effective 16 October 2010, a Visa Easy Payment Service Transaction for which the Cardholder
    has not requested a Transaction Receipt
  - A Magnetic-Stripe Telephone Transaction
• At the time of billing, for a Deferred Payment Transaction




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• At the time of the Transaction, for a Transaction completed at a Point-of-Transaction Terminal
• Effective 16 October 2010, upon Cardholder request for a Visa Easy Payment Service
  Transaction

Effective 16 October 2010, if a Transaction Receipt is provided to the Cardholder for a Visa Easy
Payment Service Transaction, it must contain the Transaction Data Specified in "Data Requirements:
Visa Easy Payment Service Transaction Receipt Table 7I-3."

ID#: 080411-010410-0005130



Transaction Receipt Delivery for Dynamic Currency Conversion Transactions - U.S.
Region 5.2.N (Updated)

Effective through 6 October 2010, in the U.S. Region, if a T&E Express Service Transaction
involves Dynamic Currency Conversion (DCC), a Lodging Merchant or Car Rental Company must
send the Cardholder a copy of the Transaction Receipt through the postal service within 3 business
days, as specified in the "Dynamic Currency Conversion - Additional Requirements for T&E Express
Service Transactions - U.S. Region" table.

ID#: 050411-010410-0005134




Transaction Deposits

General Transaction Deposit Requirements


Transaction Deposit in Transaction Country

A Merchant, except a military base or an International Airline, must deposit all Transaction Receipts in
the Transaction Country.

ID#: 010410-010410-0002979



Cruise Line Exceptions

A Cruise Line may deposit on-board Transactions at various ports-of-call. The Transaction Date is the
Deposit Date or date of disembarkation, if the Transactions are deposited at the end of the cruise.

ID#: 010410-010410-0002980



Transaction Deposit Time Limits


Deposit Time Limit

A Merchant must deposit all Transaction Receipts within 3 business days of the Transaction Date.

ID#: 010410-010410-0002976


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Visa Electron Deposit Time Limit

A Merchant must deposit all Visa Electron Transaction Receipts within 2 business days of the
Transaction Date.

ID#: 010410-010410-0002977



Multiple Merchant Outlets Deposit Time Limits

An Acquirer may allow a Merchant with multiple Merchant Outlets in the same country that centrally
accumulates Transaction Receipts up to 21 calendar days to deposit them. The 21-calendar-day
period includes the Transaction Date and Deposit Date.

ID#: 010410-010410-0002978



Deposit Time Limit - U.S. Region 5.2.O.2

A U.S. Merchant must deposit Transaction Receipts to its Acquirer or designated Agent within 5
calendar days of the Transaction Date, except as specified in "Delayed Delivery Transaction Deposits
- U.S. Region" and "Multiple Merchant Outlets Deposit Time Limits - U.S. Region." Each time period
specified includes the Transaction Date and the Receipt Date.

A U.S. Merchant must deposit Credit Transaction Receipts to its Acquirer or designated Agent within
3 calendar days of the Transaction Date.

ID#: 081010-010709-0008617



Delayed Delivery Transaction Deposits - U.S. Region

A U.S. Merchant must deposit Transaction Receipts for Delayed Delivery Transactions within 5
calendar days of the date of both the deposit and final payment.

ID#: 081010-010709-0008628



Multiple Merchant Outlets Deposit Time Limits - U.S. Region

A U.S. Merchant with multiple Merchant Outlets, if it accumulates Transaction Receipts at a central
office or facility, must deposit them as follows:

• Transaction Receipts within 15 calendar days of the Transaction Date
• Credit Transaction Receipts within 5 calendar days of the Transaction Date




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Visa may extend the maximum time for delivery.

The above applies to the following Merchant types:

• Transportation companies subject to federal or foreign regulations
• Oil companies
• Car Rental Companies
• Hotels, motels, and restaurant chains
• Other Merchant categories specified by the Board

ID#: 081010-010410-0008629



Installment Billing Transaction Receipt Deposits - U.S. Region

A U.S. Merchant must not deposit the first Installment Billing Transaction with its Acquirer until the
shipment date of the goods. The Merchant must deposit subsequent Installment Billing Transaction
Receipts at either of the following intervals:

• 30 calendar days or more
• Monthly anniversary of the shipment date (same day of each month)

ID#: 010410-010410-0005189



Transaction Deposit Restrictions


Transactions Directly Resulting from Other Entities 5.3.F.1.a (Updated)

A Merchant must deposit only Transaction Receipts that directly result from Cardholder Transactions
with that Merchant. A Merchant must not deposit Transaction Receipts resulting from any
Transaction involving a Card between a Cardholder and another entity.

A variance applies in the U.S. Region for the Visa Tax Payment Program.

A variance applies in the AP Region for government payments in Australia.

A variance applies in the CEMEA Region for Domestic Transactions at Unattended Acceptance
Terminals in Russia.

ID#: 050411-010410-0002981



Merchant Location Identification

A Merchant with multiple Merchant Outlets must deposit Transaction Receipts so that the Acquirer
can identify the location of each Transaction.

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Transaction Deposit Conditions

A Merchant must not deposit a Transaction Receipt until it does one of the following:

• Completes the Transaction
• Ships or provides the goods
• Performs the purchased service
• Obtains the Cardholder's consent for a Recurring Transaction

A U.S. Merchant may deposit a prepayment within the time limits specified in the U.S. Regional
Operating Regulations if the Merchant advises the Cardholder of the immediate billing at the time of
the Transaction, for:

• Prepayment of services, excluding estimates for services to be provided
• Full prepayment of custom-ordered merchandise manufactured to the Cardholder's specifications

For prepayment of services, the Transaction Date is considered to be the date of Cardholder
prepayment.

ID#: 010410-010410-0008982




Credits and Refunds

General Credit and Refund Requirements


Credit Transaction Receipt 5.3.D.2

A Merchant may, at its discretion, prepare a Credit Transaction Receipt when a valid Transaction
Receipt was previously processed and the Cardholder either cancelled the Transaction later or
returned the goods. At the time of the Credit Transaction, the Merchant must:

• Prepare a credit that includes the Credit Transaction Receipt date and identifies the original
  Transaction
• Deliver a completed Credit Transaction Receipt to the Cardholder
• Effective through 15 October 2010, deposit the Credit Transaction Receipt within 14 calendar
  days from the date that the credit was issued
• Effective 16 October 2010, deposit the Credit Transaction Receipt within 5 calendar days from
  the date that the credit was issued

In the U.S. Region, the Credit Transaction Receipt must describe the merchandise returned, services
cancelled, or adjustment made. (This only applies in the U.S. Region.)

ID#: 081010-010410-0008605




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Credit Transaction Receipt Delivery - U.S. Region 5.2.Q

A U.S. Merchant must provide a credit refund or price adjustment by delivering a Credit Transaction
Receipt to the Member that received the related Transaction Receipt representing the original
purchase. The only exception is an Airline or other carrier, if required by law or applicable tariff.

ID#: 010410-010410-0001713



Credit and Refund Restrictions

A Merchant must provide a credit refund in connection with a Transaction by a Credit Transaction
Receipt, not by cash or check. The only exceptions are Airlines, if required by law or applicable tariff.

Effective 1 January 2011, a Merchant must not:

• Accept payment from a Cardholder for the purpose of depositing funds to the Cardholder's account
• Process a Credit Transaction Receipt without having completed a previous retail Transaction with
  the same Cardholder

The loading of value to a Visa Prepaid Card that has been designated for participation in the Visa
Prepaid Load Service by the Issuer is excluded from these restrictions.

ID#: 081010-010410-0003076



Credit and Refund Restrictions - U.S. Region 5.2.P.1 (Updated)

A U.S. Merchant must not:

• Accept payment from a Cardholder for the purpose of depositing funds to the Cardholder's
  account. The loading of value to a Visa Prepaid Card or to another Non-Visa Branded Account, as
  defined in the Visa ReadyLink Service Description and Implementation Guidelines that has been
  designated for participation in Visa ReadyLink by the Issuer is excluded from this restriction.
• Process a Credit Transaction Receipt without having completed a previous retail Transaction with
  the same Cardholder, except as specified in "Credit Transaction Receipt Delivery - U.S. Region"

ID#: 080411-010410-0001710



Proper Disclosure of Refund Policy


Electronic Commerce Merchant Refund Policy Disclosure

An Acquirer must ensure that its Electronic Commerce Merchant includes any return/refund policy on
the Merchant's Website and that a "click to accept," or other acknowledgement button accepting the
policy, is used by the Cardholder.




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Purchase terms and conditions must be displayed to the Cardholder during the order process either:

• On the same screen as the checkout screen indicating the total Transaction amount
• Within the sequence of Web pages accessed by the Cardholder before the final checkout

In the U.S. Region, in addition to the above requirements, an Electronic Commerce Merchant
Website must communicate its refund policy to the Cardholder during the order process. (This only
applies in the U.S. Region.)

ID#: 010410-010410-0008606



Proper Disclosure of Limited Return Policies 5.3.D.5 (Updated)

The table below specifies the words or similar wording that must be legibly printed on all copies of a
Transaction Receipt near the Cardholder signature area or in an area easily seen by the Cardholder.


Proper Disclosure on Transaction Receipts

          Transaction Receipt Wording                      To Be Used for the Following Return Policies

 "No Refund," "No Exchanges," or "All Sales Final"    Merchant does not:
                                                      • Accept merchandise in return or exchange
                                                      • Issue a refund to a Cardholder

 "Exchange Only"                                      Merchant only accepts merchandise in exchange for
                                                      merchandise of equal value to the original Transaction
                                                      amount.

 "In-Store Credit Only"                               Merchant only accepts merchandise for return and
                                                      delivers an in-store credit document that both:
                                                      • Equals the value of the returned merchandise
                                                      • Must be used at the Merchant location


Proper disclosure must not include a statement that waives a Cardholder's right to dispute the
Transaction with the Issuer.

Effective through 15 April 2011, a Merchant may limit its acceptance of returned merchandise or
establish a policy to make price adjustments if the Merchant:

• Makes proper disclosure
• Delivers the purchased goods to the Cardholder at the time of the Transaction

Effective 16 April 2011, for Transactions in a Card-Present Environment, a Merchant may limit its
acceptance of returned merchandise or establish a policy to make price adjustments provided that the
Merchant makes proper disclosure of its returns policy in accordance with the table above.

ID#: 050411-010410-0008771




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Proper Disclosure of Limited Return Policies - U.S. Region (Updated)

The following words or similar wording must be legibly printed on all copies of a Transaction Receipt
or invoice, in letters approximately 0.25 inches high, near the Cardholder signature area.


Examples of Proper Refund Policy Disclosure on Transaction Receipt - U.S. Region

        Transaction Receipt Wording                       For the Following Types of Refund Policy:

 "No Refund"                                     Merchant does not:
                                                 • Accept merchandise in return or exchange
                                                 • Issue a refund to a Cardholder

 "Exchange Only"                                 Merchant only accepts merchandise in immediate exchange for
                                                 similar merchandise of price equal to the original Transaction
                                                 amount.

 "In-Store Credit Only"                          Merchant only accepts merchandise in return and delivers an
                                                 in-store credit that:
                                                 • Equals the value of the returned merchandise
                                                 • Must be used at the Merchant's place of business

Note: Absence of the above wording does not necessarily mean that proper disclosure has not been
provided.

Effective through 15 April 2011, in the U.S. Region, a Merchant may limit its acceptance of returned
merchandise or establish a policy to make price adjustments if the Merchant:

• Makes proper disclosure, as specified in the table above
• In a Face-to-Face Environment, delivers the purchased goods or services to the Cardholder at the
  time of the Transaction

Effective 16 April 2011, in the U.S. Region, for Transactions in a Card-Present Environment, a
Merchant may limit its acceptance of returned merchandise or establish a policy to make price
adjustments provided that the Merchant makes proper disclosure of its returns policy in accordance
with the table above.

ID#: 050411-010410-0008772



Special Circumstances - U.S. Region

A U.S. Merchant may, with Cardholder approval and if permitted by local law, identify terms for
special circumstances (such as late delivery, delivery charges) and must print any special terms on
the Transaction Receipt.

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Alternate Forms of Credit - U.S. Region

A U.S. Merchant may provide the following alternate forms of credit:

• Effective through 15 October 2010, cash refund to the Cardholder, for a Small Ticket Transaction
• Effective through 15 October 2010, cash refund to the Cardholder, for a No Signature Required
  Transaction
• Effective 16 October 2010, cash refund to the Cardholder for a Visa Easy Payment Service
  Transaction
• Cash refund, Credit Transaction Receipt, or other appropriate form of credit to the recipient of a gift
  purchased as a Mail/Phone Order Transaction, instead of to the Cardholder
• Cash refund or in-store credit for a Visa Prepaid Card Transaction if the Cardholder states that the
  Visa Prepaid Card has been discarded

The refund or adjustment must not exceed the original Transaction amount.

ID#: 081010-010410-0008613



Transaction Reversals


Transaction Receipt Reversal or Adjustment 5.3.D.3.a

A Merchant must process a Reversal or an Adjustment within 30 calendar days if it processed a
Transaction Receipt in error.

The debit must be reversed using a Reversal Transaction code or an Adjustment message. See
"BASE II Record Requirements" (Exhibit 2L) for information on Transaction codes and the VisaNet
manuals for information on Single Message System message types.

ID#: 010410-010410-0008614




Convenience Fees

Convenience Fee General Requirements


Convenience Fees - AP Region

An AP Merchant that charges a Convenience Fee must ensure that the fee is:

• Related to the bona fide convenience of providing a particular service (that is, not to the
  acceptance of the Visa Card) in a payment channel that does not include face-to-face Transactions
• Disclosed clearly to the Cardholder as a charge for the payment channel convenience
• Disclosed before the completion of the Transaction and the Cardholder is given the opportunity to
  cancel



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• A flat amount, except that an ad valorem amount is allowed where the Merchant's pricing is subject
  to regulatory controls that make a flat fee infeasible
• The same fee that is applicable to all forms of payment accepted in the payment channel (that is,
  there is no discrimination against Visa Cards)
• Included as a part of the total amount of the Transaction

ID#: 010410-010410-0006880



Domestic Convenience Fee - CEMEA Region

Effective 11 February 2010, in the CEMEA Region a Russian Merchant or Third Party may charge a
Convenience Fee. The Merchant or Third Party that charges a Convenience Fee must ensure that
the fee is:

• Applied to a Domestic Transaction only
• Charged for a bona fide convenience in the form of an alternative payment channel outside the
  Merchant's customary payment channels
                                                                                  43
• Added only to a Transaction at an Unattended Acceptance Terminal
• Applicable to all forms of payment accepted in the alternative payment channel (that is, there is no
  adverse discrimination against Visa Cards)
• Included as a part of the total amount of the Transaction and not collected separately
• Clearly reflected and specified on the Cardholder's Transaction Receipt
• Not added to a Recurring Transaction or Installment Transaction

If the Transaction takes place at an Unattended Acceptance Terminal operated by a Third Party, the
Acquirer must ensure that:

• The Third Party is assigned the appropriate Merchant Category Code, as specified in the Visa
  Merchant Data Standards Manual
• The Third Party's name (or an abbreviation of the Third Party's name) in conjunction with the
  associated Merchant name is included in the Authorization Request and Clearing Record

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 Excluding Transactions at Automated Fuel Dispensers, Magnetic-Stripe Telephones, Card Dispensing Machines, Load
Devices or ATM Cash Disbursements.


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Domestic Convenience Fee Limits - CEMEA Region (Updated)

Effective 11 February 2010, in the CEMEA Region, a Convenience Fee charged by a Russian
Merchant must be a flat or fixed amount, not exceeding the following:

• 35 Rubles for Transactions processed with MCC 4814, "Telecommunication Service Including
  Local and Long Distance Calls, Credit Card Calls, Calls Through Use of Magnetic-Stripe-Reading
  Telephones, and Fax Services"
• 60 Rubles for Transactions processed with MCC 4900, "Utilities – Electric, Gas, Water, Sanitary"
• 48 Rubles for all other Transactions

ID#: 050411-010100-0025574



Domestic Convenience Fee Disclosure - CEMEA Region

Effective 11 February 2010, in the CEMEA Region if a Russian Merchant or Third Party imposes a
Convenience Fee, the terminal must:

• Inform the Cardholder that a Convenience Fee will be applied as a charge for the alternative
  payment channel convenience, in addition to charges assessed by the Issuer. The disclosure must
  comply with all the following:
  - Be as high a contrast or resolution as any other graphics on the terminal
  - Contain the notice:

Fee Notice: "(Name) will assess a fee to cardholders for transactions at this terminal. This fee is
added to the amount of your transaction and is in addition to any fees that may be charged by your
financial institution."

• Identify the recipient of the Convenience Fee
• Inform the Cardholder of the amount of the Convenience Fee
• Request Cardholder approval of the Convenience Fee
• Provide the ability for the Cardholder to cancel the Transaction without incurring a fee or penalty
• Not establish a minimum or maximum Transaction amount as a condition of honoring a Visa Card
  or Visa Electron Card

ID#: 230310-010100-0025573




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Convenience Fees - General Requirements - U.S. Region 5.2.E

In the U.S. Region, except as specified otherwise for Tax Payment Transactions in "Tax Payment
Program Fee Requirements - U.S. Region," a Merchant that charges a Convenience Fee must
ensure that the fee is:

• Charged for a bona fide convenience in the form of an alternative payment channel outside the
  Merchant's customary payment channels
• Disclosed to the Cardholder as a charge for the alternative payment channel convenience
• Added only to a non-face-to-face Transaction. The requirement for an alternate payment channel
  means that Mail/Telephone Order and Electronic Commerce Merchants whose payment channels
  are exclusively non-face-to-face may not impose a Convenience Fee.
• A flat or fixed amount, regardless of the value of the payment due
• Applicable to all forms of payment accepted in the alternative payment channel
• Disclosed before the completion of the Transaction and the Cardholder is given the opportunity to
  cancel
• Included as a part of the total amount of the Transaction

ID#: 010410-010410-0003035



Convenience Fees Not Assessed by a Third Party - U.S. Region 5.2.E

In the U.S. Region, except as specified in "Tax Payment Program - Interchange Reimbursement Fee
Qualifications and Fee Amount - U.S. Region," a Convenience Fee may only be charged by the
Merchant that actually provides goods or services to the Cardholder. A Convenience Fee may not be
charged by any third party.

ID#: 010410-010410-0003037



Convenience Fees on Recurring Transactions - U.S. Region 5.2.E

In the U.S. Region, except as permitted in "Tax Payment Program - Interchange Reimbursement Fee
Qualifications and Fee Amount - U.S. Region," a Convenience Fee must not be added to a Recurring
Transaction.

ID#: 010410-010410-0003038




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Chip Card Acceptance

Chip Card Acceptance General Requirements


Chip Card Acceptance Requirements VIOR 4.6.D, USOR 5.2.G (Updated)

The Card and Cardholder must be present for all Chip-initiated Transactions.

If a Chip-initiated Transaction is declined by the Issuer, the Transaction must not be processed by
any other means.

If the Chip or Chip-Reading Device is inoperable, the Merchant must obtain an Online Authorization
using the Magnetic Stripe. If the Magnetic Stripe cannot be read, or if Online Authorization is not
available, existing Card acceptance and Transaction processing procedures apply.

If the Acquirer-Country combination exceeds international Fallback Transaction thresholds, the
Member may be subject to penalties, as specified in "Acquirer Penalty for Global Fallback Monitoring
Program Identification," "Acquirer Liability for Fallback Chip Transactions," and the Global Chip
Fallback Monitoring Program Guide.

ID#: 050411-150210-0004845



Chip Card Acceptance in Australia – AP Region (New)
Effective 1 April 2012, Acquirers and Merchants in Australia must comply with the following
requirements:
• Acquirers and Merchants must complete the migration of electronic Card acceptance devices to be
  EMV-Compliant for acceptance of Visa domestic or international EMV Transactions
• An Acquirer must certify that its hosts support for Full-Chip Data
• An Acquirer and its Merchants must activate their EMV acceptance devices to conduct Visa Smart
  Debit/Credit (VSDC) Transactions

ID#: 050411-060111-0026157



Chip Card Acceptance in New Zealand – AP Region (New)

Effective 1 July 2011, Acquirers and Merchants in New Zealand must comply with the following
requirements:

• Acquirers and Merchants must complete the migration of electronic Card acceptance devices to be
  EMV-Compliant for acceptance of Visa domestic or international EMV Transactions
• An Acquirer must certify that its hosts support for Full-Chip Data
• An Acquirer and its Merchants must activate their EMV acceptance devices to conduct Visa Smart
  Debit/Credit (VSDC) Transactions

ID#: 050411-060111-0026142




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Declined Chip Transaction Processing - Canada Region

If a Canada Issuer or the Issuer's agent issues a Pickup Response or a Decline Response, or a
Compliant Chip Card declines a Chip-initiated Transaction, the Transaction must not be processed
by any other means.

ID#: 010410-010410-0004878



Chip Fallback Transaction Authorization Notification - Canada Region

Where an Authorization Request for a Fallback Transaction is made, a Canada Acquirer must ensure
the Issuer is aware that the Authorization Request is for a Fallback Transaction.

ID#: 010410-010410-0004879



Chip Transaction Authorization and Clearing Messages - Canada Region

A Canada Acquirer must submit Authorization and Clearing messages for Chip-initiated Transactions
using full data.

ID#: 010410-010410-0004880



Chip Transaction Authorization Response Code - Canada Region

A Canada Acquirer must provide the Authorization Response code in the Clearing Record for all
Chip-initiated Transactions that are approved offline.

ID#: 010410-010410-0004881



Acquirer Liability for Chip Fallback Transactions - Canada Region

A Canada Acquirer will be liable for a Fallback Transaction if the:

• Card is a Compliant Chip Card
• Account Number is found in the Exception File with a negative response on the Processing Date of
  the Chargeback, and is on the Exception File for a total period of at least 60 calendar days from the
  date of listing
• Transaction met any of the following conditions:
  - Was authorized Offline
  - Was authorized Online but not by the Issuer or the Issuer's agent
  - Was authorized Online by the Issuer or the Issuer's agent, but the appropriate values identifying
    the Transaction as a Fallback Transaction were not included within the related Authorization
    Message

ID#: 010410-010410-0004882




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Acquirer Liability for Chip Transactions Authorized Offline - Canada Region (Updated)

Effective through 30 March 2011, a Canada Acquirer will be liable for all Chip-initiated Transactions
generated by Compliant Chip Cards using Offline Authorizations when the:

• Card is a Compliant Chip Card that contains a Cardholder Verification Method List that specifies a
  preference for offline PIN at POS
• Transaction takes place at either:
  - A Compliant Chip Card Reading Device without a Compliant PIN Entry Device (PED)
  - A Chip Reading Device
• Transaction is reported as fraudulent using one of the following fraud type codes:
  - 0, "lost"
  - 1, "stolen"
  - 2, "Card not received as issued (NRI)"
• Account Number is listed on the Regional Card Recovery File with an Exception File Pickup
  Response of 41 or 43 on the Processing Date of the Chargeback, and is on the Exception File for a
  total period of at least 60 calendar days from the date of listing

ID#: 050411-010410-0004883



Acquirer Liability for Chip Transactions in Card-Present Environment – Canada
Region (Updated)

Effective 31 March 2011, a Canada Acquirer will be liable for a Transaction in a Card-Present
Environment, whether or not the Transaction is Chip-initiated, when the:

• Transaction does not take place at a Compliant Chip Card Reading Device with a Compliant PIN
  Entry Device (PED)
• Card is a Compliant Chip Card
• Transaction is reported as a fraudulent Transaction using one of the following fraud type codes:
  - 0, "lost"
  - 1, "stolen"
  - 2, "Card not received as issued (NRI)"
  - 4, "Issuer-reported counterfeit"
• Account Number is listed on the Card Recovery Bulletin with an Exception File Pick-up of 04, 07,
  41, or 43 on the Processing Date of the Chargeback, and is on the Exception File for a total period
  of at least 60 calendar days from the date of listing

ID#: 050411-011010-0004884




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Visa Debit Acquirers - Canada Region

Effective 30 June 2009, a Canada Acquirer must be able to process Visa Debit Card Transactions
from any Merchant with which the Acquirer has a Merchant Agreement.

ID#: 010410-300609-0008078



Failure to Comply with Visa Debit Processing Requirements - Canada Region
(Updated)

A Canada Acquirer that fails to comply with the requirements for processing Visa Debit Card
Transactions will be subject to a penalty, as specified in "Visa Debit Acquirers Compliance Program -
Canada Region."

An Acquirer or its Visa Debit Acceptor that fails to properly process Visa Debit Transactions will be
subject to a penalty, as specified in "Visa Debit Acquirers Compliance Program - Canada Region."

ID#: 050411-300609-0008079



Visa Debit Transaction Authorization Requirement - Canada Region

Effective 16 August 2010, a Visa Debit Acquirer in Canada must not process a Magnetic-Stripe read
Authorization Request from a domestic Visa Debit Card.

ID#: 081010-160810-0025968



Visa Debit Acquirers Compliance Program - Canada Region (Updated)

A Canada Acquirer that fails to comply in updating its host systems with the ability to process Visa
Debit Card Transactions will be subject to a penalty of CAD $100,000 per month of non-compliance.

If an Acquirer or its Visa Debit Acceptor fails to properly process Visa Debit Transactions, the
Acquirer will be subject to a penalty of CAD $5,000 per Cardholder complaint reported to Visa as an
Acceptance Compliance Program incident, as detailed in "Acceptance Compliance Program - Canada
Region."

ID#: 050411-300609-0008364




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Chip Authorization


Chip Transaction Below Chip Floor Limit

For Authorization of a Transaction processed below the Floor Limit, a Visa Smart Payment
Application may either:

• Instruct the terminal to go Online
• Approve the Transaction using offline controls contained in the Chip

ID#: 010410-010410-0004391



Parameters to Enable Offline Chip Authorization

An Issuer of Chip Cards containing the Visa Smart Payment Application with Offline Authorization
controls must define parameters to enable Offline Chip Authorization. An Issuer may exempt a Visa
Card encoded with Service Code from this requirement.

ID#: 010410-010410-0004392



Visa Purchasing Card Offline Chip Authorization

An Issuer of a Visa Purchasing Card containing a Chip with a Visa Smart Payment Application with
Offline Authorization controls may define parameters to enable Chip Offline Authorization.

ID#: 010410-010410-0004394



Visa Electron Offline Chip Authorization

An Issuer of a Visa Electron Card containing a Chip with Offline Authorization controls may define
parameters to enable acceptance at terminals with no Online Authorization capability.

ID#: 010410-010410-0004395



Consecutive Offline Chip Authorization Counters

When Offline Authorization controls are defined in a Chip, and the upper limit for consecutive offline
counters is specified, all Chip-initiated Transactions must go Online if the upper limit for the total
number or value of consecutive offline Transactions is exceeded. If the terminal is unable to go
Online, the Transaction must be declined.

ID#: 010410-010410-0004393




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Chip Floor Limit Requirements

An Acquirer must ensure that its Merchants obtain Authorization for Transaction amounts above the
Chip Floor Limits or non-Chip Floor Limits specified in "Maximum Authorized Floor Limits."

ID#: 010410-010410-0002854



Domestic Chip Floor Limits in Australia – AP Region (New)

In Australia all EMV- and VIS-Compliant Chip-Reading Terminals (including EMV- and VIS-Compliant
Chip-reading Unattended Acceptance Terminals) must support a Chip Floor Limit of AUD 200 across
all Merchant Category Codes for Domestic Transactions.

The zero Chip Floor Limit mandates specified in “Maximum Authorized Floor Limits” continue to apply
for International Transactions.

ID#: 050411-060111-0026161



Offline Authorization of Chip-Initiated Transactions

For Chip-initiated Transactions, Offline Authorization is allowed, provided that the Transaction amount
does not exceed the Floor Limits specified for Chip Transactions.

ID#: 010410-010410-0002855



EMV Liability Shift and Fallback


EMV Liability Shift - Acquirer Liability for Card-Present Counterfeit Card Transactions
(Updated)

Counterfeit Card Transactions completed in a Card-Present Environment are the liability of the
Acquirer if:

• The Transaction does not take place at a Chip-Reading Device and is not a Fallback Transaction
  completed following correct acceptance procedures
• The Card is a Chip Card containing a Visa or Visa Electron Smart Payment Application or an EMV
  and VIS-Compliant Plus application

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-010410-0001837




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EMV Liability Shift - Acquirer Liability for Non-Counterfeit Card-Present Fraudulent
Transactions (Updated)

Non-Counterfeit Card fraudulent Transactions completed in a Card-Present Environment are the
liability of the Acquirer if:

• The Transaction takes place at a Point-of-Transaction Terminal that is not EMV PIN-Compliant
• The Card is a PIN-Preferring Chip Card
• PIN Verification was not performed

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-010410-0001838



Acquirer Liability for Fallback Chip Transactions

Transactions accepted as Fallback Transactions are the liability of the Acquirer if:

• The Card is a Chip Card containing a Visa and Visa Electron Smart Payment Application or an
  EMV and VIS-Compliant Plus application
• One of the following conditions:
  - Transaction is not authorized by the Issuer or the Issuer's agent
  - Transaction is authorized by the Issuer or the Issuer's agent, and the appropriate values
    identifying the Transaction as a Fallback Transaction are not included within the related
    Authorization Message
• The Account Number was resident on the Exception File with a Negative Response on the
  Processing Date of the Chargeback and was on the Exception File for a total period of at least 60
  calendar days from the date of listing

ID#: 010410-010410-0001839



Global Chip Fallback Monitoring Program (Updated)

Visa monitors International Chip Transactions in relation to Fallback Transactions to reduce the
number of excessive Fallback Transactions that occur at the Point-of-Transaction.

ID#: 050411-011009-0008402



Global Chip Fallback Monitoring Program Criteria (Updated)

An Acquirer is placed in the Global Chip Fallback Monitoring Program if the Acquirer-country
combination meets or exceeds all of the monthly performance activity levels for international Chip-
Initiated Transactions specified in the Global Chip Fallback Monitoring Program Guide.




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Visa may modify or create new monthly performance levels after evaluation of the program's success
in identifying Acquirer-country combinations with excessive amounts of Fallback Transaction activity
that could cause undue economic hardship or damage to the goodwill of the Visa system, as
specified in the Global Chip Fallback Monitoring Program Guide.

At the option of Visa, this program applies to Domestic Transactions, as detailed in the Global Chip
Fallback Monitoring Program Guide.

ID#: 050411-011009-0008404



Acquirer Penalty for Global Fallback Monitoring Program Identification (Updated)

An Acquirer is subject to a penalty of US $1 per Fallback Transaction when the Acquirer-country
combination meets or exceeds the minimum Transaction volume and percentage parameters
specified in the Visa International Operating Regulations and the Global Chip Fallback Monitoring
Program Guide.

Transactions involving Acquirers in the jurisdiction of Visa Europe will be subject to a penalty of 1
euro per Fallback Transaction.

ID#: 050411-011009-0008405



Global Chip Fallback Monitoring Program Visa Rights (Updated)

Visa may assess or suspend penalties to accommodate unique or extenuating circumstances, as
specified in the Global Chip Fallback Monitoring Program Guide. Penalties will no longer be assessed
once the Acquirer has met acceptable performance levels.

ID#: 050411-011009-0008406



Domestic Chip Liability Shift - AP Region

In the AP Region, Visa may adopt a domestic liability shift for any domestic market and set an
effective date for the liability shift.

The domestic liability shift rules must, at a minimum, adhere to "Acquirer Liability for Fallback Chip
Transactions."

ID#: 010410-010410-0003826




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Small Ticket Transactions

Small Ticket Transaction - General Requirements


Small Ticket Transaction General Requirements (Updated)

Effective through 15 October 2010, a Small Ticket Transaction must:
                                                         44
• Be conducted in a Face-to-Face Environment
• Be authorized
• Be initiated by a Merchant with a Merchant Category Code that qualifies for a Small Ticket
                                                                                   45 46
  Transaction, as specified in "Small Ticket Transaction Merchant Category Codes"
                                                                                                 47
• Have a Transaction value equal to US $25 or less, or local currency equivalent.
• Have a POS Entry Mode code value of "05," "07," "90," or "91"

ID#: 050411-010410-0002908



Visa Easy Payment Service (VEPS) - General Requirements

Effective 16 October 2010, to qualify as a Visa Easy Payment Service (VEPS) Transaction, a
Transaction must:
                                                         48 49
• Be conducted in a Face-to-Face Environment
• Be authorized
• Be conducted at a Merchant Outlet with a Merchant Category Code other than that specified in
                                                                          50
  "Visa Easy Payment Service (VEPS) Merchant Category Code Exclusions”
• Not exceed the Transaction limits specified in "Country-Level Visa Easy Payment Service
  Transaction Amount Limits"
• Have a POS Entry Mode code of "05," "07," "90," or "91"

ID#: 081010-161010-0025692




44
   Effective 1 May 2010 through 15 October 2010, a variance applies in the AP Region. Domestic Proximity Payment
Transactions conducted at Unattended Acceptance Terminals (Type B and Type C), may qualify as Small Ticket Transactions.
45
   Effective 1 May 2010 through 15 October 2010, a variance applies in the AP Region for Domestic Transactions conducted
in Australia and Hong Kong.
46
   Effective 16 October 2010, a variance applies in the AP Region. Domestic Proximity Payment Transactions conducted at
Unattended Acceptance Terminals (Type B and Type C) may qualify as Visa Easy Payment Service Transactions.
47
   A variance to this requirement applies to Proximity Payment Transactions in the Canada Region.
48
   Effective 16 October 2010, a variance applies in the AP Region. Domestic Proximity Payment Transactions conducted at
Unattended Acceptance Terminals (Type B and Type C) may qualify as Visa Easy Payment Service Transactions.
49
   A variance applies in the U.S. Region. Transactions less than or equal to US $15 conducted at Cardholder-Activated
Terminals may qualify as Visa Easy Service Payment Transactions.
50
   An exception applies in the AP Region for domestic Transactions in Australia.


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Small Ticket Transaction Merchant Category Codes

Effective through 15 October 2010, a Small Ticket Transaction may be initiated only by a Merchant
                                            51
assigned one of the Merchant Category Codes described below.

Effective through 15 October 2010, for contactless Chip Cards or Proximity Payment Devices, all
Merchants may conduct a Small Ticket Transaction.

Effective through 15 October 2010, for Magnetic Stripe or Chip Card Transactions, only the
Merchants listed in the following table may conduct a Small Ticket Transaction. A variance to this
requirement applies in the AP Region.


Small Ticket Merchant Category Codes

      Merchant Category Code                                             Description

                  4111                  Local and Suburban Commuter Passenger Transportation, including
                                        Ferries

                  4121                  Taxicabs and Limousines

                  4131                  Bus Lines

                  4784                  Tolls and Bridge Fees

                  5331                  Variety Stores

                  5499                  Miscellaneous Food Stores-Convenience Stores and Specialty Markets

                  5812                  Eating Places and Restaurants

                  5814                  Fast Food Restaurants

                  5912                  Drug Stores and Pharmacies

                  5993                  Cigar Stores and Stands

                  5994                  News Dealers and Newsstands

                  7211                  Laundry Services-Family and Commercial

                  7216                  Dry Cleaners

                  7338                  Quick Copy, Reproduction, and Blueprinting
                                        Services

                  7523                  Parking Lots, Parking Meters, and Garages

                  7542                  Car Washes

                  7832                  Motion Picture Theaters

                  7841                  DVD/Video Tape Rental Stores


ID#: 081010-010410-0009048


51
   Effective 1 May 2010 through 15 October 2010, a variance applies in the AP Region for domestic Transactions conducted
in Australia and Hong Kong.


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Visa Easy Payment Service (VEPS) Merchant Category Code Exclusions

Effective 16 October 2010, any Merchant except a Merchant assigned one of the following Merchant
               52
Category Codes may conduct a Visa Easy Payment Service Transaction:

• 4829 - Wire Transfer Money Orders
• 5542 - Automated Fuel Dispensers
• 5960 - Direct Marketing - Insurance Services
• 5962 - Direct Marketing - Travel Related Arrangement Services
• 5964 - Direct Marketing - Catalog Merchants
• 5965 - Direct Marketing - Combination Catalog and Retail Merchants
• 5966 - Direct Marketing - Outbound Telemarketing Merchants
• 5967 - Direct Marketing - Inbound Telemarketing Merchants
• 5968 - Direct Marketing -Continuity/Subscription Merchants
• 5969 - Direct Marketing/Direct Marketers (Not elsewhere classified)
• 6010 - Financial Institutions - Manual Cash Disbursements
• 6011 - Financial Institutions - Automated Cash Disbursements
• 6012 - Financial Institutions - Merchandise and Services
• 7995 - Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
  Race Track
• 9405 - Intra-Government Purchases (Government only)
• 9700 - International Automated Referral Service (Visa use only)
• 9701 - Visa Credential Server (Visa use only)
• 9702 - GCAS Emergency Services (Visa use only)
• 9751 - UK Supermarkets - Electronic Hot File (Region use only)
• 9752 - UK Petrol Stations - Electronic Hot File (Region use only)
• 9950 - Intra-Company Purchases

ID#: 081010-161010-0025695



Small Ticket Transaction Cardholder Verification

Effective through 15 October 2010, a Merchant is not required to obtain Cardholder Verification for
a Small Ticket Transaction unless PIN Verification is required.

ID#: 081010-010410-0002910




52
     A restriction applies in the AP Region for domestic Transactions in Australia.


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Small Ticket Transaction Restrictions

Effective through 15 October 2010, a Transaction must not be processed as a Small Ticket
Transaction if either:

• A Chip-Reading Device is unable to read the Chip and the Transaction is completed using another
  method of data capture and transmission
• Dynamic Currency Conversion was performed

ID#: 081010-010410-0002909



Visa Easy Payment Service (VEPS) Transaction Restrictions

Effective 16 October 2010, the following Transactions which require a Transaction Receipt must not
be processed as Visa Easy Payment Service Transactions:

• A Fallback Transaction
• An Account Funding Transaction
• A Cash-Back Transaction
• A Manual Cash Disbursement Transaction
• A Quasi-Cash Transaction
• A Prepaid Load Transaction
• A Transaction where Dynamic Currency Conversion is performed

ID#: 081010-161010-0025693



Visa Easy Payment Service (VEPS) Transaction Cardholder Verification Method
(Updated)

Effective 16 October 2010, a Merchant is not required to obtain Cardholder Verification for a Visa
Easy Payment Service (VEPS) Transaction unless the Transaction is an EMV PIN Transaction.

For an EMV PIN Transaction, the EMV Terminal must prompt the Cardholder for a PIN if PIN
verification is required as a result of EMV processing.

Failure to comply with this requirement may result in a change to the Chargeback liability as specified
in "EMV Liability Shift - Issuer Liability for Card-Present Counterfeit Chip Card Transactions" and
"EMV Liability Shift - Acquirer Liability for Card-Present Counterfeit Chip Card Transactions."

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Hong Kong - Small Ticket Transaction - AP Region

In the AP Region, in addition to the Small Ticket Transaction Merchant Category Codes listed in
"Small Ticket Transaction Merchant Category Codes," MCC 5411, "Grocery Stores and
Supermarkets," applies to Hong Kong for domestic usage only.

ID#: 081010-010410-0005227



Small Ticket Transaction Requirements - AP Region

Effective 1 May 2010 through 15 October 2010, in the AP Region, in addition to the requirements
specified in “Small Ticket Transaction General Requirements," a Small Ticket Transaction that is a
Proximity Payment may be either:

• A Cardholder-Activated Transaction Type B
• A Cardholder-Activated Transaction Type C

Effective 16 October 2010, in the AP Region, in addition to the requirements specified in “Visa Easy
Payment Service (VEPS) – General Requirements,” a Visa Easy Payment Service Transaction that is
a Proximity Payment may be either:

• A Cardholder-Activated Transaction Type B
• A Cardholder-Activated Transaction Type C

ID#: 081010-161010-0025703



Hong Kong and Australia - Small Ticket Transaction Merchant Category Codes – AP
Region

Effective 1 May 2010 through 15 October 2010, in the AP Region, in addition to the list of "Small
Ticket Transaction Merchant Category codes," the following Merchant Category Codes are eligible for
domestic Small Ticket Transactions in Australia and Hong Kong:

• MCC 5411, "Grocery Stores and Supermarkets
• MCC 5441, "Candy/Nut/Confection Stores
• MCC 5462, "Bakeries"

ID#: 081010-161010-0025704




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Australia Small Ticket Transaction General Requirements – AP Region (Updated)

Effective through 15 October 2010, the international threshold limit of US $25 for a Small Ticket
Transaction is replaced by an Australian threshold limit of acquired Transaction amount less than or
equal to AUD 35 for Magnetic Stripe and contact Chip Transactions.

Effective through 15 October 2010, the international threshold limit of US $25 for a Small Ticket
Transaction is replaced by an Australian threshold limit of acquired Transaction amount less than or
                                                     53
equal to AUD 100 for contactless Chip Transactions.

Effective through 15 October 2010, for all domestic Small Ticket Transactions conducted in
Australia, Cardholder Verification Method (CVM) is not required. This includes Transactions
conducted on Cards where PIN verification is normally required, such as Chip Cards where the
parameters of the Card include PIN verification.

ID#: 080411-060111-0026154



Australia Visa Easy Payment Service Transaction Merchant Category Codes – AP
Region (Updated)

Effective 16 October 2010 through 1 May 2013, for all domestic Visa Easy Payment Service
Transactions conducted in Australia, the Transaction must originate at one of the Merchant Category
                                    54
Codes shown in the following table.


Visa Easy Payment Service Merchant Category Codes

        Merchant Category Codes                                               Description

                     4111                   Local and Suburban Commuter Passenger Transportation, including
                                            Ferries

                     4121                   Taxicabs and Limousines

                     4131                   Bus Lines

                     4784                   Tolls and Bridge Fees

                     5251                   Hardware Stores

          Effective 1 March 2011
                                            Discount Stores
                   5310

                     5331                   Variety Stores

                     5411                   Grocery Stores and Supermarkets

                     5441                   Candy Stores

                     5451                   Dairy and Ice Cream Stores

                     5462                   Bakeries


53
     There is no MCC restriction for contactless Chip Transactions.
54
     The Merchant Category Code qualification criteria does not apply to Proximity Payment Transactions.


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      Merchant Category Codes                                        Description

                5499                  Miscellaneous Food Store - Convenience Stores and Specialty Markets

                5541                  Filling Stations - Automotive Gasoline

                5812                  Eating Places and Restaurants

                5814                  Fast Food Restaurants

                5912                  Drug Stores and Pharmacies

       Effective 1 March 2011
                                      Package Stores - Beer, Wine and Liquor
                5921

                5942                  Bookstores

       Effective 1 March 2011
                                      Stationery Stores
                5943

                5947                  Gift Card, Novelty and Souvenir Shops

                5993                  Cigar Stores and Stands

                5994                  News Dealers and Newsstands

                7211                  Laundry Services - Family and Commercial

                7216                  Dry Cleaners

                7338                  Quick Copy, Reproduction and Blueprinting Services

                7523                  Parking Lots, Parking Meters and Garages

                7542                  Car Washes

                7832                  Motion Picture Theaters

                7841                  DVD/Video Tape Rental Stores

                9402                  Postal Services - Government


Effective 16 October 2010 through 1 May 2013, Visa may add additional qualifying Merchant
Category Codes to this list.

ID#: 080411-060111-0026155



Australia Visa Easy Payment Service Transaction Cardholder Verification – AP
Region (New)

Effective 16 October 2010, for all domestic Visa Easy Payment Service Transactions conducted in
Australia, Cardholder Verification Method (CVM) is not required. This applies to Transactions
conducted with EMV PIN-Preferring Chip Cards.

ID#: 050411-060111-0026156




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Small Ticket Transaction Regional Limits - CEMEA Region

Effective 13 August 2009 through 15 October 2010, Small Ticket Transactions performed within
the CEMEA Region are limited to US $25, or local currency equivalent.

ID#: 081010-010410-0005247



Small Ticket Country-Specific Limits - CEMEA Region

Effective 13 August 2009 through 15 October 2010, in the CEMEA Region, intraregional Small
Ticket Transactions performed within the following countries are limited as follows:


Small Ticket Transaction Country-Specific Limits - CEMEA Region

           Country                          Description                             Transaction Limit

 Georgia                             Lari (GEL)                                            45

 Russia                              Ruble (RUB)                                         1,000

 Ukraine                             Hryvnia (UAH)                                        200

 United Arab Emirates                Dirham (AED)                                         100


Small Ticket Transactions within the above countries involving Issuers from outside the CEMEA
Region are limited to US $25, or local currency equivalent.

ID#: 081010-130809-0008841



Small Ticket Transactions - U.S. Region


Small Ticket General Requirements - U.S. Region

Effective through 15 October 2010, in the U.S. Region, a Visa Consumer Card or Commercial Visa
Product Transaction of US $15 or less, as specified in "Small Ticket Merchant Requirements - U.S.
Region," may qualify as a Small Ticket Transaction.

If the Transaction is US $15 or less, the Merchant is not required to:

• Obtain the Cardholder signature
• Provide a Transaction Receipt, unless the Cardholder requests one

The Transaction must occur in or at one of the following:

• A Face-to-Face Environment
• A Self-Service Terminal
• An Automated Dispensing Machine

ID#: 081010-150210-0008627



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Small Ticket Merchant Requirements - U.S. Region

Effective through 30 June 2010, a Transaction must be processed by a U.S. Merchant assigned
one of the following Merchant Category Codes to qualify as a Small Ticket Transaction:

• 4111, "Local Commuter Passenger Transportation"
• 4121, "Taxicabs and Limousines"
• 4131, "Bus Lines"
• 4784, "Toll and Bridge Fees"
• 5812, "Eating Places and Restaurants"
• 5814, "Fast Food Restaurants"
• 5994, "News Dealers, Newsstands"
• 7211, "Laundries - Family, Commercial"
• 7216, "Dry Cleaners"
• 7338, "Quick Copy, Reproduction, and Blueprinting Services"
• 7523, "Parking Lots, Parking Meters, and Garages"
• 7542, "Car Washes"
• 7832, "Motion Picture Theaters"
• 7841, "Video Tape Rental Stores"
• 5541, "Service Stations." A Visa Signature Preferred or a Consumer Debit Small Ticket
  Transaction processed at a Service Station Merchant is not eligible for CPS/Small Ticket
  Interchange Reimbursement Fees.

ID#: 081010-150210-0002915



U.S. Small Ticket and No Signature Required Merchant Category Code Exclusions -
U.S. Region (Updated)

Effective 1 July 2010 through 15 October 2010, in the U.S. Region only, any Merchant except a
Merchant assigned one of the following Merchant Category Codes may conduct a No Signature
Required or a Small Ticket Transaction:

• 4829 - Wire Transfer Money Orders
• 5542 - Automated Fuel Dispensers
• 5960 - Direct Marketing - Insurance Services
• 5962 - Direct Marketing - Travel Related Arrangement Services
• 5964 - Direct Marketing - Catalog Merchants
• 5965 - Direct Marketing - Combination Catalog and Retail Merchants
• 5966 - Direct Marketing - Outbound Telemarketing Merchants
• 5967 - Direct Marketing - Inbound Telemarketing Merchants
• 5968 - Direct Marketing -Continuity/Subscription Merchants
• 5969 - Direct Marketing/Direct Marketers (Not elsewhere classified)



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• 6010 - Financial Institutions - Manual Cash Disbursements
• 6011 - Financial Institutions - Automated Cash Disbursements
• 6012 - Financial Institutions - Merchandise and Services
• 7995 - Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
  Race Track
• 9405 - Intra-Government Purchases (Government only)
• 9700 - International Automated Referral Service (Visa use only)
• 9701 - Visa Credential Server (Visa use only)
• 9702 - GCAS Emergency Services (Visa use only)
• 9751 - UK Supermarkets - Electronic Hot File (Region use only)
• 9752 - UK Petrol Stations - Electronic Hot File (Region use only)
• 9950 - Intra-Company Purchase

ID#: 050411-010710-0025710



No Signature Required Transactions (NSR)


No Signature Required Program Merchant Eligibility Requirements - Canada Region

Effective through 15 October 2010, to participate in the No Signature Required (NSR) Program, a
Canada Merchant must:

• Have one of the following Merchant Category Codes:
  - 4111, "Local and Suburban Commuter Passenger Transportation, including Ferries"
  - 4121, "Taxicabs and Limousines"
  - 4131, "Bus Lines"
  - 4784, "Tolls and Bridge Fees"
  - 5331, "Variety Stores"
  - 5499, "Miscellaneous Food Stores -- Convenience Stores and Specialty Markets"
  - 5812, "Eating Places and Restaurants"
  - 5814, "Fast Food Restaurants"
  - 5912, "Drug Stores and Pharmacies"
  - 5993, "Cigar Stores and Stands"
  - 5994, "News Dealers and Newsstands"
  - 7211, "Laundry Services -- Family and Commercial"
  - 7216, "Dry Cleaners"
  - 7338, "Quick Copy, Reproduction, and Blueprinting Services"
  - 7523, "Parking Lots, Parking Meters and Garages"




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  - 7542, "Car Washes"
  - 7832, "Motion Picture Theaters"
  - 7841, "DVD/Video Tape Rental Stores"
• Hold a valid Merchant Agreement that is in good standing
• Prominently display at least one sign advising Cardholders that for Visa Card Transactions of CAD
  $25 or less, including applicable taxes, a receipt is available
• Provide a Transaction Receipt for an NSR Transaction to a Cardholder at the Cardholder's request

ID#: 081010-010410-0005234



No Signature Required Program Acquirer Obligations - Canada Region

Effective through 15 October 2010, a Canada Acquirer must:

• Ensure that a Merchant participating in the No Signature Required (NSR) Program meets and
  complies with all NSR Program Merchant eligibility requirements specified in "No Signature
  Required Program Merchant Eligibility Requirements - Canada Region" for the duration of the
  Merchant's participation in the NSR Program
• Ensure that the notice, required to be prepared and displayed by the Merchant in accordance with
  the Canada Regional Operating Regulations, does not derogate from the purpose of the notice,
  which is to ensure that Cardholders clearly understand that a Transaction Receipt for an NSR
  Transaction is available to a Cardholder upon the Cardholder's request
• Be able to provide Visa with written proof of the Merchant's compliance with the Canada Regional
  Operating Regulations at Visa request

ID#: 081010-010410-0005235



No Signature Required Transaction Requirements - Canada Region

Effective through 15 October 2010, in the Canada Region, a No Signature Required (NSR)
Transaction must be a Transaction:

• For a total amount, including applicable taxes, of CAD $25 or less
• That is authorized either online or offline
• That is made with a Visa Card issued by a Member
• That is made by way of electronic imprint only

Effective through 15 October 2010, any Transaction that does not meet all of the above
requirements is not an NSR Transaction. Transactions that are key-entered or made at Unattended
Acceptance Terminals are not NSR Transactions and are subject to all requirements of the Visa
International Operating Regulations for non-NSR Transactions.

ID#: 081010-010410-0005236




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Transaction Receipts for No Signature Required Transactions - Canada Region

Effective through 15 October 2010, subject to the paragraph below, a Canada No Signature
Required (NSR) Merchant is not required to issue a Transaction Receipt and obtain a Cardholder
signature for an NSR Transaction.

An NSR Merchant is required to provide a Transaction Receipt to a Cardholder for an NSR
Transaction if the Cardholder so requests, but is not required to obtain the Cardholder signature in
this event.

For the purpose of the NSR Program, a Transaction Receipt may be in the form of a cash register
receipt, provided the receipt includes the total Transaction amount, Transaction Date, and
confirmation that a Visa Card was used to pay for the Transaction.

ID#: 081010-010410-0005237



No Signature Required Transaction Limit - U.S. Region

Effective through 16 April 2010, in the U.S. Region, for all Visa Card Transactions under US $25, a
No Signature Required Merchant is not required to either:

• Obtain the Cardholder signature
• Provide a Transaction Receipt, unless the Cardholder requests it

Effective 17 April 2010 through 15 October 2010, in the U.S. Region, for all Visa Card
Transactions less than or equal to US $25, a No Signature Required Merchant is not required to
either:

• Obtain the Cardholder signature
• Provide a Transaction Receipt, unless the Cardholder requests it

ID#: 081010-010410-0005193



No Signature Required Merchant Category Codes - U.S. Region

Effective through 30 June 2010, in addition to the Small Ticket requirements specified in "Small
Ticket General Requirements - U.S. Region," a No Signature Required Transaction must be a
Transaction initiated from a U.S. Merchant assigned one of the Merchant Category Codes in "Small
Ticket Merchant Requirements - U.S. Region" or one of the following Merchant Category Codes:

• 5499, "Convenience Stores"
• 5541, "Filling Stations - Automotive Gasoline"
• 5912, "Drug Stores, Pharmacies"
• 5251, "Hardware Stores"
• 5331, "Variety Stores"
• 5411, "Grocery Stores and Supermarkets"
• 5441, "Candy Stores"
• 5451, "Dairy and Ice Cream Stores"


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• 5462, "Bakeries"
• 5942, "Bookstores"
• 5947, "Gift, Card, and Novelty"
• Effective 17 April 2010, 5993, "Cigar Stores and Stands"
• 9402, "U.S. Postal Services"

ID#: 081010-150210-0005194



No Signature Required Transaction Restrictions - U.S. Region

Effective through 15 October 2010, in the U.S. Region, a Transaction must not be processed as a
No Signature Required Transaction if Dynamic Currency Conversion is performed.

ID#: 081010-010410-0005197




Card-Not-Present Transactions

Mail/Phone Order and Electronic Commerce General Requirements


Electronic Commerce Website Merchant Agreement Requirements

An Acquirer must ensure that its Merchant Agreement requires an Electronic Commerce Merchant to
display the following on the Merchant's Website:

• Consumer data privacy policy
• Security capabilities and policy for transmission of payment card details
• The address of its Permanent Establishment

ID#: 010410-010410-0003357



Electronic Commerce Acquirer Solicitation Website Requirements

An Acquirer soliciting Merchant applications must list the Merchant domicile requirements on its
Website. The domicile requirements must be those permitted by the Acquirer's jurisdictional rights, as
specified in "Country of Domicile" and the Visa International Certificate of Incorporation and Bylaws,
Section 2.10.

ID#: 031209-010210-0004630



Online Gambling Merchant Risk Policies

An Acquirer for an Online Gambling Merchant must comply with the Member risk policy requirements
established by Visa.

ID#: 010410-010410-0004632


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Data Protection Method Requirements

An Acquirer must:

• Ensure that its Electronic Commerce Merchants offer Cardholders a Data Protection Method such
  as:
     - 3-D Secure
     - Secure Sockets Layer (SSL)
• Include the above requirement in the Merchant Agreement

ID#: 010410-010410-0008632



Website Requirements

A Merchant Website must contain:

• Visa Brand Mark in full color to indicate Visa Card acceptance, as specified in the Visa Product
  Brand Standards
• Complete description of the goods or services offered
• Return/refund policy (see a "Electronic Commerce Merchant Refund Policy Disclosure")
• Customer service contact, including electronic mail address or telephone number
• Address of the Merchant's Permanent Establishment
• Transaction Currency (e.g., U.S. dollars, Canadian dollars)
• Export restrictions (if known)
• Delivery policy
• Disclosure of the Merchant Outlet country at the time of presenting payment options to the
  Cardholder
• Consumer data privacy policy
• Security capabilities and policy for transmission of payment card details

In the U.S. Region, the Website may be operated by a Merchant, Sponsored Merchant, or Internet
Payment Service Provider and must contain the following additional information: (This only applies in
the U.S. Region.)

• Legal restrictions (if known) (This only applies in the U.S. Region.)
• The address of the Merchant Outlet's Permanent Establishment, including the Merchant Outlet
                  55
  country, either: (This only applies in the U.S. Region.)
     - On the same screen view as the checkout screen used to present the total purchase amount
       (This only applies in the U.S. Region.)
     - Within the sequence of Web pages the Cardholder accesses during the checkout process (This
       only applies in the U.S. Region.)

ID#: 031209-150210-0008635


55
 The country code for this country must be transmitted in the Clearing Record, as specified in "VisaNet Clearing Message
Content Standards" (Exhibit NN).


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Electronic Commerce Indicator Requirements

An Electronic Commerce Transaction must be identified in both the Authorization Request and
Clearing Record with the appropriate Electronic Commerce Transaction indicator values, as specified
in:

• "BASE II Record Requirements" (Exhibit 2L)
• "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A)
• "Required Message Content for VisaNet Authorization Requests" (Exhibit 3B)

An Acquirer that fails to identify an Electronic Commerce Transaction is subject to the penalties
specified in the table below:


Acquirer Penalties for Incorrect Use of Electronic Commerce Transaction Indicator Values

                    Violation                                     Visa Action, Notification, or Fine

     Warning                                                 Notification of violation with specific date for correction,
                                                             not to exceed 3 months

     Uncorrected Violation (Month 4)                         Acquirer assessed US $5,000 fine per Merchant
                                                             Identified

     Uncorrected Violation (Month 5)                         Acquirer assessed US $10,000 fine per Merchant
                                                             identified

     Uncorrected Violation (Months 6-12)                     Acquirer assessed US $25,000 fine each month per
                                                             Merchant identified

     Uncorrected Violation (Months 13-18)                    Visa may suspend the Merchant from participation in
                                                             the Visa Program

     Uncorrected Violation (Month 19 and subsequent          Visa may permanently disqualify the Merchant from
     months)                                                 participation in the Visa Program


ID#: 010410-010410-0007149



Electronic Commerce Transaction Receipt Requirements 5.2.B.4 Table 7K-1 (Updated)

The Transaction Receipt for an Electronic Commerce Transaction must include:
                       56
• Merchant name
• Merchant online address
• Transaction amount (or credit), indicated in Transaction Currency
• Transaction Date (or credit preparation date)
• Unique Transaction identification number
• Purchaser name
• Authorization Code

56
 The Merchant name must not be the name of the network provider or other entity unless the Transaction represents
membership service charges or merchandise/services provided by the network provider itself.


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• Transaction type (purchase or credit)
• Description of merchandise/services
• Date of each individual purchase (for Aggregated Transactions only)
• Amount of each individual purchase (for Aggregated Transactions only)
• Return/refund policy (if restricted)

ID#: 080411-010410-0003114



Electronic Commerce Account Number Requirements (Updated)

An Electronic Commerce Merchant must not return the full Account Number to the Cardholder online
or on the Transaction Receipt.

Effective through 30 September 2014, Visa strongly recommends disguising or suppressing all but
the last 4 positions of the primary Account Number on the Cardholder Transaction Receipt from a
Point-of-Transaction Terminal.

ID#: 050411-010410-0003627



Electronic Commerce Merchant Certificate Requirements - U.S. Region

In addition to the requirements specified in "Required Merchant Information - U.S. Region," a U.S.
Acquirer must collect the following information for each of its Electronic Commerce Merchants that
uses a Merchant Certificate:

• Name of Merchant Certificate issuer
• Merchant Certificate number
• Merchant Certificate expiration date
• Ownership status of Merchant Certificate - shared or individual

ID#: 010410-010410-0005085



Electronic Commerce Member Requirements - U.S. Region

A U.S. Member that participates in Visa Secure Electronic Commerce must comply with the
participation requirements specified in the U.S. Regional Operating Regulations.

U.S. Members must refer to the Visa International Operating Regulations for requirements related to
online gambling Merchants.

ID#: 010410-010410-0004634




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Electronic Commerce Merchant Transaction Type Prohibition

A Merchant, an Internet Payment Service Provider (IPSP), or a Sponsored Merchant that displays a
Visa-Owned Mark on its Website must not accept Cards for the purchase or trade of photographs,
video imagery, computer-generated images, cartoons, simulation, or any other media or activities
including, but not limited to, activities listed under "Brand Protection."

Violation of this requirement will result in the termination of the Merchant, IPSP, or Sponsored
Merchant.

ID#: 081010-150210-0005067



Electronic Commerce Indicator for Recurring Transactions - U.S. Region

In the U.S. Region, if the Order Form for a Recurring Transaction is provided to the Merchant in an
electronic format, the initial Transaction must be processed with the appropriate Electronic
Commerce Transaction indicator values.

Subsequent Recurring Transactions must be processed as Recurring Transactions, as specified in
"VisaNet Clearing Message Content Standards" (Exhibit NN).

ID#: 010410-010410-0004638



Mail/Phone Order and Electronic Commerce Authorization Requirements


Mail/Phone Order and Electronic Commerce Expiration Date in Authorization

A Mail/Phone Order Merchant and an Electronic Commerce Merchant (for a Non-Secure Transaction
and Non-Authenticated Security Transaction) must attempt to obtain the Visa Card expiration date
and forward it as part of the Authorization Request.

ID#: 031209-150210-0003129



Mail/Phone Order and Electronic Commerce Authorization Requirements

For goods to be shipped, a Mail/Phone Order or an Electronic Commerce Merchant may obtain
Authorization on any day up to 7 calendar days before the Transaction Date. The Transaction Date is
the date the merchandise is shipped. This Authorization is valid if the Transaction amount is within
15% of the authorized amount, provided that the additional amount represents shipping costs.

In the U.S. Region, this provision does not apply if the last Authorization obtained was a Partial
Authorization. (This only applies in the U.S. Region.)

ID#: 010410-010410-0006108




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Electronic Commerce Online Authorization

An Electronic Commerce Transaction must be sent Online for Authorization.

ID#: 010410-010410-0003659



Mail/Phone Order Signature Line

A Merchant must write "TO" for a telephone order or "MO" for a mail order on the signature line of the
Transaction Receipt used for Deposit or retrieval purposes.

ID#: 010410-010410-0003113



Mail/Phone Order Expiration Date in Authorization - AP Region

In the AP Region, all Mail/Phone Order Transaction Authorization Requests must include the Card
expiration date. An exception applies to Recurring Transactions, which do not require an expiration
date in the Authorization Request.

ID#: 010410-010410-0005333



Chip-Initiated Electronic Commerce Transaction Online Authorization - U.S. Region
5.2.K

In the U.S. Region, a Chip-initiated Electronic Commerce Transaction must be sent Online for
Authorization.

ID#: 010410-010410-0003660



Mail/Phone Order and Electronic Commerce Expiration Date in Authorization - U.S.
Region 5.2.K

An Electronic Commerce Merchant in the U.S. Region must attempt to obtain the Visa Card
expiration date and forward it as part of the Authorization Request for Non-Secure Transactions and
Non-Authenticated Security Transactions.

ID#: 031209-150210-0003662



3-D Secure Failure at Authorization - U.S. Region

A U.S. Merchant must not submit an Authorization Request for an Electronic Commerce Transaction
that failed a 3-D Secure Authentication Request.

ID#: 010410-010410-0004635




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Electronic Commerce Authentication Data Prohibitions - U.S. Region

In an Authorization Request, an Electronic Commerce Merchant in the U.S. Region must not transmit
Authentication Data specific to one Transaction with another Transaction, except when either:

• 2 Transactions are related due to delayed delivery
• All items of an order cannot be shipped at the same time

ID#: 010410-010410-0004636



Electronic Commerce Authentication Data in Subsequent Authorizations - U.S.
Region

In the U.S. Region, the original Authentication Data may be used if a subsequent Authorization
Request is initiated as a result of a delayed delivery or split shipment. The original Authentication
Data is valid for up to 90 calendar days from the date it was first received.

ID#: 010410-010410-0004637



Mail/Phone Order and Electronic Commerce Merchant Outlet Requirements


Mail/Phone Order and Electronic Commerce Merchant Outlet Location

A Merchant Outlet location for an Electronic Commerce or Mail/Phone Order Merchant is the country
where:

• There is a Permanent Establishment through which Transactions are completed
• The Merchant holds a valid business license for the Merchant Outlet
• The Merchant has a local address for correspondence and judicial process other than a post office
  box or mail-forwarding address, which do not meet this requirement
• The Merchant Outlet pays taxes relating to the sales activity

In the absence of a Permanent Establishment, the Merchant Outlet of a Merchant that provides only
digital goods is deemed to be located in the country where the principals of the company work.

ID#: 010410-010410-0003247



Disclosure of Merchant Outlet Country

An Electronic Commerce or Mail/Phone Order Merchant must disclose the Merchant Outlet country
when presenting payment options to the Cardholder.

ID#: 010410-010410-0002902




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Visa Right to Determine Merchant Outlet Country

Visa may determine the country of a Merchant Outlet and an Acquirer's ability to contract with it
based on:

• An evaluation of the Merchant's business structure
• Any other available information

The decision by Visa is final.

ID#: 010410-010410-0005916



Electronic Commerce Financial Responsibility


Electronic Commerce Merchant Financial Responsibility - U.S. Region

In addition to the requirements specified in "Acquirer Requirement to Query the Terminated Merchant
File and Inspect Merchant Premises - U.S. Region," to determine that a prospective Electronic
Commerce Merchant is financially responsible, a U.S. Acquirer must:

• Obtain a detailed business description
• Examine the Merchant's Website to:
  - Verify that the Merchant is operating within the Acquirer's jurisdiction, as specified in the Visa
    International Certificate of Incorporation and Bylaws and Visa International Operating
    Regulations
  - Ensure that the Merchant is not engaged in any activity that is in violation of the Visa
    International Operating Regulations
  - Ensure that the Merchant is not engaged in any activity that could cause harm to the Visa
    system or the Visa brand
• Print and retain copies of all relevant screens contained in the Website. Retained copies may be in
  either hard copy or electronic format
• Provide retained copies of all relevant screens contained in the Merchant's Website to Visa upon
  request

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Electronic Commerce Merchant Yearly Review - U.S. Region

At least once each year, for each of its applicable Electronic Commerce Merchants, a U.S. Acquirer
must examine the Merchant's Website and conduct an enhanced due diligence review, as specified in
"Electronic Commerce Merchant Financial Responsibility - U.S. Region," if any of the following criteria
is met:

• The Electronic Commerce Merchant or Sponsored Merchant is required to be classified by a
  Merchant Category Code referenced in the definition of a High-Risk Telemarketing Merchant, as
  specified in the:
  - U.S. Regional Operating Regulations
  - Visa Merchant Data Standards Manual
• The Merchant is identified by any Visa Chargeback monitoring program or designated at any time
  as an Identified Merchant by the Risk Identification Service (RIS) Online
• The Acquirer becomes aware the Merchant is selling products or services that were not
  documented in the Merchant Agreement or disclosed in the Merchant's business description
• The Acquirer conducts a periodic review of the Merchant as required by its internal procedures

ID#: 010410-010410-0005082




Internet Payment Service Providers

Internet Payment Service Providers (IPSP) General Requirements


Sponsored Merchant Location

The country of a Sponsored Merchant determines the Merchant Outlet location, not the country of the
Internet Payment Service Provider (IPSP).

The economic activity of a Merchant Outlet is deemed to occur at the Sponsored Merchant location,
not at the location of the IPSP.

The Merchant country code included in the Authorization and Clearing Record must be the country
code of the Sponsored Merchant, as specified in "BASE II Record Requirements" (Exhibit 2L).

ID#: 010410-010410-0006104



Internet Payment Service Provider Deposit Allowances

An Internet Payment Service Provider (IPSP) may deposit Transaction Receipts on behalf of a
Sponsored Merchant.

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Internet Payment Service Provider Transaction Receipt Deposits

A Merchant or Internet Payment Service Provider (IPSP) must not deposit a Transaction Receipt until
one of the following occurs:

• The Transaction is completed
• The goods or services are shipped or provided, except as specified below
• The purchased service is performed
• Cardholder consent is obtained for a Recurring Transaction

A Merchant or IPSP may deposit a Transaction Receipt before shipping or providing the goods or
services only if the Cardholder has agreed to either:

• A Delayed Delivery Transaction
• An Advance Deposit Transaction

ID#: 010410-010410-0008658



Internet Payment Service Provider Responsibilities

An Internet Payment Service Provider (IPSP) must:

• Not contract with another IPSP
• Display the appropriate Visa-Owned Marks to indicate which Cards are accepted for payment on
  its Sponsored Merchants' Websites
• Report Sponsored Merchant and Transaction Information to its Acquirer and, upon request, to Visa
• Use the appropriate Merchant Category Code or other required indicators to identify Merchant or
  Transaction type
• Include the payment acceptance requirements specified in the Visa International Operating
  Regulations in its contracts with its Sponsored Merchant and ensure compliance by the Sponsored
  Merchant
• Immediately terminate a Sponsored Merchant if required by the Acquirer or Visa
• Ensure that a terminated Merchant is not permitted to be a Sponsored Merchant

ID#: 010410-010410-0002897



Internet Payment Service Provider Contract with Multiple Acquirers

An Internet Payment Service Provider (IPSP) may contract and process Transactions with multiple
Acquirers. However, an Acquirer must only accept and submit Transactions into Interchange from
Sponsored Merchants within that Acquirer's jurisdiction.

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Internet Payment Service Provider Billing Name

The Internet Payment Service Provider (IPSP) name may appear alone on the Transaction Receipt
and billing statement only if the:

• Cardholder accesses the IPSP Website directly
• IPSP name is visible to the Cardholder during the selection, order, and payment processes

If the IPSP name appears alone, Visa may require that the Sponsored Merchant name be transmitted
in the Clearing Record if the IPSP (or some or all of its Sponsored Merchants) causes undue
economic hardship to the Visa system, including, but not limited to:

• Qualifying for the Global Merchant Chargeback Monitoring Program
• Generating excessive Copy Requests

The IPSP name (or an abbreviation) may appear in conjunction with the Sponsored Merchant name.

ID#: 010410-010410-0008659



Internet Payment Service Provider Customer Support

An Internet Payment Service Provider (IPSP) must provide customer service through its Website if a
Cardholder accesses the IPSP Website directly. Customer service may be provided either directly or
through its Sponsored Merchants.

ID#: 010410-010410-0002893



Internet Payment Service Provider Processing Requirements - U.S. Region

In the U.S. Region, if a Cardholder accesses a Sponsored Merchant's Website and is then linked to
the Internet Payment Service Provider (IPSP) Website for payment:

• The IPSP name must appear in the Clearing Record in conjunction with the Sponsored Merchant's
  name
• Processing requirements apply, as specified in "VisaNet Clearing Message Content Standards"
  (Exhibit NN)

ID#: 010410-010410-0005106




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Internet Payment Service Providers (IPSP) Acquirer Requirements


Acquirer Responsibility for Internet Payment Service Providers

Effective through 22 July 2010, an Acquirer contracting with an Internet Payment Service Provider
(IPSP) is liable for all acts, omissions, and other adverse conditions caused by the IPSP and its
Sponsored Merchants, including, but not limited to:

• Chargebacks
• Failure to provide service
• Related legal costs

ID#: 081010-010410-0006574



Acquirer Contractual Requirements with Internet Payment Service Providers

An Acquirer that contracts with an Internet Payment Service Provider (IPSP) must:

• Ensure that the IPSP and its Sponsored Merchants comply with the Visa International Operating
  Regulations
• Ensure that the IPSP does not contract with a Sponsored Merchant outside the Acquirer's
  jurisdiction
• Directly credit the IPSP for its Deposit. An Acquirer that contracts with both an IPSP and a
  Sponsored Merchant may directly credit the Sponsored Merchant for its portion of the Deposit, as
  permitted by local law.

ID#: 010410-010410-0005269



Sponsored Merchant MCC Requirements

An Acquirer must ensure that the Internet Payment Service Provider (IPSP) uses:

• The appropriate Merchant Category Code for each Sponsored Merchant in the Authorization and
  Clearing Record, as specified in the Visa Merchant Data Standards Manual
• Merchant Category Code 7995, "Betting, including Lottery Tickets, Casino Gaming Chips, Off-
  Track Betting, and Wagers at Race Tracks," for a Sponsored Merchant that provides gaming chips
  or electronic funds to be used for online gambling, even if gambling services is not the Sponsored
  Merchant's primary business

ID#: 031209-150210-0005271




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Acquirer Responsibility for Internet Payment Service Providers - U.S. Region

In the U.S. Region, an Internet Payment Service Provider (IPSP) that contracts with an Acquirer to
provide payment-related services to Sponsored Merchants will be treated as a Merchant.

An Acquirer is liable for all acts and omissions caused by an IPSP and its Sponsored Merchants,
including, but not limited to:

• Chargebacks
• Failure to provide service
• Related legal costs

The acts and omissions caused by a Sponsored Merchant will be treated as those of the IPSP.

ID#: 010410-010410-0005089



Internet Payment Service Provider Registration - U.S. Region (Updated)

A U.S. Acquirer must ensure that each of its Internet Payment Service Providers (IPSPs) is registered
with Visa before entering Transactions into Interchange.

To register, the Acquirer must send the following to Visa:

• The "Visa/Interlink Network/Plus Independent Sales Organization/Third-Party Servicer/Merchant
  Servicer Registration" form for the IPSP
• Supporting documentation to confirm that the Acquirer has performed a comprehensive risk and
  financial review of the IPSP, as specified in the Third Party Agent Due Diligence Risk Standards
• The electronic "Sponsored Merchant Registration" form with a comprehensive list of all Sponsored
  Merchants.

Registration materials must be sent via certified mail (return receipt requested) to:

Visa

Franchise Management

Mail Stop M3 - 4C

P.O. Box 8999

San Francisco, CA 94128-8999

ID#: 050411-010410-0008664




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Ineligible Internet Payment Service Provider Merchant Types - U.S. Region

A U.S. Acquirer must not allow its Internet Payment Service Provider (IPSP) to provide payment
services to the following merchant types. However, an Acquirer may sign a Merchant Agreement
directly with these entities:

• Buyers clubs/Membership clubs
• Credit counseling or credit repair services
• Credit protection/Identity theft protection
• Direct marketing - subscription merchants
• Infomercial merchants
• Internet pharmacies
• Internet pharmacy referral sites
• Multi-level marketing businesses
• Outbound telemarketers
• Prepaid phone cards
• Prepaid phone services
• Rebate-based businesses
• "Up-Sell" merchants

The merchant types above may be classified with Merchant Category Code values 4814, 5912, 5962,
5966, 5968, and 5969, and are ineligible for Sponsored Merchant status.

ID#: 031209-150210-0005091



Internet Payment Service Provider Restrictions - U.S. Region

A U.S. Acquirer must ensure that an Internet Payment Service Provider (IPSP) does not operate as
the Sponsored Merchant of another IPSP or deposit Transactions on its behalf.

ID#: 010410-010410-0005093



Payment Service and Card Acceptance Requirements - U.S. Region

A U.S. Acquirer must ensure that:

• Its Internet Payment Service Provider (IPSP) provides all payment-related services to Sponsored
  Merchants
• Sponsored Merchants meet all Card acceptance requirements and comply with the requirements
  for Electronic Commerce Merchants

ID#: 031209-150210-0006101




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Monthly Internet Payment Service Provider Sponsored Merchant Activity Reporting -
U.S. Region

Visa must receive monthly activity reporting from U.S. Acquirers on their Internet Payment Service
Provider (IPSP) Sponsored Merchants that includes:

• Sponsored Merchant name
• Merchant Category Code
• Sales count and amount
• Chargeback count and amount

ID#: 031209-150210-0005105



High-Risk Internet Payment Service Providers


Visa Right to Prohibit or Disqualify Sponsored Merchants - U.S. Region

Visa may prohibit a U.S. Acquirer from including any Merchant as a High-Risk Sponsored Merchant in
its High-Risk Internet Payment Service Provider portfolio if the Merchant either:

• Generates or has a history of generating excessive levels of exception items (Chargebacks and/or
  credits) within a 12-month period
• Takes action to evade responsibility for compliance with the Visa International Operating
  Regulations

Visa may disqualify a High-Risk Internet Payment Service Provider or High-Risk Sponsored Merchant
in accordance with the High-Risk Chargeback Monitoring Program or for other activity that causes
undue harm to the Visa system.

ID#: 010410-010410-0008667



High-Risk Internet Payment Service Provider Eligibility - U.S. Region

Before entering into a Merchant Agreement with a High-Risk Internet Payment Service Provider, a
U.S. Acquirer must:

• Be in good standing in all Visa risk management programs
• Meet the Acquirer Tier 1 capital requirement

ID#: 010410-010410-0003519




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High-Risk Internet Payment Service Provider Registration - U.S. Region

A U.S. Acquirer must register a High-Risk Internet Payment Service Provider and its High-Risk
Sponsored Merchants with Visa before entering Transactions into Interchange.

Visa assesses a registration fee and annual charge for High-Risk Internet Payment Service Providers
and High-Risk Sponsored Merchants, as specified in the Visa U.S.A. Fee Guide.

ID#: 081010-010410-0008665



High-Risk Internet Payment Service Provider Fines - U.S. Region

A U.S. Acquirer that fails to comply with registration program requirements for High-Risk Internet
Payment Service Providers is assessed a fine, as follows:

• US $25,000 per month per High-Risk Sponsored Merchant or High-Risk Internet Payment Service
  Provider
• After 3 violations in a calendar year, one or both of the following:
  - US $100,000 for each 30-calendar-day period of non-compliance
  - Prohibition against signing High-Risk Sponsored Merchants

ID#: 010410-010410-0003523



High-Risk Internet Payment Service Provider Contractual Obligation - U.S. Region

A U.S. Acquirer must ensure that High-Risk Internet Payment Service Providers and High-Risk
Sponsored Merchants are contractually obligated to operate in accordance with the Visa International
Operating Regulations.

ID#: 010410-010410-0007313



High-Risk Internet Payment Service Provider Agreement Requirements - U.S. Region

A U.S. Acquirer must ensure that the Internet Payment Service Provider Agreement requires:

• That the High-Risk Sponsored Merchant Agreement be signed by a senior officer of the High-Risk
  Internet Payment Service Provider
• The High-Risk Internet Payment Service Provider to report:
  - Acquisition of new High-Risk Sponsored Merchants (using the electronic "High-Risk Sponsored
    Merchant Registration" form)
  - Monthly Transaction activity for all High-Risk Sponsored Merchants

The reports must be provided to Visa in specified electronic formats available from Visa upon request.

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Recurring Transactions

Recurring Transaction General Requirements


General Requirements for Recurring Transactions

A Recurring Services Merchant must:

• Obtain Cardholder permission to periodically charge for recurring services, in a format including,
  but not limited to:
  - E-mail or other electronic record
  - Hard copy correspondence
• Retain this permission for the duration of the recurring services and provide it upon Issuer request
• Provide a simple and easily accessible online cancellation procedure if the Cardholder request for
  goods or services was initially accepted online

ID#: 010410-010410-0002932



Recurring Transaction Processing

For a Recurring Services Transaction, a Merchant must:

• Obtain an Authorization
• Write "Recurring Transaction" on the signature line of the Transaction Receipt
• For a recurring Electronic Commerce Transaction, include on the Transaction Receipt the
  frequency and duration of the Recurring Transactions, as agreed to by the Cardholder

ID#: 010410-010410-0003665



Recurring Services Merchant Prohibitions

A Recurring Services Merchant must not:

• Include partial payment for goods or services purchased in a single Transaction
• Include additional finance charges on a Recurring Transaction
• Complete a Recurring Transaction if it receives a Decline Response or a cancellation notice from
  the Cardholder

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Recurring Electronic Commerce Transactions

The initial Transaction for a recurring Electronic Commerce Transaction must be processed with the
appropriate Electronic Commerce Transaction indicator values, as specified in:

• "BASE II Record Requirements" (Exhibit 2L)
• "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A)
• "Required Message Content for VisaNet Authorization Requests" (Exhibit 3B)

Subsequent recurring Electronic Commerce Transactions must be completed as specified in
"Recurring Transaction Processing" and "BASE II Record Requirements" (Exhibit 2L).

ID#: 031209-150210-0003111



Merchant Requirements for Recurring Transactions - U.S. Region

In the U.S. Region, a Recurring Services Merchant must:

• Obtain from the Cardholder a completed Order Form containing a written request for the goods or
  services to be charged to the Cardholder's account. The Order Form must include, but is not
  limited to, the following:
  - Transaction amount, unless the Recurring Transactions are for varying amounts
  - Frequency of the recurring charges
  - Duration of time for which Cardholder permission is granted
• Retain a copy of the Order Form for the duration of the recurring services and provide it upon
  Issuer request
• Write the words "Recurring Transaction" on the signature line of the Transaction Receipt
• Provide a subsequent Order Form when a Recurring Transaction is renewed
• Obtain the Cardholder signature, or an electronic signature or other similar authentication, that is
  effective under applicable law

For an Electronic Commerce Transaction, the Recurring Services Merchant must also:

• Include on the Transaction Receipt the frequency and duration of the Recurring Transaction, as
  agreed to by the Cardholder
• Provide a simple and easily accessible online cancellation procedure, if the Cardholder request for
  goods or services was initially accepted online

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Notification Requirements for Recurring Transactions - U.S. Region

In the U.S. Region, for Recurring Transactions of varying amounts, the:

• Order Form must allow the Cardholder to specify a minimum and maximum Transaction amount to
  be charged, unless the Cardholder will be notified of the amount and date of each charge, as
  specified below
• Merchant must inform the Cardholder of their right to receive, at least 10 calendar days before
  each scheduled Transaction Date, written notification of the amount and date of the next charge

The Cardholder may choose to receive the notification:

• For every charge
• When the Transaction amount does not fall within the range of amounts specified on the Order
  Form
• When the Transaction amount will differ from the most recent charge by more than an agreed-
  upon amount

ID#: 010410-010410-0002930



Recurring Services Merchant Contact Information

For a Recurring Transaction, an Acquirer must:

• Ensure that its Recurring Services Merchant obtains an Authorization for all Recurring
  Transactions
• Transmit the Recurring Transaction indicator in the:
  - Authorization Request
  - Clearing Record

The Clearing Record for a Recurring Transaction must contain Merchant contact information in the
Merchant name or Merchant city fields that enables the Cardholder to contact the Merchant directly.

ID#: 010410-010410-0008652




Installment Transactions

Installment Transaction General Requirements


Installment Transaction General Requirements

A Merchant that offers Installment Transactions must:

• Disclose in writing, electronically or by another method, to the Cardholder the terms of the
  Installment Transaction, including:
  - All costs associated with the purchase of the goods or services

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  - Transaction Currency agreed to by the Cardholder
  - That Transaction amounts may vary due to Currency Conversion Rate fluctuations
• Not submit an Installment Transaction Receipt to its Acquirer at intervals of less than 7 calendar
  days
• Not submit an initial Installment Transaction Receipt to its Acquirer until the merchandise has been
  shipped, unless the Merchant requires a "down payment" or deposit for custom-order goods
• Authorize the initial and all subsequent Transactions (Zero Floor Limit applies)

ID#: 010410-010410-0002891



Liability for Installment Transactions

Except as specified in the Visa International Certificate of Incorporation and Bylaws, Visa assumes no
liability for Installment Transactions processed more than 30 calendar days from the Authorization
date.

ID#: 031209-150210-0002892



Installment Billing Transaction Option - U.S. Region

In the U.S. Region, a Mail/Phone Order or Electronic Commerce Merchant may offer Cardholders an
Installment Billing Transaction option.

If offered, the U.S. Merchant must:

• Disclose in writing the terms, including, but not limited to whether the installment terms are limited
  to certain goods that a Cardholder may purchase. The written disclosure must also include the
  shipping and handling charges and any applicable tax.
• Inform the Cardholder not billed in the Transaction Currency of the Merchant that each Installment
  Billing Transaction amount may vary due to Currency Conversion Rate fluctuations
• Ensure that the sum of the Installment Billing Transactions does not include any finance charge or
  exceed the total price of the goods
• Authorize all Installment Billing Transactions

The Merchant must not add finance charges to an Installment Billing Transaction.

ID#: 010410-010410-0008638




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Delayed Delivery Transactions

Delayed Delivery Transaction General Requirements


Delayed Delivery Transaction Authorization

A Merchant completing a Delayed Delivery Transaction must obtain an Authorization if the cumulative
total of both Transaction Receipts exceeds the Floor Limit. The Merchant must obtain Authorization
for each Delayed Delivery Transaction on each Transaction Date.

ID#: 010410-010410-0002879



Delayed Delivery Transaction Date

For Delayed Delivery Transactions, the Transaction Date for goods and services not shipped within
30 calendar days of the order is the shipment date.

ID#: 010410-010410-0002880



Delayed Delivery Transaction Initial Deposit Time Frame

For Delayed Delivery Transactions, the Merchant may deposit the Transaction Receipt for the
delayed delivery deposit before delivery of the goods or services.

For Delayed Delivery Transactions, the Merchant must not deposit the Transaction Receipt for the
balance before delivery of the goods or services.

ID#: 010410-010410-0008993



Delayed Delivery Transaction Receipt Requirements


Delayed Delivery Transaction Receipt

For Delayed Delivery Transactions, the Merchant must write the word "Deposit" or "Balance" on the
appropriate Transaction Receipt.

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Retaining Delayed Delivery Transaction Deposit (Updated)

For Delayed Delivery Transactions, the Merchant may retain the deposit if the:

• Merchant received a Decline Response for the balance
• Balance was not paid by other means
• Transaction Receipt states that the deposit is nonrefundable

ID#: 050411-010410-0002884



Delayed Delivery Transaction Receipt - U.S. Region

In the U.S. Region, for Delayed Delivery Transactions, the Merchant must:

• Assign a separate Authorization number for each Transaction Receipt
• Write the following information on the appropriate Transaction Receipt:
  - Words "Delayed Delivery"
  - Word "Deposit" or "Balance," as appropriate
  - Authorization date and Authorization Code, if applicable

ID#: 031209-150210-0002925




Advance Payment Transactions - U.S. Region

Advance Payment General Requirements


Advance Payment Deposit - U.S. Region

In the U.S. Region, an Advance Payment Service Merchant may deposit a Transaction Receipt
representing a partial or complete advance payment.

The Merchant must complete a Transaction Receipt for the amount of the advance payment,
including:

• Words "Advance Payment" on the signature line
• Cardholder's Account Number, telephone number, and mailing address
• Card expiration date
• Cardholder name on the Card

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Acquirer Requirements for Advance Payment Service - U.S. Region 5.4.U

A U.S. Acquirer must obtain all of the following from a Merchant participating in the Advance Payment
Service:

• Merchant name
• Address of each Merchant Outlet and type of service provided
• Number of years in business
• Number of years of ownership of the current business
• Chargeback/fraud ratios from the previous 6 months
• Configuration of cancellation codes
• Outline of the Merchant's procedures, including written cancellation policy and telephone script for
  accepting Advance Payment Service Transactions

ID#: 010410-010410-0005226



Merchant Agreement for Advance Payment Service - U.S. Region 5.4.U

A U.S. Acquirer must incorporate at least the substance of the Advance Payment Service
requirements into all Merchant Agreements, either as part of the Merchant Agreement or a separate
contract, for each of its Advance Payment Service Merchants.

ID#: 010410-010410-0005214



Advance Payment Procedures - U.S. Region 5.4.U

A U.S. Merchant participating in the Advance Payment Service must:

• Accept all Cards in its category of acceptance for advance payment when the Cardholder agrees
  to the Advance Payment Service
• Determine the amount of the Advance Payment Service Transaction. The Transaction amount
  must not exceed the total price of the reserved services or activity.
• Inform the Cardholder of the following:
  - Total price of the services or activity
  - Advance payment amount
  - Advance payment confirmation code
  - Cancellation terms. If a cancellation request is not received within the cancellation time specified
    by the Merchant, the Cardholder must forfeit the advance payment amount.
• Obtain all of the following:
  - Cardholder's Account Number, telephone number, and mailing address
  - Card expiration date
  - Cardholder name on the Card

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Written Confirmation of Advance Payment Service Transaction - U.S. Region

If a U.S. Merchant receives an Approval Response for an Advance Payment Service Transaction, the
Merchant must:

• Deposit the Transaction Receipt, as specified in the Visa International Operating Regulations
• Mail a written confirmation to the Cardholder with a:
  - Copy of the Transaction Receipt
  - Cancellation policy, including any applicable limitations relating to "bad weather" cancellations

For an advance payment made less than 72 hours before the scheduled commencement of services,
a written confirmation is required only upon Cardholder request.

If the Merchant receives a Decline Response, the Merchant must advise the Cardholder and must
not deposit the Transaction Receipt.

ID#: 031209-150210-0008650



Advance Payment Service Cancellation Procedures - U.S. Region 5.4.U

A U.S. Merchant participating in the Advance Payment Service must:

• Accept all cancellation requests, provided that the request is made before the specified
  cancellation date and time
• Provide a cancellation number and advise the Cardholder to retain it in case of a dispute
• Complete a Credit Transaction Receipt for the amount of the advance payment with the:
  - Words "Advance Payment" on the signature line
  - Cardholder's Account Number and mailing address
  - Card expiration date
  - Cardholder name on the Card
  - Cancellation number
• Mail the Credit Transaction Receipt to the address indicated by the Cardholder within 3 business
  days from the Transaction Date

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Dynamic Currency Conversion

Dynamic Currency Conversion - General Requirements


Dynamic Currency Conversion VisaNet Processor or Third Party Participation
(Updated)

Effective 1 May 2010 through 6 October 2010, a VisaNet Processor or Third Party must not
process a Dynamic Currency Conversion Transaction from a Merchant Outlet that was not actively
conducting Dynamic Currency Conversion as of 30 April 2010.

ID#: 050411-010510-0025738



Penalties for Incorrect Use of Dynamic Currency Conversion (Updated)

Effective through 30 April 2010, an Acquirer must register with Visa before offering Dynamic
Currency Conversion and to effect a timely resolution of violations of the Visa International Operating
Regulations. The table below specifies the actions and penalties that may occur when an Acquirer,
Acquirer's Merchant Outlet, or agent violates the Dynamic Currency Conversion requirements.

Effective 1 May 2010, an Acquirer, VisaNet Processor, or Third Party Agent that offers Dynamic
Currency Conversion, must effect a timely resolution of violations of the Visa International Operating
Regulations. The table below specifies the actions and penalties that may occur when an Acquirer,
Merchant Outlet, VisaNet Processor, or Third Party Agent violates the Dynamic Currency Conversion
requirements.




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Dynamic Currency Conversion Actions and Penalties

    Dynamic Currency                                                                    Visa Action or Fine
                                                 Event
    Conversion Action

 Registration of              Effective through 6 October 2010,
 Acquirer, VisaNet            Acquirer fails to register itself, its
 Processor or Third           Merchant Outlet, its VisaNet Processor, or
                                                                           Notification of violation with specific date
 Party Agent                  Third Party
                                                                           of correction and request for action plan
                              Effective 7 October 2010, Acquirer fails
                              to register itself, its VisaNet Processor or
                              Third Party Agent.

                              Failure to register within 10 calendar days   Effective through 6 October 2010, US
                              from the date of notification letter on       $10,000 fine per unregistered Acquirer,
                              failure to register                           Merchant Outlet, VisaNet Processor, or
                                                                            Third Party Agent per month. Effective 7
                                                                            October 2010, US $10,000 fine per
                                                                            unregistered Acquirer, VisaNet
                                                                            Processor, or Third Party Agent per
                                                                            month

                              Failure to register within 30 calendar days   Visa may:
                              from the date of notification letter on       • Require the Acquirer to stop the
                              failure to register                             Dynamic Currency Conversion being
                                                                              offered by the unregistered, VisaNet
                                                                              Processor, or Third Party Agent
                                                                            • Prohibit the Acquirer from contracting
                                                                              with any Dynamic Currency
                                                                              Conversion, VisaNet Processor, or
                                                                              Third Party Agent

 Registration of       Effective 7 October 2010, Acquirer fails             Effective 7 October 2010, notification of
 Merchant and Merchant to register its Dynamic Currency                     violation with specific date of correction
 Outlet                Conversion enabled Merchant or                       and request for action plan
                       Merchant Outlet as per the International
                       Transactions Guide

                              Effective 7 October 2010, failure to          Effective 7 October 2010, US $10,000
                              register in the next quarterly registration   fine per unregistered Merchant or
                              cycle                                         Merchant Outlet, per quarterly
                                                                            registration cycle

 Certification                Effective 1 May 2010 through 6 October Notification of violation with specific date
                              2010, failure of Acquirer to certify itself or of correction and request for action plan
                              its Merchant Outlet, VisaNet Processor, or
                              Third Party by 1 October 2010
                              Effective 7 October 2010, failure of
                              Acquirer to certify itself, its VisaNet
                              Processor or Third Party Agent




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      Dynamic Currency                                                             Visa Action or Fine
                                             Event
      Conversion Action

                          Effective 1 May 2010, failure to certify       Effective through 6 October 2010, US
                          within 10 calendar days from the date of       $10,000 fine per uncertified Acquirer,
                          notification letter on failure to certify      Merchant Outlet, VisaNet Processor, or
                                                                         Third Party per month
                                                                         Effective 7 October 2010, US $10,000
                                                                         fine per month per uncertified Acquirer,
                                                                         VisaNet Processor or Third Party Agent,
                                                                         or per Merchant Outlet using an
                                                                         uncertified Dynamic Currency
                                                                         Conversion solution

                          Effective 1 May 2010, failure to certify       Visa may:
                          within 30 calendar days from the date of       • Effective through 6 October 2010,
                          notification letter on failure to certify         require the Acquirer to stop the
                                                                            Dynamic Currency Conversion being
                                                                            offered by the uncertified Merchant
                                                                            Outlet, VisaNet Processor, or Third
                                                                            Party
                                                                         • Effective 7 October 2010, require
                                                                           the Acquirer to stop the Dynamic
                                                                           Currency Conversion being offered by
                                                                           the uncertified VisaNet Processor or
                                                                           Third Party Agent or by the Merchant
                                                                           Outlet using an uncertified Dynamic
                                                                           Currency Conversion solution.
                                                                         • Prohibit the Acquirer from contracting
                                                                           with any Merchant Outlet, VisaNet
                                                                           Processor, or Third Party Agent
                                                                           offering Dynamic Currency
                                                                           Conversion

 Merchant Outlet          Merchant Outlet non-compliant with one
 Dynamic Currency         or more Dynamic Currency Conversion            • Notification of violation with
 Conversion Violations    rules                                            specific date of correction and
                                                                           request for action plan

                          Failure to provide action plan for violation
                          resolution within 30 calendar days from        US $10,000 fine per non-compliant
                          the date of notification letter on Dynamic     Merchant Outlet per month
                          Currency Conversion violation

                          Failure to provide action plan for violation   Visa may:
                          resolution within 60 calendar days from        • Require the Acquirer to stop Dynamic
                          the date of notification letter on Dynamic        Currency Conversion being offered by
                          Currency Conversion violation                     the Merchant Outlet
                                                                         • Prohibit the Acquirer from contracting
                                                                           with any Dynamic Currency
                                                                           Conversion Merchant Outlet




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    Dynamic Currency                                                               Visa Action or Fine
                                               Event
    Conversion Action

 Dynamic Currency             Uncorrected Acquirer, Acquirer's           Visa may revoke Dynamic Currency
 Conversion Approval          Merchant Outlet, VisaNet Processor, or     Conversion approval from the Acquirer,
 Revocation                   Third Party Dynamic Currency Conversion    an Acquirer's Merchant Outlet, VisaNet
                              violation                                  Processor, or Third Party Agent for:
                                                                         • Repeated or persistent violation of the
                                                                            Visa International Operating
                                                                            Regulations following notice from
                                                                            Visa to the Acquirer to remedy any
                                                                            breach and failure to do so within a
                                                                            reasonable time frame
                                                                         • Repeated or persistent Cardholder
                                                                           complaints identified against an
                                                                           Acquirer or an Acquirer's Merchant
                                                                           Outlet, VisaNet Processor, or Third
                                                                           Party Agent within a 3-month period
                                                                           and the Acquirer failed to comply with
                                                                           the Visa International Operating
                                                                           Regulations regarding its Merchant
                                                                           Outlet, VisaNet Processor, or Third
                                                                           Party Agent pertaining to disclosure,
                                                                           Cardholder choice, and fee disclosure
                                                                         • Failure to ensure proper Merchant
                                                                           Outlet staff training and retraining on
                                                                           Dynamic Currency Conversion to
                                                                           ensure compliance
                                                                         • Failure to prevent its Merchant Outlet
                                                                           from deploying a Point-of-Transaction
                                                                           Terminal or other Merchant Outlet
                                                                           procedures that will lead or have led
                                                                           to a violation of the Visa International
                                                                           Operating Regulations


ID#: 080411-010410-0001293



Transaction Currency Requirement - CEMEA Region (Updated)

Effective through 30 April 2010, a CEMEA Acquirer must ensure that the currency of all
Transactions accepted at the Point-of-Transaction is the local currency of the Transaction Country.
An exemption to this requirement may be granted with the prior written approval of Visa.

Effective 1 May 2010 through 6 October 2010, in the CEMEA Region, the currency of all
Transactions must be the legal local currency(ies) of the Transaction Country.

Effective through 6 October 2010, a CEMEA Member that acquires Account Funding Transactions
and Original Credit Transactions may submit Transactions into VisaNet in a foreign currency, subject
to approved program parameters. This option is available only to Sending Members participating in
money transfer.

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Transaction Currency Requirement - LAC Region (Updated)

Effective through 30 April 2010, in the LAC Region, the currency of all Transactions accepted at the
Point-of-Transaction must be the legal local currency(ies) of the Transaction Country. An exemption
to this requirement may be granted with the prior written approval of Visa.

Effective 1 May 2010 through 14 April 2011, in the LAC Region, the currency of all Transactions
must be the legal local currency(ies) of the Transaction Country.

ID#: 050411-010410-0005285



Dynamic Currency Conversion - Merchant Requirements


Dynamic Currency Conversion Merchant Participation (Updated)

Effective 1 May 2010 through 6 October 2010, a Merchant Outlet that was not actively conducting
Dynamic Currency Conversion as of 30 April 2010 must not process a Dynamic Currency Conversion
Transaction.

Effective 1 May 2010 through 6 October 2010, if a Merchant Outlet that was registered with Visa to
offer Dynamic Currency Conversion, and was actively conducting Dynamic Currency Conversion as
of 30 April 2010, changes its Acquirer, VisaNet Processor, or Third Party Agent relationship and
wishes to continue performing Dynamic Currency Conversion, the new Acquirer, VisaNet Processor
or Third Party must already be registered or must register with Visa to offer Dynamic Currency
Conversion.

ID#: 050411-010510-0025739



Dynamic Currency Conversion Merchant Requirements (Updated)

A Merchant offering Dynamic Currency Conversion must:

• Inform the Cardholder that Dynamic Currency Conversion is optional
• Not impose any additional requirements on the Cardholder to have the Transaction processed in
  the local currency
• Not use any language or procedures that may cause the Cardholder to choose Dynamic Currency
  Conversion by default
• Not misrepresent, either explicitly or implicitly, that its Dynamic Currency Conversion service is a
  Visa service
• Effective 1 May 2010, not convert a Transaction amount in the local currency that has been
  approved by the Cardholder into an amount in the Cardholder's billing currency after the
  Transaction has been completed but not yet entered into Interchange
• Effective 1 May 2010, ensure that the Cardholder expressly agrees to a Dynamic Currency
  Conversion Transaction, as specified in "Dynamic Currency Conversion Transaction Receipt
  Requirements"

ID#: 050411-010410-0003100




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Multi-Currency Priced Transaction Requirement (New)

Effective 9 September 2010, in a Multi-Currency Priced Transaction, the displayed price and
currency selected by the Cardholder must be the same price and currency charged to the Cardholder,
printed on the Transaction Receipt, and entered into Interchange by the Acquirer, as specified in the
International Transactions Guide.

ID#: 050411-090910-0026216



Dynamic Currency Conversion Cardholder Active Choice Requirement (New)

Effective 7 October 2010, for Acquirers that did not have Merchants conducting Dynamic Currency
Conversion as of 6 October 2010 and effective 15 October 2011, for Acquirers that had Merchants
conducting Dynamic Currency Conversion on or after 7 October 2010 an Acquirer's Merchants must
comply with the Dynamic Currency Conversion Cardholder active choice requirements in all
acceptance environments, as specified in the International Transactions Guide.

ID#: 050411-071010-0026058



Dynamic Currency Conversion Transaction Receipt Requirements (Updated)

In both a Card-Present and Card-Absent Environment, a Transaction Receipt representing Dynamic
Currency Conversion at the Point-of-Transaction must show separately:

• Currency symbol of the Merchant's local currency
• Transaction amount of the goods or services purchased in the Merchant's local currency
• Exchange rate used to determine the Transaction amount
• Currency conversion commission, fees, or, effective 1 October 2010, mark up on the exchange
  rate over a wholesale rate or government mandated rate
• Currency symbol of the Transaction Currency
• Effective through 6 October 2010, total Transaction amount charged by the Merchant in the
  Transaction Currency, followed by the words "Transaction Currency"
• Effective 7 October 2010, total Transaction amount charged by the Merchant in the Transaction
  Currency, and the words "Transaction Currency"
• Statement, easily visible to the Cardholder, that specifies the:
  - Effective through 6 October 2010, Cardholder's selected Transaction Currency is final
  - Cardholder has been offered a choice of currencies for payment, including the Merchant's local
    currency
  - Effective 1 October 2010, Cardholder expressly agrees to the Transaction Receipt information
    by marking an “accept” box on the Transaction Receipt




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Effective through 30 September 2010, the Transaction Receipt must indicate that the Dynamic
Currency Conversion is conducted by the Merchant or that the Dynamic Currency Conversion is not
associated with or endorsed by Visa.

Effective 1 October 2010, the Transaction Receipt must indicate that Dynamic Currency Conversion
is conducted by the Merchant.

ID#: 050411-010410-0003101



Dynamic Currency Conversion Written Disclosure Requirement (Updated)

Effective 7 October 2010,for Acquirers that did not have Merchants conducting Dynamic Currency
Conversion as of 6 October 2010 and effective 15 October 2011, for Acquirers that had Merchants
conducting Dynamic Currency Conversion on or after 7 October 2010 an Acquirer must ensure that
before initiating a Dynamic Currency Conversion Transaction its Merchant must comply with the
following Dynamic Currency Conversion Cardholder written disclosure requirements in all acceptance
environments, with the exception of telephone order Transactions, as specified in the International
Transactions Guide:

• Currency symbol of the Merchant's local currency
• Transaction amount of the goods or services purchased in the Merchant's local currency
• Exchange rate used to determine the Transaction amount
• Any currency conversion commission, fees, or mark up on the exchange rate over a wholesale rate
  or government mandated rate
• Currency symbol of the proposed Transaction Currency
• Total Transaction amount charged by the Merchant in the proposed Transaction Currency

Effective 1 October 2010, for telephone order Transaction disclosure requirements a Merchant must
verbally notify the Cardholder of all the information listed above before initiating a Dynamic Currency
Conversion Transaction.

Effective 1 October 2010, for Priority Check-out and Express Return Transaction written disclosure
requirements refer to "Dynamic Currency Conversion Priority Check-Out and Express Return
Requirements."

ID#: 100411-071010-0026059



Dynamic Currency Conversion Card-Absent Environment Transactions (Updated)

Effective 1 October 2010 through 30 September 2011, before initiating a Dynamic Currency
Conversion Mail/Phone Order or Electronic Commerce Transaction, a Merchant must notify the
Cardholder of all the information listed in “Dynamic Currency Conversion Transaction Receipt
Requirements.”




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Effective 1 October 2010 through 30 September 2011, for an Electronic Commerce Transaction,
the Cardholder must confirm receipt of the information required in “Dynamic Currency Conversion
Transaction Receipt Requirements,” by clicking on an “accept” or other affirmative button on the
payment page for the Transaction to indicate that proper disclosure has occurred.

ID#: 050411-011010-0025742



Dynamic Currency Conversion Mail Order Requirements (New)

Effective 7 October 2010, before initiating Dynamic Currency Conversion for a mail order
Transaction, the Merchant must ensure the following information is included on the mail order form:

• Cardholder has been offered a choice of currencies for payment, including the Merchant's local
  currency
• Specific Transaction Currency agreed to by the Cardholder and Merchant
• Cardholder expressly agrees to DCC by marking an "accept" box on the mail order form
• Currency conversion commission, fees, or, mark-up on the exchange rate over a wholesale rate or
  government mandated rate.
• Exchange rate will be determined by the Merchant on the date that the Transaction is processed
  without additional consultation with the Cardholder
• Dynamic Currency Conversion is conducted by the Merchant

ID#: 050411-071010-0026060



Dynamic Currency Conversion Priority Check-Out and Express Return Requirements
(Updated)

Before initiating Dynamic Currency Conversion for a Priority Check-out Transaction or an express-
return car rental Transaction, the Merchant must complete a written agreement with the Cardholder
that specifies:

• Cardholder has agreed that Dynamic Currency Conversion will take place
• Cardholder has been offered a choice of currencies for payment, including the Merchant's local
  currency
• Specific Transaction Currency agreed to by the Cardholder and Merchant
• Effective through 6 October 2010, choice of currency decided on between the Cardholder and
  Merchant is final
• Effective 1 October 2010, Cardholder expressly agrees to DCC by marking an "accept" box on
  the written agreement
• Currency conversion commission, fees, or, effective 1 October 2010, mark-up on the exchange
  rate over a wholesale rate or government mandated rate
• Exchange rate will be determined by the Merchant at a later time without additional consultation
  with the Cardholder

Effective through 30 September 2010, the written agreement must indicate that the Dynamic
Currency Conversion is conducted by the Merchant or that the Dynamic Currency Conversion is not
associated with or endorsed by Visa.


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Effective 1 October 2010, the written agreement must indicate that the Dynamic Currency
Conversion is conducted by the Merchant

The Merchant must disclose to the Cardholder all of the Transaction Receipt requirements specified
in "Dynamic Currency Conversion Transaction Receipt Requirements."

ID#: 050411-010410-0008642



Dynamic Currency Conversion Requirements - U.S. Region (Updated)

Effective through 30 April 2010, in the U.S. Region, a Cardholder must expressly agree to a
Dynamic Currency Conversion Transaction.

A U.S. Merchant must not:

• Use any contractual language or procedures that result in the Cardholder choosing a Dynamic
  Currency Conversion Transaction by default
• Convert a Transaction amount in a local currency into an amount in a Cardholder's billing currency
  after the Transaction has been completed but not yet entered into Interchange
• Perform Dynamic Currency Conversion on:
  - Contactless Payment Transactions
  - No Signature Required Transactions
  - Small Ticket Transactions

Effective 1 May 2010 through 6 October 2010, a U.S. Merchant must not perform Dynamic
Currency Conversion on:

• Contactless Payment Transactions
• No Signature Required Transactions
• Small Ticket Transactions

ID#: 050411-010410-0008639



Currency Conversion Agreement for T&E Express Transactions - U.S. Region
(Updated)

Effective through 6 October 2010, in the U.S. Region, a Car Rental Merchant or Lodging Merchant
that offers T&E Express Services may establish an agreement with a Cardholder, in advance of hotel
check-out or car rental return, that the currency conversion rate will be determined by the Merchant at
a later time, without further consulting the Cardholder. The operating requirements specified in the
"Dynamic Currency Conversion - Additional Requirements for T&E Express Service Transactions -
U.S. Region" table apply.




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For a T&E Express Service Transaction, a Merchant must:

• Send the Cardholder a copy of the Transaction Receipt through the postal service (or e-mail, if
  selected by the Cardholder) within 3 business days of completing the Transaction
• Process any delayed or amended charges at the same currency conversion rate as the original
  Dynamic Currency Conversion Transaction

ID#: 050411-010410-0008656



Dynamic Currency Conversion Operating Requirements - U.S. Region (Updated)

Effective through 30 April 2010, for a Dynamic Currency Conversion Transaction, a U.S. Merchant
must comply with operating requirements specific to each Transaction environment, as specified in
the tables below.


Dynamic Currency Conversion Transaction Receipt Requirements - U.S. Region (Effective
through 30 April 2010)

       Transaction Environment                                 Operating Requirements

 All                                  Transaction Receipt
                                      In addition to the Transaction Receipt requirements specified in "Electronic
                                      and Manual Transaction Receipts" (Exhibit S), a Transaction Receipt for a
                                      Dynamic Currency Conversion Transaction must include:
                                      • The price of the goods or services in the Merchant's local currency
                                        accompanied by the currency symbol next to the amount
                                      • The total price in the Transaction Currency accompanied by the words
                                        Transaction Currency and the currency symbol next to the amount
                                      • The exchange rate used
                                      • Any additional mark up, commission, or fee for the Dynamic Currency
                                        Conversion service
                                      • A statement in an area easily seen by the Cardholder that:
                                         - The Cardholder was offered the choice of payment in the
                                           Merchant's local currency
                                         - The choice of currency is final
                                         - Either the currency conversion will not be conducted by Visa
                                           or the Merchant or Acquirer, as applicable, is providing the
                                           currency conversion service
                                      Each of the above data elements must be shown separately.




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Dynamic Currency Conversion Additional Requirements for Mail/Phone Order or
Electronic Commerce Transactions - U.S. Region (Effective through 30 April 2010)

       Transaction Environment                             Operating Requirements

 Mail/Phone Order or                Disclosure
 Electronic Commerce
                                    Before initiating a Dynamic Currency Conversion Transaction in the
                                    Mail/Phone Order or electronic commerce environment, a U.S. Merchant
                                    must notify the Cardholder of the following:
                                    • Price of the goods or services in the Merchant's local currency
                                    • Exchange rate, including any commission
                                    • Total price in the Transaction Currency
                                    • That the Cardholder has a choice of currencies, including the
                                      Merchant's local currency
                                    • That the choice of currency is final
                                    For an Electronic Commerce Transaction, the Cardholder must confirm
                                    receipt of the above information by clicking on an "accept" or other
                                    affirmative button to ensure proper disclosure.


Effective through 6 October 2010, for a Dynamic Currency Conversion Transaction, a U.S.
Merchant must comply with operating requirements for T&E Express Service Transactions, as
specified in the table below.


Effective through 6 October 2010, Dynamic Currency Conversion Additional Requirements for
T&E Express Service Transactions - U.S. Region

       Transaction Environment                             Operating Requirements

 T&E Express Service Transactions   Documentation
 Hotel Check-out or Car Rental
 Return                             For a T&E Express Service Transaction, a U.S. Merchant must document
                                    the terms of the Dynamic Currency Conversion in a written agreement.
                                    The agreement must be signed by the Cardholder in advance of a hotel
                                    check-out or car rental return.
                                    The written agreement must document:
                                    • The specific currency in which the conversion will take place
                                    • That the Cardholder has been offered a choice of currencies, including
                                      the Merchant's local currency
                                    • That the Cardholder understands that a Dynamic Currency Conversion
                                      Transaction will take place
                                    • That the currency choice is final
                                    • That the currency conversion rate will be determined at a later time
                                      without further Cardholder consultation
                                    • Effective 1 October 2010, any mark up on the exchange rate over a
                                      wholesale rate or government mandated rate, and any fees or
                                      commissions




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         Transaction Environment                                         Operating Requirements

                                              Transaction Receipt
                                              The Merchant must send the Cardholder a copy of the Transaction
                                              Receipt through the postal service (or by e-mail if selected by the
                                              Cardholder) within 3 business days.
                                              Delayed or Amended Charges
                                              For any delayed or amended charges, the Merchant must process such
                                              charges at the same currency conversion rate as the original Dynamic
                                              Currency Conversion Transaction.


ID#: 050411-010410-0005210



Dynamic Currency Conversion - Acquirer Requirements


Dynamic Currency Conversion Acquirer Participation (Updated)

Effective 1 May 2010 through 6 October 2010, an Acquirer must not process a Dynamic Currency
Conversion Transaction from a Merchant Outlet that was not actively conducting Dynamic Currency
Conversion as of 30 April 2010.

ID#: 050411-010510-0025737



Dynamic Currency Conversion Transaction Indicator Requirement (New)

Effective 15 October 2011, an Acquirer must include the Dynamic Currency Conversion Transaction
Indicator in its Dynamic Currency Conversion Authorization Requests and Clearing Records, as
                                  57
specified in the VisaNet manuals.

ID#: 050411-071010-0026057



Dynamic Currency Conversion Acquirer Requirements (Updated)

Effective 1 May 2010 through 6 October 2010, in addition to the requirements specified in
"Dynamic Currency Conversion - Acquirer Requirements," an Acquirer that processes a Dynamic
Currency Conversion Transaction must:

• Comply with the Dynamic Currency Conversion Registration and Certification Guide
• Register, by 1 June 2010, itself and each Merchant, Merchant Outlet, VisaNet Processor, and
  Third Party that is actively conducting Dynamic Currency Conversion as of 30 April 2010, and
  provide evidence that each Merchant Outlet is actively conducting Dynamic Currency Conversion,
  as specified in the Dynamic Currency Conversion Registration and Certification Guide
• Ensure that each Dynamic Currency Conversion Merchant Outlet complies with the Visa
  International Operating Regulations and the Dynamic Currency Conversion Registration and
  Certification Guide


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     This requirement is effective 15 April 2011 for Acquirers in the LAC Region.


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• Notify Visa if there is a change in the status of the Dynamic Currency Conversion services
  provided by its Merchants, Merchant Outlets, VisaNet Processors, or Third Parties
• Ensure that it, its VisaNet Processor, and Third Party is certified by Visa by 1 October 2010 and
  annually, as specified in the Dynamic Currency Conversion Registration and Certification Guide
• Notify Visa when it implements any Dynamic Currency Conversion-related platform changes that
  may require additional certification.

Effective 7 October 2010, before processing a Dynamic Currency Conversion Transaction, an
Acquirer must:

• Register for Dynamic Currency Conversion as specified in the International Transactions Guide
• Register any VisaNet Processor or Third Party Agent that is providing Dynamic Currency
  Conversion services to the Acquirer or its Merchant Outlets as specified in the International
  Transactions Guide
• Certify all Dynamic Currency Conversion solutions used by its Merchants, as specified in the
  International Transactions Guide
• Notify Visa when material changes are made to a Dynamic Currency Conversion solution used by
  its Merchants and recertify if required
• Ensure that each Merchant Outlet conducting Dynamic Currency Conversion complies with the
  Visa International Operating Regulations and the International Transactions Guide

ID#: 080411-010510-0025740



Dynamic Currency Conversion Merchant Registration Requirement (Updated)

Effective through 30 April 2010, an Acquirer that offers Dynamic Currency Conversion must provide
the name and location of each existing Merchant Outlet that is participating in Dynamic Currency
Conversion.

Effective through 30 April 2010, prior to offering Dynamic Currency Conversion through a Merchant
Outlet, an Acquirer must complete all of the following:

• Provide the name and location of each Dynamic Currency Conversion Merchant Outlet that is
  participating in Dynamic Currency Conversion to Visa
• Ensure that each Dynamic Currency Conversion Merchant Outlet complies with the Visa
  International Operating Regulations

Effective through 30 April 2010, prior to offering Dynamic Currency Conversion, an Acquirer must
register in writing with Visa that it or its Merchant Outlet or agent intends to offer Dynamic Currency
Conversion and must provide the name and location of any Merchant Outlet or agent that will be
providing Dynamic Currency Conversion. Also, an Acquirer must register any additional Merchant
Outlet or agent that subsequently offers Dynamic Currency Conversion with Visa.

Effective through 30 April 2010, the Acquirer that processes a Dynamic Currency Conversion
Transaction is the Acquirer responsible for registering with Visa the Merchant Outlet or agent,
whether or not the Acquirer has directly supplied the service to the Merchant Outlet or agent.

Effective 1 May 2010, an Acquirer that offers its Merchants the facility to conduct Dynamic Currency
Conversion must provide to Visa the name and location of each of its Merchants’ Merchant Outlets
that conduct Dynamic Currency Conversion Transactions.


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Effective 7 October 2010, an Acquirer is not, however, required to register each Sponsored
Merchant if Dynamic Currency Conversion is conducted by the Sponsored Merchant’s Internet
Payment Service Provider (IPSP).

Effective 7 October 2010, the Acquirer is responsible for registering with Visa the Merchant or
Merchant Outlet as specified in the International Transactions Guide, whether or not the Acquirer has
directly supplied the service to the Merchant or Merchant Outlet.

ID#: 050411-010410-0008657



Dynamic Currency Conversion Program Fee (Updated)

Effective 1 October 2010, an Acquirer that participates in Dynamic Currency Conversion must pay
an annual program fee, as specified in the applicable regional fee guide. This fee will not be prorated.

ID#: 050411-011010-0025741



Dynamic Currency Conversion Merchant Registration - U.S. Region

Effective through 30 April 2010, for each U.S. Merchant offering Dynamic Currency Conversion
services, the Acquirer must provide the:

• Member name
• BIN
• Merchant name
• Merchant Outlet(s)
• Name of any third-party agent or processor that will be processing Dynamic Currency Conversion
  Transactions
• Effective date

Any Acquirer with a Merchant that will begin offering Dynamic Currency Conversion services must
provide the above information to Visa at least 30 days before commencing the service.

ID#: 081010-010410-0003446



Dynamic Currency Conversion Acquirer Registration - U.S. Region

Effective through 30 April 2010, a U.S. Acquirer that processes a Transaction using Dynamic
Currency Conversion must register with Visa its Dynamic Currency Conversion Merchant, any third-
party Dynamic Currency Conversion processor, or agent within the timeframe specified in "Dynamic
Currency Conversion Merchant Registration - U.S. Region," regardless of whether or not the Acquirer
itself directly supplied the Dynamic Currency Conversion service to the Merchant Outlet, processor,
or agent.

ID#: 081010-010410-0003447




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Dynamic Currency Conversion Merchant Status - U.S. Region

Effective through 30 April 2010, a U.S. Acquirer must notify Visa if there is a change in the status of
the Dynamic Currency Conversion services provided by its Merchants.

ID#: 081010-010410-0003448




Manual Cash Disbursements

Manual Cash Disbursements Requirements


Member Manual Cash Disbursements

Each Member, excluding one participating only in the Visa Electron or Plus programs, must make
Manual Cash Disbursements to other Issuers' Visa Cardholders from all of its Branches in its Country
of Domicile. This includes, but is not limited to, unembossed Visa Cards, and Visa Cards with a
generic identifier or no Cardholder name. This requirement is limited only by applicable law and the
Issuer's Cash Disbursement policy.

ID#: 081010-010410-0006851



Manual Cash Disbursements - Visa Electron Cards

A Member may make Manual Cash Disbursements to other Issuers' Visa Electron Cardholders if the
Member complies with the appropriate acceptance procedures.

ID#: 010410-010410-0006852



Manual Cash Disbursement - Foreign Branches

A foreign Branch of a Member licensed to use the Visa Program Marks outside of its Country of
Domicile may make Manual Cash Disbursements to:

• Other Issuers' Visa Cardholders
• Other Issuers' Visa Electron Cardholders, if the Branch complies with the appropriate acceptance
  procedures

A Foreign Branch of a U.S. Member licensed to use the Visa Program Marks must make Manual
Cash Disbursements to other Issuers' Visa Cardholders up to the maximum Cash Disbursement limit
assigned to the Foreign Branches by the Member. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008660




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Manual Cash Disbursements - Related Companies

A Member may make Manual Cash Disbursements through the offices of its related companies if:

• The companies are primarily engaged in providing financial services to the public
• The Member or the Member's holding company wholly owns the company
• Visa has given the Member prior approval

A variance to this provision applies in the CEMEA Region for Members in South Africa.

ID#: 081010-010410-0006854



Visa Electron Acceptance for Manual Cash Disbursements

An Acquirer must use a Point-of-Transaction Terminal with Electronic Capability to accept Visa
Electron Cards for Manual Cash Disbursements.

ID#: 010410-010410-0006865



Manual Cash Disbursement Transaction Currency

The Transaction Currency for a Manual Cash Disbursement must be the:

• Currency dispensed
• Currency in the Authorization Request
• Currency presented into Interchange

ID#: 010410-010410-0006862



Manual Cash Disbursement Fee Disclosure

A Manual Cash Disbursement Transaction Receipt must state that the Issuer may assess a Cash
Disbursement fee or set-up charge.

ID#: 081010-010410-0006863



Manual Cash Disbursement Transaction Receipt

An Acquirer must provide the Cardholder with a Manual Cash Disbursement Transaction Receipt that
includes the:

• Transaction amount
• Transaction date




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• Account Number
• Acquirer name and location

ID#: 010410-010410-0007539



Manual Cash Disbursement Cardholder Identification Requirements in Australia –
AP Region (Updated)

In addition to the requirements specified in “Validation of Cardholder Identity,” an Acquirer in Australia
must comply with the following Cardholder Verification Method requirements when making a Manual
Cash Disbursement. An Issuer making a Manual Cash Disbursement to its own Cardholder may set
its own verification requirements.

The Acquirer must verify that the person resembles the person described or depicted on one of the
following forms of primary identification:

• Credit or debit card bearing the Cardholder’s photograph
• Driver's license
• Photographic passport

If the Cardholder is unable to provide a primary identification, the Acquirer may request any two of the
following forms of secondary identification:

• Any other identity card bearing the Cardholder’s photograph
• Driver's license
• Another signed debit/credit card
• Another signed document (e.g. employee identity card, union card, student card)
• Pensioner cards

ID#: 080411-060111-0026151



Non-Member Cash Disbursements - CEMEA Region

A CEMEA Acquirer may allow a non-Member that is ineligible for Visa membership to make Cash
Disbursements if:

• Visa has approved the applicable country, and the Member's principal place of business is within it
• The non-Member locations are within the approved country
• Visa has given its written approval
• The Acquirer assumes full responsibility for compliance with the Visa International Certificate of
  Incorporation and Bylaws and the Visa International Operating Regulations

A variance to this provision applies in the CEMEA Region for Members in South Africa.

ID#: 081010-150210-0005362




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Manual Cash Disbursement Requirements - LAC Region

Before completing a Manual Cash Disbursement, an LAC Member must follow the "Card and
Cardholder Verification" procedures and write on the Transaction Receipt the:

• Cardholder name (if it is different from the name embossed on the Card)
• Cardholder address

ID#: 010410-010410-0005254



Manual Cash Disbursements - Chargeback Reasons - U.S. Region (Updated)

A U.S. Issuer must not charge back a Manual Cash Disbursement that exceeds X, except for the
reasons listed.

A U.S. Issuer may, within 180 calendar days of the Central Processing Date, request Compliance,
only if either:

• The Issuer asserts that the Transaction was not authorized through the V.I.P. System
• The Acquirer's failure to provide the requested copy of a signed, imprinted, and legible Cash
  Disbursement Transaction Receipt or Transaction Record in a timely manner resulted in a loss to
  the Issuer

ID#: 050411-010410-0006934



Manual Cash Disbursements - Requirements and Limitations - U.S. Region

Each U.S. Member authorized to provide Cash Disbursements in the Visa U.S.A. Inc. Certificate of
Incorporation and Bylaws, Section 2.04, must make Manual Cash Disbursements to other Issuers'
Visa Cardholders. This includes, but is not limited to, valid Visa Payroll Cards and Visa Prepaid Cards
with an unembossed Cardholder name. This requirement is limited only by applicable law, the
Issuer's Cash Disbursement policy, and as specified in the Visa International Operating Regulations.

ID#: 010410-010410-0005111



Participant-Type Members Providing Cash Disbursements - U.S. Region

Before making Cash Disbursements, a Participant-Type Member in the U.S. Region that is authorized
to provide Cash Disbursements, as described in the Visa U.S.A. Inc. Certificate of Incorporation and
Bylaws, Section 2.04(j), must be separately approved for each type of Cash Disbursement by Visa.

ID#: 010410-010410-0005114



Manual Cash Disbursement - Card Security Features - U.S. Region 5.5.B.6.a, 3.7.A.1.m

Before completing a Manual Cash Disbursement, a U.S. Acquirer must:

• At the request of Visa, check one or more Card security features
• For a Visa Mini Card, request the corresponding full-sized card

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• Compare the first 4 digits of the embossed or printed Account Number to the 4 digits printed above
  or below the Account Number. If the digits do not match, the Acquirer must attempt to recover the
  Card, as specified in "Card Recovery"
• Record the printed 4 digits by either:
  - Writing the digits in the space provided on the "80-Column Cash Disbursement Transaction
    Receipt" (Exhibit 7A)
  - Key entering and electronically printing the digits on the Cash Disbursement Transaction Record
    in the designated space (if using a Point-of-Transaction Terminal capable of printing key-entered
    numbers)
• Authorize all Manual Cash Disbursements via an Account-Number-Verifying Terminal

ID#: 010410-010410-0008663



Minimum and Maximum Cash Disbursement Amounts


Maximum Manual Cash Disbursement Amount

An Acquirer may establish a maximum Manual Cash Disbursement amount of not less than X.

ID#: 010410-010410-0006855



Issuer Minimum Manual Cash Disbursement Amount - U.S. Region

A U.S. Issuer must not establish a minimum Manual Cash Disbursement amount.

ID#: 010410-010410-0006858



Acquirer Minimum Manual Cash Disbursement Amount - U.S. Region

Effective through 31 December 2010, a U.S. Acquirer may establish a minimum Manual Cash
Disbursement amount of US $25.

Effective 1 January 2011, a U.S. Acquirer must not establish a minimum Manual Cash
Disbursement amount.

ID#: 081010-010410-0005119



Manual Cash Disbursement Restrictions


Manual Cash Disbursement - Surcharge Prohibition

An Acquirer must not add a surcharge to a Manual Cash Disbursement unless local law expressly
requires that a Member be permitted to impose a surcharge. Any surcharge amount, if allowed, must
be included in the Transaction amount and not collected separately.

ID#: 010410-010410-0006864



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Visa Electron and Visa TravelMoney Manual Cash Disbursement - U.S. Region

A U.S. Acquirer must not accept a Visa Electron Card for a Manual Cash Disbursement.

A U.S. Acquirer must not accept a Visa TravelMoney Card for a Manual Cash Disbursement.

ID#: 010410-010410-0008669




Cash-Back Services

Cash-Back Services General Requirements


Cash-Back Services (Updated)

At the option of a Visa Region, a Visa or Visa Electron Merchant may provide Cash-Back to Visa or
Visa Electron Cardholders for Domestic Transactions only. The Merchant must:
                                                                       58
• Provide Cash-Back only in conjunction with a purchase
• Authorize and complete the Transaction as a purchase and uniquely identify the Cash-Back
  portion of the Transaction amount

A variance to this provision applies in the CEMEA Region for Members in South Africa.

Effective 1 November 2010, a variance applies in the AP Region for Members in Australia.

ID#: 050411-010410-0002971



Cash-Back Service Requirements (New)

Effective 1 October 2010, before offering Cash-Back, a Member be certified with Visa for the Visa
Cash-Back Service.

ID#: 050411-011010-0026040



Cash-Back Amounts (Updated)

Effective 1 October 2010, the Cash-Back amount must be less than the total Transaction
        59 60
amount

Effective 1 October 2010, a Merchant offering Cash-Back through Visa may establish a minimum or
maximum Cash-Back amount. The maximum amount must not exceed US $200, or local currency
           61
equivalent

ID#: 080411-011010-0026042

58
   Effective 1 March 2010, a variance to this requirement applies in the AP Region for Members in India.
59
   Effective 1 October 2010,a variance applies to the AP Region for Members in India
60
   Effective 1 November 2010, a variance applies to the AP Region for Members in Australia
61
   Effective 1 November 2010, a variance applies to the AP Region for Members in Australia


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Cash-Back Product Eligibility (Updated)

Effective 1 October 2010, a Cash-Back Transaction may be performed using the Visa Cash-Back
Service on:

• A Visa debit product
• Certain Visa Prepaid Cards, as specified in the applicable Visa International Prepaid Program
  Guidelines
• A Visa credit product, with the prior written approval of Visa

Effective 1 October 2010, a Merchant must not process a credit refund or Credit Transaction
Receipt for the Cash-Back component of a Transaction

ID#: 080411-011010-0026045



Cash-Back Services General Requirements - AP Region (Updated)

Effective 1 March 2010 through 30 September 2010, an AP Issuer who wishes to offer the service
to its Cardholders and an AP Acquirer to its Merchants must comply with all of the following:

• A Cash-Back Transaction must be conducted in a Face-to-Face Environment
• A Cash-Back Transaction must be authorized
• All Cash-Back Transactions submitted into VisaNet must contain unaltered full track or Chip data
• Cash-Back Transactions require Cardholder signature or PIN

Effective 1 March 2010 through 15 October 2010, an AP Issuer who wishes to offer the Visa Cash-
Back Service to its Cardholders and an AP Acquirer to its Merchants must ensure that Cash-Back is
not offered as part of a Small Ticket Transaction.

ID#: 080411-010310-0025736



Cash-Back Services in India - AP Region (New)

Effective 1 March 2010, in addition to the requirements specified in the AP Regional Operating
Regulations and the Visa International Operating Regulations, a Member in India that participates in
the Cash-Back Service must comply with all of the following:

• A Cash-Back Transaction must be a domestic transaction
• The Issuer must ensure that the Cash-Back Service is only available to the product types permitted
  by the Reserve Bank of India (RBI)
• The Cash-Back Service must be available irrespective of whether or not the Cardholder makes a
  purchase
• The Issuer must ensure that Cash-Back disbursements do not exceed the RBI-legislated daily
  Cash-Back limit per Card




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• The Merchant must not process a Credit Transaction for the Cash-Back element of the Transaction
• The Cash-Back Transaction Receipt must include the amount of the Cash-Back element of the
  Transaction as a separate field, irrespective of whether there is a purchase component to the
  Transaction

ID#: 050411-060111-0026139



Cash-Back Services in Australia – AP Region (New)

Effective 1 November 2010, in addition to the Cash-Back Services General Requirements specified
in the AP Regional Operating Regulations, an Issuer or Acquirer in Australia that participates in Cash-
Back services must comply with all of the following:

• A Cash-Back transaction must be a Domestic
• The Cash-Back service must be available irrespective of whether or not the Cardholder makes a
  purchase
• A Cash-Back transaction receipt must include the amount of the Cash-Back element of the
  Transaction as a separate field, irrespective of whether there is a purchase component to the
  Transaction
• Cash-Back transactions may only be performed on a Visa debit Card bearing a Visa Smart Debit
  and Credit (VSDC) Chip
• A Cash-Back Transaction must be sent Online for Authorization
• Fallback Transactions are prohibited
• Cash-Back transactions must be PIN-verified
• A Merchant must not process a credit refund or Credit Transaction Receipt for the Cash- Back
  component of a Transaction

ID#: 050411-060111-0026152



Cash-Back Services Participation Requirement in Australia – AP Region (New)

Effective 16 April 2011, an Issuer in Australia must offer Cash-Back services on its Visa debit Chip
Cards.

Effective 16 April 2011, an Acquirer in Australia must be certified to support Cash- Back
Transactions.

ID#: 050411-060111-0026153




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Cash-Back Service Requirements - CEMEA Region (Updated)

Effective through 30 September 2010, before offering the Cash-Back Service, a CEMEA Member
must:

• Obtain prior approval from Visa
• Comply with Visa Cash-Back Service
• Be certified for the Cash-Back Service

Effective through 30 September 2010, an Acquirer must restrict the provision of Cash-Back to
Merchant Category Codes approved by Visa.

ID#: 050411-010410-0005249



General Cash-Back Service Requirements- U.S. Region

A U.S. Merchant may offer the Visa Cash-Back Service to Visa Check Card II Cardholders if the:

• Service is offered as a part of a purchase Transaction
• Transaction is processed using a Point-of-Transaction Terminal with PIN pad
• PIN is used for Cardholder identification purposes
• Transaction is processed through the Single Message System

ID#: 010410-010410-0005342



Maximum Cash Back - U.S. Region (Updated)

Effective through 30 September 2010, a participating U.S. Merchant may establish its own
maximum cash back amount up to and including $200. The cash back amount must:

• Not exceed $200
• Be less than the total Transaction amount

ID#: 050411-010410-0009034



Cash-Back Transaction Requirements


Cash-Back Transaction Requirements (New)

Effective 1 October 2010, all Cash-Back Transactions must be:

• Authorized online, regardless of the Merchant’s Floor Limit
• Processed in a Face-to-Face Environment only
• Conducted in the Merchant’s local currency



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Effective 1 October 2010, in addition, Cash-Back Transactions must:

• Contain the full contents of track 1 or track 2 of the Magnetic Stripe or unaltered Chip
• Require Cardholder signature or PIN
• Comply with “BASE II Record Requirements” (Exhibit 2L)

ID#: 050411-011010-0026043



Cash-Back Receipt Requirements (Updated)

Effective 1 October 2010, for a Cash-Back Transaction, the Transaction Receipt must include the
amount of the Cash-Back portion of the Transaction as a separate field, as specified in "Face-to-Face
Electronic Purchase or Credit Transaction Receipt Data Requirements Table 7I-1."

ID#: 080411-011010-0026044



Cash-Back Transaction Requirements - CEMEA Region (Updated)

Effective through 30 September 2010, in the CEMEA Region, all Cash-Back Transactions must be:

• Authorized, regardless of the Merchant's Floor Limit
• Processed electronically at the Point-of-Transaction

ID#: 050411-010410-0005245



Cash-Back Receipt Requirements - CEMEA Region (Updated)

Effective through 30 September 2010, in the CEMEA Region, if Cash-Back is performed, the
Transaction Receipt must include the amount of the Cash-Back element of the Transaction as a
separate field.

ID#: 050411-010410-0005246




ATM Transactions

ATM Transaction General Requirements


Visa Global ATM Program Participation

Acquirer participation in the Visa Global ATM Program is optional. A Member has complete discretion
over whether all, some, or none of its ATMs participate in the Visa Global ATM Program.




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Only an ATM owned, leased, or controlled by a Member is eligible for participation in the Visa Global
ATM Program. A Member that sponsors a non-Member agent to deploy or operate an ATM
participating in the Visa Global ATM Program must ensure that the non-Member agent meets all
obligations specified in "Contract Requirements Between Members, VisaNet Processors, and Third
Parties," and that its ATMs comply with the applicable Visa International Operating Regulations.

ID#: 010410-010410-0004783



ATM Acquirer Certification Requirements

Before acting as an ATM Acquirer, an Acquirer must successfully complete certification and comply
with:

• Licensing requirements
• Acquirer participation requirements specified in the Visa Global ATM Member Guide
• Processing requirements specified in the VisaNet manuals

ID#: 010410-010410-0004784



ATM Card Acceptance Requirements (Updated)

A Visa/Plus ATM must accept all valid Cards as specified in the:

• Visa International Operating Regulations
• Visa Global ATM Member Guide

The above requirement does not apply in the in the Canada Region.

At the discretion of Visa, an ATM Acquirer that accepts Cards bearing the Plus Symbol may
selectively deny access to its ATMs.

An ATM Acquirer certified to accept Visa Cards may selectively deny access to its ATMs if the Card
presented is both issued to residents of the country where the ATM is located and billed in the local
currency.

An ATM with restricted access must display language with the Visa Brand Mark that both identifies
the ATM Acquirer and describes Card acceptance or the nature of any restrictions, as specified in the
Visa International Operating Regulations, the Visa Global ATM Member Guide, and the Visa Product
Brand Standards.

ID#: 050411-150210-0004785



ATM Account Number Acceptance

A Visa/Plus ATM and a Member ATM processing system must be able to accept all valid International
Organization for Standardization numbers 11-19 digits in length.

ID#: 010410-010410-0004786




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ATM Transactions Using Single Message System

A new ATM Acquirer (excluding an Acquirer that processes through a VisaNet Processor with an
existing VisaNet endpoint) must process ATM Transactions using the Single Message System.

ID#: 010410-010410-0004789



ATM Acquirer Participation Requirements

An ATM Acquirer (including an Acquirer that processes through a VisaNet Processor with an existing
VisaNet endpoint) must:

• Be certified to participate in either the:
  - Single Message System
  - Custom Payment Services/ATM
• Meet all tier II requirements specified in the Visa Global ATM Member Guide

If an ATM Acquirer does not meet tier II requirements, Visa may remove the ATM Acquirer from the
tier II level.

ID#: 010410-010410-0008597



Magnetic Stripe Requirements for ATM Transactions

An ATM Acquirer must ensure that the entire unaltered contents of track 2 of the Magnetic Stripe or
the Magnetic-Stripe Image from the Chip on the Card is read and transmitted.

ID#: 010410-010410-0004792



ATM Authorization Routing - Cards Bearing the Plus Symbol

If an ATM Acquirer does not route all Transactions to Visa, it must:

• Install and use the Plus account range table within 3 business days of receipt from Visa
• Use the Plus account range table to determine the routing of an Authorization Request for a Card
  bearing the Plus Symbol. This requirement does not apply to licensees of the Plus System, Inc.

ID#: 010410-010410-0006993



Minimum ATM Cash Disbursement Requirements

An ATM must be able to make Cash Disbursements of at least X, or local currency equivalent, per
day, per Account Number.

ID#: 010410-010410-0006470




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ATM Currency Disbursement

An ATM must dispense the local currency or display the type of currency (or cheques) dispensed.

ID#: 010410-010410-0006471



Declined ATM Cash Disbursements

If an ATM has the ability to decline a Cardholder's request for a Cash Disbursement, the ATM
Acquirer may only use this function without Issuer permission.

ID#: 010410-010410-0002403



Transaction Currency (Updated)

The Transaction Currency for an ATM Cash Disbursement must be the:

• Currency dispensed
• Currency in the Authorization Request
• Currency presented into Interchange

A variance to this requirement applies in the U.S. Region and in the jurisdiction of Visa Europe.

The above requirement does not apply to Merchant Sales of Foreign Currency, including Cheques, or
Visa TravelMoney Cards.

ID#: 050411-010410-0004801



ATM Transaction Reversal

For a cancelled ATM Transaction, the Acquirer must process a Reversal. The Reversal amount must
be the original Transaction amount.

ID#: 010410-010410-0002404



Chip-Reading ATM Requirements - CEMEA Region

A CEMEA ATM Acquirer must ensure that all Chip-Reading ATMs support the message "enciphered
PIN verified Online." Chip-Reading ATMs must not support the messages "signature," "offline PIN
verification," or "no CVM required."

ID#: 010410-010410-0004731




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PIN Requirement at ATMs - U.S. Region

In the U.S. Region, for a Visa ATM Network Transaction, a PIN serves as a substitute for the
Cardholder signature and is required for all ATM Transactions. An ATM Acquirer must accept and
transmit PIN verification 4 to 12 alphanumeric characters long, as specified in the Payment
Technology Standards Manual and Transaction Acceptance Device Requirements. The PIN must be
either:

• Reversibly encrypted using the Data Encryption Standard
• Within a Physically Secure Device, as specified in the PIN Management Requirements Documents

ID#: 081010-010210-0003957



ATM Messages - U.S. Region

An ATM in the U.S. Region must be capable of communicating the following information, if applicable:

• Card invalid for this service
• Service unavailable now
• Invalid PIN - Re-enter
• Card retained
• Access fee will be assessed

ID#: 010410-010410-0004777



ATM Transaction Receipts


ATM Transaction Receipt Requirements Table 7I-2 (Updated)

An ATM must offer a Transaction Receipt for each ATM Cash Disbursement or Load Transaction.
Visa may waive this requirement.

The Transaction Receipt must include:

• ATM or Load Device Acquirer name and/or name of affiliated domestic or regional network
• ATM or Load Device Acquirer street location or location code
• ATM or Load Device Acquirer city and country (and state/province, if applicable)
• Transaction amount indicated in Transaction Currency
• Account Number or card number (at least 4 digits of the Account Number or card number must be
  disguised or suppressed)
• Type of account accessed
• Authorization Code
• Transaction type (Cash Disbursement)

ID#: 050411-010410-0005065


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ATM Transaction Receipt Requirements - U.S. Region Table S-3 (Updated)

In the U.S. Region, an ATM Transaction Receipt must include:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder's copy
  of the Transaction Receipt, except for the final 4 digits.
• ATM Acquirer name and/or name of affiliated local or regional network
• ATM street location or Location Code
• ATM city and state
• Transaction amount
• Access Fee, if any, imposed by the ATM Acquirer, as specified in "ATM Access Fee Disclosure on
  Transaction Receipt - U.S. Region 5.5.A."
• Transaction Date
• Transaction type (Cash Disbursement)
• Type of account accessed

ID#: 080411-220311-0026255



ATM Transaction Receipt - Cancellation Request - U.S. Region 5.5.A

In the U.S. Region, if an ATM cannot produce a Transaction Receipt and has a cancellation feature, it
must allow the Cardholder to request cancellation of the Transaction.

ID#: 010410-010410-0004972



ATM Cash Disbursement Transaction Receipt - CEMEA Region

In the CEMEA Region, an ATM that does not routinely produce a Transaction Receipt is not required
to do so.

An ATM that produces a Transaction Receipt is not required to include the complete Account
Number on the Transaction Receipt.

ID#: 010410-010410-0004729



ATM Misdispense


ATM Misdispense Message

For a misdispense, an ATM Acquirer must process an ATM confirmation message for the actual
amount dispensed.

ID#: 010410-010410-0002406




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ATM Misdispense - U.S. Region

For a misdispense, an ATM in the U.S. Region must process an Adjustment within 45 calendar days
of the Central Processing Date of the original Transaction. The Adjustment must:

• Adjust the Cardholder account for the actual amount of the misdispense
• Be processed as specified in the appropriate VisaNet manual

For an over-dispense that is caused by a misloaded terminal, the U.S. Acquirer must not process an
Adjustment to the Cardholder account without prior consent from the Issuer (e.g., through a good faith
collection).

ID#: 010410-010410-0008601



ATM Transaction Restrictions


Chip-Initiated ATM Transaction Requirements (Updated)

If a Chip Card cannot be read, an ATM may complete the Transaction by reading the Magnetic Stripe.
If the Magnetic Stripe cannot be read, the Transaction must not be processed.

If the Acquirer-Country combination exceeds international Fallback Transaction thresholds, the
Member may be subject to penalties as specified in the Visa International Operating Regulations and
the Global Chip Fallback Monitoring Program Guide.

ID#: 050411-010410-0004787



ATM Transaction Timeout Time Limit

Neither an ATM nor its host system may timeout a Transaction in less than 45 seconds.

ID#: 010410-010410-0002405



Scrip Terminal as ATM - U.S. Region

A Scrip Terminal in the U.S. Region must not participate in the Visa ATM Network.

ID#: 010410-010410-0004778




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Quasi-Cash Transactions

Quasi-Cash Transaction General Requirements


Quasi-Cash Transactions as a Purchase (Updated)

Merchants and Members not previously processing Quasi-Cash Transactions as a Cash
Disbursement must:

• Process all Quasi-Cash Transactions as a purchase
• Not process a Quasi-Cash Transaction as a Cash Disbursement

All Quasi-Cash Transactions, except as specified in "Sale of Travelers Cheques and Foreign
Currency," must be:

• Processed as a purchase
• Not processed as a Cash Disbursement

A variance to these requirements applies in the CEMEA Region for Members in South Africa.

ID#: 050411-010410-0002885



Quasi-Cash Transaction Types - U.S. Region

In the U.S. Region, a Quasi-Cash Transaction is a Transaction representing a Merchant's sale of
items that are directly convertible to cash, such as:

• Casino gaming chips
• Money orders
• Deposits
• Wire Transfer Money Orders
• Travelers cheques
                                 62
• Visa TravelMoney Cards

ID#: 081010-150210-0005158



Processing Quasi-Cash Transactions - U.S. Region (Updated)

A U.S. Merchant must process a Quasi-Cash Transaction through VisaNet as a purchase and not as
a Cash Disbursement.

ID#: 080411-010410-0008685




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   Members that previously processed Cash Disbursements to represent the sale of Visa TravelMoney Cards must comply with
this requirement.


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Quasi-Cash Transactions in a Face-to-Face Environment - U.S. Region 3.7.A.1.m

In the U.S. Region, a Quasi-Cash Transaction that occurs in a Face-to-Face Environment must be
authorized using a Magnetic-Stripe and Account-Number-Verifying Terminal. The Merchant must
comply with the following:

• When the embossed or printed Account Number does not match the encoded Account Number:
  - Decline the Transaction and attempt to retain the Card by reasonable and peaceful means
  - Note the physical description of the Cardholder
  - Notify its Acquirer. The Acquirer must then notify the Issuers indicated by both the embossed or
    printed, and encoded Account Numbers of the incident.
  - Handle any recovered Card as specified in the Visa International Operating Regulations
• When the encoded Account Number cannot be read from the Magnetic Stripe, follow normal
  Authorization procedures and complete the approved Transaction using a Manual Imprinter
• When the embossed or printed Account Number is the same as the encoded Account Number,
  follow normal Authorization procedures

ID#: 010410-010410-0005166



Wire Transfer Money Orders (WTMO)


Wire Transfer Money Order Merchant Requirements

A Wire Transfer money order Merchant may disburse checks or money orders. If it does so, the
Merchant must:

• Advise the Cardholder that the Merchant accepting the Card is the wire transfer company, not the
  payee. The check or money order must be payable to the party cashing the check or money order.
• Disclose any fee to the Cardholder and include it on the Transaction Receipt

ID#: 010410-010410-0002887



Third-Party Merchant Prohibition - U.S. Region

A U.S. Wire Transfer Money Order Merchant must not complete a Wire Transfer Money Order
Transaction if the funds are obtained to purchase goods or services and the sale occurs at a third-
party merchant outlet under the terms of an agreement between the Wire Transfer Money Order
Merchant and third-party merchant.

This does not apply to agreements involving a:

• Casino or other gambling establishment
• Check-cashing outlet
• Truck stop offering cash access services

ID#: 010410-010410-0008693




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Wire Transfer Money Order Penalties - U.S. Region

A U.S. Acquirer that processes Wire Transfer Money Order Transactions from a prohibited Merchant
Outlet is subject to the following fines if it continues to process these Transactions after Notification:


Wire Transfer Money Order Fines - U.S. Region

                  Assessment                                               Fine

 4 months after Notification                          US $100 per Merchant Outlet

 5 months after Notification                          US $500 per Merchant Outlet

 Each month thereafter                                US $1,000 per Merchant Outlet


ID#: 010410-010410-0001314



Wire Transfer Money Order Acquirer Responsibilities - U.S. Region

A U.S. Acquirer that has a Merchant Agreement with a Wire Transfer Money Order Merchant must:

• Submit to Visa the following information about each Merchant Outlet:
  - Name and address where the Wire Transfer Money Order is issued
  - Type of business
  - Name and location of the third-party merchant under which wire transfer services are promoted,
    if applicable
  - Termination date of the Merchant Agreement, or date when the Acquirer may cancel without
    penalty
• Notify Visa of any change in the above information or in the status of any Merchant Agreement
  with a Wire Transfer Money Order Merchant
• Create a separate check or money order for each Wire Transfer Money Order Transaction
• Notify any Wire Transfer Money Order Merchant that participates in 3-D Secure that its Electronic
  Commerce Transactions are not eligible for Chargeback protection from:
  - Chargeback Reason Code 75, "Cardholder Does Not Recognize Transaction"
  - Chargeback Reason Code 83, "Fraudulent Transaction-Card-Absent Environment"

ID#: 081010-010410-0005172



Multiple Wire Transfer Money Orders - U.S. Region

A Wire Transfer Money Order Merchant in the U.S. Region must not include more than one Wire
Transfer Money Order Transaction on a single check or money order.

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Wire Transfer Money Order Disclosure Requirements - U.S. Region

In the U.S. Region, a Wire Transfer Money Order Merchant must disclose the following to the
Cardholder:

• Wire Transfer Money Order Merchant name (name of the Merchant accepting the Card)
• That the Visa Transaction is the purchase of a check or money order and any subsequent
  Transaction with the third-party merchant is the same as a transaction made with cash

The disclosure must be either:

• In writing, for a Transaction completed through an electronic terminal, mail order, or service facility,
  before initiating the Transaction
• Verbal, for a telephone order

ID#: 010410-010410-0008646



Wire Transfer Money Order Requirements - U.S. Region

Except as specified below, a Wire Transfer Money Order completed in the U.S. Region must be a
written negotiable instrument that is:

• Signed by the maker or drawer
• Payable on demand
• Payable to order or to bearer

Except as specified below, the money order must contain the following:

• Federal Reserve routing symbol
• Suffix of the institutional identifier of the paying bank or nonbank payor
• Name, city, and state of the paying bank associated with the routing number

If authorized by the Cardholder, the Wire Transfer Money Order Merchant may, in accordance with
applicable law, process the Wire Transfer Money Order electronically without the creation of a written
negotiable instrument. The Merchant must offer the Cardholder the option of obtaining the Wire
Transfer Money Order as a written negotiable instrument, as specified above.

ID#: 081010-090709-0008440



Wire Transfer Money Order Fees - U.S. Region

A Wire Transfer Money Order Merchant in the U.S. Region must:

• Include any service fee in the total Transaction amount
• Disclose the fee to the Cardholder




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The Merchant must not assess a fee for using a Visa Card for payment, unless the Merchant
assesses a fee when another payment method is used.

ID#: 010410-010410-0008691



Wire Transfer Money Order Advertising and Disclosure - U.S. Region

In the U.S. Region, all advertising and marketing materials associated with a money order purchase,
including but not limited to use of the Visa Brand Name, the Visa Flag Symbol, or the Visa Brand
Mark, must:

• Specify that the Transaction involves the purchase of a money order
• Clearly identify the Wire Transfer Money Order Merchant as the Merchant completing the
  Transaction

Unless the Merchant has a valid Merchant Agreement, the Visa Brand Name, the Visa Flag Symbol,
or the Visa Brand Mark must not appear by itself or be positioned in such as way as to imply that
Cardholders may use their Cards to either:

• Pay for goods or services at the Merchant Outlet
• Satisfy an outstanding debt to the Merchant

ID#: 010410-010410-0008687



Sale of Travelers Cheques and Foreign Currency


Sale of Travelers Cheques and Foreign Currency

A Member or a non-Member financial institution with authority to make Cash Disbursements that sells
or disburses cheques or Foreign Currency must process the Transactions as either:

• A Quasi-Cash Transaction that must comply with "Quasi-Cash Transaction General Requirements"
• A Cash Disbursement that must comply with "Manual Cash Disbursement Requirements" and
  "Quasi-Cash Transaction General Requirements"

ID#: 010410-010410-0008694



Travelers Cheques or Foreign Currency Fees - U.S. Region

With the exception of taxes or other charges imposed by local law, a U.S. Acquirer must not add to
the Transaction amount any surcharge, commission, or fee for the sale of cheques or Foreign
Currency.

ID#: 010410-010410-0002986




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Original Credit Transactions

Original Credit Transaction Processing Requirements


Original Credit Transaction Posting (Updated)

A Recipient Member must post an Original Credit to the Visa Account Number within 2 business days
of receiving the Clearing Transaction or it must charge back the Original Credit to the Originating
Member.

Effective 9 December 2010, for an Original Credit Transaction sent to a Cardholder’s Visa credit
Card account, the Recipient Member must post the funds as payment. (This requirement does not
apply to Members in Visa Europe).

ID#: 050411-010410-0004064



Original Credit


Transaction Clearing Time Limit (Updated)

An Originating Member must submit an Original Credit for Clearing within one business day of
receiving the approval response to the Original Credit Authorization Request, unless a Reversal is
sent.

ID#: 050411-010410-0005576



Original Credit - Reversal Time Limits (Updated)

Effective through 8 December 2010, an Originating Member must process an Original Credit
Reversal within 24 hours of initiating a pre-Settlement message or a Single Message System
Transaction. An Original Credit Reversal is valid only for processing errors or if the consumer did not
complete the Transaction.

Effective through 8 December 2010, a Reversal of a BASE II Original Credit must be processed
within one business day of the Central Processing Date of the Original Credit and only for the
following reasons:

• Incorrect Account Number
• Incorrect Transaction amount
• Duplicate processing
• Incorrect Transaction code

ID#: 050411-010410-0008909




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Original Credit Transaction Reversals (New)

Effective 9 December 2010, an Originating Member must not reverse an Original Credit Transaction
initiated as an Online Financial Transaction (0200 message).

For an Original Credit Transaction initiated as a BASE I Authorization Request (0100 message), the
Originating Member may process a reversal within 24 hours of initiating the Transaction. The reversal
is valid only for processing errors or if the consumer did not complete the Transaction.

A Reversal of a BASE II Original Credit Transaction must be processed within one business day of
the Processing Date of the Original Credit Transaction and only for the following reasons:

• Incorrect Account Number
• Incorrect Transaction amount
• Duplicate processing
• Incorrect Transaction code

ID#: 050411-010100-0026074



Online Gambling Merchant Requirements


Online Gambling Merchant Compliance Program (Updated)

Effective through 9 September 2010, an Online Gambling Merchant is placed in the Online
Gambling Credit Compliance Program if it processes more than 25 Transaction Receipts and more
than 25 Credit Transaction Receipts monthly.

Effective through 9 September 2010, an Online Gambling Merchant that meets or exceeds a 5%
ratio of Credit Transaction Receipts to Transaction Receipts in any month is deemed to be processing
gambling winnings as Credit Transaction Receipts. An Acquirer of a non-compliant Online Gambling
Merchant in the Online Gambling Credit Compliance Program is subject to the penalties specified in
the "Penalties for Merchant Violations of the Online Gambling Credit Compliance Program" table.

Visa may modify the Online Gambling Credit Compliance Program performance thresholds as it
deems appropriate.

ID#: 080411-150210-0008699



Online Gambling Credit Compliance Program Penalties (Updated)

Effective through 9 September 2010, an Acquirer is subject to the penalties specified in the table
below for an Online Gambling Merchant in the Online Gambling Credit Compliance Program, as
specified in "Online Gambling Merchant Compliance Program."




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These penalties exclude Merchants participating in the Cardholder Funds Transfer pilot program.


Effective through 9 September 2010, Penalties for Merchant
Violations of the Online Gambling Credit Compliance Program

                         Violation                                         Visa Action or Fine

 Uncorrected violation up to 3 months in a 12-month      US $50 per credit over the 5% threshold
 9eriod

 Uncorrected violation 4 or more months in a             Visa may permanently disqualify the Merchant from
 12-month period                                         participation in the Visa Program

 One or more non-compliant Merchants identified for      Visa may prohibit the Acquirer from contracting with a
 4 or more months in a 12-month period                   new Online Gambling Merchant for a period of one year
                                                         or more


ID#: 050411-150210-0001284




Money Transfer Original Credit Transactions

Money Transfer Original Credit Transaction Processing Requirements


Money Transfer Original Credit Transaction Posting (Updated)

Effective 9 December 2010, except as specified otherwise in “Money Transfer Original Credit
Transaction Posting – Fast Funds,” a Recipient Member must post a Money Transfer Original Credit
Transaction to the Visa Account Number within 2 business days of receiving either the Online
Financial Transaction or the Clearing Record or it must charge back the Money Transfer Original
Credit to the Originating Member.

ID#: 080411-091210-0026243



Money Transfer Original Credit Transaction Posting - Fast Funds (Updated)

Effective 9 December 2010, a Recipient Member that participates in Fast Funds processing for
incoming Money Transfer Original Credit Transactions as specified in “Money Transfer Original Credit
Transactions - Fast Funds Processing” must make funds available to the Visa Cardholder within 30
minutes of successfully receiving and approving a Money Transfer Original Credit Transaction.

ID#: 080411-010100-0026244




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Money Transfer Transaction Reversal - U.S. Region (Updated)

Effective 15 February 2010 through 8 December 2010, a U.S. Originating Member may process a
Clearing Reversal of a Money Transfer Original Credit Transaction only for processing errors,
including, but not limited to:

• Incorrect Account Number
• Incorrect amount
• Incorrect Transaction Date
• Duplicate processing

Effective 15 February 2010 through 8 December 2010, a U.S. Originating Member must process
the Reversal within 24 hours of initiating a Single Message System Transaction.

ID#: 050411-091210-0025768



Money Transfer Original Credit Transaction Reversal (New)

Effective 9 December 2010, an Originating Member must not reverse a Money Transfer Original
Credit Transaction initiated as an enhanced Online Financial Transaction (0200 message) as
specified in the Visa Money Transfer (VMT) Global Implementation Guide.

ID#: 050411-091210-0026245



Money Transfer Original Credit Transaction Posting to Credit Card Account (New)

Effective 9 December 2010, for a Money Transfer Original Credit Transaction sent to a Cardholder’s
Visa credit Card account, the Recipient Member must post the funds as a payment.

ID#: 050411-091210-0026246



Money Transfer Original Credit Transaction Authorization Request (New)

Effective 9 December 2010, an Originating Member must not initiate an Authorization Request (0100
message) for a Money Transfer Original Credit Transaction.

ID#: 050411-091210-0026247




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Money Transfer Original Credit Compliance with Payment Card Industry Data Security
Standards (Updated)

An Originating Member must comply with the Payment Card Industry Data Security Standard (PCI
DSS) when sending and managing sender data for a Money Transfer Original Credit Transaction.

The Originating Member must ensure that procedures are in place to validate sender data and
comply with applicable anti-money laundering regulations and anti-terrorist financing standards.
Proper disclosure must be given to the sender regarding the collection of sender data.

ID#: 080411-010410-0005328



Money Transfer Original Credit Transaction Sender Name and Address (Updated)

For an International Money Transfer Original Credit Transaction, the Originating Member must
include the sender's name and primary address in the Online Financial Transaction (0200 message)
and the Clearing Record, as specified in:

• "BASE II Record Requirements" (Exhibit 2L)
• "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A)

Effective 9 December 2010, prior to initiating an international Money Transfer Original Credit
Transaction to the countries specified in the Visa Money Transfer (VMT) Global Implementation
Guide, the Originating Member must submit the sender’s name and address to VisaNet for screening
against a regulatory watch list(s). The score returned to the Originating Member as a result of
screening must be included by the Originating Member in the Money Transfer Original Credit
Transaction message sent to the Recipient Member.

ID#: 080411-010410-0005579



Money Transfer Original Credit Transaction - Unique Sender Identification (Updated)

For all Money Transfer Original Credit Transactions, the Originating Member must include in the
Online Financial Transaction (0200 message) and the Clearing Record, either the sender's account
number used to fund the Money Transfer Original Credit Transaction, or a transaction reference
number that uniquely identifies the sender if the sender's account number is not available.

The Originating Member must ensure that the sender data in both the Online Financial Transaction
(0200 message) and Clearing Record is identical.

ID#: 050411-010410-0008743




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Money Transfer Original Credit Merchant Category Codes - U.S. Region (Updated)

Effective 15 February 2010 through 8 December 2010, a Money Transfer Original Credit
Transaction must originate at a Merchant or Member properly assigned one of the following Merchant
Category Codes:

• Wire Transfer Money Orders (4829)
• Financial Institutions-Merchandise and Services (6012)

ID#: 050411-150210-0025681



Money Transfer Original Credit Merchant Category Codes (New)

Effective 9 December 2010, a Money Transfer Original Credit Transaction must originate at a
Merchant or Member properly assigned one of the following Merchant Category Codes:

• Wire Transfer Money Orders (4829)
• Financial Institutions—Merchandise and Services (6012)

ID#: 050411-091210-0026248




Mobile Commerce Transactions - AP Region

Mobile Commerce Transactions in India - AP Region


mChek Platform - Issuer Requirements (Updated)

An Issuer in India participating in the mChek Platform:

• May issue mobile payment Visa accounts on any domestic BIN for credit, debit, or Visa Prepaid
  Cards
• Must not issue a physical plastic Card if it chooses to use a unique BIN for its mobile payment Visa
  accounts
• Must block the BIN for Mail/Phone Order Transactions if it chooses to use a unique BIN for its
  mobile payment Visa accounts

ID#: 080411-060111-0026137



mChek Platform - Acquirer Requirements (New)

An Acquirer in India participating in the mChek Platform must use a unique BIN to acquire mobile
commerce Transactions.

ID#: 050411-060111-0026138




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Account Funding Transactions

Account Funding Transaction Processing Requirements


Account Funding Transaction Requirements

An Account Funding Transaction must:

• Be processed through VisaNet as a purchase Transaction
• If authorized, include the Account Funding Transaction indicator in the Authorization and Clearing
  Records
• Be cleared for the same amount approved in the Authorization

ID#: 010410-010410-0002890



Account Funding Transaction Requirements - U.S. Region

An Account Funding Transaction originating in the U.S. Region must:

• Be processed as a purchase Transaction
• Include the transmission of the Electronic Commerce Transaction indicator, as specified in
  "VisaNet Clearing Message Content Standards" (Exhibit NN) and "Required Data for Authorization
  Requests and Responses" (Exhibit OO)
• Include the transmission of the Account Funding Transaction indicator, as specified in the
  appropriate VisaNet manual

ID#: 010410-010410-0005191




Aggregated Transactions

Aggregated Transaction Requirements


Aggregated Transaction Processing Requirements

Only an Electronic Commerce Merchant may process an Aggregated Transaction. An Aggregated
Transaction must consist only of purchases made:

• From a single Electronic Commerce Merchant, including a Sponsored Merchant, with a single
  trading name
• Using the same Visa Account Number

ID#: 010410-010410-0002905




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Aggregated Transaction Receipt Data (Updated)

Upon completion of a purchase, the Electronic Commerce Merchant must provide an Electronic
Commerce Transaction Receipt with the information specified in "Electronic Commerce Transaction
Receipt Requirements 5.2.B.4 Table 7K-1" and an Aggregated Transaction Receipt that includes the
following for each individual purchase:

• Date
• Amount
• Description of purchase

ID#: 080411-010410-0002903



Aggregated Transactions - Purchase Data Availability

Individual purchase information and Aggregated Transaction information must be available to a
Cardholder for a minimum of 120 days following the processing date of the Aggregated Transaction.

ID#: 010410-010410-0002904



Aggregated Transaction Restrictions

An Aggregated Transaction must not:

• Include purchases made more than 7 calendar days apart
• Exceed US $25, or local currency equivalent, in total aggregated purchases
• Be aggregated across more than one Visa Account Number

ID#: 010410-010410-0002906



Aggregated Transaction Cardholder Notification

Before a Cardholder's first purchase, an Electronic Commerce Merchant must inform the Cardholder
of the following:

• Confirmation that Transaction aggregation will occur
• Transaction aggregation terms, including the maximum number of calendar days and Transaction
  value
• How to obtain details of the aggregated purchases

ID#: 010410-010410-0002907




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Aggregated Transactions - Prohibited Merchants - U.S. Region 5.2.K

A U.S. Merchant assigned one of the Merchant Category Codes in the High-Risk Chargeback
Monitoring Program must not aggregate Transactions.

ID#: 010410-010410-0005651



Aggregated Transaction Merchant Requirements - U.S. Region 5.2.K (Updated)

An Electronic Commerce Merchant in the U.S. Region, including an Internet Payment Service
Provider, that aggregates Transactions must:

• Obtain an Authorization of no more than US $15 at the start of each aggregation session
• Complete the aggregation session within 3 calendar days
• Aggregate Transactions from a single Merchant Outlet in each aggregation session
• Support Partial Authorization
• Submit a Sales Draft for the actual purchase amount
• At the check-out screen, inform the Cardholder of the following:
  - That Transactions are aggregated
  - The terms of aggregation, including the maximum number of calendar days, aggregated
    Transaction value, and that the Issuer may hold available funds up to US $15 for 3 calendar
    days
  - How details of Aggregated Transactions can be obtained
• Provide a Transaction Receipt, via e-mail, that captures the details of individual purchases during
  the aggregation session, as follows:
  - Goods or services purchased
  - Amount and date of each individual purchase
  - Total Transaction amount charged
  - Transaction Date (for Aggregated Transactions, the Transaction Date is the date the Merchant
    submits the Sales Draft to its Acquirer)
• If requested, provide Cardholder purchase history for 120 calendar days after purchase

In the U.S. Region, for an Aggregated Transaction, the aggregated purchases must be from a single
merchant brand of the direct seller to the Cardholder.

ID#: 050411-010410-0005652




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Deferred Payments - U.S. Region

Deferred Payment Transactions


Account Number Verification for Deferred Payment - U.S. Region

A U.S. Merchant may use Account Number Verification for a Deferred Payment Transaction at the
time an order is placed.

ID#: 081010-010709-0007205



Authorization and Cardholder Notification - U.S. Region

A U.S. Merchant must:

• Request Authorization for a Deferred Payment Transaction on the date the Cardholder is billed,
  which must be no later than 90 days from the initial shipment date
• Include disclosure of the deferred payment process, including the exact date of the billing, with the
  initial shipment to the Cardholder

ID#: 010410-010410-0008737



Billing Date as Transaction Date - U.S. Region

In the U.S. Region, the billing date is considered to be the Transaction Date.

ID#: 010410-010410-0008736




Acquirer Performance Standards - U.S. Region

Retrieval Performance Rates - U.S. Region


Retrieval Request Rate Acquirer Standards - U.S. Region

A U.S. Acquirer must not exceed the monthly Retrieval Request rate specified in the table below. The
Retrieval Request rate is the number of Transaction Receipts received as a percentage of all
Transactions processed by the Acquirer in the specific Merchant category.




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Acquirer Monthly Retrieval Request Rate Standards - U.S. Region

                   Merchant Category                                         All Visa Cards

 Airline                                                                          0.25%

 Lodging/Cruise Line                                                              0.15%

 Car Rental                                                                       0.25%

 Department Store                                                                 0.25%

 Mass Merchandiser                                                                0.15%

 Gas and Convenience Store                                                        0.25%

 Direct Marketing Catalog Merchant                                                0.07%

 Direct Marketing Combination Catalog and Retail                                  0.06%
 Merchant

 Direct Marketing Outbound Telemarketing Merchant                                 0.40%

 Direct Marketing Inbound Teleservices Merchant                                   0.20%

 Direct Marketing Continuity/Subscription Merchant                                0.15%

 Direct Marketing Insurance Services Merchant                                     0.05%

 All Merchants (including those listed above)                                     0.17%


ID#: 010410-010410-0006436



Chargeback Performance Rates - U.S. Region


Chargeback Rate Acquirer Standards - U.S. Region

A U.S. Acquirer must not exceed the Chargeback rate for the respective Card program, as specified
in the table below. The Chargeback rate is the number of Chargebacks received as a percentage of
all Transaction Receipts processed.




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Acquirer Chargeback Rate Standards - U.S. Region
                                       Merchant Category All Visa Cards

                    Merchant Category                                         All Visa Cards

                     Chargeback Rate

 All Merchants                                                                     0.17%

 Department Store                                                                  0.10%

 Mass Merchandiser                                                                 0.07%

 Gas and Convenience Store                                                         0.13%

 Direct Marketing Catalog Merchant                                                 0.22%

 Direct Marketing Combination Catalog and Retail Merchant                          0.18%

 Direct Marketing Outbound Telemarketing Merchant                                  0.90%

 Direct Marketing Inbound Teleservices Merchant                                    0.80%

 Direct Marketing Continuity/Subscription Merchant                                 0.75%

 Direct Marketing Insurance Services Merchant                                      0.25%


ID#: 010410-010410-0006439




In-Transit

In-Transit Service - General Requirements


Operational Plan for In-Transit Service Merchants

Before entering into a Merchant Agreement with an In-Transit Service Merchant, an Acquirer must:

• Submit a detailed written operational plan to Visa. At a minimum, the operational plan must meet
  the requirements in the "In-Transit Business Plan - Basic Checklist," available upon request from
  Visa
• Receive Visa approval for each Merchant providing In-Transit Services




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In addition to the Unattended Acceptance Terminal requirements specified in the Visa International
Operating Regulations, the operational plan for the In-Transit Service Merchant must include:

• Type of service provided
• Type of In-Transit Terminal used
• Process for obtaining Authorization
• Criteria and processes intended for risk management

ID#: 010410-010410-0008745



In-Transit Service Gambling Merchant Agreement

An Acquirer entering into a Merchant Agreement with an In-Transit Service Gambling Merchant must
ensure that:

• Interchange Reimbursement Fees received from each Issuer as a result of a credit processed for
  Cardholder winnings are identified daily
• A funds disbursement is processed daily to each Issuer (using reason code 0240) for twice the
  amount of the Interchange Reimbursement Fee received from the Issuer of the original Account
  Number on the original Transaction
• The descriptor used in the funds disbursement is "In-Transit Gambling Reimbursement"

ID#: 010410-010410-0002471



In-Transit Terminal Display and Cardholder Options

An In-Transit Terminal must display the following information on the introductory screen:

• Merchant name
• Merchant location
• Terms and conditions, such as:
  - Refund policy
  - Return policy
  - Cancellation policy

Before initiating a Transaction, the In-Transit Terminal must allow the Cardholder to either accept the
terms and conditions or cancel the Transaction.

ID#: 010410-010410-0008747




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In-Transit Terminal Transaction Receipt for Gambling (Updated)

Upon completion of gambling activities, an itemized Transaction Receipt must be generated by an In-
Transit Terminal or from an on-board central printer and provided to the Cardholder. In addition to the
data elements in "Face-to-Face Electronic Purchase or Credit Transaction Receipt Data
Requirements Table 7I-1," the Transaction Receipt must contain the:

• Terminal number
• Date of play
• Net amount of winnings or losses per session
• Account Number with all but the last 4 digits disguised or suppressed

ID#: 080411-010410-0002475



In-Transit Merchant Description

The Acquirer must include in the Clearing Record a Merchant description containing at least:

• Merchant's primary place of business or country of incorporation in the Merchant country field
• Merchant's customer service telephone number and country in the Merchant city field
• Word "In-Transit" following the Merchant name in the Merchant name field

ID#: 010410-010410-0002960



In-Transit Transaction Receipt Delivery to Cardholder

An In-Transit Service Merchant must provide the Cardholder with a completed Transaction Receipt
either while in transit or through the mail.

If sent by mail, the Cardholder name and address must be captured by the In-Transit Terminal and
included on the Transaction Receipt.

ID#: 010410-010410-0008739



In-Transit Service - Authorization Requirements


In-Transit Service Transaction - Authorization Time Limit

An Authorization Request for an In-Transit Service Transaction may occur while in transit or at the
final destination, and must be within 24 hours of the Transaction Date. If Authorization data is stored
for processing until arrival at the final destination, it must be encrypted and kept in a secure location
with access limited to authorized personnel only.

ID#: 010410-010410-0002961




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In-Transit Service Transaction - Authorization Requirements

An Authorization Request for an In-Transit Service Transaction must not be key-entered. The
Authorization Request must include the:

• Full, unaltered contents of the Magnetic Stripe or Magnetic-Stripe Image on the Chip
• Merchant Category Code most appropriate for the Transaction type

ID#: 010410-010410-0002962



In-Transit Service Transaction - Authorization for Movies and Games

An In-Transit Service Transaction Authorization Request for services such as in-transit movies or
video games may be for an hourly rate, unit rate, or accumulated amount.

ID#: 010410-010410-0002963



In-Transit Service Transaction - Authorization for Catalog and Direct Marketing

An In-Transit Service Transaction Authorization Request for catalog or direct marketing purchases
must be for the total amount of all purchases made by a single Cardholder in a single Transaction.
Fees for shipping and handling may be included in the Authorization amount, provided they are
disclosed to the Cardholder at the time of the Transaction. Merchandise must be shipped within 7
calendar days of the Authorization date.

ID#: 010410-010410-0002964



Multiple In-Transit Service Transactions

Multiple In-Transit Service Transactions are permitted if authorized and cleared individually.
Authorization Requests occurring at an In-Transit Terminal representing multiple Merchants must be
processed separately by each Merchant.

ID#: 010410-010410-0002965



In-Transit Service - Processing Requirements


Transaction Currency for In-Transit Service Transaction

An In-Transit Service Transaction must be cleared in the amount and Transaction Currency agreed
by the Cardholder and Merchant. If a Transaction Currency is not specified on the Transaction
Receipt, it will default to the currency of the Transaction Country.

ID#: 010410-010410-0002959




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Transaction Date for In-Transit Service Transaction

The Transaction Date for an In-Transit Service Transaction is either the:

• Date the transport vehicle reaches its final destination
• Date merchandise is shipped

ID#: 010410-010410-0002966




General T&E

General T&E Requirements


Hotels and Cruise Lines - T&E Services

If requested, an Acquirer must provide its Hotel or Cruise Line with any of the Visa Hotel and Cruise
Line services. A Hotel or Cruise Line must hold a valid contract with an Acquirer for each Visa Hotel
and Cruise Line service in which it participates, either as part of the Merchant Agreement or as a
separate contract.

ID#: 010410-010410-0007009



T&E Merchant Agreement - U.S. Region

In the U.S. Region, a T&E Merchant must hold a valid contract with an Acquirer for each T&E Service
in which it participates, either as part of the Merchant Agreement or as an addendum.

If requested, an Acquirer must provide its T&E Merchant with any of the T&E Services. A T&E
Merchant may participate in any of the following T&E Services:

• Visa Reservation Service
• T&E Advance Deposit Service
• Priority Check-out Service

ID#: 010410-010410-0008757




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T&E Delayed or Amended Charges


Delayed or Amended Charges - Acceptable Charges 5.2.M.4 (Updated)

A delayed or amended charge may include room, food, or beverage charges, taxes, mileage charges,
fuel, insurance, rental fees, and parking tickets and other traffic violations, and must not include
charges for loss, theft, or damage.

This provision does not apply to Transactions involving Issuers or Acquirers in the jurisdiction of Visa
Europe. For those Transactions, see "Delayed or Amended Charges for Visa Europe – General
Requirements" and "Delayed or Amended Charges for Visa Europe - Car Rental."

ID#: 050411-171009-0003628



T&E Delayed or Amended Charges Time Limit

A delayed or amended charge for a T&E service must be processed to the Cardholder's account
within 90 calendar days of the Transaction Date of the related T&E Transaction.

T&E services may include:

• Room
• Taxes
• Fuel
• Insurance
• Rental fees
• Parking tickets and other traffic violations
• Goods and services purchased aboard a Cruise Line
• Damage to rental vehicles as specified in "Delayed or Amended Charges for Visa Europe -
  General Requirements"

ID#: 010410-010410-0008791



Delayed or Amended Charges for Visa Europe - General Requirements (Updated)

The following provisions apply to Transactions occurring between the jurisdictions of Visa Europe and
Visa Inc.

A Merchant may process delayed or amended charges if the Cardholder has consented to be liable
for delayed or amended charges for a Hotel, Car Rental Company, or Cruise Line Transaction.

A delayed or amended charge must be processed to the Cardholder's account within 90 calendar
days of the Transaction Date of the related Transaction.

This may include room, food, or beverage charges, taxes, fuel, insurance, rental fees, damage to
rental vehicles, parking tickets and other traffic violations, and goods and services purchased aboard
a Cruise Line.

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If the charge is for a parking ticket or traffic violation, the:

• Incident must have occurred while the Cardholder was in possession of the vehicle
• Merchant must support the charge with documentation from the appropriate civil authority,
  including the license number of the rental vehicle, date, time, and location of the violation, statute
  violated, and amount of the penalty in local currency

The Merchant may deposit the Transaction Receipt without a Cardholder signature if the Merchant
has the Cardholder signature on file and:

• Includes the words "Signature on File" on the signature line
• Sends a copy to the Cardholder at the address shown on the rental contract or folio

ID#: 050411-171009-0007398




Airline Merchants

International Airline Merchant Requirements


International Airline Eligible Participants

An International Airline may participate in the International Airline program.

An Acquirer must meet the capitalization and reserve requirements of Visa. These requirements
cover any estimated exposure for Chargebacks, including liability for airline tickets purchased but not
redeemed by Cardholders.

ID#: 010410-010410-0005281



International Airline Business Plan

Before entering into a Merchant Agreement with an International Airline, an Acquirer must obtain
approval of its business plan from Visa. Visa will review the business plan within 30 calendar days of
receipt.

The business plan must include:

• All countries in which Merchant Outlets are to be located, demonstrated knowledge of key
  information on each country (for example, domestic Interchange Reimbursement Fee and business
  and legal restrictions), and a plan for Authorization support in each country
• All currencies in which the International Airline intends to complete Transactions and verification
  that the Member is able to process multi-currency Deposits and Interchange
• A plan for Chargeback support




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• The Acquirer's proposed method of satisfying Retrieval Requests
• Information to satisfy the Acquirer risk criteria

An Acquirer must not sign an International Airline Merchant Outlet that is in a country not previously
specified in the business plan unless it first notifies Visa in writing.

ID#: 010410-010410-0006089



International Airline - Merchant Agreement Requirements - U.S. Region

An International Airline Merchant Agreement must contain, at a minimum, the following elements, in
addition to those specified for all U.S. Merchants in the Merchant Agreement requirements of the Visa
International Operating Regulations:

• Merchant procedures for International Airline Program Transactions, as specified in the Visa
  International Operating Regulations
• Acquirer's responsibilities to the Merchant for Chargeback resolution support. This support must
  include:
  - Written information on Chargeback rights and procedures
  - Merchant Chargeback procedures, including a list of Chargeback Reason Codes, Merchant
    recourse options, and a local contact for inquiries
• A list of countries from which the Acquirer will accept Transactions, including the Authorization
  support procedures and processes for each country
• A requirement that the Acquirer and the Merchant notify Visa if Authorization problems arise for
  any countries covered by the Merchant Agreement

ID#: 010410-010410-0008948




Car Rental Merchants

Delayed or Amended Charges


Delayed or Amended Charges Processing Time Limit VIOR 5.3.B, USOR 5.2.M.4
(Updated)

A delayed or amended charge must be processed to the Cardholder's account within 90 calendar
days of the Transaction Date of the related Transaction.

This provision does not apply to Transactions involving Issuers or Acquirers in the jurisdiction of Visa
Europe. For those Transactions, see "Delayed or Amended Charges for Visa Europe – General
Requirements" and "Delayed or Amended Charges for Visa Europe - Car Rental."

ID#: 050411-171009-0004133




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Parking Tickets 5.3.B

For a parking ticket or traffic violation, a T&E Merchant must provide documentation from the
appropriate civil authority, including the license number of the rental vehicle, time and location of the
violation, statute violated, and amount of the penalty in local currency.

ID#: 010410-010410-0003085



Delayed or Amended Charges - Parking Ticket or Traffic Violation VIOR 5.3.B, USOR
5.2.M.4 (Updated)

If the delayed or amended charge is for a parking ticket or traffic violation, the:

• Incident must have occurred while the Cardholder was in possession of the vehicle
• Merchant must support the charge with documentation from the appropriate civil authority,
  including the license number of the rental vehicle, date, time, and location of the violation, statute
  violated, and amount of the penalty

This provision does not apply to Transactions involving Issuers or Acquirers in the jurisdiction of Visa
Europe. For those Transactions, see "Delayed or Amended Charges for Visa Europe - General
Requirements" and "Delayed or Amended Charges for Visa Europe - Car Rental."

ID#: 050411-171009-0003629



Delayed or Amended Charges - Signature on File VIOR 5.3.B, USOR 5.2.M.4 (Updated)

A Car Rental Merchant may deposit the a Transaction Receipt for a delayed or amended charge
without a Cardholder signature if the Merchant has the Cardholder signature on file and:

• Includes the words "Signature on File" on the signature line
• Sends a copy to the Cardholder at the address shown on the rental contract or folio

This provision does not apply to Transactions involving Issuers or Acquirers in the jurisdiction of Visa
Europe. For those Transactions, see "Delayed or Amended Charges for Visa Europe - General
Requirements" and "Delayed or Amended Charges for Visa Europe - Car Rental."

ID#: 050411-171009-0003354



Delayed or Amended Charges for Visa Europe - Car Rental VIOR 5.3.B (Updated)

The following provisions apply to Transactions occurring between the jurisdictions of Visa Europe and
Visa Inc.

The Car Rental Company must:

• Ensure that the Cardholder is advised at the time of making the reservation that a confirmation
  receipt is available during the hours of operation of the outlet on return of the rented vehicle. This
  confirmation receipt confirms the mutually agreed condition of the rented car upon return.
• Provide the Cardholder with written confirmation of the Cardholder decision of whether or not to
  request a confirmation receipt as part of the reservation confirmation


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• Provide the Cardholder with written confirmation of the visible damage status of the rented car
  upon return. If there is no visible damage, this must be clearly stated on the written confirmation
  and the Car Rental Company must not process a delayed or amended charge Transaction for any
  visible damage to the rented car.

If the Cardholder returns the car using an express drop-off facility, the written confirmation receipt
must be sent to the Cardholder within 5 business days of the return date of the rented car.

The Car Rental Company should advise the Cardholder to retain the confirmation receipt in case of a
dispute.

When a Car Rental Company initiates a delayed or amended charge Transaction for charges relating
to damage to a rental vehicle, the Merchant must provide the Acquirer with all of the following:

• A copy of the rental agreement
• An estimate of the cost of the damage from an organization that can legally provide repairs
• The relevant civil authority's accident report (if applicable)
• Documentation showing that the Cardholder has given prior consent that a delayed or amended
  charge Transaction may be processed using that Cardholder's Card to cover damages to a rental
  vehicle. Such consent must be evidenced by either the:
  - Cardholder's signature on the same page as, and close to, the description of the charges that
    may be covered by the delayed or amended charge Transaction
  - Cardholder's signature on the agreement and the Cardholder's initials on each page of the
    agreement, where the Cardholder's signature is not set out on the same page as the description
    of the charges which may be covered by the delayed or amended charge Transaction
• Any other documentation demonstrating that Cardholder's liability for the damage
• A copy of the insurance policy of the Car Rental Company, if that Car Rental Company requires
  that the Cardholder pay an insurance deductible for damages
• A copy of the car rental agreement showing that the Cardholder consents to be responsible for the
  insurance deductible

For rental car damages, the Merchant must provide documentation showing the Cardholder's consent
to pay for damages with their Visa Card.

For delayed or amended charge Transactions relating to damages, the Car Rental Company must
provide a written confirmation, within 10 business days of the return date of the rented car, containing
the:

• Details of the damage
• Cost of the damage
• Currency in which the cost of the damage will be charged to the Cardholder

For delayed or amended charge Transactions relating to damages where the Car Rental Company
has written to the Cardholder, the Cardholder may, at no cost to the Car Rental Company, provide
written confirmation of an alternative estimate for the cost of the damage within 10 business days of
receipt of original written confirmation detailing the cost of the damage from the Car Rental Company.

The Car Rental Company and the Cardholder may come to an agreement on the cost of the damage
before processing the delayed or amended charge Transaction. If agreement is not reached between
the Car Rental Company and the Cardholder for the cost of the damage, and if the Car Rental


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Company processes the delayed or amended charge Transaction, the Cardholder retains the right to
dispute the delayed or amended charge Transaction.

The Car Rental Company must wait 20 business days from the date of the confirmation receipt
provided to the Cardholder before processing a delayed or amended Transaction for damages.

Other delayed or amended charge Transactions, as specified in the Visa International Operating
Regulations, may still apply.

ID#: 050411-171009-0004141



Car Rental Advance Deposit


Car Rental Advance Deposit Service - U.S. Region

In the U.S. Region, a Car Rental Company may participate in the T&E Advance Deposit Service. The
Merchant must follow all applicable requirements for the Advance Deposit Service and must:

• Accept all Visa Cards in its category of acceptance for an advance deposit if the Cardholder
  agrees to the service
• Hold a valid T&E Advance Deposit Service contract with an Acquirer, either as part of the
  Merchant Agreement or as a separate contract

ID#: 010410-010410-0002755



Car Rental Advance Deposit Information Requirements - U.S. Region

In the U.S. Region, a participating Car Rental Company must obtain from the Cardholder for a T&E
Advance Deposit Transaction:

• Cardholder name, Account Number, and expiration date as displayed on the Visa Card
• Telephone number and mailing address
• Scheduled date of rental
• Intended length of rental

ID#: 010410-010410-0002756



Car Rental Advance Deposit Amount - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
determine the Advance Deposit Transaction amount, not to exceed the cost of the intended term of
rental, which must not exceed 14 days.

The deposit amount must be applied to the total obligation.

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Car Rental Advance Deposit Reservation Information - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
inform the Cardholder of the:

• Car rental rate
• Car Rental Company name
• Number of days the vehicle will be held

ID#: 010410-010410-0002759



Car Rental Advance Deposit Confirmation Code - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
provide:

• A confirmation code, advising the Cardholder to retain it
• Advance deposit amount and cancellation policy requirements

ID#: 010410-010410-0002760



Disclosure of Car Rental Deposit Forfeiture - U.S. Region

In the U.S. Region, a Car Rental Company participating in the T&E Advance Deposit Service must
advise the Cardholder that it will retain the entire T&E Advance Deposit Transaction amount or the
amount specified in the Merchant's stated policy, if the Cardholder has not either:

• Rented the vehicle by the end of the last day of the rental period used to determine the amount of
  the Transaction
• Cancelled the reservation within the specified time frames

ID#: 010410-010410-0009013



Car Rental Advance Deposit Transaction Receipts - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
complete a Transaction Receipt with the following information:

• Advance deposit amount
• Cardholder name, Account Number, and expiration date
• Cardholder telephone number and mailing address
• The words "Advance Deposit" on the Transaction Receipt signature line
• Confirmation code
• Scheduled vehicle rental date
• Date and time that cancellation privileges (if any) expire without deposit forfeiture




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The Merchant must mail a Transaction Receipt copy and cancellation policy for the T&E Advance
Deposit Transaction to the address indicated by the Cardholder within 3 business days from the
Transaction Date.

ID#: 031209-150210-0009024



T&E Advance Deposit Service Cancellation Period - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
accept all Cardholder cancellations within the time limits specified by the Merchant.

The Merchant must provide a cancellation code and advise the Cardholder to retain it in case of
dispute.

ID#: 010410-010410-0009010



Car Rental Advance Deposit Credit Receipt - U.S. Region

A U.S. Car Rental Merchant participating in the T&E Advance Deposit Service that accepts a
cancellation must complete a Credit Transaction Receipt, including the following information:

• The entire T&E Advance Deposit Transaction amount
• Cardholder mailing address
• Cancellation code
• Words "Advance Deposit" on the Transaction Receipt signature line

The Merchant must:

• Deposit the Credit Transaction Receipt within 5 calendar days of the Transaction Date
• Mail the Cardholder's copy to the Cardholder within 3 calendar days of the Transaction Date of the
  Credit Transaction Receipt

ID#: 010410-010410-0002771



Advance Deposit Service - Unavailable Vehicle - U.S. Region 5.4.R

If a vehicle reserved under the T&E Advance Deposit Service is unavailable, a U.S. Car Rental
Merchant must provide the following services to the Cardholder without charge:

• Credit Transaction Receipt to refund the entire Advance Deposit Transaction amount
• At least a comparable vehicle for the number of days specified in the reservation, not to exceed 14
  days, or until the reserved vehicle becomes available, whichever comes first

ID#: 010410-010410-0002778




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Visa Reservation Service for Car Rentals - U.S. Region


Unavailable Specialized Vehicle - U.S. Region VIOR 5.4.X

A Car Rental Company in the U.S. Region may participate in a service to guarantee Peak Time
reservations or reservations for Specialized Vehicles, as specified in the U.S. Regional Operating
Regulations.

ID#: 010410-010410-0008958



Car Rental Reservation Merchant Agreement Requirements - U.S. Region VIOR 5.4.X

A U.S. Acquirer must incorporate the applicable Visa Reservation Service requirements into all
Merchant Agreements for Car Rental Companies participating in the Visa Reservation Service.

ID#: 010410-010410-0002689



Car Rental Reservation Card Acceptance - U.S. Region 5.4.Q

In the U.S. Region, a Car Rental Company participating in the Visa Reservation Service must accept
all Visa Cards in its category of acceptance for reservations.

ID#: 010410-010410-0002671



Car Rental Reservation Billing Information - U.S. Region VIOR 5.4.X, USOR 5.4.Q

For a Specialized Vehicle or Peak Time reservation in the U.S. Region, a Car Rental company must
obtain the Cardholder name, Account Number, and expiration date as displayed on the Visa Card or
Visa Electron Card.

ID#: 010410-010410-0008949



Car Rental Peak-Time Reservation - Cardholder Disclosure Requirements - U.S.
Region 5.4.Q

If a Cardholder reserves a vehicle in the U.S. Region during Peak Time, the Car Rental Company
must inform the Cardholder that the reservation:

• Is within a Peak Time period and explain the meaning of Peak Time
• May be cancelled without penalty any time up to 8 hours before the scheduled rental time

ID#: 010410-010410-0002672




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Car Rental Peak Time Reservation - Cancelled Flight - U.S. Region 5.4.Q

In the U.S. Region, if a Cardholder is traveling to a car rental location by Airline and the flight is
cancelled or the airport is closed, the Cardholder may cancel the Peak Time reservation without
penalty up to one hour before the scheduled rental time.

ID#: 010410-010410-0002673



Car Rental Peak Time Reservation - No-Show Fee Disclosure - U.S. Region 5.4.Q

In the U.S. Region, a Car Rental Company must advise the Cardholder that a "no-show" fee for Peak
Time reservations may be billed if the Cardholder has neither:

• Rented the vehicle by the end of the guarantee period
• Properly cancelled the reservation

The "no-show" fee must not exceed one day's rental plus applicable taxes.

ID#: 010410-010410-0002674



Specialized Vehicle Guaranteed Rental Period - U.S. Region VIOR 5.4.X, USOR 5.4.Q

In the U.S. Region, if a Cardholder reserves a Specialized Vehicle, the Car Rental Company must
inform the Cardholder that the reservation:

• Will be held until the scheduled pick-up time, unless cancelled
• May be cancelled without penalty up to 72 hours before the scheduled rental time
• If the reservation is made within 72 hours of the scheduled rental time, may be cancelled without
  penalty up to 8 hours before the scheduled rental time.

ID#: 010410-010410-0008960



Specialized Vehicle Reservation No-Show Disclosure Requirements - U.S. Region
VIOR 5.4.X, USOR 5.4.Q

A Car Rental Company in the U.S. Region must advise the Cardholder that a "no-show" fee for a
Specialized Vehicle reservation may be billed if the Cardholder has neither:

• Rented the Specialized Vehicle by the end of the guarantee period
• Properly cancelled the reservation

The "no show" fee must not exceed 2 days' rental.

ID#: 010410-010410-0008963




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Car Rental Reservation Confirmation - U.S. Region VIOR 5.4.X, USOR 5.4.Q

In the U.S. Region, for a reservation made with at least 72 hours' notice, a Car Rental Company must
send the Cardholder a written confirmation containing:

• Cardholder name, Account Number, and expiration date as displayed on the Visa Card or Visa
  Electron Card
• Name and exact street address of the Merchant Outlet
• Confirmation code
• Rate
• Cardholder obligations
• Cancellation and any other service details

For reservations made with less than 72 hours' notice, the Car Rental Company must mail a
confirmation only on Cardholder request.

ID#: 010410-010410-0008950



Car Rental Cancellation Requests - U.S. Region VIOR 5.4.X, USOR 5.4.Q

A U.S. Car Rental company must:

• Accept a reservation cancellation request if made by the specified time
• Provide a cancellation code and advise the Cardholder to retain it in case of dispute

ID#: 010410-010410-0008951



Specialized Vehicle Reservation Cancellation Period - U.S. Region VIOR 5.4.X

A Car Rental Company in the U.S. Region must not require more than 72 hours' reservation
cancellation notification before the scheduled rental date of a Specialized Vehicle.

If the Cardholder makes the reservation within 72 hours of the scheduled rental date, the cancellation
deadline must be 12 hours before the scheduled rental time on the scheduled pick-up date.

ID#: 010410-010410-0008961



Car Rental Cancellation Written Confirmation - U.S. Region VIOR 5.4.X, USOR 5.4.Q

In the U.S. Region, if requested, a Car Rental company must provide the Cardholder with a written
reservation confirmation that contains the following information:

• Cardholder name, Account Number, and Card expiration date as displayed on the Visa Card
• Cancellation code
• Cancellation details

ID#: 010410-010410-0008954



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Car Rental No-Show Requirements - U.S. Region VIOR 5.4.X, USOR 5.4.Q

A U.S. Car Rental Company must hold a Specialized Vehicle according to the reservation if the
Cardholder has not claimed or properly canceled the reservation by the specified time.

The Car Rental Company may then prepare a Transaction Receipt with the following information:

• No-Show Transaction fee plus tax, as applicable. The amount of the No-Show Transaction must
  not exceed the value of:
  - 2 days' rental, including tax, for a Specialized Vehicle reservation
  - One day's rental, including tax, for a Peak Time reservation
• Cardholder name, Account Number, and expiration date as displayed on the Card
• The words "No-Show" on the signature line of the Transaction Receipt

ID#: 010410-010410-0008955



Car Rental Reservation Authorization and Deposit Procedures - U.S. Region VIOR
5.4.X

In the U.S. Region, a Car Rental Company participating in the Visa Reservation Service must follow
normal Authorization and Deposit requirements for a Car Rental Company, as specified in "T&E
Authorizations" and "T&E Delayed or Amended Charges."

ID#: 010410-010410-0002703



Peak Time Reservation Vehicle Unavailable - U.S. Region 5.4.Q

In the U.S. Region, if a vehicle guaranteed as a Peak Time reservation is unavailable, the Car Rental
Company must provide the Cardholder with a comparable vehicle no later than one hour from the
scheduled rental time.

If a comparable vehicle cannot be provided within one hour, the Car Rental Company must provide
the following services at no charge to the Cardholder:

• Transportation to the Cardholder's destination
• Delivery of a comparable vehicle to the Cardholder's destination within 8 hours from the scheduled
  rental time
• Transportation, vehicle delivery, and one day's car rental

ID#: 010410-010410-0008959




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Unavailable Specialized Vehicle - U.S. Region VIOR 5.4.X, USOR 5.4.Q

If a reserved Specialized Vehicle is unavailable, a Car Rental Company in the U.S. Region must
provide the following services at no charge to the Cardholder:

• Comparable vehicle at another car rental establishment for the reservation period
• Transportation to the alternate car rental establishment.

ID#: 010410-010410-0008962




Hotels and Cruise Lines

Hotel and Cruise Line General Requirements


Cruise Line On-Board Casinos

On-board gambling charges, such as the purchase of gaming chips, must be distinct from other
cruise charges. They must be:

• Authorized
• Processed with:
  - MCC 7995, "Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and
    Wagers at Race Tracks"
  - The Quasi-Cash/Online Gambling Transaction indicator

ID#: 010410-010410-0002705



Hotel or Cruise Line Cash Disbursement

A Hotel or Cruise Line may make Cash Disbursements on a Visa Card to a registered Cardholder if
all of the following conditions apply:

• The Cardholder indicates at registration the intent to pay for the Hotel's services with a Visa Card
• Before disbursement, the Merchant reviews positive identification (such as a passport or driver's
  license) and, if permitted under applicable law, records type and number on the Transaction
  Receipt
• The Merchant completes a Cash Disbursement Transaction Receipt and writes on the front of the
  Transaction Receipt the Cardholder's positive identification and the 4 digits printed below the
  Account Number on the Card
• The Merchant does not disburse more than US $250, or local currency equivalent, during the
  Cardholder's stay or voyage
• The Merchant does not include any additional fees, excluding taxes or charges imposed by law, to
  the Transaction amount

ID#: 010410-010410-0002801



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Hotel Guaranteed Reservations


Required Participation in the Hotel Reservation Service

A Hotel or its third-party booking agent must participate in the Hotel Reservation Service (known in
the U.S. Region as the Visa Reservation Service) if it accepts Visa Cards to guarantee Hotel
reservations.

An Acquirer must incorporate the Hotel Reservation Service requirements into all Merchant
Agreements.

In the U.S. Region, an Acquirer must incorporate these requirements into either: (This only applies in
the U.S. Region.)

• All Merchant Agreements (This only applies in the U.S. Region.)
• Separate contract for each of its T&E Merchants that guarantees reservations (This only applies in
  the U.S. Region.)

ID#: 010410-010410-0008681



Hotel Reservation Billing Information

A Hotel or its third-party booking agent must obtain the Cardholder name, Account Number, and Card
expiration date displayed on the Card for each reservation.

ID#: 010410-010410-0006087



Hotel Reservation Exact Name and Location

A Hotel or its third-party booking agent accepting a reservation must quote the reserved
accommodation rate and the exact name and physical address of the establishment.

ID#: 010410-010410-0006086



Hotel Reservation Amount of No Show

A Hotel or its third-party booking agent must inform the Cardholder that one night's lodging will be
billed if the Cardholder has not either:

• Registered by check-out time the day following the scheduled arrival date
• Properly canceled the reservation

ID#: 010410-010410-0006085




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Hotel Reservation Confirmation Code 5.4.R

A Hotel or its third-party booking agent must provide a reservation confirmation code and advise the
Cardholder to retain it in case of dispute.

ID#: 010410-010410-0002731



Hotel Reservation Information

A Hotel or its third-party booking agent must provide to the Cardholder reservation information and, if
requested, a written confirmation with the following information:

• Cardholder name, Account Number, and Card expiration date
• Confirmation code
• Exact physical address of the establishment
• Hotel Reservation Service provisions relating to the Cardholder's obligations
• Any other reservation details

ID#: 010410-010410-0006084



Hotel Reservation Cancellations

A Hotel or its third-party booking agent must accept all reservation cancellations before the specified
notification time.

The Hotel or its third-party booking agent must not require cancellation notification more than 72
hours before the scheduled arrival date.

If a Cardholder makes the reservation within 72 hours of the scheduled arrival date, the cancellation
deadline must be no earlier than 6:00 p.m. Merchant Outlet time on the arrival date or date
guaranteed.

If the Hotel or its third-party booking agent requires that a Cardholder cancel before 6:00 p.m.
Merchant Outlet time on the date guaranteed, the Hotel or its third-party booking agent must mail the
cancellation policy, including the date and time that cancellation privileges expire, to the Cardholder.

ID#: 010410-010410-0008688



Hotel Reservation Cancellation Code

A Hotel or its third-party booking agent must provide a reservation cancellation code (if the
reservation is properly cancelled) and advise the Cardholder to retain it in case of dispute.

ID#: 010410-010410-0006079




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Hotel Reservation Mail Confirmation

If requested by the Cardholder, a Hotel or its third-party booking agent must mail a confirmation of
cancellation. The confirmation must include the following:

• Cardholder name, Account Number, and Card expiration date
• Cancellation code
• Any other cancellation details

ID#: 010410-010410-0006080



Hotel Reservation Room Hold

If a Cardholder has not claimed or cancelled the Hotel Reservation Service accommodations by the
specified time, the Hotel or its third-party booking agent must hold the reserved rooms available until
check-out time the following day.

The Hotel or its third-party booking agent may then complete a Transaction Receipt that must
contain:

• Amount of one night's lodging plus applicable tax
• Cardholder name, Account Number, and Card expiration date
• The words "No-Show" on the signature line of the Transaction Receipt

ID#: 010410-010410-0008703



Hotel Reservation Unavailable Accommodations

If the accommodations guaranteed by the Hotel Reservation Service are unavailable, the Hotel must
provide the Cardholder with the following services at no charge:

• Comparable accommodations for one night at another establishment
• If requested, a 3-minute telephone call and message forwarding to the alternate establishment
• Transportation to the alternate establishment

ID#: 010410-010410-0006076



Hotel Reservation Service Card Acceptance - U.S. Region 5.4.P

In the U.S. Region, a Lodging Merchant participating in the Visa Reservation Service must accept all
Visa Cards in its category of acceptance for reservations.

ID#: 010410-010410-0002781




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Advance Deposit Service


Advance Deposit Service - General Requirements VIOR 5.4.S, USOR 5.4.R

A Hotel or Cruise Line participating in the Advance Deposit Service must:

• Accept all Visa Cards or Visa Electron Cards for an advance deposit if the Cardholder agrees to
  the service
• Hold a valid Advance Deposit Service contract with an Acquirer

In the U.S. Region, the participating Merchant must accept all Visa Cards in its category of
acceptance. (This only applies in the U.S. Region.)

ID#: 031209-150210-0002706



Advance Deposit Service - Deposit Information Requirements VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must obtain from the Cardholder:

• Cardholder name, Account Number, and expiration date as displayed on the Visa Card or Visa
  Electron Card
• Telephone number and mailing address
• Scheduled date of arrival for a Hotel, or embarkation for a Cruise Line
• Intended length of stay or voyage

ID#: 010410-010410-0002707



Advance Deposit Transaction Amount VIOR 5.4.S, USOR 5.4.R.2

A Merchant participating in the Advance Deposit Service must determine the Advance Deposit
Transaction amount, not to exceed the following:

• For lodging accommodations, the cost of the intended length of stay (not to exceed 14 nights)
• Cost of the cruise

The deposit amount must be applied to the total obligation.

ID#: 010410-010410-0008970



Advance Deposit Service - Reservation Information VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must inform the Cardholder of the following,
as applicable:

• Reserved accommodation rate and the Transaction amount
• Exact Merchant name and location
• Name of the cruise ship and point of embarkation


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• Merchant's intention to hold the accommodation for the number of nights paid for
• Merchant cancellation policy

ID#: 010410-010410-0002710



Advance Deposit Service - Deposit Information Code and Other Requirements VIOR
5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must provide:

• A confirmation code, and advise the Cardholder to retain it
• Advance deposit requirements, cancellation policy requirements, and the actual date and time that
  the cancellation privileges expire

The Merchant must advise the Cardholder that it will:

• Hold the accommodations according to the reservation
• Provide written confirmation of a Cardholder reservation change if requested

ID#: 010410-010410-0008971



Advance Deposit Service - Disclosure of Deposit Forfeiture VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must advise the Cardholder that it will retain
the entire Advance Deposit Transaction amount or the amount specified in the Merchant's stated
policy if the Cardholder has not:

• Registered by check-out time the day following the specified last night of lodging for a Hotel (the
  Cardholder will lose the unused amount of the reservation)
• Checked in by embarkation time for a Cruise Line
• Canceled the reservation within the time limit specified by the Merchant

Under the Advance Deposit Service, a Merchant must not charge the Cardholder for a No-Show
Transaction.

ID#: 010410-010410-0009016



Advance Deposit Service - Transaction Receipt Completion and Delivery VIOR 5.4.S,
USOR 5.4.R

A Merchant participating in the Advance Deposit Service must complete a Transaction Receipt with
the following information:

• Advance deposit amount
• Cardholder name and Account Number
• Cardholder telephone number and mailing address
• The words "Advance Deposit" on the Transaction Receipt signature line


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• Confirmation code
• Scheduled check-in or embarkation date
• Date and time that cancellation privileges (if any) expire without deposit forfeiture for unused
  accommodations

The Merchant must mail the Transaction Receipt copy and cancellation policy to the Cardholder
within 3 business days of the Transaction Date.

ID#: 010410-010410-0009025



Advance Deposit Service Cancellation Requirements VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must accept all Cardholder cancellations
within the time limits specified the by the Merchant.

The Merchant must provide a cancellation code and advise the Cardholder to retain it in case of
dispute.

ID#: 010410-010410-0009009



Advance Deposit Service - Credit Transaction Receipt VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must complete a Credit Transaction Receipt,
including all of the following:

• Transaction amount
• Cardholder name, Account Number, and expiration date as displayed on the Visa Card or Visa
  Electron Card
• Cardholder mailing address
• Cancellation code
• The words "Advance Deposit" on the Transaction Receipt signature line

ID#: 010410-010410-0002719



Refund Requirements

Within 3 business days of the Transaction Date on the Credit Transaction Receipt, a Merchant
participating in the Advance Deposit Service must:

• Deposit the Credit Transaction Receipt
• Mail the Cardholder's copy to the Cardholder




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In the U.S. Region, the Merchant must: (This only applies in the U.S. Region.)

• Deposit the Credit Transaction Receipt within 5 calendar days of the Transaction Date (This only
  applies in the U.S. Region.)
• Mail the Cardholder's copy to the Cardholder within 3 calendar days of the Transaction Date of the
  Credit Transaction Receipt (This only applies in the U.S. Region.)

ID#: 010410-010410-0008720



Unavailable Hotel Accommodations 5.4.S.9

If Hotel accommodations reserved under the Advance Deposit Service are unavailable, the Merchant
must provide the Cardholder with the following services without charge:

• Credit refund for the entire Transaction amount. The Merchant must provide the Credit Transaction
  Receipt copy to the Cardholder.
• Comparable accommodations at an alternate establishment for the number of nights specified in
  the reservation (not to exceed 14 nights) or until the reserved accommodations become available
  at the original establishment
• If requested, 2 3-minute telephone calls and message forwarding to the alternate establishment
• Transportation to the alternate establishment's location and return to the original establishment. If
  requested, the Merchant must provide daily transportation to and from the alternate establishment.

ID#: 010410-010410-0008721



Unavailable Cruise Accommodations 5.4.S.10

If Cruise Line accommodations reserved under the Advance Deposit Service are unavailable, and no
comparable accommodations are available on the ship, the Merchant must offer the Cardholder a
comparable cruise of similar itinerary and embarkation date at no additional cost to the Cardholder.

If the Cardholder accepts the alternate accommodations, the Merchant must provide either of the
following services without charge:

• An additional night's accommodation
• Airfare to a different port city

If the Cardholder declines the alternate accommodations, the Merchant must provide a credit refund
for the entire Advance Deposit Transaction amount. The Merchant must provide a copy of the Credit
Transaction Receipt to the Cardholder.




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In addition, the Merchant must provide the Cardholder all of the following without charge:

• One night's Hotel accommodation, if the Cardholder requests it
• Transportation to the Hotel and airport
• Airline transportation to the airport nearest the Cardholder's residence
• Reasonable out-of-pocket expenses incurred by the Cardholder

ID#: 010410-010410-0008722



Priority Check-Out Service


General Requirements for Priority Check-Out

A Hotel or Cruise Line participating in the Priority Check-out Service must:

• Hold a valid Priority Check-out Service contract with an Acquirer
• Accept all Cards when a Cardholder requests the Priority Check-out Service
• Comply with all the requirements in "Dynamic Currency Conversion Priority Check-out and
  Express Return Requirements" if it offers Dynamic Currency Conversion

ID#: 010410-010410-0008735



Transaction Receipt and Priority Check-Out Agreement Completion (Updated)

A Merchant participating in the Priority Check-out Service must:

• Ask the Cardholder to complete, sign, and return a Priority Check-out Agreement that must contain
  the information specified in "Manual Transaction Receipt - Data Requirements VIOR Table 7J-1
  USOR Table S-7" and "Manual Transaction Receipt - Hotels Table 7J-2." The Cardholder must
  include the mailing address to receive a copy of the Hotel bill.
• Complete a Transaction Receipt, including the total obligation amount and the words "Priority
  Check-out" on the signature line of the Transaction Receipt
• Review the completed Priority Check-out Agreement and ensure that the Account Number
  matches the Account Number on the Transaction Receipt, if applicable

ID#: 080411-010410-0002798



Priority Check-Out Service - Transaction Receipt Delivery

At Cardholder request, a Merchant participating in the Priority Check-out Service must provide a
Transaction Receipt copy, the itemized bill, and the signed Priority Check-out Agreement in one of
the following ways:

• Onsite
• By e-mail
• By mail within 3 business days of the Cardholder's departure


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In the U.S. Region, a Lodging Merchant or Cruise Line merchant must mail the Transaction Receipt
copy, the itemized bill and, if requested, the signed Priority Check-out Agreement to the Cardholder
within 3 business days of the Cardholder's departure. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008731



Priority Check-Out Service Document Retention

A Merchant participating in the Priority Check-out Service must retain the itemized bill and signed
Priority Check-out Agreement for a minimum of 6 months after the Transaction Date.

ID#: 010410-010410-0002800



Central Reservation Service


Physical Inspections of Central Reservation Service Premises - U.S. Region

A U.S. Acquirer must conduct a physical inspection of the Central Reservation Service business
premises and a review of:

• Solicitation or sales materials
• Operating procedures for Lodging Merchants to be serviced

ID#: 010410-010410-0003397



Central Reservation Service - Acquirer Requirement - U.S. Region

A U.S. Acquirer must maintain a file on a Central Reservation Service that:

• Includes all applicable documentation
• Is retained for a minimum of 2 years following discontinuance of the relationship, with reasons for
  discontinuance

ID#: 010410-010410-0003226



Merchant Agreement for Central Reservation Service - U.S. Region

For a Central Reservation Service Merchant to participate in the Advance Deposit Service, a U.S.
Acquirer must have a Merchant Agreement with the Central Reservation Service that includes the
provisions for the Advance Deposit Service.

ID#: 010410-010410-0008732




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Central Reservation Service Requirements - U.S. Region

In the U.S. Region, a Central Reservation Service must:

• Have a written contract with the lodging establishment, executed by an officer or manager of the
  hotel
• Accept full responsibility for resolving Cardholder problems related to the Advance Deposit Service

ID#: 010410-010410-0002753



Central Reservation Service Agents - U.S. Region

In the U.S. Region, a Central Reservation Service must not use an agent to perform services on its
behalf.

ID#: 010410-010410-0002754




Timeshare Merchants

General Timeshare Merchant Requirements


Timeshare Merchant Category Code

An Acquirer must assign Merchant Category Code 7012, "Timeshares," to a Timeshare Merchant that
operates sales, rentals, or other uses not including full-service lodging (i.e., maid and room service).

The Acquirer must submit the assigned Merchant Category Code for a Timeshare Merchant either:

• With each Authorization Request
• Through BASE II

ID#: 010410-010410-0008741



Timeshare Merchants - Special Credit Refund Requirements (Updated)

A Timeshare Merchant must provide a full credit refund when the:

• Transaction Receipt was processed
• Cardholder canceled the Transaction within 14 calendar days of the Transaction Date

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Real-Time Clearing - U.S. Region

Automated Fuel Dispensers Real-Time Clearing - U.S. Region
Automated Fuel Dispenser Real-Time Clearing Transaction Processing Requirements - U.S.
Region (Updated)

In the U.S. Region, a Real-Time Clearing Transaction must properly identify the preauthorization time
limit in Field 63.2 of the Authorization message, as specified in the appropriate VisaNet manual.

Any applicable Interchange Reimbursement Fee may apply to a Real-Time Clearing Transaction.

ID#: 090411-010410-0007391




Gambling

Online Gambling


Online Gambling Merchant Requirements

An Acquirer must ensure that:

• An Online Gambling Merchant has a valid license or other appropriate authority to operate its
  Website under the local law of its Country of Domicile
• A Transaction completed by an Online Gambling Merchant is identified with:
  - Merchant Category Code 7995, "Betting," even when gambling services are not the Merchant's
    primary business
  - The Quasi-Cash/Online Gambling Transaction indicator in the Authorization and Clearing
    messages
• An Online Gambling Merchant Website complies with the Website requirements specified in
  "Online Gambling - Special Website Requirements"
• The appropriate payment acceptance provisions are included in its Merchant Agreement or as a
  separate addendum

ID#: 010410-010410-0002474



Online Gambling Identifiers

In addition to the requirements specified in "Electronic Commerce Indicator Requirements," a
Transaction completed by a Member, Merchant, Online Gambling Merchant, Internet Payment
Service Provider (IPSP), or Sponsored Merchant that processes Online Gambling Transactions must
be identified with:

• Merchant Category Code 7995, "Betting," even when gambling services are not the Merchant's
  primary business



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• The Quasi-Cash/Online Gambling Transaction indicator in the Authorization Request and Clearing
  Record

If a Member, Merchant, IPSP, or Sponsored Merchant is unable to distinguish an Online Gambling
Transaction from other Transactions, it must:

• Identify all Transactions as Online Gambling Transactions
• Inform the Cardholder that Transactions may be identified on the billing statement as gambling
  Transactions

ID#: 010410-010410-0005919



Online Gambling Funds Transfer

If a funds transfer to an individual is to be used for an Online Gambling Transaction, an Acquirer
must:

• Identify the Transaction as an Online Gambling Transaction
• Ensure that adequate processes are in place that will identify and eliminate abuse by an individual
  or Online Gambling Merchant that attempts to circumvent proper Transaction identification

If Visa determines that an individual is facilitating Online Gambling Transactions through funds
transfers, Visa may impose these requirements on the funds transfer Merchant for any future funds
transfers to that individual.

ID#: 010410-010410-0002955



Online Gambling - Special Website Requirements

In addition to the Website requirements specified in "Website Requirements" and "Electronic
Commerce Merchant Refund Policy Disclosure," a Website for an Online Gambling Merchant must
contain:

• The statement "Internet Gambling may be illegal in the jurisdiction in which you are located; if so,
  you are not authorized to use your payment card to complete this transaction."
• A statement of the Cardholder's responsibility to know the laws concerning online gambling in their
  country of domicile
• A statement prohibiting the participation of minors
• A complete description of the:
  - Rules of play
  - Cancellation policies
  - Pay-out policies
• A statement recommending that the Cardholder retain a copy of transaction records and Merchant
  policies and rules
• An Acquirer numeric identifier, as specified in the Visa Acquirer Risk Management Guide

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Online Gambling Merchant Registration - LAC Region

Before an LAC Acquirer signs an Online Gambling Merchant, it must comply with all of the applicable
requirements for the monitoring of High-Risk Merchants specified in the Visa International Operating
Regulations.

ID#: 010410-010410-0005299



Online Gambling Merchant Registration Fees - LAC Region

To cover additional monitoring expenses, a registration fee for LAC Online Gambling Merchants is
required, as described in the Visa LAC Fee Guide or applicable local fee guide.

ID#: 081010-010410-0005301



Online Gambling Merchant Registration Fines and Penalties - LAC Region

An LAC Acquirer that fails to comply with the registration and fee requirements for Online Gambling
Merchants will be subject to a fine for each violation.

ID#: 010410-010410-0008756



Gambling Credits


Transactions Representing Gambling Winnings

A gambling Merchant may disburse winnings as an Original Credit if:

• The Original Credit is processed to the same Account Number that was used to place the winning
  wager
• The Transaction representing the winning wager was lawfully made, properly identified, and
  processed according to the Visa International Operating Regulations

ID#: 010410-010410-0002958



Original Credit - Gambling Credits

An Online Gambling Merchant must not deposit a credit Transaction to disburse winnings to
Cardholders, except for an Original Credit, as specified in "Transactions Representing Gambling
Winnings."

ID#: 010410-010410-0002956




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In-Transit Gambling


In-Transit Service Gambling Merchant Operational Plan

In addition to the Unattended Acceptance Terminal requirements and In-Transit Service Merchant
requirements specified in the Visa International Operating Regulations, the operational plan for an In-
Transit Service Gambling Merchant must include the following information:

• Rules of play
• Odds of winning
• Pay-out ratios

ID#: 010410-010410-0002472



In-Transit Service Gambling Merchant - Independent Legal Source

An Acquirer must provide Visa with documentation from an independent legal source that:

• Specifies the type of gambling provided by its In-Transit Service Gambling Merchant
• Certifies the Merchant is not in violation of local or national laws regarding in-transit gambling

ID#: 010410-010410-0002473



In-Transit Gambling - BIN Blocked

An Acquirer must ensure that its In-Transit Service Gambling Merchant has the ability to prevent the
In-Transit Terminal from accepting a service request on any BIN blocked by an Issuer.

In addition to the rules specified in "In-Transit," an In-Transit Terminal providing gambling services
must:

• Verify that the BIN has not been blocked by the Issuer
• Display the following information on the introductory screen:
  - Rules of play
  - Odds of winning
  - Pay-out ratios

ID#: 010410-010410-0006091



In-Transit Gambling - Transaction Processing

An In-Transit Service Transaction involving gambling must be processed as a Quasi-Cash
Transaction.

ID#: 010410-010410-0002952




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In-Transit Gambling - Pay-Out Ratio

In-Transit Service gambling minimum pay-out ratios must be established within the In-Transit Service
gambling Merchant's Visa Region.

ID#: 010410-010410-0002945



In-Transit Gambling - Winnings/Losses

An In-Transit Service Terminal providing gambling service must not permit either:

• Losses exceeding US $350, or local currency equivalent, per excursion
• Winnings exceeding US $3,500, or local currency equivalent, per excursion

ID#: 010410-010410-0002946



In-Transit Gambling - Single Trip

During a single trip on the same craft, a Cardholder may wager up to the total Transaction amount
permitted.

ID#: 010410-010410-0002947



In-Transit Gambling - Authorization Request

An Authorization Request at an In-Transit Terminal providing gambling services must be for the total
amount agreed to by the Cardholder.

An Authorization Request processed upon arrival at the final destination, as specified in "Transaction
Date for In-Transit Service Transaction," must not be more than the total amount of the loss.

ID#: 010410-010410-0006090



In-Transit Gambling - Authorization Reversals

If losses are less than the amount authorized, an Authorization Reversal must be submitted for the
difference.

ID#: 010410-010410-0002950



In-Transit Gambling - Cardholder Credit

Gambling winnings that are due to a Cardholder must be processed as a credit to the Account
Number used in the initial Transaction. Gambling winnings must not be dispensed in the form of
cash, check, or other payment method.

ID#: 010410-010410-0002951




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Debt Repayment Program - U.S. Region

Debt Repayment Program


Qualification for Debt Repayment Program - U.S. Region

In the U.S. Region, a Visa Debit Card Transaction may qualify as a Visa Debt Repayment Program
Transaction if it meets the requirements specified in:

• "Merchant Requirements for Debt Repayment Program - U.S. Region"
• Visa Debt Repayment Program Guide

A Visa Debt Repayment Program Transaction may qualify for the Debt Repayment Program
Interchange Reimbursement Fee.

ID#: 010410-010410-0005198



Merchant Requirements for Debt Repayment Program - U.S. Region

For a U.S. Merchant to be eligible for the Debt Repayment Program, the Acquirer must ensure that
the Merchant:

• Participates in Limited Acceptance of Visa Consumer Debit Card products as a means of payment
  in all channels where payments are accepted (i.e., Card-Absent Environments and Card-Present
  Environments, as applicable). A Merchant may accept all Visa Cards for any of its other lines of
  businesses that do not participate in the Debt Repayment Program.
• Is properly assigned Merchant Category Code (MCC) 6012, "Financial Institutions - Merchandise
  and Services," or MCC 6051, "Non-Financial Institutions - Foreign Currency, Money Orders (not
  Wire Transfer), Travelers Cheques"
• Submits the debt repayment indicator for all Debt Repayment Program Transactions
• Ensures that the opportunity to pay with a Visa Consumer Debit Card is at least as prominently
  featured as all other accepted payment methods
• Only processes Visa Debt Repayment Program Transactions for an existing debt that has not been
  deemed uncollectible and is an approved debt type, as defined in the Visa Debt Repayment
  Program Guide
• Complies with all requirements in the Visa Debt Repayment Program Guide

ID#: 031209-150210-0005202



Merchants Not Participating in Debt Repayment Program - U.S. Region

A U.S. Merchant not participating in the Debt Repayment Program may accept Visa Debit Category
Cards for payments on existing debt, provided that it complies with all applicable U.S. Regional
Operating Regulations and is registered as a limited acceptor.

ID#: 010410-010410-0005201




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Visa Right to Terminate Participation in Debt Repayment Program - U.S. Region

In the U.S. Region, Visa may at any time:

• Disqualify a Debt Repayment Program Merchant from participation
• Modify or discontinue the Visa Debt Repayment Program

ID#: 010410-010410-0005199




Tax and Other Government Payments

Tax and Other Government Payments - AP Region


Government Payments in Australia - AP Region (Updated)

In Australia, a government Merchant with one of the following Merchant Category Codes may collect
the Transaction amount separately from the surcharge amount, if the government Merchant requires
this form of payment model. A government Merchant that does not require this model must include
the surcharge amount with the Transaction amount and not collect it separately.

• 9211, “Court Costs including Alimony and Child Support”
• 9222, “Fines”
• 9223, “Bail and Bond Payments”
• 9311, “Tax Payments”
• 9399, “Government Services-not elsewhere classified”
• 9405, “Intra Government Transactions”

A government Merchant may use a third party payment service provider to deposit Transaction
Receipts that result from a Transaction between a Cardholder and that government Merchant.

ID#: 090411-060111-0026163



Tax Payment Program Requirements - U.S. Region


Tax Payment Program Eligibility - U.S. Region

In the U.S. Region, the Visa Tax Payment Program allows a Tax Payment Program Merchant to
process Visa Card Transactions for the payment of certain eligible federal, state, and local taxes.

ID#: 010410-010410-0003043




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Tax Payment Program Acquirer Requirements - U.S. Region

To participate in the U.S. Region Tax Payment Program, an Acquirer must register the Tax Payment
Program Merchant and be provided with a Merchant Verification Value, as specified in the Visa Tax
Payment Program Guide.

ID#: 010410-010410-0003044



Tax Payment Program Merchant Category Code Requirements - U.S. Region

In the U.S. Region, a Tax Payment Program Transaction must originate from a Tax Payment
Program Merchant using Merchant Category Code 9311, "Tax Payments."

ID#: 010410-010410-0003045



Tax Payment Program Data Requirements - U.S. Region

In the U.S. Region, an Acquirer participating in the Tax Payment Program must provide the Merchant
Verification Value, as specified in the VisaNet manuals.

ID#: 010410-010410-0003046



Tax Payment Program - Category Limitations - U.S. Region

In the U.S. Region, tax payments must be limited to the following categories:

• Federal and State personal and small business income taxes
• Real estate/property taxes

ID#: 010410-010410-0003047



Tax Payment Program Transaction Environments - U.S. Region

In the U.S. Region, a Tax Payment Program Transaction may be processed in either a Card-Present
Environment or a Card-Absent Environment.

ID#: 010410-010410-0003048



Tax Payment Program - Visa Rights - U.S. Region

In the U.S. Region, Visa may at any time:

• Disqualify a Tax Payment Program Merchant from participation
• Modify or discontinue the Tax Payment Program

ID#: 010410-010410-0003049




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Tax Payment Program Fee Requirements - U.S. Region


Tax Payment Program Merchant Convenience Fee Requirements - U.S. Region 5.2.E

In the U.S. Region, a Tax Payment Program Merchant may charge a Convenience Fee for
processing a Tax Payment Transaction if the Convenience Fee:

• Is a fixed or flat amount regardless of the value of the tax payment
• Charged for a Visa Transaction is not greater than any fixed or flat fee charged for a transaction
  with any other payment card
• Is clearly disclosed before the completion of the Transaction and the Cardholder is given the
  opportunity to cancel

ID#: 010410-010410-0003053



Tax Payment Program Convenience Fee - U.S. Region 5.2.E

In the U.S. Region, a Convenience Fee may be charged for Tax Payment Transactions in either a
Card-Present Environment or a Card-Absent Environment, including for Recurring Transactions.

ID#: 010410-010410-0003055



Tax Payment Program - Interchange Reimbursement Fee Qualifications and Fee
Amount - U.S. Region 5.2.E

In the U.S. Region, to qualify for the Debit Tax Payment Interchange Reimbursement Fee (IRF)
specified in "Debit Tax Payment Interchange Reimbursement Fee - U.S. Region," the Convenience
Fee for a Visa Debit Card Transaction must be a fixed or flat amount not exceeding US $3.95 per
Transaction, regardless of the tax payment amount.

ID#: 010410-010410-0003054



Tax Payment Program Fee Processing Requirements - U.S. Region 5.2.E

In the U.S. Region, a Tax Payment Program Merchant that charges a Convenience Fee must process
the Convenience Fee amount as a separate Transaction.

ID#: 010410-010410-0003056



Tax Payment Program Merchant Option to Assess Fee - U.S. Region

In the U.S. Region, a Tax Payment Program Merchant may assess a variable service fee for
processing a Visa Consumer Credit Card or a Commercial Visa Product Transaction if:

• The Transaction is an eligible Tax Payment Transaction
• The service fee is clearly disclosed before the completion of the Transaction and the Cardholder is
  given the opportunity to cancel


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• The service fee for a Tax Payment Transaction on a Visa Card is not greater than the fee charged
  to a Cardholder who pays with another comparable general purpose consumer credit or
  commercial payment card

ID#: 010410-010410-0003050



Tax Payment Program Service Fee Processing Requirements - U.S. Region

In the U.S. Region, the service fee for a Tax Payment Transaction must be processed separately
from the Transaction and not included with the amount of tax due.

A Tax Payment Program Merchant must not assess a service fee for a Visa Debit Card Transaction,
but may assess a Convenience Fee to process a Visa Debit Card Tax Payment Transaction, as
specified in "Tax Payment Program Merchant Convenience Fee Requirements - U.S. Region."

ID#: 010410-010410-0008917




Travelers Cheques

Travelers Cheque Acceptance and Encashment


Travelers Cheque Acceptance Requirements

A Member must accept and encash all Cheques denominated in currencies usually exchanged in the
local market.

ID#: 010410-010410-0002657



Travelers Cheque Encashment Policy

A Member's encashment policy must be as favorable for Cheques as for other cheque brands.

ID#: 010410-010410-0002658



Travelers Cheque Signature Comparison

Visa guarantees reimbursement for a Cheque amount if the Member complies with the encashment
procedures outlined in the Visa International Operating Regulations.

When encashing a Cheque, a Member must both:

• Witness the customer countersigning the cheque in the lower left signature area
• Compare the countersignature with the signature appearing in the upper right signature area. If the
  signatures appear similar, the Member may accept the Cheque.




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If the Member is uncertain about the similarity of the signatures, it may request that the customer sign
the Cheque on the back and provide identification. If the Member is satisfied with the identification
comparison, it may accept the Cheque.

ID#: 010410-010410-0008947



Travelers Cheque Encashment Limitations

If a Cheque has already been countersigned, or if the presenter is not the original purchaser of the
Cheque, the Member must only accept the Cheque if the presenter is a known customer and full
recourse is available.

ID#: 010410-010410-0003575




Health Care Transactions

Preauthorized Health Care Program Requirements - U.S. Region


Preauthorized Health Care Transaction Order Form - U.S. Region

In the U.S. Region, a Cardholder that purchases services from a Health Care Merchant that accepts
Preauthorized Health Care Transactions must provide a completed Order Form to the Merchant.

The Cardholder must specify at least the following on the Order Form:

• Request for the services to be charged to the Cardholder's account
• Authorization for the Health Care Merchant to charge the Cardholder's account for only that portion
  of the bill due subsequent to Merchant's receipt of any applicable insurance payment
• Duration of time, not to exceed one year, for which permission is granted

ID#: 081010-010410-0008706



Health Care Merchant Requirements - U.S. Region

For Preauthorized Health Care Transactions in the U.S. Region, a Health Care Merchant must:

• Retain a copy of the Order Form during the period it is in effect
• Provide a copy of the Order Form upon Issuer request for an original Transaction Receipt
• Type or print the words "PREAUTHORIZED HEALTH CARE" on the signature line of the
  Transaction Receipt
• Comply with the requirements of "Preauthorized Payment Cancellation Service Declined
  Transaction Procedures" and "Preauthorized Transaction Decline Response - U.S. Region"




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The Health Care Merchant must not complete a Preauthorized Health Care Transaction after
receiving either a:

• Cancellation notice from the Cardholder or its Acquirer
• Decline Response

Upon receipt of the notice of adjudication from the Cardholder's insurance company, the Health Care
Merchant must:

• Request Authorization for the amount due
• Submit a Transaction Receipt into Interchange within 90 calendar days of the service date

ID#: 081010-010410-0008707



Healthcare Auto-Substantiation - U.S. Region


Healthcare Auto-Substantiation Transactions - Acquirer Responsibilities - U.S. Region
(Updated)

A U.S. Acquirer or its Agent that processes a Healthcare Auto-Substantiation Transaction from a
SIGIS-certified Merchant must:

• Be licensed and certified by SIGIS
• Provide the Visa Flexible Savings Account (FSA) or Visa Health Reimbursement Account (HRA)
  BIN list to the certified Merchant
• Comply with all the requirements stipulated by SIGIS, including storage and fulfillment of
  Transaction Receipt detail data, as specified in:
  - Visa Healthcare Auto-Substantiation Transactions Retrieval of SIGIS Receipt Detail
    Implementation Guide
  - "Request for Transaction Receipt Copy and Substitute Transaction Receipt"
  - "Minimum Data Requirements for Retrieval Requests"
  - "Electronic Signature Criteria"
• Request an IIAS Merchant Verification Value (MVV) on behalf of the SIGIS-certified Merchant and
  provide the MVV to the Merchant
• Include the IIAS Merchant Verification Value (MVV) in the Authorization Request
• Comply with the following:
  - Visa Healthcare Auto-Substantiation Transaction Consolidated Technical Requirements
  - Visa Healthcare Auto-Substantiation Transactions Service Description and Implementation
    Guide

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Healthcare Auto-Substantiation Transactions - Merchant Responsibilities - U.S.
Region (Updated)

A Merchant that participates in Healthcare Auto-Substantiation Transactions must:

• Obtain a license from, and be certified by, SIGIS
• Comply with the requirements specified in:
  - Visa Healthcare Auto-Substantiation Transaction Consolidated Technical Requirements
  - Visa Healthcare Auto-Substantiation Transactions Service Description and Implementation
    Guide

ID#: 050411-010100-0025549



Easy Pay Transaction - General Requirements - LAC Region


Easy Pay Transactions - Merchant Agreement - LAC Region

An LAC Acquirer that contracts with Merchants that accept Easy Pay Transactions must include the
Easy Pay Transaction requirements in the Merchant Agreement or in an additional contract.

ID#: 010410-010410-0005262



Easy Pay Patient Enrollment - LAC Region

In the LAC Region, a Medical Services Merchant must enroll a patient for participation in Easy Pay
Transactions by using the "Cardholder Participation Request and Consent" form. Upon enrolling a
patient, the Medical Services Merchant must obtain a Card Imprint.

The LAC Medical Services Merchant must:

• File a copy of the "Cardholder Participation Request and Consent" form
• Provide a copy of the "Cardholder Participation Request and Consent" form, accompanied by a
  copy of the Card Imprint, if the Issuer requests a Transaction Receipt
• Print or write on the signature line a message indicating that it is an Easy Pay Transaction

After receiving confirmation from the patient's medical insurance provider of the amount it will cover
for the medical service requested, the LAC Medical Services Merchant must:

• Request Authorization for the outstanding amount if it exceeds the applicable Floor Limit
• Send the Transaction Receipt to Interchange within 30 calendar days

If the Transaction amount is not within the range preauthorized by the Cardholder, the Merchant must
provide written notice at least 5 calendar days before the Transaction Date and obtain written consent
from the Cardholder.




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The LAC Medical Services Merchant must not complete an Easy Pay Transaction when it has
received:

• A cancellation notice from its Acquirer or from the Cardholder
• A Decline Response

ID#: 010410-010410-0008728



Easy Pay - Authorization - LAC Region


Authorizations in Public and Private Hospitals - LAC Region

In the LAC Region, a Public and Private Hospital Merchant ("H&C Merchant," based on its Spanish
language acronym, MCC 8062) may use estimated Transaction amounts to request Authorizations or
Status Check Authorizations before providing its services.

The H&C Merchant may estimate the Transaction amounts for Authorizations based on any of the
following:

• The patient's length of stay indicated during check-in
• The room rate
• Applicable tax
• The fee rates for services
• Doctors' fees
• Routine lab tests
• Medical supplies and medicines

After completing the estimates, the H&C Merchant must comply with one of the following:

• If the estimated Transaction amount is equal to or below the Floor Limit, obtain a Status Check
  Authorization on the check-in date
• If the estimated Transaction exceeds the Floor Limit, obtain an Authorization and include the date,
  amount, and Authorization Code on the Transaction Receipt

After the check-in date and before the check-out date, the H&C Merchant may obtain and must
record Authorizations for additional amounts above any amount already authorized. The H&C
Merchant must obtain a final or additional Authorization, and include the date, amount, and
Authorization Code on the Transaction Receipt, if the actual Transaction amount exceeds the Floor
Limit or is 15% greater than the sum of the authorized amounts.

ID#: 031209-150210-0008729




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Chapter 7: Transaction Processing

Core Principle 7.1

Provide Authorization and Settlement Service


Ensuring Seamless Payment Processing

Participants in the Visa system agree to provide transaction authorization and settlement services to
their customers to ensure seamless payment processing.

ID#: 010410-010410-0007785




Core Principle 7.2

Rules Differ by Acceptance Environments


Defining Financial Responsibility between Issuers and Acquirers

Visa defines financial responsibility between issuers and acquirers, which may vary in different
merchant acceptance environments. For example, acquirers bear more responsibility for transactions
completed in card-absent environments.

ID#: 010410-010410-0007786




Core Principle 7.3

Financial Responsibility for Processed Transactions


Defining Issuer Financial Responsibility

Issuers are financially responsible for transactions that are accepted by the merchant as defined in
the Visa Operating Regulations, and properly processed by the acquirer. Financial responsibility for
transactions that are not processed as required by Visa may be returned from the issuer to the
acquirer.

ID#: 010410-010410-0007787




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Core Principle 7.4

Authorize, Clear, and Settle International Transactions


Using VisaNet to Authorize, Clear, and Settle International Transactions

Visa participants must authorize, clear, and settle messages for international Visa transactions
through VisaNet, and report to Visa all domestic Visa transactions processed outside of VisaNet. In
some jurisdictions, participants must authorize, clear and settle all Visa transactions through VisaNet,
which enhances Visa's ability to manage risks, meet consumer expectations, and provide leading
fraud-protection solutions.

ID#: 090211-010410-0007788




Access to Visa Systems

VisaNet Access


Member Requirements for Visa Extended Access

If a Member has Visa Extended Access, the Member must use it to transmit its Interchange.

A Member must complete its migration to Visa Extended Access to access VisaNet. A Member must
not make or attempt to make any repair, adjustment, alteration, or modification to Visa Extended
Access, except as expressly authorized by Visa.

The above requirements do not apply to a U.S. Member using Direct Exchange (DEX).

ID#: 010410-010410-0008744



Member Support of Visa Extended Access

Each Member participating in Visa Extended Access must provide, without cost to Visa, reasonable
support requested by Visa for installing the V.I.P. System or BASE II, including:

• Providing a location that meets the requirements of Visa for installing Visa Extended Access on the
                       63
  Member's premises
• Providing a sufficient number of qualified personnel that the Member will train to meet Visa
  specifications




63
     This requirement does not apply to a U.S. Member using Direct Exchange (DEX).


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• Maintaining V.I.P. System and BASE II records, documents, and logs required by Visa and
  providing them at the request of Visa
• Providing access to its premises and cooperating with Visa and its authorized agents in conjunction
                                                                                64
  with the installation, service, repair, or inspection of Visa Extended Access
• Notifying Visa promptly of any failure of Visa Extended Access to operate properly on its premises
                                                         65
  or the premises of its agent or independent contractor
• Providing computer time and a sufficient number of qualified personnel required to ensure prompt
  and efficient installation and use of the V.I.P. System or BASE II Edit Package software supplied by
  Visa

ID#: 010410-010410-0003332



Unavailability of Visa Extended Access

If a Member's Visa Extended Access is expected to be unavailable, the Member must proceed as
follows:

• If unavailable for fewer than 5 calendar days, the Member must prepare the transmission as usual
  and send the Interchange to Visa as soon as the VisaNet Access Point becomes available
• If unavailable for 5 or more calendar days, the Member must send the Interchange to Visa as soon
  as possible, as specified in the VisaNet manuals

This requirement does not apply to a U.S. Member using Direct Exchange (DEX).

ID#: 010410-010410-0003670



Visa Extended Access - Canada Region

Visa owns a Visa Extended Access server installed at a Canada Member's location and is
responsible for its acquisition, installation, and maintenance.

Unless otherwise agreed to by Visa:

• The Member may use the Visa Extended Access server only for V.I.P. System and BASE II
  processing
• Members must not share a Visa Extended Access server

ID#: 010410-010410-0008746



V.I.P. System User Fees - U.S. Region

In the U.S. Region, a V.I.P. System User must pay the applicable fees for systems, training, and
documentation services furnished to it, as specified in the Visa U.S.A. Fee Guide.

ID#: 081010-010410-0007347



64
     This requirement does not apply to a U.S. Member using Direct Exchange (DEX).
65
     This requirement does not apply to a U.S. Member using Direct Exchange (DEX).


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Data Quality

Authorization and Clearing Data Requirements


Acquirer Requirement for Complete and Valid Data (Updated)

An Acquirer must ensure that all Authorization Requests and Clearing Records contain complete and
valid data. If data is missing or incorrect, the Acquirer may be subject to the Data Quality Compliance
Program.

The table below specifies the fines and penalties applicable to an Acquirer if Visa determines that the
Acquirer has failed to meet the requirements of the Data Quality Compliance Program.

For further information about these requirements, see the VisaNet manuals.


Acquirer Penalties for Non-Compliance with the Data Quality Compliance Program

             Violation                              Time Period                      Visa Action or Fine

                            Problem Not Resolved After Second Notification Letter

Problem not resolved after receipt     60 calendar days                         US $5,000
of Notification

Problem not resolved after receipt     90 calendar days                         US $10,000
of Notification

Problem not resolved after receipt     120 calendar days, plus every 30         US $25,000 per month
of Notification                        calendar days for each subsequent
                                       month until compliance is achieved

                                           Resolution Date Not Met

Problem not resolved by the            Agreed-upon resolution date              US $5,000
agreed-upon date

Problem not resolved                   Within 30 calendar days of the agreed-   US $10,000
                                       upon resolution date

Problem not resolved                   Within 60 calendar days of the agreed-   US $25,000 per month
                                       upon resolution date, plus every 30
                                       calendar days for each subsequent
                                       month until compliance is achieved


An Acquirer must ensure that all Authorization Requests contain complete and valid data. If data is
missing or incorrect, an Acquirer may be subject to the Data Quality Compliance Program.

An Acquirer must ensure that all Clearing Records contain complete and valid data. If data is missing
or incorrect, an Acquirer may be subject to the Data Quality Compliance Program.

ID#: 050411-010410-0008752




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Online Gambling Transaction Identification Penalties

An Acquirer is subject to the penalties specified in the following table if an Authorization Request for
an Online Gambling Transaction contains incorrect data or fails to include both:

• MCC 7995, "Betting," as specified in "Online Gambling Identifiers"
• POS Condition Code 59, as specified in "Required Message Content for VisaNet Authorization
  Requests" (Exhibit 3B)


Acquirer Penalties for Failure to Correctly Identify Authorization Requests
for Online Gambling Transactions (Effective through 30 June 2010)

          Violation                            Month                                Visa Action or Fine

                           Problem Not Resolved After Second Notification Letter

Uncorrected violation                Month 1                         US $25,000 fine per Merchant URL or
                                                                     Sponsored Merchant URL identified

Uncorrected violation                Month 2 in a 12-month           US $50,000 fine per Merchant URL or
                                     period                          Sponsored Merchant URL identified

Uncorrected violation                Month 3 in a 12-month           US $100,000 fine per Merchant URL or
                                     period                          Sponsored Merchant URL identified

Uncorrected violation                Month 4 and subsequent          Possible permanent disqualification of the
                                     months in a 12-month period     Merchant or IPSP from participation in the Visa
                                                                     Program



Acquirer Penalties for Failure to Correctly Identify Authorization
Requests for Online Gambling Transactions (Effective 1 July 2010)
                              1
                  Violation                                              Visa Action or Fine

First violation                                    US $10,000 fine per Merchant URL or Sponsored Merchant
                                                   URL identified

Second violation in a rolling 12-month             US $25,000 fine per Merchant URL or Sponsored Merchant
period                                             URL identified

Third and any subsequent violation in a            US $50,000 fine per Merchant URL or Sponsored Merchant
rolling 12-month period                            URL Identified

Fourth violation in a rolling 12-month             Possible permanent disqualification of the Merchant or IPSP
period                                             from participation in the Visa program
                                                   Acquirer is eligible for the imposition of risk-reduction
                                                   procedures, as specified in "Member Risk Reduction
                                                   Requirements"

¹ All violations must be corrected within 7 days of Notification




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Visa may prohibit an Acquirer from contracting with a new Online Gambling Merchant for a period of
one year or more if the Acquirer has one or more non-compliant Merchants identified for any 4 or
more months during a 12-month period.

ID#: 081010-010410-0008753



Interchange Data Element Requirements

An Acquirer sending Interchange through BASE II must use the data elements listed in "BASE II
Record Requirements" (Exhibit 2L) and the VisaNet manuals.

ID#: 010410-010410-0005521



Visa Prepaid Card Transaction Data Requirements

A Transaction representing the purchase of a Visa Prepaid Card must be processed as a retail
purchase, including transmission of a special Visa Prepaid Card indicator in the Transaction Record,
as specified in the "BASE II Record Requirements" (Exhibit 2L) and the VisaNet manuals.

ID#: 081010-010410-0002516



Merchant Category Code Assignment

An Acquirer must assign the appropriate Merchant Category Code to each Merchant and ensure that
the assigned Merchant Category Code is included in the Authorization Request and Clearing Record.

ID#: 010410-010410-0003133



High-Risk Merchant Category Code

A High-Risk Telemarketing Merchant must submit the appropriate Merchant Category Code as
follows:

• With each Authorization Request
• Through BASE II

ID#: 010410-010410-0005047



Quasi-Cash/Online Gambling Transaction Indicator (Updated)

For a Quasi-Cash Transaction, the Quasi-Cash/Online Gambling Transaction indicator must appear
in both the Authorization Request and Clearing Record.

A variance applies to the CEMEA Region for Members in South Africa.

ID#: 050411-010410-0002886




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Fines for Incorrect Merchant Descriptor - U.S. Region

In the U.S. Region, Visa assesses a fine using Fee Collection Transaction Reason Code 5010 or
5210 for each Merchant Descriptor that has inaccurate, invalid, or unrecognizable data in the
Authorization Request or Clearing Record. The fine is assessed monthly, as follows:

• US $100 per Merchant Descriptor, beginning in the fifth consecutive month in which the inaccurate
  data is not corrected
• US $200 per Merchant Descriptor, beginning in the ninth consecutive month in which the
  inaccurate data is not corrected

ID#: 010410-010410-0003496




Account BIN Range

Account Range Table


ATM Account Range Use

An ATM Acquirer must use the Visa account range table to determine the routing of an Authorization
Request.

The ATM Acquirer must install and use the table within 6 business days of its receipt from Visa.

ID#: 010410-010410-0008780



ATM Account Range Table Distribution Prohibition

An ATM Acquirer must not distribute the account range table without the prior written consent of Visa.

ID#: 010410-010410-0004799




General Authorization Requirements

Authorization Services


Acquirer Provision of Authorization Services

An Acquirer that is a Principal or Merchant Bank must provide Authorization services to its own
Merchants and the Merchants signed by its sponsored Associates. This service includes
Authorization for Cash Disbursements at any of its Branches.

ID#: 010410-010410-0005478




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Acquirer Participation in Authorization Services (Updated)

An Acquirer must participate in the:

• International Automated Referral Service and comply with the International Automated Referral
  Service (IARS) User's Guide
• Card Verification Service

ID#: 050411-010410-0005407



Acquirer Authorization Service Requirements - U.S. Region

A U.S. Acquirer must provide Authorization service to:

• Its own Merchants and Merchants signed by its Sponsored Members located within the United
  States
• Authorizing Processors

This service may be provided:

• Directly, as an Authorizing Processor
• Through another Authorizing Processor
• Through the Operator Assistance Service
• By other means approved by Visa

ID#: 010410-010410-0006944



Authorization Services Outside of the U.S. - U.S. Region

A U.S. Acquirer or its Foreign Branch must provide Authorization service for its Merchant Outlets
located outside the United States, either itself or through another Authorizing Processor.

A Foreign Branch that issues Cards must provide Authorization service to other Members.

ID#: 010410-010410-0008751



Authorization Support for T&E Merchants without a Point-of-Transaction Terminal -
U.S. Region

A U.S. Acquirer that has a Merchant Agreement with a T&E Merchant that is not using a Point-of-
Transaction Terminal must provide Support Authorization Service to the Merchant whenever the
Merchant's primary Authorization number is unavailable, as specified in the appropriate VisaNet
manuals.

ID#: 010410-010410-0005570




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ATM Authorization Currency

An ATM Acquirer must submit Authorization Requests in the Transaction Currency.

ID#: 010410-010410-0004794



Chip Card Authorization at ATM - U.S. Region 5.5.A

For Authorization requests involving Chip-initiated Transactions in the U.S. Region, an ATM must
either:

• Ensure that track 2 of the Magnetic-Stripe Image is read and transmitted
• Transmit all data elements that create the EMV-Online Card Authentication Cryptogram

ID#: 010410-010410-0004978



Authorization Computer Interface Requirements


Acquirer Computer Interface for Authorizations

An Acquirer must establish a computer interface between its Authorization system and the V.I.P.
System if it receives either:

• A monthly average of more than 5,000 Authorization Requests from other Members or VisaNet
  Processors in any 3 consecutive months
• Any Authorization Requests generated by a Point-of-Transaction Terminal from its Merchants or
  other Members for which it provides Authorization services

The Acquirer must submit to Visa a reasonable schedule for establishing its computer interface within
90 calendar days of notifying Visa that either of the above conditions exists.

ID#: 010410-010410-0006946



Acquirer Computer Interface for Authorizations - U.S. Region

A U.S. Acquirer must:

• Submit for approval a reasonable schedule for establishing a computer interface between its
  Authorization system and the V.I.P. System
• Notify Visa in writing at least 120 calendar days before the proposed date of implementation
• Establish the computer interface as specified by Visa

ID#: 010410-010410-0005690




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Visa Computer Interface Responsibilities - U.S. Region

To establish a computer interface in the U.S. Region, Visa:

• Processes requests in the order received. However, Visa may reprioritize requests as necessary.
• Provides prototype computer interface, engineering liaison, and acceptance testing to support the
  Acquirer during installation
• Assesses fees as specified in the Visa U.S.A. Fee Guide

ID#: 081010-010410-0007352



Authorizing Processor Computer Interface Responsibilities - U.S. Region

An Authorizing Processor in the U.S. Region must:

• Assume responsibility and costs for development of software and systems necessary to interface
  with VisaNet
• Comply with Visa interface specifications

ID#: 010410-010410-0005692



Authorization Processing


Required Authorization Processing through VisaNet

An Acquirer must process all Authorizations for International Transactions through VisaNet.

ID#: 010410-010410-0003369



Account Range Table for Authorization Routing

An Acquirer may use the account range table provided by Visa to determine the routing of an
Authorization Request. An Acquirer that uses the account range table to validate Visa Cards must
install and use the table within 6 business days of receipt.

An Acquirer must not distribute the account range table without the prior written consent of Visa.

ID#: 010410-010410-0008754




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Matching Data in ATM Authorization and Clearing Messages

An ATM Acquirer must ensure that the following information matches in the Authorization and
Clearing messages:

• Account Number
• Transaction Authorization Code
• Acquirer BIN
• Transaction amount
• Account selection processing code
• Merchant Category Code

ID#: 010410-010410-0004796



Private Agreements for Domestic Authorizations (Updated)

Rules for Domestic Authorizations may be superseded in whole or in part by either Private
Agreements or the operating regulations of Group Members.

Effective 1 April 2011, this provision is not applicable in the AP Region for Members in Malaysia,
Philippines, Singapore, Thailand and Vietnam.

ID#: 050411-010411-0007248



Compliance with Authorization Requirements

Each Member that processes Authorizations must comply with:

• The Visa International Operating Regulations, and National Operating Regulations applicable in the
  Transaction Country or Visa Region, regardless of how the Authorization is routed or where it is
  processed
• "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A)
• "Required Message Content for VisaNet Authorization Requests" (Exhibit 3B)
• VisaNet manuals

ID#: 010410-010410-0003368



Visa Authorization Service Fees

Visa provides Authorization processing to Members using the V.I.P. System. Members must pay for
Authorization processing and applicable fees and charges, as specified in the appropriate regional
pricing guide.

ID#: 010410-010410-0005139




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Acquirer Responsibility for Telecommunications Costs (Updated)

An Acquirer must pay for telephone or fax calls made to an Issuer for Authorization purposes.
However, an Acquirer may record and recover these costs from the Issuer.


V.I.P. System Services for Authorizing Processors - U.S. Region

Visa provides the following V.I.P. System services to U.S. Authorizing Processors upon written
request at least 120 calendar days before implementation:

• Message Processing Service, to provide Authorizations when an Authorizing Processor does not
  directly provide Authorization for its Merchants
• File change service, to update the Exception File and PIN Verification Value file
• Reports to advise Authorizing Processors of their V.I.P. System activity, other than message
  processing activity
• PIN Verification Service
• Key Management Service
• Operator Assistance Service
• Direct-Connect Merchant service

ID#: 010410-010410-0005757



Issuer Authorization Requirements


Minimum Activity File Parameters

An Issuer must select minimum Activity File Parameters for all Transactions, as specified in the
VisaNet manuals.

ID#: 010410-010410-0001857



Manual Cash Disbursement Authorization Limits (Updated)

The Interchange Authorization Limits for Manual Cash Disbursements are specified in "Forwarding of
Authorization Request to Visa." If an Issuer chooses to set higher limits, it must identify them on the
"Visa Interchange Directory Update Form" (available through the Visa Publication Center on Visa
Online).

ID#: 080411-010410-0003138




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Mandatory Minimum Authorization Limits

An Issuer is subject to the mandated minimum Positive Cardholder Authorization Service Activity File
Parameters and Issuer Limits as specified in the VisaNet manuals for the following Card types:

• Visa Gold/Premier Card
• Visa Infinite Card
• Visa Business Card
• Visa Corporate Card

A Visa Purchasing Card Issuer may apply a minimum Issuer Limit of zero for Authorization Requests.

ID#: 010410-010410-0008793



Mandatory Minimum Authorization Limits Exceptions

Mandatory minimum Authorization limits do not apply to a Visa Prepaid Card or debit Visa Card
Issuer.

Visa may exempt an Issuer from the mandatory minimum Authorization limits.

ID#: 010410-010410-0008794



Issuer Authorization Reversal - Issuer Requirements

Effective 1 April 2010, an Issuer that receives an Authorization Reversal must attempt to match the
Authorization Reversal to a previous Authorization Request.

When matched, the Issuer must immediately:

• Process the Authorization Reversal as specified in the VisaNet manuals
• Release any applicable hold on the available funds in its Cardholder's account

ID#: 010410-010410-0025592



Commercial Visa Product Minimum Issuer Limits - U.S. Region (Updated)

A Commercial Visa Product Issuer in the U.S. Region must apply minimum Issuer Limits for
international Authorization Requests as specified in the VisaNet manuals.

ID#: 050411-010410-0005447




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Member Authorization Services


Issuer Authorization Service Requirement

An Issuer must provide Authorization services for all of its Cardholders, 24 hours a day, 7 days a
week, using one of the following methods:

• Directly, as a VisaNet Processor
• Through another VisaNet Processor
• By other means approved by Visa

ID#: 010410-010410-0004381



Issuer Authorization Response Requirements (Updated)

An Issuer must provide Authorization Responses as specified in the VisaNet manuals and:

• Meet the assured Transaction response standards
• Participate in the International Automated Referral Service and comply with the International
                                                    66
  Automated Referral Service (IARS) User's Guide
• Participate in the Card Verification Service, as specified in "Card Verification Service"
Visa recommends that the Issuer:
• Periodically review its international Authorization Responses
• Not systematically or permanently send a Decline Response to an Authorization Request for any of
  the following:
     - Mail/Phone Order Transactions
                                                67
     - Electronic Commerce Transactions
     - Transactions from a specific country

ID#: 050411-010410-0004382



Reversal of Duplicate Authorizations

An Issuer must reverse duplicate Authorization Transactions from its Cardholder records upon receipt
of Reversal information.

ID#: 010410-010410-0004383




66
  Not applicable to Visa Electron Issuers
67
  For requirements specific to Electronic Commerce Transactions coded with an ECI value of "6", see "Decline Response
Prohibition for Electronic Commerce Transactions."


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Acquirer Authorization Service Requirement

An Acquirer must provide primary and backup Authorization service 24 hours a day, 7 days a week.
This service may be provided by any of the following:

• The Acquirer directly
• Another VisaNet Processor, including Visa
• Other means approved by Visa

ID#: 010410-010410-0005411



Code 10 Authorizations - U.S. Region


Suspicious Transaction Merchant Requirements - U.S. Region 5.2.K

If a U.S. Merchant is suspicious of a Transaction, the Merchant must:

• Contact the Issuer at the telephone number listed in the Visa Interchange Directory using an In or
  Out WATS line, if available, or a collect call
• Ensure that its employees are familiar with Code 10 procedures (available from Visa upon request)
• Request a Code 10 Authorization
• If the Issuer is not available, process a normal Authorization Request

ID#: 010410-010410-0005648



Code 10 Issuer Contact Requirements - U.S. Region

To make a Code 10 Authorization Request, a U.S. Acquirer must contact the Issuer at the telephone
number listed in the Visa Interchange Directory under "Fraud - Lost/Stolen Contact."

If the Issuer or the Issuer's Authorizing Processor is unavailable, the Acquirer must process the
Authorization Request as specified in "Emergency Authorization for Transactions - Amount Limits -
U.S. Region."

ID#: 010410-010410-0008797




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Authorization Amount


Authorization Currency and Conversion

An Authorization Request must be expressed in US dollars or the Transaction Currency.

If the Transaction Currency is not US dollars, an Acquirer may convert the Authorization amount into
US dollars before sending the Authorization Request to Visa. If the Acquirer converts the
Authorization amount, it must use a generally accepted Currency Conversion Rate.

ATM Cash Disbursements and Manual Cash Disbursements must be authorized in the Transaction
Currency.

ID#: 010410-010410-0008803



Authorization Request Amount - U.S. Region

A U.S. Acquirer must process an Authorization Request for the final amount of a Transaction that is
entered into Interchange, with the following exceptions:

• Hotel and Car Rental Transactions
• Transactions originating at restaurant Merchants
• Mail/Phone Order and Electronic Commerce Transactions
• Transactions conducted at Cruise Lines
• Transactions originating at a Merchant Outlet assigned any one of the following Merchant Category
  Codes:
  - 4121, "Taxicabs and Limousines"
  - 5813, "Bars and Taverns"
  - 7230, "Beauty and Barber Shops"
  - 7298, "Health and Beauty Spas"
• Account Number Verification Transactions
• Transactions at Merchants permitted to use the Status Check Procedure

ID#: 010410-010410-0005519




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Status Check Availability for Lodging Merchants - U.S. Region

A U.S. Acquirer of a Lodging Merchant that wants to use the Status Check Procedure instead of an
Authorization Request for an estimated Transaction amount must:

• Obtain written permission from Visa for the Lodging Merchant to be eligible to use the Status
  Check Procedure
• Qualify for the Electronic Interchange Reimbursement Fee or the payment service Interchange
  Reimbursement Fee

ID#: 010410-010410-0008799



Merchants Eligible for Status Check Procedure - U.S. Region

In the U.S. Region, only a Prestigious Property or an Automated Fuel Dispenser Merchant may use
the Status Check Procedure to request an Authorization for US $1 instead of an Authorization
Request for the exact Transaction amount when the exact Transaction amount is not known.

ID#: 081010-010709-0007188



Merchants Not Eligible for Status Check Procedure - U.S. Region

In the U.S. Region, a Merchant that is not eligible to use the Status Check Procedure may use the
Account Number Verification Service.

ID#: 010410-010709-0007189



Status Check Procedure - Authorization Reversal - U.S. Region

In the U.S. Region, a Prestigious Property or Automated Fuel Dispenser Merchant that cancels a US
$1 Status Check is subject to the Authorization Reversal requirements specified in the U.S. Regional
Operating Regulations.

ID#: 081010-010709-0007190




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Manual Authorizations

Manual Authorization Procedures


Forwarding of Authorization Request to Visa (Updated)

An Acquirer must forward an Authorization Request to Visa or the Issuer under any of the following
conditions:

• The Transaction amount added to previous Transactions on the same Account Number on the
  same day exceeds the Interchange Authorization Limit set by the Issuer, or the Floor Limits
  specified in "Maximum Authorized Floor Limits," whichever is greater
• The minimum Interchange Authorization Limit is US $350 for Retail Transactions and US $150 for
  Manual Cash Disbursements. If an Issuer has established higher limits, they appear on the Issuer's
  "Visa Interchange Directory Update Form" (available through the Visa Publication Center on Visa
  Online)
• A Merchant questions the validity of the Card or informs the Acquirer that it is suspicious about a
  Transaction
• A Cardholder wants to make a purchase in person (not a Mail/Phone Order Transaction) but does
  not have their Card
• A Cardholder presents an Expired Card
• A Cardholder presents a Card with a blank signature panel

ID#: 050411-010410-0005497



Authorization Code

If Visa approves a Transaction:

• Visa provides the Acquirer with an Authorization Code based on the date, time, and Account
  Number
• The Acquirer provides the Merchant with an Authorization Code

ID#: 010410-010410-0005498



Manual Authorization Code on Transaction Receipt

When an Authorization Code is obtained using manual Authorization procedures, the Merchant must
include it on the Transaction Receipt.

ID#: 010410-010410-0008981




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Substitute Authorization Code

If a Transaction originating at an Authorization-Only Terminal does not require Authorization, the
Acquirer must use the substitute Authorization Code "0000N" in the Clearing Record.

ID#: 010410-010410-0005501



Manual Authorizations Not Sent to Issuer


Manual Authorization Requirements - Authorizations Not Sent to the Issuer


Emergency Authorizations

Emergency Authorization Procedures


Procedure During Communication Failure

An Acquirer must follow emergency Authorization procedures if it cannot transmit an Authorization
Request to Visa due to a communications failure.

An Acquirer must not use the procedures:

• For more than 4 hours
• If any other means of electronic interface with Visa is available

ID#: 010410-010410-0008800



Emergency Authorization Procedure for ATM and CAT C Transactions

The emergency Authorization procedures do not apply to ATM Cash Disbursements or Cardholder-
Activated Transactions Type C. When an Acquirer cannot transmit Authorization Requests, it must
transmit a "service unavailable now" Authorization Response to the terminal in reply to an
Authorization Request.

In the U.S. Region, the emergency Authorization procedures do not apply to ATM Cash
Disbursements or Automated Dispensing Machine Transactions. When the Authorizing Processor
cannot transmit Authorization Requests, it must transmit a "service unavailable now" Authorization
Response to the terminal in reply to the Authorization Request. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008801




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Emergency Authorization for Transactions (Updated)

If a Transaction amount is X or more, an Acquirer must contact the Issuer by telephone or fax for
Authorization, as specified in "Manual Authorization Requirements - Authorizations Sent to the
Issuer."

If the Transaction amount is less than X, the Acquirer is not required to contact the Issuer. The
Acquirer must:

• Review the appropriate Card Recovery Bulletin
• Provide the Merchant with an Authorization Code if the Account Number does not appear on the
  Card Recovery Bulletin

ID#: 050411-010410-0008827



Emergency Authorization for Transactions - Amount Limits - U.S. Region

In the U.S. Region, if a Transaction is more than X or the Cardholder presents an Expired Card, the
Authorizing Processor must:

• Call the Issuer at the telephone number listed in the Visa Interchange Directory
• Use an In or Out WATS line, if available, or call collect
• Provide the information specified in:
  - "Required Data for Authorization Requests and Responses" (Exhibit OO)
  - The appropriate VisaNet manual

If the Transaction X or less, the Authorizing Processor must:

• Review the current National Card Recovery File and approve the requested Authorization if the
  Account Number does not appear
• Issue an Authorization Code

ID#: 010410-010410-0008828



Emergency Authorization Procedure Limitations - U.S. Region

In the U.S. Region, an Authorizing Processor must follow emergency Authorization procedures if it
cannot transmit an Authorization Request to Visa due to an emergency.

Emergency Authorization procedures must not be used during a routine system shutdown that the
Authorizing Processor can control.

An Authorization granted using emergency Authorization procedures does not constitute an
Authorization for purposes of Chargeback rights.

ID#: 010410-010410-0008802




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Partial Authorizations

Processing Requirements


Partial Authorization Service Participation Requirements

An Acquirer and its Processor may participate in the Partial Authorization service.

To participate in the service, an Acquirer and its Processor must:

• Support Partial Authorization Transactions and Authorization reversals
• Obtain systems certification from Visa to receive and transmit Visa Partial Authorization
  transactions as specified in the appropriate VisaNet manual

ID#: 081010-010410-0002515



Partial Authorization Service Participation Requirements - U.S. Region (Updated)

A U.S. Acquirer must:

• Support an Authorization Request message for terminals that have been programmed to accept a
  Partial Authorization Response
• Include the Partial Authorization indicator in the Authorization Request message, as specified in the
  VisaNet manuals
• Support partial approval amounts and Partial Authorization (Response Code "10") from an Issuer,
  as specified in the VisaNet manuals, for terminals that have been programmed to accept Partial
  Authorization Responses
• Accept and forward to Visa an Authorization Reversal received subsequent to a Partial
  Authorization Response
• Submit a Clearing Transaction for no more than the amount approved in the Partial Authorization
  Response
• Obtain systems certification from Visa to receive and transmit Visa Partial Authorization
  transactions as specified in the VisaNet manuals

ID#: 050411-010410-0003532




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Non-Visa Transaction Authorizations

Processing Requirements


Stand-In Authorization Processing for Non-Visa Transactions

Visa may provide Stand-In Processing for non-Visa Card transactions if the authorization processing
service associated with the non-Visa Card is unavailable. Visa is not responsible for losses incurred
on non-Visa transactions authorized through the VisaNet Payment Gateway services.

ID#: 010410-010410-0005508



MasterCard Authorization Request Requirements - U.S. Region

In the U.S. Region, an Authorizing Processor that is directly linked to VisaNet must be capable of
receiving MasterCard authorization requests directly through VisaNet.

ID#: 010410-010410-0005593




Stand-In Processing (STIP)

Stand-In Processing Requirements


Intraregional Authorization Requests - Maximum Time Limit for Response

Visa may establish time limits for Intraregional Authorization Requests. The maximum time limit for a
response to an Authorization Request is:

• 15 seconds without PIN data
• 30 seconds with PIN data

ID#: 010410-010410-0004385



Authorization Requests - Maximum Time Limit for Response - CEMEA Region

In the CEMEA Region, the maximum time limit for a response to an Authorization Request is:

• 15 seconds without PIN data
• 25 seconds with PIN data

ID#: 010410-010410-0005509




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Authorization Requests - Maximum Time Limit for Response - U.S. Region

In the U.S. Region, the maximum time limit for response to an Authorization Request to be received
by the V.I.P. System from a Point-of-Transaction Terminal is:

• 10 seconds without PIN data
• 25 seconds with PIN data

ID#: 010410-010410-0005426



Average Authorization Response Time Standard - U.S. Region

A U.S. Issuer or its Authorizing Member (including V.I.P. Stand-In Processing) must respond to all
Authorization Requests in an average time not exceeding 5 seconds during each calendar month.

ID#: 010410-010410-0005425



Assured Transaction Response

If Visa does not receive an Authorization Response from an Issuer within the specified time limit, Visa
will respond on behalf of the Issuer, using Stand-In Processing.

ID#: 010410-010410-0008804



Issuer Responsibility for Stand-In Processing Authorizations

The Issuer is responsible for Transactions authorized by Stand-In Processing.

ID#: 010410-010410-0004386



Visa Authorization Response

If Visa receives an Issuer Authorization Response after it has initiated Stand-In Processing, it will not
forward the Issuer-generated Authorization Response to the Acquirer. The Visa-generated
Authorization Response takes precedence over the Issuer's Authorization Response.

ID#: 010410-010410-0008805




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Acquirer Stand-In Authorization for Domestic Visa Transactions in Australia – AP
Region (New)

In Australia, if an Acquirer is temporarily unable to contact VisaNet, any domestic Authorization
Request, received by the Acquirer's Authorization processing center with the ability to perform stand-
in Authorization, may be approved unless either:

• The Visa Cardholder Account Number is listed on the negative file
• The value of the Authorization Request exceeds the current maximum amount allowable

ID#: 050411-060111-0026169



Issuer Availability in Australia – AP Region (New)

In Australia, an Issuer or its VisaNet Processor must maintain availability of not less than 98%.

ID#: 050411-060111-0026170



Authorization of Visa Signature Card and Visa Signature Preferred Card Transactions
- U.S. Region

In the U.S. Region, for Visa Signature Cards and Visa Signature Preferred Cards, if an Issuer is
unavailable and has not established stand-in limits, the V.I.P. System will use Stand-In Processing
and the PIN Verification Service to authorize up X, per account.

ID#: 010410-010410-0008992




Authorization Request Monitoring

General Requirements


Decline Threshold - U.S. Region

In the U.S. Region, if the number of Authorization Requests for a specific Account Number exceeds a
pre-determined threshold and fails data edits, Visa will decline all subsequent Authorization Requests
for that Account Number and send an advice to the Issuer.

Visa will remove the block on the Account Number upon notification from the Issuer.

ID#: 010410-010410-0008839



Issuer Authorization Monitoring - AP Region

An AP Issuer must monitor all Authorizations for each Cardholder Account Number daily. The Issuer
must retain a record of all Authorizations for at least 30 calendar days.


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The Issuer must generate exception reports for the following categories if the parameters set by the
Issuer are exceeded:

• Individual authorized Transactions exceeding the Issuer's pre-set limit for Transaction amounts
• Total number of authorized Transactions exceeding the Issuer's pre-set limit for Transaction
  amounts
• Total number of Transactions exceeding the Issuer's pre-set limit for number of Authorizations per
  account

ID#: 081010-010410-0008840



Acquirer Authorization Monitoring - AP Region

An AP Acquirer must monitor and retain all Authorizations processed through its system for each
Merchant Outlet daily. The Acquirer must retain a record of all Authorizations for a minimum of 30
calendar days.

The Acquirer must generate exception reports if any of the following conditions occur:

• More than 3 Authorizations on an individual Cardholder Account Number during a 24-hour period
• An authorized Transaction exceeds the Acquirer's pre-set limit for Transaction amounts
• Ratio of key-entered Transactions to Magnetic-Stripe-read Authorizations exceeds the Acquirer's
  pre-set limit
• Repeated Authorization Requests for the same Transaction amount

ID#: 081010-010410-0008842




Authorization Response Standards

Approval, Referral, and Decline Rate Standards


Minimum Monthly Approval Rates (Updated)

An Issuer must maintain the minimum monthly approval rates for its Visa Programs as listed in the
following table. The approval rate is the number of positive Authorization Responses as a percentage
of all Authorization Requests processed.




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Minimum Monthly Approval Rates

    Category           Visa           Visa Gold/        Visa            Visa            Visa         Visa
                      Classic          Premier        Business       Purchasing      Signature     Infinite
                            1                 1                                              2
                      Cards             Cards         and Visa         Cards          Cards         Cards
                                                      Corporate
                                                       Cards

Retail                  Not              95%             95%             Not               99%      99%
Merchants            applicable                                       applicable

Airlines                90%              95%             95%             Not               99%      99%
                                                                      applicable

Hotels                  90%              95%             95%             Not               99%      99%
                                                                      applicable

Cruise Lines            90%              95%             95%             Not               99%      99%
                                                                      applicable

Car Rental              90%              95%             95%             Not               99%      99%
Companies                                                             applicable

Mail/Phone              Not              Not             Not             Not            Not          Not
Orders               applicable       applicable      applicable      applicable     applicable   applicable

Quasi-Cash              Not              Not             Not             Not            Not          Not
                     applicable       applicable      applicable      applicable     applicable   applicable

ATM Cash                Not              65%             65%             Not               65%      65%
Disbursements        applicable                                       applicable

Manual Cash             Not              85%             Not             Not               85%      85%
Disbursements        applicable                       applicable      applicable

¹ A variance to this requirement applies in the U.S. Region.
2
 Effective 1 January 2011, this requirement also applies to Visa Signature Business Cards in the AP
Region.


ID#: 050411-010410-0004404



Authorization Referral and Approval Response Rate Reporting

An Issuer must report to Visa its Referral Response and Approval Response rates for Domestic
Transactions on a quarterly basis.

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Minimum Monthly Approval Rate Requirements - General - U.S. Region

A U.S. Issuer must maintain the minimum monthly approval rates listed in the tables below for its Visa
Programs. The approval rate is the number of positive Responses as a percentage of all
Authorization Requests processed.


Minimum Monthly Approval Rates - Visa Consumer Card Programs - U.S. Region

       Category               Visa Traditional         Visa Signature and           Consumer Visa
                                                         Visa Signature              Check Card
                                                            Preferred

Airlines/Car Rentals                92%                        99%                          92%

Lodging/Cruise Line                 95%                        99%                          95%
Merchants

Manual Cash                    Not Applicable                  95%                      Not Applicable
Disbursements

All Merchants                       95%                        99%                          95%
(including those listed
above)



Minimum Monthly Approval Rates - Commercial Visa Products - U.S. Region

       Category              Visa Business        Visa Signature        Visa Corporate            Visa
                                                     Business                                  Purchasing

Airlines/Car Rentals             96%                    99%                  98%              Not Applicable

Lodging/Cruise Line              97%                    99%                  98%              Not Applicable
Merchants

Manual Cash                  Not Applicable        Not Applicable       Not Applicable        Not Applicable
Disbursements

All Merchants                    96%                    99%                  98%              Not Applicable
(including those listed
above)


ID#: 010410-010410-0005446




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3-D Secure Authentication

Processing Requirements


CAVV Requirement

An Issuer must include a Cardholder Authentication Verification Value (CAVV) in the following
responses to an Authentication Request:

• Authentication Confirmation
• Attempt Response

The Issuer must:

• Retain a log of all Authentication Requests and Authentication Records
• Provide the log to Visa at Arbitration or Compliance

The CAVV must be validated during Authorization, or the CAVV is assumed to be valid.

ID#: 081010-010410-0008807



Authorization Response for Electronic Commerce Transactions - U.S. Region

A U.S. Acquirer must not submit an Authorization Request for an Electronic Commerce Transaction
that failed a 3-D Secure Authentication Request.

ID#: 010410-010410-0005569




Automated Referral Service

Automated Referral Service (ARS) - U.S. Region


Issuer International Automated Referral Service Response Requirement - U.S. Region
(Updated)

A U.S. Issuer must be able to accept and immediately respond to an International Automated Referral
Service inquiry.

ID#: 050411-010410-0005742




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Acquirer Inquiry Requirements - U.S. Region 6.2.F.3.a (Updated)

A U.S. Acquirer must:

• Generate an International Automated Referral Service inquiry for all Referral Responses received
  from the V.I.P. System, including Referral Responses involving a Visa Card issued outside the U.S.
  Region. This requirement does not apply to Authorization Requests where the Issuer and Acquirer
  use the same Authorizing Processor.
• Meet or exceed the International Automated Referral Service inquiry standard of 40%. The inquiry
  standard, calculated for each BIN, is the number of Referral Responses processed through the
  International Automated Referral Service as a percentage of the total number of Referral
  Responses received by the Acquirer. It excludes duplicate Referral Responses on a single
  Transaction, Referral Responses on Mail/Phone Order Transactions, and Referral Responses to
  Cardholder-Activated Terminals.

ID#: 050411-010410-0005743



Referral Incentive Payment - U.S. Region (Updated)

A U.S. Acquirer receives a referral incentive payment, as specified in the Visa U.S.A. Fee Guide:

• For each Referral Response processed through the International Automated Referral Service
• If the International Automated Referral Service inquiry is initiated within 20 minutes of the initial
  Referral Response

The Acquirer does not receive a referral incentive payment for a Referral Response generated in
response to a Manual Cash Disbursement Authorization Request.

ID#: 050411-010410-0008792



International Automated Referral Service - U.S. Region (Updated)

In the U.S. Region, the International Automated Referral Service connects the Authorizing Processor
directly with the Issuer or its Authorizing Processor. However, the International Automated Referral
Service provides Stand-In Processing for Referral Responses or "system malfunction" (96) responses
if the:

• Issuer's telephone line is busy
• International Automated Referral Service call is not answered within 30 seconds
• International Automated Referral Service call is placed on hold for more than 30 seconds after the
  call is answered




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If the International Automated Referral Service provides Stand-In Processing, it:

• Verifies that a Referral Response or "system malfunction" response was generated
• Checks the Account Number against the Exception File
• Requests that the Merchant review positive Cardholder identification. If the Cardholder does not
  provide positive identification, a Decline Response is issued.

ID#: 050411-010410-0008795



International Automated Referral Service Approval Response Limits - U.S. Region
(Updated)

If a U.S. Cardholder provides positive identification and the Account Number is not listed on the
Exception File with a Decline Response, the International Automated Referral Service issues an
Approval Response and a 4-digit Authorization Code followed by the letter

ID#: 050411-010410-0005748



International Automated Referral Service Advice - U.S. Region (Updated)

In the U.S. Region, the V.I.P. System forwards an advice to the Issuer for each Authorization
Response generated by the International Automated Referral Service.

An Authorization issued by the International Automated Referral Service is a valid Authorization.

ID#: 050411-010410-0008796




Referral Responses

Referral Response Requirements


Referral Response - Prohibited Transaction Types

An Issuer must not send a Referral Response to an Authorization Request for:

• ATM or Electronic Commerce Transactions. If the Issuer does so, VisaNet will reject the Referral
  Response and process the Authorization Request according to Stand-In Processing parameters.
• Telephone Service Transactions with Merchant Category Code 4814, "Telecommunication
  Services." If the Issuer does so, VisaNet will perform Stand-In Processing. If Stand-In Processing
  returns a Referral Response, the Referral Response will be converted to a Decline Response and
  forwarded to the Acquirer.

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Conversion of Referral Response to Decline Response - STIP-Generated
Authorization Request

A Referral Response generated on an International Transaction due to Issuer Stand-in Processing
parameters will be converted to a Decline Response if the Transaction amount is less than US $500
and the Issuer is unavailable.

ID#: 010410-010410-0004397



Conversion to Decline Response - Issuer-Generated Authorization Request

A Referral Response generated on an International Transaction by an Issuer will be converted by
VisaNet to a Decline Response for:

• Mail/Phone Order Transactions
• Unattended Terminal Transactions
• The following Merchant Category Codes when the transaction is less than US $100:
  - 4121, "Taxicabs and Limousines"
  - 4784, "Tolls and Bridge Fees"
  - 5411,"Grocery Stores and Supermarkets"
  - 5814,"Fast Food Restaurants"
  - 7523, "Parking Lots, Parking Meters, and Garages"
  - 7832,"Motion Picture Theaters"

ID#: 010410-010410-0008833



Maximum Issuer Monthly Referral Rates (Updated)

An Issuer must not exceed the monthly referral rate listed in the table below for its Visa Program in
the specified Merchant categories. The referral rate is the number of Referral Responses as a
percentage of all Authorization Requests processed by an Issuer, excluding those processed by
Stand-In Processing.




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Maximum Monthly Referral Rates

           Category                 Visa Classic Cards,     Visa Signature         Visa Electron
                                    Visa Gold/Premier         Cards, Visa             Cards
                                                                           1
                                      Cards, and Visa       Infinite Cards
                                    Commercial Cards

Retail Merchants                           0.5%                     0.3%            Not allowed

Airlines                                   0.5%                     0.3%            Not allowed

Hotels                                     0.5%                     0.2%            Not allowed

Cruise Lines                               0.5%                     0.3%            Not allowed

Car Rentals                                0.5%                     0.2%            Not allowed

Mail/Phone Orders                          0.5%                     0.3%            Not allowed

Quasi-Cash                                 0.5%                     0.3%            Not allowed

ATM Cash Disbursements                  Not allowed           Not allowed           Not allowed

Referral rates listed for Mail/Phone Order Transactions also apply for Domestic Mail/Phone Order
Transactions unless a different rate is specified in the applicable Regional Operating Regulations.
1
 Effective 1 January 2011, this requirement also applies to Visa Signature Business Cards in the
AP Region.


ID#: 050411-010410-0004401



Referral Response Prohibition for Visa Electron Cards

A Visa Electron Issuer must not generate a Referral Response to any Authorization Request for Visa
Electron Cards.

ID#: 010410-010410-0004402



Issuer Referral Response Requirements

If an Issuer or its agent generates a Referral Response, it must both:

• Be available to receive the call, fax, or telex
• Respond with an Approval Response, Decline Response, or Pickup Response immediately after
  receiving the requested information

ID#: 010410-010410-0004403




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Referral Response Requirements - Canada Region

The Referral Response standards specified in "Conversion of Referral Response to Decline
Response - STIP-Generated Authorization Request" and "Conversion to Decline Response - Issuer-
Generated Authorization Request" apply to Domestic Transactions and International Transactions in
the Canada Region.

ID#: 010410-010410-0005381



Supermarket Referral Response - CEMEA Region

A CEMEA Issuer must not send a Referral Response to an Authorization Request from a
supermarket located in the CEMEA Region if the Transaction amount is less than US $150, or local
currency equivalent.

If the Issuer does so, VisaNet converts the Referral Response to an Approval Response or Decline
Response, based on the Issuer's Stand-In Processing parameters.

ID#: 010410-010410-0006202



Referral Response Prohibitions and Rates - U.S. Region

A U.S. Issuer must not:

• Send a Referral Response to an Authorization Request involving an Electronic Commerce
  Transaction
• Exceed the monthly referral rate listed in the tables below for its Visa Consumer Card and
  Commercial Visa Product Programs, respectively, in the specified Merchant categories

The referral rate is the number of Referral Responses as a percentage of all Authorization Requests
processed by an Issuer, excluding those processed by Stand-In Processing.


Maximum Monthly Referral Rates - Visa Consumer Card Programs - U.S. Region

           Category            Visa Consumer Credit           Consumer Visa Check
                                                                    Card

Airlines                                0.30%                          0.50%

Lodging/Cruise Line                     0.20%                          0.15%
Merchants

Car Rental Companies                    0.20%                          0.20%



All Merchants (including                0.20%                          0.20%
those listed above)




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Maximum Monthly Referral Rates - Commercial Visa Products - U.S. Region

           Category             Visa Business        Visa Signature       Visa Corporate    Visa Purchasing
                                                        Business

Airlines                            0.30%                0.30%                 0.20%            0.10%

Lodging/Cruise Line                 0.10%                0.10%                 0.10%            0.10%
Merchants

Car Rental Companies                0.15%                0.15%                 0.10%            0.10%

All Merchants (including            0.20%                0.20%                 0.15%            0.10%
those listed above)


ID#: 010410-010410-0005443



Referral Response for Mail/Phone Order Transactions - U.S. Region

If a U.S. Issuer replies with a Referral Response to an Authorization Request for a Mail/Phone Order
Transaction, the V.I.P. System will either:

• Forward Transactions greater than US $100 to the Acquirer's Authorizing Processor
• Return an "invalid response" code for Transactions less than or equal to US $100 to the Issuer or
  its Authorizing Member

Upon receipt of the "invalid response" code, the Issuer may generate an Approval Response or
Decline Response within the appropriate Authorization Response time limit.

If there is no Authorization Response within the appropriate time limit, Stand-In Processing generates
an Approval Response or Decline Response, as specified in the Issuer's "Issuer Unavailable" Activity
Limits.

ID#: 010410-010410-0005444



Maximum Monthly Referral Rates for International Transactions - U.S. Region

A Commercial Visa Product Issuer in the U.S. Region must not exceed the monthly referral rate listed
in the table below for international Authorization Requests during each calendar month.

The referral rate is the number of Referral Responses as a percentage of all Authorization Requests
processed by the Issuer, excluding those processed by Stand-In Processing.




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Maximum Monthly Referral Rates for International Authorization Requests - U.S. Region

          Card Type                  Maximum Monthly Referral Rate


 Visa Business                                    0.20%

 Visa Signature Business                          0.20%

 Visa Corporate                                   0.15%

 Visa Purchasing                                  0.10%


ID#: 010410-010410-0005445



Stand-In Processing Referral Response (Point-of-Transaction Terminals) - U.S.
Region

Stand-In Processing issues the Referral/Activity Default Response specified by a U.S. Issuer to an
Authorization Request from a Point-of-Transaction Terminal when:

• Either a Referral Response is indicated on the Exception File or Stand-In Processing generated a
  Referral Response because the Transaction exceeds the Activity File Parameters
• Transaction amount is US $150 or less
• Issuer's Authorizing Member is not available to process the request
• Transaction is not a Mail/Phone Order
• Transaction is not completed at a High Risk Merchant

ID#: 010410-010410-0005463




Authorization Reversals, Rejections, and Declines

Authorization Reversals and Rejections


Authorization Rejection

An Acquirer must not selectively reject or decline Authorization Requests based on an internally
developed table of BINs or Account Numbers. This prohibition includes, but is not limited to, tables
developed using the printed or tape versions of the Visa Interchange Directory.

In the U.S. Region, this prohibition does not include Authorization Requests originating from a
Limited Acceptance Merchant for Account Numbers that are within a BIN not accepted by the
Merchant. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008817




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Requirement to Accept Authorization Reversal

Effective 1 April 2010, an Acquirer that receives an Authorization Reversal from one of its Merchants
must accept the Authorization Reversal and forward it to Visa immediately.

ID#: 010410-010410-0005476



Visa Authorization Reversal Monitoring

Effective 1 April 2010, Visa will monitor Authorization Reversals and may require an Acquirer to take
corrective measures if abnormal patterns of activity are observed.

ID#: 010410-010410-0025594



Transaction Processing Subsequent to an Authorization Reversal

Effective 1 April 2010, an Acquirer must not submit into Interchange either:

• A Transaction that was subsequently reversed for the full amount
• A Transaction representing the amount of the partial Authorization Reversal

ID#: 010410-010410-0025593



Online Financial Transaction Reversal Requirements

An Acquirer must process a Reversal for an Online Financial Transaction if either the:

• Acquirer, Merchant, or terminal did not receive an Authorization Response
• Transaction is subsequently voided or cancelled

ID#: 010410-010410-0005477



Authorization Reversal Requirements - Canada Region

A Canada Issuer must acknowledge and act on 0400 messages (Authorization Reversals) received.

ID#: 010410-010410-0005382



Visa Monitoring of Authorization Reversals - U.S. Region

Visa monitors Authorization Reversals and may require a U.S. Acquirer to take corrective measures if
abnormal patterns of activity are observed.

ID#: 081010-010709-0007194




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Match Authorization Reversal to an Authorization Request - U.S. Region

A U.S. Issuer that receives an Authorization Reversal must attempt to match the Authorization
Reversal to a previous Authorization Request. When matched, the Issuer must immediately:

• Process the Authorization Reversal, as specified in the appropriate VisaNet manual
• Release any applicable hold on the available funds in its Cardholder's account

ID#: 010410-010709-0008819



Authorization Reversals - Acquirer Requirements - U.S. Region

A U.S. Acquirer that receives an Authorization Reversal from a Merchant must accept the
Authorization Reversal and forward it to Visa immediately.

ID#: 081010-010709-0007192



Prohibition Against Clearing after Authorization Reversal - U.S. Region

A U.S. Acquirer that submits an Authorization Reversal for the full or partially approved amount of a
Transaction must not subsequently enter the Transaction into Interchange.

ID#: 081010-010709-0007193




Declined Authorizations

General Requirements


Decline Response Prohibition for Electronic Commerce Transactions

An Issuer must not systematically send a Decline Response to an Authorization Request for an
Electronic Commerce Transaction coded with Electronic Commerce Indicator value "6" unless there
is an immediate fraud threat. This prohibition does not apply to Visa products issued with restrictions
clearly communicated to the Cardholder, e.g., a Card product issued for use exclusively in a Card-
Present Environment.

ID#: 010410-010410-0004389



Decline Response Prohibition for Verified by Visa Transactions

An Issuer must not implement systematic decline response parameters on Verified by Visa
"attempted authentication" Transactions. An Issuer must not maintain systematic decline response
parameters for Transactions coded with Electronic Commerce Transaction Indicator value"6" (ECI 6)
beyond the period of an immediate fraud threat. This requirement does not apply to Visa products
issued under restrictive terms clearly communicated to the Cardholder.



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Visa monitors an Issuer's decline rates for ECI 6. An Issuer is determined to be non-compliant if it
exceeds 500 Authorizations a month and a decline rate of 50% or more.

ID#: 010410-010410-0004390



Decline Response for Illegal Transactions

An Issuer may systematically send a Decline Response to an Authorization Request for a Transaction
that has been determined to be illegal.

ID#: 010410-010410-0004388



Transaction Receiving Decline Response - USOR 4.2.H.15

Effective 1 August 2010, an Acquirer must not enter a Transaction into Interchange that has
received a Decline Response unless the Transaction:
                                             68
• Received a subsequent approval
• In the U.S. Region, is a Preauthorized Transaction (This only applies in the U.S. Region.)

ID#: 081010-010410-0005701



Allowable Decline and Referral Reasons by Product


Visa Infinite Card Restriction on Declines due to Pre-Set Limits

For Visa Infinite Cards issued with no pre-set limit, Transactions must not be declined because of a
pre-set limit of any kind. Transactions must be approved or declined based on:

• The absence of suspected fraud
• The Cardholder's spending patterns
• Issuer determination of the likelihood of default

ID#: 010410-010410-0005422




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  This provision does not include Transactions that receive an Authorization Pickup Response of "04," "07," "41," or "43" or
Authorization Requests submitted more than 12 hours after the submission of the first Authorization Request.


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Visa Signature Card Restriction on Declines - U.S. Region

Except as specified in "Visa Signature Card Spending Limits and Payment Options - U.S. Region," a
Visa Signature Issuer in the U.S. Region must not decline a Transaction for exceeding a pre-set
spending limit of any kind. Transactions must be approved or declined based on:

• The absence of suspected fraud
• The Cardholder's spending patterns
• Issuer determination of the likelihood of default

ID#: 010410-010410-0005405



Visa Signature Preferred Card Allowable Decline and Referral Reasons - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must give a Decline Response or Referral
Response only as specified

ID#: 081010-010410-0005414



Visa Signature Preferred Card Restriction on Declines - U.S. Region

Except as specified in "Visa Signature Preferred Card Spending Limits and Payment Options - U.S.
Region," a Visa Signature Preferred Issuer in the U.S. Region must not decline a Transaction for
exceeding a pre-set spending limit of any kind. Transactions must be approved or declined based on:

• The likelihood of suspected fraud
• The Cardholder's spending patterns
• Issuer determination of the likelihood of default
• Issuer safety and soundness considerations

ID#: 010410-010410-0005406




VisaNet Clearing

VisaNet Clearing - General Requirements


Issuer Requirement to Provide Clearing and Settlement

An Issuer must provide Clearing and Settlement services for its Cardholders.

ID#: 010410-010410-0005404




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Reimbursement for Valid Transactions

Each Issuer must pay the Acquirer the amount due for Transactions occurring with the use of a valid
Card. This includes Transactions resulting from geographically restricted Card use outside the
country of issuance.

ID#: 010410-010410-0006558



Processing Time Limit for In-Transit Service Transactions

The Processing Date for an In-Transit Service Transaction must be within 5 calendar days of the
Transaction Date.

ID#: 010410-010410-0005571



General Clearing Requirements

For Domestic Transactions, the following rules that govern the Clearing of all Transactions may be
superseded by either Private Agreements or the operating regulations of Group Members.

Regardless of how a Transaction is routed or where it is processed, the Transaction is subject to the
applicable Visa International Operating Regulations, Regional Operating Regulations, or National
Operating Regulations affecting the Transaction Country.

A Member must clear International Transactions through VisaNet, as specified in the VisaNet
manuals, including those resulting from the use of restricted Cards outside the country of issuance.

ID#: 010410-010410-0008844



Submission of Domestic Transactions to VisaNet - AP Region (Updated)

Unless prohibited by local law, an AP Member must submit, or at least submit by collection only, all
domestic Visa Transactions to VisaNet, including any Transaction that is processed:

• Through VisaNet
• Through a VisaNet Processor
• Under any domestic Private Agreements

The following Transaction types are not required to be submitted, although an AP Member may
choose to submit them:

• Domestic ATM Transactions
• Domestic On-Us Manual Cash Disbursements

An AP Member may request a variance from Visa.

ID#: 050411-011109-0005424




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Required Use of VisaNet for Processing – AP Region (New)

Effective 1 October 2011, all Members in Malaysia, Philippines, Singapore, Thailand, and Vietnam
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must authorize, clear, and settle all Domestic Transactions through VisaNet, including On-Us
Transactions and any Transaction that is processed through a VisaNet Processor or through any
other Agent. Transactions must be submitted in the relevant format as specified in the VisaNet
manuals.

ID#: 050411-011011-0026201



Required Use of VisaNet for Processing in Australia – AP Region (New)

In the AP Region, all Members in Australia must authorize, clear, and settle all Domestic Transactions
through VisaNet. Transactions must be submitted in the relevant format as specified in the VisaNet
manuals.

This requirement does not apply to:

• On-Us Transactions
• Domestic Magnetic Stripe or contact Chip-initiated Transactions in a Face-to-Face Environment, on
  a co-badged Visa Card, processed on the domestic debit network associated with the co-badged
  acceptance mark

ID#: 050411-060111-0026168



VisaNet Transaction Types - Reporting - Canada Region (Updated)

A Canada Member must process the non-ATM BASE II financial On-Us Transactions listed in the
table below through VisaNet.

A Visa Debit Acquirer must process all Visa Debit Transactions through VisaNet.

ID#: 050411-010410-0008891



Prohibition against Manual Cash Transaction Surcharge - U.S. Region
A U.S. Acquirer must submit a Manual Cash Disbursement Transaction for Clearing at the same value
as the cash dispensed to the Cardholder.

ID#: 010410-010410-0002985



Clearing of Transactions through VisaNet - U.S. Region
In the U.S. Region, all Transactions must be processed through VisaNet, except those processed by
another means approved by Visa, as specified in "Required Transaction Processing through VisaNet -
U.S. Region."

ID#: 010410-010410-0005682

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  Excluding ATM Transactions, On-Us Manual Cash Disbursements and Transactions on a co-badged Visa Card processed
on the domestic debit network associated with the co-badged acceptance mark.


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Required Transaction Processing through VisaNet - U.S. Region

A U.S. Member must process Visa Transactions through VisaNet by one of the following means:

• Directly
• Through a Clearing Processor
• By other means approved by Visa

A Member requesting to process Transactions by a means other than through VisaNet must complete
a "VisaNet Processing Exception Request" (available upon request) and submit it to Visa.

ID#: 010410-010410-0005709



Reporting of Transactions Not Processed through VisaNet - U.S. Region

A U.S. Member must report to Visa, as specified in the appropriate VisaNet manuals, all
Transactions, Chargebacks, and Representments processed by other means approved by Visa.

ID#: 010410-010410-0005712



Account Number Processing Requirement - U.S. Region

All U.S. Member processing systems must be able to accept Account Numbers

ID#: 010410-010410-0005726



Interchange Data through VisaNet - U.S. Region

A U.S. Member must be able to receive incoming Interchange data and must send outgoing
Interchange data through BASE II or the V.I.P. System.

ID#: 010410-010410-0005678



Transaction Delivery

In the U.S. Region, VisaNet accepts the direct delivery of Visa Transactions for Clearing and
Settlement from a Direct-Connect Merchant.

A U.S. Acquirer must:

• Be capable of receiving BASE II advice records, as specified in the appropriate VisaNet manual, as
  notification that:
  - Clearing and Settlement occurred for those Transactions
  - Payment is due to the Merchant
• Accept total responsibility for Direct-Connect Merchant Transactions

ID#: 010410-010410-0006241



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Acquirer Responsibility for Visa Transactions - U.S. Region

A U.S. Acquirer is responsible for Visa Transactions it submits into Interchange including, but not
limited to, any Transaction properly charged back by an Issuer, regardless of the Acquirer's ability to
return the Transaction to the Merchant for any reason.

ID#: 010410-010410-0005077



Clearing Processor Downgrade or Termination - U.S. Region (Updated)

In the U.S. Region, if a Clearing Processor terminates receipt or transmission of Interchange, or
downgrades its VisaNet processing level, the Clearing Processor must:

• Notify Visa in writing at least 3 months before the termination or effective date of the downgrade
• Be responsible for the VisaNet access charges that would have been assessed until the
  designated termination date, if the Clearing Processor terminates the receipt or transmission of
  Interchange before the designated termination date

Access and processing levels must have been in effect at least 12 months on the designated effective
date of the downgrade or termination.

ID#: 050411-010410-0005685



Direct-Connect Merchant Downgrade or Termination - U.S. Region

In the U.S. Region, for Interchange processing access provided to a Direct-Connect Merchant at a
Clearing Member's request, the Clearing Member may terminate the receipt or transmission of
Interchange or downgrade its VisaNet processing level, as specified in "Clearing Processor
Downgrade or Termination - U.S. Region."

ID#: 010410-010410-0005686



Data Consistency Requirement - U.S. Region

In the U.S. Region, Clearing Record data must be the same as, or consistent with, comparable data
in the Authorization Request and Authorization Response, if an Authorization was obtained.

ID#: 010410-010410-0008892



Domestic Interchange


Domestic Interchange Processing

Only Domestic Interchange under Private Agreements may be processed outside of VisaNet.

These Agreements must exclude Interchange originating from an International Airline.

ID#: 010410-010410-0008920



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Private Agreements - Change Notification

Members with Private Agreements may send Domestic Interchange to Visa if they provide Visa with
at least 30 calendar days' advance written notice. Members also must provide Visa with at least 30
calendar days' written notice for termination of these agreements.

ID#: 010410-010410-0003380



Private Agreements - Interchange Files

If Members with Private Agreements elect to send Domestic Interchange files to another Member,
they must do so by the fastest means possible.

ID#: 010410-010410-0005464



Submission of Transactions to VisaNet - CEMEA Region (Updated)

A CEMEA Member must submit all domestic point-of-sale Visa Transactions to VisaNet, for Clearing
and Settlement or collection only. This includes all Transactions in a Card-Present Environment or a
Card-Absent Environment, and any Transaction that is processed:

• Through:
  - VisaNet
  - A VisaNet Processor
  - A domestic switch or Processor
  - Any other form of Processor
• Under any domestic Private Agreement or bilateral agreement

The following Transaction types are not required to be submitted to VisaNet. However, CEMEA
Members may choose to submit them:

• Domestic ATM Transactions
• Domestic Manual Cash Disbursements

ID#: 050411-011009-0008857



Submission of Domestic Transactions to VisaNet - LAC Region (Updated)

An LAC Member must submit for Settlement or for collection only all required fields and records for all
domestic Visa Card Transactions to VisaNet, including any Transaction that is processed:

• Through VisaNet
• Through a VisaNet Processor
• Under any domestic private agreements

The following Transaction types are not required to be submitted, although Clients may choose to
submit them:


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• Domestic ATM Transactions
• Domestic On-Us Manual Cash Disbursements

ID#: 050411-011109-0005564



Interchange Files and Tapes


Duplicate Interchange File Requirements

A Member must generate a duplicate Interchange File before transmitting Interchange to Visa, and
retain this file for 15 calendar days after the Settlement Date.

ID#: 010410-010410-0003372



Currency Requirements


Transaction Currency for Original Presentments

An Acquirer must enter all original Presentments into Interchange in the exact amount of Transaction
Currency authorized by the Cardholder.

ID#: 010410-010410-0008358



Basic Currency Conversion Rate Application - CEMEA Region

In the CEMEA Region, Visa applies the Basic Currency Conversion Rate to Transaction Receipts,
Credit Transaction Receipts, and Cash Disbursements. The Basic Currency Conversion Rate for
Intraregional and Interregional Transactions is either the wholesale Transactions market rate or
government-mandated rate in effect one day before the Central Processing Date.

The Issuer may apply an Optional Issuer Fee on the Basic Currency Conversion Rate. Visa will only
apply such a fee on the Issuer's instruction.

ID#: 010410-010410-0005450



Authorization Currency - CEMEA Region

A CEMEA Member must:

• Submit Authorization Requests in the Transaction Currency
• Receive Authorization Requests in its Billing Currency

ID#: 010410-010410-0008898




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Transaction Currency - U.S. Region

A U.S. Acquirer must enter all original Presentments into Interchange in the exact amount of
Transaction Currency authorized by the Cardholder.

ID#: 010410-010410-0005699



ATM Clearing


ATM Cash Disbursement Transaction Classification

An ATM Cash Disbursement is a Visa Transaction if it is made with a Visa Card or Visa Electron Card.

An ATM Cash Disbursement is a Plus Transaction if it is made with a Proprietary Card bearing the
Plus Symbol. A Visa Region or its exclusive Plus Program sublicensee may redefine a Plus
Transaction involving a Card bearing the Plus Symbol for Intraregional Transactions.

ID#: 010410-010410-0008996



ATM Clearing Requirements
An ATM Transaction cleared through VisaNet must have been authorized through VisaNet.

ID#: 010410-010410-0004795



Non-Visa Transaction Processing - U.S. Region


PIN-Debit Network Requirements - U.S. Region

A U.S. Issuer that enables Non-Visa Debit Transaction processing on its Visa Check Card or Visa
Debit Card must ensure that all such transactions are facilitated by a PIN-Debit Network.

An Issuer that enables Non-Visa Debit Transaction processing on or after 1 July 2008 and does not
require that all such transactions be authenticated by a PIN must:

• Clearly communicate to its Cardholders at the time of implementation of such processing or at the
  time of issuance, and on an annual or more frequent basis thereafter, that it has enabled Non-Visa
  Debit Transaction processing and that it does not require that all such transactions be
  authenticated by a PIN
• Clearly communicate to its Cardholders the identity of the debit networks for which such
  transactions are enabled on the Visa Check Card or Visa Debit Card
• Provide Cardholders with examples of the types of Cardholder actions that may be required to
  initiate a Visa Transaction on such Cards
• At least 30 calendar days before implementation, notify Visa that it does not require that all Non-
  Visa Debit Transactions be authenticated by a PIN




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• Clearly communicate to its Cardholders at the time of implementation of such processing or at the
  time of issuance, and on an annual or more frequent basis thereafter, that the provisions of its
  Cardholder agreement relating only to Visa Transactions are inapplicable to non-Visa transactions

An Issuer that enabled Non-Visa Debit Transaction processing before 1 July 2008 must comply with
the provisions specified above no later than 1 January 2009.

ID#: 010410-010410-0008884




Single Message System (SMS)

General Requirements


Single Message System Participation Requirements

If a Member processes Online Financial and Deferred Clearing Transactions as part of the Single
Message System, it must:

• Be linked to the Single Message System either directly or through its VisaNet Processor
• Comply with the specifications for Authorization and Clearing specified in the Visa International
  Operating Regulations and the VisaNet manuals

ID#: 010410-010410-0003087



Single Message System Message Format Conversion (Updated)

If a Single Message Service Transaction is sent to a non-participating Member, Visa converts the
Transaction to the appropriate BASE I or BASE II message format before transmitting the
Transaction.

ID#: 050411-010410-0005736




Online Financial and Deferred Clearing

Online Financial and Deferred Clearing General Requirements - U.S. Region


Online Financial and Deferred Clearing Transaction Processing - U.S. Region

A U.S. Member may process Online Financial and Deferred Clearing Transactions as part of the
Single Message Service.

A participating Member must comply with the requirements specified in "Single Message System
Participation Requirements."

ID#: 010410-010410-0008861


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Deferred Clearing Transaction Requirements - U.S. Region

In the U.S. Region, a Deferred Clearing Transaction for a Visa or Visa Electron Transaction
completed in a Card-Present Environment must originate at a Point-of-Transaction Terminal and
include the:

• Entire unaltered contents of track 1 or track 2 of the Magnetic Stripe, Chip, or Contactless Payment
  chip
• Value of "05," "07," 90," or "91" in the POS Entry Mode code field of the Authorization Request (if
  applicable) and the Clearing Record

A Deferred Clearing Transaction (excluding a Visa Electron Transaction) may be key-entered either:

• If the Magnetic Stripe cannot be read
• In a Card-Absent Environment

ID#: 010410-010410-0008862



Clearing Reversals for Online Financial and Deferred Clearing Transactions - U.S.
Region

A U.S. Acquirer must process a Clearing Reversal for an Online Financial or Deferred Clearing
Transaction, as specified in the VisaNet manuals, if either the:

• Acquirer, Merchant, or terminal did not receive an Authorization Response
• Transaction is subsequently voided or cancelled

ID#: 010410-010410-0005735



Online Financial Transactions


Online Financial Transaction Authorization Request

An Online Financial Transaction Authorization Request for a Visa or Visa Electron Transaction must
originate at an ATM or a Point-of-Transaction Terminal and include the:

• Entire unaltered contents of track 1 or track 2 of the Magnetic Stripe or the Magnetic-Stripe Image
  on the Chip
• Final amount of the Transaction

A purchase Transaction may be key-entered either:

• In a Card-Absent Environment
• If the Magnetic Stripe cannot be read, unless it is a Visa Electron Transaction, which may not be
  key-entered

ID#: 010410-010410-0008863




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Online Financial Transaction Authorization - U.S. Region

In the U.S. Region, every Online Financial Transaction must be authorized.

If an Online Financial Transaction is initiated in a Card Present Environment, the Online Financial
Transaction Authorization Request for a Visa or Visa Electron Transaction must originate at a Point-
of- Transaction Terminal and include the:

• Entire unaltered contents of track 1 or track 2 of the Magnetic Stripe, Chip, or Contactless Payment
  chip
• Value of "05," "07," "90," or "91" in the POS Entry Mode code field

An Online Financial Transaction Authorization Request for a Visa or Visa Electron Transaction must
include the final amount of the Transaction.

A Transaction (excluding a Visa Electron Transaction) may be key-entered if the Magnetic Stripe
cannot be read.

ID#: 010410-010410-0008865




Clearing Reversals and Adjustments

Clearing Reversals


Member Reversal of Duplicate Data through VisaNet

These regulations for reversing duplicate data apply to Members that clear Interchange through
VisaNet.

If Visa has processed an original file, the Member must reverse the duplicate data.

If the Receiving Member has processed the original file, the Sending Member must reverse the
duplicate data.

To reverse duplicate data, the Member must:

• Identify the Processing Date of the Transaction that it is reversing
• Replace the Transaction codes of the duplicate Transactions with the appropriate Reversal codes,
  as specified in the VisaNet manuals. The Member must not change any other information in the
  duplicate Transaction.
• Send the Reversals to Visa within one business day of notification of the duplicate data

ID#: 010410-010410-0008878




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Issuer Reversal

An Issuer must reverse the duplicate Transactions from its Cardholder records upon receipt of
Reversal information. Visa reverses the duplicate Transactions using either the:

• Appropriate Basic Currency Conversion Rate
• Currency Conversion Rate effective on the Central Processing Date of the duplication

Visa assesses the responsible Members any foreign exchange loss due to currency fluctuation
between the Central Processing Date of the duplicate data and the Reversal date using the VisaNet
fee collection process.

ID#: 010410-010410-0008879



Member Reversal of Duplicate Data for Members with Private Agreements

To reverse duplicate Interchange data, a Member with Private Agreements that processes Domestic
Interchange outside of VisaNet must:

• Identify the Processing Date of the Transactions that it is reversing
• Replace the Transaction codes of the duplicate Transactions with the appropriate Reversal codes,
  as specified in the VisaNet manuals. The Member must not change any other information in the
  duplicate Transaction.
• Send the Reversals to the Receiving Member within one business day of notification of the
  duplicate data

ID#: 010410-010410-0003392



Original Adjustment through VisaNet

An Acquirer may initiate a credit Reversal only to correct inadvertent processing errors.

The Acquirer must process a credit Reversal or a debit Adjustment within 30 calendar days of the
Processing Date of the initial credit Transaction.

ID#: 010410-010410-0008880



Permitted Use of Clearing Reversals - U.S. Region 6.2.I.5.a

In the U.S. Region, a Clearing Reversal may be initiated by the Clearing Processor that originated the
duplicate or erroneous transmission or by Visa.

The Clearing Processor may use a Clearing Reversal only to correct either:

• Inadvertent processing errors, as described in "Duplicate or Erroneous Data - U.S. Region"
• Individual Transactions that were transmitted twice or contain erroneous data




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To reverse a duplicate or erroneous Interchange transmission, the Clearing Processor must:

• Ensure that Visa is aware of the duplicate or erroneous transmission
• Replace the transaction codes of the duplicate Transactions with the appropriate Clearing Reversal
  codes, as specified in "VisaNet Clearing Message Content Standards" (Exhibit NN). The Clearing
  Processor must not change any other information in the duplicate transactions.
• Send the corrected file on the next transmission day

ID#: 010410-010410-0008882



Adjustments


Out-of-Balance Online Check Card Transactions - U.S. Region

A U.S. Acquirer may process an Adjustment to an Online Check Card Transaction, as specified in the
VisaNet manuals, to correct a Merchant or Acquirer processing error that causes an out-of-balance
situation. The Acquirer must:

• Process the Adjustment within 10 calendar days of the purchase date of the original Transaction
• Process a Clearing Reversal for the incorrect Transaction
• Process the Adjustment for the correct Transaction amount

An Acquirer may process a first Presentment Transaction as an Original Adjustment, as specified in
the VisaNet manuals, when the:

• Original Transaction resulted from an Online Check Card Transaction
• Connection between the Merchant and its Authorizing Processor was inoperable
• Merchant completed the Transaction without obtaining an Authorization

An Acquirer must not process an Original Adjustment if the original Transaction received a Decline
Response.

ID#: 081010-010410-0008883



Adjustment and PIN/Magnetic-Stripe Storage or Transmission - U.S. Region

A U.S. Acquirer that processes an Adjustment or Original Adjustment must not store the:

• PIN, or provide it in the Adjustment
• Contents of the Magnetic Stripe or Chip, or provide it in the Adjustment

ID#: 010410-010410-0005740




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Adjustment and Original Adjustment Chargeback Liability - U.S. Region

A U.S. Acquirer is liable for an Adjustment or Original Adjustment charged back in accordance with
the U.S. Regional Operating Regulations.

ID#: 010410-010410-0005741




Duplicate or Erroneous Data

Duplicate or Erroneous Data Processing Requirements


Correction before Transmission through VisaNet

If a Member that clears Interchange through VisaNet:

• Detects duplicate data before sending it to Visa, it must correct the duplication before transmission
• Detects duplicate data on a file previously sent, it must immediately notify Visa of the situation by
  telephone, fax, or telex, and provide the:
  - File Processing Date
  - Tape number, for a mailed tape

If Visa has received but not yet processed the file containing the duplicate data, the Member must
send the corrected file no later than the next business day.

ID#: 010410-010410-0008854



Notification of Duplicate Data - Exceptions for Private Agreements (Updated)

This section applies to Members with Private Agreements that process Domestic Interchange outside
of VisaNet.

If a Sending Member detects duplicate data before sending it to the Receiving Member, it must
correct the duplication before transmission.

If the Sending Member detects duplicate data on a file previously sent, it must immediately notify the
Receiving Member of the situation by telephone or fax and provide the:

• File Processing Date
• Tape number, for a mailed tape

If the Receiving Member has received but not yet processed the file containing the duplicate data, the
Sending Member must send the corrected file no later than the next business day.

ID#: 050411-010410-0008856




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Australia Domestic Processing Error Notification Requirements – AP Region
(Updated)

In Australia, a Member must do one of the following in the event of a processing error:

• If the error impacts only one domestic Member, the Member may either:
  - Contact and advise the affected Member directly
  - Keep Visa informed of the processing error by e-mailing the details specified in “Australia
    Processing Error Advice to Visa - AP Region"
• If the error impacts more than one domestic Member, the Member may either:
  - Advise Visa of the processing error and request assistance to circulate the impact notification to
    other domestic Members with the information specified in “Australia Processing Error Advice to
    Visa - AP Region”
  - Advise Visa of the processing error and circulate the impact notification to other domestic
    Members directly with the information specified in “Australia Processing Error Advice to Visa -
    AP Region”

ID#: 080411-060111-0026164



Australia Processing Error Advice to Visa – AP Region (New)

A Member in Australia notifying Visa of a processing error must send the advice to Visa within 24
hours of processing error identification. If the notification contains sensitive information (e.g. Card
account information) the file must be encrypted with password prior to e-mailing to Visa.

The advice to Visa must be sent via e-mail to Visa Client Support Services with the subject: AU,
Member Name – Processing Error Notification.

The e-mail must indicate the action required from Visa and must contain the following:

• Brief description of the error/impact including estimated volume of transactions
• Brief description of the action plan to rectify error/reduce impact
• Central Processing Date of the original file/transactions (whichever applicable)
• Central Processing Date of the duplicate file/transactions (whichever applicable)
• Transaction reference number range (if available)
• Merchant name (where appropriate)
• Anticipated file refund/reversal date (if applicable)
• Member contact information (telephone number, e-mail address etc.)

If the e-mail requires Visa assistance to broadcast to other domestic Members, Visa will assist to
circulate the impact notification to all impacted Members within the next business day.

ID#: 050411-060111-0026165




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Duplicate or Erroneous Data - U.S. Region

In the U.S. Region, if a Clearing Processor that cleared Interchange through VisaNet detects duplicate
or erroneous data before sending it to Visa, the Clearing Processor must correct the data before
transmission.

The Clearing Processor must immediately notify Visa by telephone or fax if duplicate or erroneous
data is transmitted, including any of the following:

• An entire day's Interchange duplication
• Batches of previously transmitted Interchange
• Batches captured more than once on the same outgoing Interchange File

The Clearing Processor must rectify and send the correction on the next transmission day following
the incident of the duplicate or erroneous data.

A Clearing Processor that fails to comply with these procedures is assessed a fine

ID#: 010410-010410-0008855




Settlement

General Settlement Requirements


Australia Interchange File Exchange Settlement Cut-Off Time for BASE II Processors -
AP Region (New)

A domestic VisaNet Processor in Australia must adhere to the applicable Australia Eastern Standard
Time or Eastern Daylight Savings Time based on the local Settlement Bank's Settlement site as the
cut-off time for the Clearing of BASE II files.

ID#: 050411-060111-0026166



Australia Local Settlement Bank Fee – AP Region (New)

In Australia, a local Settlement Bank fee of AUD 245 is appointed to Members monthly. The fee is
applied quarterly by the central banker as AUD 735, excluding GST.

ID#: 050411-060111-0026167




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Billing and Settlement Currencies


Issuers Using Multiple Billing Currencies

An Issuer receives Interchange in its Billing Currency. If the Issuer uses more than one Billing
Currency, it must have a separate BIN for each.

ID#: 010410-010410-0006559



Settlement Account Requirements


Member Settlement Account Requirements - AP Region

An AP Member must have sole ownership of any account it uses for funds transfers payable of
Settlement Amounts at the Member's Settlement Bank.

ID#: 010410-010410-0005419



Late Settlement Fee


Late Settlement Fee - Canada Region

A Canada Member may be required to pay a Late Settlement Fee, as specified in "Late Settlement
Fees," if a required Settlement Amount is not transferred to Visa in accordance with the requirements
of the Canadian National Net Settlement Policies and Procedures Guide.

ID#: 010410-010410-0005433



Account Used for Visa Settlement (New)

Member agrees that, by providing a Settlement Reporting Entity for a BIN or BIN Alternate, Visa
Settlement for the Member’s Settlement Currency for the BIN or BIN Alternate may occur through the
Settlement bank account used for the Funds Transfer Settlement Reporting Entity associated with the
Settlement Reporting Entity, as designated by the Member, or a Clearing Processor as approved by
Visa, responsible for such Funds Transfer Settlement Reporting Entity.

ID#: 050411-141010-0026050




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Member Responsibility for Settlement Financial Obligations - AP Region

In addition to the provisions specified in "Visa Rights in Calculating Settlement," an AP Member is
responsible for all financial obligations owed to Visa by any entity or subsidiary owned or controlled
by the Member, even if the entity is separately incorporated or in any other way legally independent of
the Member. Visa may offset any amount owed to Visa by the entity or subsidiary against the Member
accounts, branches, or other owned or controlled entity worldwide.

ID#: 010410-010410-0005423



Member Responsibility for Settlement Financial Obligations - U.S. Region

A U.S. Member is responsible for any amount due for all Transaction Receipts bearing its BIN and
resulting from a Merchant or another Member honoring a valid, properly presented Card.

ID#: 010410-010410-0005710



National Net Settlement


Participation in National Net Settlement - Canada Region

Unless a Member has a Private Agreement for Settlement of Domestic Transactions, Canada
Members must participate in the Canada Region's National Net Settlement (NNS) arrangements.

ID#: 010410-010410-0005429



National Net Settlement Policies and Procedures - Canada Region

Canada Members participating in National Net Settlement must comply with the Canadian National
Net Settlement Policies and Procedures Guide (available at https://visainfo.ca.) The Canadian
National Net Settlement Policies and Procedures Guide may be changed from time to time at the
discretion of Visa, subject to Members being provided reasonable advance notice of any changes that
might affect them.

ID#: 010410-010410-0005430



National Net Settlement Contacts - Canada Region

A Canada Member participating in National Net Settlement (NNS) must designate to Visa in writing a
primary and back-up point of contact with respect to its organization's participation in NNS. Any
change of the primary or back-up contact or its contact information must be provided to Visa in writing
within 15 calendar days of the change.

ID#: 010410-010410-0005431




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Final Settlement Procedure - National Net Settlement - Canada Region

Final payment of amounts due in Settlement to Canada Members participating in National Net
Settlement (NNS) will not be initiated by Visa (unless waived by Visa at its discretion) until all of the
amounts due in Settlement from Members participating in NNS have been received.

ID#: 010410-010410-0005432



Suspension of National Net Settlement - Canada Region

In the Canada Region, Visa has the right to temporarily suspend National Net Settlement (NNS) at
any time in its sole discretion. When Visa suspends NNS, it will use reasonable efforts to advise
Members of the suspension and the reason for doing so and will resume Settlement as soon as is
practical.

ID#: 010410-010410-0005434



National Net Settlement Disputes - Canada Region

In the Canada Region, Visa is the sole and final authority for the resolution of any disputes with
respect to National Net Settlement (NNS).

ID#: 010410-010410-0005436



Member Settlement Failure in National Net Settlement - Canada Region

If a Canada Member fails to settle an amount owed in National Net Settlement (NNS) in accordance
with the timelines established in the Canadian National Net Settlement Policies and Procedures
Guide, Visa will offset any shortfall from any amount owed to the Member with respect to NNS.

ID#: 010410-010410-0005435



National Net Settlement Participation - CEMEA Region (Updated)

A CEMEA Member in a country where a National Net Settlement Service exists must enroll and
certify itself for the service with Visa, as specified in the applicable National Net Settlement Service
Description Guide.

Member participation is mandatory in a country where the National Net Settlement Service is
implemented by Visa. Participant Members with a sponsor from another country may not participate
in the National Net Settlement Service if one is established in its own country.

A variance to the above requirements applies to Members in Afghanistan and Pakistan.

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National Net Settlement Transaction Processing - CEMEA Region (Updated)

A CEMEA Member participating in the National Net Settlement Service must process all qualifying
transactions through VisaNet and must submit them into Interchange correctly. If a participating
Member incorrectly submits transactions into the International Settlement Service, a Compliance right
may be filed against that Member.

A variance to this requirement applies to Members in Afghanistan and Pakistan.

ID#: 050411-010410-0005458



Use of Settlement Flag in National Net Settlement - CEMEA Region (Updated)

A CEMEA Member must use the appropriate Settlement Flag indicator to route qualifying Domestic
Transactions to the National Net Settlement Service, as detailed in the VisaNet manuals and the
applicable National Net Settlement Service Description Guide.

A variance to this requirement applies to Members in Afghanistan and Pakistan.

ID#: 050411-010410-0005459



Payment to Merchants


Payments to Merchants

An Acquirer must pay or credit its Merchant's or Internet Payment Service Provider's (IPSP) account
promptly after Transaction Receipt Deposit. These payments must be the same as the Transaction
totals, less any applicable discounts or Credit Transaction Receipt totals.

ID#: 010410-010410-0008850



Acquirer Obligation to Pay - U.S. Region

A U.S. Acquirer must not waive, release, abrogate, or otherwise assign to a non-Member its
obligation to guarantee and ensure payment for all Transactions in which its Merchant honored a
valid Visa Card or Visa Electron Card properly presented for payment.

ID#: 010410-010410-0005146



Requirement for Funds Held by Acquirer - U.S. Region

A U.S. Acquirer holding funds as security to ensure proper Merchant performance must hold the
funds in an account in the Merchant's name.

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Transaction Receipt Processing

Transaction Receipt Processing Time Limits


Endorsement Date

The Endorsement Date on a Transaction Receipt entered into Interchange must comply with the table
below.

In calculating the processing time limits, the Endorsement Date and Transaction Date are each
counted as one day.


Transaction Receipt Processing Time Limits

For Transaction Receipts that a                 The Endorsement Date must be within:
Merchant must deposit within:

2 business days from the              3 calendar days from the Transaction Date, excluding local
Transaction Date (Visa Electron       non-processing days, and the same date on which the
Transactions only)                    Acquirer processes the BASE II Edit Package and transmits its
                                      outgoing Interchange

3 business days from the              15 calendar days from the Transaction Date
Transaction Date

21 calendar days from the             30 calendar days from the Transaction Date
Transaction Date


ID#: 010410-010410-0008823



Transaction Receipt Submission Time Limits

An Acquirer must submit a Transaction Receipt no later than 2 business days from the Endorsement
Date.

ID#: 010410-010410-0005550



Processing Time Limit for ATM Transactions

The Processing Date for an ATM Transaction must not be more than 3 calendar days from the
Transaction Date.




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The following are excluded in calculating the allowable number of days:

• Transaction Date
• Processing Date
• Sunday

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Transaction Receipt Processing Time Limits - AP Region

In the AP Region, the Endorsement Date on Transaction Receipts entered into Interchange must be
within 8 business days from the Transaction Date. The 8 business days includes the Transaction
Date and the Endorsement Date. This regulation does not apply to Visa Electron Transactions.

The Endorsement Date is one of the following dates on a Clearing Record:

• If cleared through BASE II, the Edit Package run date on which a Member submits outgoing
  Interchange
• If cleared through the Single Message System, the Settlement Date
• If cleared under a Private Agreement, the date on which a Member processes outgoing
  Interchange

For BASE II Transactions, the Endorsement Date is no later than the date on which the Member
creates the BASE II Interchange File. For Transactions with indecipherable or invalid Account
Numbers not cleared through BASE II, the Endorsement Date is the date on which the Transaction
was first entered into Interchange and mailed.

ID#: 010410-010410-0005340



Valid Transaction Dates - U.S. Region

In the U.S. Region, the Transaction Date is the date on which a Transaction between a Cardholder
and a Merchant or an Acquirer occurs. The U.S. Regional Operating Regulations recognize the valid
Transaction Dates in the table below.




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Transaction Dates - U.S. Region

                        Transaction Type                                      Transaction Date

Lodging Transactions, including:                                     Check-out or prepayment date
• CPS/Hotel and Car Rental Card Not Present
• CPS/Hotel and Car Rental Card Present
• CPS/e-Commerce Preferred Hotel and Car Rental

Cruise Line Transactions, including:                                 Disembarkation, prepayment, or
                                                                     final payment date
• CPS/Hotel and Car Rental Card Not Present
• CPS/Hotel and Car Rental Card Present
• CPS/e-Commerce Preferred Hotel and Car Rental

Car Rental Transactions, including:                                  Car return or prepayment date

• CPS/Hotel and Car Rental Card Not Present
• CPS/Hotel and Car Rental Card Present
• CPS/e-Commerce Preferred Hotel and Car Rental

Airline and passenger railway Transactions, including:               Ticket-issuing date
• CPS/Passenger Transport
• CPS/e-Commerce Preferred Passenger Transport

Preauthorized Health Care Transaction                                Date on which the Health Care
                                                                     Merchant receives notice of
                                                                     adjudication from the Cardholder's
                                                                     insurance company

Mail/Phone Order Transaction (including CPS/Card Not Present         Date on which merchandise is
Transactions) where merchandise is to be shipped                     shipped


ID#: 010410-010410-0005753




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Processing Time Limits - U.S. Region (Updated)

Transaction Receipt Processing Time Limits in the U.S. Region are specified in the table below. A
U.S. Acquirer's Processing Date and Transaction Date are each counted as one day.


Transaction Receipt Processing Time Limits - U.S. Region

 For Transaction Receipts that a Merchant must               The Acquirer's Processing Date must be
                deposit within:                                              within:

                     Transaction Receipts (Excluding Credit Transaction Receipts)

5 calendar days of the Transaction Date                   10 calendar days from the Transaction Date
                                              2
15 calendar days of the Transaction Date                  20 calendar days from the Transaction Date

                                       Credit Transaction Receipts

3 calendar days of the Transaction Date                   5 calendar days from the Transaction Date
                                          2
5 calendar days of the Transaction Date                   10 calendar days from the Transaction Date

² T & E Merchants are normally granted this allowance.


In the U.S. Region, additional requirements for Transaction Receipt processing time limits apply to
the following Transaction types:

• Electronic Interchange Reimbursement Fee Transactions
• Payment Service Interchange Reimbursement Fee Transactions
• Preauthorized Health Care Transactions
• Supermarket Incentive Program Transactions

ID#: 080411-010410-0008888



Transaction Receipt Processing Time Limit Violations - U.S. Region

A U.S. Clearing Processor must report to Visa consistent and flagrant violations of processing time
limits. Violation of these time limits does not automatically entitle the Issuer to a Chargeback right.

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Transaction Receipt Processing - Invalid or Illegible Account Number


Prohibition against Clearing Transaction Receipts with Illegible or Invalid Account
Numbers

An Acquirer must not clear original Transaction Receipts with illegible or invalid Account Numbers
through Visa until it determines the correct Account Number.

The Acquirer must not clear the Transaction Receipt through VisaNet if the Acquirer has contacted
the Issuer and the Issuer cannot determine the Account Number.

ID#: 010410-010410-0008825



Transaction Receipts with Illegible or Invalid Account Numbers - Requirements for
Counterfeit Losses

For a Transaction Receipt with an illegible or invalid Account Number, an Acquirer must comply with
the applicable rules for counterfeit losses specified in the Visa International Operating Regulations if it
appears that a Transaction Receipt resulted from the use of a:

• Counterfeit Card
• Misembossed or Misencoded Visa Card or Visa Electron Card

ID#: 010410-010410-0008824



Transaction Receipts with Illegible or Invalid Account Numbers - Issuer Assistance

If an Acquirer that receives a Transaction Receipt with an illegible or invalid Account Number can
identify the Issuer, the Acquirer may contact the Issuer for assistance in obtaining the Account
Number.

If the Acquirer contacts the Issuer for assistance in obtaining an Account Number, the Issuer:

• Must assist the Acquirer
• May require that all requests be in writing

If the Acquirer is not able to identify the Issuer, the Acquirer that first received the Transaction
Receipt is liable, unless the Acquirer can identify the Issuer within 12 months of the Transaction Date
and clear the Transaction Receipt directly with the Issuer.

ID#: 010410-010410-0008826




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Chargeback Restrictions for Invalid or Illegible Account Numbers

Transaction Receipts settled under the procedures for Transaction Receipts with illegible or invalid
Account Numbers are not subject to Chargeback reason code 74, "Late Presentment."

ID#: 010410-010410-0005546



Transaction Receipts with Illegible or Invalid Account Numbers - Sending Member
Requirements

For Domestic Interchange cleared outside of VisaNet, a Sending Member must:

• Correct an illegible or invalid Account Number before clearing the Transaction Receipt
• Comply with the processing and clearing requirements for a Transaction Receipt with an illegible or
  invalid Account Number
• Follow the usual procedures after it determines the correct Account Number

ID#: 010410-010410-0005547

Invalid or Illegible Account Number Clearing with Issuer - U.S. Region

For a Transaction Receipt with an invalid or illegible Account Number, if a U.S. Acquirer has
contacted the Issuer and the Issuer cannot determine the Account Number, the Acquirer must clear
the Transaction Receipt directly with the Issuer.

ID#: 010410-010410-0005752




Original Credit

Original Credit - General


Original Credit - Compliance with Visa Requirements (Updated)

A Recipient Member must comply with all Visa requirements specified in the Visa International
Operating Regulations, Visa Money Transfer (VMT) Global Implementation Guide, and Original
Credits Member Requirements.

ID#: 050411-010410-0006981



Original Credit - Deposit-Only Account Number

A Recipient Member must:

• Notify Visa that a BIN or account range is designated for Deposit-Only Account Numbers




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• Ensure that a Deposit-Only Account Number is not used for any purpose other than Original Credit
  processing
• List a compromised Deposit-Only Account Number on the Exception File and, optionally, in the
  Card Recovery Bulletin

ID#: 010410-010410-0006983



Original Credit Transaction Authorization Request Requirements (Updated)

For an Original Credit Transaction, an Originating Member may choose to send an Authorization
Request.

VisaNet will respond to an Originating Member on behalf of a Recipient Member that accepts the
Authorization Request if a response is not received within the 15-second Authorization Request
response time frame.

VisaNet will respond to an Originating Member on behalf of a Recipient Member that does not accept
an Authorization Request by sending either:

• An Approval Response, if no exception occurs
• A Decline Response, if an exception occurs, including one where a Recipient Member is prohibited
  from accepting an Original Credit

ID#: 050411-010410-0008698



Original Credit Transaction Authorization Message Decline Response (Updated)

When an Originating Member receives a Decline Response to an Original Credit Authorization
Request, it must not send the Clearing Transaction.

ID#: 080411-010410-0005575




Money Transfer Original Credit

Money Transfer Original Credit - General


Money Transfer Original Credit - Compliance with Visa Requirements (Updated)

Effective 9 December 2010, a Recipient Member must comply with all Visa requirements as,
specified in the Visa International Operating Regulations, Visa Money Transfer (VMT) Global
Implementation Guide, and Original Credits Member Requirements.

ID#: 080411-091210-0026249




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Money Transfer Original Credit Transaction - Protection of Sender Data (Updated)

When receiving and managing sender data for a Money Transfer Original Credit Transaction, a
Recipient Member must comply with the Payment Card Industry Data Security Standard (PCI DSS).

ID#: 080411-010410-0006982



Money Transfer Original Credit Transactions - Fast Funds Processing (Updated)

Effective 9 December 2010, a Recipient Member participating in Fast Funds must register with
Visa.

Effective 9 December 2010, unless specified otherwise in “Money Transfer Original Credit – Fast
Funds Processing in Russia – CEMEA Region,” a non-U.S. Recipient Member that supports the
receipt of Online Financial Transactions (0200 messages) or Authorization Requests (0100
messages) in the enhanced format, as specified in the Visa Money Transfer (VMT) Global
Implementation Guide, must process as Fast Funds any incoming Money Transfer Original Credit
Transaction.

Effective 9 December 2010, a U.S. Recipient Member that supports the receipt of Online Financial
Transactions (0200 messages) or Authorization Requests (0100 messages) in the enhanced format,
as specified in the Visa Money Transfer (VMT) Implementation Guide, may process as Fast Funds
any incoming Money Transfer Original Credit Transaction.

ID#: 080411-091210-0026250



Money Transfer Original Credits - Fast Funds Processing in Russia - CEMEA Region
(Updated)

Effective 15 October 2011, in the CEMEA Region, all Recipient Members in Russia must accept
incoming Money Transfer Original Credit Transactions as either Online Financial Transactions (0200
messages) or Authorization Requests (0100 messages), as specified in the Visa Money Transfer
(VMT) Global Implementation Guide

Effective 15 October 2011, a Recipient Member in Russia must participate in Fast Fund processing
of incoming Money Transfer Original Credit Transactions.

Effective 15 October 2011, in the CEMEA Region, an Originating Member in Russia must support
the initiation of Online Financial Transactions (0200), as specified in the Visa Money Transfer (VMT)
Global Implementation Guide.

ID#: 080411-091210-0026251




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Money Transfer Original Credit Transaction Processing Requirements - U.S. Region
(Updated)

Effective 15 February 2010, a U.S. Originating Member must:

• Originate Money Transfer Original Credit Transactions only through the Single Message System
• Comply with the Payment Card Industry Data Security Standard (PCI DSS) when sending and
  managing sender data for a Money Transfer Original Credit Transaction
• Include in the Online Financial Transaction message the following data:
  - The sender’s Account Number used to fund the Money Transfer Original Credit Transaction or a
    Transaction reference number that uniquely identifies the sender if the sender’s Account Number
    is not available
  - Additional data as specified in the "VisaNet Clearing Message Content Standards" (Exhibit NN)
    and "Required Data for Authorization Requests and Responses" (Exhibit OO)

Effective 15 February 2010, when receiving and managing sender data for Money Transfer Original
Credit Transactions, a U.S. Recipient or Originating Member must comply with the Payment Card
Industry Data Security Standard (PCI DSS).

ID#: 050411-150210-0025766




Bill Payment - AP Region

Bill Payment Requirements


Australia Bill Payment Transaction Requirements – AP Region (Updated)

A Domestic Australia Bill Payment Transaction must meet the following requirements:

• The BASE I Transaction record must contain a POS Condition Code 02 - Cardholder Activated
  Terminal and the BASE II message must include the Cardholder Activated Terminal indicator 3 -
  Cardholder-Activated Terminal Type B
• The Transaction must be initiated at a Merchant properly assigned one of the following Merchant
  Category Codes:
  - 5311, “Department Stores”
  - 5310, “Discount Stores”
  - 5331, “ Variety Stores”
  - 5411, “Grocery Stores and Supermarkets”
  - 5945, “Hobby, Toy and Game Shops”




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• The Transaction must be subsequently processed using one of the following biller Merchant
  Category Codes:
     - 4900, “Utilities - Electric, Gas, Water, and Sanitary”
     - 4814, “Telecommunication Services”
     - 6012, “Financial Institutions - Merchandise and Services”
                                         70
     -   5311, “Department Stores”

ID#: 080411-060111-0026171



Australia Bill Payment Transaction Receipt Data Requirements – AP Region (New)

The Transaction Receipt data for an Australia Bill Payment Transaction initiated at a Cardholder-
Activated Terminal must include biller details for each payment.

ID#: 050411-060111-0026172



Australia Bill Payment Transaction BASE II Data Requirements – AP Region (New)

The BASE II Transaction record for an Australia Bill Payment Transaction must include the billpay
descriptor (followed by name and location of the biller’s agent accepting payment).

ID#: 050411-060111-0026173




File Correction Service

General Requirements


Duplicate Interchange File - Reversals

A Member that submits a duplicate Interchange File may request Visa to reverse any of the following:

• An entire day's Interchange duplication
• Batches of previously transmitted Interchange
• Batches captured more than once on the same outgoing Interchange

ID#: 010410-010410-0005472



Request for Reversal of Interchange Items

A Clearing Processor that submits accepted Interchange items in error may request Visa to reverse
any of the items specified in "Duplicate or Erroneous Data - U.S. Region."

ID#: 010410-010410-0003705

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     When the Transaction record contains an Electronic Commerce Indicator (ECI) 3 – Installment Transaction


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Visa Reversal of Interchange Items

Visa may independently choose to perform this service on behalf of the Sending Member, if
circumstances warrant such action.

ID#: 010410-010410-0005473




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Chapter 8: Risk Management

Core Principle 8.1

Adherence to Risk and Fraud Controls


Protecting Against Inappropriate Activity

To protect against inappropriate or unauthorized activity that may damage the payment system or
brand, participants in the Visa system agree to follow Visa-specified risk and fraud requirements &
controls.

ID#: 010410-010410-0007789




Core Principle 8.2

Report All Fraud Activity to Visa


Reporting Fraud for Monitoring and Analysis

To allow Visa to analyze and respond to new and evolving risks and security threats, Visa requires
participants in the Visa system to report all fraudulent transaction or other criminal risk activity to Visa
without delay.

ID#: 010410-010410-0007790




Core Principle 8.3

Protect Visa Account and Transaction Data


Following Standards for Data Protection

To protect all parties to the Visa system, participants with access to personal Visa account
information or Visa transaction information are responsible for following rigorous standards for data
protection set by Visa. These standards may be consistent with or exceed industry standards. For
example, the storage of magnetic stripe data is strictly prohibited.

ID#: 010410-010410-0007815




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Core Principle 8.4

Protect Against Illegal Activities


Preventing Illegal Activities in the Visa System

Participants in the Visa system agree to take appropriate measures to prevent the Visa system from
being used for or associated with illegal activities. These include, but are not limited to, child
pornography, money laundering or financing terrorist activities. Because Visa payments can be
subject to a variety of anti-money laundering laws in many countries, participants in the Visa system
are also responsible for complying with these laws, including, for participants in the U.S. Region, the
Bank Secrecy Act and the USA PATRIOT Act.

ID#: 010410-010410-0007816




Security and Fraud Control Requirements

General Security and Fraud Control Requirements


Risk Management and Fraud Control Standards and Compliance - AP Region

An AP Member must have a risk management/security and fraud control function.

Visa assesses a fine of US $12,000 for initial non-compliance with "Fraud Control Contact Availability
- AP Region" and "Security and Fraud Control Staff Information Access - AP Region," and for each
additional 12-month cycle of non-compliance.

ID#: 010410-010410-0007739



Fraud Control Contact Availability - AP Region

An AP Member's security and fraud control contact must be available (although not necessarily on
duty, on-site) 24 hours a day, 7 days a week.

ID#: 010410-010410-0000614




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Security and Fraud Control Staff Information Access - AP Region

Security and fraud control staff of an AP Member must have access to at least 6 months of
Cardholder and Merchant activity information, as well as the authority to provide, upon request:

• Basic Cardholder identity information and any other relevant information
• Reported or suspected fraudulent account activity
• Details about any Card loss or theft

ID#: 010410-010410-0000615



Daily Merchant Investigation - CEMEA Region

A CEMEA Acquirer must investigate, daily, any Merchant appearing on its exception reports or
identified by its risk management systems.

ID#: 081010-010410-0003854



Acquirer Investigation Requirements - CEMEA Region

A CEMEA Acquirer must employ sufficient risk management staff resources and security controls to
undertake the following risk and fraud detection activities on its Merchants. These activities include,
but are not limited to:

• Cooperate fully with Visa in any investigation, and release all information relative to the Merchant
  upon request
• Terminate the Merchant agreement if it is determined that the Merchant:
  - Is a threat to the integrity of the Visa brand
  - Introduces a disproportionate level of fraud into the Visa system
• Take legal action to minimize losses, where appropriate
• Cooperate with Issuers and law enforcement agencies
• Hold funds while the Merchant is fully investigated, if possible
• Initiate criminal and civil proceedings against the Merchant, if applicable

ID#: 010410-010410-0002266




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Acquirer Procedures for Fraud-Prone Merchants - CEMEA Region

A CEMEA Acquirer must introduce appropriate security procedures for Merchants or Merchant
Category Codes identified by Visa or the Member as highly fraud-prone, including, at a minimum:

• Audit trails that identify an employee responsible for processing a specific Transaction
• Security controls that govern access to point-of-sale devices to monitor and prevent:
  - Employee collusion
  - Inappropriate use of point-of-sale devices as defined by Visa or the CEMEA Member's Merchant
    contract
  - Acceptance of Counterfeit Cards where the captured data from the Magnetic Stripe differs from
    that embossed, indent-printed, or laser-engraved on the face of the Card
  - Excessive levels of key-entered fraud

ID#: 010410-010410-0002267



Merchant Fraud Reduction Initiatives - CEMEA Region

A CEMEA Acquirer must, where appropriate, implement fraud reduction initiatives at a CEMEA
Merchant Outlet, including, but not limited to:

• Fraud awareness education at Merchant Outlets
• Reduction of Floor Limits
• Secondary Cardholder identification checks
• Code 10 calls to the Acquirer's Authorization center
• Implementation of CVV2 processing

ID#: 010410-010410-0002268




Account and Transaction Information Security

Data Security


Member Reporting of Loss or Theft of Information (Updated)

As specified in Global Visa Acquirer Fraud Control Manual, the Global Visa Issuer Fraud Control
Manual, and What To Do If Compromised, a Member must immediately report to Visa by telephone,
fax, or e-mail the suspected or confirmed loss, theft, or compromise, including loss, theft, or
compromise by one of its agents or Merchants, of any material or records that contain Visa account
or Transaction information.

In the U.S. Region, a loss, theft, or compromise of Visa account or Transaction information may be
reported on behalf of a Member by one of its agents, or by a Merchant or one of its agents. (This only
applies in the U.S. Region.)


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The report must contain, to the extent possible:

• Member and Merchant or agent name
• Format, number, and range of account information missing
• Specific Account Numbers missing
• Type or data elements of account information on missing material, e.g. Track 1 data, Track 2 data,
  CVV2, Cardholder name, address
• Pertinent details about the loss, theft, or compromise and ensuing investigation
• Contact name and telephone number for additional information
• Name and telephone number of person reporting the loss or theft

ID#: 050411-010410-0007999



VisaNet Processor Disclosure of Account or Visa Transaction Information

Effective 23 July 2010, a Member, in the event of the failure, including bankruptcy, insolvency, or
other suspension of business operations of one of its VisaNet Processors, must ensure that the
VisaNet Processor does not sell, transfer, or disclose any materials that contain Cardholder Account
Numbers, personal information, or other Visa Transaction Information to any other entity. The
Member must ensure that its VisaNet Processor either:

• Returns this information to the Member
• Provides acceptable proof of secure destruction of this information to the Member

ID#: 081010-010100-0025875



VisaNet Processor Contingency Plans

Effective 23 July 2010, a Member must have in place contingency plans for its VisaNet Processors
in the event of failure, including bankruptcy, insolvency, or other suspension of business operations.
The contingency plans must be provided to Visa upon request.

ID#: 081010-010100-0025877



Transaction Data Retention Prohibition - AP Region

AP Merchants, non-Member agents, and processors must not retain or store, not even in encrypted
form, the following data subsequent to Authorization of a Transaction:

• The full contents of any track on the Magnetic Stripe
• Any Card Verification Value (e.g. CVV, CVV2, iCVV)
• The Personal Identification Number (PIN)
• The PIN verification value
• The Verified by Visa authentication data

ID#: 010410-010410-0000531


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Transaction Data Retention Prohibition - LAC Region

An LAC Merchant or its agent must not retain sensitive authentication information after Authorization
(even if information is encrypted). This information includes:

• The full contents of any of the Magnetic Stripe tracks, of a Chip, or of any other device
• The Card Verification Value 2 (CVV2)
• The PIN Verification Value (PVV)
• Passwords for the Verified by Visa Service

ID#: 010410-010410-0002299



Loss of Information at Member's Agents - U.S. Region

A U.S. Member must implement policies and procedures requiring its contractors or Agents to notify
the Member if the contractor or Agent experiences a security breach or reasonably believes that
Cardholder information was compromised as a result of that breach.

ID#: 010410-010410-0001799



Cardholder and Transaction Information Disclosure Limitations - U.S. Region

A U.S. Acquirer must obtain the prior written consent of the Issuer and Visa before disclosing a
Cardholder's Account Number, personal information, or other Visa Transaction Information to third
parties other than the Acquirer's Agents for the sole purpose of completing a Transaction. The
Acquirer must ensure that its Agents and the Agents' employees:

• Make no further disclosure of the information
• Treat the information as confidential

A U.S. Acquirer or Merchant may only disclose Visa Transaction Information to third parties,
approved by Visa, for the sole purpose of:

• Supporting a loyalty program
• Providing fraud control services

Procedures for approval of third parties are available from Visa upon request.

ID#: 081010-010410-0008027




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Cardholder and Transaction Information Disclosure Prohibitions - U.S. Region

Except as specified in "Cardholder and Transaction Information Disclosure Limitations - U.S. Region,"
a U.S. Merchant must not disclose a Cardholder Account Number, personal information, or other
Visa Transaction Information to any entity other than to a registered Third Party, the Acquirer, or the
Acquirer's Agent. This disclosure must be for the sole purpose of:

• Assisting the Merchant in completing the initial Merchant Transaction
• As specifically required by law

If the Merchant undertaking the initial Transaction has an agreement with another Merchant that
allows the other Merchant to initiate a subsequent Transaction with the Cardholder, the subsequent
Transaction (after the initial Transaction has been completed) must be initiated as a new Transaction
such that:

• A separate Transaction process is initiated
• The Cardholder is required to enter their Primary Account Number separately for the subsequent
  Transaction
• All other Transaction requirements comply with the applicable sections of the U.S. Regional
  Operating Regulations

A U.S. Agent must not disclose a Cardholder Account Number, personal information, or other Visa
Transaction Information to third parties, other than:

• For the sole purpose of completing the initial Merchant Transaction
• As required by local law
• With the permission of the Issuer, Acquirer, or Visa, as specified in the Visa International Operating
  Regulations

ID#: 081010-010410-0008029



Data Storage Requirements - U.S. Region

A U.S. Merchant or its agent must:

• Store all material containing Cardholder Account Numbers or imprints (such as Transaction
  Receipts, car rental agreements, and carbons) in an area limited to selected personnel
• Render all data unreadable before discarding

ID#: 010410-010410-0001730



Cardholder Verification Value 2 Prohibition - U.S. Region

A U.S. Merchant or its agent must not request the Card Verification Value 2 data on any paper Order
Form.

ID#: 010410-010410-0001733




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Security Standards for Account Information - U.S. Region (Updated)

Except as specified below, if a fulfillment vendor is used to consolidate materials containing account
information before delivering it to the United States Postal Service or overnight courier, a U.S. Issuer
must ensure that the fulfillment vendor implements and maintains all of the security standards
specified in the Visa Global Physical Security Validation Requirements for Data Preparation,
Encryption Support and Fulfillment Card Vendors.

If a prepaid storage facility is used to consolidate materials containing account information before
delivering it to the United States Postal Service or overnight courier, the U.S. Issuer must ensure that
the prepaid storage facility implements and maintains all of the security standards specified in the
Visa Global Physical Security Validation Requirements for Data Preparation, Encryption Support and
Fulfillment Card Vendors.

ID#: 050411-010410-0008026



Confidential Consumer Cardholder Information


Visa Safeguards for Confidential Consumer Cardholder Information - U.S. Region

In the U.S. Region, Visa and its subsidiaries will restrict access to Confidential Consumer Cardholder
Information to those employees that Visa or its subsidiaries has determined need to know that
information to provide products and services to Members.

Visa and its subsidiaries will maintain physical, electronic, and procedural safeguards that are
designed to:

• Maintain the security and confidentiality of Confidential Consumer Cardholder Information
• Protect against anticipated threats or hazards to the security or integrity of Confidential Consumer
  Cardholder Information
• Prevent unauthorized access to, or use of, such Confidential Consumer Cardholder Information
  that could result in substantial harm or inconvenience to Consumer Cardholders

Visa will notify a Member in the event that Visa reasonably believes that Confidential Consumer
Cardholder Information about a Member's customer has been compromised due to a breach of
security.

ID#: 010410-010410-0008003




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Visa Use and Disclosure of Confidential Consumer Cardholder Information - U.S.
Region

In the U.S. Region, Visa and its subsidiaries will not use or disclose Confidential Consumer
Cardholder Information to third parties, other than for any one of the following:

• Use or disclosure in the ordinary course of business to provide services to a Member or a
  Member's designated Agent, including, but not limited to:
  - Completing a Transaction
  - Risk control
  - Dispute resolution
  - Marketing services
• Use or disclosure with the consent of the Cardholder
• Other use or disclosure that is in accordance with applicable law

ID#: 010410-010410-0000508



Destruction of Confidential Consumer Cardholder Information - U.S. Region

In the U.S. Region, Visa and its subsidiaries will use reasonable measures designed to ensure that all
Confidential Consumer Cardholder Information is erased or destroyed, in accordance with regulatory
guidelines, so as to render the information unreadable.

A U.S. Member must implement policies and procedures designed to ensure timely disposal or
destruction of Confidential Consumer Cardholder Information, in accordance with regulatory
guidelines, in a manner that makes the information unreadable.

ID#: 010410-010410-0008007



Information Security Programs


Account and Transaction Information Security Requirements VIOR 2.1.E (Updated)

A Member must:

• Comply with the Account Information Security Program requirements and the validation and
  reporting requirements, as outlined in the Account Information Security (AIS) Program Guide
• Maintain all materials or records in any form that contains account or Transaction Information in a
  safe and secure manner with access limited to authorized personnel, as specified in the Payment
  Card Industry Data Security Standard (PCI DSS)
• Ensure that agreements and contracts with agents and Merchants clearly establish their
  responsibilities to meet Visa standards, the liabilities for failure to meet the standards, and the
  requirement to allow for inspections by the Member or Visa
• Ensure that all agents and Merchants with access to account or Transaction Information comply
  with the Payment Card Industry Data Security Standard (PCI DSS)



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• Ensure that all agents and Merchants do not store any of the following, subsequent to
  Authorization:
  - Full contents of any data taken from the Magnetic Stripe (on a Card, in a Chip, or elsewhere)
  - Card Verification Value 2 used to verify Card-Absent Transactions
  - PIN or the encrypted PIN block
• Comply with, and ensure that all agents and Merchants use Payment Applications that comply with,
  the Payment Application Data Security Standard (PA-DSS)
• Upon request, certify to Visa that agents and Merchants are in compliance with the conditions
  specified in the Payment Card Industry Data Security Standard (PCI DSS)

ID#: 050411-010410-0002228



Global Fraud Information Service - AP Region

An AP Principal Member must subscribe to and participate in the Global Fraud Information Service, if
available in its local market.

ID#: 081010-010410-0008047



Australia and New Zealand Acquirer Compliance Program for Payment Card Industry
Data Security Standards (PCI DSS) – AP Region (New)

Effective 30 April 2010, in Australia and New Zealand a Visa Level 4-Merchant Acquirer must
provide to Visa a risk-based compliance program for its Level 4 Merchants that includes, at a
minimum, a:

• Timeline of critical events
• Risk profiling strategy
• Merchant education strategy
• Compliance strategy
• Compliance reporting strategy

An Acquirer must provide the Exhibit AP – 1 PCI DSS Implementation Plan Report to Visa, by 31
March and 30 September of each year.

ID#: 050411-060111-0026177



Account Information Security - Canada Region

Effective 1 October 2010, a Canada Member must comply, and ensure that its Merchants and
agents comply, with the requirements of the Visa Canada Account Information Security Program
Guide.

ID#: 081010-010410-0008032




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CEMEA Risk Management Services - CEMEA Region (Updated)

A CEMEA Member must be registered:

• For the CEMEA Fraud Information Service (CFIS)
• To receive Compromised Account Management System (CAMS) alerts from Visa

To ensure that Member information is always up to date within CFIS and CAMS, the Member must
update its contact information from time to time or as required by Visa.

ID#: 050411-010410-0008033



Account Information Security Program - CEMEA Region (Updated)

Effective 13 May 2010, a CEMEA Member must comply with the validation thresholds outlined in the
Visa Account Information Security (AIS) Program Guide.

ID#: 050411-010410-0002272



Account Information Security - LAC Region (Updated)

An LAC Member, Merchant, or service provider that stores, processes, or transmits Cardholder
information must comply with the information security standards established in the Visa International
Operating Regulations, the LAC Account Information Security Program (AIS), and this section.

When requested, an Acquirer must provide a compliance plan from its organization, its agents, and its
Merchants, according to the specifications and timing established in the LAC AIS Program.

ID#: 050411-010410-0008196



Member Monitoring of Visa Compliance - U.S. Region

In the U.S. Region, Visa and its subsidiaries will adopt policies and procedures and provide Members
with appropriate reviews and reports to enable Members to monitor the compliance of Visa and its
subsidiaries with these commitments.

ID#: 010410-010410-0000512



Payment Application Compliance - U.S. Region

A U.S. Member must comply, and ensure that its Merchants and Agents use Payment Applications
that comply, with the Payment Application Data Security Standard (PA-DSS).

ID#: 081010-200509-0007978




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Cardholder and Transaction Information Security - U.S. Region

A U.S. Member must comply, and ensure that its Merchants and Agents comply, with the
requirements of the Cardholder Information Security Program, available from Visa upon request or
online at http://www.visa.com/cisp.

A third party that supports a loyalty program or provides fraud control services, as specified in
"Disclosure of Visa Transaction Information - U.S. Region" and "Cardholder and Transaction
Information Disclosure Limitations - U.S. Region," must comply with the requirements of the
Cardholder Information Security Program.

A U.S. Member must comply, and ensure that its Merchants and Agents comply, with the Transaction
Information security requirements in the Visa International Operating Regulations, the Payment Card
Industry Data Security Standard (PCI DSS), and the validation and reporting requirements outlined in
the Cardholder Information Security Program. The Payment Card Industry Data Security Standard
(PCI DSS) and the Cardholder Information Security Program requirements are available online at
http://www.visa.com/cisp.

An Acquirer must ensure that its Merchant:

• Implements and maintains all of the security requirements, as specified in the Cardholder
  Information Security Program
• Immediately notifies Visa, through its Acquirer, of the use of a Third Party
• Ensures that the Third Party implements and maintains all of the security requirements, as
  specified in the Cardholder Information Security Program
• Immediately notifies Visa, through its Acquirer, of any suspected or confirmed loss or theft of
  material or records that contain account information and:
  - Demonstrates its ability to prevent future loss or theft of account or Transaction information,
    consistent with the requirements of the Cardholder Information Security Program
  - Allows Visa, or an independent third party acceptable to Visa, to verify this ability by conducting
    a security review, at the Acquirer's own expense

ID#: 010410-010410-0008031



Fines and Penalties


Non-Compliance with Account and Transaction Information Security Standards VIOR
2.1.E

If Visa determines that a Member, its agent, or a Merchant has been deficient or negligent in securely
maintaining the account or Transaction Information or reporting or investigating the loss of this
information, Visa may fine the Member, as specified in the Visa International Operating Regulations,
or require the Member to take immediate corrective action.

ID#: 010410-010410-0001753




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Account Information Security Program Fines (Updated)

A Member deemed non-compliant with the Account Information Security Program is subject to a
penalty, as specified in the table below and the Account Information Security (AIS) Program Guide.


Fines for Non-Compliance with the Account Information Security Program

                            Violation                                                Fine


 First violation                                              Up to US $50,000


 Second violation                                             Up to US $100,000


 Third or any subsequent violation                            Up to US $200,000


ID#: 050411-200509-0008193



Account and Transaction Information Program Service Fee - AP Region

All Principal AP Members will be levied an annual Account and Transaction Information Security
Program service fee as specified in the Visa Asia Pacific Fee Guide.

ID#: 081010-010410-0000530



CEMEA Fraud Information Service Non-Participation Fee - CEMEA Region

A CEMEA Member not registered for the CEMEA Fraud Information Service (CFIS) will qualify for the
non-participation fee as specified in the Visa CEMEA Fee Guide.

ID#: 010410-010410-0001764



Account Information Security Compromise Penalties - LAC Region (Updated)

In case of Account Information loss or theft, an LAC Member will receive protection from penalties to
Merchants or service providers that are in compliance with the Account Information Security (AIS)
Program when the security violation occurred. The Member is subject to additional penalties for any
Merchant or service provider that compromises information and is not in compliance with the AIS
Program when the security violation occurred.

ID#: 050411-010410-0008042




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Transaction Information Loss/Theft Notification Penalties - U.S. Region

If a U.S. Acquirer fails to immediately notify Visa of the suspected or confirmed loss or theft of any
Visa Transaction Information, the Acquirer is subject to a penalty of up to US $100,000 per incident.

ID#: 010410-010410-0003524



Cardholder Information Security Program Penalties - U.S. Region (Updated)

A U.S. Member that fails to comply with the requirements of the Cardholder Information Security
Program is assessed a fine, as specified in the table below and the Account Information Security
(AIS) Program Guide.


Cardholder Information Security Program Fines - U.S. Region

                        Violation                                                  Fine


 First violation                                                             Up to US $50,000


 Second violation                                                           Up to US $100,000


 Any third or subsequent violation                                          Up to US $200,000


ID#: 050411-010410-0009032




Corporate Risk Reduction

Corporate Risk Reduction - General


Visa Right to Protect the Visa Payment System

Visa has the following rights to protect the Visa payment system:

• Visa may implement any provision in "Member Risk Reduction Requirements" or "Merchant
  Agreement Requirements" to protect the Visa payment system
• Visa is not obligated to take actions to protect any Member, Merchant, or Cardholder from financial
  injury
• The right of Visa to limit or terminate a Member's agreement with a Merchant or an agent must be
  acknowledged in each Merchant or agent agreement

ID#: 010410-010410-0003687




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Member Risk Reduction Requirements (Updated)

Upon receipt of instructions imposing conditions, as specified in the applicable Certificate of
Incorporation and Bylaws, a Member or agent must implement risk reduction measures that may
include, but are not limited to:

• Prohibiting or limiting any of the following actions:
     - Issuing new or reissued Cards
     - Signing or re-signing Merchants
     - Using any independent sales organizations
• Blocking the Authorization of Cardholder Transactions or prohibiting Acquirers from obtaining
  Authorization for Transactions on behalf of certain Merchants
• Terminating some or all Merchants that:
     - Conduct Transactions where the Cardholder is not present or where goods or services are to be
       delivered after the Transaction Date
     - Receive a volume of Chargebacks that substantially exceeds the system average
• Effective through 14 October 2010, pledging collateral to secure a Member's or agent's
  obligations and reimbursement to Visa for any expenses incurred ensuring compliance
                                       71
• Effective 14 October 2010                 pledging collateral to secure:
     - A Member's or agent's obligations to Visa and reimbursement to Visa for any expenses incurred
       ensuring compliance, or
     - The liquidity impact to Visa of Settlement or other payments due to Visa of a Member, its
       affiliates or its Clearing Processor as approved by Visa, or
     - Reimbursement to Visa for any expenses incurred ensuring compliance.
• Effective 14 October 2010, consolidating into a single Funds Transfer Settlement Reporting Entity
  all or some of the Settlement payments in a Settlement Currency of a Member and its affiliates or
  of a Clearing Processor as approved by Visa for one or more Members arising from one or more
  Settlement systems operated by Visa or its subsidiaries or affiliates, operated privately, or by a
  third party, in order to reduce the liquidity impact of such Settlement payments on Visa (Settlement
  Payment Consolidation) or risk of Settlement Loss (as defined in the Visa U.S.A. Inc. Certificate of
  Incorporation and Bylaws and Section 9.01 of the Visa International Certificate of Incorporation and
  Bylaws).
• Redirecting Settlement funds to avoid potential losses, as specified in "Visa Rights in Calculating
  Settlement” including, but not limited to:
     - Rerouting Settlement funds around the financial institution that normally holds the Member's or
       agent's funds
     - Holding funds to ensure the correct application of Cardholder funds
     - Holding funds for the payment of Merchants
     - Holding funds for the future payment of Chargebacks
     - Withholding funds for the purpose of obtaining collateral or meeting other Member obligations
     - Prohibiting or limiting a Member's right to sponsor Participant Members
• Requiring a Member to change one or more of its designated agents

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     Effective 14 April 2011 for the Canada Region only.


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Visa is not obligated to take these actions to protect any Member, Merchant, Sponsored Merchant, or
Cardholder from financial injury.

ID#: 080411-010410-0005057



Risk Reduction Requirements for Third Party Agents

Effective 23 July 2010, for any violation of the Member requirements for Third Party Agents, Visa
may impose corporate risk reduction measures on a Member or Agent.

ID#: 081010-010100-0025869



Visa Anti-Bribery Program

Visa maintains an anti-bribery compliance program designed to comply with the requirements and
restrictions of the United States Foreign Corrupt Practices Act and other anti-bribery laws. A Member
must cooperate with Visa in the administration of the Visa anti-bribery program, including, but not
limited to, the following:

• Complete, annually, the "Visa Anti-Bribery Policy Questionnaire/Certification" form (available on
  Visa Online and www.visainfo.ca for Members in the Canada Region) disclosing the level of
  ownership, control, and influence of any non-U.S. government, agency, or instrumentality thereof in
  the Member
• Notify Visa when a non-U.S. government acquires (either as one agency or collectively through
  different agencies or instrumentalities) an equity interest of 30% or more in the Member.

This requirement does not apply to U.S. Members.

ID#: 081010-130809-0008836



Cash Disbursement Limits - CEMEA Region

A CEMEA Issuer required by Visa to post collateral must limit inter-Member Cash Disbursements to a
total of US $10,000 or less per Account Number each calendar month. At the discretion and with the
prior written approval of Visa, Cash Disbursements exceeding US $10,000 may be permitted after
additional collateral, in an amount determined by Visa, has been collected. This section does not
apply to On-Us Transactions.

ID#: 010410-010410-0004994




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Corporate Risk Collateral Fees - LAC Region

An LAC Member that does not comply with the placement of the required corporate risk collateral
within a 30-calendar-day time limit will be subject to the fees specified in the table below.


Corporate Risk Collateral Fees - LAC Region

     Number of Days in Non-Compliance                               Fee (Whichever is Greater)


               1-15 calendar days                          US $100 per calendar day in non-compliance
                                                                                 or
                                                              (outstanding collateral amount) X (0.2%)
                                                                                 X
                                                                    (number of days delinquent)


           More than 15 calendar days                      US $500 per calendar day in non-compliance
                                                                                 or
                                                           (outstanding collateral amount) X (0.5% daily)
                                                                                 X
                                                                    (number of days delinquent)


ID#: 010410-010410-0006411



Independent Audit of Internal Controls - U.S. Region

A U.S. Member must obtain and review an independent audit of the internal controls that support the
VisaNet interface:

• Upon designation of a VisaNet Processor
• In connecting directly to VisaNet for Interchange or Authorization services

The audit must be conducted annually, based on standards issued by the American Institute of
Certified Public Accountants.

ID#: 010410-010410-0005058



Corporate Risk Reduction - Acquirer Requirements


Prohibition against Illegal Transactions

An Acquirer may be subject to corrective actions or fines, as specified in "Visa Right to Fine," if its
Merchant Outlet, agent, or Internet Payment Service Provider (IPSP) processes illegal Transactions.

ID#: 010410-010410-0002465



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Prohibition against and Penalties for Illegal Cross-Border Transaction Activity

An Acquirer is subject to the penalties specified in the table below for failure to take appropriate
action if a Merchant is identified by Visa as engaging in illegal cross-border Transaction activity.


Acquirer Penalties for Merchants Engaging in Illegal Cross-Border Transaction Activity

              Violation                            Month                           Visa Action or Fine


                                       First month in a 12-month       Warning letter requesting response
 Warning
                                       period                          with specific date for correction


                                                                       US $25,000 fine per Merchant,
                                       Second month in a 12-month
 Uncorrected Violation                                                 Merchant URL, Sponsored Merchant,
                                       period
                                                                       or Sponsored Merchant URL identified


                                                                       US $50,000 fine per Merchant,
                                       Third month in a 12-month
 Uncorrected Violation                                                 Merchant URL, Sponsored Merchant,
                                       period
                                                                       or Sponsored Merchant URL identified


                                                                       Visa may permanently disqualify the
                                       Fourth month in a 12-month      Merchant, Sponsored Merchant, or
 Uncorrected Violation
                                       period                          IPSP from participation in the Visa
                                                                       Program


                                                                       Visa may prohibit the Acquirer from
                                       Fifth month in a 12-month       contracting with a new Merchant for a
 Uncorrected Violation
                                       period                          period of 1 year, or some other
                                                                       sanction


ID#: 010410-010410-0001294



Acquirer Responsibility for Merchants - U.S. Region

A U.S. Acquirer that receives notice, or otherwise becomes aware, of the potential or actual
bankruptcy of, or any regulatory proceedings involving, one of its Merchants, must:

• Monitor those proceedings in order to ensure that no legal relief is being sought that would interfere
  with the Chargeback process
• If such relief is being sought, to the best of its ability, oppose that relief
• Notify Visa as soon as possible but no later than close of business on the next business day
  following such discovery

An Acquirer that fails to comply with the requirements of "Acquirer Responsibility for Visa
Transactions - U.S. Region" is subject to a penalty of X, termination of its membership, or both.

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Merchant Diversification Requirements - U.S. Region

A U.S. Acquirer must maintain the minimum level of Merchant diversification specified by Visa.

Visa considers a Merchant trading under a single, common Trade Name as one Merchant for
purposes of determining whether the Acquirer meets the diversification requirements.

ID#: 010410-010410-0008115



Acquirer Risk Requirements - U.S. Region (Updated)

A U.S. Acquirer must comply with the requirements of the Visa Acquirer Risk Program Standards
Guide.

ID#: 050411-010410-0002107



Third Party Monitoring - U.S. Region

A U.S. Acquirer must:

• Review and monitor the performance of the activity of each of its Third Parties on a quarterly basis
• Submit to Visa an enhanced quarterly Third Party report

ID#: 010410-010410-0002109



Acquirer Responsibility for Agents and Merchants - U.S. Region

A U.S. Acquirer must:

• Provide its Agents with the training and education, as specified by Visa, and ensure that Agents are
  well versed on the Member's corporate policies and remain in compliance with those policies
• Hold and control reserves that are accumulated and derived from the Merchant settlement funds or
  used to guarantee a Merchant's payment system obligations to the Member

ID#: 010410-010410-0002110



Merchant Agreement Requirements - U.S. Region (Updated)

A U.S. Acquirer must:

• Consent to the assignment and/or transfer of a Merchant Agreement to another Member
• Implement a policy and procedures for reviewing Merchant Agreements used by its Agents
• Ensure that all Merchant Agreements are approved by the Member before entering any
  Transaction into Interchange, as specified in the Merchant Agreement requirements in the U.S.
  Regional Operating Regulations




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• Stipulate a clause in the Merchant Agreement that:
  - Provides for the immediate termination of a Merchant for any significant circumstances that
    create harm or loss of goodwill to the Visa system
  - Ensures that the Merchant acknowledges and understands the importance of compliance with
    Visa security requirements, such as those relating to Transaction information, storage, and
    disclosure
  - Requires the Merchant to notify the Acquirer of its use of any Agent that will have any access to
    Cardholder data

An Acquirer must ensure that each Merchant Agreement includes a disclosure page that identifies the
Member and its responsibilities, when an Agent is a party to the agreement, as specified in the Visa
Acquirer Risk Program Standards Guide.

ID#: 050411-010410-0007300



Anti-Money Laundering


Anti-Money Laundering Program Overview

Visa maintains an anti-money laundering program reasonably designed within the context of laws and
regulations applicable to Visa to prevent the Visa system from being used to facilitate money
laundering or the financing of terrorist activities.

ID#: 010410-010410-0003969



Anti-Money Laundering Program Implementation

Consistent with the legal and regulatory requirements applicable to a Member, a Member must
implement and maintain an anti-money laundering program that is reasonably designed to prevent
the use of the Visa system to facilitate money laundering or the financing of terrorist activities.

ID#: 010410-010410-0000652



Anti-Money Laundering Program - Member Requirements

A Member must cooperate with Visa in the administration of the Visa anti-money laundering program,
including, but not limited to:

• Assisting Visa in guarding against Card issuance and Merchant acquiring in circumstances that
  could facilitate money laundering or the financing of terrorist activities
• Identifying circumstances of heightened risk and instituting policies, procedures, controls, or other
  actions specified by Visa to address the heightened risk
• Providing a copy of the Member's anti-money laundering plan if requested by Visa
• Ensuring the adequacy of the applicable controls implemented by designated agents of the
  Member

ID#: 010410-010410-0000653



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Visa Money Transfer Beneficiary Member Requirements - CEMEA Region

In the CEMEA Region, a Visa Money Transfer Beneficiary Member must follow the Visa International
Prepaid Program Guidelines With Additional Central Europe, Middle East, and Africa Guidelines
when a recipient's funds are paid out onto a Visa Prepaid Card.

ID#: 081010-010410-0000659



Anti-Money Laundering Requirements - U.S. Region

A U.S. Member must:

• Implement and maintain an Anti-Money Laundering Program by:
  - Creating internal policies, procedures, and controls to prevent money laundering and terrorist
    financing
  - Designating a compliance officer to overlook the operations of the program
  - Training employees of the program on an ongoing basis
  - Hiring an independent audit company to monitor the program, as applicable
• In a timely manner, block the Authorization of Cardholder Transactions or terminate all Merchants
  that engage in the following activities:
  - The introduction of illegal funds into the Visa system
  - The laundering of money through the Visa system
  - The financing of terrorist activity through the Visa system
• Accept responsibility for the Anti-Money Laundering Program of any Agent used by the Member in
  connection with its Visa Program
• As requested by Visa, provide an independent assessment of the effectiveness of the Anti-Money
  Laundering Program of the Member or any Agent used by the Member
• Cooperate with Visa in the application of the Anti-Money Laundering Program, including:
  - Assisting Visa in guarding against money laundering and terrorist financing
  - Supplying Visa with a copy of its Anti-Money Laundering Program plan upon request

ID#: 010410-010410-0000648




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Anti-Money Laundering Compliance


Anti-Money Laundering Program Compliance

If Visa determines that a Member or the Member's designated agent has failed to comply with any of
the requirements specified in "Anti-Money Laundering Program Implementation" and "Anti-Money
Laundering Program - Member Requirements," Visa may, consistent with local law, impose conditions
on or require additional actions of the Member or the designated agent to prevent possible money
laundering or financing of terrorist activities. These actions may include, but are not limited to:

• Implementation of additional policies, procedures, or controls
• Termination of a Merchant or Cardholder Agreement
• Termination of an agent agreement
• Termination of Visa membership
• Assessment of fines or penalties
• Other action that Visa in its sole discretion determines to take with respect to the Member or the
  Member's designated agent

ID#: 010410-010410-0000654



Visa Money Transfer Member Responsibilities - CEMEA Region

In the CEMEA Region, in addition to the requirements of the Visa International Operating
Regulations, all compliance, regulatory, and money laundering issues are the responsibility of the
Visa Money Transfer Service Provider, Originating Members, and Beneficiary Members.

ID#: 010410-010410-0000658



Acquirer Risk Program - U.S. Region


Acquirer Risk Policies - U.S. Region

A U.S. Acquirer must implement an underwriting, monitoring, and control policy for its:

• Merchants
• VisaNet Processors
• Third Parties

The Acquirer must ensure that its policies are approved by its board of directors. Visa may grant a
variance to this requirement.




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The Acquirer must provide the policies to Visa upon request.

An Acquirer must implement a policy and procedures for reviewing solicitation materials used by its
Agents.

ID#: 010410-010410-0007132


Acquirer Risk Program Review - U.S. Region

In the U.S. Region, as determined by Visa, a Visa-approved entity may conduct a periodic review of
an Acquirer's operations at any time to ensure compliance with the Acquirer Risk Program
requirements.

The U.S. Acquirer must provide a copy of the review report to Visa upon request.

The Acquirer is responsible for the cost of the periodic review.

ID#: 010410-010410-0008053




Compliance Monitoring

Member Activity Monitoring Requirements


Merchant Chargeback Activity Monitoring

An Acquirer must monitor the Chargeback-to-Transaction volume ratio of its Merchants and identify
any Merchant that:

• Receives more than 100 Chargebacks per month
• Exceeds a Chargeback-to-Transaction volume ratio of 3%

ID#: 010410-010410-0002415



Merchant Weekly Activity Monitoring

An Acquirer must do all of the following for each of its Merchants:

• Retain at least the following weekly data:
  - Gross sales volume
  - Average Transaction amount
  - Number of Transaction Receipts
  - Average elapsed time between the Transaction Date of the Transaction Receipt and the
    Endorsement Date or Settlement Date (counting each as one day)
  - Number of Chargebacks
• Collect the data over a period of at least 1 month, beginning 30 calendar days after the Merchant
  Outlet's initial Deposit


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• Use the data to determine the Merchant Outlet's normal weekly activity of the categories specified
  above
• Begin with the Merchant Outlet Deposit activity processed on the 31st calendar day from the first
  Deposit
• Adjust the Merchant Outlet's normal weekly activity on a monthly basis, using the previous month's
  activity
• Compare current related data to the normal weekly activity parameters

ID#: 010410-010410-0002416



Merchant Compliance Monitoring

An Acquirer must immediately investigate a Merchant that exceeds the parameters specified in
"Member Activity Monitoring Requirements." The Acquirer must ensure Merchant compliance with the
Visa International Operating Regulations and confirm the existence of risk control procedures by
conducting:

• A physical inspection of the Merchant location
• An audit of the Merchant Website, if applicable

ID#: 010410-010410-0002418



Merchant Exception Reports

An Acquirer must generate exception reports if either the:

• Current weekly Merchant gross sales volume equals or exceeds US $5,000, or local currency
  equivalent, and any of the following exceeds 150% of the normal weekly activity:
  - Number of weekly Transaction Receipt Deposits
  - Gross amount of weekly Deposits
  - Average Transaction amount
  - Number of weekly Chargebacks
• Average elapsed time between the Transaction Date and the Endorsement Date or Settlement
  Date for a Transaction (counting each as one day respectively) exceeds 15 calendar days

ID#: 010410-010410-0002417



Acquirer Investigation of Merchant

An Acquirer must investigate any Merchant Outlet appearing on an exception report, as specified in
"Merchant Exception Reports.” When the investigation reveals Merchant involvement in illegal
activity, the Acquirer must:

• Cooperate fully with Visa in any investigation, and release all information relative to the Merchant
  upon request
• Take appropriate legal action to minimize losses if the investigation reveals illegal or fraudulent
  activity


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• Cooperate with Issuers and law enforcement agencies
• Attempt to make the Merchant responsible for the Transaction
• Hold funds, if possible
• Initiate criminal and civil proceedings against the Merchant, if applicable

ID#: 010410-010410-0002419



Merchant Activity Compliance Monitoring Standards

Visa will determine whether the Acquirer has met the Merchant activity monitoring standards.

At the request of Visa, the Acquirer must provide both of the following to demonstrate compliance:

• Copies of actual reports or records used to monitor the Merchant's activity
• Any other data or specifications requested by Visa

ID#: 010410-010410-0008113



Merchant Activity Monitoring Standards Fines and Penalties

An Acquirer that fails to comply with the Merchant Activity Monitoring Standards is subject to the fines
and penalties specified in "General Fines Schedule."

ID#: 010410-010410-0002421


Acquirer Compliance Requirements - AP Region

Before accepting Visa Transactions, an AP Acquirer must comply with the Visa International
Operating Regulations. In addition, the Acquirer must:

• Complete a self-audit questionnaire
• Submit the completed self-audit questionnaire to Visa
• Implement prudent industry practices

If a review of the self-audit questionnaire identifies areas where the Visa International Operating
Regulations have been violated, or the AP Acquirer failed to establish and implement prudent industry
practices, the Acquirer must provide Visa with an explanation of the corrective actions to be taken
and an implementation schedule.

ID#: 010410-010410-0003982



Acquirer Monitoring Fee - AP Region

An AP Acquirer must pay a quarterly Acquirer monitoring fee, as specified in the Visa Asia Pacific
Fee Guide.

ID#: 081010-010410-0006047




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Merchant Activity Monitoring - CEMEA Region

A CEMEA Acquirer must use its host processing system or a third-party processor's system or risk
management software to systematically monitor, report, and investigate unusual Merchant activity, as
specified in the CEMEA Regional Operating Regulations.

ID#: 010410-010410-0003853



Merchant Daily Activity Patterns and Averages - CEMEA Region

A CEMEA Acquirer must update and adjust a Merchant's daily activity pattern using the most current
activity data daily. Merchant averages (using 90-day rolling averages) must be calculated and used to
update the parameters listed in the "Mandatory Daily Transaction Monitoring Parameters - CEMEA
Region" table and the "Mandatory Daily Authorization Monitoring Standards - CEMEA Region" table.

ID#: 081010-010410-0002262



Merchant Exception Reports - CEMEA Region

A CEMEA Acquirer must generate exception reports daily on the Transactions using the parameters
listed in the "Mandatory Daily Transaction Monitoring Parameters - CEMEA Region" table and the
"Mandatory Daily Authorization Monitoring Standards - CEMEA Region" table.

ID#: 081010-010410-0002263



Merchant Transaction Thresholds - CEMEA Region

A CEMEA Acquirer is responsible for assigning numerical threshold values to parameters based upon
an individual Acquirer's Transaction analysis of its Merchant base. To prioritize and manage
workloads, threshold adjustments should be made according to factors such as Merchant, Merchant
Category Code, or Merchant grouping.

ID#: 010410-010410-0002264



Merchant Transaction and Deposit Monitoring - CEMEA Region

A CEMEA Acquirer must systematically monitor, report, and investigate changes in Merchant
Transaction and Deposit patterns, using the parameters specified in the table below.


Mandatory Daily Transaction Monitoring Parameters - CEMEA Region
                             1                                                                      2
         Parameter Name                    Parameter Exceeded                    Threshold Value

                                       Average daily amount of
 Individual Transaction amount                                          % threshold established by the
                                       Transactions for an individual
 within a Merchant Deposit                                              Acquirer
                                       Merchant Outlet

 Total number of Transactions          Average daily number of
                                                                        % threshold established by the
 deposited daily for an individual     Transactions for an individual
                                                                        Acquirer
 Merchant Outlet                       Merchant Outlet


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                              1                                                                                2
           Parameter Name                      Parameter Exceeded                          Threshold Value

 Total amount of Transactions              Average daily amount of
                                                                                % threshold established by the
 deposited daily for an individual         Deposit for an individual
                                                                                Acquirer
 Merchant Outlet                           Merchant Outlet

 Number and amount of
 Transactions processed on the                                                  Number and amount established by
                                           Parameter value
 same Cardholder Account Number                                                 Acquirer
 by one or more Merchants

 Number and amount of Retrieval
                                           Acquirer predetermined ratio         Predetermined ratio or number/
 Requests and Chargebacks
                                           or parameter value                   amount established by Acquirer
 processed

 Total amount of key-entered               Average daily total amount of
                                                                                % threshold established by the
 Transactions processed daily at a         key-entered Transactions for
                                                                                Acquirer
 Merchant Outlet                           an individual Merchant Outlet

 Total number of key-entered               Average daily total number of
                                                                                % threshold established by the
 Transactions processed daily at a         key-entered Transactions for
                                                                                Acquirer
 Merchant Outlet                           an individual Merchant Outlet

                                           Average daily total number of
 Percentage of below-Floor Limit
                                           below-Floor Limit                    % threshold established by the
 Transactions processed for an
                                           Transactions processed for           Acquirer
 individual Merchant Outlet
                                           an individual Merchant Outlet

 Total number and amount of
 Transactions on the same Issuer                                                Number and amount specified by
                                           Parameter value
 BIN, at the same Merchant Outlet,                                              Acquirer
 on the same day

 Amount of Credits (refunds)               Average daily amount of
                                                                                % threshold established by the
 processed for an individual               Credits for an individual
                                                                                Acquirer
 Merchant Outlet                           Merchant Outlet

 Number of Credits (refunds)               Average daily number of
                                                                                % threshold established by the
 processed for an individual               Credits for an individual
                                                                                Acquirer
 Merchant Outlet                           Merchant Outlet

 Merchant with no Deposit activity                                              Time period established by the
                                           Parameter value
 for a specified time period                                                    Acquirer or within previous 3 months

 Merchant Deposit made with no
                                                                                Time period established by the
 previous Deposit activity within a        Parameter value
                                                                                Acquirer or within previous 3 months
 specified time period

 Merchant Deposit processed after
 termination of Merchant                   Parameter value                      Parameter value
 Agreement

 1. At its discretion, Visa may vary or impose new parameters to identify changing fraud patterns if the existing parameters
 do not provide sufficient fraud detection.
 2. At its discretion, Visa may impose a threshold value on an Acquirer if the threshold established by the Acquirer does
 not provide sufficient fraud detection.


ID#: 010410-010410-0002280



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Acquirer Authorization Request Monitoring Parameters - CEMEA Region

A CEMEA Acquirer must systematically monitor, report, and investigate changes in Merchant
Authorization Request patterns using the parameters specified in the table below:


Mandatory Daily Authorization Monitoring Standards - CEMEA Region
                              1                                                                                2
          Parameter Name                       Parameter Exceeded                          Threshold Value

 Single Authorization amount               Average daily Authorization          % threshold established by the
                                           amount for a single Merchant         Acquirer
                                           Outlet

 Total number of Authorization             Average daily number of              % threshold established by the
 Requests for a single day at a            Authorization Requests at a          Acquirer
 Merchant Outlet                           Merchant Outlet

 Total amount of Authorization             Average daily amount of              % threshold established by the
 Requests for a single day at a            Authorization Requests at a          Acquirer
 Merchant Outlet                           Merchant Outlet

 Total amount of Authorization             Specified accumulation of            Amount specified by the Acquirer
 Requests for a single day at a            Authorized Transaction
 Merchant Outlet                           Amounts

 Multiple Authorization Requests for Parameter value                            Number established by Acquirer
 the same Cardholder Account
 Number processed on a single day
 at the same Merchant Outlet

 Total number of key-entered               Average daily total number of        % threshold established by the
 Authorization Requests processed          key-entered Authorization            Acquirer
 daily at a Merchant Outlet                Requests for an individual
                                           Merchant Outlet

 Total amount of key-entered               Average daily total amount of        % threshold established by the
 Authorization Requests processed          keyentered Authorization             Acquirer
 daily at a Merchant Outlet                Requests for an individual
                                           Merchant Outlet

 Total number and value of                 Parameter value                      Number and value established by
 Authorization Requests on the                                                  Acquirer
 same Issuer BIN, at the same
 Merchant Outlet, on the same day

 Percentage of declined                    Parameter value                      Predetermined ratio established by the
 Authorization Requests in a single                                             Acquirer
 day from a single Merchant

 1. At its discretion, Visa may vary or impose new parameters to identify changing fraud patterns if the existing parameters
 do not provide sufficient fraud detection.
 2. At its discretion, Visa may impose a threshold value on an Acquirer if the threshold established by the Acquirer does
 not provide sufficient fraud detection.


ID#: 010410-010410-0002281




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Acquirer Monitoring Standards Non-Compliance - CEMEA Region

A CEMEA Member that is not compliant with the CEMEA Acquirer monitoring standards specified in
"Member Activity Monitoring Requirements" at the end of each financial quarter (December, March,
June, and September) will be assessed a fine against the latest available quarterly Merchant Sales
Volume.

ID#: 010410-010410-0006987



Cardholder Activity Monitoring - CEMEA Region

A CEMEA Issuer must use its host processing system or a third-party processor's system or risk
management software to systematically monitor, report, and investigate unusual Cardholder activity,
as specified in the CEMEA Regional Operating Regulations.

ID#: 010410-010410-0002283



Issuer Exception Reports - CEMEA Region

A CEMEA Issuer must generate exception reports on all authorization requests daily using the
parameters listed in the "Mandatory Issuer Monitoring Standards - CEMEA Region" table and verify
the legitimacy of the suspect Transactions with the genuine Cardholder.

ID#: 081010-010410-0002285



Cardholder Spending Activity Monitoring - CEMEA Region

A CEMEA Issuer is responsible for assigning numerical values to all of the parameters listed in the
"Mandatory Issuer Monitoring Standards - CEMEA Region" table. These values should be based on
an individual Issuer's analysis of its Cardholder's spending activity. To prioritize and manage
workloads, threshold adjustments should be made according to factors such as Card product or
customer groupings.

ID#: 010410-010410-0002286



Issuer Authorization Request Monitoring - CEMEA Region

A CEMEA Issuer must systematically monitor, report, and investigate unusual Authorization Request
patterns using the parameters specified in the table below:




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Mandatory Issuer Monitoring Standards - CEMEA Region

                        Parameter                                                Definition

 Total number of Authorizations exceeds predefined limits A Card is used more than a certain number of
 in a given period                                        times in a certain period (example period = 1
                                                          day)

 Total number of Authorizations exceeds predefined limits A Card is used more than a certain number of
 in a given period for a specific Merchant Category       times within a specified Merchant Category
 Code(s)                                                  Code (i.e., high-risk Merchant Category Code[s])
 Total number of Authorizations exceeds predefined limits A Card is used more than a certain number of
 in a given time at the same Merchant                     times in one particular Merchant Outlet

 Total number of Authorizations exceeds predefined limits A Card is used more than a certain number of
 in a given period in a specific country                  times in a high-risk country
 Total number of invalid PIN attempts in a predefined time A Card is used with an incorrect PIN at an ATM
 period                                                    more than a certain number of times in a certain
                                                           period (example period = 1 day)

 Total number of POS Entry Mode "02" Authorizations          A Card is used more than a certain number of
 received in a predefined time period                        times in a certain time period, where field 22 in
                                                             the Authorization message contains "02"

 Total Authorization value exceeds predefined limit in a     A Card is used over a certain monetary amount
 predefined time period                                      in a certain time period
 Total Authorization value exceeds a predefined limit in a   A Card is used over a certain monetary amount
 predefined time period in a specific Merchant Category      in a certain time period in a high-risk Merchant
 Code(s)                                                     Category Code(s)
 Total Authorization value exceeds a predefined limit in a   A Card is used over a certain monetary amount
 predefined time in a specific country                       in a high-risk country
 Individual Authorizations exceed a predefined limit         An individual Card is used over a certain
                                                             monetary amount

 Individual Authorizations exceed a predefined limit in a    An individual Card is used over a certain
 specific Merchant Category Code(s)                          monetary amount in a high-risk Merchant
                                                             Category Code(s)

 Individual Authorizations exceed a predefined limit in a    An individual Card is used over a certain
 specific country                                            monetary amount in a high-risk country

 Any Card with Authorizations in 2 or more countries in a    A Card is used at a point-of-sale in a certain time
 predefined time period                                      period in 2 or more countries
 Any Card with high-value Authorizations proceeded by        A Card is used, receives either an Approval
 one or more declined Authorization attempts with a          Response or Decline Response, and is
 predefined percentage of the original Authorization value   subsequently used repeatedly with the
                                                             Transaction amount decreasing at every attempt
 The percentage of key-entered Authorizations as a           The ratio of key-entered (high-risk) Authorization
 percentage of all Authorizations, within a defined period   counts to the total volume of all Authorization
 exceeds a predefined limit                                  counts in a certain time period (example period =
                                                             1 day, 1 month)

 The percentage utilization of available "to spend" in a     To establish the use (cash/retail) and validity of a
 predefined period                                           Card's available balance in a certain period


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Issuer Monitoring Standards Compliance - CEMEA Region

Visa will determine whether a CEMEA Issuer has met the Issuer monitoring standards specified in the
CEMEA Regional Operating Regulations. At the request of Visa, the Issuer must provide the following
to demonstrate compliance:

• Copies of actual reports or records used to monitor Cardholder activity
• Any other data or specifications Visa may request from the Member

ID#: 010410-010410-0002288



Issuer Monitoring Standards Non-Compliance - CEMEA Region

A CEMEA Member that is not compliant with the monitoring standards specified in the CEMEA
Regional Operating Regulations at the end of each financial quarter (December, March, June, and
September) will be assessed a fee against the latest available Quarterly Card Service Volume.

ID#: 010410-010410-0008974



Central Deposit Monitoring Requirements - LAC Region

An LAC Acquirer must conduct an investigation of any Merchant Outlet appearing in a Central
Deposit Monitoring report within 3 calendar days of receipt of the report. If the investigation reveals
Merchant involvement in any of the following, the Acquirer must take the appropriate action, as
specified in this section:

• Illegal activity
• Violation of the Visa International Operating Regulations or Merchant contract
• Activities likely to produce losses to Visa Members

If the Merchant is involved in any of the above activities, the Acquirer must:

• Cooperate with Visa, Issuers, and law enforcement agencies in any investigation
• Release all information regarding the Merchant upon request
• Terminate the Merchant, if appropriate
• Hold funds, if possible and legal
• Initiate criminal or civil proceedings against the Merchant, if applicable
• Take appropriate legal action to minimize losses, if the investigation discloses illegal or fraudulent
  activity

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Acquirer Monitoring Program Inspection - LAC Region (Updated)

Visa may, on a quarterly basis, inspect the LAC Acquirer's and/or Agent's facilities when the quarterly
amount of confirmed purchase fraud exceeds US $100,000 and the quarterly average of confirmed
fraud purchase Transactions as a percentage of purchase sales volume for its affiliated Merchants
exceeds 0.30%.

ID#: 050411-010410-0000577



Acquirer Monitoring Program Responsibilities - LAC Region (Updated)

An LAC Acquirer identified under the Acquirer Monitoring Program has a 180-day workout period
from the date of notification to reduce its quarterly purchase fraud-to-sales ratio below 0.30%. After
initial identification, an Acquirer must maintain levels below the threshold for 4 consecutive quarters to
be considered compliant. During that time, any subsequent identification will render the Acquirer
ineligible for a workout period and a penalty will be assessed.

An Acquirer that fails to comply with the above provisions is subject to a special quarterly fee of US
$25,000.

ID#: 050411-010410-0008294



Acquirer Monitoring Program Inspection Costs - LAC Region (Updated)

Visa will collect from the LAC Acquirer the costs and expenses incurred in connection with all
inspections. The on-site inspection fee is described in the Visa LAC Fee Guide or applicable local fee
guide.

ID#: 050411-010410-0000579



Merchant Chargeback Activity Monitoring - U.S. Region

A U.S. Acquirer must monitor the Chargeback-to-Interchange volume ratio of its Merchants and
identify any Merchant that experiences the following activity levels during any month:

• 100 or more Interchange Transactions
• 100 or more Chargebacks
• A 1% or higher ratio of overall Chargeback-to-Interchange volume

ID#: 010410-010410-0002220




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Merchant Weekly Activity Reporting - U.S. Region

A U.S. Acquirer must, at a minimum, do all of the following for each of its Merchants:

• Retain at least the following weekly data:
  - Gross sales volume
  - Average Transaction amount
  - Number of Transaction Receipts
  - Average elapsed time between the Transaction Date of the Transaction Receipt and the
    Acquirer's Processing Date (counting each as one day)
  - Number of Chargebacks
• Collect the data over a period of the month following the Merchant Outlet's initial Deposit
• Use the data to determine the Merchant Outlet's normal weekly activity of the specified categories
• Adjust the Merchant Outlet's normal weekly activity on a monthly basis, using the previous month's
  activity
• Compare current related data to the normal weekly activity parameters

ID#: 010410-010410-0002221



Merchant Exception Reports - U.S. Region

Beginning with the Merchant Outlet Deposit activity processed on the 31st calendar day from the first
Deposit, a U.S. Acquirer must generate unusual activity reports if either of the following occurs:

• Current weekly gross sales volume equals or exceeds US $5,000 and any of the following meets or
  exceeds 150% of the normal weekly activity:
  - Number of weekly Transaction Receipt Deposits
  - Gross amount of weekly Deposits
  - Average Transaction amount
  - Number of weekly Chargebacks
• Average elapsed time between the Transaction Date and the Acquirer's Processing Date for a
  Transaction (counting each as one day) exceeds 15 calendar days

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Internet Payment Service Provider and Sponsored Merchant Activity Monitoring - U.S.
Region

A U.S. Acquirer must comply with Merchant monitoring standards for each Internet Payment Service
Provider, as specified in "High-Risk Telemarketing Merchant Monitoring - U.S. Region."

Sponsored Merchants that exceed Visa thresholds for excessive Chargebacks, as specified in
"Merchant Chargeback Monitoring Program - U.S. Region" and Fraud Activity, as specified in "Risk
Identification Service Online Fines - U.S. Region," and "Excessive Fraud Activity Notification - U.S.
Region," for more than three months will be subject to RIS Online and Merchant Chargeback
Monitoring Programs.

ID#: 010410-010410-0003940



Chargeback Monitoring


Global Merchant Chargeback Monitoring Program Overview

Effective 1 June 2010, Visa monitors Merchant Outlets and Acquirers that generate an excessive
level of international Chargebacks through the Global Merchant Chargeback Monitoring Program as
noted below. Disputes related to Chargeback Reason Code 93, "Merchant Fraud Performance
Program," are excluded from program monitoring.

A Merchant Outlet is identified in the Global Merchant Chargeback Monitoring Program if it meets or
exceeds all of the following monthly performance activity levels:

• 200 international Chargebacks
• 200 International Transactions
• 2% ratio of international Chargebacks to International Transactions

An Acquirer is identified in the Global Merchant Chargeback Monitoring Program if it meets or
exceeds all of the following monthly performance activity levels:

• 500 international Chargebacks
• 500 International Transactions
• 1.5% ratio of international Chargebacks to International Transactions
• One or more Merchants in the program during the reporting month

Visa may modify or create new monthly performance levels to respond to different Chargeback and
fraud trends that emerge.

Additional operational details regarding the program are specified in the Visa Global Merchant
Chargeback Monitoring Program (GMCMP) Program Guide.

ID#: 081010-010410-0006039




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Global Merchant Chargeback Monitoring Program Handling Fees

Effective 1 June 2010, Visa assesses an Acquirer a Chargeback handling fee of US $100 for each
international Chargeback received for each identified Merchant Outlet once the Merchant has been
placed in the Global Merchant Chargeback Monitoring Program.

Visa collects the Chargeback handling fee from the Acquirer and disburses US $70 to the Issuer that
initiated the Chargeback through the Visa Integrated Billing Statement. Visa retains the balance as an
administration fee.

If the Acquirer and Merchant have not implemented procedures to reduce Chargebacks, Visa may
assess the Acquirer an increased Chargeback handling fee not exceeding US $200 for each
international Chargeback received for its Merchant.

Visa may, at its discretion, assess the Acquirer Chargeback handling fees for Trailing Chargeback
Activity that occurs up to 4 months after Merchant termination, regardless of sales volume.

ID#: 081010-010410-0008120



Global Merchant Chargeback Monitoring Program Fees and/or Fines - Visa Rights
(Updated)

Effective 1 June 2010, Visa may assess, suspend, or waive fees and/or fines, in whole or in part, to
accommodate unique or extenuating circumstances. Global Merchant Chargeback Monitoring
Program fees and/or fines will no longer be assessed once the Merchant has met acceptable
performance levels; however, fees and/or fines may continue to be assessed, or a Merchant may be
prohibited from participating in the Visa Program, as specified in "High-Risk Merchants in the Global
Merchant Chargeback Monitoring Program - Acquirer Penalties" table or "Visa Right to Terminate
Merchant, Internet Payment Service Provider or Sponsored Merchant" if Visa determines that the
Merchant is causing undue economic hardship to the Visa system as a result of high dispute
volumes.

ID#: 050411-010410-0001877



Global Merchant Chargeback Monitoring Program Penalties (Updated)

Effective 1 June 2010, Visa assesses Global Merchant Chargeback Monitoring Program penalties to
the Acquirer, as described in the following tables.




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Penalties for Global Merchant Chargeback Monitoring Program - Merchant-Level Thresholds

                            Event                                                   Visa Action/Fee
                                                                                      1
 1. Merchant Outlet meets or exceeds the Chargeback              • Workout Period
 activity thresholds, as specified in “Global Merchant           • No fee
 Chargeback Monitoring Program Overview,” in months
 1-3 (month 1 = initial notification)

 2. Merchant Outlet meets or exceeds the Chargeback              • US $100 per international Chargeback for
 activity thresholds, as specified in “Global Merchant             every month the Merchant meets or exceeds
                                                                                          2
 Chargeback Monitoring Program Overview,” in months                the program thresholds
 4-9                                                             • If the Acquirer and Merchant have not
                                                                   implemented procedures to reduce
                                                                   Chargebacks, Visa may assess the Acquirer a
                                                                   fee of US $200 for each international
                                                                                                         2
                                                                   Chargeback received for its Merchant

 3. Merchant Outlet meets or exceeds the Chargeback              • US $100 per international Chargeback for
 activity thresholds, as specified in “Global Merchant             every month the Merchant meets or exceeds
                                                                                          2
 Chargeback Monitoring Program Overview,” beyond                   the program thresholds
 month 9                                                         • If the Acquirer and Merchant have not
                                                                   implemented procedures to reduce
                                                                   Chargebacks, Visa may assess the Acquirer a
                                                                   fee of US $200 for each international
                                                                                                          2
                                                                   Chargeback received for its Merchant
                                                                 • Acquirer is eligible for US $25,000 review fee
                                                                 • Visa may initiate Merchant disqualification
                                                                   processes against a Merchant Outlet and/or its
                                                                   principals

 1. The Workout Period is not applicable for Acquirer-level thresholds or High-Risk Merchants as specified in “High-Risk
 Merchant Category Codes.”
 2. Visa allocates US $70 of each fee to the Issuer via a Funds Disbursement.


Penalties for Global Merchant Chargeback Monitoring Program - Acquirer-Level Thresholds

                            Event                                                 Requirements/Fine

 1. Acquirer meets or exceeds the Chargeback activity            US $25,000 for every month the Acquirer meets or
 thresholds as specified in “Global Merchant                     exceeds the program thresholds
 Chargeback Monitoring Program Overview”
 2. Acquirer meets or exceeds the Chargeback activity            US $50,000 for every month the Acquirer meets or
 thresholds, as specified in “Global Merchant                    exceeds the program thresholds
 Chargeback Monitoring Program Overview,” more than
 3 times in a rolling 12-month period

 3. Acquirer meets or exceeds the Chargeback activity            • US $100,000 for each subsequent month the
 thresholds, as specified in “Global Merchant                      threshold is met or exceeded
 Chargeback Monitoring Program Overview,” more than              • Acquirer is eligible for the imposition of Risk
 6 times in a rolling 12-month period                              Reduction Procedures as specified in “Member
                                                                   Risk Reduction Requirements”
                                                                 • Visa may apply additional fines for repetitive or
                                                                   willful violations, as specified in “Repetitive
                                                                   Violations” and “Willful Violations.”


ID#: 050411-010610-0025677




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Global Merchant Chargeback Monitoring Program - Revocation of Workout Period

Effective 1 June 2010, Visa may, at its discretion, revoke the Workout Period of a Merchant in the
Global Merchant Chargeback Monitoring Program if Visa deems that the Merchant’s activities may
cause undue harm to the goodwill of the Visa payment system.

ID#: 081010-010610-0025678



Global Merchant Chargeback Monitoring Program - Merchant Status

Effective 1 June 2010, a Merchant that changes Acquirers while in the Global Merchant Chargeback
Monitoring Program will be assigned the equivalent status in the program with the new Acquirer.

ID#: 081010-010610-0025679



Global Merchant Chargeback Monitoring Program - Data Quality Compliance

Effective 1 June 2010, to enable valid Global Merchant Chargeback Monitoring Program
identifications, an Acquirer must:

• Ensure Merchant names and Merchant data are identified in accordance with the Visa Merchant
  Data Standards Manual
• Provide complete and accurate Authorization and Settlement data

If Visa determines that an Acquirer or its Merchant changed, modified, or altered the Merchant name
or Merchant data in any way to circumvent the Global Merchant Chargeback Monitoring Program,
Visa may:

• Assess a fine of US $10,000 per Merchant, per month, to the Acquirer
• Permanently disqualify the Merchant and its principals from participating in the Visa Program

For the purposes of administering Merchant compliance under the Global Merchant Chargeback
Monitoring Program, if an Acquirer submits Interchange for a single Merchant Outlet under multiple
names, Visa may:

• Group the Merchant activity
• Notify the Acquirer of the Interchange grouping

Visa may evaluate Internet Payment Service Provider (IPSP) performance either by aggregating all
Interchange activity together or at the Sponsored Merchant level.

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Merchant Chargeback Monitoring Program - U.S. Region

Visa monitors the total volume of U.S. Domestic and International Interchange and Chargebacks for a
single Merchant Outlet and identifies U.S. Merchants that experience all of the following activity levels
during any month:

• 100 or more interchange transactions
• 100 or more Chargebacks
• A 1% or higher ratio of overall Chargeback-to-Interchange volume

For the purposes of the U.S. Merchant Chargeback Monitoring Programs, if an Acquirer submits
Interchange for a single Merchant Outlet under multiple names, Visa:

• Groups the Merchant activity
• Notifies the respective Acquirer of the Interchange grouping

ID#: 081010-010410-0008123



Merchant Chargeback Monitoring Program - Merchant Region - U.S. Region

A Merchant Outlet that moves to the U.S. Region at the time that it is in another Visa Region's
Chargeback monitoring program will be assigned the equivalent status in the U.S. Region's
comparable Chargeback monitoring program.

ID#: 010410-010410-0002352



Merchant Chargeback Monitoring Program - Acquirer Requirements - U.S. Region

Within 10 calendar days of receipt of a Notification that a Merchant Outlet has met or exceeded the
thresholds specified in "Merchant Chargeback Monitoring Program - U.S. Region," a U.S. Acquirer
must:

• Notify the Merchant
• Provide Visa with the specific information requested

ID#: 010410-010410-0002356




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Merchant Chargeback Monitoring Program Fees - U.S. Region (Updated)

Visa assesses Merchant Chargeback Monitoring Program fees to a U.S. Acquirer, as described in the
table below.


Merchant Chargeback Monitoring Program Fees - U.S. Region

                           Event                                                Requirements/Fee


 1. U.S. Merchant Outlet meets or exceeds the               • Initial Notification - month 0
 Chargeback activity thresholds specified in                • No fee
 "Merchant Chargeback Monitoring Program - US
 Region"

 2. U.S. Merchant Outlet continues to meet or               • Notification - month 1
 exceed the Chargeback activity thresholds for the
 month following initial Notification                       • US $5,000 for failure to return completed
                                                              documentation within 10 calendar days of the
                                                              Notification letter date
                                                            • US $1,000 per day until completed documentation
                                                              is received

 3. U.S. Merchant Outlet continues to meet or               • Notification - month 2
 exceed the Chargeback activity thresholds for the
 second month                                               • US $10,000 for failure to respond with an
                                                              acceptable Chargeback reduction plan within 10
                                                              calendar days of the Notification letter date
                                                            • US $1,000 per day until acceptable Chargeback
                                                              reduction plan is received

 4. U.S. Merchant Outlet continues to meet or               • US $50 per Chargeback for every month the
 exceed the Chargeback activity thresholds for                Merchant continues to meet or exceed the
 months 3, 4, and 5                                           Chargeback thresholds
                                                                                    1



 5. U.S. Merchant Outlet continues to meet or               • US $100 per Chargeback for every month the
 exceed the Chargeback activity thresholds for                Merchant continues to meet or exceed the
 months 6 and 7                                               Chargeback thresholds
                                                                                    2



 6. U.S. Merchant Outlet continues to meet or               • US $25,000 review fee
 exceed the Chargeback activity thresholds for
 months 8 and 9                                             • US $100 per Chargeback for every month the
                                                              Merchant continues to meet or exceed the
                                                                                    2
                                                              Chargeback thresholds

 7. U.S. Merchant Outlet continues to meet or               • US $100 per Chargeback for every month the
 exceed the Chargeback activity thresholds beyond             Merchant continues to meet or exceed the
 month 9                                                      Chargeback thresholds
                                                                                    2


                                                            • Merchant and its principals eligible for
                                                              disqualification proceedings, as specified in
                                                              "Critical Chargeback Levels - U.S. Region"


 1. Visa allocates US $40 of each fee to the Issuer via a Funds Disbursement.
 2. Visa allocates US $90 of each fee to the Issuer via a Funds Disbursement.




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Chargeback Activity Fines - U.S. Region

Fines for Chargeback activity may continue to be assessed to a U.S. Acquirer:

• For all Trailing Chargeback Activity that occurs up to 120 calendar days after Transaction
  processing has ceased
• Equivalent to the penalties being assessed to the Acquirer, as specified in "Merchant Chargeback
  Monitoring Program Fees - U.S. Region," at the time Transaction processing ceased

ID#: 010410-010410-0002358



Merchant Chargeback Monitoring Program - Merchant Disqualification - U.S. Region

If a U.S. Merchant Outlet continues to meet or exceed the Chargeback thresholds beyond the periods
specified in "Merchant Chargeback Monitoring Program Fees - U.S. Region," Visa may permanently
disqualify the Merchant from participating in the Visa Program. Visa notifies both the Acquirer and
Merchant of the disqualification and its effective date.

ID#: 010410-010410-0002359



Critical Chargeback Levels - U.S. Region

If a U.S. Merchant Outlet demonstrates a critical level of Chargeback-to-Interchange volume at any
time during a given month, Visa may require the U.S. Acquirer to terminate the Merchant Agreement.

ID#: 010410-010410-0002360



Acquirer Chargeback Monitoring Program - U.S. Region (Updated)

Visa monitors the total volume of U.S. Domestic and International Interchange and Chargebacks for
any U.S. Acquirer that experiences all the following activity levels during any month:

• 500 or more interchange transactions
• 500 or more Chargebacks
• A 1% or higher ratio of overall Chargeback-to-Interchange volume

ID#: 050411-010410-0002361




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Acquirer Processing Activity Review - U.S. Region

For any U.S. Acquirer that has 3 or more Merchants in the Chargeback monitoring programs for 6
consecutive months, Visa may conduct a review of the U.S. Acquirer's and/or Merchants' Visa Card-
related processing activities:

• A senior officer of the Acquirer, as determined by Visa, is required to be present during the review
  process
• The Acquirer must take action on all recommendations resulting from the review, as directed by
  Visa

ID#: 010410-010410-0002368



Acquirer Chargeback Monitoring Program Penalties - U.S. Region

If Visa suspects that a U.S. Acquirer has terminated a Merchant Agreement and knowingly entered
into a new Merchant Agreement with the same Merchant under a different name, with the intent to
circumvent the provisions of the "Acquirer Chargeback Monitoring Program - U.S. Region," Visa:

• Assesses a fine, 60 calendar days after Acquirer Notification, as specified in "Acquirer Chargeback
  Monitoring Program Fees - U.S. Region" table
• May permanently disqualify the Merchant and its principals from participating in the Visa Program

The Acquirer may appeal to Visa during the 60-calendar-day period. If the Acquirer appeals, the
Acquirer must provide evidence to disprove the suspected activity.

ID#: 010410-010410-0008129



Acquirer Chargeback Monitoring Program Fees - U.S. Region

Visa assesses Acquirer Chargeback Monitoring Program fees to a U.S. Acquirer, as described in the
following table.


Acquirer Chargeback Monitoring Program Fees - U.S. Region

                            Event                                           Requirements/Fee

 1. Acquirer knowingly attempts to circumvent the           US $25,000 assessed 60 calendar days after
 provisions of "Acquirer Chargeback Monitoring              Notification to the Acquirer
 Program - U.S. Region"

 2. Acquirer meets or exceeds the Chargeback activity       US $25,000
 thresholds specified in "Acquirer Chargeback
 Monitoring Program - U.S. Region"

 3. Acquirer meets or exceeds the Chargeback activity       US $100,000 for each subsequent month that
 thresholds more than 3 times in a rolling 12- month        either threshold is exceeded
 period




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                         Event                                             Requirements/Fee

 4. Acquirer has had 3 or more Merchants in the            Daily review fee of at least US $2,500, with a one-
 Merchant Chargeback Monitoring Programs for 6             week minimum fee of US $17,500, assessed while
 consecutive months                                        a review of the Acquirer's and/or Merchants' Visa
                                                           Card-related processing activities is being
                                                           conducted, as specified in "Acquirer Processing
                                                           Activity Review - U.S. Region"

 5. Acquirer fails to take action on recommendations       US $75,000 minimum
 resulting from a review of the Acquirer's and/or
 Merchants' Visa Card-related processing activities


ID#: 010410-010410-0003491



Global Merchant Chargeback Monitoring Program - U.S. Region

The Acquirer of a U.S. Merchant in the Global Merchant Chargeback Monitoring Program, as
specified in the Visa International Operating Regulations, is subject to the terms of that program for
the Merchant's total volume of U.S. Domestic and International Chargebacks.

ID#: 010410-010410-0002369



Fraud Monitoring


Acquirer Monitoring Program

Visa monitors an Acquirer to determine disproportionate fraud-to-sales ratios.

An Acquirer exceeding 3 times the worldwide or regional fraud-to-sales ratio for more than one
quarter will be considered non-compliant and may be subject, but not limited, to the following fines
and penalties:

• Monetary fines specified in the applicable Visa Regional Operating Regulations
• Temporary suspension of contracting with new Merchants
• Termination of membership

ID#: 010410-010410-0008130




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Merchant Fraud Performance Program (Updated)

The Merchant Fraud Performance Program measures Merchant Outlet activity and identifies
Merchant Outlets requiring performance improvement when fraud thresholds are met or exceeded, as
specified in the Merchant Fraud Performance Program – Program Guide. If a Merchant Outlet
continues to meet or exceed the fraud performance thresholds:

• The Acquirer will be liable under Chargeback Reason Code 93, "Merchant Fraud Performance
  Program," for fraudulent Transactions at Merchant Outlets in the program
• Visa will apply escalating financial penalties to the Acquirer
• Visa may ultimately disqualify the Merchant Outlet from the Visa payment system

ID#: 050411-010410-0000608



Merchant Fraud Performance Program Compliance (Updated)

An Acquirer must comply with the Merchant Fraud Performance Program requirements specified in
the Merchant Fraud Performance Program – Program Guide.

ID#: 050411-010410-0002396



Merchant Fraud Performance Program Requirements (Updated)

An Acquirer must address any fraud exposure attributed to a Merchant Outlet that is identified by the
Merchant Fraud Performance Program within the time period specified in the Merchant Fraud
Performance Program – Program Guide or face possible corrective actions.

ID#: 050411-010410-0001864



Acquirer Performance Monitoring Program - AP Region (Updated)

The Acquirer Performance Monitoring Program monitors AP Acquirers to determine disproportionate
fraud-to-sales ratios and identifies Acquirers requiring performance improvements when fraud
thresholds are met or exceeded, as specified in the Visa Acquirer Performance Monitoring Program
Guide - Asia Pacific and Central Europe, Middle East, and Africa. If an Acquirer exceeds the limits
specified in the guide, it may be subject to an on-site Acquirer performance review by Visa.

An AP Acquirer is subject to the penalties specified in the following table for failure to take appropriate
action if it is identified by Visa under the Acquirer Performance Monitoring Program, as specified in
the Visa Acquirer Performance Monitoring Guide - Asia Pacific and Central Europe, Middle East, and
Africa. Visa may review and modify the program thresholds and framework on a periodic basis, based
on current fraud trends.




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Acquirer Performance Monitoring Program Penalty Schedule - AP Region

                         Violation
      (Based on each quarter the Acquirer exceeds the                     Visa Action or Fine
            thresholds after the workout period)

 First violation                                           US $25,000

 Second consecutive violation                              US $50,000

                                                           US $100,000 for every subsequent violation per
 3 or more consecutive violations                          quarter OR Visa may revoke or suspend the
                                                           Acquirer's license


ID#: 050411-011008-0008180



Merchant Fraud Performance Program - AP Region

An AP Merchant Outlet is identified in the Merchant Fraud Performance Program if it violates the Visa
International Operating Regulations or if it meets or exceeds monthly international fraud levels
specified in the Visa Asia Pacific Merchant Fraud Performance Program Guide. Visa may modify or
create new monthly performance levels after evaluation of the program's success in identifying
Merchants that cause undue economic hardship or damage to the goodwill of the Visa system.

ID#: 010410-010410-0000612



Domestic Merchant Fraud Performance Program - Canada Region (Updated)

Canada Members must comply with the requirements of the Canada Region's Domestic Merchant
Fraud Performance Program, as detailed in the Domestic Merchant Fraud Performance User's
Manual (Canada) available at http://www.visainfo.ca.

ID#: 050411-010410-0000616



Acquirer Performance Monitoring Program - CEMEA Region

The Acquirer Performance Monitoring Program identifies Acquirers that exceed Visa-defined fraud
levels. CEMEA Acquirers must adhere to the Acquirer Performance Monitoring Program
implementation process and compliance principles.

ID#: 081010-010410-0002273



Acquirer Monitoring Program Thresholds - CEMEA Region (Updated)

Effective 1 July 2010, a CEMEA Acquirer will be considered non-compliant with the established
Acquirer Monitoring Program standards if it meets or exceeds quarterly fraud levels specified in the
Visa Acquirer Performance Monitoring Program Guide - Asia Pacific and Central Europe, Middle
East, and Africa.

ID#: 050411-010410-0002274



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Acquirer Monitoring Program Penalties - CEMEA Region (Updated)

Effective 1 October 2010, a CEMEA Acquirer is subject to the penalties in the following table for
failure to take appropriate action if it is identified by Visa under the Acquirer Performance Monitoring
Program as specified in the Visa Acquirer Performance Monitoring Program Guide - Asia Pacific and
Central Europe, Middle East, and Africa. Visa may review and modify the program thresholds and
framework on a periodic basis, based on current fraud trends.


Acquirer Monitoring Program Penalties - CEMEA Region

                        Violation
     (Based on each quarter the Acquirer exceeds the                       Visa Action or Fine
           thresholds after the workout period)

 First violation                                            US $ 25,000

 Second consecutive violation                               US $50,000

 3 or more consecutive violations                           US $100,000 for every subsequent violation per
                                                            quarter or Visa may revoke or suspend the
                                                            Acquirer's license


ID#: 050411-010410-0002275



Risk Reduction Assistance - CEMEA Region

Once a CEMEA Member has exceeded risk program parameters, Visa may offer the Member
assistance in implementing risk reduction strategies.

Visa assistance, where deemed necessary, may consist of a CEMEA Member onsite visit and the
provision of a risk reduction recommendations report.

ID#: 010410-010410-0009033



Implementation of Risk Reduction Recommendations - CEMEA Region

CEMEA Members that fail to demonstrate implementation of Visa risk reduction recommendations
and/or remain in violation of Visa risk programs may be subject to a transfer of Transaction financial
liability using Chargeback reason code 93, "Merchant Fraud Performance Program."

ID#: 010410-010410-0002279




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High-Risk Merchant Outlet Fees - LAC Region

The semi-monthly Issuer Fraud Detection Fees for an LAC High-Risk Merchant Outlet are specified in
the table below.


Risk Identification Service Fees for High-Risk Merchant Outlets - LAC Region

         Suspect Transactions as a Percentage
                                                                  Fee per High-Risk Merchant Outlet
                    of Total Sales

                      10 - 49.99%                                                US $50

                      50 - 74.99%                                               US $100

                      75 - 100.00%                                              US $200


ID#: 010410-010410-0006877



Fraud Activity Advices - U.S. Region

A program advice is sent to the U.S. Acquirer for each month that Fraud Activity exceeds all of the
following thresholds:

• 100 or more occurrences of Fraud Activity
• Fraud Activity amount in excess of US $50,000 per month
• Acquirer Fraud Activity-to-sales ratio of 2 to 3 times the average U.S. Fraud Activity-to-sales ratio

ID#: 010410-010410-0002089



Critical Fraud Activity Levels - U.S. Region

Visa may impose any of the following conditions on a U.S. Acquirer whose Fraud Activity-to-sales
ratio is 3 or more times the average U.S. Fraud Activity-to-sales ratio for 3 consecutive months:

• Onsite review by Visa
• Required corrective actions
• Suspension of the Acquirer program
• Termination of membership

ID#: 010410-010410-0002092



Acquirer Monitoring Program Onsite Review - U.S. Region

In the U.S. Region, if Visa determines that an onsite review is required, the U.S. Acquirer will be
assessed a review fee of US $2,500, with a one-week minimum fee of US $17,500.

ID#: 010410-010410-0008179



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Fraud Activity Alerts - U.S. Region

A program Alert is sent to a U.S. Acquirer for each month that Fraud Activity exceeds all of the
following thresholds:

• 100 or more occurrences of Fraud Activity
• Fraud Activity amount in excess of US $50,000 per month
• Acquirer Fraud Activity-to-sales ratio of 3 or more times the average U.S. Fraud Activity-to-sales
  ratio

Following the receipt of an Acquirer Monitoring Program Alert, the U.S. Acquirer must immediately
implement a remedial plan to reduce its Fraud Activity-to-sales ratio.

Upon receipt of the third consecutive program Alert, the U.S. Acquirer will enter a 3-month Workout
Period.

Visa monitors the effectiveness of the remedial plan during the Workout Period.

ID#: 010410-010410-0009027



Acquirer Monitoring Program Fines - U.S. Region

Beginning the first month after the Workout Period, Visa assesses the following fines if an Acquirer's
monthly Fraud Activity-to-sales ratio exceeds the Acquirer Monitoring Program Alert thresholds:


Fines for Excessive Fraud Activity-to-Sales Ratio - U.S. Region

            Month Following Workout Period                                         Fine

                          First month                                          US $25,000

                        Second month                                           US $50,000

                         Third month                                           US $75,000

               Fourth and subsequent months                                    US $100,000


Until the U.S. Acquirer's Fraud Activity-to-sales ratio remains below the program Alert thresholds for 3
consecutive months, a fee will be assessed each month the ratio exceeds the program Alert
thresholds.

ID#: 010410-010410-0009029




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Acquirer Monitoring Circumvention - U.S. Region

Visa may:

• Impose conditions on a U.S. Acquirer that knowingly acts to circumvent monitoring
• Assess fees, as specified in "Fines for Excessive Fraud Activity-to-Sales Ratio," table to an
  Acquirer that knowingly acts to circumvent monitoring

ID#: 010410-010410-0003489



Excessive Fraud Activity Notification - U.S. Region (Updated)

A U.S. Acquirer that receives an Excessive Fraud Activity Notification for one of its Merchants enters
a 3-month Workout Period, and is subject to the requirements in the table below.

Within 10 calendar days of receipt of the Notification of fraud activity, the U.S. Acquirer must:

• Notify the Merchant
• Provide Visa with the specific information requested

Fraud Activity thresholds are available from Visa upon request.

An Identified Merchant will enter a remediation program that may last up to 10 months.


Risk Identification Service Online Workout Period - U.S. Region

                        Event                                                   Requirements

  U.S. Acquirer receives an Excessive Fraud             Initial Excessive Fraud Activity Notification. No fee
  Activity Notification, and enters a 3-month           • Acquirer must complete a "Risk Identification Service
  workout period.                                         Online Questionnaire" and submit it to Visa within 10
                                                          days of receipt of the Notification, and take further
                                                          action as specified above

  Workout Period                                        Workout Period - month 1. No fee
  U.S. Acquirer receives Excessive Fraud                • Acquirer must submit to Visa a fraud reduction plan
  Activity Notification(s).                               detailing corrective actions by the 15th of the month
                                                          following the month in which the initial Excessive Fraud
                                                          Activity Notification was received. If an acceptable plan
                                                          is not submitted, the Acquirer immediately enters the
                                                          fee period, and may be subject to the fee period
                                                                                     1
                                                          requirements for month 1
                                                        Workout Period - month 2. No fee
                                                        • Acquirer evaluates the effectiveness of the fraud
                                                          reduction plan and makes adjustments, as necessary
                                                                      Workout Period - month 3. No fee

1. If a U.S. Acquirer bypasses the Workout Period and enters the fee period, the fee schedule progresses each subsequent
month from US $10,000 to US $100,000, according to the increments specified in "Risk Identification Service (RIS) Online Fine
Schedule - U.S. Region."

ID#: 050411-010410-0008131



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Risk Identification Service Online Merchant Name Consolidation - U.S. Region

For the purposes of Risk Identification Service (RIS) Online in the U.S. Region, if Visa determines
that Transactions from a single Merchant are entered into Interchange under multiple names, Visa
may:

• Consolidate the Merchant activity from all names into one
• Designate and monitor the Merchant as an Identified Merchant
• Track and report the consolidated Merchant activity under current RIS Online parameters

ID#: 010410-010410-0003483



Risk Identification Service Online Fines - U.S. Region

Visa assesses the following fines, as specified in the table below, to a U.S. Acquirer after the 3-month
Workout Period, as described in "Excessive Fraud Activity Notification - U.S. Region."


Risk Identification Service (RIS) Online Fine Schedule - U.S. Region

                          Event                                          Requirements/Fine


                          1
 Fine Period - month 1                                  US $10,000
 Acquirer receives Excessive Fraud Activity
              2
 Notification


 Fine Period - month 2 or 3                             US $25,000
 Acquirer receives Excessive Fraud Activity
              2
 Notification


 Fine Period - month 4                                  US $50,000
 Acquirer receives Excessive Fraud Activity
              2
 Notification


 Fine Period - month 5                                  US $75,000
 Acquirer receives Excessive Fraud Activity
              2
 Notification


 Fine Period - month 6                                  US $100,000
 Acquirer receives Excessive Fraud Activity
              2
 Notification




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                           Event                                                  Requirements/Fine


 Fine Period - beyond month 6                                 • US $100,000 per month
 Acquirer receives subsequent Excessive Fraud                 • Merchant and its principal(s) eligible for
 Activity Notification(s)
                          2                                   disqualification proceedings, as specified in "Critical
                                                              Chargeback Levels - U.S. Region"


 1. The Risk Identification Service Online remediation process, including Notification requirements, is described in
 "Excessive Fraud Activity Notification - U.S. Region."
 2. An Identified Merchant must remain below RIS Online Notification thresholds that incur a fine for at least 3 consecutive
 months for the Acquirer to exit the fine period specified in this table.


ID#: 010410-010410-0003481



Merchant Fraud Activity Monitoring - Merchant Region - U.S. Region

A U.S. Merchant Outlet that is in a Merchant Fraud Activity monitoring program in another Visa region
and moves to the U.S. Region is assigned the equivalent status in the RIS Online Fraud Activity
monitoring program.

ID#: 010410-010410-0001866



Critical Merchant Fraud Activity Level - U.S. Region

In the U.S. Region, if an Identified Merchant demonstrates a critical level of Fraud Activity-to-sales
ratio at any time during a given month, Visa may require the Acquirer to terminate the Merchant
Agreement.

ID#: 010410-010410-0001871



Risk Identification Service Online - Merchant Data Alteration - U.S. Region

If Visa determines that a U.S. Acquirer or its Merchant changed, modified, or altered Merchant data in
any way to avoid detection by Risk Identification Service (RIS) Online, Visa may assess a US
$25,000 fee to the Acquirer for each occurrence identified.

ID#: 010410-010410-0003482



Risk Identification Service Online Conditions and Fees - U.S. Region

Visa may:

• Impose conditions on a U.S. Acquirer if any of its Merchants are designated as an Identified
  Merchant by RIS Online
• Assess a daily review fee of at least US $2,500, with a one-week minimum fee of US $17,500, if an
  onsite review is required

ID#: 010410-010410-0003484


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High-Risk Merchant Monitoring


High-Risk Merchant Category Codes

A Merchant required to use one of the following Merchant Category Codes is considered high-risk:

• 5962, "Direct Marketing-Travel-Related Arrangement Services"
• 5966, "Direct Marketing-Outbound Telemarketing Merchants"
• 5967, "Direct Marketing-Inbound Telemarketing Merchants"
• 7995, "Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
  Race Tracks"

ID#: 010410-010410-0008137



Global Merchant Chargeback Monitoring Program - High-Risk Merchants - Penalties

The following table specifies the penalties per international Chargeback for Acquirers of High-Risk
Merchants placed in the Global Merchant Chargeback Monitoring Program.


High-Risk Merchants in the Global Merchant
Chargeback Monitoring Program Acquirer Penalties

                        Event                               Month               Visa Action or Fee/Fine

 Merchant meets or exceeds the specified             Months 1-3            US $100 per Chargeback per
                  1
 Chargeback ratio                                                          month for each identified
                                                                           Merchant Outlet2
 Merchant meets or exceeds the specified             Months 4-6            US $150 per Chargeback per
                  1
 Chargeback ratio                                                          month for each identified
                                                                           Merchant Outlet2
 Merchant meets or exceeds the specified             Month 7 and           US $150 per Chargeback per
                  1
 Chargeback ratio                                    subsequent months     month for each identified
                                                                           Merchant Outlet2 and Visa may
                                                                           disqualify the Merchant from
                                                                           participation in the Visa Program
 Merchant meets or exceeds the specified                                   Visa may disqualify the Merchant
                   1
 Chargeback ratio without an effective                                     from participation in the Visa
 Chargeback reduction plan, and 2 of the                                   Program
 following levels of Chargeback activity are
 reached:
 • Merchant's Chargeback ratio is 2 or more          Single month
   times the specified Chargeback ratio
 • Merchant is assessed fees for 3,000 or more       Single month
   Chargebacks
 • Merchant is assessed US $1 million or more        When reached
   in Global Merchant Chargeback Monitoring
   Program fees




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                      Event                                Month               Visa Action or Fee/Fine

 Acquirer does not identify a High-Risk Merchant When violation           US $25,000 per Merchant per
 with the correct Merchant Category Code, as     occurs                   month
 specified in "High-Risk Merchant Category
 Codes"
 1. The Chargeback ratio threshold is 2%.
 2. Effective 1 June 2010, if the Acquirer and Merchant have not implemented procedures to reduce
 Chargebacks, Visa may assess the Acquirer a fee of US $200 for each international Chargeback received
 for its Merchant.


ID#: 081010-010410-0001289



High-Risk Telemarketing Merchants - Acquirer Requirements

An Acquirer must do all of the following for each of its High-Risk Telemarketing Merchants:

• Retain at least the following daily data:
  - Gross sales volume
  - Average Transaction amount
  - Number of Transaction Receipts
  - Average elapsed time between the Transaction Date of the Transaction Receipt and the
    Settlement Date (counting each as one day)
  - Number of Chargebacks
• Collect the data over a period of at least one month, beginning after each Merchant's initial Deposit
• Use the data to determine the Merchant's normal daily activity of the categories specified in this
  section
• Begin the daily monitoring of the Merchant's activity processed on the 31st calendar day from the
  first Deposit
• Compare current related data to the normal daily activity parameters at least daily
• Review the Merchant's normal daily activity at least weekly, using the previous week's activity
• Adjust the Merchant's normal daily activity at least monthly, using the previous month's activity

ID#: 010410-010410-0002422



High-Risk Telemarketing Merchant Exception Reports

An Acquirer must generate High-Risk Telemarketing Merchant exception reports daily and report any
unusual activity to Visa within 2 business days, if either:

• Current weekly gross sales volume equals or exceeds US $5,000 or local currency equivalent, and
  any of the following exceeds 150% of the normal daily activity:
  - Number of daily Transaction Receipt Deposits
  - Gross amount of daily Deposits
  - Average Transaction amount
  - Number of daily Chargebacks

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• Average elapsed time between the Transaction Date and the Endorsement Date or Endorsement
  Date and Settlement Date for a Transaction (counting each as one day respectively) exceeds 15
  calendar days

ID#: 081010-010410-0002423



High-Risk Telemarketing Merchant Investigation

An Acquirer must investigate any Merchant appearing on a High-Risk Telemarketing Merchant
exception report within one business day of generating the report. When the investigation reveals
Merchant involvement in illegal or fraudulent activity, the Acquirer must:

• Cooperate fully with Visa in any investigation, and release all information relative to the Merchant
  upon request
• Take appropriate legal action to minimize losses
• Cooperate with Issuers and law enforcement agencies
• Attempt to make the Merchant responsible for the Transaction
• Hold funds, if possible
• Initiate criminal and civil proceedings against the Merchant, if applicable

ID#: 010410-010410-0002424



High-Risk Telemarketing Merchant Monitoring Standards

Visa will determine whether an Acquirer has met the High-Risk Telemarketing Merchant monitoring
standards specified in the Visa International Operating Regulations.

At the request of Visa, the Acquirer must provide both of the following to demonstrate compliance:

• Copies of actual reports or records used to monitor the Merchant's Deposits
• Any other data requested by Visa

ID#: 010410-010410-0005860



High-Risk Electronic Commerce Merchant Requirements

Visa may impose security or authentication requirements on a Merchant considered to be a High-
Risk Electronic Commerce Merchant. An Electronic Commerce Merchant is considered high-risk if it
is identified by either:

• The Global Merchant Chargeback Monitoring Program or regional equivalent, and has not
  demonstrated a reduction in the number of disputes generated by its online business
• Other Visa risk management programs

ID#: 010410-010410-0002430




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Acquirer Risk Management Review

An Acquirer causing undue economic hardship to the Visa system is subject to a risk management
review. An Acquirer is deemed to cause undue economic hardship if it has 3 or more Merchants in
the Global Merchant Chargeback Monitoring Program for 5 months during a consecutive 6-month
period.

Before the imposition of mandatory risk control measures, Visa will allow an Acquirer at least 3
months from the date of Notification to correct the deficiencies identified during the risk management
review. Mandatory risk control measures may include, but are not limited to:

• Logical or physical security controls, such as:
  - Installation of firewalls
  - Encryption of Account Number information
• Required use of the Address Verification Service, where available
• Implementation of an Authentication Method
• Required use of commercially available Transaction screening tools

ID#: 010410-010410-0008141



Acquirer Risk Control Measures

Mandatory risk control measures specified in "Acquirer Risk Management Review" must be
implemented within 6 months of Notification.

If the risk control measures are not implemented, the Acquirer will be subject to a monthly fine of US
$25,000, or until either of the following occurs:

• Merchant no longer exceeds the parameters specified in "High-Risk Electronic Commerce
  Merchant Requirements"
• Mandatory risk control measures are implemented

ID#: 010410-010410-0005861



Electronic Commerce Requirements - Acquirer Compliance

Visa may conduct a risk management review of Acquirer practices to determine compliance with Visa
electronic commerce requirements. The Acquirer is responsible for the cost of this review.

Visa may perform an additional risk management review to determine Acquirer compliance after 6
months.

ID#: 010410-010410-0005862




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High-Risk Electronic Commerce Merchant Identification

Visa management may revise the penalties and criteria used to identify a High-Risk Electronic
Commerce Merchant.

ID#: 010410-010410-0002437



High-Risk Merchant and IPSP Registration - LAC Region

In the LAC Region, before affiliating with and accepting any Transaction from a High-Risk Merchant,
High-Risk Internet Payment Service Provider, or High-Risk Sponsored Merchant, each Acquirer, in
each jurisdiction, must:

• Assign an exclusive BIN and Settlement Account for the acquiring and settlement of these
  Transactions
• Complete and deliver to Visa a "Regional Registration Form" (Exhibit LA-2) for each entity
• Obtain written confirmation from Visa approving each registration request
• Pay a one-time registration fee for each entity as described in the Visa LAC Fee Guide or
  applicable local fee guide

ID#: 081010-010410-0008934



Member Risk Policies - Acquirer Compliance - LAC Region

Before submitting a "Regional Registration Form" (Exhibit LA-2), an LAC Acquirer must comply with
the applicable Member Risk policies, which may be amended from time to time.

ID#: 010410-010410-0002291



Modifications to High-Risk Regional Registration Form - LAC Region

An LAC Acquirer must immediately notify Visa of any changes to the information on any "Regional
Registration Form" (Exhibit LA-2) by submitting a revised form indicating the change.

ID#: 010410-010410-0002293



Acquirer Monitoring Fee - LAC Region

An LAC Acquirer must pay the following fees, as specified in the Visa LAC Fee Guide or applicable
local fee guide:

• An annual monitoring fee
• An administrative fee for each Transaction

ID#: 081010-010410-0008156




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Acquirer Risk Compliance Fines - LAC Region

An LAC Acquirer that fails to comply with the requirements specified in "Member Risk Policies -
Acquirer Compliance - LAC Region" or "Modification to High-Risk Registration Form - LAC Region"
will be subject to a fine of US $10,000 per violation.

An LAC Acquirer that fails to comply with the requirements specified in "High-Risk Merchant and
IPSP Registration - LAC Region" will be subject to a fine of US $100,000 per violation.

ID#: 010410-010410-0008155



High-Risk Chargeback Monitoring Program - U.S. Region (Updated)

Visa monitors the total volume of U.S. Domestic and International Interchange and Chargebacks for
U.S. Merchants specified in "High-Risk Merchant Category Codes" and identifies Merchants that
experience all of the following activity levels during any month:

• 100 or more interchange transactions
• 100 or more Chargebacks
• A 1% or higher ratio of overall Chargeback-to-Interchange volume

For the purposes of the U.S. High-Risk Chargeback Monitoring Program, if a Merchant submits
Interchange under multiple names, Visa:

• Groups the Merchant activity
• Notifies the respective Acquirer of the Interchange grouping

ID#: 050411-010410-0008976



Additional Monitoring of High-Risk Merchants - U.S. Region

A U.S. Merchant identified in the Merchant Chargeback Monitoring Program may be monitored under
the terms of the High-Risk Chargeback Monitoring Program if Visa determines that the Merchant's
activities may cause undue harm to the goodwill of the Visa system.

ID#: 010410-010410-0001885



High-Risk Chargeback Monitoring Program - Chargeback Ratios - U.S. Region

If a U.S. Merchant specified in "High-Risk Merchant Category Codes" meets or exceeds either of the
applicable Chargeback ratios specified in "High-Risk Chargeback Monitoring Program - U.S. Region,"
Visa sends a Notification to the appropriate U.S. Acquirer.

Within 15 calendar days of receipt of the Notification, the Acquirer must:

• Notify the Merchant
• Provide Visa with the specific information requested

ID#: 010410-010410-0009005



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High-Risk Chargeback Monitoring Program Fees - U.S. Region

Visa assesses High-Risk Chargeback Monitoring Program fees to a U.S. Acquirer, from the date of
Notification, as described in the following table:


High-Risk Chargeback Monitoring Program Acquirer Fees - U.S. Region

                          Event                                                  Requirements/Fee

 1. During months 1-3, the Merchant meets or                • US $5,000 review fee month 1
 exceeds the Chargeback activity thresholds                                                     1
                                                            • US $100 per Chargeback months 1-3
 specified in "High-Risk Chargeback Monitoring
 Program - U.S. Region”
                                                                                                          2
 2. During months 4-6, the Merchant meets or        • US $150 per Chargeback months 4-6
 exceeds the applicable Chargeback ratios specified • US $25,000 review fee month 6
 in (1) above

 3. After 6 months in which the Merchant has met or • Visa may disqualify the Merchant from participation
 exceeded the Chargeback thresholds specified in      in the Visa Program
 "High-Risk Chargeback Monitoring Program - U.S.
 Region"

 4. Acquirer does not:                                      • US $25,000 per Merchant per month
   •    Identify a High-Risk Telemarketing Merchant         • US $100,000 after 3 violations in calendar year
        with the correct Merchant Category Code               and/or prohibition against signing High-Risk
                                                                                         3
                                                              Telemarketing Merchants
   •    Register a High-Risk Telemarketing Merchant

 5. Acquirer knowingly signs a disqualified Merchant • US $250,000 per month until the Acquirer
                                                                                          3
 or any of the disqualified Merchant's principals      terminates the Merchant Agreement

 1. Visa allocates US $90 of each fee to the Issuer via a Funds Disbursement.
 2. Visa allocates US $135 of each fee to the Issuer via a Funds Disbursement.
 3. Visa may impose conditions on Acquirers for violations of the U.S. Regional Operating Regulations, up to and including
 termination of the Acquirer program.


ID#: 010410-010410-0003492



Continuing Chargeback Activity Fines - U.S. Region

Fines for Chargeback activity may continue to be assessed to a U.S. Acquirer:

• For all Trailing Chargeback Activity that occurs up to 120 calendar days after Transaction
  processing has ceased
• Equivalent to the penalties being assessed to the Acquirer, as specified in "High-Risk Chargeback
  Monitoring Program Fees - U.S. Region," at the time Transaction processing ceased

ID#: 010410-010410-0001889




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Merchant Disqualification - U.S. Region

Visa may disqualify a U.S. Merchant specified in "High-Risk Merchant Category Codes" from
participating in the Visa Program if the Merchant:

• Meets or exceeds a critical level of Chargeback activity, as determined by Visa
• Acts with the intent to circumvent Visa programs
• Causes harm to the Visa system

Visa will send a Notification to the Acquirer advising:

• The date the Acquirer must stop submitting the disqualified Merchant's Transactions
• Reasons for the disqualification
• Notice of the right to appeal

The Acquirer may appeal the disqualification as follows:

• The Acquirer's appeal letter must be received by Visa within 15 days of the Acquirer's receipt of the
  disqualification Notification
• The Acquirer must pay a US $5,000 non-refundable fee and include it with the appeal letter
• The evidence and arguments for the appeal must be submitted in the appeal letter
• No oral presentations are permitted

ID#: 010410-010410-0005865



High-Risk Telemarketing Merchant Registration - U.S. Region

Before accepting Transactions from a High-Risk Telemarketing Merchant, a U.S. Acquirer must
submit to Visa a completed "High-Risk Merchant Registration and Certification" form, which is
available through Visa Online or upon request from Visa.

ID#: 010410-010410-0008166



High-Risk Telemarketing Merchant Monitoring - U.S. Region

A U.S. Acquirer must monitor its High-Risk Telemarketing Merchants, which are required to be
registered with Visa as specified in "High-Risk Telemarketing Merchant Registration - U.S. Region."
An Acquirer of a U.S. High-Risk Internet Payment Service Provider must:

• Register its High-Risk Sponsored Merchants as High-Risk Telemarketing Merchants
• Monitor its High-Risk Internet Payment Service Providers as specified in the Visa International
  Operating Regulations

ID#: 010410-010410-0003229




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High-Risk Telemarketing Merchant Daily Activity Reporting - U.S. Region

A U.S. Acquirer must do all of the following for each of its High-Risk Telemarketing Merchants:

• Retain the following daily data:
  - Gross sales volume
  - Average Transaction amount
  - Number of Transactions
  - Average elapsed time between the Merchant Date of the Merchant Receipt and the Central
    Processing Date (counting each as one day)
  - Number of Chargebacks
• Collect the data over a period of at least 15 calendar days, beginning after each Merchant's initial
  Deposit
• Use the data to determine the Merchant's normal daily activity for each High-Risk Telemarketing
  Merchant category
• Begin daily monitoring of the Merchant's Deposit activity processed on the 15th calendar day from
  the first Deposit
• Compare current related data to the normal daily activity parameters at least daily
• Review and adjust the Merchant's normal daily activity at least weekly, using the previous week's
  activity

ID#: 010410-010410-0002097



High-Risk Telemarketing Merchant Unusual Activity Reporting - U.S. Region

For its High-Risk Telemarketing Merchants, a U.S. Acquirer must generate unusual activity reports
daily, and report any unusual activity to Visa within 2 business days, if either of the following occurs:

• Current weekly gross sales volume equals or exceeds US $5,000 and any of the following exceeds
  150% of the normal daily activity:
  - Number of daily Transaction Receipt Deposits
  - Gross amount of daily Deposits
  - Average Transaction amount
  - Number of daily Chargebacks
• Average elapsed time between the Transaction Date and the Acquirer's Processing Date for a
  Transaction (counting each as one day) exceeds 15 calendar days

ID#: 010410-010410-0002099




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High-Risk Telemarketing Merchant Fees and Charges - U.S. Region

Visa assesses registration and annual charges for High-Risk Telemarketing Merchants, as specified
in the Visa U.S.A. Fee Guide.

Visa collects the annual charge each 1 September following the registration date.

ID#: 081010-010410-0008935



Electronic Commerce Monitoring


Electronic Commerce Merchant Monitoring Program - Acquirer Restrictions

An Acquirer must:

• Ensure that a Merchant, Internet Payment Service Provider, or a Sponsored Merchant does not
  accept Visa Cards for, or displays a Visa-Owned Mark on a Website that is used in relation to, the
  purchase or trade of photographs, video imagery, computer-generated images, cartoons,
  simulation, or any other media or activities including, but not limited to, activities listed under
  "Brand Protection"
• Within 7 calendar days of Notification from Visa, terminate a Merchant or IPSP or require an IPSP
  to terminate its agreement with the Sponsored Merchant that is in violation of this rule.

ID#: 081010-010410-0008101



Electronic Commerce Merchant Monitoring Program - Acquirer Penalties (Updated)

An Acquirer is subject to the penalties specified in the table below if it fails to terminate a Merchant,
Internet Payment Service Provider (IPSP), or Sponsored Merchant that displays a Visa-Owned Mark
on Website or accepts Cards in relation to, or for the purchase or trade of, photographs, video
imagery, computer-generated images, cartoons, simulation, or any other media or activities including,
but not limited to, activities listed under "Brand Protection."


Acquirer Penalties for Non-Compliance with the
Electronic Commerce Merchant Monitoring Program

                       Event                                             Visa Action or Fine

 Merchant or its principals, IPSP, or Sponsored        Notification of violation sent to Acquirer
 Merchant identified for 1 month in a 12-month
 period

 Merchant or its principals, IPSP, or Sponsored        US $50,000 per Merchant URL or Sponsored
 Merchant not terminated within 7 calendar days of     Merchant URL
 Notification




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                          Event                                          Visa Action or Fine

 Same Merchant or its principals, IPSP, or              US $50,000 per Merchant URL or Sponsored
 Sponsored Merchant identified for any 2 months in      Merchant URL
 a 12-month period

 Same Merchant or its principals, IPSP, or              US $50,000 per Merchant URL or Sponsored
 Sponsored Merchant identified for any 3 months in      Merchant URL, plus an additional US $250,000 fine
 a 12-month period

 Same Merchant or its principals, IPSP, or              US $50,000 per Merchant URL or Sponsored
 Sponsored Merchant identified for any 4 months in      Merchant URL, plus an additional US $250,000 fine
 a 12-month period                                      Visa may prohibit the Acquirer from contracting with a
                                                        new Electronic Commerce Merchant or IPSP for a
                                                        period of 1 year or more

 Same Merchant or its principals, IPSP, or              US $50,000 per Merchant URL or Sponsored
 Sponsored Merchant identified for any 5 months in      Merchant URL, plus an additional US $250,000 fine
 a 12-month period                                      Visa may both:
                                                        • Require the Acquirer to terminate all existing
                                                          Electronic Commerce Merchants and IPSPs
                                                        • Prohibit the Acquirer from contracting with a new
                                                          Electronic Commerce Merchant or IPSP

 Same Merchant or its principals, IPSP, or              US $50,000 per Merchant URL or Sponsored
 Sponsored Merchant identified for any 6 months in      Merchant URL, plus an additional US $250,000 fine
 a 12-month period                                      Visa may revoke the Member's acquiring privileges


ID#: 050411-010410-0001290



Electronic Commerce Merchant Monitoring Program - Acquirer Penalties - U.S.
Region

In the U.S. Region, Visa assesses Electronic Commerce Merchant Monitoring Program fines to an
Acquirer, as specified in the table below.


Electronic Commerce Merchant Monitoring Program Acquirer Fines - U.S. Region

                        Violation                                                 Fine
                   1
 First violation                                        Warning letter with specific date for correction

 Second violation in a rolling 12-month period          US $50,000, assessed during each month the
                                                        violation remains uncorrected

 Third violation in a rolling 12-month period           US $250,000, assessed during each month the
                                                        violation remains uncorrected

 Fourth violation in a rolling 12-month period          An Acquirer may be prohibited from signing new
                                                        Electronic Commerce Merchants for at least one year.




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                       Violation                                                     Fine

 Fifth violation in a rolling 12-month period             An Acquirer may be required to terminate all existing
                                                          Electronic Commerce Merchants and prohibited from
                                                          signing new Electronic Commerce Merchants.

 Sixth violation in a rolling 12-month period             An Acquirer may have its acquiring license revoked.

 1. Internet Payment Service Providers are considered Electronic Commerce Merchants for the purpose of this program.


ID#: 010410-010410-0003691




Fraud Reporting

Fraud Reporting Requirements


Fraud Activity Reporting

An Issuer must report Fraud Activity to Visa through VisaNet when either a:

• Fraudulent User has obtained a Card or Account Number
• Card was obtained through misrepresentation of identification or financial status

ID#: 010410-010410-0002389



Fraud Activity Reporting Time Limit

An Issuer must report Fraud Activity upon detection, but no later than:

• 90 calendar days from the Transaction Date
• 30 calendar days following the receipt of the Cardholder's dispute notification, if the notification is
  not received within the 90-calendar-day period

ID#: 010410-010410-0002390



Fraud Activity Reporting Time Limit - AP Region

An AP Issuer must report all confirmed fraudulent Transactions immediately upon detection, but no
later than:

• 60 calendar days from the Transaction Date
• 30 calendar days following receipt of the Cardholder's dispute notification, if the notification is not
  received within the 60-calendar-day period

ID#: 010410-010410-0002246




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Fraud Activity Reporting Time Limit - CEMEA Region

A CEMEA Member must report Fraud Activity upon detection, but no later than:

• 60 days from the Transaction Date
• 30 calendar days following the receipt of the Cardholder's dispute notification, if the notification is
  not received within the 60-calendar-day period

ID#: 010410-010410-0002256



Fraud Activity Reporting Time Limit - LAC Region

An LAC Issuer must report Fraud Activity upon detection, but no later than:

• 60 calendar days from the Transaction Date except for fraud type 03, "Fraudulent Application," and
  type 05, "Miscellaneous, Account Take Over"
• 30 calendar days following the receipt of the Cardholder's dispute notification, if the notification is
  not received within the 60-calendar-day period

ID#: 081010-010609-0007054



Fraud Activity Reporting Compliance - LAC Region

An LAC Issuer must report Fraud Activity, as detailed in the Fraud Reporting System (FRS) User's
Guide, and comply with the following:

• At least 95% of all fraud must be reported. This includes domestic and international, on-us, debit
  and credit, and ATM Transactions
• At least 90% of all reported fraud must be classified correctly
• No more than 5% of all reported fraud can be classified as fraud type 05, "Miscellaneous"
• In at least 90% of reported fraudulent Transactions, mandatory TCR2 fields must match with the
  corresponding BASE II record fields, except the Excluded Transaction Identifier Reason field

ID#: 081010-010609-0007259



Rejected Fraud Activity Reporting

An Issuer must report Fraud Activity, as detailed in the Fraud Reporting System (FRS) User's Guide.
At least 90% of rejected Fraud Activity must be resubmitted and accepted into the Fraud Reporting
System.

ID#: 010410-010410-0008051




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Counterfeit Activity Reporting

An Acquirer must report:

• Counterfeit activity through VisaNet using the appropriate fraud advice transaction code in the
  same manner as specified for Issuers in "Fraud Activity Reporting"
• A counterfeit Transaction within 60 calendar days of a Chargeback, when no Representment or
  Arbitration right is available

See the Fraud Reporting System (FRS) User's Guide.

ID#: 010410-010410-0002395



Fraud-Related Disputes - AP Region

An AP Issuer must complete TC40 fraud reporting before initiating all fraud-related disputes.

ID#: 010410-010410-0008048



Fraud-Related Disputes - U.S. Region

In the U.S. Region, if Fraud Activity has occurred on an account and the Issuer does not list the
Account Number on the Exception File with a Pickup Response for at least 30 calendar days,
Chargeback rights are restricted.

ID#: 010410-010410-0008049



Fraud Activity Reporting Corrections - U.S. Region

In the U.S. Region, if further investigation determines that a Transaction or occurrence is of a
different Fraud Activity type than previously reported, the Issuer must correct the activity.

ID#: 010410-010410-0002166



Cards Not Received as Issued - U.S. Region

A U.S. Member must report all U.S. Cardholder and U.S. Issuer mailing information on "Not Received
as Issued" Cards, whether or not Fraud Activity has occurred.

ID#: 010410-010410-0002167




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Fraud Reporting Compliance


Fraud Activity Reporting Non-Compliance

If a Member does not comply with "Fraud Activity Reporting" and "Fraud Activity Reporting Time
Limit," the Member is subject to:

• An onsite audit by Visa staff at the Member's expense
• Penalties, as specified in the table below


Penalties for Failure to Report Fraud

                                                Suspension of
                                                                        Fine (Minimum
    Occurrence          Warning Letter        Fraud Chargeback                                 Onsite Member Audit
                                                          1                Amount)
                                                   Rights

 First                        Yes                Not applicable              US $0                  Not applicable

 Second                       Yes                Not applicable              US $0                  Not applicable

 Third                   Not applicable        90 calendar days           US $25,000                Not applicable

 Fourth                  Not applicable       180 calendar days           US $50,000                     Yes

                                                                           Regional
                                                Indefinite until        decision based
 Fifth                   Not applicable                                                             Not applicable
                                             compliance achieved             upon
                                                                         reevaluation

 1. Chargeback reason codes will be determined by Visa, as specified in the applicable Regional Operating Regulations.


ID#: 010410-010410-0002392



Fraud Activity Reporting Compliance - AP Region

An AP Member is compliant with Visa fraud reporting requirements if it:

• Reports at least 90% of confirmed fraud activities
• Reports at least 90% of fraud within 60 calendar days of the Transaction Date
• Uses correct fraud types for at least 90% of reported fraud
• Populates all mandatory TC 40 fields

ID#: 010410-010410-0001759




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Fraud Activity Reporting Non-Compliance - AP Region

Visa may require an AP Issuer that has failed to comply with the requirements specified in "Fraud
Activity Reporting Compliance - AP Region" and "Fraud-Related Disputes - AP Region," or one
suspected of under-reporting fraud, to undergo an onsite review. Visa will undertake an initial onsite
inspection of all AP Issuers with annual Retail Sales Volume exceeding US $650 million. The retail
sales volume (RSV) threshold is designed to identify Issuers that represent 90% of total Asia-Pacific
RSV and will be adjusted by Visa as necessary.

ID#: 010410-010410-0001758



Issuer Non-Compliance - AP Region

AP Issuers identified as non-compliant and that fail to resolve areas of non-compliance within a
reasonable period (to be agreed between AP Members and Visa) following an onsite review will have
the following fraud-related dispute rights suspended until compliant:

• Chargeback reason code 57, "Fraudulent Multiple Transactions"
• Chargeback reason code 62, "Counterfeit Transaction"
• Chargeback reason code 81, "Fraud - Card-Present Environment"
• Chargeback reason code 83, "Fraud - Card-Absent Environment"
• Chargeback reason code 93, "Merchant Fraud Performance Program"

ID#: 010410-010410-0001760



Fraud Alert Requirements - Canada Region

A Canada Member must comply with the CoFAS Procedures for Reporting Credit Skimming Incidents
manual available at https://visainfo.ca.

ID#: 010410-010410-0001757



Fraud Reporting Program Audit Fees - LAC Region

Visa may audit an LAC Issuer under the Fraud Reporting Program at any time. Issuers subject to an
onsite Fraud Reporting audit will be charged a fee.

ID#: 081010-010609-0007260




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Fines for Failure to Report Fraud - LAC Region (Updated)

An LAC Issuer that does not comply with the Fraud Reporting Program's requirements as determined
by the third or higher consecutive onsite audit will be subject to a quarterly fine of US $10,000 until
found compliant by the Visa remote monitoring system and validated by an onsite audit. In addition,
the Issuer will be assessed a fee as specified in the Visa LAC Fee Guide.


Fines for Failure to Report Fraud - LAC Region

                               Occurrence                                         Penalty

 Onsite audit fee                                                                  None

 First non-compliant onsite audit                                               US $2,500

 Second consecutive onsite audit resulting in non-compliance                    US $7,500

 Third consecutive onsite audit resulting in non-compliance                     US $22,500


ID#: 090411-010410-0007267



Fraud Reporting Fines and Penalties


Fraud Reporting Non-Compliance Penalty

If a Member is deemed non-compliant with the fraud reporting requirements specified in "Fraud
Activity Reporting Non-Compliance," the Member is subject to a penalty, as specified in the "Penalties
for Failure to Report Fraud" table.

ID#: 010410-010410-0003682



Fraud Reporting - Non-Compliance Penalties and Monitoring

If Visa determines that a Member is not in compliance for a given quarter:

• Penalties will be assessed, as specified in the "Penalties for Failure to Report Fraud" table
• The Member will be monitored and evaluated for the following 8 quarters

ID#: 010410-010410-0002393




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Fraud Losses and Investigation


Skimming at a Common Purchase Point - AP Region

An AP Issuer experiencing 3 or more incidents of skimming at a Common Purchase Point must notify
the AP Acquirer and Visa.

Before notifying the AP Acquirer, the AP Issuer must:

• Confirm that Fraud Activity occurred
• Determine if a legitimate Account Number was skimmed by using the following criteria:
  - POS Entry Mode was 90
  - Card Verification Value transmitted in the Transaction matched the Card Verification Value for
    the compromised Account Number
  - Card was in possession of the Cardholder at the time of the Transaction
  - Possibility of other type of fraudulent activity has been eliminated

In the notification, the AP Issuer must provide the Acquirer and Visa with the following information:

• Account Number used in the Transaction
• Details of the Transaction suspected of being the point of compromise
• Status of fraud detected
• Additional information or rationale to support its suspicions

ID#: 010410-010410-0009030



Preliminary Report of Fraud at Common Purchase Point - AP Region

An AP Acquirer notified by an AP Issuer or Visa of fraud occurring at a Common Purchase Point must
investigate the circumstances surrounding the fraudulent Transaction and, within 10 calendar days,
provide the Issuer and Visa with a preliminary report of its investigation.

ID#: 010410-010410-0002234



Final Report of Fraud at Common Purchase Point - AP Region

An AP Acquirer must complete and forward its final investigative report to Visa within 30 calendar
days of notification and include the following information:

• Plan of action including the following, if determined:
  - Individual(s) responsible for the Fraud Activity
  - If the Account Number was compromised
  - How the Account Number was compromised




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• Confirmation that the appropriate authorities were notified to enable proper investigation and
  prosecution by law enforcement agencies
• Corrective action taken to prevent similar occurrences at the same Merchant Outlet

ID#: 010410-010410-0002235



Fraud Reporting Non-Compliance - AP Region

An AP Acquirer that fails to comply with the requirements specified in "Final Report of Fraud at
Common Purchase Point - AP Region" will be assessed a fine of US $5,000.

ID#: 010410-010410-0002236



Common Point of Purchase Fine Transfer - AP Region

Visa will fine any AP Acquirer that has transferred Common Point of Purchase (CPP) fines to the AP
Merchant an equivalent of 3 times the fine, and, at Visa's discretion, reimburse the Merchant the fine
amount. Visa may waive CPP-related fines on a case-by-case basis based on commercial
considerations.

ID#: 081010-010410-0002237



Internal Data Compromise Disclosure - AP Region

An AP Member must disclose to Visa all incidents of internal compromise of data that would facilitate
the defrauding of Card or Merchant accounts of the AP Member or other Members. Visa will distribute
this information and its analysis, if warranted, to other Members and relevant parties in the AP Region
in order to advise them of potential corrective action, while maintaining the confidentiality of the
reporting Member.

ID#: 010410-010410-0000538




Card Recovery

Return of Recovered Cards


Recovered Card Return Requirement

An Acquirer must return recovered Visa Cards and Visa Electron Cards to the Issuer.

ID#: 010410-010410-0001782




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Recovered Card Return Procedures (Updated)

Upon recovery of a valid or counterfeit Visa Card or Visa Electron Card, a Member must send the
following to the Issuer on the Input Date of the fee collection, but no later than 5 business days after
the Visa Card or Visa Electron Card is recovered:

• The recovered Card, rendered unusable as follows:
  - For a recovered Card without a Chip, the Card must be cut horizontally so as not to damage the
    Magnetic Stripe, hologram, or embossed or printed Account Number (if applicable)
  - For a recovered Chip Card, so as not to damage the Chip, the Member must either punch a hole
    through the middle of the Magnetic Stripe to make it unreadable or cut away the corner of the
    Card at the opposite end from the Chip
• "Recovered Card Advice" (Exhibit 1E) specifying the recovery reasons, such as:
  - Listed on Card Recovery Bulletin
  - Authorization Response to routine Authorization Request
  - Authorization Response to referral call
  - Inadvertently left by Cardholder

The requirement to return the Card does not apply to Non-Reloadable Cards recovered without a
Pickup Response or request from the Issuer.

For a Non-Reloadable Card recovered without a Pickup Response or a specific request from the
Issuer, the Member must cut the Card and render it unusable.

ID#: 050411-010410-0008090


Merchant Card Recovery Procedures

An Acquirer must ensure that its Merchants understand and comply with the requirements for
recovery of a Visa Card or Visa Electron Card as specified in "Merchant Card Recovery Procedures
at the Point of Sale."

A Merchant must notify its Acquirer that it has recovered a Card and ask for further instructions.

ID#: 010410-010410-0008091



Visa Lost/Stolen Card Procedures - U.S. Region (Updated)

In the U.S. Region, if Visa receives a report of a lost or stolen Card, Visa will:

• Enter the Account Number of the lost or stolen Visa Card or Visa Electron Card on the Exception
  File with a:
  - Pickup Response code of 04
  - Region code of 0
  - Purge date of the following month (See the Card Recovery Bulletin Service (CRB) User's Guide.)




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• Advise the Issuer of the Cardholder's report of a lost or stolen Visa Card or Visa Electron Card
• Return the recovered Card to the Issuer with any supporting documentation

ID#: 050411-010410-0002148



Merchant Recovered Card Return Procedures - U.S. Region 2.3.E (Updated)

A U.S. Merchant that recovers a Visa Card or Visa Electron Card must:

• Cut the Visa Card or Visa Electron Card horizontally so as not to damage the Magnetic Stripe,
  Chip, hologram (if applicable), and embossed or printed Account Number (if applicable)
• Immediately send it to either:
  - Its Acquirer
  - A VisaNet Interchange Center, if Visa is designated as the Merchant's Authorizing Processor

The requirement to return the Card does not apply to Non-Reloadable Cards recovered without a
Pickup Response or request from the Issuer.

For a Non-Reloadable Card recovered without a Pickup Response or a specific request from the
Issuer, the Merchant or Acquirer must cut the Card and render it unusable.

For a Non-Reloadable Card where an Issuer Pickup Response has been sent, the Merchant should
attempt to recover the Card and:

• Cut the Card horizontally so as not to damage the Magnetic Stripe, Chip, hologram (if applicable),
  and embossed or printed Account Number (if applicable)
• Immediately send it to either:
  - Its Acquirer
  - A VisaNet Interchange Center, if Visa is designated as the Merchant's Authorizing Processor

ID#: 050411-010410-0008092



Law Enforcement Recovered Card Retention - U.S. Region

In the U.S. Region, if a recovered Visa Card or Visa Electron Card was retained by a law enforcement
agency, the Merchant must provide a legible copy of the front and back of the Visa Card or Visa
Electron Card to its Acquirer or a VisaNet Interchange Center, as applicable.

ID#: 010410-010410-0001766



Acquirer Recovered Card Procedures - Additional Notification Requirement - U.S.
Region

A U.S. Acquirer must immediately advise the following of the recovery of a Card:

• The Issuer, if the Visa Card or Visa Electron Card is recovered because the first 4 digits of the
  embossed or printed Account Number (if applicable) do not match the 4 digits printed above or
  below the Account Number

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• Visa, if the embossed or printed BIN is not assigned to a Member
An Acquirer must retain a legible copy of the front and back of the recovered Visa Card or Visa
Electron Card.

ID#: 010410-010410-0008094



Recovered Card Procedures - U.S. Region

A U.S. Member must send all of the following to the Issuer using a method that supplies proof of
delivery. These items must be sent on the Input Date of the fee collection, but no later than 5
business days after the Visa Card or Visa Electron Card is recovered:

• Recovered Visa Card or Visa Electron Card
• Completed "Interchange Recovered Card Advice" (Exhibit G) with any pertinent facts concerning
  the recovery
• If the recovered Card was retained by a law enforcement agency, a legible copy of its front and
  back

If the recovered Card was retained by a law enforcement agency, the "Interchange Recovered Card
Advice" (Exhibit G) and copy of the front and back of the Visa Card or Visa Electron Card are not
required to be sent by a method that supplies proof of delivery.

ID#: 010410-010410-0001770



Recovered Counterfeit Cards


Acquirer Recovered Counterfeit Card Procedures - AP Region

An AP Acquirer that receives a recovered Counterfeit Card bearing an embossed Account Number of
another AP Member must advise the Issuer of the Card recovery circumstances by the end of the
next business day after receiving the Card.

On the fee collection Input Date, but no later than 3 business days after the Card is recovered, the
Acquirer must send all of the following to Visa:

• Card (unless it is needed as evidence by local law enforcement authorities)
• Completed "Recovered Counterfeit Card Notification" (Exhibit 1F)
• Any other supporting documentation

ID#: 010410-010410-0008097




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Visa Recovered Counterfeit Card Procedures - AP Region

In the AP Region, Visa endorses the "Recovered Counterfeit Card Notification" (Exhibit 1F) and
sends:

• Endorsed "Recovered Counterfeit Card Notification" (Exhibit 1F) and any other supporting
  documentation to the AP Issuer
• Copy of the endorsed "Recovered Counterfeit Card Notification" (Exhibit 1F) to the remitting AP
  Acquirer

ID#: 010410-010410-0002240



Card Recovery at the Point of Sale


Merchant Card Recovery Procedures at the Point of Sale

A Merchant must not complete a Transaction and should attempt to recover a Visa Card or Visa
Electron Card for any of the following reasons:

• Account Number appears on a Card Recovery Bulletin
• Acquirer requests its retention
• 4 digits printed below the embossed or printed Account Number do not match the first 4 digits of
  the embossed or printed Account Number

ID#: 010410-010410-0002350



Visa Prepaid Card Compromise

A Merchant that sells Visa Prepaid Cards must not sell a Visa Prepaid Card if there is evidence of
potential Card compromise, such as tampered packaging. The Merchant must retain the Card and
follow the recovered Card requirements as specified in the Visa International Operating Regulations.

ID#: 081010-010111-0025787



Merchant Card Recovery Procedures - U.S. Region

A U.S. Merchant should attempt to recover a Visa Card or Visa Electron Card by reasonable,
peaceful means and must not complete a Transaction if the:

• Printed 4 digits below the embossed or printed Account Number do not match the first 4 digits of
  the Account Number
• Acquirer or its Authorizing Member requests its retention




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• Merchant has reasonable grounds to believe that the Visa Card or Visa Electron Card is
  counterfeit, fraudulent, or stolen

ID#: 010410-010410-0002316



Card Recovery at an ATM


Card Retention at an ATM

An ATM is not required to have the ability to retain Cards. If it does have this ability, it may retain a
Card only upon the specific request of the Issuer.

If a Card is retained, the Acquirer must log it under dual custody immediately after removal from the
terminal.

ID#: 010410-010410-0008063



ATM Card Retention and Return

If a Card is retained at the specific request of an Issuer, the Acquirer must render the Card unusable
and return it to the Issuer. If the Card bears a Chip, the Chip must not be damaged.

ID#: 010410-010410-0002409



Accidental Card Retention at an ATM

If a hardware or software failure causes mistaken or accidental Card retention, an ATM Acquirer must
return the Card to the Cardholder using the following procedures:

• Review positive Cardholder identification and compare the Cardholder's signature to that on the
  Card signature panel
• If the Cardholder does not request the return of the Card, the ATM Acquirer must follow the Card
  retention rules specified in the Visa International Operating Regulations

ID#: 010410-010410-0007014



Accidental Card Retention at an ATM - U.S. Region

If a hardware or software failure causes mistaken or accidental Card retention, an ATM Acquirer in
the U.S. Region may return the Card to the Cardholder using the following procedures:

• Review positive Cardholder identification and compare the Cardholder's signature to that on the
  Card signature panel




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• Obtain the Issuer's Authorization to return the Card to the Cardholder
  - If the Cardholder requests a Cash Disbursement, Authorization for the Cash Disbursement is
    considered as the Issuer's authorization to return the Card to the Cardholder.
  - If the Cardholder does not request a Cash Disbursement, the Acquirer must contact the Issuer's
    Authorizing Processor for Authorization to return the Card to the Cardholder.
• Notify the Issuer of the Card retention

ID#: 010410-010410-0004991



Recovered Card Handling Fees


Recovered Card Handling Fees

Handling fees for recovered Visa Cards and Visa Electron Cards are specified in the table below.


Handling Fees for Recovered Cards

                 Description                       Member Charged                   Amount Charged

                       Handling Fee for Recovered Visa Cards or Visa Electron Cards

 Card recovered at a Merchant or ATM                     Issuer                           US $15

 Card recovered by an Unattended
 Acceptance Terminal that performs
                                                         Issuer                           US $5
 Cardholder-Activated Transactions
 Type C

                         Handling Fee for Recovered Cards Bearing the Plus Symbol

 Visa Card or Visa Electron Card
                      1,2                                Issuer                           US $15
 recovered at an ATM

 1. Acquirers participating only in the Plus Program.
 2. A handling fee must not be collected if the recovered Card is a Proprietary Card bearing the Plus
 Symbol.


ID#: 010410-010410-0007990



ATM Recovered Card Handling Fee

An Issuer is not required to pay a reward to the Acquirer for a recovered Card. However, the Acquirer
may collect a handling fee, as specified in "Recovered Card Handling Fees."

An ATM Acquirer participating only in the Plus Program may collect a handling fee only if the
recovered card is a Visa Card or Visa Electron Card, as specified in "Recovered Card Handling
Fees."

ID#: 010410-010410-0008064




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Acquirer Collection of Recovered Card Handling Fee

An Acquirer may collect a handling fee for a recovered Card, as specified in "Recovered Card
Handling Fees," whether or not the Merchant is entitled to a reward.

An AP Acquirer may collect a handling fee of US $15, or local currency equivalent. (This only applies
in the Asia Pacific Region.)

ID#: 010410-010410-0008065



Acquirer Recovered Card Handling Fee and Reward Collection - U.S. Region

If a U.S. Acquirer has paid a reward for a recovered Card, the Acquirer may collect the handling fee
and the reward in one Fee Collection Transaction.

The fee collection must not be entered into Interchange before forwarding the "Interchange
Recovered Card Advice" (Exhibit G).

ID#: 010410-010410-0008066



Recovered Card Handling Fee and Collection - U.S. Region

A U.S. Acquirer may collect a handling fee for recovering a Visa Card or Visa Electron Card and
returning it to the Issuer. The fee is US $15 for a Card recovered at a Merchant or an ATM location.

ID#: 010410-010410-0006878



Recovered Card Rewards


Reward for Recovered Cards

An Issuer must pay a reward for a recovered Visa Card or Visa Electron Card and reimburse the
Acquirer for handling the recovered Card, as specified in "Recovered Card Handling Fees."

ID#: 010410-010410-0003653



Merchant Recovered Card Reward Requirement

An Acquirer must ensure that the minimum reward is paid to the Merchant that recovered a Card, as
specified in the "Rewards for Recovered Cards" table.

ID#: 010410-010410-0001784




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Recovered Card Reward Limitations - Acquirer

An Acquirer is not required to pay a reward for Visa Cards or Visa Electron Cards that are:

• Expired
• Recovered at an ATM or Cardholder-Activated Terminal
• Inadvertently left at a Merchant Outlet
• Non-Reloadable Cards recovered without a Pickup Response or request from the Issuer

In addition, an AP Acquirer is not required to pay a reward for Cards recovered at an Automated
Dispensing Machine. (This only applies in the Asia Pacific Region.)

ID#: 081010-010410-0008055



Recovered Card Rewards to Tellers and Merchants

If an Acquirer pays rewards to its tellers for the recovery of Visa Cards or Visa Electron Cards, it may
collect the reward amount from the Issuer, as specified in the table below.


Rewards for Recovered Cards

                            Paid To                                               Amount

                           Merchant                                             US $25-$150

                  Teller/Disbursing Member                                       US $0-$150


ID#: 010410-010410-0001786



Recovered Counterfeit Card Rewards - AP Region

If an AP Disbursing Member pays rewards to its tellers for Counterfeit Card recovery, the Disbursing
Member may collect the local reward, not to exceed US $150 or local currency equivalent, from the
Issuer.

ID#: 010410-010410-0001777



Recovered Card Rewards in Australia – AP Region (Updated)

In Australia, an Acquirer must ensure that the minimum reward paid to a Merchant that recovers a
Card is as specified in the following table:




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                                       Rewards for Recovered Cards
                                 Type of Recovery                                              Amount

 For retention of a Card where the Merchant is suspicious of the Cardholder or
                                                                                              AUD 200
 Transaction

 For retention of a Card as a result of an Authorization Response                              AUD 50

 For retention of a Card in the course of an attempted EFTPOS Transaction                      AUD 50


The Acquirer is not required to pay a reward for Visa Cards or Visa Electron Cards that are:

• Expired
• Recovered at an ATM or Cardholder-Activated Terminal
• Inadvertently left at a Merchant Outlet

An Australia Issuer is not required to reimburse a reward paid by an Australia Acquirer to a person
who is not a Merchant or a staff member of a Merchant, such as law enforcement personnel or
employees of the Acquirer.

ID#: 080411-060111-0026174



Recovered Card Rewards - Canada Region

In the Canada Region, for each Card that is recovered, the Issuer must pay a reward to the Merchant
making the recovery, as specified in the table below.


Rewards for Recovered Cards - Canada Region

                 Card Recovered as a Result of:                             Minimum Reward Amount

 Issuer request, including when the Account Number was listed
                                                                                        CAD $50
 on the Exception File

 Merchant suspicion and initiative when the Card was not listed
                                                                                        CAD $100
 on the Exception File

 Merchant suspicion and initiative leading to arrest and conviction
                                                                                    CAD $1,000
 of individual attempting to use the lost/stolen or Counterfeit Card


Rewards for Card pick-up do not apply to Non-Reloadable Cards recovered without a Pickup
Response or request from the Issuer.

ID#: 081010-010410-0001754



Recovered Card Rewards - U.S. Region

If a U.S. Acquirer pays rewards to its tellers or other individuals for Visa Card or Visa Electron Card
recovery, it may collect this amount from the Issuer.

ID#: 010410-010410-0001774


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Recovered Card Rewards - Special Circumstances - U.S. Region

A U.S. Acquirer must pay an individual that recovered a Card a reward of at least US $50 for each
Visa Card or Visa Electron Card that was recovered under any of the following circumstances:

• Account Number was listed on the National Card Recovery File
• Acquirer received a Pickup Response from an Authorization or Account Number Verification
  request
• At the Issuer's request

If the recovered Visa Card or Visa Electron Card was retained by a law enforcement agency, the
Acquirer must pay the reward upon receipt of a legible copy of the front and back of the recovered
Visa Card or Visa Electron Card.

ID#: 010410-010410-0001772



Recovered Card Rewards - Suspicious Circumstances - U.S. Region

A U.S. Acquirer must pay the Merchant a reward of at least US $100 if a recovered Visa Card or Visa
Electron Card was not listed in the Exception File with a Pickup Response and the Merchant's
request for Authorization was due to either:

• Suspicious circumstances (Code 10 Authorization)
• Presentation of a Visa Card or Visa Electron Card on which the first 4 digits of the embossed or
  printed Account Number (if applicable) do not match the 4 digits printed above or below the
  Account Number

ID#: 010410-010410-0001773



Recovered Card Reward Limitations - Issuer

An Issuer is not required to reimburse the Acquirer for a reward for a Visa Card or a Visa Electron
Card that is:

• Recovered at an ATM, Automated Dispensing Machine, or Self-Service Terminal
• Inadvertently left at a Merchant Outlet
• A Non-Reloadable Visa Prepaid Card recovered without an Issuer's request or in the absence of a
  Pickup Response

ID#: 081010-010410-0002192




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Reimbursement of Recovered Card Rewards - U.S. Region

A U.S. Issuer must reimburse the Acquirer for the amount of a reward paid for Card recovery, up to
US $100.

Reimbursement of a reward payment must not exceed US $250 per instance of multiple Visa Card or
Visa Electron Card recovery.

ID#: 010410-010410-0008056




Counterfeit Losses

Counterfeit Transaction Liability


Assignment of Liability for Counterfeit Transactions (Updated)

Visa assigns liability to the Issuer or Acquirer for counterfeit Transactions, based on the following
priorities in the order shown:

• The Acquirer, if the Merchant identified on a Risk Identification Service Chargeback Exception
                                                                               72
  Report contributed to the origination of the Counterfeit Transaction Receipt
• The Acquirer first receiving the Counterfeit Transaction Receipt, if the BIN is not assigned to a
  Member
• The Acquirer that submitted the Transaction into Interchange, if an Authorization was required and
  not obtained or the Account Number encoded on the Magnetic Stripe of a Visa Card or Visa
  Electron Card was authorized but was different than the embossed or printed Account Number
                             73
  submitted into Interchange
• The Issuer identified by the manufacturer product information printed on the reverse side of the
  Visa Card or Visa Electron Card, if the counterfeit Visa Card or Visa Electron Card was recovered
  and resulted from either the loss or theft of an unembossed and unencoded Visa Card or
                                                                   74
  unencoded Visa Electron Card bearing the Visa Program Marks
• The Issuer, if its BIN appears on the Counterfeit Transaction Receipt or the BASE II Clearing
                                         75
  Record for the counterfeit Transaction

ID#: 050411-010410-0001812




72
   For qualifying Transactions, the EMV Liability Shift, as specified in "EMV Liability Shift Participation," takes precedence over
this section to assess liability in the event of a conflict.
73
   For qualifying Transactions, the EMV Liability Shift, as specified in "EMV Liability Shift Participation," takes precedence over
this section to assess liability in the event of a conflict.
74
   For qualifying Transactions, the EMV Liability Shift, as specified in "EMV Liability Shift Participation," takes precedence over
this section to assess liability in the event of a conflict.
75
   For qualifying Transactions, the EMV Liability Shift, as specified in "EMV Liability Shift Participation," takes precedence over
this section to assess liability in the event of a conflict.


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Issuer Identification on Card

Visa identifies the Issuer that ordered the manufacture of a Visa Card or Visa Electron Card by either
the name printed on the Visa Card or Visa Electron Card or the manufacturer product information
printed on the back of the Visa Card or Visa Electron Card.

There is no time limit on a Member's right to reassign liability to the Issuer under this section.

ID#: 010410-010410-0008158



Counterfeit Card Transaction Reporting

If a Member discovers Counterfeit Card activity, the Member must immediately report the Account
Number to Visa.

ID#: 010410-010410-0001816



Account Data Compromise Recovery (ADCR)


Account Data Compromise Recovery Process - U.S. Region

In the U.S. Region, the Account Data Compromise Recovery (ADCR) process allows Visa to
determine the monetary scope of an account compromise event, collect from the responsible
Member, and reimburse Members that have incurred losses as a result of the event.

ADCR allows the recovery of counterfeit transaction losses across all Visa-owned brands (i.e., Visa,
Interlink, and Plus) when a violation attributed to another Visa Member could have allowed data to be
compromised and the subsequent financial loss was associated with any of the following:

• A Visa Transaction
• An Interlink transaction
• A Plus transaction

This process is only available when there has been a violation of at least one of the following:

• Operating Regulations involving electronic storage of the full contents of any track on the Magnetic
  Stripe subsequent to Authorization of a Transaction
• Operating Regulations involving non-compliance with the Payment Card Industry Data Security
  Standard (PCI DSS) that could allow a compromise of the full contents of any track on the
  Magnetic Stripe
• Operating Regulations involving the PIN Management Requirements Documents that could allow a
  compromise of PIN data for a Visa Transaction, a Plus transaction, or an Interlink transaction
  subsequent to Authorization




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The Account Data Compromise Recovery process includes:

• Counterfeit Fraud Recovery
• Operating Expense Recovery

ID#: 081010-010410-0000877



Transactions Excluded from ADCR Process - U.S. Region

In the U.S. Region, violations of the Visa International Operating Regulations not involving storage of
Magnetic-Stripe Data are excluded from this process.

In the U.S. Region, violations not involving non-compliance with the Payment Card Industry Data
Security Standard (PCI DSS) that could allow a compromise of the full contents of any track on the
Magnetic Stripe are excluded from this process.

Violations not involving a Transaction are resolved as specified in "Visa Right to Fine" and as deemed
appropriate by Visa.

ID#: 081010-010410-0000878



Determination of ADCR Eligibility - U.S. Region (Updated)

Following the fraud analysis and investigation of the compromise event, the U.S. Member is provided
with:

• Findings in support of the preliminary determination that the event is eligible for the ADCR process
• Any estimated counterfeit fraud and operating expense liability amounts

ID#: 050411-010410-0009035



Counterfeit Fraud Recovery Process - U.S. Region

A U.S. Member is compensated for a portion of its counterfeit fraud losses incurred as the result of a
Magnetic-Stripe Data account compromise event. The Counterfeit Fraud Recovery process is initiated
by Visa when:

• An account compromise event occurs
• A Compromised Account Management System (CAMS) Alert, or multiple CAMS Alerts for the
  same account compromise event, is sent to affected Members
• Effective for Qualifying CAMS Events that occur on or before 30 June 2010, the account
  compromise event involves at least 10,000 Account Numbers
• Effective for Qualifying CAMS Events that occur on or after 1 July 2010, the account
  compromise event involves at least 10,000 Account Numbers and a combined total of US
  $100,000 or more recovery for all Issuers involved in the event




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• At least one of the following:
  - The full contents of any track on the Magnetic Stripe was stored subsequent to Authorization of a
    Transaction
  - A violation of the Payment Card Industry Data Security Standard (PCI DSS) could have allowed
    a compromise of the full contents of any track on the Magnetic Stripe
  - A violation of the PIN Management Requirements Documents could have allowed a compromise
    of PIN data for a Visa Transaction, a Plus transaction, or an Interlink transaction subsequent to
    Authorization
• Incremental fraud is attributed to the particular account compromise event

ID#: 081010-010410-0000880



Counterfeit Fraud Reimbursement Conditions - U.S. Region

In the U.S. Region, only counterfeit fraud properly reported as specified in the Visa International
Operating Regulations is considered when determining any reimbursement due.

ID#: 010410-010410-0000881



Baseline Counterfeit Fraud Level Determination - U.S. Region

In the U.S. Region, Visa determines a baseline counterfeit fraud level by analyzing reported
Magnetic-Stripe-read counterfeit fraud losses that occurred up to 12 months before a Qualifying
CAMS Event date and one month after the Qualifying CAMS Event date.

ID#: 010410-010410-0000882



Counterfeit Fraud Recovery Eligibility - U.S. Region

U.S. Members are eligible for Counterfeit Fraud Recovery when there is incremental counterfeit fraud
activity above the baseline counterfeit fraud level, as determined by Visa.

ID#: 010410-010410-0000883



Counterfeit Fraud Recovery Process - U.S. Region (Updated)

The U.S. Member deemed responsible for an account compromise event is notified of its estimated
counterfeit fraud liability.

After the deadline for fraud reporting has passed, a Member communication broadcast is used to
notify affected U.S. Members that an account compromise event qualifies for Counterfeit Fraud
Recovery and advises them of their recovery amount.

The U.S. Member deemed responsible for the account compromise event is then notified of its actual
counterfeit fraud liability.

ID#: 050411-010410-0008117




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ADCR Reimbursement Guidelines - U.S. Region

The following rules are related to the recovery process in the U.S. Region:

• Only recovery amounts of US $25 or more are collected and distributed to affected U.S. Members.
• Only U.S. Members that were registered to receive CAMS Alerts at the time of the first CAMS Alert
  for the event that is the subject of the ADCR proceeding are eligible to receive counterfeit fraud
  reimbursement.
• Counterfeit fraud losses on Account Numbers that were included in a different Qualifying CAMS
  Event within the 12 months before the Qualifying CAMS Event date are excluded.
• If 2 or more Qualifying CAMS Events occur within 30 days of each other, and the events each
  involve a minimum of 100,000 Account Numbers, the responsible U.S. Members share liability for
  the counterfeit fraud amount attributed to the accounts in common.

ID#: 010410-010410-0000887



Counterfeit Fraud Liability Collection and Distribution - U.S. Region

Counterfeit fraud liability is collected from the responsible U.S. Member(s) through the Global
Member Billing Solution. Funds are distributed the following month, at the Business ID level, through
the Global Member Billing Solution, to affected Members.

ID#: 010410-010410-0000888



ADCR Administrative Fees - U.S. Region

In the U.S. Region, an administrative fee is charged to the Issuer for each reimbursement issued, as
specified in the Visa U.S.A. Fee Guide.

ID#: 081010-010410-0000889



Operating Expense Recovery Process - U.S. Region

A U.S. Member enrolled in the Operating Expense Recovery process is compensated for a portion of
its operating expenses incurred as a result of a Magnetic-Stripe Data account compromise event. The
Operating Expense Recovery process is initiated by Visa when:

• An account compromise event occurs
• A CAMS Alert, or multiple CAMS Alerts for the same account compromise event, is sent to affected
  Members
• Effective for Qualifying CAMS Events that occur on or before 30 June 2010, the account
  compromise event involves at least 10,000 Account Numbers
• Effective for Qualifying CAMS Events that occur on or after 1 July 2010, the account
  compromise event involves at least 10,000 Account Numbers and a combined total of US $100,000
  or more recovery for all Issuers involved in the event




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• At least one of the following:
  - The full contents of any track on the Magnetic Stripe were stored subsequent to Authorization of
    a Transaction
  - A violation of the Payment Card Industry Data Security Standard (PCI DSS) could have allowed
    a compromise of the full contents of any track on the Magnetic Stripe
  - A violation of the PIN Management Requirements Documents could have allowed a compromise
    of PIN data for a Visa Transaction, a Plus transaction, or an Interlink transaction subsequent to
    Authorization

ID#: 081010-010410-0000890



Operating Expense Recovery Enrollment - U.S. Region

U.S. Members must complete the one-time Operating Expense Recovery enrollment process to be
eligible to receive operating expense reimbursement. Members may enroll at any time but are only
eligible for operating expense reimbursement for Qualifying CAMS Events that occur after enrollment
is complete. Members not enrolled prior to a Qualifying CAMS Event date are not eligible to receive
operating expense reimbursement.

ID#: 010410-010410-0000891



Operating Expense Liability Notification - U.S. Region

The U.S. Member deemed responsible for an account compromise event is notified of its estimated
operating expense liability.

A Member communication broadcast is used to notify affected U.S. Members enrolled in the
Operating Expense Recovery process that an account compromise event qualifies for Operating
Expense Recovery and advises them of their recovery amount.

The U.S. Member deemed responsible for the account compromise event is then notified of its actual
operating expense liability.

ID#: 010410-010410-0008116



Operating Expense Recovery Conditions - U.S. Region

The following rules are related to the recovery process in the U.S. Region:

• Only recovery amounts of US $25 or more are collected and distributed to affected U.S. Members
  enrolled in the Operating Expense Recovery process.
• Only U.S. Members that were registered to receive CAMS Alerts at the time of the first CAMS Alert
  for the event that is the subject of the ADCR proceeding are eligible to receive operating expense
  reimbursement.




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• Operating expenses for Account Numbers that were included in a different Qualifying CAMS Event
  within the 12 months before the CAMS Event date are excluded.
• If 2 or more Qualifying CAMS Events occur within 30 days of each other, and the events each
  involve a minimum of 100,000 Account Numbers, the responsible U.S. Members share liability for
  the operating expense attributed to the accounts in common.

ID#: 010410-010410-0000895



Operating Expense Liability Collection and Distribution - U.S. Region

Operating expense liability is collected from the responsible U.S. Member(s) through the Global
Member Billing Solution. Funds are distributed the following month, at the Business ID level, through
the Global Member Billing Solution to affected Members enrolled in the Operating Expense Recovery
process.

ID#: 010410-010410-0000896



Operating Expense Recovery Administration Fee - U.S. Region

In the U.S. Region, an administrative fee is charged to the Issuer for each reimbursement issued, as
specified in the Visa U.S.A. Fee Guide.

ID#: 081010-010410-0000897



Operating Expense Reimbursement Conditions - U.S. Region

Reimbursements to affected U.S. Members are based solely upon the ability of Visa to collect the
counterfeit fraud and operating expense liability amounts from the responsible Member.

ID#: 010410-010410-0000898



Catastrophic Account Compromise Event - U.S. Region

In the U.S. Region, if an account compromise event is deemed catastrophic, Visa reserves the right
to implement an alternative process.

ID#: 010410-010410-0008929



ADCR Appeal - U.S. Region (Updated)

A U.S. Member may appeal a determination of eligibility to Visa by submitting an appeal letter. The
appeal letter must:

• Be received by Visa within 30 calendar days of the Member's receipt of the Notification of eligibility
  and estimated liability
• Include written arguments and supporting information for the appeal




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In the U.S. Region, the appeal rights, as specified in "Enforcement Appeals - U.S. Region," are not
applicable to ADCR.

Visa will notify the U.S. Member of the final disposition of the appeal.

In the U.S. Region, the decision on any appeal is final and not subject to any challenge.

Visa will collect from the U.S. Member an appeal fee, as specified in the Visa U.S.A. Fee Guide,
through the Global Member Billing Solution. For a data compromise event that qualifies under both
the ADCR process and the international Data Compromise Recovery solution, Visa will collect only
one appeal fee from the Member, as specified in the Visa U.S.A. Fee Guide.

ID#: 050411-010410-0009036



Data Compromise Recovery Solution (DCRS)


Data Compromise Recovery Solution Overview

An Issuer of Visa International or Visa Europe may recover incremental counterfeit fraud losses
resulting from a Data Compromise event involving theft of full Magnetic-Stripe Data under the Data
Compromise Recovery solution from Member(s) to whom liability for such loss has been assigned
pursuant to the Data Compromise Recovery solution.

ID#: 010410-010410-0003334



Data Compromise Recovery Solution Eligibility

Visa will determine a data compromise event, fraud, and Issuer eligibility under the Data Compromise
Recovery Solution.

ID#: 010410-010410-0003335



Data Compromise Event Eligibility (Updated)

Visa will determine data compromise event eligibility based on:

• Forensic confirmation or preponderance of evidence that a breach exists
• A violation of the Payment Card Industry Data Security Standard (PCI DSS) occurred that could
  allow a compromise of account data
• Full Magnetic Stripe counterfeit fraud occurred on a portion of exposed Account Numbers
• Effective for a determined data compromise event occurring on or before 8 December 2010,
  a minimum of 10,000 Account Numbers were exposed and a minimum of US $100,000 in Magnetic
  Stripe counterfeit fraud occurred during the data compromise event time period
• Effective for a determined data compromise event occurring on or after 9 December 2010, a
  minimum of 10,000 Account Numbers were exposed and there is a combined total of US $100,000
  or more in recovery for all Issuers involved in the event

ID#: 050411-010410-0000867


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Data Compromise Fraud Eligibility Criteria

Visa will determine fraud eligibility based on all of the following:

• Counterfeit fraud was reported to Visa
• Authorized counterfeit fraud Transactions with full Magnetic-Stripe Data occurred, including Card
  Verification Value
• Counterfeit fraud Transactions occurred after the Magnetic-Stripe Data was exposed

ID#: 010410-010410-0000868



Unrecovered Counterfeit Fraud Losses

Visa will determine Issuer eligibility for unrecovered counterfeit fraud losses, based on the Issuer
being:

• Capable of receiving Visa data compromise fraud alerts
• In compliance with regional Issuer fraud control programs

ID#: 010410-010410-0000869



Data Compromise Recovery Liability Time Limit

An Acquirer's liability under the Data Compromise Recovery solution is limited to a maximum time
period of 13 months and is associated with a single data compromise event.

ID#: 010410-010410-0000870



Data Compromise Event Time Period

The data compromise event time period begins with the earliest known data exposure, not to exceed
12 months before the data compromise event alert and concludes 30 calendar days following the
data compromise event alert.

ID#: 010410-010410-0000871



Data Compromise Fraud Loss Recovery

Issuers' total fraud loss recovery is limited to the:

• Maximum liability assigned to the Acquirer by Visa
• Amount recoverable from the Acquirer

ID#: 010410-010410-0000872




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Visa Liability for Data Compromise Recovery Amount

Visa has no liability for an Acquirer's or any other party's inability to pay any amount owed during
Data Compromise Recovery.

ID#: 010410-010410-0000873



Acquirer Liability for Data Compromise Event

Acquirers deemed liable for a data compromise event will be obligated to bear the assigned liability
as determined by Visa.

ID#: 010410-010410-0000874



Visa Rights Pertaining to Data Compromise Event Liability
Visa reserves the right to adjust an Acquirer's total liability for a data compromise event.

ID#: 010410-010410-0000875



Data Compromise Recovery Debits, Credits, and Fees (Updated)

Visa will submit debits to the Acquirer responsible for the data compromise event and credits, less
administrative fees, to eligible Issuers through the Global Member Billing Solution. Visa will retain an
administration fee, as specified in the applicable regional pricing guide.

The debit and credit amounts as determined by Visa are final and not subject to any appeal or other
challenge.

ID#: 050411-010410-0009031



Data Compromise Event Appeal (Updated)

An Acquirer may appeal a determination of eligibility to Visa by submitting an appeal letter. The
appeal letter must:

• Be received by Visa within 30 calendar days of the Acquirer's receipt of the Notification of eligibility
  and estimated liability
• Include written arguments and supporting information for the appeal

ID#: 050411-310309-0006892




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Data Compromise Event Appeal Fee (Updated)

Visa will collect from the Acquirer an appeal fee, as specified in the applicable regional fee guide,
through the Global Member Billing Solution.

For a data compromise event that qualifies under both the Data Compromise Recovery solution and
any other Visa Region-specific data compromise recovery program, Visa will collect only one appeal
fee from the Acquirer, as specified in the applicable regional fee guide.

ID#: 050411-310309-0006893



Data Compromise Event Appeal Decision (Updated)

Visa will notify the Acquirer of the final disposition of the appeal. The decision on any appeal is final
and not subject to any challenge.

ID#: 050411-310309-0006894



POS Entry Mode Compliance Liability - AP Region


Acquirer Liability for Counterfeit Transactions - AP Region (Updated)

An AP Acquirer is liable for counterfeit loss, as specified in "Compliance Rights for Counterfeit
Transactions - AP Region":

• When a key-entered Transaction occurs at a Merchant Outlet in a Face-to-Face Environment
• For a POS Entry Mode Code 00 Transaction, unless the Acquirer demonstrates that the
  Authorization Request was submitted by fax, or telephone from a Merchant that does not have a
  Magnetic-Stripe Terminal

Visa will require an Acquirer to install a Magnetic-Stripe Terminal at a Merchant with excessive
counterfeit Transactions that were processed with a POS Entry Mode Code 00 and 01.

ID#: 050411-010410-0008175



Compliance Rights for Counterfeit Transactions - AP Region

An AP Issuer may file Compliance to recover the value of a key-entered or POS Entry Mode Code 00,
"Unknown," Transaction when the:

• Cardholder disputes the Transaction in writing
• Issuer certifies the Account Number is counterfeit
• Account Number was blocked on the Exception File before or on the pre-Compliance filing date
• Transaction Receipt proves that the Cardholder did not participate in the Transaction




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• Issuer is certified as a Card Verification Value participant and is referring or declining Transactions
  when the Card Verification Value fails
• Transaction occurred at a Merchant Outlet in a Face-to-Face Environment

ID#: 010410-010410-0008011




Authentication Requirements

PIN Requirements


PIN Security Requirements

An Acquirer must ensure the security of a PIN when used to identify the Cardholder in a Transaction,
as specified in the PCI PIN Security Requirements manual.

An Issuer or its agent receiving a non-secure PIN block format from Visa must convert to a secure
PIN block format, as specified in the PCI PIN Security Requirements manual.

ID#: 010410-010410-0005291



PIN Security Compliance VIOR 2.1.E

An Acquirer or its agent processing PINs for Visa Transactions must comply with the security
requirements specified in the PCI PIN Security Requirements manual, including the requirement to
perform a "PIN Security Requirements Self-Audit." Failure to comply with the security requirements
specified in the manual may subject the Acquirer to the fines specified in "PIN Security Non-
Compliance Penalties."

ID#: 010410-010410-0001790



PIN Verification Requirements

PIN Verification is required for all ATM Transactions.

An Issuer may provide PIN Verification for each Transaction itself or using the Visa PIN Verification
Service.

• If the Issuer performs PIN Verification, it must:
  - Install a direct computer interface to the V.I.P. System
  - Comply with requirements for PIN processing specified in the VisaNet manuals
• If the Issuer uses the PIN Verification Service, it must comply with the Key Management Service
  procedures specified in the Payment Technology Standards Manual.

ID#: 081010-010210-0008138




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PIN Verification Service

The PIN Verification Service is an optional Visa service that verifies the Cardholder's PIN in an
Authorization Request. An Issuer may choose to use this service by submitting a written request to
Visa at least 90 calendar days before implementation. An Issuer may choose to use the PIN
Verification Service either:

• As a full-time service for all Authorization Requests that include a PIN
• On a limited basis, if the Issuer is unavailable or unable to respond within the time required by the
  assured Transaction response parameters

ID#: 010410-010410-0001856



PIN as Cardholder Verification Method in Australia – Acquirer Requirements – AP
Region (New)

Effective 1 April 2012, in Australia an Acquirer must certify its PIN pads for Online PIN, if Online PIN
is used.

Effective 1 April 2012, in Australia an Acquirer and its Merchants must:

• Activate their EMV PIN pad devices
• Provide EMV PIN bypass facilities for Chip-Initiated Transactions on PIN-preferring Chip Cards.
  Transactions processed in this way must be sent Online for approval by the Issuer or the Issuer’s
  agent. PIN-bypass Transactions must be verified in accordance with the Card’s Cardholder
  Verification Method (CVM) list and the Visa International Operating Regulations.

Effective 1 April 2013, signature will no longer be accepted as CVM (Cardholder Verification
Method) for domestic Visa Card Transactions where there is an active PIN-capable electronic device,
with the exception of the following:

• Visa payWave Transactions under AUD 100 which do not require any CVM (Cardholder
  Verification Method)
• Effective through 15 October 2010, Visa Small Ticket Transactions (STT) which do not require
  any CVM (Cardholder Verification Method)
• Effective 16 October 2010, Visa Easy Payment Service (VEPS) Transactions which do not require
  any CVM (Cardholder Verification Method)

An Acquirer must ensure that appropriate training of its Merchants takes place in advance of the
above requirement coming into effect.

ID#: 050411-060111-0026175



PIN as Cardholder Verification Method in New Zealand – Acquirer Requirements – AP
Region (New)

Effective 1 April 2012, a New Zealand Acquirer must certify its PIN pads for Online PIN, if Online
PIN is supported.




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Effective 1 April 2012, in New Zealand an Acquirer and its Merchants must:

• Activate their EMV PIN pad devices to conduct a EMV PIN Transaction
• Provide EMV PIN bypass facilities for Chip-Initiated Transactions on PIN-Preferring Chip Cards.
  Transactions processed in this way must be sent Online.

Effective 1 April 2012, signature will no longer be accepted as Cardholder Verification Method
(CVM) for domestic Visa Card Transactions in New Zealand where there is an active PIN-capable
electronic device, with the exception of the following:

• Domestic Cards performing a Visa payWave Transaction under NZ $80 which do not require any
  CVM
• Visa Easy Payment Service (VEPS) Transactions which do not require any CVM
• International Cards that have signature as the preferred CVM

Acquirers must ensure that appropriate training of Merchants takes place prior to the above
regulations coming into effect.

ID#: 050411-060111-0026143



Issuer PIN Security Requirements - Canada Region

A Canada Issuer or its agent issuing PINs for Visa Chip Cards must comply with the security
requirements specified in the Issuer PCI PIN Security Requirements manual at http://www.visainfo.ca
and which may be changed from time to time by Visa management in its sole discretion. Canada
Members will be provided reasonable advance notice of all such changes.

ID#: 010410-010410-0001795



PIN Verification Service - Issuer Requirements - U.S. Region

If a U.S. Issuer uses the PIN Verification Service, the Issuer must either:

• Encode the PIN Verification Field on the Magnetic Stripe, and for Cards containing a Chip, both the
  Magnetic Stripe and Chip
• Ensure that the PIN Verification Value resides on the PIN Verification Value File

If the U.S. Issuer does not require Stand-In Processing to verify PINs, the Issuer is not required to
encode PIN Verification data on the Magnetic Stripe or Chip.

ID#: 010410-010410-0007045




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PIN Security Requirements - U.S. Region

A U.S. Acquirer or its agent processing PINs for Visa Transactions must comply with the security
requirements specified in the PIN Management Requirements Documents.

Each year, on a predetermined due date, a U.S. Acquirer or its agent must complete and return to
Visa:

• The "PIN Security Requirements Self-Audit Compliance Statement"
• If required, the "PIN Security Requirements Self-Audit Exception Form"

In addition, every 36 months, on the same predetermined due date, a U.S. Acquirer must complete
and return the "PIN Security Requirements Self-Audit" form.

See "PIN Security Non-Compliance Penalties - U.S. Region" for penalties for failure to comply.

ID#: 010410-010410-0007046



Triple DES


Triple Data Encryption Standard Requirements - AP Region

An AP Issuer must be certified to receive and process Triple Data Encryption Standard (DES)
Transactions.

An AP Acquirer must ensure that:

• All ATMs must support Triple DES
• All PIN-based point-of-sale (POS) acceptance devices must support Triple DES
• All transactions initiated at Triple DES-capable devices must be Triple DES-encrypted from point of
  acceptance to Visa

ID#: 010410-010410-0008139



ATM Triple Data Encryption Standard Requirements - Canada Region (Updated)

Effective 1 July 2010, all ATMs in the Canada Region must be Triple Data Encryption Standard
(Triple DES) capable and all online PIN-based Transactions initiated at ATMs must be Triple DES
encrypted end-to-end using double-length keys.

ID#: 050411-010710-0004709




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Card Verification Value (CVV)


Card Verification Service

All Members must participate in the Card Verification Service.

ID#: 090411-010410-0003234



Card Verification Value Requirements (Updated)

An Issuer must be capable of receiving the POS Entry Mode code and processing the Card
Verification Value according to the procedures specified in the VisaNet manuals.

All Cards must be encoded with the Card Verification Value, as specified in the Payment Technology
Standards Manual.

Subject to the rule below, at the Issuer's option, the Cardholder Verification Value contained in the
Magnetic-Stripe Image (track 2 equivalent data) on the Chip (Chip Card Verification Value-iCVV) may
differ from the Card Verification Value encoded on the Card's Magnetic Stripe.

All newly issued EMV Chip Cards and existing EMV Chip Cards on renewal must use Chip Card
Verification Value-iCVV as part of the Magnetic-Stripe Image, as defined in the Payment Technology
Standards Manual.

ID#: 050411-010410-0008133



Card Acceptance Terminal Requirements

An Acquirer must ensure that its Merchant Card acceptance terminal transmits the entire unaltered
contents of the Magnetic Stripe or be subject to a Chargeback.

ID#: 010410-010410-0000666



Card Verification Value Encoding Requirements

All Cards, including Emergency Card Replacements, must be encoded with the Card Verification
Value, as specified in the Card Verification Value Specifications Guide and the Payment Technology
Standards Manual.

ID#: 081010-010210-0003604



Authorized Transactions with Failed CVV - AP Region

An AP Issuer is prohibited from initiating a Chargeback if the Transaction failed CVV, but was
authorized by the Issuer or Stand-In Processing.

ID#: 010410-010410-0000613



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Integrated Circuit Card Verification Value (iCVV) Requirements - AP Region

All new AP Chip Card Issuers must certify support for Integrated Circuit Card Verification Value
(iCVV) in the Magnetic Stripe data encoded on the Chip.

All AP Visa Smart Debit and Credit (VSDC) Card Issuers must certify support for Integrated Circuit
Card Verification Value (iCVV) in the Magnetic Stripe data encoded on the Chip.

All newly issued AP Visa Smart Debit and Credit (VSDC) Cards must contain an Integrated Circuit
Card Verification Value (iCVV) in the Magnetic Stripe data encoded on the Chip.

The Card Verification Value (CVV) encoded on other (non-Magnetic Stripe) technologies must differ
from the CVV value encoded on the physical Magnetic Stripe.

ID#: 010410-010410-0004087



dCVV for Contactless Payment Program - U.S. Region

A U.S. Issuer must support Dynamic Card Verification Value (dCVV) authentication for its Contactless
Payment Program, as specified in the Visa U.S.A. Contactless Payment Program Technical
Implementation Guide.

ID#: 010410-010410-0000671



Card Verification Value 2 (CVV2)


CVV2 on Visa Cards

All Visa Cards must bear a Card Verification Value 2 (CVV2), as specified in the:

• Card Verification Value Specifications Guide
• Payment Technology Standards Manual
• Visa Product Brand Standards

CVV2 is optional for a Proprietary Card bearing the Plus Symbol.

ID#: 010410-010210-0000676



CVV2 on Visa Electron Cards

If the full Account Number is used, an Issuer must indent-print a Card Verification Value 2 on the back
of a Visa Electron Card, as specified in the:

• Card Verification Value Specifications Guide
• Payment Technology Standards Manual
• Visa Product Brand Standards

ID#: 010410-010210-0000677



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CVV2 for Card-Absent Transactions - AP Region

In a Card-Absent transaction where the CVV2 was supplied by the AP Acquirer as part of the
Authorization message, an AP Issuer will be liable for Transactions approved showing a CVV2 result
code of N.

ID#: 010410-010410-0000674



Card Verification Value 2 (CVV2) Requirements in Australia – AP Region (New)

Effective 1 January 2011, all Card-not-present Merchants must capture CVV2. Visa Commercial
Card Virtual Accounts are excluded from this mandate.

Effective 1 January 2011, all Acquirers must correctly process CVV2 response codes.

ID#: 050411-060111-0026176



Card Verification Value 2 (CVV2) Requirements in New Zealand – AP Region (New)

Effective 1 April 2012, all Electronic Commerce Merchants must capture CVV2. Visa Commercial
Card Virtual Accounts are excluded from this requirement.

Effective 1 April 2012, all Acquirers must correctly process CVV2 response codes.

ID#: 050411-060111-0026144



CVV2 Requirements - Canada Region

A Canada Acquirer participating in the Card Verification Value 2 (CVV2) service must populate the
CVV2 results code received in the Authorization Response in a Transaction's corresponding Clearing
Record.

ID#: 010410-010410-0000675



CVV2 Issuer Requirements - U.S. Region

All U.S. Issuers must:

• Be certified as able to receive and respond to Authorization Requests containing the values for
  Card Verification Value 2 (CVV2), as specified in the applicable VisaNet manual
• Provide Visa with valid CVV2 encryption keys and test account numbers with CVV2 values and
  expiration dates

ID#: 010410-010410-0000672




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CVV2 Acquirer Requirements - U.S. Region

All U.S. Acquirers must be certified as able to send, and receive responses to, Authorization
Requests containing the values for Card Verification Value 2, as specified in the applicable VisaNet
manual.

ID#: 010410-010410-0003845



CVV2 Validation - U.S. Region

A U.S. Merchant certified by Visa may validate the Card Verification Value 2 (CVV2) on the Card
when the Magnetic Stripe on a Visa Card cannot be read. A CVV2 result code M, "Fully Matched," is
considered an Imprint for the purposes of Chargeback Reason Code 81, "Fraudulent Transaction -
Card-Present Environment."

ID#: 010410-010410-0002849



CVV2 in Lieu of Imprint - U.S. Region

A U.S. Acquirer whose Merchant meets the following criteria may request certification from Visa for its
Merchant to qualify for the CVV2 in lieu of Imprint program:

• Cardholder Information Security Program Level 1-compliant, with a complete Report on
  Compliance filed with the Acquirer
• A key-entered Transaction rate below 3.5% of total Transactions
                                                                          76
• A face-to-face fraud-related Chargeback rate below 0.02%

U.S. Acquirers of Merchants qualifying for the CVV2 in lieu of Imprint program will receive written
certification from Visa.

ID#: 010410-010410-0008173



Authentication Fines and Penalties


PIN Security Non-Compliance Penalties

A Member is subject to the fines specified in the table below if it fails to comply with "PIN Security
Compliance" and:

• Complete and return the "PIN Security Requirements Self-Audit" form
• Complete and return the "PIN Security Requirements Self-Audit Compliance Statement"
• Respond to a non-compliance Notification




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 The face-to-face fraud-related Chargeback rate is the U.S. dollar amount of Chargebacks processed with Chargeback
Reason Code 81, "Fraud - Card Present Environment," as a percentage of all face-to-face Transaction U.S. sales dollars.


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Fines for Failure to Complete the PIN Security Requirements Self-Audit or Self-Audit
Compliance Statement, or Respond to Non-Compliance Notification

                       Calendar Days                                                Fine

 Annual due date + 29 calendar days                                                No fine

 Due date + 30 calendar days to 59 calendar days                               US $10,000 fine

 Due date + 60 calendar days to 89 calendar days                               US $10,000 fine

 Due date + 90 calendar days to 119 calendar days                              US $10,000 fine

 Due date + 120 calendar days and every 30 calendar
                                                                               US $25,000 fine
 days onward


ID#: 010410-010410-0001288



PIN Security Violation Penalties

An Acquirer that fails to respond within 30 calendar days of receipt of a non-compliance Notification,
following an onsite inspection for PIN security violations, may be fined or have its certification
suspended until the response has been received and acknowledged by Visa.

An Acquirer that provides an action plan in response to a Notification but does not perform its
commitments must post a performance bond or escrow of US $100,000 until either:

• Compliance is confirmed by Visa
• Acquirer certification is suspended

If Acquirer certification is suspended, the Acquirer may forfeit the posted or escrowed amount.

ID#: 010410-010410-0005872



PIN Security Review Fee - AP Region

As specified in the Visa Asia Pacific Fee Guide, a fee will be assessed for each initial AP PIN Security
review performed. If, after a PIN review, Visa determines that an AP Member fails to demonstrate full
compliance with the PCI PIN Security Requirements, the Member is responsible for:

• Follow-up review fee dependent on the level of non-compliance identified
• Cost associated with additional reviews until compliant

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PIN Security Non-Compliance Penalties - U.S. Region

If a U.S. Member fails to complete and return the "PIN Security Requirements Self-Audit" form or the
"PIN Security Requirements Self-Audit Compliance Statement," the Member is assessed a fine, as
specified in the table below.


Fines for Failure to Complete PIN Security Requirements Self-Audit or Compliance Statement -
U.S. Region

                         Calendar Days                                                   Fine

               Annual due date + 29 calendar days                                       No fine

         Due date + 30 calendar days to 59 calendar days                         US $10,000 fine

         Due date + 60 calendar days to 89 calendar days                         US $10,000 fine

        Due date + 90 calendar days to 119 calendar days                         US $10,000 fine

      Due date + 120 calendar days and each subsequent 30-
                                                                                 US $25,000 fine
                       calendar-day period


ID#: 010410-010410-0003708



Contesting of PIN Requirement Non-Compliance Penalty - U.S. Region

A U.S. Issuer may contest an assessed PIN requirements penalty by submitting evidence to Visa that
the penalty was not warranted.

If an Issuer contests an assessed penalty because it may be eligible for a variance, Visa will consider
the opposition as a request for a variance and submit it to the Board for resolution.

If the Board grants a variance, Visa will waive the assessed penalty.

ID#: 010410-010410-0008152




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Terminated Merchant File

Terminated Merchants


Required Use of Visa Merchant Trace System - AP Region (New)

Effective 1 March 2011, in the AP Region all Acquirers located in Australia, Cambodia, Hong Kong,
India, Indonesia, Macau, Malaysia, New Zealand, Philippines, Sri Lanka and Thailand must:

• Enter terminated Merchant details into the Visa Merchant Trace System database within one
  business day after terminating a Merchant Agreement due to one of the reasons specified in the
  “Terminated Merchant Listing Reasons” in the Visa Merchant Trace System Participation
  Requirements
• Comply with all requirements specified in the Visa Merchant Trace System Service Participation
  Requirements

ID#: 050411-010311-0026131



Common Terminated Merchant Database - Canada Region

All Canada Acquirers in Canada must participate in a common terminated Merchant database. The
database must be an automated Merchant risk database that Acquirers within Canada may use to
determine if a Merchant's contract has been terminated for cause by another Acquirer. An Acquirer
must use either:

• An externally managed common terminated Merchant database
• Visa National Merchant Alert Service

ID#: 010410-010410-0007377



National Merchant Alert Service - Canada Region

Canada Acquirers must:

• Concurrent with the closure of a Merchant Outlet, list the Merchant on a common terminated
  merchant database or the National Merchant Alert Service file for a period of 3 years if the
  Merchant violated the Merchant Agreement and was subsequently terminated for cause
• Retain Merchant Agreement termination information for all Merchants listed on a common
  terminated merchant database or the National Merchant Alert Service file for a period of 3 years

ID#: 010410-010410-0007378




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National Merchant Alert Service Fee - Canada Region

Canada Acquirers must pay Visa a National Merchant Alert Service fee to be collected through
VisaNet if the service is utilized.

ID#: 010410-010410-0007380



Terminated Merchant Non-Compliance Fines - Canada Region

If a Canada Acquirer fails to comply with the requirements of "Common Terminated Merchant
Database - Canada Region," Visa may assess a fine of CAD $2,500 per violation.

ID#: 010410-010410-0007381



Terminated Merchant File Listing Requirements - U.S. Region 2.2.C.2.a

A U.S. Acquirer must add a terminated Merchant to the file as soon as possible, but no later than
close of business on the day following the date the Merchant is notified of the intent to terminate the
agreement. An Acquirer must list the Merchant if terminated for one or more of the following reasons:

• Merchant was convicted of credit or debit card fraud
• Merchant deposited excessive Counterfeit Transaction Receipts
• Merchant deposited excessive Transaction Receipts unauthorized by Cardholders
• Merchant deposited Transaction Receipts representing sales of goods or services generated by
  another Merchant (laundering)
• Acquirer received an excessive number of Chargebacks due to Merchant's business practices or
  procedures

ID#: 010410-010410-0007386



Terminated Merchant File Information Requirements - U.S. Region

A U.S. Acquirer must add a Merchant to the Terminated Merchant File within 24 hours of determining
that:

• The Merchant was terminated for reasons other than those listed in "Terminated Merchant File
  Listing Requirements - U.S. Region"
• Within 90 calendar days of the termination date, the Acquirer determines that the Merchant should
  have qualified for the listing

The Merchant listing must include the:

• Business name
• Names and identification of principals of terminated Merchants

The Acquirer must report terminated Merchants, as specified

ID#: 081010-010410-0007969


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Terminated Merchant File Deletion - U.S. Region

Only the U.S. Member that added the Merchant to the Terminated Merchant File may request
deletion of the Merchant name or information.

A Member that incorrectly adds a Merchant to the file must request correction of the file immediately
upon recognition of an error.

ID#: 010410-010410-0007963



Terminated Merchant File Compliance Reasons - U.S. Region

A U.S. Member that fails to comply with the Terminated Merchant File requirements specified in the
U.S. Regional Operating Regulations may be subject to Compliance, including liability for losses
incurred by another Member as a result of the failure to comply.

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Chapter 9: Dispute Resolution

Core Principle 9.1

Attempt to Honor/Post all Transactions


Issuer Transaction Acceptance

Participating issuers are responsible for accepting and attempting to honor all transactions, but they
may have rights to return transactions for reasons specified by Visa. These reasons can include
events such as inadvertent processing errors, some types of fraud and certain cardholder disputes.

ID#: 171009-171009-0025563




Core Principle 9.2

Offer Mutual Assistance to Other Participants


Assisting in the Resolution of Disputes

Participants in the Visa system agree to attempt to offer mutual assistance to other participants to
resolve transaction disputes prior to escalating the dispute to Visa for final resolution.

ID#: 171009-171009-0025564




Core Principle 9.3

Prevent Unjust Enrichment


Unjust Enrichment

Visa participants agree to take appropriate action to prevent unjust enrichment to themselves or their
customers by failing to credit a customer for a transaction that is charged back, or by taking multiple
credits for a single transaction.

ID#: 171009-171009-0025565




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Core Principle 9.4

Visa Acts as Arbitrator


Arbitrating Unresolved Disputes

For unresolved transaction disputes, Visa acts essentially as an arbitrator between participants.

ID#: 171009-171009-0025566




Dispute Resolution Process

Cardholder Disputes


Introduction to Dispute Resolution - U.S. Region

For a U.S. Domestic Transaction, an Issuer must resolve Cardholder disputes under the Operating
Regulations by extending to Cardholders all protections provided on any Visa Card under Federal law
or regulation and by utilizing the Issuer's customary practices to resolve Cardholder disputes,
regardless of which type of Visa Card was used. Thus, the resolution of such Cardholder disputes will
be the same in similar circumstances regardless of which type of Visa Card was used. The foregoing
applies only with respect to Transactions on Cards using the Visa Flag Symbol or Visa Brand Mark,
not to Transactions using any other payment card brand even if such brand is on the Visa Card. By
way of example, a purchase made with a Visa Check Card that is not a Visa Check Card II and is
processed as another brand network transaction, such as a domestic PIN network, is not governed by
this rule because the purchase is not a Transaction made using the Visa Flag Symbol or Visa Brand
Mark.

ID#: 081010-171009-0003557



Mutual Assistance


Mutual Assistance Between Members

A Member must attempt to offer mutual assistance to other Members to resolve disputes between
both:

• Its Cardholder and another Member's Merchant
• Its Merchant and another Member's Cardholder

If a Cardholder or Merchant accepts financial liability for a Transaction, its Member must reimburse
the other Member directly.

ID#: 171009-171009-0003250




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Transaction Receipt

Request for Transaction Receipt Copy


Transaction Receipt Request

An Issuer may request a Transaction Receipt from an Acquirer.

ID#: 171009-171009-0003257



Request for Transaction Receipt Copy and Substitute Transaction Receipt (Updated)

Effective through 15 October 2010, an Issuer may request a Transaction Receipt copy from an
Acquirer for the reasons specified in the following table. The Issuer must accept a Substitute
Transaction Receipt for certain Transactions, as specified in the following table. For Intraregional
card-present Transactions in the AP Region, Substitute Transaction Receipts are considered invalid
Transaction Receipts. For Canada Domestic card-present Transactions, Substitute Transaction
Receipts are considered invalid Transaction Receipts.

Effective 16 October 2010, an Issuer may request a Transaction Receipt copy from an Acquirer only
for the reasons specified in the following table. The Issuer must accept a Substitute Transaction
Receipt for certain Transactions, as applicable. For Transactions conducted in a Card-Present
Environment, Substitute Transaction Receipts are considered invalid Transaction Receipts.


Transaction Receipt Retrieval Request Reasons

     Request Reason for Copy BASE II Transaction Code 52               BASE II               Single Message
             (Field 63.3 in Single Message System)                   Request Code         System Request Code
                                     1
Request for copy bearing signature                                         28                     0028
T&E Document request                                                       29                     0029
Cardholder request due to dispute                                          30                     0030
Fraud analysis request                                                     33                     0033
Legal process request                                                      34                     0034
1
    Not applicable to a Vehicle-Specific Fleet Card Transaction.


ID#: 050411-171009-0003255



Minimum Data Requirements for Retrieval Requests

Each Retrieval Request must contain at least the following data:

• Acquirer Reference Number
• Account Number
• Transaction Date of original Presentment
• Merchant Category Code


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• Either the Transaction amount in the Transaction Currency or a complete Merchant description
• Applicable Retrieval Request reason code from the Transaction Receipt Retrieval Request
  Reasons table
• The following provisions apply to U.S. Domestic Transactions: (This only applies in the U.S.
  Region.)
  - Merchant city and state (This only applies in the U.S. Region.)
  - Acquirer's Business I.D. (This only applies in the U.S. Region.)
  - Transaction Identifier, if present in the original Presentment (This only applies in the U.S.
    Region.)
  - Cardholder-Activated Terminal indicator, if present in the original Presentment (This only applies
    in the U.S. Region.)
  - Visa Prepaid Card indicator, if present in the original Presentment (This only applies in the U.S.
    Region.)
  - Transaction amount (This only applies in the U.S. Region.)

ID#: 171009-171009-0000314

Transaction Receipt Re trieval Request Reasons - LAC Region

For an Intraregional Transaction in the LAC Region, the following table lists the reason for requesting
copies of the Transaction Receipt and H&C Document, and their corresponding BASE II request and
confirmation codes. (This only applies in the Latin America & Caribbean Region.)


Transaction Receipt Retrieval Request Reason - LAC Region

  Copy Request Reason for Base II Transaction Code 52                BASE II Request Code

Cardholder requests copy bearing signature and/or H&C                           28
Document


ID#: 171009-171009-0003426



Request for Easy Pay Transaction Receipt Copy - LAC Region

For an Intraregional Transaction in the LAC Region, to fulfill a request for a BASE II Copy Request
code for an Easy Pay Transaction, the LAC Acquirer must provide a copy of the "Cardholder
Participation Request and Consent Form," including all of the following: (This only applies in the Latin
America & Caribbean Region.)

• Cardholder name (This only applies in the Latin America & Caribbean Region.)
• Account Number (This only applies in the Latin America & Caribbean Region.)
• Card expiration date (if available) (This only applies in the Latin America & Caribbean Region.)
• Cardholder signature (This only applies in the Latin America & Caribbean Region.)
• Merchant name and location (This only applies in the Latin America & Caribbean Region.)




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• Description of good(s) or service(s) (This only applies in the Latin America & Caribbean Region.)
• Detail of services charged (This only applies in the Latin America & Caribbean Region.)

ID#: 171009-171009-0003655



Retention


Transaction Receipt Retention Periods 7.3.B

If requested, an Acquirer must provide an Issuer with a legible Transaction Receipt copy during the
required retention period, as specified in the following table.


Transaction Receipt Retention Periods

              Document                                           Retention Period
Original Transaction Receipt                According to applicable law

Transaction Receipt copy or substitute      Effective through 14 October 2011, 12 months from
                                            Processing Date
                                            Effective 15 October 2011, 13 months from Processing Date
                                            For Intraregional Transactions in the LAC Region, refer to
                                            Document Retention Period - LAC Region.

T&E Document                                6 months from Processing Date

Recurring Transaction Receipt               Effective through 14 October 2011, 12 months from
                                            Processing Date of latest Transaction
                                            Effective 15 October 2011, 13 months from Processing Date
                                            of latest Transaction


ID#: 081010-171009-0003258



Document Retention Period - LAC Region

For an Intraregional Transaction in the LAC Region, if requested, an Acquirer must provide an Issuer
with legible Transaction Receipt copies during the required retention period, as specified in the
following table. (This only applies in the Latin America & Caribbean Region.)


Document Retention Period - LAC Region

                 Document                                            Retention Period

Copy of Transaction Receipt or substitute         12 months from the Endorsement Date or Settlement
                                                  Date

H&C Document                                      6 months from Endorsement Date or Settlement Date

Easy Pay Transaction                              12 months from the Endorsement Date or Settlement
                                                  Date of the latest Transaction


ID#: 171009-171009-0003427



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Request and Fulfillment


Transaction Fulfillment Document Requirements - Small Ticket Transaction

Effective for Transactions completed through 15 October 2010, each Fulfillment for a Small
Ticket Transaction, excluding a U.S. Domestic Small Ticket Transaction, must contain at least the
following data:

• Merchant name
• Total Transaction amount
• Date
• Confirmation that Cardholder performed payment using a Visa Card or a Visa Electron Card or a
  Proximity Payment Device

ID#: 081010-171009-0003259



Transaction Receipt Fulfillment Documents - Data Requirements

The following tables specify the Substitute Transaction Receipt data requirements, excluding
Domestic Transactions in Brazil completed on or after 1 July 2010 and U.S. Domestic
Transactions. For U.S. Domestic Transactions, refer to "Substitute Transaction Receipt Data
Requirements - U.S. Region." Effective for Domestic Transactions in Brazil completed on or
after 1 July 2010, refer to “Substitute Transaction Receipt Data Requirements for Brazil – LAC
Region.”


Substitute Transaction Receipt Fulfillment Documents - Unattended Acceptance Terminals

            Transaction Type

                                                Cardholder-Activated              Cardholder-Activated
                                               Transaction Type A (Not         Transaction Type B or Type
                                               applicable for Magnetic-           C (Not applicable for
                                                  Stripe Telephone             Magnetic-Stripe Telephone
                                                    Transactions)                     Transactions)

Requested Document                                   Transaction log                     Transaction log
Required Data on Document
Account Number                                              X
Transaction Date                                            X                                  X
Transaction Time                                                                               X
Transaction Amount                                          X
Authorization Code                                                                             X
Evidence of electronic Card Imprint                                                            X




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Substitute Transaction Receipt Fulfillment Documents - Recurring, Mail/Phone Order, Retail,
and Electronic Commerce Transactions


         Transaction Type


                                         Recurring or Mail Order       Recurring, Mail/Phone
                                           (Excludes Phone                Order, or Retail as
                                                 Order)                 permitted in Retrieval
                                                                       Request Reason Code            Electronic Commerce
                                                                       30 Fulfillment (Effective
                                                                         through 15 October
                                                                                 2010)


        Requested Document                  Cardholder written          Substitute Transaction       Substitute Transaction
                                               permission                      Receipt                      Receipt


  Required Data on Document


  Account Number                                      X                             X                            X


  Cardholder Name (Effective                          X                             X                            X
  through 15 October 2010)


  Transaction Date                                    X                             X                            X


  Transaction Amount                                  X                             X                            X


  Transaction Currency                        Not applicable                Not applicable                       X


  Authorization Code                               If any                        If any                          X

                                                         1
  Cardholder Signature                               X                      Not applicable                Not applicable


  Merchant Name                                       X                             X                            X


  Merchant Location                                   X                             X                    Online address


  Description                                 Merchandise or                Merchandise or               Merchandise or
                                                                                                                    2
                                                services                      services                     services


  Itemized Charges                                    X                     Not applicable                Not applicable


  1. The Recurring Services Merchant must retain the Cardholder's permission in a format such as an e-mail, other
  electronic record, or in paper form, for the duration of the Recurring Transactions and provide it upon Issuer request.
  2. To remedy a Retrieval Request or use Reason Code 75, "Transaction Not Recognized" for an Aggregated Transaction,
  an Electronic Commerce Merchant must provide the details for the individual purchases that have been aggregated.




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Substitute Transaction Receipt Fulfillment Documents - T&E Transactions

        Document Type               Transaction Type


                                       Car Rental            Airline           Hotel            Cruise Line


  Copy                                   Copy                 Copy             Copy               Copy


  Substitute Transaction                   X                    X                X                  X
  Receipt

                                               1                                     1                  1
  T&E Document                             X                                     X                  X


  Required Data on Document


  Account Number                           X                    X                X                  X


  Cardholder Name                          X              If applicable          X                  X


  Passenger or Guest                                            X                X                  X
  Name, if different than
  Cardholder Name


  Cardholder Address                       X


  Address where tickets                                  If available and
  were sent                                                 applicable


  Transaction Date                                              X


  Rental and Return Dates                  X


  Transaction Code                       If any


  Transaction Amount                       X                    X                X                  X


  Authorization Code                     If any               If any           If any             If any


  Merchant Name                            X                    X                X                  X


  Merchant Location                                                              X                  X


  Rental and Return location               X


  Travel Agent Name and                                   If applicable
  Address




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        Document Type             Transaction Type


  Rental Agreement Number                   X

                                                2
  Description                               X                 Airline flight        Dates of stay,           Dates of cruise
                                                              information           check-in, and           embarkation and
                                                                                     check-out               disembarkation

                                                                                              3                         3
  Itemized Charges                                                                        X                         X


  1. Must include a copy of all documents pertaining to a T&E Transaction, including the Transaction Receipt, car rental
  agreement, or if one was created, a Guest Folio, as applicable. The Card Imprint and Cardholder signature must also be
  included if either or both were obtained.
  2. Includes type of car, mileage, rental rates, actual rate, refueling and insurance charges, adjustments, tax, cash
  received, billing method, and rental agent ID number.
  3. Includes room rate, tax, and food, beverage, and incidental charges.


ID#: 081010-171009-0003260



Retrieval Request

Effective through 15 October 2010, to satisfy a Retrieval Request, excluding Intraregional
Transactions in the AP Region and Canada Domestic Transactions, the Acquirer must:

• Provide a Transaction Receipt copy, or
• Provide a Substitute Transaction Receipt containing the required data
• T&E Document, if applicable

Effective 16 October 2010, to satisfy a Retrieval Request, the Acquirer must:

• Provide a Transaction Receipt copy, or
• Provide a Substitute Transaction Receipt containing the required data for a Transaction conducted
  in a Card-Absent Environment.

ID#: 081010-171009-0003540



Order Form for Retrieval Requests

Effective through 15 October 2010, to satisfy a Retrieval Request Reason Code 28, "Request for
Copy Bearing Signature," Retrieval Request Reason Code 33, "Fraud Analysis Request," or Retrieval
Request Reason Code 34, "Legal Process Request," resulting from a mail order or Recurring
Transaction, excluding Intraregional Transactions in the AP Region, Domestic Transactions in Brazil
completed on or after 1 July 2010, and Canada Domestic Transactions, the Acquirer must provide
a copy of the Order Form, containing the following:

• Account Number
• Cardholder name
• Card expiration date (if available)

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• Cardholder signature
• Merchant name and location
• Description of the merchandise or services
• Itemized charges

If the Transaction is not a mail order or Recurring Transaction, the Acquirer must provide a copy of
the Transaction Receipt, excluding Domestic Transactions in Brazil completed on or after 1 July
2010.

For a U.S. Domestic Transaction, to satisfy a Retrieval Request Reason Code 28, "Request for Copy
Bearing Signature," Retrieval Request Reason Code 33, "Fraud Analysis Request," or Retrieval
Request Reason Code 34, "Legal Process Request," resulting from a Preauthorized Health Care
Transaction, the Acquirer must provide a copy of the Order Form, containing the following: (This only
applies in the U.S. Region.)

• Account Number (This only applies in the U.S. Region.)
• Cardholder name (This only applies in the U.S. Region.)
• Card expiration date (if available) (This only applies in the U.S. Region.)
• Cardholder signature (This only applies in the U.S. Region.)
• Merchant name and location (This only applies in the U.S. Region.)
• Description of the merchandise or services (This only applies in the U.S. Region.)
• Itemized charges (This only applies in the U.S. Region.)

If the Transaction is not a Preauthorized Health Care Transaction, the Acquirer must provide a copy
of the Transaction Receipt. (This only applies in the U.S. Region.)

ID#: 081010-171009-0003541



Substitute Transaction Receipt Requirements

Effective through 15 October 2010, to satisfy a Retrieval Request Reason Code 30, "Request Due
to Cardholder Dispute," resulting from a Transaction other than as specified in Substitute Transaction
Receipt Data Requirements, the Acquirer may provide a Substitute Transaction Receipt, containing
the following:

• Account Number
• Cardholder name
• Card expiration date
• Transaction Date
• Transaction amount
• Authorization Code (if any)
• Merchant name and location
• Description of the merchandise or services
• "Ship to" address (if applicable)




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These provisions do not apply to Intraregional Transactions in the AP Region and Canada Domestic
Transactions.

Effective 16 October 2010, to satisfy a Retrieval Request resulting from a Transaction conducted in
a Card-Absent Environment, the Acquirer may provide a Substitute Transaction Receipt, containing
the following:

• Account Number
• Transaction Date
• Transaction amount
• Authorization Code (if any)
• Merchant name and location
• Description of the merchandise or services
• "Ship to" address (if applicable)

ID#: 081010-171009-0003543



T&E Document Retrieval Request

To satisfy a Retrieval Request for a T&E Document, excluding an Intraregional Transaction in the AP
Region, a Domestic Transactions in Brazil completed on or after 1 July 2010, and a Canada
Domestic Transaction, the Acquirer must provide a copy of all documents pertinent to the
Transaction, including the Transaction Receipt, car rental agreement, or Guest Folio, if created. The
Card Imprint and Cardholder signature must be included if either or both was obtained.

ID#: 081010-171009-0003544



Substitute Transaction Receipt Data Requirements - U.S. Region (Updated)

Effective through 15 October 2010, these provisions apply to U.S. Domestic Transactions. For
Substitute Transaction Receipt data requirements (Transactions conducted in a Card-Absent
Environment only) for International Transactions, refer to "Transaction Receipt Fulfillment Documents
- Data Requirements."

Effective through 15 October 2010, to satisfy a Retrieval Request for a Transaction which included
the Card Verification Value 2 in the Authorization Request and received a result code "M" (fully-
matched) or "U" (unsupported), the Acquirer must also provide a copy of the certification provided by
Visa for the Merchant.

Effective through 15 October 2010, the following tables specify the Substitute Transaction Receipt
data requirements for U.S. Domestic Transactions.




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Substitute Transaction Receipt Data Requirements - Cardholder-Activated Terminals -
U.S. Region (Effective through 15 October 2010)

        Required Data               Automated              Self-Service
                                                                                Automated Fuel Limited- Amount
                                    Dispensing              Terminal                                      1
                                             1                                    Dispenser       Terminal
                                     Machine


 Account Number                                                   X                     X                     X


 Transaction Date                          X                      X                     X                     X


 Transaction Time                          X


 Transaction Amount                        X                      X                     X                     X


 Authorization Code                        X                      X               If applicable


 Evidence of electronic                    X
 Card Imprint


 Card Expiration Date                                             X                     X


 Merchant Name and                                         See footnote 2               X
 Location                                                      below


 Service Station ID Number                                                              X


 Invoice Number                                              If available


 Description of                                                   X               Product Sold
 Merchandise or Services


 1. The Acquirer is not required to provide a copy of the Transaction Receipt that was given to the Cardholder. A
 Transaction log containing the required data elements may be provided to satisfy a Retrieval Request.
 2. Merchant name, Self-Service Terminal location code, or city and state




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Substitute Transaction Receipt Data Requirements - Recurring, Mail/Phone Order, Electronic
Commerce, and Preauthorized Health Care Transactions - U.S. Region (Effective through
15 October 2010)

                                                  Recurring, Mail/Phone Order,
                                                                                           Electronic Commerce
                Required Data                     or Preauthorized Health Care
                                                                      1                        Transactions
                                                         Transactions


  Account Number                                                   X                                   X


  Card Expiration Date                                        If available                             X


  Cardholder Name                                                  X                                   X


  Transaction Date                                                 X                                   X


  Transaction Amount                                               X                                   X


  Authorization Code                                               X                                   X


  Merchant Name                                                    X                                   X


  Merchant Location                                                X                            Online Address

                                                                                                                      2
  Description                                         Merchandise or services             Merchandise or services


  “Ship to" Address                                          If applicable                        If applicable


  Address Verification Service Response            If used and the response code          If used and the response
  Code                                                       is available                      code is available


  1. For Retrieval Request Reason Code 28, "Request for Copy Bearing Signature," see Order Form for Retrieval
  Requests.
  2. For Aggregated Transactions, details of the individual purchases that have been aggregated are required in order to
  remedy a Retrieval Request or Reason Code 75 "Transaction Not Recognized" Chargeback.




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Substitute Transaction Receipt Data Requirements - T&E Transactions - U.S. Region (Effective
through 15 October 2010)

                                                                     Airline or Passenger      Lodging or Cruise
               Required Data                     Car Rental
                                                                            Railway                  Line


 Account Number                                       X                        X                         X


 Card Expiration Date                                 X                   If available              If available


 Cardholder Name                                      X                   If available                   X


 Passenger or Guest Name                                                       X                         X


 Cardholder Address                                   X


 Address where Tickets were Sent                                        If available and
                                                                           applicable


 Transaction Date                                                              X


 Rental and Return Dates                              X


 Transaction Amount                                   X                        X                         X


 Authorization Code                                   X                        X                         X


 Merchant Name                                        X                        X                         X


 Merchant Location                                                                                       X


 Rental and Return Location                           X


 Travel Agent Name and Address                                            If applicable


 Rental Agreement Number                              X


 Description                                          X
                                                          1            Airline and railway     Dates of stay, check-
                                                                                           2
                                                                     itinerary information       in and check-out
                                                                                                            3
 Itemized Charges                                                                                       X


 Parking Ticket/Moving Violation                 If applicable
 Information




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                                                                             Airline or Passenger         Lodging or Cruise
              Required Data                            Car Rental
                                                                                    Railway                     Line


 Address Verification Service                                                    If used and the
 Response Code                                                                  response code is
                                                                                     available

 1. Includes, as appropriate, type of vehicle; mileage; rental rates; actual rate, refueling, and insurance charges; adjustments;
 tax; cash received; billing method; and rental agent ID number
 2. Includes, as appropriate, original departure date, origination city, destination city, airport codes, carrier ID, and/or
 additional services provided, such as excess baggage, or other agent services
 3. Includes room rate; tax; and food, beverage, and incidental charges



Substitute Transaction Receipt Data Requirements - Data-Captured Retail Transactions
(May be used only to satisfy Retrieval Request Reason Code 30, "Request Due to Cardholder
Inquiry") - U.S. Region (Effective through 14 October 2011)

                                  Required Data                                      Data-Captured Retail Transactions


  Account Number                                                                                          X


  Effective through 15 October 2010, Card Expiration Date                                                 X


  Effective through 15 October 2010, Cardholder Name                                                 If available


  Transaction Date                                                                                        X


  Transaction Time                                                                                    Optional


  Authorization Code                                                                                      X


  Merchant Name                                                                                           X


  Merchant Location                                                                                       X


  Description                                                                                Merchandise or service


  Store Department                                                                                    Optional


  "Ship to" Address                                                                                 If applicable



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Substitute Transaction Receipt Data Requirements for Brazil - LAC Region (Updated)

Effective for Domestic Transactions in Brazil completed on or after 1 July 2010, Substitute
Transaction Receipts must contain the elements listed below. For Substitute Transaction Receipt
data requirements for International Transactions, refer to "Transaction Receipt Fulfillment Documents
- Data Requirements."

For car rental, Airline, passenger railway, lodging, or Cruise Line Transactions:

• Product type
• Account Number
• Transaction Date
• Transaction time
• Transaction amount
• Sales type
• Authorization Code
• POS Entry Mode code
• Merchant name
• Merchant location
• Merchant ID
• Terminal ID
• Chip Cryptogram code, if applicable
• Transaction with PIN, if applicable

For Recurring Transactions, Mail/Phone Order Transactions, retail Transactions, or Electronic
Commerce Transactions:

• Product type
• Account Number
• Transaction Date
• Transaction time
• Transaction amount
• Sales type
• Authorization Code
• POS Entry Mode
• Merchant name
• Merchant location
• Merchant ID
• Terminal ID




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• TC Chip Cryptogram code, if applicable
• Transaction Receipt Fulfillment Documents

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Transaction Receipt Fulfillment Documents - H&C Transaction Data Requirements -
LAC Region

For Intraregional H&C Transactions in the LAC Region, the following table details the requirements
an Acquirer has to comply with in order to fulfill the Transaction Receipt Retrieval Request for H&C
Transactions. (This only applies in the Latin America & Caribbean Region.)


Transaction Receipt Fulfillment Documents - H&C Documents - LAC Region

                                      Public and Private Hospitals (H&C)


                                              Type of Document


  Original or Copy                                                                  Copy


  Substitute Transaction Receipt                                                        X

                                                                                            1
  H&C Document                                                                          X


                                        Required Data on Document


  Account Number                                                                        X


  Cardholder name                                                                       X


  Patient name                                                                          X


  Cardholder address                                                                    X


  Check-in and check-out dates                                                          X


  Transaction code                                                                  If any


  Transaction Amount                                                                    X


  Authorization Code                                                                If any


  Merchant name                                                                         X




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                                          Public and Private Hospitals (H&C)


  Public and private hospital location                                                             X

                                                                                                       2
  Itemized charges                                                                                 X


  1. Must include a copy of all documents pertaining to an H&C Transaction, including the Transaction Receipt and
  hospitalization agreement, if any. The CardImprint and Cardholder signature must also be included, if either or both
  were obtained.
  2. Includes doctors' fees (if applicable), the room rate, taxes and charges for medications and supplies.


ID#: 171009-171009-0003428



Transaction Receipt Fulfillment Documents - Easy Pay Transaction Data
Requirements - LAC Region

For Intraregional Easy Pay Transactions in the LAC Region, the following table details the
requirements that an Acquirer must comply with in order to fulfill Copy Requests for Easy Pay
Transactions. (This only applies in the Latin America & Caribbean Region.)


Transaction Receipt Fulfillment Documents - Easy Pay - LAC Region

                                                 Easy Pay Transaction


                                                   Type of Document


  Original or Copy                                                                   Original or copy


  Document requested                                                        Cardholder's written permission


                                             Required Data on Document


  Account Number                                                                            X


  Card expiration date                                                                 If available


  Cardholder name                                                                           X


  Transaction date                                                                          X


  Transaction amount                                                                        X


  Authorization Code                                                                      If any




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                                                 Easy Pay Transaction

                                                                                                 1
  Cardholder signature                                                                       X


  Merchant name                                                                              X


  Merchant location                                                                          X


  Description                                                                      Goods or services


  Itemized charges                                                                           X2


  1. A Merchant that accepts Easy Pay Transactions must retain the written permission signed by the Cardholder in a
  format such as e-mail, other electronic record, or in paper form, for the duration of the period agreed upon by the
  Cardholder for Easy Pay Transactions with said Merchant and provide it at the request of the Issuer.
  2. Includes doctors' fees (if applicable), taxes and charges for medicines and supplies.


ID#: 171009-171009-0003654



VisaNet Copy Request and Fulfillment Service


VisaNet Copy Request and Fulfillment Service Participation

All Issuers and Acquirers must participate in the VisaNet Copy Request and Fulfillment Service when
initiating or responding to a Retrieval Request.

ID#: 171009-171009-0007035



Acquirer Response to Retrieval Request

An Acquirer must respond within 30 calendar days of the Retrieval Request Processing Date with one
of the following:

• Fulfillment
• Nonfulfillment Message
• Interchange log indicating that full credit for the original Transaction amount was processed to the
  Cardholder Account Number

ID#: 171009-171009-0000571



Fulfillment for Retrieval Request Reason Code 30

Effective through 15 October 2010, when a Transaction Receipt contains a truncated or disguised
Account Number, an Acquirer may respond to a Retrieval Request reason code 30, "Cardholder
request due to dispute," with a Substitute Transaction Receipt containing the complete Account


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Number and the data elements specified in the "Substitute Transaction Receipt Fulfillment
Documents - Recurring, Mail/Phone Order, Retail, and Electronic Commerce Transactions" table. For
card-present Intraregional Transactions in the AP Region, Substitute Transaction Receipts are
considered invalid Transaction Receipts. For card-present Canada Domestic Transactions, Substitute
Transaction Receipts are considered invalid Transaction Receipts.

ID#: 081010-171009-0000541



Truncated or Disguised Account Number

The Acquirer may provide the Issuer with a Transaction Receipt that contains a truncated or
disguised Account Number.

ID#: 171009-171009-0000542



Transaction Receipt Fulfillment Exceptions (Updated)

The Acquirer is not required to provide a Transaction Receipt for any of the following:

• ATM Cash Disbursement
• Effective for Transactions completed through 14 October 2011, Magnetic-Stripe Telephone
  Transaction
• Effective for Transactions completed on or after 15 April 2010, EMV PIN Transaction,
  excluding:
  - Retrieval Request reason code 29, “T&E Document Request”
  - Retrieval Request for a Manual Cash Disbursement or Quasi-Cash Transaction
• Effective for Transactions completed on or after 16 October 2010, Visa Easy Payment Service
  Transaction
• Effective for Transactions completed on or after 15 October 2011, Unattended Transaction

Effective for Transactions completed through 15 October 2010, for U.S. Domestic Transactions,
the Acquirer is not required to provide a Transaction Receipt for any of the following: (This only
applies in the U.S. Region.)

• Small Ticket Transactions (This only applies in the U.S. Region.)
• No Signature Required Transaction (This only applies in the U.S. Region.)
• Transactions under $25 completed at a Point-of-Transaction Terminal with Contactless Payment
  capability (This only applies in the U.S. Region.)

For Canada Domestic Transactions, the Acquirer is not required to provide a Transaction Receipt for
any of the following: (This only applies in the Canada Region.)

• Effective for Transactions completed through 15 October 2010, No Signature Required
  Transactions (This only applies in the Canada Region.)
• Effective for Transactions completed through 15 October 2010, Proximity Payment
  Transactions (This only applies in the Canada Region.)
• Effective 1 October 2010, fully-Compliant Chip Card Transactions (This only applies in the
  Canada Region.)


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Effective for Domestic Transactions in Brazil completed on or after 1 July 2010, the Acquirer is
not required to provide a Transaction Receipt for any of the following: (This only applies in the Latin
America & Caribbean Region.)

• Chip-initiated Transaction with PIN Verification (This only applies in the Latin America & Caribbean
  Region.)
• Chip-initiated Transaction with no PIN Verification (This only applies in the Latin America &
  Caribbean Region.)
• Magnetic-Stripe-read Transaction with PIN Verification (This only applies in the Latin America &
  Caribbean Region.)
• Magnetic-Stripe-read Transaction at a Chip-Reading Device (This only applies in the Latin America
  & Caribbean Region.)
• Brazil Domestic Installment Transaction - Excluding the first Installment Transaction (This only
  applies in the Latin America & Caribbean Region.)
• Proximity Payment Transaction (This only applies in the Latin America & Caribbean Region.)
• Card-Absent Environment Transaction (This only applies in the Latin America & Caribbean
  Region.)
• Manual or key-entered Transaction (POS Entry Mode code value of "01") (This only applies in the
  Latin America & Caribbean Region.)
• Transaction under R $15 (This only applies in the Latin America & Caribbean Region.)

ID#: 050411-171009-0000543



Fulfillment Requirements (Updated)

A Fulfillment must comply with all of the following:

• Be legible enough for the Cardholder to read or for the Issuer to identify the Account Number
• Include the unique 12-digit Copy Request Identifier assigned by VisaNet
• For a U.S. Domestic Transaction, include a unique nine-digit control number assigned by the
  Issuer to identify the internal source of the request. (This only applies in the U.S. Region.)

These requirements do not apply to Copy Requests for Intraregional Healthcare Auto-Substantiation
Transactions in the U.S. Region. Refer to the Visa Healthcare Auto-Substantiation Transactions
Retrieval of SIGIS Receipt Detail Implementation Guide for additional information on handling such
requests. (This only applies in the U.S. Region.)

ID#: 050411-171009-0003341



Nonfulfillment Message

A Nonfulfillment Message must include the Copy Request Identifier and one of the message codes
listed in the following table.




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VisaNet Copy Request and Fulfillment Service - Nonfulfillment Message Codes

             Message Code                                    Description


                    01                       Invalid Request: Incorrect Account Number


                    02                     Invalid Request: Not a valid Acquirer Reference
                                                              Number


                    03                         Item could not be located-Charge back


                    04                            Acquirer will not fulfill-Charge back


                    05                      Transaction Receipt not required or previously
                                                              fulfilled


ID#: 171009-171009-0003262



Issuer Rights

An Issuer may exercise a Chargeback right for the Chargeback reason code applicable to the
dispute, if one of the following applies:

• Acquirer did not respond to a Retrieval Request within 30 calendar days of the request
• Acquirer sent a Nonfulfillment Message
• Acquirer did not send a valid or correct Fulfillment

For Intraregional Transactions in the LAC Region, Members in Venezuela must not process a
domestic T&E Chargeback for an amount less than US $5, or local currency equivalent. (This only
applies in the Latin America & Caribbean Region.)

ID#: 010410-171009-0003264



Retrieval Fees


Retrieval Request Fees

Visa charges the Issuer and reimburses the Acquirer for a Retrieval Request.

ID#: 171009-171009-0003343



Retrieval Request Fee Recovery

The Issuer may recover fees for Retrieval Requests for any of the following reasons:



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• Acquirer did not properly supply the requested Transaction Receipt
• Substitute Transaction Receipt does not include the required data
• Request resulted from an incorrect Merchant description or a zero-filled or incorrect Transaction
  Date in the VisaNet transmission

For U.S. Domestic Transactions, one of the following: (This only applies in the U.S. Region.)

• Requested copy was illegible (This only applies in the U.S. Region.)
• Acquirer did not properly supply the required Healthcare Auto-Substantiation Transaction detail
  (This only applies in the U.S. Region.)
• The Acquirer may collect a US $25 handling fee from the Issuer if the original Clearing Record
  contained one of the following: (This only applies in the U.S. Region.)
  - Airline/Railway Passenger Itinerary Data (This only applies in the U.S. Region.)
  - A "1" in the Lodging/Car Rental No Show Indicator (This only applies in the U.S. Region.)

ID#: 171009-171009-0003345



VisaNet Copy Request and Fulfillment Service Fees - U.S. Region

A U.S. Member participating in the VisaNet Copy Request and Fulfillment Service is assessed service
charges.

ID#: 010410-010410-0007987



Healthcare Auto-Substantiation Transaction Retrieval Request Fees - U.S. Region

A U.S. Issuer must pay a fee to the Acquirer per request for Copy for retrieval of line item detail for a
Healthcare Auto-Substantiation Transaction.

ID#: 081010-041008-0007988




Chargebacks and Representments

Chargeback and Representment Process


Chargeback and Representment for a Transaction

A Member must process a Chargeback or Representment for a Transaction through VisaNet in
accordance with the VisaNet manuals. A Member may also transmit a Chargeback for a Domestic
Transaction through an Interchange tape or by other means under a Private Agreement.

ID#: 171009-171009-0003271




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Chargeback or Representment Documentation Submission Time Limit

Effective through 15 October 2010, a Member sending Chargeback or Representment
documentation must do so within 8 calendar days of the Chargeback or Representment Processing
Date, using Visa Resolve Online.

Effective 16 October 2010, a Member sending Chargeback or Representment documentation must
do so within 5 calendar days of the Chargeback or Representment Processing Date, using Visa
Resolve Online.

ID#: 081010-171009-0003272



Non-Automated Submission of Chargeback or Representment Documentation

The Member must not send Chargeback or Representment documentation by mail, fax, or any other
non-automated method.

ID#: 171009-171009-0003273



Chargeback and Representment Process VIOR 7.4.A USOR 1.3

After receiving a Presentment, an Issuer may charge back a Transaction to the Acquirer under the
conditions specified beginning in Reason Codes. Similarly, the Acquirer may represent the
Transaction to the Issuer.

The Issuer must not charge back the Transaction a second time, with the exception of Reason Code
93, "Merchant Fraud Performance Program," and the Acquirer must not represent the Transaction a
second time. The Chargeback and Representment Process Through VisaNet figure illustrates this
process.

The following provisions apply to U.S. Domestic Transactions: (This only applies in the U.S. Region.)

• If requested by the Acquirer, and permitted under applicable law, the Issuer should provide the
  Cardholder's address (This only applies in the U.S. Region.)
• An Acquirer must not process a Transaction as a first Presentment if the Transaction has been
  previously charged back (This only applies in the U.S. Region.)
• A Transaction is considered to take place within the U.S. Region if it occurs at a U.S. military base
  or U.S. embassy or consulate outside the U.S. and is both: (This only applies in the U.S. Region.)
  - Deposited with a U.S. Member by the U.S. government (This only applies in the U.S. Region.)
  - Completed with a Card issued by a U.S. Member governed by these Operating Regulations
    (This only applies in the U.S. Region.)




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Chargeback and Representment Process Through VisaNet




A Member may have the right to file for Arbitration after completing the Chargeback/Representment
cycle (see Arbitration). In some instances, Compliance may be available.

ID#: 090411-171009-0003277



Intercompany Chargeback Process for Visa Easy Payment Service (VEPS) and Visa
Europe Small Ticket Transactions

Effective 16 October 2010, a process exists for Visa Easy Payment Service Transaction
Chargebacks that are not valid in Visa International Regions but are valid in Visa Europe.

Visa will pay in lieu of an Acquirer in the Visa International Region for a Chargeback received from a
Visa Europe Issuer if all of the following occur:

• The Transaction qualifies as a Visa Easy Payment Service Transaction in the Visa International
  Region
• The Merchant Category Code does not qualify for a Small Ticket Transaction in Visa Europe as
  specified in the Visa Europe Operating Regulations
• The Transaction is confirmed by Visa as being eligible for Chargeback in accordance with the
  requirements specified in the Visa Europe Operating Regulations

ID#: 081010-161010-0025699



Attempt to Settle

Before exercising a Chargeback right, the Issuer must attempt to honor the Transaction.

If this fails and the Issuer has already billed the Transaction to the Cardholder, the Issuer must credit
the Cardholder for the Chargeback amount.

An Issuer must credit its Cardholder's account for the amount in dispute, whether or not a
Chargeback was initiated, if the dispute involves an Electronic Commerce Transaction and the
conditions are met for any of the following Chargebacks:

• Reason Code 30, "Services Not Provided or Merchandise Not Received"

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• Reason Code 41, "Cancelled Recurring Transaction"
• Reason Code 53, "Not as Described or Defective Merchandise"
• Reason Code 83, "Fraud-Card-Absent Environment"
• Reason Code 85, "Credit Not Processed"

The Issuer must not be reimbursed twice for the same Transaction.

A Cardholder must not be credited twice as a result of both a:

• Chargeback
• Credit processed by a Merchant

ID#: 171009-171009-0003287



Calculation of Chargeback Time Limit

The Chargeback time limit is calculated from the Transaction Processing Date.

ID#: 171009-171009-0003288



Start of Chargeback Time Limit

The Chargeback time limit begins on the calendar day following the Transaction Processing Date.

ID#: 171009-171009-0003291



Transaction Chargeback Method

An Issuer must charge back each Transaction separately. The Issuer must not combine Transactions
and charge them back as a single Transaction.

This rule does not apply to a Magnetic-Stripe Telephone or Telephone Service Transaction for which
the Cardholder did not give permission or when a Fictitious Account Number was used or no valid
Card was outstanding. This provision does not apply to U.S. Domestic Transactions.

ID#: 171009-171009-0003570



Minimum Cardholder Certification Requirements

If an Issuer is required by the Operating Regulations to provide an Acquirer with a signed Cardholder
certification denying participation in the Transaction for asserted fraudulent use of a Card or Account
Number, at a minimum the signed Cardholder certification must include all of the following:

• Cardholder's Account Number (complete or partial Account Number is acceptable)
• Merchant name(s), as set out in BASE II Record Requirements (Exhibit 2L)
• Transaction Amount(s)



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• The following provisions apply to U.S. Domestic Transactions: (This only applies in the U.S.
  Region.)
  - For a Vehicle-Specific Fleet Card Transaction, a signed certification, or statement to the Issuer,
    from the individual that engaged in the Transaction with the Merchant (This only applies in the
    U.S. Region.)
  - For all other non-fraud related Commercial Visa Product Transactions, a letter or statement from
    an individual representing the Issuer's commercial customer, in lieu of the Cardholder or
    individual that engaged in the Transaction with the Merchant (This only applies in the U.S.
    Region.)

The signed Cardholder certification may include a signature received in a secure online banking
environment maintained by the Issuer. Each fraudulent Transaction does not require a separate
certification. When a signed Cardholder certification is received in an online banking environment, the
Issuer must certify with the Chargeback that the unique identity represents the Cardholder signature.

Effective 16 April 2011, if an Acquirer provides sufficient evidence that a Cardholder letter is required
for legal proceedings, for a law enforcement investigation, or if required by local law, the Issuer must
supply a Cardholder letter to the Acquirer. This requirement does not apply to Transactions involving
Issuers or Acquirers in Visa Europe.

All documentation that must be provided by an Issuer as required for each Chargeback reason in the
Dispute Resolution Rules must be provided in English.

ID#: 081010-171009-0004139



Chargeback Amount

The Issuer must charge back for either:

• Actual billed amount in the Billing Currency
• Partial Transaction amount equal to the disputed amount

ID#: 171009-171009-0003297



Currency Conversion

Visa converts the Billing Currency to the Acquirer's Settlement Currency using the Basic Currency
Conversion Rate.

ID#: 171009-171009-0003298



Representment Documentation

The Acquirer must return the same reason code that was received in the Chargeback Clearing
Record.

An Acquirer must provide the Issuer with the following Representment documentation, if required:

• Documentation to remedy the Chargeback



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• Completed appropriate Visa Resolve Online Dispute Questionnaire or exhibit, including the
  Chargeback reference number, if used. See the Visa Resolve Online Dispute Questionnaire or
  BASE II Record Requirements (Exhibit 2L).
• Translations of any non-English documentation
• For U.S. Domestic Transactions, any of the following: (This only applies in the U.S. Region.)
  - When a Member message text is not available, documentation, Acquirer certification, or
    information on the Visa Resolve Online Dispute Resolution Questionnaire to support a
    Representment (This only applies in the U.S. Region.)
  - For non-fraud related disputes, the Acquirer may also provide documentation or Acquirer
    certification, in lieu of a Merchant letter, to convey the required information for a Representment
    right (This only applies in the U.S. Region.)
• Effective for Transactions completed through 15 October 2010, for a Canada Domestic No
  Signature Required Transaction, an Acquirer may provide the Issuer with an Authorization or
  Clearing Record log containing the Transaction details, if required, to remedy a Chargeback in lieu
  of a Transaction Receipt. (This only applies in the Canada Region.)

Effective through 15 October 2010, a Member sending Representment documentation must do so
within 8 calendar days of the Representment Processing Date, using Visa Resolve Online.

Effective 16 October 2010, a Member sending Representment documentation must do so within 5
calendar days of the Representment Processing Date, using Visa Resolve Online.

ID#: 081010-171009-0003304



Representment Amount Field Requirements

For a Representment, the Representment amount field must contain one of the following:

• Same amount in the same Transaction Currency as in the original Presentment
• Partial Transaction amount to remedy the Chargeback
• Same or corrected amount in the Settlement Currency as received by the Acquirer for the
  Chargeback

ID#: 171009-171009-0003305



Currency Conversion Difference

If the Transaction Currency and the Billing Currency are denominated in the euro or one of its
national currency units, VisaNet converts the Transaction amount to the Billing Currency using the
Basic Currency Conversion Rate. For all other Transactions, VisaNet converts the Transaction
amount to the Billing Currency using the Currency Conversion Rate.

• The Acquirer is liable for any difference between the Chargeback amount and the Representment
  amount
• The Issuer is liable for any difference between the amount originally presented and the
  Representment amount

ID#: 171009-171009-0003306




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Representment Reasons and Conditions (Updated)

An Acquirer may represent a Transaction to the Issuer for one of the reasons listed in the following
table within 45 calendar days. The Representment time limit is calculated from the Chargeback
Processing Date. Representment information in the following table appears in more detail in the
Reason Codes section.


Representment Reason and Time Limits
                                                                                                                           1
                                                                                                              Time Limit
      Representment Reason                                        Conditions
                                                                                                            (Calendar Days)

 Missing or incomplete                  Effective through 15 October 2010, Acquirer must                           45
 substantiating Chargeback              allow 8 calendar days from the Central Processing Date
 documentation                          of the Chargeback for document receipt and then must
                                        exercise its Representment right within the next 37
                                        calendar days.
                                        Effective 16 October 2010, Acquirer must allow 5
                                        calendar days from the Central Processing Date of the
                                        Chargeback for document receipt and then must exercise
                                        its Representment right within the next 40 calendar days.

 Invalid Acquirer Reference             None                                                                       45
 Number and/or Account Number

 Improper Chargeback                    See each Chargeback listed in Reason Codes.                                45

 Additional information available       See each Chargeback listed in Reason Codes                                 45
 to remedy the Chargeback

 Chargeback Reason Code 60 -            Send legible copy of requested item.                                       45
 illegible fulfillment can be
 remedied

 All Representments                     See each Chargeback listed in Reason Codes                                 45

 1. Time limit is calculated from the Processing Date of the Chargeback. The Processing Date of the Chargeback is not counted
 as one day. The Processing Date of the Representment is counted as one day.

ID#: 050411-171009-0004110




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Reason Codes

Reason Code 30 Services Not Provided or Merchandise Not Received


Overview - Reason Code 30

Time Limit: 120 calendar days

Merchant was unable or unwilling to provide services (including Visa Prepaid Load Services), or
Cardholder or authorized person did not receive the ordered merchandise at the agreed upon location
or by the agreed upon date.

ID#: 081010-171009-0007460



Chargeback Conditions - Reason Code 30

One of the following:

1. Cardholder or authorized person participated in the Transaction and did not receive purchased
   services, including Visa Prepaid Load Services, because the Merchant or Prepaid Partner was
   unwilling or unable to provide the services.
2. Cardholder or authorized person participated in the Transaction and did not receive ordered
   merchandise.

ID#: 081010-171009-0007461



Chargeback Rights and Limitations - Reason Code 30
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)
2. Prior to exercising the Chargeback right, Cardholder must attempt to resolve the dispute with the
   Merchant or the Merchant's liquidator, if applicable. (Not applicable if prohibited by local law.)
3. Effective through 15 October 2010, if date services were expected or delivery date for the
   goods is not specified, Issuer must wait 30 calendar days from the Transaction Date before
   exercising the Chargeback right. Does not apply if the waiting period causes Chargeback to
   exceed Chargeback time frame.

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4. Effective 16 October 2010, if date services were expected or delivery date for the goods is not
   specified, Issuer must wait 15 calendar days from the Transaction Date before exercising the
   Chargeback right. Does not apply if the waiting period causes Chargeback to exceed Chargeback
   time frame.
5. Chargeback amount is limited to the portion of services or merchandise not received.
6. For disputes involving merchandise:
      a. Prior to exercising the Chargeback right, if merchandise was delivered after the agreed upon
         delivery date, Cardholder must attempt to return the merchandise
      b. Effective through 15 October 2010, if merchandise was returned due to late delivery, the
         Issuer must wait at least 30 calendar days from the date the Cardholder returned or
         attempted to return the merchandise prior to exercising the Chargeback right. Does not apply
         if the waiting period causes Chargeback to exceed Chargeback time frame or if the
         Chargeback was already processed prior to the goods being received.
      c.   Effective 16 October 2010, if merchandise was returned due to late delivery, the Issuer must
           wait at least 15 calendar days from the date the Cardholder returned or attempted to return
           the merchandise prior to exercising the Chargeback right. Does not apply if the waiting period
           causes Chargeback to exceed Chargeback time frame or if the Chargeback was already
           processed prior to the goods being received.

ID#: 081010-171009-0007462



Invalid Chargebacks - Reason Code 30 (Updated)

Chargeback is invalid for any of the following:

1. If the Cardholder cancelled merchandise or service prior to the expected delivery or service date
2. If merchandise is being held by the customs agency of the Cardholder's country
3. When the Cardholder states that the Transaction was fraudulent
4. For disputes regarding the quality of merchandise or service rendered
5. Effective for Chargebacks completed through 14 May 2010, for a No-Show Transaction or
   Advance Deposit Transaction
6. Effective for Chargebacks processed on or after 15 May 2010, for a No-Show Transaction
7. For the initial payment of a Delayed Delivery Transaction when the remaining balance was not
   paid and Merchant is willing and able to provide services or merchandise
8. For ATM Cash Disbursements
9. Effective through 30 September 2010 effective for Transactions completed on or after 1
   March 2010, for any Cash-Back portion of a Visa or Visa Electron Transaction (This only applies
   to the AP Region for Members in India and, effective 1 November 2010, Australia.) (This only
   applies in the Asia Pacific Region.)
10. Effective 1 October 2010, for any Cash-Back portion of a Visa Cash-Back Transaction

ID#: 080411-171009-0007463




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Chargeback Time Limit - Reason Code 30
1. 120 calendar days from Transaction Processing Date.
2. If the services were to be provided after the Transaction Processing Date, the 120 calendar-day
   time frame is calculated from the date that the Cardholder expected to receive the service or
   when the Cardholder was first made aware that the service would not be provided, not to exceed
   540 calendar days from the Transaction Central Processing Date.
3. Effective for Chargebacks processed through 14 May 2010, if the merchandise was to be
   provided after the Transaction Processing Date, the 120 calendar day time frame is calculated
   from the date that the Cardholder expected to receive the merchandise.
4. Effective for Chargebacks processed on or after 15 May 2010, if the merchandise was to be
   provided after the Transaction Processing Date, the 120 calendar day time frame is calculated
   from the last date that the Cardholder expected to receive the merchandise or when the
   Cardholder was first made aware that the merchandise would not be provided, not to exceed 540
   calendar days from the Transaction Central Processing Date.

ID#: 081010-171009-0007464



Chargeback Processing Requirements - Reason Code 30

Member Message Text:

1. SERVICES NOT RENDERED MMDDYY
2. MERCH NOT RECEIVED MMDDYY

ID#: 171009-171009-0007465



Documentation - Reason Code 30

Visa Resolve Online Dispute Questionnaire or Exhibit 2E-6 Issuer stating any of the following, as
applicable:

1. Services not rendered by expected date
2. Merchandise was not received
3. Expected arrival date of the merchandise
4. Merchandise not received at agreed-upon location (Issuer must specify)
5. Cardholder attempt to resolve with Merchant
6. Effective 16 October 2010, merchandise returned MMDDYY
7. Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions in
   Brazil, the Issuer may provide certification in lieu of the Cardholder letter. (This only applies in the
   Latin America & Caribbean Region.)

ID#: 081010-171009-0007466




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Representment Time Limit - Reason Code 30

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007467



Representment Processing Requirements - Reason Code 30

Member Message Text:

1. Credit or Reversal was processed.
      a. Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text: None required.
      b. Documentation: Both:
          i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-6 Acquirer
          ii.   Documentation to prove that Cardholder or authorized person received services or
                merchandise was received by Cardholder or authorized person on agreed-upon date or
                at agreed-upon location

ID#: 081010-171009-0007468



Additional Information - Reason Code 30
1. Proof of shipping does not constitute proof of receipt.
2. Merchant is responsible for goods held within its own country's customs agency.
3. Acquirer Right of Assignment requirements may apply to certain chargebacks involving specific
   bankrupt merchants (such as an airline) where Visa Canada has formally notified Members of
   same. This provision applies to Canada Domestic Transactions. (This only applies in the Canada
   Region.)

ID#: 171009-171009-0007469




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Reason Code 41 Cancelled Recurring Transaction


Overview - Reason Code 41

Time Limit: 120 calendar days

The Merchant continued to charge a Cardholder for a Recurring Transaction despite notification of
cancellation.

ID#: 171009-171009-0007470


Chargeback Conditions - Reason Code 41

One of the following:

1. Cardholder withdrew permission to charge the account for a Recurring Transaction.
2. Acquirer or Merchant received notification that the Cardholder's account was closed before the
   Transaction was processed.
3. An initial membership Transaction was previously charged back and the Cardholder did not
   expressly renew the membership.
4. For a U.S. Domestic Transaction, Transaction amount was not within the preauthorized range of
   amounts or Merchant was to notify the Cardholder prior to processing each Recurring
   Transaction, and Merchant either: (This only applies in the U.S. Region.)
    a. Did not notify Cardholder in writing within 10 calendar days of the Transaction Date (This only
       applies in the U.S. Region.)
    b. Notified Cardholder within 10 calendar days of the Transaction Date and Cardholder did not
       consent to the charge (This only applies in the U.S. Region.)
5. For a LAC Easy Pay Transaction, Transaction occurred and both: (This only applies in the Latin
   America & Caribbean Region.)
    a. The Transaction amount was not within the range of amounts approved by the Cardholder
       (This only applies in the Latin America & Caribbean Region.)
    b. Merchant, either: (This only applies in the Latin America & Caribbean Region.)
         i.    Did not notify the Cardholder in writing at least 5 calendar days prior to the Transaction
               Date (This only applies in the Latin America & Caribbean Region.)
         ii.   Notified the Cardholder at least 5 calendar days prior to the Transaction Date and the
               Cardholder declined the charge in writing (This only applies in the Latin America &
               Caribbean Region.)

ID#: 171009-171009-0007471




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Chargeback Rights and Limitations - Reason Code 41
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
         Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
         America & Caribbean Region.)
      e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. Chargeback amount is limited to the unused portion of the service or merchandise.
3. Issuer must determine that the Cardholder attempted to resolve the dispute with the Merchant.
   (Not applicable if prohibited by local law.)
4. For Chargeback Condition 3, cancellation of a membership Transaction purchased via the mail,
   telephone, or electronic commerce may occur before or during the membership period

ID#: 150211-171009-0007472



Invalid Chargebacks - Reason Code 41

Chargeback is invalid for any of the following:

1. For Chargeback Condition 1, any of the following:
      a. If Cardholder did not withdraw permission to charge the account
      b. For Installment Transactions

ID#: 171009-171009-0007473



Chargeback Time Limit - Reason Code 41

120 calendar days from Transaction Processing Date

ID#: 171009-171009-0007474



Chargeback Processing Requirements - Reason Code 41

Member Message Text: Any of the following that apply:

1. CH CANCELLED MMDDYY
2. NOTIFICATION ACCT CLOSED MMDDYY
3. PREVIOUS CB MMDDYY ARN X...X (23 or 24 digits)


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4. CARDHOLDER NOT RENEWED
5. For a U.S. Domestic Transaction, TX AMT EXCEEDS CH PREAUTHD RANGE (This only applies
   in the U.S. Region.)
6. For an Intraregional Transaction in the LAC Region, TX AMT EXCEEDS CH PREAUTHD
   RANGE (This only applies in the Latin America & Caribbean Region.)

ID#: 171009-171009-0007475



Documentation - Reason Code 41 (Updated)
1. For Easy Pay Transactions in the LAC Region, both: (This only applies in the Latin America &
   Caribbean Region.)
    a. Cardholder letter stating that the Transaction exceeds the maximum amount approved by the
       Cardholder for Easy Pay (This only applies in the Latin America & Caribbean Region.)
    b. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-6 Issuer stating Merchant either:
       (This only applies in the Latin America & Caribbean Region.)
         i.    Did not provide a written communication at least 5 calendar days prior to the Transaction
               Date. (This only applies in the Latin America & Caribbean Region.)
         ii.   Provided a written communication at least 5 calendar days prior to the Transaction Date,
               but the Cardholder declined the charge in writing. (This only applies in the Latin America
               & Caribbean Region.)
2. Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions in
   Brazil, the Issuer may provide certification in lieu of the Cardholder letter (This only applies in the
   Latin America & Caribbean Region.)

ID#: 050411-171009-0007476



Representment Time Limit - Reason Code 41

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007477



Representment Processing Requirements - Reason Code 41
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text:
         i.    X...X (Specify the reason)
         ii.   For an Intraregional Transaction in the LAC Region, SUPPORTING DOCUMENTATION
               NOT RECEIVED (This only applies in the Latin America & Caribbean Region.)


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      b. Documentation: None required.
3. Acquirer can remedy the Chargeback
      a. Member Message Text: None required.
      b. Documentation: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer and any
         of the following, as applicable:
         i.    Documentation to prove that service was not cancelled
         ii.   Documents to prove Acquirer or Merchant not notified that account was closed
         iii. Documents to prove Transaction was not previously charged back
         iv. The Transaction was not within the range of amounts approved by the Cardholder and,
             both: This provision applies to Intraregional Transactions in the LAC Region (This only
             applies in the Latin America & Caribbean Region.)
               • Cardholder was notified at least 5 calendar days prior to the Transaction Date (This
                 only applies in the Latin America & Caribbean Region.)
               • Cardholder did not reply (This only applies in the Latin America & Caribbean Region.)

ID#: 171009-171009-0007478



Additional Information - Reason Code 41
1. Issuer may supply a copy of the cancellation notice to the Acquirer or Merchant if available.
2. Proper disclosure of the Merchant's cancellation/refund policy has no bearing

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Reason Code 53 Not as Described or Defective Merchandise


Overview - Reason Code 53

Time Limit: 120 calendar days

The Cardholder received damaged or defective merchandise, or the merchandise or service did not
match what was described on the Transaction Receipt or other documentation presented at the time
of purchase.

The Cardholder received damaged or defective merchandise, or the merchandise or service did not
match what was described on the Transaction Receipt or other documentation presented at the time
of purchase or the merchandise was otherwise unsuitable for the purpose sold. This provision applies
to U.S. Domestic Transactions. (This only applies in the U.S. Region.)

ID#: 171009-171009-0007480



Chargeback Conditions - Reason Code 53

One of the following:

1. Cardholder returned merchandise or cancelled services that did not match what was described
   on the Transaction Receipt or other documentation presented at the time of purchase.
2. For a U.S. Domestic Transaction, Cardholder returned, or attempted to return, merchandise or
   cancelled services that did not match what was described on the Transaction Receipt or other
   documentation presented at the time of purchase. For a Card-Absent Environment Transaction,
   not the same as the Merchant's verbal description. (This only applies in the U.S. Region.)
3. Merchandise received by the Cardholder was damaged or defective, and Cardholder returned the
   merchandise to the Merchant.

ID#: 081010-171009-0007481



Chargeback Rights and Limitations - Reason Code 53
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)




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2. Chargeback amount is limited to the unused portion of the service or value of the returned
   merchandise.
3. Chargeback amount must not exceed original Transaction amount.
4. Effective through 15 October 2010, Issuer must wait 30 calendar days from the date the
   merchandise was returned or the service was cancelled, prior to exercising the Chargeback right.
   Does not apply if the waiting period causes Chargeback to exceed Chargeback time frame.
5. Effective 16 October 2010, Issuer must wait 15 calendar days from the date the merchandise
   was returned or the service was cancelled, prior to exercising the Chargeback right. Does not
   apply if the waiting period causes Chargeback to exceed Chargeback time frame.
6. For merchandise or services provided after the Transaction Processing Date, Chargeback time
   frame is calculated from the date the Cardholder received the merchandise or services.
7. Effective for Chargebacks processed on or after 16 April 2011, Chargeback is valid if
   returned merchandise is refused by the Merchant and Issuer can certify details of the refusal. The
   right to certify does not apply to Transactions involving Issuers or Acquirers in Visa Europe.
8. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Chargeback is valid if returned merchandise is refused by
   the Merchant and Issuer can provide evidence of refusal. (This only applies in Visa Europe.)
9. Issuer must determine that the Cardholder attempted to resolve the dispute with the Merchant.
   (Not applicable if prohibited by local law.)
10. An Issuer must not initiate a Chargeback for disputes regarding Value-Added Tax (VAT).
11. For a U.S. Domestic Transaction, Chargeback is valid if any of the following: (This only applies in
    the U.S. Region.)
      a. Effective through 15 October 2010, Issuer must wait 30 calendar days from the date the
         Cardholder returned, or attempted to return, the merchandise or cancelled the services prior
         to exercising the Chargeback right. (This only applies in the U.S. Region.)
      b. Effective 16 October 2010, Issuer must wait 15 calendar days from the date the Cardholder
         returned, or attempted to return, the merchandise or cancelled the services prior to exercising
         the Chargeback right. (This only applies in the U.S. Region.)
      c.   Chargeback is valid if returned merchandise is refused by the merchant. (This only applies in
           the U.S. Region.)
      d. If goods or services did not match, Chargeback Condition 1, Chargeback may apply to
         disputes relating to the quality of goods or services received for the following Transaction
         types: (This only applies in the U.S. Region.)
           i.    Card-Present Environment Transaction, where the merchandise or services did not
                 match the Merchant's written description provided to the Cardholder at the time of the
                 purchase, or (This only applies in the U.S. Region.)
           ii.   Card-Absent Environment Transaction, where the merchandise or services did not match
                 the Merchant's verbal description provided to the Cardholder at the time of purchase
                 (This only applies in the U.S. Region.)

ID#: 081010-171009-0007482




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Invalid Chargebacks - Reason Code 53 (Updated)

Chargeback is invalid for any of the following:

1. Effective through 30 September 2010, effective for Transactions completed on or after 1
   March 2010, for any Cash-Back portion of a Visa or Visa Electron Transaction (This only applies
   to the AP Region for Members in India and, effective 1 November 2010, Australia.) (This only
   applies in the Asia Pacific Region.)
2. Effective for Transactions completed through 15 October 2010, for a U.S. Domestic Small
   Ticket Transaction (This only applies in the U.S. Region.)
3. For a U.S. Domestic ATM Cash Disbursement Transaction (This only applies in the U.S. Region.)
4. Effective through 30 September 2010, for a U.S. Domestic Transaction, Cash-Back portion of a
   Visa Cash Back Service Transaction (This only applies in the U.S. Region.)
5. Effective 1 October 2010, for any Cash-Back portion of a Visa Cash-Back Transaction

ID#: 080411-171009-0007483



Chargeback Time Limit - Reason Code 53

One of the following:

1. 120 calendar days from one of the following:
    a. Central Processing Date of the Transaction
    b. For merchandise or services purchased on or before the Central Processing Date, the date
       Cardholder received the merchandise or services
    c.   For a Delayed Delivery Transaction, 120 calendar days from the Central Processing Date of
         the balance portion of the Transaction
2. For a U.S. Domestic Transaction, 60 calendar days from receipt date of the first Cardholder
   notification to the Issuer of the dispute, if there is evidence in the notification of previous
   negotiations between the Cardholder and the Merchant to resolve the dispute. The negotiations
   must have occurred within 120 days from the Processing Date. (This only applies in the U.S.
   Region.)

ID#: 171009-171009-0007484



Chargeback Processing Requirements - Reason Code 53

Member Message Text:

1. NOT AS DESCRIBED
2. DEFECTIVE MERCHANDISE

Documentation:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Issuer stating all of the following, as
   applicable:
    a. Date merchandise was returned or service was cancelled


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      b. Name of shipping company
      c.   Invoice/tracking number (if available)
      d. Date Merchant received the merchandise
      e. Effective for Chargebacks processed on or after 16 April 2011, in lieu of documentation,
         Issuer certification that Merchant either refused to provide a return merchandise authorization
         or informed the Cardholder not to return the merchandise, if applicable. The right to certify
         does not apply to Transactions involving Issuers or Acquirers in Visa Europe.
      f.   Cardholder attempted to resolve the dispute with the Merchant
      g. Explanation of what was not as described or defective
      h. Date Cardholder received merchandise or services, if Chargeback time frame is calculated
         from date of receipt
      i.   For a U.S. Domestic Transaction, Date merchandise was returned, or attempted to be
           returned, or service was cancelled (This only applies in the U.S. Region.)
2. Effective through 15 April 2011, proof that Merchant refused the return of merchandise, refused
   to provide a return merchandise authorization, or informed the Cardholder not to return the
   merchandise, if applicable
3. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, proof that Merchant refused the return of merchandise,
   refused to provide a return merchandise authorization, or informed the Cardholder not to return
   the merchandise, if applicable (This only applies in Visa Europe.)
4. Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions in
   Brazil, the Issuer may provide certification in lieu of the Cardholder letter (This only applies in the
   Latin America & Caribbean Region.)

ID#: 081010-171009-0007485



Representment Time Limit - Reason Code 53

45 calendar days from Central Processing Date of Chargeback

ID#: 171009-171009-0007486



Representment Processing Requirements - Reason Code 53
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
           i.    X...X (Specify the reason)
      b. Documentation: None required.




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3. Acquirer can remedy the Chargeback.
    a. Member Message Text: RETURNED MDSE NOT RECEIVED (if applicable)
    b. Documentation: Both:
         i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
         ii.   Documents to prove that the service or merchandise was correctly described or the
               merchandise was not defective

ID#: 171009-171009-0007487



Additional Information - Reason Code 53
1. For Chargeback Condition 1, the Issuer may provide a copy of the Transaction Receipt or other
   documentation containing a written description of the merchandise or services purchased, if
   available.
2. Proof of shipping does not constitute proof of receipt.
3. Merchant is responsible for goods held within its own country's customs agency.
4. A neutral 3rd party opinion is not required, but is recommended, to help the Member support its
   claim.
5. For Chargeback Condition 1 and 3, the Issuer may be required to provide proof of shipping of
   returned merchandise.
6. For a U.S. Domestic Transaction, the return of merchandise condition is met if the Merchant
   refuses to provide a return merchandise authorization or return address and the Issuer can
   provide evidence of the refusal. (This only applies in the U.S. Region.)

ID#: 010410-171009-0007488




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Reason Code 57 Fraudulent Multiple Transactions


Overview - Reason Code 57

Time Limit: 120 calendar days

Multiple Transactions occurred on a single Card at the same Merchant Outlet without the
Cardholder's permission.

ID#: 171009-171009-0007489



Chargeback Conditions - Reason Code 57

All of the following:

1. All disputed Transactions occurred at the same Merchant Outlet.
2. Cardholder acknowledges participating in at least one Transaction at the same Merchant Outlet.
3. Cardholder denies authorizing or participating in the disputed Transaction.
4. Card was in Cardholder's possession at the time of the disputed Transaction.

ID#: 171009-171009-0007490



Chargeback Rights and Limitations - Reason Code 57
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
         Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
         America & Caribbean Region.)
      e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. Effective for Transactions completed through 15 October 2010, Issuer must make a Retrieval
   Request for the disputed Transactions, excluding Small Ticket Transactions in the U.S. Region




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3. Effective for Transactions completed on or after 16 October 2010, Issuer must make a
   Retrieval Request for disputed Transactions, excluding Visa Easy Payment Service Transactions.
   For Transactions between Visa Inc. and Visa Europe, an Issuer must make a Retrieval Request
   for disputed Transactions unless the Transaction is one of the following:
    a. A Magnetic Stripe or contact Chip (Visa Europe) Small Ticket Transaction conducted at
       Merchant Category Codes 4111, 4121, 4131, 4784, 5331, 5499, 5812, 5814, 5912, 5993,
       5994, 7211, 7216, 7338, 7523, 7542, 7832, and 7841.
    b. A qualifying Contactless Transaction

ID#: 150211-171009-0007491



Invalid Chargebacks - Reason Code 57 (Updated)

Chargeback is invalid for any of the following:

1. Card-Absent Environment Transactions
2. EMV PIN Transactions
3. T&E delayed or amended charges
4. ATM Cash Disbursement
5. Emergency Cash Disbursement

ID#: 050411-171009-0007492



Chargeback Time Limit - Reason Code 57

120 calendar days from Transaction Processing Date

ID#: 171009-171009-0007493



Chargeback Processing Requirements - Reason Code 57

Member Message Text:

1. RR DATE MMDDYY, if requested Transaction Receipt not fulfilled. Documentation:

All of the following:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-2 Issuer
2. Effective through 15 April 2011, Cardholder letter
3. Effective for Chargebacks processed on or after 16 April 2011, in lieu of documentation,
   Issuer certification (the right to certify does not apply to Transactions involving Issuers or
   Acquirers in Visa Europe) that the Cardholder:




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4. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Cardholder letter that:
      a. Acknowledges participation in at least one Transaction
      b. Denies authorizing or participating in the disputed Transaction(s)
      c.   States that the Card was in the Cardholder's possession at the time the disputed Transaction
           occurred
5. Effective through 15 April 2011, if acknowledged Transaction was not processed, Issuer must
   supply the Cardholder copy of the Transaction Receipt.
6. Effective for Chargebacks processed on or after 16 April 2011, in lieu of documentation,
   Issuer certification that acknowledged Transaction was not processed. The right to certify does
   not apply to Transactions involving Issuers or Acquirers in Visa Europe.
7. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, if acknowledged Transaction was not processed, Issuer
   must supply the Cardholder copy of the Transaction Receipt.

ID#: 081010-171009-0007494



Representment Time Limit - Reason Code 57

45 calendar days from the Central Processing Date of the Chargeback

ID#: 171009-171009-0007495



Representment Rights and Limitations - Reason Code 57
1. Representment is invalid if Acquirer failed to respond to Retrieval Request or responded with a
   Nonfulfillment Message code "03" or "04." Effective for Transactions completed on or after 16
   October 2010, this condition does not apply to Visa Easy Payment Service Transactions.

ID#: 081010-171009-0007496



Representment Processing Requirements - Reason Code 57
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
           i.    X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text: None required.
      b. Documentation: All of the following:

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         i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-2 Acquirer
         ii.   Irrefutable evidence to demonstrate the Cardholder participated in the disputed
               Transactions
         iii. Evidence that Transactions were Card-Absent Environment (if applicable)
         iv. Evidence that Transactions were EMV PIN Transactions (if applicable)
         v.    Evidence that Transactions represent valid delayed or amended charges for a T&E
               Transaction

ID#: 010410-171009-0007497



Additional Information - Reason Code 57
1. The Transaction Receipts may contain different Transaction Dates and amount.
2. Visa may consider a Chargeback invalid for POS Entry Mode "90," "91," "05," or "07"
   Transactions completed more than X apart; however, Visa may take other factors into
   consideration when determining whether multiple unauthorized Transactions occurred.

ID#: 010410-171009-0007498




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Reason Code 60 Illegible Fulfillment


Overview - Reason Code 60

Time Limit: 120 calendar days

The Fulfillment supplied in response to a Retrieval Request is illegible.

ID#: 171009-171009-0007499



Chargeback Conditions - Reason Code 60

Issuer requested and received a Transaction Receipt or Substitute Transaction Receipt and the
Account Number or amount is illegible.

ID#: 010410-171009-0007500



Chargeback Rights and Limitations - Reason Code 60
1. Minimum Chargeback amount:
      a. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      b. For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
      c.   Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
           Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
           America & Caribbean Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. Chargeback is valid if the truncated or disguised Account Number is illegible
3. For an Intraregional Transaction in the LAC Region, Chargeback is valid if Request for Copy
   bearing Signature and Public and Private H&C Document is illegible (This only applies in the
   Latin America & Caribbean Region.)

ID#: 150211-171009-0007501




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Invalid Chargebacks - Reason Code 60

Chargeback is invalid for any of the following:

1. Telephone Service Transactions excluding U.S. Domestic Transactions
2. ATM Cash Disbursements
3. Effective for Transactions completed on or after 16 October 2010, Visa Easy Payment
   Service Transactions. (This provision does not apply to Transactions involving Issuers or
                              77
   Acquirers in Visa Europe).
4. If the embossed six-digit BIN of the Account Number and the embossed Cardholder name are
   legible
5. If the Acquirer provides the VisaNet record in response to a Retrieval Request to demonstrate
   that a Credit Transaction Receipt was processed
6. Effective for Transactions completed on or after 15 April 2010, EMV PIN Transactions,
   excluding Manual Cash Disbursements, Quasi-Cash Transactions, and T&E Transactions
7. Effective for Transactions completed on or after 15 August 2009 through 15 October 2010,
   Canada Domestic Proximity Payment Transactions CAD $50 or less
8. Effective for Transactions completed through 15 October 2010, U.S. Domestic Small Ticket
   Transactions
9. Effective for Transactions completed on or after 17 April 2010 through 15 October 2010,
   U.S. No Signature Required Transactions

ID#: 081010-171009-0007502



Chargeback Time Limit - Reason Code 60

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007503



Chargeback Processing Requirements - Reason Code 60

Member Message Text: RR DATE MMDDYY

Documentation: None required.

ID#: 171009-171009-0007504



Representment Time Limit - Reason Code 60

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007505

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  Effective for Transactions completed on or after 16 October 2010 between Visa Inc. and Visa Europe, Chargeback is
invalid for: (1) Magnetic Stripe or contact Chip Transactions conducted at Merchant Category Codes 4111, 4121, 4131, 4784,
5331, 5499, 5812, 5814, 5912, 5993, 5994, 7211, 7216, 7338, 7523, 7542, 7832, and 7841. (2) Proximity Payment
Transactions that qualify as (Visa Europe) Small Ticket Transactions or Visa Inc. Visa Easy Payment Service Transactions


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Representment Conditions - Reason Code 60
1. Representment is invalid if a Fulfillment was not transmitted electronically through a Visa-
   approved method

ID#: 171009-171009-0007506



Representment Processing Requirements - Reason Code 60
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
         i.    X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text: None required.
      b. Documentation: Both:
         i.    Visa Resolve Online Questionnaire or Exhibit 2E-1 Acquirer
         ii.   Legible copy of the Transaction Receipt

ID#: 171009-171009-0007507




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Reason Code 62 Counterfeit Transaction


Overview - Reason Code 62

Time Limit: 120 calendar days

A Counterfeit Card was used for a Magnetic-Stripe or Chip-initiated Transaction that received
Authorization but the Authorization Request did not include the required data, or contained altered
data or a Counterfeit Transaction occurred at a Merchant or Member location where required risk
control procedures were not followed.

ID#: 171009-171009-0007508



Chargeback Conditions - Reason Code 62 (Updated)

Transaction was completed with a Counterfeit Card and any of the following:

1. All of the following:
    a. Cardholder denies authorizing or participating in the disputed Transaction
    b. Effective for Transactions completed through 14 April 2010, Card Verification Value was
       encoded on the Magnetic Stripe or Chip of the Card in question
    c.   Effective for Transactions completed on or after 15 April 2010, one of the following:
         i.    Card Verification Value (CVV) was encoded on the Magnetic Stripe of the Card in
               question
         ii.   Integrated Circuit Card Verification Value (iCVV) was on the Magnetic-Stripe Data (MSI)
               of the Chip of the Card in question
         iii. Dynamic Card Verification Value (dCVV) can be produced by the Chip of the Card in
              question
    d. Online Authorization was obtained without transmission of the entire unaltered data on track
       1 or 2
    e. Issuer reported this Transaction as counterfeit Fraud Activity through VisaNet
    f.   Effective for Transactions completed through 14 April 2010, for a U.S. Domestic
         Transaction, Card Verification Value was encoded on the Magnetic Stripe or the Chip on the
         Card in question, or Dynamic Card Verification Value was activated on the Contactless
         Payment Card chip in question (This only applies in the U.S. Region.)
2. Cardholder denies authorizing or participating in the disputed Transaction and both of the
   following (for qualifying Transactions and effective dates, refer to "EMV Liability Shift
   Participation"):
    a. Card is a Chip Card containing a Visa or Visa Electron Smart Payment Application or an EMV
       and VIS-Compliant Plus application
    b. Card-Present Transaction did not take place at a Chip-Reading Device and was not a
       Fallback Transaction completed following correct acceptance procedures as defined in the
       Visa International Operating Regulations




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3. Both:
      a. Cardholder denies authorizing or participating in the disputed Transaction
      b. Transaction was completed with a Counterfeit Card and was a Manual Cash Disbursement or
         Quasi-Cash Transaction completed in a Face-to-Face Environment and the Merchant or
         Member failed to both:
           i.    Compare the first four digits of the embossed or printed Account Number to the four digits
                 printed below the embossed or printed Account Number
           ii.   Record the printed digits on the Transaction Receipt

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Chargeback Rights and Limitations - Reason Code 62
1. Minimum Chargeback amount:
      a. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      b. For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
      c.   Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
           Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
           America & Caribbean Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. The Issuer must meet all of the following conditions on or before the Chargeback Processing
   Date:
      a. Close the Cardholder account
      b. For Chargeback Condition 1 and 3, both of the following:
           i.    List the Account Number on the Exception File with a Pickup Response, for a minimum of
                 30 calendar days
           ii.   Effective for Transactions completed through 14 April 2010, report the Fraud Activity
                 through VisaNet
           iii. Effective for Transactions completed on or after 15 April 2010, report the Fraud
                Activity through VisaNet using Fraud Type code 4
      c.   For Chargeback Condition 2, both of the following:
           i.    List the Account Number on the Exception File with a Pickup Response, for a minimum of
                 60 calendar days
           ii.   Report the Fraud Activity through VisaNet using Fraud Type code 4

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Invalid Chargebacks - Reason Code 62 (Updated)

Chargeback is invalid for any of the following:

1. For Chargeback Condition 1, if either:
    a. The V.I.P. System Authorization Record POS Entry Mode code value is "05," "07," 90," or
       "91"
    b. All data elements that create the EMV Online Card Authentication Cryptogram are contained
       in the message
2. For Chargeback Condition 1, if any of the following:
    a. Transaction is key-entered
    b. Transaction is Chip-initiated and offline-authorized
    c.   The Issuer was not a Card Verification Service participant at the time the Transaction
         occurred
    d. If the Card Verification Value was not encoded on the Magnetic Stripe or the Chip of the Card
       in question.
3. For Chargeback Condition 2, if any of the following:
    a. For all Chip-initiated Transactions
    b. The Authorization record contains a POS Entry Mode code value of "90" and the Service
       Code encoded on the Magnetic Stripe of the Card does not indicate the presence of a Chip
4. For Chargeback Condition 3, an ATM Transaction
5. An Emergency Cash Disbursement
6. For Chargeback Condition 1 and 3, Transactions completed with a Proprietary Card bearing the
   Plus Symbol. For U.S. Domestic Plus Transactions, refer to the Plus System Inc. Operating
   Regulations.

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Chargeback Time Limit - Reason Code 62

120 calendar days from the Transaction Processing Date

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Chargeback Processing Requirements - Reason Code 62 (Updated)

Member Message Text:

1. For Chargeback Condition 1
      a. For an ATM Transaction: CH DISP, CVV ENCODED, FRD RPT, ISS CVS PARTICIPANT
      b. Documentation: For an ATM Transaction, none required.
         For all other Transactions: All of the following:
         i.    Visa Resolve Online Questionnaire or Exhibit 2E-2 Issuer certifying:
               •   Card Verification Value was encoded on the Card in question
               •   Issuer was a participant in the Card Verification Service at the time of Authorization
         ii.   Effective through 15 April 2011, Cardholder letter denying authorization or participation
               in the Transaction
         iii. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
              involving Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or
              participation in the Transaction (This only applies in Visa Europe.)
         iv. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011,
             for Transactions not involving Issuers or Acquirers in Visa Europe, either Cardholder
             letter denying authorization or participation in the Transaction, or:
               •   Certification that the Cardholder denies authorization or participation in the
                   Transaction
               •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
               •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                   Type Code 4, “Issuer-Reported Counterfeit”
               •   Certification of the date Account Number was listed on the Exception File
         v.    Effective for Chargebacks processed on or after 15 October 2011, for Transactions
               not involving Issuers or Acquirers in Visa Europe:
               •   Cardholder letter denying authorization or participation in the Transaction, or
                   certification that the Cardholder denies authorization or participation in the
                   Transaction
               •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
               •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                   Type Code 4, “Issuer-Reported Counterfeit”
               •   Certification of the date Account Number was listed on the Exception File
         vi. Effective for Chargebacks processed on or after 1 July 2010, for Domestic
             Transactions in Brazil, the Issuer may provide certification in lieu of the Cardholder letter.
             (This only applies in the Latin America & Caribbean Region.)




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2. For Chargeback Condition 2:
    a. Member Message Text: EMV CARD, NON EMV DEVICE
    b. Documentation or certification using Visa Resolve Online Questionnaire or Exhibit 2E-2
       Issuer: All of the following:
         i.    Effective through 15 April 2011, Cardholder letter denying Authorization or participation
               in the Transaction
         ii.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions
               involving Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or
               participation in the Transaction (This only applies in Visa Europe.)
         iii. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011,
              for Transactions not involving Issuers or Acquirers in Visa Europe, either Cardholder
              letter denying authorization or participation in the Transaction, or:
               •   Certification that the Cardholder denies authorization or participation in the
                   Transaction
               •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
               •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                   Type Code 4, "Issuer-Reported Counterfeit"
               •   Certification of the date Account Number was listed on the Exception File
         iv. Effective for Chargebacks processed on or after 15 October 2011, for Transactions
             not involving Issuers or Acquirers in Visa Europe:
               •   Cardholder letter denying authorization or participation in the Transaction, or
                   certification that Cardholder denies authorization or participation in the Transaction
               •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
               •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                   Type Code 4, "Issuer-Reported Counterfeit"
               •   Certification of the date Account Number was listed on the Exception File
         v.    Effective for Chargebacks processed on or after 1 July 2010, for Domestic
               Transactions in Brazil, the Issuer may provide certification in lieu of the Cardholder letter.
               (This only applies in the Latin America & Caribbean Region.)
3. For Chargeback Condition 3:
    a. Member Message Text: For a Manual Cash Disbursement or Quasi-Cash Transaction:
       EMBOSSED/PRINTED DIGITS NOT COMPARED
    b. Documentation or certification using Visa Resolve Online Questionnaire or Exhibit 2E-2
       Issuer: All of the following:
         i.    Legible Transaction Receipt copy
         ii.   Effective through 15 April 2011, Cardholder letter denying authorization or participation
               in the Transaction
         iii. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
              involving Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or
              participation in the Transaction (This only applies in Visa Europe.)




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           iv. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011,
               for Transactions not involving Issuers or Acquirers in Visa Europe, either Cardholder
               letter denying authorization or participation in the Transaction, or:
                •   Certification that the Cardholder denies authorization or participation in the
                    Transaction
                •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
                •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                    Type Code 4, "Issuer-Reported Counterfeit"
                •   Certification of the date Account Number was listed on the Exception File
           v.   Effective for Chargebacks processed on or after 15 October 2011, for Transactions
                not involving Issuers or Acquirers in Visa Europe:
                •   Cardholder letter denying authorization or participation in the Transaction, or
                    certification that Cardholder denies authorization or participation in the Transaction
                •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
                •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                    Type Code 4, "Issuer-Reported Counterfeit"
                •   Certification of the date Account Number was listed on the Exception File
           vi. Effective for Chargebacks processed on or after 1 July 2010, for Domestic
               Transactions in Brazil, the Issuer may provide certification in lieu of the Cardholder letter.
               (This only applies in the Latin America & Caribbean Region.)

ID#: 090411-171009-0007513



Representment Time Limit - Reason Code 62

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007514



Representment Rights and Limitations - Reason Code 62 (Updated)
1. For Chargeback Condition 1 and 2, the Acquirer or Load Acquirer must have been certified as a
   Card Verification Service participant at the time the Authorization occurred.
2. For a Representment due to an Issuer failing to meet the requirements specified in Chargeback
   Rights and Limitations 2, the Acquirer must provide information/documentation to support this
   claim such as evidence indicating Card Account number was not listed on the Exception File or
   account was not closed or Transaction was not reported as fraud.
3. Effective for Chargebacks processed on or after 16 April 2011, the Acquirer must not
   represent a Transaction because of the failure by the Issuer to certify the following: (The right to
   certify does not apply to Transactions involving Issuers or Acquirers in Visa Europe.)
      a. Card status at the time of the Transaction (lost, stolen, counterfeit)
      b. Date Fraud Activity was reported through VisaNet
      c.   Date Account Number was listed on the Exception File

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Representment Processing Requirements - Reason Code 62 (Updated)
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. For Chargeback Condition 1:
         i.    Member Message Text:
               •   AUTH DATE MMDDYY CODE X...X
               •   POS XX (Specify POS Entry Mode code value)
               •   AUTHENTICATION CRYPT IN AUTH
         ii.   Documentation: As applicable
    b. For Chargeback Condition 2:
         i.    Member Message Text (for qualifying Transactions and effective dates, refer to "EMV
               Liability Shift Participation")::
               •   X...X (Specify the reason)
               •   EMV DEVICE, POS 90, NON CHIP SVCE CODE
               •   EXCP FILE NOT LSTD, FRD NOT RPT, ACC NOT CLSD
         ii.   Documentation: As applicable.
    c.   For Chargeback Condition 3:
         i.    Member Message Text:
               •   X...X (Specify the reason)
               •   EXCP FILE NOT LSTD, FRD NOT RPT, ACC NOT CLSD
         ii.   Documentation: As applicable.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text:
         i.    X...X (Specify the reason)

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Reason Code 70 Card Recovery Bulletin or Exception File


Overview - Reason Code 70

Time Limit: 75 calendar days

A Merchant did not check the Card Recovery Bulletin or Exception File for a Transaction with an
amount that was below the Floor Limit, excluding U.S. Domestic Transactions.

ID#: 171009-171009-0007518



Chargeback Conditions - Reason Code 70
1. All of the following:
      a. Transaction was below the Merchant's Floor Limit
      b. Merchant did not obtain Authorization
      c.   Account Number was listed in the Card Recovery Bulletin in the jurisdiction of the Merchant's
           Visa Regional Office on the Transaction Date
2. All of the following:
      a. Transaction was below the Merchant's Floor Limit
      b. Merchant did not obtain Authorization
      c.   Merchant did not perform Account Number Verification
      d. Both:
           i.    Transaction originated at a U.S. Merchant Outlet
           ii.   Account Number was listed on the Exception File with a Pickup Response by 4 a.m.
                 Greenwich Mean Time on the date preceding the Transaction Date

ID#: 171009-171009-0007519



Chargeback Rights and Limitations - Reason Code 70
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
         Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
         America & Caribbean Region.)
      e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)



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2. If the Transaction Date was not transmitted in the Clearing Record, Chargeback is valid if one of
   the following:
    a. For Chargeback Condition 1, Account Number was listed on the Card Recovery Bulletin
       within 10 calendar days prior to the Transaction Processing Date
    b. For Chargeback Condition 2, Account Number Verification was performed or the Account
       Number was listed on the Exception File within 10 calendar days prior to the Transaction
       Processing Date
3. Effective for Transactions completed through 30 September 2010, for Canada Domestic
   Chip-initiated Transactions, using Offline Authorizations, Chargeback does not apply if either one
   or both of the following conditions are met: (This only applies in the Canada Region.)
    a. The Transaction was verified using the CVM communicated as the Issuer's preferred CVM by
       the Cardholder Verification Method List (This only applies in the Canada Region.)
    b. The Transaction was verified using Online or Offline PIN verification (This only applies in the
       Canada Region.)

ID#: 150211-171009-0007520



Invalid Chargebacks - Reason Code 70 (Updated)

Chargeback is invalid for any of the following:

1. For Chargeback Condition 1, Transactions occurred at a Chip-Reading Device (for qualifying
   Transactions and effective dates, refer to "EMV Liability Shift Participation")
2. Transactions authorized through Emergency Payment Authorization Service
3. T&E Transaction if Account Number was not listed on the Exception File with a negative
   response on the Chargeback Processing Date

ID#: 050411-171009-0007521



Chargeback Time Limit - Reason Code 70

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007522



Chargeback Processing Requirements - Reason Code 70
1. For Chargeback Condition 1:
    a. Member Message Text:
         i.   LISTED CRB DATE MMDDYY CRB REGION XX
    b. Documentation: None required.




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2. For Chargeback Condition 2:
      a. Member Message Text:
         i.    LISTED EXCEPT FILE MMDDYY
      b. Documentation: None required.

ID#: 171009-171009-0007523



Representment Time Limit - Reason Code 70

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007524



Representment Processing Requirements - Reason Code 70
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X(23 or 24 digits)
         ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
         i.    X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. For Chargeback Condition 1:
         i.    Member Message Text: As applicable:
               •   ACCT NUM NOT ON CRB TRAN DATE MMDDYY
               •   CHECK-IN DATE MMDDYY
               •   RENTAL DATE MMDDYY
               •   EMBARK DATE MMDDYY
               •   AUTH DATE MMDDYY CODE X...X
         ii.   Documentation: Evidence that the Transaction was Chip-initiated and offline-authorized,
               if applicable.
      b. For Chargeback Condition 2:
         i.    Member Message Text: As applicable:
                   ACCT NUM NOT ON EXCPT FILE TRAN DATE MMDDYY

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Additional Information - Reason Code 70 (Updated)
1. Chargeback is valid whether or not a specific Account Number in a blocked BIN appears in the
   Card Recovery Bulletin or Exception File.
2. For a T&E Transaction, the Transaction date is the check-in, car rental, or embarkation date.
3. If the Member's Authorization records conflicts, the V.I.P. System Authorization record will prevail
   at Arbitration.

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Reason Code 71 Declined Authorization


Overview - Reason Code 71

Time Limit: 75 calendar days

A Merchant completed a Transaction after an Authorization Request received a Decline Response.

ID#: 171009-171009-0007528



Chargeback Conditions - Reason Code 71

One of the following:

1. Authorization Request received a Decline or Pickup Response and a Merchant completed the
   Transaction.
2. Both:
      a. Authorization Request for a Magnetic-Stripe read or Chip-initiated Transaction received a
         Decline, Pickup, or Referral Response and subsequent Authorization was obtained by a
         means other than Voice Authorization and Merchant completed the Transaction
      b. Transaction is Counterfeit
3. All of the following:
      a. Chip-Reading Device transmitted all data elements that create the EMV-Online Card
         Authentication Cryptogram with a POS Entry Mode value of "05"
      b. Authorization Response was a Referral Response
      c.   Authorization Request was approved by means other than Voice Authorization
      d. Approved Transaction is fraudulent
      e. Issuer reported the Transaction as Fraud Activity through VisaNet
      f.   Account Number was resident on the Exception File with a Pickup Response on the
           Processing Date of the Chargeback, and was on the Exception File for a total period of at
           least 60 calendar days from the date of listing

ID#: 171009-171009-0007529



Chargeback Rights and Limitations - Reason Code 71
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)




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    c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)
2. For Hotels, Car Rental Companies, and Cruise Lines that rendered services, Chargeback is
   limited to the amount over the Floor Limit if the Account Number was not listed in the Card
   Recovery Bulletin on the rental, check-in, or embarkation date, excluding U.S. Domestic
   Transactions.
3. For a U.S. Domestic T&E Transaction, Account Number must also be listed on the Exception File
   with a Negative Response on the Chargeback Central Processing Date and remain on the
   Exception file with a Negative Response for at least 90 calendar days. (This only applies in the
   U.S. Region.)
4. For a U.S. Domestic lodging Transaction where services were rendered, Chargeback is limited to
   the amount over the Chargeback Protection Limit if the Account Number was not listed on the
   Exception File with a Pickup Response at 8 p.m. Pacific Time on the date preceding the
   Transaction initiation date. (This only applies in the U.S. Region.)
5. Chargeback is valid if both of the following apply:
    a. Authorization Request was processed through the International Automated Referral Service
    b. Decline Response was provided
6. For an Intraregional Transaction in the LAC Region, a H&C Merchant that provided services, the
   Chargeback amount is the amount above the Floor Limit if the Account Number was not listed in
   the Card Recovery Bulletin on the patient's check-in date. (This only applies in the Latin America
   & Caribbean Region.)

ID#: 081010-171009-0007530



Invalid Chargebacks - Reason Code 71 (Updated)

Chargeback is invalid for any of the following:

1. If Authorization was obtained as a result of Visa Stand-In Processing
2. For a T&E Transaction if the Account Number was not listed on the Exception File with a negative
   response on the Chargeback Processing Date
3. For Transaction authorized through the Emergency Payment Authorization Service
4. For a U.S. Domestic Transaction, Chargeback is invalid for any of the following: (This only applies
   in the U.S. Region.)
    a. CPS Transaction (This only applies in the U.S. Region.)
    b. ATM Cash Disbursement (This only applies in the U.S. Region.)
    c.   Transactions processed according to assured Transaction Response procedures (This only
         applies in the U.S. Region.)
    d. Transactions that are Chip-initiated and authorized offline (This only applies in the U.S.
       Region.)



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      e. For a T&E Transaction if the Account Number was not listed on the Exception File with a
         negative response for at least 90 calendar days from the Chargeback Processing Date (This
         only applies in the U.S. Region.)
      f.   For a Transaction where Authorization was not required and both: (This only applies in the
           U.S. Region.)
           i.    Merchant initiated an Authorization Request because it was suspicious (This only applies
                 in the U.S. Region.)
           ii.   Merchandise or services were expended prior to receiving a Negative Response (This
                 only applies in the U.S. Region.)
      g. Effective through 30 June 2010, for a Store and Forward Transaction that received both:
         (This only applies in the U.S. Region.)
           i.    One of the following Negative Responses: (This only applies in the U.S. Region.)
                 •   "Insufficient funds" (Response code "51") (This only applies in the U.S. Region.)
                 •   "Exceeds approval amount limit" (Response code "61") (This only applies in the U.S.
                     Region.)
                 •   "Exceeds withdrawal frequency limit" (Response code "65") (This only applies in the
                     U.S. Region.)
           ii.   A subsequent Approval Response within 9 calendar days of the Transaction Date (This
                 only applies in the U.S. Region.)
5. Effective for Transactions completed on or after 1 August 2010, for Chargeback Condition 1,
   if Authorization was obtained after a Decline or Referral Response was received for the same
              78
   purchase

ID#: 050411-171009-0007532



Chargeback Time Limit - Reason Code 71

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007534



Chargeback Processing Requirements - Reason Code 71
1. For Chargeback Condition 1 or 3:
      a. Member Message Text:
           i. AUTH DECLINED MMDDYY
2. For Chargeback Condition 2:
      a. Member Message Text:
           i.    ISS CERT TX COUNTERFEIT

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  This provision does not include Transactions that receive an Authorization Pickup Response of "04," "07," "41," or "43" or
Authorization Requests submitted more than 12 hours after the submission of the first Authorization Request.


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Documentation - Reason Code 71

Any of the following, as applicable:

For Chargeback Condition 2, either of the following:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Issuer stating all of the following:
    a. Date and time the call was received from the International Automated Referral Service
    b. Account Number
    c.   Transaction amount
    d. Issuer response
2. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Issuer with Issuer certification that the
   approved Transaction was Counterfeit and both the initial and subsequent Authorization
   Requests contained the following identical data:
    a. Account Number
    b. Transaction Date
    c.   Transaction amount
    d. Merchant identification

For Chargeback Condition 3:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Issuer with Issuer certification of all of
   the following:
    a. The approved Transaction was fraudulent
    b. Both the initial and subsequent Authorization Requests contained the following identical data:
         i.    Account Number
         ii.   Transaction Date
         iii. Transaction amount
         iv. Merchant identification
    c.   The Account Number was resident on the Exception File with a Pickup Response on the
         Processing Date of the Chargeback, and was on the Exception File for a total period of at
         least 60 calendar days from the date of listing.

ID#: 171009-171009-0007531



Representment Time Limit - Reason Code 71

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007536




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Representment Processing Requirements - Reason Code 71
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
          i.    X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text:
          i.    AUTH DATE MMDDYY CODE X...X
          ii.   TRAN IS MMDDYY NOT MMDDYY
      b. Documentation:
          i.    For a dispute involving special Authorization procedures, both:
                •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Acquirer
                •   Visa Resolve Online Dispute Questionnaire or Certification of Special Authorization
                    Representment Amount Exhibit 3C), excluding U.S. Domestic Transactions
          ii.   Evidence that the Transaction was Chip-initiated and offline-authorized, if applicable
          iii. For a Intraregional Transaction in the LAC Region, Chargeback Condition 3, Supporting
               Documents to Issuer, Certification of Authorization Representment Amount for Public and
               Private Hospitals (This only applies in the Latin America & Caribbean Region.)

ID#: 171009-171009-0007537


Additional Information - Reason Code 71
1. Chargeback is valid for Transactions above or below the Floor Limit when a Decline Response
   was received.
2. For Chargeback Condition 2, the Issuer may provide a copy of either:
      a. International Automated Referral Service log reflecting the Issuer's Decline Response
      b. Issuer's internal Authorization log containing the following elements:
          i.    Date and time the call was received from the International Automated Referral Service
          ii.   Account Number
          iii. Transaction amount
          iv. Issuer response




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3. Special Authorization procedures are allowed for Lodging Merchants, Cruise Line Merchants, and
   Car Rental.
4. If the Member's Authorization records conflict, the V.I.P. System Authorization record will prevail
   at Arbitration.

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Reason Code 72 No Authorization


Overview - Reason Code 72

Time Limit: 75 calendar days

Authorization was required for a Transaction, but the Merchant did not obtain proper Authorization.

ID#: 171009-171009-0007540



Chargeback Conditions - Reason Code 72
1. Transaction exceeded the Floor Limit and Authorization was not obtained on the Transaction
   Date.
2. Authorization was obtained using invalid or incorrect data, or Merchant Category Code used in
   the V.I.P. System Authorization Request does not match the Merchant Category Code in the
   Clearing Record of the first Presentment for the same Transaction.

ID#: 171009-171009-0007541



Chargeback Rights and Limitations - Reason Code 72 (Updated)
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
         Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
         America & Caribbean Region.)
      e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transaction in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. Chargeback is valid for any of the following:
      a. Only for the amount of the Transaction that exceeds the Floor Limit if both:
           i.    Services were rendered for a Hotel, Car Rental Company, or Cruise Line
           ii.   Account Number was not on the Card Recovery Bulletin on the Transaction Date
      b. A Chip-initiated, Offline Authorized Transaction for an amount exceeding the Merchant’s Chip
         Floor Limit
      c.   Effective for Transactions completed on or after 15 April 2010, a Chip-initiated
           Transaction that was cleared with an Authorization Request Cryptogram (ARQC) that did not
           receive an approval response to an Online Authorization request from the Issuer or the
           Issuer’s agent
      d. For an Automated Fuel Dispenser, for the amount exceeding one of the following:


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          i.    Amount authorized by the Issuer
          ii.   For an EMV PIN Transaction, US $100, or local currency equivalent, if a Status Check
                Authorization was obtained
          iii. For all other Transactions, US $75 or local currency equivalent, if a Status Check
               Authorization was obtained
          iv. For a U.S. Domestic Visa Fleet Card Transaction, US $150, if a Status Check
              Authorization was obtained (This only applies in the U.S. Region.)
     e. For a Mail/Phone Order or Electronic Commerce Transaction, Authorization is valid if either:
          i.    Transaction amount is within 15% of the authorized amount, if the additional amount
                represents shipping cost
          ii.   Authorization was obtained within 7 calendar days of the Transaction Date
3. For a restaurant, excluding Domestic Transactions in Brazil completed on or after 1 July 2010,
   if the Transaction amount is more than 20% greater than the authorized amount, Issuer may
   charge back only the amount that exceeds the additional 20%.
4. If Authorization was obtained for an amount less than the Transaction amount, Chargeback is
   limited only to the amount that was not authorized.
5. If a Partial Authorization was obtained for an amount less than the Transaction amount,
   Chargeback is limited only to the amount that was not authorized if the Clearing Record includes
   the Authorization Code.
6. Chargeback is valid if the Transaction required Authorization and the Authorization was obtained,
   but subsequently reversed.
7. Authorization is invalid for Fallback Transactions where the appropriate values identifying the
   Transaction as a Fallback Transaction are not included in the Authorization message. For
   Fallback Transactions, the Merchant Floor Limit is zero. Appropriate values to indicate a Fallback
   Transaction must include but are not limited to the following:
     a. VIP Field 22 - POS Entry Mode Code: Values 01, 02 or 90
     b. VIP Field 60, Position 2 - Terminal Entry Capability
     c.   Where VIP Field 22 Value =, Field 35 - Service Code
     d. Where VIP Field 22 Value =, Field 25 - POS Condition Code
8. For Chargeback Condition 2, all of the following:
     a. Chargeback is valid for the entire Transaction amount
     b. Chargeback applies when the Authorization Request and Clearing Record are processed by
        either the same or different Acquirers
     c.   Chargeback does not apply to Transactions Authorized with Merchant Category Codes 9701
          or 9702
     d. Authorization is invalid if Merchant used invalid or incorrect Transaction data, as specified in
        the VisaNet manuals, such as one of the following:
          i.    Incorrect Transaction Date
          ii.   Incorrect Merchant Category Code
          iii. Incorrect indicator for the Merchant or Transaction type
          iv. Incorrect country code/state or special condition indicator

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   Effective for Transactions completed through 31 March 2009, for Transactions involving Issuers or Acquirers in the
jurisdiction of Visa Europe, Chargeback is valid for the entire transaction amount.


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9. For an Intraregional Transaction in the LAC Region, a H&C Merchant that provided services, the
   Chargeback is valid only for the amount above the Floor Limit if the Account Number was not
   listed in the Card Recovery Bulletin on the date the Transaction was initiated (This only applies in
   the Latin America & Caribbean Region.)
10. For U.S. Domestic Transactions, Chargeback is valid as follows: (This only applies in the U.S.
    Region.)
      a. For a Transaction with one of the following Merchant Category Codes: (This only applies in
         the U.S. Region.)
           i.    Taxicabs and Limousines (4121) (This only applies in the U.S. Region.)
           ii.   Bars and Taverns (5813) (This only applies in the U.S. Region.)
           iii. Beauty and Barber Shops (7230) (This only applies in the U.S. Region.)
           iv. Health and Beauty Spas (7298) (This only applies in the U.S. Region.)
      b. If the Merchant received a Partial Authorization, only the amount exceeding the Partial
         Authorization amount. (This only applies in the U.S. Region.)
      c.   For lodging, cruise line, or car rental Transactions where services were rendered, Issuer may
           charge back for either: (This only applies in the U.S. Region.)
           i.    The amount for which Authorization was not obtained or (This only applies in the U.S.
                 Region.)
           ii.   For a Lodging Merchant, the amount over the Merchant's Chargeback Protection Limit of
                 15% (This only applies in the U.S. Region.)
      d. For a Transaction completed by a Merchant accepting Partial Authorizations, if the
         Transaction amount is greater than the amount approved in the Partial Authorization, Issuer
         may charge back the amount exceeding the Partial Authorization amount. (This only applies
         in the U.S. Region.)
      e. For a Transaction that received an Electronic Interchange Reimbursement Fee, Chargeback
         is valid if Transaction amount is below the Issuer Limit and both: (This only applies in the U.S.
         Region.)
           i.    Account Number was listed on the Exception File on or before 8 p.m. Pacific Time on the
                 calendar day preceding the Transaction Date (This only applies in the U.S. Region.)
           ii.   Exception File response indicated that Card was invalid (This only applies in the U.S.
                 Region.)
      f.   Chargeback is valid if the Transaction required Authorization and the Authorization was
           obtained, but subsequently reversed for the full amount. (This only applies in the U.S.
           Region.)
      g. Issuer must verify that Transaction was not authorized and that every possibility of honoring
         the Transaction Receipt has been explored (This only applies in the U.S. Region.)
      h. For T&E Transactions, Account Number must also be listed on the Exception File with a
         Negative Response on the Chargeback Central Processing Date and remain on the
         Exception file with a Negative Response for at least 90 calendar days from the Chargeback
         Central Processing Date. (This only applies in the U.S. Region.)

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Invalid Chargebacks - Reason Code 72

Chargeback is invalid for any of the following:
                                                             80
1. For Cardholder-Activated Transaction Type A
2. For any ATM Cash Disbursement
3. For Transactions authorized through the Emergency Payment Authorization Services
4. For a T&E Transaction if the Account Number was not listed on the Exception File with a negative
   response on the Chargeback Processing Date
5. If any of the following apply:
     a. Authorization was processed through the International Automated Referral Service
     b. Transaction was authorized by Stand-In Processing
     c.   Authorized amount is greater than the Transaction amount
6. For an Automated Fuel Dispenser, excluding Transactions involving Issuers and Acquirers in Visa
   Europe, if both:
     a. Status Check Authorization was obtained
     b. Transaction amount is one of the following:
          i.    For an EMV PIN Transaction, US $100 or less, or local currency equivalent
          ii.   For all other Transactions, US $75 or less, or local currency equivalent
          iii. For a U.S. Domestic Visa Fleet Card Transaction, US $150 or less, or local currency
               equivalent (This only applies in the U.S. Region.)
7. If the Transaction and Billing Currencies are different, and the Transaction amount is within 10%
   of the Authorization amount (to allow for currency fluctuation), excluding U.S. Domestic
   Transactions
8. If the Cardholder Authentication Verification Value was not validated during Authorization of an
   Electronic Commerce Transaction
9. For a U.S. Domestic Transaction, Chargeback is invalid for any of the following: (This only applies
   in the U.S. Region.)
     a. For any Limited-Amount Terminal Transaction (This only applies in the U.S. Region.)
     b. If a Transaction where a Partial Authorization was obtained and both: (This only applies in the
        U.S. Region.)
          i.    Partial Authorization indicator was present in the Authorization Request (This only applies
                in the U.S. Region.)
          ii.   Transaction amount does not exceed the amount in the Partial Authorization Response
                (This only applies in the U.S. Region.)




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  Effective for Transactions completed through 31 March 2009, for Transactions involving Issuers or Acquirers in Visa Europe,
Chargeback is valid for Cardholder-Activated Transaction Type A.


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      c.   An Online Check Card Transaction completed at an Automated Fuel Dispenser, if all of the
           following: (This only applies in the U.S. Region.)
           i.    Estimated Transaction amount did not exceed US $75 (This only applies in the U.S.
                 Region.)
           ii.   Authorization was obtained for an amount based on the estimated Transaction amount
                 (This only applies in the U.S. Region.)
           iii. Transaction amount did not exceed the estimated amount (This only applies in the U.S.
                 Region.)
      d. An Online Check Card Transaction completed at an Automated Fuel Dispenser if the final
         Transaction amount was processed within 2 hours of either the Status Check or the
         estimated Transaction amount Approval (This only applies in the U.S. Region.)
      e. A Store and Forward Transaction that receives both: (This only applies in the U.S. Region.)
           i.    One of the following Negative Responses: (This only applies in the U.S. Region.)
                 •   "Insufficient funds" (Response Code "51") (This only applies in the U.S. Region.)
                 •   "Exceeds approval amount limit" (Response Code "61") (This only applies in the U.S.
                     Region.)
                 •   "Exceeds withdrawal frequency limit" (Response code "65") (This only applies in the
                     U.S. Region.)
           ii.   A subsequent Approval Response within 9 calendar days of the Transaction Date (This
                 only applies in the U.S. Region.)
      f.   For Manual Cash Disbursements that exceed US $5,000 (This only applies in the U.S.
           Region.)

ID#: 081010-171009-0007543



Chargeback Time Limit - Reason Code 72

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007544



Chargeback Processing Requirements - Reason Code 72
1. For Chargeback Condition 1:
      a. Member Message Text, as applicable:
           i.    NO AUTHORIZATION
           ii.   EMV CARD, NO AUTH, EXCD CHIP FLOOR LIMIT
           iii. EMV CARD, INVALID FALLBACK DATA
           iv. TRAN EXCEEDS AUTH AMOUNT
      b. Documentation: None required.
2. For Chargeback Condition 2
      a. Member Message Text:
           i.    AUTH OBTAINED USING INVALID DATA



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    b. Documentation:
         i.    Completed Visa Resolve Online Questionnaire or Issuer Chargeback/Acquirer
               Representment Form - Non-Matching Merchant Category Code including the Chargeback
               Reference Number, if used.
         ii.   Effective through 15 April 2011, documentation to support the Issuer's claim that the
               Transaction would have been declined if Transaction data had been provided in the
               Authorization Request.
         iii. Effective for Chargebacks processed on or after 16 April 2011, in lieu of
              documentation, Issuer certification that the Transaction would have been declined if
              Transaction data had been provided in the Authorization Request. The right to certify
              does not apply to Transactions involving Issuers or Acquirers in Visa Europe.
         iv. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
             involving Issuers or Acquirers in Visa Europe, documentation to support the Issuer's
             claim that the Transaction would have been declined if Transaction data had been
             provided in the Authorization Request. (This only applies in Visa Europe.)

ID#: 081010-171009-0007545



Representment Time Limit - Reason Code 72
45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007546



Representment Conditions - Reason Code 72 (Updated)
1. For a T&E Transaction where special Authorization procedures were followed, Representment is
   limited to the sum of the Authorization amounts plus 15%. This total must not exceed the
   Transaction amount.
2. One of the following:
    a. Chargeback is improper or invalid or credit was processed
    b. Merchant obtained Authorization on the Transaction Date
    c.   Merchant obtained Authorization for a Mail/Phone Order or Electronic Commerce Transaction
         within 7 calendar days prior to the Transaction Date and merchandise was shipped or
         delivered
    d. Restaurant Transaction amount exceeds Authorization amount by 20% or less, excluding
       Domestic Transactions in Brazil completed on or after 1 July 2010
    e. For a T&E Transaction, Merchant obtained valid Authorization between the dates that the
       Transaction was initiated and completed, using special Authorization procedures
    f.   Transaction authorized, except for Transactions authorized using V.I.P. System emergency
         procedures
    g. Merchant obtained Authorization using correct Transaction data
    h. For a U.S. Domestic Transaction, Merchant obtained an Approval Response for a Store and
       Forward Transaction within 9 calendar days of the Transaction Date. (This only applies in the
       U.S. Region.)

ID#: 050411-171009-0007547




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Representment Rights and Limitations - Reason Code 72 (Updated)
1. If special Authorization procedures used, Representment Condition 2e, Representment is limited
   to the sum of the Authorization amounts plus 15%. This total must not exceed the Transaction
   amount.
2. If special Authorization procedures used, Representment Condition 2e, and if internal
   Authorization records conflict, the Acquirer must provide Transaction Receipt or Substitute
   Transaction Receipt.
3. For a U.S. Domestic Transaction, if an Electronic Interchange Reimbursement Fee was not
   processed as specified, Acquirer must not represent the Transaction at the Standard Interchange
   Reimbursement Fee rate. Acquirer is liable for the Transaction. (This only applies in the U.S.
   Region.)

ID#: 050411-171009-0007549



Representment Processing Requirements - Reason Code 72
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
         i.    X...X (Specify the reason)
         ii.   EMV CARD, VALID FALLBACK DATA
         iii. NOT AN EMV CARD, NON EMV DEVICE
      b. Documentation: As applicable.
3. Acquirer can remedy the Chargeback.
      a. For Chargeback Condition 1:
         i.    Member Message Text:
               •   AUTH DATE MMDDYY CODE X...X AMT $XXX
               •   TRAN DATE IS MMDDYY NOT MMDDYY
               •   If a U.S. Domestic Mail/Phone Order or Electronic Commerce Transaction,
                   Representment Condition 2c: MO/TO (or EC) ORDER DATE MMDDYY CODE
                   XXXXX AMT $XXXX (This only applies in the U.S. Region.)
               •   For a U.S. Domestic Transaction, if Representment Condition 2d: MERCHANT IS
                   RESTAURANT MMDDYY CODE XXXXX AMT $XXXX (This only applies in the U.S.
                   Region.)
         i.    Documentation: For a dispute involving special Authorization procedures, both:
               •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Acquirer
               •   Certification of Special Authorization Representment Amount (Exhibit 3C)
               •   Any of the following, as applicable:



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                   –    For a U.S. Domestic Transaction, if necessary, documentation or information on
                        the Visa Resolve Online Dispute Resolution Questionnaire to prove (This only
                        applies in the U.S. Region.)
                   –    For a U.S. Domestic Transaction, if special Authorization procedures used,
                        Representment Condition 2e, Acquirer certification that Merchant used special
                        Authorization procedures. (This only applies in the U.S. Region.)
                   –    For a U.S. Domestic Transaction, if special Authorization procedures used and
                        Authorization records conflict, Representment Rights and Limitations 2,
                        Transaction Receipt or Substitute Transaction Receipt to prove no conflict with
                        internal (This only applies in the U.S. Region.)
                   –    For Intraregional H&C Transactions in the LAC Region, Certification of
                        Authorization Representment Amount for Public and Private Hospitals (Exhibit
                        LA-3) (This only applies in the Latin America & Caribbean Region.)
    b. For Chargeback Condition 2:
         i.    Member Message Text:
               •   None
         ii.   Documentation:
               •   Visa Resolve Online Questionnaire
               •   V.I.P. Transaction Research Service Transaction Detail Report (available from Visa)
                   and the Clearing Record of the First Presentment

ID#: 171009-171009-0007548



Additional Information - Reason Code 72 (Updated)
1. A 20% variance is allowed to restaurants in consideration of a gratuity, excluding Domestic
   Transactions in Brazil completed on or after 1 July 2010
2. For Chargeback Condition 2, an Issuer must include documentation supporting the Issuer's claim
   that the Transaction would have been declined if correct Transaction data had been provided in
   the Authorization Request.
3. Special Authorization procedures are allowed for Lodging, Cruise Line, and Car Rental
   Transactions. Any Authorization obtained for a T&E Transaction between the Transaction
   initiation and completion dates is valid.
4. When an Issuer's and Acquirer's Authorization records differ, the Visa System records will prevail.

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Reason Code 73 Expired Card


Overview - Reason Code 73

Time Limit: 75 calendar days

A Merchant completed a Transaction with a Card that expired prior to the Transaction Date, and the
Merchant did not obtain Authorization.

ID#: 171009-171009-0007551



Chargeback Conditions - Reason Code 73

Both:

1. Card expired prior to the Transaction Date
2. Merchant did not obtain Authorization

ID#: 171009-171009-0007552



Chargeback Rights and Limitations - Reason Code 73
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
         Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
         America & Caribbean Region.)
      e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. Transaction Date is as follows:
      a. Hotel: Check-in date
      b. Car Rental Company: Date the car was rented
      c.   Cruise Line: Embarkation date
      d. For an Intraregional H&C Transaction in the LAC Region: Check-in date (This only applies in
         the Latin America & Caribbean Region.)
3. For a Mail/Phone Order or Electronic Commerce Transaction, the expiration date provided by the
   Cardholder is assumed to be correct.

ID#: 150211-171009-0007553




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Invalid Chargebacks - Reason Code 73

Chargeback is invalid for any of the following:

1. Transaction authorized through the Emergency Payment Authorization Service
2. Chip-initiated Transactions
3. T&E Transaction if the Account Number was not listed on the Exception File with a negative
   response on the Chargeback Processing Date
4. For a U.S. Domestic T&E Transaction, if the Account Number was not listed on the Exception File
   with a Negative Response on the Chargeback Central Processing Date and did not remain on the
   Exception File with a Negative Response for at least 90 calendar days from the Chargeback
   Central Processing Date (This only applies in the U.S. Region.)

ID#: 010410-171009-0007554



Chargeback Time Limits - Reason Code 73

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007555



Chargeback Processing Requirements - Reason Code 73

Member Message Text: CARD EXPIRED MMDDYY

Documentation: None required.

ID#: 171009-171009-0007556



Representment Time Limits - Reason Code 73

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007557



Representment Processing Requirements - Reason Code 73
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.



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3. Acquirer can remedy the Chargeback.
      a. Member Message Text:
         i.    AUTH DATE MMDDYY
         ii.   CARD NOT EXPIRED ON TRAN DATE
         iii. CHECK-IN DATE MMDDYY
         iv. RENTAL DATE MMDDYY
         v.    EMBARK DATE MMDDYY
      b. Documentation:
         i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Acquirer and one of the
               following:
         ii.   Merchant's Authorization log
         iii. Documentation to prove the Card was not expired on the Transaction Date
         iv. Evidence that the Transaction was Chip-initiated and offline-authorized, if applicable

ID#: 010410-171009-0007558



Additional Information - Reason Code 73
1. The Card expiration date is the last day of the month.
2. If the Member's Authorization records conflicts, the V.I.P. System Authorization record will prevail
   at Arbitration
3. Prior to initiating a Chargeback, an Issuer should verify that an Authorization was not obtained.

ID#: 010410-171009-0007559




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Reason Code 74 Late Presentment


Overview - Reason Code 74

Time Limit: 120 calendar days

Transaction was not processed within the required time limits and the account was not in good
standing on the Processing Date, or the Transaction was processed more than 180 calendar days
from the Transaction Date.

ID#: 171009-171009-0007560



Chargeback Conditions - Reason Code 74

One of the following:

1. Both:
    a. Transaction was not processed within the required time limit
    b. Account Number was not in good standing on the Chargeback Processing Date
2. Transaction Date is more than 180 calendar days prior to the Processing Date.

ID#: 171009-171009-0007561



Chargeback Rights and Limitations - Reason Code 74 (Updated)
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transaction in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)
2. For Chargeback Condition 1, for a Visa Electron Card, Transaction Date is more than 6 calendar
   days prior to the Processing Date, excluding U.S. Domestic Transactions.
3. For Chargeback Condition 1, for an ATM or Load Transaction, Transaction Date is more than 10
   calendar days prior to the Processing Date.




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4. For a T&E Transaction, Transaction Date is as follows:
      a. Hotel: Check-out date
      b. Car Rental Company: Return date
      c.   Cruise Line: Disembarkation date
5. For Chargeback Condition 1, for all other Transactions, Transaction Date is more than 30
   calendar days prior to the Processing Date.
6. Effective for Chargebacks processed on or after 18 May 2011, for Chargeback Condition 1,
   for a U.S. Domestic Transaction, Transaction Date is more than: (This only applies in the U.S.
   Region.)
      a. 10 calendar days prior to the Processing Date for any of the following: (This only applies in
         the U.S. Region.)
           i.    Account that is not in good standing, including "not sufficient funds" (This only applies in
                 the U.S. Region.)
           ii.   ATM, Load, or Online Check Card Transaction (This only applies in the U.S. Region.)
      b. For Merchants with multiple Merchant Outlets, 20 calendar days prior to the Processing Date
         for an account that is not in good standing, including "not sufficient funds" (This only applies
         in the U.S. Region.)
7. For an Intraregional H&C Transaction in the LAC Region, Transaction Date is the patient's
   checkout date (This only applies in the Latin America & Caribbean Region.)
8. Effective for Chargebacks processed through 17 May 2011, for a U.S. Domestic ATM, Load
   or Online Check Card Transaction, Transaction Date is more than 10 calendar days prior to the
   Processing Date. (This only applies in the U.S. Region.)
9. For Chargeback Condition 1, for a T&E Transaction, Issuer must list the Account Number on the
   Exception File with a negative response on the Chargeback Processing Date.
10. For Chargeback Condition 1, for a U.S. Domestic T&E Transaction, Issuer must list the Account
    Number on the Exception File with a Negative Response on the Chargeback Central Processing
    Date. The Account Number must remain on the Exception File with a Negative Response for at
    least 90 calendar days from the Central Processing Date. (This only applies in the U.S. Region.)

ID#: 050411-171009-0007562



Chargeback Time Limit - Reason Code 74

Either:

1. 120 calendar days from the Central Processing Date of the Presentment
2. For Chargeback Rights and Limitations 7, if ATM, Visa TravelMoney, or Online Check Card
   Transaction, 20 calendar days from the Central Processing Date of the Adjustment. This
   provision applies to U.S. Domestic Transactions. (This only applies in the U.S. Region.)

ID#: 081010-171009-0007572




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Chargeback Processing Requirements - Reason Code 74 (Updated)
1. For Chargeback Condition 1:
    a. Member Message Text:
         i.    ACCOUNT STATUS CODE (Supply the appropriate code in the last position of the text)
         ii.   X=Counterfeit
         iii. O=Account Closed
         iv. C=Account Problem
         v.    Effective for Chargebacks processed on or after 18 May 2011, for a U.S. Domestic
               Transaction, C=Account Problem (including NSF) (This only applies in the U.S. Region.)
         vi. F=Other Fraud (e.g., lost, stolen, not received)
    b. Documentation: None required.
2. For Chargeback Condition 2:
    a. Member Message Text: MORE THAN 180 DAYS LATE
    b. Documentation: None required.
3. For a U.S. Domestic ATM, Load, or Online Check Card Transaction: (This only applies in the U.S.
   Region.)
    a. Member Message Text: (This only applies in the U.S. Region.)
         i.    Contact name and fax number (10 digits) followed by: (This only applies in the U.S.
               Region.)
         ii.   ACCOUNT STATUS CODE __ (supply the appropriate code in the last position in the
               text) (This only applies in the U.S. Region.)
         iii. C = Credit Problem (Also NSF for ATM Transactions, Load Transactions, or Online
              Check Card Transaction Adjustments) (This only applies in the U.S. Region.)
         iv. F = Other Fraud (lost, stolen, not received) (This only applies in the U.S. Region.)
         v.    X = Counterfeit (This only applies in the U.S. Region.)
         vi. O = Account Closed (This only applies in the U.S. Region.)

ID#: 050411-171009-0007573



Representment Time Limit - Reason Code 74

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007574




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Representment Processing Requirements - Reason Code 74
1. For Chargeback Condition 1 or 2:
      a. Credit or Reversal was processed.
           i.    Member Message Text: Either that applies:
                 •   CRED MMDDYY ARN X...X (23 or 24 digits)
                 •   REVERSAL MMDDYY
           ii.   Documentation: None required.
      b. Issuer did not meet the applicable Chargeback conditions.
           i.    Member Message Text: X...X (Specify the reason)
           ii.   Documentation: None required.
      c.   Acquirer can remedy the Chargeback.
           i.    Member Message Text: CORRECT TRAN DATE MMDDYY
           ii.   Documentation: Both:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
                 •   Transaction Receipt with Transaction Date that disproves late Presentment

ID#: 171009-171009-0007575



Additional Information - Reason Code 74

For a T&E delayed or amended charge, the Transaction Date is the date of the Transaction Receipt
representing the charge, not the return or check-out date. For additional information refer to "T&E
Delayed or Amended Charges" and "Delayed or Amended Charges" for Car Rental Merchants.

ID#: 081010-010100-0025745




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Reason Code 75 Transaction Not Recognized


Overview - Reason Code 75

Time Limit: 120 calendar days

The Cardholder does not recognize the Transaction and additional information beyond the data
required in the Clearing Record is needed to determine Transaction validity.

ID#: 171009-171009-0007576



Chargeback Conditions - Reason Code 75
1. The Cardholder does not recognize the Transaction and additional information beyond the data
   required in the Clearing Record is needed to assist the Cardholder in identifying the Transaction.

ID#: 171009-171009-0007577



Chargeback Rights and Limitations - Reason Code 75
1. Minimum Chargeback amount:
    a. For a U.S. Domestic T&E Transaction, US $25 (This only applies in the U.S. Region.)
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)
2. Issuer must retrieve a copy of the Transaction Receipt prior to exercising the Chargeback right
   unless the Transaction is one of the following:
    a. Mail/Phone Order
    b. Electronic Commerce Transaction
    c.   Recurring Transaction
    d. Effective for Transactions completed on or after 15 April 2010, EMV PIN Transaction,
       excluding Manual Cash Disbursement and Quasi-Cash Transactions and requests for T&E
       Documents
    e. U.S. Domestic Preauthorized Health Care Transaction (This only applies in the U.S. Region.)
3. For a U.S. Domestic Transaction, Issuer must make a good-faith effort to assist the Cardholder in
   identifying the Transaction and the Cardholder Account must be in good standing. (This only
   applies in the U.S. Region.)




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4. If a Retrieval Request is required, Issuer must wait 30 calendar days from the Retrieval Request
   Processing Date to receive the Fulfillment or Nonfulfillment Message code prior to exercising the
   Chargeback right. The waiting period does not apply if a Fulfillment or Nonfulfillment Message is
   received.
5. For a U.S. Domestic Transaction Chargeback is valid, regardless of Electronic Commerce
   indicator value, for Electronic Commerce Transactions conducted by Merchants in the following
   Merchant categories: (This only applies in the U.S. Region.)
      a. Wire Transfer Money Orders (4829) (This only applies in the U.S. Region.)
      b. Direct Marketing - Inbound Teleservices Merchant (5967) (This only applies in the U.S.
         Region.)
      c.   Non-Financial Institutions - Foreign Currency, Money Orders (not Wire Transfer), Travelers'
           Cheques (6051) (This only applies in the U.S. Region.)
      d. Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
         Race Tracks (7995) (This only applies in the U.S. Region.)
6. Effective for Transactions completed through 14 April 2010, for a Canada Domestic Chip
   Transaction, a Retrieval Request is not required unless the request is for a Cash or Quasi-Cash
   Transaction or a T&E Document. (This only applies in the Canada Region.)
7. Effective for Transactions completed through 14 April 2010, for an Intraregional EMV PIN
   Transaction in the CEMEA Region, a Retrieval Request is not required unless the request is for a
   Cash or Quasi-Cash Transaction or a T&E Document. (This only applies in the CEMEA Region.)
8. Effective for Transactions completed through 14 April 2010, for an Interregional EMV PIN
   Transaction between the CEMEA Region and Visa Europe, a Retrieval Request is not required
   unless the request is for a Cash or Quasi-Cash Transaction or a T&E Document. (This only
   applies in the CEMEA Region.)
9. Effective for Chargebacks processed on or after 1 July 2010, for Domestic Electronic
   Commerce Transactions in Brazil, Chargeback is valid if the Transaction was processed with
   Electronic Commerce indicator value "6." (This only applies in the Latin America & Caribbean
   Region.)

ID#: 150211-171009-0007578



Invalid Chargebacks - Reason Code 75 (Updated)

Chargeback is invalid if any of the following:

1. Issuer used Retrieval Request reason code 33, "Fraud Analysis Request" or Retrieval Request
   reason code 34, "Legal Process Request"
2. Acquirer supplies a Fulfillment with all required data specified in the "Transaction Receipt
   Fulfillment Documents - Data Requirements" section
3. Lodging/Car Rental No-Show indicator in the Clearing Record is "1"
4. Acquirer provided evidence of an Imprint and signature or PIN. Does not apply to EMV PIN
   Transactions that are Manual Cash Disbursements, Quasi-Cash Transactions, or T&E
   Transactions.
5. When Cardholder states Transaction was fraudulent
6. ATM Cash Disbursement
7. Telephone Service Transaction



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8. Excluding U.S. Domestic Transactions, Electronic Commerce Transaction that was processed
   with Electronic Commerce indicator value "5" or "6"
9. Excluding Domestic Transactions in Brazil, effective for Chargebacks processed on or after 1
   July 2010, Electronic Commerce Transaction that was processed with Electronic Commerce
   indicator value "6" (This only applies in the Latin America & Caribbean Region.)
10. Effective for Transactions completed through 15 October 2010, for a Domestic Canada No
    Signature Required Program Transaction (This only applies in the Canada Region.)
11. Canada Domestic Proximity Payment Transactions (This only applies in the Canada Region.)
12. For a U.S. Domestic Transaction, Chargeback is invalid for any of the following: (This only applies
    in the U.S. Region.)
     a. Effective for Transactions completed through 15 October 2010, Small Ticket Transaction
        (This only applies in the U.S. Region.)
     b. CPS/Passenger Transport Transaction (This only applies in the U.S. Region.)
     c.   Effective for Transactions completed through 15 October 2010, No Signature Required
          Transaction (This only applies in the U.S. Region.)
     d. CPS/Automated Fuel Dispenser Transaction (This only applies in the U.S. Region.)
13. Effective 16 October 2010, for a Visa Easy Payment Service Transaction (This provision does
    not apply to Transactions involving Issuers or Acquirers in Visa Europe).
                                                                  81
14. An Electronic Commerce Transaction as follows:                     (This only applies in the U.S. Region.)
     a. For a Secure Electronic Commerce Transaction processed with electronic Commerce
        indicator value "5" in the Authorization Request, if both: (This only applies in the U.S.
        Region.)
          i.    The Issuer responded to an Authentication Request with an Authentication Confirmation
                using 3-D Secure (This only applies in the U.S. Region.)
          ii.   A Cardholder Authentication Verification Value was included in the Authorization Request
                (This only applies in the U.S. Region.)
     b. For Non-Authenticate Security Transactions processed with Electronic Commerce indicator
                                                        82
        value "6" in the Authorization Request, if both: (This only applies in the U.S. Region.)
          i.    The Issuer, or Visa on behalf of an Issuer, responded to an Authentication Request with
                an Attempt Response using 3-D Secure (This only applies in the U.S. Region.)
          ii.   Either: (This only applies in the U.S. Region.)
                •   A Cardholder Authentication Verification Value was included in the Authorization
                    Request (This only applies in the U.S. Region.)
                •   A Cardholder Authentication Verification Value was not included in the Authorization
                    Request and the Verified Enrollment Response is "N" (This only applies in the U.S.
                    Region.)

Exceptions apply to anonymous Visa Prepaid Card Transactions, Commercial Visa Product Card
Transactions, and Transactions conducted in New Channels. (This only applies in the U.S. Region.)

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   An Electronic Commerce Merchant identified by the U.S. Merchant Chargeback Monitoring Program or Risk Identification
Service (RIS) Online must include Electronic Commerce Indicator value of "7," and is subject to this Chargeback for the period
of time it remains in the Merchant Chargeback Monitoring Program or RIS Online, plus 4 additional months.
82
   An Electronic Commerce Merchant identified by the U.S. Merchant Chargeback Monitoring Program or Risk Identification
Service (RIS) Online must include Electronic Commerce Indicator value of "7," and is subject to this Chargeback for the period
of time it remains in the Merchant Chargeback Monitoring Program or RIS Online, plus 4 additional months.


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Chargeback Time Limits - Reason Code 75

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007580



Chargeback Processing Requirements - Reason Code 75

Member Message Text: Both:

1. XX CH DOES NOT RECOGNIZE
      a. "XX" must be one of the following codes
         i.    01=Merchant Name
         ii.   02=Merchant Location
         iii. 03=Transaction amount
         iv. 04=Transaction Date
         v.    05=Other (must specify)
2. RR DATE MMDDYY, (if requested Transaction Receipt not fulfilled)

ID#: 171009-171009-0007581



Additional Member Message Text Requirements - Reason Code 75

Additional Member Message Text Requirements for U.S. Domestic Transactions: (This only applies in
the U.S. Region.)

1. UNABLE TO AUTHENTICATE RESPONSE (This only applies in the U.S. Region.)
2. AUTHENTICATION DENIAL (This only applies in the U.S. Region.)
3. SEE 3D SECURE RESPONSE SENT MMDDYY (This only applies in the U.S. Region.)
4. CAVV MISSING IN AUTH (This only applies in the U.S. Region.)

ID#: 171009-171009-0007582



Documentation - Reason Code 75

None required.

Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions in Brazil,
the Issuer may provide certification in lieu of the Cardholder letter. (This only applies in the Latin
America & Caribbean Region.)

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Representment Time Limit - Reason Code 75

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007584



Representment Rights and Limitations - Reason Code 75
1. Representment is invalid if:
    a. Effective for Transactions completed through 14 April 2010, Acquirer failed to respond to
       Retrieval Request or responded with a Nonfulfillment Message code "03" or "04," or provided
       a Fulfillment which does not contain all the required data elements, as specified in the
       Transaction Receipt Fulfillment Documents - Data Requirements section.
    b. Effective for Transactions completed through 14 April 2010, for interregional EMV PIN
       Transactions between the CEMEA Region and Visa Europe, Acquirer failed to respond to
       Retrieval Request or responded with a Nonfulfillment Message code "03" or "04" and any of
       the following: (This only applies in the CEMEA Region.)
         i.    Transaction was Cash or Quasi-Cash (This only applies in the CEMEA Region.)
         ii.   Effective through 14 October 2011, Retrieval Request reason code was "29" (This only
               applies in the CEMEA Region.)
    c.   Effective for Transactions completed on or after 15 April 2010, for non-EMV PIN
         Transactions, Representment is invalid if Acquirer failed to respond to Retrieval Request or
         responded with a Nonfulfillment Message code “03” or “04,” or provided a Fulfillment which
         does not contain all the required data elements
    d. Effective for Transactions completed on or after 15 April 2010, for EMV PIN
       Transactions, Representment is invalid if Acquirer failed to respond to Retrieval Request or
       responded with a Nonfulfillment Message code "03" or "04" and any of the following:
         i.    Transaction was Manual Cash or Quasi-Cash
         ii.   Effective through 14 October 2011, Retrieval Request reason code was "29"
         iii. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
              involving Issuers or Acquirers in Visa Europe, Retrieval Request reason code was "29"
              (This only applies in Visa Europe.)
    e. If Acquirer failed to include additional information or Transaction data that was not required in
       the Clearing Record.

ID#: 081010-171009-0007585



Representment Processing Requirements - Reason Code 75
1. Member Message Text:
2. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required.




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3. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required.
4. Acquirer can remedy the Chargeback.
      a. Member Message Text: None required.
      b. Documentation: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-1 Acquirer and one
         of the following:
         i.    Copy of Transaction Receipt or other document with additional information or Transaction
               data that was not required on the Clearing Record, if applicable
         ii.   Representment for an Aggregated Transaction must include details of the individual
               purchases that have been aggregated, if applicable
         iii. Effective for Chargebacks processed on or after 1 July 2010, for Domestic
              Transactions in Brazil conducted by Merchants in the following Merchant Category
              Codes:
               •   3000-3299, “Airlines, Air Carriers"
               •   4511, “Airlines and Air Carriers (Not Elsewhere Classified)”
               •   4722, “Travel Agencies and Tour Operators”
               All of the following is required:
               •   Copy of the front of the Card
               •   Copy of the front and back of a legal document that identifies the Cardholder
               •   Copy of a voucher or ticket with passenger's name issued by travel agency and/or
                   airline
               •   Copy of the debit authorization form with all of the following:
                   -   Primary Cardholder's name
                   -   Passengers names
                   -   Account number
                   -   Card expiration date
                   -   Primary Cardholder's phone number
                   -   Airline name
                   -   Authorization Code
                   -   Transaction amount
                   -   Installment Transaction count
                   -   Installment Transaction amount
                   -   Airport tax amount
                   -   Date of the debit authorization form
                   -   Cardholder signature (must match Cardholder's signature on the signature panel)
                       (This only applies in the Latin America & Caribbean Region.)




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         iv. Effective for Chargebacks processed on or after 1 July 2010, for Domestic
             Transactions in Brazil conducted by Merchants in the following Merchant Category
             Codes:
              •    5814 "Fast Food Restaurants"
              •    7922 "Theatrical Producers (Except Motion Pictures) and Ticket Agencies"
              The following is required:
              •    Documentation signed by the Cardholder to prove that Cardholder received services
                   or merchandise at agreed-upon location
                   (This only applies in the Latin America & Caribbean Region.)

ID#: 081010-171009-0007586



Additional Information - Reason Code 75
1. Visa recommends that the Acquirer supply all available Transaction details when responding to
   Chargeback Reason Code 75, "Transaction Not Recognized," if a Representment right exists.
   The Acquirer should provide additional details, such as:
    a. Detailed description of goods or services that were provided
    b. Description of how Merchant confirmed the Cardholder's participation, e.g., Cardholder
       signature, PIN, or other verification method
    c.   Description of how delivery address was confirmed, if applicable, e.g., use of an address
         verification method
2. Excluding U.S. Domestic Transactions and Domestic Transactions in Brazil completed on or
   after 1 July 2010, the Issuer may have a Compliance right for an Electronic Commerce
   Transaction that was coded with an Electronic Commerce indicator value "6" if both:
    a. Acquirer failed to respond to the Issuer's Retrieval Request or responded with a
       Nonfulfillment Message code "03" or "04"
    b. Cardholder required more information about the Transaction
3. In the U.S. Region, the Acquirer may collect a US $25 handling fee from the Issuer if the original
   Clearing Record contained: (This only applies in the U.S. Region.)
    a. Airline/Railway Passenger Itinerary Data or (This only applies in the U.S. Region.)
    b. "1" in the Lodging/Car Rental No Show Indicator (This only applies in the U.S. Region.)
4. For Chargeback Rights and Limitations 2, use the MOTO or ECI indicator or the Merchant
   Category Code to determine Transaction type.

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Reason Code 76 Incorrect Currency or Transaction Code or Domestic
Transaction Processing Violation


Overview - Reason Code 76

Time Limit: 120 calendar days

Transaction was processed with an incorrect Transaction code, or an incorrect currency code, or the
Merchant did not deposit a Transaction Receipt in the country where the Transaction occurred, or the
Cardholder was not advised that Dynamic Currency Conversion would occur or was refused the
choice of paying in the Merchant's local currency, or, effective for Chargebacks processed on or
after 16 April 2011, the Merchant processed a credit refund and did not process a Reversal or
Adjustment within 30 days for a Transaction Receipt processed in error.

ID#: 081010-171009-0007588



Chargeback Conditions - Reason Code 76

One of the following:

1. Transaction code is incorrect.
2. Transaction Currency is different than the currency transmitted through VisaNet
3. A Domestic Transaction Receipt was not deposited in the country where the Transaction
   occurred and was processed with an incorrect Transaction Country code and was not one of the
   following:
      a. International Airline Transaction
      b. Result of a Transaction occurring at a military base, embassy, or consulate. Visa considers
         these Merchant Outlets to be within the Merchant's Country and Region of Domicile.
4. Cardholder was not advised that Dynamic Currency Conversion would occur or was refused the
   choice of paying in the Merchant's local currency.
5. Effective for Chargebacks processed on or after 16 April 2011, Merchant processed a credit
   refund and did not process a Reversal or an Adjustment within 30 calendar days for a
   Transaction Receipt processed in error.

ID#: 081010-171009-0007589



Chargeback Rights and Limitations - Reason Code 76
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)




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    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)
2. For Chargeback Condition 1, for a Transaction processed with an incorrect Transaction code,
   Chargeback amount is double the Transaction amount when either:
    a. Credit was processed as a debit
    b. Debit was processed as a credit
3. For Chargeback Condition 2, 3, & 4, Chargeback is valid for the entire Transaction amount.
4. Effective for Chargebacks processed on or after 16 April 2011, for Chargeback Condition 5,
   excluding U.S. Domestic Transactions and Canada Domestic Transactions, the Chargeback must
   be limited to the difference between the Credit Transaction and original debit.

ID#: 081010-171009-0007590



Invalid Chargebacks - Reason Code 76

Chargeback is invalid for:

1. Chargeback Condition 2, for a Transaction originating at a non-US ATM connected to the Plus
   System, Inc. and settled in US dollars
2. Chargeback Condition 3, if a Transaction was processed as allowed under Country of Domicile
   rules.
3. ATM Cash Disbursement. This provision applies to U.S. Domestic Transactions. (This only
   applies in the U.S. Region.)

ID#: 171009-171009-0007591



Chargeback Time Limits - Reason Code 76

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007592



Chargeback Processing Requirements - Reason Code 76

Member Message Text:

1. For Chargeback Condition 1:
    a. CREDIT POSTED AS DEBIT
    b. DEBIT POSTED AS CREDIT
    c.   PURCHASE POSTED AS CASH
    d. CASH POSTED AS PURCHASE



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2. For Chargeback Condition 2:
      a. TRAN CURRENCY IS XXX NOT XXX (XXX = numeric Currency Code value as specified in
         the VisaNet manuals)
3. For Chargeback Condition 3:
      a. TRAN OCCURRED IN X...X
4. For Chargeback Condition 4, either that applies:
      a. DCC -- CARDHOLDER NOT ADVISED
      b. DCC -- CARDHOLDER REFUSED OPTION OF LOCAL CURRENCY
5. Effective for Chargebacks processed on or after 16 April 2011, for Chargeback Condition 5:
      a. CREDIT INSTEAD OF REVERSAL

Documentation:

1. For Chargeback Conditions 1, 2, and 3: None Required
2. For Chargeback Condition 4: All of the following:
      a. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Issuer
      b. Effective through 15 April 2011, Cardholder letter stating the Cardholder was not advised
         that Dynamic Currency Conversion would occur or was not offered a choice to pay in the
         Merchant's local currency
      c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
           Issuers or Acquirers in Visa Europe, Cardholder letter stating the Cardholder was not advised
           that Dynamic Currency Conversion would occur or was not offered a choice to pay in the
           Merchant's local currency (This only applies in Visa Europe.)
      d. Effective through 15 April 2011, copy of the Cardholder's Transaction Receipt (if available)
      e. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
         Issuers or Acquirers in Visa Europe, copy of the Cardholder's Transaction Receipt (if
         available) (This only applies in Visa Europe.)
3. Effective for Chargebacks processed on or after 16 April 2011, for Chargeback Condition 5:
      a. Visa Resolve Online Questionnaire or "Issuer Chargeback Form - Processing Error" (Exhibit
         2E-4)
           i.    Explanation of why the Credit Transaction was processed in error
           ii.   Information to support the original Transaction and credit transaction
      b. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
         Issuers or Acquirers in Visa Europe, if the credit transaction resulted from a Transaction
         where the Cardholder asserts fraud, a copy of the signed Cardholder letter (This only applies
         in Visa Europe.)

ID#: 081010-171009-0007593



Representment Time Limit - Reason Code 76

45 calendar days from Processing Date of the Chargeback

ID#: 171009-171009-0007594




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Representment Conditions - Reason Code 76

Chargeback is improper or invalid.

ID#: 171009-171009-0007595



Representment Rights and Limitations - Reason Code 76
1. For Chargeback Condition 4, if the Chargeback is valid, the Acquirer may only represent the
   Transaction in the Merchant's local currency for the Transaction Amount prior to Dynamic
   Currency Conversion. The Representment must:
    a. Exclude fees or commission charges directly related to Dynamic Currency Conversion that
       were applied to the Transaction
    b. Include a copy of the Dynamic Currency Conversion Transaction Receipt

ID#: 171009-171009-0007596



Representment Processing Requirements - Reason Code 76 (Updated)
1. Effective for Chargebacks processed through 15 April 2011, Credit or Reversal was
   processed.
    a. Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required
2. Effective for Chargebacks processed on or after 16 April 2011, Reversal or Adjustment was
   processed.
    a. Member Message Text: Either that applies:
         i.    ADJUSTMENT MMDDYY
         ii.   REVERSAL MMDDYY
    b. Documentation: None required
3. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required
4. Acquirer can remedy the Chargeback.
    a. Member Message Text: None Required




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      b. Effective for Chargebacks processed on or after 16 April 2011, for Chargeback
         Condition 5:
           Documentation:
           i.    Visa Resolve Online Questionnaire or "Acquirer Representment Form – Processing
                 Error" (Exhibit 2E-4)
           ii.   Explanation of why a credit transaction was processed instead of a Reversal or an
                 Adjustment

ID#: 050411-171009-0007597



Documentation - Reason Code 76
1. Credit or Reversal was processed.
      a. None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. None required.
3. Acquirer can remedy the Chargeback.
      a. For Chargeback Condition 1:
           i.    For an ATM Transaction, none required.
      b. For all other Transactions, both:
           i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
           ii.   Transaction Receipt or other record that proves that either:
                 •   For Chargeback Condition 1, the Transaction code was correct
                 •   For Chargeback Condition 2, Transaction currency was correct
                 •   For Chargeback Condition 3, Transaction was deposited properly and processed with
                     the correct Transaction Country code or Transaction occurred at a military base,
                     embassy, consulate, or is an International Airline Transaction
                 •   For Chargeback Condition 4, Acquirer certification that the Merchant is registered to
                     offer Dynamic Currency Conversion

ID#: 171009-171009-0007598



Additional Information - Reason Code 76 (Updated)
1. For Chargeback Condition 2:
      a. Transaction Currency appearing on the Transaction Receipt may be any currency agreed
         upon by the Merchant and Cardholder.
      b. If not specified, the Transaction Currency is the domestic currency of the Transaction
         Country.
      c.   The currency and amount in the total box on a Transaction Receipt is considered the agreed
           upon currency. Currency and amounts noted elsewhere will not be considered.




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2. For Chargeback Condition 3, an Acquirer must not contract with a Merchant Outlet that is outside
   its Country of Domicile, unless any of the following is true:
    a. Visa has approved this arrangement, and the country or territory is either:
         i.    Not any other Principal's Country of Domicile
         ii.   One where the Acquirer has a Branch
    b. Merchant is an International Airline and the Acquirer maintains the relationship as specified in
       the International Airline Program regulations.
    c.   Merchant Outlet is a military base, embassy, or consulate on foreign territory. The currency
         used to complete the Transaction must be disclosed on the Transaction Receipt.
3. For Chargeback Condition 4:
    a. Transaction Currency appearing on the Transaction Receipt must be the currency approved
       by the Cardholder.
    b. If Dynamic Currency Conversion is not approved at the Point-of-Transaction the Transaction
       Currency must be in the Merchant's local currency.
    c.   If the Acquirer processes through the Single Message System, it may process the
         Transaction as a first Presentment instead of representing.

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Reason Code 77 Non-Matching Account Number


Overview - Reason Code 77 (Updated)

Time Limit: 75 calendar days

Transaction did not receive Authorization and was processed using an Account Number that does not
match any on the Issuer's master file or an Original Credit (including a Money Transfer Original
Credit) was processed using an Account Number that does not match any on the Issuer's master file.

ID#: 050411-171009-0007600



Chargeback Conditions - Reason Code 77
1. Merchant or Acquirer processed a Transaction for an Account Number not matching any on the
   Issuer's master file and did not receive an Authorization.
2. Effective through 14 February 2010, Originating Member processed an Original Credit for an
   Account Number not matching any on the Issuer's master file, excluding U.S. Domestic
   Transactions.
3. Effective 15 February 2010, Originating Member processed an Original Credit for an Account
   Number not matching any on the Issuer's master file.
4. For Intraregional Transactions in the AP Region, Transaction occurring on a non-matching
   Account Number, the Chargeback is valid only when the Transaction was authorized by Visa
   Stand-In Processing and is within the Issuer T&E minimum limit levels. (This only applies in the
   Asia Pacific Region.)

ID#: 081010-171009-0007601



Chargeback Rights and Limitations - Reason Code 77 (Updated)

Any of the following that apply:

1. Minimum Chargeback amount:
      a. For T&E Transaction, US $25 or equivalent
      b. For Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
2. For Intraregional Transactions in the AP Region, Chargeback Condition 3: (This only applies in
   the Asia Pacific Region.)
      a. Chargeback is invalid if a non-matching Account Number was used on a T&E Transaction
         that is above the Issuer T&E minimum limits, and was authorized by the Issuer or Stand-In
         Processing (This only applies in the Asia Pacific Region.)
      b. Effective through 15 April 2011, prior to processing the Chargeback, the Account Number
         must be listed on the Exception File with a negative response (This only applies in the Asia
         Pacific Region.)

ID#: 050411-171009-0007602


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Invalid Chargebacks - Reason Code 77 (Updated)
1. For Chargeback Condition 1, Chargeback is invalid for any of the following:
    a. Transactions that received an Authorization (either Online or Offline Authorization)

ID#: 050411-171009-0007603



Chargeback Time Limit - Reason Code 77

75 calendar days from the Central Processing Date of the Transaction

ID#: 171009-171009-0007604



Chargeback Processing Requirements - Reason Code 77
1. For Chargeback Condition 1 and 4:
    a. Member Message Text: NO SUCH ACCT NUMBER
    b. Documentation: None required.
2. For Chargeback Condition 2:
    a. Member Message Text for Original Credit:
         i.    ACCOUNT CLOSED
         ii.   ACCOUNT NOT ON FILE
    b. Documentation: None required.

ID#: 171009-171009-0007605



Representment Time Limits - Reason Code 77

45 calendar days from the Central Processing Date of the Chargeback

ID#: 171009-171009-0007606



Representment Processing Requirements - Reason Code 77
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
    b. CRED MMDDYY ARN X...X (23 or 24 digits)
    c.   REVERSAL MMDDYY
    d. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.




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3. Acquirer can remedy the Chargeback.
      a. For Chargeback Condition 1 & 4:
         i.    Member Message Text: AUTH DATE MMDDYY CODE X...X (if applicable)
         ii.   Documentation: All of the following:
               •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
               •   Legible Transaction Receipt to prove that the Account Number was processed
                   correctly
               •   Effective for Transactions completed through 14 April 2010, for a U.S. Domestic
                   Transaction, for Chargeback Condition 1, if Authorization Code obtained or
                   Transaction Chip-initiated, Acquirer's certification that an Authorization Code was
                   obtained or that Transaction was Chip-initiated and authorized offline with an
                   Authorization Response Code of "Y1" or "Y3". (This only applies in the U.S. Region.)
               •   Evidence that the Transaction was Chip-initiated and offline authorized (if applicable)
                   (This only applies in the U.S. Region.)
      b. For Chargeback Condition 2:
         i.    Member Message Text: X...X (Specify the reason)
         ii.   Documentation: None required.

ID#: 010410-171009-0007607



Additional Information - Reason Code 77
1. An incorrectly entered Account Number must be processed as an original Presentment. Acquirer
   may be responsible for any late Presentment.

ID#: 171009-171009-0007608




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Reason Code 78 Service Code Violation


Overview - Reason Code 78

Time Limit: 75 calendar days

Authorization was not obtained for a Magnetic-Stripe read Transaction on a Visa Electron Card or on
a Visa Card in a registered mandatory positive Authorization (Service Code) account range, excluding
U.S. Domestic Transactions.

ID#: 171009-171009-0007609



Chargeback Conditions - Reason Code 78

Both:

1. A Merchant completed a Magnetic-Stripe read Transaction on a Visa Electron Card or a Visa
                                                                            83
   Card in a registered positive Authorization (Service Code) account range
2. Merchant did not obtain Authorization

ID#: 171009-171009-0007610



Chargeback Rights and Limitations - Reason Code 78
1. Minimum Chargeback amount:
     a. For T&E Transaction, US $25 or equivalent
     b. For Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada Region.)
     c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
     d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
        Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
        America & Caribbean Region.)
     e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
        Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
        America & Caribbean Region.)
ID#: 150211-171009-0007611



Invalid Chargebacks - Reason Code 78
1. Chargeback is invalid for Transactions authorized through the Emergency Payment Authorization
   Service

ID#: 171009-171009-0007612




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   All Visa Electron Cards must be issued with positive Authorization (Service Code) therefore registration is not required for a
Visa Electron account range.


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Chargeback Time Limit - Reason Code 78

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007613



Chargeback Processing Requirements - Reason Code 78
1. Member Message Text:
      a. None required.
2. Documentation:
      a. None required.

ID#: 171009-171009-0007614



Representment Time Limit - Reason Code 78

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007615



Representment Processing Requirements - Reason Code 78
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
      b. CRED MMDDYY ARN X...X (23 or 24 digits)
      c.   REVERSAL MMDDYY
      d. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text: AUTH DATE MMDDYY
      b. Documentation: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Acquirer and one
         of the following:
           i.    Documentation to prove that either:
                 •   Service Code was valid for Transaction
                 •   Authorization was obtained
           ii.   Account was not in a registered positive Authorization (Service Code) account range. All
                 Visa Electron Cards must be issued with positive Authorization (Service Code) therefore,
                 registration is not required for a Visa Electron account range.

ID#: 010410-171009-0007616




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Reason Code 80 Incorrect Transaction Amount or Account Number


Overview - Reason Code 80

Time Limit: 120 calendar days

Transaction amount is incorrect, or an addition or transposition error was made when calculating the
Transaction amount, or Merchant altered the Transaction amount after the Transaction was
completed without the consent of the Cardholder, or a Transaction was processed using an incorrect
Account Number.

ID#: 171009-171009-0007617



Chargeback Conditions - Reason Code 80

One of the following:

1. Transaction amount is incorrect or addition or transposition error occurred.
2. Effective through 15 April 2011, Merchant altered the Transaction amount after the Transaction
   was completed without the consent of the Cardholder.
3. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Merchant altered the Transaction amount after the
   Transaction was completed without the consent of the Cardholder. (This only applies in Visa
   Europe.)
4. Account Number processed through VisaNet does not match the Account Number on the
   Transaction Receipt.
5. For U.S. Domestic Transaction, Acquirer processed an Adjustment of an ATM Cash
   Disbursement Transaction and one of the following: (This only applies in the U.S. Region.)
    a. Adjustment contains either: (This only applies in the U.S. Region.)
         i.    Incorrect Account (This only applies in the U.S. Region.)
         ii.   Non-matching Account Number (This only applies in the U.S. Region.)
    b. Adjustment posted to a “closed” or “non-sufficient funds” account and the Adjustment was
       processed more than 10 days from the Transaction date (This only applies in the U.S.
       Region.)
    c.   Adjustment was processed more than 45 days from Transaction Date (This only applies in
         the U.S. Region.)
    d. Adjustment was processed more than once for the same Transaction (This only applies in the
       U.S. Region.)
    e. Cardholder disputes validity of Adjustment due to amount of Adjustment, or original
       Transaction was cancelled or reversed (This only applies in the U.S. Region.)

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Chargeback Rights and Limitations - Reason Code 80
1. Minimum Chargeback amount:
      a. For T&E Transaction, US $25 or equivalent
      b. For Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
         Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
         America & Caribbean Region.)
      e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. For Chargeback Condition 1:
      a. For a T&E Transaction, Chargeback is valid only when the difference in the amounts exceeds
         US $25 or local currency equivalent
      b. For incorrect Transaction amount, if the written Transaction amount differs from the imprinted
         amount, the handwritten amount must be used to determine the processing error
3. For Chargeback Condition 1 & 2, Chargeback amount is limited to the difference in the amounts.

ID#: 150211-171009-0007631



Invalid Chargebacks - Reason Code 80

Chargeback is invalid for any of the following:

1. For Chargeback Condition 1, the difference between the quoted price and the actual charges
   made by the T&E Merchant
2. For Chargeback Condition 1 and 2, a No-Show or Advance Deposit Transaction completed in a
   Card-Absent Environment
3. For Chargeback Condition 2, if Merchant has the right to alter the Transaction Receipt
4. Effective for Transactions completed through 14 April 2010, Chip-initiated Transactions
   containing a valid Cryptogram
5. Effective for Transactions completed on or after 15 April 2010, for Chargeback Condition 1
   and 3, Chip-initiated Transactions containing a valid Cryptogram
6. Effective for Transactions completed on or after 15 April 2010, for Chargeback Condition 2,
   EMV PIN Transactions containing a valid Cryptogram
7. ATM Cash Disbursements, excluding U.S. Domestic Transactions
8. Effective for Transactions completed through 15 October 2010, U.S. Domestic Small Ticket
   Transactions (This only applies in the U.S. Region.)




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9. Effective for Transactions completed through 15 October 2010, Canada Domestic No
   Signature Required Program Transactions (This only applies in the Canada Region.)
10. Effective for Transactions completed on or after 15 August 2009 through 15 October 2010,
    Canada Domestic Proximity Payment Transactions CAD $50 or less (This only applies in the
    Canada Region.)

ID#: 081010-171009-0007632



Chargeback Time Limit - Reason Code 80

Either:

1. 120 calendar days from the Transaction Processing Date
2. For a U.S. Domestic Transaction,120 calendar days from the Transaction Date of the Adjustment
   (This only applies in the U.S. Region.)

ID#: 171009-171009-0007633



Chargeback Processing Requirements - Reason Code 80

Member Message Text:

1. For Chargeback Condition 1:
    a. TRAN AMT XXXX NOT XXXX
    b. ERROR IN AMOUNT
2. For Chargeback Condition 2:
    a. Effective through 15 April 2011, ALTERED FROM XXXX AMT TO XXXX AMT
    b. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
       Issuers or Acquirers in Visa Europe, ALTERED FROM XXXX AMT TO XXXX AMT (This only
       applies in Visa Europe.)
3. For Chargeback Condition 4:
    a. INCORRECT ACCT NUMBER
4. For invalid Adjustment, one of the following, as appropriate: (This only applies in the U.S.
   Region.)
    a. INCORRECT ACCT NO (This only applies in the U.S. Region.)
    b. NON-MATCHING ACCT NO (This only applies in the U.S. Region.)
    c.    INVALID (Specify Reason) (This only applies in the U.S. Region.)
    d. ACCT CLOSED (This only applies in the U.S. Region.)
    e. NSF (This only applies in the U.S. Region.)
    f.    ADJ PROCESSED PAST 45 DAYS (This only applies in the U.S. Region.)
    g. FIRST ADJ DATED MMDDYY (This only applies in the U.S. Region.)
    h. ADJ AMT $XXXX NOT $XXXX (This only applies in the U.S. Region.)
    i.    ORIG TRANS CNCLD OR REVERSED (This only applies in the U.S. Region.)



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Documentation:

1. For Chargeback Condition 2, both:
      a. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Issuer
      b. Effective through 15 April 2011, copy of the Cardholder's Transaction Receipt showing
         different Transaction amounts
      c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
           Issuers or Acquirers in Visa Europe, copy of the Cardholder's Transaction Receipt showing
           different Transaction amounts (This only applies in Visa Europe.)

ID#: 081010-171009-0007634



Representment Time Limits - Reason Code 80

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007635



Representment Rights and Limitations - Reason Code 80
1. For Chargeback Condition 3, if the Account Number was incorrectly transmitted, Acquirer must
   process the Transaction as a new Presentment. Acquirer may be responsible for a Late
   Presentment Chargeback.
2. For U.S. Domestic Mail/Phone Order Transaction, if the Account Number is correct, Authorization
   for a Mail/Phone Order Transaction where the merchandise was shipped or delivered is
   considered valid if it was obtained. (This only applies in the U.S. Region.)

ID#: 171009-171009-0007636



Representment Processing Requirements - Reason Code 80 (Updated)
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
      b. CRED MMDDYY ARN X...X (23 or 24 digits)
      c.   REVERSAL MMDDYY
      d. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. For Chargeback Condition 1:
           i.    Member Message Text: None required.
           ii.   Documentation: Both:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
                 •   Transaction Receipt or other record to prove that Transaction Amount was correct

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    b. For Chargeback Condition 2:
         i.    Member Message Text: None required.
         ii.   Documentation:
               •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer and either:
               •   Documents to prove one of the following:
                   –    Transaction Receipt was not altered
                   –    Cardholder agreed to the altered amount
                   –    Merchant is permitted or required to alter the Transaction amount
    c.   For Chargeback Condition 3:
         i.    Member Message Text: None required.
         ii.   Documentation: Both:
               •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
               •   Transaction Receipt or other record to prove that the Account Number is correct
    d. For Chargeback Condition 4, U.S. Domestic Transactions: (This only applies in the U.S.
       Region.)
         i.    Member Message Text: ORIG TRAN DATE MMDDYY TRACE NUMBER XXXXXX (This
               only applies in the U.S. Region.)
         ii.   Documentation: None required. (This only applies in the U.S. Region.)

ID#: 050411-171009-0007637



Additional Information - Reason Code 80
1. For Chargeback Condition 1, Visa recommends that the Issuer provide documentation to
   demonstrate that the Transaction amount is incorrect.

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Reason Code 81 Fraud Card-Present Environment


Overview - Reason Code 81

Time Limit: 120 calendar days

A Merchant did not obtain an Imprint and a signature (or a PIN) in a Card-Present Environment, and
the Merchant completed the Transaction without the Cardholder's permission, or a Transaction was
processed with a Fictitious Account Number, or no valid Card was outstanding bearing the Account
Number on the Transaction Receipt.

ID#: 171009-171009-0007639



Chargeback Conditions - Reason Code 81 (Updated)

One of the following:

1. Cardholder did not authorize or participate in a Card-Present Environment Transaction.
2. Fraudulent Transaction was completed in a Card-Present Environment using a Fictitious Account
   Number or no valid Card was issued or outstanding that bears the Account Number and no
   Authorization was obtained.
3. Cardholder did not authorize or participate in a Card-Present Environment Transaction and Card
   is a PIN-Preferring Chip Card and either (for qualifying Transactions and effective dates, refer to
   "EMV Liability Shift Participation"):
      a. Card-Present Environment Transaction did not take place at a Chip-Reading Device and was
         not a Fallback Transaction completed following correct acceptance procedures, as specified
         in the Visa International Operating Regulations
      b. Chip-initiated Transaction took place at a device that was not EMV PIN-compliant

ID#: 050411-171009-0007640



Chargeback Rights and Limitations - Reason Code 81 (Updated)
1. Minimum Chargeback amount:
      a. For T&E Transaction, US $25 or equivalent
      b. For Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada Region.)
      c.   Effective for Transactions completed through 30 March 2011, for Canada Domestic Fuel
           Transactions with MCC 5541 or MCC 5542 (This only applies in the Canada Region.)
      d. Effective for Transactions completed on or after 31 March 2011, for Chargeback
         Condition 1 and 2, Canada Domestic Fuel Transactions with MCC 5541 or MCC 5542 (This
         only applies in the Canada Region.)
      e. Effective for Transactions completed on or after 1 December 2011 through 30
         September 2013, for Chargeback Condition 1 and 2, Canada Domestic Proximity Payment
         Transactions with MCC 5542, CAD $100.01 (This only applies in the Canada Region.)
      f.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)


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    g. For U.S. Domestic Automated Fuel Dispenser Transaction, US $10 (This only applies in the
       U.S. Region.)
    h. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    i.   Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. For Chargeback Condition 1 and 2, Issuer must request a copy of the Transaction Receipt prior to
   exercising the Chargeback right unless Transaction is one of the following:
    a. Magnetic-Stripe Telephone Transaction
    b. Cardholder-Activated Transaction Type B. This provision does not apply to U.S. Domestic
       Transactions
    c.   Effective for Transactions completed through 15 October 2010, for a U.S. Domestic
         Transaction, any of the following:
         i.    Small Ticket Transaction
         ii.   CPS/Small Ticket Transaction
         iii. Self-Service Terminal Transaction
         iv. No Signature Required Transaction
    d. A Self-Service Terminal Transaction (This only applies in the U.S. Region.)
    e. Effective for Transactions completed through 15 October 2010, a No Signature Required
       Transaction (This only applies in the Canada Region.)
    f.   Effective for Transactions completed on or after 16 October 2010, a Visa Easy Payment
         Service Transaction
3. For Chargeback Condition 1 and 3, the Issuer must meet all of the following conditions on or
   before the Chargeback Processing Date:
    a. Close the Cardholder account
    b. List the Account Number on the Exception File with a Pickup Response for a minimum of:
         i.    30 calendar days for Chargeback Condition 1
         ii.   60 calendar days for Chargeback Condition 3
    c.   Report the Fraud Activity through VisaNet. For Chargeback Condition 3, fraud must be
         reported using Fraud Type codes 0, 1, or 2
4. For Chargeback Condition 1 and 2, for a Cardholder Activated Transaction Type B or Self-
   Service Terminal Transaction, Account Number must both:
    a. Be listed on the Exception File with a Pickup Response on or before the Chargeback
       Processing Date
    b. Remain on the Exception File for a minimum of X calendar days For Domestic Transactions
       in the jurisdiction of the U.S. Region, the Account Number must remain on the Exception File
       for a minimum of X days.




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5. For Chargeback Condition 1 and 2, one Chargeback may contain up to 25 Magnetic-Stripe
   Telephone Transactions if all of the following are true: This provision does not apply to U.S.
   Domestic Transactions.
      a. Each Transaction amount is less than US $40
      b. All of the Transactions appear on "Summary of Unauthorized Telephone Service
         Transactions" (Exhibit 2F)
      c.   Chargeback uses the Acquirer Reference Number/Tracing Data of the earliest Transaction

ID#: 050411-171009-0007641



Invalid Chargebacks - Reason Code 81 (Updated)

Chargeback is invalid for:

1. A Card-Absent Environment Transaction
2. An ATM Transaction
3. An Emergency Cash Disbursement Transaction
4. For Chargeback Condition 1 and 2, a Transaction where both of the following were obtained:
      a. A legible Imprint for the Transaction in question
      b. Signature or PIN
5. For Chargeback Condition 3, a Transaction where both of the following were obtained:
      a. A legible Imprint for the Transaction in question
      b. PIN
6. Effective for Transactions completed through 15 October 2010, a Canada Domestic
   Proximity Payment Transaction CAD X or less. (This only applies in the Canada Region.)
7. Effective for Transactions completed through 15 October 2010, a Canada Domestic No
   Signature Required Program Transaction. (This only applies in the Canada Region.)
8. Effective for Transactions completed through 15 October 2010, a No Signature Required
   Program Transaction. This provision applies to U.S. Domestic Transactions. (This only applies in
   the U.S. Region.)
9. Effective for Transactions completed through 15 October 2010, for Chargeback Condition 1
   and 2, a Small Ticket Transaction
10. Effective for Transactions completed on or after 16 October 2010, for Chargeback Condition
    1 and 2, a Visa Easy Payment Service Transaction. (This provision does not apply to
                                                                84
    Transactions involving Issuers or Acquirers in Visa Europe)
11. Chargeback Condition 1, for a Cardholder-Activated Transaction Type B that both: This provision
    does not apply to U.S. Domestic Transactions.
      a. Originated with a Counterfeit Card
      b. Received an Approval Response that included a "90", "91," "05," or "07" in the POS Entry
         Mode Code field


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  Effective for Transactions completed on or after 16 October 2010 between Visa Inc. and Visa Europe, Chargeback is
invalid for: (1) Magnetic Stripe or contact Chip Transactions conducted at Merchant Category Codes 4111, 4121, 4131, 4784,
5331, 5499, 5812, 5814, 5912, 5993, 5994, 7211, 7216, 7338, 7523, 7542, 7832, and 7841; (2) Proximity Payment
Transactions that qualify as (Visa Europe) Small Ticket Transactions or Visa Inc. Visa Easy Payment Service Transactions.


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12. Chargeback Condition 1, for a Domestic Canada Automated Fuel Dispenser Transaction that
    both: (This only applies in the Canada Region.)
    a. Originated with a Counterfeit Card (This only applies in the Canada Region.)
    b. Received an Approval Response that included a "90", "91," "05," or "07" in the POS Entry
       Mode Code field (This only applies in the Canada Region.)
13. Chargeback Condition 2, if one of the following:
    a. If the Transaction received an Authorization
    b. For an Intraregional Transaction in the AP Region, Automated Fuel Dispenser Transaction
       (This only applies in the Asia Pacific Region.)
14. Chargeback Condition 3, if the Device is EMV PIN-Compliant and the Transaction was correctly
    processed to completion in accordance with EMV and VIS using the Chip Card data.
15. Chargeback Condition 1 and 2, for a Cardholder-Activated Transaction Type A (excluding
    Magnetic-Stripe Telephone Transactions.) This provision does not apply to U.S. Domestic
    Transactions.
16. For a U.S. Domestic Transaction completed by a Merchant certified to use Card Verification
    Value 2 in lieu of an Imprint and all of the following: (This only applies in the U.S. Region.)
    a. An Imprint is missing from the draft (This only applies in the U.S. Region.)
    b. A result code of "M" (fully matched) or "U" (unsupported) is received in response to Card
       Verification Value 2 data in the Authorization Request (This only applies in the U.S. Region.)
    c.   The Acquirer fulfilled the Retrieval Request by also providing a copy of the certification
         provided by Visa to the Acquirer for that Merchant (This only applies in the U.S. Region.)
17. For a U.S. Domestic Transaction, any of the following Card-Present Environment Transaction
    types: (This only applies in the U.S. Region.)
    a. CPS/Retail, unless no signature or PIN was obtained (This only applies in the U.S. Region.)
    b. Limited-Amount Terminal, unless Magnetic-Stripe Telephone (This only applies in the U.S.
       Region.)
    c.   Self-Service Terminal Transaction that was completed with a Counterfeit Card and received
         an Approval Response to a request that included a "05," "07," "90," or "91" in the POS Entry
         Mode code field (This only applies in the U.S. Region.)
    d. Vehicle-Specific Fleet Card Transaction, if Imprint obtained (This only applies in the U.S.
       Region.)
    e. Effective for Transactions completed through 16 April 2010, Transactions under US $25
       completed at a Point-of-Transaction Terminal with Contactless Payment capability. This
       condition applies to certain Custom Payment Service qualified Contactless Payment,
       Magnetic-Stripe, or Chip Transactions (i.e., CPS/Retail, CPS/Supermarket, CPS/Retail 2,
       CPS/Restaurant, CPS/Service Station, CPS/Small Ticket in Face-To-Face Environments),
       except for Transactions where the Account Number was key entered. The Issuer must verify
       that the POS Entry Mode field indicated that the Account Number was key-entered. (This only
       applies in the U.S. Region.)




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      f.   Effective for Transactions completed on or after 17 April 2010 through 15 October
           2010, Visa Easy Payment Service Transactions less than or equal to US $25 completed at a
           Point-of-Transaction Terminal with Contactless Payment capability. This condition applies to
           certain Custom Payment Service qualified Contactless Payment Transactions, Magnetic-
           Stripe Transactions, or Chip Transactions (i.e., CPS/Retail, CPS/ Supermarket, CPS/Retail 2,
           CPS/Restaurant, CPS/Service Station, CPS/Small Ticket in Face-To-Face Environments),
           except for Transactions where the Account Number was key entered. The Issuer must verify
           that the POS Entry Mode field indicated that the Account Number was key-entered. (This only
           applies in the U.S. Region.)

ID#: 050411-171009-0007642



Chargeback Time Limit - Reason Code 81

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007644



Chargeback Processing Requirements - Reason Code 81 (Updated)

Member Message Text:

1. For Chargeback Condition 1: RR DATE MMDDYY, if requested Transaction Receipts not fulfilled
2. For Chargeback Condition 2: One of the following, as applicable:
      a. NO SUCH CARD
      b. FICTITIOUS ACCOUNT NUMBER
      c. RR DATE MMDDYY, if requested Transaction Receipt not fulfilled
3. For Chargeback Condition 3, either that applies:
      a. PIN PREFERRING CHIP CARD, DEVICE NON PIN COMP
      b. EMV CARD, NON EMV DEVICE

Documentation or certification using Visa Resolve Online Questionnaire or Exhibit 2E-2 Issuer:

1. For Chargeback Condition 1: All of the following:
      a. The information required on the "Summary of Unauthorized Telephone Service Transactions"
         (Exhibit 2F) if applicable
      b. Effective through 15 April 2011, Cardholder letter denying authorization or participation in
         the Transaction
      c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
           Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or participation in
           the Transaction (This only applies in Visa Europe.)
      d. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011, for
         Transactions not involving Issuers or Acquirers in Visa Europe, either the Cardholder letter
         denying authorization or participation in the Transaction, or:
           i.    Certification that the Cardholder denies authorization or participation in the Transaction
           ii.   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)



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         iii. Certification of the date Fraud Activity was reported through VisaNet
         iv. Certification of the date Account Number was listed on the Exception File
    e. Effective for Chargebacks processed on or after 15 October 2011, for Transactions not
       involving Issuers or Acquirers in Visa Europe:
         i.    Cardholder letter denying authorization or participation in the Transaction, or certification
               that Cardholder denies authorization or participation in the Transaction
         ii.   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
         iii. Certification of the date Fraud Activity was reported through VisaNet
         iv. Certification of the date Account Number was listed on the Exception File
    f.   Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions
         in Brazil, the Issuer may provide certification in lieu of the Cardholder letter. (This only applies
         in the Latin America & Caribbean Region.)
2. For Chargeback Condition 3: All of the following:
    a. Issuer certification that the Card was a PIN-Preferring Chip Card
    b. Effective through 15 April 2011, Cardholder letter denying authorization or participation in
       the Transaction
    c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
         Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or participation in
         the Transaction (This only applies in Visa Europe.)
    d. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011, for
       Transactions not involving Issuers or Acquirers in Visa Europe, Cardholder letter denying
       authorization or participation in the Transaction, or:
         i.    Certification that the Cardholder denies authorization or participation in the Transaction
         ii.   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
         iii. Certification of the date Fraud Activity was reported through VisaNet using Fraud Type
              Codes 0, “Lost,” 1, “Stolen,” or 2, “Card not Received as Issued (NRI)”
         iv. Certification of the date Account Number was listed on the Exception File
    e. Effective for Chargebacks processed on or after 15 October 2011, for Transactions not
       involving Issuers or Acquirers in Visa Europe:
         i.    Cardholder letter denying authorization or participation in the Transaction, or certification
               that Cardholder denies authorization or participation in the Transaction
         ii.   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
         iii. Certification of the date Fraud Activity was reported through VisaNet using Fraud Type
              Codes 0, “Lost,” 1, “Stolen,” or 2, “Card not Received as Issued (NRI)”
         iv. Certification of the date Account Number was listed on the Exception File
    f.   Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions
         in Brazil, the Issuer may provide certification in lieu of the Cardholder letter. (This only applies
         in the Latin America & Caribbean Region.)

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Representment Time Limits - Reason Code 81

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007646



Representment Rights and Limitations - Reason Code 81 (Updated)
1. For Chargeback Condition 1, any of the following:
      a. Account was not closed
      b. Account was not listed on the Exception File
      c.   Transaction was not reported as fraud
      d. For a Self-Serve Terminal Transaction, Transaction was reported as counterfeit fraud type 4
2. For Chargeback Condition 3, any of the following:
      a. Account was not closed
      b. Account was not listed on the Exception File
      c.   Transaction was not reported as fraud
      d. Transaction was reported as counterfeit fraud type 4
3. For Chargeback Condition 1 and 2, Representment is invalid if Acquirer failed to respond to
   Retrieval Request or responded with a Nonfulfillment Message code "03" or "04," or provided a
   Fulfillment which does not contain all the required data elements, as specified in "Transaction
   Receipt Fulfillment Documents - Data Requirements."
4. For U.S. Domestic Transaction, a certified Merchant included the Card Verification Value 2 in the
   Authorization Request and received a result code of "M" (fully matched) or "U" (unsupported)
   (This only applies in the U.S. Region.)
5. For a LAC Easy Pay Transaction, the Acquirer can provide information or documentation to
   support the claim (This only applies in the Latin America & Caribbean Region.)
6. Effective for Chargebacks processed on or after 16 April 2011, the Acquirer must not
   represent a Transaction because of the failure by the Issuer to certify the following: (The right to
   certify does not apply to Transactions involving Issuers or Acquirers in Visa Europe.)
      a. Card status at the time of the Transaction (lost, stolen, counterfeit)
      b. Date Fraud Activity was reported through VisaNet
      c. Date Account Number was listed on the Exception File

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Representment Processing Requirements - Reason Code 81 (Updated)

Member Message Text:

1. Credit or Reversal was processed.
    a. Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
2. Issuer did not meet the applicable Chargeback conditions.
    a. For Chargeback Condition 1 and 2: X...X (Specify the reason)
    b. For Chargeback Condition 3: As applicable:
         i.    X...X (Specify the reasons)
         ii.   EMV PIN COMPL DVCE, NON PIN PREF CD
         iii. NO PED, MAG STRIPE READ
         iv. PIN BYPASS, CVM/IAC FOLLOWED
         v. EXCP FILE NOT LSTD, FRD NOT RPT, ACC NOT CLSD
3. Acquirer can remedy the Chargeback.
    a. For Chargeback Condition 1: None Required
    b. For Chargeback Condition 2: AUTH DATE MMDDYY CODE X...X (if applicable)

ID#: 050411-171009-0007648



Documentation - Reason Code 81
1. Issuer did not meet the applicable Chargeback conditions.
    a. For a Representment due to an Issuer failing to meet the requirements specified in
       Chargeback Rights and Limitations 2, the Acquirer must provide information/documentation
       to support this claim, such as evidence indicating Card Account Number was not listed on the
       Exception File, or account was not closed or Transactions were not reported as fraud or
       Transaction was reported as counterfeit fraud type 4
    b. As applicable
2. Acquirer can remedy the Chargeback.
    a. For Chargeback Condition 1 and 2: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-
       2 Acquirer and one of the following:
         i.    Evidence of both:
               •   A legible Imprint for the Transaction in question
               •   A signature or PIN
         ii.   For a below-Floor Limit Transaction, evidence of signature or PIN and internal record or
               log proving Magnetic-Stripe read or Chip-initiated, with explanation of fields




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           iii. For an above-Floor Limit Transaction (excluding U.S. Domestic Transactions) that was
                key-entered following a Referral Response, all of the following:
                 •     Referral Authorization record proving Magnetic-Stripe read or Chip-initiated within 24
                       hours of the Transaction
                 •     International Automated Referral Service log
                 •     Evidence of signature or PIN
           iv. For an Airline Transaction only (excluding U.S. Domestic Transactions) for Chargeback
               Condition 1, compelling evidence that the Cardholder participated in the Airline
               Transaction
      b. For Chargeback Condition 3: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-2
         Acquirer and evidence of both:
           i.    A valid Imprint for the Transaction in question
           ii.   PIN
      c.   For a LAC Easy Pay Transaction, "Participation Request and Consent Form" with Card
           Imprint and Cardholder Signature (This only applies in the Latin America & Caribbean
           Region.)

ID#: 171009-171009-0007649



Additional Information - Reason Code 81 (Updated)
1. Validity of the Chargeback is not dependent on Authorization.
2. "Signature on file" notation is not an acceptable signature.
3. Pencil rubbing of Card or photocopy of Card is not considered proof of a valid Imprint.

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Reason Code 82 Duplicate Processing


Overview - Reason Code 82

Time Limit: 120 calendar days

A single Transaction was processed more than once.

ID#: 171009-171009-0007658



Chargeback Conditions - Reason Code 82

A single Transaction was processed more than once.

ID#: 171009-171009-0007659



Chargeback Rights and Limitations - Reason Code 82
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)
2. If the Transaction was processed by different Acquirers or Originating Members, the Acquirer or
   Originating Member that processed the second Transaction is responsible for the Chargeback.
3. Effective for Transactions completed through 16 April 2010, for a U.S. Domestic Transaction
   under US $25 completed at a Point-of-Transaction Terminal with Contactless Payment capability,
   Transaction amounts must be the same (This only applies in the U.S. Region.)
4. Effective for Transactions completed on or after 17 April 2010 through 15 October 2010, for
   a U.S. Domestic Transaction less than or equal to US $25 completed at a Point-of-Transaction
   Terminal with Contactless Payment capability, Transaction amounts must be the same (This only
   applies in the U.S. Region.)
5. Effective for Transactions completed through 15 October 2010, for a U.S. Domestic Small
   Ticket Transaction, Transaction amount must be the same (This only applies in the U.S. Region.)

ID#: 081010-171009-0007660




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Invalid Chargebacks - Reason Code 82 (Updated)

Chargeback is invalid for any of the following:

1. Magnetic-Stripe Telephone Transaction for an individual call charge, if the following information is
   not identical to a previously submitted Transaction (excluding U.S. Domestic Transactions):
      a. Date of call
      b. Number of minutes of the call
      c.   Telephone number called
      d. Transaction amount in the Transaction Currency
2. Chip-initiated Transactions with differing application Transaction counter values

ID#: 050411-171009-0007661



Chargeback Time Limit - Reason Code 82

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007662



Chargeback Processing Requirements - Reason Code 82

Member Message Text:

1. Effective for Transactions completed through 16 April 2010, FIRST TRAN DATE MMDDYY,
   REF X...X (23- or 24-digit Acquirer Reference Number or applicable Tracing Data)
2. Effective for Transactions completed on or after 17 April 2010, TRAN DATE MMDDYY, REF
   X...X (23- or 24-digit Acquirer Reference Number or applicable Tracing Data)
Documentation: None required.

ID#: 010410-171009-0007663



Representment Time Limit and Conditions - Reason Code 82

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007664




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Representment Processing Requirements - Reason Code 82
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions, either that applies:
    a. Member Message Text:
         i.    X...X (Specify the reason)
         ii.   DIFF. APPL. TRXN. COUNTERS
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text: For an ATM Transaction processed more than once, either that
       applies:
         i.    CASH DISPNS SEQ #XXXXX AND SEQ #XXXXX
         ii.   ACQR CERTS ATM IN BALANCE ON MMDDYY
    b. Documentation:
         i.    For an ATM Transaction, none required.
         ii.   For all other Transactions, both:
               •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
               •   Either:
                   –    Submit two separate signed or imprinted Transaction Receipts or other record to
                        prove separate Transactions were processed
                   –    For a Magnetic-Stripe Telephone Transaction, documentation to demonstrate
                        that the time of the call is different for each Transaction

ID#: 171009-171009-0007665



Additional Information - Reason Code 82
1. For a Representment, if two separate signed or imprinted Transaction Receipts are not provided,
   evidence should be proof that the Transactions were not for the same service or merchandise.
2. Chargeback is available if Transaction amounts or dates are different.

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Reason Code 83 Fraud—Card-Absent Environment


Overview - Reason Code 83

Time Limit: 120 calendar days

Cardholder did not authorize or participate in a Card-Absent Transaction or Transaction was
processed with a Fictitious Account Number or no valid Card was outstanding bearing the Account
Number on the Transaction Receipt.

ID#: 171009-171009-0007668



Chargeback Conditions - Reason Code 83
1. Cardholder did not authorize or participate in a Card-Absent Environment Transaction.
2. No valid Card was issued or outstanding that bears the Account Number used in a Card-Absent
   Environment, or a fraudulent Transaction was completed in a Card-Absent Environment using a
   Fictitious Account Number and no Authorization was obtained.

ID#: 171009-171009-0007669



Chargeback Rights and Limitations - Reason Code 83 (Updated)
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
         Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
         America & Caribbean Region.)
      e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)
2. Issuer must retrieve a copy of the Transaction Receipt prior to exercising the Chargeback right
   unless Transaction is one of the following:
      a. Mail/Phone Order Transaction
      b. Electronic Commerce Transaction
      c.   Recurring Transaction
      d. For a U.S. Domestic Preauthorized Health Care Transaction (This only applies in the U.S.
         Region.)
      e. For a U.S. Domestic Transaction where the Merchant city field of the Clearing Record of an
         Airline or passenger railway Transaction contains the words "ticket mailed" (This only applies
         in the U.S. Region.)



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3. For Chargeback Condition 1, on or before the Chargeback Processing Date, the Issuer must
   complete all of the following:
                                               85
     a. Close the Cardholder account
     b. List the Account Number on the Exception File with a Pickup Response, for a minimum of 30
                      86
        calendar days
     c.   Report the Fraud Activity through VisaNet
4. For Chargeback Condition 1 or 2, prior to processing the Chargeback, the Account Number must
   be listed on the Exception File with a negative response. This provision applies to Intraregional
   Transactions in the AP Region. (This only applies in the Asia Pacific Region.)
5. One Chargeback may contain up to 25 Telephone Service Transactions if all of the following are
   true (excluding U.S. Domestic Transactions):
     a. Amount of each Transaction is less than US $40
     b. All Transactions appear on the Summary of Unauthorized Telephone Service Transactions
        (Exhibit 2F)
     c.   Chargeback uses the Acquirer Reference Number/Tracing Data of the earliest Transaction
6. For Chargeback Condition 1, Chargeback is valid for an Electronic Commerce Transaction where
   the Issuer responded to an Authentication Request with either:
     a. An Unable-to-Authenticate Response or Authentication Denial
     b. A Cardholder Authentication Verification Value and Authentication Identifier, but either the:
          i.    Acquirer did not provide a Cardholder Authentication Verification Value in the
                Authorization Request
          ii.   Cardholder Authentication Verification Value results code is "0"
7. Chargeback is valid, regardless of the Electronic Commerce indicator value for Electronic
   Commerce Transactions conducted by Merchants in the following Merchant categories: This
   provision applies to U.S. Domestic Transactions. (This only applies in the U.S. Region.)
     a. Wire Transfer Money Orders (4829) (This only applies in the U.S. Region.)
     b. Direct Marketing - (This only applies in the U.S. Region.) Inbound Teleservices Merchant
        (5967) (This only applies in the U.S. Region.)
     c.   Non-Financial Institutions - Foreign Currency, Money Orders (not Wire Transfer), Travelers'
          Cheques (6051) (This only applies in the U.S. Region.)
     d. Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
        Race Tracks (7995) (This only applies in the U.S. Region.)
8. Chargeback is valid for Advance Payment Services. This provision applies to Domestic
   Transactions in the U.S. Region. (This only applies in the U.S. Region.)
9. For a LAC Easy Pay Transaction, Issuer does not have to obtain a copy of the Transaction
   Receipt from the Acquirer to verify a Chargeback right. (This only applies in the Latin America &
   Caribbean Region.)




85
   This provision does not apply to Domestic Merchant Proximity Payment Device (MPPD) Transactions in the jurisdiction of
the Visa Canada.
86
   This provision does not apply to Domestic Merchant Proximity Payment Device (MPPD) Transactions in the jurisdiction of
the Visa Canada.


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10. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic Electronic
    Commerce Transaction in Brazil, Chargeback is valid if the Transaction was processed with
    Electronic Commerce indicator value "6." (This only applies in the Latin America & Caribbean
    Region.)

ID#: 080411-171009-0007670



Invalid Chargebacks - Reason Code 83 (Updated)

Chargeback is invalid for any of the following:

1. Emergency Cash Disbursement
2. Chargeback Condition 2, for a Transaction where an Authorization was obtained
3. Chargeback Condition 2, for a Transaction where a Fictitious Account Number was used and was
   authorized by the Issuer or Stand-In Processing This provision applies to Intraregional
   Transactions in the AP Region. (This only applies in the Asia Pacific Region.)
4. Chargeback Condition 1 for Intraregional Electronic Commerce Transactions in the AP Region
   processed with an Electronic Commerce indicator of "5" or "6," all of the following: (This only
   applies in the Asia Pacific Region.)
      a. The Card Verification Value 2 presence indicator in the Authorization Request is "1 - CVV2
         value is present" (This only applies in the Asia Pacific Region.)
      b. The Card Verification Value 2 results code in the Authorization message is "N - No Match"
         (This only applies in the Asia Pacific Region.)
      c.   The Authorization Request was approved (This only applies in the Asia Pacific Region.)
5. For Intraregional Transactions in the CEMEA Region (excluding Recurring Transactions) all of the
              87
   following: (This only applies in the CEMEA Region.)
      a. The Card Verification Value 2 results code in the Authorization message is "N - No Match"
         (This only applies in the CEMEA Region.)
      b. The Authorization Request was approved (This only applies in the CEMEA Region.)
6. Transactions authorized through the Emergency Payment Authorization Service, excluding U.S.
   Domestic Transactions
7. Mail/Phone Order or Electronic Commerce Transactions, if the Issuer was unable to respond to
   Address Verification Service Authorization Request because Transaction was attempted with a
   Visa Commercial Card or a Card type where the Cardholder is anonymous. This provision applies
   to Canada Domestic Transactions. (This only applies in the Canada Region.)
8. Mail/Phone Order or Electronic Commerce Transactions, if both: This provision applies to U.S.
   Domestic Transactions (This only applies in the U.S. Region.)
      a. Merchandise was shipped or delivered, or services were purchased (This only applies in the
         U.S. Region.)
      b. Issuer was not a participant in the Address Verification Service on the Transaction Date and
         Acquirer received an Address Verification Service response code "U" (This only applies in the
         U.S. Region.)




87
  An Electronic Commerce Merchant identified by the U.S. Merchant Chargeback Monitoring Program or Risk Identification
Service (RIS) Online must include an Electronic Commerce indicator value of "7," and is subject to this Chargeback for the
period of time it remains in the Merchant Chargeback Monitoring Program or RIS Online, plus 4 additional months.


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9. Airline ticket purchase, if either of the following: This provision applies to U.S. Domestic
   Transactions (This only applies in the U.S. Region.)
     a. Issuer response to an Address Verification Service inquiry was "Y" and tickets were mailed to
        the Cardholder billing address on the Issuer file (This only applies in the U.S. Region.)
     b. Issuer was not a participant in the Address Verification Service on the Transaction Date (This
        only applies in the U.S. Region.)
10. Transactions where both:
     a. The Card Verification Value 2 results code in the Authorization message is "U - Issuer not
        participating in CVV2 program"
     b. The Card Verification Value 2 presence indicator in the Authorization Request is one of the
        following:
          i.    "1 - CVV2 value is present"
          ii.   "2 - CVV2 value is on the Card but is illegible"
          iii. "9 - Cardholder states CVV2 is not present on the Card"
                                                                                                                        88
11. The following Electronic Commerce Transactions (excluding U.S. Domestic Transactions):
     a. Secure Electronic Commerce Transaction, if both:
          i.    Issuer responded to an Authentication Request with an Authentication Confirmation using
                3-D Secure
          ii.   Both of the following were included in the Authorization Request:
                •   Cardholder Authentication Verification Value
                •   Authentication Identifier
     b. Non-Authenticated Security Transaction, excluding Domestic Transactions in Brazil
        completed on or after 1 July 2010, processed with Electronic Commerce indicator value "6"
        if either:
          i.    Issuer, or Visa on behalf of an Issuer, responded to an Authentication Request with a
                Non-Participation Message
          ii.   All of the following:
                •   Issuer, or Visa on behalf of an Issuer, responded to an Authentication Request with
                    an Attempt Response using 3-D Secure
                •   A Cardholder Authentication Verification Value and Authentication Identifier were
                    included in the Authorization Request
                •   An exception applies to anonymous Visa Prepaid Card Transactions, Visa
                    Commercial Card Transactions and Transactions conducted in New Channels. The
                    exclusion of Visa Commercial Cards does not apply to the Intraregional Transactions
                    in the jurisdiction of the Asia-Pacific Region.




88
  An Electronic Commerce Merchant identified by the Global Merchant Chargeback Monitoring Program must include
Electronic Commerce Indicator value "7" and is subject to this Chargeback for the period of time it remains in the Global
Merchant Chargeback Monitoring Program, plus 3 additional months


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12. Intraregional Electronic Commerce Transactions in the jurisdiction of the U.S. region, as follows:
    An Electronic Commerce Merchant identified by the U.S. Merchant Chargeback Monitoring
    Program or Risk Identification Service (RIS) Online must include an Electronic Commerce
    indicator value of "7," and is subject to this Chargeback for the period of time it remains in the
    Merchant Chargeback Monitoring Program or RIS Online, plus 4 additional months. (This only
    applies in the U.S. Region.)
      a. For a Secure Electronic Commerce Transaction processed with Electronic Commerce
         indicator value "5" in the Authorization Request, if both: (This only applies in the U.S.
         Region.)
          i.    The Issuer responded to an Authentication Request with an Authentication Confirmation
                using 3-D Secure (This only applies in the U.S. Region.)
          ii.   A Cardholder Authentication Verification Value was included in the Authorization Request
                (This only applies in the U.S. Region.)
      b. Non-Authenticated Security Transaction processed with Electronic Commerce indicator value
         "6" in the Authorization Request, if both: (This only applies in the U.S. Region.)
          i.    The Issuer, or Visa on behalf of an Issuer, responded to an Authentication Request with
                an Attempt Response using 3-D Secure (This only applies in the U.S. Region.)
          ii.   Any of the following: (This only applies in the U.S. Region.)
                •   A Cardholder Authentication Verification Value was included in the Authorization
                    Request or (This only applies in the U.S. Region.)
                •   A Cardholder Authentication Verification Value was not included in the Authorization
                    Request and the Verified Enrollment Response is "N" (This only applies in the U.S.
                    Region.)
                •   An exception applies to anonymous Visa Prepaid Card Transactions, Commercial
                    Visa Product Transactions, and Transactions conducted in New Channels. (This only
                    applies in the U.S. Region.)

ID#: 050411-171009-0007671



Chargeback Time Limit - Reason Code 83

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007672




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Chargeback Processing Requirements - Reason Code 83 (Updated)

Member Message Text:

For Chargeback Condition 1:

1. RR DATE MMDDYY, if requested Transaction Receipts not fulfilled
2. One of the following, as applicable:
    a. UNABLE TO AUTHENTICATE RESPONSE
    b. AUTHENTICATION DENIAL
    c.   CAVV AND AUTHENTICATION IDENTIFIER MISSING IN AUTH
    d. SEE 3-D SECURE RESPONSE SENT MMDDYY

Documentation or certification using Visa Resolve Online Questionnaire or Exhibit 2E-2 Issuer: All of
the following:

1. The information required on the "Summary of Unauthorized Telephone Service Transactions"
   (Exhibit 2F), if applicable
2. Effective through 15 April 2011, Cardholder letter denying authorization or participation in the
   Transaction
3. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or participation in the
   Transaction (This only applies in Visa Europe.)
4. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011, for
   Transactions not involving Issuers or Acquirers in Visa Europe, Cardholder letter denying
   authorization or participation in the Transaction, or:
    a. Certification that the Cardholder denies authorization or participation in the Transaction
    b. Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
    c.   Certification of the date Fraud Activity was reported through VisaNet
    d. Certification of the date Account Number was listed on the Exception File
5. Effective for Chargebacks processed on or after and 15 October 2011, for Transactions not
   involving Issuers or Acquirers in Visa Europe:
    a. Cardholder letter denying authorization or participation in the Transaction, or certification that
       Cardholder denies authorization or participation in the Transaction
    b. Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
    c.   Certification of the date Fraud Activity was reported through VisaNet
    d. Certification of the date Account Number was listed on the Exception File
6. Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions in
   Brazil, the Issuer may provide certification in lieu of the Cardholder letter. (This only applies in the
   Latin America & Caribbean Region.)




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For Chargeback Condition 2:

1. NO SUCH CARD
2. FICTITIOUS ACCOUNT NUMBER
3. RR DATE MMDDYY (if requested Transaction Receipt not fulfilled)
Documentation: None required.

ID#: 050411-171009-0007673



Representment Time Limits - Reason Code 83

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007674



Representment Conditions - Reason Code 83
1. Chargeback is improper or invalid or credit was processed.
2. Representment is invalid if Acquirer failed to respond to Retrieval Request or responded with a
   Nonfulfillment Message code "03" or "04," or provided a Fulfillment which does not contain all the
   required data elements as specified in the Transaction Receipt Fulfillment Documents - Data
   Requirements section
3. For a LAC Easy Pay Transaction, the Acquirer can provide information or documentation to
   support the claim. (This only applies in the Latin America & Caribbean Region.)
4. Transaction Receipt contains both a signature (or PIN was obtained) and an Electronic Imprint
   (use of POS entry code of "02," "90," "05," or "07") or a Manual Imprint for the disputed
   Transaction in question
5. Merchant attempted to authenticate the Cardholder using the 3-D Secure Specification but the
   Cardholder was not participating.
6. Acquirer must not re-present a No-Show Transaction related to a Peak-Time car rental
   reservation. This provision applies to U.S. Domestic Transactions. (This only applies in the U.S.
   Region.)
7. Transaction was Chip-Initiated and contained a valid Cryptogram. This provision applies to
   Intraregional Transactions in the CEMEA Region. (This only applies in the CEMEA Region.)

ID#: 081010-171009-0007675



Representment Rights and Limitations - Reason Code 83 (New)
1. Effective for Chargebacks processed on or after 16 April 2011, the Acquirer must not represent a
   Transaction because of the failure by the Issuer to certify the following: (The right to certify does
   not apply to Transactions involving Issuers or Acquirers in Visa Europe.)
      a. Card status at the time of the Transaction (lost, stolen, counterfeit)
      b. Date Fraud Activity was reported through VisaNet
      c.   Date Account Number was listed on the Exception File

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Representment Processing Requirements - Reason Code 83

Member Message Text:

1. If Credit or Reversal was processed.
    a. Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
2. If Issuer did not meet the applicable Chargeback conditions
    a. X...X (Specify the reason)
3. Acquirer can remedy the Chargeback.
    a. For Chargeback Condition 1, none required.
    b. For Chargeback Condition 2, AUTH MMDDYY CODE X...X (if applicable)
    c.   Chargeback Condition 1 and 2 - CVV2 NON MATCH; ISSR AUTH'D; CVV2 CHECKED This
         provision applies to Intraregional Transactions in the CEMEA Region (This only applies in the
         CEMEA Region.)
Documentation:
1. If Credit or Reversal was processed, none required.
2. Issuer did not meet the applicable Chargeback conditions
    a. For a Representment due to an Issuer failing to meet the requirements as specified in
       Chargeback Rights and Limitations 3, the Acquirer must provide information/documentation
       to support this claim such as evidence indicating Card Account Number was not listed on the
       Exception File, or account was not closed, or Transactions were not reported as fraud.
3. If Acquirer can remedy the Chargeback, as follows:
    a. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-2 Acquirer
    b. Evidence of Imprint and signature or PIN
    c.   If a Secure Electronic Commerce or Non-Authenticated Security Transaction has an
         Electronic Commerce indicator value "6," proof that Issuer responded to the Authentication
         Request with a Cardholder Authentication Verification Value and Authentication Identifier (if
         applicable)
    d. For Chargeback Condition 1, compelling evidence that the Cardholder participated in the
       Transaction, excluding U.S. Domestic Transactions
    e. For a LAC Easy Pay Transactions, "The Participation Request and Consent Form" with Card
       Imprint and Cardholder signature (This only applies in the Latin America & Caribbean
       Region.)
    f.   Completed Visa Resolve Online Questionnaire, and for Representment Condition 8,
         documents to prove. This provision applies to Intraregional Transactions in the CEMEA
         Region (This only applies in the CEMEA Region.)
    g. The following provisions apply to Intraregional Transactions in the U.S. Region: (This only
       applies in the U.S. Region.)
         i.    For a Fictitious Account Number properly authorized information to prove. (This only
               applies in the U.S. Region.)
         ii.   For a Chip-initiated Transaction, documents to prove valid PIN (offline or online). (This
               only applies in the U.S. Region.)


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         iii. For a Secure Electronic Commerce Transaction, 3-D Secure Authentication History log to
              prove authentication. (This only applies in the U.S. Region.)
         iv. Documents to prove No-Show Transaction was processed properly, including all of the
             following: (This only applies in the U.S. Region.)
              •   Cardholder telephone number and mailing address (This only applies in the U.S.
                  Region.)
              •   Scheduled check-in date (This only applies in the U.S. Region.)
              •   Confirmation code (This only applies in the U.S. Region.)
         v.   Acquirer's log showing the Address Verification Service response of "Y" and carrier
              certification that merchandise was delivered to the address indicated in the Address
              Verification Service. (This only applies in the U.S. Region.)
         vi. Address Verification Service log and Substitute Transaction Receipt or other record
             proving Airline ticket sent to Cardholder billing address. (This only applies in the U.S.
             Region.)
         vii. For a CPS/Passenger Transport, Card-Not-Present Transaction, copy of Cardholder
              signed agreement. (This only applies in the U.S. Region.)
         viii. For a Preauthorized Health Care Transaction, Preauthorized Health Care Transaction
               Form that contains a signature and Imprint. (This only applies in the U.S. Region.)
         ix. For an Advance Payment Service Transaction, all of the following: (This only applies in
             the U.S. Region.)
              •   Cardholder telephone number (This only applies in the U.S. Region.)
              •   Cardholder mailing address (This only applies in the U.S. Region.)
              •   Confirmation code provided to Cardholder (This only applies in the U.S. Region.)
         x.   Effective for Chargebacks processed on or after 1 July 2010, for Domestic
              Transactions in Brazil conducted by Merchants in the following Merchant Category
              Codes: (This only applies in the Latin America & Caribbean Region.)
              •   3000-3299, “Airlines, Air Carriers" (This only applies in the Latin America &
                  Caribbean Region.)
              •   4511, “Airlines and Air Carriers (Not Elsewhere Classified)” (This only applies in the
                  Latin America & Caribbean Region.)
              •   4722, “Travel Agencies and Tour Operators” (This only applies in the Latin America &
                  Caribbean Region.)
              All of the following is required: (This only applies in the Latin America & Caribbean
              Region.)
              •   Copy of the front of the Card (This only applies in the Latin America & Caribbean
                  Region.)
              •   Copy of the front and back of a legal document that identifies the Cardholder (This
                  only applies in the Latin America & Caribbean Region.)
              •   Copy of a voucher or ticket with passenger's name issued by travel agency and/or
                  airline (This only applies in the Latin America & Caribbean Region.)
              •   Copy of the debit authorization form with all of the following: (This only applies in the
                  Latin America & Caribbean Region.)
                  -   Primary Cardholder's name (This only applies in the Latin America & Caribbean
                      Region.)
                  -   Passengers names (This only applies in the Latin America & Caribbean Region.)

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                   -    Account number (This only applies in the Latin America & Caribbean Region.)
                   -    Card expiration date (This only applies in the Latin America & Caribbean
                        Region.)
                   -    Primary Cardholder's phone number (This only applies in the Latin America &
                        Caribbean Region.)
                   -    Airline name (This only applies in the Latin America & Caribbean Region.)
                   -    Authorization Code (This only applies in the Latin America & Caribbean Region.)
                   -    Transaction amount (This only applies in the Latin America & Caribbean Region.)
                   -    Installment Transaction count (This only applies in the Latin America &
                        Caribbean Region.)
                   -    Installment Transaction amount (This only applies in the Latin America &
                        Caribbean Region.)
                   -    Airport tax amount (This only applies in the Latin America & Caribbean Region.)
                   -    Date of the debit authorization form (This only applies in the Latin America &
                        Caribbean Region.)
                   -    Cardholder signature (must match Cardholder's signature on the signature panel)
                        (This only applies in the Latin America & Caribbean Region.)
         xi. Effective for Chargebacks processed on or after 1 July 2010, for Domestic
             Transactions in Brazil conducted by Merchants in the following Merchant Category
             Codes:
              •    5814 "Fast Food Restaurants"
              •    7922 "Theatrical Producers (Except Motion Pictures) and Ticket Agencies"
              The following is required:
              •    Documentation signed by the Cardholder to prove that Cardholder received services
                   or merchandise at agreed-upon location (This only applies in the Latin America &
                   Caribbean Region.)

ID#: 081010-171009-0007676



Additional Information - Reason Code 83
1. "Signature on file" notation is not an acceptable signature.
2. Pencil rubbing of the Card or a photocopy of the Card is not considered proof of a valid Imprint.
3. For Chargeback Rights and Limitations 2, use the MOTO or ECI indicator or the Merchant
   Category Code to determine Transaction type.

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Reason Code 85 Credit Not Processed


Overview - Reason Code 85

Time Limit: 120 calendar days

A Merchant did not process a Credit Transaction Receipt as required.

ID#: 171009-171009-0007678



Chargeback Conditions - Reason Code 85 (Updated)
1. Effective through 15 April 2011, Cardholder received a Credit or voided Transaction Receipt
   that was not processed.
2. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Cardholder received a Credit or voided Transaction Receipt
   that was not processed.
3. All of the following:
      a. Cardholder returned merchandise, cancelled merchandise, or cancelled services
      b. Merchant did not issue or process a Credit or, effective 16 April 2011, voided Transaction
         Receipt
      c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
           Issuers or Acquirers in Visa Europe, Merchant did not issue or process a Credit Transaction
           Receipt
      d. Merchant did not properly disclose or did disclose, but did not apply a limited return or
         cancellation policy at the time of the Transaction
4. All of the following:
      a. Cardholder cancelled a Timeshare Transaction
      b. Cancellation was within 14 calendar days from the contract date or receipt date of the
         contract or related documents
      c.   Merchant did not issue a Credit Transaction Receipt
5. Any of the following:
      a. Cardholder properly cancelled the guaranteed reservation
      b. Cardholder was billed a No-Show Transaction and properly cancelled
      c.   Cardholder provides cancellation code provided by a Hotel or third party booking agent. A
           Hotel using a third party booking agent must accept the cancellation code provided by the
           third party booking agent.
      d. Merchant or third party booking agent failed to accept cancellation or provide a cancellation
         code
      e. Cardholder attempted to cancel before 6:00 p.m. Merchant Outlet time and the reservation
         was made within 72 hours of the scheduled arrival date but was billed for a No-Show
         Transaction
      f.   A Hotel Merchant or third party booking agent billed for a No-Show Transaction for more than
           one night's stay and applicable taxes when reservation was cancelled or unclaimed


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6. For an Advance Deposit Transaction, one of the following:
    a. Cardholder properly cancelled the Advance Deposit Transaction but Merchant did not issue a
       Credit Transaction Receipt
    b. Merchant provided alternate accommodations but did not issue a Credit Transaction Receipt
    c.   For a U.S. Domestic Transaction, Merchant provided alternate accommodations or an
         alternate vehicle but did not issue a Credit Transaction Receipt (This only applies in the U.S.
         Region.)
    d. Merchant did not inform Cardholder of the Hotel or Cruise Line cancellation policy
7. Effective through 14 February 2010, an Original Credit, excluding a U.S. Domestic Transaction,
   was not accepted because either:
    a. Recipient refused the Original Credit
    b. Original Credit is prohibited by local law
8. Effective 15 February 2010, an Original Credit Transaction (including a Money Transfer Original
   Credit Transaction) was not accepted because either:
    a. Recipient refused the Original Credit
    b. Original Credit is prohibited by local law
9. For a U.S. Domestic Advance Payment Service Transaction, Cardholder properly cancelled the
   Advance Payment Service Transaction but Merchant did not issue a Credit Transaction Receipt
   (This only applies in the U.S. Region.)

ID#: 050411-171009-0007679



Chargeback Rights and Limitations - Reason Code 85
1. For Chargeback Condition 1, 2, 3, 4, 5, and 6:
    a. Minimum Chargeback amount for a T&E Transaction is US $25 or equivalent
    b. Minimum Chargeback amount for a Canada Domestic T&E Transaction is CAD $25 (This
       only applies in the Canada Region.)
    c.   Minimum Chargeback amount for all other Canada Domestic Transactions is CAD $10
    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)
    f.   Issuer must determine that the Cardholder attempted to resolve the dispute with the
         Merchant. (Not applicable if prohibited by local law.)
    g. Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions
       in Brazil, the Issuer may provide certification in lieu of the Cardholder letter. (This only applies
       in the Latin America & Caribbean Region.)
2. Effective through 15 October 2010, for Condition 1, Issuer must wait 30 calendar days from
   date on the Credit Transaction Receipt before initiating a Chargeback.
3. Effective 16 October 2010, for Condition 1, Issuer must wait 15 calendar days from date on the
   Credit Transaction Receipt before initiating a Chargeback.



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4. For Chargeback Condition 3, any of the following:
      a. For a dispute involving returned merchandise, Chargeback amount is limited to the unused
         portion of the returned merchandise
      b. Chargeback is valid if returned merchandise is refused by the Merchant
      c.   Effective through 15 October 2010, Issuer must wait 30 calendar days from the date of the
           merchandise was returned prior to exercising the Chargeback right. Does not apply if waiting
           period causes Chargeback to exceed Chargeback time frame.
      d. Effective 16 October 2010, Issuer must wait 15 calendar days from the date the
         merchandise was returned prior to exercising the Chargeback right. Does not apply if waiting
         period causes Chargeback to exceed Chargeback time frame.
5. For Chargeback Condition 4, Chargeback is valid for a Timeshare Transaction not processed with
   the correct Merchant Category Code.
6. Effective through 15 October 2010, if the Credit Transaction Receipt is undated, the 30-
   calendar day waiting period does not apply.
7. Effective 16 October 2010, if the Credit Transaction Receipt is undated, the 15-calendar day
   waiting period does not apply.
8. Chargeback is valid if a "void" or "cancelled" notation appears on the Transaction Receipt.

ID#: 081010-171009-0007680



Invalid Chargebacks - Reason Code 85 (Updated)
1. Chargeback is invalid for disputes regarding the quality of the service rendered or the quality of
   merchandise.
2. ATM Cash Disbursement
3. Effective through 30 September 2010, effective for Transactions completed on or after 1
   March 2010, for any Cash-Back portion of a Visa or Visa Electron Transaction (This only applies
   in the AP Region for Members in India and, effective 1 November 2010, Australia. (This only
   applies in the Asia Pacific Region.)
4. Effective 1 October 2010, for any Cash-Back portion of a Visa Cash-Back Transaction

ID#: 050411-171009-0007681



Chargeback Time Limit - Reason Code 85 (Updated)

The 120 calendar-day Chargeback time limit is calculated from either the Central Processing Date of
the Transaction or one of the following dates as applicable:

1. For Chargeback Condition 1, any of the following:
      a. Date on the Credit Transaction Receipt
      b. Date of the Cardholder letter, if Credit Transaction Receipt is undated
      c.   Date the Issuer received the Cardholder letter, if both the Credit Transaction Receipt and
           Cardholder letter are undated
2. For Chargeback Condition 3, date the merchandise was received or the expected date to receive
   services
3. For Chargeback Condition 6a, date of the Cardholder cancellation


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4. For Chargeback Condition 6b and 6c, date of Cardholder's scheduled arrival
5. For Chargeback Condition 8, Processing Date of the Original Credit, excluding a U.S. Domestic
   Transaction

ID#: 050411-171009-0007682



Chargeback Processing Requirements - Reason Code 85 (Updated)

If multiple Member Message Text are used, a Member may submit the Visa Resolve Online Dispute
Questionnaire.

1. For Chargeback Condition 1 and 2:
    a. Member Message Text: CREDIT NOT PROCESSED
    b. Documentation: Both:
         i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Issuer stating Cardholder
               attempted to resolve the dispute with the Merchant
         ii.   Copy of credit or voided Transaction Receipt
2. For Chargeback Condition 3:
    a. Member Message Text:
         i.    MERCHANDISE RETURNED MMDDYY
         ii.   MERCHANDISE CANCELLED MMDDYY
         iii. SERVICE CANCELLED MMDDYY
    b. Documentation:
         i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Issuer stating all of the
               following:
               •   Date merchandise was cancelled or returned or service cancelled
               •   Name of shipping company, if applicable
               •   Invoice/tracking number, if available
               •   Date Merchant received merchandise, if available
               •   Cardholder attempted to resolve the dispute with the Merchant
         ii.   Effective through 15 April 2011, proof that Merchant refused the return of merchandise,
               refused to provide a return merchandise authorization, or informed the Cardholder not to
               return the merchandise, excluding U.S. Domestic Transactions, if applicable
         iii. Effective for Chargebacks processed on or after 16 April 2011, in lieu of
              documentation, Issuer certification that Merchant refused the return of merchandise,
              refused to provide a return merchandise authorization, or informed the Cardholder not to
              return the merchandise, if applicable. The right to certify does not apply to Transactions
              involving Issuers or Acquirers in Visa Europe.
         iv. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
              involving Issuers or Acquirers in Visa Europe, proof that Merchant refused the return of
              merchandise, refused to provide a return merchandise authorization, or informed the
              Cardholder not to return the merchandise, if applicable (This only applies in Visa Europe.)




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3. For Chargeback Condition 4:
      a. Member Message Text:
         i.    TIMESHARE CANC MMDDYY & CONTRACT RECEIPT MMDDYY (contract receipt date
               if applicable)
         ii.   CH ATTEMPT TO RESOLVE
      b. Documentation: None required.
4. For Chargeback Condition 5:
      a. Member Message Text:
         i.    CANC MMDDYY CODE XXXX
         ii.   CH ATTEMPT TO RESOLVE
         iii. Effective 15 October 2011, CH NOT ADVISED OF CANC POLICY
      b. Documentation:
         i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Issuer stating any of the
               following:
         ii.   Cardholder properly cancelled the guaranteed reservation and one of the following:
               •   Merchant billed a No-Show Transaction
               •   Merchant failed to accept cancellation or provide a cancellation code
               •   Reservation was made within 72 hours of arrival date and canceled prior to 6 p.m.
         iii. A Hotel Merchant or third party booking agent billed a No-Show Transaction for more
              than one night's stay
         iv. Cancellation code, if available
5. For Chargeback Condition 6 and 9:
      a. Member Message Text:
         i.    For Chargeback Condition 6a or 6b, any of the following:
         ii.   CANC MMDDYY CODE XXXX
         iii. ALT ACCOMM PROVIDED NO CREDIT ISSUED
         iv. CH NOT ADVISED OF CANC POLICY
         v.    CH ATTEMPT TO RESOLVE
         vi. For a U.S. Domestic Transaction, for Chargeback Condition 6b or 6c, either that applies:
             (This only applies in the U.S. Region.)
               •   DATE CANC MMDDYY (This only applies in the U.S. Region.)
               •   ALT ACCOMM/VEHICLE PROVIDED NO CREDIT ISSUED (This only applies in the
                   U.S. Region.)
      b. Documentation: None required.
6. For Chargeback Condition 8:
      a. Effective for Chargebacks processed through 15 April 2011, Member Message Text:
         i.    RECIPIENT REFUSES CREDIT
         ii.   NOT ALLOWED BY LOCAL LAW




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    b. Effective for Chargebacks processed on or after 16 April 2011, Member Message Text:
         i.    RECIPIENT REFUSES CREDIT
         ii.   NOT ALLOWED BY LOCAL LAW
    c.   Documentation: None required.

ID#: 050411-171009-0007683



Representment Time Limit - Reason Code 85

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007684



Representment Processing Requirements - Reason Code 85
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: Either that applies:
         i.    X...X (Specify the reason)
         ii.   For Chargeback Condition 3, RETURNED MDSE NOT RECEIVED (if applicable)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. For Chargeback Condition 1:
         i.    Member Message Text: X...X (Specify the reason)
         ii.   Documentation: None required.
    b. For Chargeback Condition 3:
         i.    Member Message Text: None required
         ii.   Documentation: Both:
               •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
               •   Transaction Receipt or other records to prove Merchant properly disclosed a limited
                   return or cancellation policy at the time of the Transaction, as applicable
    c.   For Chargeback Condition 4:
         i.    Member Message Text: None required.
         ii.   Documentation:
               •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
               •   Documents to prove that Transaction was not cancelled within 14 calendar days of
                   the contract receipt date


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      d. For Chargeback Condition 5:
           i.    Member Message Text: None required.
           ii.   Documentation:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
                 •   Explanation of why the cancellation code was invalid, if applicable
      e. For Chargeback Condition 6
           i.    Member Message Text: None required.
           ii.   Documentation: Both:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
                 •   Documents to prove that Cardholder was informed about cancellation policy (if
                     applicable)
      f.   For Chargeback Condition 8, Originating Member can remedy the Chargeback.
           i.    Member Message Text: X...X (Specify the reason)
           ii.   Documentation: None required.

ID#: 081010-171009-0007685



Additional Information - Reason Code 85
1. If merchandise was shipped prior to cancellation the Cardholder must return the merchandise, if
   received.
2. If the Issuer provides a valid Credit or voided Transaction Receipt to support a cancellation or
   return:
      a. Proper disclosure of the Merchant's refund policy will not be considered
      b. Cardholder attempt to resolve with Merchant is not required
3. For Chargeback Condition 1, any of the following:
      a. Refund acknowledgments and credit letters do not qualify as Credit Transaction Receipts
         unless they contain all required data.
      b. A lost ticket application or refund application is not considered a Credit Transaction Receipt
      c.   An Issuer must not initiate a Chargeback regarding Value-Added Tax (VAT) unless the
           Cardholder provides a Credit Transaction Receipt
4. For Chargeback Condition 3, any of the following:
      a. Proof of shipping does not constitute proof of receipt
      b. Merchant is responsible for goods held within its own country's customs agency
5. For Chargeback Condition 4, Visa recommends that the Issuer provide a copy of the cancellation
   notification to the Merchant.
6. For Representment of Chargeback Condition 5, an explanation of why a cancellation code was
   not provided, if applicable.

ID#: 081010-171009-0007686




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Reason Code 86 Paid by Other Means


Overview - Reason Code 86

Time Limit: 120 calendar days

Merchandise or service was received but paid by other means.

ID#: 171009-171009-0007687



Chargeback Conditions - Reason Code 86

Cardholder paid for the same merchandise or service by other means.

ID#: 171009-171009-0007688



Chargeback Rights and Limitations - Reason Code 86
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
    d. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
       Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
       America & Caribbean Region.)
2. Prior to exercising the Chargeback right, Cardholder must attempt to resolve with Merchant,
   unless prohibited by local law.
3. Chargeback is valid when the contract reflects that the Merchant accepted a voucher issued by a
   third party as payment of goods or services rendered, and subsequently bills the Cardholder
   because the Merchant is unable to collect payment from the third party.

ID#: 150211-171009-0007689




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Invalid Chargebacks - Reason Code 86 (Updated)

Chargeback invalid for any of the following:

1. Initial payment of a Delayed Delivery Transaction if the balance payment is not authorized and
   the balance was not paid by alternate means
2. If payment for services made to two different Merchants, e.g., payment to travel agent and T&E
   Merchant, unless there is evidence that the payment was passed from the travel agent to the T&E
   Merchant

ID#: 010410-171009-0007690



Chargeback Time Limit - Reason Code 86

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007691



Chargeback Processing Requirements - Reason Code 86 (Updated)

Member Message Text: None required.

Documentation:

All of the following:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Issuer
2. Proof that Merchant received payment by other means
      a. Effective for Chargebacks processed on or after 9 July 2010, supply Visa Acquirer
         Reference Number or Transaction information, if paid by a Visa Card, or supply statement, if
         paid by other card. This requirement does not apply to Transactions involving Issuers or
         Acquirers in Visa Europe.
      b. Effective for Chargebacks processed on or after 9 July 2010, cash receipt or copy of front
         and back of check. This requirement does not apply to Transactions involving Issuers or
         Acquirers in Visa Europe.
3. For Chargeback Rights and Limitations 3, evidence that the Merchant accepted the voucher for
   payment towards merchandise or service (e.g., rental contract showing that voucher was
   accepted by Merchant)
4. Cardholder attempted to resolve the dispute with the Merchant
5. Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions in
   Brazil, the Issuer may provide certification in lieu of the Cardholder letter. (This only applies in the
   Latin America & Caribbean Region.)

ID#: 050411-171009-0007692




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Representment Time Limit - Reason Code 86

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007693



Representment Processing Requirements - Reason Code 86
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text: None required.
    b. Documentation: Both:
         i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
         ii.   Documents (other than Transaction Receipts) to prove that Merchant did not receive
               payment by other means for the same merchandise or service

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Reason Code 90 Non-Receipt of Cash or Load Transaction Value at ATM or
Load Device


Overview - Reason Code 90

Time Limit: 120 calendar days

Cardholder participated in the Transaction, and did not receive, or received only a portion of cash or
Load Transaction value

ID#: 171009-171009-0007695



Chargeback Conditions - Reason Code 90
1. Cardholder participated in the Transaction and did not receive cash or Load Transaction value or
   received a partial amount.

ID#: 171009-171009-0007696



Chargeback Rights and Limitations - Reason Code 90
1. Chargeback is limited to:
      a. Amount not received
      b. For Canada Domestic Transactions, Transactions over CAD $10 (This only applies in the
         Canada Region.)
      c.   For all Domestic Transactions in Brazil completed on or after 1 July 2010, Transactions
           over R $15 (This only applies in the Latin America & Caribbean Region.)

ID#: 081010-171009-0007697



Invalid Chargebacks - Reason Code 90
1. Chargeback is invalid when Cardholder states that the Transaction was fraudulent or the
   Transaction was posted twice.

ID#: 171009-171009-0007698



Chargeback Time Limit - Reason Code 90

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007699




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Chargeback Processing Requirements - Reason Code 90

Member Message Text:

1. CASH/VALUE NOT RECEIVED
2. CASH/VALUE AMT $XXXX RECD $XXXX

Documentation: None required.

ID#: 171009-171009-0007700



Representment Time Limit - Reason Code 90

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007701



Representment Processing Requirements - Reason Code 90
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text: Either that applies:
         i. TX TIME HH:MM, SEQ #XXXXX, AMT DISPNS $XXX.XX
         ii. ACQR CERTS ATM IN BALANCE ON MMDDYY
    b. Documentation: None required.

ID#: 171009-171009-0007702




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Reason Code 93 Merchant Fraud Performance Program


Overview - Reason Code 93

Time Limit: 120 calendar days

Visa notified the Issuer that the Transaction is identified by the Merchant Fraud Performance
Program. This provision does not apply to U.S. Domestic Transactions.

ID#: 171009-171009-0007703



Chargeback Conditions - Reason Code 93

Both:

1. Visa notified the Issuer that the Transaction is identified by the Merchant Fraud Performance
   Program
2. Issuer has not successfully charged back the Transaction for another reason

ID#: 171009-171009-0007704



Chargeback Rights and Limitations - Reason Code 93
1. Minimum Chargeback amount:
      a. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      b. For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
      c.   Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
           Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
           America & Caribbean Region.)
      d. Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)

ID#: 150211-171009-0007705



Invalid Chargebacks - Reason Code 93

Chargeback is invalid for Emergency Cash Disbursements.

ID#: 171009-171009-0007706




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Chargeback Time Limit - Reason Code 93

120 calendar days from the date of the identification by the Merchant Fraud Performance Program

ID#: 171009-171009-0007707



Chargeback Processing Requirements - Reason Code 93

Member Message Text: MFP RPT DT MMDDYY

Documentation: One of the following:

1. None required.
2. For Intraregional counterfeit Transactions in the AP Region, the Issuer's Center manager must
   provide the Acquirer with written certification of all of the following: (This only applies in the Asia
   Pacific Region.)
    a. Issuer was a participant in the Card Verification Service at the time of the Transaction (This
       only applies in the Asia Pacific Region.)
    b. Card was encoded with the Card Verification Value (This only applies in the Asia Pacific
       Region.)
    c.   Issuer did not approve an invalid or failed Card Verification Value-qualified Authorization
         Request (This only applies in the Asia Pacific Region.)

ID#: 171009-171009-0007708



Representment Time Limit and Conditions - Reason Code 93

45 calendar days from the Chargeback Processing Date.

ID#: 171009-171009-0007709



Representment Rights and Limitations - Reason Code 93
1. For an Intraregional Transaction in the AP Region, an Acquirer may represent the Transaction if
   all of the following occurred: (This only applies in the Asia Pacific Region.)
    a. Transaction originated at a Zero Floor Limit Merchant Outlet through a Magnetic-Stripe
       Terminal capable of reading the Card Verification Value (This only applies in the Asia Pacific
       Region.)
    b. Value of "90" was present in field 22 of the Transaction generation method indicator field
       (This only applies in the Asia Pacific Region.)
    c.   Issuer approved an invalid Card Verification Value response (This only applies in the Asia
         Pacific Region.)

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Representment Processing Requirements - Reason Code 93
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text: PREV CB MMDDYY RC XX
      b. Documentation:
         i.    One of the following:
               •   None required.
               •   For an Intraregional Transaction in the AP Region, Acquirer must provide the Issuer
                   with a copy of the Authorization log documenting the invalid Card Verification Value
                   response (This only applies in the Asia Pacific Region.).

ID#: 171009-171009-0007711



Additional Information - Reason Code 93
1. If an Issuer has charged back the Transaction using another reason code and the Acquirer
   successfully represented, the Issuer may charge back the Transaction as a second first
   Chargeback only when Notification is received that the Merchant is identified by the Merchant
   Fraud Performance Program. The time limit for the second Chargeback begins with the date the
   Notification is received.

ID#: 171009-171009-0007712




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Reason Code 96 Transaction Exceeds Limited Amount


Overview - Reason Code 96

Time Limit: 75 calendar days

An Unattended Acceptance Terminal that performs Cardholder-Activated Transaction Type A or
Cardholder-Activated Transaction Type B exceeded the allowed amount.

ID#: 171009-171009-0007713



Chargeback Conditions - Reason Code 96
1. A Cardholder-Activated Transaction Type A or Cardholder-Activated Transaction Type B exceeds
   the permitted amount, excluding a U.S. Domestic Transaction.
2. For a U.S. Domestic Transaction, one of the following: (This only applies in the U.S. Region.)
    a. Limited-Amount Terminal Transaction exceeded US $25 (This only applies in the U.S.
       Region.)
    b. Self-Service Terminal Transaction exceeded US $50, excluding a Transaction at an
       Automated Fuel Dispenser (This only applies in the U.S. Region.)
    c.   For an Automated Fuel Dispenser Transaction, excluding a Real-Time Clearing Transaction,
         one of the following: (This only applies in the U.S. Region.)
         i.    For a Visa Fleet Card, Transaction exceeded US $150 (This only applies in the U.S.
               Region.)
         ii.   For all other Cards, Transaction exceeded US $75 (This only applies in the U.S. Region.)
         iii. For a Real-Time Clearing Transaction, Transaction exceeded US $500 (This only applies
              in the U.S. Region.)

ID#: 171009-171009-0007714



Chargeback Rights and Limitations - Reason Code 96
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
    d. For a Canada Domestic Limited-Amount Terminal Transaction, Chargeback amount must
       exceed CAD X (This only applies in the Canada Region.)
    e. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
       Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
       America & Caribbean Region.)
    f.   Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
         Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
         America & Caribbean Region.)

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2. Either of the following, excluding U.S. Domestic Transactions:
      a. For a Cardholder-Activated Transaction Type A, Chargeback is valid for the entire
         Transaction amount
      b. For a Cardholder-Activated Transaction Type B, Chargeback is valid only for the amount
         exceeding US $100, excluding a Real-Time Clearing Transaction.
3. For a Real-Time Clearing Transaction, Chargeback is valid only for the amount exceeding the
                      90
   authorized amount.
4. For a U.S. Domestic Transaction, any of the following that apply: (This only applies in the U.S.
   Region.)
      a. One of the following: (This only applies in the U.S. Region.)
          i.    For a Limited-Amount Terminal Transaction, Chargeback is valid for the entire
                Transaction among (This only applies in the U.S. Region.)
          ii.   For a Self-Service Terminal Transaction, excluding an Automated Fuel Dispenser,
                Chargeback is valid only for the amount exceeding US $50 (This only applies in the U.S.
                Region.)
      b. For an Automated Fuel Dispenser Transaction, Chargeback is valid only for the amount
         exceeding one of the following amounts: (This only applies in the U.S. Region.)
          i.    For Visa Fleet Card, US $150 (This only applies in the U.S. Region.)
          ii.   For all other Cards, US $75 (This only applies in the U.S. Region.)

ID#: 150211-171009-0007715



Invalid Chargebacks - Reason Code 96 (Updated)

Chargeback is invalid for any of the following:

1. In-Transit Service Transaction, excluding U.S. Domestic Transactions
2. For a U.S. Domestic Transaction, ATM Cash Disbursement (This only applies in the U.S.
   Region.)
3. In the AP Region, a domestic Australia Bill Payment Transaction (This only applies in the Asia
   Pacific Region.)

ID#: 050411-171009-0007716



Chargeback Time Limit - Reason Code 96

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007717




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   Effective for Transactions completed through 31 March 2009, for Transactions involving Issuers or Acquirers in the
jurisdiction of Visa Europe, Chargeback is valid for the entire Transaction amount.
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   Provisions related to Real-Time Clearing are not applicable to Transactions involving Issuers or Acquirers in the jurisdiction
of Visa Europe.


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Chargeback Processing Requirements - Reason Code 96

Member Message Text:

1. None required.
2. For a U.S. Domestic Transaction, one of the following: (This only applies in the U.S. Region.)
    a. LIMIT-AMT TERM TRANS EXCEEDS $25 (This only applies in the U.S. Region.)
    b. SELF-SERV TERM TRANS EXCEEDS $XXX (50, 75, 150) (This only applies in the U.S.
       Region.)

ID#: 171009-171009-0007718



Documentation - Reason Code 96

None required.

ID#: 171009-171009-0007719



Representment Time Limit - Reason Code 96

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007720



Representment Rights and Limitations - Reason Code 96
1. For a U.S. Domestic Transaction, Transaction type was not for a Self-Service or Limited-Amount
   Terminal (This only applies in the U.S. Region.)

ID#: 171009-171009-0007721



Representment Processing Requirements - Reason Code 96
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
         i.    CRED MMDDYY ARN X...X (23 or 24 digits)
         ii.   REVERSAL MMDDYY
         iii. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text: None required.




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      b. Documentation: Both:
         i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
         ii.   Documents to prove either:
               •   Transaction was not a Cardholder-Activated Transaction Type A or Cardholder-
                   Activated Transaction Type B, excluding a U.S. Domestic Transaction
               •   Transaction did not exceed limited amount
               •   For a U.S. Domestic Transaction, Transaction type was not for a Self-Service or
                   Limited-Amount Terminal (This only applies in the U.S. Region.)

ID#: 171009-171009-0007722




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Arbitration

Arbitration Process


Arbitration Description

Arbitration allows Visa to assign liability for a disputed Transaction when the Chargeback and
Representment process fails to resolve the dispute.

If an Issuer disputes a Representment from an Acquirer, the Issuer may file for Arbitration with Visa.
In Arbitration, Visa decides which party is responsible for the disputed Transaction. The decision by
Visa is final, except for any right of appeal permitted, and must be accepted by both the Issuer and
Acquirer. During Arbitration, the Arbitration and Compliance Committee reviews all documentation/
information submitted by both Members to determine who has final liability for the Transaction. The
filing Member is liable for any difference due to currency fluctuation between the amount originally
presented and the Chargeback or Representment amount.

ID#: 171009-171009-0007036



Pre-Arbitration Conditions

Before filing for Arbitration, the requesting Member must make a pre-Arbitration attempt if any of the
following conditions apply:

• New documentation or information is being provided to the opposing Member about the dispute
• The Issuer changes the reason code for the dispute after the Representment was processed
• Acquirer represented for Chargeback Reason Code 81 "Fraudulent - Card-Present Transaction"
  involving an Airline Transaction or for Chargeback Reason Code 83 "Fraud - Card-Absent
  Environment" with compelling evidence that the Cardholder participated in the Transaction. For
  Transactions involving Visa Europe Members, the Issuer must include recertification that states
  that the Cardholder did not participate in the Transaction.
• The Transaction is an ATM Transaction and the ATM Transaction Record is required. The Issuer
  must certify that either:
  - The Cardholder requires a copy of the ATM Transaction Record
  - The ATM Transaction Record is required for legal or insurance purposes

The Acquirer or Load Acquirer must provide a copy of the ATM Transaction Record at pre-Arbitration
to prove disbursed cash amount or Load Transaction value. The Transaction Record must be in
English with an explanation or key to the data fields in the Transaction Record.

ID#: 081010-171009-0002878




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Pre-Arbitration Acceptance - ATM Disputes

An Acquirer that receives a pre-Arbitration attempt, as specified in Pre-Arbitration Conditions, must
supply within 30 calendar days of the pre-Arbitration notification date, a copy of the ATM Cash
Disbursement Transaction log containing at least:

• Account Number
• Transaction Date
• Transaction time or sequential number identifying the individual Transaction
• ATM number
• Code indicating whether the Transaction was successful

The Transaction Record must be in English with an explanation or key to the data fields in the
Transaction Record.

ID#: 171009-171009-0001444



Pre-Arbitration Attempt Information

A pre-Arbitration attempt must include the information required in Pre-Arbitration Attempt (Visa
Resolve Online Dispute Questionnaire or Exhibit 2N).

ID#: 171009-171009-0001414



Pre-Arbitration Attempt Using Visa Resolve Online

The pre-Arbitration attempt must be initiated using Visa Resolve Online, at least 30 calendar days
prior to the Arbitration filing date.

If an Issuer is not required to send a pre-Arbitration notification to the Acquirer, but elects to do so,
the Issuer must still provide the Acquirer with 30 calendar days for a response and the notification
must include the field information.

ID#: 171009-171009-0001415



Accepting Financial Liability for Pre-Arbitration

If the opposing Member accepts financial responsibility for the disputed Transaction, it must credit the
requesting Member for the last amount received by the requesting Member through VisaNet within 30
calendar days of the pre-Arbitration attempt date.

ID#: 171009-171009-0001896




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Accepting Financial Liability for Pre-Arbitration - U.S. Region

For U.S. Domestic Transactions, if the opposing Member accepts financial responsibility for the
disputed Transaction, it must either:

• Credit the requesting Member through VisaNet within 30 calendar days of the pre-Arbitration
  notification date
• Credit the requesting Member through Visa Resolve Online within 30 calendar days of the pre-
  Arbitration notification date

ID#: 171009-171009-0007368



Not Accepting Financial Liability for Pre-Arbitration

If the opposing Member does not accept financial responsibility for the disputed Transaction, the
requesting Member may pursue Arbitration.

ID#: 171009-171009-0001418



Filing for Arbitration


Arbitration Filing Reasons (Updated)

The conditions under which a Member may file for Arbitration include, but are not limited to:

• Effective through 15 April 2011, required documentation to support the Representment was
  incomplete or not transmitted within eight calendar days of the Representment Processing Date
• Effective 16 April 2011, required documentation to support the Representment was incomplete or
  not transmitted within five calendar days of the Representment Processing Date
• Acquirer improperly represented a Chargeback
• Issuer processed a prohibited second Chargeback following any Representment
• Acquirer processed a prohibited second Representment
• Acquirer Reference Number/Tracing Data or Account Number did not match the original data in the
  first Presentment or Chargeback record

The conditions under which a Member may be held liable for a disputed Transaction include, but are
not limited to:

• A Chargeback or Representment was initiated past the time frame allowed
• Required supporting documentation/information was not sent to the opposing Member
• Member was not able to demonstrate to Visa that its case was reasonable

When a Cardholder disputes the Transaction for several issues, the Merchant's rebuttal should
address all issues. The Issuer may present the Merchant's rebuttal to the Cardholder so that the
Cardholder can address any issues raised by the Merchant.




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Any documentation/information supplied at Arbitration that has not been previously submitted to the
opposing Member at the pre-Arbitration stage will not be considered or reviewed by the Committee.

ID#: 050411-171009-0002604



Arbitration Filing Authority

The requesting Member may file its Arbitration request with either:

• Its Group Member
• Visa

In Visa Europe, the option to file directly with Visa International applies only to a Member that does
not have a Group Member.

ID#: 171009-171009-0001421



Arbitration Filing Time Limit

The requesting Member must file its Arbitration request with Visa within one of the following:

• 30 calendar days of the Processing Date of the last Chargeback or Representment, if pre-
  Arbitration was not initiated
• For disputes involving pre-Arbitration, 60 calendar days of the Processing Date of the last
  Chargeback or Representment. The 60 calendar-day period includes the 30 calendar-day pre-
  Arbitration waiting period

The Processing Date is not counted as one day.

ID#: 171009-171009-0001447



Group Member Filing Time Limit

In addition to the time limits specified in Arbitration Filing Time Limit, a Group Member has 30
additional calendar days to forward a case submitted by its Member to Visa. In Visa Europe, the
option to file directly with Visa International applies only to a Member that does not have a Group
Member.

ID#: 171009-171009-0001423



Required Documentation for Arbitration

When seeking Arbitration, the requesting Member must provide all of the following, in English:

• Information required in Visa Resolve Online Dispute Questionnaire or Summary of Arbitration
  Documentation for each Transaction
• Information required in Visa Resolve Online Dispute Questionnaire or Pre-Arbitration Attempt
• Information required in Visa Resolve Online Dispute Questionnaire or Dispute Resolution Form, as
  applicable

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• For non-English documents, translations (unless the requesting Member did not receive the
  previously submitted documents in English)
• Any supporting documentation to ensure a fair decision, such as Authorization records, registers,
  Merchant documents, and Member files

Additional information or documentation not previously provided to the opposing Member must not be
included in the case filing, unless specifically requested by the Arbitration and Compliance
Committee.

ID#: 171009-171009-0001424



Arbitration Filing Fee Collection

Visa collects a filing fee through VisaNet for requests submitted to Visa.

ID#: 171009-171009-0001425



Arbitration Notification

The Member must send the Arbitration documentation for Arbitration cases electronically, using Visa
Resolve Online.

ID#: 171009-171009-0002397



Invalid Arbitration Request for Group Members

If the Group Member determines that a request is invalid, it must return the request to the requesting
Member. The requesting Member has no further recourse with Visa.

ID#: 171009-171009-0001427



Visa Arbitration Case Rejection

If a request for Arbitration is rejected by the Arbitration and Compliance Committee, the filing fee may
still be charged. If the Arbitration and Compliance Committee determines that a request is invalid, it
may reject the case and retain the filing fee in circumstances, such as one of the following:

• Requesting Member did not file the request within the required time limits
• Multiple Acquirers, Issuers, Account Numbers, Merchants and filing reasons are involved
• A bundled case filing, containing more than 10 Chargebacks, was submitted

ID#: 081010-171009-0001449



Visa Notification of Arbitration Case Acceptance

For a valid request, Visa notifies both Members of case acceptance.

ID#: 171009-171009-0001429


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Opposing Member's Response to Arbitration Case Acceptance

If the opposing Member chooses to respond, it must do so within 14 calendar days of the Visa
Notification date, and either:

• Respond to the Notification
• Accept financial responsibility for the Transaction through Visa Resolve Online

ID#: 171009-171009-0001430



Requesting Member's Withdrawal of Arbitration Case

The requesting Member may withdraw its request. Once the case is withdrawn, Visa will collect the
filing fee from the responsible Member through VisaNet.

ID#: 171009-171009-0002521



Member Exceptions Due to Visa System Problems During the Chargeback and
Arbitration Process

In the event a Member misses a deadline or fails to submit documentation electronically due to Visa
back office service platform failure, Visa may negate the impact by granting an exception to Visa
dispute processing deadlines or documentation requirements.

ID#: 171009-171009-0006595



Arbitration Financial Liability

The decision may result in either:

• One Member assigned full liability
• Members sharing financial liability

The responsible Member is financially liable for all of the following:

• Transaction amount
  - If the opposing Member is responsible, the requesting Member may collect this amount from the
    opposing Member through VisaNet within 60 calendar days of written Notification from the
    Arbitration and Compliance Committee.
  - For U.S. Domestic Transactions, Visa will debit or credit the Members involved as appropriate,
    through the Global Member Billing Solution. (This only applies in the U.S. Region.)
• Review fee
  - If the responsible Member has domestic currency exchange controls, Visa collects this fee
    through VisaNet within 30 calendar days of Notification to the Member.
• Filing fee

When the case is adjudicated Visa will collect the filing and review fees through VisaNet from the
responsible Member.


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Either Member in an Arbitration dispute may also be liable for a penalty fee for each technical
violation of the applicable Operating Regulations. Technical penalty fees do not apply to Visa Europe
Members.

ID#: 010410-171009-0003623



Arbitration Appeal


Arbitration Appeal Amount

The U.S. dollar amount, or local currency equivalent of the case, determines whether the adversely
affected Member may appeal the decision, as shown in the following table:


Arbitration Appeal Rights

            Disputed Amount                          Appeal Right                    Appeal Authority
Less than US $5,000                          No                               Not applicable

US $5,000 to US $100,000                      Only if Member can provide        Arbitration and Compliance
                                              new evidence not previously                Committee
                                               available at the time of the
                                                   original case filing

Greater than US $100,000                      Only if Member can provide        Arbitration and Compliance
                                              new evidence not previously                Committee
                                               available at the time of the
                                                   original case filing


ID#: 010410-171009-0002997



Arbitration Appeal Time Limit

The adversely affected Member must file for appeal within 60 calendar days of the decision
Notification date.

ID#: 171009-171009-0002998



Arbitration Appeal Filing Fee

The requesting Member:

• Is assessed a filing fee as specified in the applicable regional pricing guide
• Must not collect the filing fee from the opposing Member if the original decision is reversed

ID#: 010410-171009-0000861




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Finality of Decision on Arbitration Appeal

The decision on any permitted appeal is final and not subject to any challenge.

ID#: 171009-171009-0001440




Compliance

Compliance Process


Compliance Description

Compliance allows a Member that has no Chargeback, Representment, pre-Arbitration, or Arbitration
right to file a complaint against a Member for a violation of the Visa International Operating
Regulations. A requesting Member is liable for any difference due to currency fluctuation between the
amount originally presented and the Chargeback or Representment amount.

ID#: 010410-171009-0001454



Compliance Filing Conditions


Compliance Filing Conditions

A Member may file for Compliance if all of the following are true:

• Violation of the Visa International Operating Regulations occurred
• Member has no Chargeback or Representment right
• Member incurred or will incur a financial loss as a direct result of the violation
• Member would not have incurred the financial loss had the violation not occurred

A violation not involving a Transaction is resolved as specified in Regulation Enforcement, and as
deemed appropriate by Visa.

ID#: 171009-171009-0001455



Interchange Reimbursement Fee Compliance

A Member may file for Compliance for violations of the Visa International Operating Regulations that
result in the assessment of an incorrect Interchange Reimbursement Fee. Conditions and
requirements for filing Interchange Reimbursement Fee Compliance are specified in "Interchange
Reimbursement Fee Compliance."

ID#: 171009-171009-0003418




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Pre-Compliance for Violations


Pre-Compliance Conditions

Before filing for Compliance, the requesting Member must attempt to resolve the dispute with the
opposing Member. This attempt must include all of the following:

• Attempt date
• Clear identification as pre-Compliance attempt
• Planned Compliance filing date
• All pertinent documentation
• Specific violation of the Visa International Operating Regulations

ID#: 171009-171009-0003430



Pre-Compliance Attempt

A pre-Compliance attempt must include the information required in the Pre-Compliance Attempt
Questionnaire. The pre-Compliance attempt must be sent electronically, using Visa Resolve Online,
at least 30 calendar days prior to the Compliance filing date.

ID#: 171009-171009-0003431



Pre-Compliance Acceptance

If the opposing Member accepts financial liability for the disputed Transaction, it must credit the
requesting Member for the last amount received by the requesting Member through VisaNet within 30
calendar days of the pre-Compliance attempt date.

ID#: 171009-171009-0003432



Pre-Compliance Rebuttal

If the opposing Member does not accept financial liability for the disputed Transaction, the requesting
Member may pursue Compliance.

ID#: 171009-171009-0003433



Pre-Compliance Response

Acceptance or rebuttal of a pre-Compliance attempt must be made through Visa Resolve Online.

ID#: 171009-171009-0003434




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Data Compromise Recovery

Effective for data compromise event alerts issued on or after 1 October 2007, a violation
involving a data compromise event is not resolved through Compliance. Such violations are resolved
through the Data Compromise Recovery Solution, as specified in "Data Compromise Recovery
Solution (DCRS)" and as determined by Visa.

ID#: 081010-010100-0026000



Data Compromise Recovery - U.S. Region (Updated)

In the U.S. Region, violations involving storage of the full contents of a track on the Magnetic Stripe
and/or the PIN subsequent to Authorization of a Transaction, failure to comply with the PIN
Management Requirements Documents, or non-compliance with the Payment Card Industry Data
Security Standard (PCI DSS) that could allow a compromise of Magnetic-Stripe Data are not resolved
through the Compliance process. Such violations are resolved through the Account Data
Compromise Recovery process, as specified in "Account Data Compromise Recovery (ADCR)" and
as determined by Visa.

ID#: 050411-010100-0026001



Compliance for Violations


Compliance Filing Reasons

A Member may file for Compliance for any violation of the Visa International Operating Regulations,
except as specified in "Data Compromise Recovery" and "Data Compromise Recovery - U.S.
Region."

ID#: 081010-171009-0006998



Chargeback Reduction Service Returned Valid Chargeback or Representment for
Invalid Data 7.11.A.1.a (Updated)

A Member may file for Compliance if the Chargeback Reduction Service returned a valid Chargeback
or Representment resulting from a Member transmitting invalid data such as:

• Incorrect Transaction Date
• Incorrect Merchant Category Code
• Invalid indicator for the Merchant or Transaction type
• Incorrect state/country code or special condition indicator




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Required Documentation:

Both:

• Evidence of incorrect or invalid data
• Evidence Member was able to meet Chargeback or Representment conditions

ID#: 050411-171009-0001462



Chargeback Reduction Service Returned Transaction with Valid Authorization
(Updated)

A Member may file for Compliance if the Chargeback Reduction Service returned a Transaction with a
valid Authorization.

Required Documentation: All of the following:

• Transaction Receipt
• Proof that the Transaction received an Authorization
• Evidence of the Chargeback Reduction Service return

ID#: 050411-171009-0001463


Visa Reservation Service

The provisions in this section also apply to U.S. Domestic Car Rental Peak-Time reservation
Transactions. (This only applies in the U.S. Region.)

A Member may file for Compliance if a Cardholder used a Card at a Visa Reservation Service to
make a reservation, and one of the following occurred:

• Merchant provided alternate accommodations or vehicle but the Cardholder was charged for the
  Transaction
  - Required Documentation: Cardholder letter confirming the check-in date or car rental date,
    Merchant Outlet, and location of the alternate accommodations or vehicle. For U.S. Domestic
    Transactions, Issuer may provide certification in lieu of the Cardholder letter.
• No-Show Transaction amount was different than that quoted to the Cardholder
  - Required Documentation: Written confirmation copy with the quoted rates
• Merchant did not inform the Cardholder of the exact Merchant Outlet location. Cardholder used
  and paid for the accommodations or car rental at another outlet of that Merchant.
  - Required Documentation: Payment receipt copy for other Merchant Outlet

ID#: 171009-171009-0001570




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Cardholder Letter Required for Legal Purposes

Effective for pre-Compliance attempts sent on or after 16 April 2011, a Member may file for
Compliance if an Acquirer or Merchant requires a signed Cardholder letter for legal proceedings, for a
law enforcement investigation, or if required by local law. This Compliance right does not apply to
Transactions involving Issuers or Acquirers in Visa Europe.

Required Documentation: Either:

• Evidence that the signed Cardholder letter is required for legal proceedings (e.g., court order or
  subpoena)
• Acquirer certification that the signed Cardholder letter is required by local law or for a law
  enforcement investigation

ID#: 081010-010100-0025789



Illegible Fulfillment - Unable to Provide Legible Transaction Receipt Copy

A Member may file for Compliance if an Acquirer cannot remedy Chargeback Reason Code 60,
Illegible Fulfillment because it is not able to provide a legible Transaction Receipt copy because it is
physically damaged, due to circumstances beyond the Acquirer's or Merchant's control, such as a
natural disaster.

ID#: 171009-171009-0007364



Copy of Transaction Receipt for Legal Proceeding or Law Enforcement Investigation
(Updated)

Effective through 14 October 2011, a Member may file for Compliance if an Issuer or Cardholder
requires copy of Transaction Receipt for legal proceedings or a law enforcement investigation, and
the Retrieval Request was made within 12 months of the Transaction Processing Date.

Effective 15 October 2011, a Member may file for Compliance if an Issuer or Cardholder requires a
copy of the Transaction Receipt for legal proceedings or a law enforcement investigation, and the
Retrieval Request was made within 13 months of the Transaction Processing Date.

Required Documentation: Either:

• Evidence that the Transaction Receipt is required for legal proceedings (e.g., court order or
  subpoena)
• A written statement from the Issuer stating that the Transaction Receipt is required for a law
  enforcement investigation

ID#: 050411-171009-0007365




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Non-Card

A Member may file for Compliance if a Merchant created a Transaction Receipt that has an Imprint
but no Authorization and the card was not a Visa Card, Visa Electron Card, or Counterfeit Card. This
provision does not apply to U.S. Domestic Transactions.

ID#: 171009-171009-0001472



Authorization Obtained Using Incorrect Data - U.S. Region 3.7.A.1.h

This provision applies to U.S. Domestic Transactions. (This only applies in the U.S. Region.)

A Member may file for Compliance if an Authorization was obtained with invalid or incorrect data and
Issuer attempted a valid Chargeback which was returned. When an Issuer's and Acquirer's records
differ, the V.I.P. System records will prevail. (This only applies in the U.S. Region.)

Required Documentation: Copy of the Authorization log and Transaction Receipt to support the
discrepancy. (This only applies in the U.S. Region.)

ID#: 171009-171009-0003424



Electronic Commerce Transaction

This provision does not apply to U.S. Domestic Transactions.

A Member may file for Compliance if a Cardholder requires additional information about an Electronic
Commerce Transaction coded with ECI value "6" and both:

• Cardholder did not assert that the Transaction was fraudulent
• Acquirer did not respond to the Retrieval Request with a Fulfillment or responded with a
  Nonfulfillment Message code "03" or "04"

Required Documentation: Cardholder letter requesting more information about the Transaction

ID#: 171009-171009-0001473



EMV Liability Shift - Account Generated Counterfeit Fraud (Updated)
A Member may file for Compliance for account generated counterfeit fraud. Counterfeit Transactions
completed in a Card-Present Environment are the liability of the Acquirer, as specified in "EMV
Liability Shift - Acquirer Liability for Account Generated Counterfeit Fraud," if all of the following
conditions are met:
• Transaction did not take place at a Chip-Reading Device
• Account Number was not resident on the Issuer's Master File on the Transaction Date
• All valid Cards bearing Account Numbers within the same account range as the Counterfeit Card
  are Chip Cards containing a Visa or Visa Electron Smart Payment Application
• Transaction was below Merchant's Floor Limit and did not receive Authorization




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• Account Number was on the Exception File with a Pickup Response on the Processing Date of the
  Compliance filing and was on the Exception File for a total period of at least 60 calendar days from
  the date of listing

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-171009-0003135



Filing for Compliance


Compliance Filing Procedures

The requesting Member may file its Compliance request with either:

• Its Group Member
• Visa

In Visa Europe, the option to file directly with Visa International applies only to a Member that does
not have a Group Member.

ID#: 171009-171009-0001475



Compliance Time Limits

The requesting Member must file its request within 90 calendar days of the following dates. The 90
calendar-day period includes pre-Compliance and begins on the day following these dates:

• For a Transaction violation, either:
  - Processing Date
  - Date the Member discovered that a violation occurred (not to exceed 2 years from the
    Transaction Date), if no evidence of the violation was previously available to the Member
• For other violations, the violation date. If the requesting Member does not meet the allowed time
  limits, it loses its Compliance right and is financially liable for the Transaction.

ID#: 171009-171009-0003651



Compliance Time Limit for Group Members

In addition to the time limit specified in Compliance Time Limits, a Group Member has 30 additional
calendar days to forward a case submitted by its Member to Visa.

ID#: 171009-171009-0001478




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Terminated Merchant File - U.S. Region

For U.S. Domestic Transactions, for a violation involving the Terminated Merchant File listing
requirements, one of the following: (This only applies in the U.S. Region.)

• Date the Merchant was notified by the previous Acquirer of its intent to terminate the Merchant
  Agreement (This only applies in the U.S. Region.)
• Date the previous Acquirer should have retroactively listed the Merchant on the Terminated
  Merchant File (This only applies in the U.S. Region.)
• Day following the date the Member discovered that a violation had occurred, not to exceed 2 years
  from the Transaction Date, if evidence of the violation was not previously available to the Member
  (This only applies in the U.S. Region.)

For other violations, the violation date (This only applies in the U.S. Region.)

ID#: 171009-171009-0007396



Compliance Case Filing Through Visa Resolve Online

The requesting Member must file all Compliance cases electronically, using Visa Resolve Online.

ID#: 171009-171009-0003809



Required Documentation for Compliance

When seeking Compliance, the requesting Member must submit all of the following in English:

• Information required in the Visa Resolve Online Dispute Questionnaire or Summary of Compliance
  Documentation (Exhibit 2K) for each Transaction
• Information required in the Visa Resolve Online Dispute Questionnaire or Pre-Compliance Attempt
  (Exhibit 2O)
• If the Compliance involves a prior Chargeback, a completed the Visa Resolve Online Dispute
  Questionnaire or Dispute Resolution Form (Exhibit 2E) for each Chargeback or Representment
• Any supporting documentation to ensure a fair decision, such as Authorization records, registers,
  Merchant documents, and Member files
• Documentation substantiating that a financial loss would not have resulted had the violation not
  occurred
• For non-English documents, translations (unless the requesting Member did not receive the
  previously submitted documents in English)

Additional information or documentation not previously provided to the opposing Member must not be
included in the case filing.

ID#: 171009-171009-0001479




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Compliance Filing Fee Collection

Visa collects a filing fee through VisaNet for requests submitted to Visa.

ID#: 171009-171009-0001480



Compliance Notification through Visa Resolve Online

The requesting Member must send the required Compliance documentation for Compliance cases
electronically, using Visa Resolve Online.

ID#: 171009-171009-0001481



Invalid Compliance Requests for Group Members

If the Group Member determines that a request is invalid, it must return the request to the requesting
Member. The requesting Member has no further recourse with Visa.

ID#: 171009-171009-0001482



Visa Determination of Invalid Compliance Request (Updated)

If a request for Compliance is rejected by the Arbitration and Compliance Committee, the filing fee
may still be charged.

If the Visa Arbitration and Compliance Committee determines that a request is invalid, it may reject
the case and retain the filing fee in certain circumstances, such as one of the following:

• Requesting Member did not file the request within the required time limits
• Multiple Acquirers, Issuers, Account Numbers, Merchants are involved
• A bundled case filing, containing more than 10 Chargebacks, was submitted

ID#: 050411-171009-0001483



Visa Notification

For a valid request, the Arbitration and Compliance Committee notifies both Members of acceptance.

ID#: 171009-171009-0001484




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Opposing Member's Response

Should the opposing Member choose to respond, it must, respond within 14 calendar days of the Visa
Notification date, either:

• Respond to the Notification using Visa Resolve Online
• Accept financial liability for the Transaction by notifying Visa using Visa Resolve Online

ID#: 171009-171009-0001485



Compliance Withdrawal Request

The requesting Member may withdraw its request.

ID#: 171009-171009-0001486



Compliance Filing Fee Collection After Withdrawal Request

Once the case is withdrawn, Visa will collect the filing fee through VisaNet.

ID#: 171009-171009-0001489



Member Exceptions Due to Visa System Problems During the Compliance Process

In the event a Member misses a deadline or fails to submit documentation electronically due to Visa
back office service platform failure, Visa may negate the impact by granting an exception to Visa
dispute processing deadlines or documentation requirements.

ID#: 171009-171009-0006594



Arbitration and Compliance Committee Decision

The Arbitration and Compliance Committee bases its decision on all information available to it at the
time of reaching the decision, including, but not limited to, the provisions of the Visa International
Operating Regulations effective on the Transaction Date and may, at its sole discretion, consider
other factors such as the objective of ensuring fairness. The decision is:

• Delivered to both Members
• Final and not subject to any challenge, except for any right of appeal permitted under Appeal
  Rights

If the Arbitration and Compliance Committee determines that the delayed or amended charge
specified in “Delayed or Amended Charges - Acceptable Charges” is unsupportable or unreasonable,
the Arbitration and Compliance Committee may find the Acquirer liable for some or all of the charge.

ID#: 010410-171009-0001490




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Assignment of Liability by Arbitration and Compliance Committee

The decision may result in either:

• One Member assigned full liability
• Members sharing financial liability

ID#: 171009-171009-0001492



Responsible Member Financial Liability for Compliance

The responsible Member is financially liable for all of the following. Visa will collect the filing and
review fees through VisaNet from the responsible Member.

• Transaction amount
  - If the opposing Member is responsible, the requesting Member may collect this amount from the
    opposing Member through VisaNet within 60 calendar days of written Notification from the
    Arbitration and Compliance Committee.
• Review fee
  - If the responsible Member has domestic currency exchange controls, Visa collects this fee
    through VisaNet within 30 calendar days of written Notification to the Member.
• Filing fee

For U.S. Domestic Transactions, Visa will debit or credit U.S. Members for the disputed amount
involved as appropriate, including split amounts if both U.S. Members share responsibility for the
disputed amount and/or filing fee/review fee. (This only applies in the U.S. Region.)

Each Member involved in Compliance may be liable for a penalty fee.

ID#: 171009-171009-0001579



Compliance Appeal Rights


Compliance Appeal Amount

The U.S. dollar amount, or local currency equivalent of the case, determines whether the adversely
affected Member may appeal the decision, as shown in the following table:




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Compliance Appeal Rights

            Disputed Amount                          Appeal Right                    Appeal Authority

Less than US $5,000                                        No                            Not applicable

US $5,000 to US $100,000                     Only if Member can provide       Arbitration and Compliance
                                             new evidence not previously      Committee
                                             available at the time of the
                                             original case filing

Greater than US $100,000                     Only if Member can provide       Arbitration and Compliance
                                             new evidence not previously      Committee
                                             available at the time of the
                                             original case filing


ID#: 010410-171009-0003187



Compliance Appeal Time Limits

The adversely affected Member must file any appeal within 60 calendar days of the decision
Notification date.

ID#: 171009-171009-0003188



Compliance Appeal Filing Fee

The requesting Member:

• Is assessed a filing fee as specified in the applicable regional pricing guide
• Must not collect the filing fee from the opposing Member if the original decision is reversed

ID#: 010410-171009-0003189



Compliance Appeal Decision

The decision on any permitted appeal is final and not subject to any challenge.

ID#: 171009-171009-0003191




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Interchange Reimbursement Fee Compliance

Compliance Process


IRF Compliance Process Introduction (Updated)

The Interchange Reimbursement Fee Compliance process allows a Visa International Member to
request Compliance against another Visa International Member for violations of the Visa International
Operating Regulations that result in the application of an incorrect Interchange Reimbursement Fee
to a large number of Transactions. Compliance procedures for violations unrelated to Interchange
Reimbursement Fee (IRF) are specified in the Compliance section.

The process permits a filing Member to aggregate multiple Transactions affected by the application of
an incorrect Interchange Reimbursement Fee (IRF) into a single claim as specified in Transaction
Aggregation Criteria.

Effective 13 January 2011, a separate process exists for Visa Inc. Members to file for Compliance
against Visa Europe Members or vice-versa, as specified in “Intercompany Interchange
Reimbursement Fee Compliance Process.” Members may obtain additional information upon request
from Visa.

ID#: 080411-130111-0001500



Filing Conditions


IRF Compliance Filing Conditions

A Member that fails to meet the specified Interchange Reimbursement Fee (IRF) Compliance criteria
may use the standard Compliance process if it meets the applicable Compliance criteria.

Visa reserves the right to refuse participation in the IRF Compliance process by a filing Member. The
decision by Visa to refuse participation is final and not subject to any challenge.

ID#: 171009-171009-0002055



IRF Compliance Eligibility Criteria

A Member may file for Interchange Reimbursement Fee Compliance if all of the following can be
substantiated:

• Violation of the Visa International Operating Regulations or any applicable regional or domestic
  Interchange Reimbursement Fee (IRF) guide occurred
• Member received or paid incorrect IRF as a direct result of the violation
• Member's financial loss is a direct result of an incorrectly applied IRF rate
• Member would not have incurred a financial loss had the violation not occurred



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• The violating Transaction was processed through VisaNet
• The IRF rate paid or received is not governed by any bi-lateral or private agreements, either
  domestic, intra-regional, or inter-regional
• Visa has screened the request in accordance with IRF Compliance Screening and granted
  permission for the Member to file

ID#: 171009-171009-0001501



Transaction Aggregation Criteria

For purported violations involving an incorrectly assessed Interchange Reimbursement Fee (IRF)
rate, a filing Member may aggregate Transactions into a single IRF Compliance case. The
aggregated Transactions must have:

• Violated the same Visa International Operating Regulation or the same regional or domestic IRF
  guide requirement
• Involved the same opposing Member

ID#: 171009-171009-0001502



Transaction Aggregation Limit

The number of Transactions a Member can aggregate into a single Interchange Reimbursement Fee
Compliance case must be:

• More than 500
• Less than 50,000

ID#: 171009-171009-0001503



Interchange Reimbursement Fee Compliance Screening and Filing


IRF Compliance Screening

A Member must submit a screening request to Visa prior to filing an Interchange Reimbursement Fee
Compliance case.

ID#: 171009-171009-0006999



IRF Compliance Process Permissions

A Member must contact Visa for permission to use the Interchange Reimbursement Fee Compliance
process and request the Interchange Reimbursement Fee Compliance Screening Form and the
Global Interchange Reimbursement Fee Compliance Process Guide.

ID#: 171009-171009-0001504




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IRF Compliance Screening Form

The Interchange Reimbursement Fee Compliance Screening Form must be completed by an officer
of the filing Member and submitted within the time limits specified in IRF Compliance Filing Period.

ID#: 171009-171009-0001505



IRF Compliance Screening Form Documentation

The Interchange Reimbursement Fee Compliance Screening Form must be submitted along with
other necessary supporting documentation including a data file containing the list of affected
Transactions and the following information:

• The specific section of the Visa International Operating Regulations or regional or domestic
  Interchange Reimbursement Fee (IRF) guide in dispute
• Description of the alleged IRF violation
• The IRF type for which the Transactions were eligible
• The total IRF assessed
• Name of the opposing Member
• Number of Transactions
• Range of Transaction Dates included in the aggregated claim
• Selected filing period, as specified in IRF Compliance Filing Period
• Certification that all Transactions included in the aggregated claim have been accurately identified
  as having received an incorrect IRF rate

ID#: 171009-171009-0001506



IRF Compliance Filing Period

The filing Member must submit the Interchange Reimbursement Fee Compliance Screening Form to
Visa within 90 calendar days of either:

• The Processing Date of the oldest Transaction submitted in the aggregated claim
• The date the Member discovered the violation, not to exceed two years from the Processing Date
  of the oldest Transaction submitted in the aggregated claim

ID#: 171009-171009-0001507



IRF Compliance Filing Time Limit

Visa will reject a Member's request to include Transactions beyond 90 days of the Processing Date of
the oldest Transaction submitted in the aggregated claim except when it determines that extenuating
circumstances prevented the Member from discovering the violation sooner.

ID#: 171009-171009-0001508




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IRF Compliance Screening Form Resubmission

If Visa rejects a Member's attempt to include Transactions beyond 90 days of the Processing Date, as
specified in IRF Compliance Filing Time Limit, the Member may resubmit a revised Interchange
Reimbursement Fee Compliance Screening Form containing only the Transactions within 90 calendar
days of the Processing Date.

ID#: 171009-171009-0001509



IRF Compliance Member Certification

The Member must certify that all Transactions in the aggregated claim were assessed an incorrect
Interchange Reimbursement Fee rate.

ID#: 171009-171009-0001510



IRF Compliance Visa Rights

Visa reserves the right to reject all or part of a claim, as specified in IRF Compliance Request Denial,
if it determines that some Transactions in the aggregated claim were assessed the correct
Interchange Reimbursement Fee.

ID#: 171009-171009-0001511



IRF Compliance Screening Form Analysis

Visa will analyze all the information made available by the requesting Member upon receipt of the
Interchange Reimbursement Fee Compliance Screening Form.

ID#: 171009-171009-0001512



IRF Compliance Request Eligibility

Visa will determine the eligibility of each request on the basis of the information provided by the
Member in accordance with the rules in effect on the Transaction Date, as stipulated in the applicable
Operating Regulations and the Global Interchange Reimbursement Fee (IRF) Compliance Process
Guide and the appropriate regional or domestic IRF guide, as applicable.

ID#: 171009-171009-0001513



IRF Compliance Decision Notification

Visa will communicate its screening decision to the requesting Member within 10 calendar days of
receipt of the Interchange Reimbursement Fee Compliance Screening Form. The decision is final and
not subject to any challenge.

ID#: 171009-171009-0001514




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IRF Compliance Request Approval

If Visa approves a Member's request to use the Interchange Reimbursement Fee Compliance
process, the Member may file pre-Compliance as specified in Interchange Reimbursement Fee Pre-
Compliance.

ID#: 171009-171009-0001515



IRF Compliance Request Denial

If Visa denies a Member's request to use the Interchange Reimbursement Fee Compliance process,
the Member:

• Must not resubmit the claim except as specified in IRF Compliance Resubmission
• May use the standard Compliance process
• Forfeits the Interchange Reimbursement Fee Compliance Screening fee

ID#: 171009-171009-0001516



IRF Compliance Request Rejection

Visa reserves the right to reject a Member's request to file Interchange Reimbursement Fee
Compliance for any reason, including those specified in IRF Compliance Request Denial.

ID#: 171009-171009-0001517



IRF Compliance Request Denial Reasons

Visa may deny a Member's request to use Interchange Reimbursement Fee (IRF) Compliance for any
reason including, but not limited to, the following:

• It reasonably concludes that a Member's failure to exercise due diligence prevented the violation
  from being discovered within 90 days from the Transaction Processing Date
• It determines that the assessment of the incorrect IRF resulted from an error (intentional or
  accidental) by the filing Member
• If, contrary to Member certification specified in IRF Compliance Member Certification, Visa
  determines that some Transactions included in the aggregated list were assessed the correct IRF

ID#: 171009-171009-0001518



IRF Compliance Decision

The decision regarding a Member's ability to file Interchange Reimbursement Fee Compliance is final
and not subject to any challenge.

ID#: 171009-171009-0001519




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IRF Compliance Request Rejection and Resubmission

A Member whose request for Interchange Reimbursement Fee Compliance has been rejected may
resubmit the request under certain circumstances as stated in IRF Compliance Resubmission.

ID#: 171009-171009-0001520



IRF Compliance Resubmission

If a Member's Interchange Reimbursement Fee Compliance Screening request is rejected due to the
Member's failure to discover the violation within 90 calendar days, as specified in IRF Compliance
Request Denial Reasons, the Member may resubmit the Interchange Reimbursement Fee
Compliance Screening request with Transactions that are within 90 calendar days of the Processing
Date of the oldest Transaction submitted in the aggregated claim.

ID#: 171009-171009-0001521



IRF Compliance Failure to Meet Certification Requirements

Except as specified in IRF Compliance Resubmission, a Member may not resubmit any Transactions
for Interchange Reimbursement Fee Compliance if the original request was denied by Visa for failing
to meet the certification requirements specified in IRF Compliance Member Certification.

ID#: 171009-171009-0001522



IRF Compliance Process Denial

A Member who has been denied use of the Interchange Reimbursement Fee Compliance process
may file Compliance as specified in Compliance if the Transactions qualify for the time limits
established for the standard Compliance process.

ID#: 171009-171009-0001523



IRF Compliance Screening Fee (Updated)

Visa assesses a screening fee to the requesting Member for each aggregated Interchange
Reimbursement Fee Compliance Screening Form submitted, as specified in the applicable regional
pricing guide.

ID#: 050411-130111-0001524



IRF Compliance Screening Fee Collection

The Interchange Reimbursement Fee Compliance Screening fee is collected through the Global
Member Billing Solution, and charged to the BIN noted on the Interchange Reimbursement Fee
Compliance Screening Form.

ID#: 171009-171009-0001525




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IRF Compliance Screening Fee Forfeiture

If the Member's request to use the Interchange Reimbursement Fee Compliance process is denied,
the Member forfeits the Interchange Reimbursement Fee Compliance Screening fee.

ID#: 171009-171009-0001526



IRF Pre-Compliance


IRF Pre-Compliance

If Visa approves a Member's screening request for Interchange Reimbursement Fee Compliance as
specified in IRF Compliance Decision Notification, the Member must first attempt to resolve the
dispute with the opposing Member through the pre-Compliance process.

ID#: 171009-171009-0007000



Initiating IRF Pre-Compliance

To initiate Interchange Reimbursement Fee pre-Compliance, the filing Member must submit to the
opposing Member a properly completed Pre-Compliance Questionnaire (Exhibit 2O), through Visa
Resolve Online.

ID#: 171009-171009-0001527



IRF Compliance Process


Inappropriate IRF Violation Code

The filing Member must choose the violation code that corresponds to "Inappropriate Interchange
Reimbursement Fee" in Visa Resolve Online.

ID#: 171009-171009-0001528



Pre-Compliance Questionnaire Requirement

In addition to filing through Visa Resolve Online, the filing Member must send a copy of the signed
Pre-Compliance Questionnaire (Exhibit 2O) to Visa.

ID#: 171009-171009-0001529




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Filing Member Submission Requirements

The filing Member must also submit to Visa the following:

• The Interchange Reimbursement Fee Compliance Screening Form evidencing Visa approval of a
  Member's Request to file Interchange Reimbursement Fee Compliance
• An encrypted spreadsheet file containing a list of disputed Transactions and the data fields
  specified in Required Information for Transactions Aggregated in an IRF Compliance Claim. The
  file must be transmitted to Visa. Visa forwards the file to the opposing Member.
• Any other pertinent documentation

ID#: 171009-171009-0001530



Required Information for Transactions Aggregated in an IRF Compliance Claim

For each Transaction aggregated in the claim, the filing Member must include the following
information:

• Account Number
• Acquirer BIN
• Acquirer Reference Number
• Processing Date
• Transaction Date
• Transaction amount
• Interchange Reimbursement Fee applied
• Expected Interchange Reimbursement Fee
• Interchange Reimbursement Fee differential amount being claimed
• Merchant name
• For U.S. Domestic Transactions, Transaction Identifier (This only applies in the U.S. Region.)

ID#: 171009-171009-0001531



IRF Compliance Questionnaire Submission Requirements

The Member must submit the Pre-Compliance Questionnaire (Exhibit 2O) through Visa Resolve
Online to the opposing Member. At the same time, the filing Member must electronically transmit
another copy of the Pre-Compliance Questionnaire (Exhibit 2O) to Visa via a Visa-approved secure
mechanism as specified in the Global Interchange Reimbursement Fee Compliance Process Guide
or as instructed by Visa.

ID#: 171009-171009-0001532




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IRF Compliance Data File Requirements

In addition to the Pre-Compliance Questionnaire (Exhibit 2O), the filing Member must transmit a data
file containing the Transaction information in an encrypted format through the same Visa-approved
secure mechanism.

ID#: 171009-171009-0001533



IRF Compliance Data File Transmission to Opposing Member

Visa will forward the encrypted data file to the opposing Member through the same secure process.
The filing Member may not forward the file directly to the opposing Member.

ID#: 171009-171009-0001534



IRF Compliance Pre-Compliance Questionnaire Time Limit

The Pre-Compliance Questionnaire (Exhibit 2O) must be sent to the opposing Member and Visa
within:

• 10 calendar days of receiving screening approval from Visa, as specified in IRF Compliance
  Decision Notification
• At least 30 days before filing Interchange Reimbursement Fee Compliance

ID#: 171009-171009-0001535



IRF Compliance Time Period Calculation

The 10 day period begins from the date stamped on the Interchange Reimbursement Fee
Compliance Screening Form returned by Visa approving the Member's request to file Interchange
Reimbursement Fee Compliance.

ID#: 171009-171009-0001536



IRF Pre-Compliance Acceptance

If the opposing Member accepts financial responsibility for the disputed Transactions or if the filing
Member and the opposing Member reach a mutually agreeable settlement, the opposing Member
must credit the requesting Member through VisaNet within 30 calendar days of the Interchange
Reimbursement Fee pre-Compliance correspondence date.

The filing Member may collect the screening fee from the responsible Member.

The opposing Member must notify Visa of the settlement.

ID#: 171009-171009-0001537




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Filing IRF Compliance

If the opposing Member does not accept financial responsibility for the disputed Transactions and an
agreeable settlement cannot be reached, the filing Member may proceed to file Interchange
Reimbursement Fee Compliance. Before filing for Compliance, the filing Member must verify that no
credit has been received from the opposing Member.

ID#: 171009-171009-0001538



IRF Compliance Filing Reasons

A Member may file Interchange Reimbursement Fee (IRF) Compliance for a violation of the Visa
International Operating Regulations or regional or domestic IRF guide which results in an incorrect
IRF assessment, if the Member's attempt to settle the dispute with the opposing Member via the pre-
Compliance process is unsuccessful.

ID#: 171009-171009-0001539



IRF Compliance Filing Documentation

The filing Member must submit to Visa all necessary documentation approved by the Center manager
or an authorized officer.

ID#: 171009-171009-0001540



Additional Documentation Submission for IRF Compliance

Unless specifically requested by Visa, no additional documents will be accepted subsequent to the
initial Interchange Reimbursement Fee Compliance filing.

ID#: 171009-171009-0001541



IRF Compliance Questionnaire Submission Time Limit

The Member must submit a completed Summary of Compliance Questionnaire (Exhibit 2K) through
Visa Resolve Online within 60 calendar days of filing the Pre-Compliance Questionnaire (Exhibit 2O),
as specified in Initiating IRF Pre-Compliance.

ID#: 171009-171009-0001542



IRF Compliance Time Limit Calculation

The calendar day period begins on the day following the date on which the Member submits the Pre-
Compliance Questionnaire (Exhibit 2O).

ID#: 171009-171009-0001543




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IRF Compliance Documentation Delivery Requirements

Any additional documentation required to support an Interchange Reimbursement Fee Compliance
filing must be transmitted through Visa Resolve Online:

• On the same day as the case filing
• As specified in the Visa International Operating Regulations or Regional Operating Regulations
  and in the appropriate VisaNet manuals

ID#: 171009-171009-0001544



IRF Compliance Review Fee (Updated)

For Interchange Reimbursement Fee Compliance requests submitted to Visa, the filing Member will
be assessed a review fee, as specified in the applicable regional pricing guide.

ID#: 050411-130111-0001545



IRF Compliance Withdrawal

If either the opposing Member or the filing Member withdraw the Interchange Reimbursement Fee
Compliance case prior to a decision by Visa, as specified in IRF Compliance Filing Withdrawal, Visa
will reimburse the review fee to the filing Member.

ID#: 171009-171009-0001546



IRF Compliance Review Fee Forfeiture

The filing Member forfeits the review fee if Visa determines that the case has no merit.

ID#: 171009-171009-0001547



Invalid Requests for IRF Compliance

If Visa determines that a request is invalid, it may retain the review fee in certain circumstances, such
as:

• Documentation is insufficient or illegible
• Required documentation was not provided to the opposing Member
• Authorization of the Member's Center manager is missing
• Requesting Member did not file the request within the required time limits
• Requesting Member did not use available remedies provided for in the Visa International Operating
  Regulations
• Submitted documentation does not include evidence of a valid pre-Compliance attempt

ID#: 171009-171009-0001548




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IRF Compliance Filing Withdrawal

A filing Member or the opposing Member may withdraw the request for Interchange Reimbursement
Fee Compliance. The withdrawal request must be submitted to Visa through Visa Resolve Online no
later than 30 days from the date of submission. Visa retains the screening fee.

ID#: 171009-171009-0001549



IRF Compliance Claim Investigation

Upon receipt of the supporting documentation, Visa investigates the claim and communicates its
decision to both Members in writing.

ID#: 171009-171009-0001550



Using Available Information at Time of Transaction for IRF Compliance

Visa uses all the information available to it at the time of reaching its decision and refers to the Visa
International Operating Regulations in effect on the date of the Transactions.

ID#: 171009-171009-0001551



Visa Rights for IRF Compliance

Visa reserves the right to rule in favor of the filing Member if Visa determines that the claim has merit
and the opposing Member does not respond.

ID#: 171009-171009-0001552



Assignment of Liability for IRF Compliance

If Visa determines that a request is valid, it may allocate financial liability as specified in Financial
Liability for IRF Compliance Decision.

ID#: 171009-171009-0001553



Use of VIP System Records for IRF Compliance

When an Issuer's and Acquirer's records differ, V.I.P. System records will prevail.

ID#: 171009-171009-0001554




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IRF Compliance Decision


IRF Compliance Decision Written Notification

Visa informs both Members of its decision in writing.

ID#: 171009-171009-0001555



Finality of IRF Compliance Decision

The decision by Visa is final and not subject to any challenge, except for the right of appeal permitted
under IRF Compliance Appeal Documentation Requirements.

ID#: 171009-171009-0001556



Financial Liability for IRF Compliance Decision

If Visa determines that the opposing Member is responsible, the opposing Member is financially liable
for all of the following:

• Interchange Reimbursement Fee Compliance Screening fee
• Interchange Reimbursement Fee Compliance review fee
• The amount of the claim, or a portion thereof

ID#: 171009-171009-0001557



IRF Compliance Decision Against Filing Member

If the opposing Member is not found responsible, the filing Member:

• Forfeits the entire claim amount
• Forfeits the Interchange Reimbursement Fee Compliance Screening fee and the review fee
• Is prohibited from resubmitting any Transactions from that claim through another Interchange
  Reimbursement Fee Compliance process

ID#: 171009-171009-0001558



Settled Claim Collection for IRF Compliance

Visa collects the settled claim amount from the responsible Member through VisaNet and disburses it
to the prevailing Member.

ID#: 171009-171009-0001559




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IRF Compliance Fee Collection

If the opposing Member is responsible, Visa collects the Interchange Reimbursement Fee
Compliance Screening fee and the review fee to reimburse the filing Member, in addition to the claim
amount disbursed through VisaNet.

ID#: 171009-171009-0001560



Currency Conversion for IRF Compliance Cases

If the Transactions involve currency conversion, Visa will use the currency exchange rate in effect on
the day of the Interchange Reimbursement Fee Compliance filing.

ID#: 171009-171009-0001561



Claims and Liability for Currency Conversion Differences for IRF Compliance Cases

Visa is not liable for any Claims or Liabilities arising from any losses incurred by the filing or opposing
Member as a result of differences in the exchange rate between the Transaction Processing Date and
the date the claim is settled.

ID#: 171009-171009-0001562



IRF Compliance Appeal


IRF Compliance Appeal Filing Requirements

Any appeal by the adversely affected Member must be filed through Visa Resolve Online within 45
calendar days of the decision Notification date.

ID#: 171009-171009-0001563



IRF Compliance Appeal Documentation Requirements

The appealing Member must submit with the appeal any new or additional information necessary to
substantiate its request for an appeal.

ID#: 171009-171009-0001564



IRF Compliance Appeal Fee

Visa will collect from the Member an appeal fee as specified in the applicable regional pricing guide.

ID#: 171009-171009-0001565




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Finality of IRF Compliance Appeal Decision

Visa bases its decision on the new information provided by the requesting Member. Each Member
may submit arguments supporting its position. All decisions are final and not subject to any challenge.

ID#: 171009-171009-0001566



Visa Right to Decline IRF Compliance Appeal Request

Visa may decline an appeal if the new information is insufficient to support a change to the initial Visa
decision. If the appeal is not accepted, Visa retains the appeal fee.

ID#: 171009-171009-0001567




Intercompany Interchange Reimbursement Fee
Compliance

Intercompany Interchange Reimbursement Fee Compliance Process


Intercompany Interchange Reimbursement Fee Compliance Process Introduction
(Updated)

Effective 13 January 2011, the Intercompany Interchange Reimbursement Fee Compliance process
allows a Visa Inc. or a Visa Europe Member to request Compliance against each other for respective
violations of the Visa International Operating Regulations or Visa Europe Operating Regulations that
result in the application of an incorrect Interchange Reimbursement Fee.

Effective 13 January 2011, the Intercompany Interchange Reimbursement Fee Compliance process
does not replace either Visa Europe’s existing Interchange Reimbursement Fee Adjustment Policy for
settling disputes between Visa Europe Members or Visa Inc.’s Interchange Compliance Process for
settling disputes between Visa Inc. Members. The Intercompany Interchange Reimbursement Fee
Compliance Process applies only to disputed Transactions between a Visa Inc. and a Visa Europe
Member.

The Intercompany Interchange Reimbursement Fee Compliance process is not available for errors
caused by either Visa Inc. or Visa Europe. A Member must obtain Visa approval prior to initiating
Intercompany Interchange Reimbursement Fee Compliance process.

ID#: 080411-130111-0026213




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Chapter 10: Pricing, Fees and Interchange

Core Principle 10.1

Fees for Access and Use of Visa Products and Services


Establishing Fees for Access

Visa system participants pay fees to Visa for access to and use of Visa products and services. Visa
establishes certain fees between issuers and acquirers for specific participant actions such as
rewards paid to store clerks for card recovery or the fulfillment of sales receipt copies.

ID#: 010410-010410-0007825




Core Principle 10.2

Participants Pay or Receive Interchange for Transactions


Paying or Receiving Interchange

Participating acquirers and issuers pay or receive interchange every time a Visa product is used. For
example, acquirers pay interchange to issuers for purchase transactions and issuers pay interchange
to acquirers for cash transactions and credit vouchers. In the case of a credit or a chargeback,
interchange flows in reverse.

ID#: 010410-010410-0007826



What is Interchange?

Interchange reimbursement fees help to make electronic payments possible by enabling Visa to
expand card holding and use, increasing the places consumers can use their cards and providing a
financial incentive for all parties to pursue system-wide improvements, such as rewards, innovation
and security. An interchange reimbursement fee is a default transfer price between acquirers and
issuers within the Visa system. Merchants pay what is known as a merchant discount fee or merchant
service fee negotiated with their acquirer which may take into account the interchange fee,
processing costs, fees for terminal rental, customer services, and other financial services. The
merchant discount fee or merchant service fee is negotiated individually with the merchant's acquirer;
each acquirer sets its fees independently, in competition with other acquirers, competing payment
systems, and other forms of payment.




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Interchange is consistently monitored and adjusted - sometimes increased and sometimes decreased
- in order to ensure that the economics present a competitive value proposition for all parties.
Interchange reimbursement fees must encourage card holding and use, as well as expansion in the
number and types of businesses that accept cards. If rates are too high, retailers won't accept cards;
if rates are too low, issuers won't issue cards. Visa may establish different interchange
reimbursement fees in order to promote a variety of system objectives, such as enhancing the value
proposition for Visa products, providing incentives to grow merchant acceptance and usage, and
reinforcing strong system security and transaction authorization practices.

ID#: 010410-010410-0024115




Core Principle 10.3

Visa Determines Interchange Reimbursement Fees


Visa Determines and Publishes IRF

Interchange reimbursement fees are determined by Visa and provided on Visa’s published fee
schedule, or may be customized where members have set their own financial terms for the
interchange of a Visa transaction or Visa has entered into business agreements to promote
acceptance and card usage.

ID#: 010410-080210-0024122




Global Interchange

General Interchange Requirements


Original Credit Interchange Reimbursement Fee (Updated)

Effective 9 December 2010, a Member that originates or receives an Original Credit Transaction,
including a Money Transfer Original Credit Transaction, is subject to, or eligible for, the Original Credit
Interchange Reimbursement Fee if the Original Credit Transaction is processed in accordance with
the requirements specified in the following, as applicable:

• Visa International Operating Regulations
• Original Credits Member Requirements
• Applicable regional Interchange rate sheet
• U.S. Interchange Reimbursement Fee Rate Qualification Guide

ID#: 080411-091210-0026075




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Fast Funds Money Transfer Original Credit Interchange Reimbursement Fee (New)

Effective 9 December 2010, a Recipient Member that participates in Fast Funds service for an
incoming Money Transfer Original Credit Transaction qualifies for the Visa Money Transfer Fast
Funds Interchange Reimbursement Fee if the Transaction meets the qualification requirements
specified in these Operating Regulations and the following, as applicable:

• Visa Money Transfer (VMT) Global Implementation Guide
• Applicable regional Interchange rate sheet
• U.S. Interchange Reimbursement Fee Rate Qualification Guide

ID#: 050411-091210-0026076




Interchange Reimbursement Fees - U.S. Region

General Interchange Reimbursement Fee Requirements - U.S. Region


Interchange Reimbursement Fee Requirements - U.S. Region

In the U.S. Region, a Transaction must meet the qualifications defined in the Visa International
Operating Regulations and the U.S. Interchange Reimbursement Fee Rate Qualification Guide to
qualify for a particular Interchange Reimbursement Fee.

ID#: 081010-010410-0006611



Cash Disbursement - U.S. Region (Updated)

In the U.S. Region, for any Cash Disbursement, the Issuer pays to the Acquirer a Cash Disbursement
Interchange Reimbursement Fee. This Acquirer is the Member making the Cash Disbursement.

ID#: 080411-010410-0006494



National Merchant Interchange Reimbursement Fee - U.S. Region

A national Merchant entering into a national account agreement may, with the prior approval of Visa,
authorize and send Transaction Receipts directly to Issuers through VisaNet at a reimbursement fee
to be determined by Visa.

ID#: 010410-010410-0006526




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Inappropriate Interchange Reimbursement Fees - U.S. Region

A U.S. Acquirer must request the correct Interchange Reimbursement Fee when submitting
Transactions into Interchange. Fines will be assessed to any Acquirer who requests an inappropriate
Interchange Reimbursement Fee, per Merchant Outlet, as specified in "Fine for Inappropriate
Interchange Reimbursement Fee - U.S. Region."

ID#: 081010-010410-0007874



Cash-Back Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, the Interchange Reimbursement Fee for a Visa Check Card II Transaction
involving Cash-Back is calculated using the purchase amount only. The Cash-Back portion of the
Transaction is not subject to Interchange Reimbursement Fees.

ID#: 010410-010410-0005677



ReadyLink Interchange Reimbursement Fee - U.S. Region (Updated)

In the U.S. Region, the Visa ReadyLink Interchange Reimbursement Fee applies to load Transactions
that are authorized and settled through VisaNet. The Visa Prepaid Card Issuer pays an Interchange
Reimbursement Fee to the Acquirer of the Visa ReadyLink Transaction, as specified in Visa U.S.A.
Interchange Reimbursement Fees.

ID#: 050411-010410-0004112



Standard and Electronic Interchange Reimbursement Fees - U.S. Region


Standard Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, a Transaction that does not qualify for any other Interchange Reimbursement Fee
is cleared at the Standard Interchange Reimbursement Fee.

A Transaction effected by the following Merchants is eligible only for the Standard Interchange
Reimbursement Fee:

• High-Risk Telemarketing Merchant
• High-Risk Merchant

Non-Secure Electronic Commerce Transactions are eligible only for the Standard Interchange
Reimbursement Fee.




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A Transaction using any of the following is eligible only for the Standard Interchange Reimbursement
Fee:

• V.I.P. System emergency Authorization procedures
• "Code 10" Authorization procedures
• "Referral" Authorization procedures

ID#: 010410-010410-0006612



Electronic Interchange Reimbursement Fee - General Qualification - U.S. Region

In the U.S. Region, Electronic Interchange Reimbursement Fee qualifications are:

• Transaction must be entered into VisaNet, as specified in the appropriate VisaNet manuals
• Transaction must be authorized
• Authorization Request contains the information specified in "Required Data for Authorization
  Requests and Responses" (Exhibit OO)
• Clearing Record contains all data elements specified in "VisaNet Clearing Message Content
  Standards" (Exhibit NN) and the appropriate VisaNet manual
• Transaction processing time limits meet requirements specified in "Interchange Reimbursement
  Fee Qualification Processing Holidays - U.S. Region."

Visa will process Transactions that do not meet the requirements for the Electronic Interchange
Reimbursement Fee rate specified in this section under the Standard Interchange Reimbursement
Fee rate.

ID#: 081010-010410-0008361



Interchange Reimbursement Fee Qualification Processing Holidays - U.S. Region

To qualify for Interchange Reimbursement Fees in the U.S. Region, the Central Processing Date of
the Transaction must not exceed the number of calendar days from the Transaction Date specified in
the "Processing Time Limits for Custom Payment Services Interchange Reimbursement Fee
Transactions - U.S. Region" table or the "Processing Days for Transactions Qualifying for the
Electronic Interchange Reimbursement Fee - U.S. Region" table.

When calculating days, exclude the Transaction Date, Central Processing Date, Sundays, and the
following U.S. holidays:

• New Year's Day
• Martin Luther King, Jr. Day
• Presidents' Day (Observed)
• Good Friday
• Memorial Day (Observed)
• Independence Day
• Labor Day



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• Columbus Day (Observed)
• Veterans Day
• Thanksgiving Day
• Christmas Day

The following table specifies the last qualifying central processing day for a given Transaction day.


Processing Days for Transactions Qualifying for the Electronic Interchange Reimbursement
Fee - U.S. Region

          Transaction Day                                     Central Processing Day


               Sunday                                                 Thursday


               Monday                                                  Friday


              Tuesday                                                 Saturday


             Wednesday                                                Monday


              Thursday                                                Tuesday


                Friday                                               Wednesday


              Saturday                                                Thursday


ID#: 010410-010410-0008986



Non-Member-Owned Terminal - U.S. Region

In the U.S. Region, Transactions captured by a Point-of-Transaction Terminal owned or controlled by
a non-Member VisaNet Processor or credit or charge card issuer (including their subsidiaries and
affiliates) qualify only for the Standard Interchange Reimbursement Fee if either:

• The entity directly or indirectly discriminates against Visa or any of its Members in availability or
  pricing of services
• Visa determines that the entity unfairly prevents Visa or its Members from competing with that
  entity

ID#: 010410-010410-0006651




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Competitor-Owned Terminal - U.S. Region

In the U.S. Region, Transactions captured by a terminal that is owned or controlled by an issuer of a
credit or charge card deemed competitive by Visa are eligible only for the Standard Interchange
Reimbursement Fee, unless the U.S. Acquirer:

• Has a Merchant Agreement with the U.S. Merchant
• Maintains full responsibility and control over the U.S. Merchant

ID#: 010410-010410-0006652



Electronic Interchange Reimbursement Fee Status Check - U.S. Region

A Transaction originating at a U.S. Prestigious Property Merchant that used the Status Check
Procedure may qualify for the Electronic Interchange Reimbursement Fee.

ID#: 010410-010410-0006637




Custom Payment Services (CPS) - U.S. Region

Custom Payment Services General - U.S. Region


Custom Payment Services Overview - U.S. Region

In the U.S. Region, Visa offers Custom Payment Services, as defined in the U.S. Regional Operating
Regulations, for a variety of segments. These services include:

• CPS/Account Funding
• CPS/Automated Fuel Dispenser
• CPS/Card Not Present
• CPS/e-Commerce Basic
• CPS/e-Commerce Preferred Hotel and Car Rental
• CPS/e-Commerce Preferred Passenger Transport
• CPS/e-Commerce Preferred Retail
• CPS/Hotel and Car Rental Card Not Present
• CPS/Hotel and Car Rental Card Present
• CPS/Passenger Transport
• CPS/Restaurant
• CPS/Retail
• CPS/Retail 2
• CPS/Retail Key-Entry
• CPS/Service Station


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• CPS/Small Ticket
• CPS/Supermarket

For additional details, see the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010100-0025805



Basic Custom Payment Services (CPS) Requirements - U.S. Region

In the U.S. Region, a Custom Payment Services (CPS) Transaction must:

• Comply with:
  - Visa International Operating Regulations
  - Appropriate VisaNet manuals
  - "VisaNet Clearing Message Content Standards" (Exhibit NN)
  - "Required Data for Authorization Requests and Responses" (Exhibit OO)
• Be authorized through the V.I.P. System
• Be submitted through VisaNet, as specified in the appropriate VisaNet manuals
• Meet qualification criteria specified in the U.S. Interchange Reimbursement Fee Rate Qualification
  Guide

CPS Transactions submitted into VisaNet qualify individually as Custom Payment Service (CPS)
Transactions.

ID#: 081010-010410-0006613



Processing Time Limits for Custom Payment Services (CPS) Programs - U.S. Region

In the U.S. Region, to qualify for the Custom Payment Services (CPS) programs Interchange
Reimbursement Fee, the Central Processing Date of the CPS Transaction must comply with the
following table.




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Processing Time Limits for Custom Payment Services
Interchange Reimbursement Fee Transactions- U.S. Region

                                          Central Processing Date Must Be        Exclude The Following When
           Transaction Type
                                                   No More Than:                       Counting Days:


 CPS/Retail                             2 calendar days from the Transaction     Transaction Date, Central
                                        Date                                     Processing Date, Sundays, and
 CPS/Retail Key-Entry                                                            the U.S. holidays specified in
 CPS/Restaurant                                                                  "Interchange Reimbursement
                                                                                 Fee Qualification Processing
 CPS/Service Station                                                             Holidays - U.S. Region"
 CPS/Hotel and Car Rental Card
 Not Present
 CPS/Hotel and Car Rental Card
 Present
 CPS/Card Not Present
 CPS/Automated Fuel Dispenser
 CPS/Account Funding
 CPS/e-Commerce Basic
 CPS/e-Commerce Preferred
 Retail
 CPS/e-Commerce Preferred
 Hotel and Car Rental
 CPS/Small Ticket
 CPS/Supermarket

 CPS/Automated Fuel Dispenser           Completion Message with the final        N/A
 processed as Real-Time Clearing        Transaction amount must be sent
                                        within X of the preauthorization

 CPS/Retail 2                           3 calendar days from the Transaction     Transaction Date, Central
                                        Date                                     Processing Date, Sundays, and
                                                                                 the U.S. holidays specified in
                                                                                 "Interchange Reimbursement
                                                                                 Fee Qualification Processing
                                                                                 Holidays - U.S. Region"

 CPS/Passenger Transport                8 calendar days from the Transaction     Transaction Date, Central
                                        Date                                     Processing Date, Sundays, and
 CPS/e-Commerce Preferred                                                        the U.S. holidays specified in
 Passenger Transport                                                             "Interchange Reimbursement
                                                                                 Fee Qualification Processing
                                                                                 Holidays - U.S. Region"


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CPS Ineligible Transactions - U.S. Region

The following Transactions are not eligible for Custom Payment Services (CPS) Interchange
Reimbursement Fees:

• Cash Disbursements
• Quasi-Cash Transactions
• Transactions effected by High-Risk Telemarketing Merchants
• Transactions effected by High-Risk Merchants
• Transactions using any of the following:
  - V.I.P. System emergency Authorization procedures
  - "Code 10" Authorization procedures
  - "Referral" Authorization procedures

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CPS Processing Days - U.S. Region

The following table specifies the last qualifying central processing day for a given Custom Payment
Services (CPS) Transaction day in the U.S. Region:




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Processing Days: Custom Payment Services Transactions - U.S. Region

                                                           Transaction Type


                                     CPS/Retail                CPS/Retail 2           CPS/Passenger
                                CPS/Retail Key-Entry                                     Transport
                                   CPS/Restaurant                                    CPS/e-Commerce
                                 CPS/Service Station                                Preferred Passenger
                                  CPS/Hotel and Car                                         Transport
                                   Rental Card Not
                                       Present
                                  CPS/Hotel and Car
                                 Rental Card Present
                                CPS/Card Not Present
                                   CPS/Automated
                                   Fuel Dispenser
                                CPS/Account Funding
                                  CPS/e-Commerce
                                        Basic
                                  CPS/e-Commerce
                                   Preferred Retail
                                  CPS/e-Commerce
                                   Preferred Hotel
                                   and Car Rental
                                  CPS/Small Ticket
                                  CPS/Supermarket

      Transaction Day                            Last Qualifying Central Processing Day


           Sunday                    Wednesday                    Thursday           Second Wednesday


           Monday                     Thursday                     Friday                Second Thursday


           Tuesday                      Friday                    Saturday                Second Friday


         Wednesday                    Saturday                    Monday                 Second Saturday


          Thursday                     Monday                     Tuesday                Second Monday


            Friday                     Tuesday                 Wednesday                 Second Tuesday


          Saturday                   Wednesday                    Thursday           Second Wednesday


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CPS Transaction Amount - Authorization and Clearing - U.S. Region

In the U.S. Region, the cleared Custom Payment Services (CPS) Transaction amount must equal the
authorized amount for CPS/Retail, CPS/Supermarket, and CPS/Account Funding Transactions
completed with a Visa Check Card, excluding Transactions with the following Merchant Category
Codes:

• MCC 4121, "Taxicabs and Limousines"
• MCC 5813, "Bars and Taverns"
• MCC 7230, "Beauty and Barber Shops"
• MCC 7298, "Health and Beauty Spas"

The Transaction amount transmitted in the Authorization Request and in the Clearing Record must be
in the same currency.

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CPS Clearing Record Requirements - U.S. Region

In the U.S. Region, Visa allows only one Clearing Record message per Custom Payment Services
(CPS) Transaction, except as specified below.

For a CPS/Passenger Transport Transaction or CPS/e-Commerce Preferred Passenger Transport
Transaction, Visa allows one or more Clearing Record messages per Transaction.

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CPS Electronic Commerce Transactions - U.S. Region

The following table details Custom Payment Services (CPS) program availability and qualification
requirements applicable to Electronic Commerce Transactions.




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Electronic Commerce Transaction Qualification - U.S. Region

     Custom Payment Services                                         Qualification


 CPS/e-Commerce Basic                   Available for retail Non-Authenticated Security Transactions where the
                                        Merchant did not attempt Cardholder authentication using 3-D
                                        Secure.


 CPS/e-Commerce Preferred Retail        Available for retail:
                                        • Secure Electronic Commerce Transactions that comply with the 3-
                                          D Secure Specification or
                                        • Non-Authenticated Security Transactions where the Merchant
                                          attempted Cardholder authentication using 3-D Secure


 CPS/e-Commerce Preferred Hotel         Available for Electronic Commerce Transactions originating from a
 and Car Rental                         hotel, cruise line, or car rental
                                        Merchant that are:
                                        • Secure Electronic Commerce Transactions that comply with the 3-
                                          D Secure Specification or
                                        • Non-Authenticated Security Transactions where the Merchant
                                          attempted Cardholder authentication using 3-D Secure




     Custom Payment Services                                         Qualification


 CPS/e-Commerce Preferred               Available for Electronic Commerce Transactions originating from
 Passenger Transport                    Airline or passenger railway Merchants, or their agents, and that are:
                                        • Secure Electronic Commerce Transactions that comply with the 3-
                                            D Secure Specification or
                                        • Non-Authenticated Security Transactions where the Merchant
                                          attempted Cardholder authentication using 3-D Secure


 CPS/Hotel and Car Rental Card          Available for Electronic Commerce Transactions that originate from a
 Not Present                            Hotel, Cruise Line, or Car Rental Company:
                                        • That are Non-Authenticated Security Transactions and
                                        • Where the Merchant did not attempt Cardholder authentication
                                          using 3-D Secure


 CPS/Passenger Transport                Available for Electronic Commerce Transactions originating from an
                                        Airline or passenger railway Merchant, or their agent:
                                        • That are Non-Authenticated Security Transactions and
                                        • Where the Merchant did not attempt Cardholder authentication
                                          using 3-D Secure


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CPS Authorization and Clearing Requirements - U.S. Region

In the U.S. Region, an Authorization Request for a Custom Payment Services (CPS) Transaction
must meet the requirements specified in the table below and all requirements in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide for the CPS program:


Authorization Request Requirements for Custom Payment Services Transactions - U.S.
Region


                          Point-of-                           POS Entry             Visa or Visa        Signature is
                                             Reads/Transmits                                             Obtained
                                                                                                                  7
  Transaction Type       Transaction                      5  Mode Code is          Electron Card
                                                Full Data                   5
                          Terminal                           05, 07, 90, 91          is Present


 CPS/Supermarket               X                     X
                                                         1
                                                                         X                X
                                                                                              2
                                                                                                             X
                                                                                                                 2



 CPS/Retail                    X                     X
                                                         1
                                                                         X                X
                                                                                              2
                                                                                                             X
                                                                                                                 2



 CPS/Retail Key-Entry         X
                                  1,3
                                                                                          X                   X

 CPS/Retail 2                 X
                                  4
                                                                                          X                   X

 CPS/Service Station           X                     X
                                                         1
                                                                         X                X
                                                                                              2
                                                                                                             X
                                                                                                                 2



 CPS/Restaurant                X                     X
                                                         1
                                                                         X                X
                                                                                              2
                                                                                                             X
                                                                                                                 2



 CPS/Hotel and Car                            An Acquirer must acknowledge in the Authorization
 Rental Card Not                            Request that it may forfeit certain Representment rights.
 Present

 CPS/Hotel and Car             X                     X
                                                         1
                                                                        X
                                                                            6
                                                                                          X                   X
 Rental Card Present

 CPS/Passenger                          An Acquirer may perform an Address Verification Service inquiry
 Transport                                          at the time of the Authorization Request.


 CPS/Card Not             An Acquirer must perform an Address Verification Service inquiry at the time of the
 Present                Authorization Request for each Transaction, except as specified in the U.S. Interchange
                                           Reimbursement Fee Rate Qualification Guide.

 CPS/Automated Fuel            X                      X                  X                X
 Dispenser

 CPS/Account            An Acquirer must perform an Address Verification Service and Card Verification Value
 Funding                2 inquiry at the time of the Authorization Request, as specified in "Additional
                        Authorization Requirements - CPS/Account Funding - U.S. Region."



 CPS/e-Commerce          An Acquirer must perform an Address Verification Service inquiry at the time of the
 Basic                  Authorization Request for each Transaction, except as specified in "CPS/e-Commerce
                                             Basic Address Verification - U.S. Region."



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                               Point-of-                          POS Entry                  Visa or Visa        Signature is
                                                 Reads/Transmits                                                  Obtained
                                                                                                                           7
   Transaction Type           Transaction                     5  Mode Code is               Electron Card
                                                    Full Data                   5
                               Terminal                          05, 07, 90, 91               is Present


  CPS/e-Commerce                An Acquirer must meet the Authorization requirements, as specified in "CPS/e-
  Preferred Retail            Commerce Preferred Retail - U.S. Region," and must perform an Address Verification
                                           Service inquiry at the time of the Authorization Request.

  CPS/e-Commerce               An Acquirer must meet the Authorization requirements, as specified in "Additional
  Preferred Hotel and          Authorization Requirements - CPS/e-Commerce Preferred Hotel, Car Rental, and
  Car Rental                 Passenger Transport - U.S. Region," and may perform an Address Verification Service
                                               inquiry at the time of the Authorization Request

  CPS/e-Commerce               An Acquirer must meet the Authorization requirements, as specified in "Additional
  Preferred Passenger          Authorization Requirements - CPS/e-Commerce Preferred Hotel, Car Rental, and
  Transport                  Passenger Transport - U.S. Region," and may perform an Address Verification Service
                                               inquiry at the time of the Authorization Request.

  CPS/Small Ticket                  X
                                        2
                                                          X                     X                   X

1. The Authorization Request must originate at an attended Point-of-Transaction Terminal.
2. Transaction must be completed in either a Face-to-Face Environment or at a Self-Service Terminal or an Automated
   Dispensing Machine.
3. An Acquirer must perform an Address Verification Service Inquiry at the time of the Authorization Request and receive a
   “full match,” “unsupported,” or “retry” response to a “ZIP code only match” request.
4. Transactions for which the Card is not present and signature is not obtained are eligible for CPS/Retail 2, as specified in
   "CPS/Retail 2 Merchant Category Codes - U.S. Region"
5. Full unaltered contents of track 1 or track 2 of Magnetic Stripe, Chip, or Contactless Payment chip.
6. At least the first Authorization Request.
7. Effective through 15 October 2010, Cardholder signature is not required if the Transaction qualifies as a No Signature
   Required Transaction. Effective 16 October 2010, Cardholder signature is not required if the Transaction qualifies as a
   Visa Easy Payment Service Transaction.

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CPS Authorization Code Requirements - U.S. Region

A U.S. Acquirer must obtain an Authorization Code for each Custom Payment Services (CPS)
Transaction, as specified in the table below:


Custom Payment Services Authorization Code Requirements

                  Transaction Type                       Authorization Code Requirements for Each Transaction


  CPS/Retail                                             Exactly one, obtained on the Transaction Date


  CPS/Retail Key-Entry                                   Exactly one, obtained on the Transaction Date


  CPS/Retail 2                                           Exactly one, obtained on the Transaction Date




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               Transaction Type                   Authorization Code Requirements for Each Transaction


 CPS/Restaurant                                   Exactly one, obtained on the Transaction Date


 CPS/Service Station                              Exactly one, obtained on the Transaction Date


 CPS/Hotel and Car Rental Card Not Present        At least one. The Acquirer may obtain multiple
                                                  Authorization Codes for a Transaction.

 CPS/Hotel and Car Rental Card Present            At least one. The Acquirer may obtain multiple
                                                  Authorization Codes for a Transaction.

 CPS/Passenger Transport                          Exactly one

 CPS/Card Not Present                             Exactly one

 CPS/Automated Fuel Dispenser                     A Status Check (or estimated amount, if using Real-Time
                                                  Clearing) request originated at an Automated Fuel
                                                  Dispenser

 CPS/Account Funding                              Exactly one, obtained on the Transaction Date

 CPS/e-Commerce Basic                             Exactly one

 CPS/e-Commerce Preferred Retail                  Exactly one

 CPS/e-Commerce Preferred Hotel and Car           At least one. The Acquirer may obtain multiple
 Rental                                           Authorization Codes for a Transaction.

 CPS/e-Commerce Preferred Passenger               Exactly one
 Transport

 CPS/Small Ticket                                 Exactly one, obtained on the Transaction Date


ID#: 081010-010410-0006800



CPS/Automated Fuel Dispenser - U.S. Region


CPS/Automated Fuel Dispenser - Merchant Requirements - U.S. Region

To be eligible to submit CPS/Automated Fuel Dispenser Transactions, a U.S. Merchant must:

• Complete the required business certification prior to submitting Transactions into Interchange
• Maintain a "velocity-check" program to monitor the volume and frequency of Transactions

The Merchant must not exceed the CPS/Automated Fuel Dispenser fraud or Chargeback thresholds
specified by Visa.

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Additional Authorization Requirements-CPS/Automated Fuel Dispenser - U.S. Region

A U.S. Merchant must either:

• Perform a Status Check for a CPS/Automated Fuel Dispenser Transaction
• For a Real-Time Clearing Transaction, estimate the Authorization amount based on the Merchant's
  good faith estimate of the final Transaction amount, taking into account among other factors typical
  spending patterns at the Merchant location, not to exceed US $500. The CPS/Automated Fuel
  Dispenser Interchange Reimbursement Fee does not apply if the Completion Message with the
  final Transaction amount is not sent within X of the preauthorization request.

ID#: 010410-010410-0008557



CPS/Automated Fuel Dispenser Transaction Amount - U.S. Region

In the U.S. Region, except as set forth below for a CPS/Automated Fuel Dispenser Transaction, the
Transaction amount must not exceed:

• For a Visa Fleet Card, US $150
• For all other Cards, US $75

As specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide, only for the
purpose of calculating the applicable Interchange Reimbursement Fee, Automated Fuel Dispenser
Transactions of US $75 or less are eligible for the Custom Payment Services (CPS) Interchange
Reimbursement Fee for CPS/Automated Fuel Dispenser Transactions.

For a Real-Time Clearing Transaction, the Transaction amount must not exceed US $500.

ID#: 081010-010410-0006823



CPS/Hotel and Car Rental - Card Not Present and Card Present - U.S. Region


CPS Hotel and Car Rental Chargeback Protection Limit - U.S. Region

For a Lodging Merchant in the U.S. Region, if the Transaction amount is greater than the Chargeback
Protection Limit, the Transaction must:

• Be authorized as specified in "Hotel Estimated Authorization Amount"
• Be no more than 15% greater than the sum of the authorized amounts
• Meet the Authorization Reversal requirements specified below

For a non-Prestigious Property Transaction, the cleared Transaction amount must be within 15%,
plus or minus, of the total estimated amount authorized.

• The Acquirer may submit one full or partial Authorization Reversal to meet the 15% Authorization
  variance requirement.
• The Authorization Reversal may be greater than the amount of the initial Authorization Request.




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An Acquirer may use the Status Check Procedure for a Prestigious Property Transaction if the
cleared Transaction amount is less than or equal to the Chargeback Protection Limit.

ID#: 081010-010410-0008569



Car Rental Merchant CPS Authorization Requirements - U.S. Region

An Acquirer of a Car Rental Merchant in the U.S. Region may use an estimated Transaction amount
for submitting an Authorization Request. If the final Transaction amount is greater than the authorized
amount, the Transaction must:

• Be authorized as specified in "Car Rental Estimated Authorization Amount"
• Be no more than 15% greater than the sum of the authorized amounts
• Meet the Authorization Reversal requirements specified below

For an estimated Car Rental Merchant Transaction, the cleared Transaction amount must be within
15%, plus or minus, of the total amount authorized.

• The Acquirer may submit one full or partial Authorization Reversal to meet the 15% Authorization
  variance requirement.
• The Authorization Reversal may be greater than the amount of the initial Authorization Request.

ID#: 010410-010410-0008570



CPS/Supermarket - U.S. Region


CPS/Supermarket Qualification - U.S. Region

In the U.S. Region, the CPS/Supermarket Interchange Reimbursement Fee qualification
requirements apply only to those Supermarket Incentive Program Transactions processed as
specified below.

The Transactions must have the following characteristics:

• Completed in a Face-to-Face Environment
• The full contents of track 1 or track 2 of the Magnetic Stripe, unaltered Chip, or unaltered
  Contactless Payment data are read and transmitted
• Merchant is properly assigned Merchant Category Code 5411, "Grocery Stores and Supermarkets"
• Merchant is a non-membership retail store primarily engaged in selling food for home preparation
  and consumption
• Merchant offers a complete line of food merchandise, including self-service groceries, meat,
  produce, and dairy products
• Merchant has monthly sales of perishables (packaged and in-store bakery goods, dairy products,
  delicatessen products, floral items, frozen foods, meat, and produce) representing at least 45% of
  total monthly sales




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• Merchant accepts Visa Cards or Visa Electron Cards for the purchase of all goods and services
  sold in the store, at all check-out lanes that accept checks
• Complies with the U.S. Interchange Reimbursement Fee Rate Qualification Guide

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CPS/Rewards - U.S. Region


Custom Payment Services - Traditional Rewards Card and Visa Signature Card
Transactions - U.S. Region

In the U.S. Region, a Transaction completed with a Visa Traditional Rewards Card or Visa Signature
Card may qualify for either:

• CPS/Rewards 1 Interchange Reimbursement Fee
• CPS/Rewards 2 Interchange Reimbursement Fee

The CPS/Rewards 1 Interchange Reimbursement Fee is available to Visa Traditional Rewards Card
Transactions that meet the requirements for one of the following Custom Payment Services (CPS)
programs:

• CPS/Retail
• CPS/Supermarket

The CPS/Rewards 2 Interchange Reimbursement Fee is available for Transactions completed with a
Visa Traditional Rewards Card that meet the requirements for one of the following Custom Payment
services (CPS) programs:

• CPS/Card Not Present
• CPS/Retail Key-Entry
• CPS/Hotel and Car Rental Card Present
• CPS/Hotel and Car Rental Card Not Present
• CPS/Passenger Transport
• CPS/Restaurant
• CPS/e-Commerce Basic
• CPS/e-Commerce Preferred Hotel and Car Rental
• CPS/e-Commerce Preferred Passenger Transport

The CPS/Rewards 1 Interchange Reimbursement Fee is available to Visa Signature Card
Transactions that qualify for one of the following Custom Payment Services (CPS) programs or are
completed by a Merchant qualified for the applicable performance threshold program:

• CPS/Retail
• CPS/Retail Performance Threshold I
• CPS/Retail Performance Threshold II
• CPS/Retail Performance Threshold III

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• CPS/Supermarket
• CPS/Supermarket Performance Threshold I
• CPS/Supermarket Performance Threshold II
• CPS/Supermarket Performance Threshold III

The CPS/Rewards 2 Interchange Reimbursement Fee is available to Visa Signature Card
Transactions that qualify for one of the following Custom Payment Services (CPS) programs:

• CPS/Card Not Present
• CPS/Retail Key-Entry
• CPS/e-Commerce Basic

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CPS/Rewards 1 and CPS/Rewards 2 for Visa Signature Card Transactions - U.S.
Region

In the U.S. Region, the CPS/Rewards 1 Interchange Reimbursement Fee is available to Visa
Signature Card Transactions that qualify for one of the following Custom Payment Services (CPS)
programs, or are completed by a Merchant qualified for the applicable performance threshold
program:

• CPS/Retail, CPS/Retail Performance Threshold I, CPS/Retail Performance Threshold II, CPS/
  Retail Performance Threshold III
• CPS/Supermarket, CPS/Supermarket Performance Threshold I, CPS/Supermarket Performance
  Threshold II, CPS/Supermarket Performance Threshold III

The CPS/Rewards 2 Interchange Reimbursement Fee is available to Visa Infinite Card or Visa
Signature Card Transactions that qualify for one of the following Custom Payment Services (CPS)
programs:

• CPS/Card Not Present
• CPS/Retail Key-Entry
• CPS/e-Commerce Basic

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CPS/Small Ticket - U.S. Region


CPS/Small Ticket Merchant Category Codes - U.S. Region (Updated)

Effective 16 October 2010, in the U.S. Region, in addition to the exclusions specified in “Visa Easy
Payment Service (VEPS) Merchant Category Code Exclusions – U.S. Region,” a Visa Easy Payment
Service (VEPS) Transaction does not qualify for the CPS/Small Ticket Interchange Reimbursement
Fee if the Transaction is one of the following:

• Visa Signature Preferred Transaction
• Commercial Visa Product Transaction
• Visa Debit Card Transaction with one of the following MCCs:
  - 5541, “Service Stations”
  - 5411, “Grocery Stores and Supermarkets”
  - 5499, “Miscellaneous Food Stores — Convenience Stores and Specialty Markets”
• Visa Consumer Card (including Visa Signature Card) Transaction at a Merchant that is eligible for
  the Performance Threshold Interchange Reimbursement Fee Program. An exception applies to
  Transactions with MCC 5812, “Eating Places and Restaurants,” or MCC 5814, “Fast Food
  Restaurants”

ID#: 050411-161010-0026011




Industry-Specific Merchant Programs - U.S. Region

Industry-Specific Merchant Program Requirements - U.S. Region


Industry-Specific Merchant Incentive Programs - U.S. Region (Updated)

In the U.S. Region, Visa offers incentive programs for Transactions completed by Merchants in
specific Merchant segments. Visa reserves the right to disqualify a Merchant from participation in, or
to modify or discontinue a Merchant incentive program at any time.

ID#: 050411-010100-0025930



Visa Utility Program Interchange Reimbursement Fee Qualification - U.S. Region

In the U.S. Region, only Visa Consumer Card Transactions or Visa Business Card Transactions
(including Visa Signature Business Card) completed by a Merchant registered with the Visa Utility
Interchange Reimbursement Fee Program may qualify for the Visa Utility Program Interchange
Reimbursement Fee as specified in the U.S. Interchange Reimbursement Fee Rate Qualification
Guide and the Visa Utility Interchange Reimbursement Fee Program Guide.

Utility Transactions involving registered Visa Merchants properly assigned Merchant Category Code
4900, "Utilities - Electric, Gas, Water, Sanitary" receive the utility Interchange Reimbursement Fee by
meeting certain business requirements. Credit Voucher Transactions are not eligible for this program.

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To qualify for the Visa Utility Interchange Reimbursement Fee Program, a U.S. Merchant must:

• Contract directly with an Acquirer to be a Merchant, and the Merchant Outlet must be properly
  identified in the Authorization and Clearing Records
• Be properly assigned Merchant Category Code 4900, "Utilities - Electric, Gas, Water, Sanitary"
• Accept Visa as a means of payment in all channels where payments are accepted (e.g., Face-to-
  Face Environments and Card-Absent Environments, as applicable)
• Visually represent the Visa Flag Symbol or Visa Brand Mark or Visa Brand Name on its Website
• Not charge a Convenience Fee to a Cardholder for processing a Visa Transaction. This restriction
  also applies to a third-party agent that processes Transactions for a utility Merchant.
• Feature the opportunity to pay with Visa at least as prominently as all other payment methods
• Be registered with Visa by its Acquirer

Transactions completed by a Merchant providing telecommunication or cable services are not eligible
to participate in the Visa Utility Interchange Reimbursement Fee Program (Merchant Category Code
4900 is not applicable to such Merchants). Visa reserves the right to disqualify a Merchant from
participation in or to modify or discontinue the Visa Utility Interchange Reimbursement Fee Program
at any time.

An Acquirer must register the Visa Utility Payment Program Merchant as specified in the Visa Utility
Interchange Reimbursement Fee Program Guide.

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Visa Debt Repayment Program - U.S. Region

In the U.S. Region, Visa Debt Repayment Program Transactions completed by a registered Visa
Merchant qualify for the Debt Repayment Program Interchange Reimbursement Fee by meeting the
applicable business requirements specified in the Visa Debt Repayment Program Guide and the U.S.
Interchange Reimbursement Fee Rate Qualification Guide.

Transactions must have the following characteristics:

• Transaction is completed with a Visa Debit Card
• Merchant is properly assigned Merchant Category Code 6012, "Financial Institutions - Merchandise
  and Services," or 6051, "Non-Financial Institutions - Foreign Currency, Money Orders (not Wire
  Transfer), Travelers Cheques"
• Transaction is a U.S. Domestic Transaction
• The bill payment and existing debt indicators are included in the Authorization Request and
  Clearing Record




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To qualify for the Debt Repayment Program Interchange Reimbursement Fee, the Merchant must:

• Not assess any fee, including a Convenience Fee, to a Cardholder for processing the Visa
  Transaction. This restriction also applies to a third-party agent that processes Transactions for a
  Debt Repayment Program Merchant.
• Comply with "Basic Custom Payment Services (CPS) Requirements - U.S. Region"
• Be registered by its Acquirer as specified in the Visa Debt Repayment Program Guide

ID#: 081010-010410-0006781



Debit Tax Payment Interchange Reimbursement Fee Qualification - U.S. Region

In the U.S. Region, Tax Payment Transactions from a qualified Visa Merchant qualify for the Debit
Tax Payment Interchange Reimbursement Fee by meeting the applicable business requirements
specified in the Visa Tax Payment Program Guide and the U.S. Interchange Reimbursement Fee
Rate Qualification Guide.

Transactions must have the following characteristics:

• Transaction is completed with a Visa Debit Card
• Merchant is properly assigned Merchant Category Code 9311, "Tax Payments"
• Merchant complies with Convenience Fee requirements

The Acquirer must register the Tax Payment Program Merchant as specified in the Visa Tax Payment
Program Guide.

The following Transactions are not eligible for the Tax Payment Program:

• Transactions completed with a Visa Consumer Credit Card or Commercial Visa Product
• Credit Voucher

Visa reserves the right to disqualify a Tax Payment Program Merchant from participation in, modify,
or discontinue the Debit Tax Payment Interchange Reimbursement Fee program at any time.

ID#: 081010-010410-0006762



GSA Large Ticket Interchange Reimbursement Fee Qualification - U.S. Region
(Updated)

In the U.S. Region, the GSA Large Ticket Interchange Reimbursement Fee program supports the
GSA requirements for enhanced processing of GSA Large Ticket Transactions. These Transactions
take place at external suppliers (non-government Merchants) and are authorized, cleared, and settled
for up to a maximum individual amount of US $10 million.




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To qualify for the GSA Purchasing Card Large Ticket Interchange Reimbursement Fee program, a
Transaction must have the following characteristics:

• Completed using a GSA Visa Purchasing Card
• Meet the qualification requirements specified in the U.S. Interchange Reimbursement Fee Rate
  Qualification Guide and the Visa Purchasing Card Large Ticket Program Implementation Guide
• CPS-qualified
• Not completed by a Travel Service Category or Passenger Transport Service Category Merchant

ID#: 050411-010410-0008539



GSA Government-to-Government (G2G) Interchange Reimbursement Fee - U.S.
Region (Updated)

In the U.S. Region, under the GSA Government-to-Government Program, federal government-to-
government Transactions from eligible Visa Merchants will receive the GSA Government-to-
Government (G2G) Interchange Reimbursement Fee by meeting certain processing requirements as
specified in the Visa Government-to-Government (G2G) Program Guide.

The GSA Government-to-Government (G2G) Interchange Reimbursement Fee applies to GSA Visa
Purchasing Card original Transactions and related Chargebacks, Representments, and Clearing
Reversals. Credit Vouchers are not eligible for this program.

To qualify for the GSA Government-to-Government Program, a Transaction must be completed by a
qualified Merchant and have the following characteristics:

• Completed with a GSA Visa Purchasing Card
• Merchant is properly assigned one of the following Merchant Category Codes:
  - 9399 "Government Services Not Elsewhere Classified"
  - 9402 "Postal Services - Government Only"
• Merchant Verification Value (MVV) is present, valid, and matches the MVV and Acquirer BIN
  relationship
• Registered with Visa
• CPS-qualified
• Not completed by a Travel Service Category or Passenger Transport Service Category Merchant

ID#: 050411-010100-0026015



GSA Government-to-Government Disqualification - U.S. Region

In the U.S. Region, Visa reserves the right to disqualify a Merchant from participation in, modify, or
discontinue the GSA Government-to-Government Program at any time.

ID#: 081010-041008-0007196




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Interchange Reimbursement Fee Programs - U.S. Region

Credit Voucher Program - U.S. Region


Credit Voucher Program Qualification - U.S. Region

In the U.S. Region, Interchange Reimbursement Fees are paid by the Issuer to the Acquirer on
merchandise credits, or Credit Vouchers. The Interchange Reimbursement Fee for a Credit Voucher
Transaction will be determined by the following combinations of Card type and Merchant segment:

• Transactions on all Card types with passenger transport Merchant Category Codes (MCCs 3000-
  3299, 4112, and 4511)
• Transactions involving Visa Consumer Cards with non-passenger transport Merchant Category
  Codes (all MCCs except 3000-3299, 4112, and 4511)
• Transactions involving Commercial Cards with non-passenger transport Merchant Category Codes
  (all MCCs except 3000-3299, 4112, and 4511)
• Transactions involving Visa Consumer Cards that originate from certain U.S. Merchants may also
  qualify for the Credit Voucher Transaction -- Mail/Phone Order and Electronic Commerce Merchant
  - Consumer (Credit /Debit) Program if the merchant meets the eligibility requirements specified in
  the U.S. Interchange Reimbursement Fee Rate Qualification Guide. These Transactions must not
  take place at a passenger transport Merchant location (MCCs 3000-3299, 4112, and 4511) or a
  High-Risk Telemarketing Merchant location (MCCs 5962, 5966, and 5967).

ID#: 010410-010410-0008760



Credit Vouchers for Airline/Railway Ticket - U.S. Region

For CPS/Passenger Transport Transactions in the U.S. Region, an Acquirer must provide the Airline/
Railway Ticket Identifier that was associated with the original Transaction for the related Credit
Voucher Transaction.

ID#: 081010-010410-0006542



Credit Vouchers for GSA Large Ticket Transactions - U.S. Region

For GSA Large Ticket Transactions in the U.S. Region, an Acquirer must process the Credit Voucher
Transaction at the Interchange Reimbursement Fee applied to the original related Transaction.

ID#: 010410-010410-0006543




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Credit Vouchers for Large Purchasing Ticket Transactions - U.S. Region (Updated)

For Credit Vouchers involving Visa Purchasing Large Ticket Transactions in the U.S. Region:

• If the credit amount is equal to the original Transaction amount or exceeds the threshold amount
  specified in Visa U.S.A. Interchange Reimbursement Fees, an Acquirer must process the Credit
  Voucher Transaction at the Interchange Reimbursement Fee applied to the original related
  Transaction
• If the credit amount is less than the threshold amount specified in Visa U.S.A. Interchange
  Reimbursement Fees, the Acquirer must process the Credit Voucher Transaction at the applicable
  Interchange Reimbursement Fee

ID#: 050411-010410-0006544



Credit Voucher Interchange Reimbursement Fee for Mail/Phone Order and Electronic
Commerce Merchants - U.S. Region

In the U.S. Region, Transactions completed with a Visa Consumer Card qualify for the applicable
Credit Voucher Interchange Reimbursement Fee if 70% or more of the Merchant's cumulative Visa
Consumer Card sales volume during the previous calendar-year quarter was processed using one of
the following programs:

• CPS/Card Not Present Interchange Reimbursement Fee
• CPS/e-Commerce (Basic or Preferred) Interchange Reimbursement Fee

The following Transaction types are not eligible:

• Account Funding Transactions
• Commercial Visa Product Transactions
• Quasi-Cash Transactions
• Transactions originating from High-Risk Telemarketing Merchants
• Transactions originating from Passenger Transport Service Category Merchants

An Acquirer may apply the Credit Transaction Interchange Reimbursement Fee beginning 30 days or
less after the quarter end in which the Merchant meets eligibility requirements.

ID#: 081010-010410-0006545




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Online Check Card Interchange Reimbursement Fee - U.S. Region


Online Check Card Interchange Reimbursement Fee Qualifying Transactions - U.S.
Region

In the U.S. Region, for a Transaction to be eligible for the Online Check Card Interchange
Reimbursement Fee, the Transaction must:

• Be an Online Check Card Transaction
• Originate at an attended terminal, except as specified in "Online Check Card Interchange
  Reimbursement Fee - Automated Fuel Dispensers - U.S. Region"

ID#: 010410-010410-0006766



Online Check Card Interchange Reimbursement Fee - Automated Fuel Dispensers -
U.S. Region

In the U.S. Region, only for the purpose of calculating the applicable Interchange Reimbursement
Fee, Automated Fuel Dispenser Transactions of US $75 or less are eligible for the Online Check
Card Interchange Reimbursement Fee.

An Online Check Card Transaction that originates at an Automated Fuel Dispenser must be
authorized through a Status Check not to exceed US $75 or for an amount based on the estimated
Transaction amount not to exceed US $500, as specified in the U.S. Interchange Reimbursement Fee
Rate Qualification Guide.

The Transaction must be completed as follows:

• If authorized through a Status Check, the Transaction must be completed within 2 hours of the
  Status Check
• If the Authorization was based on an estimated Transaction amount, the Transaction must be
  completed within 2 hours of the Authorization and not exceed the authorized amount

ID#: 081010-010410-0008526



ATM Tiered Interchange Reimbursement Fee - U.S. Region


ATM Interchange Reimbursement Fee Qualification - U.S. Region

A U.S. Member with ATMs that qualify for the ATM Interchange Reimbursement Fee Tier 1 level must
comply with registration requirements, available from Visa upon request.

In the U.S. Region, an ATM may qualify for the ATM Interchange Reimbursement Fee Tier 1 level if
the ATM meets the requirements in the "Visa/Plus ATM Portfolio Profile" form. The "Visa/Plus ATM
Portfolio Profile" form is available from Visa upon request.




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An ATM that does not qualify for the ATM Interchange Reimbursement Fee Tier 1 level will be subject
to the ATM Interchange Reimbursement Fee Tier 2 level.

ID#: 081010-010410-0006709



ATM Interchange Reimbursement Fee - Tier 2 - U.S. Region

In the U.S. Region, an ATM that does not qualify for the ATM Interchange Reimbursement Fee Tier 1
level will be subject to the ATM Interchange Reimbursement Fee Tier 2 level.

ID#: 010410-010410-0006710




Performance Threshold Interchange Reimbursement Fees
- U.S. Region

Performance Threshold Interchange Reimbursement Fee Consumer Credit and
Consumer Debit - U.S. Region


Performance Threshold Interchange Reimbursement Fee - Visa Consumer Credit -
U.S. Region (Updated)

In the U.S. Region, the Performance Threshold Interchange Reimbursement Fee Program -
Consumer Credit provides incentive Interchange Reimbursement Fee rates to Retail Merchant and
supermarket Transactions meeting certain performance threshold requirements. Transactions from
eligible Merchants receive incentive Interchange Reimbursement Fee rates on Transactions that
would otherwise be eligible for CPS/Retail and CPS/Supermarket Interchange Reimbursement Fee
Programs.

Transactions from qualified Merchants that meet the performance threshold requirements must have
the following characteristics:

• Completed with a Visa Traditional or Visa Traditional Rewards Card
• U.S. Domestic Transaction
• CPS-qualified using the fee edit criteria for CPS/Retail or CPS/Supermarket

U.S. Merchant eligibility for the Performance Threshold Interchange Reimbursement Fee Program -
Visa Consumer Credit will be determined by Visa annually. The performance thresholds specified in
the U.S. Interchange Reimbursement Fee Rate Qualification Guide apply to qualified Visa Consumer
Credit Card original Transactions and related Chargebacks, Representments, and Clearing
Reversals.

Visa Signature CPS/Retail and CPS/Supermarket Transactions are ineligible for Performance
Threshold Interchange Reimbursement Fees. Such Transactions may qualify for the CPS/Rewards 1
Interchange Reimbursement Fee.




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Performance Threshold Interchange Reimbursement Fee eligibility requirements are based on annual
volume criteria as specified by Visa. Additionally, Visa will determine the timing and manner of
implementation for the Performance Threshold Interchange Reimbursement Fees available to
Acquirers related to the Performance Threshold Interchange Reimbursement Fee Program - Visa
Consumer Credit.

ID#: 050411-010410-0008765



Performance Threshold Interchange Reimbursement Fee - Visa Consumer Debit -
General - U.S. Region

In the U.S. Region, the Performance Threshold Interchange Reimbursement Fee Program provides
incentive Interchange Reimbursement Fee rates to retail and supermarket Transactions meeting
certain performance threshold requirements. Transactions from eligible Merchants receive the
incentive Interchange Reimbursement Fee rates on Transactions that would otherwise be eligible for
CPS/Retail and CPS/Supermarket Interchange Reimbursement Fee programs.

Transactions from qualified Merchants that meet the performance threshold requirements must have
the following characteristics:

• Completed with a Visa Debit Card
• U.S. Domestic Transaction
• CPS-qualified using the fee edit criteria for CPS/Retail or CPS/Supermarket

U.S. Merchant eligibility for the Performance Threshold Interchange Reimbursement Fee Program -
Visa Consumer Debit will be determined by Visa annually. The performance thresholds specified in
the U.S. Interchange Reimbursement Fee Rate Qualification Guide apply to qualified Visa Debit Card
original Transactions and related Chargebacks, Representments, and Clearing Reversals.

Performance Threshold Interchange Reimbursement Fee eligibility requirements are based on annual
volume criteria as specified by Visa. Additionally, Visa will determine the timing and manner of
implementation for the Performance Threshold Interchange Reimbursement Fees available to
Acquirers related to the Performance Threshold Interchange Reimbursement Fee Program - Visa
Consumer Debit.

ID#: 081010-010410-0006724




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Visa Signature Preferred Interchange Reimbursement Fees
- U.S. Region

Visa Signature Preferred Interchange Reimbursement Fee Requirements - U.S.
Region


Visa Signature Preferred Interchange Reimbursement Fee Qualification - U.S. Region

In the U.S. Region, Visa Signature Preferred Card Transactions may be CPS-qualified under one of
the consumer programs as defined in the U.S. Regional Operating Regulations and as specified in
the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0008515



Visa Signature Preferred Standard Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, a Visa Signature Preferred Transaction that does not qualify for any Custom
Payment Services (CPS) program may only be eligible for the Visa Signature Preferred Standard
Interchange Reimbursement Fee.

ID#: 081010-010410-0008989



Visa Signature Preferred Electronic Interchange Reimbursement Fee - U.S. Region

To qualify for the Visa Signature Preferred Electronic Interchange Reimbursement Fee, the Visa
Signature Preferred Transaction must be conducted at a Travel Service Category Merchant and must
be CPS-qualified as specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010100-0025806



Visa Signature Preferred Retail Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, a Visa Signature Preferred Consumer Credit Card Transaction that originates at a
non-Travel Service Category Merchant Outlet may qualify for the Visa Signature Preferred Retail
Interchange Reimbursement Fee. To qualify for this program, the Transaction must be CPS-qualified,
occur at a Retail Merchant, and meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0006758




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Visa Signature Preferred Card Not Present Interchange Reimbursement Fee - U.S.
Region

In the U.S. Region, a Mail/Phone Order Transaction, Electronic Commerce Transaction, or a
Transaction completed by a Merchant in a select developing market as defined in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide (excluding Travel Service Category
Transactions) may qualify for the Visa Signature Preferred Card CPS/Card Not Present Interchange
Reimbursement Fee.

ID#: 081010-010410-0006756



Visa Signature Preferred Business-to-Business Interchange Reimbursement Fee -
U.S. Region

In the U.S. Region, a Visa Signature Preferred Transaction completed at a non-Travel Service
Category Merchant Outlet may qualify for the Visa Signature Preferred Business-to-Business
Interchange Reimbursement Fee. To qualify for this program, the Transaction must be CPS-qualified
as specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide and occur at a
Merchant Outlet properly assigned a business-to-business Merchant Category Code as specified in
the Visa Merchant Data Standards Manual.

ID#: 081010-010410-0008519



Visa Signature Preferred Fuel Interchange Reimbursement Fee - U.S. Region

A Visa Signature Preferred Transaction completed at an Automated Fuel Dispenser or service station
may qualify for the Signature Preferred Fuel Interchange Reimbursement Fee. The Transaction must
be CPS-qualified for CPS/Automated Fuel Dispenser, CPS/Retail Service Station, or CPS/Small
Ticket.

ID#: 081010-010100-0025807



Visa Signature Preferred Utility Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, a Visa Signature Preferred Card Transaction conducted at a Merchant properly
assigned Merchant Category Code 4900, "Utilities - Electric, Gas, Water, Sanitary" may be eligible to
receive the Visa Utility Interchange Reimbursement Fee, as specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide and the Visa Utility Interchange Reimbursement Fee
Program Guide.

ID#: 081010-010100-0025808




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Commercial Interchange Reimbursement Fees - U.S.
Region

Commercial Interchange Reimbursement Fees and Programs - U.S. Region


Commercial Card Standard Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, Commercial Visa Product Transactions that do not qualify for CPS and do not
meet the Level II Enhanced Data requirement will qualify for the Commercial Card Standard
Interchange Reimbursement Fee program as specified in the U.S. Interchange Reimbursement Fee
Rate Qualification Guide and are assessed the Commercial Card Standard Interchange
Reimbursement Fee rate.

ID#: 081010-151010-0026002



Commercial Card Electronic Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, Commercial Visa Product Transactions are eligible for the Electronic Interchange
Reimbursement Fee as specified in the U.S. Interchange Reimbursement Fee Rate Qualification
Guide. The following Commercial Visa Product Transactions are specifically excluded:

• High-Risk Telemarketing Merchants (Merchant Category Codes 5962, 5966, and 5967)
• Non-Secure Transactions

ID#: 081010-151010-0026003



Commercial Card - Non-Travel Service, Level II Interchange Reimbursement Fee - U.S.
Region

In the U.S. Region, the Commercial Level II (non-Travel Service Category) Interchange
Reimbursement Fee is available for taxable Commercial Visa Product Transactions that are CPS-
qualified and meet certain additional data requirements as specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide. Tax-exempt Commercial Visa Product Transactions
and Commercial Visa Product Transactions using the CPS/Account Funding program are not eligible
for the Commercial Level II (non-Travel Service Category) Interchange Reimbursement Fee.

ID#: 081010-151010-0026004




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Purchasing Card Electronic with Data Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, the Purchasing Card Electronic with Data Interchange Reimbursement Fee is
available to non-General Services Administration (non-GSA) Visa Purchasing Card Transactions that
meet certain additional data requirements, but are not CPS-qualified, as specified in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide. Visa Purchasing Card Transactions using
the CPS/Account Funding program are not eligible for the Purchasing Card Electronic with Data
Interchange Reimbursement Fee.

ID#: 081010-151010-0026005



Purchasing Card Level III (Non-Travel Service Category) - U.S. Region

In the U.S. Region, the Purchasing Card Level III (non-Travel Service Category) Interchange
Reimbursement Fee is available to Visa Purchasing Card Transactions that are CPS-qualified and
meet certain additional data requirements as specified in the U.S. Interchange Reimbursement Fee
Rate Qualification Guide. Visa Purchasing Card Transactions using the CPS/Account Funding
program are not eligible for the Purchasing Card Level III (non-Travel Service Category) Interchange
Reimbursement Fee.

ID#: 081010-151010-0026006



Utility Business Program - U.S. Region (Updated)

In the U.S. Region, Visa Business Card or Visa Signature Business Card Transactions conducted at
a Merchant properly assigned Merchant Category code 4900, “Utilities – Electric, Gas, Water,
Sanitary” may be eligible to receive the Utility Business Interchange Reimbursement Fee as specified
in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 050411-151010-0026007



Commercial Card Retail Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, Commercial Visa Product Transactions completed at a non-Travel Service
Category Merchant Outlet that do not meet the Level II Enhanced Data requirement may qualify for
the Commercial Retail Interchange Reimbursement Fee. To qualify for this program, the Transaction
must be CPS-qualified for certain CPS programs as specified in the U.S. Interchange Reimbursement
Fee Rate Qualification Guide and occur at a Retail Merchant Outlet.

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Commercial Card - Card Not Present Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, Mail/Phone Order Transactions, Electronic Commerce Transactions, or
Transactions completed by a Merchant in a select developing market as defined in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide (excluding Travel Service Category
Transactions) and that do not meet the Level II Enhanced Data requirement may qualify for the
Commercial Card-Card Not Present rate. To qualify for this program, the Transaction must be CPS-
qualified for certain CPS programs as specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

ID#: 081010-010100-0025812



Commercial Card Business-to-Business (B2B) Interchange Reimbursement Fee - U.S.
Region

In the U.S. Region, Commercial Visa Product Transactions that do not meet the Level II Enhanced
Data requirement will qualify for the Commercial Business-to-Business Interchange Reimbursement
Fee. To qualify for this program, the Transaction must be CPS-qualified as specified in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide and be completed at a Merchant properly
assigned a business-to-business Merchant Category Code as specified in the Visa Merchant Data
Standards Manual.

ID#: 081010-010100-0025810




Visa Purchasing Large Ticket Interchange Reimbursement
Fee - U.S. Region

Visa Purchasing Large Ticket Interchange Reimbursement Fee - General - U.S.
Region


Visa Purchasing Large Ticket Interchange Reimbursement Fee - U.S. Region
(Updated)

In the U.S. Region, the Visa Purchasing Large Ticket Interchange Reimbursement Fee program
supports the requirements for enhanced processing of non-General Services Administration (GSA)
Large ticket Transactions. These Transactions are authorized, cleared, and settled for up to a
maximum individual amount of US $10 million.

To qualify for the Visa Purchasing Large Ticket Interchange Reimbursement Fee program, the
Transaction must have the following characteristics:

• Submitted by an eligible Merchant, other than a Travel Service Category or Passenger Transport
  Service Category Merchant, that has been registered with Visa as specified in the Visa Purchasing
  Card Large Ticket Program Implementation Guide
• Completed with a non-GSA Visa Purchasing Card
• U.S. Domestic Transaction



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• Merchant Verification Value (MVV) is present, valid, and matches the MVV and Acquirer BIN
  relationship registered with Visa
• Meets the applicable requirements specified in the U.S. Interchange Reimbursement Fee Rate
  Qualification Guide and the Visa Purchasing Card Large Ticket Program Implementation Guide

ID#: 080411-010410-0008758




Visa Fees - General

Fee Assessment and Responsibility


Fee and Charge Revisions

As with all Operating Regulations, fees and charges are subject to change by Visa.

For information about VisaNet processing charges, membership fees, and other service and program
fees, see the applicable regional pricing guide.

ID#: 010410-010410-0003014



Responsibility for Charges - U.S. Region

All charges imposed by Visa, whether in the form of fees, exchange rates, or otherwise, are charges
imposed on U.S. Members or VisaNet Processors or Agents operating on behalf of a U.S. Member. A
U.S. Member or VisaNet Processor or Agent operating on behalf of a U.S. Member is responsible for
paying all charges, regardless of whether it absorbs the charges, passes them on, or increases them
in billing its customer (e.g., Cardholder, Merchant). The Member, VisaNet Processor, or Agent must
not represent to its customer that Visa imposes any charge on its customer.

ID#: 010410-010410-0003015




Fee Collection

Fee Collection and Funds Disbursement Reason Codes - U.S. Region

Reason Codes for Fee Collection Transactions and Funds Disbursement Transactions for use in the
U.S. Region are listed in the table below. Visa may collect or disburse the listed fee and charge types
from U.S. Members through VisaNet, as specified in the appropriate VisaNet manuals. Fees and
charges are listed on the Visa Billing Statement and collected through the Global Member Billing
Solution.




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Fee Collection Transactions and Funds Disbursement Fees and Reason Codes - U.S. Region

                         Fees and Charges                                           Reason Code


 Global Member Billing Solution                                                           5010


 BIN Licensing and Administration Program fees Sponsored                               5010 or 5195
 Member Registration Program


 Supermarket Incentive Program marketing fee                                              5015


 Arbitration/Compliance filing and/or review fee                                          5020


 BASE II access charge                                                                    5030


 Miscellaneous fees or charges                                                            5040


 Issuers' Clearinghouse Service fees                                                      5050


 Risk Identification Service (RIS) Online fees                                            5060


 Visa account tracking service                                                            5090


 Third Party registration fee/annual fee                                                  5140


 Chargeback handling fees                                                                 5150


 VisaNet Copy Request and Fulfillment Service Fulfillment fee                             5160


 VisaNet Copy Request and Fulfillment Service access fee                                  5165


 VisaNet Copy Request and Fulfillment Service Nonfulfillment fee                          5170


 Merchant review fee                                                                      5180


 Membership compliance fees and penalties                                                 5185


 BIN licensing and administration program fees                                            5190


 Inaccurate Merchant data fine                                                            5210


 Initial or quarterly service fee and/or late payment fees                                5245


 Member or VisaNet Processor indemnification reimbursement                                5250



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                           Fees and Charges                                          Reason Code


 Corporate indemnification of settlement risk                                            5290


ID#: 010410-010410-0003149



Credit Adjustments - U.S. Region

Visa may use VisaNet to make a credit adjustment to U.S. Members for any fees settled through
VisaNet, using Funds Disbursement Transaction (transaction code 20), as specified in the
appropriate VisaNet manuals.

ID#: 010410-010410-0003151



Member Fee Collection and Funds Disbursement


Fee Collection/Funds Disbursement Process - U.S. Region

A U.S. Member or its Authorizing Processor may collect fees or disburse funds as allowed through
VisaNet using the Fee Collection Transaction (transaction code 10) or Funds Disbursement
Transaction (transaction code 20) specified in the "Fee Collection Dispute Resolution - U.S. Region"
table and "Fee Collection Transactions and Funds Disbursement Fees and Reason Codes Used by
Members and Authorizing Processors - U.S. Region" table. No other use of the Fee Collection
Transaction/Funds Disbursement Transaction process is permitted.

ID#: 010410-010410-0003152



Fee Collection and Funds Disbursement Time Limit - U.S. Region

A U.S. Member or its Authorizing Processor must collect fees or disburse funds within 45 days from
the related event, unless otherwise specified.

ID#: 010410-010410-0003153



Data and Documentation Requirements for Fee Collections and Funds Disbursements
- U.S. Region (Updated)

The table below lists fee types and funds that are settled through VisaNet, the corresponding Reason
Codes, and the data and documentation required for each fee or disbursement in the U.S. Region.




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Fee Collection Transactions and Funds Disbursement Fees and Reason
Codes Used by Members and Authorizing Processors - U.S. Region

                Fee                     Reason Code             Data and Documentation Required


 Lost/Stolen Card Reporting                 0130           Must specify in the message text the date of
 Service fees                                              loss as reported by the Cardholder.
                                                           Member must return "Lost or Stolen Card
                                                           Report" (Exhibit 1A) to the Issuer, as specified
                                                           in "Lost or Stolen Card Reporting."


 Recovered Visa Card, or Visa               0150           Must specify in the message text:
 Electron Card handling                                    • Cardholder name on the recovered Visa
 fees/rewards                                                Card or, if applicable, on the Visa Electron
                                                             Card
                                                           • If the Visa Card or Visa Electron Card was
                                                             recovered as the result of a Code 10
                                                             Authorization, the words "Code 10"
                                                           Must specify in the event date field the date the
                                                           Visa Card or Visa Electron Card was
                                                           recovered.
                                                           Must return recovered Visa Card or Visa
                                                           Electron Card and "Interchange Recovered
                                                           Card Advice" (Exhibit G) to the Issuer, as
                                                           specified in "Card Recovery."


 Recovery of Retrieval Request              0170           Must specify in the message text:
 fees                                                      • Acquirer Reference Number
                                                           • VisaNet Retrieval Request date
                                                           • Reason for recovery (such as "copy
                                                             illegible")


 Emergency Card Replacement                 0200           Must specify in the message text the date of
 distribution fee                                          Visa Card, Visa Electron Card, or Visa
                                                           TravelMoney Card distribution.


 Emergency Cash Disbursement                0210           Must specify in the message text the
 handling fee                                              Transaction amount.


 Arbitration/Compliance case                0220           Must specify in the message text:
 decision or filing fee                                    • Cardholder name
                                                           • Acquirer Reference Number of the
                                                             Transactions involved
                                                           • Notification date of the Visa decision, or date
                                                             of the other Member's withdrawal notification
                                                             to Visa, as applicable


 Incorrect Merchant                         0230           Must be collected within 45 calendar days of
 Identification/Transaction Date                           the receipt date of the Transaction Receipt.
 handling fee                                              Must specify in the message text:



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                   Fee                     Reason Code              Data and Documentation Required


                                                              • Acquirer Reference Number
                                                              • VisaNet Transaction Receipt request date
                                                              • Transaction Receipt receipt date
                                                              • Reason for the fee collection, specifying
                                                                both the incorrect and correct information
                                                                (such as, "Merchant name is XXXX not
                                                                YYYY" )
                                                              Handling fee must not be collected for an
                                                              incorrect Transaction Date if the Transaction
                                                              Date field either:
                                                              • Is zero-filled, as specified in "VisaNet
                                                                Clearing Message Content Standards"
                                                                (Exhibit NN)
                                                              • For a Lodging, Cruise Line, or Car Rental
                                                                Merchant Transaction, contains either the
                                                                date the Card was first presented or the date
                                                                the Transaction was completed


 "Good Faith" collection letter                0240           Must specify the date of the "Good Faith"
 acceptance Funds Disbursement                                collection letter in the event date field of the
                                                              VisaNet Funds Disbursement record. Must
                                                              specify in the message text:
                                                              • Acquirer Reference Number, if applicable
                                                              • Words "Good Faith Collection Letter"
                                                              • File number, if provided


 "Cardholder Does Not Recognize                0250           Must be collected within 45 calendar days of
 Transaction" Chargeback handling                             the Central Processing Date of the
 fee                                                          Representment.
                                                              Must specify in the message text:
                                                              • Transaction Amount
                                                              • Either:
                                                                  - "Itinerary provided"
                                                                  - "No Show indicator present"


 Pre-Arbitration/pre-Compliance                0350           Must specify the date of the pre-Arbitration or
 acceptance Funds Disbursement                                pre-Compliance letter in the event date field of
                                                              the VisaNet Funds Disbursement record.
                                                              Must specify in the message text:
                                                              • Acquirer Reference Number, if applicable
                                                              • Words "pre-Arbitration" or "pre-Compliance"
                                                              • File number, if provided


 Interchange Reimbursement Fee                 0350           Must specify the date of the Interchange Fee
 pre- Compliance acceptance                                   pre-Compliance letter in the event date field of
 Funds Disbursement                                           the VisaNet Funds Disbursement record.
                                                              Must specify in the message text:
                                                              • Acquirer Reference Number, if applicable



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                  Fee                     Reason Code             Data and Documentation Required


                                                             • Words "Interchange Fee pre-Compliance"
                                                             • File number, if provided


ID#: 050411-010410-0006472



Fee Collection Disputes - U.S. Region

A U.S. Member receiving a Fee Collection Transaction initiated by another U.S. Member through
VisaNet may return it within 45 calendar days of the Central Processing Date if there is an error in the
original VisaNet Fee Collection Transaction.

ID#: 010410-010410-0006493



Fee Collection Dispute Resolution - U.S. Region

The table below specifies the actions, reasons, and rules governing Fee Collection Transaction
disputes between U.S. Members and their resolution.


Fee Collection Dispute Resolution - U.S. Region

       Action                        Reason                                        Rules


 Fee Collection     One of the following events must occur: A Member receiving a Fee Collection must
 Returns            • Wrong Member receives the Fee         return it using the same format as the original
                      Collection                            Fee Collection, as specified in the
                                                            appropriate VisaNet manuals.
                    • Required information in the message
                      text portion of the Fee Collection is The message text field must contain the word
                      not received or is inaccurate or      "return" (or its abbreviation) and the return
                      inadequate                            reason.
                    • Fee Collection exceeds the            A Member must wait 21 calendar days from
                      maximum fee amount allowed. Note: the Central Processing Date for the
                      The Member may return only the        documentation. If it does not, the fee may be
                      amount in excess.                     returned within the next 24 calendar days.
                    • Receiving Member claims the Fee          An Issuer must not return the fee for a
                      Collection is improper under the US.     Recovered Card Handling Fees/Rewards
                      Regional Operating Regulations           (Reason Code 0150) if the Issuer does not
                    • Fee Collection was duplicated in         receive the "Interchange Recovered Card
                      error and not reversed, as specified     Advice"(Exhibit G) and the recovered Visa
                      in "Duplicate or Erroneous Data"         Card or Visa Electron Card or a legible copy
                                                               of the front and back of the recovered Visa
                                                               Card or Visa Electron Card within 21
                                                               calendar days of the Central Processing
                                                               Date. If this documentation is not received,
                                                               the Issuer may request Compliance, as
                                                               specified in "Compliance Process" within 90
                                                               calendar days from the Central Processing
                                                               Date of the Fee Collection.




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       Action                         Reason                                        Rules


 Resubmission of       The Fee Collection was returned           A Member resubmitting a returned Fee
 Returned Fee          because the information or                Collection must:
 Collection            documentation was not received.           • Comply with the appropriate VisaNet
                                                                   manuals
                                                                 • Make the resubmission within 45 calendar
                                                                   days from the Central Processing Date of
                                                                   the returned Fee Collection
                                                                 • Provide the information or documentation
                                                                 A Member must not resubmit a Fee
                                                                 Collection for Recovered Card Handling
                                                                 Fees/Rewards (Reason Code 0150) or
                                                                 Recovery of Retrieval Request fees (Reason
                                                                 Code 0170).


 Return of             The Member receiving a resubmitted        The Member must process the returned Fee
 Resubmitted Fee       Fee Collection may return it, if          Collection as specified for Fee Collection
 Collection            supporting information or                 Returns (above) and may then re-return the
                       documentation is not received within 21   Fee Collection during the next 24 calendar
                       calendar days the Central Processing      days.
                       Date.


ID#: 010410-010410-0003168



Limits of Fee Collection Returns - U.S. Region 9.6.D.3

In no case may there be a third submission or third return of a Fee Collection Transaction through
VisaNet. A U.S. Member must submit an outstanding Fee Collection Transaction for Compliance,
except for the following disputes, which must be settled directly between the Members involved and
are not subject to Compliance procedures:

• "Good Faith" Collection Letter Settlement Funds Disbursement (Reason Code 0240)
• Pre-Compliance Interchange Reimbursement Fee pre-Compliance Settlement Funds
  Disbursement (Reason Code 0350)

ID#: 010410-010410-0003162



Automated Clearing House Service Fee Collection and Funds Disbursement -
U.S. Region


Automated Clearing House Service Authorization Agreement - U.S. Region

Visa will provide a U.S. Member or VisaNet Processor with an automated clearing house
authorization agreement for Fee Collection Transactions and Funds Disbursement Transactions. This
agreement must be signed and returned to Visa before the initiation of any automated clearing house
transaction.




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The signed agreement remains valid for all Fee Collection Transactions and Funds Disbursement
Transactions until the U.S. Member or VisaNet Processor notifies Visa of either:

• Its replacement by a new agreement
• Revocation of the agreement because the Member or VisaNet Processor was terminated

ID#: 010410-010410-0007974



Automated Clearing House Service Requirements - U.S. Region

Upon Visa request, a U.S. Member or VisaNet Processor must provide all of the following for the
purpose of collecting fees and disbursing funds through the automated clearing house service:

• Valid automated clearing house transit/routing number
• Associated financial institution depository account number
• Signed automated clearing house authorization agreement

If any account information (such as the account number or financial institution) changes, the Member
or VisaNet Processor must:

• Notify Visa at least 10 calendar days before the effective date of the change
• Submit a new automated clearing house authorization agreement with the change

ID#: 010410-010410-0008067



Automated Clearing House Service Information Requirements - U.S. Region

A U.S. Member or VisaNet Processor that is required to use the automated clearing house service
must provide all of the following to Visa by the last business day of each quarter:

• Valid automated clearing house authorization agreement
• Valid automated clearing house transit/routing number
• Associated financial institution depository account number

ID#: 010410-010410-0007880



Rejection of Automated Clearing House Transactions - U.S. Region

Visa may require a same-day wire transfer or initiate a Fee Collection Transaction through VisaNet if
a valid automated clearing house transaction is rejected or cannot be initiated for any reason,
including:

• U.S. Member did not comply with "Automated Clearing House Service Requirements - U.S.
  Region"
• Existing automated clearing house authorization agreement was revoked before a replacement
  authorization agreement took effect

ID#: 010410-010410-0007881



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Non-Use of Automated Clearing House Service - U.S. Region

A U.S. Member or VisaNet Processor that is required to use the automated clearing house service
may be required to reimburse Visa for any expense incurred for processing any payment made by a
means other than the automated clearing house service.

ID#: 010410-010410-0007882



Initial Service Fee Collection through Automated Clearing House Service - U.S.
Region

Visa may collect initial service fees through the automated clearing house service from all new U.S.
Principal-type and Associate-type Members, as specified in Article III of the Visa U.S.A. Inc.
Certificate of Incorporation and Bylaws and "Automated Clearing House Service Fee Collection - U.S.
Region."

ID#: 010410-010410-0007884



Automated Clearing House Service Requirements for Principal-Type or Associate-
Type Members - U.S. Region

Upon Visa request, a U.S. Principal-type or Associate-type Member, or an applicant for Principal-type
or Associate-type membership, must comply with "Automated Clearing House Service Requirements
- U.S. Region" for the purpose of collecting fees and disbursing funds through the automated clearing
house service.

ID#: 010410-010410-0007885



Card Service Fee Collection through Automated Clearing House Service - U.S. Region

A Card service Fee Collection Transaction is generated when Visa receives a U.S. Member's
Quarterly Operating Certificate.

ID#: 010410-010410-0007886



Automated Clearing House Service - Principal-Type Member Information
Requirements - U.S. Region

A U.S. Principal-type Member that is required to file a Quarterly Operating Certificate and make
quarterly service fee payments must submit all of the information specified in "Automated Clearing
House Service Requirements - U.S. Region."

ID#: 010410-010410-0007887




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Automated Clearing House Service Fee Collection - U.S. Region

Visa initiates an automated clearing house Fee Collection Transaction for an estimated amount
normally within 30 calendar days of the close of the applicable quarter, if a U.S. Member fails to
either:

• File a Quarterly Operating Certificate
• File the certificate in a timely manner

ID#: 010410-010410-0007888



Automated Clearing House Collections Made in Error - U.S. Region

Visa is not liable for U.S. automated clearing house collections in error, except through intentional
misconduct.

ID#: 010410-010410-0007883



Adjustments Made through the Automated Clearing House Service - U.S. Region

Upon receipt of the Quarterly Operating Certificate from a U.S. Member, Visa initiates an adjustment
for the amount to be collected or disbursed.

• If a U.S. Member underpays its quarterly service fees, Visa collects the additional amount due via
  the automated clearing house.
• Visa refunds any overpayment via the automated clearing house service.
  - The refund time period is limited to 2 years from the date that the quarterly service fee in
    question was originally due.
  - Refunds do not include interest charges.

ID#: 010410-010410-0007889



Advance Notice of Automated Clearing House Service Transactions - U.S. Region

Visa notifies a U.S. Member in advance of any automated clearing house transaction that is required
either:

• As a result of adjustments to operating certificate data or fee computations
• When applicable fines and penalties are assessed

If Visa has received the Quarterly Operating Certificate, Visa does not provide advance notice.

ID#: 010410-010410-0007975




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Visa Interchange Reimbursement Fee Adjustments

Interchange Reimbursement Fee Adjustments


Visa Right to Adjust Interchange Reimbursement Fees

If Interchange Reimbursement Fees are inappropriately received or paid on Transactions, Visa
reserves the right to rectify the improper allocations in the event of Visa, VisaNet, or Visa computer
systems errors, under the conditions and process specified in "Interchange Reimbursement Fee
Adjustments."

This provision is not applicable to Transactions involving Issuers or Acquirers in the jurisdiction of
Visa Europe.

ID#: 010410-010410-0007959



Interchange Reimbursement Fee Adjustment Conditions

Interchange Reimbursement Fee adjustments may only be made as follows:

• Adjustments are limited to Transactions occurring within 90 calendar days of the Processing Date
  of the oldest Transaction submitted by the Member or identified by Visa
• Transactions beyond 90 calendar days (not to exceed 2 years from the date submitted by the
  Member or identified by Visa) may be considered for adjustment if Visa determines that
  extenuating circumstances prevented the Member from discovering the violation sooner
• When an Issuer or Acquirer is at fault, the impacted Issuer(s) or Acquirer(s) is required to use the
  Interchange Reimbursement Fee Compliance process
• Adjustments will only be made when the total Interchange Reimbursement Fee amount to be
  corrected is greater than US $2,500
• Individual correcting Transactions will only be made if the amount of the correcting transaction is
  greater than US $50
Visa may, at its sole discretion, offer to use this adjustment process regardless of the adjustment
amount.

ID#: 010410-010410-0007972



Interchange Reimbursement Fee Adjustment Process

Interchange Reimbursement Fee adjustments will be processed as follows:

• Visa will notify the Members that will receive a correcting Transaction
• Visa will initiate correcting Fee Collection Transaction (transaction code 10) and Funds
  Disbursement Transaction (transaction code 20) through VisaNet




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• All Visa decisions are final
• A Member may appeal a decision only if the Member can provide new evidence not previously
  available and the amount in dispute is greater than US $5,000

ID#: 010410-010410-0007960




Interchange Reimbursement Fee-Related Fines

Interchange Reimbursement Fee Fines


Fine for Inappropriate Interchange Reimbursement Fee - U.S. Region

A U.S. Acquirer whose Merchant Outlet is identified for 4 or more months as receiving an Interchange
Reimbursement Fee not meeting the Interchange Reimbursement Fee processing requirements is
assessed a fine, per Merchant Outlet, as specified in the table below.


Fines Related to a Merchant Outlet Receiving an
Inappropriate Interchange Reimbursement Fee - U.S. Region

                Violation                                Fine


 Fourth month                                         US $1,000


 Fifth month                                          US $5,000


 Each month after the fifth month                    US $10,000


ID#: 010410-010410-0003493



Fine for Inappropriate Credit Transaction Interchange Reimbursement Fee - U.S.
Region

A U.S. Acquirer whose Merchant Outlet is identified during 2 consecutive months as receiving an
inappropriate Interchange Reimbursement Fee for Credit Transactions is assessed a fine equal to 3
times the U.S. dollar value of the fees that were due to the Issuer during the previous 12-month
period.

ID#: 010410-010410-0003494




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Fine for Failure to Qualify for Supermarket Classification - U.S. Region

A U.S. Acquirer whose Merchant Outlet is identified as failing to meet the qualification requirements
for Merchant Category Code 5411, "Supermarkets," classification, as specified for the Supermarket
Incentive Program, is assessed a penalty of US $5,000 per month, per Merchant Outlet, until the
qualification requirements are met.

ID#: 010410-010410-0003495




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Glossary

Terms and Definitions

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3-D Secure

A Visa-approved Authentication Method that is the global authentication standard for Electronic
Commerce Transactions.

ID#: 010410-010410-0024200



3-D Secure Authenticated Payment Program - U.S. Region

A Visa program for Members and Merchants that is the global authentication standard for Electronic
Commerce Transactions.

ID#: 010410-010410-0024201



3-D Secure Authentication Request - U.S. Region

See Authentication Request.

ID#: 010410-010410-0024202



3-D Secure Electronic Commerce Transaction Specification

A software protocol that enables secure processing of Transactions over the Internet and other
networks.

ID#: 010410-010410-0024203



3-D Secure Specification - U.S. Region

A software protocol that enables secure processing of Transactions over the Internet and other
networks.

ID#: 010410-010410-0024204




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A


Acceptance Mark - U.S. Region

A Visa-Owned Mark that denotes Point-of-Transaction acceptance for payments and Cash
Disbursements under specific rules.

ID#: 010410-010410-0024205



Access Control Server - U.S. Region

A component of the 3-D Secure Authenticated Payment Program that provides functionality for
authentication, attempted authentication, and related Authentication Record messaging, as specified
in the 3-D Secure Issuer Implementation Guide.

ID#: 010410-010410-0024206



Access Fee

A fee that is imposed by an ATM Acquirer as part of a Cash Disbursement Transaction, to a
Cardholder for use of its ATM.

ID#: 081010-180409-0024207



Account Data Compromise Recovery Process - U.S. Region

A Visa-initiated process to facilitate allocation of liability between Members for certain losses incurred
as the result of an account compromise event.

ID#: 010410-010410-0024212



Account Funding Transaction (Updated)

A Transaction that transfers funds from a Visa account to another account.

ID#: 050411-010410-0024213



Account Funding Transaction - U.S. Region

An Electronic Commerce Transaction that meets the Account Funding Transaction requirements
specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024214




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Account Information Security Program (Updated)

A program managed by Visa that defines the standards of due care and enforcement for protecting
sensitive Cardholder information and supports both:

• Payment Card Industry Data Security Standard (PCI DSS)
• Payment Card Industry Payment Application Data Security Standard (PA-DSS)

ID#: 050411-200509-0024215



Account Number

An Issuer-assigned number that identifies an account in order to post a Transaction.

ID#: 010410-010410-0024216



Account Number Verification

Effective 1 April 2010, a process by which a Member or its VisaNet Processor determines, using a
currency unit of zero, if there is negative information on an Account Number in the Exception File for
Transactions that do not require Authorization.

ID#: 010410-010410-0024217



Account Number Verification Service - U.S. Region

A service that:

• Is available to a Merchant’s Authorizing Processor that has a computer interface with BASE I
• Electronically verifies whether negative Account Number information is listed on the Exception File

ID#: 080411-010410-0024218



Account-Number-Verifying Terminal - U.S. Region (Updated)

A Point-of-Transaction Terminal that:

• May be required at specified high-risk locations
• Reads the Account Number encoded on the Magnetic Stripe or Chip
• Compares the last four digits of the encoded Account Number to the key-entered last four digits of
  the embossed or printed Account Number
• Transmits the full, unaltered contents of the Magnetic Stripe or Chip in the Authorization Message

ID#: 080411-010410-0024210




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Acquirer

A Member that signs a Merchant or disburses currency to a Cardholder in a Cash Disbursement, and
directly or indirectly enters the resulting Transaction Receipt into Interchange.

ID#: 010410-010410-0024219



Acquirer Activity File

A file that an Acquirer maintains of approved and declined Authorization Requests from other
Members’ Cardholders.

ID#: 010410-010410-0024220



Acquirer Chip Rate

An Interregional Interchange Reimbursement Fee paid for any Transaction that meets the Electronic
Rate requirements and is initiated by a Magnetic-Stripe-only Card at a Chip-Reading Device.

ID#: 010410-010410-0024221



Acquirer Device Validation Toolkit (ADVT)

A set of cards or simulated cards and test scenarios used to validate new or upgraded EMV Chip-
Reading Devices.

ID#: 010410-010410-0024222



Acquirer Monitoring Program - U.S. Region

A program that monitors an Acquirer’s Fraud Activity level and provides reports to the Acquirer when
its Fraud Activity level exceeds established thresholds.

ID#: 010410-010410-0024224



Acquirer Processor - Canada Region

A Non-Member Agent or Processor that a Member has engaged to support its Visa acquiring
business.

ID#: 010410-010410-0024225



Acquirer Reference Number (Updated)

A 23-digit identification number included in a BASE II Clearing Record, as specified in the VisaNet
manuals. See Tracing Data.

ID#: 050411-010410-0024226


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Acquirer’s Processing Date - U.S. Region

One of the following dates on a Clearing Record:

• If cleared through BASE II, the Edit Package run date on which a Member submits outgoing
  Interchange
• If cleared through the Single Message System, the Settlement Date

ID#: 010410-010410-0024227



Acquisition

Effective 1 June 2010, purchase of a Member organization by another organization where the
acquired Member's charter remains intact.

ID#: 010410-010410-0024229



Activate Later Feature - Canada Region

A feature that allows a Cardholder who holds a Card issued by a Canada Member to postpone
enrollment in 3-D Secure (commonly known as the Verified by Visa program) during an Electronic
Commerce Transaction at an Activate Later Merchant.

ID#: 010410-010410-0024230



Activate Later Merchant - Canada Region (Updated)

An Electronic Commerce Merchant that meets the requirements of "Verified by Visa Activate Later
Feature Merchant Requirements - Canada Region."

ID#: 050411-010410-0024231



Activation and Load Service

A Visa processing service that enables the activation of Visa Prepaid Cards, and the activation of
funds associated with a Load Transaction to a Visa Prepaid Card, at a Prepaid Partner.

ID#: 081010-010100-0025556



Activity File (Updated)

A V.I.P. System file used for Stand-In Processing that contains accumulated Transaction activity
processed for each Cardholder within a specified time period, as specified in the appropriate VisaNet
manual.

ID#: 050411-010410-0024233




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Activity File Parameter

A maximum limit that an Issuer establishes on the number and value of Transactions that Visa may
authorize on its behalf. (See the VisaNet manuals.)

ID#: 010410-010410-0024234



Activity Limits - U.S. Region

See Activity File Parameters.

ID#: 010410-010410-0024235



Additional Commercial Card Data - U.S. Region

Data contained in the Clearing Record for a Commercial Visa Product Transaction as follows:

• Sales tax, if completed with a Visa Business Card or Visa Corporate Card
• Sales tax and accounting code, if completed with a Visa Purchasing Card
• Data required when completed with a Visa Fleet Card for the purchase of fuel from a Visa Fleet
  Service Merchant

ID#: 010410-010410-0024236



Address Verification Service - Canada Region

An optional VisaNet service through which a Merchant can verify a Cardholder’s billing address
before completing a Transaction in a Card-Absent Environment.

ID#: 010410-010410-0024237



Address Verification Service - U.S. Region

A VisaNet service through which a Merchant may verify a Cardholder’s billing address before
completing any one of the following:

• A Mail/Phone Order or Electronic Commerce Transaction where merchandise or airline tickets will
  be delivered to the Cardholder or the Cardholder’s designee, or where services were purchased
• A CPS/Retail Key-Entry Transaction
• A CPS/Account Funding Transaction or CPS/e-Commerce Basic Transaction
• A CPS/e-Commerce Preferred Retail Transaction
• A CPS/e-Commerce Preferred Hotel and Car Rental Transaction




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• An Automated Fuel Dispenser Transaction (ZIP only inquiry)
• A Face-To-Face Environment Transaction if the Merchant has been qualified by Visa to use the
  Address Verification Service (ZIP only inquiry)

ID#: 010410-010410-0024238



Address Verification Service Authentication Request - Canada Region

A request to verify a Cardholder’s billing address through the Address Verification Service.

ID#: 010410-010410-0024239



Adjustment

A Single Message System message used to partially or fully negate or cancel a transaction that has
been sent through Interchange in error.

ID#: 010410-010410-0024241



Advance Deposit Service

A service that a Hotel or Cruise Line provides to a Visa Cardholder, allowing use of a Visa Card to
pay an advance deposit required by the Merchant to reserve accommodations.

ID#: 010410-010410-0024246



Advance Deposit Transaction

A Transaction that a Hotel or Cruise Line completes, resulting from a Visa Cardholder’s agreement to
use a Visa Card for payment of an advance deposit to reserve accommodations.

ID#: 010410-010410-0024247



Advance Payment Service - U.S. Region

A Visa service that allows a Cardholder to use their Card for a partial or complete advance payment
for recreational services or activities provided by an Advance Payment Service Merchant.

ID#: 010410-010410-0024250




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Advance Payment Service Merchant - U.S. Region

A non-T&E Merchant participating in the Advance Payment Service, whose primary function is to
provide recreational services related to tourism and travel, such as the purchase of provisions and
transport equipment or hiring of staff before the scheduled services. These services include, but are
not limited to:

• Fishing boat or scuba-diving charters
• Hot-air balloon rides
• Whitewater rafting

ID#: 010410-010410-0024251



Advance Payment Service Transaction - U.S. Region

A Transaction completed by an Advance Payment Service Merchant.

ID#: 010410-010410-0024252



Advanced Resolution Services - U.S. Region

Advanced Resolution Services, Inc., a wholly-owned subsidiary of Visa U.S.A. that provides to
Members Advanced ID Solutions and Strategic Bankruptcy Solutions, among other services.

ID#: 010410-010410-0024245



Advice File - U.S. Region

A file listing Authorization Responses issued by Stand-In Processing on behalf of Issuers.

ID#: 010410-010410-0024253



Advice Limit

An Issuer-selected dollar amount below which Authorization Requests for purchase Transactions are
checked against the Exception File. No Advice File records are created, and the Activity File is not
checked or updated. The Issuer’s Advice Limit must not exceed the Issuer Limit.

ID#: 010410-010410-0024254



Affiliate - U.S. Region

A Member or Licensee of Visa International, or a Member of Visa U.S.A.

ID#: 010410-010410-0024257




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Affiliated-merchant - U.S. Region

An entity that:

• Provides goods or services directly to a retail customer
• Is an affiliate of a Member or an Affinity Partner
• Honors any charge or credit card plan as a means of payment

"Affiliate" has the same meaning as defined in the Federal Bank Holding Company Act of 1956, as
amended, 12USC 1841(k).

ID#: 010410-010410-0024255



Affinity Card - Canada Region

A Card issued as specified for the Affinity Card Program, as specified in the Canada Regional
Operating Regulations.

ID#: 010410-010410-0024258



Affinity Card - U.S. Region

A Visa Consumer Card bearing the Trade Name or Mark of an Affinity Partner, as specified in the
U.S. Regional Operating Regulations.

ID#: 010410-010410-0024259



Affinity Card Program - Canada Region

A Card program as specified in the Canada Regional Operating Regulations.

ID#: 010410-010410-0024261



Affinity Participant - Canada Region

An entity that is not eligible to be a customer of Visa Canada that is participating with a Member in an
Affinity Card Program.

ID#: 010410-010410-0024265



Affinity Participant Agreement - Canada Region

The agreement between the Member and the Affinity Participant relating to the Affinity Participant’s
Affinity Card Program.

ID#: 010410-010410-0024266




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Affinity Partner - U.S. Region

A non-Member entity that:

• Is not eligible for membership in Visa
• Has a relationship with an Issuer for the issuance of Affinity Cards

ID#: 010410-010410-0024267



Agent

Effective 23 July 2010, an entity that acts as a VisaNet Processor, a Third Party Agent, or both.

ID#: 081010-010100-0025920



Agent - U.S. Region (Updated)

Effective through 22 July 2010, an entity that acts as a VisaNet Processor, a Third Party, or both.

ID#: 050411-010410-0024268



Agent Reference File - U.S. Region

A file maintained by Visa containing information about Third Parties.

ID#: 010410-010410-0024269



Aggregated Transaction

A Transaction completed by an Electronic Commerce Merchant that combines multiple purchases
made by the same Cardholder on the same Visa Account Number into a single Transaction before
submitting it for payment processing.

ID#: 010410-010410-0024270



Aggregated Transaction Receipt

A Transaction Receipt provided to the Cardholder by an Electronic Commerce Merchant when
Transaction aggregation is performed.

ID#: 010410-010410-0024271



AID - Canada Region

Application Identifier.

ID#: 010410-010410-0024272



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Airline

Either:

• A passenger airline Merchant
• Its authorized agent that sells airline tickets on behalf of the airline

ID#: 010410-010410-0024273



Airline Authorizing Processor

A Visa-approved non-Member whose primary function is to provide reservation and Authorization
services for Airline Transactions, or travel-related services that includes the purchase of an Airline
ticket.

ID#: 010410-010410-0024274



Airline Ticket Identifier

A 13-digit number on an Airline Transaction Receipt comprising either:

• The servicing carrier code and a transmission control number, excluding the check-digit, if the
  Airline ticket is printed on a transitional automated ticket form
• A carrier number, form number, and serial number, excluding the check-digit, if the Airline ticket is
  printed on an automated ticket/boarding pass form

ID#: 010410-010410-0024278



Airline/Railway Ticket Identifier - U.S. Region

A 13-digit number on an Airline or railway Transaction Receipt comprising either:

• The servicing carrier code and a transmission control number, excluding the check-digit, if the
  ticket is printed on a transitional automated ticket form
• A carrier number, form number, and serial number, excluding the check-digit, if the ticket is printed
  on an automated ticket/boarding pass form

ID#: 010410-010410-0024277



Alert - U.S. Region

A Notification to an Acquirer when its Fraud Activity-to-sales ratio exceeds Visa-specified Acquirer
Monitoring Program Alert thresholds.

ID#: 010410-010410-0024279




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Anti-Money Laundering Program - U.S. Region

A program that a Member implements and maintains to prevent money laundering and terrorist
financing.

ID#: 010410-010410-0024280



AP

Asia-Pacific.

ID#: 010410-010410-0024281



Appeal Committee - U.S. Region (Updated)

Effective through 14 February 2011, a group of Visa senior management that determines the
appeal outcome for a Member that arises from a determination of an Operating Regulation violation,
as specified in "Compliance Enforcement Appeals."

ID#: 050411-010410-0024282



Application Identifier - Canada Region

An EMV-compliant identifier that specifies a unique payment application contained in a Compliant
Chip Card.

ID#: 010410-010410-0024283



Application Selection Flag - Canada Region

An EMV-compliant Canadian payment industry specification that allows an Issuer to control which
payment applications that are contained in a Compliant Chip Card can process a Transaction at a
POS or an ATM.

ID#: 010410-010410-0024284



Application Transaction Counter - U.S. Region

An application on a Contactless Card that sequentially tracks the number of times the Chip is read
and used by the Issuer during the Authorization process to help ensure the Transaction is valid.

ID#: 010410-010410-0024286



Approval Response

An Authorization Response where the Transaction was approved.

ID#: 010410-010410-0024287


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Approved Fulfillment Vendor

Effective 3 November 2009, an entity approved by Visa to package, store, or ship Visa Products that
is not an Approved Manufacturer or Approved Personalizer as specified in the Approved Vendor
Program.

ID#: 010410-010100-0025522



Approved Manufacturer (Updated)

An entity approved by Visa to manufacture or print Visa Products.

ID#: 050411-010410-0024288



Approved Personalizer

Effective 3 November 2009, an entity approved by Visa to personalize Visa Products.

ID#: 010410-010100-0025523



Approved Vendor (Updated)

Effective 3 November 2009, an entity approved by Visa to act as a manufacturer, a personalizer, or
an encryption support or a fulfillment vendor.

ID#: 050411-010100-0025521



Arbitration

A process where Visa determines financial liability between Members for Interchange Transactions
that are presented and charged back.

ID#: 010410-010410-0024289



Arbitration and Compliance Committee

A Visa committee that resolves certain disputes between Members that arise from Chargebacks or
from violations of any Visa International Operating Regulations.

ID#: 010410-010410-0024290



ASF - Canada Region

Application Selection Flag.

ID#: 010410-010410-0024291




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Associate-Type Member

Effective 1 June 2010, a Member of Visa with rights and responsibilities, as defined in the applicable
Certificate of Incorporation and Bylaws, that is either an:

• Associate, as defined in the applicable Certificate of Incorporation and Bylaws
• Acquiring Associate, as defined under the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws,
  Article II, Section 2.04(e)

ID#: 010410-010410-0024293



Assuming Member - U.S. Region

Effective 13 May 2010, the Member that assumes the Visa programs of a failed Member upon a
regulatory closure of that failed Member.

ID#: 081010-010100-0025754



ATM

An unattended Magnetic-Stripe or Chip-reading Terminal that has Electronic Capability, accepts
PINs, and disburses currency.

ID#: 010410-010410-0024295



ATM Acceptance Mark - U.S. Region

An Acceptance Mark that denotes Card acceptance at an ATM.

ID#: 010410-010410-0024297



ATM Acquirer

An Acquirer that provides ATM services.

ID#: 010410-010410-0024298



ATM Cash Disbursement

A Cash Disbursement obtained at an ATM displaying the Visa, Plus, or Visa Electron Acceptance
Mark, for which the Cardholder’s PIN is accepted.

ID#: 010410-010410-0024299




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ATM Mark

A Mark that denotes ATM acceptance.

ID#: 010410-010410-0024300



ATM Operator - U.S. Region

An entity authorized by a Member or the Member’s Agent to originate a Transaction through the
connection of an ATM to the Visa ATM Network, and that displays an Acceptance Mark. ATM
Operators own, operate, or lease ATMs that are connected to the Visa ATM Network and may exhibit
either or both of the following characteristics:

• Receive revenue from the Interchange process or from fees assessed with Transactions
• Manage cryptographic functions or stock ATMs with cash

ID#: 010410-010410-0024301



Attempt Response

A message from a 3-D Secure Issuer in response to an Authentication Request from a 3-D Secure
Merchant, indicating that the Cardholder is not participating in 3-D Secure.

ID#: 010410-010410-0024302



Australia Bill Payment Transaction – AP Region (Updated)

A Transaction which is in accordance with the requirements specified in “Australia Bill Payment
Transaction Requirements – AP Region."

ID#: 080411-060111-0026178



Authentication

A cryptographic process that validates the identity and integrity of Chip data.

ID#: 010410-010410-0024303



Authentication Confirmation

A message from a 3-D Secure Issuer in response to an Authentication Request from a 3-D Secure
Merchant, confirming Cardholder authentication.

ID#: 010410-010410-0024304




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Authentication Data - U.S. Region

All Transaction-related data associated with a Three-Domain Secure Authentication Request.

ID#: 010410-010410-0024305



Authentication Denial

A message from a 3-D Secure Issuer in response to an Authentication Request from a 3-D Secure
Merchant, denying Cardholder authentication.

ID#: 010410-010410-0024306



Authentication History Server - U.S. Region

A component of the 3-D Secure Authenticated Payment Program. A Visa-operated database of all 3-
D Secure Authentication Records, as specified in the 3-D Secure Issuer Implementation Guide.

ID#: 010410-010410-0024307



Authentication Identifier

A unique value for each authentication Transaction, as specified in the 3-D Secure Member
implementation guides.

ID#: 010410-010410-0024308



Authentication Mechanism

A Visa-approved method that validates a participant’s identity in an Electronic Commerce
Transaction. Authentication Mechanisms include, but are not limited to:

• Password
• Digital Certificate

ID#: 010410-010410-0024309



Authentication Method

A Visa-approved protocol, such as 3-D Secure, that meets the minimum standards for authenticating
the Cardholder in an Electronic Commerce Transaction.

ID#: 010410-010410-0024310




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Authentication Record

A record of 3-D Secure authentication status from a 3-D Secure Issuer in response to an
Authentication Request from a 3-D Secure Merchant.

ID#: 010410-010410-0024311



Authentication Record - U.S. Region

A record of 3-D Secure authentication status from a 3-D Secure Issuer, or Visa on behalf of an Issuer,
in response to an Authentication Request from a 3-D Secure Merchant. Authentication Records
include:

• Attempt Responses
• Authentication Confirmations
• Authentication Denials
• Unable-to-Authenticate Responses

ID#: 010410-010410-0024312



Authentication Request

A request for Cardholder authentication from a 3-D Secure Merchant.

ID#: 010410-010410-0024313



Authorization (Updated)

A process where an Issuer, a VisaNet Processor, or Stand-In Processing approves a Transaction.
This includes Offline Authorization

ID#: 080411-010410-0024316



Authorization Code

A code that an Issuer, its VisaNet Processor, or Stand-In Processing provides to indicate approval of
a Transaction. The code is returned in the Authorization Response message and is usually recorded
on the Transaction Receipt as proof of Authorization.

ID#: 010410-010410-0024317



Authorization Preferred Visa Prepaid Card

A Visa Prepaid Card, bearing the Visa Brand Mark or Visa Brand Mark with the Electron Identifier,
that has a Service Code denoting "Online Authorization mandatory" encoded on the Magnetic Stripe.

ID#: 081010-010410-0024318



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Authorization Request

A Merchant’s or Acquirer’s request for an Authorization.

ID#: 010410-010410-0024319



Authorization Request Cryptogram

Effective 15 April 2010, an application Cryptogram generated by a Chip Card when requesting
Online Authorization.

ID#: 010410-150410-0025502



Authorization Response

Effective 1 April 2010, an Issuer’s reply to an Authorization Request or Account Number Verification
that refers to the following types of Authorization Responses:

• Approval Response
• Decline Response
• Pickup Response
• Referral Response

ID#: 010410-010410-0024321



Authorization Response - U.S. Region

An Issuer, Authorizing Processor, or Stand-In Processing reply to an Authorization Request or
Account Number Verification. The U.S. Regional Operating Regulations refers to the following types
of Authorization Response:

• Approval Response
• Decline Response
• Pickup Response
• Referral Response

ID#: 010410-010410-0025500



Authorization Reversal

Effective 1 April 2010, a VisaNet message that negates an Approval Response previously sent
through the V.I.P. System as specified in the Visa International Operating Regulations and
appropriate VisaNet manual. An Authorization Reversal may be for the full amount of the previous
Authorization or an amount less than the previous Authorization amount.

ID#: 010410-010410-0025601




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Authorizing Member - U.S. Region

See Authorizing Processor.

ID#: 010410-010410-0024323



Authorizing Processor - U.S. Region

A Member of Visa or its VisaNet Processor that provides Authorization services for Merchants or
other Members. This definition does not imply or confer membership rights as defined in the Visa
U.S.A. Inc. Certificate of Incorporation and Bylaws, Article II.

ID#: 010410-010410-0024324



Automated Dispensing Machine

See Unattended Acceptance Terminal and Cardholder-Activated Transaction Type C.

ID#: 010410-010410-0024326



Automated Dispensing Machine - U.S. Region

A Cardholder-Activated Terminal that accepts payment for dispensed goods, has Electronic
Capability, and accepts PINs.

ID#: 010410-010410-0024327



Automated Fuel Dispenser

An Unattended Acceptance Terminal that dispenses only fuel. See also Cardholder-Activated
Transaction Type B and Cardholder-Activated Transaction Type C.

ID#: 010410-010410-0024328



Automated Fuel Dispenser - U.S. Region

A Self-Service Terminal or Automated Dispensing Machine that dispenses fuel such as gasoline,
diesel fuel, or propane.

ID#: 010410-010410-0024331




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B


Balance Inquiry

A Cardholder request for their account balance that is initiated at an ATM and processed as a
separate, non-financial transaction.

ID#: 010410-010410-0024334



Balance Inquiry Service

An ATM service that allows a Cardholder to check their account balance through VisaNet.

ID#: 010410-010410-0024335



Bank Identification Number - U.S. Region

See BIN.

ID#: 010410-010410-0024339



Bank of America Visa Mini Card Exclusive License Agreement - U.S. Region

The Exclusive License Agreement entered into by and between Bank of America Corporation and
Visa U.S.A. Inc. dated as of January 31, 2003 in connection with the issuance of the Visa Mini Card.
The initial term of such agreement expires on January 31, 2013, but is subject to earlier termination or
forfeiture of usage rights in the event of a breach by Visa.

ID#: 010410-010410-0024340



Bankruptcy Notification Service - U.S. Region

A Strategic Bankruptcy Solutions service that identifies:

• Visa and non-Visa card applicants
• Cardholders and non-Visa cardholders who have filed bankruptcy

ID#: 010410-010410-0024337




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Bankruptcy Retrieval Service - U.S. Region

A service that:

• Collects and validates certain data contained in bankruptcy filings obtained from bankruptcy courts
• Transmits this data on a scheduled basis to the Strategic Bankruptcy Solutions system

ID#: 010410-010410-0024338



BankruptcyPredict Service - U.S. Region

An optional service provided by Experian Information Solutions, Inc. and Integrated Solutions
Concepts, Inc. that uses Member-supplied account performance data, Transaction data, consumer
credit data, and a proprietary model to score Cardholders, cardholders of non-Visa cards, and
customers of other Visa and non-Visa products to predict the likelihood of bankruptcy.

ID#: 010410-010410-0024336



BASE I (Updated)

A component of the V.I.P. System that provides Authorization-related services for Transactions that
are subsequently cleared and settled through BASE II.

ID#: 050411-010410-0024343



BASE II

A VisaNet system that provides deferred Clearing and Settlement services to Members.

ID#: 010410-010410-0024341



BASE II Software - U.S. Region

Software developed for use in connection with BASE II.

ID#: 010410-010410-0024342



Basic Currency Conversion Rate

A rate selected by Visa from the range of rates available in wholesale currency markets for the
applicable Processing Date, which rate may vary from the rate Visa itself receives; or the
government-mandated rate in effect for the applicable Processing Date.

ID#: 010410-010410-0024345




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Bill Payment Transaction – Australia – AP Region (New)

See "Australia Bill Payment Transaction – AP Region"

ID#: 050411-060111-0026186



Bill Payment Transaction - U.S. Region

A Transaction that results from an agreement between a Cardholder and a Merchant where the
Cardholder is billed for goods or services within an ongoing service cycle that is known and agreed
upon, in advance, by both the Merchant and the Cardholder. Transactions may occur monthly or on a
periodic basis. Such Transactions include:

• Single payments initiated by the Cardholder in either a Face-to-Face Environment or Card-Absent
  Environment
• Recurring Transactions
• Installment Billing Transactions

ID#: 010410-010410-0024350



Billing Currency

The currency in which an Issuer bills a Cardholder for Transactions. If the Billing Currency is the euro
or one of its national currency units, either may be used for Chargeback or statementing purposes.

ID#: 010410-010410-0024349



BIN

A 6-digit number assigned by Visa and used to identify a Member or VisaNet Processor for
Authorization, Clearing, or Settlement processing.

ID#: 010410-010410-0024351



BIN Alternate (New)

Effective 14 October 2010, an identifying number used instead of a BIN, but performing the same
Settlement determination and other functions as a BIN.

ID#: 050411-141010-0026047



BIN Licensee

Effective 1 June 2010, a Member or non-Member VisaNet Processor that is allocated responsibility
by Visa for a specific BIN, as specified in the Visa International Operating Regulations and applicable
Certificate of Incorporation and Bylaws.

ID#: 010410-010410-0024352



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BIN User

Effective 1 June 2010, any Member authorized to use a BIN licensed to its Sponsor, as specified in
the Visa International Operating Regulations.

ID#: 010410-010100-0025530



Board

See Board of Directors.

ID#: 010410-010410-0024353



Board of Directors

One of the following as applicable:

• Visa Inc. Board of Directors
• Visa International Board of Directors
• Visa U.S.A. Board of Directors
• Visa Canada Board of Directors
• Visa Worldwide Board of Directors

ID#: 010410-010410-0024354



Branch

The office of a Member where Manual Cash Disbursements must be made and Cards may also be
issued.

ID#: 010410-010410-0024355



Business I.D. - U.S. Region

A unique Member identification number assigned by Visa.

ID#: 010410-010410-0024356




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C


Campus Card - U.S. Region

A Card issued to a student, staff member, or faculty member of an educational organization in the
U.S. Region as an integral part of a campus identification card that:

• Bears the Visa Mark
• Is linked to a deposit account
• Includes one or more of the following applications: identification, building access, library access, or
  a proprietary closed loop payment application for use only on a college or university campus

ID#: 081010-090409-0024358



CAMS Alert - U.S. Region

A notification through CAMS sent to alert Issuers of Account Numbers involved in a potential
compromise event.

ID#: 010410-010410-0024359



CAMS Event - U.S. Region

An account compromise event wherein one CAMS Alert or multiple, related CAMS Alerts are sent
notifying Issuers of Account Numbers involved in a potential compromise.

ID#: 010410-010410-0024360



Car Rental Company

A Merchant whose primary business is the rental of passenger vehicles at either a corporate or
franchise location, or at locations of licensees bearing the name of the corporate entity.

ID#: 010410-010410-0024404



Car Rental Merchant - U.S. Region

See Car Rental Company.

ID#: 010410-010410-0024405



Card

A valid Visa Card, Visa Electron Card, or Proprietary Card bearing the Plus Symbol.

ID#: 010410-010410-0024365


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Card Dispensing Machine

A device that dispenses Visa Cash Cards when the purchaser makes appropriate payment. A Card
Dispensing Machine may accept cash or payment cards as payment for Visa Cash Cards.

ID#: 010410-010410-0024386



Card Distribution Point

A location, other than a Branch, where a Visa or Visa Electron Card may be issued. Cards issued at a
Card Distribution Point must comply with all Visa security requirements for Card embossing, printing,
encoding, storing, shipping, and distribution. Examples include, but are not limited to, the following:

• Travel agencies
• Corporate entities

ID#: 010410-010410-0024387



Card Manufacturing Agreement - U.S. Region

An agreement provided by Visa that specifies security procedures to be followed by a Certified
Manufacturer.

ID#: 010410-010410-0024388



Card Personalization - U.S. Region

The process that includes the embossing, printing, or encoding of a Visa Card, or the embedding or
initializing of an Integrated Circuit Chip on a Visa Card.

ID#: 010410-010410-0024389



Card Recovery Bulletin

A directory of blocked Account Numbers listed on the International Exception File, intended for
distribution to Merchants. The Card Recovery Bulletin may take one of the following forms:

• National Card Recovery Bulletin
• National Card Recovery File
• Regional Card Recovery File

ID#: 010410-010410-0024390




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Card Recovery Bulletin Listing

A single Account Number that an Issuer requests to be included in a specified Card Recovery Bulletin
Region.

ID#: 010410-010410-0024391



Card Recovery Bulletin Region

A geographical area comprising countries where a given set of Card Recovery Bulletin Listings is
effective for a specified period.

ID#: 010410-010410-0024392



Card Recovery Bulletin Service

A service where an Issuer notifies Acquirers of blocked Account Numbers. The service comprises
distribution of both:

• A printed Card Recovery Bulletin
• The Regional Card Recovery File

ID#: 010410-010410-0024395



Card Verification Service

A VisaNet service where Visa validates the Card Verification Value in an Authorization Request on
behalf of an Issuer.

ID#: 010410-010410-0024398



Card Verification Value

A unique check value encoded on the Magnetic Stripe of a Card to validate Card information during
the Authorization process. The Card Verification Value is calculated from the data encoded on the
Magnetic Stripe using a secure cryptographic process.

ID#: 010410-010410-0024399



Card Verification Value 2

A unique check value printed on the back of a Card, which is generated using a secure cryptographic
process, as specified in the Payment Technology Standards Manual.

ID#: 010410-010410-0024400




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Card Verification Value 2 - U.S. Region

A unique check value generated using a secure cryptographic process, as specified in the Payment
Technology Standards Manual, that is indent-printed on the back of a Visa Card, or provided to a
Virtual Account-Holder.

ID#: 010410-010410-0024401



Card Verification Value 2 Program - U.S. Region (Updated)

A Visa program that enables Issuers to validate the Card Verification Value 2, ensuring that it
matches the value indent-printed on the Visa Card at the time of issuance or provided to a Virtual
Account Holder.

ID#: 050411-010410-0024402



Card-Absent Environment

An environment where a Transaction is completed under both of the following conditions:

• Cardholder is not present
• Card is not present

ID#: 010410-010410-0024362



Card-Present Environment

An environment that comprises the conditions of either the Face-to-Face or Unattended
Environments.

ID#: 010410-010410-0024363



Card-Present Environment - U.S. Region

An environment that comprises the conditions of either the Face-To-Face or Cardholder-Activated
Terminal environment.

ID#: 010410-010410-0024364



Cardholder

An individual who is issued and authorized to use a:

• Card
• Virtual Account

ID#: 010410-010410-0024372




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Cardholder Access Device

A terminal, personal computer, or other device that a Cardholder uses to initiate an Electronic
Commerce Transaction.

ID#: 010410-010410-0024374



Cardholder Authentication Verification Value

A unique value transmitted by an Issuer in response to an Authentication Request from a 3-D Secure
Merchant.

ID#: 010410-010410-0024375



Cardholder Authentication Verification Value - U.S. Region

A unique value transmitted by an Issuer, or Visa on behalf of an Issuer, in response to an
Authentication Request from a 3-D Secure Merchant.

ID#: 010410-010410-0024376



Cardholder Information Security Program - U.S. Region

A program developed by Visa that defines the standard of due care and enforcement for protecting
sensitive Cardholder information.

ID#: 010410-010410-0024378



Cardholder Inquiry Service

A service that assists a Cardholder in reaching their Issuer when calling the Visa Global Customer
Care Services for account information.

ID#: 081010-010410-0024379



Cardholder Maintenance File - U.S. Region

A file consisting of Cardholder names, addresses, and account information for all eligible Visa
Traditional Rewards, Visa Signature Cardholders, and provided to Visa on an ongoing basis in
accordance with the requirements and the format specified in the Visa Incentive Network Member
Implementation Guide and the VisaNet manuals.

ID#: 010410-010410-0024380




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Cardholder Verification

The process of validating a Cardholder’s identity through verification of the Cardholder’s signature or
PIN and other methods as required in the Visa International Operating Regulations (e.g., Cardholder
identification for Manual Cash Disbursements).

ID#: 010410-010410-0024381



Cardholder Verification Method

Instructions encoded within a Chip that define how the authenticity of a Cardholder’s identity is to be
verified.

ID#: 010410-010410-0024382



Cardholder Verification Method List

An Issuer-defined list contained within a Chip establishing the hierarchy of preferences for verifying a
Cardholder’s identity.

ID#: 010410-010410-0024383



Cardholder-Activated Terminal

See Unattended Acceptance Terminal.

ID#: 010410-010410-0024366



Cardholder-Activated Terminal - U.S. Region

A Magnetic-Stripe Terminal or Chip-Reading Device (such as an Automated Dispensing Machine,
Limited-Amount Terminal, or Self-Service Terminal) that is not an ATM.

ID#: 010410-010410-0024367



Cardholder-Activated Transaction

A Transaction that is initiated by a Cardholder at an Unattended Acceptance Terminal. See
Cardholder-Activated Transaction Type A, Cardholder-Activated Transaction Type B, and
Cardholder-Activated Transaction Type C.

ID#: 010410-010410-0024368




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Cardholder-Activated Transaction Type A

A Transaction that takes place at an Unattended Acceptance Terminal and has all of the following
characteristics:

• Is less than US $40, or local currency equivalent
• Is not authorized
• Has no Cardholder Verification performed

Examples of a Cardholder-Activated Transaction Type A are:

• Parking garage fee
• Road toll
• Motion picture theater admission
• Magnetic-Stripe Telephone call

ID#: 010410-010410-0024369



Cardholder-Activated Transaction Type B

A Transaction that takes place at an Unattended Acceptance Terminal and has all of the following
characteristics:
                                91
• Is limited to US $100, or local currency equivalent
• For a Real-Time Clearing Transaction, is US $500 or less, or local currency equivalent
• Is authorized
• Has no Cardholder Verification performed

Examples of a Cardholder-Activated Transaction Type B are:

• Fuel purchase without a PIN
• Visa Prepaid Card purchase
• Video rental

ID#: 081010-010410-0024370



Cardholder-Activated Transaction Type C

A Transaction that takes place at an Unattended Acceptance Terminal and has both of the following
characteristics:

• Is authorized
• Has PIN Verification performed



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     A variance to this requirement applies in the U.S. Region for Automated Fuel Dispenser Transactions.


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An example of a Cardholder-Activated Transaction Type C is a fuel purchase with a PIN.

ID#: 010410-010410-0024371



Cash Disbursement

Currency, including travelers cheques, paid out to a Cardholder using a Card, excluding Cash-Back.

ID#: 010410-010410-0024407



Cash Disbursement Draft - U.S. Region

See Cash Disbursement Transaction Receipt.

ID#: 010410-010410-0024408



Cash Disbursement Fee

A fee paid by an Issuer to an Acquirer for performing a Cash Disbursement.

ID#: 010410-010410-0024409



Cash Disbursement Machines of Non-Member Institutions - LAC Region

See ATMs of Non-Member Institutions.

ID#: 010410-010410-0024410



Cash Disbursement Transaction Receipt

A Transaction Receipt evidencing a Manual Cash Disbursement.

ID#: 010410-010410-0024412



Cash-Back

Cash obtained from a Visa or Visa Electron Merchant through use of a Visa or Visa Electron Card, in
conjunction with, and processed as, a Retail Transaction.

ID#: 010410-010410-0024406



CEMEA

Central and Eastern Europe, Middle East, and Africa.

ID#: 010410-010410-0024413



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Center

A Member or VisaNet Processor facility where Authorization, Clearing, Settlement, or other related
activities take place.

ID#: 010410-010410-0024415



Central Bank

A government agency responsible for the supervision and operation of banking activities for the
national government. Central Bank activities generally include maintaining reserve accounts required
of depository institutions, regulating money supply, transferring funds, and acting as fiscal agent for
the government.

ID#: 010410-010410-0024418



Central Processing Date - U.S. Region

One of the following:

• For Transactions processed through BASE II, the date (based on Greenwich Mean Time) on which
  a Member inputs Interchange data to, and the data is accepted by, a VisaNet Interchange Center
• For Transactions processed through the Single Message System, the date the Transaction is
  settled (for financial Transactions) or date the Transaction is entered into the Single Message
  System (for non-financial transactions)

ID#: 010410-010410-0024420



Central Reservation Service - U.S. Region

An entity that acts as a reservations resource for various geographically contiguous lodging
establishments.

ID#: 010410-010410-0024421



Certification Authority

An entity that issues and manages Digital Certificates for use with Visa products and services in
accordance with Visa-specified requirements. Entities eligible to be Certification Authorities within the
Visa Certification Authority hierarchy include:

• Visa
• Visa Regions
• Visa Members

ID#: 010410-010410-0024423




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Chargeback

A Transaction that an Issuer returns to an Acquirer.

ID#: 010410-010410-0024424



Chargeback Period

The number of calendar days from the Endorsement Date or Processing Date, as set out in the
Dispute Resolution rules, of a Transaction Receipt during which time the Issuer may exercise a
Chargeback right.

ID#: 010410-010410-0024426



Chargeback Protection Limit - U.S. Region

A dollar amount that has been established for single Transactions at specific types of Merchant
Outlets below which the Acquirer is protected from a “No Authorization” (Reason Code 72)
Chargeback.

ID#: 010410-010410-0024427



Chargeback Reduction Service

A VisaNet service that screens Presentments and Chargebacks and returns certain invalid items to
the Acquirer or Issuer, as appropriate.

ID#: 010410-010410-0024429



Chargeback Reference Number - U.S. Region

An Issuer-assigned number that identifies the source of an outgoing Chargeback.

ID#: 010410-010410-0024430



Cheque

A travelers cheque that a Member issues and that bears the Visa-Owned Marks.

ID#: 010410-010410-0024431



Chip

An electronic component designed to perform processing or memory functions.

ID#: 010410-010410-0024436




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Chip Card

A Card embedded with a Chip that communicates information to a Point-of-Transaction Terminal.

ID#: 010410-010410-0024438



Chip Compliance Reporting Tool (CCRT)

Effective 1 October 2010, a centralized, server-based, online solution for the systematic reporting of
Acquirer Device Validation Toolkit (ADVT) test results.

ID#: 081010-011010-0025676



Chip Specifications - Canada Region

All requirements set out in the EMV, VIS, VSDC, PCI, and Visa PIN Entry Device specifications
available at www.visainfo.ca, as may be amended and/or replaced from time to time.

ID#: 010410-010410-0024439



Chip-initiated Transaction

An EMV and VIS-Compliant Chip Card Transaction that is processed at a Chip-Reading Device using
Full-Chip Data, and limited to Visa and Visa Electron Smart Payment Applications, or EMV and VIS-
Compliant Plus applications.

ID#: 010410-010410-0024433



Chip-Reading Device

A Point-of-Transaction Terminal capable of reading, communicating, and processing Transaction data
from a Chip Card.

ID#: 010410-010410-0024435



Classic Visa Check Card - U.S. Region

See Consumer Visa Check Card.

ID#: 010410-010410-0024442



Classic Wordmark

A Visa-Owned Mark comprising the word “Classic” when used in connection with the Visa Program.

ID#: 010410-010410-0024443




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Clearing

All of the functions necessary to collect a Clearing Record from an Acquirer in the Transaction
Currency and deliver it to the Issuer in the Billing Currency, or to reverse this transaction, or to
process a Fee Collection Transaction.

ID#: 010410-010410-0024444



Clearing Processor (Updated)
A Member or its Visa-approved VisaNet Processor that provides Clearing and/or Settlement services
for Merchants or other Members. This definition does not imply or confer membership rights as
defined in the Visa International Certificate of Incorporation and Bylaws, Article II, in the Visa U.S.A.
Inc. Certificate of Incorporation and Bylaws, Article II, or in the Visa Worldwide Supplementary
Operating Regulations (for Asia-Pacific), Section 1.

ID#: 080411-141010-0026051



Clearing Record

A record of a Presentment, Chargeback, Representment, Reversal, or Adjustment in the format
necessary to clear the Transaction.

ID#: 010410-010410-0024446



Clearing Reversal - U.S. Region

A VisaNet Transaction that negates a Transaction previously sent through BASE II or the Single
Message System, as specified in the U.S. Regional Operating Regulations and appropriate VisaNet
manual.

ID#: 010410-010410-0024447



Client Organization (New)

Effective 14 October 2010, a company or organization that sponsors a Commercial Visa Product
program, such as Visa Business, Visa Corporate, Visa Purchasing (including Visa Fleet in the U.S.
Region), and any other Commercial Card program combining the functionality of these Cards,
wherein Cards are provided to users for business-related purchases. Such companies or
organizations may include public or private-sector companies, including sole proprietors and self-
employed individuals.

ID#: 050411-141010-0026020




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Client Organization - Canada Region (Updated)

Effective 11 February 2010 through 13 October 2010, a company or organization that sponsors a
Commercial Visa Product program, such as Visa Business, Visa Corporate, Visa Purchasing, and any
other Commercial Card program combining the functionality of these Cards, wherein Cards are
provided to users for business-related purchases. Such companies or organizations may include
public or private-sector companies, including sole proprietors and self-employed individuals.

ID#: 050411-110210-0025609



Client Organization - U.S. Region (Updated)

Effective through 13 October 2010, a company or organization that sponsors a Commercial Visa
Product program, such as Visa Business, Visa Corporate, Visa Purchasing (including Visa Fleet), and
any other Commercial Card program combining the functionality of these Cards, wherein Cards are
provided to users for business-related purchases. Such companies or organizations may include
public or private-sector companies, including sole proprietors and self-employed individuals.

ID#: 050411-010410-0024448



Collateral Material - Canada Region (Updated)

Printed, broadcast, electronic, or other material bearing any of the Visa Program Marks.

ID#: 050411-010410-0024450



Collateral Material - U.S. Region

Printed, broadcast, or other communications regarding the Affinity Partner’s Trade Name or Mark.
These may include, but are not limited to, solicitations, promotional materials, advertisements,
statements, statement inserts, direct mail solicitations, and telemarketing operator scripts.

ID#: 010410-010410-0024452



Collision/Loss Damage Waiver (Updated)
Visa Card feature that provides collision or loss damage insurance on car rental Transactions to
Visa Cardholders.

ID#: 050411-010410-0024453



Combined Data Authentication - Canada Region (Updated)

An Authentication as specified in the Chip Specifications.

ID#: 050411-010410-0024455




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Combined Terminated Merchant File - U.S. Region

See Terminated Merchant File.

ID#: 010410-010410-0024456



Comet Design

A Visa-Owned Mark that consists of a curved graphic element.

ID#: 010410-010410-0024457



Commercial Card - U.S. Region

See Commercial Visa Product.

ID#: 010410-010410-0024458



Commercial Card Enhanced Data Transport - U.S. Region

A Visa service that enables Issuers to provide their Commercial Visa Product customers with optional
enhanced reporting of Commercial Card Transaction information provided by Merchants and
Acquirers.

ID#: 010410-010410-0024459



Commercial Level II Transaction - U.S. Region

A Commercial Visa Product Transaction that is authorized and processed to qualify for the
Commercial Level II Interchange Reimbursement Fee.

ID#: 010410-010410-0024462



Commercial Level III Transaction - U.S. Region

A Commercial Visa Product Transaction that is authorized and processed to qualify for the
Commercial Level III Interchange Reimbursement Fee.

ID#: 010410-010410-0024461



Commercial Visa Prepaid Product

A Commercial Visa Product, issued as a Visa Prepaid Card, in which the corporation depositing the
funds remains the owner of the funds in the Visa Prepaid Card account. Commercial Visa Prepaid
Products are offered to client organizations solely to provide a means to pay for the acquisition of
business-related goods and services.

ID#: 081010-010410-0024463


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Commercial Visa Product - U.S. Region

A Visa Card that bears the Marks Area and the descriptive term “Business Card,” “Corporate Card,”
“Purchasing Card,” “Fleet Card,” “Visa Commercial,” “Visa Meetings,” or “Visa Signature Business” on
the front of the Card.

ID#: 010410-010410-0024464



Completion Message

A Clearing Record to follow a preauthorization as part of Real-Time Clearing Processing.

ID#: 010410-010410-0024469



Compliance

A process where Visa resolves disputes between Members arising from violations of the Visa
International Operating Regulations, when the requesting Member can certify that a financial loss has
occurred or will occur for a specific amount, and no Chargeback right is available.

ID#: 010410-010410-0024470



Compliant Chip Card - Canada Region

A Chip Card that contains a Visa Smart Payment Application capable of processing Full Data and that
complies with Chip Specifications.

ID#: 010410-010410-0024471



Compliant Chip Card Offline Authorization - Canada Region

A process that allows an Authorization Request initiated by a Compliant Chip Card to be processed
as a Full Data Transaction in a below-Floor Limit Environment without sending the Authorization
Request to the Issuer.

ID#: 010410-010410-0024472



Compliant Chip Card Reading Device - Canada Region

A Point-of-Transaction Terminal or a POS capable of reading, communicating, and processing Full
Data Transactions from a Compliant Chip Card.

ID#: 010410-010410-0024473




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Compliant Chip Transaction - Canada Region

An Online or offline authorized Transaction generated by a Compliant Chip Card and its PIN at a
Compliant Chip Card Reading Device with a Compliant PED.

ID#: 010410-010410-0024474



Compliant PED - Canada Region

A PIN entry device that meets the requirements set out in the Chip Specifications and that supports
plaintext and enciphered offline PIN at POS, or enciphered online PIN at ATMs.

ID#: 010410-010410-0024475



Compromised Account Management System - U.S. Region

The reporting system used by Visa to notify Issuers of Account Numbers that may have been
compromised.

ID#: 010410-010410-0024476



Confidential Enhanced Merchant-Level Data - U.S. Region

Merchant-related data provided through Visa to an Issuer in connection with a Commercial Visa
Product. This data includes all Enhanced Merchant-Level Data except for Non-Confidential Enhanced
Merchant-Level Data, and is subject to the disclosure restrictions as specified in the U.S. Regional
Operating Regulations.

ID#: 010410-010410-0024477



Consumer Card - U.S. Region

See Visa Consumer Card.

ID#: 010410-010410-0024480



Consumer Cardholder - U.S. Region

A Cardholder, other than the Cardholder of a Commercial Visa Product.

ID#: 010410-010410-0024479




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Consumer Visa Check Card - U.S. Region

A Visa Check Card that accesses a deposit, investment, or other asset account of a consumer,
including a fiduciary account.

ID#: 010410-010410-0024481



Consumer Visa Deferred Debit Card - U.S. Region

A Consumer Card that accesses a deposit, investment, or other asset account of a consumer,
including a fiduciary account, where the amount of any individual Transaction is not accessed, held,
debited, or settled from the consumer asset account sooner than 14 days from the date of the
Transaction.

ID#: 010410-010410-0024482



Contactless Card - U.S. Region

See Visa Contactless.

ID#: 010410-010410-0024483



Contactless Payment - U.S. Region

A form of Visa payment conducted in the Card-Present Environment at the Point-of-Transaction
through a Visa-approved wireless interface such as radio frequency or infrared technology.

ID#: 010410-010410-0024484



Contactless Payment Terminal - U.S. Region

A Point-of-Transaction Terminal that reads the Magnetic-Stripe Data on a Contactless Payment Chip
through a Visa-approved wireless interface, and that includes Magnetic-Stripe-reading capability.

ID#: 010410-010410-0024485



Contactless Payment Transaction - U.S. Region

A Transaction completed at a Point-of-Transaction Terminal through a Visa-approved wireless
interface in the Card-Present Environment.

ID#: 010410-010410-0024486




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Convenience Fee - U.S. Region (Updated)

A fee charged by a Merchant for an added convenience to the Cardholder, as specified in
“Convenience Fee General Requirements.”

ID#: 050411-010410-0024488



Copy - U.S. Region

See Transaction Receipt.

ID#: 010410-010410-0024490



Copy Request

A Retrieval Request that is processed through an electronic documentation transfer method.

ID#: 010410-010410-0024491



Copy Request Identifier

A unique 12-digit identification number that VisaNet assigns to a Copy Request. In the Single
Message System, the Retrieval Request identifier.

ID#: 010410-010410-0024492



Copyright

A form of protection that the laws of various countries provide for original literary, dramatic, musical,
artistic, and certain other intellectual works.

ID#: 010410-010410-0024489



Correspondent Bank

A depository institution that holds an account with, or on behalf of, a Settlement Bank, and engages in
an exchange of services with that bank.

ID#: 010410-010410-0024494




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Counterfeit Card

One of the following:

• A device or instrument that is printed, embossed, or encoded so as to purport to be a Card, but that
  is not a Card because an Issuer did not authorize its printing, embossing, or encoding
• An instrument that is printed with the authority of the Issuer and that is subsequently embossed or
  encoded without the authority of the Issuer
• A Card that an Issuer has issued and that is altered or re-fabricated, except one on which the only
  alteration or re-fabrication comprises modification of the signature panel or Cardholder signature

ID#: 010410-010410-0024495



Counterfeit Fraud Recovery - U.S. Region

A subset of the Account Data Compromise Recovery Process that allocates responsibility and
reimbursement for incremental counterfeit fraud losses incurred as a result of an account compromise
event involving Magnetic-Stripe Data and/or PIN data.

ID#: 010410-010410-0024496



Counterfeit Transaction Receipt

A Transaction Receipt arising from the use of a Counterfeit Card.

ID#: 010410-010410-0024497



Country of Domicile

The country in which a Member has its principal place of business.

ID#: 010410-010410-0024499



Country Office

A secondary office location of a Visa Region, located in a country within the same Visa Region.

ID#: 010410-010410-0024498



CPS Transaction - U.S. Region

A Transaction that meets one of the Custom Payment Services (CPS) requirements in the U.S.
Regional Operating Regulations.

ID#: 010410-010410-0024523




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CPS/Account Funding - U.S. Region

A payment service for Electronic Commerce Transactions where the Cardholder is funding a host-
based prepaid product, a brokerage account, or escrow account with a Visa product in a secure
Internet environment, as specified in the U.S. Interchange Reimbursement Fee Rate Qualification
Guide.

ID#: 081010-010410-0024500



CPS/Automated Fuel Dispenser - U.S. Region

A payment service for Transactions that take place at an Automated Fuel Dispenser properly
assigned Merchant Category Code 5542, "Automated Fuel Dispensers," where the full contents of
track 1 or track 2 of the Magnetic Stripe, unaltered Chip, or unaltered Contactless Payment data are
read and transmitted and that meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024501



CPS/Card Not Present - U.S. Region

A payment service for Transactions completed in a Card-Absent Environment, except for Electronic
Commerce Transactions, that meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024502



CPS/e-Commerce Basic - U.S. Region

A payment service for Electronic Commerce Transactions that meet the applicable requirements
specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024503



CPS/e-Commerce Preferred Hotel and Car Rental - U.S. Region

A payment service for Secure Electronic Commerce Transactions that originate from a Hotel, Cruise
Line, or Car Rental Merchant, are completed using Verified by Visa, and meet the applicable
requirements specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024504




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CPS/e-Commerce Preferred Passenger Transport - U.S. Region

A payment service for Secure Electronic Commerce Transactions that originate from an Airline or
passenger railway Merchant or its agent, are completed using Verified by Visa, and meet the
applicable requirements specified in the U.S. Interchange Reimbursement Fee Rate Qualification
Guide.

ID#: 081010-010410-0024505



CPS/e-Commerce Preferred Retail - U.S. Region

A payment service for Secure Electronic Commerce Transactions completed using Verified by Visa
that meet the applicable requirements specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

ID#: 081010-010410-0024506



CPS/e-Commerce Preferred Transaction - U.S. Region

A CPS Transaction processed as specified in the U.S. Regional Operating Regulations, and
consisting of one of the following types of Transactions:

• CPS/e-Commerce Preferred Hotel and Car Rental Transaction
• CPS/e-Commerce Preferred Passenger Transport Transaction
• CPS/e-Commerce Preferred Retail Transaction

ID#: 010410-010410-0024507



CPS/e-Commerce Transaction - U.S. Region

A CPS Transaction processed as specified in the U.S. Regional Operating Regulations and
consisting of one of the following types of transactions:

• CPS/e-Commerce Basic Transaction
• CPS/e-Commerce Preferred Hotel and Car Rental Transaction
• CPS/e-Commerce Preferred Passenger Transport Transaction
• CPS/e-Commerce Preferred Retail Transaction

ID#: 010410-010410-0024508




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CPS/Hotel and Car Rental Card Not Present - U.S. Region

A payment service for lodging, cruise line, and car rental Transactions in a Card-Absent Environment
(including T&E Advance Deposit Transactions, No Show Transactions, and other key-entered
Transactions) where the hotel stay, cruise duration, or length of rental is more than 1 day and the
Point-of-Transaction Terminal application is equipped to provide the additional industry-specific data
for the program and that meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024509



CPS/Hotel and Car Rental Card Present - U.S. Region

A payment service for lodging, cruise line, and car rental Transactions in a Face-to-Face Environment
where the hotel stay or length of rental is one or more days, multiple Authorizations may be obtained
with industry-specific data, the full contents of track 1 or track 2 of the Magnetic Stripe, unaltered
Chip, or unaltered Contactless Payment data are read and transmitted and that meet the applicable
requirements specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024510



CPS/Passenger Transport - U.S. Region

A payment service for Passenger Transport Service Category Transactions where the Merchant
processes the sale of tickets by mail, via the Internet, or in a Card-Present Environment using single
or multiple Transaction Receipts, as specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

ID#: 081010-010410-0024511



CPS/Restaurant - U.S. Region

A payment service for Transactions completed in a Face-to-Face Environment by a Merchant
properly assigned Merchant Category Code 5812, "Restaurant" or 5814, "Fast Food" and where the
contents of track 1 or track 2 of the Magnetic Stripe, unaltered Chip, or unaltered Contactless
Payment data are read and Authorization is obtained and that meet the applicable requirements
specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024512




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CPS/Retail - U.S. Region

A payment service for Retail Transactions completed in a Face-to-Face Environment where the full
contents of track 1 or 2 of the Magnetic Stripe, unaltered Chip, or unaltered Contactless Payment
data are read and transmitted and that meet the applicable requirements specified in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide. Transactions with one of the following
Merchant Category Codes are ineligible for CPS/Retail:

• 5411, "Grocery Stores and Supermarkets"
• 5541, "Service Stations"
• 5812, "Eating Places and Restaurants"
• 5814, "Fast Food Restaurants"
• 5962, "Direct Marketing - Travel-Related Arrangement Services"
• 5966, "Direct Marketing - Outbound Telemarketing"
• 5967, "Direct Marketing - Inbound Teleservices Merchant"

ID#: 081010-010410-0024513



CPS/Retail 2 - U.S. Region

An incentive program designed to expand Visa Card acceptance into new industries. Transactions
from select Merchant categories may qualify for this program in either a Card-Present Environment or
a Card-Absent Environment by meeting the fee edit criteria specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide for one of the following services:

• CPS/Retail 2
• CPS/Card Not Present
• CPS/e-Commerce Basic
• CPS/e-Commerce Preferred Retail
• CPS/Retail Key-Entry

ID#: 081010-010410-0024514



CPS/Retail Key-Entry - U.S. Region (Updated)

A payment service for Transactions completed in a Face-to-Face Environment where a Magnetic-
Stripe Terminal is present, but the Magnetic Stripe cannot be read and the Merchant verifies the
Cardholder signature, performs an Address Verification Service inquiry, and receives an acceptable
response as specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 050411-010410-0024515




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CPS/Rewards 1 Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee for Visa Consumer Credit Transactions that meet the applicable
requirements for CPS/Rewards 1 Transactions specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024516



CPS/Rewards 2 Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee for Visa Consumer Credit Transactions that meet the applicable
requirements for CPS/Rewards 2 Transactions specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024517



CPS/Rewards Interchange Reimbursement Fee - U.S. Region

One of the following Interchange Reimbursement Fees for Visa Consumer Credit Transactions that
meet the applicable requirements specified in the U.S. Regional Operating Regulations:

• CPS/Rewards 1
• CPS/Rewards 2

ID#: 010410-010410-0024518



CPS/Service Station - U.S. Region

A payment service for Transactions with Merchant Category Code 5541, "Service Stations"
completed in a Face-to-Face Environment where the full contents of track 1 or track 2 of the Magnetic
Stripe, unaltered Chip, or unaltered Contactless Payment data are read and transmitted and that
meet the applicable requirements specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

ID#: 081010-010410-0024519



CPS/Small Ticket - U.S. Region

Effective through 15 October 2010, a payment service for Visa Consumer Card Transactions that
meet the applicable requirements for CPS/Small Ticket Transactions as specified in the U.S.
Regional Operating Regulations.

Effective 16 October 2010, a payment service for Visa Easy Payment Service Transactions less
than or equal to US $15 that are conducted with a Visa Consumer Card where the full contents of
track 1 or track 2 of the Magnetic Stripe, unaltered Chip, or unaltered Contactless Payment data are
read and transmitted, and meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024520




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CPS/Supermarket - U.S. Region

A payment service for Supermarket Incentive Program Transactions that meet the applicable
requirements specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024521



CPS/T&E Transaction - U.S. Region

A CPS Transaction processed as specified in the U.S. Regional Operating Regulations that applies to
the following types of CPS/T&E Transactions:

• CPS/Hotel and Car Rental Card Not Present Transaction
• CPS/Hotel and Car Rental Card Present Transaction
• CPS/Passenger Transport Transaction

ID#: 010410-010410-0024522



Credit Bureau - U.S. Region (Updated)

For purposes of Visa Advanced ID Solutions, Strategic Bankruptcy Solutions, and BankruptcyPredict
Service, a company that is required or has agreed to comply with the requirements applicable to
consumer reporting agencies under the Federal Fair Credit Reporting Act, including but not limited to
a company that receives Member information pursuant to the Fidelity Information Services, ID Score
Plus, or, effective 8 July 2010, ID Analytics Credit Optics components of Visa Advanced ID Solutions
or that provides card account numbers, identified from bankruptcy petitions files in U.S. bankruptcy
courts, to Strategic Bankruptcy Solutions.

ID#: 050411-010410-0024524



Credit Optics - U.S. Region

Effective 8 July 2010, an optional feature of Visa Advanced ID Solutions that provides U.S.
Members with a score and related reason code(s) provided by ID Analytics, Inc. that predict the
potential of financial loss associated with approving an application for a new, or management of an
existing, Card, non-Visa card, or other Visa or non-Visa product based on an assessment of the
identity risk and application behavior of a consumer and the credit risk and application behavior of
other similar consumers.

ID#: 081010-010100-0025783



Credit Reporting Improvement Service - U.S. Region

A service that supports an Issuer by monitoring the reporting and handling of credit bureau data.

ID#: 010410-010410-0024526




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Credit Transaction - U.S. Region

A Merchant’s refund or price adjustment credited to a Cardholder account.

ID#: 010410-010410-0024527



Credit Transaction Receipt

A Transaction Receipt evidencing a Merchant’s refund or price adjustment to be credited to a
Cardholder’s account.

ID#: 010410-010410-0024528



Credit Voucher - U.S. Region

See Credit Transaction Receipt.

ID#: 010410-010410-0024529



Cruise Line

A Merchant that sells and provides recreational travel on water, including overnight accommodations.

ID#: 010410-010410-0024532



Cryptogram

A value resulting from a combination of specific key data elements that are used to validate the
source and integrity of data.

ID#: 010410-010410-0024533



Currency Conversion Rate

A rate selected by Visa from the range of rates available in wholesale currency markets for the
applicable Processing Date, which rate may vary from the rate Visa itself receives; or the
government-mandated rate in effect for the applicable Processing Date. In each instance, plus or
minus any adjustment determined by the Issuer.

ID#: 010410-010410-0024534




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Currency Conversion Rate - U.S. Region

Either:

• A rate selected by Visa from the range of rates available in wholesale currency markets on the
  applicable Central Processing Date (such rate may vary from the rate Visa itself receives) plus or
  minus any adjustment determined by the Issuer
• The government-mandated rate in effect on the applicable Central Processing Date, plus or minus
  any adjustment determined by the Issuer

ID#: 010410-010410-0024535



Custom Payment Services (CPS)

A Visa payment service that accommodates specific payment environments with an identifier that
remains with the Transaction throughout its life cycle.

ID#: 010410-010410-0024536



CVM - Canada Region

Cardholder Verification Method.

ID#: 010410-010410-0024537



D


Data Capture-Only Capability (Updated)

The capability of a Point-of-Transaction terminal to store Transaction Receipt data that is
electronically captured for Deposit purposes, where the terminal does not have capability to go Online
for Authorization.

ID#: 050411-010410-0024538



Data Compromise Recovery

A Visa fraud recovery process where Visa allocates to affected Members the incremental full
Magnetic Stripe counterfeit fraud losses that are associated with a data compromise event.

ID#: 010410-010410-0024539




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Data Encryption Standard - U.S. Region

The data encryption standard defined in American National Standards Institute X3.92-1981 for
encrypting and decrypting binary coded data.

ID#: 010410-010410-0024540



Data Protection Method

A Visa-approved method for the protection of Account Numbers and other Cardholder data, as
specified in the Payment Card Industry Data Security Standard (PCI DSS).

ID#: 010410-010410-0024541



Data Reformatter Service - U.S. Region

A service that streamlines file processing for Direct Exchange Open File Delivery endpoints by
eliminating in-house file manipulation.

ID#: 010410-010410-0024542



Debit Tax Payment Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee for Visa Debit Card Transactions that meet the qualification
requirements of the Tax Payment Program.

ID#: 010410-010410-0024544



Debit Tax Payment Transaction - U.S. Region

A Visa Debit Card Transaction that qualifies for the Visa Debit Tax Payment Interchange
Reimbursement Fee.

ID#: 010410-010410-0024545



Debt Repayment Program Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee for Visa Debt Repayment Transactions that meet the
requirements of the Debt Repayment Program.

ID#: 010410-010410-0024546




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Debt Repayment Program Merchant - U.S. Region

A Merchant that processes Visa Debt Repayment Program Transactions as specified in the Visa Debt
Repayment Program Guide.

ID#: 010410-010410-0024547



Decline Response

An Authorization Response where the Transaction was declined.

ID#: 010410-010410-0024548



Deferred Clearing Processing

A 2-step process whereby Transactions are authorized, cleared, and settled through either the:

• Single Message System
• V.I.P. System and BASE II

ID#: 010410-010410-0024550



Deferred Clearing Transaction

A Transaction that is authorized, cleared, and settled in 2 separate messages through either the
Single Message System or the V.I.P. System and BASE II.

ID#: 010410-010410-0024551



Deferred Payment Transaction - U.S. Region

A Transaction completed in a Card-Absent Environment for which the Cardholder is billed once, no
more than 90 days after the first shipment of merchandise.

ID#: 010410-010410-0024552



Delayed Delivery Transaction

A single Transaction where a Cardholder completes 2 separate Transaction Receipts. The first
Transaction Receipt functions as a deposit (such as a down payment) for goods or services; the
second is to pay the balance due the Merchant.

ID#: 010410-010410-0024553




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Deposit

The submission of a Transaction Receipt by a Merchant or an Internet Payment Service Provider to
an Acquirer, resulting in a credit or debit to the Merchant’s or Internet Payment Service Provider’s
Visa account.

ID#: 010410-010410-0024556



Deposit Date

The date on which an Acquirer receives a Transaction Receipt from a Merchant.

ID#: 010410-010410-0024557



Deposit-Only Account Number

A Visa Account Number established by a Visa Card or Visa Electron Card Issuer, used exclusively to
receive an Original Credit on behalf of one or more of its customers.

ID#: 010410-010410-0024554



Diamond Design

A Visa-Owned Mark, used as an element of the Plus Symbol, consisting of three triangles with an
open space in the lower right-hand corner, arranged to form an outline of the symbol “+.”

ID#: 010410-010410-0024558



Digital Certificate

A digitally signed credential used to authenticate the owner of the credential or to ensure the integrity
and confidentiality of the message it is signing.

ID#: 010410-010410-0024559



Direct-Connect Merchant - U.S. Region

A Merchant that directly enters Authorization Requests into the V.I.P. System.

ID#: 010410-010410-0024560



Disbursing Member

A Member that pays out currency in a Cash Disbursement.

ID#: 010410-010410-0024562




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Dispute Resolution Questionnaires - U.S. Region

A series of specific questionnaires, available in Visa Resolve Online, designed for each Chargeback
category to facilitate the exchange of information in the dispute resolution process. A Dispute
Resolution Questionnaire:

• Is required when documentation is sent to the opposing Member
• May be used for non-fraud related disputes when a Cardholder or Merchant letter is unavailable.

ID#: 010410-010410-0024563



Documentation Indicator - U.S. Region (Updated)

A VisaNet code indicating the status of mailed supporting documentation and the validity of the
Acquirer Reference Number.

ID#: 050411-010410-0024564



Domestic Interchange

Interchange of a Domestic Transaction.

ID#: 010410-010410-0024567



Domestic Transaction

A Transaction where the Issuer of the Card used is located in the Transaction Country.

ID#: 010410-010410-0024568



Dove Design

A Visa-Owned Mark depicting a dove in flight that identifies the Visa Program.

ID#: 010410-010410-0024570



Dual-Issuer Branded Visa Commercial Card (New)

Effective 14 October 2010, a Visa Commercial Card, issued by a Member participating in the Visa
Multinational Program, that identifies the Lead Bank on the Card front and the Partner Bank on the
Card back, as specified in the Visa Multinational Program Guide.

ID#: 050411-141010-0026028




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Dynamic Card Verification Value (dCVV)

Effective 15 April 2010, a Card Verification value dynamically generated by a Chip Card for inclusion
in the Authorization message (e.g., as part of the Magnetic-Stripe data).

ID#: 010410-150410-0025503



Dynamic Card Verification Value (dCVV) - U.S. Region

An authentication value for each Contactless Payment Transaction.

ID#: 010410-010410-0024573



Dynamic Currency Conversion (Updated)

Effective through 6 October 2010, the conversion of the purchase price of goods or services from
one currency to another, as agreed to by the Cardholder and Merchant. That currency becomes the
Transaction Currency, regardless of the Merchant’s local currency.

Effective 7 October 2010, the conversion of the purchase price of goods or services from the
currency in which the purchase price is displayed to another currency as agreed to by the Cardholder
and Merchant. That currency becomes the Transaction Currency, regardless of the Merchant’s local
currency.

ID#: 080411-010410-0024574



Dynamic Currency Conversion Transaction Indicator (New)

Effective 15 April 2011, a VisaNet code submitted by the Acquirer in:

• An Authorization Request to indicate that Dynamic Currency Conversion was, or will, be offered to
  the Cardholder
• A Clearing Record to indicate that the Transaction was processed as a Dynamic Currency
  Conversion Transaction

ID#: 050411-071010-0026052



Dynamic Data Authentication

A cryptographic value generated by a Chip on a Card in an offline environment that uses Transaction-
specific data elements and is verified by a Chip-Reading Device to protect against skimming.

ID#: 010410-010410-0024575




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E


Edit Package

The software that Visa supplies to VisaNet Processors to:

• Validate Interchange data
• Process Interchange data sent from the VisaNet Processor to Visa
• Process incoming Transactions received from Visa

ID#: 010410-010410-0024577



Edit Package Run Date - U.S. Region

See Acquirer’s Processing Date.

ID#: 010410-010410-0024578



Edit Package Software - U.S. Region

See Edit Package.

ID#: 010410-010410-0024579



Egregious Violation - U.S. Region (Updated)

Effective through 14 February 2011, a violation that is not necessarily repetitive or a Willful
Violation, yet presents substantial risks to Visa and its Members, threatening to adversely affect the:

• Goodwill associated with the Visa system, brand, products, or services
• Operations of Visa or Members that could cause substantial financial impact

ID#: 050411-010410-0024581



Electronic Capability

Point-of-Transaction Capability where all of the following are true:

• Transaction Authorization is required (or the terminal is capable of reading and acting upon the
  Service Code in the Magnetic Stripe or information provided in the Chip)
• Authorization Response is obtained Online, or as instructed by the Issuer
• Authorization Response and Transaction Receipt data are captured electronically

ID#: 010410-010410-0024582




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Electronic Commerce Merchant

A Merchant that conducts the sale of goods or services electronically over the Internet and other
networks.

ID#: 010410-010410-0024584



Electronic Commerce Merchant Monitoring Program - U.S. Region

A Visa program designed to protect the Visa brand by identifying, and eliminating from the Visa
system, Electronic Commerce Transactions representing the sale of child pornography.

ID#: 010410-010410-0024585



Electronic Commerce Merchant Rate

An Interregional Interchange Reimbursement Fee paid for an Electronic Commerce Transaction that
is conducted by a 3-D Secure-capable Merchant.

ID#: 010410-010410-0024586



Electronic Commerce Transaction

A Transaction between a Merchant and Cardholder over the Internet and other networks using a
Cardholder Access Device. An Electronic Commerce Transaction is one of the following:

• Non-Secure Transaction
• Non-Authenticated Security Transaction
• Secure Electronic Commerce Transaction

ID#: 010410-010410-0024587



Electronic Commerce Transaction - U.S. Region

A Transaction conducted over the Internet or other network using a Cardholder Access Device. An
Electronic Commerce Transaction is one of the following:

• Non-Secure Transaction
• Non-Authenticated Security Transaction
• Secure Electronic Commerce Transaction

ID#: 010410-010410-0024589




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Electronic Commerce Transaction Receipt

A Transaction Receipt provided to the Cardholder by an Electronic Commerce Merchant.

ID#: 010410-010410-0024591



Electronic Imprint

The reading and printing or capture of Card information at a Magnetic-Stripe Terminal or a Chip-
Reading Device.

ID#: 010410-010410-0024593



Electronic Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee paid to or received by a Member for a Transaction that meets
the qualifications in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024594



Electronic Rate

An Interchange Reimbursement Fee charged when the Transaction meets the requirements specified
in "Electronic Rate Qualification."

ID#: 010410-010410-0024597



Electronic Signature - U.S. Region

Effective 13 May 2010, in the U.S. Region, e-mail exchanges directly between Visa and a Member
will constitute a binding contractual agreement between the parties with the same legal force and
effect as a written contract with handwritten signatures, where all of the following are true:

• Within the e-mail exchange, Visa seeks and the Member provides confirmation concerning an
  agreement between the parties or terms and conditions to govern such an agreement
• Visa includes in its request for confirmation:
  - An explicit notice that it intends such e-mail request and confirmation to constitute a binding
    agreement
  - A notice that the Member's confirmation will constitute affirmations that the Member intends the
    e-mail exchange to constitute a binding commitment and that the person providing the e-mail
    confirmation on behalf of the Member is an officer authorized to so bind the Member
  - An explicit time limit for Member's confirmation to be received by Visa in order to be effective
• Within the e-mail exchange, Visa-designated authentication practices are employed by both Visa
  and the Member

ID#: 081010-010100-0025755




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Electronic Transaction Receipt

A Transaction Receipt created electronically in a Card-Present Environment where the terminal
generates the required data that is printed on the Transaction Receipt.

ID#: 010410-010410-0024599



Eligible Cardholder

A Cardholder who has had their Card lost or stolen while traveling outside of their city of residence
and who has reported the loss or theft to the Issuer of the Card as specified in “Visa Global Customer
Assistance Services Program Requirements.”

ID#: 081010-010410-0024601



Emergency Card Replacement

A temporary Visa Card that Visa Global Customer Assistance Services, the Issuer, or its Agent
provides to replace an Eligible Cardholder’s damaged, lost, or stolen Visa Card.

ID#: 081010-010410-0024610



Emergency Cash Disbursement

A Cash Disbursement by a Member or its agent, including Visa, to an Eligible Cardholder who has
reported a Visa Card or Visa TravelMoney Card as damaged, lost, or stolen.

ID#: 081010-010410-0024605



Emergency Payment Authorization Service

A service offered to Visa Infinite Cardholders who need to make Transactions before receiving an
Emergency Card Replacement or Emergency Cash Disbursement. The service provides verbal
Authorization for such emergency travel Transactions.

ID#: 081010-010410-0024608



Emergency Refund Location

The office of a Member where an Emergency Cheque Refund is disbursed.

ID#: 010410-010410-0024609




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Emergency Replacement Visa TravelMoney Card - U.S. Region

A Visa TravelMoney Card that an Issuer provides to replace an Eligible Cardholder’s lost or stolen
Visa TravelMoney Card issued by the same Issuer.

ID#: 010410-010410-0024611



Emergency Service Location

A Visa Issuer-affiliated Branch pre-registered in the Visa Global Customer Assistance Services
Program where an Eligible Cardholder may receive an Emergency Card Replacement or an
Emergency Cash Disbursement.

ID#: 081010-010410-0024612



Emergency Travelers Cheque Refund - U.S. Region

See Emergency Cheque Refund.

ID#: 010410-010410-0024614



Emergency/Travel Services - U.S. Region

Emergency services provided to Eligible Cardholders and Cheque purchasers traveling away from
home. These include:

• Emergency Cash Service
• Emergency Card Replacement Service
• Emergency medical/legal assistance
• Emergency ticket replacement
• Emergency message service
• Auto Rental Insurance
• General travel assistance

ID#: 010410-010410-0024615



EMV

Technical specifications developed (jointly by Europay International, MasterCard International, and
Visa International) to provide standards for processing debit and credit Transactions, and ensure
global interoperability for the use of Chip technology in the payment industry.

ID#: 010410-010410-0024620




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EMV Integrated Circuit Card Specifications for Payment Systems (EMV) - U.S. Region

Technical specifications developed jointly by Europay International, MasterCard International, and
Visa International to provide standards and ensure global interoperability for use of Chip technology
in the payment industry.

ID#: 010410-010410-0024621



EMV PIN Transaction

A Chip-initiated Transaction (excluding ATM Transactions) verified utilizing Online or Offline PIN
Verification.

ID#: 010410-010410-0024624



EMV PIN-Compliant

A Chip-Reading Device that complies with the PIN requirements of the Visa International PIN Entry
Device Testing and Approval Program.

ID#: 010410-010410-0024622



EMV-Compliant

A term used to describe a Card or terminal application that complies with the requirements specified
in the EMV Integrated Circuit Card Specifications for Payment Systems.

ID#: 010410-010410-0024617



EMV-Compliant - U.S. Region

A Card or terminal application that complies with the requirements specified in the EMV Integrated
Circuit Card Specifications for Payment Systems.

ID#: 010410-010410-0024619



Endorsement Date

One of the following dates on a Clearing Record:

• If cleared through BASE II, the Edit Package run date on which a Member submits outgoing
  Interchange
• If cleared through the Single Message System, the Settlement Date
• If cleared under a Private Agreement, the date on which a Member processes outgoing
  Interchange

For BASE II Transactions, the Endorsement Date is no later than the date on which the Member
creates the BASE II Interchange File. For Transactions with indecipherable or invalid Account


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Numbers not cleared through BASE II, the Endorsement Date is the date on which the Transaction
was first entered into Interchange and mailed.

ID#: 010410-010410-0024627



Enhanced Data - U.S. Region

Data provided through Visa to an Issuer in connection with a Commercial Visa Product program.
Such data may include both or either Enhanced Merchant-Level Data or Enhanced Transaction-Level
Data.

ID#: 010410-010410-0024629



Enhanced Merchant-Level Data - U.S. Region

Merchant-related data provided through Visa to an Issuer in connection with a Commercial Visa
Product program. Such data includes:

• Merchant street address
• Merchant telephone number
• Incorporation status
• Owner’s name
• Minority and woman-owned business status
• Taxpayer identification number

ID#: 010410-010410-0024630



Enhanced Transaction-Level Data - U.S. Region

Transaction-related data provided through Visa to an Issuer in connection with a Commercial Visa
Product. Such data includes:

• Accounting code
• Sales tax
• Description of items purchased, cost per unit, number of units
• Vehicle fleet data (vehicle/driver ID, odometer reading)
• Detailed itinerary information (Airline, origination/destination, class of travel)

ID#: 010410-010410-0024631



Enhanced Visa Wordmark - U.S. Region

A Visa-Owned Mark representing the Visa Corporate Identity, consisting of the Visa Logotype
centered above the Comet Design.

ID#: 010410-010410-0024632


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Exception File

A VisaNet file of Account Numbers that a Member accesses Online, for which the Issuer has
predetermined an Authorization Response. The Exception File supports:

• Stand-In Processing
• Positive Cardholder Authorization Service
• Production of the Card Recovery Bulletin

ID#: 010410-010410-0024634



Exception File - U.S. Region

A VisaNet file of Account Numbers for which the Issuer has predetermined an Authorization
Response, that a Member accesses Online.

ID#: 010410-010410-0024635



Excessive Fraud Activity - U.S. Region

Fraud Activity that exceeds Visa-specified parameters.

ID#: 010410-010410-0024637



Expired Card

A Card on which the embossed, encoded, or printed expiration date has passed.

ID#: 010410-010410-0024638



Exported Transaction Receipt

A Transaction Receipt that is deposited outside of the Transaction Country.

ID#: 010410-010410-0024639



Express Return Transaction (New)

Effective 7 October 2010, a Transaction that a Car Rental Company participating in the Priority
Check-out and Express Return Service completes, resulting from completion of an express return
Agreement.

ID#: 050411-071010-0026055




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F


Face-to-Face Environment

An environment where a Transaction is completed under all of the following conditions:

• Card or Proximity Payment Device is present
• Cardholder is present
• Individual representing the Merchant or Acquirer completes the Transaction

Transactions in this environment include the following:

• Retail Transactions
• T&E Transactions
• Manual Cash Disbursements
• Effective through 15 October 2010, Small Ticket Transactions
• Effective 16 October 2010, Visa Easy Payment Service Transactions

Transactions in this environment exclude the following:

• Mail/Phone Order Transactions
• Recurring Transactions
• Unattended Acceptance Terminal Transactions

ID#: 081010-010410-0024643



Face-to-Face Environment - U.S. Region

An environment where a Transaction is completed under all of the following conditions:

• Card is present
• Cardholder is present
• Individual representing the Merchant or Acquirer completes the Transaction

Transactions in this environment include the following:

• Retail Transactions
• Manual Cash Disbursements
• Bill Payment Transactions




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Transactions in this environment exclude the following:

• Electronic Commerce Transactions
• Installment Billing Transactions
• Mail/Phone Order Transactions
• Recurring Transactions
• Cardholder-Activated Terminal Transactions

ID#: 010410-010410-0024644



Fallback Transaction

An EMV Chip Card Transaction initially attempted at a Chip-Reading Device, where the device’s
inability to read the Chip prevents the Transaction from being completed using the Chip Card data,
and the Transaction is instead completed using an alternate means of data capture and transmission.

ID#: 010410-010410-0024645



Fallback Transaction - Canada Region

A Transaction occurring in either:

• An Unattended Environment, regardless of whether Authorization is required
• A Face-to-Face Environment between a Compliant Chip Card and a Compliant Chip Card Reading
  Device that is either:
  - Not completed as a Full Data Transaction
  - Not initiated as a Full Data Transaction

ID#: 010410-010410-0024646



Fast Funds (New)

Effective 9 December 2010, a service that requires a participating Recipient Member to make funds
available to the Cardholder within 30 minutes of receipt and approval of an incoming Money Transfer
Original Credit Transaction initiated as an Online Financial Transaction.

ID#: 050411-091210-0026077



Fee Collection Transaction

A transaction used to collect financial obligations of a Member arising out of the Visa International
Operating Regulations, the Visa International Certificate of Incorporation and Bylaws, other
requirements adopted by the International Board, or otherwise.

ID#: 010410-010410-0024647




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Fictitious Account Number

An account number that never existed.

ID#: 010410-010410-0024648



Fidelity Information Services - U.S. Region (Updated)

Optional features of Visa Advanced ID Solutions that provide Members with debit bureau and fraud
data from the databases of Chex Systems, Inc., a subsidiary of Fidelity Information Services, for use
with respect to applicants for Cards or non-Visa cards and Cardholders or cardholders of non-Visa
cards.

ID#: 050411-010410-0024580



File Correction Service

A service where Visa reverses accepted Interchange files that contain duplications.

ID#: 010410-010410-0024649



Fleet Card - U.S. Region

See Visa Fleet Card - U.S. Region.

ID#: 010410-010410-0024650



Fleet Service

A Visa Commercial Card enhancement that enables a corporation to improve its vehicle fleet
management process.

ID#: 010410-010410-0024651



Fleet Service - U.S. Region

See Visa Fleet Service - U.S. Region.

ID#: 010410-010410-0024652



Flexible Spending Account (FSA) - U.S. Region

See Visa Flexible Spending Account (FSA) - U.S. Region.

ID#: 010410-010410-0024653




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Floor Limit

A currency amount that Visa has established for single Transactions at specific types of Merchant
Outlets and Branches, above which Authorization is required. The Visa International Operating
Regulations refer to 2 Floor Limit types:

• Standard Floor Limit
• Zero Floor Limit

ID#: 010410-010410-0024654



Foreign Branch - U.S. Region

The branch office of a Visa Member located outside the United States.

ID#: 010410-010410-0024655



Foreign Branch Transaction Receipt - U.S. Region

A Transaction Receipt that originates at a Merchant Outlet located outside of the United States and is
deposited to a Foreign Branch.

ID#: 010410-010410-0024656



Foreign Currency

A currency other than local currency.

ID#: 010410-010410-0024657



Fraud Activity

A Transaction that an Issuer reports as fraudulent when either a:

• Fraudulent User used a Card or its Account Number
• Card was obtained through misrepresentation of identification or financial status

ID#: 010410-010410-0024659



Fraudulent User

An individual who is not the Cardholder or designee and who uses a Card (or, in a Mail/Phone Order
or Recurring Transaction, an Account Number) to obtain goods or services without the Cardholder’s
consent.

ID#: 010410-010410-0024658




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Fulfillment (Updated)

A document image that the Acquirer supplies in response to a Retrieval Request.

ID#: 050411-010410-0024661



Full Data Transaction - Canada Region

A Transaction processed using Full Data by Acquirers certified by Visa Canada to process Full Data.

ID#: 010410-010410-0024664



Full-Chip Data

Data that provides:

• EMV minimum mandated requirements
• Visa-specified information necessary to support Online cryptographic validation
• Record of the Card and terminal interactions completed during a Transaction

ID#: 010410-010410-0024662



Full-Chip Data - U.S. Region

Data that provides:

• EMV minimum requirements
• Visa-specified information necessary to support Online cryptographic validation
• Record of the Card and terminal interactions completed during a Transaction

ID#: 010410-010410-0024663



Funds Disbursement Transaction - U.S. Region

A VisaNet transaction used by a Member or Visa to disburse funds to a Clearing Processor.

ID#: 010410-010410-0024665



Funds Transfer Settlement Reporting Entity (New)

Effective 14 October 2010, an endpoint within a Visa Settlement hierarchy associated with one or
more Settlement Reporting Entities.

ID#: 050411-141010-0026048




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G


G2G Merchant - U.S. Region

See Government-to-Government Merchant.

ID#: 081010-041008-0024669



General Member - Canada Region

A customer of Visa Canada in the category of “General Customer” as defined in the Canada Regional
Operating Regulations.

ID#: 010410-010410-0024671



General Member Identification - Canada Region

Any corporate name or Trade Name of the General Member alone or in combination with its
corporate logo.

ID#: 010410-010410-0024672



Global Co-branded Card

A Card that:

• Is issued by one or more Issuers that has a contractual relationship with a Global Co-branding
  Partner
• Bears the Trade Name or Mark of the Global Co-branding Partner on the front of the Card
• May offer a Cardholder tangible benefits for Card usage and loyalty (e.g., rebates, discounts, airline
  miles, etc.)

ID#: 010410-010410-0024675



Global Co-branding Partner

A non-Member that:

• Is not eligible for membership in Visa
• Is a for-profit commercial entity or non-profit organization
• Has a contractual relationship for the issuance of Co-branded Cards:
    - With one or more Issuers
    - In one or more Visa Regions and countries

ID#: 010410-010410-0024676




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Global Co-branding Partnership

A contractual relationship between an Issuer and a Global Co-branding Partner.

ID#: 010410-010410-0024677



Global Member Billing Solution - U.S. Region

The primary billing system used by Visa (formerly Visa Integrated Billing System).

ID#: 010410-010410-0024680



Global Merchant Chargeback Monitoring Program

Effective 1 June 2010, a program that monitors International Transactions and international
Chargebacks to identify Merchants and Acquirers that cause undue economic and goodwill damage
to the Visa system.

ID#: 081010-010410-0024681



Global Refund Service

A Visa service that assists Cheque purchasers whose Cheques are lost or stolen.

ID#: 010410-010410-0024682



Government-to-Government Merchant - U.S. Region

A federal government agency that has been properly assigned Merchant Category Code 9399 or
9402 and registered with Visa.

ID#: 081010-041008-0024684



Group Member

A Member as defined under the Visa International Certificate of Incorporation and Bylaws, Section
2.21.

ID#: 010410-010410-0024685



GSA Government-to-Government (G2G) Interchange Reimbursement Fee - U.S.
Region

An Interchange Reimbursement Fee paid to, or received by, a Member for a GSA G2G Transaction
processed as specified in "GSA Government-to-Government IRF - General."

ID#: 081010-041008-0024686




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GSA Government-to-Government (G2G) Transaction - U.S. Region

A Transaction completed at a Merchant that is properly assigned Merchant Category Code 9399 or
9402, with a Visa Purchasing Card that is issued to federal government agencies by an Issuer
contracted with the General Services Administration, as specified in "GSA Government-to-
Government IRF - General."

ID#: 081010-041008-0024687



GSA Government-to-Government (G2G) Program - U.S. Region (Updated)

A General Services Administration program that allows eligible federal government Merchants
properly assigned Merchant Category Code 9399 or 9402 and registered with Visa to process GSA
Visa Purchasing Card Transactions and qualify for the GSA G2G Interchange Reimbursement Fee.

ID#: 050411-041008-0024688



GSA Large Ticket Transaction - U.S. Region

A Transaction completed with a Visa Purchasing Card that is issued to federal government agencies
by an Issuer contracted with the General Services Administration and meets the requirements
specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024689



GSA Large Ticket Transaction Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee paid to or received by a Member for a GSA Large Ticket
Transaction processed as specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024690



Guest Folio

A Hotel’s or Cruise Line’s guest file.

ID#: 010410-010410-0024691



Guest Folio - U.S. Region

The guest file of a Lodging Merchant or Cruise Line.

ID#: 010410-010410-0024692




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H


Health Care Eligibility Service - U.S. Region

A VisaNet service through which a Health Care Merchant may verify an individual’s health care
coverage and co-payment amount, if applicable.

ID#: 010410-010410-0024697



Health Care Merchant - U.S. Region

A Merchant, other than a pharmacy, whose primary business is providing health care services. A
Health Care Merchant is identified by the following Merchant Category Codes: 4119, 5975, 5976,
7277, 8011, 8021, 8031, 8041, 8042, 8043, 8044, 8049, 8050, 8062, 8071, and 8099.

ID#: 010410-010410-0024698



Health Reimbursement Account (HRA) - U.S. Region

See Visa Health Reimbursement Account (HRA) - U.S. Region.

ID#: 010410-010410-0024699



Health Savings Account (HSA) - U.S. Region

See Visa Health Savings Account (HSA) - U.S. Region.

ID#: 010410-010410-0024700



Healthcare Auto-Substantiation - U.S. Region

A process that enables an Issuer to automatically substantiate the dollar amount of the qualifying
medical purchases in the Authorization Request for a Visa Flexible Savings Account (FSA) or a Visa
Health Reimbursement Account (HRA) Transaction. Issuers of these Cards and any Agents that
process Transactions for such Cards must perform Healthcare Auto-Substantiation.

ID#: 010410-010410-0024696



High-Risk Electronic Commerce Merchant

An Electronic Commerce Merchant identified by the Global Merchant Chargeback Monitoring
Program or other Visa risk management initiatives (e.g., Merchant Fraud or similar region-specific
programs) that causes undue economic and goodwill damage to the Visa system.

ID#: 010410-010410-0024701




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High-Risk Internet Payment Service Provider - U.S. Region

An Internet Payment Service Provider that:

• Enters into a contract with an Acquirer to provide payment services to Sponsored Merchants
• Includes one or more Sponsored Merchants required to be classified with Merchant Category Code
  5967 ("Direct Marketing—Inbound Teleservices Merchant") in its Sponsored Merchant portfolio

ID#: 010410-010410-0024702



High-Risk Sponsored Merchant - U.S. Region

An electronic commerce merchant required to be classified with Merchant Category Code 5967
("Direct Marketing—Inbound Teleservices Merchant") that contracts with an Internet Payment Service
Provider to obtain payment services.

ID#: 010410-010410-0024705



High-Risk Telemarketing Merchant

A Merchant whose business includes telemarketing activity that presents financial or goodwill risk to
Visa or the Visa-Owned Marks. The Visa International Operating Regulations refer to the following as
High-Risk Telemarketing Merchants:

• Direct marketing travel-related arrangement services
• Inbound teleservices
• Outbound telemarketing

Visa may change the definition of a High-Risk Telemarketing Merchant to include additional Merchant
categories.

ID#: 010410-010410-0024706



Hotel

A hotel Merchant.

ID#: 010410-010410-0024708



Hotel Reservation Service

A Visa Hotel service where a Cardholder may use a Visa Card to guarantee overnight
accommodations.

ID#: 010410-010410-0024709




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I


iCVV - U.S. Region

An alternate Card Verification Value that an Issuer may encode on a Chip instead of the standard
Card Verification Value contained in the Magnetic Stripe of the Chip Card.

ID#: 010410-010410-0024710



ID Score Plus - U.S. Region

An optional feature of Visa Advanced ID Solutions that provides Members with a score and related
reason code(s) provided by ID Analytics, Inc. that assesses the risk associated with an identity in
connection with an application for a Card or non-Visa card, or other Visa or non-Visa product.

ID#: 010410-010410-0024711



ID Security Alerts Service – U.S. Region

Effective 12 August 2010, an optional Visa service that identifies and protects consumers from the
risk of consumer credit application fraud through the use of the Visa Advanced ID Solutions database.

ID#: 081010-010100-0025925



Imprint

Cardholder data transferred from a Card to a Transaction Receipt to complete a Transaction. There
are 2 kinds of imprints:

• Electronic Imprint
• Manual Imprint

ID#: 010410-010410-0024713



In-Transit Service

A service provided on board a passenger transport vehicle that may include the purchase of goods or
services (e.g., movie rentals, catalog purchases, gambling).

ID#: 010410-010410-0024714



In-Transit Service Gambling Merchant

A Merchant that provides any form of gambling while in transit.

ID#: 010410-010410-0024715




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In-Transit Service Merchant

A Merchant that provides in-transit services as specified in "In-Transit Service - General
Requirements."

ID#: 010410-010410-0024716



In-Transit Service Transaction

The purchase of goods, services, or gambling on board a passenger transport vehicle.

ID#: 010410-010410-0024717



In-Transit Terminal

A Cardholder-Activated Terminal located on a vehicle designed to transport passengers (e.g., an
aircraft or cruise ship) that may be used for the purchase of goods, services, or gambling.

ID#: 010410-010410-0024718



Inbound Teleservices - U.S. Region

Non-business-to-business audiotext/videotext and or digital content services accessed via telephone,
fax, or over an open network, such as the Internet, for the purchase of services or information
including, but not limited to, pay-per-call services such as:

• Psychic readings
• Sports scores
• Stock market quotes

ID#: 010410-010410-0024719



Independent Contractor - U.S. Region

An individual whose bank card-related business relationship with a Member or Third Party involves
any of the following:

• Merchant solicitation, sales, or service
• Merchant Transaction processing solicitation
• Cardholder solicitation or Card application processing services

ID#: 010410-010410-0024720




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Input Date

The Edit Package run date on which a Member submits outgoing Interchange, or, for Domestic
Transactions, the date on which the Member processes outgoing Interchange.

ID#: 010410-010410-0024722



Installment Billing Transaction - U.S. Region (Updated)

A single purchase of goods that:

• Is divided into 2 or more installment payment Transactions
• Originates at a Mail/Phone Order or Electronic Commerce Merchant
• Is authorized and processed as specified in “Installment Billing Transaction Option – U.S. Region.”

ID#: 050411-010410-0024723



Installment Transaction

The single purchase of goods or services billed to an account in multiple segments, over a period of
time agreed to between a Cardholder and a Merchant.

ID#: 010410-010410-0024724



Instant Card Personalization Issuance (Updated)

The ability to instantly personalize Visa cards as a customer waits or to respond immediately to a
request for an emergency replacement of a Cardholder's lost or stolen card.

ID#: 050411-010100-0025525



Instant Card Personalization Issuance Agent (Updated)

A Third Party Agent that performs instant card personalization and issuance for an Issuer.

ID#: 050411-010100-0025526



Instant/Remote Issuance - U.S. Region

The instant issuance of Visa Card products at a location other than a Member’s card manufacturing
facility (e.g., a branch office).

ID#: 010410-010410-0024725




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Integrated Circuit Card

See Chip Card.

ID#: 010410-010410-0024726



Integrated Circuit Card Terminal

See Chip-Reading Device.

ID#: 010410-010410-0024727



Integrated Circuit Chip

See Chip.

ID#: 010410-010410-0024728



Interchange

The exchange of Clearing Records between Members. The Visa International Operating Regulations
refers to the following types of Interchange:

• Domestic Interchange
• International Interchange

ID#: 010410-010410-0024729



Interchange Authorization Limit

The amount over which a manual authorizer must obtain an Authorization from an Issuer on a
proposed Transaction or group of Transactions initiated on the same day by the same Cardholder.

ID#: 010410-010410-0024731



Interchange File

An electronic file containing a Member’s Interchange data.

ID#: 010410-010410-0024732



Interchange Reimbursement Fee

A fee reimbursed by an Acquirer to an Issuer in the Clearing and Settlement of an Interchange
Transaction.

ID#: 010410-010410-0024733



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Interchange Reimbursement Fee - U.S. Region

One of the following:

• A fee that an Acquirer pays to an Issuer in the Clearing and Settlement of an Interchange
  Transaction
• A fee that an Issuer pays to an Acquirer for making a Cash Disbursement to a Cardholder or
  Cheque purchaser

ID#: 010410-010410-0024734



Interchange Reimbursement Fee Compliance

A process where Visa resolves disputes between Members for a Member’s violation of the Visa
International Operating Regulations or Regional Operating Regulations that causes an incorrect
Interchange Reimbursement Fee rate to be applied to a large number of Transactions, resulting in a
financial loss to another Member.

ID#: 010410-010410-0024735



Interchange Reimbursement Fee Compliance Screening

A Member’s request for permission to file Interchange Reimbursement Fee Compliance against
another Member.

ID#: 010410-010410-0024736



Intercompany Interchange Reimbursement Fee Compliance (New)

Effective 13 January 2011, a process by which Members of Visa Inc. and Visa Europe can resolve
disputes and recover financial losses caused by the application of an incorrect Interchange
Reimbursement Fee resulting from a violation of either the Visa International Operating Regulations
by a Visa Inc. Member or Visa Europe Operating Regulations by a Visa Europe Member. The process
is only available for cross-border Transactions between Visa Inc and Visa Europe.

ID#: 050411-130111-0026214



Interlink Program

A program through which an Interlink participant (acting as an Interlink issuer) provides Point-of-
Transaction services to Interlink cardholders, to Interlink merchants, or both, as specified in the
Interlink Network, Inc. Bylaws and Operating Regulations and the Visa International Operating
Regulations.

ID#: 010410-010410-0024737




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Interlink Program Marks

The Interlink Mark, Network Design Mark, and any other service Marks adopted by Visa for use with
the Interlink Program.

ID#: 010410-010410-0024738



Interlink Symbol - U.S. Region

The combination of the Interlink Wordmark and Network Design Mark. One of the Interlink Program
Marks.

ID#: 010410-010410-0024739



Interlink Wordmark - U.S. Region

A Mark comprising the word “Interlink.” One of the Interlink Program Marks.

ID#: 010410-010410-0024740



Intermediary Bank

A depository institution, specified by a Member or by Visa, through which a Settlement funds transfer
must be processed for credit to a Settlement account at another depository institution.

ID#: 010410-010410-0024741



International Airline

Either:

• An Airline that sells tickets directly in its own name in 2 or more countries, or operates scheduled
  flights between 2 or more countries, or both
• Its authorized agent that sells airline tickets on behalf of the Airline

ID#: 010410-010410-0024742



International Airline Transaction - U.S. Region

A Transaction completed at an International Airline participating in the International Airline Program.

ID#: 010410-010410-0024743




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International Automated Referral Service

A VisaNet service that enables a VisaNet Processor to obtain an immediate reply to a Referral
Response.

ID#: 010410-010410-0024745



International Board

The Visa International Board of Directors.

ID#: 010410-010410-0024746



International Interchange

Interchange of an International Transaction.

ID#: 010410-010410-0024747



International Service Assessment

A fee charged to the Issuer and Acquirer for each International Transaction.

ID#: 081010-010410-0024749



International Service Center - U.S. Region

See Visa Customer Care Services - U.S. Region.

ID#: 010410-010410-0024750



International Transaction

A Transaction where the Issuer of the Card used is not located in the Transaction Country.

ID#: 010410-010410-0024752



Internet Domain Name - U.S. Region

A network name associated with an organization, such as “Visa.com,” “Visabank.com,” or
“Merchantnamevisa.com.”

ID#: 010410-010410-0024755




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Internet Domain Name-Visa Simple

An Internet domain name consisting of the name “Visa” used alone, such as:

• “Visa.xx”
• “Visa.com”
• “Visa.net”
• “Visa.org.xx”

ID#: 010410-010410-0024758



Internet Payment Service Provider (IPSP)

An online entity that contracts with an Acquirer to provide payment services to a Sponsored
Merchant.

ID#: 010410-010410-0024759



Internet Payment Service Provider Agreement

A Merchant Agreement between an Internet Payment Service Provider and an Acquirer containing
their respective rights, duties, and obligations for participation in the Acquirer’s Visa Program.

ID#: 010410-010410-0024760



Interregional Interchange

Interchange for an Interregional Transaction.

ID#: 010410-010410-0024761



Interregional Transaction

A Transaction where the Issuer of the Card used is not located in the Transaction Region.

ID#: 010410-010410-0024762



Intraregional Transaction

A Transaction where the Issuer of the Card used is located in the Transaction Region, but not in the
Transaction country.

ID#: 010410-010410-0024763




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IPSP (Internet Payment Service Provider)

See Internet Payment Service Provider.

ID#: 010410-010410-0024767



Issuer

A Member that enters into a contractual relationship with a Cardholder for the issuance of one or
more Card products.

ID#: 010410-010410-0024768



Issuer Chip Rate

An Interregional Interchange Reimbursement Fee reimbursed to an Issuer for any Transaction that
meets the Electronic Rate requirements and is completed with a Card issued by an Issuer that has
converted 50% of a designated BIN(s) or Account Number range of a Visa Card Program or Visa
Electron Card Program to Visa Smart Payment, and is conducted at a Magnetic-Stripe Terminal.

ID#: 010410-010410-0024770



Issuer Limit

An Issuer-specified amount limit that determines how a Transaction will be authorized. Visa routes a
Transaction as follows, based on the Transaction amount:

• Amount at or above the Issuer Limit, to the Issuer or its VisaNet Processor
• Amount below the Issuer Limit, to Stand-In Processing using the Positive Cardholder Authorization
  Service

ID#: 010410-010410-0024771



Issuers' Clearinghouse Service - U.S. Region

A service developed jointly by Visa and MasterCard Worldwide that is designed to reduce Member
losses from excessive credit applications and unauthorized use.

ID#: 081010-010410-0024769



J


No glossary terms available for J.

ID#: 010410-010410-0025512




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K


Key Management Service

A service that Visa provides to process, store, and transmit Member keys associated with the security
algorithm used in the V.I.P. System to protect the security of PINs.

ID#: 010410-010410-0024773



L


LAC

Latin America and Caribbean.

ID#: 010410-010410-0024774



Late Settlement Fee

The fee that Visa collects from a Member for failure to transfer the Settlement Amount to the Visa
Settlement Bank on the date due.

ID#: 010410-010410-0024775



Lead Bank (New)

Effective 14 October 2010, a Visa Multinational Program participant that initiates Multi-Country
Issuing on behalf of a Multinational Company client.

ID#: 050411-141010-0026026



Lead Region

A Region where a Global Co-branding Partnership is initiated.

ID#: 010410-010410-0024776



Level 4 Merchant in Australia and New Zealand – AP Region (Updated)

A Merchant in Australia or New Zealand processing fewer than 20,000 Visa Electronic Commerce
Transactions annually or fewer than 1 million cumulative Visa Transactions annually.

ID#: 080411-060111-0026187




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Level II Enhanced Data - U.S. Region

Data provided to Visa in connection with a Commercial Visa Product Transaction that includes the
sales tax amount, customer code (i.e., cost center, general ledger number, order/invoice number),
and additional data for T&E Transactions, as specified in the U.S. Interchange Reimbursement Fee
Rate Qualification Guide.

ID#: 010410-010410-0024778



Level III Enhanced Data - U.S. Region

Data provided to Visa in connection with a Commercial Visa Product Transaction that includes full line
item detail and additional data for T&E Transactions, as specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 010410-010410-0024777



Liability

As specified in the Visa International Operating Regulations , any liability under any theory or form of
action whatsoever, in law or in equity, including, without limitation, contract or tort, including
negligence, even if the responsible party has been notified of the possibility of such damages. The
term also includes liability for infringement of others’ intellectual property rights or any liability for
Claims of third parties.

ID#: 010410-010410-0024779



Licensee

An entity licensed to participate in the Visa or Visa Electron Program that is neither a:

• Member
• Member or owner of a Group Member

ID#: 010410-010410-0024780



Limited Acceptance - U.S. Region

A term describing a Merchant’s option to accept one category of Visa Cards and not another.
Categories consist of:

• Visa Credit and Business Category
• Visa Debit Category

ID#: 010410-010410-0024784




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Limited Acceptance Merchant - U.S. Region

A category of Merchant that accepts either, but not both, of the following:

• Visa Credit and Business Category Cards
• Visa Debit Category Cards

ID#: 010410-010410-0024785



Limited-Amount Terminal

See Unattended Acceptance Terminal and Cardholder-Activated Transaction Type A.

ID#: 010410-010410-0024781



Limited-Amount Terminal - U.S. Region

A Cardholder-Activated Terminal that has Data Capture-Only Capability, and accepts payment for
items such as:

• Parking garage fees
• Road tolls
• Motion picture theater entrance
• Magnetic-Stripe Telephones

Only merchants in the following merchant categories qualify to submit transactions initiated at a
limited-amount terminal:

• 4111, "Local and Suburban Commuter Passenger Transportation, Including Ferries"
• 4112, "Passenger Railways"
• 4131, "Bus Lines"
• 4784, "Tolls and Bridge Fees"
• 7523, "Parking Lots and Garages"

ID#: 010410-010410-0024782



Limited-Amount Terminal Transaction - U.S. Region

A Transaction that originated at a Limited-Amount Terminal through use of a Card encoded with a
valid Service Code for the Transaction.

ID#: 010410-010410-0024783




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Listed Card

A Card whose Account Number is listed on the Exception File.

ID#: 010410-010410-0024786



Load Acquirer

A Member financial institution or its agent that operates Load Devices and support systems that allow
consumers to:

• Load value to a reloadable Visa Cash Card
• Unload value from a reloadable Visa Cash Card, where applicable

ID#: 010410-010410-0024787



Load Device

An ATM or stand-alone device that a Cardholder uses to add or remove value from a stored value
application on a Chip Card.

ID#: 010410-010410-0024788



Load Transaction

A means of adding monetary value to a Card at a Point-of-Transaction Terminal or ATM.

ID#: 010410-010410-0024791



Load Transaction Receipt

A Transaction Receipt generated at an ATM or Load Device as a result of a Cardholder adding
monetary value to a Chip Card.

ID#: 010410-010410-0024792



Location Code - U.S. Region

A unique code identifying either a Point-of-Transaction Terminal or Merchant Outlet where a
Transaction originates.

ID#: 010410-010410-0024793




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Lodging Merchant - U.S. Region

A Merchant that sells overnight accommodations, intended for a limited period of time, at a fixed
location.

ID#: 010410-010410-0024794



Logotype

A Wordmark depicted in stylized lettering.

ID#: 010410-010410-0024795



Lost/Stolen Card and Emergency Card Replacement Passthrough Service - U.S.
Region

An optional service to assist Members in directly handling Cardholder requests for emergency
services. An Issuer that subscribes to the passthrough service determines the circumstances in which
Visa Customer Care Services will transfer Cardholder inquiries resulting from lost or stolen Cards and
requests for Emergency Card Replacements directly to the Issuer.

ID#: 081010-010410-0024797



Lost/Stolen Card Reporting Service - U.S. Region

A VisaNet service provided for an Issuer’s Authorizing Processor when a Visa Card, Visa Electron
Card, or Visa TravelMoney Card is reported lost or stolen to a VisaNet Authorization operator.

ID#: 010410-010410-0024798



M


Magnetic Stripe

A magnetic stripe on a Card that contains the necessary information to complete a Transaction.

ID#: 010410-010410-0024808



Magnetic-Stripe Card

A Card bearing a Magnetic Stripe that contains the necessary information to complete a Transaction.

ID#: 010410-010410-0024801




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Magnetic-Stripe Data

Data contained in a Magnetic Stripe and replicated in a Chip.

ID#: 010410-010410-0024802



Magnetic-Stripe Image

The minimum Chip payment data replicating the Magnetic Stripe information required to process an
EMV-Compliant Transaction.

ID#: 010410-010410-0024803



Magnetic-Stripe Telephone

An Unattended Acceptance Terminal that may be capable of supporting Cardholder-Activated
Transaction Type A, Cardholder-Activated Transaction Type B, or Cardholder-Activated Transaction
Type C (as determined by Transaction elements, i.e., Authorization, PIN acceptance, Transaction
amount) that accepts a Visa Card as payment for a telephone call.

ID#: 010410-010410-0024804



Magnetic-Stripe Telephone - U.S. Region

A Limited-Amount Terminal that accepts a Visa Card as payment for a telephone call.

ID#: 010410-010410-0024805



Magnetic-Stripe Terminal

A terminal that reads the Magnetic Stripe on a Card.

ID#: 010410-010410-0024806



Magnetic-Stripe Terminal - U.S. Region

A Point-of-Transaction Terminal that reads the Magnetic Stripe on a Card and that additionally may
read Contactless Payment Card data via a wireless interface.

ID#: 010410-010410-0024807



Magnetic-Stripe-Reading Terminal - U.S. Region

See Magnetic-Stripe Terminal.

ID#: 010410-010410-0024800




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Mail/Phone Order Merchant

A Merchant that completes a Mail/Phone Order Transaction.

ID#: 010410-010410-0024809



Mail/Phone Order Transaction

A Transaction where a Cardholder orders goods or services from a Merchant by telephone, mail, or
other means of telecommunication, and neither the Card nor the Cardholder is present at the
Merchant Outlet.

ID#: 010410-010410-0024810



Mail/Telephone Order, Recurring, Installment Billing, or Electronic Commerce
Transaction Indicator - U.S. Region

A VisaNet code that identifies a Transaction as one of the following:

• Mail order Transaction
• Electronic Commerce Transaction
• Phone order Transaction
• Recurring Transaction
• Installment Billing Transaction
• Other Mail/Phone Order-type Transaction

ID#: 010410-010410-0024811



Manual Cash Disbursement

A Cash Disbursement obtained with a Visa Card or Visa Electron Card in a Face-to-Face
Environment.

ID#: 010410-010410-0024814



Manual Imprint

An imprint of the embossed data on the front of the Card taken with a Manual Imprinter. A Manual
Imprint must not consist of an impression taken from the Card using pencil, crayon, or other writing
instrument.

ID#: 010410-010410-0024815




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Manual Imprinter - U.S. Region

A mechanical device specifically designed to transfer the embossing on a Card and Merchant plate to
a Sales Draft.

ID#: 010410-010410-0024816



Manual Transaction Receipt

A Transaction Receipt created when an Account Number is transferred to the Transaction Receipt
without the use of electronic means in a manual or semi-electronic environment.

ID#: 010410-010410-0024817



Mark

A word, name, design, symbol, or other device, or any combination thereof, that Visa or any entity
adopts to identify its goods or services.

ID#: 010410-010410-0024818



mChek (mChek India Payment Systems Pvt. Ltd.) - AP Region (New)

A technology provider in India that is partnering with Visa.

ID#: 050411-010100-0026180



mChek Platform - AP Region (New)

A platform that is being used for domestic Visa mobile commerce Transactions in India.

ID#: 050411-010100-0026181



Member

Effective 1 June 2010, a client of Visa U.S.A., Visa International, Visa Worldwide, or a customer
which has entered into a Services Agreement with Visa Canada. Requirements for membership are
defined in the applicable Certificate of Incorporation and Bylaws.

ID#: 010410-010410-0024822



Member Message Field

A text field in the VisaNet record of a Chargeback or Representment that contains pre-formatted
messages.

ID#: 010410-010410-0024825


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Membership Application - U.S. Region

The set of forms and/or documents containing rights, duties, obligations, and disclosures which, when
signed and submitted by an authorized officer of a financial institution to become a Visa Member,
represent a contractual obligation between Visa and such Member, under which the Member will be
bound.

ID#: 010410-010410-0024823



Merchant (Updated)

An entity that contracts with an Acquirer to originate Transactions and that is eligible to display a
Visa-Owned Mark.

ID#: 050411-010410-0024828



Merchant Agreement

A contract between a Merchant and an Acquirer containing their respective rights, duties, and
obligations for participation in the Acquirer’s Visa or Visa Electron Program.

ID#: 010410-010410-0024830



Merchant Alert Service

A regional risk management service that requires a participating Acquirer to both:

• Submit information about a Merchant it has terminated
• Verify, before signing, that a Merchant is not listed with the service

ID#: 010410-010410-0024831



Merchant Bank

A Member as defined under the Visa International Certificate of Incorporation and Bylaws, Section
2.07.

ID#: 010410-010410-0024832



Merchant Category Code

A code designating the principal trade, profession, or line of business in which a Merchant is
engaged, as specified in the Visa Merchant Data Standards Manual.

ID#: 010410-010410-0024834




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Merchant Certificate

An electronic document used to authenticate a Merchant in an Electronic Commerce Transaction.

ID#: 010410-010410-0024835



Merchant Descriptor - U.S. Region

A term describing the aggregate of the BIN, Merchant name, Merchant city, Merchant state, and
Merchant Category Code fields contained in an Authorization Request or Clearing Record, as
specified in the:

• "VisaNet Clearing Message Content Standards" (Exhibit NN)
• "Required Data for Authorization Requests and Responses" (Exhibit OO)
• Appropriate VisaNet manuals

A Merchant Outlet may have one or more Merchant Descriptors.

ID#: 010410-010410-0024837



Merchant Fraud Performance Program

A fraud management program used to identify Merchants with excessive fraud levels.

ID#: 010410-010410-0024839



Merchant Outlet

Either:

• The physical premises of a Merchant at which a Transaction is completed
• For an Electronic Commerce or Mail/Phone Order Merchant, the country where all of the following
  occur:
  - There is a Permanent Establishment through which Transactions are completed. In the absence
    of a Permanent Establishment, a Merchant that provides only digital goods must use the country
    where the principals of the company work.
  - The Merchant holds a valid business license for the Merchant Outlet
  - The Merchant has a local address for correspondence and judicial process
  - The Merchant Outlet pays taxes relating to the sales activity

ID#: 010410-010410-0024842




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Merchant Plug-In (MPI) Client Certificate - Canada Region

A unique electronic cryptogram used to authenticate an Electronic Commerce Merchant that has
enrolled in 3-D Secure (commonly known as the Verified by Visa program).

ID#: 010410-010410-0024844



Merchant Verification Value (MVV) (Updated)

Effective 1 January 2011, an assigned value transmitted in the Transaction message used by Visa
to identify an Acquirer or Merchant who is registered with Visa

The MVV consists of 10 digits, the first 6 of which are assigned by Visa.

ID#: 080411-010111-0026121



Merger

Effective 1 June 2010, a term used to describe any of the following:

• Purchase of a Member organization by another organization where the acquired Member's charter
  is dissolved
• Merging of two or more organizations into a single entity requiring a new charter

ID#: 010410-010100-0025531



Message Processing Service - U.S. Region

An Authorization service that the V.I.P. System provides in response to an Authorization Request
entered into the V.I.P. System by a Member, an Authorizing Merchant, or a VisaNet Authorization
center.

ID#: 010410-010410-0024849



Minimum Spending Limit – AP Region

The ability for Cardholders to accumulate charges of predefined value during each or any statement
cycle. For products with debit capabilities, Minimum Spending Limit is subject to available funds in the
account of the Cardholder.

ID#: 081010-010310-0025673



Misembossed Card

A valid Card on which erroneous information is embossed.

ID#: 010410-010410-0024850




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Misencoded Card

A valid Card on which erroneous information is encoded.

ID#: 010410-010410-0024851



Money Transfer Original Credit Program (Updated)

Effective 9 December 2010, a Visa program that allows a Member to offer funds transfer services to
its Visa Cardholders or other consumers resulting in a credit to the recipient Cardholder’s Visa
account, as specified in Original Credits Member Requirements or the Visa Money Transfer (VMT)
Global Implementation Guide.

ID#: 080411-091210-0026080



Money Transfer Original Credit Program - U.S. Region (Updated)

Effective 15 February 2010 through 8 December 2010, a Visa program that allows a Member to
offer person-to-person funds transfer services to its Visa Cardholders or other consumers resulting in
a credit to the recipient Cardholder's Visa account, as specified in the Visa Money Transfer (VMT)
Global Implementation Guide.

ID#: 050411-150210-0025682



Money Transfer Original Credit Transaction (Updated)

A funds transfer Transaction initiated by a Member that results in a credit to a Visa Account Number
for a purpose other than refunding a Visa purchase (e.g., overseas remittances, gift transfers, Visa
Card payments), as specified in Original Credits Member Requirements or the Visa Money Transfer
(VMT) Global Implementation Guide.

ID#: 080411-010100-0026081



Money Transfer Original Credit Transactions - U.S. Region (Updated)

Effective 15 February 2010 through 8 December 2010, a person-to-person funds transfer
Transaction initiated by a Member for a consumer's personal use that results in a credit to a Visa
Account Number for a purpose other than refunding a Visa purchase (e.g., overseas remittances, gift
transfers, Visa Card payments), as specified in the Visa Money Transfer (VMT) Global
Implementation Guide.

ID#: 050411-150210-0025683



MoneyChoices - U.S. Region

An optional Visa program that provides Members with an Internet-based educational resource for
Visa Cardholders in need of financial planning or money-management skills.

ID#: 010410-010410-0024852


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Multi-Country Issuing (New)

Effective 14 October 2010, within the Visa Multinational Program, a scenario in which a Lead Bank
forms a relationship with a Partner Bank located in another country for the purpose of issuing Visa
Commercial Card products to its Multinational Company clients. Multi-Country Issuing is identified in
the Visa Multinational Program Guide as "Indirect Cross-Border Issuing."

ID#: 050411-141010-0026027



Multi-Currency Priced Transaction (New)

Effective 9 September 2010, a Transaction in which a Merchant displays the price of goods or
services in a currency or currencies other than, or in addition to, the Merchant's local currency. No
Dynamic Currency Conversion is conducted.

ID#: 050411-090910-0025996



Multinational Company

A commercial organization with operations, subsidiaries, and employees situated in more than one
country (excluding franchise representatives, independently owned dealers, and joint ventures in
which a Multinational Company participates), as specified in the Visa Multinational Program Guide.

ID#: 010410-010410-0024854



N


National Card Recovery Bulletin

A special edition of the Card Recovery Bulletin that lists domestic Account Numbers in addition to
other applicable listings.

ID#: 010410-010410-0024856



National Card Recovery File

A weekly file of all Visa account numbers listed on the Exception File with a Pickup Response. (See
the VisaNet manuals.)

ID#: 010410-010410-0024857



National Office

A Visa office with jurisdiction over a single country.

ID#: 010410-010410-0024861




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National Operating Regulations

The operating regulations of a National Office.

ID#: 010410-010410-0024862



National Organization

An organization as defined under the Visa International Certificate of Incorporation and Bylaws,
Section 16.01.

ID#: 010410-010410-0024863



Net Sales - U.S. Region

In calculation of Interchange Reimbursement Fees, Transaction Receipt totals less Credit Transaction
Receipt totals.

ID#: 010410-010410-0024867



Network Design Mark - U.S. Region

A Visa-owned service Mark used in the Interlink Program.

ID#: 010410-010410-0024866



New Channel

An environment in which payment is initiated via a Cardholder Access Device or other device that
does not use a standard Hypertext Markup Language (HTML) browser to process an Authentication
Request.

ID#: 010410-010410-0024868



No-Show Transaction

A Transaction that a Hotel participating in the Hotel Reservation Service or a Car Rental Company
participating in the Specialized Vehicle Reservation Service completes, resulting from a Cardholder’s
alleged failure to cancel or use the reservation.

ID#: 010410-010410-0024869




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No-Show Transaction - U.S. Region

A Transaction resulting from a Cardholder’s alleged failure to cancel or use the reservation completed
by either a:

• Lodging Merchant participating in the Visa Reservation Service
• Car Rental Company participating in the Visa Reservation Service

ID#: 010410-010410-0024870



Non-Authenticated Security Transaction

An Electronic Commerce Transaction that uses data encryption for security but is not authenticated
using an Authentication Method.

ID#: 010410-010410-0024871



Non-Confidential Enhanced Merchant-Level Data - U.S. Region

Merchant-related data provided through Visa to an Issuer in connection with a Commercial Visa
Product, comprising only the following data elements:

• Merchant name
• Merchant street address
• Merchant city, state, and ZIP code
• Merchant telephone number

ID#: 010410-010410-0024872



Non-member - Canada Region

An entity that is not eligible to be a customer of Visa.

ID#: 010410-010410-0024874



Non-member Identification - Canada Region

The name or Trade Name alone or in combination with the Corporate logo or Mark of a Non-member.

ID#: 010410-010410-0024875




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Non-Member Licensee - U.S. Region

An entity that:

• Is licensed to participate in the Visa or Visa Electron Program in a country outside of the United
  States and is not a Member of Visa
• Has the privileges and obligations of Interchange in the Visa or Visa Electron Program, as
  applicable

ID#: 010410-010410-0024876



Non-Participation Message

A message to a 3-D Secure Merchant indicating that the Issuer or Cardholder, represented by either
of the following, does not participate in 3-D Secure:

• Issuer BIN
• Account Number

ID#: 010410-010410-0024878



Non-Registered Country

A country for which Visa has not given written permission for an Acquirer to accept International
Airline Transactions.

ID#: 010410-010410-0024879



Non-Reloadable Card

A Visa Prepaid Card that is funded with monetary value only once.

ID#: 081010-010410-0024880



Non-Secure Transaction

An Electronic Commerce Transaction that has no data protection.

ID#: 010410-010410-0024881



Non-Settled Advice

A text message available to Members that specifies the count and amount of Clearing Records
processed in Domestic Interchange.

ID#: 010410-010410-0024882




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Non-Standard Card

A Visa Card or Visa Electron Card that does not comply with the plastic specifications in the Visa
Product Brand Standards, requires Visa approval, and must:

• Provide the designated level of utility promised to the Cardholder
• Contain the physical elements and data components required to complete a Transaction

ID#: 010410-010410-0024883



Non-Visa Debit Transaction - U.S. Region

An act between a Visa Check Card or Visa Debit Card Cardholder and a merchant that results in the
generation of a transaction on a PIN-Debit Network.

ID#: 010410-010410-0024885



Non-Visa-Owned Marks

The Marks used in conjunction with a program sponsored by Visa, but owned by a third party.

ID#: 010410-010410-0024884



Nonfulfillment Message

A response to a Retrieval Request indicating that the Acquirer will not provide a copy through an
electronic document transfer method.

ID#: 010410-010410-0024886



Notification (Updated)

Effective through 14 February 2011, written notice delivered by mail, courier, facsimile, telex, or
hand. Notification is effective when posted, sent, or transmitted by Visa to the Member or its agent.

Effective 15 February 2011, written notice delivered by mail, courier, facsimile, telex, hand, e-mail,
or other electronic delivery method. Notification is effective when posted, sent, or transmitted by Visa
to the Member or its Agent.

ID#: 050411-150211-0024887




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Notification - U.S. Region (Updated)

Effective through 14 February 2011, written notice delivered by e-mail, mail, courier, facsimile, or
hand. Notification is effective when posted, sent, or transmitted by Visa to the Member or its Agent. In
conjunction with Risk Identification Service (RIS) Online, notification sent by Visa via Visa Online to
an Acquirer advising it of Identified Merchants.

ID#: 050411-010410-0024889



NSR - Canada Region

Effective through 15 October 2010, No Signature Required.

ID#: 081010-010410-0024893



NSR Merchant - Canada Region

Effective through 15 October 2010, a Merchant that is able to participate in the NSR Program by
meeting all of the NSR Program Merchant eligibility requirements.

ID#: 081010-010410-0024894



O


Offline Authorization

An Issuer-controlled process that allows a Chip-initiated Authorization Request to be processed in a
below-Floor Limit environment without sending the request to the Issuer.

ID#: 010410-010410-0024898



Offline Data Authentication - Canada Region

Any Authentication as specified in the Chip Specifications, including Combined Data Authentication,
Dynamic Data Authentication, and Static Data Authentication.

ID#: 010410-010410-0024900



Offline PIN Verification

A process used to verify the Cardholder’s identity by comparing the PIN entered at the Chip-Reading
Device to the PIN value contained in the Chip.

ID#: 010410-010410-0024902




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Offshore VisaNet Processor - U.S. Region

A VisaNet Processor, from a location outside of the United States, that provides Authorization,
Clearing, or Settlement services to Members or Merchants. This definition does not imply or confer
membership rights as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Article II.

ID#: 010410-010410-0024905



Olympic Marks

The Marks of the Olympic games when used in conjunction with the Visa, Visa Electron, or Visa
TravelMoney Program.

ID#: 010410-010410-0024906



On-Us Transaction

A Transaction where the Issuer and the Acquirer are the same Member.

ID#: 010410-010410-0024907



Online

A method of requesting an Authorization through a communications network other than voice.

ID#: 010410-010410-0024910



Online Address - U.S. Region

The electronic sales location (domain name) of a Merchant that conducts the sale of goods or
services over the Internet or other network (e.g., http://www.merchantname.com).

ID#: 010410-010410-0024911



Online Card Authentication Cryptogram (Updated)

A cryptogram generated by a Chip Card during a Transaction and used to validate the authenticity of
the Card.

ID#: 050411-010410-0024912



Online Check Card Transaction - U.S. Region

A Transaction completed through the use of a Visa Check Card II that is a single-message-acquired,
full-financial Transaction.

ID#: 010410-010410-0024913




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Online Financial Processing

A process that combines Authorization, Clearing, and Settlement into a single Online Financial
Transaction.

ID#: 010410-010410-0024914



Online Financial Transaction

A Transaction that is authorized, cleared, and settled in a single online message.

ID#: 010410-010410-0024915



Online Gambling Merchant

An Electronic Commerce Merchant that provides any form of gambling services over the Internet or
other networks. Gambling services include, but are not limited to, the following:

• Betting
• Lotteries
• Casino-style games
• Funding an account established by the Merchant on behalf of the Cardholder
• Purchase of value for proprietary payment mechanisms, such as electronic gaming chips

ID#: 010410-010410-0024916



Online Gambling Transaction

An Electronic Commerce Transaction representing the purchase of any form of gambling services
over the Internet or other networks. Gambling services include, but are not limited to, the following:

• Betting
• Lotteries
• Casino-style games
• Funding an account established by the Merchant on behalf of the Cardholder
• Purchase of value for proprietary payment mechanisms, such as electronic gaming chips

ID#: 010410-010410-0024917



Online PIN Verification

A process used to verify the Cardholder’s identity by sending an encrypted PIN value to the Issuer or
the Issuer’s agent for validation in an Authorization Request.

ID#: 010410-010410-0024918




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Open File Delivery - U.S. Region

A component of the Direct Exchange network that allows Visa and endpoints to exchange data files
through a single connection to VisaNet. Applicable file types include BASE II, Automated Clearing
House, Single Message System reports, and raw data files.

ID#: 010410-010410-0024920



Operating Expense Recovery - U.S. Region

A subset of the Account Data Compromise Recovery Process that allocates responsibility and
reimbursement for a portion of Issuers’ operational expenses incurred as the result of an account
compromise event involving Magnetic-Stripe Data and/or PIN data. Issuers must enroll in the
Operating Expense Recovery process to be eligible for operating expense reimbursement.

ID#: 010410-010410-0024921



Operator Assistance Service - U.S. Region

An Authorization service provided by Visa or its agent to a Merchant or its Authorizing Processor.

ID#: 010410-010410-0024922



Order Form - U.S. Region

A document bearing the Cardholder’s signature, either written or electronic, authorizing goods or
services to be charged to his/her account. An Order Form may be any of the following:

• Mail order form
• Recurring Transaction form
• Preauthorized Healthcare Transaction form
• E-mail or other electronic record that meets the requirements of applicable law

ID#: 010410-010410-0024923



Original Adjustment - U.S. Region

An Online Check Card Transaction completed and submitted through Interchange without an
Authorization because the connection between the Merchant and its Authorizing Processor was
inoperable.

ID#: 010410-010410-0024924




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Original Credit (Updated)

A Transaction, including a Money Transfer Original Credit Transaction, initiated by a Member either
directly or on behalf of its Merchant that results in a credit to a Visa Account Number for a purpose
other than refunding a Visa purchase, as specified in Original Credits Member Requirements.

ID#: 050411-010410-0024925



Originating Member (Updated)

An Issuer or Acquirer that initiates an Original Credit Transaction, including a Money Transfer Original
Credit Transaction, as specified in Original Credits Member Requirements or the Visa Money
Transfer (VMT) Global Implementation Guide.

ID#: 050411-010410-0024926



Originating Member - U.S. Region (Updated)

Effective 15 February 2010 through 8 December 2010, an Issuer or Acquirer that initiates a Money
Transfer Original Credit Transaction as specified in the Visa Money Transfer (VMT) Global
Implementation Guide.

ID#: 050411-010100-0025688



Outbound Telemarketing - U.S. Region

Merchant-initiated contact with a Cardholder via a telephone call or a mailing (other than a catalog)
that instructs the Cardholder to call the Merchant. These solicitations include, but are not limited to,
discount buying clubs, discount travel clubs, membership clubs, credit card protection/registration
services, cosmetics, health care products, and vitamins. This definition also includes “up sell”
Merchants. These Merchants often solicit Cardholders when they contact call centers to purchase
products of other direct marketing Merchants or to request customer service assistance.

ID#: 010410-010410-0024927



P


Partial Amount Indicator - U.S. Region

A VisaNet code used in a Chargeback or Representment Record to indicate either:

• The Chargeback amount is less than the Transaction amount
• The Representment amount is less than the Chargeback amount
(Previously known as Special Chargeback Indicator.)

ID#: 010410-010410-0024928




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Partial Authorization

An Authorization for an amount less than the amount requested by a Merchant for a Transaction on a
Visa Card.

ID#: 010410-010410-0024929



Participant-Type Member

Effective 1 June 2010, a Member of Visa characterized as one of the following:

• Credit Participant, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Article
  II, Section 2.04(h)
• Debit Participant, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Article
  II, Section 2.04(i)
• Cash Disbursement Participant, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and
  Bylaws, Article II, Section 2.04(j)
• Participant, as defined in the applicable Certificate of Incorporation and Bylaws

ID#: 010410-010410-0024930



Partner Bank (New)

Effective 14 October 2010, a Visa Multinational Program participant that partners with the Lead
Bank in the Multi-Country Issuing scenario. The Partner Bank resides in a country that is different
from the Lead Bank and issues Visa Commercial Card products on behalf of the Lead Bank.

ID#: 050411-141010-0026029



Passenger Transport Service Category - U.S. Region

A Transaction category that provides customized services and procedures for Airlines, passenger
railway Merchants, or their agents.

ID#: 010410-010410-0024932



Payment Application

A software application contained within a Chip or payment data encoded on a Magnetic Stripe that
defines the parameters for processing a Visa Transaction.

ID#: 010410-010410-0024933




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Payment Card Industry Data Security Standard (PCI DSS)

A set of comprehensive requirements that define the standard of due care for protecting sensitive
Cardholder information.

ID#: 010410-010410-0024934



Payment Card Industry Payment Application Data Security Standard

A data security standard that specifies security requirements for third-party Payment Application
software that stores, processes, or transmits Cardholder data.

ID#: 081010-200509-0024935



Payment Gateway

A system that provides electronic commerce services to Merchants for the Authorization and Clearing
of Electronic Commerce Transactions.

ID#: 010410-010410-0024936



Peak Time - U.S. Region

The period of time, designated by a Car Rental Company, during which a Cardholder may use their
Card to reserve a car that will be guaranteed under the Visa Reservation Service. The Peak Time
may include any of the following:

• Legal holidays, including 3-day weekends
• Resort rentals during seasons best suited for the resort’s activities
• Special events that draw attendees from outside the local area, such as the Olympics, the Super
  Bowl, or Mardi Gras

ID#: 010410-010410-0024937



Performance Threshold Interchange Reimbursement Fee Program - Visa Consumer
Credit - U.S. Region

A Visa program that permits Acquirers to qualify for Interchange Reimbursement Fees for consumer
Visa credit Card Transactions based on Merchant Outlet volume criteria and other qualifications.

ID#: 010410-010410-0024938




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Performance Threshold Interchange Reimbursement Fee Program - Visa Consumer
Debit - U.S. Region

A Visa program that permits Acquirers to qualify for reduced Interchange Reimbursement Fees for
consumer Visa Debit Card Transactions based on Merchant Outlet volume criteria.

ID#: 010410-010410-0024939



Performance Threshold Interchange Reimbursement Fee Transaction - U.S. Region

A consumer Visa credit Card or consumer Visa Debit Card Transaction that originates at a Merchant
Outlet that qualifies for a Performance Threshold Interchange Reimbursement Program.

ID#: 010410-010410-0024940



Permanent Establishment

A fixed place of business through which an Electronic Commerce or Mail/Phone Order Merchant
conducts its business, regardless of Website or server locations.

ID#: 010410-010410-0024941



Personal Identification Number - U.S. Region

See PIN.

ID#: 010410-010410-0024943



Physically Secure Device - U.S. Region

A device with negligible probability of being successfully penetrated to disclose all or part of any
cryptographic key or PIN.

ID#: 010410-010410-0024944



Pickup Response

An Authorization Response where the Transaction is declined and confiscation of the Card is
requested.

ID#: 010410-010410-0024945



PIN

A personal identification numeric code that identifies a Cardholder in an Authorization Request.

ID#: 010410-010410-0024948


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PIN Management Requirements Documents - U.S. Region

A suite of documents that include the following manuals:

• Payment Card Industry PIN Security Requirements
• Payment Card Industry POS PIN Entry Device Security Requirements
• Payment Card Industry Encrypting PIN PAD (EPP) Security Requirements
• Visa PIN Entry Device Security Requirements Manual

ID#: 010410-010410-0024950



PIN Verification

A procedure used to verify Cardholder identity when a PIN is used in an Authorization Request.

ID#: 010410-010410-0024951



PIN Verification Field

A field encoded on the Magnetic Stripe or Chip of a Visa or Visa Electron Card comprising a PIN
Verification Value, calculated with an algorithm using portions of the Account Number and PIN, and a
one-digit key indicator.

ID#: 010410-010410-0024952



PIN Verification Service

A service that Visa provides for the verification of Cardholder PINs transmitted with Authorization
Requests.

ID#: 010410-010410-0024953



PIN Verification Value

A 4-digit value used in PIN verification.

ID#: 010410-010410-0024954



PIN Verification Value File

A VisaNet file of Account Numbers and PIN Verification Values maintained at a VisaNet Interchange
Center at an Issuer’s option for use as part of the PIN Verification Service.

ID#: 010410-010410-0024955




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PIN-Debit Network - U.S. Region

A non-Visa debit network that typically authenticates transactions by use of a PIN that is not generally
known as, marketed as, or enabled as a competitive general-purpose card program, or other
prohibited payment program, either directly or through a joint acceptance agreement.

ID#: 010410-010410-0024946



PIN-Preferring Chip Card

An EMV and VIS-Compliant Chip Card containing a Visa or Visa Electron Smart Payment Application,
and a Cardholder Verification Method List specifying a preference for a PIN-based Cardholder
Verification Method (either offline or online).

ID#: 081010-010410-0024947



Plus ATM

An ATM that displays the Plus Symbol and not the Visa Brand Mark.

ID#: 010410-010410-0024956



Plus ATM - U.S. Region (Updated)

An ATM that displays the Plus Symbol.

ID#: 050411-010410-0024957



Plus Card - U.S. Region (Updated)

A card that bears the Plus Symbol.

ID#: 050411-010410-0024958



Plus Design

See Diamond Design.

ID#: 010410-010410-0024959



Plus Logo - U.S. Region

See Plus Symbol.

ID#: 010410-010410-0024961




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Plus Logotype

The Plus Wordmark depicted in stylized lettering.

ID#: 010410-010410-0024960



Plus Program

A program through which a Plus participant provides ATM services to Cardholders by acting as an
Issuer, an ATM Acquirer, or both.

ID#: 010410-010410-0024962



Plus Program - U.S. Region

A program through which a Plus Program Participant provides ATM services to cardholders, as
specified in the Plus System, Inc. Bylaws and Operating Regulations.

ID#: 010410-010410-0024963



Plus Program Marks

The Marks used in connection with the Plus Program, including the Diamond Design, Plus Symbol,
Plus Logotype, Plus Wordmark, Plus Symbol-Contained, and Plus Symbol-Uncontained, as specified
in the Visa Product Brand Standards.

ID#: 010410-010410-0024964



Plus Program Participant

An entity participating in the Plus Program, as specified in the Visa International Certificate of
Incorporation and Bylaws, Section 2.09.

ID#: 010410-010410-0024965



Plus Symbol

A Mark consisting of the Diamond Design combined with the Plus Logotype denoting ATM access
only. One of the Visa-Owned Marks. The Plus Symbol:

• Must be used as specified in the Visa Product Brand Standards
• May be used as either the:
  - Plus Symbol-Contained
  - Plus Symbol-Uncontained

ID#: 010410-010410-0024966




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Plus Symbol - Contained - U.S. Region

A Plus Symbol enclosed in a rectangular field and outline box.

ID#: 010410-010410-0024967



Plus Symbol - Uncontained - U.S. Region

A Plus Symbol that is free-standing and not enclosed in a rectangular field and outline box.

ID#: 010410-010410-0024968



Plus System Symbol - U.S. Region

A Visa-Owned ATM Acceptance Mark consisting of the Plus Design combined with the Plus
Wordmark denoting ATM access only.

ID#: 010410-010410-0024971



Plus System Wordmark - U.S. Region

See Plus Wordmark.

ID#: 010410-010410-0024972



Plus System, Inc.

A subsidiary of Visa U.S.A. Inc. sublicensed to administer the Plus Program in the United States and
certain other countries, in accordance with the affiliation agreements between that entity and Visa.

ID#: 010410-010410-0024969



Plus Wordmark

A Visa-Owned Mark consisting of the word “Plus” with the initial letter capitalized.

ID#: 010410-010410-0024973



Point-of-Sale Balance Inquiry

A Cardholder request for their Visa Prepaid Card account balance that is initiated at the Point-of-
Transaction and processed as a separate, non-financial transaction, or, for Rightcliq, a Cardholder
request for Card account balance information for participating Visa Cards registered with Rightcliq.

ID#: 081010-010100-0025553




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Point-of-Sale Balance Inquiry Service

A service that uses the Visa System to provide a Point-of-Sale Balance Inquiry.

ID#: 010410-010410-0024989



Point-of-Sale Balance Inquiry Service - U.S. Region (Updated)

A VisaNet service designed to provide information to participating Merchants to facilitate the
Merchant providing current account balance information to Visa Prepaid Cardholders or to Visa to
facilitate providing current Card account balance information to Cardholders using Rightcliq.

ID#: 050411-010100-0025658



Point-of-Sale Balance Return

An Authorization Response in which an Issuer of Visa Prepaid Cards provides the remaining balance
for participating Merchants to print on the Transaction Receipt.

ID#: 081010-010100-0025554



Point-of-Sale Balance Return Service

A service that uses the Visa System to provide a Point-of-Sale Balance Return.

ID#: 010410-010100-0025552



Point-of-Transaction

The physical location where a Merchant or Acquirer (in a Face-to-Face Environment) or an
Unattended Acceptance Terminal (in an Unattended Environment) completes a Transaction Receipt.

ID#: 010410-010410-0024974



Point-of-Transaction - U.S. Region

One of the following:

• In a Face-to-Face Environment, the physical location at which a Merchant or Acquirer completes a
  Transaction Receipt
• In a Card-Present Environment, where an individual representing the Merchant or Acquirer is not
  present, the physical location at which a Cardholder completes a Cardholder-Activated Terminal
  Transaction
• At an Online Address, the checkout page(s) of a Merchant’s Website at which a Cardholder
  completes a Transaction

ID#: 010410-010410-0024975




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Point-of-Transaction Capability

The capability of a Merchant, Acquirer, or Unattended Acceptance Terminal to obtain an
Authorization and process Transaction Receipt data. The Visa International Operating Regulations
refer to these Point-of-Transaction Capability types:

• Authorization-Only Capability
• Data Capture-Only Capability
• Electronic Capability
• Manual Capability
• Semi-Electronic Capability

ID#: 010410-010410-0024976



Point-of-Transaction Capability - U.S. Region

The capability of a Merchant, Acquirer, or Cardholder-Activated Terminal to obtain an Authorization
and process Transaction Receipt data. The U.S. Regional Operating Regulations refer to these Point-
of-Transaction Capability types:

• Authorization-Only Capability
• Data Capture-Only Capability
• Electronic Capability
• Manual Capability
• Semi-Electronic Capability

ID#: 010410-010410-0024977



Point-of-Transaction Terminal

A device used at the Point-of-Transaction that has a corresponding Point-of-Transaction Capability.
The Visa International Operating Regulations refer to the following types of Point-of-Transaction
Terminals:

• ATM
• Chip-Reading Device
• Magnetic-Stripe Telephone
• Magnetic-Stripe Terminal
• Unattended Acceptance Terminal

ID#: 010410-010410-0024978




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Point-of-Transaction Terminal - U.S. Region

A device used at the Point-of-Transaction that has a corresponding Point-of-Transaction Capability.
The U.S. Regional Operating Regulations refer to the following types of Point-of-Transaction
Terminals:

• Account-Number-Verifying Terminal
• ATM
• Automated Dispensing Machine
• Chip-Reading Device
• Contactless Payment Terminal
• Limited-Amount Terminal
• Magnetic-Stripe Telephone
• Magnetic-Stripe Terminal
• Self-Service Terminal

ID#: 010410-010410-0024979



Point-to-Point File Service - U.S. Region

A service that enables Open File Delivery endpoints to transfer batch files to other Open File Delivery
endpoints through Direct Exchange.

ID#: 010410-010410-0024980



Points - U.S. Region

A value awarded to a participating Cardholder’s rewards account as part of the Visa Extras Program.

ID#: 010410-010410-0024981



Portfolio Sale

Effective 1 June 2010, sale of programs, in whole or part, from one organization to another where
the selling organization and purchasing organization each maintains their respective charters.

ID#: 010410-010100-0025532



POS - Canada Region

A Point-of-Transaction Terminal that excludes ATMs.

ID#: 010410-010410-0024988




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POS Entry Mode (Updated)

A VisaNet field indicating the method used to obtain and transmit the Cardholder information
necessary to complete a Transaction, i.e., manual key entry, Magnetic-Stripe-read, or Chip-read.

ID#: 050411-010410-0024990



Post-Issuance Application Change

A method that enables an Issuer to modify or block an application already residing on a Chip.

ID#: 010410-010410-0024985



Post-Issuance Application Load

A method that enables an Issuer to add an application or service to the contents of a Chip without
reissuing a Card.

ID#: 010410-010410-0024986



Post-Issuance Updates

A method that enables an Issuer to update information stored in a Chip without reissuing the Card.

There are 2 types of Post-Issuance Updates:

• Post-Issuance Application Change
• Post-Issuance Application Load

ID#: 010410-010410-0024987



Preauthorized Health Care Transaction - U.S. Region

A Transaction completed by a Health Care Merchant for which a Cardholder has provided written
permission to the Merchant to charge the Cardholder’s Visa account for services.

ID#: 010410-010410-0024991



Preauthorized Payment Cancellation Service (New)

Effective 10 February 2011, a service that enables Visa Card Issuers to stop payment on
Preauthorized Transactions.

ID#: 050411-100211-0026230




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Preauthorized Payment Cancellation Service - U.S. Region (Updated)

Effective through 9 February 2011, a service that enables Visa Card Issuers to stop payment on
Preauthorized Transactions.

ID#: 050411-010410-0024992



Preauthorized Transaction (New)

Effective 10 February 2011, a Transaction for which a Cardholder has given advance permission to
periodically charge his or her account. Preauthorized Transactions include, but are not limited to,
Recurring Transactions, Installment Billing Transactions, and Preauthorized Health Care
Transactions.

ID#: 050411-100211-0026231



Preauthorized Transaction - U.S. Region (Updated)

Effective through 9 February 2011, a Transaction for which a Cardholder has given advance
permission to periodically charge his or her account. Preauthorized Transactions include, but are not
limited to, Recurring Transactions, Installment Billing Transactions, and Preauthorized Health Care
Transactions.

ID#: 050411-010410-0024993



Prepaid Account

An account established by an Issuer, with previously deposited, authorized, or transferred funds,
which is decreased by purchase Transactions, Cash Disbursements, or account fees.

ID#: 010410-010410-0024994



Prepaid Issuer Risk Program - U.S. Region

A program that increases an Issuer’s accountability for controlling its Agent relationships that support
Visa Prepaid Card Issuer programs and enhances control mechanisms to mitigate risk to the Visa
system.

ID#: 081010-010410-0024997



Prepaid Partner

A Merchant, Member, or Third Party agent (excluding cobranded partners, Approved Manufacturers
and Card Personalizers) that has a contract with a Visa Acquirer to sell, activate and/or perform Load
Transaction processing for Visa Prepaid Cards.

ID#: 010410-010410-0024998




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Prepaid Partner Agreement

A contract between a Visa Prepaid Card Issuer and a Member, Merchant or Third Party agent
(excluding co-branded partners, Approved Manufacturers and Card Personalizers) containing
respective rights, duties and obligations for the sale, activation and/or Load Transaction processing of
Visa Prepaid Cards.

ID#: 010410-010410-0024999



Prescreen Service - U.S. Region

An optional feature of Visa Advanced ID Solutions that allows Members to select data from the
Issuers’ Clearinghouse Service databases to create a suppression file before mailing solicitations for
Cards, non-Visa cards, or other Visa or non-Visa products.

ID#: 010410-010410-0025000



Presentment

A Clearing Record that an Acquirer presents to an Issuer through Interchange, either initially (a first
Presentment) or after a Chargeback (a Representment).

ID#: 010410-010410-0025001



Prestigious Property - U.S. Region

A Lodging Merchant that is permitted to use the Status Check Procedure.

ID#: 010410-010410-0025002



Primary Account Number (PAN) - U.S. Region

See Account Number.

ID#: 010410-010410-0025003



Primary Mark

A Visa-Owned Mark on a Card that identifies the primary Account Number when multiple Brand
Marks (including both Visa-Owned and Non-Visa-Owned Marks) are contained on a Chip Card.

ID#: 010410-010410-0025004




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Principal-Type Member

Effective 1 June 2010, a Member of Visa characterized as one of the following:

• Principal Member, as defined in the applicable Certificate of Incorporation and Bylaws
• Acquirer Member, as defined in the applicable Certificate of Incorporation and Bylaws
• Administrative Member, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws,
  Article II, Section 2.04(c)
• Debit Interchange Member, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and
  Bylaws, Article II, Section 2.04(g)
• Group Member, as defined in the applicable Certificate of Incorporation and Bylaws
• Merchant Acquirer Member, as defined in the applicable Certificate of Incorporation and Bylaws
• Cash Disbursement Member, as defined in the applicable Certificate of Incorporation and Bylaws

ID#: 010410-010410-0025005



Priority Check-out Agreement (Updated)

Effective through 6 October 2010, a written agreement that, when bearing a Cardholder’s
signature, authorizes a Hotel or Cruise Line participating in the Priority Check-out Service to deposit a
Transaction Receipt without the Cardholder’s signature for the total amount of their obligation.

ID#: 050411-010410-0025007



Priority Check-out Agreement - U.S. Region

A written agreement that, when bearing a Cardholder’s signature, authorizes a Lodging or Cruise Line
Merchant participating in the Priority Check-out Service to deposit a Transaction Receipt without the
Cardholder’s signature for the total amount of their obligation.

ID#: 010410-010410-0025008



Priority Check-out and Express Return Agreement (New)

Effective 7 October 2010, written agreement that, when bearing a Cardholder’s signature,
authorizes a Lodging Merchant, Hotel, Cruise Line or Car Rental Company participating in the Priority
Check-out and Express Return Service to deposit a Transaction Receipt without the Cardholder’s
signature for the total amount of their obligation.

ID#: 050411-071010-0026053




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Priority Check-out and Express Return Service (New)

Effective 7 October 2010, a Visa service provided by Lodging Merchants, Hotels, Cruise Lines, or
Car Rental Companies that allows a Cardholder to authorize the use of their Card for payment of the
total obligation to the Merchant, with or without prior knowledge of the total amount, by signing a
completed Priority Check-out and Express Return Agreement.

ID#: 050411-071010-0026054



Priority Check-out Service (Updated)

Effective through 6 October 2010, a Visa service provided by Hotels or Cruise Lines that allows a
Cardholder to authorize the use of their Card for payment of the total obligation to the Merchant, with
or without prior knowledge of the total amount, by signing a completed Priority Check-out Agreement.

ID#: 050411-010410-0025009



Priority Check-out Service - U.S. Region

A Visa service provided by Lodging and Cruise Line Merchants, that allows a Cardholder to authorize
the use of their Card for payment of the total obligation to the Lodging or Cruise Line Merchant, with
or without prior knowledge of the total amount, by signing a completed Priority Check-out Agreement.

ID#: 010410-010410-0025010



Priority Check-out Transaction (Updated)

Effective through 6 October 2010, a Transaction that a Hotel or Cruise Line participating in the
Priority Check-out Service completes, resulting from completion of a Priority Check-out Agreement.

 Effective 7 October 2010, a Transaction that a Lodging Merchant, Hotel or Cruise Line participating
in the Priority Check-out Service completes, resulting from completion of a Priority Check-out
Agreement.

ID#: 050411-010410-0025011



Priority Check-out Transaction - U.S. Region

A Transaction that a Lodging or Cruise Line Merchant participating in the Priority Check-out Service
completes.

ID#: 010410-010410-0025012




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Private Agreement

A bilateral agreement between Members, or the operating regulations of a Group Member, pertaining
to Authorization or Clearing and Settlement of Domestic Transactions.

ID#: 010410-010410-0025013



Private Arrangement - U.S. Region

An agreement where Authorization Requests or Transactions involving two different Members are not
processed through VisaNet. Private Arrangements are prohibited.

ID#: 010410-010410-0025014



Private Keys (Updated)

The private or "secret" key paired with a Public Key in a Public Key cryptographic system that is used
to decrypt data which was encrypted by its corresponding Public Key or encrypt data which can only
be decrypted by its corresponding Public Key.

ID#: 050411-010410-0025015



Private Label Card

Effective 1 June 2010, a merchant's proprietary card that is accepted only at its own locations, or a
multi-use non-Visa-branded Card.

ID#: 010410-010410-0025016



Private Processing Arrangement — AP Region (New)

Effective 1 April 2011, an agreement where Transactions involving two different Members are not
authorized and cleared through VisaNet.

ID#: 050411-010411-0026203



Processing Date

The date (based on Greenwich Mean Time) on which a Member submits Interchange Data to, and
the data is accepted by, a VisaNet Interchange Center. Equivalents to the Processing Date are:

• In BASE II, the Central Processing Date
• In the Single Message System, the Settlement Date

ID#: 010410-010410-0025017




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Product Name

A name for goods or services offered by a Member to a Cardholder, e.g., Visa Platinum.

ID#: 010410-010410-0025018



Product Replacement Center

A facility that issues Emergency Card Replacements to an Eligible Cardholder at the request of Visa
Global Customer Care Services.

ID#: 081010-010410-0025019



Proprietary Card

A Card that does not bear the Visa Brand Mark or Visa Brand Mark with the Electron Identifier but
may bear a Plus Symbol.

ID#: 010410-010410-0025020



Proximity Payment

A payment performed in a Card-Present Environment over a Visa-approved wireless interface at the
Point-of-Transaction. This includes payments made with contactless devices, mobile telephones, and
micro tags.

ID#: 010410-010410-0025021



Proximity Payment - U.S. Region

A form of Visa payment conducted in the Card-Present Environment at the Point-of-Transaction
through a Visa-approved wireless interface such as radio frequency or infrared technology, as
specified in the Visa International Operating Regulations . For programs in the U.S. Region, see
Contactless Payment - U.S. Region.

ID#: 010410-010410-0025022



Proximity Payment Device

A payment tool using a Visa-approved wireless interface to access a Visa account that:

• Has distinct branding, issuance, and technical requirements
• Provides the ability to conduct a Proximity Payment Transaction
• Includes contactless devices, mobile telephones, and micro tags

ID#: 010410-010410-0025023




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Proximity Payment Transaction

A Transaction conducted over a Visa-approved wireless interface.

ID#: 010410-010410-0025024



Proximity Payment Transaction - U.S. Region

A Transaction completed at a Point-of-Transaction Terminal through a Visa-approved wireless
interface, as specified in the Visa International Operating Regulations . For programs in the U.S.
Region, see Contactless Payment Transactions.

ID#: 010410-010410-0025025



Public Keys

The non-secret portion of the cryptographic method used for verification during a Transaction.

ID#: 010410-010410-0025028



Q


Qualified Chip Card

A Chip Card that is issued under a designated BIN(s) or Account Number range of a Visa Card
Program or a Visa Electron Card Program and has met the Visa requirements for the Issuer Chip
Rate.

ID#: 010410-010410-0025029



Qualified Forensic Investigator

Effective 11 February 2010, an individual or entity approved by the Payment Card Industry Security
Standards Council (PCI SSC) to respond in the event of a security incident and perform forensic
investigations.

ID#: 010410-110210-0025607



Qualified Incident Response Assessor

Effective 11 February 2010, an individual or entity approved by Visa to respond in the event of a
security incident and perform forensic investigations.

ID#: 010410-110210-0025606




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Qualifying CAMS Event - U.S. Region (Updated)

A CAMS Event that qualifies for recovery, through the Account Data Compromise Recovery process,
of a portion of affected Members’ losses due to a violation involving one or more of the following:

• The electronic storage of the full contents of any track on the Magnetic Stripe subsequent to
  Authorization of a Transaction
• Non-compliance with the Payment Card Industry Data Security Standard (PCI DSS) that could
  allow a compromise of the full contents of any track on the Magnetic Stripe
• Failure to comply with the PIN Management Requirements Documents that could allow a
  compromise of PIN data for a Visa Transaction, a Plus transaction, or an Interlink transaction
  subsequent to Authorization

ID#: 050411-011108-0025030



Qualifying Purchase - U.S. Region

A purchase Transaction completed with a Visa Traditional Rewards Card that an Issuer may consider
for the purpose of awarding Rewards Currency. An Issuer may, optionally, exclude the following
Transactions from qualifying:

• Balance transfers
• Convenience checks
• Cash Disbursements
• Finance charges
• Quasi-Cash Transactions
• Any Transaction unauthorized by the Cardholder

ID#: 010410-010410-0025031



Quarterly Operating Certificate

A report that each Member sends to Visa in a set pre-determined time, detailing its Visa Card and
Merchant statistics.

ID#: 010410-010410-0025032



Quasi-Cash Transaction

A Transaction representing a Merchant’s or Member’s sale of items that are directly convertible to
cash, such as:

• Gaming chips
• Money orders
• Deposits
• Wire Transfers



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• Travelers cheques
• Visa TravelMoney Cards
• Foreign Currency
• Additional Transaction approved by Visa

ID#: 010410-010410-0025033



R


Real-Time Clearing

An optional program for Acquirers and Merchants that allows an Automated Fuel Dispenser Merchant
to send an Authorization request (preauthorization) for an estimated Transaction amount (up to a
maximum Transaction amount of US $500 or local currency equivalent) through the Single Message
System. Upon completion of the Transaction, the Automated Fuel Dispenser Merchant must send the
actual Transaction amount (Completion Message) to the Issuer within X of the preauthorization
request.

ID#: 010410-010410-0025034



Real-Time Clearing Transaction

An Automated Fuel Dispenser Transaction that is authorized and cleared through Real-Time
Clearing.

ID#: 010410-010410-0025035



Reason Code - U.S. Region

A VisaNet code that provides additional information to the Receiving Member regarding a
Chargeback, Representment, Fee Collection, Funds Disbursement, or Transaction Receipt Request.

ID#: 010410-010410-0025036



Receipt Date

The BASE II Edit Package run date (or, in the Single Message System, the Settlement Date) on
which a Member processes incoming Interchange. Commonly used for the calculation of second
Chargeback and Representment time limits by the Receiving Member.

ID#: 010410-010410-0025037




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Receiving Member

A Member receiving a Transaction through Interchange.

ID#: 010410-010410-0025038



Recipient Member (Updated)

An Issuer that receives an Original Credit Transaction, including a Money Transfer Original Credit
Transaction, as specified in Original Credits Member Requirements or the Visa Money Transfer
(VMT) Global Implementation Guide.

ID#: 050411-010410-0025039



Recipient Member - U.S. Region (Updated)

Effective 15 February 2010 through 8 December 2010, an Issuer that receives a Money Transfer
Original Credit Transaction as specified in the Visa Money Transfer (VMT) Global Implementation
Guide.

ID#: 050411-150210-0025689



Recurring Services Merchant

A Merchant that provides services of an ongoing nature to a Visa Cardholder (e.g., club membership,
magazine subscription) and completes Recurring Transactions to bill the Cardholder for these
services.

ID#: 010410-010410-0025040



Recurring Transaction

Multiple Transactions processed at predetermined intervals not to exceed one year between
Transactions, representing an agreement between a Cardholder and a Merchant to purchase goods
or services provided over a period of time.

ID#: 010410-010410-0025041



Recurring Transaction - U.S. Region

A Transaction for which a Visa Cardholder provides permission, in either written or electronic format,
to a Merchant to periodically charge their Account Number for recurring goods or services. These
may include payment of recurring charges, such as insurance premiums, subscriptions, Internet
service provider monthly fees, membership fees, tuition, or utility charges.

ID#: 010410-010410-0025042




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Reference Card

An item containing relevant account information, such as an Account Number, expiration date, etc.,
that is provided to a Virtual Account Holder.

ID#: 010410-010410-0025043



Referral Response

An Authorization Response where the Merchant or Acquirer is instructed to contact the Issuer for
further instructions before completing the Transaction.

ID#: 010410-010410-0025046



Referral/Activity Default Response - U.S. Region

An Issuer-specified Approval or Decline Response generated by BASE I under certain conditions, as
specified in the appropriate VisaNet manuals.

ID#: 010410-010410-0025044



Refund Claim Number

A number that a Global Refund Service provides to a Cheque purchaser to verify that they qualify for
a refund of lost or stolen Cheques.

ID#: 010410-010410-0025047



Region of Domicile

The Visa Region where a Member has its principal place of business.

ID#: 010410-010410-0025056



Regional Board

One of the Visa Regional Boards of Directors, as specified in the Visa International Certificate of
Incorporation and Bylaws. There are 2 Regional Boards:

• Visa Canada Board
• Visa U.S.A. Board

ID#: 010410-010410-0025048




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Regional Card Recovery File

A regional electronic version of the Card Recovery Bulletin that is distributed via the V.I.P. System to
countries that receive a National Card Recovery Bulletin.

ID#: 010410-010410-0025049



Regional Office

The head office of a Visa Region, located as follows:

• Asia-Pacific Region: Tokyo, Japan
• Canada Region (Visa Canada Corporation): Toronto, Canada
• CEMEA Region: London, England
• Latin America and Caribbean Region: Miami, FL, U.S.A.
• U.S.A. Region (Visa U.S.A. Inc.): Foster City, CA, U.S.A.

ID#: 010410-010410-0025054



Regional Operating Regulations

The operating regulations of a Visa Region.

ID#: 010410-010410-0025055



Reimbursement Attribute - U.S. Region

A VisaNet code designating the Interchange Reimbursement Fee applicable to a Transaction.

ID#: 010410-010410-0025057



Reimbursement Fee - U.S. Region

See Interchange Reimbursement Fee - U.S. Region.

ID#: 010410-010410-0025058



Reloadable Card

A Visa Prepaid Card that may be funded more than once.

ID#: 081010-010410-0025059




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Representment

A Clearing Record that an Acquirer presents to an Issuer through Interchange after a Chargeback.

ID#: 010410-010410-0025063



Research Service - U.S. Region

A VisaNet service that provides research into historical V.I.P. System transactions upon Member
request.

ID#: 010410-010410-0025065



Response - U.S. Region

See Authorization Response.

ID#: 010410-010410-0025066



Retail Merchant

A Merchant that is not one of the following:

• Mail/Phone Order Merchant
• Recurring Services Merchant
• T&E Merchant

ID#: 010410-010410-0025068



Retail Transaction

A Transaction at a Retail Merchant outlet.

ID#: 010410-010410-0025069



Retrieval Request

An Issuer’s request for a Transaction Receipt, which could include the original, a paper copy or
facsimile, or an electronic version thereof.

ID#: 010410-010410-0025070




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Returned Item (New)

Effective 10 February 2011, a financial or non-financial item that BASE II or the Single Message
System returns to the sending Member.

ID#: 050411-100211-0026232



Returned Item - U.S. Region (Updated)
Effective through 9 February 2011, a financial or non-financial item that BASE II or the Single
Message System returns to the sending Member.

ID#: 050411-010410-0025071



Reversal

A BASE II or Online Financial Transaction used to negate or cancel a transaction that has been sent
through Interchange in error.

ID#: 010410-010410-0025072



Rewards Currency - U.S. Region

A reward denomination defined by an Issuer consisting of either air miles, points, or discounts offered
in connection with a Visa Traditional Rewards Card.

ID#: 010410-010410-0025073



Rewards Product Identification Number (Updated)

A number assigned by an Issuer for the purpose of identifying and tracking any rewards program
offered in connection with the Issuer's Card products.

ID#: 050411-141209-0025587



Rightcliq - U.S. Region (Updated)

In the U.S. Region, a Visa-provided service that facilitates Cardholders' online shopping experience
and use of Cards for payment at online Merchants.

ID#: 050411-181109-0025589




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Risk Identification Service (RIS) Online - U.S. Region

A Merchant and Member level fraud monitoring program that identifies Merchants and Members with
unusual levels of Fraud Activity and utilizes Visa Online to manage the delivery of program
Notifications and remediation information.

ID#: 010410-010410-0025075



S


Sales Draft

A paper record evidencing the purchase of goods or services by a Cardholder from a Merchant using
a Visa Card.

ID#: 010410-010410-0025076



Sample Card Design

A background design provided by Visa that is unique for each Card product and that an Issuer may
use on the front of a Visa Card.

ID#: 081010-010410-0025077



Scrip

A 2-part paper receipt that is redeemable at a Merchant Outlet for goods, services, or cash.

ID#: 010410-010410-0025079



Scrip Terminal - U.S. Region

A Cardholder-Activated Terminal that prints Scrip.

ID#: 010410-010410-0025080



Secure Electronic Commerce Rate

An Interregional Interchange Reimbursement Fee paid for a Secure Electronic Commerce
Transaction.

ID#: 010410-010410-0025083




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Secure Electronic Commerce Transaction

An Electronic Commerce Transaction that has been authenticated using an Authentication Method.

ID#: 010410-010410-0025084



Secure Electronic Transaction™ Specification - U.S. Region

A software protocol that enables end-to-end, secure processing of Transactions over the Internet and
other networks.

ID#: 010410-010410-0025085



Secure Sockets Layer (SSL)

A protocol that uses Public Key encryption for the secure processing of Transactions over the Internet
and other networks.

ID#: 010410-010410-0025086



Self-Service Terminal

See Unattended Acceptance Terminal and Cardholder-Activated Transaction Type B.

ID#: 010410-010410-0025088



Self-Service Terminal - U.S. Region

A Cardholder-Activated Terminal that accepts payment for goods or services such as Visa Prepaid
Cards or video rental, has Electronic Capability, and does not accept PINs.

ID#: 010410-010410-0025089



Self-Service Terminal Transaction - U.S. Region

A Transaction that originates at a Self-Service Terminal.

ID#: 010410-010410-0025090



Sending Member

A Member entering a Transaction into Interchange.

ID#: 010410-010410-0025092




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Service Code

A valid sequence of digits recognized by VisaNet that is encoded on a Magnetic Stripe and replicated
on the Magnetic-Stripe Image in a Chip that identifies the circumstances under which the Card is valid
(e.g., International Transactions, Domestic Transactions, restricted Card use), and defines
requirements for processing a Transaction with the Card (e.g., Chip-enabled, Cardholder Verification,
Online Authorization).

ID#: 081010-010410-0025094



Services Agreement

A license or contract between Visa Canada and an entity that has a contract or license, which allows
the entity to participate in the Visa program or use the Visa-Owned Marks, including in accordance
with the Visa International Operating Regulations .

ID#: 010410-010410-0025093



Settlement (Updated)

The reporting and funds transfer of Settlement Amounts owed by one Member to another, or to Visa,
as a result of Clearing.

ID#: 050411-010410-0025095



Settlement Amount (Updated)

The daily net amounts expressed in a Member’s Settlement Currency resulting from Clearing. These
amounts include Transaction and Fee Collection Transaction totals, expressed in a Member’s
Settlement Currency.

ID#: 050411-010410-0025096



Settlement Bank

A bank, including a Correspondent or Intermediary Bank, that is both:

• Located in the country where a Member’s Settlement Currency is the local currency
• Authorized to execute Settlement of Interchange on behalf of the Member or the Member’s bank

ID#: 010410-010410-0025097




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Settlement Currency

A currency that Visa uses to settle Interchange, as specified in the VisaNet manuals.

ID#: 010410-010410-0025098



Settlement Date

The date on which Visa initiates the transfer of Settlement Amounts in the Settlement of Interchange.
See Processing Date.

ID#: 010410-010410-0025099



Settlement Reporting Entity (New)

Effective 14 October 2010, a name or number of an entity assigned by Visa and authorized by the
Member that is used by Visa for Settlement reporting, to associate a BIN or BIN Alternate with a
Funds Transfer Settlement Reporting Entity or for other Settlement-related or other purposes.

ID#: 050411-141010-0026049



Settlement Summary - U.S. Region

A report that provides a Clearing Processor’s net Settlement position for BASE II and the Single
Message System.

ID#: 010410-010410-0025100



SIGIS - U.S. Region

An industry trade group, known as the Special Interest Group for Inventory Information Approval
System (IIAS) Standards, chartered with implementing processing standards for Healthcare Auto-
Substantiation Transactions in accordance with IRS regulations and responsible for licensing and
certifying Merchants, Members, and Agents that process such Transactions.

ID#: 010410-010410-0025102



Signature-Authenticated - U.S. Region

A descriptor that refers to a Transaction completed in a Face-to-Face Environment where the
Cardholder’s identity has been verified by a signature, unless the Transaction is one of the following:

• Effective through 15 October 2010, a No Signature Required Transaction
• Effective through 15 October 2010, a Small Ticket Transaction
• Effective 16 October 2010, a Visa Easy Payment Service Transaction
• Contactless Payment Transaction


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• Effective through 16 April 2010, a Transaction under US $25 conducted at a Point-of-Transaction
  Terminal with Contactless Payment capability
• Effective 17 April 2010 through 15 October 2010, a Transaction less than or equal to US $25
  conducted at a Point-of-Transaction Terminal with Contactless Payment capability

ID#: 081010-010410-0025103



Single Merchant

An individual Merchant or Merchant Outlet, or group thereof, doing business under a common Trade
Name or Mark.

ID#: 010410-010410-0025106



Single Message Service - U.S. Region

A VisaNet service that enables a Member to process Online Financial and Deferred Clearing
Transactions through a single VisaNet interface.

ID#: 010410-010410-0025107



Single Message System

A component of the V.I.P. System that processes Online Financial and Deferred Clearing
Transactions through a single VisaNet interface for purchases and ATM Transactions.

ID#: 010410-010410-0025108



Small Ticket Merchant - U.S. Region

Effective through 15 October 2010, a Merchant Outlet that qualifies to participate in the Small
Ticket program on the basis of its assigned Merchant Category Code, as specified in the U.S.
Regional Operating Regulations.

ID#: 081010-010410-0025109



Small Ticket Payment Service - U.S. Region

Effective through 15 October 2010, a Visa Point-of-Transaction service that permits certain
Merchant Category Code Merchant Outlets to process Transactions of US $15 or less in accordance
with the procedures specified in the U.S. Regional Operating Regulations.

ID#: 081010-010410-0025110




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Small Ticket Transaction

Effective through 15 October 2010, an electronically-read authorized Transaction of US $25 or less,
or local currency equivalent, presented by a Merchant with a qualified Merchant Category Code, that
                                             92
is conducted in a Face-to-Face Environment.

ID#: 081010-010410-0025111



Small Ticket Transaction - U.S. Region

Effective through 15 October 2010, a Transaction of US $15 or less completed without the
Cardholder’s signature, by a qualified Merchant, in a Face-to-Face Environment or at either:

• A Self Service Terminal
• An Automated Dispensing Machine

ID#: 081010-010410-0025112



Special Condition Indicator - U.S. Region

A VisaNet code used in the Clearing Record to specify that one or more unique conditions apply to
the Transaction.

ID#: 010410-010410-0025117



Specialized Vehicle

A unique class of rental vehicle not in a Car Rental Company’s main rental fleet (e.g., mini-vans, four-
wheel- drive vehicles, selected sports models, luxury and vintage vehicles), that does not constitute
more than 5% of the Merchant’s total rental fleet.

ID#: 010410-010410-0025114



Specialized Vehicle Reservation Service

A service provided by Car Rental Companies in the U.S. Region, where a Cardholder may use a Visa
Card to guarantee reservations for Specialized Vehicles.

ID#: 010410-010410-0025116




92
  Effective 1 May 2010 through 15 October 2010, a variance applies in the AP Region. Cardholder-Activated Transaction
Type B or Cardholder-Activated Transaction Type C, excluding Transactions conducted at Automated Fuel Dispensers, may
qualify as Small Ticket Transactions.


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Sponsor

Effective 1 June 2010, a Member that is responsible, in part or whole, for other Members of Visa, as
specified in the applicable Certificate of Incorporation and Bylaws.

ID#: 010410-010410-0025120



Sponsored Member

Effective 23 July 2010, a Member of the Canada or U.S. Region whose right to participate in Visa is
dependent upon sponsorship of another Member, as specified in the Visa U.S.A. Inc. Certificate of
Incorporation and Bylaws, Article II.

ID#: 081010-010410-0025118



Sponsored Merchant

An electronic commerce merchant that contracts with an Internet Payment Service Provider to obtain
payment services.

ID#: 010410-010410-0025119



Sponsorship Marks (New)

The Marks of an entity with which Visa has entered into an agreement to act as a sponsor for that
entity's activities or events.

ID#: 050411-150411-0026242



Stand-In Processing (STIP)

The V.I.P. System component that provides Authorization services on behalf of an Issuer when the
Positive Cardholder Authorization System is used or when the Issuer or its VisaNet Processor is
unavailable.

ID#: 010410-010410-0025121



Stand-In Processing Account

An Issuer-supplied valid Account Number (established and activated in the Issuer’s Authorization
system) that is maintained at Visa Global Customer Card Services. This Account Number is
embossed and encoded on an Emergency Card Replacement when the Issuer is not available to
provide a new Account Number.

ID#: 081010-010410-0025122




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Stand-In Processing Account Number - U.S. Region

An Issuer-supplied valid Account Number (established and activated in the Issuer’s Authorization
system) that is maintained at Visa Customer Care Services. This Account Number is embossed or
printed, and encoded on an Emergency Card Replacement when the Issuer is not available to
provide a new Account Number.

ID#: 081010-010410-0025123



Standard Floor Limit

A Floor Limit that varies by Merchant type, as specified in "Maximum Authorized Floor Limits."

ID#: 010410-010410-0025125



Standard Interchange Reimbursement Fee - U.S. Region

The Interchange Reimbursement Fee available to all Merchant service categories for any Transaction
not eligible for any other Interchange Reimbursement Fee.

ID#: 010410-010410-0025126



Standard Rate

An Interchange Reimbursement Fee charged for any Transaction that does not meet the
requirements of the Chip, Secure Electronic Commerce, Electronic Commerce Merchant,
Interregional Airline, or Electronic Rate, and is not one of the following:

• Visa Commercial Card Transaction
• Visa Infinite Card Transaction

ID#: 010410-010410-0025127



Static Data Authentication - AP Region (New)

A type of offline data Authentication where the terminal validates a cryptographic value placed on the
Card during personalization. This validation protects against some types of counterfeit but does not
protect against skimming.

ID#: 050411-060111-0026179



Static Data Authentication - Canada Region

An Authentication as specified in the Chip Specifications.

ID#: 010410-010410-0025128




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Status Check - U.S. Region

An Authorization Request for US $1.

ID#: 010410-010410-0025129



Status Check Authorization

An Authorization Request for 1 currency unit.

ID#: 010410-010410-0025130



Status Check Procedure - U.S. Region

A procedure where a Lodging or Automated Fuel Dispenser Merchant requests an Authorization for
US $1, as specified in the U.S. Regional Operating Regulations.

ID#: 081010-010410-0025131



Store and Forward Transaction - U.S. Region

Effective through 30 June 2010, an Online Check Card Transaction that has been electronically
stored by a Point-of-Transaction Terminal when the Merchant’s or Acquirer’s link to the Single
Message System is inoperative. Stored Transactions must be forwarded as soon as the Single
Message System connection is reestablished.

ID#: 010410-010410-0025132



Strategic Bankruptcy Solutions - U.S. Region

A Visa service that:

• Identifies Cardholders, cardholders of non-Visa cards, customers of other Visa or non-Visa
  products, and applicants for Cards, non-Visa cards, and other Visa or non-Visa products who have
  filed bankruptcy
• Files claims and documents on behalf of Members with the bankruptcy courts
• Assists Members in assessing the value of obligations of Cardholders and other individuals who
  have declared bankruptcy

ID#: 010410-010410-0025133



Substitute Transaction Receipt

A paper form or record that is not a Sales Draft and that a Member or Merchant provides in response
to a Retrieval Request, when allowed.

ID#: 010410-010410-0025135




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Summary of Interchange Entries

Data required to accompany Domestic Interchange processed under a Private Agreement.

ID#: 010410-010410-0025136



Supermarket Incentive Program - U.S. Region

A Visa program that permits certain supermarket Merchant Outlets to qualify for a reduced
Interchange Reimbursement Fee.

ID#: 010410-010410-0025137



Supermarket Incentive Program Transaction - U.S. Region

A Transaction that:

• Originates at a Merchant Outlet participating in the Supermarket Incentive Program
• Is authorized and processed as specified in the U.S. Regional Operating Regulations

ID#: 010410-010410-0025138



Suspect Transaction - U.S. Region (Updated)

A Transaction completed subsequent to the day that the Account Number was listed on the Exception
File with a Pickup Response code of "07," "41," or "43," or reported as Fraud Activity.

ID#: 050411-010410-0025140



T


T&E

An abbreviation for Travel and Entertainment.

ID#: 010410-010410-0025141



T&E Advance Deposit Service - U.S. Region

A service that a Lodging Merchant, Cruise Line merchant, or Car Rental Company provides to a
Cardholder, allowing use of a Visa Card to pay an advance deposit required to reserve
accommodations or a vehicle.

ID#: 010410-010410-0025142




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T&E Advance Deposit Transaction - U.S. Region

A Transaction that a Lodging Merchant, Cruise Line merchant, or Car Rental Company completes as
a result of a Cardholder’s agreement to use a Visa Card to pay for an advance deposit to reserve
accommodations or a vehicle.

ID#: 010410-010410-0025143



T&E Document

A photocopy of all documents pertaining to a T&E Transaction originating from a Car Rental
Company, Hotel, or Cruise Line, including the following as applicable:

• Transaction Receipt
• Car rental agreement
• Guest Folio (if created)
• Card Imprint (if obtained)
• Cardholder signature (if obtained)

ID#: 010410-010410-0025144



T&E Document - U.S. Region

A photocopy of all documents pertinent to a T&E Transaction, such as a Guest Folio or car rental
agreement that:

• Evidences a Cardholder’s participation in a lodging, cruise line, or car rental Transaction
• Contains a Card Imprint and signature, if either or both was obtained
• Is supplied in response to a Retrieval Request

ID#: 010410-010410-0025145



T&E Express Service - U.S. Region (Updated)

Effective through 6 October 2010, a service offered by a Lodging or Car Rental Merchant to a
Cardholder that agrees to a Dynamic Currency Conversion Transaction. To expedite hotel check-out
or car rental return, the service allows a customer to bypass the typical face-to-face hotel check-out
or car rental return process, without receiving a Transaction Receipt. As part of the service, the
Merchant mails (or e-mails, if selected by the Cardholder) the Transaction Receipt for the T&E
Transaction to the Cardholder within 3 business days.

ID#: 050411-010100-0025659




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T&E Merchant

An Airline, Car Rental Company, Hotel, or Cruise Line whose primary function is to provide travel-
related services. A travel agency (excluding one that is primarily engaged in the sale of transportation
or travel-related arrangement services by Mail/Phone Order) is a T&E Merchant to the extent that it
acts as the agent of an Airline, a Car Rental Company, a Cruise Line, or a Hotel.

ID#: 010410-010410-0025146



T&E Merchant - U.S. Region

A Merchant whose primary function is to provide travel-related services. The U.S. Regional Operating
Regulations refer to the following types of T&E Merchant:

• Airline
• Passenger railway
• Car Rental Company
• Lodging Merchant
• Cruise Line Merchant
• Central Reservation Service
• Travel agency, only if it acts as an agent of an Airline, passenger railway, Car Rental Company,
  Lodging Merchant, or Cruise Line Merchant (excluding a travel agency that is primarily engaged in
  the sale of transportation or travel-related arrangement services by mail/phone order)

ID#: 010410-010410-0025147



T&E Services - U.S. Region

Travel-related services provided to Eligible Cardholders, including:

• Priority Check-out Service
• T&E Advance Deposit Service
• Visa Reservation Service

ID#: 010410-010410-0025148



T&E Transaction

A Transaction at a T&E Merchant Outlet.

ID#: 010410-010410-0025149




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Tax Payment Program - U.S. Region

A Visa payment program which allows a Tax Payment Program Merchant to process Visa
Transactions.

ID#: 010410-010410-0025150



Tax Payment Program Merchant - U.S. Region

A government taxing authority or its designated agent properly assigned Merchant Category Code
9311 (Tax Payments) and authorized to process Tax Payment Transactions.

ID#: 010410-010410-0025151



Tax Payment Transaction - U.S. Region

A Visa Consumer Card or a Commercial Visa Product Transaction that represents a payment of
eligible federal, state, or local taxes to the Tax Payment Program Merchant.

ID#: 010410-010410-0025152



Telephone Service Transaction

A Transaction in which a Cardholder uses a Visa Card to purchase a telephone call. These
Transactions include, but are not limited to, Magnetic-Stripe Telephone Transactions.

ID#: 010410-010410-0025153



Terminal Risk Management

A process performed by a Chip-Reading Device to protect a Member from fraud by:

• Initiating Online Issuer Authorization for above-Floor Limit Transactions
• Ensuring random Online processing for below-Floor Limit Transactions
• Performing Transaction velocity checking

ID#: 010410-010410-0025154



Terminal Risk Management - U.S. Region

A process performed by a Chip-Reading Device to protect a Member from fraud by:

• Initiating Online Issuer Authorization for all Transactions
• Performing Transaction velocity checking

ID#: 010410-010410-0025155




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Terminated Merchant File - U.S. Region

A file (currently known as “MATCH”) that identifies Merchants and principals of Merchants that
Acquirers have terminated for specified reasons.

ID#: 081010-010410-0025159



Third Party Agent

Effective 23 July 2010, an entity, not defined as a VisaNet Processor, that provides payment-related
services, directly or indirectly, to a Member and/or stores, transmits, or processes Cardholder data.

No financial institution eligible to become a Principal member of Visa may serve as a Third Party
Agent.

A Third Party Agent does not include:

• Financial institutions that perform Agent activities
• Co-branding or Affinity partners
• Card manufacturers
• Card personalizers

ID#: 081010-010100-0025921



Three-Domain (3-D) Secure Authentication Request - U.S. Region

See Authentication Request.

ID#: 010410-010410-0025163



Three-Domain Secure

See 3-D Secure.

ID#: 010410-010410-0025164



Three-Domain Secure Electronic Commerce Transaction Specification

See 3-D Secure Electronic Commerce Transaction Specification.

ID#: 010410-010410-0025165



Three-Domain Secure Specification - U.S. Region

See 3-D Secure Specification - U.S. Region.

ID#: 010410-010410-0025166



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Timeshare Merchant

A Merchant that manages the sales, rentals, or other uses of condominiums, holiday homes, holiday
clubs, or apartments known as “timeshares.”

ID#: 010410-010410-0025167



Timeshare Transaction

A Transaction resulting in the sale, rental, or other uses of condominiums, holiday homes, holiday
clubs, or apartments known as "timeshares."

ID#: 010410-010410-0025168



Tracing Data

In a Single Message System Online message, the transmission date and time, systems trace audit
number, retrieval reference number, Transaction identifier, and acquiring institution ID. See Acquirer
Reference Number.

ID#: 010410-010410-0025170



Trade Dress

The physical appearance of a label, package, or display card.

ID#: 010410-010410-0025171



Trade Name

A name used to identify a business and to distinguish its activities from those of other businesses. In
some cases the same words or symbols may serve as a Trade Name and Mark simultaneously.

ID#: 010410-010410-0025172



Trade Secret

Any formula, pattern, device, or compilation of information that is used in a business, and that
provides an opportunity to obtain an advantage over competitors who do not know or use it.

ID#: 010410-010410-0025173




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Trailing Chargeback Activity

Effective through 31 May 2010, in the U.S. Region, Chargeback activity at a Merchant Outlet that
occurs after an Acquirer has stopped processing sales Transactions for the Merchant.

Effective 1 June 2010, Chargeback activity at a Merchant Outlet that occurs after an Acquirer has
stopped processing sales Transactions for the Merchant.

ID#: 081010-010410-0025174



Transaction (Updated)

The act between a Cardholder and a Merchant or an Acquirer that results in a Transaction Receipt, if
applicable.

ID#: 050411-010410-0025175



Transaction Country

The Country where a Merchant Outlet is located, regardless of the Cardholder’s location when a
Transaction occurs. For Transactions completed aboard an aircraft or a Cruise Line vessel, the
Transaction Country is where the Merchant deposits the Transaction Receipt.

ID#: 010410-010410-0025179



Transaction Currency

The currency in which a Transaction is originally completed.

ID#: 010410-010410-0025180



Transaction Date

The date on which a Transaction between a Cardholder and a Merchant or an Acquirer occurs.

ID#: 010410-010410-0025181



Transaction Identifier

A unique value that Visa assigns to each Transaction and returns to the Acquirer in the Authorization
Response. Visa uses this value to maintain an audit trail throughout the life cycle of the Transaction
and all related transactions, such as Reversals, Adjustments, confirmations, and Chargebacks.

ID#: 010410-010410-0025182




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Transaction Information

Information necessary for processing Transactions, as specified in the Payment Card Industry Data
Security Standard (PCI DSS).

ID#: 010410-010410-0025183



Transaction Receipt (Updated)

An electronic or paper record of a Transaction (or a copy), generated at the Point-of-Transaction.

ID#: 050411-010410-0025184



Transaction Receipt Number (Updated)

The sequential number printed on Transaction Receipts.

ID#: 050411-010410-0025186



Transaction Record

A paper record issued by, or in connection with, a Point-of-Transaction Terminal.

ID#: 010410-010410-0025187



Transaction Region

The Visa Region where a Merchant Outlet is located, regardless of the Cardholder’s location when a
Transaction occurs. For Transactions completed aboard an aircraft, the Transaction Region is where
the Merchant deposits the Transaction Receipt.

ID#: 010410-010410-0025188



Travel Service Category - U.S. Region

An Interchange Reimbursement Fee category for Lodging, Cruise Line, and restaurant Merchants,
Car Rental Companies, and travel agencies and tour operators identified by Merchant Category Code
4722.

ID#: 010410-010410-0025192




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U


Unable-to-Authenticate Response

A message from a 3-D Secure Issuer in response to an Authentication Request from a 3-D Secure
Merchant indicating that the participating 3-D Secure Issuer is unable to authenticate the Cardholder
for reasons other than those that result in an Authentication Denial.

ID#: 010410-010410-0025194



Unattended Acceptance Terminal

A Cardholder-operated device that reads, captures, and transmits Card information in an Unattended
Environment. The Visa International Operating Regulations refer to the following types of Unattended
Acceptance Terminals:

• ATM
• Automated Fuel Dispenser
• Card Dispensing Machine
• Load Device
• Devices that perform Cardholder-Activated Transaction Type A, Cardholder-Activated Transaction
  Type B, or Cardholder-Activated Transaction Type C

ID#: 010410-010410-0025195



Unattended Environment (Updated)

An environment where a Transaction is completed under all of the following conditions:

• Card is present
• Cardholder is present
• Cardholder completes the Transaction directly at an Unattended Acceptance Terminal
• Authorization, if required, is obtained electronically

Transactions in this environment include the following:

• Retail Transactions at Unattended Acceptance Terminals
• T&E Transactions at Unattended Acceptance Terminals
• ATM Cash Disbursements
• Load Transactions and Unload Transactions at Load Devices

Transactions in this environment exclude Transactions completed in Face-to-Face and Card-Absent
Environments.

ID#: 050411-010410-0025196




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Unauthorized Use

Effective 23 July 2010, a Transaction that meets one of the following criteria:

• Is not processed on behalf of a Member
• Is processed on behalf of a Member by a VisaNet Processor not designated for processing
  activities
• Is processed on behalf of a Member but not within the scope of the Member’s category or
  categories of membership
• Is not within the scope of activities approved by the Member, the Member’s Sponsor, or Visa
• Is processed using a BIN that has not been designated by the BIN Licensee for that Member’s use

ID#: 081010-010100-0025922



Unauthorized Use - U.S. Region

A Transaction that meets one of the following criteria:

• Is not processed on behalf of a Member
• Is processed on behalf of a Member by a VisaNet Processor not designated for processing
  activities
• Is processed on behalf of a Member but not within the scope of the Member’s category of
  membership
• Is not within the scope of activities approved by the Member, the Member’s Sponsor, or Visa
• Is processed using a BIN that has not been designated by the BIN Licensee for that Member’s use

ID#: 010410-010410-0025197



Unload Transaction

A Transaction where monetary value is removed from a Reloadable Card and transferred to another
account held by the same financial institution.

ID#: 010410-010410-0025198



Unrecognized Service Code

A Service Code that cannot be recognized by a Magnetic-Stripe Terminal or Chip-Reading Device.

ID#: 010410-010410-0025199



Usage Code - U.S. Region

A VisaNet code that identifies the specific processing cycle of a Chargeback or Presentment.

ID#: 010410-010410-0025200



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V


V Distribution Program

A program through which a Member provides payment services to V Distribution Program Distributors
and V Distribution Program Cardholders by acting as a V Distribution Program Issuer, Acquirer, or
both.

ID#: 010410-010410-0025419



V Distribution Program Card

An enhancement to a Visa Business or Visa Purchasing Card product, targeted to retailers, for
payment of goods and services from a V Distribution Program Distributor.

ID#: 010410-010410-0025420



V Distribution Program Cardholder

A retailer to whom an Issuer has issued a V Distribution Program Card.

ID#: 010410-010410-0025421



V Distribution Program Distributor

A commercial entity that accepts the V Distribution Program Card as payment for goods and services.

ID#: 010410-010410-0025422



V Distribution Program Issuer

A Member that participates in the V Distribution Program and whose name appears on a V
Distribution Program Card as the Issuer.

ID#: 010410-010410-0025423



V PAY Brand Mark

The Visa-Owned Mark used to represent the V PAY Product.

ID#: 010410-010410-0025424




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V PAY Card

A Chip Card that bears the V PAY Brand Mark, enabling a V PAY Cardholder to obtain goods,
services, or cash from a V PAY Merchant or Acquirer or ATM.

ID#: 010410-010410-0025425



V PAY Merchant

A Merchant that displays the V PAY Brand Mark.

ID#: 010410-010410-0025426



V PAY Product

An unembossed “Chip only” Card developed in Visa Europe.

ID#: 010410-010410-0025427



V PAY Transaction

A Chip-initiated Transaction completed with a V PAY Card at a V PAY Merchant or Acquirer.

ID#: 010410-010410-0025428



V.I.P. System

The processing component of the VisaNet Integrated Payment System comprised of BASE I and the
Single Message System used for single message Authorization in connection with financial
Transaction processing.

ID#: 010410-010410-0025201



V.I.P. System Endpoint Certification Program - U.S. Region

A certification program that provides protection to Visa Members and their VisaNet Processor
endpoint systems from the risk of unpredictable processing from non-compliant code and helps
ensure the integrity of the Visa payment system by requiring that all endpoints certify compliance with
Visa specifications.

ID#: 010410-010410-0025203




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V.I.P. System User

A VisaNet Processor that connects to the V.I.P. System through a terminal or computer device for
Authorization and other services.

ID#: 010410-010410-0025204



Vehicle-Specific Fleet Card

A Visa Commercial Card with Fleet Service enhancement that is assigned to a specific vehicle.

ID#: 010410-010410-0025208



Verified by Visa

A Visa-approved Authentication Method based on 3–D Secure.

ID#: 010410-010410-0025209



Verified by Visa Mark

A Mark used in conjunction with the Visa Authenticated Payment Program. One of the Visa-Owned
Marks.

ID#: 010410-010410-0025210



Virtual Account

An account for which no Card is issued, established primarily for completing Electronic Commerce
Transactions.

ID#: 010410-010410-0025211



Virtual Account Holder

An individual or commercial entity to whom a Virtual Account is issued or who is authorized to use a
Virtual Account.

ID#: 010410-010410-0025212



Virtual Account Issuer

A Member that establishes a Virtual Account and enters into a contractual relationship with a Virtual
Account Holder.

ID#: 010410-010410-0025213




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VIS-Compliant

A Card application that complies with either:

• The requirements specified in the Visa Integrated Circuit Card Specification (VIS) and has been
  approved by Visa Approval Services
• The requirements specified in the EMV Common Payment Application Specifications and has been
  personalized to a Common Core Definition-compliant profile and approved by EMVCo

ID#: 010410-010410-0025214



VIS-Compliant - U.S. Region

A Card application that complies with the requirements specified in the Visa Integrated Circuit Card
Specification (VIS).

ID#: 010410-010410-0025215



Visa

Visa International Service Association and all of its subsidiaries and affiliates, and subsidiaries and
affiliates of Visa Inc., excluding Visa Europe. When used within the Visa International Operating
Regulations, Visa refers to any Visa Inc. subsidiary, affiliate, Regional Office, management, or
committee as applicable.

ID#: 010410-010410-0025217



Visa Account Updater - Canada Region (Updated)

Effective through 9 February 2011, an optional service developed by Visa, that enables an Issuer to
provide updated Cardholder account information to participating Acquirers, as specified in the Visa
Account Updater Terms of Use.

ID#: 050411-100211-0025747



Visa Account Updater - U.S. Region (Updated)

Effective through 9 February 2011, an optional service developed by Visa, that enables an Issuer to
provide updated Cardholder account information to participating Acquirers, as specified in the Visa
Account Updater Terms of Use.

ID#: 050411-010410-0025236



Visa Account Updater Service (New)

Effective 10 February 2011, a service that enables an Issuer to provide updated Cardholder account
information to a participating Acquirer.

ID#: 050411-100211-0026233


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Visa Acquirer

A Member that signs a Visa Merchant or disburses currency or loads funds to a Visa Cardholder in a
Cash Disbursement or Load Transaction, and directly or indirectly enters the resulting Transaction
Receipt into Interchange.

ID#: 010410-010410-0025237



Visa Advanced Authorization (Updated)

A real-time risk management tool that delivers risk data to Issuers in the Authorization Request to
alert them to possible fraudulent activity on their Cardholder accounts.

ID#: 050411-010410-0024244



Visa Advanced ID Solutions - U.S. Region

Effective through 11 August 2010, a Visa service that is designed to reduce Member losses related
to Card, non-Visa card, and other Visa and non-Visa products through the use of the Issuers’
Clearinghouse Service, the eFunds Services, ID Score Plus, effective 8 July 2010, Credit Optics,
and/or the Prescreen Service.

Effective 12 August 2010, a Visa service that is designed to reduce Member credit and fraud losses
related to Card, non-Visa card, and other Visa and non-Visa products through the use of the Issuers’
Clearinghouse Service, the Prescreen Service, ID Analytics, Inc. services (ID Score Plus and Credit
Optics), and Fidelity National Information Services, Inc. services (DebitReport® and Fraud
Intelligence™).

ID#: 081010-010410-0025239



Visa ATM

An ATM that displays the Visa Brand Mark or the Visa Flag Symbol, but not the Plus Symbol.

ID#: 010410-010410-0025241



Visa ATM Network - U.S. Region

A service offered by participating Members that allows a Cardholder to obtain currency or travelers
cheques from an ATM displaying the Visa Flag Symbol or the Visa Brand Mark.

ID#: 010410-010410-0025242



Visa ATM Network Transaction - U.S. Region

See ATM Cash Disbursement.

ID#: 010410-010410-0025243




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Visa Billing Statement - U.S. Region

A monthly report provided by Visa that details charges assessed to Members. Items appearing on this
report will be collected using the Fee Collection transaction Reason Code 5010 (Global Member
Billing Solution).

ID#: 010410-010410-0025244



Visa Brand Mark

A Visa-Owned Mark that represents the Visa organization and its product and service offerings. It
must be used as specified in the Visa International Operating Regulations and the Visa Product
Brand Standards and denotes acceptance for both Payment and Cash Disbursement.

ID#: 010410-010410-0025245



Visa Brand Mark with the Electron Identifier

A Visa-Owned Mark consisting of the Visa Brand Mark and the name “Electron,” which must be used
as specified in the Visa International Operating Regulations and the Visa Product Brand Standards.

ID#: 010410-010410-0025246



Visa Brand Name

A Visa-Owned Mark comprising the name “Visa.”

ID#: 010410-010410-0025247



Visa Business Card

A Visa Card targeted to the small business market that is used to pay for employee business travel
and general expenses, and is issued as specified in the Visa International Operating Regulations and
the Visa Product Brand Standards.

ID#: 010410-010410-0025248



Visa Business Cardholder

An employee of a small business to whom an Issuer has issued a Visa Business Card, including sole
proprietors and self-employed individuals.

ID#: 010410-010410-0025249




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Visa Business Check Card - U.S. Region

A Visa Business Card issued as a Visa Check Card.

ID#: 010410-010410-0025250



Visa Business Electron Card

A Card intended for the small business market used to pay for employee business travel and general
expenses and complies with all of the following:

• Is issued with the Visa Business Card core feature requirements
• Meets the physical Card characteristics of a Visa Electron Card specified in the Visa Product Brand
  Standards
• Contains the Service Code for Online Authorization

ID#: 010410-010410-0025252



Visa Business Platinum Check Card - U.S. Region

A Visa Business Check Card issued as Visa Platinum.

ID#: 010410-010410-0025253



Visa Business Platinum Credit Card - U.S. Region

A Visa Business Card issued as Visa Platinum.

ID#: 010410-010410-0025254



Visa Buxx - U.S. Region (Updated)

A Visa Prepaid Card designed for teenagers, with account ownership by a parent or guardian.

ID#: 050411-010410-0025255



Visa Buxx Symbol - U.S. Region

A Visa-Owned Mark consisting of the Visa Wordmark and the Enhanced Visa Wordmark centered
above the word “Buxx.”

ID#: 010410-010410-0025256




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Visa Canada

Visa Canada Corporation.

ID#: 010410-010410-0025257



Visa Card (Updated)

A Card that bears the Visa Brand Mark as specified in the Visa International Operating Regulations
and the Visa Product Brand Standards, enabling a Visa Cardholder to obtain goods, services, or cash
from a Visa Merchant or an Acquirer or facilitate the loading of funds to a Prepaid Account.

ID#: 050411-010410-0025258



Visa Card - U.S. Region (Updated)

A Magnetic Stripe and/or a Visa Contactless Card bearing either the Visa Flag Symbol or the Visa
Brand Mark, or a non-Card form Contactless Payment device bearing the Visa Brand Mark, that
enables a Visa Cardholder to obtain goods, services, or cash from a Visa Merchant or an Acquirer.
Effective 1 January 2011, all Visa Cards must bear the Visa Brand Mark.

ID#: 050411-010410-0025259



Visa Card Program

A program through which a Member provides product payment services to Cardholders using Cards
that bear the Visa Brand Mark.

ID#: 010410-010410-0025260



Visa Card Program - U.S. Region

See Visa Program.

ID#: 010410-010410-0025261



Visa Card Program Marks - U.S. Region

See Visa Program Marks.

ID#: 010410-010410-0025262




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Visa Cargo Card - LAC Region (New)
Commercial Visa Card targeted to carriers/shippers' service providers to pay for truck drivers'
expenses related to the transportation business. A Visa Cargo Card is one of the following:
• Commercial Visa Prepaid Product
• Visa Business Electron Card

ID#: 050411-151110-0026071



Visa Cash Back Service (New)
Effective 1 October 2010, a service whereby Cash may be obtained from a qualifying Visa or Visa
Electron Merchant through use of a Visa or Visa Electron Card, in conjunction with, and processed
as, a domestic Retail Transaction.

In the U.S. Region, the service is accessed through the use of a Visa Check Card II Card processed
as a PIN-based Single Message Transaction.

ID#: 050411-011010-0026046



Visa Cash Back Service - U.S. Region (Updated)
Effective through 30 September 2010, a service whereby cash is obtained from a qualified
Merchant through the use of a Visa Check Card II Card in conjunction with, and processed as, a PIN-
based Single Message System Transaction. The amount of cash back is always less than the total
Transaction amount.

ID#: 050411-010410-0025263



Visa Cash Card

A Chip Card that holds monetary value and stores security keys. There are 3 types of Visa Cash
Cards:

• Disposable Card
• Feature Reloadable Card
• Reloadable Card

ID#: 010410-010410-0025264



Visa Cash Program

A program through which a financial institution provides Visa Cash Card services to Cardholders or
Merchants by acting as a Load Acquirer, Merchant Acquirer, Card Issuer, funds source, or some
combination thereof.

ID#: 010410-010410-0025265




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Visa Cash Program Participant

A financial institution that is one of the following:

• Load Acquirer
• Merchant Acquirer
• Card Issuer
• Funds source

ID#: 010410-010410-0025266



Visa Cash Symbol

A Mark created by combining the Visa Brand Name, Comet Design, and the word “Cash.” One of the
Visa-Owned Marks.

ID#: 010410-010410-0025267



Visa Check Card - U.S. Region

A Consumer Visa Check Card or Visa Business Check Card that accesses a deposit, investment, or
other consumer or business asset account, including a fiduciary account.

ID#: 010410-010410-0025268



Visa Check Card II - U.S. Region

A Consumer Visa Check Card that accesses a deposit, investment, or other consumer asset account,
including a fiduciary account.

ID#: 010410-010410-0025269



Visa Classic Card

A general-purpose Visa Card that is issued as specified in the Visa International Operating
Regulations or the Visa Product Brand Standards.

ID#: 010410-010410-0025270



Visa Commercial - U.S. Region

A product identifier that, at the option of an Issuer, may be printed on the front of a Commercial Visa
Product.

ID#: 010410-010410-0025271




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Visa Commercial Card Product - U.S. Region

See Commercial Visa Product - U.S. Region.

ID#: 010410-010410-0025274



Visa Commercial Cards

A product family of Cards intended for business expense use that comprises the:

• Visa Business Card
• Visa Business Electron Card
• Visa Corporate Card
• Visa Purchasing Card

ID#: 010410-010410-0025272



Visa Commercial Solutions Data and Reporting Tools (New)

Effective 14 October 2010, various optional data management, reporting, and analysis services
provided to Issuers and their Client Organizations in connection with their Commercial Visa Product
Programs.

ID#: 050411-141010-0026021



Visa Commercial Solutions Data and Reporting Tools - U.S. Region (Updated)

Effective through 13 October 2010, various optional data management, reporting, and analysis
services provided to Issuers and their Client Organizations in connection with their Commercial Visa
Product Programs.

ID#: 050411-141010-0025275



Visa Consumer Card - U.S. Region

A Visa Card other than a Commercial Visa Product Card.

ID#: 010410-010410-0025276




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Visa Consumer Credit Card - U.S. Region (Updated)

A Visa Consumer Card other than Visa Debit Card may be issued as one of the following:

• Visa Traditional
• Visa Signature
• Visa Signature Preferred

ID#: 050411-010410-0025277



Visa Contactless - U.S. Region

A Contactless Payment-enabled Visa Card or Visa Micro Tag issued in conjunction with, and as a
companion to, a full-size Visa Card.

ID#: 010410-010410-0025278



Visa Contactless Payment Program - U.S. Region

A program through which participating Members issue Visa Cards with Contactless Payment
capability or support Contactless Payment at a Point-of-Transaction Terminal.

ID#: 010410-010410-0025279



Visa Corporate Card

A Visa Card targeted to mid-to-large size companies that is primarily used to pay for employee
business travel and entertainment expenses, and is issued as specified in “Visa Commercial
Corporate Products."

ID#: 010410-010410-0025280



Visa Corporate Cardholder

An employee of a mid-to-large-size company to whom an Issuer has issued a Visa Corporate Card.

ID#: 010410-010410-0025281



Visa Corporate Identity - U.S. Region

The Enhanced Visa Wordmark, used to represent the Visa organization and all of its products and
services.

ID#: 010410-010410-0025282




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Visa Credit Acceptor – Canada Region

A Merchant that accepts Visa Credit Cards issued by Canadian Issuers.

ID#: 081010-160810-0025971



Visa Credit and Business Category - U.S. Region

A Card category that consists of the following:

• Consumer Card, other than a Visa Debit Card, issued by a U.S. Issuer
• Commercial Visa Product
• Visa Card issued by a non-U.S. Issuer

ID#: 010410-010410-0025283



Visa Credit Card - Canada Region

A Visa Card other than Visa Debit Card.

ID#: 081010-160810-0025972



Visa Customer Care Services - U.S. Region

A 24-hour-a-day, 7-day-a-week center that Visa maintains as part of the Global Customer Assistance
Services program, where a Cardholder can obtain:

• Information and certain types of emergency assistance while traveling
• Emergency Cash Disbursements and Emergency Replacement Cards

ID#: 010410-010410-0025285



Visa Debit Acceptor - Canada Region

A Merchant that accepts Visa Debit Cards issued by Canadian Issuers.

ID#: 010410-010410-0025286



Visa Debit Card - Canada Region

A Visa Card that accesses a consumer deposit, savings or equivalent account, excluding Visa
Prepaid Cards and Prepaid Accounts.

ID#: 081010-010410-0025287




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Visa Debit Card - U.S. Region

A Visa Consumer Card that accesses a deposit, investment, or other asset of a consumer, including a
fiduciary account, but not including a Consumer Visa Deferred Debit Card. A Visa Debit Card includes
the following:

• Visa Prepaid Card bearing a Visa TravelMoney Wordmark
• Visa Buxx
• Consumer Visa Check Card
• Visa Check Card II
• Visa Gift Card
• Visa Incentive Card
• Visa Payroll
• Visa Prepaid Card

ID#: 081010-010410-0025288



Visa Debit Category - U.S. Region

A Card category that consists of the following:

• Visa Debit Card issued by a U.S. Issuer
• Visa Card issued by a non-U.S. Issuer

ID#: 010410-010410-0025289



Visa Debit Transaction - Canada Region

A transaction using a Visa Debit Card. Where a transaction initiated with a Visa Debit Card is
conducted at a merchant which is not a Visa Debit Acceptor, it will not be a Visa Debit Transaction.
Where a transaction initiated with a Visa Debit Card is conducted at a merchant where the cardholder
selects another payment service, other than Visa Debit, it shall not be a Visa Debit Transaction.

ID#: 081010-010410-0025290



Visa Debt Repayment Program Transaction - U.S. Region

A Visa Debit Card Transaction completed by a Visa Debit Category Limited Acceptance Merchant
that is authorized and processed as specified in the Visa International Operating Regulations .

ID#: 010410-010410-0025291




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Visa Distributed Processing Solution (VDPS)

See Visa Europe Authorisation Service.

ID#: 010410-010410-0025292



Visa Easy Payment Service (VEPS)

Effective 16 October 2010, a Visa Point-of-Transaction service that permits qualified Visa Easy
Payment Service Merchants to process small value Transactions, as specified in the “Country Level
Visa Easy Payment Service Transaction Limits” without requiring a Cardholder Verification Method or
the issuance of a Transaction Receipt unless requested by the Cardholder in accordance with the
procedures specified in the Visa International Operating Regulations .

ID#: 081010-161010-0025697



Visa Easy Payment Service (VEPS) Merchant

Effective 16 October 2010, a Merchant Outlet that qualifies to participate in the Visa Easy Payment
Service program on the basis of its assigned Merchant Category Code, as specified in "Visa Easy
Payment Service (VEPS) Merchant Category Code Exclusions."

ID#: 081010-161010-0025696



Visa Easy Payment Service (VEPS) Transaction

Effective 16 October 2010, an electronically-read Transaction that is:

• Authorized
                                                     93, 94
• Conducted in a Face-to-Face Environment
• Does not exceed the Transaction limits specified in “Country-Level Visa Easy Payment Service
  Transaction Limits”
• Initiated by a qualified Merchant as specified in “Visa Easy Payment Service (VEPS) Merchant
  Category Code Exclusions”

ID#: 081010-161010-0025698




93
   A variance applies in the U.S. Region. Transactions less than or equal to US $15 conducted at Cardholder-Activated
Terminals may qualify as Visa Easy Payment Service Transactions.
94
   Effective 16 October 2010, a variance applies in the AP Region. Domestic Proximity Payment Transactions conducted at
Unattended Acceptance Terminals (Type B or Type C) may qualify as Visa Easy Payment Service Transactions.


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Visa Electron Acquirer

A Member that both:

• Signs a Visa Electron Merchant or disburses currency to a Cardholder using a Visa Electron Card
  in a Manual Cash Disbursement
• Directly or indirectly enters the resulting Transaction Receipt into Interchange

ID#: 010410-010410-0025294



Visa Electron Card

A Card that bears the Visa Brand Mark with the Electron Identifier and that is used to denote
acceptance for both payment and Cash Disbursement.

ID#: 010410-010410-0025295



Visa Electron Card Program

A program through which a Member provides product payment services to Visa Electron Cardholders.

ID#: 010410-010410-0025296



Visa Electron Issuer

A Member that issues Visa Electron Cards.

ID#: 010410-010410-0025297



Visa Electron Logotype - U.S. Region

The Visa Electron Wordmark depicted in stylized lettering.

ID#: 010410-010410-0025298



Visa Electron Merchant

A Merchant that:

• Displays the Visa Electron Symbol or Visa Brand Mark with the Electron Identifier
• Has a Zero Floor Limit or has a terminal capable of reading and acting upon the Service Code in
  the Magnetic Stripe, or instructions for an Online Authorization Request from a Chip

ID#: 010410-010410-0025299




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Visa Electron Payment Application

A software application contained within a Chip or payment data encoded on a Magnetic Stripe that
defines the parameters for processing a Visa Electron Transaction and meets the minimum
requirements for the Visa Electron Program.

ID#: 010410-010410-0025300



Visa Electron Program

A program through which a Member provides payment services to Visa Electron Merchants and Visa
Electron Cardholders by acting as a Visa Electron Issuer, Visa Electron Acquirer, or both.

ID#: 010410-010410-0025301



Visa Electron Program Marks

The Marks used in connection with the Visa Electron Program.

ID#: 010410-010410-0025302



Visa Electron Symbol

A Visa-Owned Mark consisting of the Visa Wordmark, Comet Design, and name “Electron.”

ID#: 010410-010410-0025303



Visa Electron Transaction

A Transaction completed with a Visa Electron Card.

ID#: 010410-010410-0025304



Visa Electron Wordmark

A Visa-Owned Mark consisting of the Visa Brand Name and the name “Electron.”

ID#: 010410-010410-0025305



Visa Employee Benefit Card

A Visa Prepaid Card through which an Issuer enables employers and benefit administrators to
provide employees with a Card that allows direct access to benefits such as qualified health care,
dependent care, transit, fuel and meal expenses.

ID#: 081010-010410-0025307




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Visa ePay - U.S. Region

The Visa systems and services described in the Visa ePay Operating Regulations.

ID#: 010410-010410-0025308



Visa ePay Product Name - U.S. Region

A product name comprised of the Visa Wordmark or Visa Brand Name and the term “ePay,” as
specified in the Visa ePay Operating Regulations.

ID#: 010410-010410-0025309



Visa Europe

The company, Visa Europe Limited, registered in England and Wales with its registered address at
One Sheldon Square, London W2 6TT with company number 5139966.

ID#: 010410-010410-0025310



Visa Europe Authorisation Service

A scalable VisaNet system that delivers Online Authorization and financial processing services to
Members.

ID#: 010410-010410-0025311



Visa Extras Program - U.S. Region

A Points-based loyalty program that enables participating Cardholders to earn Points toward rewards
consisting of goods or services based on eligible Visa purchase Transactions.

ID#: 010410-010410-0025312



Visa FeatureSelect - U.S. Region (Updated)

Effective 8 November 2010, an optional service that allows U.S. Issuers to automate the
customization, management, and servicing of core and Issuer-registered optional Card
enhancements for all Visa and non-Visa products.

ID#: 050411-141209-0025586



Visa File Exchange Service - U.S. Region

A program through which Members and their qualified Agents exchange non-clearing and settlement
files with Visa.

ID#: 010410-010410-0025314


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Visa Flag Symbol - U.S. Region

A Visa-Owned Mark consisting of the Bands Design with the Visa Logotype centered in the middle
band. Effective 1 January 2011, a Visa Card must not bear the Visa Flag Symbol.

ID#: 010410-010410-0025316



Visa Fleet Card - U.S. Region

A Visa Purchasing Card used only for the purchase of fuel and vehicle maintenance services.

ID#: 010410-010410-0025317



Visa Fleet Service - U.S. Region

An enhancement to Visa Purchasing that provides company vehicle fleet managers with information
to track vehicle fuel and maintenance expenses.

ID#: 010410-010410-0025318



Visa Fleet Service Merchant - U.S. Region

A Merchant whose primary business is providing fuel or vehicle maintenance services. A Visa Fleet
Service Merchant is identified by the following Merchant Category Codes: 4468, 4582, 5511, 5532,
5533, 5541, 5542, 5599, 7531, 7534, 7535, 7538, 7542, 7549, and 7699.

ID#: 010410-010410-0025319



Visa Flexible Spending Account (FSA) - U.S. Region

A Visa Prepaid Card program administered by an employer, in accordance with the IRS
requirements, that permits employees to set aside pre-tax dollars to pay qualified out-of-pocket
medical expenses not covered by the employer’s health care plan.

ID#: 010410-010410-0025320



Visa Gift Card

A Visa Prepaid Card, designed for consumer gift giving.

ID#: 081010-010410-0025321



Visa Global ATM Network

The network through which an ATM participant provides Cash Disbursement services to Cardholders
by acting as an Issuer, an ATM Acquirer, or both.

ID#: 010410-010410-0025322


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Visa Global ATM Program

A program where an ATM participant provides Cash Disbursement services to Cardholders by acting
as an Issuer, an ATM Acquirer, or both.

ID#: 010410-010410-0025323



Visa Global Customer Assistance Services Program

Services provided by Visa Global Customer Care Services to Cardholders and Issuers, including
customer and emergency services provided to Cardholders traveling away from home. These include
the:

• Cardholder Inquiry Service
• Emergency Cash Disbursement
• Emergency Card Replacement
• Lost/Stolen Card Reporting
• Exception file updates
• Visa TravelMoney customer service

ID#: 081010-010410-0024678



Visa Global Customer Care Services

The 24-hour-a-day, 7-day-a-week centers that provide services including:

• Those specified in the Visa Global Customer Assistance Services Program
• Information and certain types of non-emergency assistance while traveling

ID#: 081010-010410-0025343



Visa Gold Card

A premium Visa Card that both:

• Offers core and optional services as specified in Visa International Operating Regulations
• Is issued as specified in the Visa Product Brand Standards
(Regional variations may be found in the applicable Regional Operating Regulations.)

ID#: 010410-010410-0025324




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Visa Health Reimbursement Account (HRA) - U.S. Region

An employer-funded Visa Prepaid Card program that reimburses employees, in accordance with the
IRS regulations, for qualified out-of-pocket medical expenses not covered by the employer’s health
care plan.

ID#: 010410-010410-0025325



Visa Health Savings Account (HSA) - U.S. Region

A Visa Prepaid Card program operated in accordance with the IRS regulations that enables
participants of a qualified high-deductible health plan (HDHP) to access funds contributed by an
employee, employer, or both, for qualified out-of-pocket health care expenses.

ID#: 010410-010410-0025326



Visa Hotel and Cruise Line Services

Services that a Hotel or Cruise Line may provide to Cardholders, including:

• Advance Deposit Service
• Hotel Reservation Service
• Priority Check-out Service
• Cash Disbursement

ID#: 010410-010410-0025327



Visa Inc.

A Delaware stock corporation.

ID#: 010410-010410-0025328



Visa Incentive Card

A consumer Visa Prepaid Card, designed to enable a business entity to provide consumer funds in
the form of promotional discounts, rebates, or corporate incentives such as bonuses.

ID#: 081010-010410-0025329



Visa Incentive Network - U.S. Region

A program that allows targeted rewards such as discounts or sweepstakes to be made available to
select Visa Cardholders.

ID#: 010410-010410-0025330



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Visa Infinite Business Card - Canada Region (Updated)

A Visa Card targeted to small business market that has attributes exceeding that of a Visa Business
Card.

ID#: 050411-011109-0025630



Visa Infinite Card

A Product Name for a Visa Card that has attributes exceeding those of a Visa Gold Card and Visa
Platinum.

ID#: 010410-010410-0025331



Visa Infinite Exclusive Privileges

A Merchant-partner program with exclusive offers for Visa Infinite Cardholders.

ID#: 010410-010410-0025332



Visa Information Management

Optional services provided by Visa to Members and clients of Members to enhance reporting and
data gathering.

ID#: 010410-010410-0025333



Visa Integrated Billing Statement

A monthly report provided by Visa that details charges assessed to Members. Items appearing on this
report are collected using the Fee Collection Transaction reason code 5010 (“Visa Integrated Billing
Statement”).

ID#: 010410-010410-0025334



Visa Integrated Circuit Card Specification (VIS) - U.S. Region

Chip Card and terminal requirements for Visa Smart Payment programs that serve as companion
specifications to the EMV Integrated Circuit Card Specifications.

ID#: 010410-010410-0025336




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Visa IntelliLink Compliance Management (New)

Effective 14 October 2010, a web-based service designed to meet the Visa Commercial Card
program management needs of Issuers and their Client Organizations. Visa IntelliLink Compliance
Management provides information services such as:

• Analytics and investigative reporting
• Misuse detection
• Program compliance
• Regulatory compliance
• Spend management
• Administration

ID#: 050411-141010-0026022



Visa IntelliLink Spend Management (Updated)

Visa IntelliLink Spend Management is an optional service provided to Members and their clients to
access and manage commercial multi-program data, reports, statements, and expense management.

ID#: 050411-300909-0025614



Visa Interchange Directory (New)

Effective 16 April 2011, a directory containing contact information on Members and VisaNet
Processors that Visa compiles and sends to all Members and VisaNet Processors.

ID#: 050411-010100-0026130



Visa Interchange Directory - U.S. Region (Updated)

Effective through 15 April 2011, a directory containing contact information on Members and
VisaNet Processors that Visa compiles and sends to all Members and VisaNet Processors.

ID#: 050411-010410-0025338



Visa Interchange Directory Update Form (Updated)

Effective through 15 April 2011, a form containing contact information on Members and VisaNet
Processors that Visa compiles and sends to all Members and VisaNet Processors in the form of a
directory. See "Visa Interchange Directory Update Form – Submission

ID#: 050411-010410-0025339




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Visa International - U.S. Region

See Visa.

ID#: 010410-010410-0025341



Visa International Operating Regulations

A body of regulations that sets forth the requirements for Members operating Visa programs. The
Visa International Operating Regulations contain:

• International regulations applicable to all Members
• AP Regional Operating Regulations applicable to Members operating in the Asia-Pacific Region,
  including clients of Visa Worldwide Private Ltd.
• Canada Regional Operating Regulations applicable to Members operating in the Canada Region
• CEMEA Regional Operating Regulations applicable to Members operating in the Central Europe,
  Middle East, and Africa Region
• LAC Regional Operating Regulations applicable to Members operating in the Latin America and
  Caribbean Region
• U.S. Regional Operating Regulations applicable to Members operating in the U.S. Region

ID#: 010410-010410-0025342



Visa Internet Domain Name

A Visa-Owned Mark used to represent the Visa organization on the Internet or other networks. The
Visa International Operating Regulations refer to 3 types of Visa Internet Domain Names:

• Internet Domain Name—Visa Simple
• Internet Domain Name beginning with the word “Visa”
• Internet Domain Name including the word “Visa”

ID#: 010410-010410-0025345



Visa Issuer

A Member that issues Visa Cards.

ID#: 010410-010410-0025346



Visa Logotype - U.S. Region

The Visa Wordmark depicted in stylized lettering.

ID#: 010410-010410-0025347




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Visa Loyalty Platform Services

Effective 15 October 2010, rewards and loyalty services available to Members to enhance their
proprietary loyalty programs.

ID#: 081010-151010-0025867



Visa Meetings - U.S. Region

A Visa Purchasing Card used for purchases associated with business meetings and events.

ID#: 010410-010410-0025349



Visa Meetings Card

A Visa Card issued to commercial entities in the public and private sector for commercial purchases
associated with business meetings and events, as specified in “Visa Meetings Card” and the Visa
Product Brand Standards.

ID#: 010410-010410-0025350



Visa Membership Management - U.S. Region

A web-based service, accessed through Visa Online, that allows Members and their designated
Agents to view and manage their Visa membership information in the Visa information system.

ID#: 010410-010410-0025351



Visa Merchant

A Merchant that displays the Visa Brand Mark and accepts all Visa Cards.

ID#: 010410-010410-0025352



Visa Merchant Trace System – AP Region (New)

Effective 1 March 2011, a risk management service that allows a participating Member to:

• Submit information about a Merchant it has terminated
• Verify, before signing, that a Merchant is not listed with the service
• Query if a Merchant has been identified as non-compliant with one of the Visa risk management
  programs
• Obtain risk profile information on a Merchant Category Code (MCC) and country

ID#: 050411-010311-0026136




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Visa Message Gateway Service - U.S. Region

A component of the Direct Exchange network that allows VisaNet endpoints to access authorization
processing services. It operates as a switch for all payment transactions, routing traffic between all
Visa payment processing participants.

ID#: 081010-010410-0025353



Visa Micro Tag - U.S. Region

A Visa Contactless-only payment device without a Magnetic Stripe issued as a companion to a
corresponding full-size Visa Card in accordance with the provisions specified in the Visa International
Operating Regulations and the Visa Micro Tag Design and Branding Guide. Also see Visa Card - U.S.
Region.

ID#: 010410-010410-0025354



Visa Mini Card

A miniaturized version of a Visa Card or Visa Electron Card that must:

• Provide the designated level of utility promised to the Cardholder
• Contain the physical elements and data components required to complete a Transaction

ID#: 010410-010410-0025355



Visa Mini Card - U.S. Region

A small-size Visa Consumer or Commercial Visa Product Card issued in conjunction with a
corresponding full-sized Visa Card, and issued in accordance with the provisions specified in the U.S.
Regional Operating Regulations and the Visa Product Brand Standards.

ID#: 010410-010410-0025356



Visa Mini Card Design and Technology - U.S. Region (Updated)

The Card design and technology as set forth in and according to the Visa Product Brand Standards,
and the Visa Mini Card Patent Rights identified therein.

ID#: 050411-010410-0025357




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Visa Mini Card Patent Rights - U.S. Region

The patents associated with the Visa Mini Card Design and Technology issued to Bank of America in
the United States, along with pending patent applications in the United States under which Visa and
Members are granted rights in accordance with the Bank of America Visa Mini Card Exclusive
License Agreement and these Operating Regulations.

ID#: 010410-010410-0025358



Visa Money Transfer Program - U.S. Region

Effective 15 February 2010, a component of the overall Original Credit program that supports a
person-to-person funds transfer service for Visa Cardholders or other consumers resulting in a credit
to the recipient Cardholder's Visa account, as specified in the Visa Money Transfer (VMT) Global
Implementation Guide. See also Money Transfer Original Credit Program.

ID#: 081010-150210-0025691



Visa Multinational Program (New)

Effective 14 October 2010, a Visa program that supports the delivery of Visa commercial solutions
to Multinational Companies.

ID#: 050411-141010-0026030



Visa Online (Updated)

A password-protected Website that provides Members and/or their VisaNet Processors with access
to Visa information.

ID#: 050411-010410-0025360



Visa Payables Automation - Canada Region

Effective 11 February 2010, an optional electronic payment solution that enables Canada Issuers to
automate their accounts payable processes using Visa Commercial Cards. One of the Visa
Commercial Solutions Data and Reporting Tools.

ID#: 010410-010100-0025610



Visa Payables Automation - U.S. Region

Effective 11 February 2010, an optional electronic payment solution that enables U.S. Issuers to
automate their accounts payable processes using Visa Commercial Cards. One of the Visa
Commercial Solutions Data and Reporting Tools.

ID#: 010410-110210-0025611




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Visa Payment Application

A software application contained within a Chip or payment data encoded on a Magnetic Stripe that
defines the parameters for processing a Visa Transaction and meets the minimum requirements of
the Visa Program.

ID#: 010410-010410-0025361



Visa Payment Gateway Service

A Visa service that provides Authorization and Clearing of Secure Electronic Commerce
Transactions.

ID#: 010410-010410-0025362



Visa Payroll

A Visa Prepaid Card that enables employers to offer employees a Visa Card as an alternative to the
disbursement of employment wages or salary via a check.

ID#: 081010-010410-0025363



Visa PIN Debit Gateway Service - U.S. Region

A Visa processing service that switches non-Visa, PIN-based, or qualified non-PIN-based bill
payment debit transactions to debit networks for authorization, clearing, settlement, and exception
item processing, which may include chargebacks, representments, and other non-financial and
financial transactions as defined by the operational rules of the applicable network.

ID#: 081010-010410-0025364



Visa Platinum

A Card product that has attributes equal to or exceeding those of a Visa Gold Card.

ID#: 010410-010410-0025366



Visa Premier Card

A premium Visa Card that both:

• Offers core and optional services as specified in the Visa International Operating Regulations
• Is issued as specified in the Visa Product Brand Standards
(Regional variations may be found in the applicable Regional Operating Regulations.)

ID#: 010410-010410-0025370




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Visa Prepaid Business Card - U.S. Region

A Visa Business Card used to access funds in a Prepaid Account.

ID#: 010410-010410-0025371



Visa Prepaid Card

A Visa Card used to access funds in a Visa Prepaid Account or a Card where monetary value is
stored on a Chip.

ID#: 081010-010410-0024996



Visa Prepaid Card Transaction

The act between a Cardholder using a Visa Prepaid Card and a Merchant or an Acquirer resulting in
a Transaction Receipt.

ID#: 081010-010100-0025555



Visa Prepaid Corporate Card - U.S. Region

A Visa Corporate Card used to access funds in a Prepaid Account.

ID#: 010410-010410-0025373



Visa Prepaid Purchasing Card - U.S. Region

A Visa Purchasing Card used to access funds in a Prepaid Account.

ID#: 010410-010410-0025375



Visa Product (Updated)

Any Visa Card, Visa Electron Card, component, or secure feature that relates to Card production,
manufacture, or fulfillment managed under the Approved Vendor Program.

ID#: 050411-010100-0025527



Visa Program

A program through which a Member provides payment services to Visa Cardholders or Merchants by
acting as an Issuer, an Acquirer, or both.

ID#: 010410-010410-0025377




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Visa Program - Canada Region

The aggregation of the individual Visa Card programs operated by Visa Members using the Visa-
Owned Marks.

ID#: 010410-010410-0025378



Visa Program Marks

The Marks used in connection with the Visa Program.

ID#: 010410-010410-0025379



Visa Purchasing Card

A Visa Card issued to commercial entities (public and private) that is used for commercial purchases
and is issued as specified in “Visa Commercial Purchasing Products.”

ID#: 010410-010410-0025380



Visa Purchasing Cardholder

An employee of a public or private commercial entity to whom an Issuer has issued a Visa
Purchasing Card.

ID#: 010410-010410-0025381



Visa Purchasing Large Ticket Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee paid to or received by a Member for a Visa Purchasing Large
Ticket Transaction processed as specified in “Visa Purchasing Large Ticket IRF.”

ID#: 010410-010410-0025382



Visa Purchasing Large Ticket Transaction - U.S. Region

A Transaction completed with a Visa Purchasing Card that meets the large ticket transaction
requirements specified in “Visa Purchasing Large Ticket IRF.”

ID#: 010410-010410-0025383




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Visa ReadyLink - U.S. Region (Updated)

A Visa processing service that enables the Authorization and Settlement, through VisaNet, of funds
associated with an Issuer-approved load Transaction to a Visa Prepaid Card or to another Non-Visa
Branded Account, as defined in the Visa ReadyLink Service Description and Implementation
Guidelines at a Prepaid Partner.

ID#: 081010-010410-0025384



Visa ReadyLink Transaction - U.S. Region (Updated)

A Transaction completed at a Prepaid Partner that facilitates the loading of value to a Visa Prepaid
Card or to another Non-Visa Branded Account, as defined in the Visa ReadyLink Service Description
and Implementation Guidelines that has been designated for participation in Visa ReadyLink.

ID#: 080411-010410-0025385



Visa Region

A national or multinational geographic area under the jurisdiction of a Regional Office, as specified in
the Visa International Certificate of Incorporation and Bylaws. There are 5 Visa Regions:

• Asia-Pacific (AP) Region
• Canada (CAN) Region
• Central and Eastern Europe, Middle East and Africa (CEMEA) Region
• Latin America and Caribbean (LAC) Region
• United States of America (U.S.) Region

Visa Canada and Visa U.S.A. are under the jurisdiction of a Regional Board.

ID#: 010410-010410-0025386



Visa Reservation Service

Visa services provided by either a:

• Lodging Merchant to guarantee accommodations
• Car Rental Company to guarantee a Specialized Vehicle or Peak-Time reservation

ID#: 010410-010410-0025387



Visa Resolve Online (Updated)

An online Visa service for the retrieval and transmission of dispute resolution information and
documentation.

ID#: 050411-010410-0025388


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Visa Risk Manager

A suite of risk management products designed to help Issuers optimize loss prevention and maximize
profitability through intelligent risk-management decisioning.

ID#: 010410-010410-0025389



Visa Salary

See Visa Payroll.

ID#: 081010-010100-0025714



Visa Secure Electronic Commerce

A payment service that provides payment information security over the Internet and other networks
for Cardholders using a Card and Cardholder Access Device to conduct an Electronic Commerce
Transaction.

ID#: 010410-010410-0025390



Visa Settlement Bank

A bank where Visa maintains its Settlement accounts and performs funds transfer for Settlement.

ID#: 010410-010410-0025391



Visa Signature - U.S. Region

A Visa Card that is issued in accordance with the requirements specified in “Visa Signature Cards.”

ID#: 010410-010410-0025392



Visa Signature Business - AP Region (Updated)

Effective 1 January 2011, a Visa Card that is issued in accordance with the requirements specified
in "Visa Signature Business Cards."

ID#: 080411-010111-0026123



Visa Signature Business - U.S. Region

A Visa Card that is issued in accordance with the requirements specified in “Visa Signature Business
Cards.”

ID#: 010410-010410-0025393




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Visa Signature Card

A Product Name for a Visa Card that has attributes exceeding those of a Visa Gold Card and Visa
Platinum.

ID#: 010410-010410-0025394



Visa Signature Preferred - U.S. Region

A Visa Card that is issued in accordance with the requirements specified in “Visa Signature Preferred
Cards - U.S. Region.”

ID#: 010410-010410-0025396



Visa Smart Payment

EMV-Compliant and VIS-Compliant Chip-based applications that provide payment service options

and controls to Issuers of Chip Cards bearing the Visa Brand Mark or the Visa Brand Mark with the

Electron Identifier that are not available using Magnetic-Stripe technology.

ID#: 010410-010410-0025397



Visa Three-Domain Secure Services - U.S. Region

Visa services that provide enrollment of Cardholders and authentication processing of Transactions
that comply with the Three-Domain Secure Specification.

ID#: 010410-010410-0025398



Visa Traditional - U.S. Region

A Visa Consumer Credit Card excluding Visa Signature and Visa Signature Preferred.

ID#: 010410-010410-0025399



Visa Traditional Rewards Card - U.S. Region

A consumer credit product that enables Cardholders, based on their qualifying purchases, to earn
units of a rewards currency consisting of either:

• Points that are redeemable for cash, cash-equivalent rewards (i.e., gift certificate, gift card, or
  statement credit), or any other reward option permitted upon prior approval by Visa
• Air miles that are redeemable for air travel

ID#: 010410-010410-0025400




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Visa Transaction Alerts Service

Effective 13 May 2010, an optional Visa service that enables Cardholder notification of Transactions
occurring on their Cards or accounts.

ID#: 081010-130510-0025728



Visa Transaction Information - Canada Region

Any information or data regarding a Transaction that is contained on the Transaction Receipt.

ID#: 010410-010410-0025401



Visa Transaction Information - U.S. Region

Any Transaction information or data that is contained in either the VisaNet:

• Authorization message
• Clearing Record

ID#: 010410-010410-0025402



Visa Transit Card

A Visa Prepaid Card designated for use at transit Merchants. A Visa Transit Card may be provided by
an employer to an employee to access tax-advantaged transit benefits or sold directly to consumers.

ID#: 081010-010410-0025403



Visa TravelMoney Wordmark

A Visa licensed Brand Mark meeting the specifications set out in the Visa Product Brand Standards.

ID#: 010410-010410-0025410



Visa U.S.A.

Visa U.S.A. Inc.

ID#: 010410-010410-0025412




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Visa Utility Interchange Reimbursement Fee Program - U.S. Region (Updated)

A Visa program that permits Acquirers to qualify for the Utility Program Interchange Reimbursement
Fee for a Consumer Card, or a Visa Business (including Visa Signature Business) Transaction
completed at a utility Merchant assigned Merchant Category Code 4900, ”Utilities – Electric, Gas,
Water, and Sanitary,” as specified in "Visa Utility IRF Program."

ID#: 050411-010410-0025413



Visa Wordmark

A Visa-Owned Mark consisting of the word “Visa.” See Visa Brand Name.

ID#: 010410-010410-0025415



Visa Worldwide Pte. Ltd.

The organization operating the Visa Network in the AP Region.

ID#: 010410-010410-0025416



Visa-Owned Marks

All Trademarks owned by Visa, including Plus and Interlink.

ID#: 010410-010410-0025216



Visa/Plus ATM

An ATM that:

• Displays the Visa Brand Mark and the Plus Symbol
• May also display the Visa Brand Mark with the Electron Identifier

ID#: 010410-010410-0025368



VisaNet

The systems and services, including the V.I.P. System, Visa Europe Authorisation Service, and BASE
II, through which Visa delivers Online Financial Processing, Authorization, Clearing, and Settlement
services to Members, as applicable.

ID#: 010410-010410-0025218




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VisaNet Copy Request and Fulfillment Service

An automated process for transmitting Copy Requests, Retrieval Requests, and Fulfillments and
monitoring the integrity and quality of the service through Visa Resolve Online.

ID#: 010410-010410-0025225



VisaNet Copy Request and Fulfillment Service Fees

Service-related fees that include, but are not limited to:

• Transaction fees
• Fulfillment incentive fees

ID#: 010410-010410-0025226



VisaNet Integrated Payment System - U.S. Region

See V.I.P. System.

ID#: 010410-010410-0025228



VisaNet Interchange Center

A Visa Inc. or a Visa Europe facility that operates the VisaNet data processing systems and support
networks.

ID#: 010410-010410-0025229



VisaNet Processor

Effective 23 July 2010, a Member, or Visa-approved non-Member, that is directly connected to
VisaNet and that provides Authorization, Clearing, or Settlement services to Merchants and/or
Members.

ID#: 081010-010410-0025230



VisaNet Settlement Service

The VisaNet system that provides Settlement reporting and funds transfer services to BASE II and
V.I.P. System Clearing Processors, as specified in the appropriate VisaNet manuals.

ID#: 010410-010410-0025232




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VisaVue Service - U.S. Region

An optional, web-based Visa transaction reporting and analytic tool that enables Members to analyze
their VisaNet transaction data.

ID#: 010410-010410-0025234



VisaVue Service Participation Agreement - U.S. Region

An agreement that specifies the terms and conditions for participation in the web-based VisaVue
Service.

ID#: 010410-010410-0025235



Voice Authorization

An Approval Response obtained through interactive communication between an Issuer and an
Acquirer, their VisaNet Processors, or the International Automated Referral Service, through
telephone, facsimile, or telex communications.

ID#: 010410-010410-0025417



W


Website

One or more Internet addresses at which an individual or organization provides information to others,
often including links to other locations where related information may be found.

ID#: 010410-010410-0025430



Willful Violation - U.S. Region (Updated)

Effective through 14 February 2011, an Operating Regulation violation where the Member:

• Did not correct the violation within a 12-month period
• Knew, or its knowledge can be fairly inferred, that its conduct constituted a violation of the Visa
  International Operating Regulations

ID#: 050411-010410-0025432



Wire Transfer Money Order - U.S. Region

A check or money order purchased by a Cardholder from a Wire Transfer Money Order Merchant.

ID#: 010410-010410-0025434




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Wire Transfer Money Order Merchant - U.S. Region

A Merchant that sells money orders by electronic funds transfer.

ID#: 010410-010410-0025435



Wire Transfer Money Order Transaction - U.S. Region

A Quasi-Cash Transaction representing the sale of a Wire Transfer Money Order for transfer to a
payee (who may or may not be the Cardholder) by electronic funds transfer.

ID#: 081010-010410-0025436



Wordmark

A Mark consisting entirely of a word.

ID#: 010410-010410-0025438



Workout Period

Effective 1 June 2010, in conjunction with the Global Merchant Chargeback Monitoring Program, a
3-month remediation period during which Visa manages a corrective-action plan between a Merchant
and its Acquirer to bring the Merchant's international Chargeback activities within acceptable levels.
The Workout Period is not applicable for:

• Acquirer-level thresholds
• High-Risk Merchants, as specified in "High Risk Merchant Category Codes"

ID#: 081010-010610-0025701



Workout Period - U.S. Region

Either:

• In conjunction with the Risk Identification Service (RIS) Online, a 90-calendar-day period during
  which Visa manages a corrective-action plan between a Merchant and its Acquirer to bring the
  Merchant’s Suspect Transactions-to-sales and Fraud Activity-to-sales ratio within acceptable levels
• In conjunction with the Acquirer Monitoring Program, a 90-calendar-day period during which Visa
  monitors an Acquirer’s remedial plan to bring the Acquirer’s Fraud Activity-to-sales ratio below the
  program’s Alert thresholds

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X


No glossary terms available for X.

ID#: 010410-010410-0025513



Y


No glossary terms available for Y.

ID#: 010410-010410-0025514



Z


Zero Floor Limit

A Floor Limit with a currency amount of zero (i.e., Authorization is required for all Transactions).

ID#: 010410-010410-0025441_




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